Exhibit B
                                                                                                                                                                                                                                                   Competing Segment
  FAIN           Grant               Institution                      Title                                                   PI Name (Contact)      Stat Desc                   Proj Start   Proj End     Segment Awd Amt     Segment Obl Amt     PMS Disbursed          Awd Tot $

                                     UNIVERSITY OF CALIFORNIA AT      Identifying mechanisms of multisensory memory
 1 F31MH133270   5F31MH133270-02     DAVIS                            using virtual reality and fMRI                          DUARTE, SHEA           Awarded. Fellowships only   2023/09/10   2026/12/11             $81,856             $81,856               $29,777       $41,568

                                                                      Identifying EEG Markers of Altered Interoceptive
 2 F30AT012306   5F30AT012306-02     BROWN UNIVERSITY                 Processing in Chronic Pain                              ZIMMERMAN, CHLOE S     Awarded. Fellowships only   2023/06/01   2027/05/31            $105,726            $105,726               $95,426       $53,974

                                     UNIVERSITY OF PITTSBURGH AT      Research Training Program for Pediatric                                        Awarded. Non-fellowships
 3 T32HD071834   5T32HD071834-10     PITTSBURGH                       Subspecialty Fellows                                    DERMODY, TERENCE S     only                        2013/05/01   2025/10/31          $2,272,425          $2,272,425             $1,935,287     $464,907

                                                                      Combined Engineering and Orthopaedics Training                                 Awarded. Non-fellowships
 4 T32AR078751   5T32AR078751-04     HOSPITAL FOR SPECIAL SURGERY     Program                                                 MAHER, SUZANNE A       only                        2021/06/01   2026/05/31          $1,422,821          $1,422,821             $1,085,669     $282,056

                                                                      Ionizable Lipid Nanoparticles for Fetal Lung
 5 F30HL162465   5F30HL162465-03     UNIVERSITY OF PENNSYLVANIA       Targeting                                               PALANKI, ROHAN         Awarded. Fellowships only   2022/06/01   2026/05/31            $177,808            $177,808              $126,695       $36,681

                                     UT SOUTHWESTERN MEDICAL          The role of experience during the critical period for   OROZCO, CARLOS
 6 F31NS131049   5F31NS131049-02     CENTER                           the development of vocal motor circuits                 GIOVANNI               Awarded. Fellowships only   2023/06/01   2026/03/31             $77,852             $77,852               $70,655       $39,566

                                                                      Integrated Regional Training Program in                                        Awarded. Non-fellowships
 7 T32ES007060   5T32ES007060-45     OREGON STATE UNIVERSITY          Environmental Health Sciences                           MARCUS, CRAIG B        only                        1979/07/01   2025/06/30          $2,423,989          $2,423,989             $2,070,381     $467,465

                                                                      Interdisciplinary training in pharmacological                                  Awarded. Non-fellowships
 8 T32GM139793   5T32GM139793-04     BROWN UNIVERSITY                 sciences                                                OANCEA, ELENA          only                        2021/07/01   2026/06/30            $835,155            $835,155              $677,536      $219,744

                                     UNIV OF NORTH CAROLINA           Predoctoral Training in the Pharmacological             EMANUELE, MICHAEL      Awarded. Non-fellowships
 9 T32GM135095   5T32GM135095-05     CHAPEL HILL                      Sciences                                                JAMES                  only                        2020/07/01   2025/06/30          $2,569,941          $2,569,941             $2,072,143     $549,359

                                                                      Glycosaminoglycan-mediated fibril sliding and its
                                                                      role in fatigue-induced microdamage and rupture
10 F32AR082671   1F32AR082671-01A1   UNIVERSITY OF PENNSYLVANIA       in aged and healing Achilles tendons                    BLANK, JONATHON        Awarded. Fellowships only   2024/09/11   2027/09/10             $74,828             $74,828               $48,373       $74,828

                                     UNIVERSITY OF CONNECTICUT SCH The UConn/JAX-GM Training Program in Genomic                                      Awarded. Non-fellowships
11 T32HG010463   5T32HG010463-05     OF MED/DNT                    Science                                                    GRAVELEY, BRENTON R    only                        2020/05/01   2026/04/30          $1,296,609          $1,296,609             $1,140,846     $278,143

                                     UNIVERSITY OF CALIFORNIA, SAN    Developing a Diverse Next Generation of Leaders in                             Awarded. Non-fellowships
12 T32HL166127   5T32HL166127-02     DIEGO                            Respiratory Science                                MALHOTRA, ATUL              only                        2023/06/01   2028/05/31          $1,173,759          $1,173,759              $458,945      $409,676

                                     PENNSYLVANIA STATE UNIVERSITY,   Integrative Analysis of Metabolic Phenotypes (IAMP)                            Awarded. Non-fellowships
13 T32DK120509   5T32DK120509-05     THE                              Predoctoral Training Program                        PATTERSON, ANDREW          only                        2020/06/01   2026/05/31            $780,852            $780,852              $636,826      $196,007

                                     WEILL MEDICAL COLL OF CORNELL Mechanisms of cytosolic DNA degradation by TREX1
14 F31AI181473   1F31AI181473-01     UNIV                          in cancer and autoimmune disease                 SHIM, ABRAHAM                    Awarded. Fellowships only   2024/07/08   2027/07/07             $48,974             $48,974               $41,375       $48,974

                                     UNIV OF MASSACHUSETTS MED SCH Identification of a Putative Mitochondrial Solute
15 F31NS134242   1F31NS134242-01A1   WORCESTER                     Carrier that Regulates Mitophagy                           RESTREPO, LUCAS JOHN   Awarded. Fellowships only   2024/07/01   2027/05/31             $33,758             $33,758               $33,086       $33,758

                                                                      Research Training in Translational Gastroenterology                            Awarded. Non-fellowships
16 T32DK108735   5T32DK108735-08     EMORY UNIVERSITY                 and Hepatology                                          KUGATHASAN, SUBRA      only                        2016/06/01   2027/05/31            $839,248            $839,248              $536,244      $397,713

                                                                      Medical Student Summer Research Program in                                     Awarded. Non-fellowships
17 T35AI118620   5T35AI118620-09     UNIVERSITY OF MINNESOTA          Infection and Immunity                                  MUELLER, DANIEL L      only                        2015/07/01   2026/06/30            $185,406            $185,406              $127,000       $34,558

                                                                      Core mechanisms that contribute to inhibition of
                                     UNIVERSITY OF MIAMI SCHOOL OF    wound healing in diabetic foot and venous leg
18 F30DK132806   5F30DK132806-03     MEDICINE                         ulcers                                                  BURGESS, JAMIE LEE     Awarded. Fellowships only   2022/06/01   2027/05/31            $218,394            $161,420              $161,420       $56,974

                                     UNIVERSITY OF CALIFORNIA, SAN    Cellular and Molecular Pharmacology Training                                   Awarded. Non-fellowships
19 T32GM153123   1T32GM153123-01     DIEGO                            Program                                                 BROWN, JOAN HELLER     only                        2024/07/01   2029/06/30            $575,303            $575,303              $377,435      $575,303

                                                                                                                                                     Awarded. Non-fellowships
20 T32DA007238   5T32DA007238-34     YALE UNIVERSITY                  Research Training Fellowship in Substance Abuse         PETRAKIS, ISMENE L     only                        1988/07/01   2026/06/30            $764,139            $764,139              $763,674       $94,906

                                     UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
21 T32DA057216   5T32DA057216-02     FRANCISCO                        Postdoctoral training in tobacco control                LING, PAMELA MAY       only                        2023/07/01   2028/06/30          $1,000,454          $1,000,454              $686,629      $522,936

                                     UNIVERSITY OF CALIFORNIA                                                                                        Awarded. Non-fellowships
22 T34GM149470   5T34GM149470-02     RIVERSIDE                        MARC at University of California Riverside              MARTINEZ, ERNEST       only                        2023/06/01   2028/05/31          $1,042,838          $1,042,838              $677,289      $521,419
                                                                      Inequities in family engagement in the neonatal
23 F32HD111260   5F32HD111260-02     STANFORD UNIVERSITY              intensive care unit                                QUINN, MARY            Awarded. Fellowships only   2023/06/01   2026/05/31    $146,256     $146,256     $129,656     $76,756

                                     UNIVERSITY OF CALIFORNIA, SAN                                                                             Awarded. Non-fellowships
24 T32MH018261   5T32MH018261-39     FRANCISCO                        Clinical Services Research Training Program        PFIFFNER, LINDA       only                         1985/08/01   2026/06/30   $1,157,712   $1,157,712   $1,077,832   $255,729

                                                                      Host Response to Trauma Research Training                                Awarded. Non-fellowships
25 T32GM008478   5T32GM008478-32     UNIVERSITY OF CINCINNATI         Program                                            LENTSCH, ALEX B       only                         1993/07/01   2028/06/30    $673,549     $673,549     $435,586    $342,198

                                                                                                                                               Awarded. Non-fellowships
26 T32EB021966   5T32EB021966-07     DARTMOUTH COLLEGE                Training in Surgical Innovation                    PAULSEN, KEITH D      only                         2017/06/01   2028/05/31    $432,561     $432,561     $344,627    $216,732

                                     ICAHN SCHOOL OF MEDICINE AT                                                                               Awarded. Non-fellowships
27 T32DA053558   5T32DA053558-04     MOUNT SINAI                      Training Program in Substance Use Disorders        KENNY, PAUL J         only                         2021/07/01   2026/06/30   $1,642,606   $1,642,606   $1,276,366   $565,334

                                                                      Metabolic reprogramming in Fanconi anemia-
28 F30CA281167   1F30CA281167-01A1   UNIVERSITY OF CINCINNATI         deficient head and neck squamous cell carcinoma RUFFOLO, BIANCA           Awarded. Fellowships only   2024/06/01   2025/05/31     $46,386      $46,386      $34,983     $46,386

                                                                      Determining the Impact of Callosal Connectivity on
                                                                      Visual Cortical Structure and Cortical Visual
29 F32NS131252   5F32NS131252-02     BOSTON CHILDREN'S HOSPITAL       Impairment in Cdkl5 Deficiency Disorder            KELLY, ELYZA           Awarded. Fellowships only   2023/06/01   2025/05/31    $151,756     $151,756     $147,182     $79,756

                                                                      Central Amygdala to Lateral Hypothalamus
                                     UNIV OF NORTH CAROLINA           Neuropeptide Y projections as a Target in Sex-     BENDRATH, SOPHIE
30 F31AA029935   5F31AA029935-03     CHAPEL HILL                      Specific Binge-Like Ethanol Consumption in Mice    CHARLOTTE              Awarded. Fellowships only   2022/06/01   2025/05/31    $117,821     $117,821     $109,874     $40,441

                                                                      Dopaminergic modulation of nucleus accumbens
                                                                      during prospective and retrospective
31 F30MH124404   5F30MH124404-04     UNIVERSITY OF MINNESOTA          neuroeconomic decision making                      KOCHARIAN, ADRINE      Awarded. Fellowships only   2021/05/31   2026/05/14    $196,948     $196,948     $145,402     $42,227

                                     UNIVERSITY OF ALABAMA AT         Nox4 and Epigenetics in chronically enhanced       CHANG, SAMUEL
32 F30HL172687   1F30HL172687-01     BIRMINGHAM                       cardiac protein O-GlcNAcylation                    FORMOSA                Awarded. Fellowships only   2024/09/30   2027/05/29     $42,629      $42,629      $23,012     $42,629

                                     OREGON HEALTH & SCIENCE                                                                                    Awarded. Non-fellowships
33 T32AT002688   5T32AT002688-20     UNIVERSITY                       CAM Research Training in Neuroscience & Stress     OKEN, BARRY S          only                        2005/04/01   2026/03/31   $1,906,791   $1,906,791   $2,219,429   $427,346

                                     UNIVERSITY OF SOUTHERN           Environmental Moderation of Genetic Influences on
34 F31AG077889   5F31AG077889-02     CALIFORNIA                       Dementia Risk in Mexican Older Adults             TURESON, KAYLA          Awarded. Fellowships only   2023/05/16   2025/05/15     $94,516      $94,516      $46,487     $47,898

                                                                     Training Program in Substance Use and Use           WOOD, MARCELO          Awarded. Non-fellowships
35 T32DA050558   5T32DA050558-05     UNIVERSITY OF CALIFORNIA-IRVINE Disorders                                           ANDRES                 only                        2020/07/01   2025/06/30    $892,220     $892,220     $775,767    $201,312

                                     UNIVERSITY OF MICHIGAN AT ANN    Interdepartmental Training in Pharmacological                             Awarded. Non-fellowships
36 T32GM140223   5T32GM140223-04     ARBOR                            Sciences                                           ISOM, LORI L           only                        2021/07/01   2026/06/30   $2,505,462   $2,505,462   $2,450,462   $659,231

                                                                      Probing the ribosome-dependent mechanisms of
37 F31AI181514   1F31AI181514-01     YALE UNIVERSITY                  human alphacoronavirus Nsp1                        BALAJI, SHRAVANI       Awarded. Fellowships only   2024/09/01   2026/08/31     $33,950      $33,950      $17,223     $33,950

                                                                      VGF in the nucleus accumbens: roles in synaptic
38 F30DA060027   1F30DA060027-01     UNIVERSITY OF MINNESOTA          and opioid-evoked plasticity                       ADKE, ANISHA P         Awarded. Fellowships only   2024/05/30   2027/05/29    $107,948     $107,948      $45,958     $53,974

                                     UNIVERSITY OF WISCONSIN-                                                                                   Awarded. Non-fellowships
39 T32MH018931   5T32MH018931-35     MADISON                          Training Program in Emotion Research               DAVIDSON, RICHARD J    only                        1989/07/01   2028/07/31    $641,101     $641,101     $537,910    $321,304

                                     UNIVERSITY OF MICHIGAN AT ANN    Acute and Critical Care Engineering (ACCE)                               Awarded. Non-fellowships
40 T32EB032756   5T32EB032756-02     ARBOR                            Training Program                                   OLDHAM, KENN R        only                         2023/06/01   2028/05/31    $331,683     $331,683     $331,386    $222,768

                                                                      Relationships between sulcal morphology,
                                     UNIVERSITY OF CALIFORNIA         neuropathology, and cognition in aging and         MABOUDIAN, SAMIRA
41 F31AG082446   1F31AG082446-01A1   BERKELEY                         Alzheimers disease                                 ALESSANDRA             Awarded. Fellowships only   2024/08/01   2027/07/31     $45,483      $45,483      $29,438     $45,483

                                     WAKE FOREST UNIVERSITY HEALTH                                                                             Awarded. Non-fellowships
42 T32DA041349   5T32DA041349-07     SCIENCES                         The Neurobiology of Drug Abuse                     JONES, SARA RAULERSON only                         2017/07/01   2028/06/30    $438,006     $438,006     $360,385    $222,768

                                                                                                                                               Awarded. Non-fellowships
43 T32AI007509   5T32AI007509-25     UNIVERSITY OF WASHINGTON         Diseases of Public Health Importance Training Grant LUND, JENNIFER M     only                         1997/09/30   2026/06/30   $1,928,624   $1,928,624   $1,674,372   $420,272

                                     UNIVERSITY OF CALIFORNIA LOS     Identifying the role of serotonin receptor 7 in
44 F31AI174799   1F31AI174799-01A1   ANGELES                          regulating intestinal immune tolerance             YU, LEWIS              Awarded. Fellowships only   2024/07/01   2026/06/30     $44,646      $44,646      $37,555     $44,646
                                                                    Engineering RIG-I Activating Nanoparticles for       KWIATKOWSKI,
45 F32CA288044   1F32CA288044-01   VANDERBILT UNIVERSITY            Glioblastoma Immunotherapy                           ALEXANDER               Awarded. Fellowships only   2024/06/01   2027/05/31     $73,828      $73,828      $54,499     $73,828

                                   WEILL MEDICAL COLL OF CORNELL Identification and characterization of clonal
46 F30AG085999   1F30AG085999-01   UNIV                          expansions in aging and aging-related disease           D'AVINO, ANDREW         Awarded. Fellowships only   2024/06/12   2028/06/11     $52,976      $52,976      $44,728     $52,976

                                                                    Training Veterinary Students for Careers in                                  Awarded. Non-fellowships
47 T35OD024982   5T35OD024982-05   JOHNS HOPKINS UNIVERSITY         Biomedical Research                                  MANKOWSKI, JOSEPH L     only                        2019/01/01   2025/12/31    $226,020     $226,020     $193,565     $34,126

                                   UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
48 T32AR007080   5T32AR007080-45   ARBOR                            Scientist Training in Rheumatology Research          KNIGHT, JASON           only                        1976/07/01   2028/06/30    $975,930     $975,930     $589,585    $366,092

                                   UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
49 T32MH019934   5T32MH019934-30   DIEGO                            Fellowship in Geriatric Mental Health                TWAMLEY, ELIZABETH W    only                        1994/09/01   2025/06/30   $1,997,983   $1,997,983   $2,147,149   $480,879

                                                                    ASCEND Training Model to Increase Diversity in the                           Awarded. Non-fellowships
50 TL4GM118974   5TL4GM118974-10   MORGAN STATE UNIVERSITY          Biomedical Research Workforce                        SHEIKHATTARI, PAYAM     only                        2014/09/26   2025/06/30   $3,739,408   $3,739,408   $3,889,561        $1

                                                                    Iowa Biotech-TP: Predoctoral Program in                                      Awarded. Non-fellowships
51 T32GM152268   1T32GM152268-01   UNIVERSITY OF IOWA               Biotechnology                                        SPIES, MARIA            only                        2024/07/01   2029/06/30    $425,555     $425,555     $198,010    $425,555

                                                                                                                                                 Awarded. Non-fellowships
52 T32GM152286   1T32GM152286-01   VANDERBILT UNIVERSITY            Molecular Biophysics Training Grant at Vanderbilt    CHAZIN, WALTER J        only                        2024/07/01   2029/06/30    $549,359     $549,359     $364,961    $549,359

                                   UNIVERSITY OF TX MD ANDERSON                                                                                  Awarded. Non-fellowships
53 T32CA009666   5T32CA009666-30   CAN CTR                          Research Training in Academic Medical Oncology       DAVIES, MICHAEL         only                        1994/09/30   2026/04/30   $2,769,707   $2,769,707   $2,916,388   $649,322

                                                                    Interdisciplinary Immunology Postdoctoral Training                           Awarded. Non-fellowships
54 T32AI007260   5T32AI007260-35   UNIVERSITY OF IOWA               Program                                              BUTLER, NOAH SULLIVAN   only                        1984/09/01   2025/06/30   $1,779,790   $1,779,790   $1,795,694   $391,642

                                                                                                                                                 Awarded. Non-fellowships
55 T32GM086287   2T32GM086287-16   YALE UNIVERSITY                  Research Training in Anesthesia                      SCHONBERGER, ROBERT     only                        2009/07/01   2029/06/30    $273,760     $273,760     $143,579    $273,760

                                                                                                                                                 Awarded. Non-fellowships
56 T32GM148384   5T32GM148384-02   MEDICAL COLLEGE OF WISCONSIN Specialized Training in Anesthesiology Team Science FREED, JULIE K               only                        2023/07/01   2028/06/30    $269,255     $269,255     $122,859    $184,180

                                   UNIVERSITY OF TEXAS HLTH SCI CTR Texas Medical Center Training Program in                                     Awarded. Non-fellowships
57 T32AI141349   5T32AI141349-05   HOUSTON                          Antimicrobial Resistance                             GARSIN, DANIELLE A      only                        2019/07/01   2025/06/30   $1,347,914   $1,347,914   $1,122,948   $290,670

                                                                                                                                                 Awarded. Non-fellowships
58 T32DA037202   5T32DA037202-10   DARTMOUTH COLLEGE                Training in the Science of Co-Occurring Disorders    MARSCH, LISA A          only                        2014/07/01   2025/06/30   $2,017,092   $2,017,092   $1,807,709   $473,746

                                                                                                                                                 Awarded. Non-fellowships
59 T32AI007245   2T32AI007245-41   HARVARD MEDICAL SCHOOL           Molecular Basis of Viral Infectivity                 KNIPE, DAVID M          only                        1983/07/01   2029/07/31    $591,696     $591,696     $318,234    $591,696

                                                                                                                                                 Awarded. Non-fellowships
60 T32AR067708   5T32AR067708-10   JOHNS HOPKINS UNIVERSITY         Training in Orthopaedic Team Science                 JONES, LYNNE C          only                        2015/06/01   2026/03/31    $996,327     $996,327     $842,646    $186,649

                                   UNIV OF MASSACHUSETTS MED SCH Prevention And Control of Cancer: Training for                                  Awarded. Non-fellowships
61 T32CA172009   5T32CA172009-10   WORCESTER                     Change in Individuals and Systems                       LEMON, STEPHENIE C      only                        2019/08/08   2025/07/31   $1,515,986   $1,515,986   $1,345,866   $359,813

                                   UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
62 T32HL007853   2T32HL007853-26   ARBOR                            Multidisciplinary Cardiovascular Research Training   PINSKY, DAVID J         only                        1996/09/30   2029/06/30    $802,268     $802,268     $157,486    $802,268

                                                                                                                                                 Awarded. Non-fellowships
63 T32GM008685   5T32GM008685-27   MAYO CLINIC ROCHESTER            Training Grant in Clinical Pharmacology              WANG, LIEWEI            only                        1998/07/01   2028/06/30    $676,938     $676,938     $642,724    $350,360

                                                                                                                                                 Awarded. Non-fellowships
64 T32CA090223   5T32CA090223-20   OHIO STATE UNIVERSITY            Tumor Immunology                                     CARSON, WILLIAM E       only                        2002/07/25   2025/08/31   $1,021,670   $1,021,670   $1,083,631   $323,426

                                                                    Chemical Biology of Infectious Diseases (CBID)                               Awarded. Non-fellowships
65 T32AI112541   5T32AI112541-10   VANDERBILT UNIVERSITY            Training Program                                     SKAAR, ERIC P           only                        2015/06/10   2025/08/31   $1,932,295   $1,932,295   $1,821,617   $391,315

                                                                    Functional domains of bone sialoprotein in
66 F30DE030358   5F30DE030358-03   OHIO STATE UNIVERSITY            dentoalveolar development and healing                CHAVEZ, MICHAEL B       Awarded. Fellowships only   2021/08/01   2025/07/31    $197,956     $197,956     $179,498     $47,594

                                                                                                                                                 Awarded. Non-fellowships
67 T32GM008620   5T32GM008620-25   UNIVERSITY OF CALIFORNIA-IRVINE Medical Scientist Training Program                    GOLDIN, ALAN L          only                        1999/07/01   2025/06/30   $2,910,655   $2,910,655   $2,858,111   $580,535

                                   UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
68 T32GM008516   2T32GM008516-31   PITTSBURGH                       Training in Trauma and Sepsis Research               BILLIAR, TIMOTHY R      only                        1994/07/01   2029/06/30    $601,928     $601,928     $275,712    $601,928
                                                                                                                                                     Awarded. Non-fellowships
69 T34GM110517   5T34GM110517-10     UNIVERSITY OF WEST FLORIDA       MARC at University of West Florida                     MOLEK, KAREN SINCLAIR   only                        2014/06/01   2025/05/31   $1,717,336   $1,717,336   $1,663,529   $298,913

                                     MASSACHUSETTS INSTITUTE OF       Graduate Training in Computational and Systems                                 Awarded. Non-fellowships
70 T32GM087237   5T32GM087237-15     TECHNOLOGY                       Biology                                                BURGE, CHRISTOPHER B    only                        2009/07/01   2025/06/30   $2,257,800   $2,257,800   $2,128,836   $530,535

                                     COLUMBIA UNIVERSITY HEALTH                                                                                      Awarded. Non-fellowships
71 T32CA285274   1T32CA285274-01     SCIENCES                         Multidisciplinary Training in Gastrointestinal Cancers ABRAMS, JULIAN          only                        2024/09/01   2029/08/31    $193,144     $193,144      $23,803    $193,144

                                     UNIVERSITY OF ILLINOIS AT                                                                                       Awarded. Non-fellowships
72 T32MH067631   5T32MH067631-20     CHICAGO                          Training in the Neuroscience of Mental Health          RASENICK, MARK M        only                        2004/07/01   2026/06/30   $1,776,786   $1,776,786   $1,665,286   $360,155

                                                                      Research on normal and abnormal mechanisms of                                  Awarded. Non-fellowships
73 T32EY007035   5T32EY007035-45     UNIVERSITY OF PENNSYLVANIA       vision                                                 CONTRERAS, DIEGO        only                        1976/07/01   2025/08/31    $689,954     $689,954     $730,013    $161,429

                                     UNIVERSITY OF MICHIGAN AT ANN    Surgical Scientist Training Grant in Health Services                           Awarded. Non-fellowships
74 T32GM008616   5T32GM008616-24     ARBOR                            and Translational Research                             BUCHMAN, STEVEN R       only                        1997/09/01   2026/06/30    $758,934     $758,934     $657,593    $203,326

                                                                                                                                                     Awarded. Non-fellowships
75 T32AA007577   5T32AA007577-25     LSU HEALTH SCIENCES CENTER       Biomedical Alcohol Research Training Program           MOLINA, PATRICIA E      only                        1999/09/22   2025/08/31   $2,185,354   $2,185,354   $1,975,437   $510,171

                                                                      Uncovering sources of human gene expression
76 F31HG012900   5F31HG012900-02     JOHNS HOPKINS UNIVERSITY         variation in a globally diverse cohort                 TAYLOR, DYLAN JAMES     Awarded. Fellowships only   2023/07/01   2025/09/26     $96,668      $96,668      $54,477     $48,974

                                                                      Decoding the Tissue of Origin of Cellular Damage       BAREFOOT, MEGAN
77 F30CA250307   5F30CA250307-03     GEORGETOWN UNIVERSITY            from Cell-free DNA in Liquid Biopsies                  EVELYN                  Awarded. Fellowships only   2021/07/01   2026/06/30    $121,362     $121,362     $121,362     $53,974

                                     UNIVERSITY OF CALIFORNIA SANTA Neuroresilience to hyper-gravity and desiccation in
78 F32AG081056   5F32AG081056-02     BARBARA                        tardigrade Hypsibius exemplaris                          KIRK, MOLLY J           Awarded. Fellowships only   2023/07/01   2026/06/30    $143,364     $143,364     $127,880     $74,284

                                                                      Machine learning approaches for multi-organ            LLOYD, DAVID
79 F31HL162516   5F31HL162516-02     UNIVERSITY OF HOUSTON            neuronal network mapping and modulation                ANDERSON                Awarded. Fellowships only   2022/09/01   2025/05/31     $72,908      $72,908      $52,238     $36,925

                                                                      Implementation and Outcomes of Child Protection
                                     UNIV OF NORTH CAROLINA           System Reporting Policies Regarding Infants Born
80 F31DA057756   5F31DA057756-02     CHAPEL HILL                      with Prenatal Substance Exposure                       REDDY, JULIA            Awarded. Fellowships only   2023/08/14   2025/08/13     $80,744      $80,744      $66,182     $41,012

                                     UNIVERSITY OF ILLINOIS AT        The Role of Endothelial ACKR1 in Triple-Negative
81 F30CA268764   5F30CA268764-02     CHICAGO                          Breast Cancer Metastasis                               ROACH, SAMUEL           Awarded. Fellowships only   2023/05/16   2026/05/15    $160,642     $160,642     $106,668     $53,974

                                     STATE UNIVERSITY OF              Mitigating ADA Through Site-specific Conjugation       BENJAMIN, SAMANTHA
82 F31GM148053   3F31GM148053-01S1   NY,BINGHAMTON                    Technology                                             RENE                    Awarded. Fellowships only   2022/12/08   -             $118,160     $118,160      $82,782      $2,500

                                     UNIVERSITY OF ALABAMA AT         CTSA Predoctoral T32 at the University of Alabama                              Awarded. Non-fellowships
83 T32TR004767   1T32TR004767-01     BIRMINGHAM                       at Birmingham                                          POLLOCK, JENNIFER S     only                        2024/07/01   2029/06/30    $562,319     $562,319     $356,693    $562,319

                                                                   NJ ACTS: A Platform for Translational Science in New
                                     RUTGERS BIOMEDICAL AND HEALTH Jersey: CTSA Predoctoral T32 at Rutgers, Biomedical                               Awarded. Non-fellowships
84 T32TR004782   1T32TR004782-01     SCIENCES                      Health Sciences                                      SCOTTO, KATHLEEN W           only                        2024/09/01   2029/08/31    $298,670     $298,670           $0    $298,670

                                     WAKE FOREST UNIVERSITY HEALTH                                                                                   Awarded. Non-fellowships
85 T32CA247819   5T32CA247819-05     SCIENCES                         Translational Oncology Training Program                WATABE, KOUNOSUKE       only                        2020/04/01   2026/03/31   $1,409,113   $1,409,113   $1,158,759   $266,711

                                                                   Training in Systems Pharmacology and Toxicology (T-                               Awarded. Non-fellowships
86 T32GM150536   5T32GM150536-02     UNIV OF ARKANSAS FOR MED SCIS SPaT)                                               PRATHER, PAUL L               only                        2023/07/01   2028/06/30    $355,622     $355,622     $268,282    $181,576

                                                                      Cornell University Combined DVM-PhD Medical            IVANEK MIOJEVIC,        Awarded. Non-fellowships
87 T32GM150453   5T32GM150453-02     CORNELL UNIVERSITY               Scientist Training Program (MSTP)                      RENATA                  only                        2023/07/01   2028/06/30    $471,958     $471,958     $403,401    $239,744

                                                                      CHD4-MEDIATED TRANSCRIPTIONAL REGULATION OF
                                     UNIVERSITY OF COLORADO           PANCREATIC BETA CELL DEVELOPMENT AND
88 F31DK131769   5F31DK131769-03     DENVER                           FUNCTION                                    SARBAUGH, DYLAN                    Awarded. Fellowships only   2022/07/01   2025/06/30    $118,310     $118,310     $105,053     $40,604

                                                                      Investigating a role for Wnt-associated planar
                                     UNIV OF NORTH CAROLINA           polarity in collective migration of human intestinal
89 F31DK136305   5F31DK136305-02     CHAPEL HILL                      epithelium                                             BREAU, KEITH            Awarded. Fellowships only   2023/06/01   2026/05/31     $79,556      $79,556      $73,287     $40,418

                                                                      Training Program for Interactionist Cognitive                                  Awarded. Non-fellowships
90 T32MH115895   2T32MH115895-06     BROWN UNIVERSITY                 Neuroscience (ICoN)                                    FRANK, MICHAEL J        only                        2019/07/01   2029/06/30    $245,939     $245,939     $156,906    $245,939
                                                                        Pharmacology and Molecular Sciences Training                                   Awarded. Non-fellowships
 91 T32GM135083   5T32GM135083-05     JOHNS HOPKINS UNIVERSITY          Program                                               FREEL MEYERS, CAREN L    only                        2020/07/01   2025/06/30   $2,301,705   $2,301,705   $2,153,199   $396,918

                                                                      Defining the role of perineuronal nets in Alzheimers    BARAHONA, ROCIO
 92 F31AG082501   5F31AG082501-02     UNIVERSITY OF CALIFORNIA-IRVINE Disease pathology                                       ALEJANDRA                Awarded. Fellowships only   2023/07/01   2025/06/30     $88,489      $88,489      $81,153     $45,241

                                      SLOAN-KETTERING INST CAN          Investigational Cancer Therapeutics Training                                   Awarded. Non-fellowships
 93 T32CA009207   2T32CA009207-46     RESEARCH                          Program (ICTTP)                                       DRILON, ALEXANDER        only                        1977/09/30   2029/08/31    $584,360     $584,360     $323,281    $584,360

                                                                                                                                                       Awarded. Non-fellowships
 94 T32EB034215   1T32EB034215-01A1   UNIVERSITY OF COLORADO            Biofabrication Training Program                       BRYANT, STEPHANIE J      only                        2024/06/01   2029/05/31    $111,384     $111,384      $34,277    $111,384

                                      CALIFORNIA INSTITUTE OF           Characterizing the RNA-mediated recruitment of
 95 F30CA278005   5F30CA278005-02     TECHNOLOGY                        histone deacetylases to chromatin                     GUO, JAMES KANG          Awarded. Fellowships only   2023/06/01   2028/05/31    $160,642     $160,642      $87,542     $53,974

                                      BOSTON UNIVERSITY MEDICAL         BUSPH Interdisciplinary Training Program for                                Awarded. Non-fellowships
 96 T32GM140972   5T32GM140972-04     CAMPUS                            Biostatisticians                                      WHITE, LAURA FORSBERG only                           2021/07/01   2026/06/30   $1,265,077   $1,265,077   $1,128,541   $439,487

                                      UNIVERSITY OF MARYLAND                                                                                           Awarded. Non-fellowships
 97 T32AI095190   5T32AI095190-12     BALTIMORE                         Signaling Pathways in Innate Immunity                 VOGEL, STEFANIE N        only                        2012/06/15   2028/07/31    $978,240     $978,240     $749,600    $525,332

                                                                                                                                                       Awarded. Non-fellowships
 98 T32AR048522   2T32AR048522-21     JOHNS HOPKINS UNIVERSITY          Multidisciplinary Rheumatology Training Program       BINGHAM, CLIFTON O       only                        2003/07/01   2029/06/30    $163,741     $163,741     $238,981    $163,741

                                                                                                                                                       Awarded. Non-fellowships
 99 T32DA022975   2T32DA022975-16     YALE UNIVERSITY                   Neuroimaging Sciences Training Program                MASON, GRAEME F          only                        2007/07/01   2029/06/30    $534,979     $534,979     $336,848    $534,979

                                                                        Internally and externally driven arousal changes in
100 F30MH129056   5F30MH129056-03     CARNEGIE-MELLON UNIVERSITY        neural activity and hemodynamics                      ISSAR, DEEPA             Awarded. Fellowships only   2022/06/01   2026/05/31    $158,420     $158,420     $142,204     $53,974

                                                                                                                                                       Awarded. Non-fellowships
101 T34GM136453   5T34GM136453-05     UNIVERSITY OF KANSAS LAWRENCE MARC at The University of Kansas                          CARTWRIGHT, PAULYN       only                        2020/06/01   2026/05/31   $1,427,981   $1,427,981   $1,263,708   $225,369

                                                                        Cancer-associated fibroblasts promote thyroid
102 F30CA281125   5F30CA281125-02     VANDERBILT UNIVERSITY             cancer malignancy through Wnt signaling               LOBERG, MATTHEW A        Awarded. Fellowships only   2023/06/01   2026/05/31     $86,257      $86,257      $61,713     $53,373

                                                                                                                                                       Awarded. Non-fellowships
103 T32DK101003   2T32DK101003-11     VANDERBILT UNIVERSITY             Integrated Training in Engineering and Diabetes       YOUNG, JAMEY D           only                        2014/08/01   2029/07/31    $323,462     $323,462      $53,532    $323,462

                                                                                                                                                       Awarded. Non-fellowships
104 T34GM141143   5T34GM141143-04     UNIVERSITY OF IOWA                MARC at University of Iowa                            ADAMS-PHILLIPS, LORI C   only                        2021/06/01   2026/05/31   $1,523,344   $1,523,344   $1,283,455   $437,776

                                      OREGON HEALTH & SCIENCE                                                                                        Awarded. Non-fellowships
105 T32GM142619   5T32GM142619-04     UNIVERSITY                        Program in Biomedical Sciences                        TYNER, JEFFREY WALLACE only                          2021/07/01   2026/06/30   $2,087,885   $2,087,885   $1,894,992   $549,359

                                      UNIVERSITY OF ALABAMA AT                                                                                         Awarded. Non-fellowships
106 T34GM153703   1T34GM153703-01     BIRMINGHAM                        MARC at the University of Alabama at Birmingham       GRAY, MICHELLE           only                        2024/06/01   2029/05/31    $140,184     $140,184      $63,054    $140,184

                                                                      Characterizing the biochemistry and dynamics of
                                      STATE UNIVERSITY NEW YORK STONY the immune suppressive CXCL12 coat in pancreatic MORESCO, PHILIP
107 F30CA265134   5F30CA265134-04     BROOK                           cancer                                           ANDREW                          Awarded. Fellowships only   2021/07/16   2026/07/15    $171,284     $171,284     $146,772     $53,974

                                                                                                                                                       Awarded. Non-fellowships
108 T32DK007066   5T32DK007066-50     UNIVERSITY OF PENNSYLVANIA        Training Program in Gastrointestinal Sciences         KATZ, JONATHAN P         only                        1975/07/01   2025/06/30   $3,189,216   $3,189,216   $3,109,187   $625,531

                                      UNIVERSITY OF CALIFORNIA, SAN     U C San Diego Medical Student Summer Aging                                     Awarded. Non-fellowships
109 T35AG026757   5T35AG026757-20     DIEGO                             Research Training                                     HAN, BENJAMIN HYUN       only                        2005/06/01   2026/05/31    $383,142     $383,142     $380,144     $14,195

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
110 T32DK060414   5T32DK060414-23     FRANCISCO                         NRSA Hepatology Training Grant                        MAHER, JACQUELYN J       only                        2001/12/01   2027/06/30    $909,183     $909,183     $884,758    $354,720

                                                                                                                                                       Awarded. Non-fellowships
111 T34GM145436   5T34GM145436-02     UNIVERSITY OF TEXAS DALLAS        MARC Program at the University of Texas at Dallas     BURTON, MICHAEL D        only                        2023/06/01   2028/05/31    $325,132     $325,132     $254,143    $215,495

                                                                        The role of MKP-1/MAPK in hepatocytes and
                                                                        macrophages in alcohol-associated liver disease
112 F31AA030934   5F31AA030934-02     UNIVERSITY OF LOUISVILLE          pathogenesis                                          WALTER, MARY NANCY       Awarded. Fellowships only   2023/07/01   2026/06/30     $74,204      $74,204      $56,215     $37,742

                                                                        How the short-term influence of drinking
                                                                        consequences shapes the development of
113 F31AA031153   5F31AA031153-02     UNIVERSITY OF WASHINGTON          expectancies: An event-level study                    SCHULTZ, MEGAN           Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $80,406     $48,974
                                                                        Interdisciplinary Training for Vascular Surgeon        UPCHURCH, GILBERT     Awarded. Non-fellowships
114 T32HL160491   5T32HL160491-03     UNIVERSITY OF FLORIDA             Scientists                                             RIVERS                only                        2022/07/01   2027/06/30    $865,830     $865,830     $796,403    $360,176

                                                                        Graduate Training Program in Computational
                                                                        Biology, Bioinformatics and Biomedical Data                                  Awarded. Non-fellowships
115 T32GM142603   5T32GM142603-03     UNIVERSITY OF DELAWARE            Science (CBB)                                          POLSON, SHAWN W       only                        2022/07/01   2027/06/30    $959,723     $959,723     $647,624    $302,478

                                                                        Predoctoral Training Program in Signaling and                                Awarded. Non-fellowships
116 T32GM142607   5T32GM142607-04     UNIVERSITY OF COLORADO            Cellular Regulation                                    AHN, NATALIE G        only                        2021/07/01   2026/06/30   $2,506,220   $2,506,220   $2,148,475   $566,831

                                                                        Investigating Metabolically Protective Members of
117 F30DK127846   5F30DK127846-04     UNIVERSITY OF UTAH                the Microbiota that Modulate Ceramides                 KLAG, KENDRA ALYSE    Awarded. Fellowships only   2021/07/01   2025/06/30    $197,090     $197,090     $157,116     $53,974

                                                                        Using Functional Neuroimaging and Smartphone
                                      UNIV OF MARYLAND, COLLEGE         Digital Phenotyping to Understand the Emergence
118 F31MH132280   5F31MH132280-02     PARK                              of Internalizing Illness                               GROGANS, SHANNON      Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668      $69,800     $48,974

                                      NORTHWESTERN UNIVERSITY AT                                                                                     Awarded. Non-fellowships
119 T32GM144295   5T32GM144295-03     CHICAGO                           Medical Scientist Training Program                     HAUSER, ALAN R        only                        2022/07/01   2027/06/30   $5,425,795   $5,425,795   $4,618,020 $1,798,078

                                      UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
120 T32AI049820   5T32AI049820-20     PITTSBURGH                        Viral Persistence and Pathogenesis                     DELUCA, NEAL A        only                        2001/07/01   2025/06/30   $1,518,378   $1,518,378   $1,297,301   $273,221

                                                                        Infectious Disease/Basic Microbial Pathogenic                                Awarded. Non-fellowships
121 T32AI007172   5T32AI007172-44     WASHINGTON UNIVERSITY             Mechanisms                                             GOLDBERG, DANIEL E    only                        1980/09/15   2026/06/30   $2,281,300   $2,281,300   $2,002,941   $581,385

                                                                                                                                                     Awarded. Non-fellowships
122 T32DA007261   5T32DA007261-33     WASHINGTON UNIVERSITY             Biomedical Research Training in Drug Abuse             AGRAWAL, ARPANA       only                        1991/09/30   2027/06/30   $1,415,727   $1,415,727   $1,251,369   $486,801

                                                                        Molecular mechanisms driving cessation of neural
                                      CALIFORNIA INSTITUTE OF           crest migration and aggregation into cranial           URRUTIA, HUGO
123 F31DE031154   5F31DE031154-04     TECHNOLOGY                        ganglia                                                ALEXANDER             Awarded. Fellowships only   2021/07/01   2026/06/30    $242,430     $242,430     $179,152     $49,774

                                                                                                                               LEONARD, JOSHUA       Awarded. Non-fellowships
124 T32GM153505   1T32GM153505-01     NORTHWESTERN UNIVERSITY           Biotechnology Predoctoral Training Program             NATHANIEL             only                        2024/07/01   2029/06/30    $549,359     $549,359     $261,013    $549,359

                                                                        Selective neuronal autophagy in phosphorylated
125 F31AG082393   5F31AG082393-02     HARVARD MEDICAL SCHOOL            tau degradation and Alzheimers disease                 AUGUR, ZACHARY MARK Awarded. Fellowships only     2023/06/01   2026/05/31     $84,632      $84,632      $75,980     $42,956

                                                                        Boston University Medical Campus- Massachusetts
                                                                        General Hospital Global Psychiatric Clinical                                 Awarded. Non-fellowships
126 T32MH135857   1T32MH135857-01     BOSTON MEDICAL CENTER             Research Training Program                              HENDERSON, DAVID C    only                        2024/07/01   2029/06/30    $412,778     $412,778     $156,457    $412,778

                                                                        Johns Hopkins HIV Epidemiology and Prevention                                Awarded. Non-fellowships
127 T32AI102623   5T32AI102623-12     JOHNS HOPKINS UNIVERSITY          Sciences Training Program                              MEHTA, SHRUTI H       only                        2013/06/01   2028/05/31   $1,456,410   $1,456,410    $765,521    $498,297

                                                                                                                                                     Awarded. Non-fellowships
128 T32GM145431   5T32GM145431-02     UNIVERSITY OF UTAH                University of Utah Medical Scientist Training Program KAY, MICHAEL S         only                        2023/07/01   2028/06/30    $707,937     $707,937     $616,037    $359,616

                                      UNIVERSITY OF MICHIGAN AT ANN     Multidisciplinary Training Program in Basic Diabetes   MACDOUGALD,           Awarded. Non-fellowships
129 T32DK101357   2T32DK101357-11     ARBOR                             Research                                               ORMOND A              only                        2014/09/01   2029/08/31    $360,546     $360,546     $210,191    $360,546

                                      CINCINNATI CHILDRENS HOSP MED Developmental roles of Nr2f1 and Nr2f2 in the
130 F31DE032261   5F31DE032261-03     CTR                           vertebrate cranial neural crest                            PAULDING, DAVID       Awarded. Fellowships only   2022/07/01   2025/06/30    $124,918     $124,918     $101,618     $42,986

                                      UNIVERSITY OF ILLINOIS AT URBANA- Research Training Program in Toxicology and                                  Awarded. Non-fellowships
131 T32ES007326   5T32ES007326-25     CHAMPAIGN                         Environmental Health                                   FLAWS, JODI A         only                        2000/07/01   2025/06/30   $1,843,984   $1,843,984   $1,588,784   $382,948

                                                                        Regional Postdoctoral Training Grant in Eating                               Awarded. Non-fellowships
132 T32MH082761   2T32MH082761-16     UNIVERSITY OF MINNESOTA           Disorders Research                                     PETERSON, CAROL B     only                        2009/07/01   2029/06/30    $360,361     $360,361     $236,380    $360,361

                                                                      Training Program in Neuroscience at Stony Brook
                                      STATE UNIVERSITY NEW YORK STONY University: Fostering Quantitative Literacy and                                Awarded. Non-fellowships
133 T32NS131129   1T32NS131129-01A1   BROOK                           Experimental Rigor                                       MAFFEI, ARIANNA       only                        2024/07/10   2029/06/30    $110,844     $110,844      $62,070    $110,844

                                      UNIVERSITY OF MIAMI SCHOOL OF     Ischemic Stroke in Cerebral Amyloid Angiopathy:        COLBERT, OLIVIA
134 F31NS125905   5F31NS125905-03     MEDICINE                          Microvascular Injury and Recovery                      MARLOWE               Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $132,381     $48,974

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                   Awarded. Non-fellowships
135 T32EB016640   2T32EB016640-11     ANGELES                           Medical Imaging Informatics Training Grant             BUI, ALEX             only                        2013/09/01   2029/06/30    $220,762     $220,762     $149,260    $220,762
                                      UNIVERSITY OF ALABAMA AT                                                                    HJELMELAND, ANITA      Awarded. Non-fellowships
136 T32NS121721   1T32NS121721-01A1   BIRMINGHAM                       Training Program in Brain Tumor Biology                    BORTON                 only                        2024/07/01   2029/06/30    $169,941     $169,941     $118,098    $169,941

                                                                       Structural biology and molecular biophysics training                              Awarded. Non-fellowships
137 T32GM132039   2T32GM132039-06     UNIVERSITY OF PENNSYLVANIA       program                                              BLACK, BEN E                 only                        2019/07/01   2029/06/30    $439,487     $439,487     $338,070    $439,487

                                                                       Predoctoral Training Program in Molecular                                         Awarded. Non-fellowships
138 T32GM144233   5T32GM144233-03     MAYO CLINIC ROCHESTER            Pharmacology                                               CHOI, DOO-SUP          only                        2022/07/01   2027/06/30    $960,154     $960,154     $782,776    $329,616

                                      VIRGINIA COMMONWEALTH            Virginia Commonwealth University Maximizing                GOLDING, SARAH         Awarded. Non-fellowships
139 T34GM149502   5T34GM149502-02     UNIVERSITY                       Access to Research Careers (VCU MARC)                      ELIZABETH              only                        2023/06/01   2028/05/31    $689,556     $689,556     $519,929    $344,778

                                                                       Predoctoral Training at the Interface Chemistry and CRAWFORD, JASON               Awarded. Non-fellowships
140 T32GM149444   5T32GM149444-02     YALE UNIVERSITY                  Biology                                             MICHAEL                       only                        2023/07/01   2028/06/30   $1,079,894   $1,079,894    $821,772    $549,359

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                       Awarded. Non-fellowships
141 T34GM153514   1T34GM153514-01     ANGELES                          MARC at the University of California, Los Angeles          MCEVOY, MEGAN M        only                        2024/06/01   2029/05/31    $734,566     $734,566     $574,234    $734,566

                                                                       Interdisciplinary Nurse Scientist Training in Multilevel                        Awarded. Non-fellowships
142 T32NR016913   5T32NR016913-08     UNIVERSITY OF WASHINGTON         Approaches: Biology to Society                             DOUGHERTY, CYNTHIA M only                          2017/07/01   2027/06/30   $1,173,264   $1,173,264    $950,764    $399,763

                                                                       Clinical Neuroscience Research Training Program in PITTENGER, CHRISTOPHER Awarded. Non-fellowships
143 T32MH019961   2T32MH019961-26A1   YALE UNIVERSITY                  Psychiatry                                         JOHN                   only                                1996/09/30   2029/06/30    $629,666     $629,666     $194,311    $331,731

                                                                       Graduate Training Program in Comparative                                          Awarded. Non-fellowships
144 T32OD011000   5T32OD011000-30     CORNELL UNIVERSITY               Medicine                                                   PARKER, JOHN S         only                        1995/07/20   2026/05/31   $2,515,994   $2,515,994   $1,726,363   $605,148

                                      UNIVERSITY OF COLORADO                                                                                             Awarded. Non-fellowships
145 T32DK063687   2T32DK063687-21     DENVER                           Developing Pediatric Endocrinologist for the Future        STECK, ANDREA          only                        2002/09/30   2029/06/30    $350,735     $350,735     $110,841    $350,735

                                                                       The Role of the Midbrain Reticular Nucleus in Vision
146 F30EY035113   5F30EY035113-02     UNIVERSITY OF WASHINGTON         and Perceptual Decision-Making                             SHAKER, JORDAN ROBERT Awarded. Fellowships only    2023/06/01   2027/05/31     $88,446      $88,446      $81,990     $44,863

                                      UNIVERSITY OF MIAMI SCHOOL OF    Cross-disciplinary research opportunity for training in                           Awarded. Non-fellowships
147 T32AG081170   1T32AG081170-01A1   MEDICINE                         AD/ADRD science (CROSSROADS)                            RUNDEK, TATJANA           only                        2024/06/01   2029/05/31    $277,669     $277,669      $39,161    $277,669

                                                                       Characterization of sodium dependent phosphate
148 F30DE029094   5F30DE029094-06     UNIVERSITY OF WASHINGTON         transporter 2 signaling in hard tissue mineralization      WALCZAK, PHILIP ADAM   Awarded. Fellowships only   2019/07/01   2025/06/30    $293,192     $293,192     $277,919     $49,374

                                      BECKMAN RESEARCH                                                                                                   Awarded. Non-fellowships
149 T32CA221709   2T32CA221709-06A1   INSTITUTE/CITY OF HOPE           Cancer Metabolism Training Program                         ANN, DAVID K           only                        2018/09/01   2029/05/31    $523,948     $523,948     $135,833    $248,089

                                                                      Surgical Oncology Research Training at Indiana                                     Awarded. Non-fellowships
150 T32CA282070   1T32CA282070-01A1   INDIANA UNIVERSITY INDIANAPOLIS (SORTI)                                                     BILIMORIA, KARL Y      only                        2024/09/01   2029/08/31    $411,824     $411,824     $220,477    $411,824

                                      UNIVERSITY OF PITTSBURGH AT      Training Program in Imaging Sciences in                    VILLANUEVA, FLORDELIZA Awarded. Non-fellowships
151 T32HL129964   5T32HL129964-09     PITTSBURGH                       Translational Cardiovascular Research                      S                      only                        2016/07/01   2026/06/30   $1,935,426   $1,935,426   $1,635,264   $566,981

                                      UNIVERSITY OF PITTSBURGH AT      Autoimmunity and Immunopathology Training                                         Awarded. Non-fellowships
152 T32AI089443   5T32AI089443-15     PITTSBURGH                       Program                                                    SHLOMCHIK, MARK J      only                        2010/09/01   2025/08/31   $2,642,242   $2,642,242   $2,334,204   $535,713

                                      UNIV OF NORTH CAROLINA           Pre-doctoral Training Program in Integrative                                      Awarded. Non-fellowships
153 T32HL069768   5T32HL069768-23     CHAPEL HILL                      Vascular Biology                                           MACK, CHRISTOPHER P    only                        2002/04/01   2027/06/30   $1,471,125   $1,471,125   $1,354,452   $489,576

                                                                       Research Training in Pediatric Non-Malignant                                      Awarded. Non-fellowships
154 T32HL139443   5T32HL139443-07     EMORY UNIVERSITY                 Hematology                                                 MEEKS, SHANNON L       only                        2018/07/01   2028/06/30    $583,023     $583,023     $451,049    $212,166

                                                                       Role of HIV-1 capsid in innate sensing of viral nucleic
155 F31AI167695   5F31AI167695-03     WASHINGTON UNIVERSITY            acids                                                   ESCHBACH, JENNA           Awarded. Fellowships only   2022/09/01   2025/08/31    $101,276     $101,276      $84,281     $34,926

                                                                                                                                                         Awarded. Non-fellowships
156 T32GM149438   5T32GM149438-02     YALE UNIVERSITY                  Predoctoral Program in Biophysics                          XIONG, YONG            only                        2023/07/01   2028/06/30   $1,295,873   $1,295,873    $982,295    $659,231

                                                                                                                                                         Awarded. Non-fellowships
157 T32NS105607   5T32NS105607-07     UNIVERSITY OF PENNSYLVANIA       Graduate Training in Neuroscience                          MA, MINGHONG           only                        2018/07/01   2028/06/30   $1,208,847   $1,208,847   $1,121,885   $566,373

                                      COLUMBIA UNIVERSITY HEALTH       Dental-Biomedical Engineering Scholars Training (D-                               Awarded. Non-fellowships
158 T90DE032123   5T90DE032123-02     SCIENCES                         BEST) Program                                       WADHWA, SUNIL                 only                        2023/07/01   2028/06/30    $437,135     $437,135     $103,840    $329,548

                                      ROSWELL PARK CANCER INSTITUTE                                                                                      Awarded. Non-fellowships
159 T32CA085183   5T32CA085183-22     CORP                             Multidisciplinary Approaches to Tumor Immunology           ABRAMS, SCOTT I        only                        2001/07/01   2028/08/31    $287,898     $287,898     $233,063    $143,799
                                    UNIVERSITY OF CALIFORNIA, SAN     Dual protease activated peptides for specific        TACKIE-YARBOI, ETHEL
160 F32GM150255   5F32GM150255-02   FRANCISCO                         targeting                                            NAA ODEY                Awarded. Fellowships only   2023/07/01   2025/06/30    $143,364     $143,364     $122,488     $74,284

                                    UNIVERSITY OF COLORADO                                                                                      Awarded. Non-fellowships
161 T32NS099042   5T32NS099042-22   DENVER                            Neuroscience Training Grant                          SCHOPPA, NATHAN ERIC only                           2017/03/01   2028/06/30    $467,952     $467,952     $466,127    $187,950

                                    UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
162 T32HL098036   5T32HL098036-15   PITTSBURGH                        Vascular Surgery Research Training (VascTrain)       TZENG, EDITH            only                        2010/07/01   2025/06/30   $2,459,871   $2,459,871   $2,198,444   $339,068

                                                                      Comprehensive Training in Inter-Disciplinary Oral                            Awarded. Non-fellowships
163 T90DE021984   5T90DE021984-13   UNIVERSITY OF WASHINGTON          Health Research                                      RAMSAY, DOUGLAS S       only                        2012/07/01   2027/06/30   $1,780,685   $1,780,685   $1,356,356   $625,452

                                                                      Elucidating the impact of FIC-1/FICD-mediated
                                    UNIVERSITY OF MICHIGAN AT ANN     AMPylation on polyglutamine aggregation
164 F31NS127485   5F31NS127485-03   ARBOR                             dynamics and toxicity                                VAN PELT, KATE MATTHYS Awarded. Fellowships only    2022/07/01   2025/06/30    $123,094     $123,094     $114,687     $42,652

                                    ICAHN SCHOOL OF MEDICINE AT       Neural Mechanisms Driving Comorbid Parkinsons
165 F31CA268947   5F31CA268947-03   MOUNT SINAI                       and Melanoma                                         DEL VALLE, PAMELA       Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $143,195     $48,974

                                    UNIVERSITY OF MICHIGAN AT ANN                                                                                  Awarded. Non-fellowships
166 T32GM007863   5T32GM007863-45   ARBOR                             Michigan Medical Scientist Training Program          COLLINS, KATHLEEN L     only                        1980/08/01   2025/06/30   $7,735,661   $7,735,661   $7,605,360 $1,618,270

                                    UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
167 TL1TR001858   5TL1TR001858-09   PITTSBURGH                        J. NRSA Training Core                                RADOMSKI, THOMAS        only                        2016/07/12   2026/05/31   $3,377,942   $3,377,942   $3,386,973   $999,896

                                                                                                                                                   Awarded. Non-fellowships
168 T32GM135141   5T32GM135141-05   RUTGERS, THE STATE UNIV OF N.J.   Rutgers Biotechnology Training Program               YARMUSH, MARTIN L       only                        2020/07/01   2025/06/30   $2,225,461   $2,225,461   $2,098,956   $460,879

                                                                      Clinical Outcomes Research Training in Female                                Awarded. Non-fellowships
169 T32DK120497   5T32DK120497-05   WASHINGTON UNIVERSITY             Lower Urinary Tract Disorders                        LOWDER, JERRY LANE      only                        2020/07/01   2025/06/30    $878,574     $878,574     $777,652    $192,038

                                                                                                                                                   Awarded. Non-fellowships
170 T32DK064466   5T32DK064466-22   INDIANA UNIVERSITY INDIANAPOLIS Diabetes and Obesity Training Grant                    WEK, RONALD C           only                        2003/07/01   2028/06/30    $652,077     $652,077     $524,137    $301,093

                                                                                                                                                   Awarded. Non-fellowships
171 T32HL007093   5T32HL007093-50   UNIVERSITY OF WASHINGTON          HEMATOLOGY TRAINING                                  ABKOWITZ, JANIS L       only                        1975/07/01   2025/06/30   $3,369,698   $3,369,698   $2,806,868   $481,126

                                    UNIVERSITY OF NEBRASKA MEDICAL                                                                                 Awarded. Non-fellowships
172 T32CA009476   5T32CA009476-33   CENTER                         Cancer Biology Training Program                         BLACK, JENNIFER D       only                        1997/08/22   2025/06/30   $1,130,716   $1,130,716   $1,096,879   $235,864

                                                                                                                           MAGUIRE-ZEISS, KATHLEEN Awarded. Non-fellowships
173 T32NS041218   5T32NS041218-23   GEORGETOWN UNIVERSITY             Neural Injury & Plasticity                           ANNE                    only                        2001/07/15   2027/06/30    $558,674     $558,674     $494,332    $162,589

                                    UNIVERSITY OF MARYLAND                                                                                      Awarded. Non-fellowships
174 T32NS063391   5T32NS063391-20   BALTIMORE                         Multidisciplinary Training Program in Neuroscience   MONG, JESSICA AURORA only                           2000/09/01   2025/06/30   $1,277,491   $1,277,491   $1,186,965   $181,926

                                                                      Development of Novel Biphilic Phosphorus Catalysts
                                    MASSACHUSETTS INSTITUTE OF        via Computational Modeling and Multidimensional LAVAGNINO, MARISSA
175 F32GM147996   5F32GM147996-03   TECHNOLOGY                        Analysis                                           NICOLE                    Awarded. Fellowships only   2022/08/17   2025/08/16    $210,154     $210,154     $175,370     $74,284

                                                                                                                                                   Awarded. Non-fellowships
176 T32NS007338   5T32NS007338-35   UNIVERSITY OF ROCHESTER           Experimental Therapeutics in Neurological Disease    GRIGGS, ROBERT C        only                        1990/07/01   2025/06/30   $1,559,759   $1,559,759   $1,522,962    $34,076

                                    UNIVERSITY OF ILLINOIS AT URBANA- Summer Training in Translational Biomedical                                  Awarded. Non-fellowships
177 T35OD011145   5T35OD011145-20   CHAMPAIGN                         Research                                             MAHONEY, MEGAN M        only                        2005/09/25   2025/07/31    $348,696     $348,696     $274,304     $74,192

                                                                      Molecular Origins of Phenotypic Changes in the
178 F31HL165916   5F31HL165916-03   AUGUSTA UNIVERSITY                Obese Microvascular Endothelium                      SELLERS, HUNTER GAGE    Awarded. Fellowships only   2022/08/19   2025/08/18    $143,420     $143,420      $89,139     $48,974

                                                                      The role of supporting cell de-differentiation in
179 F31DC020882   5F31DC020882-03   JOHNS HOPKINS UNIVERSITY          cochlear hair cell regeneration                      MORGAN, CHARLES         Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $132,705     $48,974

                                                                 Regulation of neuronal activity in the
180 F31DA054759   5F31DA054759-04   MEDICAL COLLEGE OF WISCONSIN paraventricular thalamus by chronic morphine              FRIEDMAN, VLADISLAV     Awarded. Fellowships only   2021/08/10   2026/08/09    $189,456     $189,456     $174,243     $48,974

                                    UNIVERSITY OF ILLINOIS AT         Improving AAV-based gene therapy for Krabbe
181 F30HD103447   5F30HD103447-04   CHICAGO                           Disease                                              HELLER, GREGORY J       Awarded. Fellowships only   2021/07/01   2025/06/30    $209,456     $209,456     $198,235     $53,974

                                                                                                                                                   Awarded. Non-fellowships
182 T32GM142623   5T32GM142623-03   UNIVERSITY OF GEORGIA             T32 Predoctoral Training Grant in Genetics           DYER, KELLY A           only                        2022/07/01   2027/06/30   $1,280,204   $1,280,204   $1,088,528   $439,487
                                    UNIVERSITY OF MISSOURI-                                                                                             Awarded. Non-fellowships
183 T32AA013526   5T32AA013526-23   COLUMBIA                          Psychology of Alcohol and Addiction Training            MCCARTHY, DENIS M         only                        2002/07/01   2027/06/30   $1,612,940   $1,612,940    $799,629    $560,845

                                    FLORIDA INTERNATIONAL                                                                                               Awarded. Non-fellowships
184 T32ES033955   5T32ES033955-02   UNIVERSITY                        Training in Environmental Neuroscience                  LUCCHINI, ROBERTO G       only                        2023/07/01   2028/06/30    $599,918     $599,918     $338,737    $354,567

                                    UNIVERSITY OF CONNECTICUT SCH Skeletal, Craniofacial and Oral Biology Training                                      Awarded. Non-fellowships
185 T90DE033006   5T90DE033006-02   OF MED/DNT                    Grant                                                       MINA, MINA                only                        2023/07/01   2028/06/30    $973,497     $973,497     $498,407    $501,302

                                    NEW YORK UNIVERSITY SCHOOL OF Syntactic control of lexical activation during speech
186 F32DC019533   5F32DC019533-03   MEDICINE                      production - Resubmission - 1                         MORGAN, ADAM M                  Awarded. Fellowships only   2022/07/01   2025/06/30    $218,265     $218,265     $198,533     $78,892

                                                                                                                                                        Awarded. Non-fellowships
187 T32CA269115   5T32CA269115-02   MEDICAL COLLEGE OF WISCONSIN Biobehavioral Oncology Training Program                      STOLLEY, MELINDA R        only                        2023/07/01   2028/06/30    $536,423     $536,423     $282,844    $366,411

                                    UNIVERSITY OF CALIFORNIA, SAN     Deteriming the Role of Caspase Cleaved Tau in
188 F32AG072822   5F32AG072822-03   FRANCISCO                         Alzheimer’s Disease                                     AMBROSE, ANDREW J         Awarded. Fellowships only   2022/08/01   2025/07/31    $231,766     $231,766     $200,645     $83,392

                                                                      Neural Mechanisms of Obesity-Induced
189 F31HL168820   5F31HL168820-02   UNIVERSITY OF IOWA                Hypertension                                            LAULE, CONNOR             Awarded. Fellowships only   2023/06/01   2026/05/31     $70,120      $70,120      $52,647     $35,700

                                                                      Defining the molecular impact of 16p11.2 deletion
                                                                      on reward response in striatal dopamine receptor
190 F31MH134542   5F31MH134542-02   UNIVERSITY OF IOWA                D1-expressing neurons                                   KELVINGTON, BENJAMIN      Awarded. Fellowships only   2023/07/01   2026/06/30     $70,680      $70,680      $63,249     $35,829

                                                                      Training Program on Genetic Variation and Human                                   Awarded. Non-fellowships
191 T32GM145734   5T32GM145734-03   VANDERBILT UNIVERSITY             Phenotypes                                              SAMUELS, DAVID C          only                        2022/07/01   2027/06/30    $960,154     $960,154     $739,241    $329,616

                                    STATE UNIVERSITY NEW YORK STONY                                                                                     Awarded. Non-fellowships
192 T32GM008444   5T32GM008444-33   BROOK                           Medical Scientist Training Program                        FROHMAN, MICHAEL A        only                        1992/07/01   2026/06/30   $4,455,490   $4,455,490   $4,164,398   $902,559

                                    UNIVERSITY OF TEXAS HLTH SCIENCE Craniofacial Oral-biology Student Training in            HARGREAVES, KENNETH       Awarded. Non-fellowships
193 T32DE014318   5T32DE014318-23   CENTER                           Academic Research (COSTAR)                               M                         only                        2002/07/08   2028/06/30   $1,177,480   $1,177,480    $849,679    $592,041

                                                                      Dissecting the mechanisms by which chromosomal
                                    UNIVERSITY OF MICHIGAN AT ANN     instability impacts anti-Disialoganglioside responses
194 F30CA275039   5F30CA275039-03   ARBOR                             in neuroblastoma                                        REBERNICK, RYAN           Awarded. Fellowships only   2022/07/01   2025/06/30    $158,420     $158,420     $133,929     $53,974

                                    HARVARD SCHOOL OF PUBLIC          Interdisciplinary training: Statistical                                           Awarded. Non-fellowships
195 T32GM135117   5T32GM135117-05   HEALTH                            Genetics/Genomics and Computational Biology             LIN, XIHONG               only                        2020/07/01   2025/06/30   $2,132,920   $2,132,920   $2,054,887   $419,487

                                    UNIV OF NORTH CAROLINA            Predoctoral Training Program in Bioinformatics and                                Awarded. Non-fellowships
196 T32GM135123   5T32GM135123-04   CHAPEL HILL                       Computational Biology                                   VALDAR, WILLIAM           only                        2021/07/01   2026/06/30   $1,043,943   $1,043,943    $913,463    $274,680

                                                                 Training in Signature Transdisciplinary                                                Awarded. Non-fellowships
197 T32HL134643   5T32HL134643-08   MEDICAL COLLEGE OF WISCONSIN Cardiovascular Sciences                                      BENJAMIN, IVOR JAMES      only                        2017/05/01   2027/06/30   $1,622,246   $1,622,246   $1,096,834   $553,947

                                                                                                                                                        Awarded. Non-fellowships
198 TL1TR002388   5TL1TR002388-08   UNIVERSITY OF CHICAGO             J. NRSA Training Core                                   KUPFER, SONIA             only                        2017/09/06   2027/06/30   $2,359,210   $2,359,210   $1,138,553   $547,442

                                    UNIVERSITY OF CALIFORNIA LOS                                                                                        Awarded. Non-fellowships
199 T32CA009056   5T32CA009056-47   ANGELES                           Tumor Cell Biology Training Program                     CROOKS, GAY M             only                        1980/07/01   2028/07/31    $967,571     $967,571     $674,936    $486,665

                                    UNIVERSITY OF ALABAMA AT          Dental Academic Research Training Program                                         Awarded. Non-fellowships
200 T90DE022736   5T90DE022736-13   BIRMINGHAM                        (DART)                                                  JAVED, AMJAD              only                        2012/07/01   2027/06/30   $1,481,342   $1,481,342   $1,150,039   $595,586

                                    CHILDREN'S HOSP OF                                                                                                  Awarded. Non-fellowships
201 T32GM008638   5T32GM008638-28   PHILADELPHIA                      Medical Genetics Research Training Grant                GANETZKY, REBECCA         only                        1997/07/01   2027/06/30   $1,334,590   $1,334,590   $1,206,339   $476,441

                                    WEILL MEDICAL COLL OF CORNELL Multidisciplinary Approach Training in Respiratory          STOUT DELGADO,            Awarded. Non-fellowships
202 T32HL134629   5T32HL134629-07   UNIV                          Research                                                    HEATHER WINONA            only                        2018/02/01   2028/06/30   $1,348,132   $1,348,132   $1,104,883   $684,868

                                                                                                                                                        Awarded. Non-fellowships
203 T32AI148103   5T32AI148103-05   PURDUE UNIVERSITY                 Drug Discovery in Infectious Disease Training           STAHELIN, ROBERT VIRGIL   only                        2020/06/12   2025/05/31    $948,570     $948,570     $744,060    $180,646

                                    ALBERT EINSTEIN COLLEGE OF        Training of Surgeon Scientists in Basic and                                       Awarded. Non-fellowships
204 T32CA200561   5T32CA200561-11   MEDICINE                          Translational Cancer Research                           MCAULIFFE, JOHN           only                        2015/09/25   2025/06/30   $1,554,666   $1,554,666   $1,425,313   $279,016

                                    UNIVERSITY OF TEXAS HLTH SCIENCE Consequences of Perinatal Nicotine Exposure on
205 F31DC021102   5F31DC021102-02   CENTER                           Functional Brainstem Development                         WOLLET, MACKENNA          Awarded. Fellowships only   2023/07/01   2025/06/30     $76,592      $62,480      $54,134     $38,936
                                      UNIVERSITY OF CALIFORNIA, SAN   Oral and Craniofacial Sciences Health Research                                    Awarded. Non-fellowships
206 T32DE007306   5T32DE007306-28     FRANCISCO                       Training                                                DEN BESTEN, PAMELA K      only                        1996/08/01   2028/06/30   $1,334,734   $1,334,734   $1,019,788   $689,065

                                                                                                                                                        Awarded. Non-fellowships
207 T32MH019938   5T32MH019938-30     STANFORD UNIVERSITY             A Biobehavioral research Training Program               SCHATZBERG, ALAN F        only                        1994/09/30   2025/06/30   $1,782,678   $1,782,678   $1,494,496   $432,665

                                      UNIVERSITY OF CALIFORNIA AT     Training Program in Basic and Translational                                       Awarded. Non-fellowships
208 T32HL086350   5T32HL086350-17     DAVIS                           Cardiovascular Science                                  CADEIRAS, MARTIN          only                        2008/03/01   2028/06/30    $834,481     $834,481     $685,237    $343,864

                                      UNIVERSITY OF MICHIGAN AT ANN   Biomedical Informatics and Data Science Training                                  Awarded. Non-fellowships
209 T32GM141746   5T32GM141746-04     ARBOR                           Program (BIDS-TP)                                       DINOV, IVO D              only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,650,307   $439,487

                                                                      A small calcium-binding protein may be key to
                                                                      stabilizing the sensory hair cell stereocilia Elongation
210 F31DC020345   5F31DC020345-03     TUFTS UNIVERSITY BOSTON         Complex                                                  HARTIG, ELLEN I          Awarded. Fellowships only   2022/07/01   2025/06/30    $133,670     $133,670     $113,037     $44,724

                                                                      Mechanistic investigation of differential T cell
                                      UNIVERSITY OF CALIFORNIA, SAN   responses to distinct Mycobacterium tuberculosis
211 F31AI172360   5F31AI172360-03     FRANCISCO                       antigens                                                HOWARD, ZACHARY           Awarded. Fellowships only   2022/07/01   2025/06/30    $131,910     $131,910     $125,431     $45,498

                                                                      Astrocyte dynamics in spinal cord injury and their      HULEGAARD,
212 F32HD115421   1F32HD115421-01     UNIVERSITY OF PENNSYLVANIA      impact on regeneration                                  ALEXANDRIA LASSETTER      Awarded. Fellowships only   2024/08/01   2027/07/31     $76,828      $76,828      $54,624     $76,828

                                                                      Neuroinflammatory Alterations in Post-Traumatic
                                      BOSTON UNIVERSITY MEDICAL       Stress Disorder and Chronic Traumatic                   CALDERAZZO,
213 F30NS134280   1F30NS134280-01A1   CAMPUS                          Encephalopathy                                          SAMANTHA                  Awarded. Fellowships only   2024/06/01   2027/05/31     $53,974      $53,974      $42,048     $53,974

                                      UNIVERSITY OF CALIFORNIA LOS    Modulation of pain hypersensitivity by terpenes via
214 F31AT012836   1F31AT012836-01     ANGELES                         endocannabinoid release in descending circuits          RICE, MYRA JANE           Awarded. Fellowships only   2024/07/01   2026/06/30     $44,671      $44,671      $37,567     $44,671

                                                                      Multi-nuclear Iron Clusters as Biomimics of
215 F32GM145088   5F32GM145088-03     HARVARD UNIVERSITY              Nitrogenase Enzyme Metallocofactors                     LATENDRESSE, TREVOR       Awarded. Fellowships only   2022/09/01   2025/08/31    $216,430     $216,430     $182,215     $79,756

                                                                                                                                                        Awarded. Non-fellowships
216 T32AR007107   5T32AR007107-50     YALE UNIVERSITY                 Training Program in Investigative Rheumatology          BUCALA, RICHARD J         only                        1976/07/01   2026/08/31   $1,474,373   $1,474,373   $1,157,862   $335,823

                                                                      Interactions of the Noradrenergic and Serotonergic
217 F32HL160073   5F32HL160073-03     BAYLOR COLLEGE OF MEDICINE      Systems in Autoresuscitation                       LUSK, SAVANNAH J               Awarded. Fellowships only   2022/09/15   2025/09/14    $232,938     $232,938     $195,173     $84,364

                                                                      Model-based optimization of pain management in
218 F32GM148114   5F32GM148114-03     STANFORD UNIVERSITY             surgical patients                                       LIU, RAN                  Awarded. Fellowships only   2022/09/01   2025/08/31    $210,154     $210,154     $178,352     $74,284

                                      UT SOUTHWESTERN MEDICAL         Targeting hyper-reactive cysteines within PPI
219 F31GM154464   1F31GM154464-01     CENTER                          interfaces                                              DURHAM, JESSE             Awarded. Fellowships only   2024/07/01   2026/06/30     $40,049      $40,049      $27,323     $40,049
220 F30AR081675   5F30AR081675-03     WRIGHT STATE UNIVERSITY         Treating Hyperkalemic Periodic Paralysis                DUPONT, CHRISTOPHER       Awarded. Fellowships only   2022/09/01   2026/08/31    $143,186     $143,186      $98,045     $53,974

                                                                      Molecular, Genetic and Cellular Targets of Cancer                                 Awarded. Non-fellowships
221 T32CA009138   5T32CA009138-50     UNIVERSITY OF MINNESOTA         Training Program                                        LANGE, CAROL A            only                        1980/07/01   2025/07/31   $2,687,816   $2,687,816   $2,476,977   $551,364

                                                                      Investigating the Molecular Mechanisms that Drive
222 F31NS132555   5F31NS132555-02     UNIVERSITY OF OREGON            Electrical Synapse Development                          KAYE, LILA E              Awarded. Fellowships only   2023/09/01   2026/08/31     $94,856      $94,856      $85,825     $48,068

                                                                      Non-Classical Ion Channel Function in Human             HYLTON, NORMA
223 F31NS134253   1F31NS134253-01A1   HARVARD MEDICAL SCHOOL          Cortical Histogenesis                                   KIMBERLEA                 Awarded. Fellowships only   2024/09/01   2025/08/31     $53,974      $53,974      $32,248     $53,974

                                                                      Impact of Species-Specific Synaptic Maturation
                                      COLUMBIA UNIVERSITY HEALTH      Timing on Cortical Circuit and Behavioral
224 F30MH136683   1F30MH136683-01     SCIENCES                        Development                                             RECUPERO, ALEKSANDRA Awarded. Fellowships only        2024/07/01   2027/06/30     $50,937      $50,937      $50,937     $50,937

                                      UNIVERSITY OF CALIFORNIA, SAN   Elucidating the Role of Neural Activity in Midbrain
225 F31NS137765   1F31NS137765-01     FRANCISCO                       Dopamine Neuron Degeneration                            RADEMACHER, KATERINA Awarded. Fellowships only        2024/07/01   2027/06/30     $43,464      $43,464      $19,595     $43,464

                                      UNIVERSITY OF PITTSBURGH AT
226 F31AG084260   1F31AG084260-01A1   PITTSBURGH                      Astrocytic Na/H exchanger in AD astrogliosis            COLLIER, JENELLE MONET Awarded. Fellowships only      2024/07/01   2026/06/30     $48,974      $48,974      $33,651     $48,974

                                                                      Impact of bidirectional signaling between
                                      ST. JUDE CHILDREN'S RESEARCH    megakaryocytes and osteosarcoma cells on
227 F32CA284698   1F32CA284698-01A1   HOSPITAL                        metastasis                                              TRAVIS, OLIVIA KRISTELL   Awarded. Fellowships only   2024/05/15   2027/05/14     $74,284      $74,284      $60,912     $74,284
                                                                      Sonic hedgehog signaling and skeletal patterning
228 F31HD113401   1F31HD113401-01A1   UNIVERSITY OF OREGON            during zebrafish fin regeneration                      HORST, SAMUEL G        Awarded. Fellowships only   2024/06/16   2027/05/15     $97,948      $97,948      $43,311     $48,974

                                                                      Multisensory integration and self-motion perception
229 F32MH134455   5F32MH134455-02     JOHNS HOPKINS UNIVERSITY        in primate vestibular cortex                        GOMEZ, ALEJANDRA          Awarded. Fellowships only   2023/08/16   2025/08/15    $152,512     $152,512     $115,080     $78,828

                                                                                                                                                    Awarded. Non-fellowships
230 T32CA251062   5T32CA251062-05     BRIGHAM AND WOMEN'S HOSPITAL Oncopathology Training Program                            ASTER, JON C           only                        2020/08/04   2025/07/31   $1,854,304   $1,854,304   $1,374,886   $377,149

                                                                      Investigating the local and systemic coordination of
                                                                      antiviral immunity by tissue-resident memory CD8 T
231 F30AI181450   1F30AI181450-01A1   UNIVERSITY OF MINNESOTA         cells in the skin                                    SMITH, OLIVIA C          Awarded. Fellowships only   2024/08/26   2027/08/25     $53,974      $53,974      $38,037     $53,974

                                                                      Mechanistic Analysis of Aortic Growth and
232 F31HL173986   1F31HL173986-01     UNIVERSITY OF MINNESOTA         Remodeling due to Hyperglycemia and Recovery           FLANARY, SHANNON M     Awarded. Fellowships only   2024/09/01   2026/08/31     $42,574      $42,574      $23,624     $42,574

                                      UNIVERSITY OF CALIFORNIA        Prefrontal-Hippocampal Interactions during Model-
233 F31MH131342   5F31MH131342-03     BERKELEY                        Based Learning                                         HU, ERIC               Awarded. Fellowships only   2022/09/01   2025/08/31    $133,719     $133,719     $113,975     $46,368

                                                                      Establishing the role of genetic variation in vitamin D-
                                      UNIVERSITY OF CALIFORNIA        regulated gene expression in Sjogrens disease
234 F31AR081700   5F31AR081700-03     BERKELEY                        pathogenesis                                             YILMAZ, DEFNE        Awarded. Fellowships only   2022/08/30   2025/08/29    $120,908     $120,908      $86,880     $41,470

                                                                      Defining the Role of Senescence in Limiting
235 F30CA271797   5F30CA271797-03     STANFORD UNIVERSITY             Therapeutic Efficacy of CAR T Cells                    MURTY, TARA            Awarded. Fellowships only   2022/08/15   2026/08/14    $121,859     $121,859      $98,437     $41,787

                                                                      Targeting histone methyltransferase EZH2 for the
236 F32CA261118   7F32CA261118-03     DUKE UNIVERSITY                 treatment of hematological cancer                      KIM, A-RUM             Awarded. Fellowships only   2022/03/01   2026/05/31    $229,214     $229,213     $141,287     $45,782

                                                                      Uncovering the function of EdnrB in perivascular
237 F31HL170590   1F31HL170590-01A1   UNIVERSITY OF PENNSYLVANIA      macrophages                                            MOLINA, WILLIAM        Awarded. Fellowships only   2024/06/01   2027/05/31     $48,974      $48,974      $45,099     $48,974

                                                                      Investigating the Neuronal Signals Initiating Synapse WOO, ELIZABETH KA-
238 F30AG074629   5F30AG074629-04     YALE UNIVERSITY                 Loss in Aging and Alzheimers Disease                  YOON                    Awarded. Fellowships only   2021/09/01   2025/08/31    $149,021     $149,021     $131,588     $53,974
239 F32DC021847   1F32DC021847-01     UNIVERSITY OF MINNESOTA         Prosody perception in cochlear implant listeners       WHEELER, HARLEY JAMES Awarded. Fellowships only    2024/05/31   2026/05/30     $76,984      $76,984      $63,898     $76,984

                                      UNIVERSITY OF CALIFORNIA, SAN   Defining the Mechanistic Impact of PRC1                MULLIN-BERNSTEIN,
240 F31CA291047   1F31CA291047-01     FRANCISCO                       Overexpression on Mammalian Spindle Mechanics          ZACHARY                Awarded. Fellowships only   2024/09/01   2027/08/31     $41,493      $41,493      $29,733     $41,493

                                                                      Investigating the role of myeloid-derived growth
                                                                      factor in opposing neutrophil mechanical
                                      UNIVERSITY OF WISCONSIN-        activation to regulate cardiac healing in the
241 F30HL174128   1F30HL174128-01     MADISON                         context of myocardial infarction                       SCHROPE, JON           Awarded. Fellowships only   2024/09/01   2027/08/31     $40,013      $40,013      $36,840     $40,013

                                                                      Spatiotemporal Atlas of Cellular Networks and
                                                                      Ultrastructural States Mediating the Progression and
242 F32HL167318   5F32HL167318-02     STANFORD UNIVERSITY             Resolution of Pulmonary Fibrosis                     GUO, JASON LIWEI         Awarded. Fellowships only   2023/07/18   2026/07/17    $146,256     $146,256     $124,349     $76,756

                                                                                                                                                    Awarded. Non-fellowships
243 T32DC005361   5T32DC005361-23     UNIVERSITY OF WASHINGTON        Auditory Neuroscience Training Program                 PERKEL, DAVID J        only                        2002/07/01   2027/06/30   $1,383,212   $1,383,212    $799,730    $536,345

                                                                      Notch2 Amplification of B Cell Division and
244 F31AI179166   1F31AI179166-01A1   UNIVERSITY OF PENNSYLVANIA      Differentiation Fates                                  LONDREGAN, JENNIFER    Awarded. Fellowships only   2024/08/01   2026/07/31     $36,662      $36,662      $27,412     $36,662

                                      BOSTON UNIVERSITY (CHARLES      Development of a Surgical Drug Delivery System for
245 F30CA257566   5F30CA257566-04     RIVER CAMPUS)                   Enhancement of CAR T Cell Activity                 BRESSLER, ERIC             Awarded. Fellowships only   2021/09/09   2025/09/08    $209,456     $209,456      $69,330     $53,974

                                                                      Program in Genetics and Genomics PhD Training                                 Awarded. Non-fellowships
246 T32GM141745   5T32GM141745-04     HARVARD MEDICAL SCHOOL          Grant                                                  KENNEDY, SCOTT G       only                        2021/07/01   2026/06/30   $2,505,462   $2,505,462   $2,152,460   $659,231

                                                                      The role of patient experiences with care in older
                                      UNIVERSITY OF SOUTHERN          adult colorectal cancer patients with comorbid         NAVARRO, STEPHANIE
247 F30CA268735   5F30CA268735-03     CALIFORNIA                      chronic conditions                                     ARIANA                 Awarded. Fellowships only   2022/09/02   2026/09/01    $157,450     $157,450      $73,786     $53,974

                                                                      Mechanistic insight to the interaction between
                                      UNIVERSITY OF CALIFORNIA, SAN   AAA+ disaggregases and the Hsp70 molecular
248 F32GM154439   1F32GM154439-01     FRANCISCO                       chaperone system                                       FLORES, RACHEL L       Awarded. Fellowships only   2024/07/01   2025/06/30     $76,744      $76,744           $0     $76,744
                                                                        Investigating the role of scleral fibroblasts in
249 F32EY035573   1F32EY035573-01A1   EMORY UNIVERSITY                  refractive development and myopia                      BENTLEY, MELISSA R       Awarded. Fellowships only   2024/06/01   2025/05/31     $74,284      $74,284      $60,408     $74,284

                                                                        Developing mutable barcodes for high-resolution
250 F31HG012321   5F31HG012321-03     WASHINGTON UNIVERSITY             single-cell lineage tracing                            VANHORN, SADIE M         Awarded. Fellowships only   2022/09/01   2026/08/31    $101,222     $101,222      $80,370     $34,908

                                      COLUMBIA UNIVERSITY HEALTH        Alzheimers Disease Genetic Risk and Microglial
251 F30AG074618   5F30AG074618-04     SCIENCES                          Innate Immune Memory                                   CHATILA, ZENA            Awarded. Fellowships only   2021/09/01   2025/08/31    $199,984     $199,984     $195,280     $53,974

                                                                   Development of an Ultrasensitive Blood-based
252 F32AG087642   1F32AG087642-01     BRIGHAM AND WOMEN'S HOSPITAL Diagnostic for Alzheimers Disease                           ZHANG, STEPHANIE J       Awarded. Fellowships only   2024/07/01   2026/06/30     $76,528      $76,528      $55,672     $76,528

                                                                        Improving statistical power for human structural and RODRIGUEZ, RAIMUNDO
253 F31MH136823   1F31MH136823-01     YALE UNIVERSITY                   functional connectomes                               XAVIER                     Awarded. Fellowships only   2024/09/01   2026/08/31     $42,146      $42,146      $17,740     $42,146
254 F31AI179240   1F31AI179240-01A1   UNIVERSITY OF PENNSYLVANIA        Impact of Toxoplasma gondii on Treg homeostasis        LANZAR, ZACHARY R        Awarded. Fellowships only   2024/08/01   2027/07/31     $48,974      $48,974      $38,618     $48,974

                                      UNIVERSITY OF ALABAMA AT          Influenza Mediated ER Stress and Secondary
255 F31AI183758   1F31AI183758-01     BIRMINGHAM                        Bacterial Infections                                   EARNHARDT, ERIN YEPSEN Awarded. Fellowships only     2024/08/01   2026/07/31     $42,574      $42,574      $24,726     $42,574

                                                                        The Role of the ASD Risk Gene CHD8 in Neural
256 F30MH132282   5F30MH132282-03     YALE UNIVERSITY                   Development                                            FITZPATRICK, SARAH E     Awarded. Fellowships only   2022/09/16   2026/09/15     $98,174      $98,174      $82,311     $33,892

                                                                        CD-Cavs: Cross-Disciplinary Cardiovascular
                                                                        Sciences Training Program to Diversify the STEM                                 Awarded. Non-fellowships
257 T32HL150389   5T32HL150389-05     CLEVELAND STATE UNIVERSITY        workforce                                              BOND, MEREDITH           only                        2020/08/01   2025/07/31    $951,063     $951,063     $843,118    $193,198

                                      UNIV OF NORTH CAROLINA            Identification and Biosynthesis of Dehydrated
258 F32GM154449   1F32GM154449-01     CHAPEL HILL                       Nonribosomal Peptides from Streptomyces                MULL, RYAN WYATT         Awarded. Fellowships only   2024/06/01   2026/05/31     $74,284      $74,284      $56,664     $74,284

                                      UNIV OF NORTH CAROLINA            Determining the role of cell-cell adhesions in palate
259 F31DE033915   1F31DE033915-01     CHAPEL HILL                       closure                                               KING, JULIET STANTON      Awarded. Fellowships only   2024/12/01   2026/11/30     $41,218      $41,218      $19,038     $41,218

                                                                        CSU Infectious Disease Research and Response                                    Awarded. Non-fellowships
260 T32AI162691   5T32AI162691-04     COLORADO STATE UNIVERSITY         Training Program                                       DEAN, GREGG A            only                        2021/09/17   2026/08/31   $1,608,015   $1,608,015   $1,371,709   $466,724

                                                                        The role of nigrostriatal and striatal cell subtype
                                      NORTHWESTERN UNIVERSITY AT        signaling in behavioral impairments related to
261 F31MH134549   5F31MH134549-02     CHICAGO                           schizophrenia                                          MOYA, NICOLETTE A        Awarded. Fellowships only   2024/01/01   2026/12/31     $87,094      $87,094      $50,416     $44,187

                                      NEW MEXICO STATE UNIVERSITY LAS Bridge to the Baccalaureate Research Training                                     Awarded. Non-fellowships
262 T34GM147348   5T34GM147348-02     CRUCES                          Program at New Mexico State University                   LYONS, BARBARA A         only                        2023/08/01   2028/07/31    $541,154     $541,154     $116,230    $269,182

                                                                        Multidisciplinary Research Training in Dental, Oral,                            Awarded. Non-fellowships
263 T32DE032994   5T32DE032994-02     OHIO STATE UNIVERSITY             and Craniofacial Sciences (MARTDOCS)                   MALLERY, SUSAN R         only                        2023/08/01   2028/07/31   $1,074,346   $1,074,346    $209,164    $548,967

                                                                        Training Program in Adult and Pediatric                                         Awarded. Non-fellowships
264 T32AR050942   5T32AR050942-19     STANFORD UNIVERSITY               Rheumatology                                           LEWIS, DAVID BRAM        only                        2005/05/01   2026/06/30   $1,278,110   $1,278,110   $1,304,202   $363,366

                                                                        Understanding B cell immunity in Merkel cell
265 F31CA284500   1F31CA284500-01A1   HARVARD MEDICAL SCHOOL            carcinoma                                              SCHNABEL, JULIA          Awarded. Fellowships only   2024/07/01   2026/06/30     $43,203      $43,203      $31,952     $43,203

                                                                        Systems Genetics of Cocaine Preference in
266 F31DA057062   5F31DA057062-02     CLEMSON UNIVERSITY                Drosophila                                             HATFIELD, JEFFREY S      Awarded. Fellowships only   2023/09/08   2025/09/07     $96,668      $96,668      $64,301     $48,974

                                      COLUMBIA UNIVERSITY HEALTH        Induction and maintenance of SARS-CoV-2 mRNA           DAVIS-PORADA, JULIA
267 F30AI174785   5F30AI174785-02     SCIENCES                          vaccine-specific memory across tissues                 MEGHAN                   Awarded. Fellowships only   2023/07/01   2027/06/30    $100,144     $100,144     $100,144     $50,974

                                                                      Impacts of SARS-CoV-2 Infection and Age on               AWOSANYA, OLATUNDUN
268 F31AG077931   5F31AG077931-03     INDIANA UNIVERSITY INDIANAPOLIS Musculoskeletal Health                                   DUPE                Awarded. Fellowships only        2022/09/01   2025/08/31    $120,928     $120,928      $90,334     $41,715

                                                                        Measurement of Exercise Avoidance and False
269 F31AG077897   5F31AG077897-03     RUTGERS, THE STATE UNIV OF N.J.   Safety Behaviors in Older Adults                       KIBBEY, MINDY MICHELLE   Awarded. Fellowships only   2022/07/01   2025/06/30    $142,037     $142,037      $89,989     $48,513

                                                                        Improving Mental Health Outcomes for Fetal
                                                                        Alcohol Spectrum Disorder: Tailoring Dialectical
                                                                        Behavior Therapy for Adolescents in a Community        ROCKHOLD, MADELINE
270 F31AA031596   1F31AA031596-01     UNIVERSITY OF ROCHESTER           Mental Health Clinic                                   NICOLLE                  Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974      $43,588     $48,974

                                                                        Understanding and overcoming Plasmodium-
271 F32AI178963   1F32AI178963-01A1   UNIVERSITY OF WASHINGTON          specific immune evasion mechanisms                     MCDOUGAL, COURTNEY Awarded. Fellowships only         2024/06/01   2026/05/31     $76,756      $76,756      $67,998     $76,756
                                                                                                                                                    Awarded. Non-fellowships
272 T32EB029365   5T32EB029365-04     CARNEGIE-MELLON UNIVERSITY       Integrative Training in Neural Interfacing           HE, BIN                 only                        2021/09/01   2026/08/31    $846,231     $846,231     $718,998    $193,330

                                      MASSACHUSETTS GENERAL            Conjoint Effects of Dopamine and Tau on Cognition
273 F32AG084259   1F32AG084259-01A1   HOSPITAL                         in Aging                                          MORIN, THOMAS              Awarded. Fellowships only   2024/08/01   2027/07/31     $78,784      $78,784      $47,181     $78,784

                                      UNIV OF NORTH CAROLINA           The Mute button: Turning down the volume of
274 F31HD113267   5F31HD113267-02     CHAPEL HILL                      histone expression                                   GEISLER, MARK STEPHEN   Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $66,783     $48,974

                                                                       Cardiology and Pulmonary Clinical Research                                   Awarded. Non-fellowships
275 T32HL007891   5T32HL007891-27     UNIVERSITY OF PENNSYLVANIA       Training Program                                     CHRISTIE, JASON D       only                        1998/07/01   2028/07/31   $1,191,428   $1,191,428   $1,039,678   $563,143

                                                                       Angiotensin-(1-7) engages hypothalamic arcuate-
                                      PENNSYLVANIA STATE UNIV          paraventricular nucleus inhibitory pathways to lower
276 F31HL170693   5F31HL170693-02     HERSHEY MED CTR                  blood pressure                                       VERNAIL, VICTORIA LYNN Awarded. Fellowships only    2023/08/01   2026/07/31     $70,296      $70,296      $53,515     $35,788

                                                                       MD-PhD Training Program in Aging and the             MCWILLIAMS, JOHN        Awarded. Non-fellowships
277 T32AG051108   5T32AG051108-09     HARVARD MEDICAL SCHOOL           Social/Behavioral Sciences                           MICHAEL                 only                        2015/08/01   2026/07/31    $922,931     $922,931     $691,617    $241,688

                                      WAKE FOREST UNIVERSITY HEALTH                                                         HERRINGTON, DAVID       Awarded. Non-fellowships
278 T32HL076132   5T32HL076132-20     SCIENCES                         CVD Epidemiology Training Program                    MCLEOD                  only                        2004/07/01   2025/06/30   $1,998,963   $1,998,963   $2,117,957   $288,063

                                                                       The role of mucosal serotonin in visceral nociception
279 F32DK132810   5F32DK132810-03     NEW YORK UNIVERSITY              and gut motility                                      NAJJAR, SARAH          Awarded. Fellowships only   2022/09/07   2025/09/06    $218,266     $218,266     $183,262     $78,892

                                      UNIVERSITY OF KANSAS MEDICAL     Multidisciplinary Research Training Program in                               Awarded. Non-fellowships
280 T32AG078114   5T32AG078114-03     CENTER                           Alzheimers Disease and Related Disorders             VIDONI, ERIC DENNIS     only                        2022/08/01   2027/07/31    $907,387     $907,387     $479,398    $317,625

                                      UNIV OF NORTH CAROLINA           Mobile Crisis Workforce Pipeline: Meeting the Needs
281 F30MH136702   1F30MH136702-01     CHAPEL HILL                      of Illinois                                         FINE, JEREMY DAVID       Awarded. Fellowships only   2024/08/01   2029/07/31     $41,241      $41,241      $34,640     $41,241

                                      NORTHWESTERN UNIVERSITY AT       Determine host surface interactions of MARTX toxin
282 F31AI172382   5F31AI172382-03     CHICAGO                          of foodborne Vibrio vulnificus                       CHEN, JIEXI             Awarded. Fellowships only   2022/09/01   2025/08/31    $130,768     $130,768     $113,577     $45,336

                                      UNIVERSITY OF CONNECTICUT SCH                                                         GRAZIANO, VINCENT
283 F31AI178967   1F31AI178967-01A1   OF MED/DNT                    Innate immune roles of glycoRNA                         ROBERT                  Awarded. Fellowships only   2024/09/01   2026/08/31     $45,122      $45,122      $33,337     $45,122

                                                                       Isolated Abnormality in the Diffusion Capacity for
                                      UNIVERSITY OF CALIFORNIA, SAN    Carbon Monoxide in People Living with HIV –
284 F32HL166065   5F32HL166065-03     FRANCISCO                        Epidemiology, Etiology and Pathogenesis              BYANOVA, KATERINA L     Awarded. Fellowships only   2022/09/01   2025/08/31    $257,288     $257,288     $220,326     $91,238

                                                                       Proteomic Signatures Associated with Right
                                                                       Ventricular Failure and Mortality in Pulmonary
285 F32HL168780   5F32HL168780-02     UNIVERSITY OF WASHINGTON         Arterial Hypertension                                PI, HONGYANG            Awarded. Fellowships only   2023/07/01   2025/06/30    $176,416     $176,416     $147,480     $90,988

                                                                       A daily diary study examining alcohol-induced
                                      PENNSYLVANIA STATE UNIVERSITY,   blackouts among college students using alcohol
286 F31AA031607   1F31AA031607-01     THE                              sensors                                              GLENN, SHANNON DELIA Awarded. Fellowships only      2024/07/01   2027/06/30     $48,974      $48,974      $26,287     $48,974

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
287 T32GM146648   5T32GM146648-03     DIEGO                            Chemistry-Biology Interfaces at UCSD                 BURKART, MICHAEL D      only                        2022/07/01   2027/06/30    $546,947     $546,947     $442,804    $188,692

                                      CINCINNATI CHILDRENS HOSP MED The role of ERBB2 signaling in HPV-induced
288 F32CA290798   1F32CA290798-01     CTR                           pathologies                                             RIVERA-CRUZ, COSETTE M Awarded. Fellowships only    2024/07/01   2025/06/30     $76,514      $76,514      $61,006     $76,514

                                                                                                                                                    Awarded. Non-fellowships
289 T32HL007953   5T32HL007953-24     UNIVERSITY OF PENNSYLVANIA       Training in Sleep & Sleep Disorders                  PACK, ALLAN I           only                        2000/09/01   2026/07/31   $1,979,664   $1,979,664   $1,526,043   $507,891

                                                                                                                                                    Awarded. Non-fellowships
290 T32CA009171   5T32CA009171-48     WISTAR INSTITUTE                 Training Program in Basic Cancer Research            GARDINI, ALESSANDRO     only                        1976/07/01   2027/07/31   $1,485,525   $1,485,525   $1,428,100   $558,485

                                                                       Mechanisms of cardiomyocyte dysfunction due to
                                                                       the E258K-MYBPC3 mutation modeled in patient-
291 F31HL164060   5F31HL164060-03     UNIVERSITY OF WASHINGTON         derived cardiomyocytes                               STECZINA, SONETTE       Awarded. Fellowships only   2022/09/30   2025/09/29    $137,366     $137,366     $125,052     $46,956

                                                                                                                                                    Awarded. Non-fellowships
292 T32HL144472   2T32HL144472-06A1   UNIVERSITY OF MINNESOTA          Training Program in Cardiac Innovation               DUDLEY, SAMUEL C        only                        2019/07/01   2029/06/30    $434,201     $434,201     $220,538    $434,201
                                                                        New Jersey Biomed-Bridge (NJBB) Scholars Program:
                                                                        Supporting Central NJ Community College Students
                                                                        in their Transition to Biomedical Research Pathways                             Awarded. Non-fellowships
293 T34GM154615   1T34GM154615-01     COLLEGE OF NEW JERSEY             at The College of New Jersey                        CLEMENT, WENDY              only                        2024/08/09   2029/07/31   $134,383   $134,383     $8,720   $134,383

                                      UNIVERSITY OF WISCONSIN-          Functionalizing a T1D/T2D-associated locus within an
294 F31DK137447   5F31DK137447-02     MADISON                           intron of GLIS3.                                     CLARK, LAUREN ELIZABETH Awarded. Fellowships only      2023/12/01   2026/11/30    $71,428    $71,428    $51,995    $36,354

                                      UNIVERSITY OF COLORADO            CTSA Postdoctoral T32 at University of Colorado                                 Awarded. Non-fellowships
295 T32TR004366   5T32TR004366-02     DENVER                            Denver                                                  CICUTTO, LISA           only                        2023/09/18   2028/06/30   $771,713   $771,713   $253,200   $395,710

                                                                        Ovarian Function Among Samoan Women with
296 F30HD111263   5F30HD111263-02     YALE UNIVERSITY                   Obesity                                                 OYAMA, SAKURAKO         Awarded. Fellowships only   2023/07/01   2026/06/30    $86,290    $86,290    $66,615    $53,678

                                                                        Molecular and cancer-related roles of ACLY exon
297 F31CA260781   5F31CA260781-04     UNIVERSITY OF PENNSYLVANIA        14                                                      SUPPLEE, JULIANNA       Awarded. Fellowships only   2021/06/01   2025/08/18   $189,456   $189,456   $174,727    $48,974

                                      UNIVERSITY OF TEXAS HLTH SCIENCE Establishing an Atrophy-Based Functional Network         TOWNE, JONATHAN
298 F31NS131025   5F31NS131025-02     CENTER                           Model as a Biomarker for Seizure-Onset Laterality        MICHAEL                 Awarded. Fellowships only   2023/12/01   2025/11/30    $75,410    $75,410    $51,115    $38,476

                                      UNIVERSITY OF WISCONSIN-          The role of dietary cholesterol in Nonalcoholic fatty   HERMANSON, JAKE
299 F31DK135385   5F31DK135385-02     MADISON                           liver disease through the action of gut microbiota      BRENNER                 Awarded. Fellowships only   2023/07/01   2027/06/30    $72,446    $72,446    $64,589    $36,863

                                                                        Biochemical and Biophysical Tuning of Presynaptic
300 F30MH132277   5F30MH132277-03     HARVARD MEDICAL SCHOOL            Function by the Clock Protein BMAL1                     GILETTE, NICOLE MARIE   Awarded. Fellowships only   2022/09/30   2025/09/29   $145,603   $145,603   $103,953    $53,974

                                                                        Molecular mechanisms regulating cranial sensory
301 F31DE032898   5F31DE032898-02     BAYLOR COLLEGE OF MEDICINE        development                                             MAUNSELL, HELEN RUTH    Awarded. Fellowships only   2023/09/14   2026/08/14    $98,268    $98,268    $84,195    $49,774

                                                                        Dogs as a high fidelity, high throughput model to
302 F31CA265165   5F31CA265165-04     COLORADO STATE UNIVERSITY         evaluate CAR-T cell function and dysfunction            BRILL, SAMUEL           Awarded. Fellowships only   2021/09/15   2026/09/14   $165,420   $165,420   $137,114    $48,974

                                      UNIV OF NORTH CAROLINA            Naturalistic Social Communication in Autistic           PUTNAM, ORLA
303 F31DC021107   5F31DC021107-02     CHAPEL HILL                       Females: Identification of Speech Prosody Markers       CAROLINE                Awarded. Fellowships only   2024/01/01   2025/12/31    $83,868    $83,868    $47,253    $42,574

                                                                        Characterizing neuroimaging brain-behavior model
304 F30MD018941   5F30MD018941-02     YALE UNIVERSITY                   performance bias in rural populations            ADKINSON, BRENDAN              Awarded. Fellowships only   2023/09/01   2026/08/31    $66,504    $66,504    $51,068    $33,892

                                                                        Examining the role of specific NMDA receptor
                                      UT SOUTHWESTERN MEDICAL           subunits in cortical circuit dysfunction in Fragile X
305 F31HD113236   5F31HD113236-02     CENTER                            Syndrome                                                SHEDD, ALEYA MICHELLE   Awarded. Fellowships only   2023/09/01   2026/08/31    $78,144    $78,144    $60,879    $39,712

                                                                        Investigating the Formation and Function of
                                      UNIVERSITY OF COLORADO            Subgenomic Flavivirus RNAs During Flavivirus
306 F31AI176728   5F31AI176728-02     DENVER                            Infection of the Mosquito Vector                        SPEAR, ELIZABETH        Awarded. Fellowships only   2023/09/01   2026/08/31    $74,249    $74,249    $62,489    $37,773

                                                                        Cardiovascular Research and Drug Development                                    Awarded. Non-fellowships
307 T32HL170967   1T32HL170967-01A1   BAYLOR COLLEGE OF MEDICINE        (CRDD) training program                                 WEHRENS, XANDER H T     only                        2024/07/01   2029/06/30   $286,968   $286,968   $149,849   $286,968

                                      UNIVERSITY OF CALIFORNIA          Immunology & Molecular Medicine Program                                         Awarded. Non-fellowships
308 T32AI100829   2T32AI100829-11A1   BERKELEY                          Training Grant                                          ROBEY, ELLEN A          only                        2012/07/01   2029/07/31   $472,621   $472,621   $315,795   $472,621

                                                                        Blunting of the Myofilament Beta-Adrenergic
309 F31HL167420   5F31HL167420-02     UNIVERSITY OF ARIZONA             Response in HCM: Structural-Dynamic Mechanisms          CASTILLO, ROMI L        Awarded. Fellowships only   2023/08/15   2025/08/14    $85,044    $85,044    $83,059    $43,162

                                      NORTH CAROLINA STATE              Interdisciplinary Biomedical Research Training                                  Awarded. Non-fellowships
310 T35OD011070   2T35OD011070-16     UNIVERSITY RALEIGH                Program                                                 JONES, SAMUEL L         only                        2009/06/01   2029/08/31    $89,030    $89,030    $42,109    $89,030

                                      NORTHWESTERN UNIVERSITY AT        The functional role of DDX41 in myelodysplastic
311 F32HL170648   5F32HL170648-02     CHICAGO                           syndromes                                               BI, HONGHAO             Awarded. Fellowships only   2023/09/30   2026/09/29   $160,636   $160,636   $101,989    $84,364

                                                                        Investigating the impact of chronic stress on distinct
312 F30MH132298   5F30MH132298-02     HARVARD MEDICAL SCHOOL            axes of dopamine signaling                             GREEN, ISOBEL WOUK       Awarded. Fellowships only   2023/09/30   2026/09/29    $90,997    $90,997    $61,919    $53,974

                                      WAKE FOREST UNIVERSITY HEALTH     Summer Veterinary Student Research Fellows at                                   Awarded. Non-fellowships
313 T35OD010946   2T35OD010946-16     SCIENCES                          Wake Forest University                                  KAVANAGH, KYLIE         only                        2009/04/01   2029/05/31     $5,028    $52,615    $28,900     $5,028

                                                                        Modality-independent representations of object          SNIDER, WILLIAM
314 F31EY033205   5F31EY033205-02     JOHNS HOPKINS UNIVERSITY          shape in macaque inferotemporal cortex                  GRAYSON                 Awarded. Fellowships only   2023/09/30   2025/08/31    $96,668    $96,668    $57,844    $48,974
                                                                                                                                                        Awarded. Non-fellowships
315 T32OD010993   2T32OD010993-21     UNIVERSITY OF MINNESOTA           Comparative Medicine and Pathology Training             FURROW, EVA             only                        2003/09/30   2029/06/30    $382,810     $382,810      $87,427    $382,810

                                      UNIVERSITY OF WISCONSIN-                                                                                          Awarded. Non-fellowships
316 T32AI007414   2T32AI007414-31     MADISON                           Parasitology and Vector Biology Training Program        KNOLL, LAURA J          only                        1992/07/01   2029/06/30    $206,152     $206,152     $143,236    $206,152

                                                                        Developing Methanosarcina spp. as a model
                                      UNIVERSITY OF CALIFORNIA          system to study cytochromes c and their role in
317 F32GM150233   5F32GM150233-02     BERKELEY                          archaeal methane metabolism                             GUPTA, DINESH           Awarded. Fellowships only   2023/09/30   2025/09/29    $152,256     $152,256     $101,557     $79,756

                                                                        Role for Nrf2 and exercise in mitigating pulmonary
318 F31HL170643   5F31HL170643-02     KANSAS STATE UNIVERSITY           hypertension-induced vascular dysfunction               SCHULZE, KIANA MARIE    Awarded. Fellowships only   2023/09/01   2026/08/31     $72,564      $72,564      $72,548     $36,922

                                                                        Investigating SNX13 in Cerebellar Function and          SANCHEZ, VANESSA
319 F31NS130941   5F31NS130941-02     UNIVERSITY OF PENNSYLVANIA        Disease                                                 BREANNE                 Awarded. Fellowships only   2023/09/18   2025/09/17     $84,345      $84,345      $69,916     $36,651

                                                                        Developing Explainable AI for Equitable Risk
320 F30HL170689   5F30HL170689-02     UNIVERSITY OF UTAH                Stratification of Atrial Fibrillation and Stroke        REISINGER, RAQUEL       Awarded. Fellowships only   2023/09/01   2026/08/31    $106,668     $106,668      $92,510     $53,974

                                                                        Training program in computational approaches to                                 Awarded. Non-fellowships
321 T90DA059110   5T90DA059110-02     NEW YORK UNIVERSITY               brain and behavior                                      MA, WEI JI              only                        2023/09/15   2028/06/30    $657,009     $657,009     $303,187    $334,152

                                      WEILL MEDICAL COLL OF CORNELL Intestinal Microbiota Affect Stroke Outcome by
322 F31NS131007   5F31NS131007-02     UNIV                          Modulating the Dendritic Cell-regulatory T Cell Axis        O'CINNEIDE, EMMA        Awarded. Fellowships only   2023/08/01   2025/08/31     $96,668      $96,668      $87,419     $48,974

                                                                        Engagement in Care and Emotional Support in the
                                                                        Context of Interpersonal Trauma among Latino
                                                                        Immigrant Men with HIV: A Mixed-Methods                 SMITH, OWEN
323 F31NR020865   5F31NR020865-02     JOHNS HOPKINS UNIVERSITY          Investigation                                           WOODFIELD               Awarded. Fellowships only   2023/07/15   2026/05/14     $96,668      $96,668      $86,395     $48,974

                                      OREGON HEALTH & SCIENCE           The role of alpha-synuclein in nucleolar DNA double- ARNOLD, MORIAH
324 F30AG082406   5F30AG082406-02     UNIVERSITY                        strand break repair and cellular senescence          REBECCA                    Awarded. Fellowships only   2023/07/01   2027/06/30    $106,668     $106,668      $87,107     $53,974

                                                                        Repurposing Metformin as a Treatment for Cocaine
325 F30DA059988   5F30DA059988-02     UNIVERSITY OF MINNESOTA           Use Disorder                                     HERNANDEZ, EDITH               Awarded. Fellowships only   2023/09/27   2027/09/26    $105,358     $105,358      $72,264     $52,664

                                                                        Effects of Early Life Stress and Sleep Disturbance on
                                                                        Frontolimbic Development and Risk for Depression
326 F32MH135657   5F32MH135657-02     STANFORD UNIVERSITY               Across Adolescence                                      UY, JESSICA PHUONG      Awarded. Fellowships only   2023/09/13   2026/08/31    $156,184     $156,184     $128,037     $81,892

                                                                        In-Vivo Patient-Specific Optimization of
                                                                        Transcatheter-Edge-to-Edge Repair in Mitral
327 F31HL170754   5F31HL170754-02     UNIVERSITY OF TEXAS AT AUSTIN     Regurgitation                                           SIMONIAN, NATALIE       Awarded. Fellowships only   2023/09/01   2025/08/31     $79,706      $79,706      $65,790     $40,493

                                                                        Deciphering the roles of RIFIN and STEVOR parasite
                                      UNIVERSITY OF MARYLAND            antigens in severe malaria pathogenesis via
328 F31AI178915   5F31AI178915-02     BALTIMORE                         transcriptomics and immune profiling                    LAWTON, JONATHAN        Awarded. Fellowships only   2023/07/01   2025/06/30     $69,638      $69,638      $53,810     $35,459

                                                                        Investigating the role of apoptosis-resistance and
                                      UNIVERSITY OF CALIFORNIA, SAN     the tumor environment on development and
329 F31CA284719   5F31CA284719-02     FRANCISCO                         maintenance of sacrococcygeal teratomas                 ROJAS, ERNESTO JAVIER   Awarded. Fellowships only   2023/09/01   2027/08/31     $80,882      $80,882      $64,802     $41,081

                                                                        Research Training in Pediatric Allergy and                                      Awarded. Non-fellowships
330 T32AI007007   2T32AI007007-46     JOHNS HOPKINS UNIVERSITY          Immunology                                              WOOD, ROBERT A          only                        1975/07/01   2029/08/31    $279,864     $279,864     $158,395    $279,864

                                      UNIVERSITY OF PITTSBURGH AT       Postdoctoral Research Training in Biotherapy of                                 Awarded. Non-fellowships
331 T32CA113263   2T32CA113263-16A1   PITTSBURGH                        Cancer                                                  KAMMULA, UDAI S         only                        2006/08/01   2029/06/30    $293,213     $293,213     $146,586    $293,213

                                                                        Understanding the mechanism of diversity
332 F32GM149046   5F32GM149046-02     STANFORD UNIVERSITY               generation through directional selection                KHRISTICH, ALEXANDRA    Awarded. Fellowships only   2023/08/14   2025/08/13    $150,684     $150,684     $124,027     $78,892

                                                                                                                                                        Awarded. Non-fellowships
333 T32EB004314   5T32EB004314-25     CASE WESTERN RESERVE UNIVERSITY Integrated Engineering and Rehabilitation Training        CAPADONA, JEFFREY R     only                        1999/07/01   2025/08/31   $1,734,530   $1,734,530   $1,281,881   $312,798

                                      UNIVERSITY OF CALIFORNIA, SAN     UCSD Integrated Cardiovascular Epidemiology                                     Awarded. Non-fellowships
334 T32HL079891   5T32HL079891-18     DIEGO                             Fellowship                                              ALLISON, MATTHEW A      only                        2007/05/01   2027/08/31   $1,537,226   $1,537,226    $958,157    $539,898

                                                                        The role of H3K36 methyltransferases on non-CpG         HAMAGAMI-SAMSON,
335 F30HD110156   5F30HD110156-03     WASHINGTON UNIVERSITY             methylation patterning in the mammalian brain           NICOLE                  Awarded. Fellowships only   2022/09/01   2026/08/31    $115,099     $115,099      $98,175     $48,785
                                      UNIVERSITY OF COLORADO                                                                                          Awarded. Non-fellowships
336 T32AR007534   5T32AR007534-38     DENVER                           Research Training in Rheumatology                      KUHN, KRISTINE A        only                        1986/09/01   2027/08/31    $854,093     $854,093     $595,042    $351,527

                                      UNIVERSITY OF PITTSBURGH AT      Translational Training Program in Pulmonary Biology                            Awarded. Non-fellowships
337 T32HL007563   5T32HL007563-37     PITTSBURGH                       and Medicine                                           MORRIS, ALISON          only                        1984/07/01   2028/08/31   $1,253,385   $1,253,385   $1,014,935   $507,049

                                                                                                                                                      Awarded. Non-fellowships
338 T32HG002295   5T32HG002295-22     HARVARD MEDICAL SCHOOL           Training in Bioinformatics and Integrative Genomics PARK, PETER J              only                        2001/09/30   2028/08/31   $1,366,560   $1,366,560   $1,321,333   $579,747

                                      ALBERT EINSTEIN COLLEGE OF       Developmental Dysfunction of Parvalbumin
339 F31HD101360   5F31HD101360-05     MEDICINE                         Interneurons in Autism Spectrum Disorder               WARD, CLAIRE            Awarded. Fellowships only   2020/09/01   2025/08/31    $234,976     $234,976     $219,580     $48,974

                                                                       Determining cis- and trans- regulatory mechanisms
340 F31HD107950   5F31HD107950-03     YALE UNIVERSITY                  of epigenetic bivalency                                MARSHALL, KIRA          Awarded. Fellowships only   2022/09/30   2025/09/29    $113,256     $113,256      $96,409     $33,892

                                      UNIVERSITY OF PITTSBURGH AT      Multilayer Scaffold for Condyle Surface
341 F31DE031967   5F31DE031967-03     PITTSBURGH                       Regeneration                                           TRBOJEVIC, SARA         Awarded. Fellowships only   2022/09/15   2025/09/14    $145,820     $145,820     $111,445     $49,774

                                                                       Targeting the cancer neo-genome for destruction
342 F32CA281185   5F32CA281185-02     DANA-FARBER CANCER INST          with CRISPR-Cas enzymes                                LEIBOWITZ, MITCHELL L   Awarded. Fellowships only   2023/07/01   2026/06/30    $143,364     $143,364     $127,969     $74,284

                                      NORTHWESTERN UNIVERSITY AT       Identifying the determinants of cell-penetrant         PHOUMYVONG, CLAIRE
343 F31GM151811   5F31GM151811-02     CHICAGO                          miniproteins                                           M                       Awarded. Fellowships only   2023/09/01   2025/08/31     $87,094      $87,094      $62,645     $44,187

                                                                                                                                                      Awarded. Non-fellowships
344 T32EY007143   5T32EY007143-30     JOHNS HOPKINS UNIVERSITY         Visual Science Training Program                        ZACK, DONALD J          only                        1995/01/01   2025/07/31   $1,117,818   $1,117,818   $1,119,226   $147,297

                                                                       Postdoctoral Training Grant for MDs in Surgical                                Awarded. Non-fellowships
345 T32CA163177   5T32CA163177-14     UNIVERSITY OF VIRGINIA           Oncology Research                                      SLINGLUFF, CRAIG LEE    only                        2011/09/20   2026/08/31   $1,202,021   $1,202,021   $1,155,490   $272,436

                                                                       Harnessing SHIVs and Sequential Immunization to        SKELLY, ASHWIN
346 F30AI179430   1F30AI179430-01A1   UNIVERSITY OF PENNSYLVANIA       Elicit V3 Glycan-Targeted bNAbs against HIV-1          NICHOLAS                Awarded. Fellowships only   2024/09/01   2025/08/31     $36,512      $36,512      $23,804     $36,512

                                      VIRGINIA COMMONWEALTH            Women Living with HIV: Cognitive Impact of             TURKSON, SUSIE
347 F31AG076375   5F31AG076375-03     UNIVERSITY                       Estrogen Receptors, Inflammation, and Aging            ANNMARIE                Awarded. Fellowships only   2022/09/10   2026/09/09    $124,220     $124,220     $107,560     $43,774

                                                                      Pediatric and Adult Translational Cancer Drug
                                                                      Discovery and Development Training Program                                      Awarded. Non-fellowships
348 T32CA272370   5T32CA272370-02     INDIANA UNIVERSITY INDIANAPOLIS (PACT-D3)                                               KELLEY, MARK R          only                        2023/09/01   2028/08/31    $323,341     $323,341     $255,211    $164,494

                                                                       The effect of self-compassion on integrated
                                      MEDICAL UNIVERSITY OF SOUTH      treatment outcomes among veterans with co-
349 F32AA031161   5F32AA031161-02     CAROLINA                         occurring AUD and PTSD.                                FORKUS, SHANNON         Awarded. Fellowships only   2023/08/10   2025/08/09    $148,012     $148,012     $114,768     $76,828

                                                                       Large-scale calcium and voltage imaging to             REDINBAUGH, MICHELLE
350 F32MH134451   5F32MH134451-02     STANFORD UNIVERSITY              illuminate neural mechanisms of visual experience      JORDAN                  Awarded. Fellowships only   2023/09/10   2026/09/09    $153,364     $153,364     $110,588     $79,284

                                                                       The Impact of Gossip on Childrens Feelings of
351 F32HD108861   5F32HD108861-02     DUKE UNIVERSITY                  Belongingness                                          YUCEL, NAZLI MELTEM     Awarded. Fellowships only   2023/07/01   2026/06/30    $143,364     $143,364     $129,130     $74,284

                                                                       21ST CENTURY IMAGING SCIENCES: GRADUATE                                        Awarded. Non-fellowships
352 T32EB014855   5T32EB014855-13     WASHINGTON UNIVERSITY            STUDENT TRAINING                                       CULVER, JOSEPH P        only                        2012/07/01   2027/08/31    $393,057     $393,057     $362,386    $121,166

                                      UNIV OF NORTH CAROLINA           Cell-type Specific Interrogation of Variant Function
353 F31AG084224   5F31AG084224-02     CHAPEL HILL                      in Alzheimers Disease                                  BOND, MARIELLE LOUISE   Awarded. Fellowships only   2023/08/04   2026/08/03     $79,929      $79,929      $48,568     $40,791

                                                                       Increasing muscle mass resolves vascular
354 F31HL165858   5F31HL165858-02     AUGUSTA UNIVERSITY               dysfunction in obesity                                 SPEESE, ANDREW          Awarded. Fellowships only   2023/08/01   2026/06/30     $83,744      $83,744      $57,249     $42,512

                                                                       Characterizing cortical signatures of inhibitory
355 F31NS132549   5F31NS132549-02     UNIVERSITY OF OREGON             control                                                SCHULTZ, KELSEY E       Awarded. Fellowships only   2023/08/21   2025/06/20     $87,178      $87,178      $80,834     $40,833

                                                                       The Role of SKIDA1 in Acute Myeloid Leukemia           MENDOZA-CASTREJON,
356 F31CA268923   5F31CA268923-02     WASHINGTON UNIVERSITY            Initiation and Maintenance                             JONNY                   Awarded. Fellowships only   2023/08/01   2026/01/31     $68,572      $68,572      $55,321     $34,926

                                                                                                                              MORTON, CYNTHIA         Awarded. Non-fellowships
357 T32GM007748   5T32GM007748-46     BRIGHAM AND WOMEN'S HOSPITAL Training Grant in Genetics                                 CASSON                  only                        1979/07/01   2028/06/30   $1,267,189   $1,267,189    $934,963    $723,861

                                                                       Uncovering ATR signaling networks underlying
358 F31CA281247   5F31CA281247-02     CORNELL UNIVERSITY               chemotherapeutic synergies                             COMSTOCK, WILLIAM       Awarded. Fellowships only   2023/09/01   2025/08/31     $89,628      $89,628      $81,312     $45,454
                                      WEILL MEDICAL COLL OF CORNELL The Weill Cornell Medicine Research Training           REID, MANNEY           Awarded. Non-fellowships
359 T32AG049666   5T32AG049666-09     UNIV                          Program in Behavioral Geriatrics                       CARRINGTON             only                        2016/05/01   2026/08/31   $1,467,674   $1,467,674    $979,636    $320,724

                                                                                                                                                  Awarded. Non-fellowships
360 T32GM136593   5T32GM136593-05     UNIVERSITY OF NEBRASKA LINCOLN Molecular Mechanisms of Disease                       BECKER, DONALD F       only                        2020/07/01   2025/06/30   $1,222,555   $1,222,555   $1,170,211   $253,734

                                                                       CD8+ tissue-resident immunity to primary and
                                                                       heterotypic Influenza A controlled by commensal
361 F30HL165594   5F30HL165594-04     UNIVERSITY OF CINCINNATI         microbiota                                          STEVENS, JOSEPH JACOB Awarded. Fellowships only    2022/09/01   2026/08/31    $134,302     $134,302     $100,497     $53,974

                                                                       The effects of low-dose ethanol on reward-value     CURRAN-ALFARO,
362 F31AA031439   5F31AA031439-02     DREXEL UNIVERSITY                decision making and the basolateral amygdala        CHRISTINA              Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $69,590     $48,974

                                                                      IU Training Program in Molecular Physiology and                             Awarded. Non-fellowships
363 T32HL091816   5T32HL091816-15     INDIANA UNIVERSITY INDIANAPOLIS Clinical Mechanisms of Lung Disease                  MACHADO, ROBERTO F     only                        2009/05/01   2025/08/31   $1,528,633   $1,528,633   $1,544,429   $427,952

                                                                       NIH Gonzalez-Amoretti Characterizing
                                                                       PopulationDynamics of Prefrontal Cortex which       GONZALEZ-AMORETTI,
364 F31EY035559   5F31EY035559-02     UNIVERSITY OF ROCHESTER          Govern the Modulation of Visual Processing          JOHN CARL              Awarded. Fellowships only   2023/08/21   2027/08/20     $96,668      $96,668      $76,797     $48,974

                                                                       Investigating injury response and bone regeneration
365 F31HD110287   5F31HD110287-03     TEXAS A&M UNIVERSITY             in Down syndrome mouse models                       SHERMAN, KIRBY M       Awarded. Fellowships only   2022/09/01   2025/08/31    $116,064     $116,064      $80,067     $40,194

                                                                       Bridges to the Baccalaureate Research Training                             Awarded. Non-fellowships
366 T34GM142601   5T34GM142601-02     UNIVERSITY OF COLORADO           Program at University of Colorado Boulder           NISWANDER, LEE A       only                        2023/08/24   2028/07/31    $466,023     $466,023     $271,401    $321,866

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                Awarded. Non-fellowships
367 T32CA009120   5T32CA009120-47     ANGELES                          UCLA Tumor Immunology Institutional Training Grant TEITELL, MICHAEL A      only                        1980/07/01   2028/08/31    $817,545     $817,545     $808,425    $357,202

                                                                                                                                                  Awarded. Non-fellowships
368 T32GM008562   5T32GM008562-30     THOMAS JEFFERSON UNIVERSITY      Clinical Pharmacology Training Program              KRAFT, WALTER K        only                        1995/07/01   2025/06/30   $4,096,635   $4,096,635   $2,263,104   $888,184

                                      UNIVERSITY OF CALIFORNIA AT                                                          FACCIOTTI, MARC        Awarded. Non-fellowships
369 T34GM150440   5T34GM150440-02     DAVIS                            Bridges to the Baccalaureate                        TANCREDI               only                        2023/08/24   2028/07/31    $455,985     $455,985     $124,471    $302,657

                                                                   Medical Student Training in Aging and Injury                                   Awarded. Non-fellowships
370 T35AG076419   5T35AG076419-02     MEDICAL COLLEGE OF WISCONSIN Research                                                MEURER, LINDA N        only                        2023/09/01   2028/08/31    $209,525     $209,525      $77,837    $106,836

                                                                                                                           GARCIA-BLANCO,         Awarded. Non-fellowships
371 T32GM007267   5T32GM007267-46     UNIVERSITY OF VIRGINIA           Medical Scientist Training Program                  MARIANO A              only                        1977/07/01   2025/06/30   $3,533,474   $3,533,474   $3,383,442   $654,840

                                                                       The role of redox balance in cyanide toxicity and
372 F31NS129337   5F31NS129337-03     UNIVERSITY OF UTAH               mitochondrial disease                               TIPPETTS, EMILY        Awarded. Fellowships only   2022/09/01   2025/08/30    $112,088     $112,088      $97,139     $38,530

                                      UNIVERSITY OF COLORADO           Predoctoral Training Program in Molecular and                              Awarded. Non-fellowships
373 T32GM136444   5T32GM136444-05     DENVER                           Cellular Biology                                    PREKERIS, RYTIS        only                        2020/07/01   2025/06/30   $2,834,224   $2,834,224   $2,518,052   $437,129

                                                                       the Integrative and Multidisciplinary Pain and Aging                       Awarded. Non-fellowships
374 T32AG049673   5T32AG049673-10     UNIVERSITY OF FLORIDA            Research Training (IMPART) Program                   FILLINGIM, ROGER B    only                        2015/09/01   2025/08/31   $1,960,786   $1,960,786   $1,530,132   $213,649

                                                                       Investigating the role of telomere failure on
375 F31DK134073   5F31DK134073-02     UNIVERSITY OF PENNSYLVANIA       intestinal stem cell niche function                 KIM, MELISSA           Awarded. Fellowships only   2023/08/01   2026/07/31     $96,668      $96,668      $80,348     $48,974

                                                                       Research on Eating and Activity for Community
                                                                       Health (REACH): An Applied Epidemiology Training
                                                                       Program to Improve Weight-Related Health in Youth NEUMARK-SZTAINER,        Awarded. Non-fellowships
376 T32HL150452   5T32HL150452-05     UNIVERSITY OF MINNESOTA          and Families from Diverse Communities             DIANNE R                 only                        2020/08/01   2025/07/31   $2,044,406   $2,044,406   $1,482,220   $404,617

                                                                       The neurocognitive mechanisms underlying
                                      UNIVERSITY OF PITTSBURGH AT      semantic feature generation in persons with
377 F31DC021613   1F31DC021613-01A1   PITTSBURGH                       aphasia                                             SWIDERSKI, ALEXANDER   Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $22,842     $48,974

                                      BOSTON UNIVERSITY (CHARLES       Development of a Tunable Protein Release
378 F31CA288157   1F31CA288157-01A1   RIVER CAMPUS)                    Hydrogel for the Enhancement of CAR T cell Activity ADAMS, SARAH C         Awarded. Fellowships only   2024/07/01   2026/06/30     $41,423      $41,423      $18,929     $41,423

                                                                       Structure-based design of neuraminidase
379 F30AI181355   5F30AI181355-02     HARVARD MEDICAL SCHOOL           immunogens for next-generation influenza vaccines HECHT, ROCHEL            Awarded. Fellowships only   2024/01/01   2025/12/31     $95,545      $95,545      $57,695     $53,974
                                                                         Stress-induced loss of BIV-spectrin regulates cardiac
380 F31HL170749   5F31HL170749-02     OHIO STATE UNIVERSITY              fibroblast function and long-range communication SHAHEEN, REBECCA J            Awarded. Fellowships only   2023/08/01   2026/07/31    $87,168    $87,168    $60,071    $44,224

                                                                                                                                 SPENCER BONILLA,
381 F32HL176160   1F32HL176160-01     STANFORD UNIVERSITY                Toward Equity in ATTR Cardiomyopathy Diagnosis          GABRIELA M             Awarded. Fellowships only   2024/12/01   2026/11/30    $83,932    $83,932    $14,346    $83,932

                                                                         Developing HIV Resistant Hematopoietic Stem Cells
382 F31AI186590   1F31AI186590-01     HARVARD UNIVERSITY                 through Targeted Base Editing                     JOUBRAN, SAMANTHA            Awarded. Fellowships only   2024/08/01   2027/07/31    $41,403    $41,403    $34,347    $41,403

                                                                         Mechanisms of auditory selective attention for
383 F32DC020625   5F32DC020625-03     CARNEGIE-MELLON UNIVERSITY         speech and non-speech stimuli                           LUTHRA, SAHIL          Awarded. Fellowships only   2023/01/01   2025/12/31   $218,214   $218,214   $150,427    $76,756

                                      UNIVERSITY OF CALIFORNIA, SAN      Harnessing biophysical cues to spatially organize       MOLLEY, THOMAS
384 F32HL176176   1F32HL176176-01     DIEGO                              developing cardiac organoids                            GREGORY                Awarded. Fellowships only   2024/09/01   2027/08/31    $74,284    $74,284    $45,275    $74,284

                                                                         Oral pathogen - mediated pro-tumorigenic
                                      MEDICAL UNIVERSITY OF SOUTH        transformation through disruption of an Adherens        KINGSLEY, CHRISTINA
385 F30DE033286   5F30DE033286-02     CAROLINA                           Junction - associated RNAi machinery                    RACHEL                 Awarded. Fellowships only   2024/01/01   2026/12/31   $103,139   $103,139    $64,587    $52,392

                                                                         The ISR pathway in Dopamine Neurons: Perpetrator
386 F31NS136010   5F31NS136010-02     DUKE UNIVERSITY                    or Protector in Parkinsons Disease               LOCKSHIN, ELANA               Awarded. Fellowships only   2024/01/01   2026/10/31    $83,451    $83,451    $53,940    $41,892

                                      UNIVERSITY OF CALIFORNIA           Biosynthesis of Cyclopamine and New-to-Nature
387 F32GM153046   5F32GM153046-02     BERKELEY                           Triterpenoids in Yeast                                  WINEGAR, PETER HENRY   Awarded. Fellowships only   2024/02/01   2027/01/31   $148,112   $148,112    $89,795    $74,284

                                                                         Characterizing a novel Plasmodium cytoskeletal          NAVARRO, FRANCESCA
388 F31AI181256   5F31AI181256-02     HARVARD MEDICAL SCHOOL             protein                                                 MARIA                  Awarded. Fellowships only   2024/02/01   2027/01/31    $80,121    $80,121    $50,939    $36,918

                                                                         Investigating How Temperature Shapes Salt
389 F31DC021630   1F31DC021630-01A1   FLORIDA STATE UNIVERSITY           Perception.                                             MARQUES, MARIELA       Awarded. Fellowships only   2024/12/15   2027/12/14    $43,474    $43,474    $12,914    $43,474

                                      VIRGINIA POLYTECHNIC INST AND      Cell types, circuitry, and development of the visual
390 F30EY035570   5F30EY035570-02     ST UNIV                            ventral thalamus                                        STEBBINS, KATELYN      Awarded. Fellowships only   2023/12/25   2027/12/24    $86,151    $86,151    $57,775    $43,973

                                      HARVARD SCHOOL OF PUBLIC                                                                                         Awarded. Non-fellowships
391 T32AI007358   2T32AI007358-36     HEALTH                             Biostatistics/Epidemiology Training Grants in AIDS      HUGHES, MICHAEL DAVID only                         1989/09/01   2029/06/30   $546,959   $546,959   $461,817   $546,959

                                                                         Modeling Hidden Myosin Structural States to Predict
392 F30HL162431   5F30HL162431-04     WASHINGTON UNIVERSITY              Drug Specificity and Disease Phenotypes             MELLER, ARTUR              Awarded. Fellowships only   2022/09/01   2025/11/30   $140,114   $133,931    $91,383    $53,974

                                                                       Structural and mechanistic investigation into
                                      UNIVERSITY OF TEXAS HLTH SCIENCE EWS::FLI1 disruption of EWS function in transcription
393 F31CA295030   1F31CA295030-01     CENTER                           and DNA repair                                            SOHN, ERICH            Awarded. Fellowships only   2024/07/01   2027/06/30    $38,363    $38,363    $28,527    $38,363

                                                                         A HUMAN IPSC-BASED ORGANOID PLATFORM FOR
                                      RESEARCH INST NATIONWIDE           STUDYING MATERNAL HYPERGLYCEMIA-INDUCED
394 F31HD113330   5F31HD113330-02     CHILDREN'S HOSP                    CONGENITAL HEART DEFECTS                                CONTRERAS, JAVIER      Awarded. Fellowships only   2024/02/01   2029/01/31    $83,868    $83,868    $30,413    $42,574

                                                                         Serotonin-2B receptor in hypertrophic                   LIVINGSTON, WILLIAM
395 F31HL172640   5F31HL172640-02     VANDERBILT UNIVERSITY              cardiomyopathy                                          BRYAN                  Awarded. Fellowships only   2024/01/01   2027/12/31    $97,948    $97,948    $71,455    $48,974

                                                                         Ensuring Equity in Pharmacogenetics for Rural and
396 F32HG013895   1F32HG013895-01     UNIVERSITY OF MONTANA              Underserved Communities                                 KILLAM, SHAYNA RAE     Awarded. Fellowships only   2024/11/02   2027/10/31    $78,954    $78,954    $19,118    $78,954

                                      UNIVERSITY OF CALIFORNIA LOS       Elucidating the role of IFN epsilon mediated type I     KOCHANOWSKY, JOSHUA
397 F32AI186416   1F32AI186416-01     ANGELES                            IFN responses against Trichomonas vaginalis             ANDREW              Awarded. Fellowships only      2025/01/01   2025/12/31    $76,784    $76,784        $0     $76,784

                                      UNIVERSITY OF ALABAMA AT           Causes and Downstream Effects of 14-3-3
398 F31ES034986   5F31ES034986-02     BIRMINGHAM                         Phosphorylation in Synucleinopathies                    PAIR, FRANK SANDERS    Awarded. Fellowships only   2024/01/01   2027/12/31    $83,978    $83,978    $51,813    $42,629

                                      UNIVERSITY OF PITTSBURGH AT
399 F31DC020370   5F31DC020370-03     PITTSBURGH                         Neural Basis of Math and Aphasia                        DURICY, ERIN           Awarded. Fellowships only   2023/01/01   2026/12/31   $144,700   $144,700   $101,841    $48,974

                                                                         Metabolic control of mitonuclear balance for
400 F32GM156063   1F32GM156063-01     HARVARD MEDICAL SCHOOL             OXPHOS protein biogenesis                               RAICU, ANA-MARIA       Awarded. Fellowships only   2024/09/01   2026/08/31    $73,828    $73,828    $47,702    $73,828

                                                                         Investigating the role of calorie restriction-induced
                                      UNIVERSITY OF CALIFORNIA, SAN      blood factors in rejuvenating the aged
401 F31AG090092   1F31AG090092-01     FRANCISCO                          hippocampus                                             MISRA, RHEA            Awarded. Fellowships only   2024/12/01   2026/11/30    $45,909    $45,909    $15,680    $45,909
                                      CINCINNATI CHILDRENS HOSP MED Mechanisms of Longitudinal Microbial Colonization
402 F30AI181481   5F30AI181481-02     CTR                           in Pediatric Atopic Dermatitis                             DAHAL, ARYA            Awarded. Fellowships only   2024/01/01   2026/10/31    $84,009    $84,009    $24,493   $42,094

                                                                       Characterizing Head Impact Exposure, Tissue-level
                                      WAKE FOREST UNIVERSITY HEALTH    Brain Response, and Clinical Outcomes in
403 F31NS139624   1F31NS139624-01     SCIENCES                         Grassroots Dirt Track Racing                            ZOCH, SOPHIA RUTH      Awarded. Fellowships only   2024/12/01   2027/11/30    $48,974    $48,974    $10,855   $48,974

                                                                       A Bio-orthogonal Targeting System for Precision Drug
                                      BOSTON UNIVERSITY (CHARLES       Delivery to Vascular Endothelium in Transplanted     PEARLMAN MORALES,
404 F30HL176145   1F30HL176145-01     RIVER CAMPUS)                    Organs                                               ARIA                      Awarded. Fellowships only   2024/09/30   2029/09/29    $53,974    $53,974    $14,112   $53,974

                                                                       Investigation of TNRC18 in Left-Right Patterning and
405 F30HL176144   1F30HL176144-01     YALE UNIVERSITY                  Congenital Heart Disease                             RUSHING, AMY              Awarded. Fellowships only   2024/09/01   2027/08/31    $33,958    $33,958    $17,229   $33,958

                                                                       Effect of Pulsed Splenic Ultrasound on delaying
                                                                       Chronic Kidney Disease Progression through a
406 F30DK138782   1F30DK138782-01A1   UNIVERSITY OF VIRGINIA           Neuroimmune Mechanism.                                  GOGGINS, EIBHLIN       Awarded. Fellowships only   2024/07/01   2028/06/30    $76,396    $38,198    $33,477   $38,198

                                                                       Modeling Individual Differences in the Temporal
                                      UNIVERSITY OF CONNECTICUT        Dynamics of Spoken Word Recognition in Autistic
407 F31DC022187   1F31DC022187-01     STORRS                           Young Adults                                            CANALE, REBECCA        Awarded. Fellowships only   2024/06/15   2027/06/14    $48,974    $48,974    $46,809   $48,974

                                                                       In situ structures of SARS-CoV-2 Spike fusion
                                                                       intermediates and Spike-antibody-Fc receptor            GRUNST, MICHAEL
408 F31AI176650   5F31AI176650-02     YALE UNIVERSITY                  complexes                                               WILLIAM                Awarded. Fellowships only   2024/01/01   2026/12/31    $82,926    $82,926    $56,455   $33,952

                                                                       Modular Reagents for Programmable RNA
409 F32GM149057   5F32GM149057-03     STANFORD UNIVERSITY              Manipulation by Endogenous Proteins                     LUSI, ROBERT FOLLETT   Awarded. Fellowships only   2023/02/27   2026/02/26   $216,796   $216,796   $146,812   $74,284

                                      RUTGERS BIOMEDICAL AND HEALTH Harnessing Amide Linkers for Antitubercular Drug
410 F30AI176796   5F30AI176796-02     SCIENCES                      Development                                                KODALI, SWETHA         Awarded. Fellowships only   2024/02/01   2026/01/31    $96,828    $96,828    $39,174   $52,420

                                                                       Elucidating the molecular function of Kaposis
                                                                       sarcoma-associated herpesvirus packaging
411 F31AI181429   1F31AI181429-01A1   YALE UNIVERSITY                  accessory protein ORF68                                 GELLES-WATNICK, SARA   Awarded. Fellowships only   2024/09/01   2027/08/31    $33,980    $33,980    $17,246   $33,980

                                                                       Pseudoprotease-mediated regulation of germinant
412 F31AI186517   1F31AI186517-01     TUFTS UNIVERSITY BOSTON          sensing in Clostridioides difficile             MCNELLIS, MORGAN               Awarded. Fellowships only   2024/08/01   2028/01/31    $45,162    $45,162    $36,930   $45,162

                                                                       Interoceptive regulation of pupil-linked arousal by
                                      UNIV OF NORTH CAROLINA           connections in the brains prominent noradrenaline
413 F31MH138104   1F31MH138104-01     CHAPEL HILL                      hubs                                                    MILLER, NOAH WILLIAM   Awarded. Fellowships only   2024/08/01   2027/07/31    $40,064    $40,064    $31,413   $40,064

                                                                       Simultaneous Imaging of Tumor and Host Cells in the
414 F30CA268778   5F30CA268778-04     WASHINGTON UNIVERSITY            Microenvironment                                    MICHIE, MEGAN SUZANNE Awarded. Fellowships only        2022/01/01   2025/12/31   $174,062   $174,062   $148,090   $53,974

                                                                       Granular hydrogels for the controlled delivery of
                                                                       immunomodulatory and angiogenic extracellular
415 F32AR084876   1F32AR084876-01     UNIVERSITY OF COLORADO           vesicles to enhance bone tissue regeneration            FRIEND, NICOLE ERIN    Awarded. Fellowships only   2024/09/01   2027/08/31    $73,408    $73,408    $45,841   $73,408

                                      UNIVERSITY OF WISCONSIN-         Cdc42-mediated regulation of spindle positioning in
416 F32GM150267   5F32GM150267-02     MADISON                          a vertebrate model                                  SEPANIAC, LESLIE A         Awarded. Fellowships only   2024/01/12   2026/01/11   $151,040   $151,040    $89,346   $76,756

                                      WHITEHEAD INSTITUTE FOR          Maternal organelle contribution to offspring
417 F32HD111257   5F32HD111257-03     BIOMEDICAL RES                   germline health                                         GOODMAN, JAY S         Awarded. Fellowships only   2023/02/01   2026/01/31   $214,902   $214,902   $127,524   $74,284

                                                                       Early Puberty During the COVID-19 Pandemic in a
                                      UNIVERSITY OF CALIFORNIA         Multi-Ethnic, Population-Based Cohort of Children
418 F31HD114457   1F31HD114457-01A1   BERKELEY                         and Adolescents                                         ACKER, JULIA           Awarded. Fellowships only   2024/07/01   2026/06/30    $46,614    $46,614    $29,231   $46,614

                                      UNIVERSITY OF CONNECTICUT        Examining Effects of Disadvantaged and Equitable        SCHEIBNER, HANNAH
419 F31NR021339   1F31NR021339-01     STORRS                           Neighborhoods on Sleep in Young Children                ROSE                   Awarded. Fellowships only   2024/07/01   2027/05/31    $48,974    $48,974    $39,520   $48,974

                                      UNIVERSITY OF SOUTHERN           Understanding How Distinct Heterochromatin States LOWE, MATTHEW
420 F32GM156052   1F32GM156052-01     CALIFORNIA                       Control Pioneer Factor Binding                    GREGORY                      Awarded. Fellowships only   2025/01/01   2026/12/31    $74,284    $74,284    $23,221   $74,284

                                                                       The role of a Coxiella burnetii effector protein that   DUNCAN-LOWEY, JEFFREY
421 F30AI181493   5F30AI181493-02     YALE UNIVERSITY                  inhibits RIG-I signaling                                KARDAS                Awarded. Fellowships only    2024/01/16   2028/01/15    $73,844    $73,844    $44,346   $36,922
                                                                         Translational Training in Respiratory Disease and                             Awarded. Non-fellowships
422 T32HL176414   1T32HL176414-01     MAYO CLINIC ROCHESTER              Repair                                                 TSCHUMPERLIN, DANIEL J only                        2025/01/01   2029/12/31   $445,648   $445,648        $0    $445,648

                                                                         The impact of forced migration on HIV vulnerability
                                                                         and prevention among internally displaced
                                                                         adolescent girls and young women in northern           CHANTRE, CATHERINE
423 F31MH136948   1F31MH136948-01A1   YALE UNIVERSITY                    Mozambique                                             LIMA                   Awarded. Fellowships only   2024/07/01   2026/06/30    $51,974    $51,974    $20,444    $51,974

                                                                         Linking membrane voltage dynamics to fMRI
                                                                         measurement of functional connectivity in resting
424 F31NS134314   5F31NS134314-02     EMORY UNIVERSITY                   state and task related activities                      MEYER-BAESE, LISA M    Awarded. Fellowships only   2023/09/01   2026/08/31    $96,668    $96,668    $76,495    $48,974

                                      UNIVERSITY OF CALIFORNIA AT        Transcriptional and Developmental Basis of the
425 F31EY036742   1F31EY036742-01     DAVIS                              Human X-linked Homeotic Hotspot                        ROSAS, JOSEPH          Awarded. Fellowships only   2024/09/01   2026/08/31    $41,972    $41,972    $30,212    $41,972

                                      OREGON HEALTH & SCIENCE            The role of adrenergic signaling in cancer cachexia-
426 F30HL170476   5F30HL170476-02     UNIVERSITY                         associated cardiac remodeling                        DIBA, PARHAM             Awarded. Fellowships only   2023/08/25   2027/02/24   $106,668   $106,668    $79,171    $53,974

                                                                         Regulation of cardiomyocyte proliferation by the
427 F31HL170493   5F31HL170493-02     HARVARD MEDICAL SCHOOL             Reptin ATPase                                          WRANITZ, FELICIA E     Awarded. Fellowships only   2023/09/30   2025/11/30    $78,556    $78,556    $54,244    $39,918

                                                                         Sigma 2 Receptor (TMEM97): Investigating the
                                                                         Peripheral Role of this Novel Therapeutic Target for
428 F31NS129269   5F31NS129269-03     UNIVERSITY OF TEXAS DALLAS         Pain                                                   HONG, VERONICA MINSU Awarded. Fellowships only     2023/02/01   2025/11/30   $129,167   $129,167    $93,880    $40,600

                                                                         Deleted in malignant brain tumors 1 (DMBT1)
429 F31CA294983   1F31CA294983-01     VANDERBILT UNIVERSITY              expression and impact on colonic dysplasia             GREEN, EMILY H         Awarded. Fellowships only   2024/07/01   2027/06/30    $34,370    $34,370    $26,374    $34,370

                                                                         Defining the role of the mitochondrial protein, GOT2,
                                      OREGON HEALTH & SCIENCE            in pancreatic cancer metastasis and epigenetic
430 F31CA288079   1F31CA288079-01A1   UNIVERSITY                         dysregulation                                         DIAZ, LUIS FRANCISCO    Awarded. Fellowships only   2024/09/09   2027/11/08    $53,974    $53,974    $44,401    $53,974

                                                                         Cardiovascular Innovation Program in Surgery &                                Awarded. Non-fellowships
431 T32HL170959   5T32HL170959-02     WASHINGTON UNIVERSITY              Engineering                                            ZAYED, MOHAMED A       only                        2024/02/01   2029/01/31   $961,445   $961,445   $176,848   $642,743

                                                                      Mitochondrial transfer via endothelial-derived
                                      STATE UNIVERSITY OF NEW YORK AT extracellular vesicles as a potential therapy for
432 F30HL172394   1F30HL172394-01A1   BUFFALO                         vascular disease in MELAS                                 MANZAR, ZAHID          Awarded. Fellowships only   2024/08/01   2028/07/31    $36,416    $36,416    $24,448    $36,416

                                      ST. JUDE CHILDREN'S RESEARCH       THE FUNCTION OF CASPASE-8 IN CANCER, ANTI-             SHAW, JEREMY JOSEPH
433 F32CA291105   1F32CA291105-01A1   HOSPITAL                           CANCER IMMUNITY, AND CAR-T CELL FUNCTION               PORTER                 Awarded. Fellowships only   2024/07/01   2026/04/30    $76,756    $76,756    $59,337    $76,756

                                                                         Testing Neurobiological Models of Alcohol Use
                                      UNIVERSITY OF CALIFORNIA LOS       Disorder Through Real World Cue Reactivity and         BASKERVILLE, WAVE-
434 F31AA031914   1F31AA031914-01     ANGELES                            Mood                                                   ANANDA                 Awarded. Fellowships only   2024/09/01   2026/08/31    $41,308    $41,308    $29,548    $41,308

                                                                         Purposeful Outreach for Diversity and Inclusion of
                                      ALBERT EINSTEIN COLLEGE OF         Underrepresented in Medicine (PODIUM) Physician-                              Awarded. Non-fellowships
435 T32HL172255   5T32HL172255-02     MEDICINE                           Scientists                                         REZNIK, MARINA             only                        2024/02/01   2029/01/31   $627,431   $627,431   $147,103   $317,876

                                                                         Integrated Stress Response-mediated macrophage
                                      UNIVERSITY OF MICHIGAN AT ANN      innate immunity during maladapted Salmonella   POWERS, ZACHARY
436 F31AI186289   1F31AI186289-01     ARBOR                              enterica infection                             MICHAEL                        Awarded. Fellowships only   2024/09/01   2026/08/31    $42,094    $42,094    $38,135    $42,094

                                                                         Patterns of firearm-related intimate partner violence
                                                                         across developmental stages: Risk and protective
437 F31HD116419   1F31HD116419-01     VANDERBILT UNIVERSITY              factors                                               STEVENS, LAURA TAYLOR   Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $37,013    $48,974

                                                                         Interrogating Ventral Pallidal Circuits as a
438 F31DK138755   1F31DK138755-01A1   WASHINGTON UNIVERSITY              Therapeutic Target for Obesity                         WANG, JUSTIN G         Awarded. Fellowships only   2024/08/01   2027/07/31    $35,482    $35,482    $20,906    $35,482

                                                                         Testing Miniature Knee Joint System as a New Tool to
                                      UNIVERSITY OF PITTSBURGH AT        Study Neuroimmune Interactions in Osteoarthritis     MAKARCZYK, MEAGAN
439 F31AR083814   1F31AR083814-01A1   PITTSBURGH                         Pain                                                 JOANNE                   Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $21,687    $48,974

                                                                         Tissue-Resident Adaptive CD56bright NK Cell
440 F30CA294723   1F30CA294723-01     UNIVERSITY OF MINNESOTA            Responses in Cancer                                    LOZADA, JOHN ROY       Awarded. Fellowships only   2024/08/01   2028/07/31    $53,526    $53,526    $48,055    $53,526
                                                                        Cardiac fibroblast MHCII contribution to cardiac        ZAMBRANO, MARIA
441 F31HL175911   1F31HL175911-01     TUFTS UNIVERSITY BOSTON           pathophysiology in Doxorubicin cardiomyopathy           ANTONIA                 Awarded. Fellowships only   2024/12/01   2027/11/30    $45,162    $45,162    $18,688   $45,162

                                      UNIVERSITY OF COLORADO            Triple-network connectivity contributions to obesity
442 F31MH137968   1F31MH137968-01     DENVER                            in Schizophrenia                                        DODD, KEITH             Awarded. Fellowships only   2024/07/01   2025/06/30    $48,304    $48,304    $39,891   $48,304

                                                                        Addressing biases and evaluating gender
                                      UNIVERSITY OF CALIFORNIA AT       differences in lifecourse obesity and risk of ADRD in   MEUNIER, CLAIRE
443 F31AG089914   1F31AG089914-01     DAVIS                             a diverse cohort                                        CHRISTIANE              Awarded. Fellowships only   2024/09/01   2027/08/31    $41,972    $41,972    $30,212   $41,972

                                      UNIV OF NORTH CAROLINA            Differential impacts of water insecurity on diet and
444 F31HD113400   5F31HD113400-02     CHAPEL HILL                       body composition throughout the life course             MILLER, JOSHUA D        Awarded. Fellowships only   2023/09/01   2025/08/31    $80,510    $80,510    $57,281   $41,001

                                                                        Neural mechanisms of impaired postural control in
445 F31NS139497   1F31NS139497-01     UNIVERSITY OF MINNESOTA           people with Parkinsons disease                          MAUPIN, CALLEN M        Awarded. Fellowships only   2024/08/26   2027/08/25    $47,009    $47,009    $37,545   $47,009

                                                                        The regulatory impact of transposable elements
                                      UNIVERSITY OF TEXAS MED BR        (TEs) on differential gene expression in closely
446 F31HL172519   1F31HL172519-01A1   GALVESTON                         related species during cellular differentiation         HURLEY, JOHN DENNIS     Awarded. Fellowships only   2024/09/30   2027/09/29    $37,995    $37,995    $22,260   $37,995

                                                                        The regulation of the microglial response to amyloid-
                                      ICAHN SCHOOL OF MEDICINE AT       beta plaques by the polycomb repressive complex CHALLMAN, MATTHEW
447 F30AG079492   5F30AG079492-03     MOUNT SINAI                       2                                                     FRANCIS                   Awarded. Fellowships only   2022/12/01   2026/11/30   $146,500   $146,500   $101,014   $53,974

                                                                        Investigating the distribution and timing of pre-
                                                                        saccadic modulation across cortical layers in MT        BUCKLAEW, AMY
448 F31EY035866   1F31EY035866-01A1   UNIVERSITY OF ROCHESTER           and the influence of FEF signals                        BEATRICE                Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $28,963   $48,974

                                      UNIVERSITY OF COLORADO            Assessing the mechanism by which fetal glucagon
449 F32HD116431   1F32HD116431-01     DENVER                            inhibits placental nutrient transfer                    TANNER, AMELIA RUTH     Awarded. Fellowships only   2024/08/01   2026/07/31    $74,284    $74,284    $47,495   $74,284

                                                                        From Survival to Living Well: A Socioecological
                                                                        Approach to Understand Acquired Disability and          ROBERTS, MICHELLE
450 F31MD019997   1F31MD019997-01     UNIVERSITY OF KENTUCKY            Advance Health Equity in Rural Appalachia               KATHLEEN                Awarded. Fellowships only   2024/09/03   2026/08/31    $41,572    $41,572    $18,594   $41,572

                                                                      Developmental Trajectories of Attenuated
                                                                      Psychotic Symptoms: The Roles of Dispositional
                                                                      Emotion Regulation Strategy Use and Neural
451 F31MH138063   1F31MH138063-01     UNIVERSITY OF CALIFORNIA-IRVINE Connectivity in Pathways to Psychosis                     SNYDER, MADELINE        Awarded. Fellowships only   2024/09/30   2026/09/29    $45,563    $45,563    $31,451   $45,563

                                                                        Evaluating the Impact of ACEs Screening and
                                      UNIVERSITY OF CALIFORNIA, SAN     Behavioral-Social Support on Obstructive Lung
452 F32HL176162   1F32HL176162-01     FRANCISCO                         Disease Health Outcomes                                 MARTINEZ, ADALI         Awarded. Fellowships only   2024/09/01   2027/08/31    $91,432    $91,432     $7,953   $91,432

                                                                        Climate Change Effects on Pregnancy via a
453 F32MD019202   5F32MD019202-02     WASHINGTON STATE UNIVERSITY       Traditional Food                                        RICCI, CONTESSA         Awarded. Fellowships only   2024/01/01   2026/12/31   $155,728   $155,728    $93,728   $79,256

                                      UNIVERSITY OF MICHIGAN AT ANN     Biosynthetic Development and Diversification of
454 F31GM155959   1F31GM155959-01     ARBOR                             Moroidin Peptides for Cancer Applications               SHAFIQ, KHADIJA         Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $31,624   $48,974

                                                                        Investigating a potential cardio-placental signaling
455 F30HL175934   1F30HL175934-01     UNIVERSITY OF PENNSYLVANIA        axis                                                 FRANKFURTER, MAXWELL T Awarded. Fellowships only       2024/09/10   2026/09/09    $53,974    $53,974    $42,435   $53,974

                                                                        Understanding the link between stressful life events
                                      UNIVERSITY OF PITTSBURGH AT       and cardiovascular disease risk: A health
456 F32HL176202   1F32HL176202-01     PITTSBURGH                        neuroscience approach                                   CHUNG, E-LIM LYDIA WU   Awarded. Fellowships only   2024/09/01   2027/08/31    $77,607    $77,607    $37,769   $77,607

                                      UNIVERSITY OF CALIFORNIA, SAN     Regulation of IGF-1R in acute and chronic thyroid
457 F32EY036715   1F32EY036715-01     DIEGO                             eye disease                                             CHENG, SARAH            Awarded. Fellowships only   2024/08/01   2027/07/31    $76,756    $76,756    $25,768   $76,756

                                                                        Small Molecule Degraders of Tryptophan 2,3-
                                                                        Dioxygenase Enzyme (TDO) as Novel Treatments for
458 F31AG084329   5F31AG084329-02     PURDUE UNIVERSITY                 Neurodegenerative Disease                        TROMBLEY, TREVOR               Awarded. Fellowships only   2024/01/01   2026/12/31    $95,388    $95,388    $55,860   $47,694

                                      UNIVERSITY OF CALIFORNIA, SAN     Illuminating ER Lumen AMPK Dynamics for
459 F31HL176051   1F31HL176051-01     DIEGO                             Maintaining Vascular Homeostasis via ACE2               LYONS, ANNE             Awarded. Fellowships only   2024/09/30   2027/09/29    $41,755    $41,755    $14,112   $41,755
                                                                       Elucidating the mechanism by which Elastin
                                      LURIE CHILDREN'S HOSPITAL OF     Microfibril interface-located protein 1 (EMILIN1)
460 F31HD116552   1F31HD116552-01     CHICAGO                          contributes to folliculogenesis                         MCDOWELL, HANNAH         Awarded. Fellowships only   2024/09/16   2027/09/15    $44,187    $44,187    $19,279   $44,187

                                      UNIVERSITY OF NEW MEXICO         The Molecular Mechanism of Genetic Disorders Due
461 F31GM156072   1F31GM156072-01     HEALTH SCIS CTR                  to XPD Mutations                                 HOAG, ALLYSON LYNNE             Awarded. Fellowships only   2024/08/01   2026/07/31    $42,574    $42,574    $29,112   $42,574

                                                                       Role of PDK1 in pancreatic cancer cell fitness under
462 F31CA278362   5F31CA278362-02     UNIVERSITY OF CHICAGO            tumor nutrient stress                                SHEEHAN, COLIN              Awarded. Fellowships only   2023/09/30   2025/09/29    $96,668    $96,668    $74,328   $48,974

                                                                       Evaluating the role of Mecr and Mitochondrial Fatty
463 F31DK139660   1F31DK139660-01A1   VANDERBILT UNIVERSITY            Acid Synthesis in T cell Function and Metabolism    STEINER, KAYLEE KRISTAL      Awarded. Fellowships only   2024/08/01   2026/07/31    $34,314    $34,314    $24,022   $34,314

                                                                       Generating hiPSC-derived ATRT models to
                                      UNIVERSITY OF CALIFORNIA, SAN    investigate cell of origin and identify therapeutic
464 F31CA294873   1F31CA294873-01     DIEGO                            vulnerabilities                                         WANG, CLARK GOLD         Awarded. Fellowships only   2024/07/01   2026/06/30    $41,755    $41,755     $4,704   $41,755

                                                                       Insulins acute regulation of hepatic glucose            STEFKOVICH, MEGAN
465 F31DK139617   1F31DK139617-01A1   UNIVERSITY OF PENNSYLVANIA       utilization                                             LYNN                     Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $38,778   $48,974

                                                                       Neural Circuit Dynamics Underlying Perceptual
                                      BOSTON UNIVERSITY (CHARLES       Decision Making in the Macaque Dorsolateral
466 F31NS131018   5F31NS131018-02     RIVER CAMPUS)                    Prefrontal Cortex                                       LEE, ERIC KENJI          Awarded. Fellowships only   2024/01/01   2025/11/30    $74,807    $74,807    $47,682   $36,365

                                                                       Cannabis use, trauma, and self-regulatory cognitive
                                                                       processes: A multimodal study integrating
467 F32DA061553   1F32DA061553-01     BROWN UNIVERSITY                 biobehavioral markers and ecological assessment KARNICK, ALEKSANDR T             Awarded. Fellowships only   2024/09/01   2026/08/31    $81,784    $81,784    $36,647   $81,784

                                                                       An Evolutionarily Conserved RNA Binding Protein
                                                                       Critical for Proper Neuronal Function Regulates Lipid
468 F31NS135980   1F31NS135980-01A1   EMORY UNIVERSITY                 Storage and Metabolic Pathways                        GOLDY, JORDAN              Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $28,860   $48,974

                                                                       Integrating highly multiplexed immunofluorescence
                                                                       with label-free 2D hyperspectral chemical imaging
                                                                       to interrogate the colorectal cancer tumor-invasive
469 F32CA294924   1F32CA294924-01     STANFORD UNIVERSITY              front                                               HOLMAN, ELIZABETH A          Awarded. Fellowships only   2024/07/15   2027/07/14    $74,284    $74,284    $47,671   $74,284

                                      UNIVERSITY OF CALIFORNIA AT      Lifecourse Residential Segregation, Ethnic Enclaves
470 F31AG085937   5F31AG085937-02     DAVIS                            and Risk and Resilience to ADRD in Diverse Cohorts      LOR, YI                  Awarded. Fellowships only   2024/01/01   2028/12/31    $83,394    $83,394    $55,234   $41,826

                                                                    Kidney-resident memory CD8+ T cells promote
471 F31HL175932   1F31HL175932-01     UNIV OF ARKANSAS FOR MED SCIS hypertension and memorize salt sensitivity.                DECK, KATHERINE          Awarded. Fellowships only   2024/09/30   2026/09/29    $38,945    $38,945    $23,118   $38,945

                                                                       Stereoselective Transition Metal Catalysis Enabled
                                                                       by Hydrogen-Bond Donor Mediated Electrophile
472 F32GM149151   5F32GM149151-02     HARVARD UNIVERSITY               Activation                                              NISTANAKI, SEPAND K      Awarded. Fellowships only   2023/09/01   2026/08/31   $142,512   $142,512   $112,654   $73,828

                                      CLEVELAND CLINIC LERNER COM-     Internalization of dead cells governs intestinal stem
473 F32DK136180   5F32DK136180-02     CWRU                             cell activity                                           ZHOU, JULIE              Awarded. Fellowships only   2023/12/01   2026/11/30   $154,112   $154,112   $102,700   $77,284

                                                                       Robotic and handheld OCT imaging for diagnosis
474 F31EY035168   5F31EY035168-02     DUKE UNIVERSITY                  and treatment of diabetic retinopathy                   NARAWANE, AMIT           Awarded. Fellowships only   2024/01/01   2026/12/31    $82,746    $82,746    $58,549   $41,373

                                      UNIVERSITY OF ILLINOIS AT        Sleep as a Mechanism of Premenstrual
475 F30MH138058   1F30MH138058-01     CHICAGO                          Exacerbation of Depression and Suicidality              NAGPAL, ANISHA           Awarded. Fellowships only   2024/06/27   2028/06/26    $53,974    $53,974    $19,528   $53,974

                                      STATE UNIVERSITY OF              Mitigating ADA Through Site-specific Conjugation        BENJAMIN, SAMANTHA
476 F31GM148053   5F31GM148053-03     NY,BINGHAMTON                    Technology                                              RENE                     Awarded. Fellowships only   2022/11/21   2025/11/20   $118,160   $118,160    $82,782   $40,294

                                                                       Investigating the role of endothelial Gimap5 in
477 F30DK138640   1F30DK138640-01A1   YALE UNIVERSITY                  maintaining liver homeostasis                           BRANCALE, JOSEPH         Awarded. Fellowships only   2024/08/01   2027/07/31    $33,958    $33,958    $20,636   $33,958

                                      UNIVERSITY OF MICHIGAN AT ANN    Positive Childhood Experiences and                      DRENTH, PATRICIA JILL-
478 F31NR021335   1F31NR021335-01     ARBOR                            Intergenerational Trauma Transmission                   KELLY                    Awarded. Fellowships only   2024/09/01   2026/06/30    $47,025    $47,025    $35,954   $47,025

                                      UNIVERSITY OF CONNECTICUT SCH Elucidating the role of FBLL1 in ribosome function
479 F31HD114435   1F31HD114435-01A1   OF MED/DNT                    during neuronal differentiation                            ALSHAWI, SARAH ANN       Awarded. Fellowships only   2024/09/01   2026/08/31    $45,419    $45,419    $32,606   $45,419
                                      STOWERS INSTITUTE FOR MEDICAL     Investigating ribosome biogenesis and function in
480 F31HD116553   1F31HD116553-01     RESEARCH                          the aging mammalian oocyte.                             GALLIGOS, ANNA         Awarded. Fellowships only   2025/01/01   2026/12/31     $32,974      $32,974     $11,964    $32,974

                                      FRED HUTCHINSON CANCER            Exploring the molecular mechanisms controlling          WALLACE-POVIRK,
481 F32CA284723   1F32CA284723-01A1   CENTER                            CDK7i sensitivity in pancreas cancer                    ADRIANNE               Awarded. Fellowships only   2024/07/01   2026/06/30     $74,284      $74,284     $51,751    $74,284

                                      UNIVERSITY OF KANSAS MEDICAL      Transition and Health Implications of Posttraumatic
482 F31CA288067   1F31CA288067-01A1   CENTER                            Growth in Pediatric Cancer Survivors                    GILBERT, RENEE M       Awarded. Fellowships only   2024/08/12   2026/08/11     $41,996      $41,996     $26,186    $41,996

                                                                        Base editing to elucidate RAF regulation and
483 F31CA294870   1F31CA294870-01     HARVARD UNIVERSITY                signaling                                               WOODS, JAMES           Awarded. Fellowships only   2024/07/01   2027/06/30     $41,656      $41,656     $36,952    $41,656

                                      TEMPLE UNIV OF THE                                                                        HESKETH, NATASHA
484 F31NS135943   1F31NS135943-01A1   COMMONWEALTH                      Control of Axon Degeneration by Palmitoylation          LOUISE                 Awarded. Fellowships only   2024/08/01   2026/07/31     $34,104      $34,104     $22,049    $34,104

                                                                                                                                                       Awarded. Non-fellowships
485 T32HL066987   5T32HL066987-23     BOSTON CHILDREN'S HOSPITAL        Transfusion Biology and Cellular Therapies              MANIS, JOHN P          only                        2001/09/01   2027/11/30   $1,460,904   $1,460,904   $746,153   $500,908

                                                                      The Role of Neuronal Primary Cilia Deterioration in
486 F31AG089912   1F31AG089912-01     CASE WESTERN RESERVE UNIVERSITY Alzheimers Disease                                        MILLER, EMIKO L        Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974     $22,496    $48,974

                                                                        The impacts of shift work-like lighting on
487 F31HD114529   1F31HD114529-01A1   MICHIGAN STATE UNIVERSITY         neuroendocrine function                                 VAN LOH, BROOKE MARIE Awarded. Fellowships only    2024/12/17   2026/12/16     $37,838      $37,838      $9,602    $37,838

                                      ICAHN SCHOOL OF MEDICINE AT       The innate antiviral response in airway epithelium: a
488 F31HL176050   1F31HL176050-01     MOUNT SINAI                       cell type-resolved, functional genomics approach PANKOW, ALEC P                Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974       $346     $48,974

                                                                        Investigating age-dependent differences in cardiac
489 F31HL172563   1F31HL172563-01A1   CHILDREN'S RESEARCH INSTITUTE     drug response                                      SALAMEH, SHATHA             Awarded. Fellowships only   2025/01/01   2027/12/31     $35,398      $35,398         $0     $35,398

                                                                        Exploring the Relationship Between the Oral
                                                                        Microbiome and Fatigue in Individuals with Breast
490 F31CA294598   1F31CA294598-01     DUKE UNIVERSITY                   Cancer: A Longitudinal Study                            SLACK, JULIA           Awarded. Fellowships only   2024/08/01   2026/06/30     $48,974      $48,974     $41,875    $48,974

                                                                        Investigating microphthalmia-associated
                                                                        transcription factor (MITF) and growth factors as
491 F31CA294736   1F31CA294736-01     HARVARD MEDICAL SCHOOL            initiators of melanoma                                  HONGO, RACHEL          Awarded. Fellowships only   2024/09/01   2027/08/31     $43,456      $43,456     $34,048    $43,456

                                                                        Leveraging Ultra-High Field MRI to Elucidate            PECSOK, MARGARET
492 F30MH136690   1F30MH136690-01A1   UNIVERSITY OF PENNSYLVANIA        Glutamatergic Mechanisms of rTMS in Depression          KASEY                  Awarded. Fellowships only   2024/07/16   2028/07/15     $53,974      $53,974     $45,504    $53,974

                                                                        Late onset of metabolic liver disease from early life
                                                                        flame retardant exposure and adulthood western
493 F31DK139707   1F31DK139707-01A1   UNIVERSITY OF WASHINGTON          diet                                                    LIM, JONGPYO JOE       Awarded. Fellowships only   2024/08/06   2026/08/05     $45,574      $45,574     $35,640    $45,574

                                                                        A natural language processing approach to identify
                                      UNIVERSITY OF CALIFORNIA, SAN     social risk factors from neonatal intensive care unit
494 F31MD019214   1F31MD019214-01A1   FRANCISCO                         patients’ (NICU) electronic health records            MEHTA, SHIVANI           Awarded. Fellowships only   2024/11/01   2027/10/31     $42,574      $42,574     $21,460    $42,574

                                      UNIVERSITY OF ALABAMA AT          Role of Runx2 in Postnatal Dentin Synthesis and
495 F30DE033620   1F30DE033620-01A1   BIRMINGHAM                        Alveolar Osteogenesis                                   SMITH, CARIS MULHERN   Awarded. Fellowships only   2024/07/25   2027/07/24     $54,774      $54,774     $41,140    $54,774

                                                                        Contribution of hydrogen sulfide to Duchenne
496 F30HL176040   1F30HL176040-01     UNIVERSITY OF MINNESOTA           muscular dystrophy pathophysiology                      FALLON, KATHERINE SAGE Awarded. Fellowships only   2024/08/01   2027/05/01     $46,478      $46,478     $36,281    $46,478

                                                                        Targeted radionuclide therapy for tumor
                                      UNIVERSITY OF WISCONSIN-          immunomodulation and enhancing                          KERR, CAROLINE PAULA
497 F30CA268780   5F30CA268780-04     MADISON                           immunotherapy response                                  ANNE                   Awarded. Fellowships only   2022/01/01   2025/12/31    $164,591     $164,591    $160,778    $43,552

                                                                        Induction of tolerance to a Hybrid Insulin Peptide
                                      UNIVERSITY OF COLORADO            and the impact on autoreactive T cell fate and
498 F31AI181452   1F31AI181452-01A1   DENVER                            function in autoimmune diabetic islet transplant        DILISIO, JAMES         Awarded. Fellowships only   2024/08/01   2026/07/31     $39,897      $39,897     $27,989    $39,897

                                                                        Histone crotonylation as a novel regulator of           PETRONGLO, JENNA
499 F32MH138117   1F32MH138117-01     UNIVERSITY OF PENNSYLVANIA        learning and memory                                     ROSE                   Awarded. Fellowships only   2024/08/01   2027/07/31     $73,828      $73,828     $54,399    $73,828

                                                                      Investigation of neural ensembles underlying
500 F30DA056215   5F30DA056215-03     UNIVERSITY OF CALIFORNIA-IRVINE chronic pain                                              HUI, MAY               Awarded. Fellowships only   2022/11/12   2026/11/11    $133,728     $133,728     $65,345    $53,974
                                      UNIVERSITY OF PITTSBURGH AT     Understanding the functional anatomy of
501 F31NS134315   5F31NS134315-02     PITTSBURGH                      nociceptive spinal output neurons                     BLEIMEISTER, ISABEL    Awarded. Fellowships only   2023/07/01   2026/06/30    $96,668    $96,668    $88,467   $48,974

                                                                      The relationship between social needs and primary
                                                                      care use after enrollment in Virginia’s Medicaid
                                      VIRGINIA COMMONWEALTH           expansion: The influence of sociocultural and built
502 F30MD018324   5F30MD018324-03     UNIVERSITY                      environments                                          SHADOWEN, HANNAH       Awarded. Fellowships only   2022/11/10   2027/10/31   $126,511   $126,511    $98,597   $42,911

                                                                      Investigating the role of SPRR1A in border zone
503 F32HL175913   1F32HL175913-01     UNIVERSITY OF ROCHESTER         cardiomyocytes during neonatal cardiac repair         ZUPPO, DANIEL ANTHONY Awarded. Fellowships only    2024/09/01   2027/08/31    $74,284    $74,284    $47,783   $74,284

                                      UNIVERSITY OF PITTSBURGH AT     Anti-fungal immune responses in the female
504 F32AI186291   1F32AI186291-01     PITTSBURGH                      reproductive tract                                    COOK, MELISSA ERIN     Awarded. Fellowships only   2025/01/01   2026/12/31    $76,108    $76,108    $22,078   $76,108

                                                                      Diabetes Self-Management Education and Support
                                      MASSACHUSETTS GENERAL           for People with Type 2 Diabetes Experiencing Food
505 F32DK141094   1F32DK141094-01     HOSPITAL                        Insecurity: A Mixed Methods Study                 GU, KRISTINE               Awarded. Fellowships only   2024/07/01   2025/06/30    $83,932    $83,932    $58,557   $83,932

                                                                      Redefining the factors that determine tear film
                                      UNIVERSITY OF CALIFORNIA AT     stability to develop novel therapeutics for
506 F30EY035132   5F30EY035132-02     DAVIS                           evaporative dry eye disease                           HISEY, ERIN ALISSA     Awarded. Fellowships only   2023/09/01   2027/08/31    $81,856    $81,856    $70,096   $41,568

                                      UT SOUTHWESTERN MEDICAL         Metabolic consequences of zonal defects in
507 F30DK142444   1F30DK142444-01     CENTER                          gluconeogenesis                                       LIANG, ROGER JIE       Awarded. Fellowships only   2025/01/01   2028/12/31    $39,959    $39,959    $16,287   $39,959

                                      UNIVERSITY OF MIAMI SCHOOL OF   Investigating Breast Cancer Outcomes in Haitian
508 F31MD020275   1F31MD020275-01     MEDICINE                        Immigrants                                            RAVIX, JOVANKA L       Award terminated            2024/11/01   2025/10/31    $48,974    $48,974    $18,895   $48,974

                                      UNIVERSITY OF ALABAMA AT        Contributions of KCNQ2/3 channels to medium
509 F32DA058453   5F32DA058453-03     BIRMINGHAM                      spiny neuron excitability and cocaine reward          JORGENSEN, EMILY       Awarded. Fellowships only   2023/05/01   2026/04/30   $224,613   $224,613   $132,005   $77,037

                                      UNIVERSITY OF PITTSBURGH AT     Using Neuroprosthetics to Promote Plasticity in
510 F32MH139145   1F32MH139145-01     PITTSBURGH                      Cortical Motor Circuits                               SCHONE, HUNTER         Awarded. Fellowships only   2024/12/01   2027/11/30    $78,828    $78,828    $24,810   $78,828

                                                                      Illuminating the Molecular Mechanisms of
511 F31GM157882   1F31GM157882-01     UNIVERSITY OF PENNSYLVANIA      Replication and Transcription Coordination            ADIGUN, ALEXANDRIA     Awarded. Fellowships only   2025/02/01   2028/01/31    $48,974    $48,974     $4,704   $48,974

                                      UNIV OF MASSACHUSETTS MED SCH The role of caspase-3 mediated cleavage of VPS4A
512 F30AI188981   1F30AI188981-01     WORCESTER                     in restricting HSV-1                             POWERS, JENNIFER LYNN         Awarded. Fellowships only   2025/03/06   2029/06/30    $36,459    $36,459     $3,489   $36,459

                                                                      PROTECTIVE POISON AT HIGH ALTITUDE: THERAPEUTIC
                                      UNIVERSITY OF CALIFORNIA, SAN   EFFECTS OF ELEVATED ENDOGENOUS CO FROM          KONG, MITCHELL CHUNG-
513 F31HL174120   1F31HL174120-01A1   DIEGO                           ADAPTIVE HMOX2 VARIANTS                         HIN                   Awarded. Fellowships only          2025/04/01   2027/03/31    $42,032    $42,032        $0    $42,032

                                      UT SOUTHWESTERN MEDICAL         Dissecting Mechanisms of Pyrimidine Synthesis
514 F30CA271634   5F30CA271634-04     CENTER                          Dependence in IDH Mutant Glioma                       SAVANI, MILAN RASHMIN Awarded. Fellowships only    2022/04/20   2026/04/19   $170,191   $170,191   $115,812   $46,716

                                                                      A process evaluation of a pragmatic randomized
                                                                      controlled trial to promote mental health among
515 F31DK141239   1F31DK141239-01A1   UNIVERSITY OF GEORGIA           adults with Type 1 diabetes                           COOPER, ZACH           Awarded. Fellowships only   2025/01/01   2026/12/31    $43,828    $43,828    $12,737   $43,828

                                      UNIV OF MASSACHUSETTS MED SCH Temporal Regulation of mRNA Biogenesis in Immune
516 F31AI189160   1F31AI189160-01     WORCESTER                     Responses                                        LEHMAN, JESSE WILLIAM         Awarded. Fellowships only   2025/02/10   2027/02/09    $33,806    $33,806     $6,043   $33,806

                                      WAKE FOREST UNIVERSITY HEALTH   Development of Retronasal Smell Perception in
517 F31DC022149   1F31DC022149-01A1   SCIENCES                        Young Children and Relation with BMI                  COLBERT, SARAH         Awarded. Fellowships only   2024/08/02   2027/07/31    $48,974    $48,974    $37,664   $48,974
518 F30EY037188   1F30EY037188-01     RICE UNIVERSITY                 Enhanced Transretinal Ultrasound Delivery (ETUDe)     LINK, SCHUYLER         Awarded. Fellowships only   2025/01/01   2028/12/31    $53,974    $53,974        $0    $53,974

                                                                      Evaluating Cascading Effects of Caregiver Stress on
519 F31DC022173   1F31DC022173-01A1   VANDERBILT UNIVERSITY           Later Language Outcomes of Infants                  MARKFELD, JENNIFER E     Awarded. Fellowships only   2024/09/01   2026/08/31    $34,295    $34,295    $21,670   $34,295

                                      UNIVERSITY OF WISCONSIN-        Whole-Person Health and Brain Health Outcomes of
520 F31AT012583   5F31AT012583-02     MADISON                         Mindfulness Training in Asthma                   CARROL, DANIELLE H          Awarded. Fellowships only   2024/03/24   2026/03/23    $68,854    $68,854    $40,750   $34,427

                                                                      Utilizing a Novel Skin-on-a-Chip Model to Investigate
                                      UNIVERSITY OF CALIFORNIA AT     Extramedullary Granulopoiesis and Immune
521 F31AI189485   1F31AI189485-01     DAVIS                           Responses in Human Skin                               CIRVES, EVAN PATRICK   Awarded. Fellowships only   2025/01/01   2027/12/31    $42,058    $42,058    $16,279   $42,058
                                                                       Mechanisms of cell size determination by the mitotic
522 F31GM156081   1F31GM156081-01A1   DARTMOUTH COLLEGE                cyclin Cdc13                                         VANDAL, SARAH E         Awarded. Fellowships only   2025/01/01   2027/06/30     $48,974      $48,974      $13,694     $48,974

                                      UNIVERSITY OF TEXAS HLTH SCIENCE Novel Approach to Hepatocellular Carcinoma
523 F30CA298683   1F30CA298683-01     CENTER                           Treatment through Enhanced ER Stress                  BAKER, ADRIANA         Awarded. Fellowships only   2025/03/14   2030/03/13     $41,506      $41,506           $0     $41,506

                                                                       Investigating neural and behavioral indications of
524 F31AA032179   1F31AA032179-01     YALE UNIVERSITY                  persistent alcohol-related thoughts                   YE, JEAN               Awarded. Fellowships only   2025/02/01   2027/01/31     $42,574      $42,574       $9,504     $42,574

                                                                                                                                                    Awarded. Non-fellowships
525 T32HD083185   5T32HD083185-10     UNIVERSITY OF PENNSYLVANIA       Graduate Training in Developmental Biology            GRANATO, MICHAEL       only                        2015/05/01   2026/04/30   $1,841,232   $1,841,232   $1,324,052   $396,063

                                      UNIVERSITY OF PITTSBURGH AT      Defining the role of IGF2 in regulating adipocyte
526 F30DK138641   5F30DK138641-02     PITTSBURGH                       progenitor proliferation and adipogenesis             SHARMA, ANKIT          Awarded. Fellowships only   2024/04/01   2028/03/31    $102,640     $102,640      $50,887     $51,320

                                                                       A multifunctional fiber platform for wireless,
                                      MASSACHUSETTS INSTITUTE OF       volumetric imaging and modulation of neural
527 F32MH139162   1F32MH139162-01     TECHNOLOGY                       activity in vivo                                      CANNON, TAYLOR MARIE Awarded. Fellowships only     2024/09/16   2026/09/15     $81,048      $81,048      $33,942     $81,048

                                                                       Investigating the role of nicotine and the NRLP3
                                      ICAHN SCHOOL OF MEDICINE AT      Inflammasome in HIV-1-Associated CNS
528 F31DA062536   1F31DA062536-01     MOUNT SINAI                      Inflammation                                          KEANE, AISLINN         Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974           $0     $48,974

                                      UNIVERSITY OF ILLINOIS AT        Endothelial cell-fibroblast communication in skin
529 F31AR083830   5F31AR083830-02     CHICAGO                          wound healing                                         YUAN, HEIDI            Awarded. Fellowships only   2024/04/16   2027/04/15    $107,948     $107,948      $44,633     $53,974

                                                                   Socio-structural determinants of cannabis and
                                                                   derived psychoactive cannabis product use and
530 F32DA060612   5F32DA060612-02     GEORGE WASHINGTON UNIVERSITY consequences among young adults                           LOPARCO, CASSIDY R     Awarded. Fellowships only   2024/04/15   2026/04/14    $148,112     $148,112      $72,496     $74,284

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
531 T32HD007470   2T32HD007470-31A1   FRANCISCO                        Predoctoral Training in Developmental Biology         NYSTUL, TODD           only                        1994/07/01   2030/04/30    $387,359     $387,359           $0    $387,359

                                      UNIVERSITY OF MICHIGAN AT ANN    Feedback mechanisms link tubulin PTMs to Golgi
532 F32GM157897   1F32GM157897-01     ARBOR                            organization                                          PIMM, MORGAN LYNN      Awarded. Fellowships only   2025/02/01   2027/01/31     $73,828      $73,828      $12,781     $73,828

                                      UNIVERSITY OF CALIFORNIA AT      Spectroscopic Characterization of Enzymatic
533 F32GM157846   1F32GM157846-01     DAVIS                            Intermediates with FeS Clusters                       SHIAU, ANGELA          Awarded. Fellowships only   2024/12/06   2026/11/30     $73,828      $73,828           $0     $73,828

                                      CHILDREN'S HOSP OF               Targeting Dentate Gyrus to Disrupt Fentanyl-Linked
534 F32DA062486   1F32DA062486-01     PHILADELPHIA                     Context Memories                                      COLON, LORIANNA        Awarded. Fellowships only   2025/02/01   2027/01/31     $76,756      $76,756      $15,294     $76,756

                                                                       Dissecting enzyme function at scale using synergistic
                                                                       advances in microfluidics and genetic code            ALMHJELL, PATRICK
535 F32GM156066   1F32GM156066-01A1   STANFORD UNIVERSITY              expansion                                             JAMES                  Awarded. Fellowships only   2024/12/01   2026/11/30     $74,284      $74,284      $26,364     $74,284
536 F30MH136677   1F30MH136677-01A1   VANDERBILT UNIVERSITY            Sensorimotor Control of Facial Expression in Autism   BRESS, KIMBERLY SUMMER Awarded. Fellowships only   2024/11/01   2027/10/31     $34,295      $34,295      $14,363     $34,295

                                                                      Hippocampal network mediating behavioral effects
537 F30MH135688   1F30MH135688-01A1   UNIVERSITY OF CALIFORNIA-IRVINE of social isolation in mice                      YANG, CHENYI                 Awarded. Fellowships only   2025/04/01   2029/03/31     $45,563      $45,563           $0     $45,563

                                      COLUMBIA UNIV NEW YORK           Regeneration of Thalamopallial Projections and        CHUA, JIANMING
538 F31NS141628   1F31NS141628-01     MORNINGSIDE                      Sensory Function in the Salamander Brain              NICHOLAS               Awarded. Fellowships only   2024/12/01   2027/09/30     $48,974      $48,974      $16,464     $48,974

                                                                       Alcohol-mediated mitochondrial adaptations in         RODRIGUEZ GRACIANI,
539 F32AA031901   1F32AA031901-01A1   LSU HEALTH SCIENCES CENTER       skeletal muscle: role of Sirtuin1                     KEISHLA MARIE          Awarded. Fellowships only   2025/02/16   2026/08/15     $74,284      $74,284       $8,458     $74,284

                                                                       Determining neural dynamics of human memory
                                                                       using invasive recordings and closed-loop electrical
540 F30MH139332   1F30MH139332-01     HOFSTRA UNIVERSITY               brain stimulation                                    MISHRA, AKASH           Awarded. Fellowships only   2024/12/03   2029/12/02     $41,974      $41,974           $0     $41,974

                                      MEDICAL UNIVERSITY OF SOUTH      Investigating Ensemble Activity Dynamics of a
541 F31AA032197   1F31AA032197-01     CAROLINA                         Thalamo-Striatal Circuit Regulating Alcohol Seeking   WARD, AMY L            Awarded. Fellowships only   2024/09/01   2027/08/31     $46,609      $46,609      $31,169     $46,609

                                                                      Non-Invasive Carotid Artery Measurements for
542 F30HL167584   5F30HL167584-03     UNIVERSITY OF CALIFORNIA-IRVINE Continuous Intracranial Pressure Monitoring            ABIRI, ARASH           Awarded. Fellowships only   2023/04/01   2027/03/31    $122,215     $122,215      $33,655     $41,165

                                      UNIVERSITY OF OKLAHOMA HLTH      Human gut Bacteroidales defense mechanisms
543 F31AI189149   1F31AI189149-01     SCIENCES CTR                     against emerging antibacterial toxins                 SANFORD, TRISTAN C     Awarded. Fellowships only   2024/12/01   2026/11/30     $46,402      $46,402      $12,975     $46,402
                                      UNIVERSITY OF CALIFORNIA, SAN     Understanding the mechanisms by which vCA1
544 F31MH139309   1F31MH139309-01     FRANCISCO                         orchestrates avoidance behavior                        O'SULLIVAN, RACHEL    Awarded. Fellowships only   2025/02/27   2027/02/26    $48,974    $48,974    $18,559    $48,974

                                                                        Investigating the role of intrahepatic plasma cells in
                                                                        the clearance of HCV infection: implications for
545 F32AI189066   1F32AI189066-01     EMORY UNIVERSITY                  rational vaccine design                                GRIDLEY, JOHN         Awarded. Fellowships only   2024/12/01   2026/06/30    $76,756    $76,756    $10,727    $76,756

                                      UNIVERSITY OF CONNECTICUT SCH TRPM7-mediated macrophage signaling in
546 F31HL178225   1F31HL178225-01     OF MED/DNT                    atherosclerosis                                            LI, CINDY XINTONG     Awarded. Fellowships only   2025/02/01   2028/01/31    $45,122    $45,122     $7,663    $45,122

                                                                        Understanding the Role of Endoplasmic Reticulum-
                                      TEXAS A&M UNIVERSITY HEALTH       Exit Site Upregulation in Neuroprotection Against
547 F30NS141487   1F30NS141487-01     SCIENCE CTR                       Parkinson’s Disease                                    GARCIA, ROGER C       Awarded. Fellowships only   2025/02/01   2028/10/31    $37,568    $37,568     $8,781    $37,568

                                                                        The effects of sleep and iPRGCs on computations in
548 F32EY036275   5F32EY036275-02     STANFORD UNIVERSITY               the early visual system                            AU, DAVID                 Awarded. Fellowships only   2024/04/01   2027/03/31   $148,112   $148,112    $73,067    $74,284

                                      UNIVERSITY OF SOUTHERN
549 F31DK138777   5F31DK138777-02     CALIFORNIA                        Neural circuits mediating food impulsive behavior      KLUG, MOLLY E         Awarded. Fellowships only   2024/01/01   2026/12/31    $85,148    $85,148    $58,581    $42,574

                                                                        Regulation of hair cell mechanotransduction by         MITTELSTADT, JONAH
550 F31DC022480   1F31DC022480-01     JOHNS HOPKINS UNIVERSITY          PIP2                                                   KENDAHL               Awarded. Fellowships only   2025/01/01   2027/12/31    $48,974    $48,974    $19,875    $48,974

                                                                        Neuronal Primary Cilia Dysfunction in Tuberous
551 F31NS141557   1F31NS141557-01     BOSTON CHILDREN'S HOSPITAL        Sclerosis Complex                                      DONOVAN, KATHLEEN     Awarded. Fellowships only   2025/01/03   2028/01/02    $45,132    $45,132        $0     $45,132

                                                                   Training Program in Approaches to Address Social-
                                                                   Structural Factors Related to HIV Intersectionally                                Awarded. Non-fellowships
552 T32MH130247   5T32MH130247-04     GEORGE WASHINGTON UNIVERSITY (TASHI)                                                     KERRIGAN, DEANNA L    only                        2022/05/01   2027/04/30   $912,601   $912,601   $472,770   $185,402

                                                                      Quantifying Conflict and its Association with
553 F31AI183632   1F31AI183632-01A1   UNIVERSITY OF CALIFORNIA-IRVINE Cholera in Yemen                                         TARNAS, MAIA CELINE   Awarded. Fellowships only   2025/01/01   2026/12/31    $45,976    $45,976    $16,487    $45,976

                                      COLUMBIA UNIVERSITY HEALTH        Modulation of Heteromeric AMPA-Subtype iGluRs
554 F31NS132554   5F31NS132554-02     SCIENCES                          by Auxiliary Subunits                                  YEN, LAURA YAUNHEE    Awarded. Fellowships only   2024/02/01   2027/01/31   $103,948   $103,948    $70,479    $51,974

                                      ICAHN SCHOOL OF MEDICINE AT       The Role of Fyn Kinase in the Dorsal Striatum in
555 F30DA057092   5F30DA057092-03     MOUNT SINAI                       Heroin Use Disorder                                    SHERMAN, JEREMY       Awarded. Fellowships only   2023/04/01   2026/06/30   $158,362   $158,362    $91,503    $53,974

                                                                      Investigating the Genetic Determinants of Host-
                                      STATE UNIVERSITY OF NEW YORK AT Specificity and Potential for Further Adaptation of
556 F31AI176725   5F31AI176725-02     ALBANY                          Powassan Virus                                           LANGE, RACHEL         Awarded. Fellowships only   2024/04/01   2026/03/31    $72,891    $72,891    $30,170    $36,480

                                                                        Spinal Cord Injury: A Cardiovascular Perspective
557 F30HL168823   5F30HL168823-02     JOHNS HOPKINS UNIVERSITY          using Ultrasound                                       ROUTKEVITCH, DENIS    Awarded. Fellowships only   2024/03/01   2027/02/28   $107,948   $107,948    $55,444    $53,974

                                                                        Investigating the role of DNA structure in             GUTEMA, LYDIA
558 F31GM153153   5F31GM153153-02     EMORY UNIVERSITY                  centromere specification                               HABTAMU               Awarded. Fellowships only   2024/02/01   2027/01/31    $97,948    $97,948    $50,658    $48,974

                                      BOSTON UNIVERSITY MEDICAL         Defining the tumor suppressive mechanism of the
559 F31CA278588   5F31CA278588-02     CAMPUS                            kinase STK25                                           HO, RACHEL XI-YEEN    Awarded. Fellowships only   2024/01/17   2026/01/16    $97,948    $97,948    $32,657    $48,974
560 F30AG077858   5F30AG077858-03     UNIVERSITY OF PENNSYLVANIA        Characterizing Vulnerable Cell Types in C9orf72-FTD DAI, DAVID               Awarded. Fellowships only   2023/01/01   2025/05/31   $123,300   $123,300   $103,077    $17,574

                                                                        Elucidating the role of Scribble in angiogenic
                                      UNIVERSITY OF CALIFORNIA, SAN     symmetry breaking and adherens junction
561 F31HL172606   5F31HL172606-02     FRANCISCO                         remodeling                                             MAYO, LAKYN NICOLE    Awarded. Fellowships only   2024/02/01   2027/01/31    $82,162    $82,162    $57,240    $41,081

                                                                        Uncovering the genomic and transcriptomic
                                                                        variation due to mobile elements in the population
562 F31MH136735   5F31MH136735-02     HARVARD MEDICAL SCHOOL            and in neurological disease                            YENKIN, ALEX LONDON   Awarded. Fellowships only   2024/05/01   2027/04/30    $80,121    $80,121    $43,203    $36,918

                                                                        Investigating folliculin as a regulator of VLDL-TG
                                                                        secretion in non-alcoholic fatty liver disease and
563 F31DK135277   5F31DK135277-03     UNIVERSITY OF PENNSYLVANIA        steatohepatitis                                        THORSHEIM, CHELSEA    Awarded. Fellowships only   2023/03/01   2026/02/28   $139,464   $139,464    $97,992    $39,796

                                      OREGON HEALTH & SCIENCE           Investigating the role of diazepam binding inhibitor
564 F32NS129591   5F32NS129591-03     UNIVERSITY                        (DBI) in astrocytes and neural circuit maturation      HEO, DONGEUN          Awarded. Fellowships only   2023/02/01   2025/09/30   $198,668   $198,668   $157,172    $55,304
                                      UNIVERSITY OF ILLINOIS AT         Evaluating the role of a lipoic acid transfer protein in
565 F30AI183565   5F30AI183565-02     CHICAGO                           Staphylococcus aureus metabolism and virulence           WOODS, REGINALD A      Awarded. Fellowships only   2024/04/01   2028/03/31    $107,948     $107,948      $37,451     $53,974

                                                                      Harnessing polymicrobial interactions in the
                                      STATE UNIVERSITY OF NEW YORK AT catheterized urinary tract to identify novel inhibitors GUTERMAN, LAUREN
566 F30DK136213   5F30DK136213-03     BUFFALO                         of Proteus mirabilis urease activity                    BERYL                     Awarded. Fellowships only   2023/04/01   2028/03/31    $106,533     $106,533      $68,436     $34,680

                                                                        The effect of mild cognitive impairment on reactive
                                      UNIVERSITY OF ILLINOIS AT         stepping responses and motor adaptation to trip
567 F31AG086016   5F31AG086016-02     CHICAGO                           perturbations                                       PITTS, JESSICA              Awarded. Fellowships only   2024/01/31   2027/01/30     $97,948      $97,948      $62,229     $48,974

                                                                        Long-term systemic consequences of type 2 skin
568 F31AR083275   5F31AR083275-02     ROCKEFELLER UNIVERSITY            inflammation on epithelial stem cells                    SAJJATH, SAIRAJ M      Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $53,055     $48,974

                                                                        Molecular mechanism of PIN1-mediated regulation WILLIAMS, CHRISTOPHER
569 F31DK134167   5F31DK134167-03     SCRIPPS RESEARCH INSTITUTE, THE   of the nuclear receptor PPARy                   CONRAD                          Awarded. Fellowships only   2023/03/01   2026/02/28    $106,642     $106,642      $67,781     $35,974

                                                                        Mechanism underlying how host B cells empower
                                                                        adoptively transferred Th17 cells with durable tumor COLE, ANNA CAMILLE
570 F31CA281258   5F31CA281258-02     EMORY UNIVERSITY                  immunity                                             ELYSE                      Awarded. Fellowships only   2024/02/01   2027/01/31     $97,948      $97,948      $51,711     $48,974

                                                                        Characterizing Eye Movements after Pediatric
                                                                        Cortical Resection: Neural Bases and Cognitive           CHRONEOS, MARIA
571 F30EY035942   5F30EY035942-02     CARNEGIE-MELLON UNIVERSITY        Implications                                             ZDENKA                 Awarded. Fellowships only   2024/02/02   2028/02/01    $107,948     $107,948      $52,645     $53,974

                                                                        Beneficial microbe driven rewiring of metabolic          GACASAN, CAMILO
572 F30DK139762   5F30DK139762-02     EMORY UNIVERSITY                  pathways in the gut and liver                            ANTHONY G              Awarded. Fellowships only   2024/02/01   2028/01/31    $107,948     $107,948      $58,403     $53,974

                                                                        RESEARCH IN HUMAN COMMUNICATION AND ITS                                         Awarded. Non-fellowships
573 T32DC000013   3T32DC000013-45S1   FATHER FLANAGAN'S BOYS' HOME      DISORDERS                                                CHATTERJEE, MONITA     only                        1980/07/01   2025/06/30   $1,066,065   $1,066,065   $1,068,954    $80,231

                                                                                                                                                        Awarded. Non-fellowships
574 T32DA007292   3T32DA007292-32S1   JOHNS HOPKINS UNIVERSITY          NIDA Epidemiology Training Program                       MAHER, BRION S         only                        1995/08/01   2028/06/30   $2,144,397   $2,144,397   $1,581,902   $139,999

                                                                        Competing basolateral amygdala inputs to the
                                                                        infralimbic and prelimbic cortices in cocaine-
575 F31DA059983   5F31DA059983-02     UNIVERSITY OF IOWA                seeking behavior                                         ZIMBELMAN, ALEXA RYAN Awarded. Fellowships only    2024/02/08   2027/02/07     $71,799      $71,799      $39,816     $35,900

                                                                        Regulation of tissue-resident helper type 2 T cells by
576 F32AI176630   5F32AI176630-03     JOHNS HOPKINS UNIVERSITY          fatty acid transport protein 4 (FATP4)                   KANIA, ANNA K          Awarded. Fellowships only   2023/04/01   2026/03/31    $220,120     $220,120     $147,237     $76,756

                                      UNIVERSITY OF CALIFORNIA, SAN     Chemoenzymatic synthesis and pharmacological
577 F32GM150232   5F32GM150232-03     DIEGO                             evaluation of designer plant meroterpenoids              LOVE, ANNA CLAIRE      Awarded. Fellowships only   2023/04/01   2026/03/31    $220,120     $220,120     $145,855     $76,756

                                      CINCINNATI CHILDRENS HOSP MED Characterization of Nrac, a Novel Cardiac and
578 F31HL178081   1F31HL178081-01     CTR                           Adipose Enriched Microprotein                                COUGHLIN, TAYLOR       Awarded. Fellowships only   2024/12/22   2027/12/21     $41,915      $41,915           $0     $41,915

                                                                        Characterizing Lung Resident B1 cells and their          CARROLL, KIMBERLY
579 F31HL177963   1F31HL177963-01     TUFTS UNIVERSITY BOSTON           Impact on Lung Homeostasis during Development            ANNE                   Awarded. Fellowships only   2025/02/01   2028/01/31     $45,162      $45,162      $13,307     $45,162

                                      UNIVERSITY OF WISCONSIN           Racial Microaggressions, Neural Vigilance Circuitry
580 F31MH136703   1F31MH136703-01A1   MILWAUKEE                         and PTSD Outcomes in Youth Victims of Violence           HARB, FARAH            Awarded. Fellowships only   2025/01/03   2028/01/02     $44,828      $44,828           $0     $44,828

                                                                        Investigation of the Lipid Transfer ProteinVPS13D at
581 F31NS135930   1F31NS135930-01A1   YALE UNIVERSITY                   the Golgi Apparatus                                      AMOS, CHASE ALLEN      Awarded. Fellowships only   2025/01/16   2027/01/15     $48,974      $48,974      $11,582     $48,974

                                      UNIV OF NORTH CAROLINA            Circuit mechanisms for opioid analgesia and              OCHANDARENA, NICOLE
582 F30DA057839   5F30DA057839-03     CHAPEL HILL                       addiction in prefrontal cortex                           ELISE               Awarded. Fellowships only      2023/03/01   2025/12/31    $131,785     $131,785      $70,342     $45,180

                                                                        Cadherin complexes recruit PIWIL2 to suppress
                                      MEDICAL UNIVERSITY OF SOUTH       transposons and maintain the normal epithelial
583 F31DK138780   5F31DK138780-02     CAROLINA                          phenotype                                                RISNER, ALYSSA         Awarded. Fellowships only   2024/02/01   2025/05/30     $71,667      $71,667      $59,059     $25,238

                                                                    Arginine Biosynthesis: A Metabolic Battery for
                                      WEILL MEDICAL COLL OF CORNELL Mycobacteria tuberculosis to Survive Aerosolization
584 F30AI179167   5F30AI179167-02     UNIV                          Stress                                              NAZIA, SAKILA ZAMAN             Awarded. Fellowships only   2024/02/01   2028/01/31    $107,948     $107,948      $42,377     $53,974
                                                                    Role and regulation of a differentiation-specific
                                    UNIVERSITY OF MICHIGAN AT ANN   keratin in keratinocyte adaptation to mechanical
585 F31AR083249   5F31AR083249-02   ARBOR                           stress                                                  STEINER, SARAH N     Awarded. Fellowships only    2024/03/01   2026/02/28    $84,456    $84,456    $62,661   $42,368

                                    UT SOUTHWESTERN MEDICAL         The role of mitochondrial ATP production in liver       MENEZES, CAMERON
586 F30DK137407   5F30DK137407-02   CENTER                          failure                                                 JOSEPH               Awarded. Fellowships only    2024/02/01   2028/01/31    $80,098    $80,098    $44,966   $40,049

                                                                    Developing Racially Equitable post-release
                                                                    supervision Assignment guidelines to prevent
                                    UNIV OF NORTH CAROLINA          overdose and suicide Mortality among formerly           SWILLEY-MARTINEZ,
587 F31MD020240   1F31MD020240-01   CHAPEL HILL                     incarcerated people (DREAM)                             MONICA E             Award terminated             2024/12/01   2025/11/30    $41,253    $41,253    $14,112   $41,253

                                                                    Incentive Payments and Practice Patterns in Dialysis:
588 F32DK141532   1F32DK141532-01   STANFORD UNIVERSITY             The Case of Calcimimetics                             CALDWELL, JILLIAN SCOTT Awarded. Fellowships only   2024/09/01   2026/08/31    $83,932    $83,932    $46,542   $83,932

                                    BOSTON UNIVERSITY MEDICAL       Defining age-associated alterations in oral
589 F30AG077929   5F30AG077929-03   CAMPUS                          squamous cell carcinoma                                 SPINELLA, ANTHONY    Awarded. Fellowships only    2023/04/01   2027/03/31   $160,642   $160,642   $101,835   $53,974

                                    ICAHN SCHOOL OF MEDICINE AT     Merkel cell polyomavirus T-Antigen mediated
590 F31CA280993   5F31CA280993-02   MOUNT SINAI                     reprogramming in adult epidermis                        WEBER, MADISON       Awarded. Fellowships only    2024/02/05   2028/02/04    $94,748    $94,748    $42,575   $47,374

                                    UNIVERSITY OF CALIFORNIA, SAN   Nucleus accumbens dynamics underlying cue-              BURKE, DENNIS
591 F32DA060044   5F32DA060044-02   FRANCISCO                       reward learning                                         ALEXANDER            Awarded. Fellowships only    2024/02/14   2027/01/31   $151,412   $151,412    $89,906   $74,284

                                                                    Neural mechanisms of psilocybin action in the
592 F32DA062467   1F32DA062467-01   CORNELL UNIVERSITY              frontal cortex                                          BILASH, OLESIA M     Awarded. Fellowships only    2025/04/01   2028/03/31    $74,284    $74,284        $0    $74,284

                                                                    The role of epigenetic regulator UHRF1 in stability of
                                    NORTHWESTERN UNIVERSITY AT      induced regulatory T-cell function during influenza A
593 F32HL162418   5F32HL162418-03   CHICAGO                         virus-induced lung injury                              JOUDI, ANTHONY        Awarded. Fellowships only    2023/03/01   2026/02/28   $249,222   $249,222   $148,926   $86,488

                                                                    Determining the role of oxysterols in lymphocyte
                                    UNIVERSITY OF CALIFORNIA, SAN   homing to lymph nodes in homeostasis and
594 F30AI176727   5F30AI176727-03   FRANCISCO                       inflammation                                            CHEN, KEVIN Y        Awarded. Fellowships only    2023/03/01   2027/02/28   $135,119   $135,119    $86,284   $53,974

                                                                  Investigating the Role of cnb-1 and chpf-1 in GABA
                                    UNIV OF MASSACHUSETTS MED SCH DD Motor Neuron Remodeling and Synapse
595 F31NS132495   5F31NS132495-03   WORCESTER                     Maintenance                                               LIU, SAM             Awarded. Fellowships only    2023/03/21   2026/03/20   $107,500   $107,500    $74,201   $36,260

                                                                    Characterizing regulatory mechanisms of
                                    UNIVERSITY OF CALIFORNIA, SAN   desmosomal protein expression in arrhythmogenic
596 F32HL172624   5F32HL172624-02   DIEGO                           cardiomyopathy                                          ELLIS, MATTHEW W     Awarded. Fellowships only    2024/02/01   2026/01/31   $154,112   $154,112    $18,198   $77,284

                                                                    Characterizing BLA dopaminergic and
                                                                    glutamatergic mechanisms of dynamic drug
597 F31DA060004   5F31DA060004-02   UNIVERSITY OF MINNESOTA         seeking                                                 BRICKNER, MEGAN A    Awarded. Fellowships only    2024/02/12   2027/02/11    $94,696    $94,696    $40,355   $48,032

                                    MEDICAL UNIVERSITY OF SOUTH     The role of neonatal ROS in cardiomyocyte               WALKER, ALLISON
598 F31HL172609   5F31HL172609-02   CAROLINA                        maturation and injury response                          TROUTEN              Awarded. Fellowships only    2024/01/01   2025/12/31   $103,948   $103,948    $61,168   $51,974

                                                                    Cyclic stretch of bicuspid aortic valves: elucidating
                                                                    its implications for cell signaling and tissue
599 F32HL167570   5F32HL167570-03   UNIVERSITY OF TEXAS AT AUSTIN   mechanics.                                              WEST, TONI MCCLISH   Awarded. Fellowships only    2023/04/01   2026/03/31   $239,068   $239,068   $155,017   $83,932

                                                                    Investigating the role of FGF21 in bone homeostasis     HURLEY-NOVATNY,
600 F30HD118663   1F30HD118663-01   UNIVERSITY OF IOWA              in Duchenne Muscular Dystrophy                          AMELIA CHARLOTTE     Awarded. Fellowships only    2025/05/01   2029/04/30    $45,574    $45,574        $0    $45,574

                                                                    The contribution of macrophage subpopulations to
                                    UNIVERSITY OF MICHIGAN AT ANN   axon degeneration, nerve inflammation, and
601 F31NS135919   5F31NS135919-02   ARBOR                           regeneration of the injured sciatic nerve        HAFNER, HANNAH JULE         Awarded. Fellowships only    2024/01/01   2025/11/30    $81,724    $81,724    $64,577   $40,060

                                                                    Investigating VICE domain functions tied to altered
                                                                    ribosome localization and translational flux during
602 F31AI191634   1F31AI191634-01   PRINCETON UNIVERSITY            HSV-1 infection                                         METZGER, PETER       Awarded. Fellowships only    2025/04/01   2027/03/31    $32,974    $32,974        $0    $32,974

                                    BOSTON UNIVERSITY (CHARLES      Longitudinal trajectories of white matter and
603 F32HD114392   5F32HD114392-02   RIVER CAMPUS)                   reading development in bilingual children               RONDEROS, JULIANA    Awarded. Fellowships only    2024/04/02   2025/10/01   $129,420   $129,420    $72,633   $48,592
                                      RUTGERS BIOMEDICAL AND HEALTH Characterizing the formation and maintenance of         ALVAREZ, EMMANUEL
604 F31DA058497   5F31DA058497-02     SCIENCES                      drug-biased beliefs in opioid use disorder              EDUARDO                   Awarded. Fellowships only   2024/02/14   2026/01/31     $88,072      $88,072      $38,976     $44,036

                                                                       Understanding how defects in the maternal
                                                                       epigenetic reprogramming function of LSD1/KDM1A
605 F31HD116544   1F31HD116544-01A1   EMORY UNIVERSITY                 contribute to inherited phenotypes              REEVES, MONICA                 Awarded. Fellowships only   2025/04/01   2028/03/31     $48,974      $48,974           $0     $48,974

                                                                       Revealing the Structural Determinants of TCR Cross-
606 F32AI191525   1F32AI191525-01     UNIVERSITY OF NOTRE DAME         Recognition via Extended Positional Scanning        BRAMBLEY, CHAD             Awarded. Fellowships only   2025/04/01   2027/03/31     $76,984      $76,984           $0     $76,984

                                                                                                                            SAMBOLIN-ESCOBALES,
607 F32DC022781   1F32DC022781-01     JACKSON LABORATORY               The Role of Aco2 in progressive hearing loss         LUBRIEL                   Awarded. Fellowships only   2024/12/05   2027/12/04     $74,284      $74,284      $24,278     $74,284

                                                                                                                                                      Awarded. Non-fellowships
608 TL1DK143270   1TL1DK143270-01     UNIVERSITY OF WASHINGTON         NRSA Training Core                                   WESSELLS, HUNTER          only                        2024/09/01   2029/05/31    $720,494     $720,494     $324,372    $720,494

                                      UNIVERSITY OF ILLINOIS AT        Cancer Health Equity Career Development                                        Awarded. Non-fellowships
609 T32CA057699   5T32CA057699-33     CHICAGO                          Program                                              FITZGIBBON, MARIAN L      only                        1992/09/15   2028/03/31   $1,128,870   $1,128,870    $765,278    $435,518

                                      ST. JUDE CHILDREN'S RESEARCH     Structural and evolutionary basis for insertion
                                      HOSPITAL GRADUATE SCHOOL OF      unidirectionality in RNA-guided DNA transposition
610 F31GM151863   7F31GM151863-02     BIOMEDICAL SCIENCES, LLC         systems                                              TRUONG, VINH H            Awarded. Fellowships only   2024/09/01   2027/08/31     $47,694      $47,694      $23,834     $47,694

                                      UNIVERSITY OF MICHIGAN AT ANN    Piezo1-driven Synovial Fibrosis in Post-Traumatic
611 F31AR084289   5F31AR084289-02     ARBOR                            Osteoarthritis                                       FARRELL, EASTON           Awarded. Fellowships only   2024/05/01   2026/04/30     $88,354      $88,354      $38,646     $44,177

                                                                       Impact of HIV and Cannabis Use on Executive Brain
612 F31DA063403   1F31DA063403-01     FATHER FLANAGAN'S BOYS' HOME     Function and Inflammation                         MCDONALD, KELLEN             Awarded. Fellowships only   2025/04/11   2028/04/10     $48,974      $48,974           $0     $48,974
613 F32MH136673   5F32MH136673-02     PRINCETON UNIVERSITY             Decoding the specificity of social drives            MACK, NANCY ROSE          Awarded. Fellowships only   2024/04/01   2027/03/31    $153,364     $153,364      $61,638     $79,284

                                      UNIVERSITY OF WISCONSIN-         The role of S-glutathione in regulating cardiac
614 F32HL170509   7F32HL170509-03     MADISON                          myosin binding protein-C function                    GREENMAN, ANGELA          Awarded. Fellowships only   2023/09/30   2026/09/29    $143,364     $143,364     $108,287     $65,207

                                                                       The Influence of Symptoms, Functional Status, and
                                                                       Social Vulnerability on Healthcare Use Among
615 F31NR020848   5F31NR020848-02     EMORY UNIVERSITY                 Patients Receiving Dialysis                          NOORANI, NAZIYA P         Awarded. Fellowships only   2024/03/01   2026/02/28     $97,948      $97,948      $41,972     $48,974

                                      UNIVERSITY OF COLORADO                                                                                          Awarded. Non-fellowships
616 T32AR080630   3T32AR080630-03S1   DENVER                           Interdisciplinary Training in Musculoskeletal Research ZUSCIK, MICHAEL J       only                        2022/07/01   2027/06/30   $1,043,430   $1,043,430    $687,327     $39,898

                                      WEILL MEDICAL COLL OF CORNELL
617 F30DC023130   1F30DC023130-01     UNIV                          Investigating dopamines role in olfactory navigation EGHBALI, NOELLE              Awarded. Fellowships only   2025/04/01   2029/03/31     $53,974      $53,974           $0     $53,974

                                                                       Predoctoral Training in Signaling in Cellular
                                                                       Regulation (T32) INCLUDE Down Syndrome                                         Awarded. Non-fellowships
618 T32GM142607   3T32GM142607-04S1   UNIVERSITY OF COLORADO           Supplement                                           AHN, NATALIE G            only                        2021/07/01   2026/06/30   $2,506,220   $2,506,220   $2,148,475   $188,944

                                                                                                                                                      Awarded. Non-fellowships
619 T35EY007088   5T35EY007088-40     UNIVERSITY OF HOUSTON            Short Term Training in Health Professional Schools   FRISHMAN, LAURA J         only                        1984/09/28   2026/04/30    $342,209     $342,209     $199,761     $71,224

                                      UNIVERSITY OF WISCONSIN-         Post-Doctoral Training in Intellectual and                                     Awarded. Non-fellowships
620 T32HD007489   5T32HD007489-30     MADISON                          Developmental Disabilities Research                  HARTLEY, SIGAN L          only                        1995/09/29   2025/12/31   $1,461,099   $1,461,099   $1,379,211   $304,964

                                                                                                                                                      Awarded. Non-fellowships
621 T32HL116273   5T32HL116273-12     CEDARS-SINAI MEDICAL CENTER      Training in Advanced Heart Disease Research          MARBAN, EDUARDO           only                        2013/08/01   2028/07/31    $803,053     $803,053     $546,539    $262,824

                                                                       How a cell cycle kinase, Aurora A, regulates polarity
622 F31HD108006   5F31HD108006-03     UNIVERSITY OF TEXAS AT AUSTIN    proteins organization                                 MANZI, NADIA INGABIRE    Awarded. Fellowships only   2022/06/01   2025/05/31    $118,580     $118,580      $87,846     $42,694

                                                                       A Novel Animal Model to Investigate the Effects of
                                      UNIVERSITY OF MARYLAND           Delta-9 - Tetrahydrocannabinol in the Primary Visual
623 F31DA060014   1F31DA060014-01     BALTIMORE                        Cortex of Ferrets.                                   PRUITT, MOLLY ELIZABETH   Awarded. Fellowships only   2024/07/02   2026/07/01     $42,574      $42,574      $36,227     $42,574

                                      UNIV OF NORTH CAROLINA                                                                                          Awarded. Non-fellowships
624 T32DK007634   2T32DK007634-35     CHAPEL HILL                      Digestive Disease Epidemiology Training Program      SANDLER, ROBERT S         only                        1990/07/10   2029/06/30    $408,104     $408,104     $307,501    $408,104

                                      UNIVERSITY OF ALABAMA AT         Interactions between progranulin insufficiency and
625 F30AG085889   1F30AG085889-01     BIRMINGHAM                       TDP-43                                               COOK, ANNA K              Awarded. Fellowships only   2024/06/01   2027/06/30     $85,258      $85,258      $33,086     $42,629
                                    UNIVERSITY OF MICHIGAN AT ANN    Sustainable biocatalytic generation of bioactive      HERNANDEZ-MELENDEZ,
626 F31GM150282   5F31GM150282-02   ARBOR                            tropolone natural products                            JOSE R                  Awarded. Fellowships only   2023/09/01   2025/08/31     $81,952      $81,952      $81,561     $41,616

                                                                                                                                                   Awarded. Non-fellowships
627 T32GM089626   5T32GM089626-15   STANFORD UNIVERSITY              Research in Anesthesia Training Program (ReAP)        CLARK, DAVID J          only                        2010/07/01   2025/06/30   $1,805,827   $1,805,827   $1,533,176   $397,847

                                                                                                                                                   Awarded. Non-fellowships
628 T32AI007517   5T32AI007517-24   YALE UNIVERSITY                  Training in Investigative Infectious Diseases         SHAW, ALBERT C          only                        2021/08/01   2026/06/30   $1,254,086   $1,254,086   $1,163,304   $309,474

                                                                                                                                                   Awarded. Non-fellowships
629 T32GM007471   5T32GM007471-47   JOHNS HOPKINS UNIVERSITY         Medical Genetics Training Grant                       WANG, TAO               only                        1977/07/01   2027/06/30   $1,369,106   $1,369,106   $1,022,683   $483,000

                                                                     Gastrointestinal Surgery Outcomes Research                                    Awarded. Non-fellowships
630 T32DK070555   5T32DK070555-15   UNIVERSITY OF WASHINGTON         Fellowship                                            FLUM, DAVID R           only                        2010/07/01   2025/06/30   $1,602,475   $1,602,475   $1,537,533   $335,068

                                                                                                                                                   Awarded. Non-fellowships
631 T32HL069769   5T32HL069769-20   EMORY UNIVERSITY                 Training Grant in Transfusion Medicine                ROBACK, JOHN D          only                        2004/04/01   2026/03/31    $670,377     $670,377     $573,732     $78,837

                                                                     Elucidation of the molecular mechanisms of the
                                                                     RBM15-MKL1 fusion protein in acute                    MAYDAY, MADELINE
632 F31CA271571   5F31CA271571-02   YALE UNIVERSITY                  megakaryoblastic leukemia                             YOUNG                   Awarded. Fellowships only   2023/09/01   2027/01/31    $101,668     $101,668      $62,443     $51,474

                                                                                                                                                   Awarded. Non-fellowships
633 T32GM121290   5T32GM121290-08   UNIVERSITY OF WASHINGTON         Surgery Research Training Program                     O'KEEFE, GRANT E        only                        2017/07/01   2027/06/30    $803,396     $803,396     $656,337    $314,230

                                                                     Developing a Novel Vascularized Bone Microdevice
                                    UNIV OF NORTH CAROLINA           for Investigating the Post-Stroke Bone           STANGELAND-MOLO,
634 F31AR079897   5F31AR079897-03   CHAPEL HILL                      Microenvironment                                 SANDRA JEANNE                Awarded. Fellowships only   2022/07/01   2025/06/30    $117,101     $117,101     $108,369     $40,251

                                    RUTGERS BIOMEDICAL AND HEALTH Role of adenosinergic inhibition of serotonin neurons
635 F32NS117792   5F32NS117792-03   SCIENCES                      in seizure induced respiratory arrest                 PURNELL, BENTON SCOTT      Awarded. Fellowships only   2022/05/23   2025/05/22    $211,830     $200,454     $196,944     $76,756

                                                                     Dopaminergic mechanisms of reward memory in
636 F31AG085963   1F31AG085963-01   BRANDEIS UNIVERSITY              aging                                                 CIAMPA, CLAIRE          Awarded. Fellowships only   2024/07/16   2027/07/15     $35,703      $35,703      $23,570     $35,703

                                    UNIV OF MASSACHUSETTS MED SCH                                                                                  Awarded. Non-fellowships
637 T32AI007349   5T32AI007349-33   WORCESTER                     Training in Immunology and Microbiology                  STERN, LAWRENCE J       only                        1989/09/30   2025/06/30    $962,662     $962,662     $872,581    $194,101

                                                                     Acute Prenatal Alcohol Exposure Potentiates
                                    UNIVERSITY OF SOUTHERN           Conotruncal Defects in the Setting of a Permissive
638 F30AA029936   5F30AA029936-03   CALIFORNIA                       Genetic Background                                    HARVEY, DRAYTON C       Awarded. Fellowships only   2022/05/18   2027/05/17    $158,421     $158,421      $90,429     $53,974

                                                                  The contributions of excitation and contraction to
                                    WEILL MEDICAL COLL OF CORNELL muscle deterioration in a Drosophila model of CFL2
639 F30HD111309   5F30HD111309-02   UNIV                          nemaline myopathy                                        CHRISTOPHERS, BRIANA    Awarded. Fellowships only   2023/07/01   2027/06/30    $103,452     $103,452      $86,051     $52,366

                                                                     Independent and interactive effects of genetic risk
                                    UNIVERSITY OF SOUTHERN           for depression and family income-to-needs on          CAMPBELL, CLAIRE
640 F31MH131347   5F31MH131347-02   CALIFORNIA                       emotional brain development and behavior              EDWARDS                 Awarded. Fellowships only   2023/05/16   2025/05/15     $96,668      $96,668      $48,430     $48,974

                                                                     Developing an ultra-high throughput droplet
                                    MASSACHUSETTS INSTITUTE OF       microfluidic workflow for genetic circuit
641 F31HG013052   5F31HG013052-02   TECHNOLOGY                       characterization                                      THAKUR, ROHAN           Awarded. Fellowships only   2023/06/01   2025/05/31     $96,668      $96,668      $87,448     $48,974

                                                                     Understanding inequities in harm reduction services
                                                                     provided to persons with opioid use disorder in
                                                                     hospital settings: Harnessing the power of natural
642 F31DA060032   1F31DA060032-01   NEW YORK UNIVERSITY              language processing.                                ISRAEL, KHADIJA           Awarded. Fellowships only   2024/09/18   2026/09/17     $39,866      $39,866      $26,926     $39,866

                                                                                                                                                   Awarded. Non-fellowships
643 T32HG000046   5T32HG000046-25   UNIVERSITY OF PENNSYLVANIA       Training Program in Computational Genomics            KIM, JUNHYONG           only                        1999/07/16   2025/10/31   $1,915,136   $1,915,136   $1,886,266   $260,128

                                                                                                                                                   Awarded. Non-fellowships
644 T32ES032920   5T32ES032920-03   WEST VIRGINIA UNIVERSITY         Pre-doctoral Training in Systems Toxicology           NURKIEWICZ, TIMOTHY R   only                        2022/07/01   2027/06/30    $642,785     $642,785     $506,099    $323,196

                                                                     Mesostriatal dopamine in Pavlovian reward rate
645 F32DA054767   5F32DA054767-03   JOHNS HOPKINS UNIVERSITY         learning                                              GARR, ERIC              Awarded. Fellowships only   2022/06/01   2025/05/31    $232,938     $232,938     $225,954     $84,364
                                                                      Influence of fear conditioning prior to cocaine self-
                                                                      administration on cocaine seeking in adult rats:
                                                                      assessing the role of the frontostriatal circuits in
646 F31DA060039   1F31DA060039-01     PONCE SCHOOL OF MEDICINE        trauma and cocaine use co-occurrence                     PEREZ, YOBET A          Awarded. Fellowships only   2024/07/01   2027/06/30     $39,552      $39,552      $31,429     $39,552

                                                                      Training in Equity and Structural Solutions in           WILLIAMS, EMILY         Awarded. Non-fellowships
647 T32DA057920   5T32DA057920-02     UNIVERSITY OF WASHINGTON        Addictions (TESSA)                                       CATERINA                only                        2023/07/01   2028/06/30    $951,349     $951,349     $389,729    $406,734

                                                                      The Role of Hippocampal Differentiation in Visual
648 F32EY035941   1F32EY035941-01     YALE UNIVERSITY                 Object-based and Feature-based Attention                 RACCAH, OMRI            Awarded. Fellowships only   2024/07/15   2027/07/14     $73,408      $73,408      $54,938     $73,408

                                                                      Cardiometabolic Health and Epigenetic Aging
                                                                      Across the Life Course Among Hispanic/Latino
649 F31HL172677   1F31HL172677-01     EMORY UNIVERSITY                Immigrant Groups in the United States                    AQUA, JASMINE KO        Awarded. Fellowships only   2024/06/15   2026/06/14     $51,974      $51,974      $36,644     $51,974

                                                                      Role of interleukin-6 signaling on T cell potential of
                                      UNIVERSITY OF CALIFORNIA LOS    aged hematopoietic stem cells and thymic
650 F30AG086001   1F30AG086001-01     ANGELES                         progenitors                                              GENSHEIMER, JULIA       Awarded. Fellowships only   2024/06/01   2026/10/31     $40,967      $40,967      $33,063     $40,967

                                                                      Pre-Doctoral Training in Interdisciplinary                                       Awarded. Non-fellowships
651 T32DA018926   5T32DA018926-20     UNIVERSITY OF TEXAS AT AUSTIN   Neuroscience                                             LEE, AMY                only                        2004/08/01   2025/06/30   $1,477,424   $1,477,424   $1,256,517   $124,934

                                                                      Defining the biochemical properties and
                                                                      implications of NRAS mutant-specific BRAF
652 F31CA288053   1F31CA288053-01     OHIO STATE UNIVERSITY           interactions in melanoma                                 LEW, RACHEL E           Awarded. Fellowships only   2024/08/01   2027/07/31     $37,594      $37,594      $24,525     $37,594

                                      UNIVERSITY OF SOUTHERN          Triggering the Selective Removal of Deleterious
653 F31AG084238   1F31AG084238-01A1   CALIFORNIA                      mtDNA Mutations from Mammalian Cells                     SHEMTOV, SARAH JEAN     Awarded. Fellowships only   2024/08/15   2026/08/14     $48,974      $48,974      $27,463     $48,974

                                                                      The impact of the mosquito gut microbiota on
654 F31AI181492   1F31AI181492-01     UNIVERSITY OF GEORGIA           regulation of egg formation and malaria infection        PHIPPS, BENJAMIN L      Awarded. Fellowships only   2024/07/10   2026/07/09     $48,974      $48,974      $21,960     $48,974

                                      GEORGIA INSTITUTE OF            In vivo Photoacoustic Monitoring of Stem Cell            JHUNJHUNWALA,
655 F31AG082500   1F31AG082500-01A1   TECHNOLOGY                      Differentiation to Cancer Associated Fibroblasts         ANAMIK                  Awarded. Fellowships only   2024/06/24   2027/06/23     $48,974      $48,974      $41,126     $48,974

                                      NEW YORK UNIVERSITY SCHOOL OF Targeting amyloid beta for myeloid reprogramming
656 F30CA288047   1F30CA288047-01     MEDICINE                      in brain metastasis                              ESKOW, NICOLE MARIE               Awarded. Fellowships only   2024/08/01   2027/07/31     $53,974      $53,974      $26,287     $53,974

                                                                      The contribution of lateral hypothalamus to cortical
657 F31DC019863   5F31DC019863-03     BRANDEIS UNIVERSITY             palatability coding and behavior                     MAIGLER, KATHLEEN C         Awarded. Fellowships only   2022/05/16   2025/05/15    $101,445     $101,445      $94,635     $34,982

                                                                                                                               ROSENBERG, MICHAEL
658 F32HD108927   5F32HD108927-03     EMORY UNIVERSITY                Modulation of gait dynamics post-stroke                  CHARLES                 Awarded. Fellowships only   2022/06/01   2025/05/31    $227,030     $227,030     $186,976     $81,306

                                      RESEARCH INST NATIONWIDE        Integrative Research Training Program in Pediatric                               Awarded. Non-fellowships
659 T32HL166149   5T32HL166149-02     CHILDREN'S HOSP                 Cardiopulmonary Disease                                  GARG, VIDU              only                        2023/07/01   2028/06/30    $708,600     $708,600     $376,492    $369,366

                                      PENNSYLVANIA STATE UNIV         Ghrelin Modulation of CaV 2.2 Channels After Spinal
660 F31DK136279   5F31DK136279-02     HERSHEY MED CTR                 Cord Injury                                         GOUDSWARD, HANNAH J Awarded. Fellowships only            2023/08/01   2026/07/31     $70,296      $70,296      $56,657     $35,788

                                                                                                                                                       Awarded. Non-fellowships
661 T32HL125195   5T32HL125195-10     UNIVERSITY OF WASHINGTON        Palliative Care Research Training Grant                  KROSS, ERIN KATHRYN     only                        2015/03/01   2026/03/31   $1,659,699   $1,659,699   $1,457,875   $266,705

                                      UNIV OF NORTH CAROLINA                                                                   BULIK-SULLIVAN, EMILY
662 F30HL172628   1F30HL172628-01     CHAPEL HILL                     Therapeutic potential of CC-90009 for cystic fibrosis    CLAIRE                  Awarded. Fellowships only   2024/09/01   2029/08/31     $40,620      $40,620      $25,422     $40,620

                                                                      Cellular and Molecular Mechanisms of Immune                                      Awarded. Non-fellowships
663 T32AI007247   5T32AI007247-40     JOHNS HOPKINS UNIVERSITY        Inflammatory Reactions                                   POMERANTZ, JOEL L       only                        1982/09/01   2025/08/31   $1,222,533   $1,222,533   $1,223,564   $258,443

                                                                      Anesthesiology & Perioperative Medicine Training                                 Awarded. Non-fellowships
664 T32GM086270   2T32GM086270-16     UNIVERSITY OF WASHINGTON        Grant                                                    PALERMO, TONYA M        only                        2009/07/01   2029/06/30    $319,047     $319,047     $204,118    $319,047

                                                                      Examining Interoceptive Awareness as a
                                      UNIVERSITY OF CONNECTICUT       Mechanism of Change in Yoga for Chronic Low
665 F31AT012315   5F31AT012315-02     STORRS                          Back Pain                                                GNALL, KATHERINE E      Awarded. Fellowships only   2023/06/01   2025/05/31     $90,068      $90,068      $83,256     $45,674

                                                                      Training in Molecular Virology, Viral Pathogenesis                               Awarded. Non-fellowships
666 T32AI007533   5T32AI007533-24     UNIVERSITY OF IOWA              and Viral Vectors                                        PERLMAN, STANLEY        only                        1998/09/01   2026/05/31    $639,275     $639,275     $448,937    $125,259
                                                                     Role of cytoskeletal interactions with
                                                                     mechanogated ion channel Piezo2 in the
                                                                     mechanism of mechanotransduction by                   MERCADO-PEREZ,
667 F30DK128913   5F30DK128913-04   MAYO CLINIC ROCHESTER            enteroendocrine cells                                 ARNALDO                 Awarded. Fellowships only   2021/04/01   2026/08/03    $195,056     $195,056     $170,214     $53,974

                                    LOUISIANA STATE UNIV A&M COL     Biomedical Research Experience for Veterinary                                 Awarded. Non-fellowships
668 T35OD011151   5T35OD011151-20   BATON ROUGE                      Students                                              MARTINEZ, JUAN J        only                        2003/05/01   2025/09/30    $315,549     $315,549     $305,228     $68,459

                                    UNIVERSITY OF MIAMI SCHOOL OF    Multidisciplinary Training in Substance Abuse                                 Awarded. Non-fellowships
669 T32DA045734   5T32DA045734-05   MEDICINE                         Research                                              ROY, SABITA             only                        2019/07/01   2025/06/30   $1,044,074   $1,044,074    $988,031    $128,513

                                    MEDICAL UNIVERSITY OF SOUTH                                                                                    Awarded. Non-fellowships
670 T32GM008716   5T32GM008716-25   CAROLINA                         TRAINING PROGRAM FOR MEDICAL SCIENTISTS               DEMORE, NANCY           only                        1999/07/01   2025/06/30   $3,867,419   $3,867,419   $3,686,450   $803,069

                                                                     Partnerships for Research in Implementation
                                    UNIVERSITY OF CALIFORNIA, SAN    Science for Equity in Heart and Lung diseases                                 Awarded. Non-fellowships
671 T32HL166114   5T32HL166114-02   FRANCISCO                        training program (PRISE-HL T32)                       THAKUR, NEETA           only                        2023/07/01   2028/06/30    $951,145     $951,145     $490,463    $482,508

                                                                                                                                                  Awarded. Non-fellowships
672 T32AI138953   5T32AI138953-05   JOHNS HOPKINS UNIVERSITY         Malaria and Mosquito-borne Diseases                   SULLIVAN, DAVID JOSEPH only                         2019/07/01   2025/06/30   $1,477,657   $1,477,657   $1,341,019   $316,271

                                    UT SOUTHWESTERN MEDICAL                                                                CARROLL, THOMAS         Awarded. Non-fellowships
673 T32GM131945   5T32GM131945-05   CENTER                           Mechanisms of Disease                                 JOSEPH                  only                        2019/07/01   2025/06/30    $982,050     $982,050     $907,127    $194,328

                                    UNIVERSITY OF CALIFORNIA                                                                                       Awarded. Non-fellowships
674 T32GM152983   1T32GM152983-01   BERKELEY                         Chemical Biology Training Program                     FRANCIS, MATTHEW B      only                        2024/07/01   2029/06/30    $439,487     $439,487     $194,298    $439,487

                                                                     Huntsman Cancer Institute (HCI) Cancer Genetics,
                                                                     Epigenetics, Models, and Signaling (Cancer GEMS)                              Awarded. Non-fellowships
675 T32CA265782   5T32CA265782-02   UNIVERSITY OF UTAH               Training Program                                      AYER, DONALD E          only                        2023/07/01   2028/06/30    $500,718     $500,718     $379,764    $303,786

                                                                    Characterizing a mechanism of enhancer-promoter
676 F31HD112201   5F31HD112201-02   UNIVERSITY OF CALIFORNIA-IRVINE interaction in vivo                             BOWER, GRACE CABOT             Awarded. Fellowships only   2023/09/30   2026/09/29     $88,929      $88,929      $75,300     $45,458

                                                                     Training Program in Adolescent Substance Use
                                    FLORIDA INTERNATIONAL            Disorders and Co-Occurring Mental and Behavioral                              Awarded. Non-fellowships
677 T32DA043449   5T32DA043449-05   UNIVERSITY                       Disorders                                        GONZALEZ, RAUL               only                        2019/07/01   2025/06/30   $1,413,150   $1,413,150   $1,332,757   $166,228

                                    UNIVERSITY OF CALIFORNIA SANTA Training Program in Molecular, Cell, and                                        Awarded. Non-fellowships
678 T32GM133391   5T32GM133391-05   CRUZ                           Developmental Biology                                   BHALLA, NEEDHI          only                        2019/07/01   2025/06/30   $2,089,626   $2,089,626   $2,004,943   $432,326

                                    UT SOUTHWESTERN MEDICAL                                                                                        Awarded. Non-fellowships
679 T32GM131963   5T32GM131963-05   CENTER                           Molecular Biophysics Training Program                 CHOOK, YUH MIN          only                        2019/07/01   2025/06/30   $1,065,732   $1,065,732   $1,032,275   $241,649

                                                                     Surgical Oncology Basic Science and Translational                             Awarded. Non-fellowships
680 T32CA009621   2T32CA009621-36   WASHINGTON UNIVERSITY            Research Training Program                             GILLANDERS, WILLIAM E   only                        1988/07/05   2029/06/30    $616,670     $616,670     $223,813    $616,670

                                    CALIFORNIA STATE UNIVERSITY                                                                                    Awarded. Non-fellowships
681 TL4GM118977   5TL4GM118977-10   NORTHRIDGE                       BUILD PODER II                                        CHAVIRA, GABRIELA       only                        2014/09/26   2025/06/30   $6,956,829   $6,956,829   $8,249,550        $1

                                    VANDERBILT UNIVERSITY MEDICAL    Vanderbilt Interdisciplinary Hospital-Based Systems                           Awarded. Non-fellowships
682 T32HL170986   1T32HL170986-01   CENTER                           of Care Research and Training ProgrAm (VISTA)         WARD, MICHAEL J         only                        2024/07/01   2029/06/30    $216,770     $216,770      $67,016    $216,770

                                                                     Environmental Pathology/Toxicology Training                                   Awarded. Non-fellowships
683 T32ES007032   5T32ES007032-45   UNIVERSITY OF WASHINGTON         Program                                               FAUSTMAN, ELAINE M      only                        1978/07/01   2025/06/30   $2,682,184   $2,682,184   $2,586,109   $574,183

                                    TEMPLE UNIV OF THE               Psychophysiological Correlates of Cognitive Bias      CIESINSKI, NICOLE
684 F31MH133291   1F31MH133291-01   COMMONWEALTH                     Modification in Intermittent Explosive Disorder       KATHERINE               Awarded. Fellowships only   2023/09/01   2026/08/31     $35,837      $35,837      $29,181     $35,837

                                    WEILL MEDICAL COLL OF CORNELL Weill Cornell/Rockefeller/Sloan Kettering MST                                    Awarded. Non-fellowships
685 T32GM152349   1T32GM152349-01   UNIV                          Program                                                  HSU, KATHARINE C        only                        2024/07/01   2029/06/30   $2,517,309   $2,517,309   $1,815,971 $2,517,309

                                                                                                                                                   Awarded. Non-fellowships
686 T32HL144461   5T32HL144461-05   UNIVERSITY OF IOWA               Iowa Lung Imaging Training Program                    HOFFMAN, ERIC ALFRED    only                        2019/08/01   2025/07/31   $1,625,741   $1,625,741   $1,316,834   $345,319

                                                                                                                                                   Awarded. Non-fellowships
687 T35OD027967   5T35OD027967-05   IOWA STATE UNIVERSITY            Research Training for Veterinary Students             MILLER, CATHY L         only                        2019/09/01   2025/08/31    $309,453     $309,453     $260,007     $53,691

                                    NEW YORK UNIVERSITY SCHOOL OF Cutaneous Biology and Skin Disease Training                                      Awarded. Non-fellowships
688 T32AR064184   5T32AR064184-10   MEDICINE                      Program                                                  ORLOW, SETH J           only                        2014/05/01   2026/04/30   $1,169,441   $1,169,441    $589,657    $238,385
                                                                       The relationship between positive and negative
                                      UNIVERSITY OF CONNECTICUT        affect of high and low arousal and dietary
689 F31DK132955   5F31DK132955-02     STORRS                           temptation and lapse in daily life                     GOETZ, JARED MICHAEL   Awarded. Fellowships only   2022/06/01   2025/05/31     $94,446      $94,446      $87,440     $47,694

                                      UNIVERSITY OF PITTSBURGH AT      Exploring the expressive language function of the      MALLELA, ARKA
690 F32DC020644   5F32DC020644-02     PITTSBURGH                       supplementary motor area                               NARAYANA               Awarded. Fellowships only   2022/07/01   2025/06/30    $155,666     $155,666     $127,597     $83,932

                                                                      Immunology and Infectious Diseases Training                                    Awarded. Non-fellowships
691 T32AI060519   5T32AI060519-20     INDIANA UNIVERSITY INDIANAPOLIS Program                                                 KAPLAN, MARK H         only                        2004/09/01   2025/07/31   $1,577,313   $1,577,313   $1,616,350   $393,544

                                      H. LEE MOFFITT CANCER CTR & RES                                                         CRESS, WILLIAM         Awarded. Non-fellowships
692 T32CA233399   5T32CA233399-05     INST                            Integrated Program in Cancer and Data Science           DOUGLAS                only                        2019/09/16   2025/08/31   $1,600,510   $1,600,510   $1,104,235   $211,392

                                                                       Physician Scientist Training Program in Immune                                Awarded. Non-fellowships
693 T32AI170501   1T32AI170501-01A1   UNIVERSITY OF PENNSYLVANIA       Dysregulation                                          KAMBAYASHI, TAKU       only                        2024/07/01   2029/06/30    $373,359     $373,359     $156,081    $373,359

                                                                       Investigating the role of interferon lambda in
                                                                       protection against severe Clostridioides difficile
694 F31DK138546   1F31DK138546-01     UNIVERSITY OF PENNSYLVANIA       infection                                              MEARS, KEVIN STANTON   Awarded. Fellowships only   2024/05/15   2027/05/14     $48,974      $48,974      $47,951     $48,974

                                                                       Investigating the role of the exercise blood factor
                                      UNIVERSITY OF CALIFORNIA, SAN    Gpld1 in restoring brain vasculature function and
695 F32AG081038   5F32AG081038-02     FRANCISCO                        cognition in aging                                     BIERI, GREGOR          Awarded. Fellowships only   2023/06/01   2025/05/31    $150,684     $150,684     $134,023     $78,892

                                                                       Characterization and Optimization of a Nanofiber-
696 F31DE032900   5F31DE032900-02     JOHNS HOPKINS UNIVERSITY         Hydrogel Composite for Tissue Remodeling               STELZEL, JESSICA       Awarded. Fellowships only   2023/09/01   2026/08/31     $98,268      $98,268      $70,462     $49,774

                                      WEILL MEDICAL COLL OF CORNELL Investigation of heterogeneity in cancer cell
697 F30CA254120   5F30CA254120-04     UNIV                          proliferation.                                            TORBORG, STEFAN ROSS   Awarded. Fellowships only   2020/07/01   2025/06/30    $234,642     $234,642     $225,213     $52,694

                                      ICAHN SCHOOL OF MEDICINE AT                                                                                    Awarded. Non-fellowships
698 T32GM062754   5T32GM062754-23     MOUNT SINAI                      Integrated Training in Pharmacological Sciences        SCHLESSINGER, AVNER    only                        2001/07/05   2025/06/30   $2,086,761   $2,086,761   $2,078,510   $273,081

                                      HARVARD SCHOOL OF PUBLIC         CVD Epidemiology Training Program in Behavior, the                            Awarded. Non-fellowships
699 T32HL098048   2T32HL098048-16     HEALTH                           Environment and Global Health                      RIMM, ERIC B               only                        2009/09/01   2029/08/31    $640,968     $640,968     $375,303    $640,968

                                                                       Investigating the role of Ldb1 in chromatin
                                                                       architecture and transcription during erythroid cell
700 F31DK136200   1F31DK136200-01A1   UNIVERSITY OF PENNSYLVANIA       state transitions                                      ABOREDEN, NICHOLAS     Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $30,828     $48,974

                                                                       HIV Treatment Strategies for Female Sex Workers
                                                                       Living with HIV in South Africa: Engagement
701 F31MH133444   5F31MH133444-02     JOHNS HOPKINS UNIVERSITY         Trajectories and Implementation Determinants           COMINS, CARLY          Awarded. Fellowships only   2023/09/01   2026/08/31    $102,168     $102,168      $88,797     $51,974

                                                                       The Iowa Neuroscience Specialty Program in                                    Awarded. Non-fellowships
702 T32MH019113   5T32MH019113-30     UNIVERSITY OF IOWA               Research Education (INSPIRE)                           STEVENS, HANNA E       only                        1991/09/01   2028/05/31    $923,900     $923,900     $503,048    $366,960

                                                                                                                                                     Awarded. Non-fellowships
703 TL4GM118968   5TL4GM118968-10     XAVIER UNIVERSITY OF LOUISIANA   BUILD at Xavier, Project Pathways II                   FOROOZESH, MARYAM      only                        2014/09/26   2025/06/30   $4,017,867   $4,017,867   $4,835,827   $285,154

                                      UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
704 T32HL076124   5T32HL076124-17     PITTSBURGH                       Cardiovascular Bioengineering Training Program         SHROFF, SANJEEV G      only                        2005/08/01   2028/07/31    $882,923     $882,923     $524,454    $448,991

                                      UNIVERSITY OF ALABAMA AT         Training Program in Cell, Molecular, and                                      Awarded. Non-fellowships
705 T32GM146611   1T32GM146611-01A1   BIRMINGHAM                       Developmental Biology                                  BELLIS, SUSAN L        only                        2024/07/01   2029/06/30    $462,259     $462,259     $304,290    $462,259

                                      CALIFORNIA STATE UNIVERSITY LOS                                                                                Awarded. Non-fellowships
706 T34GM008228   5T34GM008228-36     ANGELES                         Cal State LA MARC U STAR                                TUNSTAD, LINDA M       only                        1998/06/01   2025/05/31   $2,876,497   $2,876,497   $2,207,244   $584,714

                                                                                                                                                     Awarded. Non-fellowships
707 T32DC015994   5T32DC015994-07     UNIVERSITY OF FLORIDA            Training Program in Chemosensory Science               WESSON, DANIEL W       only                        2018/07/01   2028/06/30    $429,542     $429,542     $246,660    $218,536

                                                                       Neurocognitive Approaches to Communication                                    Awarded. Non-fellowships
708 T32DC007361   5T32DC007361-17     SAN DIEGO STATE UNIVERSITY       Disorders                                              LOVE-GEFFEN, TRACY     only                        2005/07/01   2028/06/30    $464,528     $464,528     $375,569    $236,970

                                                                       Biomedical Research Training for Minority Honors                              Awarded. Non-fellowships
709 T34GM008078   5T34GM008078-33     BROOKLYN COLLEGE                 Students                                               HAINLINE, LOUISE       only                        1984/07/01   2025/05/31   $1,912,973   $1,912,973   $1,633,756   $371,776

                                                                                                                                                     Awarded. Non-fellowships
710 T32MH126426   5T32MH126426-04     BROWN UNIVERSITY                 Postdoctoral Training in Suicide Research              WEINSTOCK, LAUREN M    only                        2021/07/01   2026/06/30   $1,140,928   $1,140,928    $895,219    $248,319
                                      UNIVERSITY OF CALIFORNIA LOS     Regulation of hepatic lipid metabolism by novel
711 F30DK134050   5F30DK134050-03     ANGELES                          protein BASIC                                            UCHIYAMA, LAUREN F       Awarded. Fellowships only   2022/07/01   2026/06/30    $131,504     $131,504     $123,660     $53,974

                                      UNIVERSITY OF CALIFORNIA AT      Animal Models of Infectious Diseases Training                                     Awarded. Non-fellowships
712 T32AI060555   5T32AI060555-19     DAVIS                            Program                                                  MCSORLEY, STEPHEN J      only                        2004/09/01   2026/07/31    $711,826     $711,826     $529,807    $182,019

                                                                       A novel mouse model of TDP-43 Proteinopathy in
                                      UNIV OF NORTH CAROLINA           FTLD-ALS: Elucidating the role of TDP-43 acetylation     NECARSULMER, JULIE
713 F30AG072786   5F30AG072786-04     CHAPEL HILL                      in neurodegeneration and proteostasis impairment         CHRISTINE                Awarded. Fellowships only   2021/07/01   2025/06/30    $159,281     $159,281     $152,542     $42,430

                                      UNIVERSITY OF CALIFORNIA, SAN    Molecular Biophysics Training Grant at UC San                                     Awarded. Non-fellowships
714 T32GM139795   5T32GM139795-04     DIEGO                            Diego                                                    KOMIVES, ELIZABETH A     only                        2021/07/01   2026/06/30   $1,911,842   $1,911,842   $1,687,971   $564,635

                                      UNIVERSITY OF TX MD ANDERSON     Translational Genomics and Precision Medicine in                                  Awarded. Non-fellowships
715 T32CA217789   2T32CA217789-06A1   CAN CTR                          Cancer Training Program                                  KILLARY, ANN M           only                        2018/04/01   2029/08/31    $421,294     $421,294      $49,884    $421,294

                                                                       Chemistry of Life Processes Predoctoral Training                                  Awarded. Non-fellowships
716 T32GM149439   5T32GM149439-02     NORTHWESTERN UNIVERSITY          Program                                                  KELLEHER, NEIL L         only                        2023/07/01   2028/06/30    $755,926     $755,926     $555,417    $384,551

                                      UNIVERSITY OF COLORADO                                                                                             Awarded. Non-fellowships
717 T32GM008315   5T32GM008315-34     DENVER                           Mechanisms of Trauma-Induced Coagulopathy                COHEN, MITCHELL          only                        1991/07/01   2026/06/30   $1,382,178   $1,382,178   $1,103,141   $370,870

                                                                                                                                                       Awarded. Non-fellowships
718 T32AA007462   5T32AA007462-39     INDIANA UNIVERSITY INDIANAPOLIS Training Grant on Genetic Aspects of Alcoholism           CZACHOWSKI, CRISTINE L only                          1985/09/27   2026/05/31   $2,045,581   $2,045,581   $1,480,109   $427,497

                                                                                                                                                         Awarded. Non-fellowships
719 T34GM154119   1T34GM154119-01     GEORGIA STATE UNIVERSITY         MARC at Georgia State University                         FRANTZ, KYLE J           only                        2024/06/01   2029/05/31    $316,572     $316,572     $177,962    $316,572

                                                                       Role of afferents to the rostromedial tegmental
                                      UNIVERSITY OF ILLINOIS AT        nucleus in symptoms of withdrawal from chronic
720 F31AA031178   5F31AA031178-02     CHICAGO                          ethanol exposure                                         YANG, HYERIM             Awarded. Fellowships only   2023/06/16   2025/06/15     $90,664      $90,664      $88,162     $45,972

                                                                       Astrocyte-specific in vivo molecular signatures of       RAMELOW, CHRISTINA
721 F31AG079597   5F31AG079597-02     EMORY UNIVERSITY                 APOE genetic risk in Alzheimers disease                  CATHERINE                Awarded. Fellowships only   2023/06/01   2026/05/31     $96,668      $96,668      $91,734     $48,974

                                                                       The Neuronal Effect of CHI3L1 in Neuroinflammation
722 F31AG079612   5F31AG079612-02     BROWN UNIVERSITY                 & Alzheimers Disease                               CONNOLLY, KEVIN C              Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $79,256     $48,974

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                      Awarded. Non-fellowships
723 T32AG000114   5T32AG000114-40     ARBOR                            Career Training in the Biology of Aging                  PLETCHER, SCOTT          only                        1985/09/01   2026/04/30   $2,547,291   $2,547,291   $2,403,760   $535,930

                                      CHILDREN'S HOSP OF               Translational Research Training in Pediatric Diabetes                             Awarded. Non-fellowships
724 T32DK063688   2T32DK063688-21     PHILADELPHIA                     & Endocrinology                                       KATZ, LORRAINE E LEVITT     only                        2002/09/30   2029/06/30    $240,932     $240,932     $308,480    $240,932

                                      UNIVERSITY OF CALIFORNIA AT      The UC Davis enhanced Molecular, Cellular, and                                    Awarded. Non-fellowships
725 T32GM153586   1T32GM153586-01     DAVIS                            Developmental Biology Training Program                   CHEDIN, FREDERIC LOUIS   only                        2024/07/01   2029/06/30    $764,607     $764,607     $567,307    $764,607

                                                                       Investigating the effects of olfactory critical period
                                      UNIVERSITY OF PITTSBURGH AT      odorant exposure on the trace amine-associated           GREGORY, JORDAN
726 F31DC021353   5F31DC021353-02     PITTSBURGH                       receptor4 olfactory circuit                              DURAN                    Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $88,467     $48,974

                                      UNIVERSITY OF CALIFORNIA AT      Mechanisms of Somatostatin-Mediated Inhibition of
727 F31DK132954   5F31DK132954-03     DAVIS                            Insulin and Glucagon                              HART, RYAN                      Awarded. Fellowships only   2022/07/01   2025/06/30    $120,650     $120,650     $113,594     $41,384

                                                                       Cross-Disciplinary Research Training for Veterinary                               Awarded. Non-fellowships
728 T35OD033655   5T35OD033655-03     TUFTS UNIVERSITY BOSTON          Students                                                 LONDON, CHERYL A         only                        2022/07/15   2027/06/30    $254,491     $254,491     $216,159     $88,504

                                                                       MARC U-STAR PROGRAM AT WASHINGTON                                               Awarded. Non-fellowships
729 T34GM141639   5T34GM141639-04     WASHINGTON UNIVERSITY            UNIVERSITY IN ST. LOUIS                                  SKEATH, JAMES BENJAMIN only                          2021/06/01   2026/05/31   $1,798,388   $1,798,388   $1,586,526   $430,972

                                                                                                                                                         Awarded. Non-fellowships
730 T32DA035167   2T32DA035167-11     UNIVERSITY OF FLORIDA            Substance Abuse Training Center in Public Health         COTTLER, LINDA B         only                        2014/07/01   2029/06/30    $466,043     $466,043     $307,838    $466,043

                                                                       Research Training in Womens Health and
                                                                       Intersectionality Using Data Science and Health          BRUNER, DEBORAH          Awarded. Non-fellowships
731 T32NR020778   5T32NR020778-02     EMORY UNIVERSITY                 Information Technology (WISDOM)                          WATKINS                  only                        2023/07/01   2028/06/30    $574,750     $574,750     $274,715    $389,593

                                                                       The Abuse Liability of a Novel Heated Tobacco
                                      VIRGINIA COMMONWEALTH            Product (IQOS) and Its Feasibility as a Menthol          WHITE, AUGUSTUS
732 F30DA057047   5F30DA057047-03     UNIVERSITY                       Cigarette Substitute.                                    MICHAEL                  Awarded. Fellowships only   2022/07/28   2027/07/27    $142,064     $142,064     $121,690     $48,522
                                    UNIVERSITY OF PITTSBURGH AT       T32 Research Training in Diabetes and                                           Awarded. Non-fellowships
733 T32DK007052   5T32DK007052-49   PITTSBURGH                        Endocrinology                                           O'DOHERTY, ROBERT M     only                        1975/07/01   2027/06/30    $850,158     $850,158     $803,352    $271,290

                                    BOSTON UNIVERSITY MEDICAL         Protective lung memory B cell functions and
734 F30HL158109   5F30HL158109-04   CAMPUS                            dynamics during respiratory infection                   ETESAMI, NEELOU         Awarded. Fellowships only   2021/06/01   2025/05/31    $209,456     $209,456     $204,422     $53,974

                                    WAKE FOREST UNIVERSITY HEALTH                                                                                     Awarded. Non-fellowships
735 T35DK007400   5T35DK007400-43   SCIENCES                          Wake Forest Short-term Research Training Program        MCCLAIN, DONALD A       only                        1980/05/01   2027/06/30    $188,889     $188,889     $128,331     $60,812

                                    UNIVERSITY OF MICHIGAN AT ANN                                                                                     Awarded. Non-fellowships
736 T32GM141840   5T32GM141840-04   ARBOR                             Training Program in Translational Research              LIEBERMAN, ANDREW P     only                        2021/07/01   2026/06/30   $1,252,731   $1,252,731   $1,184,044   $329,616

                                                                      Microglia-Mediated Astrocyte Activation in the
737 F32NS131193   5F32NS131193-02   STANFORD UNIVERSITY               Acute-to-Chronic Pain Transition                        NIPPERT, AMY            Awarded. Fellowships only   2023/09/01   2026/05/31    $143,364     $143,364     $111,910     $74,284

                                    TEMPLE UNIV OF THE                Molecular Biology and Genetics: Signaling,                                      Awarded. Non-fellowships
738 T32GM142606   5T32GM142606-04   COMMONWEALTH                      Epigenetics and Genome Maintenance                      GRANA, XAVIER           only                        2021/07/01   2026/06/30    $885,019     $885,019     $792,132    $266,352

                                    UNIVERSITY OF PITTSBURGH AT                                                                                       Awarded. Non-fellowships
739 T32AI074490   5T32AI074490-17   PITTSBURGH                        Interdisciplinary Training in Transplantation Biology   THOMSON, ANGUS W        only                        2007/09/01   2028/08/31    $423,060     $423,060     $409,017    $186,315

                                                                      Molecular Epidemiology in Childrens Environmental                               Awarded. Non-fellowships
740 T32ES010957   5T32ES010957-23   UNIVERSITY OF CINCINNATI          Health Training Program (MECEH)                   BRUNST, KELLY J               only                        2001/08/15   2027/06/30   $1,774,317   $1,774,317    $672,597    $429,756
741 F30GM145149   5F30GM145149-03   DARTMOUTH COLLEGE                 Regulation and Function of PP2A-B56delta                SMOLEN, KALI            Awarded. Fellowships only   2022/06/01   2025/05/31    $158,420     $158,420     $148,069     $53,974

                                                                                                                                                      Awarded. Non-fellowships
742 T34GM145442   5T34GM145442-02   OHIO STATE UNIVERSITY            MARC at The Ohio State University                        FERKETICH, AMY K        only                        2023/06/01   2028/05/31    $408,096     $408,096     $244,932    $272,064

                                                                      Molecular Basis of Allergic and Immunologic                                     Awarded. Non-fellowships
743 T32AI007512   5T32AI007512-38   BOSTON CHILDREN'S HOSPITAL        Disease                                                 OETTGEN, HANS C         only                        1986/08/01   2027/06/30   $2,143,031   $2,143,031   $1,857,630   $694,555

                                                                    Training Program in the Molecular Bases of Eye                                  Awarded. Non-fellowships
744 T32EY007145   5T32EY007145-25   SCHEPENS EYE RESEARCH INSTITUTE Disease                                                   D'AMORE, PATRICIA ANN only                          1997/02/01   2028/06/30    $420,595     $420,595     $318,696    $186,846

                                    UNIVERSITY OF WISCONSIN-          University of Wisconsin Voice Research Training                                 Awarded. Non-fellowships
745 T32DC009401   2T32DC009401-16   MADISON                           Program                                                 THIBEAULT, SUSAN LYNN   only                        2009/07/01   2029/06/30    $526,692     $526,692     $374,185    $526,692

                                    UNIVERSITY OF CALIFORNIA LOS      Training Grant in Genomic Analysis and                                          Awarded. Non-fellowships
746 T32HG002536   5T32HG002536-23   ANGELES                           Interpretation                                          ARBOLEDA, VALERIE A     only                        2002/07/01   2027/06/30   $1,322,026   $1,322,026   $1,299,209   $411,334

                                                                      Mechanisms of Tip Link Tensioning in Mammalian
747 F31DC020639   5F31DC020639-03   UNIVERSITY OF KENTUCKY            Auditory Hair Cells                                     DRAGICH, ABIGAIL        Awarded. Fellowships only   2022/07/31   2026/07/30    $125,612     $125,612     $104,375     $43,038

                                    HARVARD SCHOOL OF PUBLIC                                                                                          Awarded. Non-fellowships
748 T32ES007142   5T32ES007142-42   HEALTH                            Graduate Training in Biostatistics                      COULL, BRENT ANDREW     only                        1983/07/01   2028/06/30   $1,059,438   $1,059,438   $1,007,468   $531,906

                                    UNIVERSITY OF CONNECTICUT SCH Investigating Cellular Senescence at the Single Cell
749 F30AG081093   5F30AG081093-02   OF MED/DNT                    Level                                                COHN, RACHEL                   Awarded. Fellowships only   2023/06/15   2026/06/14     $97,190      $97,190      $89,441     $53,974

                                                                      Multispectral Imaging of Neurons and Astrocytes:
                                    UNIV OF NORTH CAROLINA            Revealing Spatiotemporal Organelle Phenotypes in
750 F31AG079622   5F31AG079622-02   CHAPEL HILL                       Health and Neurodegeneration                     RHOADS, SHANNON                Awarded. Fellowships only   2023/06/15   2026/06/14    $119,974     $119,974      $72,201     $40,418

                                    ST. JUDE CHILDREN'S RESEARCH      Training in the Design and Development of                                       Awarded. Non-fellowships
751 T32AI106700   5T32AI106700-09   HOSPITAL                          Infectious Disease Therapeutics                         LEE, RICHARD E          only                        2015/07/08   2026/06/30   $1,083,468   $1,083,468    $645,790    $226,658

                                    CUNY GRADUATE SCH AND UNIV        Ethnopharmacology of plants used by Haitians in
752 F31AT011471   5F31AT011471-03   CTR                               New York City forwomen’s health                         VARDEMAN, ELLA          Awarded. Fellowships only   2022/06/01   2025/05/31    $130,949     $130,949      $88,229     $44,817

                                                                                                                                                      Awarded. Non-fellowships
753 T32NS007421   2T32NS007421-26   UNIVERSITY OF IOWA                Neuroscience Training Program                           TRANEL, DANIEL T        only                        1999/07/09   2029/06/30    $301,147     $301,147     $295,877    $301,147

                                                                                                                              ATKINSON, MEREDITH      Awarded. Non-fellowships
754 T32TR004928   1T32TR004928-01   JOHNS HOPKINS UNIVERSITY          CTSA Predoctoral T32 at Johns Hopkins                   ANN                     only                        2024/07/01   2029/06/30    $557,093     $557,093     $426,619    $557,093

                                                                  CTSA Postdoctoral T32 at University of Arkansas for                                 Awarded. Non-fellowships
755 T32TR004918   1T32TR004918-01   UNIV OF ARKANSAS FOR MED SCIS Medical Sciences                                            IMIG, JOHN D            only                        2024/07/01   2029/06/30    $190,595     $190,595     $129,190    $190,595

                                                                                                                                                      Awarded. Non-fellowships
756 T32GM139772   5T32GM139772-03   TUFTS UNIVERSITY BOSTON           Molecular Genetics of Basic Cell Function               CAMILLI, ANDREW         only                        2022/07/01   2027/06/30    $800,134     $800,134     $684,774    $274,680
                                      OREGON HEALTH & SCIENCE           Translational Vision Science Research at Oregon                                 Awarded. Non-fellowships
757 T32EY023211   2T32EY023211-11     UNIVERSITY                        Health & Science University                              KELLER, KATE E         only                        2013/07/01   2029/06/30    $163,817     $163,817      $95,359    $163,817

                                      UNIVERSITY OF ILLINOIS AT         Research Training in Natural Product                                            Awarded. Non-fellowships
758 T32AT007533   2T32AT007533-11     CHICAGO                           Complementary and Integrative Health                     PAULI, GUIDO F         only                        2013/01/01   2029/07/31    $253,764     $253,764     $155,713    $253,764

                                      CALIFORNIA INSTITUTE OF           Dissecting the features and neural mechanisms
759 F32MH130086   5F32MH130086-03     TECHNOLOGY                        supporting naturalistic social inference                 ROUHANI, NINA          Awarded. Fellowships only   2022/06/01   2025/05/31    $218,266     $190,561     $185,417     $78,892

                                      UNIVERSITY OF MICHIGAN AT ANN     Cellular Biotechnology Training Program (CBTP) -                                Awarded. Non-fellowships
760 T32GM145304   5T32GM145304-03     ARBOR                             Years 31-35                                              SCHWENDEMAN, ANNA      only                        2022/07/01   2027/06/30   $1,600,256   $1,600,256   $1,477,627   $549,359

                                      UNIV OF MASSACHUSETTS MED SCH Muscle-Specific CRISPR/Cas9 Exon Skipping for
761 F31AR082678   5F31AR082678-02     WORCESTER                     Duchenne Muscular Dystrophy Therapeutics                     KRAUS, CAROLYN         Awarded. Fellowships only   2023/09/01   2025/08/31     $66,236      $66,236      $54,245     $33,758

                                      UNIVERSITY OF CALIFORNIA                                                                                          Awarded. Non-fellowships
762 T32ES018827   5T32ES018827-14     RIVERSIDE                         Research Training in Environmental Toxicology            WANG, YINSHENG         only                        2010/07/01   2026/06/30   $1,760,962   $1,760,962   $1,535,180   $477,881

                                                                        The role of stress, social support, and brain function
763 F30AA030900   5F30AA030900-02     UNIVERSITY OF MINNESOTA           on alcohol misuse in women                               MAXWELL, ANDREA        Awarded. Fellowships only   2023/05/29   2027/05/28     $97,127      $97,127      $87,036     $54,900

                                                                                                                                                        Awarded. Non-fellowships
764 T32NS077888   2T32NS077888-11     CASE WESTERN RESERVE UNIVERSITY Training in Neurodegenerative Diseases                     ZHU, XIONGWEI          only                        2013/07/01   2029/06/30    $167,887     $168,967     $114,422    $167,887

                                      WAKE FOREST UNIVERSITY HEALTH                                                                                     Awarded. Non-fellowships
765 T32GM149818   5T32GM149818-02     SCIENCES                          Redox Biology and Medicine Training Program              POOLE, LESLIE B        only                        2023/07/01   2028/06/30    $431,958     $431,958     $359,905    $219,744

                                      UNIVERSITY OF KANSAS MEDICAL                                                                                      Awarded. Non-fellowships
766 T32GM138077   5T32GM138077-05     CENTER                            Kansas Medical Scientist Training Program                FIELDS, TIMOTHY A      only                        2020/07/01   2025/06/30    $976,108     $976,108     $908,540    $194,286

                                                                                                                                                        Awarded. Non-fellowships
767 T32DK007352   2T32DK007352-46     MAYO CLINIC ROCHESTER             Diabetes and Metabolism                                  JENSEN, MICHAEL D      only                        1979/07/19   2029/06/30    $463,013     $463,013     $346,764    $463,013

                                                                        Hijacking cancer driver to activate cell death by
768 F30CA268848   5F30CA268848-03     STANFORD UNIVERSITY               chemically induced proximity                             KIM, SAMUEL H          Awarded. Fellowships only   2022/06/21   2025/06/20    $123,842     $123,842     $113,957     $44,448

                                                                                                                                                        Awarded. Non-fellowships
769 T32GM148377   5T32GM148377-02     UNIVERSITY OF PENNSYLVANIA        Medical Scientist Training Program                       BRASS, LAWRENCE F      only                        2023/07/01   2028/06/30   $6,135,451   $6,135,451   $5,240,604 $3,116,668

                                      GEORGIA INSTITUTE OF              Integrative and Quantitative Biosciences                                        Awarded. Non-fellowships
770 T32GM142616   5T32GM142616-04     TECHNOLOGY                        Accelerated Training Environment                         QIU, PENG              only                        2021/07/01   2026/06/30   $1,112,812   $1,112,812    $964,435    $312,726

                                      BETH ISRAEL DEACONESS MEDICAL Research Training in Complementary and                                              Awarded. Non-fellowships
771 T32AT000051   2T32AT000051-26     CENTER                        Integrative Medicine                                         YEH, GLORIA Y          only                        1999/09/30   2029/07/31    $416,688     $416,688      $26,905    $416,688

                                                                        Neuronal and homeostatic regulation of sleep and
                                                                        wake by corticotropin-releasing hormone neurons in
772 F31HL160451   5F31HL160451-03     UNIVERSITY OF PENNSYLVANIA        the paraventricular nucleus of the hypothalamus    WIEST, ALYSSA N              Awarded. Fellowships only   2022/06/01   2025/05/31    $118,298     $118,298     $113,691     $36,413

                                      UNIVERSITY OF TEXAS HLTH SCI CTR                                                                                  Awarded. Non-fellowships
773 T32AI055449   5T32AI055449-19     HOUSTON                          Molecular Basis of Infectious Diseases Training Grant LORENZ, MICHAEL C          only                        2005/09/15   2026/07/31    $768,746     $768,746     $574,937    $196,895

                                      UNIVERSITY OF ILLINOIS AT         Regulation of primary metastasis in high grade
774 F30CA260791   5F30CA260791-04     CHICAGO                           serous ovarian cancer                                    BERGSTEN, TOVA         Awarded. Fellowships only   2021/05/16   2025/05/15    $209,456     $209,456     $206,983     $53,974

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                     Awarded. Non-fellowships
775 T32GM149391   1T32GM149391-01A1   ARBOR                             Michigan Predoctoral Training in Genetics                MORAN, JOHN V          only                        2024/07/01   2029/06/30    $659,231     $659,231     $614,845    $659,231

                                                                                                                                                        Awarded. Non-fellowships
776 T32GM153602   1T32GM153602-01     UNIVERSITY OF PENNSYLVANIA        Training Program in Cell and Molecular Biology           BARTOLOMEI, MARISA S   only                        2024/07/01   2029/06/30    $549,359     $549,359     $439,722    $549,359

                                                                        Postdoctoral Training in Cancer Prevention and                                  Awarded. Non-fellowships
777 T32CA190194   2T32CA190194-11     WASHINGTON UNIVERSITY             Control                                                  JAMES, AIMEE S         only                        2014/09/24   2029/08/30    $477,212     $477,212     $209,945    $477,212

                                                                      Basic Sciences Studies on Gene Therapy of Blood                                   Awarded. Non-fellowships
778 T32HL007910   5T32HL007910-25     INDIANA UNIVERSITY INDIANAPOLIS Diseases                                                   HERZOG, ROLAND W       only                        1999/07/01   2026/06/30   $1,016,909   $1,016,909   $1,199,359   $176,297

                                      UNIVERSITY OF CALIFORNIA SANTA                                                                                    Awarded. Non-fellowships
779 T34GM136466   5T34GM136466-05     BARBARA                        MARC at the University of California Santa Barbara          ROTHMAN, JOEL H        only                        2020/06/01   2025/05/31   $1,652,253   $1,652,253   $1,498,260   $348,480

                                      LOUISIANA STATE UNIV A&M COL      Maximizing Access to Research Careers at Louisiana VICENTE, MARIA DA            Awarded. Non-fellowships
780 T34GM136452   5T34GM136452-05     BATON ROUGE                       State University                                   GRACA HENRIQUES              only                        2020/06/01   2025/05/31   $1,556,200   $1,556,200   $1,372,514   $340,356
                                                                     Development of a novel site-and cell-selective
781 F31HL165849   5F31HL165849-02   UNIVERSITY OF SOUTH FLORIDA      mRNA therapeutic to treat atherosclerosis            HETHERINGTON, ISABELLA Awarded. Fellowships only   2023/05/15   2026/05/14     $77,092      $77,092      $60,221     $39,186

                                                                                                                                                 Awarded. Non-fellowships
782 T32AA007455   2T32AA007455-41   UNIVERSITY OF WASHINGTON         Psychology Training in Alcohol Research (PTAR)       LARIMER, MARY E        only                        1984/07/01   2029/06/30    $589,534     $589,534     $516,768    $589,534

                                                                     Research Training for the Care of Vulnerable Older
                                    ICAHN SCHOOL OF MEDICINE AT      Adults with Alzheimer’s Disease and Related                                 Awarded. Non-fellowships
783 T32AG066598   5T32AG066598-05   MOUNT SINAI                      Dementias and Other Chronic Conditions               FEDERMAN, ALEX D       only                        2020/05/01   2026/04/30   $1,528,671   $1,528,671   $1,147,838   $208,890

                                    METHODIST HOSPITAL RESEARCH      Training in Neural Control of organ Degeneration                            Awarded. Non-fellowships
784 T32NS126115   5T32NS126115-03   INSTITUTE                        and Regeneration (NeuralCODR)                        HORNER, PHILIP J       only                        2022/07/01   2027/06/30    $761,352     $761,352     $314,922    $204,214

                                    UNIVERSITY OF MICHIGAN AT ANN                                                                                Awarded. Non-fellowships
785 T32EY013934   5T32EY013934-22   ARBOR                            Vision Research Training Program                     FORT, PATRICE E        only                        2002/09/30   2028/06/30    $343,398     $343,398     $279,032    $172,632

                                                                     Immunoediting in Cutaneous Squamous Cell
786 F30CA281056   5F30CA281056-02   UNIVERSITY OF ARIZONA            Carcinoma                                            BORDEN, ELIZABETH      Awarded. Fellowships only   2023/07/01   2027/08/31     $85,974      $85,974      $71,815     $43,877

                                    WEILL MEDICAL COLL OF CORNELL Lymph node stromal cells coordinate immune cell
787 F30AI179148   5F30AI179148-02   UNIV                          environments during Aspergillus fumigatus infection     MAI, CHERYL            Awarded. Fellowships only   2023/07/01   2027/06/30    $106,508     $106,508      $98,903     $53,894

                                    PENNSYLVANIA STATE UNIVERSITY,   Molecular motor dynamics underlying bidirectional
788 F32GM149114   5F32GM149114-02   THE                              cargo transport in cells                             NOELL, CRYSTAL RENEA   Awarded. Fellowships only   2023/07/01   2025/06/30    $143,364     $143,364     $117,681     $74,284

                                    CHILDREN'S HOSP OF                                                                                           Awarded. Non-fellowships
789 T32HL007150   5T32HL007150-48   PHILADELPHIA                     Pediatric Hematology Research Training Program       PONCZ, MORTIMER        only                        1976/07/01   2027/06/30   $1,486,235   $1,486,235   $1,446,382   $542,971

                                    UNIVERSITY OF CONNECTICUT SCH Alternate splicing as a source of shared
790 F30CA278494   5F30CA278494-02   OF MED/DNT                    neoantigens in a non-small cell lung cancer             ENGLANDER, RYAN        Awarded. Fellowships only   2023/09/01   2027/08/31    $106,668     $106,668      $69,848     $53,974

                                                                                                                                                 Awarded. Non-fellowships
791 TL1TR001864   5TL1TR001864-09   YALE UNIVERSITY                  J. NRSA Training Core                                CANTLEY, LLOYD G       only                        2016/07/01   2026/05/31   $3,440,357   $3,440,357   $3,491,714   $995,722

                                    UNIV OF NORTH CAROLINA                                                                                       Awarded. Non-fellowships
792 T32CA116339   5T32CA116339-17   CHAPEL HILL                      Cancer Care Quality Training Program                 BASCH, ETHAN M         only                        2005/07/01   2028/07/31    $746,636     $746,636     $633,813    $392,446

                                    UNIV OF MASSACHUSETTS MED SCH Unfolded Protein Response Activation as a
793 F32AI176787   5F32AI176787-02   WORCESTER                     Determinant of the Host Response to M. tuberculosis FINETHY, RYAN HAROLD       Awarded. Fellowships only   2023/06/01   2025/05/31    $155,136     $155,136     $149,145     $81,364

                                                                     Genome Engineered Natural Killer Cell                ROBBINS, GABRIELLE
794 F30OD030021   5F30OD030021-04   UNIVERSITY OF MINNESOTA          Immunotherapy against Human Osteosarcoma             MATILDE                Awarded. Fellowships only   2021/08/16   2025/08/15    $170,256     $162,965     $151,705     $53,974

                                                                  Mechanisms of genomic instability, tumor initiation
                                    WEILL MEDICAL COLL OF CORNELL and progression following the disruption of the RTF2- BLOBEL, NICOLAS
795 F30CA268717   5F30CA268717-03   UNIV                          RNase H2 axis                                         JOHANNES                 Awarded. Fellowships only   2022/07/01   2026/06/30    $158,420     $158,420     $104,013     $53,974

                                    CALIFORNIA INSTITUTE OF          Lineage and transcriptional analysis of sacral neural
796 F31HD111287   5F31HD111287-02   TECHNOLOGY                       crest contribution to the enteric nervous system      JACOBS-LI, JESSICA    Awarded. Fellowships only   2023/08/01   2026/07/31     $96,668      $96,668      $74,979     $48,974

                                                                     The T32 Predoctoral Training Program in Immunology                          Awarded. Non-fellowships
797 T32AI007285   5T32AI007285-37   UNIVERSITY OF ROCHESTER          (PTPI)                                             ROBERT, JACQUES          only                        1986/09/30   2028/08/31    $530,224     $530,224     $405,377    $261,176

                                    NATIONAL BUREAU OF ECONOMIC NBER Training Program in Aging and Health                                        Awarded. Non-fellowships
798 T32AG000186   5T32AG000186-35   RESEARCH                    Economics                                                 FINKELSTEIN, AMY N     only                        1989/09/01   2026/04/30   $2,227,244   $2,227,244   $2,438,433   $117,595

                                                                                                                                                 Awarded. Non-fellowships
799 T32AI007281   5T32AI007281-34   MEHARRY MEDICAL COLLEGE          Molecular Microbial Pathogenesis Training Program CHAUDHURI, MINU           only                        1985/06/25   2026/06/30    $728,192     $728,192     $643,425    $177,270

                                    UNIV OF NORTH CAROLINA                                                                                       Awarded. Non-fellowships
800 T32HL007149   5T32HL007149-48   CHAPEL HILL                      Research Training in Hematology at UNC Chapel Hill KEY, NIGEL S             only                        1975/07/01   2027/06/30   $1,389,004   $1,389,004   $1,132,805   $484,006

                                    UT SOUTHWESTERN MEDICAL          Elucidating mechanisms of therapy response in
801 F30CA281268   5F30CA281268-02   CENTER                           BRCA2 mutant prostate cancers                        HOFSTAD, MIA E         Awarded. Fellowships only   2023/08/01   2026/07/31     $78,142      $78,142      $61,664     $39,711

                                    UNIVERSITY OF ALABAMA AT                                                              YACOUBIAN, TALENE      Awarded. Non-fellowships
802 T32GM008361   5T32GM008361-33   BIRMINGHAM                       Medical Scientist Training Program                   ALENE                  only                        1992/07/01   2025/06/30   $5,090,529   $5,090,529   $4,643,457 $1,028,915

                                                                                                                                                 Awarded. Non-fellowships
803 T32DK007529   5T32DK007529-38   BRIGHAM AND WOMEN'S HOSPITAL Training Grant in Academic Endocrinology                 KAISER, URSULA B       only                        1985/07/01   2026/06/30   $1,375,196   $1,375,196   $1,234,908   $377,213
                                    UNIVERSITY OF CALIFORNIA AT     Mechanisms of ovarian endocrine disruption at         COSSABOON, JENNIFER
804 F30ES033550   5F30ES033550-03   DAVIS                           single-cell resolution                                MONIQUE                  Awarded. Fellowships only   2022/08/01   2026/07/31    $133,315     $133,315     $133,315     $53,931

                                    UNIVERSITY OF MICHIGAN AT ANN   Training Program in Translational Cardiovascular                               Awarded. Non-fellowships
805 T32HL125242   5T32HL125242-10   ARBOR                           Research and Entrepreneurship                         MICHELE, DANIEL E        only                        2015/07/01   2026/06/30   $1,051,511   $1,051,511   $1,026,770   $166,116

                                                                    TriMED: Measuring, Modeling and Manipulating                                   Awarded. Non-fellowships
806 T32NS126120   5T32NS126120-02   WASHINGTON UNIVERSITY           Excitability and Disease                              NICHOLS, COLIN G         only                        2023/07/05   2028/06/30    $469,890     $469,890     $265,820    $312,304

                                                                    Dissecting the mechanisms of how MYH7 S2
                                                                    mutations lead to genetic hypertrophic
807 F32HL164108   5F32HL164108-03   UNIVERSITY OF WASHINGTON        cardiomyopathy                                        LOIBEN, ALEXANDER        Awarded. Fellowships only   2022/07/01   2025/06/30    $213,430     $213,430     $188,253     $76,756

                                                                    Integration of Research, Mentoring and Professional
                                    CALIFORNIA STATE POLY U         Skill Building for Masters Students to Bridge to a PhD BUCKLEY-NIEVES, NANCY Awarded. Non-fellowships
808 T32GM137812   5T32GM137812-04   POMONA                          Program in Biomedical Science                          ELIZABETH             only                          2021/08/01   2026/07/31   $1,311,533   $1,311,533   $1,034,457   $391,298

                                    ALBERT EINSTEIN COLLEGE OF      Defining the gene regulatory roles of non-coding
809 F31MH131380   5F31MH131380-03   MEDICINE                        variants in the pathogenesis of autism                SOSA, ERIC ALEXANDER     Awarded. Fellowships only   2022/08/01   2026/07/31    $158,420     $158,420     $146,182     $53,974

                                    UNIVERSITY OF PITTSBURGH AT     Development of a Novel Bioinspired Pelvic Organ
810 F30HD108976   5F30HD108976-03   PITTSBURGH                      Prolapse Repair Graft                                 EGNOT, MORGAN LEE        Awarded. Fellowships only   2022/07/01   2026/06/30    $150,997     $150,997     $104,813     $53,974

                                                                    Doctoral Training/Alcohol-Related Health Services                         Awarded. Non-fellowships
811 T32AA007567   5T32AA007567-31   BRANDEIS UNIVERSITY             Research                                              HORGAN, CONSTANCE M only                             1994/09/15   2027/08/31   $1,447,092   $1,447,092   $1,103,674   $513,377

                                    NORTHWESTERN UNIVERSITY AT      Training Program in Neurobiology of Information                                Awarded. Non-fellowships
812 T32MH067564   5T32MH067564-22   CHICAGO                         Storage                                               DOMBECK, DANIEL A        only                        2003/07/01   2028/06/30    $471,319     $471,319     $377,738    $212,735

                                    ALBERT EINSTEIN COLLEGE OF      CTSA Predoctoral T32 at Albert Einstein College of                             Awarded. Non-fellowships
813 T32TR004537   5T32TR004537-02   MEDICINE                        Medicine                                              HOSGOOD, H DEAN          only                        2023/07/06   2028/06/30    $462,326     $462,326     $362,617    $234,928

                                    UNIV OF NORTH CAROLINA                                                                                         Awarded. Non-fellowships
814 T32CA057726   5T32CA057726-33   CHAPEL HILL                     Cancer Control Education Program                      RIBISL, KURT M           only                        2017/07/01   2027/06/30    $970,387     $970,387     $863,748    $369,409

                                    UT SOUTHWESTERN MEDICAL                                                                                        Awarded. Non-fellowships
815 T32HL125247   5T32HL125247-10   CENTER                          Training in Cardiovascular Research                   HILL, JOSEPH A           only                        2015/07/01   2026/06/30   $1,779,629   $1,779,629   $1,672,417   $253,275

                                                                                                                                                   Awarded. Non-fellowships
816 T32HG008953   5T32HG008953-09   STANFORD UNIVERSITY             The Stanford Training Program in ELSI Research        CHO, MILDRED K           only                        2016/07/01   2026/06/30    $911,066     $911,066    $1,034,258    $56,490

                                                                    Development of a Novel Peer-Narrated Virtual
                                    UNIVERSITY OF COLORADO          Patient Decision Aid for Entry into Alcohol Treatment
817 F32AA030915   5F32AA030915-02   DENVER                          for ICU Survivors with Alcohol Misuse                 HILLS-DUNLAP, KELSEY R   Awarded. Fellowships only   2023/07/01   2025/06/30    $171,702     $171,702     $147,608     $88,324

                                    UNIVERSITY OF MARYLAND                                                                                         Awarded. Non-fellowships
818 T32CA154274   5T32CA154274-13   BALTIMORE                       Training Grant in Cancer Biology                      ANTALIS, TONI M          only                        2011/07/01   2027/06/30   $1,545,541   $1,545,541   $1,143,116   $540,195

                                                                    Clinical Pediatric Research Training for the Fetal-   LIMPEROPOULOS,           Awarded. Non-fellowships
819 T32HD098066   5T32HD098066-05   CHILDREN'S RESEARCH INSTITUTE   Neonatal Brain                                        CATHERINE                only                        2020/05/01   2026/04/30   $1,653,154   $1,653,154    $999,349    $495,475

                                                                    Cellular and circuit function of Ndnf-expressing
                                                                    interneurons in a mouse model of a
820 F31NS132519   5F31NS132519-02   UNIVERSITY OF PENNSYLVANIA      neurodevelopmental disorder                           LIEBERGALL, SOPHIE ROSE Awarded. Fellowships only    2023/06/01   2026/05/31    $145,642     $145,642      $86,766     $48,974

                                                                    Assessing State Emotions and Acute Alcohol
821 F31AA031164   5F31AA031164-02   UNIVERSITY OF RHODE ISLAND      Intoxication on Sexual Assault Risk Perception        KIEFER, REINA            Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $89,527     $48,974

                                    UNIVERSITY OF SOUTHERN          Doctoral and Post-doctoral Training in Craniofacial   PAINE, MICHAEL           Awarded. Non-fellowships
822 T90DE021982   5T90DE021982-14   CALIFORNIA                      Biology                                               LANSDELL                 only                        2011/07/01   2026/06/30   $1,968,372   $1,968,372   $1,084,705   $601,577

                                    UNIVERSITY OF CALIFORNIA LOS                                                                                   Awarded. Non-fellowships
823 T32AI177290   5T32AI177290-02   ANGELES                         Addressing Evolving Infectious Threats                YANG, OTTO O             only                        2023/07/01   2028/06/30   $1,192,268   $1,192,268    $338,213    $405,108

                                                                                                                                                   Awarded. Non-fellowships
824 T32HL129970   5T32HL129970-09   STANFORD UNIVERSITY             Stanford Training Program in Lung Biology             NICOLLS, MARK ROBERT     only                        2016/07/01   2026/06/30   $1,548,979   $1,548,979   $1,195,538   $408,155

                                    BOSTON UNIVERSITY (CHARLES      Advanced Research Training in Communication                                    Awarded. Non-fellowships
825 T32DC013017   5T32DC013017-09   RIVER CAMPUS)                   Sciences and Disorders                                STEPP, CARA E            only                        2016/07/01   2026/06/30   $2,109,250   $2,109,250   $1,679,408   $572,449
                                                                      Pinpointing how single-cell states affect genetic
                                                                      regulation of HLA expression in autoimmune
826 F30AI172238   5F30AI172238-03   HARVARD MEDICAL SCHOOL            diseases                                                KANG, JOYCE BLOSSOM     Awarded. Fellowships only   2022/07/01   2025/05/31    $142,934     $142,934     $140,582     $51,226

                                                                      University of Utah Interdisciplinary Training Program
                                                                      in Computational Approaches to Diabetes and                                     Awarded. Non-fellowships
827 T32DK110966   5T32DK110966-09   UNIVERSITY OF UTAH                Metabolism Research                                     EILBECK, KAREN LOUISE   only                        2016/07/01   2026/06/30   $1,066,159   $1,066,159    $906,054    $264,330

                                    OREGON HEALTH & SCIENCE                                                                                           Awarded. Non-fellowships
828 T32GM142625   5T32GM142625-03   UNIVERSITY                        Chemical Physiology Training Program                    HABECKER, BETH A        only                        2022/07/01   2027/06/30    $536,030     $536,030     $459,882    $219,744

                                                                    Endemic and Emerging Multidrug Resistant
                                                                    Organisms in Nursing Homes: A Neglected Clinical
829 F31AI172386   5F31AI172386-03   UNIVERSITY OF CALIFORNIA-IRVINE Setting                                                   GUSSIN, GABRIELLE       Awarded. Fellowships only   2022/06/27   2025/06/26    $130,956     $130,956     $118,991     $45,516

                                                                      Decoding Hippocampal-Parietal contributions to
                                                                      spatial navigation in a mouse modeling Tau and AB CUSHING, SARAH
830 F31AG079619   5F31AG079619-03   FLORIDA STATE UNIVERSITY          aggregation features of Alzheimers Disease        DANIELLE                      Awarded. Fellowships only   2022/08/19   2025/08/18    $118,841     $118,841      $66,853     $40,781

                                    UNIVERSITY OF MICHIGAN AT ANN
831 F32HL167534   5F32HL167534-02   ARBOR                             SETDB2 regulates Abdominal Aortic Aneurysms             BAUER, TYLER MICHAEL    Awarded. Fellowships only   2023/07/01   2025/06/30    $159,684     $159,684     $123,824     $83,392

                                                                                                                              DRAKOS, STAVROS         Awarded. Non-fellowships
832 T32HL007576   5T32HL007576-38   UNIVERSITY OF UTAH                Training in Cardiovascular Research                     GEORGE                  only                        1994/07/01   2027/06/30   $1,687,040   $1,687,040   $1,705,916   $562,500

                                                                      Shared and disparate genomic features of TDP-43         SPENCER, BARBARA
833 F32AG079618   5F32AG079618-03   UNIVERSITY OF PENNSYLVANIA        proteinopathies                                         ELIZABETH               Awarded. Fellowships only   2022/08/19   2025/08/18    $218,266     $218,266     $193,244     $78,892

                                                                      Minnesota Neuroimaging Postdoctoral Training                                    Awarded. Non-fellowships
834 T32EB031512   5T32EB031512-04   UNIVERSITY OF MINNESOTA           Grant                                                   NETOFF, THEODEN I       only                        2021/06/04   2026/05/31    $906,640     $906,640     $807,733    $196,185

                                    BOSTON UNIVERSITY MEDICAL         Integrated Care for Addiction, HIV and HCV                                      Awarded. Non-fellowships
835 T32DA041898   5T32DA041898-08   CAMPUS                            Research and Education (ICAHRE)                         STEIN, MICHAEL D        only                        2017/07/01   2027/06/30   $1,296,926   $1,296,926    $992,635    $444,113

                                                                      Immunoengineering Postdoctoral Training Program -                               Awarded. Non-fellowships
836 T32AI153020   5T32AI153020-04   UNIVERSITY OF CHICAGO             Resubmission - 1                                  SWARTZ, MELODY ANN            only                        2021/08/19   2026/07/31   $1,617,821   $1,617,821   $1,055,745   $461,485

                                                                      University of Iowa Institutional Training Program in                            Awarded. Non-fellowships
837 T90DE023520   5T90DE023520-12   UNIVERSITY OF IOWA                Oral Health Research                                    LEVY, STEVEN M          only                        2013/07/01   2028/06/30    $984,116     $984,116     $720,914    $503,702

                                                                      Comparative Medicine Biosciences Training                                       Awarded. Non-fellowships
838 T32OD011121   5T32OD011121-19   STANFORD UNIVERSITY               Program                                                 BUCKMASTER, PAUL S      only                        2005/07/15   2026/06/30    $343,861     $441,471     $608,098         $1

                                                                      A childs best friend: Behavioral, neural, and
                                                                      endocrinological mechanisms of longitudinal social
                                                                      bond formation and stress buffering effects in
839 F32HD111327   5F32HD111327-02   HARVARD UNIVERSITY                children and pet dogs                              REILLY, OLIVIA TOMEO         Awarded. Fellowships only   2023/07/01   2026/11/19    $142,512     $142,512     $111,393     $73,828

                                    UNIVERSITY OF SOUTH CAROLINA      Big Data Health Science Scholar Program for                                     Awarded. Non-fellowships
840 T35AI165252   5T35AI165252-04   AT COLUMBIA                       Infectious Diseases                                     OLATOSI, BANKOLE        only                        2021/09/10   2026/08/31    $578,303     $578,303     $363,898    $131,713

                                    HARVARD SCHOOL OF PUBLIC          Training Program in Molecular and Integrative                                   Awarded. Non-fellowships
841 T32HL007118   5T32HL007118-49   HEALTH                            Physiological Sciences                                  LU, QUAN                only                        1975/07/01   2026/06/30   $2,604,510   $2,604,510   $2,022,198   $615,702

                                                                      Interdisciplinary Training in Psychiatry and                                    Awarded. Non-fellowships
842 T32MH015330   5T32MH015330-46   JOHNS HOPKINS UNIVERSITY          Neuroscience                                            MARGOLIS, RUSSELL L     only                        1978/07/01   2026/06/30   $1,802,695   $1,802,695   $1,680,537   $349,509

                                                                      Investigating METTL5-regulated translational
843 F30CA253987   5F30CA253987-05   UNIVERSITY OF CHICAGO             changes in hepatocellular carcinoma                     SEPICH, CARALINE LEE    Awarded. Fellowships only   2020/07/01   2025/06/30    $259,976     $259,976     $205,298     $53,974

                                                                    Summer Medical student Aging and Alzheimer                                        Awarded. Non-fellowships
844 T35AG076424   5T35AG076424-03   UNIVERSITY OF CALIFORNIA-IRVINE disease Research Training (SMAART) program                HEAD, ELIZABETH         only                        2022/06/01   2027/05/31    $223,913     $223,913     $178,153     $89,030

                                    STATE UNIVERSITY NEW YORK STONY The oncogenic functions of Neuropilin-1 in the
845 F30CA257677   5F30CA257677-04   BROOK                           glioblastoma tumor microenvironment                       RADIN, DANIEL           Awarded. Fellowships only   2021/07/01   2025/06/30    $180,186     $180,186     $161,750     $53,974

                                    LA JOLLA INSTITUTE FOR                                                                                            Awarded. Non-fellowships
846 T32AI125179   5T32AI125179-08   IMMUNOLOGY                        Training in Immunological Mechanisms                    CROFT, MICHAEL          only                        2016/08/01   2026/07/31   $1,294,169   $1,294,169   $1,074,751   $328,919
                                                                         Harnessing hotspot specific differences among
                                                                         SF3B1 mutations to define novel mechanisms of
                                                                         tumorigenicity and targetability in solid
847 F30CA268325   5F30CA268325-02     VANDERBILT UNIVERSITY              malignancies                                           BERGMAN, RILEY         Awarded. Fellowships only   2023/07/01   2026/06/30     $86,257      $86,257      $60,019     $53,373

                                                                                                                                                       Awarded. Non-fellowships
848 T32AI007019   5T32AI007019-49     YALE UNIVERSITY                    Interdisciplinary Immunology Training Program          SCHATZ, DAVID G        only                        1976/07/01   2027/08/31   $1,487,775   $1,487,775   $1,290,274   $508,024

                                      VIRGINIA POLYTECHNIC INST AND                                                                                    Awarded. Non-fellowships
849 T32OD028239   5T32OD028239-05     ST UNIV                            Animal Model Research for Veterinarians (AMRV)         MENG, XIANG-JIN        only                        2020/07/01   2026/06/30   $1,382,568   $1,382,568   $1,207,715   $259,985

                                                                                                                                                       Awarded. Non-fellowships
850 T32AI007290   5T32AI007290-40     STANFORD UNIVERSITY                Molecular and Cellular Immunobiology                   MARTINEZ, OLIVIA M     only                        1985/09/01   2025/08/31   $1,806,524   $1,806,524   $2,211,304   $515,677

                                      UNIVERSITY OF SOUTHERN             Training in Hearing and Communication                                         Awarded. Non-fellowships
851 T32DC009975   5T32DC009975-15     CALIFORNIA                         Neuroscience                                           SHERA, CHRISTOPHER A   only                        2009/07/01   2025/06/30   $1,498,015   $1,498,015   $1,304,073    $89,144

                                      PENNSYLVANIA STATE UNIVERSITY,
852 F31DK134090   5F31DK134090-02     THE                                Mapping the Glucuronidome                              BOYLE, NINA            Awarded. Fellowships only   2023/07/01   2025/06/30     $72,756      $72,756      $63,478     $37,018

                                      UNIV OF NORTH CAROLINA             Population genomics and relapse epidemiology of
853 F30AI179111   1F30AI179111-01A1   CHAPEL HILL                        Plasmodium ovale in sub-Saharan Africa                 CAREY-EWEND, KELLY     Awarded. Fellowships only   2024/08/01   2028/03/31     $41,012      $41,012      $30,620     $41,012

                                                                         Investigating the role of the blood-brain barrier in
                                      UNIVERSITY OF CALIFORNIA, SAN      trafficking prenatal liver-derived immune cells into   WEDDERBURN-PUGH,
854 F31NS137776   1F31NS137776-01     FRANCISCO                          the brain                                              KAYLEE                 Awarded. Fellowships only   2024/07/01   2026/06/30     $41,632      $41,632      $30,634     $41,632

                                      UNIV OF NORTH CAROLINA             Molecular Biology of Viral Diseases Predoctoral                               Awarded. Non-fellowships
855 T32AI007419   5T32AI007419-32     CHAPEL HILL                        Training Grant                                         HEISE, MARK T          only                        1993/09/01   2028/08/31    $389,149     $389,149     $391,600    $198,475

                                                                         Myc Transcription Factor Inhibitor Design:
                                                                         Integrating Atomic and Mesoscale with Semi-            SCHWING, GREGORY
856 F30GM147909   5F30GM147909-03     WAYNE STATE UNIVERSITY             Supervised Generative Deep Learning Models             JOHN                   Awarded. Fellowships only   2022/09/01   2027/08/31    $140,435     $140,435     $126,981     $47,979

                                                                         Immunometabolic regulation of enteric viral
857 F31AI183832   1F31AI183832-01     WASHINGTON UNIVERSITY              infection                                              WRIGHT, JASMINE        Awarded. Fellowships only   2024/08/01   2026/07/31     $35,482      $35,482      $22,864     $35,482

                                                                                                                                                       Awarded. Non-fellowships
858 T32GM136568   5T32GM136568-04     STANFORD UNIVERSITY                Molecular Biophysics Training Program at Stanford      HUANG, KERWYN C        only                        2021/07/01   2026/06/30   $2,505,462   $2,505,462   $2,045,485   $659,231

                                      UNIVERSITY OF SOUTH CAROLINA
859 F31HD108920   5F31HD108920-03     AT COLUMBIA                        Infant Predictors of ADHD and ASD Symptomology         FEDERICO, ALEXIS       Awarded. Fellowships only   2022/08/16   2025/08/15    $128,685     $128,685     $107,822     $43,929

                                                                         A Dynamic and Three-Dimensional Human Model of
                                      RESEARCH INST NATIONWIDE           Hypoplastic Left Heart Syndrome to Probe
860 F32HL170581   1F32HL170581-01A1   CHILDREN'S HOSP                    Compromised Cardiomyocyte Proliferation        ALONZO, MATTHEW                Awarded. Fellowships only   2024/09/16   2027/09/15     $76,756      $76,756      $32,505     $76,756

                                      UNIVERSITY OF OKLAHOMA HLTH        Understanding the role of PDGFRb signaling in
861 F31DE033289   1F31DE033289-01A1   SCIENCES CTR                       Penttinen syndrome craniofacial development            KIM, JANG HOON         Awarded. Fellowships only   2024/07/01   2026/06/30     $35,738      $35,738      $21,868     $35,738

                                                                         Defining the transition from deep quiescence to
862 F31CA284877   1F31CA284877-01A1   UNIVERSITY OF COLORADO             senescence                                             FERNANDEZ, BRIANNA     Awarded. Fellowships only   2024/06/01   2026/07/31     $40,782      $40,782      $40,782     $40,782

                                      UNIVERSITY OF CALIFORNIA LOS       Early Sleep Disruption and Neurodevelopmental
863 F31MH135704   1F31MH135704-01A1   ANGELES                            Trajectories in Infancy                                CHIEM, EMILY           Awarded. Fellowships only   2024/09/01   2027/08/31     $41,328      $41,328      $25,311     $41,328

                                                                         Examining the neural substrates of reward in the       ISAAC, JENNIFER
864 F31MH133373   5F31MH133373-02     EMORY UNIVERSITY                   lateral septum                                         SAMANTHA               Awarded. Fellowships only   2023/08/11   2026/08/10     $96,668      $96,668      $86,295     $48,974

                                                                         Determining the Role of Plastin-3 in Osteoblast        CHIN, SAMANTHA
865 F30HD106797   5F30HD106797-04     WASHINGTON UNIVERSITY              Differentiation and Mineralization                     MEAGAN                 Awarded. Fellowships only   2021/09/01   2025/08/31    $171,324     $171,324     $140,559     $53,974

                                                                         Circuit-specific androgen receptor regulation of
866 F31MH134532   1F31MH134532-01A1   MICHIGAN STATE UNIVERSITY          hippocampal neuronal excitability                      SUGIMOTO, CHIHO        Awarded. Fellowships only   2024/05/16   2025/11/15     $62,558      $62,558      $32,903     $39,363

                                      UNIVERSITY OF ILLINOIS AT URBANA- Toxicity and Detoxification of Imidacloprid in the
867 F30ES033914   5F30ES033914-03     CHAMPAIGN                         Murine Ovary                                            MOURIKES, VASILIKI     Awarded. Fellowships only   2022/09/15   2025/09/14    $158,024     $158,024     $122,504     $53,842
                                                                       Socioeconomic status across the life course and
                                                                       epigenetic age acceleration in adulthood:
                                                                       Evidence from two generations of a Filipino birth
868 F31AG084273   1F31AG084273-01A1   NORTHWESTERN UNIVERSITY          cohort study                                          WATSON, ELIJAH JILES     Awarded. Fellowships only   2024/09/01   2026/08/31     $43,785      $43,785      $19,518     $43,785

                                                                       Photomediated ring contractions of N-Aryl
                                                                       azacycles: Mechanistic insights and
                                      UNIVERSITY OF CALIFORNIA         characterization of wavelength dependent
869 F31GM154485   1F31GM154485-01     BERKELEY                         reactivity                                            KIM, SOJUNG FRANCES      Awarded. Fellowships only   2024/08/01   2026/07/31     $45,965      $45,965      $27,289     $45,965

                                                                                                                                                      Awarded. Non-fellowships
870 T32CA009110   5T32CA009110-47     JOHNS HOPKINS UNIVERSITY         Training in Areas Fundamental to Cancer Research      WEERARATNA, ASHANI T     only                        1975/06/30   2026/07/31   $2,387,421   $2,387,421   $2,144,534   $611,949

                                                                       Defining the Role of DDX6 in Regulating FUS
871 F31GM148067   5F31GM148067-03     JOHNS HOPKINS UNIVERSITY         Condensates                                           MEKONNEN, GEMECHU        Awarded. Fellowships only   2022/08/01   2026/01/31    $143,420     $143,420     $118,129     $48,974

                                                                    Bridges to the Baccalaureate Research Training
                                                                    Program at the University of Kansas/Haskell Indian                             Awarded. Non-fellowships
872 T34GM142615   5T34GM142615-03     UNIVERSITY OF KANSAS LAWRENCE Nations University                                       CHANDLER, JOSEPHINE R only                           2022/08/01   2027/07/31    $687,278     $687,278     $388,801    $281,040

                                      NORTHWESTERN UNIVERSITY AT       The gut microbiome in Alzheimers disease: exploring
873 F30AG079577   5F30AG079577-03     CHICAGO                          the role of astrocytes                              CHANDRA, SIDHANTH          Awarded. Fellowships only   2022/09/01   2026/08/31    $158,420     $158,420     $115,806     $53,974

                                                                       Defining the Neuroprotective Mechanisms of
                                      UNIVERSITY OF ALABAMA AT         Neuritin-1 in Cognitive Resilience to Alzheimers
874 F31AG084195   1F31AG084195-01A1   BIRMINGHAM                       Disease                                               PUGH, DERIAN             Awarded. Fellowships only   2024/07/01   2026/06/30     $40,264      $40,264       $8,105     $40,264

                                                                       Defining Disruptions to Dopaminergic Control of
875 F32DA060662   1F32DA060662-01     VANDERBILT UNIVERSITY            Striatal Activity after Chronic Cocaine Use           LEONARD, MICHAEL Z       Awarded. Fellowships only   2024/07/01   2025/06/30     $77,284      $77,284      $46,413     $77,284

                                      TEMPLE UNIV OF THE               Investigating the role of YAP1 in blood cell
876 F31HD113419   1F31HD113419-01A1   COMMONWEALTH                     specification                                         ABRAHAM, ELIZABETH       Awarded. Fellowships only   2024/09/01   2026/08/31     $37,485      $37,485      $24,255     $37,485

                                      ICAHN SCHOOL OF MEDICINE AT      Mount Sinai Clinician Scientist Training Program in                            Awarded. Non-fellowships
877 T32HL160513   5T32HL160513-03     MOUNT SINAI                      Emergency Care Research                               RICHARDSON, LYNNE D      only                        2022/07/01   2027/06/30   $1,698,635   $1,698,635    $583,825    $472,723

                                                                                                                             D'SOUZA, VICTORIA        Awarded. Non-fellowships
878 T32GM135143   5T32GM135143-05     HARVARD UNIVERSITY               Joint Program in Molecules, Cells, and Organisms      MANUEL                   only                        2020/07/01   2025/06/30   $3,206,768   $3,206,768   $2,973,606   $588,134

                                      UNIVERSITY OF CALIFORNIA, SAN    Molecular mechanisms of synapse loss in
879 F30AG087550   1F30AG087550-01     FRANCISCO                        Alzheimer’s disease                                   SHROFF, KUNAL            Awarded. Fellowships only   2024/07/01   2028/06/30     $41,081      $41,081      $27,864     $41,081

                                                                       Rare variants associated with AVSD in Down
880 F31HL168878   1F31HL168878-01A1   EMORY UNIVERSITY                 Syndrome                                              FELDMAN, ELIZABETH       Awarded. Fellowships only   2024/09/13   2027/09/12     $48,974      $48,974      $29,429     $48,974

                                      ICAHN SCHOOL OF MEDICINE AT      Regulation of microglial function by blood-borne
881 F31AG079604   5F31AG079604-02     MOUNT SINAI                      factors                                               HEMMER, BRITTANY MARIE Awarded. Fellowships only     2023/09/01   2025/08/31     $93,468      $93,468      $61,779     $47,374

                                                                                                                                                      Awarded. Non-fellowships
882 TL1TR002382   5TL1TR002382-08     EMORY UNIVERSITY                 J. NRSA Training Core                                 BLUMBERG, HENRY M        only                        2017/09/22   2027/07/31   $2,260,533   $2,260,533   $1,632,605   $431,241

                                                                       Reversal of Tau Pathology to Rescue Serotonergic
883 F32AG084196   1F32AG084196-01A1   UNIVERSITY OF IOWA               Function in Early Alzheimer’s Disease                 KOLLING, LOUIS           Awarded. Fellowships only   2024/08/01   2026/03/17     $76,828      $76,828      $47,669     $76,828

                                                                       Determining the neural mechanisms of
                                      UNIVERSITY OF MICHIGAN AT ANN    mechanosensory food perception in DR-mediated
884 F31AG084146   5F31AG084146-02     ARBOR                            longevity                                             KITTO, ELIZABETH SARAH   Awarded. Fellowships only   2023/08/01   2025/07/31     $83,394      $83,394      $73,674     $42,575

                                      UNIV OF NORTH CAROLINA           Parenting Profiles Among Black Fathers: Implications
885 F32HD115373   1F32HD115373-01     CHAPEL HILL                      for Black Adolescents’ Depression Symptomatology GIBSON, STEPHEN               Awarded. Fellowships only   2024/08/01   2027/07/31     $73,408      $73,408      $48,975     $73,408

                                                                       Mechanism of mitochondria-induced myokine
886 F31AG087692   1F31AG087692-01     UPSTATE MEDICAL UNIVERSITY       activation and implications for healthy aging.        MAURO, JOSEPH V          Awarded. Fellowships only   2024/06/25   2029/06/24     $53,974      $53,974      $47,767     $53,974

                                                                       Lung Th17 cells signal via fibroblasts, establish
                                                                       interstitial macrophages, and contribute to host
887 F30HL174095   1F30HL174095-01     TULANE UNIVERSITY OF LOUISIANA   protection                                            REMCHO, THOMAS PARKS Awarded. Fellowships only       2024/09/30   2029/09/29     $53,167      $53,167       $3,218     $53,167
                                      COLUMBIA UNIVERSITY HEALTH        RNA Decay of LINE-1 Retrotransposons as a New
888 F30AI179182   1F30AI179182-01A1   SCIENCES                          Mechanism to Maintain B Cell Genome Integrity          LAURING, MAX CHEN       Awarded. Fellowships only    2024/07/15   2027/07/14     $50,414      $50,414      $50,414     $50,414

                                      ICAHN SCHOOL OF MEDICINE AT
889 F30DK130576   5F30DK130576-04     MOUNT SINAI                       A genotype first approach to studying diabetes         STALBOW, LAUREN         Awarded. Fellowships only    2021/09/16   2025/09/15    $205,696     $205,696     $122,149     $56,974

                                                                                                                                                       Awarded. Non-fellowships
890 T32GM007250   3T32GM007250-48S1   CASE WESTERN RESERVE UNIVERSITY Medical Scientist Training Program                       HUANG, ALEX YEE-CHEN    only                         1975/07/01   2025/06/30   $8,121,207   $8,121,207   $8,033,790    $58,054

                                      NEW YORK UNIVERSITY SCHOOL OF Research Training for Physician-Scientists in                                      Awarded. Non-fellowships
891 T32CA193111   5T32CA193111-10     MEDICINE                      Gastrointestinal Oncology                                  BAR-SAGI, DAFNA         only                         2015/07/01   2025/07/31   $1,409,770   $1,409,770   $1,113,171   $338,535

                                                                        Delineating HIV-1 nuclear import mechanisms
                                                                        through capsid interaction with MxB and the
892 F31AI167527   5F31AI167527-03     EMORY UNIVERSITY                  nuclear pore complex                                   TORRES RIVERA, DARIANA Awarded. Fellowships only     2022/09/01   2025/08/31    $143,420     $143,420     $122,586     $48,974

                                                                        WUSTL Transdisciplinary Pre- and Postdoctoral
                                                                        Training Program in Obesity and Cardiovascular                                 Awarded. Non-fellowships
893 T32HL130357   5T32HL130357-09     WASHINGTON UNIVERSITY             Disease                                                WILFLEY, DENISE ELLA    only                         2016/07/01   2026/06/30   $1,934,460   $1,934,460   $1,500,314   $452,797

                                      COLUMBIA UNIVERSITY HEALTH        Impact of social environment on cognitive
894 F31MH136812   1F31MH136812-01     SCIENCES                          development and thalamocortical maturation             BRAVO, ISABEL           Awarded. Fellowships only    2024/07/01   2027/06/30     $48,974      $48,974      $48,974     $48,974

                                      UNIVERSITY OF ILLINOIS AT URBANA- Atlas Neurosurgical Navigation System for Low-         SMITH, ALEXANDER
895 F30EB035932   1F30EB035932-01     CHAMPAIGN                         Resource Settings                                      DANIEL                  Awarded. Fellowships only    2024/08/16   2029/08/15     $53,974      $53,974      $18,197     $53,974

                                      UNIVERSITY OF VERMONT & ST        Vermont Immunology / Infectious Diseases Training                              Awarded. Non-fellowships
896 T32AI055402   5T32AI055402-19     AGRIC COLLEGE                     Grant                                                  WARD, GARY E            only                         2005/09/01   2026/08/31    $621,815     $621,815     $477,111    $142,298

                                                                        Structural and antigenic characterization of human
897 F31AI179031   1F31AI179031-01A1   TUFTS UNIVERSITY BOSTON           cytomegalovirus gB                                 KRASILNIKOV, MARIA          Awarded. Fellowships only    2024/09/01   2027/08/31     $45,183      $45,183      $30,838     $45,183

                                      UNIVERSITY OF CALIFORNIA, SAN     Investigating the role of BCAA metabolism in
898 F30DK139713   1F30DK139713-01     FRANCISCO                         regulating adiposity during systemic hypoxia.          MIDHA, AYUSH            Awarded. Fellowships only    2024/09/01   2028/08/31     $41,324      $41,324      $27,313     $41,324

                                      UNIVERSITY OF COLORADO            Multi-Disciplinary Research Training in Respiratory    SCHWARTZ, DAVID         Awarded. Non-fellowships
899 T32HL007085   5T32HL007085-50     DENVER                            Disease                                                ALBERT                  only                         1975/07/01   2025/06/30   $4,490,436   $4,490,436   $4,389,980   $670,419

                                      ICAHN SCHOOL OF MEDICINE AT                                                                                      Awarded. Non-fellowships
900 T32CA078207   5T32CA078207-25     MOUNT SINAI                       Training Program in Cancer Biology                     AARONSON, STUART A      only                         1999/07/20   2025/08/31   $3,164,050   $3,164,050   $2,970,645   $649,744

                                                                        Immunobiology of Normal and Neoplastic                                         Awarded. Non-fellowships
901 T32CA009140   5T32CA009140-50     UNIVERSITY OF PENNSYLVANIA        Lymphocytes                                            PEAR, WARREN S          only                         1975/07/01   2025/08/31   $3,386,433   $3,386,433   $2,979,528   $770,728


                                                                        Monosynaptic tracing defines circuit connectivity of
902 F31NS137664   1F31NS137664-01     UNIVERSITY OF PENNSYLVANIA        human high-grade glioma in the adult mouse brain SUN, YUSHA                    Awarded. Fellowships only    2024/06/01   2027/05/31     $48,974      $48,974      $46,558     $48,974

                                                                        Computational Modeling of Interoceptive
903 F31MH136742   1F31MH136742-01     TRUSTEES OF INDIANA UNIVERSITY    Perception across the Psychosis-Spectrum               HERMS, EMMA             Awarded. Fellowships only    2024/08/01   2026/07/31     $48,974      $48,974      $32,789     $48,974

                                                                        Assessing the Transcriptional and Signaling Basis of
                                                                        Heterogeneity in the Epithelial-Mesenchymal
904 F31CA275364   5F31CA275364-02     UNIVERSITY OF VIRGINIA            Transition in Pancreatic Ductal Adenocarcinoma         BARBEAU, MICHELLE C     Awarded. Fellowships only    2023/07/01   2025/06/30     $79,550      $79,550      $64,340     $40,415

                                                                                                                                                       Awarded. Non-fellowships
905 T32AI052073   5T32AI052073-18     STANFORD UNIVERSITY               Global Epidemiology of Infectious Diseases             LUBY, STEPHEN PATRICK   only                         2002/07/01   2027/07/31    $819,875     $819,875     $501,593    $304,736

                                                                        Development of Protein Like Polymer Therapeutics
                                                                        for Modulating the Nrf2/Keap1 Protein Protein
906 F30AG076317   5F30AG076317-03     NORTHWESTERN UNIVERSITY           Interaction in Neurodegenerative Diseases              CARROW, KENDAL PAIGE Awarded. Fellowships only       2022/09/01   2026/09/10    $154,608     $154,608     $119,184     $56,974

                                      MASSACHUSETTS INSTITUTE OF        Investigating mechanisms of coordinating               MCDOUGAL, ANTHONY
907 F32GM154448   1F32GM154448-01     TECHNOLOGY                        actinstructure across multiple levels oforder          DREW                    Awarded. Fellowships only    2024/06/01   2027/05/31     $77,284      $77,284      $64,720     $77,284

                                                                        Determining the influence of metformin treatment
                                      OKLAHOMA MEDICAL RESEARCH         on mitochondrial calcium flux during aerobic
908 F32AG087622   1F32AG087622-01     FOUNDATION                        exercise training of healthy, aging rats               O'REILLY, COLLEEN LOUISE Awarded. Fellowships only   2024/06/01   2025/12/31     $74,284      $74,284      $51,153     $74,284
                                                                      Bridges to the Baccalaureate Research Training                                   Awarded. Non-fellowships
909 T34GM137862   5T34GM137862-05     UNIVERSITY OF MINNESOTA         Program at the University of Minnesota Duluth              CLARKE, BENJAMIN L    only                        2020/08/01   2025/07/31   $1,641,158   $1,641,158    $763,084    $331,986

                                                                      The role of the peri-islet extracellular matrix in islet   JOHANSEN, CHELSEA
910 F31DK132926   5F31DK132926-03     COLORADO SCHOOL OF MINES        function and the pathogenesis of type 1 diabetes           GARCIA                Awarded. Fellowships only   2022/09/01   2027/11/30    $136,124     $136,124     $106,137     $46,542

                                      UNIVERSITY OF CALIFORNIA, SAN   What is the role of blood-brain-barrier regional           GARCIA-PAK, IRIS
911 F30DA054776   5F30DA054776-04     DIEGO                           specificity in the nucleus accumbens?                      HALEAKALA             Awarded. Fellowships only   2021/09/01   2025/08/31    $185,272     $185,272     $164,050     $53,974

                                      CLEVELAND CLINIC LERNER COM-    Endogenous memory T cell mediated rejection of             KORITZINSKY, ERIK
912 F30AI174667   5F30AI174667-02     CWRU                            high-risk cardiac allografts                               HARRISON              Awarded. Fellowships only   2023/09/01   2025/08/31    $106,668     $106,668      $50,170     $53,974

                                                                      The Effect of Social Influence on Effort-Cost Decision-
                                                                      Making in Schizophrenia: From Mechanisms to Real- MERCHANT, JAISAL
913 F31MH132276   5F31MH132276-02     WASHINGTON UNIVERSITY           World Associations                                      TAARA                    Awarded. Fellowships only   2023/07/05   2025/07/04     $96,668      $96,668      $48,296     $48,974

                                                                      Role of Prefrontal Cortical Projections to the
                                                                      Midbrain in Alcohol-Induced Cognitive Deficits in
914 F30AA031190   5F30AA031190-02     VANDERBILT UNIVERSITY           Mice                                                       KANDOV, EVELYN        Awarded. Fellowships only   2023/08/01   2027/07/31     $72,548      $72,548      $61,364     $37,164

                                      UNIVERSITY OF CALIFORNIA        Bridges to the Baccalaureate Research Training                                   Awarded. Non-fellowships
915 T34GM146637   5T34GM146637-03     RIVERSIDE                       Program at University of California, Riverside             RODGERS, VICTOR G J   only                        2022/08/01   2027/07/31    $870,425     $870,425     $258,805    $290,685

                                      NORTHWESTERN UNIVERSITY AT      Host detection of Vibrio cholerae-induced actin
916 F31AI183652   1F31AI183652-01     CHICAGO                         damage                                                     MILLS, JORI           Awarded. Fellowships only   2024/09/01   2027/08/31     $44,187      $44,187      $22,932     $44,187

                                                                                                                                                      Awarded. Non-fellowships
917 T32GM150548   5T32GM150548-02     KENNESAW STATE UNIVERSITY       Peach State Bridges to the Doctorate                       MENSA-WILMOT, KOJO A only                         2023/08/01   2028/07/31    $569,729     $569,729      $75,318    $384,263

                                      CALIFORNIA STATE UNIVERSITY     Bridges to the Doctorate Research Training Program                               Awarded. Non-fellowships
918 T32GM138075   5T32GM138075-04     LONG BEACH                      at California State University Long Beach          BRUSSLAN, JUDY ANN            only                        2021/08/01   2026/07/31   $1,629,465   $1,629,465   $1,394,403   $484,775

                                      UNIVERSITY OF WISCONSIN-        Dynamic reprogramming of macrophage acetyl-                ARP, NICHOLAS
919 F30AI183563   1F30AI183563-01     MADISON                         CoA metabolism in endotoxin tolerance                      LAWRENCE              Awarded. Fellowships only   2024/09/04   2027/09/03     $39,816      $39,816      $27,568     $39,816

                                      UNIV OF NORTH CAROLINA          Neurobiological impact of acute digital media              FLANNERY, JESSICA
920 F32DA057876   5F32DA057876-02     CHAPEL HILL                     abstinence among drug using college students               SHANNON               Awarded. Fellowships only   2023/07/01   2026/06/30    $146,256     $146,256     $126,387     $76,756

                                                                      Caenorhabditis Elegans: a Model for Genetic
                                                                      Interaction between the Gut Microbiota and
921 F32DK131636   5F32DK131636-03     COLORADO STATE UNIVERSITY       Intestinal Epithelial Cells                                HILL, JESSICA L       Awarded. Fellowships only   2022/07/01   2025/06/30    $221,433     $221,433     $204,410     $79,756

                                                                      A Novel Hybrid Viral Vector for Therapeutic CRISPR         COLLINS, LOGAN
922 F31AG084489   1F31AG084489-01A1   WASHINGTON UNIVERSITY           Insertion of Multiple Transgenes                           THRASHER              Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974      $28,651     $48,974

                                                                      Regulation of Steady-State Hematopoiesis by                MAKNOJIA, ARUSHANA
923 F31HL168921   5F31HL168921-02     BAYLOR COLLEGE OF MEDICINE      Microbiota-Driven IFN-I Signaling                          AMIR                  Awarded. Fellowships only   2023/07/01   2027/06/30     $96,668      $96,668      $83,416     $48,974

                                      UNIVERSITY OF MASSACHUSETTS     Biotechnology Training Program in Applied Life                                   Awarded. Non-fellowships
924 T32GM135096   5T32GM135096-05     AMHERST                         Sciences                                                   HARDY, JEANNE ANN     only                        2020/07/01   2025/06/30   $2,569,941   $2,569,941   $2,408,654   $549,359

                                                                      How does neuronal contact mediate astrocyte
925 F31NS134252   5F31NS134252-02     DUKE UNIVERSITY                 transcriptional maturation?                                SAVAGE, JUSTIN        Awarded. Fellowships only   2023/09/01   2026/08/31     $82,450      $82,450      $65,478     $41,865

                                      MASSACHUSETTS GENERAL           Novel Molecular Regulators of Vascular
926 F32HL164025   5F32HL164025-02     HOSPITAL                        Calcification                                              LEE, SUJIN            Awarded. Fellowships only   2023/07/01   2025/06/30    $163,794     $163,794     $135,142     $85,558

                                                                                                                                                       Awarded. Non-fellowships
927 T32AI007387   5T32AI007387-35     BRIGHAM AND WOMEN'S HOSPITAL Multidisciplinary AIDS Training Program                       KURITZKES, DANIEL R   only                        1990/08/01   2025/07/31   $2,047,845   $2,047,845   $1,754,702   $449,938

                                                                      Ethnographic investigation of factors affecting
                                                                      conceptualization and provision of social
                                                                      prescribing in outpatient primary care clinics in the
928 F30MD018276   5F30MD018276-02     UNIVERSITY OF FLORIDA           United States                                              WARPINSKI, CHLOE L    Awarded. Fellowships only   2023/08/16   2028/07/31     $85,558      $85,558      $69,510     $43,674

                                      PENNSYLVANIA STATE UNIV         Light Physical Activity for Brain Health in Older Adult
929 F32AG078229   5F32AG078229-03     HERSHEY MED CTR                 Breast Cancer Survivors                                 GORDON, BRETT RYAN       Awarded. Fellowships only   2022/09/01   2025/08/31    $221,059     $221,059     $154,372     $78,488
                                                                       Gaps and Determinants in PrEP Uptake and Need:
                                                                       Understanding Disparities in PrEP Among Women in
930 F31MD018957   5F31MD018957-02     EMORY UNIVERSITY                 the United States                                      BENNETT, BRADY W        Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668      $77,010     $48,974

                                                                       Between- and Within-Person Heterogeneity in
                                      TEMPLE UNIV OF THE               Adolescent Resting State Networks: Associations
931 F31MH134533   5F31MH134533-02     COMMONWEALTH                     with Internalizing Psychopathology                     MATTONI, MATTHEW        Awarded. Fellowships only   2023/08/01   2025/07/31     $74,909      $74,909      $53,846     $38,948

                                                                       Defining factors affecting natural killer cells
932 F31AI179125   1F31AI179125-01A1   STANFORD UNIVERSITY              antibody-dependent responses in COVID-19               CHAN, LESLIE            Awarded. Fellowships only   2024/09/01   2027/08/31     $42,293      $42,293      $22,056     $42,293

                                      UNIVERSITY OF CALIFORNIA, SAN    Diabetes, Endocrinology & Metabolism Training                                  Awarded. Non-fellowships
933 T32DK007418   5T32DK007418-43     FRANCISCO                        Grant                                                  HSIAO, EDWARD C         only                        1981/07/01   2027/06/30   $2,111,819   $2,111,819   $1,822,209   $691,349

                                                                       Subcellular investigation of molecular programs
                                                                       responsible for corticospinal neuron development       VICENT ALLENDE, MARIA
934 F30HD113352   5F30HD113352-02     HARVARD MEDICAL SCHOOL           and treatment-enhanced regeneration                    ALEJANDRA               Awarded. Fellowships only   2023/09/01   2026/08/31     $94,178      $94,178      $78,240     $53,974

                                                                                                                                                      Awarded. Non-fellowships
935 T32HL007284   5T32HL007284-48     UNIVERSITY OF VIRGINIA           Basic Cardiovascular Research Training Grant           ISAKSON, BRANT E        only                        1977/07/01   2027/06/30   $2,954,161   $2,954,161   $2,547,320 $1,042,148

                                                                       Quantifying the potential contribution of
                                      NORTHWESTERN UNIVERSITY AT       asymptomatic screening and treatment to malaria
936 F31AI172387   5F31AI172387-03     CHICAGO                          control and elimination                                HOLDEN, TOBIAS          Awarded. Fellowships only   2022/09/01   2025/08/31    $140,211     $140,211     $109,276     $45,765

                                                                       Investigating the error-related negativity and the
937 F32MH129076   5F32MH129076-03     FLORIDA STATE UNIVERSITY         balance N1 in children with anxiety disorders          PAYNE, AIDEN MICHAEL    Awarded. Fellowships only   2022/08/10   2025/08/09    $218,266     $218,266     $193,147     $78,892

                                                                       Social Determinants and Epigenetic Mediators of
                                      NORTHWESTERN UNIVERSITY AT       Hypertension in the Future of Families and Child
938 F31HL173991   1F31HL173991-01     CHICAGO                          Wellbeing Study                                        SZETO, MINDY            Awarded. Fellowships only   2024/07/01   2027/06/30     $44,187      $44,187      $19,824     $44,187

                                                                       Determining the role of the vaginal microbiota in
                                                                       microbial and immunological resistance to vaginal      MEJIA, MARLYD
939 F31AI167538   5F31AI167538-03     BAYLOR COLLEGE OF MEDICINE       pathobiont colonization                                ELIZABETH               Awarded. Fellowships only   2022/08/26   2025/08/25    $143,420     $143,420     $118,796     $48,974

                                      PENNSYLVANIA STATE UNIVERSITY,   Training Program in Social Environments and                                    Awarded. Non-fellowships
940 T32HD007514   5T32HD007514-25     THE                              Population Health                                      ICELAND, JOHN D         only                        1999/05/01   2025/08/31   $1,242,875   $1,242,875   $1,149,515   $327,726

                                                                       Defining the role of sphingolipids on Porphyromonas
                                                                       gingivalis outer membrane vesicle uptake and
941 F31DE033255   5F31DE033255-02     UNIVERSITY OF FLORIDA            elicited inflammation                               EURE, ZAVIER G             Awarded. Fellowships only   2023/08/16   2025/08/15     $89,805      $89,805      $78,416     $46,103

                                      UNIVERSITY OF PITTSBURGH AT      Translational Research Training in Sleep and                                   Awarded. Non-fellowships
942 T32HL082610   5T32HL082610-18     PITTSBURGH                       Circadian Science                                      BUYSSE, DANIEL J        only                        2007/07/01   2027/06/30   $1,451,269   $1,451,269   $1,042,072   $499,250

                                                                                                                                                      Awarded. Non-fellowships
943 T32AR007279   5T32AR007279-44     WASHINGTON UNIVERSITY            Immunobiology of the Rheumatic Diseases                LENSCHOW, DEBORAH J     only                        1977/09/30   2026/07/31   $1,671,822   $1,671,822   $1,310,846   $493,904

                                                                      Exploring Crystallin Deamidation as a Causative
944 F31EY034393   5F31EY034393-03     UNIVERSITY OF CALIFORNIA-IRVINE Agent of Cataracts                                      ROCHA, MEGAN            Awarded. Fellowships only   2022/08/01   2025/07/31    $129,833     $129,833      $96,779     $44,445

                                      UNIVERSITY OF PITTSBURGH AT      Characterizing and Targeting ERBB2 Mutations in
945 F30CA278319   5F30CA278319-02     PITTSBURGH                       Invasive Lobular Carcinoma                             LIU, JIE BIN            Awarded. Fellowships only   2023/07/01   2028/06/30    $106,668     $106,668      $58,251     $53,974

                                                                       Exposure to PFAS mixture induces atherosclerosis via
946 F32ES034638   5F32ES034638-02     WAYNE STATE UNIVERSITY           modulation of bile acid transport                    ROTH, KATHERINE           Awarded. Fellowships only   2023/07/15   2025/06/30    $150,684     $150,684     $119,063     $78,892

                                      ICAHN SCHOOL OF MEDICINE AT      Transcriptional regulation of neuroprotective
947 F30AG079491   5F30AG079491-02     MOUNT SINAI                      microglia subtypes in health and disease               CROWLEY, JESSICA        Awarded. Fellowships only   2023/06/12   2026/09/11     $94,908      $94,908      $94,908     $47,374

                                                                       Genetic dissection of fluid flow signaling in Left-Right
948 F31HD108945   5F31HD108945-03     UNIVERSITY OF OREGON             patterning of zebrafish                                  FISHER, KATHERINE H   Awarded. Fellowships only   2022/07/01   2025/06/30    $140,191     $140,191     $133,467     $48,327

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                    Awarded. Non-fellowships
949 T32NS048004   5T32NS048004-19     ANGELES                          Training Grant in Neurobehavioral Genetics             OPHOFF, ROEL A          only                        2004/07/15   2026/06/30   $1,819,271   $1,819,271   $1,323,943   $399,517
                                                                          Functional evaluation of kinesin gene variants
                                                                          associated with female subfertility and egg
950 F30HD107976   5F30HD107976-03     RUTGERS, THE STATE UNIV OF N.J.     aneuploidy.                                           BISWAS, LEELABATI      Awarded. Fellowships only   2022/09/01   2026/08/31    $147,044     $147,044     $135,313     $53,974

                                      WEILL MEDICAL COLL OF CORNELL                                                                                   Awarded. Non-fellowships
951 TL1TR002386   5TL1TR002386-08     UNIV                          J. NRSA Training Core                                       ANDERSEN, OLAF S      only                         2017/09/05   2027/06/30   $1,625,807   $1,625,807   $1,418,375   $304,608

                                      UNIVERSITY OF TEXAS MED BR                                                                                      Awarded. Non-fellowships
952 T32AI060549   2T32AI060549-21     GALVESTON                           Biodefense Training Program                           CHOPRA, ASHOK K       only                         2004/07/01   2029/08/31    $175,294     $175,294     $108,681    $175,294

                                      UNIVERSITY OF CALIFORNIA, SAN                                                             CHARLEBOIS, EDWIN     Awarded. Non-fellowships
953 T32MH019105   2T32MH019105-36     FRANCISCO                           Traineeships in AIDS Prevention Studies               DUNCAN                only                         1989/05/01   2029/06/30    $530,635     $530,635     $301,254    $530,635

                                                                      Statistical methods for enriched clinical trials with
954 F31AG077880   5F31AG077880-02     UNIVERSITY OF CALIFORNIA-IRVINE applications to Alzheimers disease research               HAKHU, NAVNEET RAM     Awarded. Fellowships only   2023/09/25   2025/05/24     $38,577      $38,577      $29,998         $0

                                                                          Assessing Sox 10s effect on chromatin accessibility in
955 F31DK137637   5F31DK137637-02     VANDERBILT UNIVERSITY               enteric neuron lineage diversification                 BENTHAL, JOSEPH T     Awarded. Fellowships only   2023/07/01   2025/06/30     $67,220      $67,220      $59,900     $34,250

                                      UNIVERSITY OF COLORADO              The Role of IMAT Inflammatory Secretome on
956 F32DK134086   5F32DK134086-02     DENVER                              Muscle Insulin Resistance                             MCKENNA, COLLEEN       Awarded. Fellowships only   2023/09/01   2025/10/05    $143,364     $143,364      $94,376     $74,284

                                      UNIVERSITY OF TX MD ANDERSON        Exploration of long non-coding RNAs as synthetic
957 F30CA243160   5F30CA243160-05     CAN CTR                             essential targets in Pten-deficient cancers           CHEN, JASPER R         Awarded. Fellowships only   2020/09/18   2025/09/17    $226,065     $226,065     $174,244     $47,192

                                                                          The Respiratory Microbiome in COVID-19:
                                                                          Associations with Severity, Risk Factors, and Host
958 F31HL170550   5F31HL170550-02     UNIVERSITY OF PENNSYLVANIA          Pathways                                              MERENSTEIN, CARTER     Awarded. Fellowships only   2023/09/30   2026/09/29     $96,668      $96,668      $83,154     $48,974

                                      STATE UNIVERSITY OF                 Bridges to the Baccalaureate Research Training                              Awarded. Non-fellowships
959 T34GM154616   1T34GM154616-01     NY,BINGHAMTON                       Program                                               SAVAGE, LISA M        only                         2024/08/06   2029/07/31    $373,692     $373,692      $57,158    $373,692

                                                                          Vitamin A Status and its Relationship to S. mansoni
                                                                          Infection Intensity and Environmental Enteric
                                                                          Dysfunction in Preschool-Aged Children Receiving
960 F32AI176721   5F32AI176721-02     RHODE ISLAND HOSPITAL               Treatment for Schistosomiasis in Uganda               COLT, SUSANNAH         Awarded. Fellowships only   2023/12/12   2026/12/11    $157,247     $157,247     $103,235     $81,256

                                                                          Development of evolutionary technologies to
961 F32GM147968   5F32GM147968-03     UNIVERSITY OF CHICAGO               reprogram protein-protein interactions                STYLES, MATTHEW J      Awarded. Fellowships only   2022/11/16   2025/11/15    $218,214     $218,214     $177,864     $76,756

                                                                          The roles of fosfomycin resistant subpopulations of   BERMUDEZ, TOMAS
962 F31AI174488   5F31AI174488-02     VANDERBILT UNIVERSITY               Escherichia coli in urinary tract infection.          ALEXANDER              Awarded. Fellowships only   2023/08/01   2026/07/31     $66,244      $66,244      $59,058     $33,762

                                                                          Mitochondrial-encoded immunity in restoring
                                      UNIVERSITY OF SOUTHERN              macrophage homeostasis under age-related
963 F31AG082606   5F31AG082606-02     CALIFORNIA                          metabolic stress                                      RICE, MICHELLE C      Awarded. Fellowships only    2023/08/15   2025/08/14     $96,668      $96,668      $71,473     $48,974

                                      UNIVERSITY OF TEXAS SAN             MMI-T32 Training Pre-doctoral Scientists in Molecular                       Awarded. Non-fellowships
964 T32AI184340   1T32AI184340-01     ANTONIO                             Microbiology and Immunology at UTSA                   CARDONA, ASTRID E     only                         2024/07/05   2029/06/30    $142,599     $142,599      $94,772    $142,599

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                    Awarded. Non-fellowships
965 T32CA009142   5T32CA009142-45     ANGELES                             Molecular Epidemiology Cancer Training Program        ZHANG, ZUO-FENG       only                         1980/07/01   2025/08/31   $1,300,937   $1,300,937   $1,166,832   $302,326

                                                                                                                                                      Awarded. Non-fellowships
966 T32CA009172   5T32CA009172-49     DANA-FARBER CANCER INST             Physician Scientist Training in Cancer Research       DECAPRIO, JAMES A     only                         1978/07/01   2027/06/30   $1,339,313   $1,339,313   $1,281,372   $444,800

                                                                          Bridges to Baccalaureate Research Training                                  Awarded. Non-fellowships
967 T34GM150449   1T34GM150449-01A1   UNIVERSITY OF MEMPHIS               Program at The University of Memphis                  DE JONGH CURRY, AMY L only                         2024/08/01   2029/07/31    $100,039     $100,039       $6,248    $100,039

                                                                          Temporospatial Single-Cell Characterization of
                                                                          Angiogenesis and Myocardial Regeneration in Small
968 F32HL170741   5F32HL170741-02     STANFORD UNIVERSITY                 and Large Mammals                                 ELDE, STEFAN               Awarded. Fellowships only   2023/08/10   2025/08/09    $159,984     $159,984      $67,486     $83,932

                                                                          Innovations in Modeling Existing and Emerging
                                                                          Policies to Improve Warning Systems for Opioid
969 F31DA059253   5F31DA059253-02     YALE UNIVERSITY                     Overdoses                                             RAM, ARCHANA           Awarded. Fellowships only   2023/09/26   2026/09/25     $96,668      $96,668      $58,710     $48,974
970 F31HL170636   5F31HL170636-02     UNIVERSITY OF CINCINNATI            HuR-Wisp1 signaling in cardiac fibroblasts            PARKINS, SHARON       Awarded. Fellowships only    2023/09/30   2025/09/29     $96,640      $96,640      $67,614     $48,960
                                      TEXAS A&M UNIVERSITY HEALTH                                                              MUTHUCHAMY,              Awarded. Non-fellowships
971 T32HL170975   1T32HL170975-01A1   SCIENCE CTR                     LYMphatics in Pathology and Health (LYMPH)               MARIAPPAN                only                        2024/09/01   2029/08/31    $89,436    $89,436    $48,598    $89,436

                                      UNIVERSITY OF MICHIGAN AT ANN   Influence of T-Stellate Cell Input on Sound
972 F31DC021618   5F31DC021618-02     ARBOR                           Processing in the Inferior Colliculus                    HERRERA, YOANI NATALIE Awarded. Fellowships only     2023/09/01   2027/08/31    $83,374    $83,374    $83,374    $42,555

                                                                      Computational drug repurposing for Alzheimers            GRABOWSKA, MONIKA
973 F30AG080885   5F30AG080885-03     VANDERBILT UNIVERSITY           disease                                                  ELIANA                   Awarded. Fellowships only   2022/12/01   2026/11/30   $121,152   $121,152    $78,333    $53,974

                                                                      Using strain history to improve prediction of the
                                      UNIVERSITY OF PITTSBURGH AT     evolution of antimicrobial resistance in
974 F31AI172279   5F31AI172279-02     PITTSBURGH                      Acinetobacter baumannii                                  ROKES, ALECIA BARBARA Awarded. Fellowships only      2023/09/01   2025/08/31    $96,668    $96,668    $51,763    $48,974

                                                                      Altered miRNA Expression Drives Proliferation of
                                      ARKANSAS CHILDREN'S HOSPITAL    Lymphatic Malformation by Activating Pro-Growth
975 F30HL165803   5F30HL165803-02     RES INST                        Signaling Cascades                                       SUN, RAVI                Awarded. Fellowships only   2023/08/25   2027/08/24    $77,356    $77,356    $60,988    $39,354

                                      LOUISIANA STATE UNIV A&M COL
976 F31HL168986   5F31HL168986-02     BATON ROUGE                     NLRP10 Inflamasome in Gram-positive Sepsis               LE, JOHN                 Awarded. Fellowships only   2023/07/01   2026/06/30    $85,552    $85,552    $71,807    $43,416

                                      STATE UNIVERSITY NEW YORK STONY Interpreting Bone Morphogenetic Protein Gradients
977 F31GM150206   5F31GM150206-02     BROOK                           in Vertebrate Development                         TELLO, COURTNEY                 Awarded. Fellowships only   2023/09/23   2025/09/22    $81,274    $81,274    $57,278    $41,277

                                                                      Elevating Indigenous Wellbeing through Assets-
                                                                      Based Prevention Science (ELEVATE) Training                                       Awarded. Non-fellowships
978 T32DA061087   1T32DA061087-01     JOHNS HOPKINS UNIVERSITY        Program                                                  HAROZ, EMILY             only                        2024/07/01   2029/06/30   $167,076   $167,076    $39,334   $167,076

                                                                      Academic Learning Health System Preventions for
                                      WAKE FOREST UNIVERSITY HEALTH   Promoting Health Equity (aLHS-PRE) Predoctoral                                    Awarded. Non-fellowships
979 T32HL175583   1T32HL175583-01     SCIENCES                        Training Program                                         TOOZE, JANET A           only                        2024/08/01   2029/07/31   $279,071   $279,071        $0    $279,071

                                                                      Genetic and Environmental basis of Cancer Risk                                    Awarded. Non-fellowships
980 T32CA282026   1T32CA282026-01A1   STANFORD UNIVERSITY             and Disparities (GECaRD)                                 WITTE, JOHN S            only                        2024/09/01   2029/08/31   $166,428   $166,428    $78,849   $166,428

                                                                                                                                                        Awarded. Non-fellowships
981 T32CA092203   2T32CA092203-21A1   DANA-FARBER CANCER INST         Training in Oncology Population Sciences (TOPS)          MACK, JENNIFER W         only                        2002/09/01   2029/08/31   $573,509   $573,509   $288,477   $573,509

                                                                      Differentiation of memory B cells requires EZH2 and
982 F31AI172377   5F31AI172377-02     EMORY UNIVERSITY                epigenetic remodeling                                    WIGGINS, KEENAN          Awarded. Fellowships only   2023/06/23   2026/06/22    $96,668    $96,668    $65,564    $48,974

                                                                      Undergraduate and Graduate Training in                                            Awarded. Non-fellowships
983 T90DA059112   5T90DA059112-02     BRANDEIS UNIVERSITY             Computational Neuroscience and Data Analysis             MILLER, PAUL             only                        2023/09/15   2028/06/30   $438,006   $438,006   $344,056   $222,768

                                                                      Targeting Nonsense-Mediated RNA Decay in
984 F31CA284751   5F31CA284751-02     WASHINGTON UNIVERSITY           Splicing Factor Mutant Myeloid Malignancies.             CABRERA, CLAUDIA         Awarded. Fellowships only   2023/09/01   2025/08/31    $68,572    $68,572    $53,077    $34,926

                                                                      Metabolic Obesity Phenotypes and Obesity-related
985 F30CA278348   5F30CA278348-02     UNIVERSITY OF UTAH              Cancer Survival                                  WINN, MACI                       Awarded. Fellowships only   2023/12/01   2027/11/30    $89,820    $89,820    $69,286    $53,974

                                                                      Interdisciplinary Training in Computational                                       Awarded. Non-fellowships
986 T90DA060116   5T90DA060116-02     CARNEGIE-MELLON UNIVERSITY      Neuroscience                                             CHASE, STEVEN M          only                        2023/09/15   2028/06/30   $438,006   $438,006   $309,407   $222,768

                                                                      The Role of H3K79 Methylation and Dot1L in
                                                                      Neuronal Function and Neurodevelopmental
987 F31NS129242   5F31NS129242-02     UNIVERSITY OF PENNSYLVANIA      Disorders                                                MARONI, MARISSA          Awarded. Fellowships only   2023/09/01   2025/09/30    $84,345    $84,345    $74,002    $36,651

                                                                      Mechanisms of microRNA dysregulation in Fragile X
988 F32MH135636   5F32MH135636-02     EMORY UNIVERSITY                Syndrome                                                 KOSTI, ADAM              Awarded. Fellowships only   2023/09/13   2026/09/12   $146,256   $146,256   $110,952    $76,756

                                                                      Identifying Facilitators and Barriers to Home Dialysis
                                      UNIVERSITY OF CALIFORNIA, SAN   and Living Donor Kidney Transplantation among
989 F32DK137551   5F32DK137551-02     FRANCISCO                       Adolescents and Young Adults                             BICKI, ALEXANDRA         Awarded. Fellowships only   2024/04/01   2026/03/31   $180,016   $180,016    $90,528    $89,488

                                                                      Transposon control as a checkpoint during
990 F32EY034778   5F32EY034778-02     CORNELL UNIVERSITY              regeneration                                             ANGILERI, KRISTA MARIE   Awarded. Fellowships only   2023/12/01   2026/11/30   $150,684   $150,684    $83,792    $78,892

                                                                      The adaptive host response to latent
991 F30AI155292   5F30AI155292-04     UNIVERSITY OF MINNESOTA         cryptococcosis                                           DING, MINNA              Awarded. Fellowships only   2021/11/01   2025/10/31   $164,357   $164,357   $135,815    $33,642
                                                                       Targeting Metabolic Vulnerabilities with Synergistic
                                                                       Therapeutic Agents for Treatment of Metastatic          HACKMAN, GABRELLE
 992 F31CA275318    5F31CA275318-02   UNIVERSITY OF TEXAS AT AUSTIN    Castration-Resistant Prostate Cancer.                   LAVENDER                Awarded. Fellowships only   2023/08/21   2026/08/20     $77,798      $77,798      $63,944     $39,539

                                      OREGON HEALTH & SCIENCE          Genetic analysis of the Robo3+ glycinergic
 993 F31EY035538    5F31EY035538-02   UNIVERSITY                       amacrine cell                                           MENN, ARIELLE           Awarded. Fellowships only   2023/09/15   2026/09/14    $102,168     $102,168      $73,378     $51,974

                                                                   Neural mechanisms of semantic guidance of
 994 F31EY034030    5F31EY034030-03   GEORGE WASHINGTON UNIVERSITY audiovisual attention                                       WEGNER-CLEMENS, KIRA    Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $105,621     $48,974
 995 F31HD105407    5F31HD105407-04   JOHNS HOPKINS UNIVERSITY         Molecular Mechanisms of Leydig Cell Regeneration JEFFERY, JASMIN LAKIA          Awarded. Fellowships only   2021/08/01   2025/07/31    $189,456     $189,456     $178,493     $48,974

                                                                                                                               KONTROGIANNI-
                                      UNIVERSITY OF MARYLAND                                                                   KONSTANTOPOULOS,        Awarded. Non-fellowships
 996 T32AR007592    5T32AR007592-29   BALTIMORE                        Interdisciplinary Training Program in Muscle Biology    AIKATERINI              only                        1996/05/01   2026/08/31   $1,797,825   $1,797,825   $1,280,616   $290,339

                                                                       Translational Research in Alzheimers Disease and                                Awarded. Non-fellowships
 997 T32AG082631    5T32AG082631-02   UNIVERSITY OF ARIZONA            related Dementias (TRADD)                               BRINTON, ROBERTA EILEEN only                        2023/09/01   2028/08/31    $600,213     $600,213     $553,200    $305,754

                                                                       Stress Granule Formation in the Antiretroviral-
                                                                       Mediated Dysregulation of Oligodendrocyte               VON KRUSENSTIERN,
 998 F31MH134723    5F31MH134723-02   UNIVERSITY OF PENNSYLVANIA       Maturation in HIV-HAND                                  ELIANA VERA             Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $90,837     $48,974

                                                                    The Hawaii Advanced Training in Artificial
                                                                    Intelligence for Precision Nutrition Science Research                              Awarded. Non-fellowships
 999 T32DK137523    5T32DK137523-02   UNIVERSITY OF HAWAII AT MANOA (AIPrN)                                               DENG, YOUPING                only                        2023/09/01   2028/08/31    $775,906     $775,906     $313,008    $465,779

                                      UNIVERSITY OF MICHIGAN AT ANN    Deciphering the functional role of recurrent            HAANEN, TERRANCE
1,000 F31CA271463   5F31CA271463-02   ARBOR                            PPP2R1A mutations on endometrial metastasis             JAMES                   Awarded. Fellowships only   2023/09/01   2026/08/31     $82,928      $82,928      $59,365     $42,114

                                      MASSACHUSETTS INSTITUTE OF       Enzymatic Mechanism of Polysaccharide Length
1,001 F31GM148069   5F31GM148069-03   TECHNOLOGY                       Control by GlfT2                                        CARTER, ALAN WYLDE      Awarded. Fellowships only   2022/08/18   2025/08/17    $143,420     $143,420     $102,306     $48,974

                                                                       A novel mechanism of mitochondrial protein
                                                                       turnover in Complex I deficient mitochondrial           CVRTI, SANDRA
1,002 F30HL165806   5F30HL165806-03   UNIVERSITY OF UTAH               cardiomyopathy                                          HYUNJOO                 Awarded. Fellowships only   2022/09/30   2027/09/29    $114,839     $114,839     $103,768     $39,447

                                                                        Hypertension and Cardiorenal Diseases Research                                 Awarded. Non-fellowships
1,003 T32HL105324   5T32HL105324-15   UNIVERSITY OF MISSISSIPPI MED CTR Training Program                                       GRANGER, JOEY P         only                        2010/09/20   2025/08/31   $2,528,778   $2,528,778   $2,409,431   $624,981

                                                                       Investigating thrombocytopenia absent radius
                                                                       syndrome during primitive and definitive
                                                                       hematopoiesis using an induced pluripotent stem
1,004 F31HL165833   5F31HL165833-03   UNIVERSITY OF PENNSYLVANIA       cell model                                              NATIONS, CATRIANA       Awarded. Fellowships only   2022/09/01   2025/08/31    $131,182     $131,182     $117,938     $36,736

                                                                       Investigating the cellular and molecular
                                      UNIVERSITY OF CALIFORNIA AT      mechanisms of lower-chlorinated polychlorinated
1,005 F31ES035282   5F31ES035282-02   DAVIS                            biphenyl developmental neurotoxicity                    BADLEY, JESSIE RENEE    Awarded. Fellowships only   2023/09/30   2025/09/29     $81,856      $81,856      $62,790     $41,568

                                                                       Molecular engineering and systematic evaluation
                                                                       of bispecific aptamers to develop potent and
                                      UNIVERSITY OF MISSOURI-          efficacious therapies for the immunomodulation of
1,006 F30CA275349   5F30CA275349-02   COLUMBIA                         Non-Small Cell Lung Cancer                              THOMAS, BRIAN J         Awarded. Fellowships only   2023/08/21   2027/08/20     $68,036      $68,036      $51,752     $34,658

                                                                                                                               MELTON, ALLISON
1,007 F31NS134125   5F31NS134125-02   BAYLOR COLLEGE OF MEDICINE       Role of TRIM46 in neuronal polarity in vivo             JACQUELINE              Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $83,713     $48,974

                                      UNIVERSITY OF CALIFORNIA, SAN    Multidisciplinary Research Training in Pediatric                                Awarded. Non-fellowships
1,008 T32HL160508   5T32HL160508-03   FRANCISCO                        Pulmonary Vascular Disease                              FINEMAN, JEFFREY R      only                        2022/08/01   2027/07/31   $1,122,022   $1,122,022    $795,895    $387,294

                                                                       Training OPportunites in Translational Imaging                                  Awarded. Non-fellowships
1,009 T32EB021955   5T32EB021955-08   WASHINGTON UNIVERSITY            Education and Research (TOP-TIER)                       WOODARD, PAMELA K       only                        2017/08/07   2027/07/31    $747,527     $747,527     $663,729    $249,428

                                                                       Defining a role for the mitochondrial protein sulfite   SUTTON, EMILY
1,010 F32GM151792   5F32GM151792-02   YALE UNIVERSITY                  oxidase in nucleolar ribosome biogenesis                CATHERINE               Awarded. Fellowships only   2023/09/01   2025/08/31    $146,256     $146,256     $114,109     $76,756

                                      NORTHWESTERN UNIVERSITY AT       Viral miRNA Essentiality in Primary Effusion
1,011 F31AI183996   1F31AI183996-01   CHICAGO                          Lymphoma                                                ORTEGA, JESUS ANGEL     Awarded. Fellowships only   2024/06/01   2027/05/31     $44,187      $44,187      $32,908     $44,187
                                                                      m6A Modification of HIV RNA Affects its Post-
1,012 F31AI183967   1F31AI183967-01   CASE WESTERN RESERVE UNIVERSITY transcriptional Processing                             HONEYCUTT, ETHAN        Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $19,816     $48,974

                                      UNIVERSITY OF CALIFORNIA AT       Investigating the connection between aberrant R-
1,013 F32GM151833   5F32GM151833-02   DAVIS                             loop formation and genome instability                VIERA, TALYSA C         Awarded. Fellowships only   2023/09/01   2025/08/31    $146,256     $146,256     $119,583     $76,756

                                                                        Evaluating autophagy modulation as a therapeutic
                                      UNIVERSITY OF ILLINOIS AT         strategy for Alzheimers Disease using human
1,014 F30AG081091   5F30AG081091-02   CHICAGO                           neuronal culture models                          SNEAD, AMANDA               Awarded. Fellowships only   2023/08/16   2027/08/15    $106,668     $106,668      $96,122     $53,974

                                                                                                                          NATHANSON, KATHERINE       Awarded. Non-fellowships
1,015 T32HG009495   5T32HG009495-08   UNIVERSITY OF PENNSYLVANIA        Postdoctoral Training Program in Genomic Medicine L                          only                        2017/07/21   2027/06/30   $1,228,129   $1,228,129   $1,285,112   $426,083

                                                                        Mechanisms underlying a decline in neural stem cell
1,016 F30AG077799   5F30AG077799-02   STANFORD UNIVERSITY               migration during aging                              ZHOU, OLIVIA YU          Awarded. Fellowships only   2023/09/15   2026/12/14     $81,616      $81,616      $63,880     $41,448

                                                                        Short-term biomedical research training program for HEGG, COLLEEN            Awarded. Non-fellowships
1,017 T35OD016477   5T35OD016477-22   MICHIGAN STATE UNIVERSITY         veterinary students                                 COSGROVE                 only                        2013/04/01   2028/08/31    $226,313     $226,313     $116,366    $111,833

                                      UNIVERSITY OF MICHIGAN AT ANN     University of Michigan Surgical Oncology Research                            Awarded. Non-fellowships
1,018 T32CA009672   5T32CA009672-33   ARBOR                             Training Program                                     ZOU, WEIPING            only                        1991/07/01   2027/07/31    $781,444     $781,444     $631,440    $257,366

                                                                        Prenatal Epigenetics: Trauma and Outcomes of
1,019 F31NR020847   5F31NR020847-02   EMORY UNIVERSITY                  Labor Dysfunction                                    BRITT, ABBY             Awarded. Fellowships only   2023/08/18   2025/08/17     $96,668      $96,668      $72,987     $48,974

                                                                        Cardiovascular and Chronic Disease Prevention        GARDNER, CHRISTOPHER Awarded. Non-fellowships
1,020 T32HL161270   5T32HL161270-03   STANFORD UNIVERSITY               Training Program                                     D                    only                           2022/09/01   2027/08/31   $1,447,438   $1,447,438   $1,062,343   $586,580

                                      SLOAN-KETTERING INST CAN          Clinical Scholars Biomedical Research Training                               Awarded. Non-fellowships
1,021 T32CA009512   5T32CA009512-35   RESEARCH                          Program                                              CHI, PING               only                        1985/02/01   2028/08/31    $512,045     $512,045     $436,527    $149,428

                                                                      Computational Genomic Epidemiology of Cancer                                   Awarded. Non-fellowships
1,022 T32CA094186   5T32CA094186-22   CASE WESTERN RESERVE UNIVERSITY (CoGEC) Training Program                               XU, RONG                only                        2017/08/01   2028/08/31    $526,618     $526,618     $337,609    $227,204

                                                                        Defining the changing microbiome composition
                                                                        and host-microbe mechanistic effects following
                                                                        Apc inactivation during colorectal cancer
1,023 F31CA284760   5F31CA284760-02   JOHNS HOPKINS UNIVERSITY          pathogenesis                                         DZIEROZYNSKI, LINDSEY   Awarded. Fellowships only   2023/09/16   2026/09/15     $96,668      $96,668      $80,226     $48,974

                                      UNIVERSITY OF ILLINOIS AT                                                                                      Awarded. Non-fellowships
1,024 T32HL007829   5T32HL007829-31   CHICAGO                           Training Program in Lung Biology and Pathobiology    MEHTA, DOLLY            only                        1995/07/01   2025/07/31   $3,793,362   $3,793,362   $3,261,810   $655,808

                                      CLEVELAND CLINIC LERNER COM-      Supporting Multidisciplinary Achievement in                                  Awarded. Non-fellowships
1,025 T32HL155005   5T32HL155005-04   CWRU                              Respiratory Research Training (SMARRT)               DWEIK, RAED A           only                        2021/07/01   2026/06/30   $1,237,951   $1,237,951    $978,743    $361,755

                                                                                                                                                     Awarded. Non-fellowships
1,026 T32HL149637   5T32HL149637-05   OHIO STATE UNIVERSITY             Postdoctoral Training in Cardiometabolic Science     HSUEH, WILLA A          only                        2020/09/01   2025/08/31   $1,508,073   $1,508,073   $1,222,825   $206,693

                                      UNIVERSITY OF CALIFORNIA LOS      Development of excited-state bond homolysis as a
1,027 F32GM151836   5F32GM151836-02   ANGELES                           key step for Ni catalysis                            CUSUMANO, ALEXANDER Awarded. Fellowships only       2023/09/01   2026/08/31    $142,968     $142,968     $113,325     $74,284

                                                                                                                                                     Awarded. Non-fellowships
1,028 T32AG000029   5T32AG000029-48   DUKE UNIVERSITY                   Behavior and Physiology in Aging                     COHEN, HARVEY JAY       only                        1984/07/01   2025/08/31   $2,022,408   $2,022,408   $1,572,784   $213,752

                                                                        Identifying the contribution of a brainstem circuit to
1,029 F32DK135401   5F32DK135401-02   UNIVERSITY OF PENNSYLVANIA        compulsive food seeking                                SMITH, NICHOLAS K     Awarded. Fellowships only   2023/08/01   2025/07/31    $146,364     $146,364     $126,820     $74,284

                                      OREGON HEALTH & SCIENCE           Mechanisms of Neoplastic Hybrid Cell Dissemination ANDERSON, ASHLEY
1,030 F31CA271676   5F31CA271676-03   UNIVERSITY                        in Colorectal Cancer                               NICOLE                    Awarded. Fellowships only   2022/09/08   2026/09/07    $123,198     $123,198      $93,726     $44,206

                                      UNIVERSITY OF CALIFORNIA, SAN     UCSD Cancer Center Training Program in Drug                                  Awarded. Non-fellowships
1,031 T32CA121938   5T32CA121938-18   DIEGO                             Development                                          BOUVET, MICHAEL         only                        2006/07/01   2027/06/30   $1,976,459   $1,976,459   $1,304,510   $660,886

                                                                        Resolving the role of VTA dopamine and GABA
1,032 F31DA060069   5F31DA060069-02   UNIVERSITY OF MINNESOTA           neurons in associative learning                      STELZNER, MARGARET E    Awarded. Fellowships only   2023/09/01   2026/05/31     $71,186      $71,186      $62,368     $36,233

                                      UNIVERSITY OF CALIFORNIA AT                                                                                    Awarded. Non-fellowships
1,033 T32CA251007   5T32CA251007-05   DAVIS                             UC Davis Comparative Oncology Training Program       CHEN, XINBIN            only                        2020/09/01   2025/08/31   $1,616,911   $1,616,911   $1,171,089   $124,734

                                                                        Proximal Tubule Targeted Gene Therapy for
1,034 F30DK134046   5F30DK134046-03   VANDERBILT UNIVERSITY             Cystinuria                                           PEEK, JENNIFER          Awarded. Fellowships only   2022/09/01   2026/08/31    $118,101     $118,101      $86,780     $53,351
                                                                         The Clinical Translational Research Certificate of      VAN DEN VEYVER,        Awarded. Non-fellowships
1,035 T32GM136554   5T32GM136554-05     BAYLOR COLLEGE OF MEDICINE       Added Qualification Program                             IGNATIA B              only                        2020/07/01   2025/06/30   $2,120,422   $2,120,422   $2,007,866   $403,158

                                                                         Spatial regulation of mechanistic target of
                                        UNIVERSITY OF CALIFORNIA, SAN    rapamycin complex 1 (mTORC1) and its role in oral
1,036 F31DE032886   5F31DE032886-02     DIEGO                            squamous cell carcinoma                                 SAHAN, AYSE ZISAN      Awarded. Fellowships only   2023/09/01   2025/08/31     $85,158      $85,158      $71,990     $43,669

                                        BOSTON UNIVERSITY MEDICAL        The role of Zhx2 in CYP2D regulation, oxycodone
1,037 F31DA056217   5F31DA056217-02     CAMPUS                           metabolism, and opioid addiction model behaviors. LYNCH, WILLIAM               Awarded. Fellowships only   2023/08/08   2026/07/31     $96,668      $96,668      $45,429     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN    Short Term Biomedical Research Training Program                                Awarded. Non-fellowships
1,038 T35HL007690   5T35HL007690-40     ARBOR                            for Students                                            FLAHERTY, KEVIN R      only                        1980/05/01   2025/08/31    $732,738     $732,738     $834,854    $102,276

                                                                         Localized mitochondrial metabolic activity in
                                                                         Xenopus mesendoderm cells undergoing collective PACHECO, GUSTAVO
1,039 F30HD111307   5F30HD111307-02     UNIVERSITY OF VIRGINIA           cell migration                                  GAVREL                         Awarded. Fellowships only   2023/09/01   2027/11/15     $74,394      $74,394      $55,230     $37,837

                                                                         Identifying the Neural Substrates of Novelty-Related DYKSTRA, BENJAMIN
1,040 F31MH135662   1F31MH135662-01A1   EMORY UNIVERSITY                 Social Investigation                                 FORREST                   Awarded. Fellowships only   2024/06/01   2027/05/31     $48,974      $48,974      $35,916     $48,974

                                                                         Cell autonomous and cell non-autonomous roles for
                                        UNIVERSITY OF SOUTHERN           mitochondrial proline catabolism in health and
1,041 F31AG090069   1F31AG090069-01     CALIFORNIA                       longevity                                         RAMOS, MARIA CARMEN Awarded. Fellowships only            2024/08/01   2026/07/31     $42,014      $42,014      $27,328     $42,014

                                        HARVARD SCHOOL OF PUBLIC         Investigating the role of apoptosis regulation in       FLORIDO, MARY HEATHER
1,042 F31CA275321   5F31CA275321-03     HEALTH                           cancer therapy-induced vascular toxicities              CELINE                Awarded. Fellowships only    2022/12/01   2025/11/30    $115,520     $115,520      $89,309     $35,183

                                                                         Cortical and subcortical dynamics in the central
1,043 F31DC022190   1F31DC022190-01     JOHNS HOPKINS UNIVERSITY         auditory system across learning and overtraining        KIM, SU JIN            Awarded. Fellowships only   2024/08/16   2027/12/14     $48,974      $48,974      $40,316     $48,974

                                        PENNSYLVANIA STATE UNIVERSITY,   The Role of Thromboxane A2 in Vascular Regulation
1,044 F31HL170616   5F31HL170616-02     THE                              in Women with Endometriosis                       WILLIAMS, AUNI               Awarded. Fellowships only   2023/09/01   2025/08/31     $95,238      $95,238      $68,155     $48,259

                                        OREGON HEALTH & SCIENCE          Investigating the role of cannabinoid receptors in
1,045 F31NS130898   5F31NS130898-03     UNIVERSITY                       oligodendrocyte development                             MIRAMONTES, TANIA G    Awarded. Fellowships only   2023/02/01   2025/12/31    $143,290     $143,290     $102,562     $46,622

                                                                         The effect of aging and cognitive impairment on
                                                                         prefrontal cortical inputs to motor cortical outputs    MASON, CATHERINE
1,046 F31AG081129   5F31AG081129-03     EMORY UNIVERSITY                 during standing balance control                         FRANCOISE              Awarded. Fellowships only   2023/01/01   2026/12/31    $145,642     $145,642     $116,548     $48,974

                                        UNIVERSITY OF OKLAHOMA HLTH      Early-Stage Autoimmunity in Sjögrens Disease and
1,047 F31DE034904   1F31DE034904-01     SCIENCES CTR                     Systemic Lupus Erythematosus                            WOOD, REBECCA ADEN     Awarded. Fellowships only   2024/08/01   2028/07/31     $36,806      $36,806      $18,816     $36,806

                                                                         Investigating tRNA biology as a prognostic and
1,048 F30CA284534   5F30CA284534-02     JOHNS HOPKINS UNIVERSITY         oncogenic feature in pancreatic adenocarcinoma KAWALERSKI, RYAN                Awarded. Fellowships only   2023/09/01   2026/08/31    $106,668     $106,668     $106,668     $53,974

                                        PENNSYLVANIA STATE UNIVERSITY,   Elucidating the Role of Cobalamin in BchE, a B12-
1,049 F32GM149173   5F32GM149173-02     THE                              Binding Radical SAM Enzyme                              YORK, NICHOLAS JAMES   Awarded. Fellowships only   2023/11/01   2025/10/31    $146,256     $146,256      $97,449     $76,756

                                                                         Elucidating RNA determinants for reovirus
1,050 F31AI186483   1F31AI186483-01     VANDERBILT UNIVERSITY            packaging                                               FLORES, ALEJANDRA      Awarded. Fellowships only   2024/08/01   2025/07/31     $34,370      $34,370      $24,022     $34,370

                                                                         Elucidating the roles of AMPylation and TGF-Beta
                                        UNIVERSITY OF MICHIGAN AT ANN    signaling on eliciting the pro-health and longevity
1,051 F31AG085891   1F31AG085891-01A1   ARBOR                            benefits of dietary restriction                         URBAN, NICHOLAS DAVID Awarded. Fellowships only    2024/08/01   2025/07/31     $42,094      $42,094      $32,082     $42,094

                                        UNIVERSITY OF ALABAMA AT         Biofilm antigens drive natural immunity to
1,052 F31AI186511   1F31AI186511-01     BIRMINGHAM                       Streptococcus pneumoniae.                               LANE, JESSICA R        Awarded. Fellowships only   2024/08/01   2026/07/31     $42,604      $42,604      $18,108     $42,604

                                                                         Illuminating the distribution of extreme evolutionary
                                                                         constraint in the human genome from fetal demise
1,053 F31HD111109   5F31HD111109-03     HARVARD MEDICAL SCHOOL           to severe developmental disorders                       WANG, LILY             Awarded. Fellowships only   2023/01/01   2025/12/31    $120,010     $120,010      $95,959     $36,796

                                        UNIVERSITY OF PITTSBURGH AT      The role of meningeal immune cells in the efficacy
1,054 F31NS129207   5F31NS129207-03     PITTSBURGH                       of CGRP-based migraine therapies                        ADI, TALIA             Awarded. Fellowships only   2023/01/01   2025/12/31    $145,642     $145,642     $122,854     $48,974

                                        MASSACHUSETTS GENERAL                                                                                           Awarded. Non-fellowships
1,055 T32DK007191   3T32DK007191-50S1   HOSPITAL                         Research Training in Digestive Diseases                 CHUNG, RAYMOND T       only                        1976/07/01   2026/06/30   $2,881,305   $2,881,305   $2,490,154    $99,227
                                                                          Expedited Assessment of Environment-induced
                                                                          Respiratory Ciliopathies Leveraging Motile Apical-
1,056 F31HL176100   1F31HL176100-01     CARNEGIE-MELLON UNIVERSITY        out Airway Organoids                                 BHATTARAM, DHRUV       Awarded. Fellowships only   2024/12/01   2027/11/30    $48,974    $48,974    $15,507    $48,974

                                        UNIV OF NORTH CAROLINA            Variability in the Perinatal Hormone Environment     DELAHANTY, MICHELLE
1,057 F31HD116585   1F31HD116585-01     CHAPEL HILL                       and Risk of Autism Spectrum Disorder                 TERESE                 Awarded. Fellowships only   2024/08/15   2026/08/14    $41,136    $41,136    $29,658    $41,136

                                                                        JAK2V617F transactivation of JAK1 mediates             WADLEY, WILLIAM LUCAS
1,058 F31HL176174   1F31HL176174-01     UNIVERSITY OF CALIFORNIA-IRVINE constitutive activation of IL-10R signaling            PAREDES               Awarded. Fellowships only    2025/01/01   2027/12/31    $41,539    $41,539    $22,080    $41,539

                                                                          Pulmonary and Critical Care Medicine Research                               Awarded. Non-fellowships
1,059 T32HL007287   2T32HL007287-46A1   UNIVERSITY OF WASHINGTON          Training Grant                                       GLENNY, ROBB W         only                        1994/07/01   2030/01/31   $766,374   $766,374    $13,743   $766,374

                                        UNIVERSITY OF CALIFORNIA SANTA How ribosomal silencing promotes chronic infection
1,060 F31AI176804   1F31AI176804-01A1   CRUZ                           of the gastric pathogen Helicobacter pylori        ELSHENAWI, YASMINE          Awarded. Fellowships only   2024/07/29   2025/07/28    $41,873    $41,873    $41,866    $41,873

                                        NEW YORK UNIVERSITY SCHOOL OF Investigating the role of TBC1D19 in microtubule
1,061 F31GM156062   1F31GM156062-01     MEDICINE                      dynamics, ciliation and organelle morphology             COLLADO, LOREN         Awarded. Fellowships only   2024/07/01   2027/06/30    $48,974    $48,974    $39,018    $48,974

                                                                          Discovering the Consequences of Genetic Variation
                                                                          in Nephrin on Kidney Diseases and Traits in Biobank
1,062 F32DK141214   1F32DK141214-01     BOSTON CHILDREN'S HOSPITAL        Populations                                         BANERJI, ADRIAN OLAF    Awarded. Fellowships only   2024/07/17   2026/07/16    $87,064    $87,064    $58,531    $87,064

                                        NORTHWESTERN UNIVERSITY AT        The role of ER-phagy in maintaining protein
1,063 F31NS131055   5F31NS131055-03     CHICAGO                           homeostasis in PD patient derived neurons.           ZALON, ANNIE           Awarded. Fellowships only   2023/01/01   2025/12/31   $145,642   $145,642   $107,667    $48,974

                                                                      Investigating the epidermal microenvironment in
                                        RUTGERS BIOMEDICAL AND HEALTH melanoblast migration and invasion: a novel
1,064 F30AR081690   5F30AR081690-04     SCIENCES                      approach to understanding invasive melanoma              RICHARDS, DENAY        Awarded. Fellowships only   2023/01/01   2027/12/31   $159,500   $138,367    $84,393    $53,974

                                                                          Identifying the Neurophysiological Phenotypes that
                                        UNIV OF NORTH CAROLINA            Contribute to Alcohol-Related Blackout
1,065 F31AA031424   1F31AA031424-01A1   CHAPEL HILL                       Susceptibility                                       ELLIOTT, GRACE MAE     Awarded. Fellowships only   2024/09/01   2027/08/31    $40,441    $40,441    $36,305    $40,441

                                                                          Development and characterization of self-
                                        BOSTON UNIVERSITY (CHARLES        amplifying RNA Lipid Nanoparticles for potent and    NAMBIAR, ARUN
1,066 F31CA295073   1F31CA295073-01     RIVER CAMPUS)                     multiplex gene expression in solid tumors            KANNOTH                Awarded. Fellowships only   2024/07/01   2027/06/30    $40,671    $40,671    $21,168    $40,671

                                                                          Interaction of Genetic and Environmental Factors in
1,067 F31EY036722   1F31EY036722-01     AUGUSTA UNIVERSITY                Keratoconus                                         HADVINA, RACHEL         Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $21,060    $48,974

                                                                          Mechanisms of perivascular melanoma dispersal
1,068 F30CA268842   5F30CA268842-04     UNIVERSITY OF VIRGINIA            and survival in the brain                            WANG, SARAH C          Awarded. Fellowships only   2022/01/01   2025/12/31   $179,668   $179,668   $143,730    $53,974

                                                                          Interrogating Dynamic Regulation of Pre-Synaptic
1,069 F32NS131266   5F32NS131266-02     YALE UNIVERSITY                   Release Probability In Vivo                          PATEL, PARAS           Awarded. Fellowships only   2023/12/01   2026/07/31   $151,736   $151,736    $93,041    $73,828

                                        UNIVERSITY OF CALIFORNIA          Catalyst- and Reagent-Guided Selective Alkyl C-H     D'ANGELO, KYAN
1,070 F32GM146425   5F32GM146425-03     BERKELEY                          Bond Functionalization                               ANTHONY                Awarded. Fellowships only   2023/02/15   2026/02/14   $220,120   $220,120   $159,208    $76,756

                                                                          CD8+ TRM Development and Maintenance in the
1,071 F31HL176090   1F31HL176090-01     EMORY UNIVERSITY                  Upper Respiratory Tract                              KOST, KIRSTEN          Awarded. Fellowships only   2024/08/15   2026/08/14    $48,974    $48,974    $33,150    $48,974
1,072 F31AI186509   1F31AI186509-01     JOHNS HOPKINS UNIVERSITY          Modeling Hfq-RNA Dynamics on an Atomistic Scale WHITE, ELISE                Awarded. Fellowships only   2025/01/17   2029/02/16    $48,974    $48,974    $18,200    $48,974

                                                                          Combinatorial control of TLR signaling using self-
                                        UNIV OF MARYLAND, COLLEGE         assembly of immune signals on microneedle arrays     EDWARDS, CAMILLA
1,073 F31AI176844   5F31AI176844-02     PARK                              to access the skin niche                             MARIE                  Awarded. Fellowships only   2024/01/01   2025/05/31    $56,475    $56,475    $41,584    $15,620

                                        WEILL MEDICAL COLL OF CORNELL Dissecting the role of serine metabolism in stem cell    NOVAK, JESSE STEPHEN
1,074 F30HD107964   5F30HD107964-04     UNIV                          fate and tissue regeneration                             SWYER                  Awarded. Fellowships only   2021/10/01   2025/09/30   $210,398   $210,398   $148,804    $53,974

                                        UNIVERSITY OF ALABAMA AT          Ontogeny and differentiation of uterine natural killer GREENE, MORGAN
1,075 F31HD114429   5F31HD114429-02     BIRMINGHAM                        cells                                                  ELIZABETH-CAROLYN    Awarded. Fellowships only   2024/01/01   2027/12/31    $83,978    $83,978    $58,054    $42,629

                                        UNIVERSITY OF COLORADO            Synaptopodin and its role in Shigella flexneri
1,076 F32AI186544   1F32AI186544-01     DENVER                            intercellular spread                                 HAMILTON, DESMOND J    Awarded. Fellowships only   2024/08/01   2027/07/31    $76,328    $76,328    $48,570    $76,328
1,077 F31DE034303   1F31DE034303-01     UNIVERSITY OF FLORIDA             Role of FOXK subfamily in KSHV infection             PALMER, MARLEY         Awarded. Fellowships only   2024/08/16   2027/08/15    $44,982    $44,982    $27,810    $44,982
                                        WESTERN MICHIGAN UNIV SCHOOL Sex Specific Regulation of B1 B Cell Self-Renewal
1,078 F32AI174673   5F32AI174673-02     OF MEDICINE                  and Natural Antibody Production                            WEBSTER, SARAH E       Awarded. Fellowships only   2023/09/01   2026/08/31    $143,164     $143,164     $108,785     $74,084

                                                                         Astrocytes mediate priming of spinal nociceptive
1,079 F31NS135754   5F31NS135754-02     UNIVERSITY OF CINCINNATI         circuits                                               YOO, JUDY JOONHI       Awarded. Fellowships only   2024/01/11   2026/01/10     $84,643      $84,643      $53,311     $42,460

                                                                         Effects of Heat Exposure on Maternal and
                                        UNIVERSITY OF MIAMI CORAL        Pregnancy Health: Understanding the Role of Social
1,080 F31NR021341   1F31NR021341-01     GABLES                           Determinants and Adaptive Behaviors                RAMIREZ, JAZMIN            Awarded. Fellowships only   2024/07/15   2027/04/01     $45,916      $45,916      $23,870     $45,916

                                                                         Unexpected mechanism underlying mislocalization
                                        UT SOUTHWESTERN MEDICAL          of thrombocytopenia-associated ETV6 point
1,081 F30HL167629   5F30HL167629-03     CENTER                           mutation                                               MCCONVILLE, MICHAEL R Awarded. Fellowships only    2023/01/31   2026/01/30    $125,655     $125,655      $77,301     $46,839

                                                                         Randomized controlled trial of a single-session
                                                                         mechanism-focused intervention for suicidal            FRUHBAUEROVA,
1,082 F31MH135623   1F31MH135623-01A1   UNIVERSITY OF KENTUCKY           thoughts and behaviors                                 MARTINA                Awarded. Fellowships only   2024/07/28   2026/07/27     $48,974      $48,974      $34,529     $48,974

                                                                         The role of cortactin-mediated actin branch
1,083 F32GM156029   1F32GM156029-01     UNIVERSITY OF OREGON             stabilization in force-producing actin networks        BILLS, BRODERICK       Awarded. Fellowships only   2024/09/01   2027/08/31     $73,828      $73,828      $42,614     $73,828

                                        UNIVERSITY OF CALIFORNIA LOS                                                            FLORES, ANGELINA
1,084 F31CA288105   1F31CA288105-01A1   ANGELES                          Defining the role of NUDT5 in ovarian cancer           MARYBELLE              Awarded. Fellowships only   2024/08/16   2027/08/15     $45,643      $45,643      $32,317     $45,643

                                                                         A Novel Technology for Full-Length Gene
                                        SALK INSTITUTE FOR BIOLOGICAL    Replacement Therapy of Duchenne Muscular
1,085 F30HD106732   5F30HD106732-04     STUDIES                          Dystrophy                                              HSU, RYAN HON HEAN     Awarded. Fellowships only   2022/02/01   2026/01/13    $187,990     $187,990     $136,176     $48,980

                                                                         High spatial resolution evaluation of subclinical
                                        UNIVERSITY OF CALIFORNIA, SAN    regions of myocardial dysfunction in adult patients
1,086 F31HL165881   5F31HL165881-02     DIEGO                            with tetralogy of Fallot                               CRAINE, AMANDA         Awarded. Fellowships only   2023/09/01   2025/08/31     $82,658      $82,658      $54,655     $41,969

                                                                        Deep Learning-based retinal optical coherence
1,087 F30EY036725   1F30EY036725-01     UNIVERSITY OF CALIFORNIA-IRVINE tomography markers for optic neuropathies               KHOSRAVI, POOYA        Awarded. Fellowships only   2024/07/11   2029/07/10     $44,850      $44,850      $21,896     $44,850

                                        COLUMBIA UNIVERSITY HEALTH       Engineering a strategy for the preservation and        CORDOVES, ELIZABETH
1,088 F30HL174098   1F30HL174098-01A1   SCIENCES                         rehabilitation of living allogenic heart valves        MARIE                  Awarded. Fellowships only   2024/09/15   2027/09/14     $50,937      $50,937           $0     $50,937

                                        UNIV OF NORTH CAROLINA           The Effects of Ozone-Induced Oxysterols on
1,089 F32HL176084   1F32HL176084-01     CHAPEL HILL                      Thrombotic Risk                                        DOBSON, DREVON A       Awarded. Fellowships only   2024/09/11   2026/06/11     $73,828      $73,828      $36,662     $73,828

                                                                         Social Health Factors Associated with the Transition
1,090 F31AR084911   1F31AR084911-01     DUKE UNIVERSITY                  from Acute to Chronic Low Back Pain                    BURKE, COLLEEN         Awarded. Fellowships only   2024/09/06   2027/09/05     $48,974      $48,974      $31,607     $48,974

                                                                                                                                JAGANNATHAN,           Awarded. Non-fellowships
1,091 T32AI007502   5T32AI007502-29     STANFORD UNIVERSITY              Applied Genomics in Infectious Diseases                PRASANNA               only                        1995/08/01   2027/02/28   $1,262,041   $1,262,041    $903,248    $345,463

                                        UNIVERSITY OF MIAMI SCHOOL OF    Mitochondrial mRNA structure as a driver of Leigh
1,092 F30HD107939   5F30HD107939-04     MEDICINE                         Syndrome                                               MORAN, JOHN CONOR      Awarded. Fellowships only   2022/01/01   2025/12/31    $212,394     $212,394     $164,433     $53,974

                                                                         Duke Program of Training in Pulmonary ReSearch to
                                                                         Promote, Engage and Retain Academic                                           Awarded. Non-fellowships
1,093 T32HL160494   5T32HL160494-04     DUKE UNIVERSITY                  Researchers (PROSPER)                             PALMER, SCOTT M             only                        2022/01/01   2026/12/31   $2,152,330   $2,152,330   $1,247,467   $441,899

                                                                      Investigating the role of Sumo in piRNA-mediated
                                        UNIV OF MASSACHUSETTS MED SCH germline heterochromatin maintenance in
1,094 F31HD113307   5F31HD113307-02     WORCESTER                     C.elegans                                                 GIRGENRATH, JOHAN      Awarded. Fellowships only   2023/07/07   2026/07/06     $66,280      $66,280      $57,422     $33,780

                                                                         Loss of resident donor-derived Tregs and the
                                                                         emergence of monocyte-derived alveolar
                                        NORTHWESTERN UNIVERSITY AT       macrophages leads to acute rejection and chronic
1,095 F30HL175886   1F30HL175886-01     CHICAGO                          dysfunction in lung transplant recipients        LUO, LUCY                    Awarded. Fellowships only   2024/09/02   2026/09/01     $52,897      $52,897      $23,329     $52,897
1,096 F31DK141082   1F31DK141082-01     UNIVERSITY OF PENNSYLVANIA       Paneth cell plasticity and regeneration                KATADA, KAY            Awarded. Fellowships only   2024/08/01   2027/07/31     $48,974      $48,974      $38,618     $48,974

                                                                         Discovery and characterization of a novel family of VIGNOGNA, RYAN
1,097 F32GM155980   1F32GM155980-01     CORNELL UNIVERSITY               GTPase activating proteins                          CHRISTOPHER               Awarded. Fellowships only   2024/07/01   2026/06/30     $74,284      $74,284      $41,256     $74,284
                                                                     Critical Role of Endothelial DRP1 in regulating             GUTIERREZ HUERTA,
1,098 F31HL176057   1F31HL176057-01     MEDICAL COLLEGE OF WISCONSIN metabolic, microvascular, and cardiac function              CRISTHIAN A            Awarded. Fellowships only   2024/09/30   2027/09/29    $53,314    $53,314    $36,255   $53,314

                                                                      Regulation of Epileptogenesis by Hippocampal
                                        CINCINNATI CHILDRENS HOSP MED Somatostatin Interneurons in a Model of
1,099 F31NS136029   1F31NS136029-01A1   CTR                           mTORopathies                                               DRAKE, AUSTIN          Awarded. Fellowships only   2024/07/15   2026/06/30    $42,574    $42,574        $0    $42,574

                                                                         Functional analysis of a novel cell envelope integrity
1,100 F32AI174818   5F32AI174818-02     MICHIGAN STATE UNIVERSITY        protein in Brucella ovis                               ALAKAVUKLAR, MELENE     Awarded. Fellowships only   2023/09/01   2026/08/31   $143,364   $143,364   $112,030   $74,284

                                                                         Exploring the role of C. albicans oxidative stress
                                                                         pathways in S. mutans reactive oxygen species           KATRAK, CALLAHAN
1,101 F30DE034286   1F30DE034286-01     UNIVERSITY OF FLORIDA            tolerance                                               KASHMIRA               Awarded. Fellowships only   2024/08/16   2026/08/15    $47,959    $47,959    $32,463   $47,959

                                        UNIVERSITY OF ILLINOIS AT        REGULATION OF BONE MARROW MESENCHYMAL
1,102 F31HL165859   5F31HL165859-03     CHICAGO                          STEM CELLS BY VCAM1                                     DI STAULO, ANNA MARISA Awarded. Fellowships only   2023/01/01   2025/12/31   $125,857   $125,857    $97,154   $42,693

                                                                         Identification of Prospective Predictors of Alcohol
1,103 F31AA031435   5F31AA031435-02     UNIVERSITY OF FLORIDA            Initiation During Early Adolescence                     MOORE, ANDREW          Awarded. Fellowships only   2024/01/01   2025/12/31    $84,724    $84,724    $56,884   $42,622

                                        UNIV OF NORTH CAROLINA           Function of PD-1 Signaling on the Activity of B cells
1,104 F31CA288161   1F31CA288161-01A1   CHAPEL HILL                      in the Tumor Microenvironment in Breast Cancer          PAN, XIAOLU            Awarded. Fellowships only   2024/07/10   2027/07/09    $47,153    $47,153    $32,525   $47,153

                                                                         Targeting cDC1 with CAR T cells to investigate their
                                                                         role and potential as a therapeutic target in Type 1
1,105 F31DK139666   1F31DK139666-01A1   WASHINGTON UNIVERSITY            diabetes                                             ABOUSAWAY, OMAR           Awarded. Fellowships only   2024/09/01   2027/08/31    $34,623    $34,623    $21,503   $34,623

                                        NEW YORK UNIVERSITY SCHOOL OF Regulation of a self-generated attractant gradient         O'KEEFFE, CATHERINE
1,106 F32HD116497   1F32HD116497-01     MEDICINE                      by the extracellular matrix                                ANN                    Awarded. Fellowships only   2024/11/01   2027/10/31    $73,828    $73,828    $25,595   $73,828

                                        UNIVERSITY OF CALIFORNIA, SAN    The Influence of Admixture on Biological Aging in       CRUZ GONZALEZ,
1,107 F31AG090006   1F31AG090006-01     FRANCISCO                        the Context of Alzheimer’s Disease                      SEBASTIAN              Awarded. Fellowships only   2024/12/01   2026/11/30    $45,618    $45,618    $13,622   $45,618

                                                                         Differentiation and function of transitional
1,108 F31CA284549   5F31CA284549-02     UNIVERSITY OF WASHINGTON         monocytes in cancer metastasis to the lung              PARK, MINHEE (EMILY)   Awarded. Fellowships only   2023/09/28   2025/12/31    $87,686    $87,686    $69,230   $44,483

                                        UNIVERSITY OF MICHIGAN AT ANN    Dissecting the role of ZCWPW1 in oocyte quality,
1,109 F31HD113285   1F31HD113285-01A1   ARBOR                            fertility and ovarian physiology.                       BAZZANO, DOMINIC       Awarded. Fellowships only   2024/09/01   2027/08/31    $42,545    $42,545    $34,943   $42,545

                                                                         The Role of IgE in Galectin-3-dependent Activation
1,110 F32AI186362   1F32AI186362-01     JOHNS HOPKINS UNIVERSITY         of Basophils                                            EHRLICH, LAURENT       Awarded. Fellowships only   2024/07/15   2026/07/14    $81,364    $81,364    $66,631   $81,364

                                        UNIVERSITY OF MARYLAND           A unique peri-hippocampal mast cell population          MAXIMOVA, ANNA
1,111 F30MH135570   5F30MH135570-02     BALTIMORE                        drives neurodevelopment                                 ARKADIEVNA             Awarded. Fellowships only   2023/09/01   2025/08/31    $81,718    $81,718    $67,776   $41,499

                                        UNIVERSITY OF PITTSBURGH AT      Immunosuppressive impact of the GPCR/MALT1
1,112 F30CA294747   1F30CA294747-01     PITTSBURGH                       protease axis in triple-negative breast cancer          LITTLE, JOHN WALTON    Awarded. Fellowships only   2024/07/01   2028/06/30    $53,974    $53,974    $25,834   $53,974

                                                                         Enhancer Hijacking of the IgH Locus as a Novel
1,113 F30AI186244   1F30AI186244-01     WASHINGTON UNIVERSITY            Genetic Mechanism of Inborn Errors of Immunity          TOBIN, JOSHUA          Awarded. Fellowships only   2024/08/01   2026/06/30    $35,482    $35,482    $22,404   $35,482

                                                                         Unveiling the computations underlying behavioral
1,114 F31EY036732   1F31EY036732-01     NEW YORK UNIVERSITY              heterogeneity across and around the visual field        XUE, SHUTIAN           Awarded. Fellowships only   2024/09/01   2027/08/31    $34,305    $34,305    $16,666   $34,305

                                        UNIV OF MASSACHUSETTS MED SCH Developing a novel adenine base editor tool for in
1,115 F30HL176024   1F30HL176024-01     WORCESTER                     vivo alpha-1 antitrypsin deficiency gene correction. GAO, JENNY                   Awarded. Fellowships only   2024/09/01   2029/08/31    $33,780    $33,780    $20,375   $33,780

                                                                         Elucidating the role of Akkermansia muciniphila in
                                        UNIVERSITY OF COLORADO           Group B Streptococcal vaginal colonization and          MARROQUIN, STEPHANIE
1,116 F32AI186285   1F32AI186285-01     DENVER                           ascending infection                                     MICHELLE               Awarded. Fellowships only   2024/11/01   2027/10/31    $74,284    $74,284    $29,655   $74,284

                                                                         Targeting TEAD in melanoma drug-tolerant persister
1,117 F31CA288084   1F31CA288084-01A1   THOMAS JEFFERSON UNIVERSITY      cells                                              OTT, CONNOR                 Awarded. Fellowships only   2024/07/05   2026/07/04    $48,974    $48,974    $26,340   $48,974

                                                                         Hypoxia-Induced Misdirection: Understanding
                                        UNIVERSITY OF CALIFORNIA, SAN    Postnatal Inhibitory Interneuron Migration in
1,118 F31NS139663   1F31NS139663-01     FRANCISCO                        Neonatal Hypoxic Injury                                 PODDAR, AUNOY          Awarded. Fellowships only   2024/09/01   2027/08/31    $41,720    $41,720    $24,294   $41,720
                                                                           Cell-Free Hemoglobin Induces Endothelial
                                                                           Mitochondrial Oxidative Damage Causing
1,119 F31HL167471   5F31HL167471-03     VANDERBILT UNIVERSITY              Extracellular DNA Release                              RIEDMANN, KYLE JOSEPH Awarded. Fellowships only      2022/12/01   2025/08/31   $94,147   $94,147   $79,593   $26,959

                                                                           Investigating clinical risk between autoimmunity
                                        UNIVERSITY OF CALIFORNIA, SAN      and Alzheimer’s Disease in diverse human
1,120 F31AG090013   1F31AG090013-01     FRANCISCO                          populations                                            RAMEY, GRACE            Awarded. Fellowships only    2024/12/01   2026/11/30   $45,618   $45,618   $13,622   $45,618

                                        UNIVERSITY OF COLORADO             The role of diminished CNS hypoglycemia sensing in
1,121 F32DK139710   1F32DK139710-01A1   DENVER                             postbariatric hypoglycemia                         COOK, TYLER                 Awarded. Fellowships only    2024/12/01   2026/11/30   $73,828   $73,828   $24,490   $73,828

                                        UT SOUTHWESTERN MEDICAL
1,122 F32HL168918   1F32HL168918-01A1   CENTER                             Mechanical regulation of hematopoiesis                 SHIRAZI, JASMINE        Awarded. Fellowships only    2024/09/01   2027/08/31   $74,284   $74,284   $36,216   $74,284

                                                                           Evolutionary expansion of human cerebral cortex:       ROSEN, BURKE
1,123 F32MH138113   1F32MH138113-01     WASHINGTON UNIVERSITY              spatial patterns and transcriptional correlates        QUARTMAN                Awarded. Fellowships only    2024/06/20   2027/06/19   $73,828   $73,828   $57,216   $73,828

                                                                           Role of early-life sleep and sensory environment in
                                                                           shaping the development of affiliative behavior
                                        OREGON HEALTH & SCIENCE            and PV-interneurons in the somatosensory cortex of MILMAN, NOAH EMERY
1,124 F31MH136684   1F31MH136684-01A1   UNIVERSITY                         the highly social prairie vole.                     POLLAK                     Awarded. Fellowships only    2024/12/01   2027/11/30   $48,974   $48,974   $15,364   $48,974

                                        WEILL MEDICAL COLL OF CORNELL Role of Frizzled 5 in NK cell development and
1,125 F31AI178958   5F31AI178958-02     UNIV                          antiviral host immunity                                     OWYONG, MARK            Awarded. Fellowships only    2024/02/01   2027/01/31   $96,668   $96,668   $47,902   $48,974

                                                                           Characterization of mandible derived osteoclasts
1,126 F30DE033618   1F30DE033618-01A1   UNIVERSITY OF MINNESOTA            under physiological and bone healing conditions        PHILLIPS, RACHEL BLEVINS Awarded. Fellowships only   2024/06/03   2025/06/02   $49,718   $49,718   $36,129   $49,718

                                                                           Using Geocoded Data and Virtual Neighborhood
                                                                           Assessments to Understand the Impact of
                                        UNIV OF MARYLAND, COLLEGE          Neighborhood Environment on Momentary
1,127 F31MH135639   1F31MH135639-01A1   PARK                               Paranoid Ideation in Psychosis                         ORTH, RYAN              Awarded. Fellowships only    2024/08/11   2025/08/10   $48,974   $48,974   $27,742   $48,974

                                                                           Uncovering the functional and mechanistic
                                                                           dysregulation of monocytes after abstinence and        BLANTON, MADISON
1,128 F31AA031600   1F31AA031600-01A1   UNIVERSITY OF KENTUCKY             post-abstinence drinking                               BROOKE                  Awarded. Fellowships only    2024/08/12   2027/08/11   $34,856   $34,856   $21,636   $34,856

                                                                           Improving Ultrasound Pulse Wave Imaging for            CAPRON, CHARLES
1,129 F31HL170507   5F31HL170507-02     MAYO CLINIC ROCHESTER              Prediction of Arteriovenous Fistula Maturation         BANFIELD                Awarded. Fellowships only    2023/09/30   2025/09/29   $96,668   $96,668   $47,956   $48,974

                                                                           Elucidating the Role of Biomechanical Strain in Atrial
1,130 F30HL170584   5F30HL170584-02     YALE UNIVERSITY                    Physiology and Arrhythmias                             GOKHAN, ILHAN           Awarded. Fellowships only    2023/09/16   2027/09/15   $66,438   $66,438   $48,565   $33,859

                                                                          Roles of DPA derived specialized pre-resolving
1,131 F31HL170707   5F31HL170707-02     UNIVERSITY OF MISSISSIPPI MED CTR mediators during vertebrate hematopoiesis               NGUYEN, KIM UYEN        Awarded. Fellowships only    2023/09/01   2025/08/31   $64,668   $64,668   $43,542   $32,974

                                                                           Mitochondrial succinyl CoA management at the
1,132 F32HL176113   1F32HL176113-01     DUKE UNIVERSITY                    intersection of heme and ketone metabolism             POSS, ANNELISE          Awarded. Fellowships only    2025/01/01   2027/12/31   $73,408   $73,408   $23,136   $73,408

                                        ALBERT EINSTEIN COLLEGE OF         Non-Canonical Roles for Cell-Adhesion Molecules in
1,133 F31NS134338   5F31NS134338-02     MEDICINE                           Presynaptic Assembly                               SUMMERVILLE, JADA           Awarded. Fellowships only    2023/12/15   2026/12/14   $96,668   $96,668   $62,336   $48,974

                                        UNIVERSITY OF CALIFORNIA           Addressing racial and ethnic disparities in diabetes
1,134 F31DK141235   1F31DK141235-01     BERKELEY                           risk after varying glycemia levels during pregnancy    PARIMI, MOUNIKA         Awarded. Fellowships only    2024/07/01   2027/06/30   $48,965   $48,965   $34,157   $48,965

                                                                        The Impact of Early Life Adversity on mGluR5-driven
                                                                        Endocannabinoid Signaling and Behavioral            DE CARVALHO,
1,135 F31MH138115   1F31MH138115-01     UNIVERSITY OF CALIFORNIA-IRVINE Adaptability                                        GREGORY                       Awarded. Fellowships only    2024/07/01   2027/06/30   $45,563   $45,563   $38,507   $45,563

                                                                        Translation Regulation Contributes to Hypoxia             DASHORA, HIMANSHU
1,136 F30CA294741   1F30CA294741-01     CASE WESTERN RESERVE UNIVERSITY Adaptation in Glioblastoma                                RAJEEV                  Awarded. Fellowships only    2024/07/17   2028/07/16   $53,974   $53,974   $25,391   $53,974


                                                                      The Impact of APOL1 Copy Number Variation on
                                                                      Kidney
                                                                      Disjavascript:autoSave(https://apps.era.nih.gov:443
                                        BETH ISRAEL DEACONESS MEDICAL /gmii/home.era?menu_itemPath=59%27)ease
1,137 F32DK141100   1F32DK141100-01     CENTER                        Susceptibility in African Americans                 SIMEONE, CHRISTOPHER A Awarded. Fellowships only             2024/09/01   2027/08/31   $73,828   $73,828   $39,201   $73,828
                                        UNIVERSITY OF CALIFORNIA LOS     Mechanosensory Behaviors of Skin-Penetrating
1,138 F32AI174816   5F32AI174816-03     ANGELES                          Parasitic Nematodes                                   PATEL, RUHI           Awarded. Fellowships only   2022/12/01   2025/11/30   $225,148   $225,148   $178,685   $78,892

                                                                     Assessing Foveal Specializations in Health and
1,139 F31EY036709   1F31EY036709-01     MEDICAL COLLEGE OF WISCONSIN Disease                                                   KREIS, JOSEPH G       Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $32,135   $48,974

                                                                         Understanding the Role of Histone Ubiquitination in
1,140 F31NS139506   1F31NS139506-01     WASHINGTON UNIVERSITY            Plasticity and Neurodevelopmental Disease             ERICKSON, ALYSSA A    Awarded. Fellowships only   2024/09/01   2026/08/31    $34,623    $34,623    $19,910   $34,623

                                        UNIVERSITY OF PITTSBURGH AT      Defining the role(s) of CGRPα during cutaneous
1,141 F30AI181455   1F30AI181455-01A1   PITTSBURGH                       antifungal immunity                                   GILLIS, JACOB         Awarded. Fellowships only   2024/07/01   2028/06/30    $53,974    $53,974    $21,168   $53,974

                                                                         Advancing a biopsychosocial model of bedtime
1,142 F31HL176119   1F31HL176119-01     UNIVERSITY OF UTAH               procrastination                                       CARLSON, STEVEN       Awarded. Fellowships only   2024/08/16   2026/08/15    $40,562    $40,562    $23,602   $40,562

                                        UNIVERSITY OF PITTSBURGH AT      Arousal-dependent modulation of layer 5 neurons in
1,143 F31DC021867   1F31DC021867-01A1   PITTSBURGH                       the auditory cortex                                KAUFMAN, KEITH           Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $38,294   $48,974

                                                                         Exploring synaptic actin-myosin dynamics with super
1,144 F31NS139598   1F31NS139598-01     UNIVERSITY OF FLORIDA            resolution microscopy                               REED, SHAYNA JORDAN     Awarded. Fellowships only   2024/09/01   2026/08/31    $35,974    $35,974    $10,862   $35,974


                                                                         Investigating the role of gamma delta (γδ) T cells in
1,145 F31AI186325   1F31AI186325-01     UNIVERSITY OF WASHINGTON         the control of Mycobacterium tuberculosis infection TAPPEN, VICTORIA        Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $42,504   $48,974
1,146 F31NS130993   5F31NS130993-02     EMORY UNIVERSITY                 Microglial Activity on Injured Motoneurons            POTTORF, TANA         Awarded. Fellowships only   2023/09/01   2026/08/31   $102,168   $102,168    $77,508   $51,474

                                                                         Understanding the Impact of Dengue Virus Lineage
1,147 F31AI186435   1F31AI186435-01     YALE UNIVERSITY                  Persistence on Outbreak Potential                PORZUCEK, ABBEY            Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $25,419   $48,974

                                                                         Effects of Ventral Tegmental Area Dopamine
                                                                         Neurons GABA-B Receptor Deletion on Cue-Evoked AGUIRRE, JONATHAN
1,148 F31AA031877   1F31AA031877-01     UNIVERSITY OF MINNESOTA          Relapse and Aversion-Resistant Drinking        ISRAEL                       Awarded. Fellowships only   2024/08/28   2028/08/27    $36,350    $36,350    $21,463   $36,350

                                        UNIV OF NORTH CAROLINA           Studying Mitochondrial Dynamics and Energetics
1,149 F32HL176045   1F32HL176045-01     CHAPEL HILL                      During Cardiac Reprogramming                          SPURLOCK, BRIAN M     Awarded. Fellowships only   2024/09/15   2027/09/14    $78,892    $78,892    $37,382   $78,892

                                        BOSTON UNIVERSITY (CHARLES       Glycopolymer Biomaterials for Regulating Adaptive
1,150 F31NS135944   1F31NS135944-01A1   RIVER CAMPUS)                    Reprogramming in Glia                             DUBOIS, ERIC              Awarded. Fellowships only   2024/07/01   2026/08/31    $40,886    $40,886    $21,168   $40,886

                                                                         Multidimensional Correlates of Atherosclerotic
1,151 F32HL172499   1F32HL172499-01A1   EMORY UNIVERSITY                 Resilience in Rural Communities                       RAZAVI, ALEXANDER C   Awarded. Fellowships only   2024/09/01   2026/08/31    $81,256    $81,256    $40,206   $81,256

                                                                         Daily and circadian regulation of respiratory
1,152 F32HL176044   1F32HL176044-01     UNIVERSITY OF FLORIDA            plasticity in freely behaving rats                    JONES, AARON ANDREW Awarded. Fellowships only     2024/09/13   2027/09/12    $73,408    $73,408    $42,535   $73,408

                                        ICAHN SCHOOL OF MEDICINE AT      Neural computations underlying the relationship
1,153 F30MH135658   1F30MH135658-01A1   MOUNT SINAI                      between social learning and mood                      DAVIS, ARIANNA NEAL   Awarded. Fellowships only   2024/07/26   2026/07/25    $50,374    $50,374        $0    $50,374

                                                                         Defining Human Cytochrome P450 7B1 Structure
                                        UNIVERSITY OF MICHIGAN AT ANN    and Function to Understand Spastic Paraplegia         CHABEZ, ALEXANDRIA
1,154 F31GM155958   1F31GM155958-01A1   ARBOR                            Type 5 Disease                                        ANASTASIA             Awarded. Fellowships only   2025/01/01   2027/12/31    $48,974    $48,974    $11,614   $48,974

                                                                         Impact of developmental serotonin on prefrontal
                                        COLUMBIA UNIVERSITY HEALTH       cortex parvalbumin interneuron excitability and
1,155 F31MH138134   1F31MH138134-01A1   SCIENCES                         cognitive behavior                                    ANQUEIRA, AMANDA      Awarded. Fellowships only   2024/09/01   2027/02/28    $48,974    $48,974    $44,270   $48,974

                                                                         Evaluating the causal effects of anti-malarial
                                                                         chemoprevention in pregnancy and childhood on         NGUYEN, ANNA THUY
1,156 F31AI179107   5F31AI179107-02     STANFORD UNIVERSITY              growth outcomes                                       NHU                   Awarded. Fellowships only   2024/04/11   2026/08/10    $97,212    $97,212    $48,085   $48,974

                                                                     Mechanisms of immune-mediated neuronal
1,157 F30EY036256   1F30EY036256-01A1   MEDICAL COLLEGE OF WISCONSIN damage in a mouse model of optic neuritis                 SOMMERS, KELLI C      Awarded. Fellowships only   2025/01/01   2028/12/31    $51,064    $51,064    $14,328   $51,064

                                                                         The role of TCF1 in CD8+ tissue resident memory T
                                        UNIVERSITY OF CALIFORNIA, SAN    cell formation and maintenance across distinct        VANDENBURGH, SARA
1,158 F31AI183706   1F31AI183706-01A1   DIEGO                            tissues                                               ALISSA                Awarded. Fellowships only   2024/12/01   2027/11/30    $45,478    $45,478    $16,318   $45,478

                                                                         Improved estimation of pollen exposure, mixtures,
1,159 F31ES036103   5F31ES036103-02     EMORY UNIVERSITY                 and risk of respiratory illness                       LAPPE, BROOKE         Awarded. Fellowships only   2024/03/12   2027/03/11    $97,948    $97,948    $34,740   $48,974
                                                                         Exploring Functional Divergence in Human and
                                                                         Chimpanzee Arteries: Implications for
1,160 F31HL178171   1F31HL178171-01     STANFORD UNIVERSITY              Cardiovascular Disease                                NAFTALY, JEFFREY        Awarded. Fellowships only   2025/04/23   2028/04/22     $42,507      $42,507           $0     $42,507

                                                                         Smartwatch-based predictors of binge drinking
                                        TEMPLE UNIV OF THE               onset in first-year college students: A prospective   HIMELEIN-WACHOWIAK,
1,161 F31AA032186   1F31AA032186-01     COMMONWEALTH                     study                                                 MCKENZIE                Awarded. Fellowships only   2025/01/01   2026/12/31     $35,019      $35,019       $8,542     $35,019

                                                                         Trustworthy Machine Learning for Equitable            YAO, MICHAEL STEVEN YU-
1,162 F30MD020264   1F30MD020264-01     UNIVERSITY OF PENNSYLVANIA       Healthcare                                            SHUAN                   Awarded. Fellowships only   2024/09/17   2027/08/31     $53,974      $53,974      $45,813     $53,974

                                                                         Role of Intracortical Mechanisms Vs. Bottom-Up
                                        UNIVERSITY OF CALIFORNIA LOS     Influences in Developmental Desynchronization of
1,163 F30HD117619   1F30HD117619-01     ANGELES                          Cortical Network Activity                             WU, MICHELLE W          Awarded. Fellowships only   2025/01/01   2026/12/31     $44,924      $44,924       $7,056     $44,924

                                                                         Novelty and valence encoding in the zona incerta      MAGNUSSON, NATALIA
1,164 F31NS141610   1F31NS141610-01     EMORY UNIVERSITY                 in parkinsonian monkeys                               NOEL                    Awarded. Fellowships only   2024/12/01   2027/11/30     $48,974      $48,974      $16,255     $48,974

                                                                         A Data-Driven Approach to Protein Engineering of
1,165 F32GM154442   1F32GM154442-01A1   UNIVERSITY OF UTAH               Aminotransferase ARO8                                 HOWARD, JAMES R         Awarded. Fellowships only   2025/01/01   2026/12/31     $73,828      $73,828      $20,476     $73,828

                                                                         Control of Telomere Homeostasis by Nucleotide
1,166 F30DK135340   5F30DK135340-03     HARVARD MEDICAL SCHOOL           Metabolism in Hematopoiesis                           MANNHERZ, WILLIAM       Awarded. Fellowships only   2023/05/01   2028/04/30    $132,370     $132,370      $78,396     $53,974

                                                                         Elucidating Shared Risk of Brain Arteriolosclerosis
                                                                         and Related Pathologies with Multiple omics
1,167 F30NS124136   5F30NS124136-04     UNIVERSITY OF KENTUCKY           Modalities                                            SHADE, LINCOLN          Awarded. Fellowships only   2022/05/08   2025/07/07    $147,304     $147,304     $128,811      $7,079

                                                                         Training Program in Developmental and Stem Cell                               Awarded. Non-fellowships
1,168 T32HD040372   5T32HD040372-24     DUKE UNIVERSITY                  Biology                                               SILVER, DEBRA           only                        2001/05/01   2027/04/30   $1,658,870   $1,658,870   $1,124,158   $439,487

                                                                         Investigating the role of mechanotransduction
                                                                         machinery and the rootlet in modulating stereocilia
1,169 F32DC020656   5F32DC020656-03     STANFORD UNIVERSITY              motion.                                             MCGRATH, JAMIS            Awarded. Fellowships only   2023/05/01   2026/04/30    $225,148     $225,148     $130,350     $78,892

                                                                         Optimizing c-Met signaling to enhance corneal
1,170 F31EY034730   5F31EY034730-02     UNIVERSITY OF LOUISVILLE         epithelial homeostasis                                TARVESTAD LAISE, KATE   Awarded. Fellowships only   2024/04/04   2027/04/03     $71,644      $71,644      $35,188     $35,822

                                        COLUMBIA UNIVERSITY HEALTH       The Cellular and Neural Circuit Basis of Flexible
1,171 F31NS137735   5F31NS137735-02     SCIENCES                         Escape Behavior                                       WOOD, ABBY              Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $48,874     $48,974

                                                                         The Critical Role of Ciliary ARL13B in Controlling
1,172 F32DK137409   5F32DK137409-02     EMORY UNIVERSITY                 Energy Homeostasis                                    TERRY, TIFFANY T        Awarded. Fellowships only   2024/05/01   2027/04/30    $161,048     $161,048      $68,156     $81,592

                                                                                                                                                       Awarded. Non-fellowships
1,173 T32HD007434   5T32HD007434-32     WASHINGTON UNIVERSITY            Doctoral Training Program in Movement Science         LANG, CATHERINE         only                        1993/07/01   2026/04/30   $1,080,750   $1,080,750    $873,316    $253,230

                                                                         Investigating the Heterogeneous Intercellular
                                        UNIVERSITY OF SOUTHERN           Signaling of Hematopoietic Stem and Progenitor        THOMAS, ZACHARY
1,174 F31HL178286   1F31HL178286-01     CALIFORNIA                       Cells and its Changes around the Circadian Clock      VANDER                  Awarded. Fellowships only   2025/04/01   2029/03/31     $48,974      $48,974           $0     $48,974

                                                                         Role of dopaminergic signaling on anesthesia-
1,175 F31GM157963   1F31GM157963-01     GEORGETOWN UNIVERSITY            induced retrograde amnesia                            SHAH, PRACHI            Awarded. Fellowships only   2025/01/02   2027/01/01     $36,274      $36,274       $1,650     $36,274

                                        UNIV OF MARYLAND, COLLEGE        Development in the Moment: Does Caregiver
1,176 F31HD117670   1F31HD117670-01     PARK                             Sensitivity Drive Prefrontal Cortex Synchrony?        ROCHE, ELLEN            Awarded. Fellowships only   2024/09/17   2026/09/16     $43,008      $43,008      $37,045     $43,008

                                        UNIVERSITY OF CALIFORNIA AT      Molecular and Cellular Determinants of Tolerance
1,177 F31MH138072   1F31MH138072-01A1   DAVIS                            to Second Generation Antipsychotics                   LEWIS, ELINOR           Awarded. Fellowships only   2024/11/01   2027/10/31     $42,520      $42,520      $21,301     $42,520

                                                                                                                                                       Awarded. Non-fellowships
1,178 T32DK064466   3T32DK064466-22S1   INDIANA UNIVERSITY INDIANAPOLIS Diabetes and Obesity Training Grant                    WEK, RONALD C           only                        2003/07/01   2028/06/30    $652,077     $652,077     $524,137     $46,268

                                                                         An Ancestry-Informed Approach to Improve
1,179 F31HL176183   1F31HL176183-01A1   BAYLOR COLLEGE OF MEDICINE       Genetic Testing for Cardiovascular Disease            TIETZ, GRACE            Awarded. Fellowships only   2025/02/01   2028/01/31     $48,974      $48,974      $22,610     $48,974

                                                                         Imputing quantitative mass spectrometry
                                                                         proteomics data using non-negative matrix
1,180 F31AG082395   5F31AG082395-03     UNIVERSITY OF WASHINGTON         factorization                                         HARRIS, LINCOLN JEFFERY Awarded. Fellowships only   2023/04/16   2026/04/15    $117,193     $117,193      $76,580     $39,491
                                                                         Functional characterizations of the genetic etiology
1,181 F31DC022482   1F31DC022482-01     VANDERBILT UNIVERSITY            of stuttering                                        SCARTOZZI, ALYSSA           Awarded. Fellowships only   2024/09/01   2027/08/31     $42,574      $42,574      $21,670     $42,574

                                        NORTHWESTERN UNIVERSITY AT       Advancing Implementation of Single Session
1,182 F31MH139185   1F31MH139185-01     CHICAGO                          Interventions in Schools                                 COHEN, KATHERINE        Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $22,755     $48,974

                                                                         Assessing semantic encoding and decoding models
1,183 F32DC022178   1F32DC022178-01A1   UNIVERSITY OF TEXAS AT AUSTIN    in stroke-induced aphasia                       TANG, JERRY                      Awarded. Fellowships only   2024/09/01   2027/08/31     $73,408      $73,408      $45,779     $73,408

                                                                         An epidemiological study to investigate the
                                                                         multifactoral nature of diabetes risk among adults
                                                                         with COVID-19 with a genetic and social
1,184 F31NR021624   1F31NR021624-01     BOSTON COLLEGE                   determinants of health lens                              KEELS, JORDAN           Awarded. Fellowships only   2025/01/01   2026/12/31     $32,974      $32,974       $4,704     $32,974

                                                                                                                                                          Awarded. Non-fellowships
1,185 T32NS091006   5T32NS091006-10     UNIVERSITY OF PENNSYLVANIA       Training Program in Neuroengineering and Medicine LITT, BRIAN                    only                        2015/07/01   2025/06/30   $2,001,688   $2,001,688   $1,860,379   $154,389

                                                                         The Role of Norovirus Interactions with the Epithelial
1,186 F30AI172364   5F30AI172364-03     UNIVERSITY OF FLORIDA            Barrier in Acute Gastroenteritis                         PEIPER, AMY MARIE       Awarded. Fellowships only   2023/05/16   2027/04/30    $129,826     $129,826      $80,983     $43,971

                                                                         Leveraging Choroid Plexus M-CSF Signaling to
1,187 F32NS136267   5F32NS136267-02     BOSTON CHILDREN'S HOSPITAL       Prevent Inflammatory-Driven Hydrocephalus                HEHNLY, CHRISTINE ANNA Awarded. Fellowships only    2024/05/01   2026/04/30    $157,040     $157,040      $75,471     $79,756

                                                                         Quantifying the spatial stability of sensory
                                                                         stimulation projected fields for sensory
1,188 F31NS139615   1F31NS139615-01A1   JOHNS HOPKINS UNIVERSITY         neuroprostheses                                          DING, KEQIN             Awarded. Fellowships only   2025/01/01   2025/12/31     $48,974      $48,974       $9,408     $48,974

                                                                         BCLAF1 regulates expression of AP-1 genes and
1,189 F31HL165908   5F31HL165908-02     WASHINGTON UNIVERSITY            hematopoietic stem cell repopulating activity            CROWLEY, STEPHANIE      Awarded. Fellowships only   2024/01/01   2025/12/31     $69,246      $69,246      $43,189     $34,623

                                                                         Hippocampal Sharp-Wave Ripple and Replay
1,190 F32NS129560   5F32NS129560-03     HARVARD MEDICAL SCHOOL           Mechanisms Underlying Long-Term Memory                   DING, JENNIFER          Awarded. Fellowships only   2023/04/01   2026/03/31    $220,120     $220,120     $142,537     $76,756

                                        UNIVERSITY OF CALIFORNIA LOS     Muscle Cell Biology, Pathophysiology, and                CROSBIE, RACHELLE       Awarded. Non-fellowships
1,191 T32AR065972   5T32AR065972-10     ANGELES                          Therapeutics                                             HOPE                    only                        2016/05/01   2026/04/30   $2,190,339   $2,190,339   $1,559,617   $435,986

                                        MASSACHUSETTS GENERAL            Investigating the Role of Wnt Signaling in the
1,192 F32AR085460   1F32AR085460-01     HOSPITAL                         Mechanical Maturation of Tendon                          PETERSON, BENJAMIN      Awarded. Fellowships only   2025/05/01   2028/04/30     $79,456      $79,456           $0     $79,456

                                        UNIVERSITY OF MARYLAND           The Impact of Perinatal Fentanyl on Dopamine
1,193 F31DA062453   1F31DA062453-01     BALTIMORE                        Neuron Circuitry and Behavior                            MCINERNEY, JESSICA      Awarded. Fellowships only   2024/12/12   2027/11/30     $45,114      $45,114      $14,748     $45,114

                                                                         Perinatal metal mixture exposure and prenatal
                                        ICAHN SCHOOL OF MEDICINE AT      maternal stress: Impact on neural and cognitive          OLUYEMI, KRISTIE
1,194 F31ES037211   1F31ES037211-01     MOUNT SINAI                      constructs underlying adolescent risk-taking             TEMITOPE                Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974           $0     $48,974

                                                                        Cilia-mediated Proliferation in Hypothalamic
1,195 F31DK142351   1F31DK142351-01     INDIANA UNIVERSITY INDIANAPOLIS Tanycytes                                                 BREWER, KATHRYN M       Awarded. Fellowships only   2024/12/17   2026/12/16     $40,294      $40,294      $14,760     $40,294

                                                                         Drivers of the beneficial effects of influenza A virus   MARTINEZ, MEGAN
1,196 F31AI189070   1F31AI189070-01     EMORY UNIVERSITY                 co-infection                                             ALICIA                  Awarded. Fellowships only   2025/02/01   2028/01/31     $48,974      $48,974       $4,704     $48,974

                                                                         The influence of the developing circadian system
                                                                         on neuroimmune function and neuropsychiatric
1,197 F31MH138131   1F31MH138131-01A1   UNIVERSITY OF TEXAS AT AUSTIN    behaviors                                                BELL, KIERSTEN SIMONE   Awarded. Fellowships only   2024/09/06   2027/03/05     $40,613      $40,613      $27,798     $40,613

                                                                         Targeting the Calcitonin-BMP1 Pathway in Atrial
1,198 F30HL167574   5F30HL167574-02     BAYLOR COLLEGE OF MEDICINE       Cardiofibroblasts to Ameliorate Atrial Fibrillation      HO, KEVIN SON           Awarded. Fellowships only   2023/09/30   2026/08/31    $100,089     $100,089      $79,072     $52,037

                                        UNIVERSITY OF MIAMI SCHOOL OF    The Role of Parabrachial CGRP Neurons in Opioid
1,199 F30DA060666   5F30DA060666-02     MEDICINE                         Reinforcement                                            BYSTROM, LAUREN L       Awarded. Fellowships only   2024/05/01   2028/04/30    $107,948     $107,948      $44,859     $53,974

                                                                                                                                                          Awarded. Non-fellowships
1,200 T32EY007031   5T32EY007031-48     UNIVERSITY OF WASHINGTON         Vision Training Grant                                    PASUPATHY, ANITHA       only                        1976/07/01   2028/03/31    $658,661     $658,661     $438,475    $218,313

                                                                         Alcohol Impact on Traumatic Brain Injury: Focus on       CHAPA DUBOCQ, XAVIER
1,201 F32AA031902   1F32AA031902-01A1   LSU HEALTH SCIENCES CENTER       Mitochondrial Alterations                                RICARDO              Awarded. Fellowships only      2025/02/01   2027/07/31     $74,284      $74,284      $11,159     $74,284
                                                                        Integrate neuroimaging, molecular quantitation,
                                                                        and cytoarchitecture to elucidate the              BACMEISTER, CLARA
1,202 F31EY037180   1F31EY037180-01     STANFORD UNIVERSITY             development of myelination in human visual cortex. MARÍA                      Awarded. Fellowships only    2025/01/01   2027/12/31    $48,139    $48,139    $15,261    $48,139

                                        UNIV OF MASSACHUSETTS MED SCH Glutamine Starvation as a Means to Enhance
1,203 F32AI176649   5F32AI176649-02     WORCESTER                     Antibiotic Efficacy against M. tuberculosis              WILLIAMS, JOHN TISON   Awarded. Fellowships only    2024/05/01   2027/04/30   $151,040   $151,040    $73,860    $76,756

                                                                      Mapping the BRCA2 replication gap suppression
                                        UNIV OF MASSACHUSETTS MED SCH domain to uncover themolecular mechanism of
1,204 F32CA268524   5F32CA268524-03     WORCESTER                     chemotherapy response                                    WHALEN, JENNA          Awarded. Fellowships only    2023/05/01   2026/04/30   $225,148   $225,148   $145,532    $78,892

                                        UNIVERSITY OF CALIFORNIA AT     Identification of the core organizational principles
1,205 F32GM157894   1F32GM157894-01     DAVIS                           within nuclear mRNAs                                   HATFIELD, BREANNE      Awarded. Fellowships only    2025/01/01   2027/12/31    $73,828    $73,828    $18,384    $73,828


1,206 F31GM157952   1F31GM157952-01     AUGUSTA UNIVERSITY              Investigating the in vivo regulation of Dynein activity ALLEN, PHYLICIA ANGELA Awarded. Fellowships only   2025/05/01   2027/04/30    $41,405    $41,405        $0     $41,405

                                                                        Myocarditis is necessary for the development of
1,207 F31HL178200   1F31HL178200-01     UNIVERSITY OF UTAH              arrhythmogenic cardiomyopathy                          VALDEZ, STEVEN ELIAS   Awarded. Fellowships only    2025/01/06   2027/01/05    $37,045    $37,045     $4,704    $37,045

                                                                        Population coding of complex auditory stimuli in
1,208 F31DC022515   1F31DC022515-01     JOHNS HOPKINS UNIVERSITY        auditory cortex                                        DAHER, JADE            Awarded. Fellowships only    2024/09/01   2027/08/31    $48,974    $48,974    $38,177    $48,974

                                                                        Investigating the molecular mechanisms underlying
1,209 F31HL170784   5F31HL170784-02     UNIVERSITY OF IOWA              aldosterone-mediated sodium appetite              MCDONOUGH, MIRIAM           Awarded. Fellowships only    2024/04/01   2026/08/31    $71,770    $71,770    $34,448    $35,885

                                                                                                                                                      Awarded. Non-fellowships
1,210 T32HD040128   5T32HD040128-22     BOSTON CHILDREN'S HOSPITAL      Research Training in Pediatric Emergency Medicine MANDL, KENNETH D            only                         2001/05/15   2029/04/30   $544,109   $544,109   $228,450   $451,788

                                                                        Chromosomal Instability and 17p Loss Sensitize         BRIDGWATER, CAROLINE
1,211 F31CA287604   5F31CA287604-02     DUKE UNIVERSITY                 Cancer Cells to NDE1 Depletion                         MARIE                  Awarded. Fellowships only    2024/05/01   2027/07/31    $96,580    $96,580    $43,740    $48,290

                                                                        STRIVE: Short-Term Research in Immunology and                                 Awarded. Non-fellowships
1,212 T35AI179601   1T35AI179601-01A1   OHIO STATE UNIVERSITY           Virology Experience                                    BUMGARDNER, GINNY L    only                         2025/05/01   2030/04/30   $103,952   $103,952        $0    $103,952

                                                                        Role of Dynamic Signaling of NRG3-ErbB4 in the
                                                                        Prefrontal Cortex in Mediating Nicotine Withdrawal
1,213 F31DA057812   5F31DA057812-02     UNIVERSITY OF KENTUCKY          Phenotypes                                             PRANTZALOS, EMILY      Awarded. Fellowships only    2024/01/12   2027/01/11    $97,948    $97,948    $45,558    $48,974

                                                                        Self-Assembling Peptide Nanoparticles for in vivo
                                                                        Genome Editor Delivery to Hematopoietic Stem           EWEJE, FEYISAYO
1,214 F31HL167533   5F31HL167533-02     HARVARD MEDICAL SCHOOL          Cells                                                  RONALD                 Awarded. Fellowships only    2023/06/01   2027/05/31   $106,668   $106,668   $103,075    $53,974

                                                                        Cortical-hypothalamic control of the                   BOUCHET, COURTNEY
1,215 F32HL172693   5F32HL172693-02     COLORADO STATE UNIVERSITY       cardiovascular consequences of stress                  ANNE                   Awarded. Fellowships only    2023/12/15   2026/12/14   $154,304   $154,304    $87,639    $77,077

                                                                        Macrophage-Mediated Lung Repair Programs
1,216 F31HL172650   5F31HL172650-02     HARVARD UNIVERSITY              Following Injury                                       BAEZ VAZQUEZ, ALAN     Awarded. Fellowships only    2024/02/01   2027/01/31    $75,223    $75,223    $48,227    $36,073

                                        BOSTON UNIVERSITY (CHARLES      Molecular evolution of synthetic probes for orphan     FITZSIMMONS, ARI
1,217 F31HL172691   7F31HL172691-02     RIVER CAMPUS)                   GPCRs                                                  BENJAMIN               Awarded. Fellowships only    2024/01/01   2026/12/31    $97,948    $97,948    $36,208    $48,974

                                                                        Host-Pathogen Interactions in a Cystic Fibrosis
1,218 F31HL172440   5F31HL172440-02     DARTMOUTH COLLEGE               Polymicrobial Infection Model                          CHARPENTIER, LILY      Awarded. Fellowships only    2024/01/01   2026/12/31    $97,948    $97,948    $57,947    $48,974

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
1,219 T35HL155018   5T35HL155018-04     PITTSBURGH                      Summer Research in Vascular Surgery (SRVS)             SACHDEV, ULKA          only                         2022/03/01   2027/02/28   $170,699   $170,699    $87,925    $35,471

                                        UT SOUTHWESTERN MEDICAL         The role of SMAD3 in gene networks underlying
1,220 F31NS132443   5F31NS132443-02     CENTER                          human brain activity                                   MOORE, HALEY D         Awarded. Fellowships only    2024/01/05   2026/09/04    $80,196    $80,196    $45,530    $40,485

                                                                                                                                                      Awarded. Non-fellowships
1,221 T32HL098054   2T32HL098054-16     UNIVERSITY OF PENNSYLVANIA      Training in Critical Care Health Policy Research       HALPERN, SCOTT D       only                         2010/05/01   2030/04/30   $683,514   $683,514        $0    $683,514

                                                                        Uncovering the molecular mechanism of interphase
                                        UNIVERSITY OF CALIFORNIA, SAN   nuclear pore complex assembly with
1,222 F32GM150243   5F32GM150243-02     FRANCISCO                       spatiotemporal integrative modeling              LATHAM, ANDREW               Awarded. Fellowships only    2024/02/01   2027/01/31   $148,112   $148,112    $72,828    $74,284

                                        VANDERBILT UNIVERSITY MEDICAL   Developing Research Careers in the Hearing                                    Awarded. Non-fellowships
1,223 T35DC008763   5T35DC008763-18     CENTER                          Sciences II                                            HOOD, LINDA J          only                         2007/04/01   2029/03/31    $89,030    $89,030    $44,406    $44,515
                                        UNIVERSITY OF CALIFORNIA LOS    Neuro-Oncology Translational Research Training                                Awarded. Non-fellowships
1,224 T32CA288354   1T32CA288354-01A1   ANGELES                         Program (NOTR-TP)                                      PRINS, ROBERT M        only                        2025/02/01   2030/06/30    $343,634     $343,634         $0    $343,634

                                        UNIVERSITY OF PITTSBURGH AT     Translational Research Training in Cancer Prevention                          Awarded. Non-fellowships
1,225 T32CA186873   2T32CA186873-11     PITTSBURGH                      and Control                                          YUAN, JIAN-MIN           only                        2014/08/05   2030/01/31    $334,049     $334,049     $34,718   $334,049

                                                                                                                                                      Awarded. Non-fellowships
1,226 T35HL007479   2T35HL007479-41     UNIVERSITY OF ARIZONA           Short-Term Institutional Research Training Grant       WITTE, MARLYS HEARST   only                        1981/05/01   2030/04/30    $207,736     $207,736         $0    $207,736

                                                                        Frontal cortical contributions to ventral stream visual
1,227 F32EY035147   5F32EY035147-03     ROCKEFELLER UNIVERSITY          processing                                              MORRILL, RYAN JAMES   Awarded. Fellowships only   2024/04/14   2027/04/13    $146,256     $146,256     $69,946    $76,756

                                        UNIVERSITY OF TX MD ANDERSON                                                                                  Awarded. Non-fellowships
1,228 T32CA261856   5T32CA261856-04     CAN CTR                         Image Guided Cancer Therapy Training Program           BROCK, KRISTY          only                        2022/04/01   2027/03/31   $1,089,828   $1,089,828   $521,594   $336,199

                                                                        Characterizing novel Mixed Etiology Dementia
1,229 F31NS135935   5F31NS135935-02     JOHNS HOPKINS UNIVERSITY        models compromised for TDP-43 function                 BURNS, GRACE D         Awarded. Fellowships only   2023/12/15   2026/10/14     $85,148      $85,148     $41,802    $42,574

                                                                        Identifying Disease-Specific Immune Cell Shifts in
                                                                        Chronic Fibrotic Interstitial Lung Diseases with Single-
1,230 F30HL162459   5F30HL162459-04     YALE UNIVERSITY                 Cell RNA Sequencing                                      ZHAO, AMY YUE-TING   Awarded. Fellowships only   2022/02/16   2026/02/15    $172,164     $172,164    $128,575    $53,974

                                                                        Identifying the neural mechanisms of goal-directed
                                        UNIVERSITY OF CALIFORNIA, SAN   decision-making in Parkinsons disease using closed-
1,231 F32MH132174   5F32MH132174-03     FRANCISCO                       loop deep brain stimulation                         HOY, COLIN                Awarded. Fellowships only   2023/03/01   2026/02/28    $230,336     $230,336    $141,840    $81,756
1,232 F32DK139628   5F32DK139628-02     DUKE UNIVERSITY                 F32 - Bitter chemosensation from gut to brain          REICHER, NAAMA         Awarded. Fellowships only   2024/04/01   2027/03/31    $159,233     $159,233     $79,099    $80,134

                                                                        The tetraspanin CD151 and integrin α3β1 signaling
1,233 F31AR083740   5F31AR083740-02     HARVARD UNIVERSITY              complex in basement membrane adhesion                  LITZAU, LAUREN ANNE    Awarded. Fellowships only   2024/04/01   2027/03/31     $76,521      $76,521     $46,541    $35,118

                                        UNIVERSITY OF CALIFORNIA, SAN   Neural mechanisms of sensory encoding after
1,234 F32EY037105   1F32EY037105-01     FRANCISCO                       photoreceptor degeneration                             BALRAJ, ANNIKA         Awarded. Fellowships only   2025/01/01   2027/12/31     $78,784      $78,784     $11,616    $78,784

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
1,235 T32HL083825   5T32HL083825-17     PITTSBURGH                      Cardiovascular Epidemiology Training Program           SEKIKAWA, AKIRA        only                        2008/05/01   2029/01/31    $721,360     $721,360    $482,531   $271,787

                                        UNIV OF MARYLAND, COLLEGE       Combining OCE and Brillouin microscopy to              SCHUMACHER, JUSTIN
1,236 F30EY035154   5F30EY035154-02     PARK                            evaluate in vivo lens biomechanics in Presbyopia       SCOTT                  Awarded. Fellowships only   2024/02/01   2028/01/31     $86,895      $86,895     $39,711    $48,804

                                        UNIVERSITY OF CALIFORNIA AT     Investigation of the Mechanism(s) of Beta and Delta POURHOSSEINZADEH,
1,237 F30DK138710   5F30DK138710-02     DAVIS                           Cell Coordination Under High Glucose                MOHAMMAD S                Awarded. Fellowships only   2024/03/01   2028/02/28     $83,136      $83,136     $43,898    $41,568

                                        ALBERT EINSTEIN COLLEGE OF      Dissection of Hematopoietic Stem and Progenitor
1,238 F31HL167600   5F31HL167600-03     MEDICINE                        Cell Differentiation during Embryogenesis              NIZHNIK, ANASTASIA     Awarded. Fellowships only   2023/04/16   2026/04/15    $145,642     $145,642     $97,631    $48,974

                                        NORTHWESTERN UNIVERSITY AT      Follicle-Inherent Biomechanical Mechanisms
1,239 F30HD113284   5F30HD113284-02     CHICAGO                         Underlying Ovulation                                   ZANIKER, EMILY         Awarded. Fellowships only   2024/04/01   2026/03/31     $88,974      $88,974     $38,196    $44,487

                                                                        Roles of parvalbumin-expressing neurons in primate
1,240 F31EY037124   1F31EY037124-01     UNIVERSITY OF WASHINGTON        cortical processing                                BUN, LUKE MAR              Awarded. Fellowships only   2025/03/16   2028/03/15     $48,974      $48,974         $0     $48,974

                                        HARVARD SCHOOL OF PUBLIC        Dissecting virulence gene regulatory pathways in M.
1,241 F32AI174653   5F32AI174653-02     HEALTH                          tuberculosis clinical isolates                      CULVINER, PETER H         Awarded. Fellowships only   2024/01/01   2026/12/31    $160,256     $160,256    $100,429    $81,364

                                                                        Examining patterns of opioid overdose hotspots and
1,242 F31DA057107   5F31DA057107-03     STANFORD UNIVERSITY             opioid treatment deserts in California             JAROS, SAMUEL              Awarded. Fellowships only   2023/04/06   2025/09/05    $125,491     $125,491     $91,326    $30,135

                                                                        Neurophysiology of social processing and               PRZYSINDA, EMILY JOYCE
1,243 F30MH130104   5F30MH130104-04     UNIVERSITY OF ROCHESTER         underlying perceptual deficits in schizophrenia        DOYLE                  Awarded. Fellowships only   2022/04/01   2026/03/31    $212,244     $212,244    $136,655    $53,974

                                                                        Cell-cell signaling in archaea: How Haloferax
1,244 F31AI181536   5F31AI181536-02     UNIVERSITY OF PENNSYLVANIA      volcanii talk to each other                            CHATTERJEE, PRIYANKA   Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948     $51,424    $48,974

                                                                        Determining the contribution of pathway-specific
                                        UNIVERSITY OF MICHIGAN AT ANN   neural activity to individual and sex differences in
1,245 F31DA058358   5F31DA058358-02     ARBOR                           the attribution of salience to emotional cues          CZESAK, FRANKIE NICOLE Awarded. Fellowships only   2024/03/01   2027/02/28     $84,188      $84,188     $49,845    $42,094
                                                                          Using molecular quantitative trait loci mapping
                                                                          approaches to determine candidate gene
                                        UNIV OF NORTH CAROLINA            regulatory mechanisms of functional variants within
1,246 F31DK137574   5F31DK137574-02     CHAPEL HILL                       inflammatory bowel disease GWAS loci.               NISHIYAMA, NINA        Awarded. Fellowships only   2024/03/01   2026/02/28    $85,148    $85,148    $49,787    $42,574

                                        UNIV OF MASSACHUSETTS MED SCH Modulation of Somatic Repeat Expansion as a
1,247 F31NS132424   5F31NS132424-03     WORCESTER                     Therapeutic Approach to Huntingtons Disease               BELGRAD, JILLIAN     Awarded. Fellowships only   2023/04/01   2026/07/31    $99,994    $99,994    $66,489    $33,758

                                                                          Genetic determinants of endoplasmic reticulum
                                        UNIVERSITY OF CALIFORNIA LOS      stress in OI and its consequences on cellular
1,248 F30HD113414   5F30HD113414-02     ANGELES                           receptors                                             KOT, ALEXANDER       Awarded. Fellowships only   2024/03/15   2027/03/14    $95,333    $95,333    $41,104    $53,974

                                        MEDICAL UNIVERSITY OF SOUTH       Elucidating the role of Myosin 5b in microvilli
1,249 F31DK139736   5F31DK139736-02     CAROLINA                          assembly and in the setting of inflammation           DOOLEY, SARAH A      Awarded. Fellowships only   2024/04/01   2027/03/31    $89,396    $89,396    $42,395    $44,698

                                                                          Identification and structural basis of a potential
1,250 F31CA284555   5F31CA284555-02     UNIVERSITY OF ROCHESTER           licensing factor of the Integrator cleavage module    JENSEN, MADELINE K   Awarded. Fellowships only   2024/02/01   2027/01/31    $97,948    $97,948    $56,125    $48,974

                                        UT SOUTHWESTERN MEDICAL
1,251 F31DK126391   5F31DK126391-05     CENTER                            Bacterial Regulation of Intestinal Lipid Metabolism   KOO, EUGENE          Awarded. Fellowships only   2021/04/01   2026/03/31   $177,740   $177,740   $138,685    $36,836

                                                                          Mechanisms of Lymphatic Metastasis in Pancreatic      KAHN, BENJAMIN
1,252 F30CA281080   1F30CA281080-01A1   UNIVERSITY OF PENNSYLVANIA        Ductal Adenocarcinoma                                 MICHAEL              Awarded. Fellowships only   2025/04/01   2026/05/31    $36,662    $36,662     $2,352    $36,662

                                                                          Generative Modeling of Excitation:Inhibition
1,253 F31MH136686   1F31MH136686-01A1   WASHINGTON UNIVERSITY             Balance Abnormalities in Schizophrenia                PINE, JACOB          Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $16,464    $48,974

                                                                          Dissecting How SYNJ2 Facilitates mRNA Targeting
1,254 F31NS141483   1F31NS141483-01     HARVARD MEDICAL SCHOOL            and Translation at Neuronal Mitochondria              PENA, NICOLAI        Awarded. Fellowships only   2025/05/01   2028/02/29    $43,203    $43,203        $0     $43,203

                                                                          Characterization of the antimalarial drug resistance
                                        UNIV OF NORTH CAROLINA            landscape in Kinshasa Province, Democratic
1,255 F30AI179110   5F30AI179110-02     CHAPEL HILL                       Republic of the Congo                                FRANCOIS, RUTHLY      Awarded. Fellowships only   2024/04/01   2029/03/31    $88,024    $88,024    $41,046    $44,012
1,256 F31HD117477   1F31HD117477-01     PRINCETON UNIVERSITY              Dynamics of Developmental Defect Formation            SIMPKINS, ALISON     Awarded. Fellowships only   2025/01/01   2027/12/31    $32,974    $32,974     $7,056    $32,974

                                                                          Infant word learning and word recognition under       BEECH, CAROLINE
1,257 F31HD113235   5F31HD113235-02     UNIVERSITY OF PENNSYLVANIA        realistic phonetic conditions                         WENDELL              Awarded. Fellowships only   2024/01/01   2025/12/31    $96,668    $96,668    $66,100    $48,974

                                                                          Stereochemical Editing of Quaternary Stereocenters
                                        MASSACHUSETTS INSTITUTE OF        Enabled by Enantioselective Recombination of C–C
1,258 F32GM153117   5F32GM153117-02     TECHNOLOGY                        Bonds                                              HWANG, TAEHWAN          Awarded. Fellowships only   2024/01/19   2027/01/18   $147,236   $147,236    $73,183    $73,828

                                        UNIVERSITY OF PITTSBURGH AT       Impact of LAG3 on CD8+ T cell motility and            BAESSLER, ANDREW
1,259 F32CA298301   1F32CA298301-01     PITTSBURGH                        migration in the context of cancer immunotherapy      STEPHEN              Awarded. Fellowships only   2025/03/01   2026/02/28    $74,284    $74,284     $5,269    $74,284

                                                                          Role of Hofbauer cells in prenatal inflammation at
1,260 F30HD115297   1F30HD115297-01A1   MAYO CLINIC ROCHESTER             the maternal-fetal interface                          WENG, JESSICA        Awarded. Fellowships only   2025/01/01   2028/12/31    $49,174    $49,174     $3,940    $49,174

                                                                          3D Human Bone Marrow Microphysiological System
                                        UNIVERSITY OF CALIFORNIA AT       Used to Investigate HSPC Mobilization via
1,261 F31AI189814   1F31AI189814-01     DAVIS                             Inflammation-Derived ExtracellularVesicles     ZARATE-SANCHEZ, EVELYN Awarded. Fellowships only        2025/01/01   2027/12/31    $42,058    $42,058    $16,279    $42,058

                                                                          Identifying molecular mechanisms contributing to
                                                                          disease etiology and the neurological symptoms
1,262 F31NS141217   1F31NS141217-01     MAYO CLINIC ROCHESTER             associated with pediatric DPD deficiency              BEMBENEK, BRIANNA    Awarded. Fellowships only   2025/04/01   2028/03/31    $48,974    $48,974        $0     $48,974

                                                                          Understanding the Mechanisms and Consequences RAMOS-LEWIS, WILLIAM
1,263 F32AG077907   5F32AG077907-03     DUKE UNIVERSITY                   of Basement Membrane Aging in Vivo            DAVID                        Awarded. Fellowships only   2023/01/01   2025/12/31   $223,230   $223,230   $171,706    $78,892

                                                                          Endocrine Disruption of the Developing Dopamine
1,264 F32ES034257   5F32ES034257-03     UNIVERSITY OF TEXAS AT AUSTIN     System                                                HILZ, EMILY NICOLE   Awarded. Fellowships only   2023/02/01   2026/01/31   $220,120   $220,120   $152,237    $76,756

                                        CINCINNATI CHILDRENS HOSP MED Effects of early Retinoic Acid signaling on valve         FERNANDES, ANDREW
1,265 F31HL172346   5F31HL172346-02     CTR                           development                                               THEODORE DAVID       Awarded. Fellowships only   2024/02/01   2028/01/31    $83,830    $83,830    $34,116    $41,915
1,266 F32HD112123   5F32HD112123-02     BAYLOR COLLEGE OF MEDICINE        Nutrition Regulates Sexual Function                   WANG, MENGJIE        Awarded. Fellowships only   2024/02/01   2026/01/31   $166,256   $166,256    $94,101    $84,364

                                                                          Childrens Research Institute Hematology Research                           Awarded. Non-fellowships
1,267 T32HL110841   5T32HL110841-12     CHILDREN'S RESEARCH INSTITUTE     Training Grant                                        LUBAN, NAOMI L       only                        2012/02/01   2029/02/28   $260,098   $260,098    $63,438   $146,179
                                                                         Deciphering a tissue specific role for Arhgap29
1,268 F31DE033222   5F31DE033222-02     UNIVERSITY OF IOWA               during palatogenesis                                 ADELIZZI, EMILY          Awarded. Fellowships only   2024/03/01   2027/02/28     $71,532      $71,532      $38,096     $36,445

                                                                         Mechanisms of Presynaptic Maintenance in C.
1,269 F32NS129942   5F32NS129942-03     STANFORD UNIVERSITY              elegans                                              HERBST, WENDY            Awarded. Fellowships only   2023/02/15   2026/02/14    $225,148     $225,148     $152,443     $78,892

                                                                         Data Science Foundations: Tools and Statistics for                            Awarded. Non-fellowships
1,270 T32GM133352   3T32GM133352-05S1   DUKE UNIVERSITY                  Modern Biomedical Research in the Cloud              KUHN, CYNTHIA M          only                        2020/07/01   2025/06/30   $3,156,440   $3,156,440   $2,907,768   $151,556

                                                                         Neural Indices of Social and Monetary Reward
                                        STATE UNIVERSITY OF              Processing as Predictors of Real-World Pleasure and
1,271 F31MH135649   5F31MH135649-02     NY,BINGHAMTON                    Affect in Adolescents at Risk for Depression        ISRAEL, ELANA             Awarded. Fellowships only   2024/03/14   2026/03/13     $67,416      $67,416      $36,493     $33,708

                                        BOSTON UNIVERSITY (CHARLES       Assessment of real-time reading comprehension in     SCIMECA, MICHAEL
1,272 F31DC021628   5F31DC021628-02     RIVER CAMPUS)                    bilinguals with aphasia                              DAVID                    Awarded. Fellowships only   2024/01/01   2025/12/31     $77,498      $77,498      $40,037     $38,890

                                                                     PBRM1 bromodomain missense mutations in ccRCC
1,273 F30CA278386   5F30CA278386-03     MEDICAL COLLEGE OF WISCONSIN vascular signaling                            BURSCH, KARINA LYNN                 Awarded. Fellowships only   2023/05/01   2028/04/30    $151,912     $151,912      $90,539     $51,064

                                        UNIV OF NORTH CAROLINA           NCCIH T32 Complementary and Integrative Health                                Awarded. Non-fellowships
1,274 T32AT003378   3T32AT003378-18S1   CHAPEL HILL                      Practitioner Supplement (Molinini)                   GAYLORD, SUSAN           only                        2007/07/01   2027/06/30   $1,293,650   $1,293,650   $1,147,609    $99,647

                                                                         Identifying the contribution of a brainstem circuit to
1,275 F32DK135401   3F32DK135401-02S1   UNIVERSITY OF PENNSYLVANIA       compulsive food seeking                                SMITH, NICHOLAS K      Awarded. Fellowships only   2023/08/01   2025/07/31    $146,364     $146,364     $126,820      $3,000

                                        OREGON HEALTH & SCIENCE          Food and Light Cue Entrainment of the Ovulation
1,276 F31HD118670   1F31HD118670-01     UNIVERSITY                       Stimulating HPG Axis                                 PAPICH, ZACHARY          Awarded. Fellowships only   2025/04/09   2028/04/08     $48,974      $48,974           $0     $48,974

                                        UNIVERSITY OF COLORADO           Nicotinic modulation of excitatory synapse           GOMEZ WULSCHNER, LUIS
1,277 F31DA060091   5F31DA060091-02     DENVER                           development in the prefrontal cortex                 E                     Awarded. Fellowships only      2024/02/01   2026/01/31     $73,182      $73,182      $46,198     $36,591

                                                                                                                              DROUILLARD, DONOVAN
1,278 F30CA291095   5F30CA291095-02     MEDICAL COLLEGE OF WISCONSIN The role of CCR6 in Pancreatic Cancer and Tregs          G                   Awarded. Fellowships only        2024/04/15   2028/04/14    $102,128     $102,128      $49,910     $51,064

                                        UNIVERSITY OF WISCONSIN-
1,279 F32AI172434   5F32AI172434-03     MADISON                          Biosynthesis of Non-Native Autoinducing Peptides     WIDNER, DANIELLE LEE     Awarded. Fellowships only   2023/03/01   2026/02/28    $219,664     $219,664     $143,372     $76,756

                                                                         Multiparametric characterization of periodontal
                                                                         tissues for inflammation monitoring using
                                        UNIVERSITY OF MICHIGAN AT ANN    quantitative ultrasound, texture analysis and
1,280 F32DE034986   1F32DE034986-01     ARBOR                            machine learning                                     POUL, DARIA              Awarded. Fellowships only   2025/04/01   2027/03/31     $74,284      $74,284           $0     $74,284

                                                                         Investigating Mechanisms of D. melanogaster
                                                                         Histone Locus Body (HLB) Initiation and
1,281 F31HD118798   1F31HD118798-01     EMORY UNIVERSITY                 Maintenance                                          ROOS, NICOLE SUNALEE     Awarded. Fellowships only   2025/04/01   2028/03/31     $48,974      $48,974           $0     $48,974

                                        WAKE FOREST UNIVERSITY HEALTH    Investigating NOP agonists as a novel treatment for
1,282 F31DA063322   1F31DA063322-01     SCIENCES                         chronic pain-associated sleep disruptions           PIERCE, BETHANY ELLIOTT   Awarded. Fellowships only   2025/04/21   2028/04/20     $48,974      $48,974           $0     $48,974

                                                                         Interdisciplinary Graduate Program in Type 1                                  Awarded. Non-fellowships
1,283 T32DK108736   3T32DK108736-08S1   UNIVERSITY OF FLORIDA            Diabetes and Biomedical Engineering                  ATKINSON, MARK A         only                        2017/09/01   2027/08/31    $616,896     $616,896     $514,968     $49,881

                                                                         Auditory perceptual processing in the primate        CONROY, CHRISTOPHER
1,284 F32DC022778   1F32DC022778-01     STATE COLLEGE OF OPTOMETRY       superior colliculus                                  WOOD                     Awarded. Fellowships only   2025/02/15   2028/02/14     $77,284      $77,284           $0     $77,284

                                                                         Role of the Septin Cytoskeleton in Plasma            PRISLUSKY, MAURI
1,285 F31AI186513   1F31AI186513-01A1   OHIO STATE UNIVERSITY            Membrane Repair                                      ISABELLA A               Awarded. Fellowships only   2025/02/01   2027/01/31     $44,015      $44,015       $5,090     $44,015

                                                                                                                                                       Awarded. Non-fellowships
1,286 T32GM136577   3T32GM136577-05S1   JOHNS HOPKINS UNIVERSITY         Medical Scientist Training Program                   COX, ANDREA L            only                        2020/07/01   2025/06/30   $9,307,687   $9,307,687   $8,414,450    $59,936

                                                                                                                                                       Awarded. Non-fellowships
1,287 T32HD007491   5T32HD007491-28     UNIVERSITY OF UTAH               Developmental Biology Training Program               KWAN, KRISTEN M          only                        1995/09/29   2028/04/30   $1,321,762   $1,321,762    $634,847    $462,452

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Mechanisms by which alcohol disrupts astrocytic
1,288 F32AA031898   7F32AA031898-02     CENTER                           control of neuronal excitability                     EZERSKIY, LUBOV          Awarded. Fellowships only   2024/10/01   2025/09/30     $73,408      $73,408      $42,779     $73,408

                                                                         Lipid Flippases in the Function and Degeneration of
1,289 F30DC023139   1F30DC023139-01     UNIVERSITY OF VIRGINIA           Sensory Hair Cells                                  DE HOYOS, HENRY           Awarded. Fellowships only   2025/05/01   2029/04/30     $38,381      $38,381           $0     $38,381
                                                                         Cellular and functional heterogeneity of
                                                                         interhemispheric connections in the anterior        NEWMAN, LEANNAH
1,290 F31DC022138   1F31DC022138-01A1   HARVARD MEDICAL SCHOOL           olfactory nucleus                                   NICOLE                  Awarded. Fellowships only   2025/02/01   2027/01/31     $36,983      $36,983           $0     $36,983

                                                                         Fate Specification of CFTR High Expresser Cells in the
1,291 F31DK137452   5F31DK137452-02     YALE UNIVERSITY                  Intestine                                              ZAGOREN, ELEANOR     Awarded. Fellowships only   2024/02/01   2026/01/31     $67,844      $67,844      $35,250     $33,922

                                                                      Defining the role of premature infant microbial
                                        WEILL MEDICAL COLL OF CORNELL dysbiosis in mediating immune development and
1,292 F32HD112151   1F32HD112151-01A1   UNIV                          response to infection                                  BROWN, JULIA            Awarded. Fellowships only   2024/11/01   2027/10/31     $85,864      $85,864      $32,758     $85,864

                                        UNIVERSITY OF TEXAS MED BR       Mechanisms of trans-synaptic pathological tau       KADAMANGUDI,
1,293 F30AG085974   1F30AG085974-01     GALVESTON                        spreading in the human brain                        SHRINATH                Awarded. Fellowships only   2024/08/01   2028/07/31     $48,603      $48,603      $29,819     $48,603


                                                                         Developing a Framework to Advance Cultural
                                                                         Sensitivity and Accommodate Behavioral Variability
                                                                         in Toddler Autism Screening: A Mixed-Methods Cross-
                                                                         Cultural Approach to Improve Autism Screening
1,294 F31MH133296   5F31MH133296-02     UNIVERSITY OF WASHINGTON         Accuracy                                            ATTAR, SHANA M          Awarded. Fellowships only   2023/06/16   2026/06/15    $102,168     $102,168      $87,514     $51,974

                                                                                                                                                     Awarded. Non-fellowships
1,295 T32HD057822   5T32HD057822-15     UNIVERSITY OF WASHINGTON         Pediatric Injury Research Training Program          RIVARA, FREDERICK P     only                        2010/05/05   2026/04/30   $1,406,330   $1,406,330    $966,521    $301,127

                                        UNIVERSITY OF CALIFORNIA, SAN    Medical Scientist Training Program (T32 NRSA                                Awarded. Non-fellowships
1,296 T32GM141323   5T32GM141323-04     FRANCISCO                        Training Grant)                                     KAO, AIMEE              only                        2021/07/01   2026/06/30   $6,974,454   $6,974,454   $6,481,411 $1,798,078

                                                                         Androgen Enhancement of E. coli Hemolysin Toxicity
1,297 F31AI176711   1F31AI176711-01A1   WASHINGTON UNIVERSITY            during Pyelonephritis.                             KUHN, HUNTER W           Awarded. Fellowships only   2024/08/01   2026/07/31     $35,482      $35,482      $23,094     $35,482

                                                                                                                               SAEZ GONZALEZ,
1,298 F31GM153141   1F31GM153141-01     JOHNS HOPKINS UNIVERSITY         The role of acetylated microtubules in cell migration CRISTIAN J            Awarded. Fellowships only   2024/06/20   2026/06/19     $48,974      $48,974      $44,340     $48,974

                                                                         Comprehensive Mechanisms in Reproductive                                    Awarded. Non-fellowships
1,299 T32HD098068   5T32HD098068-05     BAYLOR COLLEGE OF MEDICINE       Sciences                                            PANGAS, STEPHANIE A     only                        2020/05/01   2026/04/30   $2,051,782   $2,051,782   $1,714,771   $410,676

                                        UNIVERSITY OF KANSAS MEDICAL     Translating Obesity, Metabolic Dysfunction and                              Awarded. Non-fellowships
1,300 T32DK128770   5T32DK128770-03     CENTER                           Comorbid Disease States                             WRIGHT, DOUGLAS E       only                        2022/06/01   2027/05/31    $491,127     $491,127     $340,072    $170,413

                                                                                                                                                     Awarded. Non-fellowships
1,301 T32NR020315   5T32NR020315-03     JOHNS HOPKINS UNIVERSITY         Strength-Based Health Equity Across the Life Course HAN, HAE-RA             only                        2022/07/01   2027/06/30   $1,049,849   $1,049,849    $864,938    $410,796

                                                                         Multimodal Delineation of Neurodegenerative                                 Awarded. Non-fellowships
1,302 T32NS131190   5T32NS131190-02     YALE UNIVERSITY                  Mechanisms                                          STRITTMATTER, STEPHEN M only                        2023/07/01   2028/06/30    $530,428     $530,428     $255,876    $368,999

                                                                         Community Building in Group Antenatal Care in
1,303 F31NR021094   1F31NR021094-01     JOHNS HOPKINS UNIVERSITY         Malawi                                              BATCHELDER, ANNE        Awarded. Fellowships only   2024/05/15   2026/05/14     $51,974      $51,974      $44,718     $51,974

                                                                        Inducing PKM splice-switching with antisense
                                        STATE UNIVERSITY NEW YORK STONY oligonucleotides as an approach to treat
1,304 F30CA271804   5F30CA271804-03     BROOK                           hepatocellular carcinoma                             VOSS, DILLON MATTHEW    Awarded. Fellowships only   2022/06/01   2027/05/31    $120,329     $120,329     $114,827     $41,277

                                        TEMPLE UNIV OF THE               Training Program: Drugs of Abuse & Related                                  Awarded. Non-fellowships
1,305 T32DA007237   5T32DA007237-35     COMMONWEALTH                     Neuropeptides                                       UNTERWALD, ELLEN M      only                        1988/09/01   2025/06/30   $1,833,676   $1,833,676   $2,198,883   $445,539

                                                                         Brown School Training Program in Mental Health                              Awarded. Non-fellowships
1,306 T32MH019960   5T32MH019960-30     WASHINGTON UNIVERSITY            Services Research                                   CABASSA, LEOPOLDO J     only                        1995/08/01   2025/06/30   $2,239,222   $2,239,222   $1,950,547   $417,080

                                                                         Investigating the conformational changes of the
                                        UNIVERSITY OF CONNECTICUT        portal protein that drive DNA packaging in a dsDNA
1,307 F31GM147952   5F31GM147952-02     STORRS                           virus                                              LEROUX, MAKAYLA          Awarded. Fellowships only   2023/05/23   2025/11/24     $91,672      $91,672      $87,236     $46,476

                                                                         Surgeon-Scientist Research Training in Injury                               Awarded. Non-fellowships
1,308 T32GM144274   5T32GM144274-02     UNIVERSITY OF SOUTH FLORIDA      Pathobiology and Outcomes In Critical Illness       MAJETSCHAK, MATTHIAS    only                        2023/07/01   2028/06/30    $267,101     $267,101     $208,234    $182,924

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                Awarded. Non-fellowships
1,309 T32DK094775   5T32DK094775-12     ARBOR                            Training in Basic and Translational Digestive Sciences KAO, JOHN Y          only                        2012/07/01   2028/06/30    $457,625     $457,625     $380,740    $235,718

                                                                                                                                                     Awarded. Non-fellowships
1,310 T32MH015755   5T32MH015755-45     UNIVERSITY OF MINNESOTA          Developmental Psychopathology                       GUNNAR, MEGAN R         only                        1979/07/01   2028/06/30    $559,917     $559,917     $530,286    $261,163
                                        CHILDREN'S HOSP OF                                                                                           Awarded. Non-fellowships
1,311 T32NS007413   5T32NS007413-27     PHILADELPHIA                      Training Program in Neurodevelopmental Disabilities EISCH, AMELIA J        only                        1998/07/01   2028/06/30    $839,021     $839,021     $590,223    $303,323

                                        UT SOUTHWESTERN MEDICAL           alpha7 nicotinic acetylcholine receptor allosteric
1,312 F31DA059092   5F31DA059092-02     CENTER                            modulation and native structure                      BURKE, SEAN MICHAEL   Awarded. Fellowships only   2023/07/01   2027/06/30     $69,074      $69,074      $55,055     $35,177

                                        NORTHWESTERN UNIVERSITY AT                                                                                   Awarded. Non-fellowships
1,313 T32DK077662   5T32DK077662-17     CHICAGO                           Transplant Surgery Scientist Training Program        GREEN, RICHARD M      only                        2007/07/01   2028/06/30    $534,467     $534,467     $393,895    $289,181

                                                                          Machine Learning Methods to Predict Cancer
1,314 F30CA268631   5F30CA268631-03     HARVARD MEDICAL SCHOOL            Progression and Estimate Treatment Effectiveness     HUSSAIN, ZESHAN M     Awarded. Fellowships only   2022/06/01   2027/02/28    $158,420     $158,420     $154,757     $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN     Regulation of stress and depression by hormonal
1,315 F31HD114532   1F31HD114532-01     ARBOR                             contraceptives                                       SCHUH, KRISTEN        Awarded. Fellowships only   2024/08/01   2026/07/31     $42,459      $42,459      $37,467     $42,459

                                                                          Research Training in Childhood Stress, Trauma, and                         Awarded. Non-fellowships
1,316 T32HD101392   5T32HD101392-05     MIRIAM HOSPITAL                   Resilience                                           STROUD, LAURA R       only                        2020/05/01   2026/04/30   $1,693,907   $1,693,907   $1,346,593   $359,024

                                        VIRGINIA COMMONWEALTH             Resting State fMRI Functional and Effective
1,317 F30DA054769   5F30DA054769-03     UNIVERSITY                        Connectivity in Opioid and Cocaine Use Disorders     WOISARD, KYLE         Awarded. Fellowships only   2022/06/10   2025/06/09    $123,065     $123,065     $105,564     $42,189

                                                                          BNST circuitry to hypothalamic regions in stress-
1,318 F31MH132322   5F31MH132322-02     UNIVERSITY OF COLORADO            induced avoidance                                    LY, ANNIE             Awarded. Fellowships only   2023/08/16   2026/08/15     $81,564      $81,564      $52,226     $41,422

                                                                                                                                                     Awarded. Non-fellowships
1,319 T32DK007563   5T32DK007563-37     VANDERBILT UNIVERSITY             Multidisciplinary Training in Molecular Endocrinology O'BRIEN, RICHARD M   only                        1998/07/01   2028/06/30   $1,384,839   $1,384,839    $748,600    $704,217

                                                                          MicroRNA-31 regulates neutrophil migration and
1,320 F31AI176822   1F31AI176822-01A1   PURDUE UNIVERSITY                 activation                                           PIKES, TYLER          Awarded. Fellowships only   2024/05/13   2026/05/12     $48,974      $48,974      $43,349     $48,974

                                                                                                                                                     Awarded. Non-fellowships
1,321 T32HL007525   5T32HL007525-40     JOHNS HOPKINS UNIVERSITY          Training Program in Hematology                       BRODSKY, ROBERT A     only                        1982/07/01   2026/03/31   $1,576,790   $1,576,790   $1,407,136   $235,340

                                        UNIVERSITY OF TEXAS MED BR                                                                                   Awarded. Non-fellowships
1,322 T32GM008256   5T32GM008256-32     GALVESTON                         Postdoctoral Training in Trauma and Burns            WOLF, STEVEN ERIC     only                        1990/07/01   2028/06/30    $400,572     $400,572     $251,650    $209,264

                                                                          Mental Health Services and Systems Training                                Awarded. Non-fellowships
1,323 T32MH109436   5T32MH109436-07     JOHNS HOPKINS UNIVERSITY          Program                                              STUART, ELIZABETH A   only                        2017/07/01   2028/06/30    $292,414     $292,414     $269,230    $166,266

                                        UNIVERSITY OF PITTSBURGH AT       HIV/Mycobacterium tuberculosis co-infection:         MEDRANO, JESSICA
1,324 F31AI181616   1F31AI181616-01     PITTSBURGH                        cellular dynamics in granulomas                      MARIE                 Awarded. Fellowships only   2024/12/01   2027/11/30     $53,974      $53,974      $10,153     $53,974

                                                                          INVESTigations of Muscle and Bone Health:
                                        WAKE FOREST UNIVERSITY HEALTH     Developing Automated Approaches for CT-Based
1,325 F31AG086010   1F31AG086010-01     SCIENCES                          Analyses                                             LYNCH, DELANIE        Awarded. Fellowships only   2024/06/12   2027/06/11     $97,948      $48,974      $43,326     $48,974

                                                                          Leveraging a budding yeast model to characterize
                                                                          the functional consequences of mutations in histone
1,326 F32GM153152   1F32GM153152-01     EMORY UNIVERSITY                  genes that are implicated in human disease          JONES, CELINA YVONNE   Awarded. Fellowships only   2024/06/01   2026/05/31     $73,828      $73,828      $51,624     $73,828

                                        BOSTON UNIVERSITY (CHARLES        Simultaneous Optical Voltage Imaging and fMRI in
1,327 F31NS118949   5F31NS118949-03     RIVER CAMPUS)                     Behaving Mice                                        DORAN, PATRICK        Awarded. Fellowships only   2022/06/01   2025/05/31    $117,618     $117,618     $107,016     $40,593

                                                                          Longitudinal associations between maternal and
                                                                          child emotion regulation: Examining the role of
1,328 F31HD110172   5F31HD110172-02     UNIVERSITY OF NOTRE DAME          maternal emotion-related socialization behaviors     EDLER, KATHERINE A    Awarded. Fellowships only   2023/05/16   2026/05/15     $83,868      $83,868      $82,604     $42,574

                                        UNIVERSITY OF CALIFORNIA, SAN     Training Program in Substance Use, HIV and Related                         Awarded. Non-fellowships
1,329 T32DA023356   5T32DA023356-18     DIEGO                             Infections                                         MARTIN, NATASHA         only                        2007/07/05   2027/06/30   $1,670,645   $1,670,645   $1,330,709   $583,334

                                                                          Development of novel bacteriophage-based
                                                                          therapies to combat Pseudomonas aeruginosa and
1,330 F31AI181559   1F31AI181559-01     OHIO STATE UNIVERSITY             Candida spp. dual-species biofilms.            LAM, CHARLTON               Awarded. Fellowships only   2024/08/01   2027/04/30     $37,359      $37,359      $26,314     $37,359

                                                                          Research Training Program in Substance Abuse                               Awarded. Non-fellowships
1,331 T32DA019426   5T32DA019426-20     YALE UNIVERSITY                   Prevention                                           TEBES, JACOB K        only                        2005/07/01   2026/06/30   $2,145,096   $2,145,096   $2,047,178   $502,017

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Postdoctoral Training in Drug Abuse Research:                               Awarded. Non-fellowships
1,332 T32DA031115   5T32DA031115-14     CENTER                           Behavior & Neurobiology                               FRANCE, CHARLES P     only                        2011/07/01   2026/06/30   $1,366,453   $1,366,453   $1,150,885   $182,963
                                                                         Multi-Institutional Training in Genetic/Genomic                              Awarded. Non-fellowships
1,333 T32HL110952   5T32HL110952-10     UNIVERSITY OF PENNSYLVANIA       Approaches to Sleep Disorders                        PACK, ALLAN I           only                        2013/07/13   2025/06/07   $2,648,686   $2,648,686   $2,632,138   $260,267

                                                                         Beyond dopamine: dual neuromodulator regulation SCHREINER, DREW
1,334 F32MH132152   5F32MH132152-02     DUKE UNIVERSITY                  of motor variability and learning               CLINTON                      Awarded. Fellowships only   2023/07/01   2026/06/30    $153,364     $153,364     $130,405     $79,284

                                                                         Antimicrobial Resistance and Therapeutic Discovery SHAFER, WILLIAM           Awarded. Non-fellowships
1,335 T32AI106699   5T32AI106699-10     EMORY UNIVERSITY                 Training Program                                   MAURICE                   only                        2014/06/01   2026/05/31   $1,290,367   $1,290,367   $1,216,126   $267,847

                                        UNIVERSITY OF COLORADO                                                                                        Awarded. Non-fellowships
1,336 T32HL007822   5T32HL007822-25     DENVER                           Post Graduate Studies in Cardiovascular Research     BUTTRICK, PETER N       only                        1996/07/01   2025/06/30   $1,664,180   $1,664,180   $1,581,229   $243,985

                                                                         Detection and treatment of breast and colorectal
                                        UNIV OF NORTH CAROLINA           cancer in dual eligible beneficiaries in the Medicare
1,337 F30CA254064   5F30CA254064-04     CHAPEL HILL                      Sharing Savings Program                               OH, NUL L              Awarded. Fellowships only   2020/07/09   2025/07/07    $181,334     $181,334     $173,092     $53,974

                                        COLUMBIA UNIVERSITY HEALTH       Columbia Integrated Training Program in Infectious   UHLEMANN, ANNE-         Awarded. Non-fellowships
1,338 T32AI100852   5T32AI100852-12     SCIENCES                         Diseases Research                                    CATRIN                  only                        2013/06/01   2028/05/31    $361,623     $361,623     $299,412    $188,707

                                                                         The transcriptome-wide impact of biological
1,339 F31HG013036   5F31HG013036-02     HARVARD MEDICAL SCHOOL           perturbations                                        NADIG, AJAY             Awarded. Fellowships only   2023/05/01   2025/07/31     $72,432      $72,432      $60,672     $36,856

                                        BETH ISRAEL DEACONESS MEDICAL                                                                         Awarded. Non-fellowships
1,340 T32HL007917   2T32HL007917-26     CENTER                        Program in Blood Coagulation and Vascular Biology FLAUMENHAFT, ROBERT C only                                1999/07/01   2029/08/31    $689,012     $689,012      $36,366    $689,012

                                        UNIVERSITY OF MARYLAND                                                                LACOURSE, WILLIAM       Awarded. Non-fellowships
1,341 TL4GM118989   5TL4GM118989-10     BALTIMORE COUNTY                 STEM BUILD 2.0 at UBMC                               RICHARD                 only                        2014/09/26   2025/06/30    $710,713     $710,713    $4,341,222   $423,684

                                                                         Evaluation of Polygenic Risk Scores as a Valid
                                                                         Instrument to Conduct Mendelian Randomization in
1,342 F31HG013440   1F31HG013440-01     JOHNS HOPKINS UNIVERSITY         Diverse Ancestry Populations                     SHARMA, JAYATI              Awarded. Fellowships only   2024/11/01   2026/10/31     $48,974      $48,974      $26,112     $48,974

                                                                         TRAINING PROGRAM IN ANESTHESIOLOGY                                           Awarded. Non-fellowships
1,343 T32GM108539   2T32GM108539-11     WASHINGTON UNIVERSITY            RESEARCH                                             EVERS, ALEX S           only                        2014/07/01   2029/06/30    $552,540     $552,540     $293,132    $552,540

                                        NORTHWESTERN UNIVERSITY AT                                                                                    Awarded. Non-fellowships
1,344 T32HL076139   2T32HL076139-21     CHICAGO                          Training Program in Lung Sciences                    RIDGE, KAREN M          only                        2004/04/01   2029/06/30    $643,788     $643,788     $243,067    $643,788

                                                                         INTEGRATIVE PREDOCTORAL TRAINING IN DRUG                                     Awarded. Non-fellowships
1,345 T32DA024628   5T32DA024628-15     TRUSTEES OF INDIANA UNIVERSITY   ABUSE RESEARCH AT INDIANA UNIVERSITY                 MACKIE, KENNETH         only                        2008/07/01   2025/06/30   $1,048,157   $1,048,157    $993,923    $163,780

                                        UNIVERSITY OF CALIFORNIA LOS                                                                              Awarded. Non-fellowships
1,346 T32GM152342   1T32GM152342-01     ANGELES                          UCLA-Caltech Medical Scientist Training Program      DAWSON, DAVID WAYNE only                            2024/07/01   2029/06/30   $1,798,078   $1,798,078   $1,626,792 $1,798,078

                                                                                                                                                      Awarded. Non-fellowships
1,347 T32MH019927   5T32MH019927-30     RHODE ISLAND HOSPITAL            Research Training in Child Mental Health             SPIRITO, ANTHONY        only                        1994/08/01   2025/06/30   $1,994,341   $1,994,341   $1,886,513   $383,321

                                                                                                                                                      Awarded. Non-fellowships
1,348 T32CA009686   5T32CA009686-27     GEORGETOWN UNIVERSITY            Training Grant In Tumor Biology                      RIEGEL, ANNA TATE       only                        1996/07/01   2025/08/31   $1,772,320   $1,772,320   $1,850,725   $304,503

                                                                                                                                                      Awarded. Non-fellowships
1,349 T32CA229114   2T32CA229114-06A1   OHIO STATE UNIVERSITY            Training Program for Cancer Prevention and Control SHIELDS, PETER G          only                        2018/09/01   2029/08/31    $315,140     $315,140           $0    $315,140

                                        UNIVERSITY OF MICHIGAN AT ANN    Epigenetic regulation of keratinocyte function in
1,350 F31DK136199   5F31DK136199-02     ARBOR                            normal and pathologic skin repair                    MOON, JADIE             Awarded. Fellowships only   2023/08/01   2027/07/31     $84,774      $84,774      $84,774     $43,027

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
1,351 T32AI060537   5T32AI060537-20     FRANCISCO                        Microbial Pathogenesis and Host Defense              ENGEL, JOANNE N         only                        2004/08/01   2025/07/31   $1,580,948   $1,580,948   $1,576,057   $309,427

                                        TEMPLE UNIV OF THE               Interdisciplinary and Translational Research Training                        Awarded. Non-fellowships
1,352 T32MH079785   5T32MH079785-15     COMMONWEALTH                     in NeuroHIV                                           KHALILI, KAMEL         only                        2008/07/01   2025/08/31   $1,846,936   $1,846,936   $1,897,586   $513,955

                                                                                                                                                      Awarded. Non-fellowships
1,353 T32GM008721   2T32GM008721-26     UNIVERSITY OF FLORIDA            Molecular Biology in Burns and Trauma                EFRON, PHILIP A         only                        1999/07/01   2029/06/30    $353,436     $353,436     $261,183    $353,436

                                        UNIVERSITY OF KANSAS MEDICAL     Characterization of the Staphylococcus aureus
1,354 F31AI181362   1F31AI181362-01     CENTER                           fatty acid degradation pathway                       MENJIVAR, CINDY         Awarded. Fellowships only   2024/09/01   2028/08/31     $37,460      $37,460      $20,845     $37,460

                                                                         Improving Contraceptive Care for Pregnancy-
1,355 F31HD114364   1F31HD114364-01     UNIVERSITY OF WASHINGTON         Capable Veterans with Autoimmune Conditions          PLEASURE, ZOE HYPATIA   Awarded. Fellowships only   2024/07/15   2027/07/14     $48,974      $48,974      $41,520     $48,974
                                        UNIVERSITY OF COLORADO            Cancer Immunotherapy and Experimental                                            Awarded. Non-fellowships
1,356 T32CA236734   5T32CA236734-05     DENVER                            Therapeutics - T32                                        JIMENO, ANTONIO        only                        2019/07/08   2025/06/30   $1,252,967   $1,252,967   $1,158,480   $130,419

                                                                      Molecular Mechanisms of Pseudomonas
                                        UNIVERSITY OF CONNECTICUT SCH aeruginosa Antibiotic Persistence in Monocultures
1,357 F30DE032598   1F30DE032598-01A1   OF MED/DNT                    and Microbial Communities                                     HARE, PATRICIA JIN     Awarded. Fellowships only   2023/08/01   2027/07/31     $46,981      $46,981      $45,249     $44,481

                                                                          Biodefense & Infectious Diseases Short-Term Training                             Awarded. Non-fellowships
1,358 T35AI060528   5T35AI060528-20     UNIVERSITY OF VIRGINIA            to Increase Diversity in Biomedical Research         PETRI, WILLIAM A            only                        2004/06/01   2025/05/31    $318,878     $318,878     $277,245     $37,949

                                                                          Elizabeth City State University Minority Access to                               Awarded. Non-fellowships
1,359 T34GM100831   5T34GM100831-10     ELIZABETH CITY STATE UNIVERSITY   Research Careers (E-MARC)                                 BANERJEE, HIRENDRA N   only                        2012/06/01   2025/05/31    $691,864     $691,864     $690,562    $123,446

                                        BOSTON UNIVERSITY MEDICAL         Boston University Rheumatology Research Training                                 Awarded. Non-fellowships
1,360 T32AR080623   5T32AR080623-03     CAMPUS                            (BURRT) T32 Program                                       NEOGI, TUHINA          only                        2022/06/01   2027/05/31    $894,645     $894,645     $363,065    $300,217
1,361 F31GM145187   5F31GM145187-03     ANTONIO                           Structure-Function Relationship study of HupZ             TRAORE, EPHRAHIME      Awarded. Fellowships only   2022/07/01   2025/06/30    $117,020     $117,020      $96,199     $40,174

                                                                          Cross-disciplinary training in computational
                                                                          approaches to the neuroscience of audition and                                   Awarded. Non-fellowships
1,362 T32DC016903   2T32DC016903-06     UNIVERSITY OF PENNSYLVANIA        communication                                             COHEN, YALE E          only                        2018/07/01   2029/06/30    $196,304     $196,304      $36,321    $196,304

                                        UNIVERSITY OF TEXAS HLTH SCIENCE South Texas Medical Scientist Training Program (STX-                              Awarded. Non-fellowships
1,363 T32GM145432   5T32GM145432-02     CENTER                           MSTP)                                                CAVAZOS, JOSE E              only                        2023/07/01   2028/06/30   $1,112,204   $1,112,204    $950,053    $566,455

                                                                          A T cell STAT3/BATF-axis regulates intestinal γδ T cell
1,364 F31DK135369   5F31DK135369-02     PURDUE UNIVERSITY                 homeostasis and disease                                   ANDERSON, NICOLE       Awarded. Fellowships only   2023/08/21   2025/08/20     $79,656      $79,656      $59,933     $40,468

                                                                                                                                                           Awarded. Non-fellowships
1,365 T32AR073157   2T32AR073157-06     RUSH UNIVERSITY MEDICAL CENTER Pre and Post-Doctoral Training in Joint Health               SUMNER, D RICK         only                        2019/06/01   2029/05/31    $367,877     $367,877     $244,133    $367,877

                                                                                                                                                           Awarded. Non-fellowships
1,366 T32GM149363   5T32GM149363-02     VANDERBILT UNIVERSITY             Training in Pharmacological Sciences                      IVERSON, T M           only                        2023/07/01   2028/06/30    $541,830     $541,830     $413,367    $329,616

                                        UNIVERSITY OF CALIFORNIA, SAN     Training in Cardiovascular Physiology and                                        Awarded. Non-fellowships
1,367 T32HL007444   5T32HL007444-42     DIEGO                             Pharmacology                                              ROSS, ROBERT SCOTT     only                        1979/07/01   2028/06/30   $1,420,196   $1,420,196   $1,045,775   $723,873

                                        UNIVERSITY OF TEXAS SAN                                                                     BAREA-RODRIGUEZ,       Awarded. Non-fellowships
1,368 T34GM145507   5T34GM145507-03     ANTONIO                           MARC at the University of Texas at San Antonio            EDWIN J                only                        2022/06/01   2027/05/31   $1,518,134   $1,518,134   $1,407,459   $554,028

                                        WEILL MEDICAL COLL OF CORNELL                                                                                      Awarded. Non-fellowships
1,369 T32GM141949   5T32GM141949-04     UNIV                          Predoctoral Training in Pharmacological Sciences              GROSS, STEVEN S        only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,531,959   $439,487

                                                                          Molecular, Cellular, and Developmental                                           Awarded. Non-fellowships
1,370 T32GM145407   5T32GM145407-03     HARVARD MEDICAL SCHOOL            Mechanisms                                                VAN VACTOR, DAVID L    only                        2022/07/01   2027/06/30   $3,200,511   $3,200,511   $2,772,568 $1,098,718

                                                                                                                                                           Awarded. Non-fellowships
1,371 T32HG008962   5T32HG008962-09     UNIVERSITY OF UTAH                Training Program in Genomic Medicine                      JORDE, LYNN            only                        2016/06/01   2026/05/31   $1,142,434   $1,142,434   $1,192,823   $285,763

                                        UNIVERSITY OF MICHIGAN AT ANN     Mechanisms of adipocyte loss in mouse models of
1,372 F31DK135181   5F31DK135181-02     ARBOR                             familial partial lipodystrophy 2                          MAUNG, JESSICA NANDA Awarded. Fellowships only     2023/07/01   2025/12/31     $82,918      $82,918      $82,918     $42,099

                                                                          Cancer Research Training Program: From Molecular                                 Awarded. Non-fellowships
1,373 T32CA009109   5T32CA009109-48     UNIVERSITY OF VIRGINIA            Mechanisms to Therapeutic Strategies             DUDLEY, ANDREW CARL             only                        1976/07/01   2027/06/30   $1,164,105   $1,164,105   $1,038,376   $424,585

                                        UNIVERSITY OF CALIFORNIA, SAN     Tetrad: Genetics, Cell Biology, Biochemistry and                                 Awarded. Non-fellowships
1,374 T32GM139786   5T32GM139786-04     FRANCISCO                         Molecular Biology Training Grant                          JURA, NATALIA          only                        2021/07/01   2026/06/30   $4,296,587   $4,296,587   $3,798,343 $1,139,878

                                                                          The Quantitative Biological Systems Training (QBIST)                             Awarded. Non-fellowships
1,375 T32GM132037   2T32GM132037-06     NEW YORK UNIVERSITY               Program                                                   GRESHAM, DAVID         only                        2019/07/01   2029/06/30    $439,487     $439,487     $292,479    $439,487

                                                                                                                                                           Awarded. Non-fellowships
1,376 T32HL007249   5T32HL007249-47     UNIVERSITY OF ARIZONA             Interdisciplinary Training in Cardiovascular Research KONHILAS, JOHN P           only                        1977/07/01   2028/05/31   $1,359,149   $1,359,149   $1,185,071   $662,163

                                        UNIVERSITY OF CALIFORNIA, SAN     The role of the extracellular matrix in establishing
1,377 F31NS130956   5F31NS130956-02     FRANCISCO                         Schwann cell polarity                                     LILLIS, MONIQUE        Awarded. Fellowships only   2023/07/01   2026/06/30     $88,165      $88,165      $73,033     $45,009

                                        UNIVERSITY OF SOUTHERN                                                                                             Awarded. Non-fellowships
1,378 T32DK127977   5T32DK127977-03     CALIFORNIA                        Translational Research Training in Hepatology             TERRAULT, NORAH A      only                        2022/07/01   2027/06/30    $614,787     $614,787      $97,619    $266,515

                                        STATE UNIVERSITY OF NEW YORK AT Oral to Gut Microbiome Transmission in Periodontitis
1,379 F30GM146451   5F30GM146451-03     BUFFALO                         and Type 2 Diabetes                                  JUNE, ARMOND                  Awarded. Fellowships only   2022/06/01   2027/05/31    $120,581     $120,581      $66,606     $53,974
                                        UNIVERSITY OF CALIFORNIA LOS    Structural Insights into Leucine Transport for mTORC1
1,380 F32CA278619   5F32CA278619-02     ANGELES                         Activation                                            SAE HER, AMPON          Awarded. Fellowships only   2023/06/01   2026/05/31    $146,256     $146,256     $136,022     $76,756

                                                                        Understanding mitochondrial movement and               RUTTER, KAITLYN
1,381 F31EY033983   5F31EY033983-03     UNIVERSITY OF WASHINGTON        turnover in stressed and unstressed photoreceptors     MICHELLE               Awarded. Fellowships only   2022/06/01   2025/05/31    $126,621     $126,621      $83,247     $43,374

                                                                                                                                                      Awarded. Non-fellowships
1,382 T32GM145461   5T32GM145461-03     UNIVERSITY OF ROCHESTER         NIH Training Grant in Chemistry-Biology Interface      NILSSON, BRADLEY L     only                        2022/07/01   2027/06/30    $640,107     $640,107     $489,142    $219,744

                                        OREGON HEALTH & SCIENCE                                                                                       Awarded. Non-fellowships
1,383 T90DE030859   5T90DE030859-04     UNIVERSITY                      PORT (Portland Oral health Research Training)          WU, HUI                only                        2021/07/01   2026/06/30   $1,767,394   $1,767,394   $1,139,199   $508,802

                                                                                                                           KELLER, MATTHEW            Awarded. Non-fellowships
1,384 T32MH016880   5T32MH016880-43     UNIVERSITY OF COLORADO          Research Training: Mental Health Behavior Genetics CHARLES                    only                        1989/07/01   2025/06/30   $1,203,093   $1,203,093   $1,107,846   $243,392

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
1,385 T32DK007161   5T32DK007161-49     FRANCISCO                       Training Program in Pediatric Endocrinology            GITELMAN, STEPHEN E    only                        1976/07/01   2027/06/30    $802,870     $802,870     $762,929    $270,673

                                        VIRGINIA POLYTECHNIC INST AND                                                                                 Awarded. Non-fellowships
1,386 T32ES033959   5T32ES033959-02     ST UNIV                         Rural Environmental Health Training Program            GOHLKE, JULIA M        only                        2023/07/01   2028/06/30    $194,534     $194,534     $136,089    $146,232

                                                                                                                                                      Awarded. Non-fellowships
1,387 T32DK007074   5T32DK007074-51     UNIVERSITY OF CHICAGO           Digestive Health and Diseases (DHD) Training Grant     CHANG, EUGENE B        only                        1975/07/01   2025/06/30   $2,637,444   $2,637,444   $1,991,313   $568,921

                                                                                                                                                     Awarded. Non-fellowships
1,388 T32GM145467   5T32GM145467-03     UNIVERSITY OF GEORGIA           T32 Predoctoral training grant in Glycosciences        HALTIWANGER, ROBERT S only                         2022/07/01   2027/06/30    $640,103     $640,103     $461,897    $219,744

                                                                                                                                                      Awarded. Non-fellowships
1,389 T32AI052071   5T32AI052071-22     JOHNS HOPKINS UNIVERSITY        Research Training in Pediatric Infectious Diseases     JAIN, SANJAY           only                        2002/07/01   2028/07/31    $709,184     $709,184     $583,220    $362,691


                                        UNIVERSITY OF ALABAMA AT        Depleting Somatostatinergic Neurons Recapitulates
1,390 F30DK131911   5F30DK131911-03     BIRMINGHAM                      Diabetic Phenotypes In Brain and Adipose Tissue   ROSENCRANS, ROBERT F        Awarded. Fellowships only   2022/07/01   2025/06/30    $136,262     $136,262     $115,094     $50,936

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                 Awarded. Non-fellowships
1,391 T32AI095202   5T32AI095202-15     CENTER                          Childhood Infections Research Program                  CASSAT, JAMES E        only                        2011/08/01   2026/07/31   $1,035,496   $1,035,496   $1,015,210   $322,401

                                        BOSTON UNIVERSITY (CHARLES      Training Program in Quantitative Biology &                                    Awarded. Non-fellowships
1,392 T32GM145455   5T32GM145455-03     RIVER CAMPUS)                   Physiology (QBP)                                       WHITE, JOHN A          only                        2022/07/01   2027/06/30   $1,600,256   $1,600,256   $1,282,312   $549,359

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
1,393 T32AI060530   5T32AI060530-19     FRANCISCO                       Training in HIV Translational Research                 HAVLIR, DIANE V        only                        2005/09/05   2026/07/31   $1,017,506   $1,017,506    $887,534    $453,828

                                                                                                                                                      Awarded. Non-fellowships
1,394 T32HL007971   5T32HL007971-23     UNIVERSITY OF PENNSYLVANIA      Training grant in hemostasis and thrombosis            CAMIRE, RODNEY M       only                        2001/07/01   2027/06/30   $1,060,018   $1,060,018    $837,787    $332,182

                                                                        UOFL ENVIRONMENTAL HEALTH SCIENCES TRAINING                                   Awarded. Non-fellowships
1,395 T32ES011564   5T32ES011564-19     UNIVERSITY OF LOUISVILLE        PROGRAM                                                WISE, JOHN PIERCE      only                        2002/07/01   2026/06/30   $1,797,203   $1,797,203   $1,397,610   $456,674

                                        UNIVERSITY OF MARYLAND          Interdisciplinary Training Program in Cardiovascular                          Awarded. Non-fellowships
1,396 T32HL007698   5T32HL007698-29     BALTIMORE                       Disease                                                STRICKLAND, DUDLEY K   only                        1991/07/01   2027/06/30   $1,798,846   $1,798,846   $1,583,847   $613,096

                                                                                                                               THOMAS, DANNY          Awarded. Non-fellowships
1,397 TL1TR001437   5TL1TR001437-10     MEDICAL COLLEGE OF WISCONSIN J. NRSA Training Core                                     GEORGE                 only                        2015/08/18   2025/07/31   $1,951,861   $1,951,861   $1,873,111   $502,392

                                        UNIV OF NORTH CAROLINA                                                                                        Awarded. Non-fellowships
1,398 T32GM135122   5T32GM135122-04     CHAPEL HILL                     UNC Chemical Biology Interface Training Program        AUBE, JEFFREY          only                        2021/07/01   2026/06/30    $978,282     $978,282     $839,738    $281,364

                                        UNIVERSITY OF PITTSBURGH AT     Cardiovascular Behavioral Medicine Research                                   Awarded. Non-fellowships
1,399 T32HL007560   5T32HL007560-42     PITTSBURGH                      Training                                               THURSTON, REBECCA C    only                        1988/07/01   2028/07/31   $1,104,253   $1,104,253    $726,582    $546,430

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
1,400 T32AI007413   5T32AI007413-32     ARBOR                           Research Training in Experimental Immunology           MOORE, BETHANY B       only                        1993/05/01   2028/07/31   $1,050,551   $1,050,551   $1,048,074   $533,441

                                        WAKE FOREST UNIVERSITY HEALTH                                                                                 Awarded. Non-fellowships
1,401 T32TR004915   1T32TR004915-01     SCIENCES                        CTSA Postdoctoral T32 at Wake Forest                   TOOZE, JANET A         only                        2024/07/22   2029/06/30    $209,340     $209,340     $132,976    $209,340

                                        UNIVERSITY OF CALIFORNIA                                                                                      Awarded. Non-fellowships
1,402 T32EY007043   2T32EY007043-46A1   BERKELEY                        Training Program in Vision Science                     ROORDA, AUSTIN         only                        1982/07/01   2029/07/31    $555,162     $555,162     $396,393    $555,162

                                        UNIVERSITY OF MICHIGAN AT ANN   Social Determinants of Cardiovascular Health and
1,403 F31AG079636   5F31AG079636-02     ARBOR                           Mortality among Older Adults with Hearing Loss         TAN, NASYA S           Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $96,668     $48,974
                                                                                                                                                         Awarded. Non-fellowships
1,404 T32CA119925   2T32CA119925-16A1   VANDERBILT UNIVERSITY            Integrated Biological Systems Training in Oncology      TANSEY, WILLIAM PATRICK only                        2008/06/01   2029/08/31    $489,987     $489,987      $83,622    $489,987

                                        UNIVERSITY OF CALIFORNIA, SAN                                                            HERNANDEZ,              Awarded. Non-fellowships
1,405 T32GM139794   5T32GM139794-04     FRANCISCO                        UCSF/UCB Joint Graduate Group in Bioengineering         CHRISTOPHER JOHN        only                        2021/07/01   2026/06/30   $3,593,385   $3,593,385   $3,288,196   $824,039

                                        UNIVERSITY OF CALIFORNIA, SAN    microRNA regulation of osteocyte metabolism in
1,406 F30DE029986   5F30DE029986-04     FRANCISCO                        bone remodeling                                         YOON, JIHEE             Awarded. Fellowships only   2021/07/01   2026/06/30    $203,664     $203,664     $185,072     $54,774

                                                                                                                                                         Awarded. Non-fellowships
1,407 T32GM139775   5T32GM139775-03     HARVARD UNIVERSITY               Harvard Chemical Biology PhD Program                    COLE, PHILIP A          only                        2022/07/01   2027/06/30   $1,600,256   $1,600,256   $1,446,856   $549,359

                                                                                                                                                         Awarded. Non-fellowships
1,408 T32MH020016   2T32MH020016-26A1   STANFORD UNIVERSITY              Neuroscience Research Training                          MADUKE, MERRITT C       only                        1997/09/30   2029/06/30    $597,546     $597,546     $289,108    $597,546

                                        HARVARD SCHOOL OF PUBLIC                                                                                         Awarded. Non-fellowships
1,409 T32ES007069   5T32ES007069-45     HEALTH                           Training Program in Environmental Epidemiology          LADEN, FRANCINE         only                        1978/07/01   2025/06/30   $3,462,303   $3,462,303   $3,041,876   $738,920

                                        UNIVERSITY OF ILLINOIS AT URBANA-                                                                                Awarded. Non-fellowships
1,410 T32GM136629   5T32GM136629-05     CHAMPAIGN                         Training Program at the Chemistry Biology Interface HERGENROTHER, PAUL         only                        2020/07/01   2025/06/30   $3,013,495   $3,013,495   $2,531,582   $588,797

                                                                         Neurophysiological mechanisms of anhedonia and
                                                                         cognitive control deficits in trauma-exposed people
                                                                         completing vibroacoustically augmented breath
1,411 F32MH134631   5F32MH134631-02     EMORY UNIVERSITY                 focused mindfulness                                 MCDERMOTT, TIMOTHY          Awarded. Fellowships only   2023/08/14   2026/03/31    $142,512     $142,512     $114,559     $73,828

                                                                         Elucidation of Nanostructure and Function of
                                                                         Spontaneous GABAergic Transmission at the
1,412 F31MH132197   5F31MH132197-02     VANDERBILT UNIVERSITY            Inhibitory Synapse                                      GUZIKOWSKI, NATALIE     Awarded. Fellowships only   2023/06/01   2025/05/31     $67,309      $67,309      $60,492     $34,304

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
1,413 T32GM150479   1T32GM150479-01A1   FRANCISCO                        BMI Bioinformatics Training Grant                       HERNANDEZ, RYAN D       only                        2024/07/15   2029/06/30    $518,179     $518,179     $290,428    $518,179

                                                                         Establishing Sox9 as a regulator of intrahepatic bile
1,414 F31DK134199   5F31DK134199-03     EMORY UNIVERSITY                 duct development and regeneration                       HRNCIR, HANNAH ROSE     Awarded. Fellowships only   2022/07/01   2026/06/30    $143,420     $143,420     $126,874     $48,974

                                                                         T32 Cancer Prevention and Control Training                                      Awarded. Non-fellowships
1,415 T32CA272303   5T32CA272303-02     UNIVERSITY OF ARIZONA            Program Addressing Health Disparities                   BADGER, TERRY A         only                        2023/06/01   2028/05/31    $696,125     $696,125     $346,849    $363,543

                                        UNIVERSITY OF MICHIGAN AT ANN    Interdisciplinary Research Training on Health and                               Awarded. Non-fellowships
1,416 T32AG027708   5T32AG027708-15     ARBOR                            Aging                                                   KOBAYASHI, LINDSAY C    only                        2008/05/01   2025/12/31    $808,259     $808,259     $777,812     $89,633

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
1,417 T34GM149445   5T34GM149445-02     DIEGO                            MARC at University of California, San Diego             DE MAIO, ANTONIO        only                        2023/06/01   2028/05/31    $861,944     $861,944     $334,418    $430,972

                                                                         Biochemical and Chemical Training for Cancer                                    Awarded. Non-fellowships
1,418 T32CA009582   5T32CA009582-37     VANDERBILT UNIVERSITY            Research                                                HIEBERT, SCOTT W        only                        1987/06/01   2028/05/31    $745,131     $745,131     $591,141    $374,943

                                                                                                                                                      Awarded. Non-fellowships
1,419 T32DK007356   2T32DK007356-46     YALE UNIVERSITY                  Training Program in Investigative Hepatology            NATHANSON, MICHAEL H only                           1984/07/01   2029/06/30    $356,453     $356,453     $267,983    $356,453

                                                                                                                                                         Awarded. Non-fellowships
1,420 T32NR009356   2T32NR009356-16     UNIVERSITY OF PENNSYLVANIA       Individualized Care for At Risk Older Adults            NAYLOR, MARY D          only                        2007/07/01   2029/06/30    $376,906     $376,906     $196,237    $376,906

                                                                         Cell-type and whole-brain dynamics underlying
1,421 F31MH133295   5F31MH133295-02     UNIVERSITY OF WASHINGTON         operant social stress resiliency                        NAVARRETE, JOVANA       Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $96,668     $48,974

                                                                         BIN1-interactome in Alzheimers disease
1,422 F31AG082397   5F31AG082397-02     UNIVERSITY OF SOUTH FLORIDA      pathophysiology                                         MCMILLAN, JOSEPH        Awarded. Fellowships only   2023/08/14   2025/08/13     $77,279      $77,279      $63,546     $39,373

                                                                                                                                                    Awarded. Non-fellowships
1,423 T34GM136451   5T34GM136451-05     VANDERBILT UNIVERSITY            MARC at Vanderbilt University                           MCMAHON, DOUGLAS G only                             2020/06/01   2025/05/31   $1,989,054   $1,989,054   $1,740,638   $199,734

                                        UNIVERSITY OF PITTSBURGH AT      Biomechanics in Regenerative Medicine (BiRM)                                    Awarded. Non-fellowships
1,424 T32EB034216   5T32EB034216-02     PITTSBURGH                       Training Program                                        VORP, DAVID ALAN        only                        2023/06/01   2028/05/31    $450,598     $450,598     $278,794    $228,254

                                                                         Accumbal integration of brain wide glutamatergic
                                                                         inputs and their dysregulation by cocaine self-         GABRIEL, STEPHANIE ANN
1,425 F30DA054764   5F30DA054764-03     VANDERBILT UNIVERSITY            administration                                          CAJIGAS                Awarded. Fellowships only    2022/06/01   2026/05/31    $118,887     $118,887      $93,400     $53,931
                                                                          Graduate Training Program in Quantitative and                                Awarded. Non-fellowships
1,426 T32GM131994   2T32GM131994-06     TRUSTEES OF INDIANA UNIVERSITY    Chemical Biology at Indiana University Bloomington GIEDROC, DAVID P          only                        2019/07/01   2029/06/30    $329,616     $329,616     $263,365    $329,616

                                        UNIVERSITY OF CALIFORNIA, SAN                                                            RAKOW-PENNER,         Awarded. Non-fellowships
1,427 T32EB005970   2T32EB005970-16A1   DIEGO                             Training Clinical Scientists in Radiological Imaging   REBECCA ANN           only                        2007/07/01   2029/06/30    $290,246     $290,246     $135,694    $290,246

                                        UNIVERSITY OF MICHIGAN AT ANN                                                            BALADANDAYUTHAPANI, Awarded. Non-fellowships
1,428 T32CA083654   2T32CA083654-21A1   ARBOR                             Biostatistics Training Program in Cancer Research      VEERABHADRAN        only                          2002/07/01   2029/07/31    $277,380     $277,380     $226,903    $277,380

                                                                                                                                                       Awarded. Non-fellowships
1,429 T32AI007496   5T32AI007496-29     UNIVERSITY OF VIRGINIA            Interdisciplinary Training Program in Immunology       SPERLING, ANNE I      only                        1995/07/01   2026/06/30   $2,142,728   $2,142,728   $1,548,606   $437,025
1,430 F32GM150204   5F32GM150204-02     BRANDEIS UNIVERSITY               Mechanisms of septin-actin cytoskeletal crosstalk      MAGLIOZZI, JOSEPH O   Awarded. Fellowships only   2023/06/01   2025/05/31    $145,416     $145,416     $122,148     $74,284

                                        UNIVERSITY OF COLORADO                                                                                         Awarded. Non-fellowships
1,431 T34GM149812   5T34GM149812-02     DENVER                            MARC at the University of Colorado Denver              ALLEN, RICHARD M      only                        2023/06/01   2028/05/31    $452,709     $452,709     $332,811    $301,806

                                        UNIVERSITY OF TEXAS HLTH SCI CTR CTSA Predoctoral T32 at the University of Texas                               Awarded. Non-fellowships
1,432 T32TR004905   1T32TR004905-01     HOUSTON                          Health Science Center at Houston                        FROST, JEFFREY A      only                        2024/08/01   2029/06/30    $265,752     $265,752      $57,048    $265,752

                                                                     Investigating the role of brainstem
                                                                     neuroinflammation in cardiorespiratory control in a
1,433 F30HL160122   5F30HL160122-03     MEDICAL COLLEGE OF WISCONSIN rat model of recurrent epilepsy                             OSMANI, WASIF A       Awarded. Fellowships only   2022/07/01   2025/06/30    $149,690     $149,690     $133,197     $51,064

                                                                          Effect of Mucins and Dolosigranlulum pigrum on
1,434 F31AI172324   5F31AI172324-02     BAYLOR COLLEGE OF MEDICINE        Staphylococcus aureus nasal colonization               BOYD, ANDREA IVEY     Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $89,826     $48,974

                                                                                                                                                       Awarded. Non-fellowships
1,435 T32MH106454   5T32MH106454-09     UNIVERSITY OF TEXAS AT AUSTIN     Training in Learning and Memory                        PRESTON, ALISON R     only                        2015/07/01   2026/06/30   $1,015,787   $1,015,787    $776,255    $240,844

                                        ICAHN SCHOOL OF MEDICINE AT       Dissecting innate immune mechanisms of resistance
1,436 F30CA275269   5F30CA275269-03     MOUNT SINAI                       to checkpoint blockade therapy in bladder cancer TRAN, MICHELLE ALYSSA       Awarded. Fellowships only   2022/07/11   2026/07/10    $146,660     $146,660     $144,912     $53,974

                                        UNIVERSITY OF COLORADO                                                                                         Awarded. Non-fellowships
1,437 T32AR007411   5T32AR007411-39     DENVER                            Training in Translational Research of Skin Diseases    ROOP, DENNIS          only                        1981/07/01   2026/06/30   $1,183,556   $1,183,556    $772,824    $229,498

                                        UNIV OF MASSACHUSETTS MED SCH VEGF/Neuropilin-2 Signaling and Radioresistance in
1,438 F30CA275327   5F30CA275327-02     WORCESTER                     Triple-Negative Breast Cancer                              KUMAR, AYUSH          Awarded. Fellowships only   2023/06/28   2027/03/27     $68,613      $68,613      $66,108     $33,758

                                                                          Coordinated Actions of SNAI1 and AR in Prostate
1,439 F31CA268785   5F31CA268785-03     UNIVERSITY OF ARIZONA             Cancer Dissemination and Metastatic Outgrowth          TRAN, JACK            Awarded. Fellowships only   2022/07/01   2025/06/30    $128,771     $128,771     $122,767     $44,762

                                                                          Advanced Training at the Interface of Engineering                            Awarded. Non-fellowships
1,440 T90DE030854   5T90DE030854-04     UNIVERSITY OF PENNSYLVANIA        and Oral-Craniofacial Sciences                         KOO, HYUN             only                        2021/07/01   2026/06/30   $1,048,076   $1,048,076    $798,453    $278,862

                                                                                                                                                       Awarded. Non-fellowships
1,441 T32AI007632   5T32AI007632-25     UNIVERSITY OF PENNSYLVANIA        HIV Pathogenesis, Vaccination and Cure                 BUSHMAN, FREDERIC D   only                        2000/09/01   2025/08/31   $2,493,521   $2,493,521   $2,265,329   $492,527

                                        HARVARD SCHOOL OF PUBLIC                                                                                       Awarded. Non-fellowships
1,442 T32AI007535   5T32AI007535-24     HEALTH                            Epidemiology of Infectious Diseases                    LIPSITCH, MARC        only                        1998/09/30   2026/08/31   $1,490,020   $1,490,020   $1,024,019   $404,798

                                                                          The Role of Glutamine Metabolism in Monocyte-
                                                                          Derived Dendritic Cell Differentiation in the Soft-
1,443 F30CA265069   5F30CA265069-04     UNIVERSITY OF PENNSYLVANIA        Tissue Sarcoma Microenvironment                        LOBEL, GRAHAM         Awarded. Fellowships only   2021/07/08   2026/07/07    $156,773     $156,773     $144,479     $36,413

                                        COLD SPRING HARBOR                The impact of sepsis-induced inflammation on
1,444 F31CA281246   5F31CA281246-02     LABORATORY                        pancreatic cancer liver metastasis                     SIVETZ, NICOLE        Awarded. Fellowships only   2023/07/16   2025/07/15     $96,668      $96,668      $89,343     $48,974

                                                                                                                                                       Awarded. Non-fellowships
1,445 T32GM144299   5T32GM144299-03     ROCKEFELLER UNIVERSITY            Genetics and Cell Biology Training Program             STEARNS, TIM          only                        2022/07/01   2027/06/30   $1,280,204   $1,280,204   $1,152,584   $439,487

                                        UNIVERSITY OF PITTSBURGH AT       Training in Mechanisms and Clinical Presentation of                          Awarded. Non-fellowships
1,446 T32NS073548   5T32NS073548-12     PITTSBURGH                        Pain                                                   GOLD, MICHAEL S       only                        2012/07/01   2028/06/30    $564,702     $564,702     $506,347    $275,806

                                                                          Enhanced antigen-lymphocyte interactions to
                                        MASSACHUSETTS GENERAL             improve immune checkpoint blockade in breast
1,447 F32CA275298   5F32CA275298-03     HOSPITAL                          cancer                                                 O'MELIA, MEGHAN       Awarded. Fellowships only   2022/07/10   2025/07/09    $213,430     $213,430     $170,958     $76,756

                                                                                                                                                       Awarded. Non-fellowships
1,448 T32EY007001   5T32EY007001-47     BAYLOR COLLEGE OF MEDICINE        Research Training in Visual Sciences                   WU, SAMUEL M          only                        1975/07/01   2028/07/31    $454,375     $454,375     $285,322    $224,668
                                                                                                                                                      Awarded. Non-fellowships
1,449 T32AI132165   5T32AI132165-07   MAYO CLINIC ROCHESTER           PhD Training Program in Virology and Gene Therapy CATTANEO, ROBERTO B           only                        2018/08/15   2028/07/31    $303,928     $303,928     $243,446    $150,276

                                                                      Training to provide the knowledge, skills, and culture                          Awarded. Non-fellowships
1,450 T32HL134616   5T32HL134616-08   OHIO STATE UNIVERSITY           to the next generation of cardiovascular scientists    RAFAEL-FORTNEY, JILL A   only                        2017/07/01   2027/06/30   $1,083,636   $1,083,636    $827,821    $360,631

                                                                      The role of Immunoresponsive gene 1 in protection    MCBRIDE, MARGARET
1,451 F30AI157036   5F30AI157036-04   VANDERBILT UNIVERSITY           against infection                                    ANN                        Awarded. Fellowships only   2021/08/01   2025/07/31    $174,501     $174,501     $165,102     $56,974

                                      UNIVERSITY OF PITTSBURGH AT     Cellular Approaches to Tissue Engineering and        MONGA, SATDARSHAN          Awarded. Non-fellowships
1,452 T32EB001026   5T32EB001026-20   PITTSBURGH                      Regeneration                                         SINGH                      only                        2003/07/01   2026/06/30   $1,092,383   $1,092,383    $961,485    $216,621

                                      NEW YORK UNIVERSITY SCHOOL OF Integrative Approaches to Explore Cellular                                        Awarded. Non-fellowships
1,453 T32NS086750   5T32NS086750-10   MEDICINE                      Interactions in Neural Circuits                        DASEN, JEREMY S            only                        2014/07/01   2025/06/30   $1,010,538   $1,010,538    $857,776     $99,019

                                                                      Understanding Roles for Protein Homeostasis
1,454 F32AG079593   5F32AG079593-03   HARVARD UNIVERSITY              Machinery in Aging Brain Vasculature                 GIADONE, RICHARD           Awarded. Fellowships only   2022/09/01   2025/08/31    $218,266     $218,266     $184,662     $78,892

                                                                      Training in theoretical and computational                                       Awarded. Non-fellowships
1,455 T32MH132518   5T32MH132518-02   UNIVERSITY OF WASHINGTON        approaches to neural circuits of cognition           BUFFALO, ELIZABETH A       only                        2023/08/01   2028/06/30    $505,697     $505,697     $193,543    $326,216

                                      FRED HUTCHINSON CANCER          Training Program in Infectious Diseases in the                                  Awarded. Non-fellowships
1,456 T32AI118690   5T32AI118690-10   CENTER                          Immunocompromised Host                               BOECKH, MICHAEL J          only                        2016/08/01   2026/07/31   $1,900,605   $1,900,605   $1,473,132   $436,073

                                      ALBERT EINSTEIN COLLEGE OF      Impact of T cell receptor signaling on memory
1,457 F31AI172421   5F31AI172421-02   MEDICINE                        CD8+ T cell stemness                                 GUILLEN, ERIK              Awarded. Fellowships only   2023/07/01   2027/06/30    $106,668     $106,668      $94,508     $53,974

                                      VANDERBILT UNIVERSITY MEDICAL                                                                                   Awarded. Non-fellowships
1,458 T32DK007569   5T32DK007569-36   CENTER                          Renal Biology and Disease Training Program           HARRIS, RAYMOND C          only                        1993/09/30   2025/06/30   $1,486,242   $1,486,242   $1,413,683   $353,350

                                                                      Advancing Evidence of the Associations between
                                      UNIVERSITY OF CALIFORNIA AT     specific Benign Breast Diagnoses and Future Breast   SATTAYAPIWAT, OLIVIA
1,459 F31CA271738   5F31CA271738-03   DAVIS                           Cancer Risk                                          KAYAN                      Awarded. Fellowships only   2022/07/01   2025/06/30    $120,464     $120,464     $109,445     $41,322

                                                                                                                                                      Awarded. Non-fellowships
1,460 TL1TR001880   5TL1TR001880-09   UNIVERSITY OF PENNSYLVANIA      NRSA Training Core                                   MEAGHER, EMMA ANNE         only                        2016/07/01   2026/05/31   $2,430,642   $2,430,642   $3,670,953   $972,301

                                                                                                                                                      Awarded. Non-fellowships
1,461 T32NS041228   5T32NS041228-24   YALE UNIVERSITY                 Interdepartmental Neuroscience Program               GREER, CHARLES A           only                        2001/07/20   2026/06/30   $1,903,095   $1,903,095   $1,878,587   $349,989

                                      BOSTON UNIVERSITY (CHARLES      Predoctoral Training in Bioinformatics and                                      Awarded. Non-fellowships
1,462 T32GM150533   5T32GM150533-02   RIVER CAMPUS)                   Computational Biology                                SEGRE, DANIEL              only                        2023/07/01   2028/06/30    $647,937     $647,937     $474,921    $329,616

                                                                      Novel Transcriptional & Post-Transcriptional
                                                                      Regulators of Endothelial Metabolism in
1,463 F31HL156319   5F31HL156319-03   YALE UNIVERSITY                 Atherosclerosis                                      CITRIN, KATHRYN            Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420      $86,489     $48,974

                                                                      T32 University of Rochester Aging and Alzheimers                                Awarded. Non-fellowships
1,464 T32AG076455   5T32AG076455-03   UNIVERSITY OF ROCHESTER         disease Training Program                             O'BANION, M KERRY          only                        2022/06/01   2027/05/31    $831,585     $831,585     $643,540    $340,632

                                                                      Targeting cellular senescence with oral fisetin      MAHONEY, SOPHIA
1,465 F31HL165885   5F31HL165885-03   UNIVERSITY OF COLORADO          supplementation to improve vascular aging            ANDREA                     Awarded. Fellowships only   2022/08/19   2025/11/30    $122,750     $122,750      $99,615     $42,084

                                      UNIVERSITY OF CALIFORNIA LOS    Clinical Research Training in Schizophrenia and                                 Awarded. Non-fellowships
1,466 T32MH122395   5T32MH122395-04   ANGELES                         Other Psychoses                                      NUECHTERLEIN, KEITH H      only                        2021/07/01   2026/06/30   $1,198,548   $1,198,548    $920,636    $317,602

                                      UNIVERSITY OF COLORADO          Impact of stress on heroin seeking and ventral
1,467 F30DA057053   5F30DA057053-03   DENVER                          pallidal synapse function                            MILLER, CARLEY N           Awarded. Fellowships only   2022/08/03   2025/08/02    $117,269     $117,269     $109,376     $40,257

                                                                                                                                                      Awarded. Non-fellowships
1,468 T32AR007098   5T32AR007098-50   BRIGHAM AND WOMEN'S HOSPITAL Dermatology Training Grant                              KUPPER, THOMAS S           only                        1980/09/01   2026/05/31   $1,391,358   $1,391,358   $1,295,350   $410,126

                                                                      Problem-to-Product Team Entrepreneurship and
                                                                      Active Mentoring (P2P-TEAM) Graduate Training                                   Awarded. Non-fellowships
1,469 T32GM139796   5T32GM139796-04   UNIVERSITY OF TEXAS AT AUSTIN   Program                                              BRODBELT, JENNIFER S       only                        2021/07/01   2026/06/30    $605,259     $605,259     $425,589    $181,924

                                      TEXAS A&M UNIVERSITY HEALTH                                                                                     Awarded. Non-fellowships
1,470 T32GM135115   5T32GM135115-05   SCIENCE CTR                     Diverse Predoctoral Training in Genetics             ADELMAN, ZACH N            only                        2020/07/01   2025/06/30    $900,593     $900,593     $698,168    $179,592

                                                                      Genetics and Developmental Biology Training                                     Awarded. Non-fellowships
1,471 T32GM141828   5T32GM141828-03   STANFORD UNIVERSITY             Program                                              SHERLOCK, GAVIN J          only                        2022/07/01   2027/06/30   $1,600,256   $1,600,256   $1,269,239   $549,359
                                      UNIVERSITY OF SOUTH CAROLINA      Locus coeruleus-norepinephrine regulation of stress-
1,472 F32DA058380   5F32DA058380-02   AT COLUMBIA                       induced anxiety and opioid reinstatement             SMILEY, CORA             Awarded. Fellowships only   2023/08/01   2025/07/31    $146,256     $146,256     $118,685     $76,756

                                                                                                                               STOOPS, WILLIAM        Awarded. Non-fellowships
1,473 TL1TR001997   5TL1TR001997-08   UNIVERSITY OF KENTUCKY            NRSA Training Core                                     WALTON                 only                        2016/08/15   2026/06/30   $1,460,778   $1,460,778   $1,281,526   $486,219

                                      UNIVERSITY OF CALIFORNIA AT       The TGF-Beta/MUC4 Signaling Axis in Circulating
1,474 F31CA278419   5F31CA278419-02   DAVIS                             Tumor Cells of Metastatic Breast Cancer                FREE, SAVANNAH R       Awarded. Fellowships only   2023/07/01   2026/06/30     $81,856      $81,856      $49,184     $41,568

                                      UT SOUTHWESTERN MEDICAL           The role and regulation of pericytes in remodeling
1,475 F30DK137405   5F30DK137405-02   CENTER                            the periarterial niche during nephrogenesis            LUO, PETER             Awarded. Fellowships only   2023/07/01   2027/06/30     $78,858      $78,858      $63,986     $40,242

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
1,476 T32GM007198   5T32GM007198-50   DIEGO                             Medical Scientist Training Program                     INSEL, PAUL A          only                        1975/07/01   2025/06/30   $7,222,995   $7,222,995   $6,778,642 $1,438,462

                                      UNIVERSITY OF PITTSBURGH AT       A Training Program to Address HIV-related Health                              Awarded. Non-fellowships
1,477 T32MH094174   5T32MH094174-14   PITTSBURGH                        Disparities in MSM                                     HAWK, MARY ELIZABETH   only                        2011/07/01   2026/06/30    $620,906     $620,906     $538,743    $166,600

                                      BOSTON UNIVERSITY MEDICAL                                                                                       Awarded. Non-fellowships
1,478 T32HL007035   5T32HL007035-49   CAMPUS                            Biology of the Lung: A Multidisciplinary Program       MIZGERD, JOSEPH P      only                        1975/07/01   2026/06/30   $3,489,306   $3,489,306   $2,863,304   $907,730

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
1,479 T32AI007641   5T32AI007641-23   FRANCISCO                         Biology of Infectious Diseases Training Program        DORSEY, MATTHEW G      only                        2000/08/01   2027/08/31   $1,119,562   $1,119,562    $976,302    $385,356

                                                                                                                                                      Awarded. Non-fellowships
1,480 T32GM139799   5T32GM139799-04   WASHINGTON UNIVERSITY             Postdoctoral Training Program in Genomic Medicine DICKSON, PATRICIA I         only                        2021/07/01   2026/06/30    $624,983     $624,983     $328,157    $186,487

                                      COLUMBIA UNIVERSITY HEALTH        Training in Cellular, Molecular and Biomedical                                Awarded. Non-fellowships
1,481 T32GM145766   5T32GM145766-03   SCIENCES                          Studies (CMBS)                                         LIEM, RONALD K         only                        2022/07/01   2027/06/30   $2,560,410   $2,560,410   $2,359,910   $878,975

                                      NORTHWESTERN UNIVERSITY AT                                                                                      Awarded. Non-fellowships
1,482 T32CA281953   5T32CA281953-02   CHICAGO                           Epigenetics, Metabolism and Cancer                     SHILATIFARD, ALI       only                        2023/09/01   2028/08/31    $514,751     $514,751     $304,781    $352,520

                                                                                                                                                      Awarded. Non-fellowships
1,483 T32TR004417   5T32TR004417-02   TUFTS UNIVERSITY BOSTON           CTSA Predoctoral T32 at Tufts University               KENT, DAVID M          only                        2023/07/01   2028/06/30   $1,105,814   $1,105,814    $857,839    $562,319

                                                                                                                                                      Awarded. Non-fellowships
1,484 T32NS126122   5T32NS126122-03   CARNEGIE-MELLON UNIVERSITY        Training Program in Big Data Systems Neuroscience      GITTIS, ARYN HILARY    only                        2022/07/01   2027/06/30    $581,331     $581,331     $413,773    $222,737

                                                                        Intratumoral plasma cells in MPNST response to
                                                                        CDK4/6 targeted therapy and sensitization to
1,485 F31CA281312   5F31CA281312-02   UNIVERSITY OF IOWA                immune checkpoint blockade                             LINGO, JOSHUA J        Awarded. Fellowships only   2023/06/01   2026/05/31     $70,262      $70,262      $65,106     $35,771

                                                                        Interdisciplinary Training in Systems & Biomolecular                          Awarded. Non-fellowships
1,486 T32GM145443   5T32GM145443-03   UNIVERSITY OF VIRGINIA            Data Science                                           PAPIN, JASON           only                        2022/07/01   2027/06/30    $960,154     $960,154     $823,347    $329,616

                                                                                                                                                      Awarded. Non-fellowships
1,487 T32CA136432   5T32CA136432-15   DANA-FARBER CANCER INST           Research Training in Pediatric Oncology                ARMSTRONG, SCOTT A     only                        2009/07/13   2025/06/30   $2,243,286   $2,243,286   $2,140,859   $533,976

                                                                      Identifying genetic variants that modify the effect
                                                                      size of ApoE alleles on late-onset Alzheimers disease DURODOYE, RAZAQ
1,488 F30AG082434   5F30AG082434-02   CASE WESTERN RESERVE UNIVERSITY risk                                                  OLUMIDE                   Awarded. Fellowships only   2023/06/01   2026/05/31    $106,668     $106,668      $82,110     $53,974

                                      UNIVERSITY OF CONNECTICUT SCH The role of microglia as antigen presenting cells in
1,489 F30NS129238   5F30NS129238-03   OF MED/DNT                    Globoid Cell Leukodystrophy                                SUTTER, PEARL A        Awarded. Fellowships only   2022/07/01   2026/06/30    $140,005     $140,005     $128,489     $53,974

                                                                        Biostatistics in Genetics and Genomics Training                               Awarded. Non-fellowships
1,490 T32GM132063   5T32GM132063-05   UNIVERSITY OF MINNESOTA           Program                                                BASU, SAONLI           only                        2020/07/09   2025/06/30   $1,308,224   $1,308,224   $1,221,919   $289,812

                                      COLUMBIA UNIVERSITY HEALTH                                                                                      Awarded. Non-fellowships
1,491 T32GM008464   5T32GM008464-32   SCIENCES                          Anesthesiology Research Training                       EMALA, CHARLES W       only                        1992/07/01   2028/06/30    $700,299     $700,299     $471,292    $350,862

                                                                        CTSA Predoctoral T32 at University of Utah: Spheres
                                                                        of Translation Across the Research Spectrum (STARS)                           Awarded. Non-fellowships
1,492 T32TR004392   5T32TR004392-02   UNIVERSITY OF UTAH                Training Program                                    FAIRFAX, KEKE CELESTE     only                        2023/07/01   2028/06/30    $629,085     $629,085     $408,628    $320,190

                                      STATE UNIVERSITY NEW YORK STONY The role of gustatory cortex in perceptual learning
1,493 F30DC019523   5F30DC019523-04   BROOK                           of taste                                                 KOGAN, JOSHUA          Awarded. Fellowships only   2021/07/01   2025/06/30    $184,008     $184,008     $164,544     $53,974

                                                                                                                                                      Awarded. Non-fellowships
1,494 T32HL007024   5T32HL007024-50   JOHNS HOPKINS UNIVERSITY          Cardiovascular Epidemiology Institutional Training     SELVIN, ELIZABETH      only                        1975/07/01   2025/06/30   $3,833,463   $3,833,463   $3,883,083   $589,601
                                                                        Virus-host interactions: a multi-scale training                                   Awarded. Non-fellowships
1,495 T32AI007319   5T32AI007319-35     UNIVERSITY OF CALIFORNIA-IRVINE program                                                   SEMLER, BERT L          only                        1988/09/30   2025/08/31    $660,422     $660,422     $600,069    $137,020

                                        UNIVERSITY OF MICHIGAN AT ANN                                                             PUTHENVEEDU,            Awarded. Non-fellowships
1,496 T32GM145470   5T32GM145470-03     ARBOR                              Cellular and Molecular Biology at Michigan             MANOJKUMAR A            only                        2022/07/01   2027/06/30   $2,560,410   $2,560,410   $2,480,410   $878,975

                                                                                                                                                          Awarded. Non-fellowships
1,497 T32GM142605   5T32GM142605-04     DUKE UNIVERSITY                    Cell and Molecular Biology Training Program            BOYCE, MICHAEL S        only                        2021/07/01   2026/06/30   $2,212,884   $2,212,884   $1,909,773   $659,231

                                        NORTHWESTERN UNIVERSITY AT                                                                                        Awarded. Non-fellowships
1,498 T32AR060710   5T32AR060710-12     CHICAGO                            Post Graduate Program in Cutaneous Biology             PALLER, AMY S           only                        2012/05/01   2028/06/30    $453,887     $453,887     $312,298    $238,964

                                        MASSACHUSETTS GENERAL                                                                     LANGENAU, DAVID         Awarded. Non-fellowships
1,499 T32CA009216   5T32CA009216-44     HOSPITAL                           Molecular Immunology and Tumor Biology                 MICHAEL                 only                        1978/09/30   2026/06/30   $2,165,218   $2,165,218   $1,986,053   $522,182

                                                                           Neural, Computational, and Neuromechanical             HATSOPOULOS,            Awarded. Non-fellowships
1,500 T32NS121763   5T32NS121763-03     UNIVERSITY OF CHICAGO              Approaches to Motor Control                            NICHOLAS G              only                        2022/07/01   2027/06/30    $918,084     $918,084     $694,701    $363,385

                                        UNIVERSITY OF PITTSBURGH AT                                                                                       Awarded. Non-fellowships
1,501 T32MH016804   5T32MH016804-44     PITTSBURGH                         Training for Transformative Discovery in Psychiatry    SWEET, ROBERT A         only                        1981/08/01   2026/06/30   $1,511,093   $1,511,093   $1,487,960   $422,035

                                        MEDICAL UNIVERSITY OF SOUTH        Interdisciplinary Research Training in Otolaryngology                          Awarded. Non-fellowships
1,502 T32DC014435   5T32DC014435-10     CAROLINA                           and Communication Sciences                            DUBNO, JUDY R            only                        2015/07/01   2025/06/30   $1,618,679   $1,618,679   $1,416,341   $277,466

                                        UNIVERSITY OF ALABAMA AT           UAB Predoctoral Training Grant in Translational and                            Awarded. Non-fellowships
1,503 T32GM135028   5T32GM135028-04     BIRMINGHAM                         Molecular Sciences                                     PATEL, RAKESH P         only                        2021/07/01   2026/06/30    $992,340     $992,340     $731,664    $285,198

                                                                           Cellular, molecular, and biochemical sciences          MUSIER-FORSYTH, KARIN   Awarded. Non-fellowships
1,504 T32GM141955   5T32GM141955-04     OHIO STATE UNIVERSITY              training grant                                         M                       only                        2021/07/01   2026/06/30   $1,468,539   $1,468,539   $1,137,252   $394,127

                                                                           Characterizing genes that regulate dopaminergic
1,505 F31NS134272   1F31NS134272-01A1   UNIVERSITY OF GEORGIA              neuron regeneration in the planarian brain             CLAY, KENDALL BLEU      Awarded. Fellowships only   2024/08/01   2026/07/31     $33,629      $33,629      $20,461     $33,629

                                                                           The role of GCN2 in human induced pluripotent
                                        UNIVERSITY OF ILLINOIS AT          stem cell maintenance, differentiation and
1,506 F31HL170726   1F31HL170726-01A1   CHICAGO                            endothelial cell function                              TOBOZ, PHOENIX          Awarded. Fellowships only   2024/09/30   2026/09/29     $45,708      $45,708      $21,619     $45,708

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                     Awarded. Non-fellowships
1,507 T32DK007007   5T32DK007007-50     FRANCISCO                          INRSA Training Grant in Gastroenterology               MA, AVERIL I            only                        1975/07/01   2026/06/30   $1,036,126   $1,036,126    $885,752    $200,105

                                                                           Multifactorial environmental inhibition of Sonic
                                                                           hedgehog signaling: Impact of chemical
                                        UNIVERSITY OF WISCONSIN-           interactions on pathway activity and craniofacial
1,508 F31ES034632   5F31ES034632-03     MADISON                            development                                            BEAMES, TYLER GEORGE    Awarded. Fellowships only   2022/09/01   2025/08/31    $108,851     $108,851      $99,344     $37,775

                                                                         Investigating mechanisms of neuronal nuclear
                                        UNIVERSITY OF TEXAS HLTH SCIENCE mechanotransduction in physiological conditions
1,509 F31NS137774   1F31NS137774-01     CENTER                           and tauopathy                                            SOHN, CLAIRA ROSE       Awarded. Fellowships only   2024/08/01   2026/07/31     $38,674      $38,674      $23,426     $38,674

                                        UT SOUTHWESTERN MEDICAL            Using defective lipoylation as a window into cardiac
1,510 F32HL174084   1F32HL174084-01     CENTER                             fuel consumption and failure.                        TIPPETTS, TREVOR STANLEY Awarded. Fellowships only    2024/09/01   2027/08/31     $77,284      $77,284      $39,458     $77,284

                                                                           The role of NFkB in calcineurin inhibitor-induced
1,511 F30DK130531   5F30DK130531-03     WRIGHT STATE UNIVERSITY            renal fibrosis                                         UME, ADAKU              Awarded. Fellowships only   2022/09/01   2026/08/31    $142,671     $142,671      $95,167     $53,974

                                        UNIVERSITY OF PITTSBURGH AT        Advancing treatment and molecular understanding LARIMER-PICCIANI,
1,512 F30EY036249   1F30EY036249-01     PITTSBURGH                         of oculocutaneous albinism through gene therapy ALESSANDRA                     Awarded. Fellowships only   2024/07/01   2028/06/30     $51,930      $51,930      $46,071     $51,930

                                                                           Cross-fed metabolites modulate Pseudomonas             CONAWAY, AMY
1,513 F31AI179113   1F31AI179113-01A1   DARTMOUTH COLLEGE                  aeruginosa fitness                                     CAROLYN                 Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $19,598     $48,974

                                        NORTH CAROLINA STATE               Understanding the Mechanical Underpinnings of
1,514 F31AR081691   5F31AR081691-03     UNIVERSITY RALEIGH                 Rotator Cuff Tear and Surgical Repair                  DALMAN, MORGAN          Awarded. Fellowships only   2022/09/01   2025/08/31    $119,180     $119,180     $108,759     $40,894

                                                                           Exploring the functional role of tubulin methylation
1,515 F31GM151846   5F31GM151846-02     BAYLOR COLLEGE OF MEDICINE         and its regulation by mes-4/NSD in C. elegans          PIETRYK, EDWARD         Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $72,838     $48,974

                                                                           Characterizing age-related differences in T cell
1,516 F31NS137566   1F31NS137566-01     STANFORD UNIVERSITY                responses to stroke                                    JUNG, YOO JIN           Awarded. Fellowships only   2024/09/01   2027/01/30     $42,270      $42,270      $17,679     $42,270
                                                                      Defining sex differences in GABA regulation of
1,517 F31DA056221   5F31DA056221-03     VANDERBILT UNIVERSITY         dopamine release in cocaine use disorder                CHRISTENSEN, BROOKE A Awarded. Fellowships only    2022/09/01   2026/08/31     $99,313      $99,313      $85,725     $34,290

                                                                      The role of HrpA in ribosome-associated quality
1,518 F31AI172391   5F31AI172391-03     JOHNS HOPKINS UNIVERSITY      control in E. coli                                      CAMPBELL, ANNABELLE    Awarded. Fellowships only   2022/09/01   2025/08/31    $124,220     $124,220      $87,082     $42,574

                                                                      Developing novel neural network tools for accurate
                                                                      and interpretable dynamical modeling of neural
1,519 F32MH132175   5F32MH132175-02     EMORY UNIVERSITY              circuits                                           VERSTEEG, CHRISTOPHER       Awarded. Fellowships only   2023/08/01   2026/07/31    $158,864     $158,864     $115,885     $82,284

                                                                      Happiness and Pleasurable Activities as Longitudinal
                                                                      Predictors of Adolescent Alcohol and Cannabis
1,520 F31DA060555   1F31DA060555-01     UNIVERSITY OF RHODE ISLAND    Outcomes                                             TRINH, CATHERINE D        Awarded. Fellowships only   2024/05/20   2026/05/19     $97,948      $97,948      $48,749     $48,974

                                                                      Boosting protein synthesis using antisense
1,521 F30AG082394   1F30AG082394-01A1   WASHINGTON UNIVERSITY         oligonucleotides to treat neurodegeneration             BOROS, BEN DAVID       Awarded. Fellowships only   2024/06/01   2026/11/30     $34,623      $34,623      $27,935     $34,623

                                                                      Quantifying the contribution of supracellular
                                        MASSACHUSETTS INSTITUTE OF    actomyosin networks during mouse neural tube
1,522 F31GM154461   1F31GM154461-01     TECHNOLOGY                    closure                                                 DELAO, JUANA           Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $33,729     $48,974

                                                                      Characterization of Selenomonas sputigena
                                        VIRGINIA COMMONWEALTH         invasion, intracellular life cycle, and exocytosis in
1,523 F31DE033920   1F31DE033920-01     UNIVERSITY                    gingival epithelial cells.                              HAWKES, COLIN G        Awarded. Fellowships only   2024/06/10   2027/06/09     $43,674      $43,674      $31,572     $43,674
1,524 F30HL170641   1F30HL170641-01A1   TUFTS UNIVERSITY BOSTON       Mechanism of Ponatinib induced vascular toxicity        STEPANIAN, ALEC        Awarded. Fellowships only   2024/09/16   2026/09/15     $44,724      $44,724      $32,152     $44,724

                                                                      Understanding how health determinants shape
                                        VIRGINIA COMMONWEALTH         recovery after critical illness among Virginia
1,525 F30MD019536   1F30MD019536-01     UNIVERSITY                    Medicaid patients                                       MARKS, SARAH JULIA     Awarded. Fellowships only   2024/06/01   2029/05/31     $43,404      $43,404           $0     $43,404

                                                                      T32 Training Program in Mechanisms and Innovation                              Awarded. Non-fellowships
1,526 T32HL098049   5T32HL098049-15     STANFORD UNIVERSITY           in Vascular Disease                               TSAO, PHILIP S               only                        2010/07/01   2025/06/30   $2,068,642   $2,068,642   $1,927,839   $254,323

                                                                      Measurement of ab-initio physiomarker using
                                                                      wearable sensors to predict aneurysm growth and
1,527 F32HL162417   5F32HL162417-03     NORTHWESTERN UNIVERSITY       formation                                               ZHAO, TOM YU           Awarded. Fellowships only   2022/09/01   2025/08/31    $210,154     $210,154     $154,994     $74,284

                                        UNIV OF NORTH CAROLINA        Examining subtypes of suicidal youth in the             POLLAK, OLIVIA
1,528 F31MH134599   1F31MH134599-01A1   CHAPEL HILL                   Adolescent Brain Cognitive Development Study            HAVEMEYER              Awarded. Fellowships only   2024/06/01   2026/05/31     $40,441      $40,441      $39,312     $40,441

                                                                      Addressing Fertility Information Needs and Fertility-
                                                                      related Distress among Female Adult Survivors of
1,529 F32CA265054   5F32CA265054-03     DUKE UNIVERSITY               Childhood Cancer                                        STALLS, JULIANN        Awarded. Fellowships only   2022/09/01   2025/08/31    $232,538     $232,538     $199,470     $83,722

                                                                      Investigation of state-specific drug binding to
                                        UNIVERSITY OF CALIFORNIA AT   cardiac ion channels to reveals mechanisms of
1,530 F31HL174025   1F31HL174025-01     DAVIS                         arrhythmogenesis                                        ROUEN, KYLE C          Awarded. Fellowships only   2024/09/01   2026/08/31     $41,709      $41,709      $29,949     $41,709

                                                                      Defining the role of mechanotransduction
                                                                      pathways in activating cardiac fibroblasts to cause
1,531 F30HL173967   1F30HL173967-01     STANFORD UNIVERSITY           fibrosis after myocardial infarction.               LU, JOHN MING              Awarded. Fellowships only   2024/09/15   2027/09/14     $41,921      $41,921      $18,586     $41,921

                                        UNIVERSITY OF CALIFORNIA AT   Solving cell-type specific differences of the Wnt-
1,532 F31GM149176   5F31GM149176-02     DAVIS                         directed gene regulatory network in Hydra vulgaris. MORRIS LITTLE, HANNAH      Awarded. Fellowships only   2023/07/03   2025/07/02     $81,856      $81,856      $78,242     $41,568

                                        BOSTON UNIVERSITY (CHARLES    Defining structure and function of GT-A fold
1,533 F32GM149160   5F32GM149160-02     RIVER CAMPUS)                 enzymes in bacterial glycan assembly                    KNOX, HAYLEY           Awarded. Fellowships only   2023/08/01   2025/07/31    $143,364     $143,364     $107,326     $74,284

                                                                      Bridges to the Baccalaureate Research Training
                                                                      Program (T34) for racial/ethnic minorities at the
                                                                      Borough of Manhattan Community College (BMCC)                                  Awarded. Non-fellowships
1,534 T34GM137870   5T34GM137870-04     CITY COLLEGE OF NEW YORK      and the City College of New York (CCNY)           MELARA, ROBERT               only                        2021/08/01   2026/07/31   $1,224,028   $1,224,028    $922,678    $350,862

                                                                      Understanding Neighborhood Effects of Eviction on
1,535 F31HL170747   1F31HL170747-01A1   DREXEL UNIVERSITY             Cardiovascular Health: A mixed-methods study      SMITH, PATRICK DUNN          Awarded. Fellowships only   2024/07/01   2026/06/30     $48,974      $48,974      $21,168     $48,974
                                                                         The role of the Htr1B serotonin receptor in the
                                                                         neonate autoresuscitation reflex and embryonic
                                                                         serotonergic neurogenesis as a potential
1,536 F31HL168962   1F31HL168962-01A1   BAYLOR COLLEGE OF MEDICINE       mechanism in Sudden Infant Death Syndrome              PATEL, DIPAK           Awarded. Fellowships only   2024/09/16   2027/09/15     $48,974      $48,974      $18,644     $48,974

                                                                         Pathways linking childhood and intergenerational
                                                                         trauma at the US-Mexico border with
1,537 F31MD018943   1F31MD018943-01A1   UNIVERSITY OF ARIZONA            cardiovascular health.                                 RASMUSSEN, ELIZABETH   Award terminated            2024/08/21   2025/07/31     $48,974      $48,974      $44,867     $48,974

                                        ICAHN SCHOOL OF MEDICINE AT
1,538 F31AG087649   1F31AG087649-01     MOUNT SINAI                      How does the brain accumulate cognitive maps?          BAGGETTA, AUSTIN       Awarded. Fellowships only   2024/09/01   2027/08/31     $48,814      $48,814       $1,005     $48,814

                                        UNIVERSITY OF MICHIGAN AT ANN    Lens injury-mediated mechanisms of nervous system
1,539 F31EY036280   1F31EY036280-01     ARBOR                            protection and axon regeneration                  FINNERAN, MATTHEW           Awarded. Fellowships only   2024/05/24   2027/05/23     $84,198      $84,198      $42,099     $42,099
1,540 F30NS125921   5F30NS125921-03     THOMAS JEFFERSON UNIVERSITY      Parkinsons disease therapies targeting GUCY2C          CHESLOW, LARA          Awarded. Fellowships only   2022/09/01   2026/10/31    $151,269     $151,269     $117,771     $53,974
1,541 F31AR083815   1F31AR083815-01A1   UNIVERSITY OF UTAH               Modeling pain variability in fibromyalgia              WHITAKER, MIRINDA MAR Awarded. Fellowships only    2024/05/23   2026/05/22     $40,562      $40,562      $31,176     $40,562

                                                                         Biomimetic Reactivity and Spectroscopy of Carbon STONEBRAKER, SAMUEL
1,542 F32GM150246   1F32GM150246-01A1   YALE UNIVERSITY                  Monoxide Dehydrogenase C-Clusters                NEWMAN                       Awarded. Fellowships only   2024/06/01   2027/05/31     $73,828      $73,828      $61,376     $73,828

                                                                         Physiological and Computational-Modeling Studies
1,543 F31DC020630   5F31DC020630-03     UNIVERSITY OF ROCHESTER          of Timbre Encoding in the Inferior Colliculus    FRITZINGER, JOHANNA          Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $123,426     $48,974

                                        OREGON HEALTH & SCIENCE          Role of glycosaminoglycans (GAGs) in deep vein
1,544 F30HL163918   5F30HL163918-03     UNIVERSITY                       thrombus formation and resolution                      MATHEWS, RICK          Awarded. Fellowships only   2022/07/27   2026/07/26    $158,420     $158,420     $132,233     $53,974

                                        NEW YORK UNIVERSITY SCHOOL OF Diverse Patterns of Activity-Dependent Alternative
1,545 F31NS137730   1F31NS137730-01     MEDICINE                      Splicing                                                  SUN, YU-CHI            Awarded. Fellowships only   2024/09/01   2026/08/31     $41,836      $41,836      $20,911     $41,836

                                                                         Investigating the Effectiveness and Mechanisms of
                                                                         Lymphaticovenous Anastomoses (LVA) for
                                        GEORGIA INSTITUTE OF             Lymphedema Treatment: Integrating
1,546 F31HL174122   1F31HL174122-01     TECHNOLOGY                       Computational Modeling with Clinical LVA Insights      RYU, YOUNG JAE         Awarded. Fellowships only   2024/05/15   2027/05/14     $48,974      $48,974      $44,678     $48,974

                                        UNIVERSITY OF MIAMI SCHOOL OF                                                                                  Awarded. Non-fellowships
1,547 T32GM145462   5T32GM145462-03     MEDICINE                         Medical Scientist Training Program                     LIEBL, DANIEL JON      only                        2022/07/01   2027/06/30   $2,336,287   $2,336,287   $2,072,291   $839,103

                                                                         Characterizing the Genomic Basis of Immune-
                                                                         Mediated Resilience Against Tuberculosis in an
1,548 F30AI157385   5F30AI157385-04     HARVARD MEDICAL SCHOOL           Admixed Peruvian Population                            RUMKER, LAURIE ANN     Awarded. Fellowships only   2021/09/01   2025/08/31    $177,602     $177,602     $168,194     $53,974

                                        UNIVERSITY OF ILLINOIS AT        Bridges to the Baccalaureate Research Training                                Awarded. Non-fellowships
1,549 T34GM142627   5T34GM142627-04     CHICAGO                          Program at University of Illinois at Chicago           WINK, DONALD J         only                        2021/08/02   2026/07/31    $975,213     $975,213     $648,094    $280,574

                                                                         SF2UF: The Bridges to the Baccalaureate partnership
                                                                         between Santa Fe College and the University of                                Awarded. Non-fellowships
1,550 T34GM137869   5T34GM137869-04     UNIVERSITY OF FLORIDA            Florida                                             JULIAN, DAVID             only                        2021/08/01   2026/07/31    $751,931     $751,931     $380,003    $203,683

                                        NORTHWESTERN UNIVERSITY AT       Determining the nigrostriatal circuit basis of false
1,551 F31MH136695   1F31MH136695-01     CHICAGO                          auditory perceptions.                                  ANAIR, JUSTIN          Awarded. Fellowships only   2024/06/01   2027/05/31     $43,353      $43,353      $28,278     $43,353

                                                                         Training in Translational Research in Alzheimers and                          Awarded. Non-fellowships
1,552 T32AG078110   5T32AG078110-03     UNIVERSITY OF KENTUCKY           Related Dementias (TRIAD)                              VAN ELDIK, LINDA J     only                        2022/08/01   2027/07/31   $1,584,280   $1,584,280   $1,005,273   $551,112

                                        UNIVERSITY OF PITTSBURGH AT      Age-dependent differences in the immune
1,553 F30HL159915   5F30HL159915-03     PITTSBURGH                       response to human metapneumovirus                      PARKS, OLIVIA          Awarded. Fellowships only   2022/08/15   2027/08/14    $148,577     $148,577      $65,621     $50,693

                                        FLORIDA AGRICULTURAL AND         Bridges to the Baccalaureate at Florida A&M            DARLING-REED, SELINA   Awarded. Non-fellowships
1,554 T34GM146647   5T34GM146647-03     MECHANICAL UNIV                  University                                             FAITH                  only                        2022/08/08   2027/07/31    $655,990     $655,990     $318,423    $262,322

                                                                         Northern Colorado (NoCo) Bridges to the                                       Awarded. Non-fellowships
1,555 T34GM137861   5T34GM137861-05     COLORADO STATE UNIVERSITY        Baccalaureate Research Training Program                LAYBOURN, PAUL JAMES   only                        2020/08/01   2025/07/31   $1,935,151   $1,935,151   $1,894,427   $205,611

                                                                         Molecular mechanisms of spectrin-dependent
                                        UNIV OF NORTH CAROLINA           axonal organization and function in cerebellar         EDWARDS, REGINALD
1,556 F31NS129292   5F31NS129292-02     CHAPEL HILL                      granule cells                                          JAMES                  Awarded. Fellowships only   2023/08/01   2026/06/30     $72,628      $72,628      $65,316     $36,954
                                        ICAHN SCHOOL OF MEDICINE AT      Characterizing the IgG1 Memory B cells that are
1,557 F31AI172404   5F31AI172404-03     MOUNT SINAI                      precursors of pathogenic IgE                         REDES, JAMIE           Awarded. Fellowships only   2022/08/03   2025/08/02    $140,060     $140,060     $132,235     $47,374

                                        VIRGINIA COMMONWEALTH                                                                 DONNENBERG, MICHAEL Awarded. Non-fellowships
1,558 T32GM144294   5T32GM144294-03     UNIVERSITY                       VCU Medical Scientist Training Program               S                   only                           2022/07/01   2027/06/30    $785,216     $785,216     $679,638    $287,814

                                        COLUMBIA UNIVERSITY HEALTH                                                                                   Awarded. Non-fellowships
1,559 T32DK007559   5T32DK007559-34     SCIENCES                         Obesity Research Center Training Grant               GALLAGHER, DYMPNA      only                        1989/07/01   2027/07/31    $440,762     $440,762     $382,022    $197,244

                                                                         Elucidating the Host Metabolic Response to
                                        UNIV OF NORTH CAROLINA           Consumption of Kombucha-associated
1,560 F31AT012138   5F31AT012138-02     CHAPEL HILL                      Microorganisms                                       DUMEZ, RACHEL NELL     Awarded. Fellowships only   2023/08/01   2025/07/31     $78,848      $78,848      $69,354     $40,064
1,561 F30AG076322   5F30AG076322-03     UNIVERSITY OF MINNESOTA          Investigating the Role of PLIN2 in Senescence        DEVARAJAN, MAHIMA      Awarded. Fellowships only   2022/07/05   2025/12/24    $137,542     $137,542     $111,300     $51,030

                                                                         Bioengineering Cardiovascular Training Grant                                Awarded. Non-fellowships
1,562 T32EB032787   5T32EB032787-03     UNIVERSITY OF WASHINGTON         (BCTG)                                               REGNIER, MICHAEL       only                        2022/07/01   2027/06/30    $603,367     $603,367     $505,933    $201,372

                                                                                                                              GRANADIER, DAVID
1,563 F30HL165761   5F30HL165761-02     UNIVERSITY OF WASHINGTON         Targeting IL-18 in Thymic Regeneration               WILLIAM                Awarded. Fellowships only   2023/06/16   2025/06/15     $97,289      $97,289      $91,756     $53,974

                                                                         Leveraging a novel health records platform to
                                                                         predict the development of cardiovascular disease
1,564 F30HL168842   5F30HL168842-02     JOHNS HOPKINS UNIVERSITY         following kidney transplantation                  BOWRING, MARY GRACE Awarded. Fellowships only         2023/07/01   2026/06/30    $112,168     $112,168      $95,734     $56,974

                                                                         The Effects of Intersecting Identity and Social
                                        UNIVERSITY OF MIAMI CORAL        Determinants of Health on Afro-Latina Maternal
1,565 F31NR020977   5F31NR020977-02     GABLES                           Morbidity and Infant Birth Outcomes in Florida       PARRA, ALEXA MERCEDES Awarded. Fellowships only    2023/08/01   2025/12/31     $87,622      $87,622      $73,191     $42,272

                                                                         Neurobiological mechanisms of daily life activity
1,566 F32AG085890   1F32AG085890-01A1   BRANDEIS UNIVERSITY              participation in older adults                        CRAWFORD, JENNIFER L   Awarded. Fellowships only   2024/06/01   2026/01/15     $74,284      $74,284      $56,069     $74,284

                                                                         Investigating the role of autophagy inducers and
1,567 F31GM151803   1F31GM151803-01A1   RICE UNIVERSITY                  peroxisomal proteins in pexophagy                    JACKSON, MAKAELA       Awarded. Fellowships only   2024/09/18   2026/09/17     $48,974      $48,974      $16,488     $48,974

                                        OREGON HEALTH & SCIENCE          Multidisciplinary Research Training in Pulmonary                            Awarded. Non-fellowships
1,568 T32HL083808   5T32HL083808-14     UNIVERSITY                       Medicine                                             LEWINSOHN, DAVID M     only                        2008/04/01   2026/06/30   $1,728,056   $1,728,056   $1,412,068   $450,888

                                        UNIVERSITY OF PITTSBURGH AT                                                                                  Awarded. Non-fellowships
1,569 T32CA082084   5T32CA082084-23     PITTSBURGH                       Cancer Immunology Training Program                   VIGNALI, DARIO AA      only                        1999/07/01   2027/06/30   $1,366,060   $1,366,060   $1,038,873   $500,063

                                        UNIVERSITY OF MIAMI SCHOOL OF    Overcoming Drug Resistance Driven by BCL10           COUGHLIN, CAROLINE
1,570 F30CA265106   5F30CA265106-04     MEDICINE                         Mutations in Diffuse Large B Cell Lymphoma           ALICE                  Awarded. Fellowships only   2021/08/01   2025/07/31    $209,456     $209,456     $205,175     $53,974

                                                                         Mechanism and restoration of altered firing in       GOETTEMOELLER, ANNIE
1,571 F31AG076289   5F31AG076289-03     EMORY UNIVERSITY                 interneurons during early phase Alzheimers Disease   M                      Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420      $91,513     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN    Investigating the role of DDX3 in regulating RNA
1,572 F30HD110250   5F30HD110250-03     FRANCISCO                        structure and mRNA export                            XU, ALBERT Y           Awarded. Fellowships only   2022/09/01   2026/08/31    $132,517     $132,517     $120,159     $53,974

                                        UNIVERSITY OF TEXAS HLTH SCIENCE                                                                             Awarded. Non-fellowships
1,573 T32CA148724   5T32CA148724-13     CENTER                           Cancer Biology Training Program                      YANG, FENG-CHUN        only                        2011/08/01   2027/07/31    $722,494     $722,494     $613,923    $243,603

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                Awarded. Non-fellowships
1,574 T32AI007384   5T32AI007384-34     DIEGO                            HOPE Training Grant                                  LETENDRE, SCOTT L      only                        1990/08/01   2026/08/31   $1,866,749   $1,866,749   $1,655,401   $515,425

                                        UNIVERSITY OF PITTSBURGH AT      Promotion of ER+ Breast Cancer Progression in the
1,575 F30CA264963   5F30CA264963-04     PITTSBURGH                       Elderly                                              CARLETON, NEIL         Awarded. Fellowships only   2021/08/01   2026/03/31    $198,023     $198,023     $168,297     $53,974

                                        UNIV OF MASSACHUSETTS MED SCH Transdisciplinary Training In Cardiovascular                                   Awarded. Non-fellowships
1,576 T32HL120823   5T32HL120823-09     WORCESTER                     Research                                                KIEFE, CATARINA I      only                        2014/08/01   2026/07/31   $1,894,949   $1,894,949   $1,301,802   $358,994

                                        CALIFORNIA STATE UNIVERSITY      Bridges to the Doctorate Research Training Program                          Awarded. Non-fellowships
1,577 T32GM137863   5T32GM137863-05     NORTHRIDGE                       at CSUN                                            ZAVALA, MARIAELENA B     only                        2020/08/01   2025/07/31   $2,474,562   $2,474,562   $2,025,764   $584,130

                                        UNIVERSITY OF WISCONSIN-
1,578 F32AI183625   1F32AI183625-01     MADISON                          Defining how SLBP promotes infectivity of HCMV       MORRISON, KYLEE MARIE Awarded. Fellowships only    2024/06/02   2026/06/01     $73,408      $73,408      $60,060     $73,408

                                                                         Developing near-infrared responsive liquid crystal SKILLIN, NATHANIEL
1,579 F30HL164047   5F30HL164047-03     UNIVERSITY OF COLORADO           elastomers for an adjustable pulmonary artery band PHILLIP                  Awarded. Fellowships only   2022/08/17   2026/08/16    $127,967     $127,967     $116,682     $43,823
                                                                                                                                                   Awarded. Non-fellowships
1,580 T32DK112751   5T32DK112751-08     UNIVERSITY OF IOWA           Diabetes Research Training Program                      NORRIS, ANDREW W      only                        2017/07/01   2027/06/30   $1,523,844   $1,523,844   $1,260,418   $452,612

                                                                     Investigating the role of the Ccr4-Not complex in
                                                                     regulating codon optimality-mediated mRNA               CHRISTENSEN, LANA
1,581 F31GM151817   5F31GM151817-02     JOHNS HOPKINS UNIVERSITY     decay                                                   NICOLE                Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668      $87,471     $48,974

                                                                     New York Consortium for Interdisciplinary Training in
                                        ALBERT EINSTEIN COLLEGE OF   Kidney, Urological and Hematological Research           KASKEL, FREDERICK     Awarded. Non-fellowships
1,582 TL1DK136048   5TL1DK136048-03     MEDICINE                     (NYC Train KUHR)                                        JEFFREY               only                        2022/09/15   2027/06/30   $2,315,392   $2,315,392   $1,630,562   $579,682

                                                                     The role of microbe-epithelial interactions on
                                                                     primate enteroneuroactivity in response to maternal
1,583 F30HD104278   5F30HD104278-04     BAYLOR COLLEGE OF MEDICINE   high fat diet                                       BOLTE, ERIN E             Awarded. Fellowships only   2021/08/15   2025/08/14    $198,535     $198,535     $156,859     $53,974

                                        UNIV OF NORTH CAROLINA       Minor Histocompatibility Antigen T Cell Targeting in
1,584 F30CA268748   5F30CA268748-03     CHAPEL HILL                  Acute Myeloid Leukemia                                  OLSEN, KELLY SHEA     Awarded. Fellowships only   2022/08/01   2026/07/31    $158,420     $158,420     $141,038     $53,974

                                        NORTHWESTERN UNIVERSITY AT   Elucidating mechanisms of acetylcholine signaling
1,585 F31GM143907   5F31GM143907-03     CHICAGO                      in bacterial biofilms                                   LANDER, STEPHEN       Awarded. Fellowships only   2022/09/01   2025/08/31    $130,967     $130,967     $114,606     $44,823

                                                                     Immune Cell and Epithelial Cell Interactions in
1,586 F31DK135356   5F31DK135356-02     YALE UNIVERSITY              Autosomal Dominant Polycystic Kidney Disease            RAI, VICTORIA         Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $65,502     $48,974

                                        UNIVERSITY OF CONNECTICUT    Identification of chemosensitive cells within the
1,587 F31HL160191   5F31HL160191-04     STORRS                       lateral hypothalamus                                    KHUU, MAGGIE ANN      Awarded. Fellowships only   2021/09/01   2025/08/31    $173,340     $173,340     $148,658     $44,945

                                        TEMPLE UNIV OF THE           Characterizing the role of confirmation bias in
1,588 F31AG085934   1F31AG085934-01A1   COMMONWEALTH                 financial exploitation of older adults                  WYNGAARDEN, JAMES     Awarded. Fellowships only   2024/09/01   2027/08/31     $35,660      $35,660      $20,828     $35,660

                                        NORTHWESTERN UNIVERSITY AT   Mechanosensing and Mechanotransduction in the
1,589 F31HL165767   5F31HL165767-03     CHICAGO                      Endothelial Nucleus                                     SALVADOR, JOCELYNDA Awarded. Fellowships only     2022/09/08   2025/09/07    $129,284     $129,284      $97,585     $44,262

                                        NORTHWESTERN UNIVERSITY AT   The Role of Myeloid Cell Transendothelial Migration
1,590 F30EY036261   1F30EY036261-01     CHICAGO                      in Non-Proliferative Diabetic Retinopathy               FANG, VIVIENNE        Awarded. Fellowships only   2024/09/01   2026/08/31     $44,187      $44,187      $20,179     $44,187


                                                                     The role of cis-regulatory elements in the inheritance OPRESCU, STEPHANIE
1,591 F32GM151857   5F32GM151857-02     UNIVERSITY OF PENNSYLVANIA   of transcriptional memory through mitosis.             NICOLE                 Awarded. Fellowships only   2023/08/01   2026/07/31    $142,512     $142,512     $122,722     $73,828

                                        UNIVERSITY OF SOUTHERN       How does the ubiquitously expressed ZFX mediate
1,592 F32CA264890   5F32CA264890-03     CALIFORNIA                   cell type-specific transcriptional regulation           HSU, EMILY            Awarded. Fellowships only   2022/08/01   2025/07/31    $210,154     $210,154     $185,840     $74,284

                                                                     SEMIColon: Somatic Exploration of Mosaicism in
1,593 F30CA284847   5F30CA284847-02     UNIVERSITY OF UTAH           Colon                                                   HIATT, LAUREL         Awarded. Fellowships only   2023/09/01   2027/10/31     $99,224      $99,224      $66,297     $50,252

                                        NORTHWESTERN UNIVERSITY AT                                                                                 Awarded. Non-fellowships
1,594 T32TR005124   1T32TR005124-01     CHICAGO                      NUCATS T32                                              MCCOLLEY, SUSANNA A   only                        2024/09/15   2029/07/31    $355,002     $355,002      $34,019    $355,002

                                                                     17 alpha-estradiol as a potential protective
                                        UNIVERSITY OF SOUTHERN       therapeutic against development of Alzheimers           MCGILL, CASSANDRA
1,595 F31AG084279   5F31AG084279-02     CALIFORNIA                   disease                                                 JOAN                  Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $72,232     $48,974

                                                                                                                                                   Awarded. Non-fellowships
1,596 T32HL007381   2T32HL007381-46A1   UNIVERSITY OF CHICAGO        Cardiovascular Sciences Training Grant                  GILAD, YOAV           only                        1994/07/01   2029/06/30    $689,752     $689,752      $80,338    $689,752

                                                                     Stress experiences as markers of person-level
                                                                     vulnerability and temporal risk for near-term suicidal
1,597 F31MH135693   5F31MH135693-02     UNIVERSITY OF NOTRE DAME     ideation                                               KNORR, ANNE            Awarded. Fellowships only   2023/09/28   2026/06/30     $96,668      $96,668      $72,243     $48,974

                                                                     Structural characterization of the HIV-2 capsid
1,598 F31AI184673   1F31AI184673-01     UNIVERSITY OF MINNESOTA      lattice                                                 ARNDT, WILLIAM        Awarded. Fellowships only   2024/09/27   2026/09/26     $45,915      $45,915      $20,333     $45,915

                                                                     Corticolimbic circuit and neuroimmune mechanisms
1,599 F32DA060768   1F32DA060768-01     DREXEL UNIVERSITY            of comorbid HIV and cocaine use                  NAMBA, MARK D                Awarded. Fellowships only   2024/07/01   2026/06/30     $78,784      $78,784      $63,287     $78,784

                                                                     Addressing Rural cancer Inequities through Scientific                         Awarded. Non-fellowships
1,600 T32CA261786   5T32CA261786-04     UNIVERSITY OF KENTUCKY       Excellence (ARISE)                                    DIGNAN, MARK B          only                        2021/08/01   2026/07/31   $1,006,560   $1,006,560    $551,117    $279,494
                                                                          Uncovering Mechanisms of Racial Inequalities in
                                        UNIVERSITY OF MICHIGAN AT ANN     ADRD: Psychosocial Risk and Resilience Factors for
1,601 F31AG082506   5F31AG082506-02     ARBOR                             White Matter Integrity                                   PALMS, JORDAN D         Awarded. Fellowships only   2024/01/10   2026/01/09    $82,386    $82,386    $62,762    $41,843

                                        UNIVERSITY OF SOUTHERN            Investigating the role of oxytocin signaling in the
1,602 F31DK137484   5F31DK137484-02     CALIFORNIA                        social regulation of eating                              REA, JESSICA            Awarded. Fellowships only   2023/07/01   2026/06/30    $96,668    $96,668    $80,442    $48,974

                                                                          Investigating a rare pediatric enteropathy caused
                                        UNIVERSITY OF COLORADO            by ADAM17 loss of function using iPSC-derived
1,603 F31DK138753   5F31DK138753-02     DENVER                            human intestinal organoids                               WILLIAMS, SHANE         Awarded. Fellowships only   2023/09/11   2026/09/10    $79,986    $79,986    $60,663    $40,633

                                                                          Identifying genetic vulnerabilities in KIAA1549-BRAF
1,604 F32CA284834   5F32CA284834-02     BROAD INSTITUTE, INC.             mutant pediatric low-grade gliomas                       MISEK, SEAN ALEXANDER   Awarded. Fellowships only   2023/09/01   2025/08/31   $150,684   $150,684   $107,912    $78,892

                                                                          Probing the cardioprotective effects of sulfane
1,605 F31HL170516   5F31HL170516-02     BROWN UNIVERSITY                  sulfurs with next generation fluorescent sensors         SHIEH, MEG              Awarded. Fellowships only   2023/08/01   2026/07/31    $96,668    $96,668    $86,014    $48,974

                                                                                                                                                           Awarded. Non-fellowships
1,606 T32HL171029   1T32HL171029-01A1   UNIVERSITY OF ROCHESTER           Multidisciplinary Training in Pulmonary Research         GEORAS, STEVE N         only                        2024/07/01   2029/06/30   $515,255   $515,255   $130,989   $515,255

                                        ALBERT EINSTEIN COLLEGE OF        The Role of Dedifferentiation in Basal like Breast
1,607 F31CA271757   5F31CA271757-03     MEDICINE                          Cancer                                                   LARIOS-VALENCIA, JESSIE Awarded. Fellowships only   2022/09/28   2026/09/27   $158,420   $158,420   $135,270    $53,974

                                                                          Cross-modal plasticity after the loss of vision at two
                                                                          early developmental ages in the posterior parietal
                                        UNIVERSITY OF CALIFORNIA AT       cortex: Adult connections, cortical function and         PINEDA, CARLOS
1,608 F31EY034400   5F31EY034400-02     DAVIS                             behavior.                                                RODRIGO                 Awarded. Fellowships only   2023/09/01   2026/08/31    $82,107    $82,107    $54,865    $41,819

                                                                          The role of Tex15 in shaping stochastic olfactory
1,609 F31DC021641   5F31DC021641-02     RUTGERS, THE STATE UNIV OF N.J.   receptor gene choice.                                    YUSUF, NUSRATH          Awarded. Fellowships only   2023/09/01   2026/08/31    $79,424    $79,424    $49,583    $40,352

                                                                          Conceptual Models of Childhood Adversity:
1,610 F31MH133386   5F31MH133386-02     UNIVERSITY OF OREGON              Multivariate and Neural Approaches                       BARRETT, ANN-MARIE      Awarded. Fellowships only   2023/09/16   2025/09/15    $95,736    $95,736    $68,850    $48,735

                                                                          Prenatal Exposure to Endocrine Disrupting
                                                                          Chemicals and Child Neurodevelopmental
                                        UNIVERSITY OF CALIFORNIA AT       Disorders: Mediation by Cytokines and DNA
1,611 F32OD037666   1F32OD037666-01     DAVIS                             Methylation                                              OH, JIWON               Awarded. Fellowships only   2024/08/01   2027/07/31    $89,488    $89,488    $61,626    $89,488

                                        UNIVERSITY OF CALIFORNIA LOS                                                                                    Awarded. Non-fellowships
1,612 T32EY007026   5T32EY007026-48     ANGELES                           Vision Science Training Program                          SAMPATH, ALAPAKKAM P only                           1975/07/01   2027/08/31   $510,290   $510,290   $306,242   $166,919

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                      Awarded. Non-fellowships
1,613 T32CA180984   2T32CA180984-10     ARBOR                             Advanced Training in Urologic Oncology                   PALAPATTU, GANESH S     only                        2014/08/22   2029/06/30   $246,023   $246,023   $160,457   $246,023

                                                                          Exploiting Pf phage superinfection to lower
                                        UNIVERSITY OF PITTSBURGH AT       Pseudomonas aeruginosa virulence via evolutionary
1,614 F31AI179118   5F31AI179118-02     PITTSBURGH                        tradeoffs                                         KUBOTA, NANAMI                 Awarded. Fellowships only   2023/09/01   2025/08/31    $96,668    $96,668    $51,763    $48,974

                                        UNIVERSITY OF COLORADO            APP as a mediator of amyloid beta effects on
1,615 F31AG084197   5F31AG084197-02     DENVER                            CaMKII synaptic functions                                LARSEN, MATTHEW E       Awarded. Fellowships only   2023/08/03   2026/08/02    $75,588    $75,588    $65,240    $38,434

                                        UNIVERSITY OF PITTSBURGH AT       Intestinal Stem Cell Metabolism in Inflammatory
1,616 F32DK132826   5F32DK132826-02     PITTSBURGH                        Bowel Disease Mucosal Healing                            MENTRUP, HEATHER        Awarded. Fellowships only   2023/08/10   2026/08/09   $174,484   $174,484   $121,283    $91,432

                                                                          Advanced Immunobiology Traning Program for                                       Awarded. Non-fellowships
1,617 T32AI141342   2T32AI141342-06     DUKE UNIVERSITY                   Surgeons                                                 KIRK, ALLAN D           only                        2019/06/01   2029/05/31   $559,670   $559,670   $230,257   $282,004

                                                                          The Role of Engagement in the Efficacy of
1,618 F31AT012588   5F31AT012588-02     COLORADO STATE UNIVERSITY         Mindfulness Training for Adolescents                     MORAN, MEGAN JOY        Awarded. Fellowships only   2023/06/22   2025/06/21    $81,084    $81,084    $70,602    $41,182

                                        CALIFORNIA POLY STATE U SAN LUIS                                                                                   Awarded. Non-fellowships
1,619 T34GM154620   1T34GM154620-01     OBISPO                           Bridges to the Baccalaureate at Cal Poly                  HAGOBIAN, TODD ALAN     only                        2024/08/01   2029/07/31   $127,179   $127,179     $9,129   $127,179

                                        NEW YORK UNIVERSITY SCHOOL OF Cortical and subcortical underpinnings of typical
1,620 F32DC021094   5F32DC021094-02     MEDICINE                      and dysarthric speech - Resubmission - 1                     KABAKOFF, HEATHER M     Awarded. Fellowships only   2023/09/01   2026/08/31   $146,256   $146,256   $118,696    $76,756

                                                                                                                                                           Awarded. Non-fellowships
1,621 T32AI007090   2T32AI007090-46     UNIVERSITY OF CHICAGO             Interdisciplinary Training Program in Immunology         SAVAGE, PETER AIDAN     only                        1979/07/01   2029/06/30   $540,919   $540,919   $286,669   $540,919
                                      UNIVERSITY OF CALIFORNIA, SAN
1,622 F31HL170531   5F31HL170531-02   DIEGO                            The Role of Hsf1 in Hematopoietic Stem Cell Aging        ZHOU, FANNY JIAHUA        Awarded. Fellowships only   2023/09/01   2025/08/31      $81,224       $81,224       $67,765     $41,252

                                      MEDICAL UNIVERSITY OF SOUTH      The role of lateral orbitofrontal cortex astrocytes in
1,623 F31AA030913   5F31AA030913-02   CAROLINA                         alcohol drinking                                         BLASCZYK, ABIGAIL RILEY   Awarded. Fellowships only   2023/09/19   2026/03/18      $96,668       $96,668       $79,831     $48,974

                                      UT SOUTHWESTERN MEDICAL          Translational Cancer Biology (TCB) T32 Training                                    Awarded. Non-fellowships
1,624 T32CA291654   1T32CA291654-01   CENTER                           Program                                                  BREKKEN, ROLF A           only                        2024/09/01   2029/08/31     $432,326      $432,326      $200,140   $432,326

                                      FRED HUTCHINSON CANCER           Developmental mechanisms specifying vagal
1,625 F32HD113384   5F32HD113384-02   CENTER                           innervation of organ targets                             SEROKA, AUSTIN            Awarded. Fellowships only   2024/01/01   2026/12/31     $146,256      $146,256       $87,265     $76,756

                                                                       Exploring differential biological and psychological
                                                                       effects of regular alcohol and cannabis use in
1,626 F31AA030492   5F31AA030492-03   COLORADO STATE UNIVERSITY        humans                                                   DRENNAN, MEGGAN L         Awarded. Fellowships only   2022/12/15   2025/12/14     $117,482      $117,482       $90,595     $40,068

                                                                                                                                ROUPHAEL, NADINE          Awarded. Non-fellowships
1,627 T32AI074492   2T32AI074492-16   EMORY UNIVERSITY                 Training a new generation of vaccinologists              GEORGES                   only                        2009/08/01   2029/08/31     $532,438      $532,438      $211,913   $435,985

                                                                       University of Utah Program to Provide Pain Research                                Awarded. Non-fellowships
1,628 T90DA062773   1T90DA062773-01   UNIVERSITY OF UTAH               Knowledge (UP3RK)                                   FRITZ, JULIE M                 only                        2024/08/15   2029/06/30     $385,409      $385,409            $0   $385,409

                                      NEW YORK UNIVERSITY SCHOOL OF Predicting post-kidney transplant
1,629 F32AG082486   5F32AG082486-02   MEDICINE                      dementia/Alzheimers Disease risk in older patients          LONG, JANE J              Awarded. Fellowships only   2023/08/02   2026/08/01     $182,684      $182,684      $128,782     $94,892

                                                                       Novel Bioprinted Neural Stem Cell-Embedded
                                      UNIV OF NORTH CAROLINA           Hydrogel Matrices for Enhanced Treatment of
1,630 F31NS134198   5F31NS134198-02   CHAPEL HILL                      Glioblastoma                                             KASS, LAUREN              Awarded. Fellowships only   2023/09/01   2025/08/31      $79,704       $79,704       $52,275     $40,492


1,631 F30AG081084   5F30AG081084-02   UNIVERSITY OF CALIFORNIA-IRVINE The Neuroprotective Role of PPAR-delta in Microglia DEYELL, JACOB SAHAG             Awarded. Fellowships only   2023/09/01   2026/08/31     $106,668      $106,668       $97,354     $53,974

                                                                       Multisensory integration of auditory cues for
1,632 F30DC021360   5F30DC021360-02   UNIVERSITY OF UTAH               navigation                                               SHAYMAN, COREY SCOTT Awarded. Fellowships only        2023/09/15   2025/06/21      $86,606       $86,606       $57,797     $47,324


                                                                       Elucidation and improved control of human
                                                                       induced pluripotent stem cell cardiac
                                                                       differentiation by using single-guide RNA-based
                                                                       cellular barcoding to track and manipulate
1,633 F31HL170717   5F31HL170717-02   UNIVERSITY OF TEXAS AT AUSTIN    lineages                                                 SOHN, SOGU                Awarded. Fellowships only   2023/09/01   2026/02/28      $79,754       $79,754       $64,431     $40,517

                                                                                                                                ZAPADKA, THOMAS
1,634 F31EY034776   5F31EY034776-02   YALE UNIVERSITY                  Retinal Circuitry Response to Nerve Injury               EUGENE                    Awarded. Fellowships only   2023/09/07   2026/08/31      $96,668       $96,668       $65,338     $48,974

                                      BOSTON UNIVERSITY MEDICAL
1,635 F32HL170650   5F32HL170650-02   CAMPUS                           Sub-phenotyping pneumonia by lung pathobiology HILLER, BRADLEY                     Awarded. Fellowships only   2023/09/01   2025/06/30     $133,050      $133,050      $126,989     $63,970

                                      VIRGINIA COMMONWEALTH            Multifunctional roles of an Orientia tsutsugamushi
1,636 F32AI174656   5F32AI174656-02   UNIVERSITY                       nucleomodulin                                            ALLEN, PAIGE              Awarded. Fellowships only   2023/12/10   2026/12/09     $143,364      $143,364      $104,133     $74,284

                                                                       Childhood trauma, hippocampal function, and
                                      TEMPLE UNIV OF THE               anhedonia among those at heightened risk for
1,637 F31MH135667   5F31MH135667-02   COMMONWEALTH                     psychosis                                                O'BRIEN, KATHLEEN         Awarded. Fellowships only   2024/01/01   2025/12/31      $67,620       $67,620       $37,220     $34,450

                                                                                                                                                          Awarded. Non-fellowships
1,638 T32AI138952   2T32AI138952-06   EMORY UNIVERSITY                 Infectious Diseases Across Scales Training Program       DE ROODE, JACOBUS         only                        2019/09/01   2029/08/31     $324,774      $324,774      $198,415   $324,774

                                                                       The Role of m6A Binding Protein YTHDF1 in Cardiac
1,639 F30HL160104   5F30HL160104-04   OHIO STATE UNIVERSITY            Homeostasis                                              GOLUBEVA, VOLHA           Awarded. Fellowships only   2021/09/01   2026/08/31     $160,041      $160,041      $139,473     $53,974

                                                                       Mechanisms of structural plasticity, client
                                      OREGON HEALTH & SCIENCE          interactions, and co-aggregation of the lens ⍺-
1,640 F31EY033226   5F31EY033226-03   UNIVERSITY                       crystallins                                              MILLER, ADAM PHILLIP      Awarded. Fellowships only   2023/09/01   2025/08/31     $119,733       $88,393       $45,175     $40,805

                                                                       Resting-state functional connectivity mapping using
1,641 F30MH129062   5F30MH129062-03   HARVARD MEDICAL SCHOOL           Magnetic Particle Imaging (MPI)                     DRAGO, JOHN MICHAEL            Awarded. Fellowships only   2022/09/01   2026/08/31     $158,420      $158,420      $147,701     $53,974

                                                                                                                                                       Awarded. Non-fellowships
1,642 T32GM136651   5T32GM136651-05   YALE UNIVERSITY                  Medical Scientist Training Program                       KAZMIERCZAK, BARBARA I only                           2020/07/01   2025/06/30   $11,815,964   $11,815,964   $10,817,620 $2,457,373
                                                                       Reprogramming adult murine Müller glia via L-Myc
1,643 F31EY035554   5F31EY035554-02   VANDERBILT UNIVERSITY            expression                                             STONE, MEGAN            Awarded. Fellowships only   2023/09/01   2026/07/31     $67,276      $67,276      $55,179     $34,287

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
1,644 T32CA108462   5T32CA108462-20   FRANCISCO                        Molecular and Cellular Mechanisms in Cancer            GOGA, ANDREI            only                        2004/09/01   2025/08/31   $2,856,141   $2,856,141   $2,357,462   $672,808

                                                                       Principles in Cardiovascular Research Training                                 Awarded. Non-fellowships
1,645 T32HL007081   5T32HL007081-49   WASHINGTON UNIVERSITY            Program                                                DIWAN, ABHINAV          only                        1975/07/01   2026/06/30   $2,129,539   $2,129,539   $1,505,519   $562,535

                                                                       Defining the Role of Dynamic X Chromosome
                                                                       Inactivation in Age-Associated B Cells for Female-     LOVELL, CLAUDIA
1,646 F30AI174437   5F30AI174437-02   UNIVERSITY OF PENNSYLVANIA       Biased Systemic Lupus Erythematosus                    DARNELL                 Awarded. Fellowships only   2023/07/01   2026/06/30     $71,744      $71,744      $66,167     $36,512

                                      UNIVERSITY OF CALIFORNIA, SAN    The Role of Astrocyte BMP Signaling in Fragile X
1,647 F30HD106699   5F30HD106699-04   DIEGO                            Syndrome                                               DENG, JAMES DERONG      Awarded. Fellowships only   2021/09/01   2025/08/31    $174,515     $174,515     $118,336     $53,974

                                                                    Investigating metabolism and DNA damage repair
                                      UNIVERSITY OF CONNECTICUT SCH in uropathogenic Escherichia coli fluoroquinolone
1,648 F31DK136259   5F31DK136259-02   OF MED/DNT                    persisters                                                LAGREE, TRAVIS          Awarded. Fellowships only   2023/09/08   2026/09/07     $88,150      $88,150      $69,925     $44,715

                                                                                                                                                      Awarded. Non-fellowships
1,649 T34GM146634   5T34GM146634-03   BOISE STATE UNIVERSITY           Southwest Idaho Bridges to Baccalaureate Program JORCYK, CHERYL LYNN           only                        2022/08/01   2027/07/31    $391,023     $391,023     $196,830    $260,023

                                      UNIVERSITY OF ALABAMA AT         Investigating the impact of hyperglycemia on
1,650 F31CA284611   5F31CA284611-02   BIRMINGHAM                       modulating T cell populations in breast cancer         SWAIN, COURTNEY A       Awarded. Fellowships only   2023/07/01   2027/06/30     $83,978      $83,978      $74,220     $42,629

                                      ST. JUDE CHILDREN'S RESEARCH     T32 Training Program in Pediatric Immuno-Oncology                              Awarded. Non-fellowships
1,651 T32CA272387   5T32CA272387-03   HOSPITAL                         and Immunotherapy                                 GOTTSCHALK, STEPHEN          only                        2022/09/01   2027/08/31    $689,762     $689,762     $347,937    $227,609

                                      VANDERBILT UNIVERSITY MEDICAL                                                                                   Awarded. Non-fellowships
1,652 T32CA217834   5T32CA217834-07   CENTER                           VOLT (Vanderbilt Oncology Training Program)            JOHNSON, DOUGLAS B      only                        2018/08/01   2028/08/31    $680,442     $680,442     $492,352    $322,587

                                                                       Health Services and Outcomes Research for Aging                                Awarded. Non-fellowships
1,653 T32AG066576   5T32AG066576-05   JOHNS HOPKINS UNIVERSITY         Populations                                            WOLFF, JENNIFER L       only                        2020/09/01   2025/08/31   $2,762,296   $2,762,296   $2,206,597   $578,425

                                                                      The Alzheimers Disease Translational Data Science                               Awarded. Non-fellowships
1,654 T32AG071474   5T32AG071474-04   CASE WESTERN RESERVE UNIVERSITY Training Program                                        BUSH, WILLIAM S         only                        2021/09/01   2026/08/31    $942,874     $942,874     $563,999    $283,860

                                                                       Functional diversity of somatostatin interneurons in
1,655 F30EY032338   5F30EY032338-04   YALE UNIVERSITY                  visual cortical circuits                               FANG, CALVIN            Awarded. Fellowships only   2021/09/01   2025/08/31    $168,053     $168,053     $136,225     $53,974

                                                                       Investigating the role of melanoma-adipocyte cell
                                      SLOAN-KETTERING INST CAN         junctions in heterotypic communication and tumor
1,656 F31CA271518   5F31CA271518-02   RESEARCH                         progression                                            PERLEE, SARAH           Awarded. Fellowships only   2023/07/13   2026/07/12     $96,688      $96,688      $90,122     $48,994

                                                                       Obscurin-Deficient Breast Epithelia Generate
                                                                       Secreted Factors that Prime Lung Vascular Smooth
                                      UNIVERSITY OF MARYLAND           Muscle Cell Pre-metastatic Microenvironment
1,657 F30CA278384   5F30CA278384-02   BALTIMORE                        Formation                                              EASON, MATTHEW KENT     Awarded. Fellowships only   2023/07/15   2026/07/14     $92,902      $92,902      $73,501     $47,091

                                                                       VMD-PhD Training in Infectious Disease-Related                                 Awarded. Non-fellowships
1,658 T32AI070077   5T32AI070077-17   UNIVERSITY OF PENNSYLVANIA       Research                                               ATCHISON, MICHAEL LEE   only                        2008/06/01   2028/08/31    $450,563     $450,563     $346,679    $224,327

                                      UNIVERSITY OF CALIFORNIA         Determining the role of the mechano-activated          ELLEMAN, ANNA
1,659 F32EY035182   5F32EY035182-02   BERKELEY                         potassium channel TRAAK at nodes of Ranvier            VIRGINIA                Awarded. Fellowships only   2023/09/01   2026/08/31    $143,364     $143,364     $115,358     $74,284

                                      UNIVERSITY OF KANSAS MEDICAL     Effects of metabolic phenotype on functional           GREEN, ZACHARY
1,660 F30AG076278   5F30AG076278-03   CENTER                           connectivity in aging and Alzheimer’s Disease          DOUGLASS                Awarded. Fellowships only   2022/09/19   2027/02/18    $125,448     $125,448      $99,025     $53,974

                                                                       Investigating the Role of MBNL1 in Maintaining         BAILEY, LOGAN ROBERT
1,661 F30HL163926   5F30HL163926-03   UNIVERSITY OF WASHINGTON         Cardiomyocyte Terminal Differentiation.                JEFFERSON               Awarded. Fellowships only   2022/09/16   2026/09/15    $138,856     $138,856     $126,077     $53,974

                                      UNIVERSITY OF MICHIGAN AT ANN    Pathways of Succinate Accumulation and Adenine
1,662 F31HL165681   5F31HL165681-03   ARBOR                            Nucleotide Depletion in Cardiac Ischemia       COLLINS, NICOLE                 Awarded. Fellowships only   2022/09/01   2025/08/31    $120,584     $120,584     $109,977     $41,362

                                                                       Elucidating the RNA-mediated mechanisms
                                                                       governing H3K9me3 deposition in fragile X              MALACHOWSKI, THOMAS
1,663 F31NS129317   5F31NS129317-03   UNIVERSITY OF PENNSYLVANIA       syndrome                                               ERNST               Awarded. Fellowships only       2022/09/01   2025/12/29    $143,420     $143,420     $125,601     $48,974
                                                                                                                                                     Awarded. Non-fellowships
1,664 T32EY007125   5T32EY007125-34   UNIVERSITY OF ROCHESTER           Training in Vision Science                           TADIN, DUJE             only                        1990/09/30   2026/08/31    $582,526     $582,526     $529,323    $167,076

                                                                    Mitochondrial complex III-derived ROS in astrocytic
                                      WEILL MEDICAL COLL OF CORNELL signaling and Alzheimers disease-related
1,665 F31AG084165   5F31AG084165-02   UNIV                          pathogenesis                                             BARNETT, DANIEL MARTIN Awarded. Fellowships only    2023/08/01   2026/07/31     $96,668      $96,668      $87,545     $48,974

                                      ST. JUDE CHILDREN'S RESEARCH      Investigating dysregulation of hematopoietic stem
                                      HOSPITAL GRADUATE SCHOOL OF       cell support in sickle cell disease mesenchymal
1,666 F31HL170678   5F31HL170678-02   BIOMEDICAL SCIENCES, LLC          stromal cells                                        CAIN, TERRI             Awarded. Fellowships only   2023/08/01   2026/07/31     $88,668      $88,668      $64,050     $44,974

                                                                        Investigating the Time-Dependent Reversibility of
                                                                        DCM-Induced Epigenetic, Matrix, and Functional
1,667 F31HL165834   5F31HL165834-03   UNIVERSITY OF WASHINGTON          Remodeling                                           REICHARDT, ISABELLA     Awarded. Fellowships only   2022/09/16   2025/09/15    $128,021     $128,021     $128,021     $43,841

                                                                      Interdisciplinary Biomedical Imaging Training                                  Awarded. Non-fellowships
1,668 T32EB007509   5T32EB007509-18   CASE WESTERN RESERVE UNIVERSITY Program                                                WILSON, DAVID LYNN      only                        2007/09/01   2027/06/30   $1,119,913   $1,119,913    $970,432    $318,272

                                                                        High-throughput thermodynamic and kinetic
                                                                        measurements for variant effects prediction in a
1,669 F31HG013267   5F31HG013267-02   STANFORD UNIVERSITY               major protein superfamily                            OLIVAS, MICAH           Awarded. Fellowships only   2023/09/01   2026/08/31     $90,101      $90,101      $66,522     $42,407

                                                                        Metabolic Programming of Hematopoietic Stem
1,670 F31HL170732   5F31HL170732-02   UNIVERSITY OF UTAH                Cell Function by Prenatal Folate                     KRUM, BRIAN             Awarded. Fellowships only   2023/09/01   2026/08/31     $85,682      $85,682      $65,392     $43,481

                                                                        The Experience of Cancer Related Financial
                                                                        Hardship Among Individuals with Chronic Myeloid
1,671 F31NR020988   5F31NR020988-02   EMORY UNIVERSITY                  Leukemia in the Rural Southeast                      WRIGHT, STEPHANIE LEE   Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668      $75,866     $48,974

                                                                                                                                                     Awarded. Non-fellowships
1,672 T32CA163184   5T32CA163184-14   UNIVERSITY OF MINNESOTA           Cancer Related Health Disparities Training Program   ALLEN, MICHELE L        only                        2016/09/15   2026/08/31   $1,221,300   $1,221,300   $1,215,559   $348,156

                                      UNIVERSITY OF MIAMI SCHOOL OF                                                                                  Awarded. Non-fellowships
1,673 T32CA211034   5T32CA211034-09   MEDICINE                          Research Training in Surgical Oncology               MERCHANT, NIPUN B       only                        2016/09/15   2026/08/31   $1,151,199   $1,151,199   $1,110,431   $356,551

                                                                        Molecular Devices for the Detection and Treatment
1,674 F30GM146428   5F30GM146428-03   UPSTATE MEDICAL UNIVERSITY        of HCMV Infection                                 SEKHON, HARSIMRANJIT S Awarded. Fellowships only       2022/09/01   2027/08/31    $158,420     $158,420     $147,009     $53,974

                                      UT SOUTHWESTERN MEDICAL           UT Gastroenterology/Hepatology Research Training                             Awarded. Non-fellowships
1,675 T32DK007745   5T32DK007745-28   CENTER                            Program                                          BURSTEIN, EZRA              only                        1997/01/01   2027/05/31   $1,165,559   $1,165,559    $694,080    $363,480

                                      UNIV OF NORTH CAROLINA            Enhancement training for the next generation of                              Awarded. Non-fellowships
1,676 T32GM149370   5T32GM149370-02   CHAPEL HILL                       translational Ph.D. scientists                       WEISSMAN, BERNARD E     only                        2023/08/21   2028/06/30    $468,276     $468,276     $400,088    $203,008

                                      ROSWELL PARK CANCER INSTITUTE     The impact of chronic stress on radiation induced    MACDONALD,
1,677 F30CA265127   5F30CA265127-04   CORP                              cell death and the anti-tumor immune response        CAMERON RIKER           Awarded. Fellowships only   2021/09/01   2025/08/31    $169,092     $169,092     $156,407     $53,974

                                      UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
1,678 T32AG000181   5T32AG000181-34   PITTSBURGH                        Training in the Epidemiology of Aging                STROTMEYER, ELSA S      only                        1989/09/01   2026/08/31   $1,529,281   $1,529,281   $1,139,499   $391,559

                                                                                                                                                   Awarded. Non-fellowships
1,679 T32GM007019   5T32GM007019-48   UNIVERSITY OF CHICAGO             Clinical Therapeutics                                O'DONNELL, PETER HUGH only                          1978/07/01   2025/06/30   $2,691,176   $2,691,176   $2,245,391   $301,147

                                                                      Investigating the role of NMD in Nonsense Mutation
1,680 F31HL166193   5F31HL166193-03   CASE WESTERN RESERVE UNIVERSITY Biology and Therapeutic Strategies                     MICHICICH, MARGARET     Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420      $98,792     $48,974

                                      UNIVERSITY OF MICHIGAN AT ANN     Local Economic Conditions and Patterns of Family
1,681 F32HD106679   5F32HD106679-03   ARBOR                             Instability and Complexity                           HAYS, JAKE J            Awarded. Fellowships only   2022/09/01   2025/08/31    $210,154     $210,154     $172,405     $74,284

                                                                        Single-molecule Investigation of the Interaction
1,682 F31MH132306   5F31MH132306-03   ROCKEFELLER UNIVERSITY            Between MeCP2 and Chromatin                          CHUA, GABRIELLA N L     Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $126,370     $48,974

                                                                        Mechanisms of Cell-Free Hemoglobin-Mediated
                                                                        Injury to the Pulmonary Endothelial Glycocalyx in
1,683 F30HL170483   5F30HL170483-02   VANDERBILT UNIVERSITY             Sepsis                                               BOGART, AVERY MAY       Awarded. Fellowships only   2023/09/01   2027/08/31     $67,048      $67,048      $54,103     $34,164

                                                                                                                                                     Awarded. Non-fellowships
1,684 T32HL134621   5T32HL134621-08   UNIVERSITY OF FLORIDA             Breathing Research and Therapeutics (BREATHE)        MITCHELL, GORDON S      only                        2017/04/15   2027/07/31   $1,390,744   $1,390,744    $986,372    $475,916
                                                                         Multi-functional cellular therapies to overcome
                                        UNIVERSITY OF CALIFORNIA, SAN    tumor heterogeneity and limit toxicity in acute
1,685 F32CA271812   5F32CA271812-02     FRANCISCO                        myeloid leukemia                                      KASAP, CORYNN         Awarded. Fellowships only   2023/09/10   2026/09/09    $173,916     $173,916     $134,933     $90,988

                                        CALIFORNIA INSTITUTE OF          An Electrochemical Approach to Amine Synthesis
1,686 F32GM151784   5F32GM151784-02     TECHNOLOGY                       from Nitrogen                                         OVIAN, JOHN MICHAEL   Awarded. Fellowships only   2023/08/09   2026/08/08    $142,512     $142,512     $118,051     $73,828

                                        CALIFORNIA INSTITUTE OF          Determining the cell fate programs of mammalian
1,687 F31EY033220   5F31EY033220-04     TECHNOLOGY                       retina development                                    TRAN, MARTIN          Awarded. Fellowships only   2021/09/01   2025/08/31    $189,456     $189,456     $177,550     $48,974

                                                                                                                                                     Awarded. Non-fellowships
1,688 T32ES007026   5T32ES007026-47     UNIVERSITY OF ROCHESTER          Training in Environmental Toxicology                  ELDER, ALISON         only                        1978/07/01   2028/06/30   $1,490,492   $1,490,492   $1,089,941   $749,155

                                                                                                                                                     Awarded. Non-fellowships
1,689 T32EY021462   5T32EY021462-13     UNIVERSITY OF TEXAS AT AUSTIN    CPS Training Grant                                    HAYHOE, MARY M        only                        2012/07/01   2027/06/30    $510,351     $510,351     $491,229     $86,113

                                                                         Functional, structural, and computational
                                                                         consequences of NMDA receptor ablation at
1,690 F31MH133285   5F31MH133285-02     UNIVERSITY OF MINNESOTA          medial prefrontal cortex synapses                     DICK, RACHEL          Awarded. Fellowships only   2023/09/01   2026/08/31     $71,579      $71,579      $66,070     $36,594

                                                                         The Impact of Shear Stress on Aquaporin 1
1,691 F32HL176197   1F32HL176197-01     JOHNS HOPKINS UNIVERSITY         Expression in the Pulmonary Endothelium               CROGLIO, MICHAEL      Awarded. Fellowships only   2024/09/01   2026/08/31     $83,932      $83,932      $54,166     $83,932

                                                                                                                               HARDIN, KATHERINE
1,692 F31NS127574   5F31NS127574-02     EMORY UNIVERSITY                 Fascin1 in Growth Cone Motility and Guidance          REBECCA               Awarded. Fellowships only   2023/05/15   2025/05/14     $96,668      $96,668      $80,720     $48,974

                                                                         Anatomical and functional imaging of the
1,693 F30EY034033   5F30EY034033-02     NORTHWESTERN UNIVERSITY          conventional outflow pathway                          FANG, RAYMOND         Awarded. Fellowships only   2023/09/01   2025/08/31     $96,881      $96,881      $77,168     $53,974

                                        UNIVERSITY OF CALIFORNIA LOS     Exploring the Contribution of Distinct mPFC Cell- VORMSTEIN-SCHNEIDER,
1,694 F31MH138093   1F31MH138093-01     ANGELES                          Types to the Encoding of Decision-Making Outcome DOUGLAS                    Awarded. Fellowships only   2024/09/30   2028/09/29     $42,208      $42,208       $4,860     $42,208

                                                                         Sleep Characteristics in Children and Adolescents
1,695 F31AA031907   1F31AA031907-01     SAN DIEGO STATE UNIVERSITY       with Prenatal Alcohol Exposure                        SOJA, JACQUELINE      Awarded. Fellowships only   2024/08/01   2027/07/31     $39,125      $39,125      $29,824     $39,125

                                                                         Examining Early Life Risk Factors and Patterns of
1,696 F31CA281335   5F31CA281335-02     YALE UNIVERSITY                  Screening for Early-Onset Colorectal Cancer           SIDDIQUE, ARFAN       Awarded. Fellowships only   2023/08/18   2025/08/17     $96,668      $96,668      $63,251     $48,974

                                        UNIVERSITY OF COLORADO           The Role of Notch Signaling in Shh-mediated
1,697 F31NS129289   5F31NS129289-02     DENVER                           Oligodendrocyte Fate Specification                    TRAN, LUULI           Awarded. Fellowships only   2023/08/01   2025/07/31     $79,346      $79,346      $67,506     $40,313

                                        OREGON HEALTH & SCIENCE          The role of NCK1 in CSF3R-driven myeloproliferative   MANIACI, BREANNA
1,698 F31HL165919   5F31HL165919-03     UNIVERSITY                       neoplasms                                             NICOLE                Awarded. Fellowships only   2022/12/01   2025/11/30    $144,700     $144,700     $110,999     $48,974

                                                                         Molecular mechanisms of NKX2.2 function in adult
1,699 F30DK134041   5F30DK134041-03     VANDERBILT UNIVERSITY            human beta cells                                      PETTWAY, YASMINYE D   Awarded. Fellowships only   2023/01/01   2027/12/31    $101,098     $101,098      $75,454     $34,126

                                                                         Unraveling the Cellular Dynamics of the Cranial
                                        UNIVERSITY OF MICHIGAN AT ANN    Base Synchondroses Throughout Postnatal               HALLETT, SHAWN
1,700 F30DE030675   5F30DE030675-04     ARBOR                            Craniofacial Development                              ALEXANDER             Awarded. Fellowships only   2022/01/01   2025/12/31    $214,878     $214,878     $214,878     $54,774

                                        UNIVERSITY OF SOUTHERN           Investigating macrophage assisted reprogramming
1,701 F31GM151835   1F31GM151835-01A1   CALIFORNIA                       of lizard fibroblasts during appendage regeneration GAMBLE, DARIAN          Awarded. Fellowships only   2024/08/01   2026/07/31     $45,574      $45,574      $38,518     $45,574

                                        WEILL MEDICAL COLL OF CORNELL Investigating the Role of the Microbiome in
1,702 F31AI181447   1F31AI181447-01A1   UNIV                          Mononuclear Phagocyte Function                           CHEN, AMANDA          Awarded. Fellowships only   2024/07/08   2027/07/07     $48,974      $48,974      $41,375     $48,974

                                        COLUMBIA UNIVERSITY HEALTH       Global HIV Implementation Science Research            HOWARD, ANDREA        Awarded. Non-fellowships
1,703 T32AI114398   2T32AI114398-11A1   SCIENCES                         Training Grant                                        ALLOCCO               only                        2014/09/01   2029/08/31    $286,928     $286,928     $286,928    $286,928

                                                                         Neural and behavioral mechanisms of song
1,704 F31NS132469   5F31NS132469-02     DUKE UNIVERSITY                  learning in zebra finches                             MARTINEZ, MILES       Awarded. Fellowships only   2023/06/01   2026/05/31     $82,054      $82,054      $75,525     $41,667

                                                                         Neural substrates of extinction deficits in
1,705 F32MH135620   5F32MH135620-03     JOHNS HOPKINS UNIVERSITY         pathological fear                                     TOTTY, MICHAEL        Awarded. Fellowships only   2024/01/15   2027/01/14    $143,364     $143,364      $68,816     $74,284

                                                                         Evaluating the Association Between General
                                                                         Chronic Pain Liability and Clinically Recognized
1,706 F31DA061638   1F31DA061638-01     TRUSTEES OF INDIANA UNIVERSITY   Substance Use                                         SUMMIT, ALYNNA        Awarded. Fellowships only   2024/07/01   2026/06/30     $48,974      $48,974      $48,363     $48,974
                                                                     PTPN1 and PTPN2 as targets to improve NK function
1,707 F31AI186614   1F31AI186614-01     GEORGE WASHINGTON UNIVERSITY against HIV                                       MELO, CLAUDIA                    Awarded. Fellowships only    2024/07/01   2025/06/30    $43,756    $43,756    $30,213   $43,756

                                        UNIVERSITY OF MIAMI SCHOOL OF    A novel immunotherapy for pancreatic cancer
1,708 F31CA294908   1F31CA294908-01     MEDICINE                         using micro-RNA-29a                                   RAFIE, CHRISTINE ISABELLE Awarded. Fellowships only   2024/08/01   2028/07/31    $53,974    $53,974    $32,839   $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN    Adapting cell-based therapies for the treatment of
1,709 F31HL172610   5F31HL172610-02     FRANCISCO                        pulmonary fibrosis                                    WHITTY, CAROLINE         Awarded. Fellowships only    2023/12/01   2026/11/30    $97,948    $97,948    $68,381   $48,974

                                                                         Matrix Metalloproteinase 2 Controls Trans-Synaptic
1,710 F31NS139658   1F31NS139658-01     GEORGETOWN UNIVERSITY            Homeostatic Plasticity in Drosophila                  CAI, YIMEI               Awarded. Fellowships only    2024/08/01   2026/07/31    $38,774    $38,774    $27,711   $38,774

                                                                         Investigating the role of the Unfolded Protein
1,711 F32HL167558   1F32HL167558-01A1   STANFORD UNIVERSITY              Response in Genetic Dilated Cardiomyopathy            BAUM, RACHEL             Awarded. Fellowships only    2024/09/30   2026/01/29    $79,756    $79,756    $10,726   $79,756

                                        UNIVERSITY OF CALIFORNIA LOS     Transcriptional regulation of NK cell metabolism and
1,712 F30AI181449   5F30AI181449-02     ANGELES                          effector function by MEF2C                           LI, JOEY H T              Awarded. Fellowships only    2024/04/01   2026/03/31    $89,302    $89,302    $44,413   $44,651

                                                                         Recovery is Achievable: Biocatalytic approaches to
                                        UNIVERSITY OF MICHIGAN AT ANN    Diversifying Mitragynine Analogs for Opioid
1,713 F31DA055451   5F31DA055451-04     ARBOR                            Substitution Therapies                             HARRIS, NATALIA             Awarded. Fellowships only    2022/02/01   2025/05/31   $136,747   $136,747   $133,818   $16,772

                                        UNIVERSITY OF TEXAS HLTH SCI CTR Rod photoreceptor regeneration in a zebrafish
1,714 F31EY034793   5F31EY034793-03     HOUSTON                          model of Retinitis Pigmentosa.                        SHIHABEDDIN, EYAD        Awarded. Fellowships only    2023/01/16   2026/01/15   $109,603   $109,603    $90,140   $36,961

                                                                         Improving Brief Assessment of Suicidal Thoughts and
                                                                         Behaviors in Youth: An Engaged, Stakeholder-
                                                                         Informed Approach to Measure Development,
1,715 F31MH136767   1F31MH136767-01A1   TEXAS TECH UNIVERSITY            Testing, and Implementation                         CHRISTENSEN, KIRSTEN       Awarded. Fellowships only    2024/09/01   2026/08/31    $45,662    $45,662    $22,557   $45,662

                                                                         The role of nitrogen metabolism in smooth muscle
1,716 F31HL165772   5F31HL165772-03     UNIVERSITY OF VIRGINIA           cell phenotypic plasticity                            PERRY, ROBERT NOAH       Awarded. Fellowships only    2022/12/19   2025/12/18   $119,122   $119,122    $96,364   $40,448

                                                                         Enhancing Clinical Decision-Making in Modular         VENTURO-CONERLY,
1,717 F31MH134555   5F31MH134555-02     HARVARD UNIVERSITY               Youth Psychotherapy                                   KATHERINE ELIZABETH      Awarded. Fellowships only    2023/08/01   2026/07/31    $75,430    $75,430    $67,826   $35,226

                                                                         Factors Impacting Global Health: The Importance
                                                                         of Individualized Treatment Goals for Black Breast
1,718 F31CA294988   1F31CA294988-01     TRUSTEES OF INDIANA UNIVERSITY   Cancer Survivors                                      SINCLAIR, KELSEY L       Awarded. Fellowships only    2024/08/01   2027/07/31    $37,788    $37,788    $33,038   $37,788

                                                                         Reversal of Age-Associated Damage in the
1,719 F31AG081110   5F31AG081110-03     YALE UNIVERSITY                  Planarian Germline                                    VERDESCA, ANDREW         Awarded. Fellowships only    2023/02/01   2026/01/31   $145,642   $145,642    $58,490   $48,974

                                                                         Characterizing Evoked Potentials of Deep Brain
1,720 F31NS130997   5F31NS130997-03     DUKE UNIVERSITY                  Stimulation for Parkinsons Disease                    DALE, JAHRANE ANTONIO Awarded. Fellowships only       2023/01/01   2026/12/31   $136,596   $136,596   $108,377   $42,127

                                                                         Epigenetic regulation of the regenerating axolotl
1,721 F31HD116512   1F31HD116512-01     NORTHEASTERN UNIVERSITY          forelimbs proximodistal axis by retinoic acid         MILLER, MELISSA NANETTE Awarded. Fellowships only     2024/09/06   2026/09/05    $48,974    $48,974        $0    $48,974

                                                                         TRIM 14 is a master regulator of STAT3 activity during
                                        TEXAS A&M UNIVERSITY HEALTH      the macrophage innate immune responses to
1,722 F31AI176795   5F31AI176795-02     SCIENCE CTR                      Mycobacterium tuberculosis                             MABRY, CORY             Awarded. Fellowships only    2024/02/01   2027/01/31    $75,449    $75,449    $45,743   $37,797

                                        UNIVERSITY OF TEXAS SAN          Repurposing Drugs to Discover Novel Antifungals for
1,723 F31AI186506   1F31AI186506-01     ANTONIO                          Coccidioidomycosis                                  SAEGER, SARAH BETH         Awarded. Fellowships only    2024/09/01   2025/08/31    $37,513    $37,513    $25,417   $37,513

                                                                         Effects of late first language acquisition on
                                        UNIVERSITY OF CALIFORNIA, SAN    phonological processing in American Sign
1,724 F31DC021854   5F31DC021854-02     DIEGO                            Language                                              NIELSON, SHAI LYNNE      Awarded. Fellowships only    2024/01/01   2025/12/31    $83,566    $83,566    $41,783   $41,783

                                                                         Financial Toxicity in Chronic Obstructive Pulmonary
1,725 F32HL176086   1F32HL176086-01     JOHNS HOPKINS UNIVERSITY         Disease                                               MALLYA, SONAL            Awarded. Fellowships only    2024/07/01   2026/06/30    $97,364    $97,364    $81,843   $97,364

                                        UNIVERSITY OF CALIFORNIA         Uncovering the Role of Neural Crest Gene
1,726 F31HL176141   1F31HL176141-01     BERKELEY                         Regulatory Networks in Cardiac Regeneration           HAUGAN, ALEXANDRA K      Awarded. Fellowships only    2024/09/30   2026/09/29    $42,654    $42,654    $28,654   $42,654
1,727 F30CA295068   1F30CA295068-01     UNIVERSITY OF MINNESOTA          Engineering Immune Engagers                           WALSH, MELISSA ARIEL     Awarded. Fellowships only    2024/08/26   2028/08/25    $43,262    $43,262    $31,206   $43,262
                                                                           Investigating the roles of the H3K4
                                                                           methyltransferases KMT2C and KMT2D in
                                        UNIV OF NORTH CAROLINA             chondrocyte differentiation and endochondral              QUICKSTAD, GABRIELLE
1,728 F31DE033916   1F31DE033916-01A1   CHAPEL HILL                        ossification                                              ALAIR                  Awarded. Fellowships only   2024/08/01   2026/10/31    $43,374    $43,374    $30,267    $43,374

                                        UNIVERSITY OF PITTSBURGH AT                                                                                         Awarded. Non-fellowships
1,729 T32AI060525   5T32AI060525-17     PITTSBURGH                         Immunology of Infections Disease Renewal 2023             FLYNN, JOANNE L        only                        2005/07/01   2029/01/31   $798,792   $798,792   $360,563   $399,396

                                                                           Mechanism and Regulation of Replication-Coupled
                                                                           Asymmetric Histone Incorporation in Drosophila  DAVIS, BRENDON EUGENE
1,730 F31HD116510   1F31HD116510-01     JOHNS HOPKINS UNIVERSITY           Male Germline Stem Cells                        MICHAEL               Awarded. Fellowships only              2024/09/01   2027/08/31    $48,974    $48,974    $39,566    $48,974

                                                                           Alcohol-Cannabinoid System Interactions in the
1,731 F30AA031900   1F30AA031900-01     LSU HEALTH SCIENCES CENTER         Context of Pain and AUD                                   LEE, SUMIN             Awarded. Fellowships only   2024/08/01   2028/07/31    $40,827    $40,827    $27,636    $40,827

                                        UNIVERSITY OF TEXAS HLTH SCI CTR Investigating the role of Yap/Taz in neural crest-          ERHARDT, SHANNON
1,732 F31HL176166   1F31HL176166-01     HOUSTON                          derived cardiac development                                 NICOLE                 Awarded. Fellowships only   2024/09/01   2027/08/31    $37,124    $37,124    $15,665    $37,124

                                                                           Biopsychosocial influences on cognitive function in
1,733 F32AG090098   1F32AG090098-01     RICE UNIVERSITY                    dementia spousal caregivers                               BRICE, KELLY N         Awarded. Fellowships only   2024/09/09   2027/09/08    $78,328    $78,328    $36,578    $78,328

                                                                           Behavioral and Molecular Consequences of Tau
                                                                           Pathology in Locus Coeruleus in Prodromal                 KORUKONDA,
1,734 F31AG081046   5F31AG081046-03     EMORY UNIVERSITY                   Alzheimers Disease                                        ANURADHA               Awarded. Fellowships only   2023/01/01   2025/12/31   $145,642   $145,642   $108,924    $48,974

                                                                           Examining the modulatory role of galanin in opioid
1,735 F32DA061631   1F32DA061631-01     EMORY UNIVERSITY                   reward                                                    PATE, BRITTANY         Awarded. Fellowships only   2024/09/01   2027/08/31    $73,828    $73,828    $35,833    $73,828

                                        BOSTON UNIVERSITY MEDICAL          Functional epitranscriptomic profiling of m6A RNA
1,736 F31AG090051   1F31AG090051-01     CAMPUS                             modifications in Alzheimers Disease                       LIBERA, JENNA LYNN     Awarded. Fellowships only   2024/08/19   2026/11/07    $48,974    $48,974    $17,259    $48,974

                                                                           Time-resolved chromatin accessibility by Single-
1,737 F31GM156098   1F31GM156098-01     JOHNS HOPKINS UNIVERSITY           Molecule FRET of +1 Nucleosome Dynamics                   YAMADI, MARYAM         Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $17,640    $48,974


                                                                           Neurodevelopmental Patterns of Social Reactivity in SIEGEL-RAMSAY,
1,738 F32MH135706   1F32MH135706-01A1   UNIVERSITY OF TEXAS AT AUSTIN      Youth at Increased Familial Risk for Bipolar I Disorder JENNIFER E               Awarded. Fellowships only   2024/09/01   2026/08/31    $84,592    $84,592    $42,529    $84,592

                                        UNIVERSITY OF CALIFORNIA, SAN      Decoupling sex chromosome and sex hormone
1,739 F31HL176153   1F31HL176153-01     DIEGO                              regulation of cardiac myofibroblast activation            GORASHI, RAYYAN        Awarded. Fellowships only   2024/12/01   2026/11/30    $42,132    $42,132    $12,550    $42,132

                                                                           Precision Monitoring of Multiple Sclerosis with Mobile
1,740 F31NS139700   1F31NS139700-01     STANFORD UNIVERSITY                Devices: A Transformative Approach                     HITTLE, MICHAEL           Awarded. Fellowships only   2024/08/01   2026/07/31    $42,407    $42,407    $26,806    $42,407

                                        UNIVERSITY OF SOUTHERN             Identifying the cellular origins of jaw joint cartilage   OFOEGBU, OLUCHI
1,741 F31DE034307   1F31DE034307-01     CALIFORNIA                         regeneration in zebrafish                                 AMARACHUKWU EBERE      Awarded. Fellowships only   2024/09/01   2028/08/31    $49,774    $49,774    $28,758    $49,774

                                                                           Stress, Inflammation, and Neurocognitive                  CIRIEGIO, ABAGAIL
1,742 F31NS135926   5F31NS135926-02     VANDERBILT UNIVERSITY              Functioning in Adults with Huntington’s Disease           ELIZABETH              Awarded. Fellowships only   2023/12/01   2026/09/30    $97,948    $97,948    $43,623    $48,974

                                        CALIFORNIA INSTITUTE OF            Dissecting the transcription factor networks              MACNABB, BRENDAN
1,743 F32AI181504   5F32AI181504-02     TECHNOLOGY                         controlling fetal T-lineage differentiation               WILLIAM                Awarded. Fellowships only   2024/01/01   2026/12/31   $148,112   $148,112    $91,124    $74,284

                                        CINCINNATI CHILDRENS HOSP MED
1,744 F30HL172613   1F30HL172613-01A1   CTR                           Pathogenesis of frequent asthma exacerbators                   PHELAN, KIERAN         Awarded. Fellowships only   2024/09/07   2027/09/06    $41,915    $41,915        $0     $41,915

                                                                           ADAD1 and ribosome biogenesis in the post-meiotic
1,745 F31HD116499   1F31HD116499-01     RUTGERS, THE STATE UNIV OF N.J.    male germ cell                                    POTGIETER, SARAH               Awarded. Fellowships only   2024/09/01   2027/08/31    $51,334    $51,334    $34,988    $51,334

                                                                           NRSA application: Characterizing acetylcholine,
                                                                           noradrenaline, and dopamine diffusion through the
                                                                           extracellular space in three subregions of macaque
1,746 F32NS129585   5F32NS129585-03     STANFORD UNIVERSITY                neocortex                                          KRUEGER, JULIANE              Awarded. Fellowships only   2022/12/01   2025/11/30   $249,222   $249,222   $187,876    $86,488

                                        ALBERT EINSTEIN COLLEGE OF         Anti-Complement Immunotherapy for Pancreatic
1,747 F30CA278322   5F30CA278322-02     MEDICINE                           Cancer                                                    BELL, BRETT I          Awarded. Fellowships only   2024/01/01   2026/12/31   $106,668   $106,668    $69,780    $53,974
                                                                        The thalamic paraventricular nucleus mediates the
                                                                        influence of early-life adversity on reward-seeking   KOOIKER, CASSANDRA
1,748 F30MH126615   5F30MH126615-04     UNIVERSITY OF CALIFORNIA-IRVINE behaviors                                             LEIGH                   Awarded. Fellowships only   2021/12/01   2025/11/30   $191,322   $191,322   $165,192   $53,974

                                                                          Defining the regulation and regulatory mechanisms
1,749 F31AI174696   5F31AI174696-03     WASHINGTON UNIVERSITY             of TCF-1 in CD8+ T cell differentiation           MURPHY, MAEGAN            Awarded. Fellowships only   2022/12/01   2025/11/30   $103,498   $103,498    $79,932   $34,926

                                        UNIVERSITY OF COLORADO            The role of indole-induced immune dysregulation in
1,750 F30AI174817   5F30AI174817-03     DENVER                            collagen-inducedarthritis                          SEYMOUR, BRENDA J        Awarded. Fellowships only   2022/12/01   2025/11/30   $110,964   $110,964    $82,570   $37,802

                                                                          Aberrant cortical entrainment in biomarker-
                                                                          confirmed Alzheimers disease and mild cognitive
1,751 F30AG076259   5F30AG076259-04     FATHER FLANAGAN'S BOYS' HOME      impairment                                          SPRINGER, SETH D        Awarded. Fellowships only   2022/01/12   2027/01/11   $156,398   $156,398    $69,103   $49,950

                                                                          Combating the Immunosuppressive Tumor
                                                                          Microenvironment in Triple Negative Breast Cancer:
                                                                          The Role of Mitochondrial Dynamics in the
1,752 F30CA268872   5F30CA268872-04     BAYLOR COLLEGE OF MEDICINE        Polarization of Tumor-Associated Macrophages       CHAN, HILDA LYN          Awarded. Fellowships only   2022/01/01   2025/06/30   $202,433   $202,433   $151,871   $44,213

                                        NEW YORK STRUCTURAL BIOLOGY       Functional implications of structural heterogeneity in
1,753 F31AI186389   1F31AI186389-01     CENTER                            a viral RNA translation initiation element             SEGAR, KATHERINE     Awarded. Fellowships only   2024/09/15   2027/09/14    $48,974    $48,974    $20,959   $48,974

                                                                          A novel approach to exercise as treatment for injury-
                                        UNIVERSITY OF COLORADO            induced impairments in cerebrovascular function
1,754 F31HD116524   1F31HD116524-01     DENVER                            among adolescents with concussion                     WINGERSON, MATHEW J   Awarded. Fellowships only   2024/07/16   2026/07/15    $38,714    $38,714    $27,629   $38,714

                                                                          Macrophage-mediated interleukin-6 signaling drives
                                                                          ryanodine receptor 2 calcium leak in postoperative
1,755 F30HL172431   1F30HL172431-01A1   BAYLOR COLLEGE OF MEDICINE        atrial fibrillation                                KEEFE, JOSHUA ANTHONY Awarded. Fellowships only      2024/08/01   2027/07/31    $49,244    $49,244    $41,084   $49,244

                                                                          The Role of Smooth Muscle Cell Estrogen Receptor
1,756 F32HL176055   1F32HL176055-01     TUFTS MEDICAL CENTER              Alpha in Aging-Associated Arterial Stiffness        TURNER, CASEY GAIL      Awarded. Fellowships only   2025/01/01   2027/12/31    $74,284    $74,284    $24,417   $74,284

                                                                          The One Ring to Rule Them All: How ICP0’s Ring
                                        UNIVERSITY OF KANSAS MEDICAL      Finger in Alliance with the Host Protein CIN85
1,757 F31AI186315   1F31AI186315-01     CENTER                            Regulates Protein Trafficking and Communication     LASNIER, SARAH          Awarded. Fellowships only   2025/01/03   2028/01/02    $37,460    $37,460    $12,537   $37,460

                                                                          Radial Astroglia Form Novel Structures to Engulf
                                                                          Neuronal Cell Bodies during Zebrafish Optic Tectum
1,758 F31EY035961   1F31EY035961-01A1   UNIVERSITY OF VIRGINIA            Development                                        BARBER, HEATHER M        Awarded. Fellowships only   2024/08/01   2026/07/31    $41,145    $41,145    $28,519   $41,145

                                                                          Contribution of Endothelial Planar Cell Polarity
1,759 F31HL168920   5F31HL168920-02     YALE UNIVERSITY                   pathways in Blood Flow Direction Sensing            X, SHAKA                Awarded. Fellowships only   2024/01/01   2026/12/31    $96,668    $96,668    $55,005   $48,974
1,760 F32HL170557   5F32HL170557-02     JOHNS HOPKINS UNIVERSITY          The Role of Iron Deficiency in COPD Morbidity       KUNITOMO, YUKIKO        Awarded. Fellowships only   2023/07/01   2025/06/30   $180,916   $180,916   $164,822   $86,488

                                        UNIVERSITY OF ILLINOIS AT         Elucidating the Role of a Staphylococcus aureus
1,761 F31AI186287   1F31AI186287-01     CHICAGO                           Glucosaminidase in the Innate Immune Response.      JOHNSON, KAELIE RENEE   Awarded. Fellowships only   2024/08/01   2027/07/31    $46,377    $46,377    $27,658   $46,377

                                                                          Identifying Inflammatory Signals Facilitating Ectopic HOLCOMB, NICOLAS
1,762 F31HL175909   1F31HL175909-01     UNIVERSITY OF PENNSYLVANIA        Krt5+ Cell Migration and their Function in the Alveoli PHILIP               Awarded. Fellowships only   2024/07/01   2029/06/30    $48,974    $48,974    $42,376   $48,974

                                        UNIVERSITY OF MARYLAND            Pathological SUR1-TRPM4 Expression in Neurons       MOYER, MITCHELL
1,763 F31NS135752   1F31NS135752-01A1   BALTIMORE                         Heightens Chronic Seizure Susceptibility            BRADLEY                 Awarded. Fellowships only   2024/08/01   2025/07/31    $45,574    $45,574    $29,028   $45,574

                                                                          Interferon-Stimulated Gene 15 as a Novel Regulator CARPENTER, JESSICA
1,764 F30DK138644   1F30DK138644-01A1   WASHINGTON UNIVERSITY             of Cell Death DuringAcute Kidney Injury            MARIE                    Awarded. Fellowships only   2024/07/01   2026/06/30    $35,482    $35,482    $28,328   $35,482

                                                                          Intracellular Osteopontin induces Pathologic        MESSERSCHMIDT,
1,765 F30HL175889   1F30HL175889-01     DUKE UNIVERSITY                   Macrophage phenotypes in Pulmonary Fibrosis         JONATHAN LEIGH          Awarded. Fellowships only   2024/09/30   2027/09/29    $53,974    $53,974    $37,559   $53,974

                                                                          Exploring Understudied Proteins to Predict Novel
1,766 F31LM014646   1F31LM014646-01     STANFORD UNIVERSITY               Pathways and Associations to Disease                NAYAR, GOWRI            Awarded. Fellowships only   2024/09/30   2026/09/29    $48,974    $48,974    $22,112   $48,974

                                                                          Promoting Activated Natural Killer (NK) Cell
1,767 F30CA294875   1F30CA294875-01     GEORGETOWN UNIVERSITY             Accumulation in Pancreatic Cancer                   LEKAN, ALEXANDER        Awarded. Fellowships only   2024/09/01   2028/08/31    $36,274    $36,274     $1,650   $36,274
                                                                         Dissecting inhibitory mechanisms and their
                                                                         contribution to information processing in retinal
1,768 F31EY036716   1F31EY036716-01     DUKE UNIVERSITY                  ganglion cells.                                           RUDZITE, ANDRA MARIJA   Awarded. Fellowships only   2025/01/01   2027/12/31    $41,766    $41,766    $15,538    $41,766

                                        UNIV OF NORTH CAROLINA           Age-related differences in neurobiological systems        FELDMAN, MALLORY
1,769 F31AG081073   5F31AG081073-03     CHAPEL HILL                      supporting emotion                                        JEAN                    Awarded. Fellowships only   2023/01/01   2025/12/31   $121,259   $121,259    $93,838    $41,259

                                                                         Fibroblast-mediated inflammatory resolution of
1,770 F30AI174699   5F30AI174699-03     HARVARD MEDICAL SCHOOL           rheumatoid arthritis                                      ZOU, ANGELA ELIZABETH   Awarded. Fellowships only   2023/01/01   2025/12/31   $147,825   $147,825    $92,653    $53,974

                                                                         The Impact of STING Activation and Fever on               SMITH, RACHAEL
1,771 F31AI186436   1F31AI186436-01     VANDERBILT UNIVERSITY            Regulatory T cell Function and Stability                  CORYNNE                 Awarded. Fellowships only   2024/08/01   2027/07/31    $34,370    $34,370    $24,022    $34,370

                                                                        Defining features of the neoantigen-specific T cell
                                                                        response against a common EGFR mutation in lung
1,772 F30CA294669   1F30CA294669-01     CASE WESTERN RESERVE UNIVERSITY cancer                                              WANG, STEPHEN LEE              Awarded. Fellowships only   2024/07/01   2028/06/30    $53,974    $53,974    $37,515    $53,974

                                                                         Mitochondrial dysfunction as a promoter of stria
                                        MEDICAL UNIVERSITY OF SOUTH      vascularis degeneration and inflammation in               JENKINS, TYREEK
1,773 F31DC021859   1F31DC021859-01A1   CAROLINA                         metabolic presbyacusis                                    RAYSHAWN                Awarded. Fellowships only   2024/06/01   2027/05/31    $48,974    $48,974    $43,870    $48,974

                                                                         Investigating Recruited Lung Macrophage
                                        UNIVERSITY OF COLORADO           Programming and Turnover in Self-Limited Versus
1,774 F30HL167581   5F30HL167581-02     DENVER                           Prolonged Lung Inflammation                               KING, EMILY MERTENS     Awarded. Fellowships only   2023/08/01   2025/07/31    $90,913    $90,913    $72,352    $53,974

                                        UNIVERSITY OF NEW MEXICO         The Role of Mitochondrial Acid-Sensing Ion Channel
1,775 F31HL170503   1F31HL170503-01A1   HEALTH SCIS CTR                  1 in Pulmonary Hypertension                        TUINEAU, MEGAN                 Awarded. Fellowships only   2024/09/01   2026/02/28    $40,756    $40,756    $20,053    $40,756

                                                                         Endothelial Cell Cycle Control to Normalize the
1,776 F31CA288057   1F31CA288057-01A1   UNIVERSITY OF VIRGINIA           Tumor Vasculature                                         CAIN, SHELBY            Awarded. Fellowships only   2024/07/01   2027/06/30    $38,198    $38,198    $30,269    $38,198

                                        UNIVERSITY OF MASSACHUSETTS      Demystifying the interaction of UGGT, the ER folding
1,777 F32GM156016   1F32GM156016-01     AMHERST                          gatekeeper, with its substrates and co-chaperone     WILLIAMS, ROBERT V           Awarded. Fellowships only   2024/09/01   2025/08/31    $74,284    $74,284    $38,249    $74,284

                                                                         Genome-wide approaches to non-invasive                    ANNAPRAGADA,
1,778 F30CA294612   1F30CA294612-01     JOHNS HOPKINS UNIVERSITY         screening and characterization of ovarian cancers         AKSHAYA VIJAYA          Awarded. Fellowships only   2024/09/01   2027/10/31    $53,974    $53,974    $40,959    $53,974

                                                                         Association between adverse maternal factors and
                                                                         neurodevelopmental outcomes among children in
1,779 F32HD116460   1F32HD116460-01     UNIVERSITY OF WASHINGTON         Kenya                                            TIWARI, RUCHI                    Awarded. Fellowships only   2024/09/16   2026/09/15    $76,108    $76,108    $39,175    $76,108

                                        UNIVERSITY OF MICHIGAN AT ANN    The contribution of mitochondrial DNA damage to
1,780 F32DK141236   1F32DK141236-01     ARBOR                            diabetes-related beta-cell failure                        DAVIDSON, REBECCA K     Awarded. Fellowships only   2024/09/01   2026/08/31    $73,828    $73,828    $42,120    $73,828
1,781 F31HL168949   5F31HL168949-02     EMORY UNIVERSITY                 Roles for integrins in control of lung barrier function   IBRAHIM, YASMIN         Awarded. Fellowships only   2023/12/01   2026/11/30    $97,948    $97,948    $61,641    $48,974

                                                                         Mechanisms of Enteroendocrine Cell Adaptation to
1,782 F30DK135357   5F30DK135357-03     DUKE UNIVERSITY                  High Fat Diet in Zebrafish                       MORASH, MARGARET                 Awarded. Fellowships only   2023/01/01   2027/12/31   $136,594   $136,594   $105,361    $42,126

                                        VIRGINIA COMMONWEALTH            CTSA Predoctoral T32 at Virginia Commonwealth                                     Awarded. Non-fellowships
1,783 T32TR004362   5T32TR004362-02     UNIVERSITY                       University                                                SARKAR, DEVANAND        only                        2023/12/01   2028/11/30   $302,114   $302,114   $153,902   $203,568

                                                                         Understanding gene regulation in schizophrenia-
                                                                         associated loci using high-throughput epigenetic
1,784 F31MH138142   1F31MH138142-01     DUKE UNIVERSITY                  CRISPR screens                                            HAMILTON, MARISA C      Awarded. Fellowships only   2024/07/11   2027/07/10    $42,519    $42,519    $36,388    $42,519

                                                                         Understanding the role of transmembrane proteins
1,785 F32AI186297   1F32AI186297-01     BOSTON CHILDREN'S HOSPITAL       for Plasmodium cell division                              BACK, PETER S           Awarded. Fellowships only   2024/11/01   2027/10/31    $73,828    $73,828    $42,864    $73,828
1,786 F32GM156080   1F32GM156080-01     HARVARD UNIVERSITY               Role of Chromatin Structures in Genomic Imprinting BAE, BONG MIN                  Awarded. Fellowships only   2024/08/01   2025/07/31    $74,284    $74,284    $48,072    $74,284

                                                                         Discovering how emerging oscillatory dynamics
                                        COLUMBIA UNIV NEW YORK           interact with attention to shape memory
1,787 F32HD116657   1F32HD116657-01     MORNINGSIDE                      representations in infancy                                FOREST, TESS            Awarded. Fellowships only   2024/11/16   2027/11/15    $73,828    $73,828    $15,358    $73,828

                                                                         Understanding the effects of mitochondrial fission
1,788 F31NS129296   5F31NS129296-03     VANDERBILT UNIVERSITY            disruption during early cortical development              BAUM, TIERNEY           Awarded. Fellowships only   2022/12/05   2025/06/04    $99,271    $99,271    $68,143    $32,974

                                        WEILL MEDICAL COLL OF CORNELL Protein Modification and Stability Regulation to             CHWAT-EDELSTEIN,
1,789 F31ES036884   1F31ES036884-01     UNIV                          Cope with Genotoxic Environments                             TZIPPORA                Awarded. Fellowships only   2025/02/01   2028/01/31    $48,974    $48,974    $10,375    $48,974
1,790 F30HD114315   1F30HD114315-01A1   BAYLOR COLLEGE OF MEDICINE      Defining the role of ILF2-ILF3 in human cell fate     PARK, EMILY J           Awarded. Fellowships only   2024/08/05   2027/08/04    $49,362    $49,362    $39,080    $49,362

                                        UNIVERSITY OF CALIFORNIA LOS                                                          FILIPOWICZ, ADAM
1,791 F32AA031405   1F32AA031405-01A1   ANGELES                         Neuroepigenetic mechanisms of alcohol response        RICHARD                 Awarded. Fellowships only   2024/09/01   2025/11/30    $74,284    $74,284    $44,149    $74,284

                                                                        Evaluating the impact of malaria on
1,792 F30AI181340   1F30AI181340-01A1   UNIVERSITY OF IOWA              immunogenicity of the Ebola virus vaccine             ELLIFF, JONAH           Awarded. Fellowships only   2024/08/01   2028/07/31    $41,385    $41,385    $26,401    $41,385

                                                                        Cellular and Molecular Mechanisms of Inhibitory       PRANSKE, ZACHARY
1,793 F31NS134188   1F31NS134188-01A1   BRANDEIS UNIVERSITY             Synapse Development                                   JAMES                   Awarded. Fellowships only   2024/06/01   2026/05/31    $70,511    $70,511    $27,712    $35,211

                                                                      Decoding the Molecular Basis of Dysregulated
                                        NEW YORK UNIVERSITY SCHOOL OF Cleavage and Polyadenylation in Myeloid                 KOWALSKI, MADELINE
1,794 F30CA287962   1F30CA287962-01A1   MEDICINE                      Malignancies - Resubmission - 1                         HEIDI                   Awarded. Fellowships only   2024/07/01   2028/06/30    $41,614    $41,614    $28,639    $41,614


1,795 F31DC022154   1F31DC022154-01     HARVARD MEDICAL SCHOOL          Sniff-controlling Circuitry in the Parabrachial Nucleus PEARL, JONAH ELI      Awarded. Fellowships only   2024/07/01   2026/06/30    $36,918    $36,918    $31,952    $36,918

                                                                        Cellular Mechanisms of Acute-Intermittent
                                                                        Hypercapnic-Hypoxia Induced Phrenic Motor             BUTENAS, ALEC LLOYD
1,796 F32HL176048   1F32HL176048-01     UNIVERSITY OF FLORIDA           Plasticity                                            EDWARD                  Awarded. Fellowships only   2024/09/13   2027/09/12    $73,828    $73,828    $43,692    $73,828

                                                                        Combining Chemical Biology and Machine
1,797 F31AG090063   1F31AG090063-01     UNIVERSITY OF PENNSYLVANIA      Learning to Generate Reproducible Amyloid Fibrils     PEREZ, RYANN MICHAEL    Awarded. Fellowships only   2024/09/05   2027/09/04    $45,304    $45,304    $38,726    $45,304

                                                                      Investigating a RORgt-expressing antigen presenting
                                        NEW YORK UNIVERSITY SCHOOL OF cell required for peripheral Treg responses to gut
1,798 F32AI181496   1F32AI181496-01A1   MEDICINE                      microbiota                                          CHEN, FRANCIS M             Awarded. Fellowships only   2024/11/01   2026/10/31    $74,284    $74,284    $25,345    $74,284

                                        UNIVERSITY OF MIAMI SCHOOL OF   Promoting Under-Representative Minorities in                                  Awarded. Non-fellowships
1,799 T32HL167121   5T32HL167121-03     MEDICINE                        Pulmonary and Sleep Research (PURPOSE)                PUNJABI, NARESH M       only                        2022/12/01   2027/11/30   $958,150   $958,150   $243,792   $386,359

                                                                        Leveraging human intracranial recordings to
                                                                        quantitatively characterize basal ganglia output
1,800 F31DC022153   1F31DC022153-01     HARVARD MEDICAL SCHOOL          during speech                                         BULLOCK, PRICE LATANE   Awarded. Fellowships only   2024/06/01   2027/05/31    $43,203    $43,203    $40,851    $43,203

                                                                        Determining the effect of DNMT3A loss on the
                                                                        competitive fitness of mutant cells in somatic        WALDVOGEL, SARAH
1,801 F30HD111129   5F30HD111129-03     BAYLOR COLLEGE OF MEDICINE      mosaicism                                             MARIE                   Awarded. Fellowships only   2022/12/20   2026/12/19   $151,479   $151,479    $83,867    $55,037

                                                                        Neuron-Microglia Crosstalk in Development: A new
                                                                        role for the neuron-derived cytokine IL34 in
1,802 F31NS130757   5F31NS130757-03     DUKE UNIVERSITY                 microglial function                                   DEVLIN, BENJAMIN        Awarded. Fellowships only   2022/12/01   2025/09/30   $140,938   $140,938   $109,227    $44,270

                                                                        Investigating how maternal metabolic dysfunction
1,803 F31HD116488   1F31HD116488-01     YALE UNIVERSITY                 impacts mammalian gastrulation                        BERGMANN, JENNA         Awarded. Fellowships only   2024/09/01   2026/08/31    $33,958    $33,958    $22,160    $33,958

                                        UT SOUTHWESTERN MEDICAL         Mechanisms of Transcriptional Condensate Function
1,804 F31GM156078   1F31GM156078-01     CENTER                          during Cell State Transitions                     EPPERT, MIKAYLA             Awarded. Fellowships only   2024/08/01   2027/07/31    $40,127    $40,127    $30,719    $40,127

                                                                        Effect of Extracellular Citrate on Neuronal
1,805 F30NS141502   1F30NS141502-01     BROWN UNIVERSITY                Excitability in SLC13A5 Epilepsy                      LIN, ALICE S            Awarded. Fellowships only   2024/12/01   2028/11/30    $53,974    $53,974    $22,506    $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Quantifying germ cell lineage dynamics in
1,806 F30HD117592   1F30HD117592-01     FRANCISCO                       mammalian oogenesis                                   ZUSSMAN, JAY WOLF       Awarded. Fellowships only   2024/12/01   2028/11/30    $41,750    $41,750        $0     $41,750

                                                                        Characterization of visual feature encoding in
                                                                        Drosophila Visual Projection Neurons LPLC1 and
1,807 F31EY037197   1F31EY037197-01     DREXEL UNIVERSITY               LPLC2                                                 HINA, BRYCE             Awarded. Fellowships only   2024/12/15   2026/12/14    $51,474    $51,474    $22,445    $51,474

                                        ALBERT EINSTEIN COLLEGE OF      Elucidating the Interplay Between DDX41 and CUX1
1,808 F31HL178296   1F31HL178296-01     MEDICINE                        Mutations in Hematopoiesis in Danio Rerio and iPSCs AWAD, VALERIE             Awarded. Fellowships only   2024/12/01   2028/03/31    $53,974    $53,974     $1,585    $53,974

                                                                        Hydrogels with Tunable Stress Relaxation and
                                                                        Mobility for Enhancing Articular Cartilage
1,809 F31AR083254   5F31AR083254-02     STANFORD UNIVERSITY             Regeneration                                          JONES, SARAH JANE       Awarded. Fellowships only   2023/09/15   2026/11/13    $96,668    $96,668    $60,222    $48,974

                                                                        Endogenous opioid modulation of cortical pain
1,810 F31DA062445   1F31DA062445-01     UNIVERSITY OF PENNSYLVANIA      circuits.                                             OSWELL, CORINNA         Awarded. Fellowships only   2025/01/01   2027/12/31    $48,974    $48,974    $19,499    $48,974
                                                                          Microbiome Modulation of Visual System
1,811 F32EY035578   5F32EY035578-02     UNIVERSITY OF OREGON              Development                                            JAMES, DAVID M          Awarded. Fellowships only   2024/04/01   2027/03/31    $151,040     $151,040      $76,699     $76,756

                                                                          Cortical mechanisms for contrast gain control in
1,812 F31DC022507   1F31DC022507-01     UNIVERSITY OF PENNSYLVANIA        auditory perception in noise.                          ZELIGER, OMER           Awarded. Fellowships only   2024/08/01   2027/07/31     $48,974      $48,974      $39,336     $48,974

                                                                          A Novel Immune Tolerization Strategy for
                                                                          Investigating the Trade-offs between Oncogene          HOFFMAN, DANE
1,813 F31CA298561   1F31CA298561-01     BAYLOR COLLEGE OF MEDICINE        Pathogenicity and Immunogenicity.                      KRISTIAN                Awarded. Fellowships only   2025/04/21   2027/04/20     $48,974      $48,974           $0     $48,974

                                        WEILL MEDICAL COLL OF CORNELL Forced Activation of ATF6 Drives Pancreatic Beta
1,814 F31DK136225   5F31DK136225-02     UNIV                          Cell Dysfunction                                           RAPPA, ANDREW           Awarded. Fellowships only   2024/03/18   2027/03/17     $97,948      $97,948      $46,283     $48,974

                                                                        Src Inhibition Induces Selective Autophagic Killing of
1,815 F31EY035156   5F31EY035156-03     CASE WESTERN RESERVE UNIVERSITY T. gondii Independently of EGF Receptor                HUBAL, ALYSSA             Awarded. Fellowships only   2023/05/01   2026/04/30    $135,442     $135,442      $89,868     $45,574

                                                                          Modeling Chromosomal Mosaicism During Early
1,816 F31HD115304   1F31HD115304-01A1   UNIVERSITY OF WASHINGTON          Human Embryogenesis on Microraft Array Platform        JAN, IAN                Awarded. Fellowships only   2024/12/13   2026/07/12     $44,457      $44,457      $25,386     $44,457

                                                                                                                                 HARRINGTON, ELIZABETH   Awarded. Non-fellowships
1,817 T32HL134625   5T32HL134625-09     BROWN UNIVERSITY                  Brown Respiratory Research Training Program            O                       only                        2017/02/01   2027/02/28   $2,613,712   $2,613,712   $1,548,230   $665,172

                                                                          Characterizing the connectivity and molecular
                                        UNIV OF NORTH CAROLINA            composition of opioid-sensitive neurons in the
1,818 F32DA057779   5F32DA057779-03     CHAPEL HILL                       periaqueductal gray                                    NIEHAUS, JESSE          Awarded. Fellowships only   2023/05/01   2026/04/30    $225,148     $225,148     $132,356     $78,892

                                        UNIVERSITY OF ALABAMA AT          Elucidating the Proteolytic Determinants of Flavivirus
1,819 F31AI183737   5F31AI183737-02     BIRMINGHAM                        Infection                                              CORLISS, LOCHLAIN       Awarded. Fellowships only   2024/04/01   2026/03/31     $88,584      $88,584      $45,910     $44,292

                                                                          Utilizing phylodynamic and causal artificial
                                                                          intelligence methods for predicting and
                                                                          characterizing antibiotic resistant bacterial
1,820 F30AI183562   1F30AI183562-01A1   UNIVERSITY OF FLORIDA             transmission within and beyond hospital settings       COHEN, SCOTT A          Awarded. Fellowships only   2025/01/01   2027/12/31     $43,131      $43,131      $12,527     $43,131

                                                                          Mechanisms of experience-dependent odor
1,821 F31DC022470   1F31DC022470-01     HARVARD MEDICAL SCHOOL            categorization in the olfactory cortex                 D'ALESSANDRO, ISABEL    Awarded. Fellowships only   2024/09/30   2027/09/29     $43,203      $43,203      $26,578     $43,203

                                                                          Investigating mechanisms of bystander CD8 T cell
1,822 F30AI183705   1F30AI183705-01A1   UNIVERSITY OF MINNESOTA           mediated immunopathology                               WALL, SARAH M           Awarded. Fellowships only   2024/12/01   2026/11/30     $42,492      $42,492      $10,286     $42,492

                                                                          Regulation of Methamphetamine-Induced
1,823 F31DA062411   1F31DA062411-01     UNIVERSITY OF MINNESOTA           Behaviors by the Neurotensin Receptor 1                MOORE, MADELYN          Awarded. Fellowships only   2025/04/01   2028/03/31     $36,498      $36,498         $433     $36,498

                                        NORTHEAST OHIO MEDICAL
1,824 F30AR085476   1F30AR085476-01     UNIVERSITY                        The Role of GPNMB in Post-Traumatic Osteoarthritis     KRONK, TRINITY          Awarded. Fellowships only   2025/05/01   2029/04/30     $42,720      $42,720           $0     $42,720

                                                                          A Novel Non-Drug, Non-Surgical Hydrogel-Based
1,825 F30EY035173   5F30EY035173-02     EMORY UNIVERSITY                  Treatment of Glaucoma                                  CHUNG, YOOREE GRACE Awarded. Fellowships only       2023/07/01   2026/06/30    $106,668     $106,668      $74,333     $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
1,826 T32EY026590   5T32EY026590-10     DIEGO                             Translational Vision Research Training at UCSD         ZANGWILL, LINDA M       only                        2016/04/01   2026/03/31    $313,252     $313,252     $253,025     $71,632

                                                                                                                                                         Awarded. Non-fellowships
1,827 T32CA288356   5T32CA288356-02     UNIVERSITY OF PENNSYLVANIA        Training in Tumor Virology                             ROBERTSON, ERLE S       only                        2024/05/15   2029/04/30    $907,866     $907,866     $166,213    $454,348

                                                                          Role of S1PRs and KLF transcription factors in CD8T
1,828 F31AI188630   1F31AI188630-01     UNIVERSITY OF MINNESOTA           cell trafficking                                       DEPAUW, TAYLOR A        Awarded. Fellowships only   2025/01/01   2026/12/31     $35,785      $35,785       $8,187     $35,785

                                                                          Regulation of co- and post-transcriptional pre-
                                                                          mRNA processing in response to environmental           SHINE, MORGAN
1,829 F31ES037182   1F31ES037182-01     YALE UNIVERSITY                   stress in green algae                                  ASHLEIGH                Awarded. Fellowships only   2024/12/01   2028/11/30     $48,974      $48,974      $14,908     $48,974

                                        UNIV OF NORTH CAROLINA            Triangulating causal effects of sleep, inflammation,
1,830 F31HL177899   1F31HL177899-01     CHAPEL HILL                       and cardiometabolic disease                            KOENIGSBERG, SARAH H    Awarded. Fellowships only   2025/05/01   2027/11/30     $41,136      $41,136           $0     $41,136

                                                                          Cell specific & compartment specific changes in
1,831 F31MH139249   1F31MH139249-01     UNIVERSITY OF FLORIDA             translation during long term memory storage            ZHAO, YIBO              Awarded. Fellowships only   2025/01/03   2028/01/02     $35,974      $35,974       $5,263     $35,974

                                        UNIVERSITY OF CALIFORNIA, SAN     Investigating the role of SYNE1-Giant in Atrial
1,832 F31HL178278   1F31HL178278-01     FRANCISCO                         Cardiomyopathy                                         LALLY, NAV              Awarded. Fellowships only   2025/04/01   2030/03/31     $41,713      $41,713           $0     $41,713
                                        NORTHWESTERN UNIVERSITY AT        Determining CGRP neuron contribution to
1,833 F30DK138766   5F30DK138766-02     CHICAGO                           inflammation-induced anorexia                         PROVINCE, HALEY        Awarded. Fellowships only   2024/04/01   2028/06/30     $98,726      $98,726      $43,415     $44,752

                                                                          Dissecting how activated immunity reshapes the
1,834 F30CA298121   1F30CA298121-01     WASHINGTON UNIVERSITY             stromal TME of pancreatic ductal adenocarcinoma SELLS, BLAKE                 Awarded. Fellowships only   2025/04/01   2029/03/31     $35,482      $35,482           $0     $35,482

                                                                          Phosphatidylserine signaling in neuronal refinement
1,835 F31DC022140   1F31DC022140-01A1   UNIVERSITY OF VIRGINIA            of the cochlea                                        NIMCHUK, KATHERINE     Awarded. Fellowships only   2024/09/01   2027/08/31     $38,198      $38,198      $23,542     $38,198

                                                                          Investigating Mentalizing as a Cognitive Strength
                                        UNIV OF NORTH CAROLINA            and Protective Factor Among Youth Impacted by
1,836 F31MH136792   1F31MH136792-01A1   CHAPEL HILL                       Structural Inequality                                 NAVARRO, ESMERALDA     Awarded. Fellowships only   2024/09/05   2026/09/04     $40,572      $40,572      $36,317     $40,572

                                        UNIV OF NORTH CAROLINA            Investigating the molecular mechanisms of
1,837 F30AI183592   5F30AI183592-02     CHAPEL HILL                       Plasmodium vivax invasion in Duffy-negative hosts     CONNELLY, SEAN         Awarded. Fellowships only   2024/04/01   2029/03/31     $81,036      $81,036      $38,204     $40,518

                                                                          Modeling the effects of binaural midbrain coding
                                                                          and efferent gain control on the perception of
1,838 F32DC022143   5F32DC022143-02     UNIVERSITY OF ROCHESTER           complex sounds                                        GUEST, DANIEL          Awarded. Fellowships only   2024/05/01   2027/04/30    $151,040     $151,040      $67,829     $76,756

                                        UNIVERSITY OF COLORADO            The Role of the Group B Streptococcus Type VII
1,839 F31AI183560   1F31AI183560-01A1   DENVER                            Secretion System in Polymicrobial Environments        JOB, ALYX M            Awarded. Fellowships only   2024/12/01   2026/11/30     $37,529      $37,529      $16,028     $37,529

                                                                          Understanding the Impact of CACNA1A/unc-2
                                        ALBERT EINSTEIN COLLEGE OF        Mutations on Presynaptic Structure and Function in
1,840 F31NS137667   1F31NS137667-01A1   MEDICINE                          C. Elegans                                            KRAWCHUK, MICHAEL B    Awarded. Fellowships only   2025/02/15   2027/02/14     $48,974      $48,974       $7,502     $48,974

                                                                          Behavioral and neural mechanisms of
                                        UNIVERSITY OF CALIFORNIA LOS      chemosensation in skin-penetrating parasitic          GONZALEZ AKIMORI,
1,841 F31DC022520   1F31DC022520-01     ANGELES                           nematodes                                             DAMIA                  Awarded. Fellowships only   2024/09/01   2027/08/31     $44,731      $44,731      $28,221     $44,731

                                                                          Unraveling the cell networks in bone marrow
1,842 F32HL178083   1F32HL178083-01     UNIVERSITY OF PENNSYLVANIA        through transcriptomic and epigenetic profiling       DUFFY, MICHAEL P       Awarded. Fellowships only   2025/02/01   2026/01/31     $79,756      $79,756           $0     $79,756

                                                                          Investigation of Chromatin Modifiers to Elucidate
                                        ALBERT EINSTEIN COLLEGE OF        the Phenotypic Variability of Congenital Heart
1,843 F30HL172604   5F30HL172604-02     MEDICINE                          Disease in Patients with 22q11.2 Deletion Syndrome    MILLER, DANIELLA       Awarded. Fellowships only   2024/01/16   2027/07/15    $107,948     $107,948      $67,959     $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN     Training Program in Pediatric                                                Awarded. Non-fellowships
1,844 T32DK007762   3T32DK007762-47S1   FRANCISCO                         Gastroenterology/Nutrition                            BAYRER, JAMES          only                        1998/08/24   2028/06/30   $1,035,770   $1,035,770   $1,177,841   $101,987

                                                                      Engineering bacterial group I introns for efficient
                                        UNIV OF MASSACHUSETTS MED SCH production of safe and durable nucleoside-
1,845 F31GM157877   1F31GM157877-01     WORCESTER                     modified circular mRNA therapeutics                       FELIX MEJIA, ALEJANDRO Awarded. Fellowships only   2024/12/01   2026/11/30     $33,780      $33,780      $11,548     $33,780

                                                                          The myosin super-relaxed state and human dilated      WELLETTE-HUNSUCKER,
1,846 F31HL170558   5F31HL170558-02     UNIVERSITY OF KENTUCKY            cardiomyopathy                                        AUSTIN                 Awarded. Fellowships only   2024/04/01   2027/03/31     $70,644      $70,644      $32,620     $35,322

                                                                          Mu Opioid Receptors and Splice Variant Expression
1,847 F32HL170536   5F32HL170536-02     BAYLOR COLLEGE OF MEDICINE        in Neonate Autoresuscitation                          MEMOS, NICOLETTA K     Awarded. Fellowships only   2024/02/26   2027/02/25    $148,112     $148,112      $91,023     $74,284

                                                                          DUSP2 in Negative Regulation of Cytotoxic T Cell
1,848 F31CA287495   5F31CA287495-02     MAYO CLINIC ROCHESTER             Responses to Immunotherapy                            DELLACECCA, EMILIA R   Awarded. Fellowships only   2024/04/01   2026/03/31     $97,948      $97,948      $47,081     $48,974

                                                                          Deciphering the role of MEMO1 during
1,849 F31DE034609   1F31DE034609-01     UNIVERSITY OF IOWA                amelogenesis                                          WUEBKER, SAMANTHA      Awarded. Fellowships only   2024/12/01   2026/11/30     $37,973      $37,973      $12,210     $37,973

                                                                      The Second Heart Field in Lymphovenous Valve
                                        RUTGERS BIOMEDICAL AND HEALTH Development: Understanding Lymphatic
1,850 F30HL178304   1F30HL178304-01     SCIENCES                      Dysfunction in Congenital Heart Disease                   VYZAS, CHRISTINA       Awarded. Fellowships only   2024/12/27   2029/06/26     $44,880      $44,880       $7,704     $44,880

                                        UNIVERSITY OF COLORADO            Physiological regulation of energy intake at meals
1,851 F32DK139699   1F32DK139699-01A1   DENVER                            following weight loss                                 EZPELETA, MARK         Awarded. Fellowships only   2025/01/01   2025/12/31     $74,284      $74,284      $19,064     $74,284

                                        UNIVERSITY OF CALIFORNIA          Understanding the Macrosocial Drivers of
1,852 F31MD020261   1F31MD020261-01     BERKELEY                          Cardiovascular Health in the Rural South              BENJAMIN, LARISSA      Award terminated            2024/11/01   2025/10/31     $45,965      $45,965      $27,145     $45,965
                                                                        Understanding Kidney Endothelial Maturity and
                                        UNIVERSITY OF PITTSBURGH AT     Mesenchymal Transition in Vascularized Human            MAGGIORE, JOSEPH
1,853 F30DK137453   5F30DK137453-02     PITTSBURGH                      Kidney Organoids                                        COLE                   Awarded. Fellowships only   2024/04/04   2027/04/03   $102,508   $102,508    $13,490    $51,254

                                        VIRGINIA POLYTECHNIC INST AND                                                                                  Awarded. Non-fellowships
1,854 T35OD011887   5T35OD011887-18     ST UNIV                         Summer Veterinary Student Research (SVSRP)              AHMED, S ANSAR         only                        2005/10/01   2028/03/31   $133,685   $133,685    $98,922    $54,498

                                        UNIVERSITY OF COLORADO          Study the role and origin of hybrid insulin peptides in
1,855 F31DK138763   5F31DK138763-02     DENVER                          the pathogenesis of type 1 diabetes                     GROEGLER, JASON        Awarded. Fellowships only   2024/02/01   2027/01/31    $71,948    $71,948    $45,777    $35,974

                                                                        Comparison of Antimicrobial Safety and
                                        UNIV OF NORTH CAROLINA          Effectiveness for the Treatment of Urinary Tract
1,856 F31HD115361   5F31HD115361-02     CHAPEL HILL                     Infections During Pregnancy                             KAHRS, JACOB           Awarded. Fellowships only   2024/05/01   2026/04/30    $80,744    $80,744    $36,823    $41,012

                                                                        Revealing the Defects in Gene Regulation that Link
                                                                        ARID1B to a Spectrum of Neurodevelopmental
1,857 F31HD112113   5F31HD112113-02     EMORY UNIVERSITY                Disorders                                               LOSKOVE, YONINA        Awarded. Fellowships only   2024/05/02   2027/05/01    $97,948    $97,948    $41,368    $48,974

                                                                        GRASP55 Regulates Pancreatic Beta-cell Golgi
1,858 F31DK139619   5F31DK139619-02     UNIVERSITY OF IOWA              Structure and Function During Cytokine Stress           BLOM, SANDRA           Awarded. Fellowships only   2024/03/01   2026/10/31    $69,027    $69,027    $36,174    $34,138

                                                                                                                                PARSONS, MOLLY
1,859 F32AI189235   1F32AI189235-01     BOSTON CHILDREN'S HOSPITAL      Antiretroviral mechanisms of TRIM56                     FRANCES                Awarded. Fellowships only   2024/12/01   2027/11/30    $77,284    $77,284    $30,942    $77,284

                                                                        Revealing activity signatures of early life adversity in
                                                                        the basolateral amygdala driving risky decision
1,860 F31DA063524   1F31DA063524-01A1   NORTHEASTERN UNIVERSITY         making                                                   CODY, CAITLYN ROSE    Awarded. Fellowships only   2025/01/21   2028/01/20    $48,974    $48,974     $6,330    $48,974

                                                                        Machine Learning and Automated Flow Synthesis
                                        MASSACHUSETTS INSTITUTE OF      for the Development of Peptide Catalysts for the
1,861 F32GM157940   1F32GM157940-01     TECHNOLOGY                      Stereo- and Site-Selective Formation of C–C Bonds       YU, ISAAC FU-RAY       Awarded. Fellowships only   2025/01/15   2028/01/14    $73,408    $73,408    $12,941    $73,408

                                                                        Identifying a functional role for transcriptionally
                                                                        distinct, BLA-activated LS ensembles in social
1,862 F32MH139150   1F32MH139150-01     LIEBER INSTITUTE, INC.          behaviors                                               PHILLIPS, ROBERT       Awarded. Fellowships only   2025/01/01   2027/12/31    $78,828    $78,828    $18,088    $78,828

                                        UNIVERSITY OF ALABAMA AT        Role of hemopexin in the development of
1,863 F31DK139684   1F31DK139684-01A1   BIRMINGHAM                      urologicchronic pelvic pain syndrome                    CAANGAY, ANASTASIIA E Awarded. Fellowships only    2025/02/01   2027/01/31    $40,556    $40,556        $0     $40,556

                                                                        Mechanisms and functions of the transcription
                                                                        factor broad as a terminal selector in the fly visual
1,864 F31NS132578   1F31NS132578-01A1   DREXEL UNIVERSITY               system                                                  SMOLIN, NATALIE        Awarded. Fellowships only   2024/12/15   2026/12/14    $48,974    $48,974    $21,319    $48,974

                                        UNIVERSITY OF SOUTHERN          The roles of Hsd3b7 and Foxp2 in Lower Jaw
1,865 F32DE033911   5F32DE033911-02     CALIFORNIA                      Development                                             PAULISSEN, ERIC        Awarded. Fellowships only   2024/05/01   2025/09/30   $116,113   $116,113    $63,947    $37,185

                                        SMITH-KETTLEWELL EYE RESEARCH                                                                                  Awarded. Non-fellowships
1,866 T32EY025201   5T32EY025201-10     INSTITUTE                       Postdoctoral Training in Vision Research                VERGHESE, PREETI       only                        2016/04/01   2026/03/31   $622,927   $622,927   $449,205    $89,768

                                        UNIVERSITY OF PITTSBURGH AT     Functional consequences of high glucose culture
1,867 F30CA298391   1F30CA298391-01     PITTSBURGH                      on adoptive T cell therapies for cancer                 BUMGARNER, HANNAH      Awarded. Fellowships only   2025/04/01   2029/03/31    $53,974    $53,974        $0     $53,974

                                                                        Investigating the role of the RNA helicase F57B9.3 in
                                        UT SOUTHWESTERN MEDICAL         translational regulation under conditions of lipid
1,868 F31GM154433   1F31GM154433-01A1   CENTER                          depletion                                             WALL, JORDAN MCCALL      Awarded. Fellowships only   2024/12/01   2027/05/31    $40,127    $40,127     $9,440    $40,127

                                                                        VISTA-Mediated Immune Evasion in High-Risk
1,869 F30CA298388   1F30CA298388-01     VANDERBILT UNIVERSITY           Myelodysplastic Syndrome                                ZHANG, RAYMOND J       Awarded. Fellowships only   2025/05/01   2028/04/30    $34,295    $34,295        $0     $34,295

                                                                        Association of Discrimination Reported During
                                        UNIVERSITY OF DENVER            Pregnancy with Cardiovascular Disease Risk in
1,870 F31HL178223   1F31HL178223-01     (COLORADO SEMINARY)             Mothers                                                 DIEUJUSTE, NATHALIE    Awarded. Fellowships only   2025/01/06   2027/01/05    $51,974    $51,974    $10,922    $51,974

                                        OKLAHOMA MEDICAL RESEARCH       Deciphering the myofibroblast life cycle in skin
1,871 F32AR083823   5F32AR083823-02     FOUNDATION                      wound healing                                           JEONG, SUNHYE          Awarded. Fellowships only   2024/04/01   2027/03/31   $157,040   $157,040    $64,604    $79,756

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                    Awarded. Non-fellowships
1,872 T32AR082315   5T32AR082315-03     MOUNT SINAI                     Research Training in Systems Skin Biology               KIM, BRIAN             only                        2023/05/01   2028/04/30   $753,310   $753,310   $446,891   $276,981
                                        NORTHWESTERN UNIVERSITY AT      The effect of gonadotropin pathway genetic             STOKES, GIANGELA
1,873 F31HD117594   1F31HD117594-01     CHICAGO                         variation on PCOS pathogenesis                         MARIA                   Awarded. Fellowships only   2025/01/01   2027/12/31    $44,187    $44,187    $7,507   $44,187

                                        UNIVERSITY OF CALIFORNIA LOS    Functions and mechanisms of Crym-positive
1,874 F31DA062444   1F31DA062444-01     ANGELES                         astrocytes in the nucleus accumbens                    ADAMS, JULIA M          Awarded. Fellowships only   2025/01/01   2027/12/31    $44,664    $44,664   $11,512   $44,664

                                                                        defense by branched-chain amino acid                   HAGGADONE, MIKEL
1,875 F32HL178024   1F32HL178024-01     UNIVERSITY OF PENNSYLVANIA      metabolism                                             DAVID                   Awarded. Fellowships only   2025/01/01   2027/12/31    $76,756    $76,756   $42,914   $76,756

                                                                        Mapping the neural and physiologic response to
                                        VIRGINIA POLYTECHNIC INST AND   tonic pain with low-intensity focused ultrasound: a
1,876 F30AT013174   1F30AT013174-01     ST UNIV                         bridge towards therapeutic applications                STROHMAN, ANDREW        Awarded. Fellowships only   2025/01/10   2028/03/09    $44,151    $44,151   $10,339   $44,151

                                                                        SOX9 as a key transcriptional regulator of SPEM cells
1,877 F31CA284715   5F31CA284715-02     VANDERBILT UNIVERSITY           in gastric carcinogenesis                             GUENTHER, ALEXIS A       Awarded. Fellowships only   2024/04/01   2025/05/31    $41,644    $41,644   $33,852    $7,332

                                                                        Subcortical targets involved in the action of
1,878 F30DA059437   5F30DA059437-03     YALE UNIVERSITY                 psilocybin in learned and innate escape behaviors      DAVOUDIAN, PASHA A      Awarded. Fellowships only   2023/04/16   2026/04/15   $140,560   $140,560   $77,391   $53,974

                                                                        Impact of Resident Memory CD8 T Cells on
1,879 F31HL168914   5F31HL168914-02     EMORY UNIVERSITY                Respiratory Virus Transmission                         MICHALETS, SARAH        Awarded. Fellowships only   2023/06/01   2026/05/31    $96,668    $96,668   $70,063   $48,974
1,880 F31AG084295   5F31AG084295-02     DENVER                          Individual Predoctoral Fellowship                      DOOLING, BREANNA        Awarded. Fellowships only   2024/02/02   2027/02/01    $71,938    $71,938   $31,852   $36,577

                                                                        Inhibitory neuron dysfunction in intellectual disability
1,881 F30HD114410   5F30HD114410-02     BAYLOR COLLEGE OF MEDICINE      and epilepsy                                             JIANG, KEVIN          Awarded. Fellowships only   2024/03/15   2027/05/14    $99,637    $99,637   $41,604   $51,096

                                        WHITEHEAD INSTITUTE FOR         Investigating differentiation, maintenance, and
1,882 F32AI181510   5F32AI181510-02     BIOMEDICAL RES                  reactivation of the Toxoplasma chronic stage           LICON, MEREDITH HALEY   Awarded. Fellowships only   2024/04/01   2027/03/31   $155,648   $155,648   $76,726   $78,892

                                                                        Within and between host dynamics in influenza A
1,883 F31AI179207   5F31AI179207-02     EMORY UNIVERSITY                virus antigenic evolution                              RAGHUNATHAN, VEDHIKA Awarded. Fellowships only      2024/05/01   2027/04/30    $97,948    $97,948   $46,047   $48,974

                                        UNIV OF NORTH CAROLINA          Effects of tACS on alcohol-induced cognitive and
1,884 F32AA031422   5F32AA031422-02     CHAPEL HILL                     neurochemical deficits                                 SULLIVAN, EMILY         Awarded. Fellowships only   2024/01/01   2025/07/17   $122,528   $122,528   $93,428   $50,528

                                                                      The Application of a Theoretical Framework to
                                                                      Assess the Acceptability of a Health-Related Social
                                        NEW YORK UNIVERSITY SCHOOL OF Needs Screening Tool Among Black Patients In New
1,885 F31MD019216   5F31MD019216-02     MEDICINE                      York City                                           ONAKOMAIYA, DEBORAH Award terminated                     2023/09/19   2025/09/18    $96,192    $96,192   $58,835   $48,736

                                        UNIVERSITY OF OKLAHOMA HLTH     Toxin B receptor mediated events in Clostridioides
1,886 F31AI179208   5F31AI179208-02     SCIENCES CTR                    difficile disease                                      DOYLE, DENA ANNIE       Awarded. Fellowships only   2024/02/05   2026/01/31    $73,148    $73,148   $39,530   $36,574

                                                                        Investigating the regulation and mechanism of
1,887 F31CA271740   5F31CA271740-03     UNIVERSITY OF UTAH              tension-sensors Stu2 & Ndc80c                          STEWART, MICHAEL        Awarded. Fellowships only   2023/04/01   2026/03/31   $127,619   $127,619   $84,435   $43,133

                                        UNIVERSITY OF NORTH CAROLINA    Microbe-Microbe and Microbe-Host Interactions
1,888 F31AT012837   1F31AT012837-01A1   GREENSBORO                      Relevant to the Skin Microbiome                        BUNCH, ZOIE             Awarded. Fellowships only   2025/01/01   2026/12/31    $35,766    $35,766    $9,226   $35,766

                                                                        Investigating the role of dorsal raphe nucleus
                                                                        enkephalin neurons in motivational and affective
1,889 F32DA062455   1F32DA062455-01     WASHINGTON UNIVERSITY           behaviors during chronic pain                          BRADEN, KATHRYN I       Awarded. Fellowships only   2025/01/01   2028/12/31    $77,284    $77,284   $19,272   $77,284
1,890 F31HL167578   5F31HL167578-03     YALE UNIVERSITY                 Inter-Domain Regulation of p120RasGAP                  PAUL, MAXUM             Awarded. Fellowships only   2023/02/01   2026/01/31   $145,642   $145,642   $79,347   $48,974

                                                                        Iron homeostasis in sustaining commensal resilience
1,891 F31AI178950   5F31AI178950-02     VANDERBILT UNIVERSITY           in the inflamed gut                                 FANSLER, RYAN T            Awarded. Fellowships only   2024/02/01   2027/01/31    $68,590    $68,590   $36,176   $34,295

                                        UNIVERSITY OF MICHIGAN AT ANN   Investigating the Role of High Fat Diet in
1,892 F31HL177888   1F31HL177888-01     ARBOR                           Hematopoiesis and Clonal Hematopoiesis                 CAMPBELL, KORAL         Awarded. Fellowships only   2025/02/01   2028/01/31    $48,974    $48,974    $4,704   $48,974

                                        HARVARD SCHOOL OF PUBLIC        Prenatal exposure to maternal incarceration and        KOTLAR, BETHANY
1,893 F32HD117535   1F32HD117535-01     HEALTH                          infant and toddler health and development              CLARISSA                Awarded. Fellowships only   2025/04/01   2027/03/31    $79,108    $79,108       $0    $79,108

                                                                        Leveraging Embedded Mobile Device Sensors for
                                        UNIVERSITY OF SOUTH CAROLINA    Detection of Childrens Mobile Screen Use:
1,894 F31HD115296   1F31HD115296-01A1   AT COLUMBIA                     Examining Feasibility and Performance                  FINNEGAN, OLIVIA        Awarded. Fellowships only   2024/12/17   2027/12/16    $41,902    $41,902       $0    $41,902

                                        TEXAS A&M UNIVERSITY HEALTH     Metabolic Control of Epigenetic Reprogramming in
1,895 F30HL167457   5F30HL167457-03     SCIENCE CTR                     Neovascularization                               LU, ALEXANDER J               Awarded. Fellowships only   2023/02/01   2026/09/30   $118,213   $118,213   $82,289   $40,688
                                        UNIVERSITY OF TEXAS HLTH SCIENCE Macrophage NR4A nuclear receptors in
1,896 F30AI176699   5F30AI176699-02     CENTER                           tuberculosis pathogenesis                               SIMPER, JAN             Awarded. Fellowships only   2024/01/01   2027/12/31     $76,735      $76,735      $50,141     $38,421

                                                                        Characterizing the function of locus coeruleus and
                                                                        pericoerulear zone activity during avoidance             MARTIN, MADISON
1,897 F31MH136670   5F31MH136670-02     UNIVERSITY OF WASHINGTON        behavior                                                 MARGARET                Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $48,974     $48,974

                                                                        Examining Iconicity with EEG: The role of Motoric
                                                                        Iconicity and Embodied Cognition in American Sign MCGARRY, MEGHAN
1,898 F32DC022467   1F32DC022467-01     GALLAUDET UNIVERSITY            Language                                          ELIZABETH                      Awarded. Fellowships only   2025/01/15   2028/01/14     $77,468      $77,468       $5,119     $77,468

                                        UNIVERSITY OF CALIFORNIA, SAN   Regulation of Protein Kinase C Theta by
1,899 F31HL168916   5F31HL168916-03     DIEGO                           Phosphorylation                                          HODAPP, STEFANIE JILL   Awarded. Fellowships only   2023/04/01   2026/03/31    $122,848     $122,848      $82,350     $41,376

                                                                        Determining the role of Tet1 in facultative intestinal   JANTO, NICOLAS
1,900 F31DK136254   5F31DK136254-03     EMORY UNIVERSITY                stem cells                                               VAUGHAN                 Awarded. Fellowships only   2023/04/01   2027/03/31    $145,642     $145,642      $96,625     $48,974

                                                                        Identifying the Determinants of Immunoediting
1,901 F30CA298302   1F30CA298302-01     HARVARD MEDICAL SCHOOL          During Glioblastoma Immunotherapy                        GHANNAM, JACK           Awarded. Fellowships only   2025/04/01   2029/03/31     $41,656      $41,656       $2,352     $41,656
                                                                        Leveraging Causal Inference and Machine
                                                                        Learning Methods to Advance Evidence-Based
                                                                        Maternal Care and Improve Newborn Health
1,902 F30HD111284   5F30HD111284-03     HARVARD MEDICAL SCHOOL          Outcomes                                                 VATSA, RAJET            Awarded. Fellowships only   2023/03/01   2027/02/28    $135,008     $135,008     $109,113     $53,974

                                        UNIV OF NORTH CAROLINA          Neural Circuit Mechanisms of Seizure Susceptibility in RINGELBERG, NICHOLAS
1,903 F30HD111296   5F30HD111296-02     CHAPEL HILL                     a Mouse Model of Angelman Syndrome                     W                         Awarded. Fellowships only   2024/02/01   2027/01/31     $86,570      $86,570      $38,718     $47,356

                                                                        Comparative Approaches for the Study of
1,904 F31NS129270   5F31NS129270-03     NORTHWESTERN UNIVERSITY         Somatosensory Processing in Drosophila                   CAPEK, MATTHEW          Awarded. Fellowships only   2023/03/01   2026/02/28    $139,132     $139,132      $92,014     $47,118

                                        UNIVERSITY OF ALABAMA AT        Coordination of T cell-derived signals in intestinal     WILSON, CHRISTOPHER
1,905 F30DK135345   5F30DK135345-03     BIRMINGHAM                      epithelial barrier defense                               GARRETT                 Awarded. Fellowships only   2023/03/01   2026/08/31    $119,619     $119,619      $74,193     $35,641

                                        CUNY GRADUATE SCH AND UNIV      Characterization of the Attentional Profile in Women
1,906 F31HD110151   5F31HD110151-02     CTR                             and Girls with a Fragile X Premutation Allele        RUSSELL-GILLER, SHIRA       Awarded. Fellowships only   2024/02/15   2027/02/14     $67,668      $67,668      $33,965     $32,974

                                        WEILL MEDICAL COLL OF CORNELL                                                                                    Awarded. Non-fellowships
1,907 T32DK131957   5T32DK131957-03     UNIV                          Research Training in Endocrinology and Metabolism ALONSO, LAURA C                  only                        2023/04/01   2028/03/31    $927,242     $927,242     $342,427    $348,276

                                                                                                                                                       Awarded. Non-fellowships
1,908 T32GM144273   3T32GM144273-03S1   HARVARD MEDICAL SCHOOL          Medical Scientist Training Program                       WALENSKY, LOREN DAVID only                          2022/07/01   2027/06/30   $8,922,388   $8,922,388   $8,223,659   $119,872

                                        UNIVERSITY OF MICHIGAN AT ANN   The glucocorticoid receptor as a top-down
1,909 F31DA062446   1F31DA062446-01     ARBOR                           neuromolecular mechanism of inhibitory control           FELIX, PRINCESS         Awarded. Fellowships only   2025/01/01   2026/12/31     $42,545      $42,545      $19,590     $42,545

                                        UNIV OF NORTH CAROLINA                                                                                           Awarded. Non-fellowships
1,910 T35DK007386   5T35DK007386-45     CHAPEL HILL                     Short Term Research Training                             DELLON, EVAN SAMUEL     only                        1980/05/01   2026/02/28    $530,797     $530,797     $494,415     $85,952

                                        CLEVELAND CLINIC LERNER COM-    Characterizing the role of mitochondrial DNA             STURGIS, JOHNATHON
1,911 F31EY035133   5F31EY035133-02     CWRU                            mutations on retinal degeneration.                       BRIAN                   Awarded. Fellowships only   2024/02/01   2027/01/31     $97,948      $97,948      $27,375     $48,974

                                                                        Illuminating Neurobiological Adaptations of Afferent
                                                                        Projections to the Lateral Habenula During Aversion-
1,912 F31AA031597   5F31AA031597-02     UNIVERSITY OF MINNESOTA         Resistant Alcohol Consumption                        KERMOADE, KLAITEN E         Awarded. Fellowships only   2024/02/05   2028/02/04     $93,328      $93,328      $40,201     $46,664

                                                                        Role of Choroid Plexus Autotaxin Secretion in            HOCHSTETLER,
1,913 F32NS134588   5F32NS134588-02     BOSTON CHILDREN'S HOSPITAL      Hemorrhage-Induced White Matter Injury                   ALEXANDRA               Awarded. Fellowships only   2024/02/01   2026/01/31    $148,112     $148,112      $93,653     $74,284


                                        UNIVERSITY OF CALIFORNIA AT     Optimizing in vivo dLight recordings for investigating
1,914 F31MH135696   5F31MH135696-02     DAVIS                           the influence of disease on dopamine signaling.        ROSHGADOL, JACOB          Awarded. Fellowships only   2024/04/01   2025/09/30     $67,727      $67,727      $34,458     $25,755

                                                                        The Role of Host Genetics in Shaping Intestinal          LIETUVNINKAS, HELEN
1,915 F32AI179006   5F32AI179006-02     UNIVERSITY OF CHICAGO           Lactobacillus Population                                 BEILINSON               Awarded. Fellowships only   2024/03/01   2027/02/28    $151,040     $151,040      $72,381     $76,756

                                                                        Predoctoral Training: Innovative Technologies for
                                        UNIVERSITY OF NORTH CAROLINA    Natural Products and Integrative Medicine                                        Awarded. Non-fellowships
1,916 T32AT008938   5T32AT008938-10     GREENSBORO                      Research                                                 CECH, NADJA B           only                        2016/03/01   2026/03/31    $740,374     $740,374     $594,762    $188,839
                                        UNIVERSITY OF TX MD ANDERSON     Molecular and Cellular Regulation of Uterine
1,917 F31HD113306   5F31HD113306-02     CAN CTR                          Morphogenesis                                         MACHADO, DIANA         Awarded. Fellowships only   2024/02/03   2027/02/02     $72,640      $72,640      $56,011     $36,960

                                                                         A multi-modal approach for efficient, point-of-care   OIKONOMOU,
1,918 F32HL170592   5F32HL170592-02     YALE UNIVERSITY                  screening of hypertrophic cardiomyopathy              EVANGELOS              Awarded. Fellowships only   2023/09/01   2026/08/31    $165,684     $165,684     $116,881     $86,392

                                                                         Examining the Function of a Novel Protein in the
1,919 F31HL170655   5F31HL170655-02     UNIVERSITY OF IOWA               Cardiac Junctional Membrane Complex                   CIAMPA, GRACE          Awarded. Fellowships only   2024/01/01   2026/12/31     $66,994      $66,994      $40,476     $34,137

                                                                         Sex differences in somatostatin cell dynamics and
                                        PENNSYLVANIA STATE UNIVERSITY,   exploratory behavior after adolescent binge
1,920 F32AA031396   5F32AA031396-02     THE                              drinking in mice                                      SEEMILLER, LAUREL      Awarded. Fellowships only   2024/03/01   2027/02/28    $147,236     $147,236      $64,439     $73,828

                                        RUTGERS BIOMEDICAL AND HEALTH Caesarean Deliverys Effect on the Early Life
1,921 F30HD107912   5F30HD107912-03     SCIENCES                      Microbiome and Neurodevelopment                          LESSING, JEREMY K      Awarded. Fellowships only   2023/01/01   2026/12/31    $121,742     $121,742      $78,858     $45,574

                                        UNIVERSITY OF WISCONSIN-         Regulation of cellular senescence and metabolic
1,922 F31AG082504   5F31AG082504-03     MADISON                          health by dietary protein                             CALUBAG, MARIAH        Awarded. Fellowships only   2023/04/03   2026/04/02    $145,642     $145,642      $80,003     $48,974

                                                                         Strategies to attenuate the indirect alloimmune
                                        UNIVERSITY OF MIAMI SCHOOL OF    response in encapsulated pancreatic islet
1,923 F30DK136276   5F30DK136276-03     MEDICINE                         transplantation                                       LI, CHRIS MICHAEL      Awarded. Fellowships only   2023/04/01   2027/03/31    $160,642     $160,642     $108,124     $53,974

                                                                         Diabetes, Endocrinology and Metabolism Training                              Awarded. Non-fellowships
1,924 T32DK007217   3T32DK007217-48S1   STANFORD UNIVERSITY              Grant                                                 ANNES, JUSTIN PIERCE   only                        1976/07/01   2028/06/30    $831,699     $831,699     $709,647     $91,953

                                                                         Exploration of the unique neurobehavioral profile of
                                                                         sequential opioid-stimulant polysubstance use
1,925 F31DA059262   5F31DA059262-02     UNIVERSITY OF WASHINGTON         disorders                                            SAAVEDRA, SARA          Awarded. Fellowships only   2024/03/01   2027/02/28     $90,510      $90,510      $50,204     $45,255

                                                                         Postdoctoral Research Training in Child Health        KOINIS MITCHELL,       Awarded. Non-fellowships
1,926 T32HL176428   1T32HL176428-01     RHODE ISLAND HOSPITAL            Equity                                                DAPHNE                 only                        2025/02/01   2030/01/31    $185,178     $185,178         $654    $185,178

                                                                         Valerobetaine is a microbe-generated metabolite
                                                                         that induces mitochondrial biogenesis and
1,927 F30DK134204   5F30DK134204-03     EMORY UNIVERSITY                 maintains epithelial integrity                        ASKEW, LAUREN CASEY    Awarded. Fellowships only   2023/04/01   2026/03/31    $160,642     $160,642     $103,897     $53,974

                                        COLUMBIA UNIV NEW YORK           Photocatalytic Generation of Reactive Probes for      KARIOFILLIS, STAVROS
1,928 F32GM153032   5F32GM153032-02     MORNINGSIDE                      Bioconjugation and Proximity Labeling                 KONSTANTINOS           Awarded. Fellowships only   2024/01/10   2027/01/09    $148,112     $148,112      $84,077     $74,284

                                                                         The Role of MKK3b in the Mechanical Activation of
                                        UNIVERSITY OF WISCONSIN-         mTORC1, Protein Synthesis, and Skeletal Muscle
1,929 F31AR085939   1F31AR085939-01     MADISON                          Growth                                                FLYNN, COREY           Awarded. Fellowships only   2025/04/15   2028/04/14     $36,689      $36,689           $0     $36,689

                                                                         Evaluating a cell type-specific mechanism of
1,930 F31MH140553   1F31MH140553-01     TUFTS UNIVERSITY BOSTON          glutamatergic synapse function and organization       BOYER, MOLLY BRADY     Awarded. Fellowships only   2025/05/01   2027/10/23     $45,162      $45,162           $0     $45,162

                                                                         Directed Clonal Evolution of Drug Resistant BRAF
                                                                         Mutant Melanoma for Cross-Sensitization to MAPK
1,931 F32CA271719   5F32CA271719-02     BROAD INSTITUTE, INC.            Hyperactivation                                       CHO, EUNICE            Awarded. Fellowships only   2024/03/01   2027/02/28    $151,040     $151,040      $80,181     $76,756


                                                                         Caregiver-Implemented Early Language
                                                                         Interventions in Puerto Rico: A Mixed-Methods
                                                                         Examination of Provider and Caregiver Practices
                                        UNIVERSITY OF MASSACHUSETTS      and Perspectives to Develop Culturally Responsive     LOPEZ GONZALEZ, ADA
1,932 F31DC022501   1F31DC022501-01A1   AMHERST                          Interventions.                                        CRISTINA               Awarded. Fellowships only   2025/01/20   2027/01/19     $48,974      $48,974      $28,224     $48,974

                                                                                                                                                      Awarded. Non-fellowships
1,933 T32DK007314   3T32DK007314-44S1   UNIVERSITY OF PENNSYLVANIA       Diabetes, Endocrine, and Metabolism                   STOFFERS, DORIS A      only                        1978/09/15   2026/06/30   $2,357,846   $2,357,846   $2,118,666   $113,487

                                        UT SOUTHWESTERN MEDICAL          Uncovering the mechanistic drivers of hepatic         CERVANTES, MARGARET
1,934 F30DK142445   1F30DK142445-01A1   CENTER                           dysfunction in LIPT1 deficiency                       BRECKER                Awarded. Fellowships only   2025/05/01   2029/04/30     $43,127      $43,127           $0     $43,127

                                                                         Investigating Fucosylation as a Mediator of Limbal
1,935 F31EY037580   1F31EY037580-01     TUFTS UNIVERSITY BOSTON          Stem Cell Viability                                   JUDGE, JENNIFER R      Awarded. Fellowships only   2025/04/01   2028/03/31     $48,012      $48,012           $0     $48,012

                                                                         Targeting MeCP2-Associated Disorders with miRNA
1,936 F32HD113386   5F32HD113386-02     LOYOLA UNIVERSITY CHICAGO        Site-Blocking Oligonucleotides                        VANDERPLOW, AMANDA Awarded. Fellowships only       2024/05/01   2027/04/30    $155,840     $155,840      $52,679     $79,156
                                                                         The Association of Pneumonia-Related Financial
1,937 F32HL172535   5F32HL172535-02     JOHNS HOPKINS UNIVERSITY         Toxicity with Subsequent Outcomes                      WOMER, JAMES W           Awarded. Fellowships only   2023/12/30   2025/06/29    $133,830     $133,830     $113,540     $44,966

                                                                         Using genetics and optogenetics to dissect how Rho
                                        COLUMBIA UNIV NEW YORK           signaling is coordinated at distinct subcellular   COUNTRYMAN, ANDREW
1,938 F31HD118793   1F31HD118793-01     MORNINGSIDE                      domains to drive epithelial tissue morphogenesis   DYLAN              Awarded. Fellowships only             2025/04/01   2027/03/31     $48,974      $48,974           $0     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                    Awarded. Non-fellowships
1,939 T32GM007863   3T32GM007863-45S1   ARBOR                            Michigan Medical Scientist Training Program            COLLINS, KATHLEEN L      only                        1980/08/01   2025/06/30   $7,735,661   $7,735,661   $7,605,360    $59,936

                                        CHILDREN'S MERCY HOSP (KANSAS Childrens Mercy Hospital Collaborative Fellowship                                  Awarded. Non-fellowships
1,940 T32HD069038   5T32HD069038-15     CITY, MO)                     Program in Pediatric Pharmacology                         WAGNER, JONATHAN         only                        2011/05/01   2026/04/30   $1,257,733   $1,257,733    $774,650    $298,713

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Cannabidiol and buprenorphine: A poly-pharmacy GALBO THOMMA,
1,941 F32DA063281   1F32DA063281-01     CENTER                           approach to treat opioid use disorder          LINDSEY                          Awarded. Fellowships only   2025/05/01   2026/08/30     $76,828      $76,828           $0     $76,828

                                        UNIVERSITY OF NEW MEXICO         Mechanisms of regulatory T cell processes by IL-2 -
1,942 F30AI157211   5F30AI157211-05     HEALTH SCIS CTR                  TRANSFER to UNM                                        SHOUSE, ACACIA NICOLE Awarded. Fellowships only      2021/09/01   2025/08/31    $209,456     $205,481     $156,439     $53,974

                                                                         Caregiver Cry Perception and Developmental
                                        UNIVERSITY OF MISSOURI-          Trajectories of Infant-Caregiver Interactions
1,943 F32MH134481   5F32MH134481-02     COLUMBIA                         Involving Cry as an Early Marker of Autism             ANDRES, ERIN MARIE       Awarded. Fellowships only   2024/04/01   2027/03/31    $150,133     $150,133      $68,915     $74,284

                                        UNIVERSITY OF PITTSBURGH AT      PCT-KUH: Pittsburgh center for training in kidney,                              Awarded. Non-fellowships
1,944 TL1DK143271   1TL1DK143271-01     PITTSBURGH                       urology and hematology                                 KLEYMAN, THOMAS R        only                        2024/09/01   2029/05/31    $572,301     $572,301      $97,764    $572,301

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                    Awarded. Non-fellowships
1,945 T32AR007080   3T32AR007080-45S1   ARBOR                            Scientist Training in Rheumatology Research            KNIGHT, JASON            only                        1976/07/01   2028/06/30    $975,930     $975,930     $589,585     $86,976

                                                                         Targeting the E1 Control Point of Protein
1,946 F30CA275160   5F30CA275160-03     HARVARD MEDICAL SCHOOL           Ubiquitination in Cancer                               ZEINA, CHRISTINA MARIE   Awarded. Fellowships only   2022/08/01   2025/11/30    $134,064     $134,064      $93,816     $53,974

                                                                                                                                                         Awarded. Non-fellowships
1,947 T32DK091317   3T32DK091317-14S1   UNIVERSITY OF UTAH               Interdisciplinary Training Program in Metabolism       SUMMERS, SCOTT A         only                        2011/07/01   2026/06/30   $1,667,670   $1,667,670   $1,378,751    $45,596

                                        UNIVERSITY OF OKLAHOMA HLTH                                                                                      Awarded. Non-fellowships
1,948 T32EY023202   5T32EY023202-10     SCIENCES CTR                     Vision Science Training Program                        CALLEGAN, MICHELLE C     only                        2014/05/01   2026/03/31    $297,894     $297,894     $197,702     $67,832

                                                                                                                                                         Awarded. Non-fellowships
1,949 T32DK112751   3T32DK112751-08S1   UNIVERSITY OF IOWA               Diabetes Research Training Program                     NORRIS, ANDREW W         only                        2017/07/01   2027/06/30   $1,523,844   $1,523,844   $1,260,418    $86,976

                                                                         Osseoperception, Proprioception, and Postural
                                        UNIVERSITY OF COLORADO           Control in Individuals with an Osseointegrated
1,950 F32HD113195   5F32HD113195-02     DENVER                           Prosthesis                                             TRACY, JAMES B           Awarded. Fellowships only   2024/04/01   2026/03/31    $159,414     $159,414      $76,545     $79,869
1,951 F31EY034016   3F31EY034016-03S1   UNIVERSITY OF MINNESOTA          Visual Perception in Visual Snow Syndrome              MONTOYA, SAMANTHA A Awarded. Fellowships only        2022/08/29   2025/08/28    $102,917     $102,917      $80,842      $1,280

                                        UNIVERSITY OF PITTSBURGH AT      Breast Milk IgA Exerts Selective Pressure on the
1,952 F30HD114316   5F30HD114316-02     PITTSBURGH                       Preterm Gut Microbiome                                 TIN, CHRISTINE MELODY    Awarded. Fellowships only   2024/01/01   2028/12/31    $106,668     $106,668      $42,571     $53,974

                                        UNIVERSITY OF WISCONSIN-         Histone demethylase control of primordial germ cell
1,953 F31HD113347   5F31HD113347-02     MADISON                          specification                                       CORMATY, HARSHINI           Awarded. Fellowships only   2024/04/01   2027/03/31     $81,241      $81,241      $40,172     $41,423
1,954 F30DE031829   5F30DE031829-04     UNIVERSITY OF MINNESOTA          Analysis of human retrovirus particle assembly sites   WILLKOMM, NORA           Awarded. Fellowships only   2021/09/27   2025/09/26    $214,012     $214,012     $209,812     $57,774

                                                                         Associations between influenza vaccination during
                                                                         pregnancy and outcomes related to maternal
                                                                         influenza disease, infant anthropometry, and cost-
1,955 F31AI176861   5F31AI176861-02     UNIVERSITY OF WASHINGTON         effectiveness in rural Nepal                           FRIVOLD, COLLRANE        Awarded. Fellowships only   2024/01/16   2026/01/15     $97,948      $97,948      $73,628     $48,974

                                                                         Determining the mechanism of cell death of small
                                                                         molecules produced by Pseudomonas aeruginosa           COLÓN RÍOS, REBECCA
1,956 F31AI181569   1F31AI181569-01     YALE UNIVERSITY                  against Acanthamoeba castellanii                       ISABEL                   Awarded. Fellowships only   2024/08/01   2027/07/31     $48,974      $48,974      $22,636     $48,974

                                                                         CaMK4 as a Critical Mediator of Inflammation           GONZALEZ, AZUAH
1,957 F31HL172670   1F31HL172670-01     VANDERBILT UNIVERSITY            Resolution and Trained Immunity                        LUCRECIA                 Awarded. Fellowships only   2024/06/29   2027/06/28     $34,295      $34,295      $23,928     $34,295

                                                                         Anion Abstraction From Hypervalent Silanes:
                                                                         Enantioselective Synthesis of Compounds Bearing
1,958 F32GM143919   5F32GM143919-03     HARVARD UNIVERSITY               Carbon and Silicon Stereogenic Centers                 SHEVICK, SOPHIA LOUISE   Awarded. Fellowships only   2022/06/13   2025/06/12    $210,154     $210,154     $195,074     $74,284
                                                                        Targeting HMGA1-Mediated Progression and
1,959 F31HL156608   5F31HL156608-04     JOHNS HOPKINS UNIVERSITY        Immune Evasion in Myeloproliferative Diseases         KIM, YOUNGEUN JOSEPH Awarded. Fellowships only    2021/06/01   2025/05/31    $189,456     $189,456     $144,318     $48,974

                                                                       Shining light on the mechanisms of primate
                                                                       gastrulation: development of high-throughput,
                                        UNIVERSITY OF CALIFORNIA SANTA optogenetic tools for understanding embryonic
1,960 F32HD114539   1F32HD114539-01     BARBARA                        development                                            RUFO, JOSEPH          Awarded. Fellowships only   2024/07/22   2027/07/21     $74,284      $74,284      $46,589     $74,284

                                                                        Predoctoral Training in the Pharmacological                                 Awarded. Non-fellowships
1,961 T32GM144636   5T32GM144636-03     UNIVERSITY OF IOWA              Sciences                                              STRACK, STEFAN        only                        2022/07/01   2027/06/30   $1,199,768   $1,199,768    $997,658    $414,269

                                        UNIV OF NORTH CAROLINA                                                                                      Awarded. Non-fellowships
1,962 T32GM148376   1T32GM148376-01A1   CHAPEL HILL                     Molecular and Cellular Biophysics Training Grant      KUHLMAN, BRIAN A      only                        2024/07/01   2029/06/30    $479,849     $479,849     $406,005    $479,849

                                                                        Characterization of full-lengh CPSF6 and its          FRENIERE, CHRISTIAN
1,963 F31AI181652   1F31AI181652-01     YALE UNIVERSITY                 interaction with HIV capsid                           JOSEPH                Awarded. Fellowships only   2024/09/01   2026/08/31     $33,950      $33,950      $17,224     $33,950

                                                                        The Role of the Motor System in Speech and
1,964 F31DC020864   5F31DC020864-02     HARVARD MEDICAL SCHOOL          Language in Autism                                    O'BRIEN, AMANDA       Awarded. Fellowships only   2023/07/01   2025/07/31     $72,556      $72,556      $62,606     $36,918

                                                                        F31 Microtubule function in the onset of whole-body
1,965 F31GM149178   5F31GM149178-02     NORTHWESTERN UNIVERSITY         regeneration                                        ANDERSON, XAVIER N      Awarded. Fellowships only   2023/06/01   2025/05/31     $89,106      $89,106      $78,181     $45,491

                                                                                                                                                    Awarded. Non-fellowships
1,966 T32AI007046   5T32AI007046-48     UNIVERSITY OF VIRGINIA          Infectious Diseases Training Program                  PETRI, WILLIAM A      only                        1977/07/01   2027/06/30   $2,030,631   $2,030,631   $1,830,285   $715,843

                                                                        Contribution of cell mechanics in promoting
1,967 F31GM150276   5F31GM150276-02     NEW YORK UNIVERSITY             collective behavior for supracellular migration       GUPTA, SELENA         Awarded. Fellowships only   2023/06/01   2026/05/31     $96,668      $96,668      $75,866     $48,974

                                                                        Short Term Research Training: Students in Health                            Awarded. Non-fellowships
1,968 T35DK104689   5T35DK104689-10     YALE UNIVERSITY                 Professional Schools                                  HERZOG, ERICA L       only                        2015/06/01   2025/05/31   $1,247,965   $1,247,965   $1,067,684   $266,689

                                        TEMPLE UNIV OF THE                                                                                          Awarded. Non-fellowships
1,969 T34GM136494   5T34GM136494-05     COMMONWEALTH                    MARC at Temple University                             MATSIKA, SPIRIDOULA   only                        2020/06/01   2025/05/31   $2,094,217   $2,094,217   $1,974,919   $469,995

                                        MASSACHUSETTS GENERAL                                                                                       Awarded. Non-fellowships
1,970 T32DK007191   5T32DK007191-50     HOSPITAL                        Research Training in Digestive Diseases               CHUNG, RAYMOND T      only                        1976/07/01   2026/06/30   $2,881,305   $2,881,305   $2,490,154   $627,110

                                        LSU PENNINGTON BIOMEDICAL       Botanical Approaches to Combat Metabolic                                    Awarded. Non-fellowships
1,971 T32AT004094   5T32AT004094-15     RESEARCH CTR                    Syndrome                                              BRANTLEY, PHILLIP J   only                        2009/05/01   2026/04/30   $2,256,310   $2,256,310   $1,680,719   $187,332

                                        COLUMBIA UNIVERSITY HEALTH      Substance Abuse Epidemiology Training Program                               Awarded. Non-fellowships
1,972 T32DA031099   5T32DA031099-13     SCIENCES                        (SAETP) at Columbia University                        HASIN, DEBORAH S      only                        2012/07/01   2027/06/30   $1,357,324   $1,357,324   $1,341,066   $510,748

                                                                        Measuring Exocrine Pancreas Metabolism in Type 1
1,973 F31DK138741   1F31DK138741-01     UNIVERSITY OF FLORIDA           Diabetes                                              RUSHIN, ANNA          Awarded. Fellowships only   2024/05/15   2027/05/14     $85,148      $42,574      $41,294     $42,574

                                                                        Prenatal alcohol exposure, GABAergic interneuron
                                                                        circuitry, early motor behavior, and the developing
1,974 F30AA029261   5F30AA029261-04     DARTMOUTH COLLEGE               striatum                                              TOUSLEY, ADELAIDE R   Awarded. Fellowships only   2021/05/25   2026/05/24    $209,456     $209,456     $178,978     $53,974

                                                                        HIV and Other Infectious Consequences of                                    Awarded. Non-fellowships
1,975 T32DA013911   5T32DA013911-22     MIRIAM HOSPITAL                 Substance Use                                         RICH, JOSIAH D        only                        2001/07/01   2028/06/30    $815,399     $815,399     $491,275    $557,680



                                                                        Real-world Effectiveness and Utilization of Glucagon-
                                        CHILDREN'S HOSP OF              Like Peptide-1 Receptor Agonists for Treatment of
1,976 F32DK138739   1F32DK138739-01     PHILADELPHIA                    Type 2 Diabetes in Adolescents and Young Adults       CHU, PATRICIA YEA     Awarded. Fellowships only   2024/07/01   2026/06/30     $90,988      $90,988      $73,746     $90,988

                                                                        Asymmetric de Novo Synthesis of a Cardenolide:        BUCKNAM, ANDREA
1,977 F31AT012724   1F31AT012724-01     DARTMOUTH COLLEGE               The Total Synthesis of Sarmentogenin                  RACHEL                Awarded. Fellowships only   2024/07/24   2026/07/23     $48,974      $48,974      $19,154     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Training Program in Pediatric                                               Awarded. Non-fellowships
1,978 T32DK007762   5T32DK007762-47     FRANCISCO                       Gastroenterology/Nutrition                            BAYRER, JAMES         only                        1998/08/24   2028/06/30   $1,035,770   $1,035,770   $1,177,841   $490,664

                                                                        The role of Cannabinoid Receptor 2 in
                                        TEMPLE UNIV OF THE              cerebrovascular protection following traumatic
1,979 F31NS127544   5F31NS127544-02     COMMONWEALTH                    brain injury                                          BULLOCK, TRENT A      Awarded. Fellowships only   2023/02/01   2025/12/31     $71,254      $71,254      $26,532     $35,562
                                        UNIVERSITY OF TEXAS HLTH SCI CTR                                                                              Awarded. Non-fellowships
1,980 T32GM008792   5T32GM008792-22     HOUSTON                          Postdoctoral Training Program in Trauma               COX, CHARLES S         only                        2001/07/02   2028/06/30    $681,140     $681,140     $566,258    $347,714

                                        COLD SPRING HARBOR                Targeting of Krüppel-like Factor 5 (KLF5) in
1,981 F31CA278591   5F31CA278591-02     LABORATORY                        Pancreatic Ductal Adenocarcinoma                     CUNNIFF, PATRICK       Awarded. Fellowships only   2023/05/16   2026/02/15     $96,668      $96,668      $92,807     $48,974

                                                                                                                               MUNRO, EDWIN           Awarded. Non-fellowships
1,982 T32GM144292   5T32GM144292-03     UNIVERSITY OF CHICAGO             Molecular and Cellular Biology Training Program      MARSHALL               only                        2022/07/01   2027/06/30   $2,560,410   $2,560,410   $2,056,085   $878,975

                                                                                                                                                      Awarded. Non-fellowships
1,983 T32DK007056   5T32DK007056-48     STANFORD UNIVERSITY               Training Grant in Academic Gastroenterology          TOROK, NATALIE J       only                        1975/07/01   2028/06/30    $688,416     $688,416     $619,284    $343,308

                                                                          The Kinetics and Dynamics of Functional Immune
1,984 F31AI176818   1F31AI176818-01A1   YALE UNIVERSITY                   Responses to Plasmodium falciparum Strains           HAGADORN, KELLY        Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $25,208     $48,974

                                        UNIVERSITY OF COLORADO                                                                 JEVTOVIC-TODOROVIC,    Awarded. Non-fellowships
1,985 T32GM135169   5T32GM135169-04     DENVER                            Anesthesiology Mentored Research Training            VESNA                  only                        2021/07/01   2026/06/30    $640,543     $640,543     $346,401    $197,535

                                        UNIVERSITY OF CALIFORNIA, SAN
1,986 F30HD108986   5F30HD108986-03     DIEGO                             Investigation of fmnl2 in cerebellar development     TRAN, JOYCE            Awarded. Fellowships only   2022/06/02   2026/06/01    $124,439     $124,439     $121,586     $43,123

                                                                          Leveraging multi-omics to define the role of
                                                                          epigenetic regulation by PRC2 in
1,987 F30DC021348   5F30DC021348-02     DUKE UNIVERSITY                   Esthesioneuroblastoma                                FINLAY, JOHN BARRATT   Awarded. Fellowships only   2023/08/01   2026/07/31     $94,823      $94,823      $86,671     $42,129

                                        HARVARD SCHOOL OF PUBLIC          Training Program in Psychiatric Genetics and                                Awarded. Non-fellowships
1,988 T32MH017119   5T32MH017119-38     HEALTH                            Translational Research                               KOENEN, KARESTAN C     only                        1983/07/01   2025/06/30   $2,190,466   $2,190,466   $1,982,285   $440,804

                                                                                                                                                      Awarded. Non-fellowships
1,989 T32GM136631   5T32GM136631-04     STANFORD UNIVERSITY               Molecular Pharmacology Training Program              CHEN, JAMES K          only                        2021/07/01   2026/06/30   $1,572,781   $1,572,781   $1,279,603   $439,487

                                        PENNSYLVANIA STATE UNIV           Deciphering the mechanisms of nucleolar stress       PHAM, ALEXANDER
1,990 F31AI176803   1F31AI176803-01A1   HERSHEY MED CTR                   response during MCPyV infection                      MICHAEL                Awarded. Fellowships only   2024/08/01   2026/07/31     $35,848      $35,848      $22,672     $35,848

                                                                                                                                                      Awarded. Non-fellowships
1,991 T32DK007158   5T32DK007158-49     CORNELL UNIVERSITY                NUTRITION TRAINING                                   CASSANO, PATRICIA A    only                        1976/07/01   2027/05/31    $576,325     $576,325     $523,444    $188,087

                                                                          Defining the role of platelet-mediated glycocalyx
                                                                          breakdown in driving pathogenic CD8 activity
1,992 F31HL172638   1F31HL172638-01     UNIVERSITY OF UTAH                during severe malaria.                               REED, JENNA SUSAN      Awarded. Fellowships only   2024/08/01   2027/07/31     $39,995      $39,995      $29,329     $39,995

                                        UNIV OF NORTH CAROLINA                                                                                        Awarded. Non-fellowships
1,993 T32DA007244   5T32DA007244-35     CHAPEL HILL                       Predoctoral Training in Addiction Science            CARELLI, REGINA M      only                        1990/09/30   2025/06/30   $1,740,418   $1,740,418   $1,741,772   $304,843

                                                                          Duke Training Grant in Digestive Diseases and                               Awarded. Non-fellowships
1,994 T32DK007568   5T32DK007568-33     DUKE UNIVERSITY                   Nutrition                                            MUIR, ANDREW J         only                        1988/07/01   2027/06/30    $876,717     $876,717     $833,132    $250,805

                                        UNIV OF NORTH CAROLINA            Infectious Disease Pathogenesis Research Training                           Awarded. Non-fellowships
1,995 T32AI007151   5T32AI007151-45     CHAPEL HILL                       Program                                              JULIANO, JONATHAN J    only                        1978/07/01   2026/05/31   $1,467,867   $1,467,867   $1,333,961   $287,822

                                        UNIVERSITY OF NEBRASKA MEDICAL SPARKLED: Social Programming Affects Risk in Kids of DRAKOWSKI, REBECCA
1,996 F30MD017527   5F30MD017527-03     CENTER                         Latent Endothelial Disease                           ANNE                      Awarded. Fellowships only   2022/06/19   2027/05/31    $124,070     $124,070      $93,339     $42,574

                                                                          Postdoctoral Training in Cardiovascular Clinical                            Awarded. Non-fellowships
1,997 T32HL069749   5T32HL069749-20     DUKE UNIVERSITY                   Research                                             MARK, DANIEL B         only                        2003/07/01   2025/06/30   $2,437,306   $2,437,306   $2,462,122   $418,454

                                                                      Multisensory integration at the cell, circuit, and
                                                                      behavioral levels: How audiovisual signals drive
                                        RUTGERS BIOMEDICAL AND HEALTH dynamic courtship behavior in Drosophila
1,998 F30NS120845   5F30NS120845-03     SCIENCES                      melanogaster                                             NORMAND, EDNA          Awarded. Fellowships only   2022/06/01   2025/05/31    $131,809     $131,809     $128,245     $53,974

                                        NORTHWESTERN UNIVERSITY AT        Northwestern University Clinical and Translational                          Awarded. Non-fellowships
1,999 TL1TR001423   5TL1TR001423-09     CHICAGO                           Science Institute (NUCATS)                           MCCOLLEY, SUSANNA A    only                        2015/08/12   2025/06/30   $2,999,656   $2,999,656   $2,205,713   $530,676

                                                                          Postdoctoral Training Program in AIDS-related                               Awarded. Non-fellowships
2,000 T32AI007386   5T32AI007386-30     DANA-FARBER CANCER INST           Research                                             CANTOR, HARVEY         only                        1990/08/01   2025/05/31   $1,637,511   $1,637,511   $1,597,672   $289,624

                                                                                                                                                      Awarded. Non-fellowships
2,001 T32HL139426   2T32HL139426-06A1   JOHNS HOPKINS UNIVERSITY          NHLBI Training Program in Pharmacoepidemiology       ALEXANDER, G CALEB     only                        2018/01/01   2029/06/30    $317,361     $317,361     $233,207    $317,361
                                        METHODIST HOSPITAL RESEARCH        Antimicrobial Resistance Training Program in the                               Awarded. Non-fellowships
2,002 T32AI179595   1T32AI179595-01     INSTITUTE                          Texas Medical Center (AMR-TPT)                         ARIAS, CESAR AUGUSTO    only                        2024/07/01   2029/06/30    $683,915     $683,915     $126,206    $342,204

                                                                           Regulation of the Pseudomonas aeruginosa               ROBINSON, RACHEL
2,003 F31AI172335   5F31AI172335-02     EMORY UNIVERSITY                   protease PrpL by temperature and iron                  EVANS                   Awarded. Fellowships only   2023/06/01   2025/05/31     $96,668      $96,668      $89,169     $48,974

                                                                         NU-STARS for Northeastern Illinois Student Training in                           Awarded. Non-fellowships
2,004 T34GM105549   5T34GM105549-10     NORTHEASTERN ILLINOIS UNIVERSITY Academic Research in the Sciences                        CHURCH, RUTH B          only                        2014/06/01   2025/05/31   $1,367,666   $1,367,666   $1,161,903   $264,233

                                        UNIVERSITY OF CALIFORNIA           University of California Berkeley Chemistry-Biology                            Awarded. Non-fellowships
2,005 T32GM066698   5T32GM066698-20     BERKELEY                           Interface Training Program                             CHANG, CHRISTOPHER J    only                        2004/07/01   2025/06/30   $2,446,253   $2,446,253   $2,444,936   $479,593

                                                                                                                                                          Awarded. Non-fellowships
2,006 T32GM152284   1T32GM152284-01     VANDERBILT UNIVERSITY              Medical Scientist Training Program                     WILLIAMS, CHRISTOPHER S only                        2024/07/01   2029/06/30   $1,618,270   $1,618,270     $16,464 $1,618,270

                                                                                                                                                     Awarded. Non-fellowships
2,007 TL1TR001428   5TL1TR001428-09     UNIVERSITY OF FLORIDA              J. NRSA Training Core                                  MCCORMACK, WAYNE T only                             2015/08/15   2025/06/30   $1,991,065   $1,991,065   $1,992,499   $388,308

                                        BOSTON UNIVERSITY MEDICAL                                                                                         Awarded. Non-fellowships
2,008 TL1TR001410   5TL1TR001410-09     CAMPUS                             NRSA Training Core                                     KOTTON, DARRELL N       only                        2015/08/13   2026/03/31   $2,178,081   $2,178,081   $1,967,636   $506,592

                                                                           Infectious Diseases Clinical Epidemiology Training                             Awarded. Non-fellowships
2,009 T32AI055435   5T32AI055435-20     UNIVERSITY OF PENNSYLVANIA         Program                                                LAUTENBACH, EBBING      only                        2003/08/01   2025/07/31   $1,906,532   $1,906,532   $1,824,448   $401,099

                                        UNIVERSITY OF MARYLAND             Graduate Training at The Chemistry Biology                                     Awarded. Non-fellowships
2,010 T32GM066706   5T32GM066706-20     BALTIMORE COUNTY                   Interface                                              SMITH, AARON T          only                        2004/07/01   2025/06/30   $1,175,379   $1,175,379   $1,148,699   $155,895

                                                                     Organ Design and Engineering Training Program                BONVENTRE, JOSEPH       Awarded. Non-fellowships
2,011 T32EB016652   5T32EB016652-10     BRIGHAM AND WOMEN'S HOSPITAL (ODET Program)                                               VINCENT                 only                        2014/07/01   2025/06/30   $1,778,403   $1,778,403   $1,748,493   $410,762

                                        UNIV OF NORTH CAROLINA                                                                                            Awarded. Non-fellowships
2,012 T32GM008450   2T32GM008450-31     CHAPEL HILL                        Trauma Research Fellowship                             CAIRNS, BRUCE A         only                        1992/07/01   2029/06/30    $202,203     $202,203      $57,337    $202,203

                                        UT SOUTHWESTERN MEDICAL                                                                                           Awarded. Non-fellowships
2,013 T32GM127216   5T32GM127216-05     CENTER                             Chemistry-Biology Interface T32                        PHILLIPS, MARGARET A    only                        2019/07/01   2025/06/30    $753,641     $753,641     $710,278    $154,881

                                                                           Interdisciplinary Predoctoral Training in                                      Awarded. Non-fellowships
2,014 T32EB027632   5T32EB027632-05     TULANE UNIVERSITY OF LOUISIANA     Bioinnovation                                          GAVER, DONALD P         only                        2019/05/01   2025/12/31    $812,785     $812,785     $675,343    $109,239

                                        WEILL MEDICAL COLL OF CORNELL                                                                                     Awarded. Non-fellowships
2,015 T32DA039080   5T32DA039080-07     UNIV                          Genetic and Environmental Influences on Addiction MILNER, TERESA A                  only                        2017/07/01   2028/06/30    $328,505     $328,505     $255,107    $167,076

                                        UNIVERSITY OF ILLINOIS AT          Aristotelia Alkaloids as Probes for the Nicotinic
2,016 F31AT012713   1F31AT012713-01     CHICAGO                            Acetylcholine Receptors                                RUSALI, LISA ELIANA     Awarded. Fellowships only   2024/05/16   2026/05/15     $97,948      $97,948      $48,656     $48,974

                                        CALIFORNIA STATE UNIVERSITY        Building Infrastructure Leading to Diversity (BUILD)                           Awarded. Non-fellowships
2,017 TL4GM118980   5TL4GM118980-10     LONG BEACH                         Initiative Phase II                                    DILLON, JESSE           only                        2014/09/26   2025/06/30   $3,669,850   $3,669,850   $3,062,380   $315,426

                                        UNIVERSITY OF ILLINOIS AT                                                                                         Awarded. Non-fellowships
2,018 T32GM145767   1T32GM145767-01A1   CHICAGO                            Medical Scientist Training Program                     DARBAR, DAWOOD          only                        2024/07/01   2029/06/30    $599,359     $599,359     $483,195    $599,359

                                        UNIVERSITY OF CALIFORNIA, SAN      Molecular and Cellular Basis of Cardiovascular                                 Awarded. Non-fellowships
2,019 T32HL007731   2T32HL007731-31A1   FRANCISCO                          Disease                                                BLACK, BRIAN L          only                        1992/07/01   2029/05/31    $730,211     $730,211     $453,079    $730,211

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Epigenetics, DNA repair and Genomics (EDGe)                                      Awarded. Non-fellowships
2,020 T32CA279363   1T32CA279363-01A1   CENTER                           Training Program in Cancer                               MALKOVA, ANNA L         only                        2024/09/01   2029/08/31    $179,264     $179,264      $83,813    $179,264

                                        UNIVERSITY OF PITTSBURGH AT        Discerning the mechanisms of CYB5R1 regulation of
2,021 F31HL172522   1F31HL172522-01     PITTSBURGH                         ferroptosis in endothelial cells                  HALL, ROBERT                 Awarded. Fellowships only   2024/07/01   2025/06/30     $48,974      $48,974      $33,017     $48,974

                                                                           Deciphering and modulating CAR T cell persistence
2,022 F30CA281040   1F30CA281040-01A1   UNIVERSITY OF PENNSYLVANIA         with controllable epigenome editors               ERLITZKI, NOA                Awarded. Fellowships only   2024/07/01   2026/01/31     $53,974      $53,974      $33,072     $53,974

                                        UNIVERSITY OF CALIFORNIA AT                                                                                       Awarded. Non-fellowships
2,023 T35OD010956   5T35OD010956-25     DAVIS                              Students Training in Advanced Research                 BANNASCH, DANIKA L      only                        2000/02/01   2026/03/31    $602,333     $602,333     $596,024    $123,224

                                        UNIVERSITY OF ILLINOIS AT          Vascular Biology, Signaling and Therapeutics                                   Awarded. Non-fellowships
2,024 T32HL144459   5T32HL144459-05     CHICAGO                            training program                                       KITAJEWSKI, JAN K       only                        2019/07/01   2025/06/30   $1,567,423   $1,567,423   $1,495,215   $375,771

                                        WEILL MEDICAL COLL OF CORNELL Investigation of heterogeneity in cancer cell
2,025 F30CA254120   3F30CA254120-04S1   UNIV                          proliferation - COVID extension request                     TORBORG, STEFAN ROSS    Awarded. Fellowships only   2020/07/01   2025/06/30    $234,642     $234,642     $225,213     $32,974
2,026 F30DK136229   5F30DK136229-02     DUKE UNIVERSITY                    Rapid sugar sensing from gut to brain                  ALWAY, EMILY JEAN       Awarded. Fellowships only   2023/07/01   2026/06/30     $93,768      $93,768      $84,104     $41,074
                                                                         A multidisciplinary training program in prostate                             Awarded. Non-fellowships
2,027 T32CA240172   5T32CA240172-05     CEDARS-SINAI MEDICAL CENTER      cancer                                                 BHOWMICK, NEIL A      only                        2019/07/01   2025/06/30    $987,574     $987,574      $881,081    $319,057

                                                                      Training in Cardiovascular Research at the University                           Awarded. Non-fellowships
2,028 T32HL115505   2T32HL115505-11     UNIVERSITY OF HAWAII AT MANOA of Hawaii                                             TALLQUIST, MICHELLE D     only                        2012/09/01   2029/07/31    $385,609     $385,609       $83,245    $385,609

                                                                                                                                                      Awarded. Non-fellowships
2,029 T32DK083250   5T32DK083250-15     UNIVERSITY OF MINNESOTA          Minnesota Obesity Prevention Training (MnOPT)          KOTZ, CATHERINE M     only                        2010/04/01   2026/04/30   $1,992,755   $1,992,755    $1,901,739   $427,863

                                                                         Translational Interdisciplinary Research Training in                         Awarded. Non-fellowships
2,030 T32DC020141   5T32DC020141-02     VANDERBILT UNIVERSITY            Communication Sciences and Disorders                   DUFF, MELISSA C       only                        2023/07/01   2028/06/30    $437,238     $437,238      $311,232    $222,864

                                                                         Research Enhancement for BUILDing Detroit                                    Awarded. Non-fellowships
2,031 TL4GM118983   5TL4GM118983-10     UNIVERSITY OF DETROIT MERCY      (ReBUILDetroit)                                        SNYDER, KATHERINE E   only                        2014/09/26   2025/06/30   $8,933,100   $8,933,100   $10,165,705 $1,448,916

                                                                                                                                                      Awarded. Non-fellowships
2,032 T32DC016853   5T32DC016853-07     PURDUE UNIVERSITY                Interdisciplinary Training in Auditory Neuroscience    HEINZ, MICHAEL G      only                        2018/07/01   2028/06/30    $312,305     $312,305      $226,742    $158,976

                                        STATE UNIVERSITY OF NEW YORK AT                                                         RUHL, STEFAN HANS-    Awarded. Non-fellowships
2,033 T32DE023526   5T32DE023526-10     BUFFALO                         Advanced Training in Oral Biology                       KLAUS                 only                        2013/07/01   2025/06/30   $2,097,313   $2,097,313    $2,096,231    $50,324

                                        UNIVERSITY OF CALIFORNIA, SAN                                                           SUBRAMANIAM,          Awarded. Non-fellowships
2,034 T32GM139790   5T32GM139790-04     DIEGO                            Graduate Training Program in Bioinformatics            SHANKAR               only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307    $1,413,681   $439,487

                                        UNIV OF NORTH CAROLINA                                                                                        Awarded. Non-fellowships
2,035 T32AI070114   5T32AI070114-18     CHAPEL HILL                      Training in Infectious Disease Epidemiology (TIDE)     PENCE, BRIAN W        only                        2007/08/01   2027/06/30   $1,337,626   $1,337,626     $804,301    $291,786

                                        NORTH CAROLINA STATE             NC STATE MOLECULAR BIOTECHNOLOGY TRAINING                                    Awarded. Non-fellowships
2,036 T32GM133366   5T32GM133366-05     UNIVERSITY RALEIGH               PROGRAM (MBTP)                                         HAUGH, JASON M        only                        2020/07/01   2025/06/30   $2,467,655   $2,467,655    $1,938,595   $511,699

                                        UNIVERSITY OF CALIFORNIA AT                                                                                   Awarded. Non-fellowships
2,037 T32EY015387   5T32EY015387-22     DAVIS                            Vision Science Training Program: Cornea to Cortex      BURNS, MARIE E        only                        2003/09/30   2028/08/31    $396,663     $396,663      $301,070    $196,196

                                        UNIVERSITY OF CALIFORNIA, SAN    Next Generation Nurse Scientists Ending the HIV                              Awarded. Non-fellowships
2,038 T32NR020776   5T32NR020776-02     FRANCISCO                        Epidemic                                               DAWSON-ROSE, CAROL    only                        2023/07/01   2028/06/30    $766,435     $766,435      $428,952    $392,607

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
2,039 T32DE007057   5T32DE007057-48     ARBOR                            Tissue Engineering and Regeneration                    KOHN, DAVID H         only                        1976/07/01   2027/06/30   $1,836,912   $1,836,912    $1,577,100   $631,496

                                                                         The Causal Impact of Poverty Reduction on Housing
                                                                         Conditions of Low-Income, U.S. Children and the
                                                                         Role of Housing and Neighborhood Ecosystems on
2,040 F30HD108866   5F30HD108866-02     DUKE UNIVERSITY                  Young Childrens Healthy Development               STILWELL, LAURA ROSE       Awarded. Fellowships only   2023/09/01   2025/08/31     $94,463      $94,463       $78,043     $53,974

                                                                                                                                                      Awarded. Non-fellowships
2,041 T32AI055434   5T32AI055434-19     UNIVERSITY OF UTAH               Training Program in Microbial Pathogenesis             MULVEY, MATTHEW A     only                        2004/09/01   2026/07/31   $1,394,992   $1,394,992    $1,160,316   $345,063

                                        UNIVERSITY OF WISCONSIN-                                                                                      Awarded. Non-fellowships
2,042 T32GM140935   5T32GM140935-04     MADISON                          Integrated Training For Physician-Scientists           HUTTENLOCHER, ANNA    only                        2021/07/01   2026/06/30   $4,282,755   $4,282,755    $4,201,604 $1,078,847

                                        UNIVERSITY OF MICHIGAN AT ANN    Allosteric regulation of human cystathionine beta-
2,043 F32GM144988   5F32GM144988-03     ARBOR                            synthase                                               ROMAN, JOSEPH V       Awarded. Fellowships only   2022/07/01   2025/06/30    $213,430     $213,430      $193,886     $76,756

                                                                                                                                                      Awarded. Non-fellowships
2,044 T32AR059039   5T32AR059039-14     VANDERBILT UNIVERSITY            Interdisciplinary Training in Rheumatic Diseases       CROFFORD, LESLIE J    only                        2010/05/01   2026/05/31   $1,174,849   $1,174,849     $931,639    $348,873

                                        UNIVERSITY OF KANSAS MEDICAL
2,045 F31HD104495   5F31HD104495-04     CENTER                           Establishment of the Uterine-Placental Interface       SCOTT, REGAN LEIGH    Awarded. Fellowships only   2021/07/09   2026/06/30    $143,589     $143,589      $133,104     $37,710
2,046 F31CA254259   5F31CA254259-04     CASE WESTERN RESERVE UNIVERSITY Role of IRF2BP2 in Tumor Immune Evasion                 ABIFF, MUTA           Awarded. Fellowships only   2021/06/01   2025/05/31    $209,456     $209,456      $203,308     $53,974

                                                                                                                                                      Awarded. Non-fellowships
2,047 T32GM139782   5T32GM139782-04     UNIVERSITY OF CHICAGO            Genetic Mechanisms and Evolution                       THORNTON, JOSEPH W    only                        2021/07/01   2026/06/30   $3,340,616   $3,340,616    $2,757,663   $878,975

                                                                         Understanding how senescent stromal cells
2,048 F31CA271721   5F31CA271721-03     WASHINGTON UNIVERSITY            contribute to mammary gland tumorigenesis              YE, JIAYU             Awarded. Fellowships only   2022/06/01   2025/05/31    $101,282     $101,282       $92,315     $34,928

                                                                         Alcohol-Induced Alternative Splicing in Drosophila
2,049 F31AA030219   5F31AA030219-03     BROWN UNIVERSITY                 Memory Circuits                                        BROWN, TARIQ          Awarded. Fellowships only   2022/08/01   2025/07/31    $143,420     $143,420      $128,402     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN    ENLIGHTEN (ENgaging Leaders In Global and local                              Awarded. Non-fellowships
2,050 T32NS131126   1T32NS131126-01A1   FRANCISCO                        HealTh Equity in Neurology)                            OVBIAGELE, BRUCE      only                        2024/08/15   2029/06/30    $232,336     $232,336            $0    $232,336
                                                                      Biochemistry, Cellular and Molecular Biology                                 Awarded. Non-fellowships
2,051 T32GM144272   5T32GM144272-03   JOHNS HOPKINS UNIVERSITY        Program                                              INOUE, TAKANARI         only                        2022/07/01   2027/06/30   $3,260,186   $3,260,186   $2,912,427 $1,098,718

                                      UNIV OF NORTH CAROLINA          A Novel Planar Crypt Microarray for Real-Time
2,052 F30DK126307   5F30DK126307-04   CHAPEL HILL                     Evaluation of Human Intestinal Stem Cell Fate        OK, MERYEM TYRRASCH     Awarded. Fellowships only   2020/07/01   2025/06/30    $180,380     $180,380     $176,761     $53,974

                                                                                                                                                   Awarded. Non-fellowships
2,053 T32DC000023   5T32DC000023-39   JOHNS HOPKINS UNIVERSITY        Trainging Program in Hearing and Balance             CULLEN, KATHLEEN E      only                        1985/07/01   2026/06/30   $1,887,596   $1,887,596   $1,551,831   $507,145

                                                                      Multi-Disciplinary Training Program in the                                   Awarded. Non-fellowships
2,054 T32HL155011   5T32HL155011-04   AUGUSTA UNIVERSITY              Mechanisms of Cardiometabolic Disease                STEPP, DAVID W          only                        2021/07/01   2026/06/30    $964,478     $964,478     $585,722    $238,307

                                                                      Pre-faculty Research Training in Pediatric                                   Awarded. Non-fellowships
2,055 T32DK065519   5T32DK065519-20   UNIVERSITY OF MINNESOTA         Endocrinology                                        BELLIN, MELENA D        only                        2004/07/01   2025/06/30    $757,199     $757,199     $691,174    $194,729

                                                                      Dual-Degree Medical Scientist Training Program for                           Awarded. Non-fellowships
2,056 T32GM136628   5T32GM136628-05   COLORADO STATE UNIVERSITY       Veterinarians                                        REGAN, DANIEL PATRICK   only                        2020/07/01   2025/06/30   $1,334,382   $1,334,382   $1,226,583   $330,042

                                      UNIV OF NORTH CAROLINA                                                                                       Awarded. Non-fellowships
2,057 T32GM135128   5T32GM135128-05   CHAPEL HILL                     NRSA in Genetics                                     SEKELSKY, JEFF J        only                        2020/07/01   2025/06/30   $3,597,916   $3,597,916   $3,250,079   $769,103

                                                                      Child/Adolescent/Young Adult HIV Research                                    Awarded. Non-fellowships
2,058 T32MH078788   5T32MH078788-17   RHODE ISLAND HOSPITAL           Training                                             BROWN, LARRY K          only                        2007/07/01   2028/06/30    $908,247     $908,247     $593,569    $464,252

                                      UNIV OF NORTH CAROLINA          Training Program in Cellular Systems and Integrative                         Awarded. Non-fellowships
2,059 T32GM133364   5T32GM133364-05   CHAPEL HILL                     Physiology                                           CARON, KATHLEEN M       only                        2020/07/01   2025/06/30   $1,017,637   $1,017,637    $812,478    $217,676

                                                                      Brown Postdoctoral Training Program in                                       Awarded. Non-fellowships
2,060 T32MH126388   5T32MH126388-04   BROWN UNIVERSITY                Computational Psychiatry                             FRANK, MICHAEL J        only                        2021/07/01   2026/06/30   $1,398,015   $1,398,015   $1,065,656   $378,092

                                      UNIV OF MASSACHUSETTS MED SCH                                                                                Awarded. Non-fellowships
2,061 TL1TR001454   5TL1TR001454-09   WORCESTER                     J: NRSA Training Core                                  LEWIS, BRIAN C          only                        2015/08/14   2026/05/31   $1,919,399   $1,919,399   $1,286,911   $398,992

                                      UNIVERSITY OF MIAMI SCHOOL OF                                                                                Awarded. Non-fellowships
2,062 T32AI162624   5T32AI162624-03   MEDICINE                        Predoctoral Training in Translational Immunology     MALEK, THOMAS R         only                        2022/08/15   2027/07/31    $508,185     $508,185     $375,878    $241,172

                                                                                                                                                   Awarded. Non-fellowships
2,063 TL1DK132771   5TL1DK132771-04   UNIVERSITY OF VIRGINIA          IGNITE KUH NRSA Training Core                        PORTILLA, DIDIER        only                        2021/09/15   2026/05/31   $1,530,712   $1,530,712    $998,223    $354,046

                                      UNIV OF NORTH CAROLINA                                                                                       Awarded. Non-fellowships
2,064 T32HL007055   5T32HL007055-48   CHAPEL HILL                     Cardiovascular Epidemiology Training Grant           ROSAMOND, WAYNE D       only                        1975/07/01   2027/05/31   $1,540,656   $1,540,656    $938,570    $522,782

                                                                      Assessing early-life exposure to replacement flame
                                                                      retardant chemicals and associations with thyroid
                                                                      disruption and altered neurobehavioral function in
2,065 F30ES033086   5F30ES033086-04   UNIVERSITY OF CINCINNATI        a longitudinal birth cohort                          PERCY, ZANA             Awarded. Fellowships only   2021/06/01   2025/05/31    $194,280     $194,280     $171,388     $53,974

                                      UT SOUTHWESTERN MEDICAL                                                                                      Awarded. Non-fellowships
2,066 T32AR065969   5T32AR065969-10   CENTER                          Dermatology Research Training Program                WANG, RICHARD C         only                        2014/07/01   2026/05/31    $761,538     $761,538     $813,144     $83,803

                                      ICAHN SCHOOL OF MEDICINE AT                                                                                  Awarded. Non-fellowships
2,067 T32MH087004   5T32MH087004-15   MOUNT SINAI                     Training Program in Neuroscience                     HUNTLEY, GEORGE W       only                        2009/07/01   2025/06/30   $1,540,346   $1,540,346   $1,510,198   $316,333

                                      UNIVERSITY OF CALIFORNIA LOS                                                                               Awarded. Non-fellowships
2,068 T32ES015457   5T32ES015457-14   ANGELES                         Training in Molecular Toxicology                     HANKINSON, OLIVER NMN only                          2008/07/01   2026/06/30   $1,247,908   $1,247,908   $1,048,847   $295,463

                                                                                                                           KHURANA HERSHEY,        Awarded. Non-fellowships
2,069 T32GM149200   5T32GM149200-02   UNIVERSITY OF CINCINNATI        Medical Scientist Training Program                   GURJIT K                only                        2023/07/01   2028/06/30   $1,887,831   $1,887,831   $1,432,912   $958,975
2,070 F30AA030472   5F30AA030472-03   LSU HEALTH SCIENCES CENTER      Larp6 and Alcoholic Cardiomyopathy                   EDAVETTAL, JOSHUA       Awarded. Fellowships only   2022/07/01   2027/06/30    $158,421     $158,421     $102,181     $53,974

                                                                                                                                                   Awarded. Non-fellowships
2,071 T32ES007028   2T32ES007028-50   VANDERBILT UNIVERSITY           Training Program in Environmental Toxicology         HARRISON, FIONA EDITH   only                        1975/07/10   2029/06/30    $201,929     $201,929           $0    $201,929

                                                                                                                                                   Awarded. Non-fellowships
2,072 T32GM148382   5T32GM148382-02   INDIANA UNIVERSITY INDIANAPOLIS Indiana Medical Scientist/Engineer Training Program GASTON, BENJAMIN         only                        2023/07/01   2028/06/30   $1,887,831   $1,887,831   $1,684,352   $958,975

                                      COLUMBIA UNIVERSITY HEALTH      Chromosomal instability as a driver of non-small cell
2,073 F30CA281104   5F30CA281104-02   SCIENCES                        lung cancer immune evasion and brain metastasis CAPRIO, LINDSAY ANNE         Awarded. Fellowships only   2023/07/01   2028/06/30     $96,668      $96,668      $96,668     $48,974

                                      NORTH CAROLINA STATE                                                                                         Awarded. Non-fellowships
2,074 T32GM141887   5T32GM141887-04   UNIVERSITY RALEIGH              NC State Chemistry of Life Training Program (CLTP)   PIERCE, JOSHUA G        only                        2021/07/01   2026/06/30    $946,418     $946,418     $627,634    $274,680
                                                                                                                                                      Awarded. Non-fellowships
2,075 T32GM145445   5T32GM145445-02     EMORY UNIVERSITY                 Graduate Training in the Pharmacological Sciences HALL, RANDY A              only                         2023/07/01   2028/06/30    $863,915     $863,915     $670,777    $439,487

                                        WEILL MEDICAL COLL OF CORNELL Noncanonical E2F Regulation in the Neuronal DNA
2,076 F30MH132311   5F30MH132311-02     UNIV                          Damage Response                                         ROSENTHAL, DAVID LEON Awarded. Fellowships only      2023/05/15   2026/05/14    $106,508     $106,508      $80,838     $53,894

                                                                                                                                                      Awarded. Non-fellowships
2,077 T32NS105608   2T32NS105608-06     DUKE UNIVERSITY                  Neurobiology Training Program                        MOONEY, RICHARD D       only                         2019/07/22   2029/06/30    $317,532     $317,532     $240,565    $317,532

                                                                         Physical Genomics and Engineering Training                                   Awarded. Non-fellowships
2,078 T32GM142604   5T32GM142604-04     NORTHWESTERN UNIVERSITY          Program                                              BACKMAN, VADIM          only                         2021/07/01   2026/06/30   $1,468,709   $1,468,709   $1,189,264   $439,487

                                                                                                                              STOOPS, WILLIAM         Awarded. Non-fellowships
2,079 T32DA035200   5T32DA035200-27     UNIVERSITY OF KENTUCKY           Research Training in Drug Abuse Behavior             WALTON                  only                         1998/08/01   2028/06/30    $555,722     $555,722     $469,642    $201,327

                                                                         Training in Multi-Modality Molecular and Transitional                        Awarded. Non-fellowships
2,080 T32HL098069   5T32HL098069-14     YALE UNIVERSITY                  Cardiovascular Imaging                                SINUSAS, ALBERT J      only                         2010/09/21   2026/06/30   $1,907,643   $1,907,643   $1,632,504   $436,400

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
2,081 T32NR008857   5T32NR008857-18     PITTSBURGH                       Technology Research in Chronic & Critical Illness    LEE, YOUNG JI           only                         2005/07/01   2027/06/30    $778,784     $778,784     $639,755    $210,922

                                                                         Duke Research Training Program in Surgical                                   Awarded. Non-fellowships
2,082 T32CA288316   1T32CA288316-01     DUKE UNIVERSITY                  Oncology                                             HARPOLE, DAVID H        only                         2024/07/01   2029/06/30    $181,243     $181,243      $97,324    $181,243

                                                                                                                                                      Awarded. Non-fellowships
2,083 T32AR065971   2T32AR065971-10     INDIANA UNIVERSITY INDIANAPOLIS Comprehensive Musculoskeletal Training Program        ROBLING, ALEXANDER G    only                         2015/07/01   2029/06/30    $315,531     $315,531     $283,163    $315,531

                                        NORTH CAROLINA STATE                                                                                          Awarded. Non-fellowships
2,084 T32ES007046   5T32ES007046-44     UNIVERSITY RALEIGH               Molecular Pathways to Pathogenesis in Toxicology     KULLMAN, SETH WILLIAM   only                         1977/07/01   2026/06/30    $782,699     $782,699     $907,563    $250,398

                                                                      Single-molecule dissection of a tumor- and virus-
                                        WEILL MEDICAL COLL OF CORNELL suppressing Smc complex involved in genome              CHANG, JEREMY TZU-
2,085 F30CA275379   5F30CA275379-03     UNIV                          maintenance                                             HUAI                    Awarded. Fellowships only    2022/07/11   2026/07/10    $158,420     $158,420     $140,309     $53,974

                                                                                                                                                      Awarded. Non-fellowships
2,086 T34GM149430   5T34GM149430-02     SAN DIEGO STATE UNIVERSITY       MARC at San Diego State University                   SOHL, CHRISTAL DYANE    only                         2023/06/01   2028/05/31    $578,145     $578,145     $460,654    $513,907

                                        ALBERT EINSTEIN COLLEGE OF                                                                                    Awarded. Non-fellowships
2,087 T32GM149364   5T32GM149364-02     MEDICINE                         Medical Scientist Training Program                   AKABAS, MYLES H         only                         2023/07/01   2028/06/30   $3,775,662   $3,775,662   $3,257,820 $1,917,949

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
2,088 T32MH018951   2T32MH018951-34     PITTSBURGH                       Child & Adolescent Mental Health Research            GOLDSTEIN, TINA R       only                         1990/08/01   2029/06/30    $367,681     $367,681     $355,861    $367,681

                                                                                                                                                      Awarded. Non-fellowships
2,089 T32DK007058   2T32DK007058-50     YALE UNIVERSITY                  Diabetes Mellitus and Disorders of Metabolism        WYSOLMERSKI, JOHN J     only                         1975/07/01   2029/06/30    $200,664     $200,664     $179,635    $200,664

                                                                         Bridging the Science-to-Service Gap in Aging Care:
                                        MASSACHUSETTS GENERAL            Prevention, Optimization and Living Well with                                Awarded. Non-fellowships
2,090 T32AG081327   5T32AG081327-02     HOSPITAL                         Persistent or Serious Illnesses                    RITCHIE, CHRISTINE S      only                         2023/06/01   2028/05/31    $539,944     $539,944     $315,527    $365,961

                                                                         TRAIN@wayne: Translational Research in Addiction                             Awarded. Non-fellowships
2,091 T32DA060139   1T32DA060139-01     WAYNE STATE UNIVERSITY           and Integrative Neuroscience                         GREENWALD, MARK K       only                         2024/07/01   2029/06/30    $238,968     $238,968      $72,196    $238,968

                                                                         Predoctoral Training Program in Biological Data      RAMACHANDRAN,           Awarded. Non-fellowships
2,092 T32GM149433   1T32GM149433-01A1   BROWN UNIVERSITY                 Science at Brown University                          SOHINI                  only                         2024/07/01   2029/06/30    $329,616     $329,616     $198,441    $329,616

                                                                                                                                                      Awarded. Non-fellowships
2,093 T32ES007141   2T32ES007141-41     JOHNS HOPKINS UNIVERSITY         Training Program in Environmental Health Sciences    WILLS-KARP, MARSHA      only                         1983/07/01   2029/06/30    $558,141     $558,141     $558,141    $558,141

                                        UNIVERSITY OF CALIFORNIA LOS     UCLA Medical Student Training in Aging Research                              Awarded. Non-fellowships
2,094 T35AG026736   5T35AG026736-20     ANGELES                          (MSTAR) Program                                      LEE, CATHY              only                         2005/06/01   2026/05/31    $673,067     $673,067     $654,960     $24,456

                                        BOSTON UNIVERSITY (CHARLES       Predictors of Speech Motor Sequence Learning in
2,095 F31DC020352   5F31DC020352-03     RIVER CAMPUS)                    Neurological Disorders                               MILLER, HILARY ELIZABETH Awarded. Fellowships only   2022/06/01   2025/05/31    $138,140     $138,140     $113,891     $47,214

                                        LSU PENNINGTON BIOMEDICAL                                                                                  Awarded. Non-fellowships
2,096 T32DK064584   2T32DK064584-21     RESEARCH CTR                     Training in Obesity Research                         REDMAN, LEANNE MAREE only                            2003/07/01   2029/05/31    $202,945     $202,945     $241,054    $202,945

                                        WEILL MEDICAL COLL OF CORNELL Training Program in Developmental and Stem Cell                                 Awarded. Non-fellowships
2,097 T32HD060600   5T32HD060600-15     UNIV                          Biology                                                 STUHLMANN, HEIDI        only                         2010/09/18   2026/04/30   $1,246,529   $1,246,529   $1,147,855   $256,106
                                                                        Health Policy Training Program: Promoting
                                                                        Outcomes, Quality, Equity and Diffusion of                                    Awarded. Non-fellowships
2,098 T32MH019733   2T32MH019733-29A1   HARVARD MEDICAL SCHOOL          Advances                                              HUSKAMP, HAIDEN A       only                        1993/09/01   2029/06/30    $395,710     $395,710     $188,513    $395,710

                                        UNIVERSITY OF ALABAMA AT        Predoctoral Training in Multifaceted Translational                            Awarded. Non-fellowships
2,099 T32MH129274   5T32MH129274-02     BIRMINGHAM                      Approach to Mental Illness                            LAHTI, ADRIENNE C       only                        2023/06/01   2028/05/31    $271,377     $271,377     $125,300    $187,388

                                                                        Host Defense Training in Allergy and Infectious                               Awarded. Non-fellowships
2,100 T32AI007044   5T32AI007044-49     UNIVERSITY OF WASHINGTON        Diseases                                              FREDRICKS, DAVID NEAL   only                        1976/07/01   2026/06/30   $3,659,772   $3,659,772   $2,012,599   $685,080

                                                                        Epigenetic and transcriptional consequences of
                                        ALBERT EINSTEIN COLLEGE OF      Intellectual Disability-associated mutations in the
2,101 F31GM146347   5F31GM146347-03     MEDICINE                        histone lysine demethylase KDM5.                      YHESKEL, MATANEL        Awarded. Fellowships only   2022/05/16   2026/05/15    $142,704     $142,704     $136,867     $48,974

                                                                                                                                                      Awarded. Non-fellowships
2,102 T32MH020021   2T32MH020021-26     UNIVERSITY OF WASHINGTON        Integrated Mental Health Fellowship                   FORTNEY, JOHN C         only                        1998/08/01   2029/06/30    $246,121     $246,121     $247,679    $246,121

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
2,103 T32MH018269   2T32MH018269-39     PITTSBURGH                      Clinical Research Training for Psychologists          LEVINE, MICHELE D       only                        1986/08/01   2029/06/30    $382,026     $382,026     $270,392    $382,026

                                                                                                                                                      Awarded. Non-fellowships
2,104 T32NS041231   2T32NS041231-21A1   GEORGETOWN UNIVERSITY           Predoctoral Training in Integrative Neuroscience      MALKOVA, LUDISE         only                        2001/07/15   2029/06/30    $296,510     $296,510     $131,560    $296,510

                                        HARVARD SCHOOL OF PUBLIC        Training Program in Comparative Effectiveness                                 Awarded. Non-fellowships
2,105 T32MH125815   5T32MH125815-03     HEALTH                          Research for Suicide Prevention                       HERNAN, MIGUEL          only                        2022/07/01   2027/06/30    $938,940     $938,940     $403,560    $302,903

                                                                        Local Sustained Delivery of Osteoprotegerin via
                                        UNIVERSITY OF CALIFORNIA, SAN   Hydroxyapatite Microparticles to Enhance Post-
2,106 F30DE031158   5F30DE031158-04     FRANCISCO                       Orthodontic Tooth Stability                           CUYLEAR, DARNELL        Awarded. Fellowships only   2021/07/01   2026/06/30    $196,956     $196,956     $189,257     $54,774

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
2,107 T32DA060142   1T32DA060142-01     ARBOR                           Postdoctoral Training in the Biology of Drug Abuse    TRAYNOR, JOHN R         only                        2024/07/01   2029/06/30    $505,633     $505,633     $296,743    $505,633

                                                                        Investigation of acute and long-term neuroimmune
                                                                        changes induced by early-life opioid exposure and
2,108 F31DA059211   5F31DA059211-02     UNIVERSITY OF PENNSYLVANIA      withdrawal                                        FERRANTE, JULIA RENEE       Awarded. Fellowships only   2023/06/01   2027/05/31     $96,668      $96,668      $91,312     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Advanced data analytics training for behavioral                               Awarded. Non-fellowships
2,109 T32MH122376   5T32MH122376-05     DIEGO                           and social sciences research                          HEKLER, ERIC            only                        2020/07/01   2025/06/30   $1,257,544   $1,257,544   $1,044,746   $199,826

                                        UNIVERSITY OF CALIFORNIA                                                                                      Awarded. Non-fellowships
2,110 T32GM146614   5T32GM146614-02     BERKELEY                        Biophysics Training Program                           HURLEY, JAMES H         only                        2023/07/01   2028/06/30   $1,243,481   $1,243,481   $1,023,589   $633,035

                                                                        Interactions of Alcohol and Pain in the Context of    FITZPATRICK-SCHMIDT,
2,111 F30AA030941   5F30AA030941-02     LSU HEALTH SCIENCES CENTER      HIV                                                   TAYLOR                  Awarded. Fellowships only   2023/07/01   2028/05/31     $95,102      $95,102      $72,136     $48,191

                                                                                                                                                      Awarded. Non-fellowships
2,112 T32DC000044   5T32DC000044-30     FLORIDA STATE UNIVERSITY        Chemosensory Training Program                         FADOOL, DEBRA ANN       only                        1995/07/01   2025/06/30   $1,269,444   $1,269,444   $1,217,778   $213,801

                                        VIRGINIA COMMONWEALTH           Extracellular Matrix Vesicles and Intercellular
2,113 F30AR081102   5F30AR081102-02     UNIVERSITY                      Communication of Osteoblast-lineage Cells             SKELTON, ANNE MICHELLE Awarded. Fellowships only    2023/06/01   2027/05/31     $88,588      $88,588      $78,955     $44,294

                                                                        An Investigation of Focal Adhesion Tension During
2,114 F31HL163921   5F31HL163921-03     UNIVERSITY OF WASHINGTON        Cardiomyocyte Contraction                             NAGLE, ABIGAIL          Awarded. Fellowships only   2022/07/01   2025/06/30    $124,220     $124,220     $113,180     $42,574

                                        BOSTON UNIVERSITY (CHARLES      Mechanisms of Neural Synchrony in the Medial          WILLIAMS, BRANDON
2,115 F31NS134309   5F31NS134309-02     RIVER CAMPUS)                   Entorhinal Cortex                                     DAVID                   Awarded. Fellowships only   2023/07/01   2025/09/30     $80,838      $80,838      $63,201     $41,059

                                                                                                                                                      Awarded. Non-fellowships
2,116 T32AI007313   5T32AI007313-35     UNIVERSITY OF MINNESOTA         Immunology Training Program                           HOGQUIST, KRISTIN A     only                        1989/09/30   2028/07/31    $600,866     $600,866     $394,833    $301,611

                                        ALBERT EINSTEIN COLLEGE OF      Training in HIV/AIDS Pathogenesis; Basic and                                  Awarded. Non-fellowships
2,117 T32AI007501   5T32AI007501-32     MEDICINE                        Translational Research                                PRASAD, VINAYAKA R      only                        1995/06/01   2025/07/31   $1,619,649   $1,619,649   $1,445,966   $350,287

                                        NORTHWESTERN UNIVERSITY AT      Immunology and Molecular Pathogenesis Training        THORP, EDWARD           Awarded. Non-fellowships
2,118 T32AI007476   5T32AI007476-27     CHICAGO                         Program                                               BENJAMIN                only                        1996/09/01   2028/08/31    $716,312     $716,312     $490,087    $364,704

                                                                        Neuroimmunology Training Program at the University                            Awarded. Non-fellowships
2,119 T32NS121727   5T32NS121727-03     UNIVERSITY OF CALIFORNIA-IRVINE of California, Irvine                              LANE, THOMAS E             only                        2022/07/01   2027/06/30    $506,762     $506,762     $418,614    $188,956
                                      UNIVERSITY OF COLORADO           Understanding the unique dependency for MCL1 in
2,120 F32CA275350   5F32CA275350-03   DENVER                           Ven/Aza resistant AML                           ALTHOFF, MARK JORDAN Awarded. Fellowships only           2022/07/13   2025/07/12    $223,180     $223,180     $205,474     $80,530

                                                                       Interdisciplinary Training in Biobehavioral Pain                             Awarded. Non-fellowships
2,121 T32NS070201   5T32NS070201-20   JOHNS HOPKINS UNIVERSITY         Research                                              SMITH, MICHAEL T       only                        2005/09/30   2025/06/30   $1,647,328   $1,647,328   $1,443,793   $258,421

                                                                                                                                                    Awarded. Non-fellowships
2,122 T32AI165391   5T32AI165391-03   OHIO STATE UNIVERSITY            Interdisciplinary Program in Microbe-Host Biology     WOZNIAK, DANIEL J      only                        2022/08/10   2027/07/31    $904,570     $904,570     $491,246    $275,597

                                      MASSACHUSETTS GENERAL                                                                                         Awarded. Non-fellowships
2,123 T32DK007028   5T32DK007028-50   HOSPITAL                         Training Program in Endocrinology                     MILLER, KAREN K        only                        1975/07/01   2025/06/30   $4,573,173   $4,573,173   $4,197,141   $921,056

                                                                                                                             VAN WIJNGAARDEN,       Awarded. Non-fellowships
2,124 TL1TR002000   5TL1TR002000-09   UNIVERSITY OF ROCHESTER          NRSA Training Core                                    EDWIN                  only                        2016/08/15   2026/06/30   $2,043,599   $2,043,599   $1,792,869   $364,537

                                                                       Structural Investigation of p120RasGAPs regulation
2,125 F31HL165968   5F31HL165968-03   YALE UNIVERSITY                  by phosphorylated binding partners                    VISH, KIMBERLY JEAN    Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $100,600     $48,974

                                      VANDERBILT UNIVERSITY MEDICAL                                                          GOLDENRING, JAMES      Awarded. Non-fellowships
2,126 T32CA106183   5T32CA106183-21   CENTER                           Surgical Oncology Training Grant                      RICHARD                only                        2004/09/30   2025/06/30   $1,571,433   $1,571,433   $1,523,676   $359,995

                                                                       Linking a prominent gut microbiome-derived            MAIER, NOLAN KENJI
2,127 F32GM149112   5F32GM149112-02   HARVARD MEDICAL SCHOOL           metabolite to host proteostasis                       KWAISUN                Awarded. Fellowships only   2023/08/01   2026/07/31    $151,756     $151,756     $120,596     $79,756

                                                                       Training in the Development of Novel Interventions
                                                                       for the Treatment of Neurological and                                        Awarded. Non-fellowships
2,128 T32NS115723   5T32NS115723-05   UNIVERSITY OF UTAH               Neurobehavioral Disorders                             KEEFE, KRISTEN A       only                        2020/07/15   2025/12/31   $1,130,707   $1,130,707    $939,985    $182,999

                                                                       Training Program on Innovative Approaches to                                 Awarded. Non-fellowships
2,129 T32NS121768   5T32NS121768-04   DREXEL UNIVERSITY                Spinal Cord Injury                                    BAAS, PETER W          only                        2021/07/01   2026/06/30    $848,693     $848,693     $774,183    $240,250

                                                                       The Role of Social Relationships in Behavioral Health
                                                                       Treatment-Seeking in Post-Maria Puerto Rican
2,130 F31MD017465   5F31MD017465-03   BOSTON COLLEGE                   Migrants                                              HODGES, JAMES          Awarded. Fellowships only   2022/08/01   2026/07/31     $95,420      $95,420      $81,915     $32,974

                                      COLUMBIA UNIVERSITY HEALTH                                                                                    Awarded. Non-fellowships
2,131 T32HL007854   5T32HL007854-29   SCIENCES                         Postdoctoral Training in Cardiovascular Disease       MARX, STEVEN O         only                        1996/07/01   2026/06/30   $3,422,484   $3,422,484   $2,729,788   $900,800

                                                                                                                             VERCELLOTTI, GREGORY   Awarded. Non-fellowships
2,132 T32HL007062   5T32HL007062-48   UNIVERSITY OF MINNESOTA          Hematology Research Training Program                  M                      only                        1982/07/01   2027/06/30   $1,620,236   $1,620,236   $1,193,007   $560,041

                                                                                                                                                    Awarded. Non-fellowships
2,133 T32NS115657   5T32NS115657-04   UNIVERSITY OF VIRGINIA           Brain, Immunology and Glia Training Program           HARRIS, TAJIE H        only                        2021/07/01   2026/06/30    $794,568     $794,568     $665,817    $208,724

                                                                       Isolating the role of endogenous mu-opioid activity   ZAMORANO, CATALINA
2,134 F31DA059186   5F31DA059186-02   UNIVERSITY OF WASHINGTON         in the VTA during natural reward                      ALEJANDRA              Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $95,568     $48,974

                                      UNIVERSITY OF CALIFORNIA, SAN    Brain Mechanisms Supporting Mindfulness
2,135 F32AT012587   5F32AT012587-02   DIEGO                            Meditation-Induced Pain and Stress Relief             DEAN, JON GREGORY      Awarded. Fellowships only   2023/08/01   2026/07/31    $146,256     $146,256     $112,174     $76,756

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
2,136 T32NS007222   5T32NS007222-42   ARBOR                            Training in Clinical and Basic Neuroscience           PAULSON, HENRY L       only                        1982/07/01   2028/06/30    $771,768     $771,768     $638,988    $476,529

                                      WEILL MEDICAL COLL OF CORNELL Elucidating how CRISPR-Cas Modulates the Spread
2,137 F30AI157535   5F30AI157535-04   UNIV                          of S. aureus Pathogenicity Islands                       BANH, DALTON VAN       Awarded. Fellowships only   2021/08/06   2025/08/05    $209,456     $209,456     $199,929     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                              Awarded. Non-fellowships
2,138 T32NS061847   5T32NS061847-15   DIEGO                            Neurosciences Graduate Training Program               BLOODGOOD, BRENDA L only                           2008/07/01   2025/06/30   $2,509,746   $2,509,746   $2,222,947   $483,504

                                                                       Patterns in Womens Unmet Sexual and
                                                                       Reproductive Healthcare Needs Over the Life           ANDERSON, ELIZABETH
2,139 F31HD110259   5F31HD110259-02   TRUSTEES OF INDIANA UNIVERSITY   Course                                                MARIE                  Awarded. Fellowships only   2023/06/05   2026/06/04     $96,668      $96,668      $88,077     $48,974
2,140 F31HD107999   5F31HD107999-03   NEW YORK UNIVERSITY              Adaptability in infant walking                        HOSPODAR, CHRISTINA M Awarded. Fellowships only    2022/07/15   2025/07/14     $98,050      $98,050      $66,051     $32,974

                                                                       Gendered Racism Profiles, Resilience, and High-Risk
2,141 F31MD018916   5F31MD018916-02   DUKE UNIVERSITY                  Pregnancies Among Black Women                       JAYNES, SHEWIT           Awarded. Fellowships only   2023/09/01   2025/08/31     $94,797      $94,797      $82,900     $44,603

                                      ICAHN SCHOOL OF MEDICINE AT      Training Program in Mechanisms of Virus-Host                               Awarded. Non-fellowships
2,142 T32AI007647   5T32AI007647-25   MOUNT SINAI                      Interactions                                          TORTORELLA, DOMENICO only                          2000/08/01   2025/07/31   $2,166,418   $2,166,418   $1,933,412   $455,803
                                      UNIVERSITY OF MARYLAND                                                                                     Awarded. Non-fellowships
2,143 T32AI162579   5T32AI162579-03   BALTIMORE                         Systems-Level Research in Microbial Pathogenesis   DUNNING HOTOPP, JULIE only                           2022/08/01   2027/07/31   $1,101,852   $1,101,852    $750,415    $335,411

                                      UNIVERSITY OF WISCONSIN-          Childhood Diabetes and Adiposity Research                                   Awarded. Non-fellowships
2,144 T32DK077586   5T32DK077586-15   MADISON                           Training Program (C-DART)                          LAI, HUICHUAN J          only                        2008/07/01   2025/06/30    $785,386     $785,386     $734,103    $156,563

                                      UNIVERSITY OF ALABAMA AT          Mechanisms of Hypertension and Cardiovascular                               Awarded. Non-fellowships
2,145 T32HL007457   5T32HL007457-44   BIRMINGHAM                        Diseases                                           YOUNG, MARTIN E          only                        1980/07/01   2026/06/30   $1,389,915   $1,389,915   $1,154,647   $367,128

                                      ARIZONA STATE UNIVERSITY-TEMPE    Research training in drug abuse prevention: closing                         Awarded. Non-fellowships
2,146 T32DA039772   5T32DA039772-09   CAMPUS                            the research-practice gap                           GONZALES, NANCY A       only                        2015/07/01   2026/06/30   $1,627,856   $1,627,856   $1,215,019   $435,673

                                                                        Methods and Logic in Molecular Biology Training                             Awarded. Non-fellowships
2,147 T32GM148739   5T32GM148739-02   PRINCETON UNIVERSITY              Program                                            DEVENPORT, DANELLE N     only                        2023/07/01   2028/06/30   $1,823,746   $1,823,746   $1,371,054   $934,462

                                                                                                                                                Awarded. Non-fellowships
2,148 T32HL007057   5T32HL007057-49   DUKE UNIVERSITY                   Hematology & Transfusion Medicine                  AREPALLY, GOWTHAMI M only                            1975/07/01   2026/06/30   $1,711,654   $1,711,654   $1,574,479   $503,190

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
2,149 T32CA009357   5T32CA009357-42   ARBOR                             Oncology Research Training Grant                   LI, QING                 only                        1980/07/01   2028/06/30    $761,757     $761,757     $740,699    $400,650

                                      UNIV OF MARYLAND, COLLEGE                                                                                     Awarded. Non-fellowships
2,150 T32AI089621   5T32AI089621-14   PARK                              Training in Host-Pathogen Interactions             MCIVER, KEVIN S          only                        2010/08/01   2026/07/31    $609,062     $609,062     $525,496    $147,676

                                      UNIVERSITY OF CALIFORNIA LOS      Designing novel therapeutics for Alzheimer’s disease
2,151 F30AG077832   5F30AG077832-02   ANGELES                           using structural studies of tau                      PAN, HOPE              Awarded. Fellowships only   2023/07/01   2026/06/30     $86,064      $86,064      $78,962     $43,830

                                      NEW YORK UNIVERSITY SCHOOL OF The role of ion channels and transporters in B cell
2,152 F30AI164803   5F30AI164803-03   MEDICINE                      function                                               TAO, ANTHONY             Awarded. Fellowships only   2022/07/17   2025/07/16    $158,420     $158,420     $105,352     $53,974

                                                                        Emory Training Program in Translational Research to                         Awarded. Non-fellowships
2,153 T32AI157855   5T32AI157855-04   EMORY UNIVERSITY                  End the HIV Epidemic                                KELLEY, COLLEEN F       only                        2021/08/25   2026/07/31   $1,925,123   $1,925,123   $1,287,408   $504,152

                                      PENNSYLVANIA STATE UNIV                                                                                       Awarded. Non-fellowships
2,154 TL1TR002016   5TL1TR002016-08   HERSHEY MED CTR                   J: Penn State NRSA Training Core                   THOMAS, GAIL D           only                        2016/09/12   2026/06/30   $1,522,115   $1,522,115   $1,119,219   $258,733

                                      UNIVERSITY OF CALIFORNIA, SAN     Investigating how long-term signals modulate
2,155 F31DK137586   5F31DK137586-02   FRANCISCO                         brainstem satiation circuits                       LY, TRUONG               Awarded. Fellowships only   2023/07/01   2026/06/30     $88,504      $88,504      $73,850     $44,892

                                                                                                                                                    Awarded. Non-fellowships
2,156 T32AI055413   5T32AI055413-20   BAYLOR COLLEGE OF MEDICINE        Research Training in Infection and Immunity        GIORDANO, THOMAS P       only                        2003/08/01   2025/06/30   $1,046,766   $1,046,766   $1,077,795   $193,453

                                      UNIVERSITY OF COLORADO                                                                                        Awarded. Non-fellowships
2,157 T32GM149361   5T32GM149361-02   DENVER                            Medical Scientist Training Program                 WILSON, CARA C           only                        2023/07/01   2028/06/30   $2,123,810   $2,123,810   $1,829,081 $1,078,847

                                      UNIVERSITY OF CALIFORNIA SANTA                                                                             Awarded. Non-fellowships
2,158 T32HG012344   5T32HG012344-03   CRUZ                           UCSC Graduate Program in Genome Sciences              VOLLMERS, CHRISTOPHER only                           2022/07/01   2027/06/30    $953,494     $953,494     $953,494    $327,396

                                                                        Strategies for Acinetobacter baumannii to Maintain
2,159 F31AI169971   5F31AI169971-03   VANDERBILT UNIVERSITY             Zinc Homeostasis                                   MILLER, JEANETTE MARIE   Awarded. Fellowships only   2022/07/01   2025/06/30     $99,122      $99,122      $89,491     $34,208

                                                                        Clinical Research and Epidemiology in Diabetes                              Awarded. Non-fellowships
2,160 T32DK062707   5T32DK062707-22   JOHNS HOPKINS UNIVERSITY          and Endocrinology                                  BROWN, TODD T            only                        2002/09/30   2028/06/30   $1,052,979   $1,052,979    $824,448    $543,767

                                      UNIV OF NORTH CAROLINA                                                               REBULI, MEGHAN           Awarded. Non-fellowships
2,161 T32ES007126   5T32ES007126-42   CHAPEL HILL                       Pre- and Postdoctoral Training in Toxicology       ELIZABETH                only                        1982/07/01   2028/06/30   $1,226,861   $1,226,861    $982,264    $593,944

                                                                                                                                                    Awarded. Non-fellowships
2,162 T32CA275777   5T32CA275777-02   EMORY UNIVERSITY                  T32 Training Program in Cancer Biology             YU, DAVID SUNG-WEN       only                        2023/07/01   2028/06/30    $521,507     $521,507     $354,984    $355,227

                                                                                                                                                    Awarded. Non-fellowships
2,163 T32MH019112   5T32MH019112-33   UNIVERSITY OF PENNSYLVANIA        Psychosis: A Convergent Neuroscience Perspective GUR, RAQUEL E              only                        1993/07/01   2025/07/31   $1,860,485   $1,860,485   $1,708,141   $414,991

                                      MEDICAL UNIVERSITY OF SOUTH       Basic & Translational Research Training in Traumatic DANIELSON, CARLA       Awarded. Non-fellowships
2,164 T32MH018869   5T32MH018869-37   CAROLINA                          Stress Across the Lifespan                           KMETT                  only                        1988/01/01   2028/06/30    $771,740     $771,740     $622,763    $377,097

                                                                                                                           FORCELLI, PATRICK        Awarded. Non-fellowships
2,165 T32GM142520   5T32GM142520-03   GEORGETOWN UNIVERSITY             Pharmacological Sciences Training Program (PSTP)   ALEXANDER                only                        2022/07/01   2027/06/30    $804,045     $804,045     $613,298    $329,616

                                      PENNSYLVANIA STATE UNIV           Viral and Host Determinants of Endosomal
2,166 F31AI164874   5F31AI164874-03   HERSHEY MED CTR                   Trafficking during HBV Infection                   MCGINLEY, MEGAN          Awarded. Fellowships only   2022/08/01   2025/07/31    $111,881     $111,881      $70,578     $38,878
                                      MEDICAL UNIVERSITY OF SOUTH       T-COHR: Training in Craniofacial and Oral Health                                 Awarded. Non-fellowships
2,167 T32DE017551   5T32DE017551-19   CAROLINA                          Research                                                 YAO, HAI                only                        2006/07/01   2026/06/30   $2,540,695   $2,540,695   $1,820,960   $671,834

                                      MASSACHUSETTS GENERAL             Integrated, Multidisciplinary Training in                                        Awarded. Non-fellowships
2,168 T32HL007208   5T32HL007208-47   HOSPITAL                          Cardiovascular Research                                  SOSNOVIK, DAVID E       only                        1993/07/01   2028/06/30   $1,344,600   $1,344,600   $1,292,235   $561,820

                                                                        Child Health Equity Research Program for Post-                                 Awarded. Non-fellowships
2,169 T32HD101397   5T32HD101397-05   UNIVERSITY OF WASHINGTON          doctoral Trainees.                                       COKER, TUMAINI RUCKER only                          2020/05/01   2026/04/30   $1,598,162   $1,598,162   $1,183,048   $346,687

                                      UNIVERSITY OF COLORADO            Not so sweet: Investigating the role of c-Kit in sweet
2,170 F31DC020634   5F31DC020634-03   DENVER                            cell homeostasis                                         PIAROWSKI, CHRISTINA M Awarded. Fellowships only    2022/07/01   2025/06/30    $108,071     $108,071      $97,592     $37,191

                                      UNIVERSITY OF MICHIGAN AT ANN     Multidisciplinary Alcoholism Research Training                                   Awarded. Non-fellowships
2,171 T32AA007477   5T32AA007477-33   ARBOR                             Program                                                  BLOW, FREDERIC C        only                        1990/07/01   2025/06/30   $1,783,788   $1,783,788   $1,497,189   $440,945

                                      ICAHN SCHOOL OF MEDICINE AT                                                                                        Awarded. Non-fellowships
2,172 T32GM146636   5T32GM146636-03   MOUNT SINAI                       Mount Sinai Medical Scientist Training Program           SWARTZ, TALIA H         only                        2022/07/01   2027/06/30   $4,200,614   $4,200,614   $3,306,169 $1,438,462

                                                                        Translational Post-doctoral Training in                  NELSON, CHARLES         Awarded. Non-fellowships
2,173 T32MH112510   5T32MH112510-08   BOSTON CHILDREN'S HOSPITAL        Neurodevelopment                                         ALEXANDER               only                        2017/07/01   2027/06/30    $811,852     $811,852     $714,413    $326,628

                                      WEILL MEDICAL COLL OF CORNELL                                                                                      Awarded. Non-fellowships
2,174 T32AI007613   5T32AI007613-25   UNIV                          Research Training in Infectious Diseases                     GULICK, ROY M           only                        1999/07/01   2026/06/30   $2,086,094   $2,086,094   $1,941,756   $431,304
2,175 F31AG082505   5F31AG082505-02   UNIVERSITY OF SOUTH FLORIDA       DnaJB6 as a novel regulator of tau                       ESQUIVEL, ABIGAIL       Awarded. Fellowships only   2023/08/14   2026/08/13     $77,279      $77,279      $53,389     $39,373

                                      UNIVERSITY OF WISCONSIN-                                                                                           Awarded. Non-fellowships
2,176 T32HG002760   5T32HG002760-22   MADISON                           Institutional Training in the Genomic Sciences           LU, QIONGSHI            only                        2003/07/01   2028/06/30   $1,678,608   $1,678,608   $1,409,662   $782,571

                                      UNIVERSITY OF ILLINOIS AT URBANA-                                                                                  Awarded. Non-fellowships
2,177 T32EB019944   5T32EB019944-09   CHAMPAIGN                         Tissue microenvironment (TIMe) training program          BHARGAVA, ROHIT         only                        2016/04/01   2026/05/31    $793,596     $793,596     $552,333    $166,150

                                                                        Alcohol Intervention Treatment Outcome Research                                  Awarded. Non-fellowships
2,178 T32AA007459   5T32AA007459-39   BROWN UNIVERSITY                  Training                                        MIRANDA, ROBERT                  only                        1986/08/01   2026/06/30   $1,922,165   $1,922,165   $1,620,993   $525,277

                                                                        Interdisciplinary Predoctoral Training in Molecular                              Awarded. Non-fellowships
2,179 T32GM145437   5T32GM145437-03   UNIVERSITY OF COLORADO            Biophysics                                               FALKE, JOSEPH J         only                        2022/07/01   2027/06/30   $1,560,963   $1,560,963   $1,279,793   $569,135

                                                                                                                                                         Awarded. Non-fellowships
2,180 TL1TR001431   5TL1TR001431-10   GEORGETOWN UNIVERSITY             Translational Biomedical Science Training Grant          SANDBERG, KATHRYN L     only                        2015/08/28   2026/03/31   $1,992,478   $1,992,478   $1,970,596   $542,462

                                                                        Molecular biophysics predoctoral training at the                                 Awarded. Non-fellowships
2,181 T32GM144293   5T32GM144293-03   OHIO STATE UNIVERSITY             Ohio State University                                    BUNDSCHUH, RALF A       only                        2022/07/01   2027/06/30    $672,009     $672,009     $436,009    $296,202

                                      FRED HUTCHINSON CANCER                                                                                             Awarded. Non-fellowships
2,182 T32CA009351   5T32CA009351-47   CENTER                            Pediatric Oncology Research Training Program             MESHINCHI, SOHEIL       only                        1979/08/01   2027/06/30   $1,028,188   $1,028,188    $512,679    $327,376

                                                                        Training Program in Integrative Developmental                                    Awarded. Non-fellowships
2,183 T32HD007475   5T32HD007475-30   TRUSTEES OF INDIANA UNIVERSITY    Process                                                  SMITH, LINDA B          only                        1995/07/01   2026/04/30   $2,227,732   $2,227,732   $2,120,978   $501,756

                                      GEORGIA INSTITUTE OF              Synthetic Hydrogels for Islet Vascularization and
2,184 F31DK135375   5F31DK135375-02   TECHNOLOGY                        Engraftment                                              QUIZON, MICHELLE        Awarded. Fellowships only   2023/08/16   2025/08/15     $96,668      $96,668           $0     $48,974

                                      UNIVERSITY OF SOUTH CAROLINA      Behavioral-Biomedical Interface: Translational and                               Awarded. Non-fellowships
2,185 T32GM145226   5T32GM145226-02   AT COLUMBIA                       Prevention Sciences Training                             PRINZ, RONALD J         only                        2023/07/01   2028/06/30    $539,948     $539,948     $417,193    $274,680

                                      PENNSYLVANIA STATE UNIVERSITY,    Molecular Machines Mechanism and Structure               HANCOCK, WILLIAM        Awarded. Non-fellowships
2,186 T32GM149417   5T32GM149417-02   THE                               (M3S) Training Program                                   OLAF                    only                        2023/07/01   2028/06/30    $534,760     $534,760     $384,615    $325,374

                                                                        Integrated Clinical and Basic Endocrinology              MIRMIRA,                Awarded. Non-fellowships
2,187 T32DK007011   5T32DK007011-50   UNIVERSITY OF CHICAGO             Research                                                 RAGHAVENDRA G           only                        1975/07/01   2026/06/30    $779,608     $779,608     $770,634    $286,364

                                                                                                                                                         Awarded. Non-fellowships
2,188 T32GM139774   5T32GM139774-04   WASHINGTON UNIVERSITY             Training Program in Cellular and Molecular Biology       TRUE-KROB, HEATHER L    only                        2021/07/01   2026/06/30   $4,593,346   $4,593,346   $4,033,392 $1,208,590

                                      UNIVERSITY OF CALIFORNIA, SAN     Surgical Oncologists as Scientists (SOAS) Training                               Awarded. Non-fellowships
2,189 T32CA275782   5T32CA275782-02   DIEGO                             Program                                                  SICKLICK, JASON KEITH   only                        2023/07/01   2028/06/30    $538,943     $538,943     $133,243    $368,648

                                      MASSACHUSETTS GENERAL             Postgraduate Training Program in Medical Imaging                                 Awarded. Non-fellowships
2,190 T32EB013180   5T32EB013180-13   HOSPITAL                          (PTPMI)                                                  CATANA, CIPRIAN         only                        2011/07/01   2027/06/30    $786,660     $786,660     $528,767    $245,228

                                                                                                                                                         Awarded. Non-fellowships
2,191 T32TR004418   5T32TR004418-02   TUFTS UNIVERSITY BOSTON           CTSA Postdoctoral T32 at Tufts University                KENT, DAVID M           only                        2023/07/01   2028/06/30   $1,075,091   $1,075,091    $557,885    $553,546
                                        UNIVERSITY OF TEXAS MED BR        Physician-Scientist Training in Emerging Infectious                           Awarded. Non-fellowships
2,192 T32AI155385   5T32AI155385-04     GALVESTON                         Diseases                                              MELBY, PETER C          only                        2021/09/22   2026/08/31    $567,887     $567,887     $242,925    $102,304

                                        UNIV OF NORTH CAROLINA            The Genetic Epidemiology of Heart, Lung, and                                  Awarded. Non-fellowships
2,193 T32HL129982   5T32HL129982-09     CHAPEL HILL                       Blood Traits Training Grant (GenHLB)                  NORTH, KARI E           only                        2016/06/01   2026/05/31   $1,470,925   $1,470,925   $1,296,773   $354,722

                                        WEILL MEDICAL COLL OF CORNELL In vivo characterization of keratinocytes in the
2,194 F30CA265124   5F30CA265124-04     UNIV                          melanoma microenvironment                                 MA, YILUN               Awarded. Fellowships only   2021/07/01   2025/06/30    $206,302     $206,302     $188,199     $53,974

                                                                                                                                                        Awarded. Non-fellowships
2,195 T32DK007120   5T32DK007120-50     WASHINGTON UNIVERSITY             Diabetes and Related Metabolic Diseases               SEMENKOVICH, CLAY F     only                        1975/07/01   2025/06/30   $4,087,320   $4,087,320   $3,823,273 $1,010,582

                                                                          Translational Research Training Program in                                    Awarded. Non-fellowships
2,196 T32ES019851   5T32ES019851-13     UNIVERSITY OF PENNSYLVANIA        Environmental Health Sciences                         PENNING, TREVOR M       only                        2012/07/01   2027/06/30   $1,439,165   $1,439,165   $1,169,755   $500,124

                                                                          Function of GATA3-PARP1 complex in breast cancer
2,197 F31GM146427   5F31GM146427-02     UNIVERSITY OF NORTH DAKOTA        during GATA3-mediated cellular reprogramming     COOPER, MIKHALA              Awarded. Fellowships only   2023/05/23   2025/11/22     $96,668      $96,668      $69,748     $48,974
2,198 F32AI183661   1F32AI183661-01     CEDARS-SINAI MEDICAL CENTER       Defining the role of PSTPIP2 in neutrophil biology    RATITONG, BRIDGET       Awarded. Fellowships only   2024/12/18   2027/12/17     $73,828      $73,828      $24,255     $73,828

                                                                          Structural and functional responses of nucleus
                                        UNIV OF NORTH CAROLINA            accumbens microglia following long-access             BELLINGER, TANIA
2,199 F31DA060688   1F31DA060688-01     CHAPEL HILL                       cocaine self-administration                           JAZMINE                 Awarded. Fellowships only   2024/08/01   2027/07/31     $40,441      $40,441      $30,280     $40,441

                                        UNIVERSITY OF SOUTH CAROLINA      Emotion Regulation in Children with Developmental
2,200 F31DC021877   1F31DC021877-01     AT COLUMBIA                       Language Disorder                                 BERRIER, TAYLOR BRYANT Awarded. Fellowships only        2024/06/01   2027/05/31     $48,974      $48,974      $37,452     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN     Immunoregulatory biomaterials for modulating          JOHNSON, WADE
2,201 F31AR083236   1F31AR083236-01A1   DIEGO                             arthritis flares                                      TRUMAN                  Awarded. Fellowships only   2024/08/19   2026/08/18     $41,566      $41,566      $28,347     $41,566

                                                                          Lrfn2 as a Novel Resilience Factor to Protect Against
                                                                          Alzheimers Disease-Related Cortical
2,202 F31AG087702   1F31AG087702-01     JACKSON LABORATORY                Neurodegeneration                                     GURDON, BRIANNA         Awarded. Fellowships only   2024/07/01   2026/06/30     $68,016      $68,016      $23,082     $34,008

                                                                          Decoding Selective Vulnerability: Effectors and
                                                                          Regulators of Tau Lesion Spread in Alzheimers         AYOUB, CHRISTOPHER
2,203 F30AG072804   5F30AG072804-03     OHIO STATE UNIVERSITY             Disease                                               ANTHONY                 Awarded. Fellowships only   2022/09/01   2026/08/31    $133,999     $133,999      $80,025     $53,974

                                        COLUMBIA UNIVERSITY HEALTH        Mechanisms of reverse transcriptase mediated
2,204 F30AI183830   1F30AI183830-01     SCIENCES                          phage resistance in Enterobacteriaceae                TANG, STEPHEN           Awarded. Fellowships only   2024/07/01   2027/06/30     $50,937      $50,937      $50,937     $50,937

                                                                          Neural Processing of Native and Prosthetic            LEAVITT, OLIVIA MARIE
2,205 F31DC020390   5F31DC020390-03     JOHNS HOPKINS UNIVERSITY          Vestibular Signals for Postural Control               ELAINE                  Awarded. Fellowships only   2022/09/01   2025/08/31    $127,420     $127,420     $114,895     $32,974

                                                                          Research Training in Neuroendocrinology and                                   Awarded. Non-fellowships
2,206 T32DK007646   5T32DK007646-32     UNIVERSITY OF VIRGINIA            Metabolism                                            LIU, ZHENQI             only                        1990/09/01   2027/06/30    $917,703     $917,703     $444,893    $370,157

                                        UNIVERSITY OF PITTSBURGH AT       Astrocyte-mediated regulation of cocaine-
2,207 F31DA056213   5F31DA056213-02     PITTSBURGH                        generated synapses during cocaine seeking             ZINSMAIER, ALEXANDER    Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $58,617     $48,974

                                        GEORGIA INSTITUTE OF              The Structural and Biochemical Effects of XFG-        YOUNGBLOOD, HANNAH
2,208 F32EY036268   1F32EY036268-01     TECHNOLOGY                        Associated Variants in LOXL1                          ABIGAIL            Awarded. Fellowships only        2024/09/01   2027/08/31     $74,284      $74,284      $42,521     $74,284

                                                                          Biosynthesis of Several Oxyvinylglycine
                                        UNIV OF NORTH CAROLINA            Nonproteinogenic Amino Acids Bearing Unusual          TUREK-HERMAN, JOSHUA
2,209 F32GM151822   5F32GM151822-02     CHAPEL HILL                       Alkoxyamine Bonds                                     RAY                     Awarded. Fellowships only   2023/08/01   2026/07/31    $142,512     $142,512     $107,599     $73,828

                                                                          Training Program in Free Radical and Radiation                                Awarded. Non-fellowships
2,210 T32CA078586   5T32CA078586-25     UNIVERSITY OF IOWA                Biology                                               SPITZ, DOUGLAS ROBERT   only                        1999/07/01   2025/07/31   $1,624,599   $1,624,599   $1,521,383   $360,199

                                                                          Protective Behavioral Strategies on Alcohol and
2,211 F31AA031602   1F31AA031602-01     UNIVERSITY OF RHODE ISLAND        Cannabis Co-Use Occasions                             TODARO, SABRINA         Awarded. Fellowships only   2024/05/20   2026/05/19     $48,974      $48,974      $48,475     $48,974

                                                                          An integrative multisite study of the influence of
                                                                          socioeconomic disparities on hippocampal
2,212 F32HD108960   5F32HD108960-03     WAYNE STATE UNIVERSITY            subfields developmental trajectories                  CANADA, KELSEY LEIGH    Awarded. Fellowships only   2022/08/01   2025/07/31    $224,143     $224,143     $192,493     $78,892

                                        UNIVERSITY OF COLORADO            Dissecting Modes of Dopamine Transmission and         MCGREGOR, MATTHEW
2,213 F32DA060556   1F32DA060556-01     DENVER                            Their Roles in Reward Related Behaviors               M                       Awarded. Fellowships only   2024/08/01   2027/07/31     $74,284      $74,284      $49,971     $74,284
                                        UNIVERSITY OF CALIFORNIA SANTA Dissecting the role of Erk signaling dynamics in
2,214 F31HD108952   5F31HD108952-03     BARBARA                        positioning and coordinating germ layer fates            BAXTER, NAOMI JESSIE   Awarded. Fellowships only   2022/09/01   2025/08/31    $121,111     $121,111     $108,591     $41,792

                                                                          Renal Afferent Nerve Circuitry and Pathogenesis on DAILEY-KREMPEL,
2,215 F31DK139599   1F31DK139599-01     UNIVERSITY OF MINNESOTA           Blood Pressure Regulation                          BRIANNA                   Awarded. Fellowships only   2024/09/03   2027/09/02     $38,538      $38,538      $29,475     $38,538

                                        COLD SPRING HARBOR                A surrogate modeling framework for interpreting
2,216 F32HG013265   1F32HG013265-01A1   LABORATORY                        deep neural networks in functional genomics           SEITZ, EVAN ELLIOTT    Awarded. Fellowships only   2024/06/01   2027/05/31     $77,284      $77,284      $71,331     $77,284

                                                                          Superwoman Coping: A multi-level analysis of self-
                                                                          management behaviors and cardiovascular
                                                                          disease risk among Black women with systemic
2,217 F31AR084335   1F31AR084335-01     EMORY UNIVERSITY                  lupus erythematosus                                   LEUNG, JERIK           Awarded. Fellowships only   2024/06/01   2027/05/31     $48,974      $48,974      $38,879     $48,974


                                                                          ABL kinase inhibition sensitizes SCLC to dysregulation
2,218 F31CA290817   1F31CA290817-01     DUKE UNIVERSITY                   of metabolic pathways leading to cell death            BARBIER, ROBERTO HUGO Awarded. Fellowships only   2024/06/01   2026/05/31     $41,798      $41,798      $39,446     $41,798

                                        VIRGINIA POLYTECHNIC INST AND     Investigating REDD1 as a mediator of cardiac insulin
2,219 F31HL174075   1F31HL174075-01     ST UNIV                           resistance                                           WHEELER, MASON          Awarded. Fellowships only   2024/09/10   2027/09/09     $42,503      $42,503      $28,391     $42,503

                                                                          Identification of BAIAP2 and CDC42 as potential
2,220 F31CA291046   1F31CA291046-01     GEORGETOWN UNIVERSITY             therapeutic targets in SHH medulloblastoma            RUIZ, LUZ CLARITA      Awarded. Fellowships only   2024/09/14   2027/09/13     $36,274      $36,274      $28,839     $36,274

                                        NEW YORK UNIVERSITY SCHOOL OF                                                                                  Awarded. Non-fellowships
2,221 T32GM136542   5T32GM136542-05     MEDICINE                      Training Program in Cell Biology                          SMITH, SUSAN           only                        2020/07/01   2025/06/30   $3,027,492   $3,027,492   $2,768,579   $602,794

                                        UNIVERSITY OF MICHIGAN AT ANN     Exploring the Role of DMBT1 Suppression in Invasion
2,222 F30DE031940   5F30DE031940-03     ARBOR                             of Oral Cancer                                        DANELLA, ERIKA BUNNINE Awarded. Fellowships only   2022/09/01   2027/08/31    $160,820     $160,820     $160,820     $54,774

                                                                          Spatiotemporal models of neural coding in the
2,223 F31DC021883   1F31DC021883-01     UNIVERSITY OF CHICAGO             vestibular periphery                                  LUTZ, OLIVIA           Awarded. Fellowships only   2024/04/01   2027/06/21     $48,974      $48,974      $32,779     $48,974

                                                                          Bridges to the Baccalaureate Research Training
                                                                          Program at Howard University and Baltimore City                              Awarded. Non-fellowships
2,224 T34GM142610   5T34GM142610-03     HOWARD UNIVERSITY                 Community College                                     ANDRISSE, STANLEY      only                        2022/08/09   2027/07/31    $802,370     $802,370     $335,501    $320,074

                                        UNIVERSITY OF WISCONSIN-                                                           SURESH,                     Awarded. Non-fellowships
2,225 T32OD010423   5T32OD010423-18     MADISON                           Comparative Biomedical Sciences Training Program MARULASIDDAPPA              only                        2007/07/01   2027/08/31   $1,120,146   $1,120,146    $650,636    $333,767

                                        COLUMBIA UNIVERSITY HEALTH        Epigenetic and Neuronal Mechanisms of MECP2
2,226 F30HD115371   1F30HD115371-01     SCIENCES                          Reactivation to rescue Rett Syndrome                  PAN, RICHARD LI CHENG Awarded. Fellowships only    2024/09/16   2028/09/15     $50,414      $50,414      $50,414     $50,414

                                                                     Leveraging the Gastric Submucosa as a Host for             OWYANG, STEPHANIE
2,227 F32DK139701   1F32DK139701-01     BRIGHAM AND WOMEN'S HOSPITAL Cell Therapies                                             YUEN                   Awarded. Fellowships only   2024/07/01   2026/06/30     $83,932      $83,932      $56,972     $83,932

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                  Awarded. Non-fellowships
2,228 TL1TR001871   5TL1TR001871-09     FRANCISCO                         NRSA Training Core                                    KANAYA, ALKA M         only                        2016/07/18   2026/06/30   $2,615,884   $2,615,884   $3,144,970   $854,108

                                                                          Role of the gut microbiome in prolonged pain
                                        UNIVERSITY OF MIAMI SCHOOL OF     hypersensitivity following neonatal morphine
2,229 F31DA059204   1F31DA059204-01A1   MEDICINE                          exposure                                              ANTOINE, DANIELLE      Awarded. Fellowships only   2024/07/01   2026/06/30     $48,974      $48,974      $38,501     $48,974

                                                                          The role of mesothelial-derived cancer-associated
                                        UNIVERSITY OF MICHIGAN AT ANN     fibroblasts in the pathogenesis of pancreatic ductal
2,230 F31CA284505   1F31CA284505-01A1   ARBOR                             adenocarcinoma                                       BISCHOFF, ALLISON       Awarded. Fellowships only   2024/09/01   2028/08/31     $47,335      $47,335      $35,276     $47,335

                                                                          Mechanisms of cyst progression driven by Na,K-
                                        UNIVERSITY OF KANSAS MEDICAL      ATPase in autosomal dominant polycystic kidney
2,231 F30DK137438   1F30DK137438-01A1   CENTER                            disease (ADPKD).                                      TRANT, JORDAN          Awarded. Fellowships only   2024/08/04   2028/08/03     $37,313      $37,313      $27,410     $37,313

                                                                          Impact of transposable elements on cis-regulatory
2,232 F31AI183775   1F31AI183775-01     CORNELL UNIVERSITY                variation in T cell activation                        CHOBIRKO, JASON D      Awarded. Fellowships only   2024/05/21   2026/05/20     $45,454      $45,454      $45,082     $45,454

                                        UNIVERSITY OF CALIFORNIA LOS      UCLA and Caltech integrated Cardiovascular                                   Awarded. Non-fellowships
2,233 T32HL144449   5T32HL144449-05     ANGELES                           Medicine for Bioengineers (iCMB)                      HSIAI, TZUNG K         only                        2020/07/01   2025/06/30   $1,161,883   $1,161,883    $893,205    $109,304

                                        UNIVERSITY OF PITTSBURGH AT       Microglia and S1PR1 Signaling in Multiple Sclerosis
2,234 F31NS125974   5F31NS125974-03     PITTSBURGH                        Associated Neuropathic Pain                           LAMERAND, SYDNEY       Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $102,750     $48,974
                                                                        Multilevel analysis of the bidirectional effects of
2,235 F31MH135695   1F31MH135695-01A1   UNIVERSITY OF DELAWARE          cognition and psychopathology over time                 STUMPS, ANNA           Awarded. Fellowships only   2024/09/01   2027/08/31     $44,416      $44,416     $15,288    $44,416

                                        UNIV OF NORTH CAROLINA          Dose control of recombinant Adeno-associated
2,236 F31AI179044   1F31AI179044-01A1   CHAPEL HILL                     virus with Chemical Epigenetic Modifiers                WASSERMAN, SARA ROSE Awarded. Fellowships only     2024/08/12   2026/08/11     $40,277      $40,277     $30,012    $40,277

                                                                        Temporal prediction and social function: Modeling
                                                                        neural and behavioral correlates of making
                                        VANDERBILT UNIVERSITY MEDICAL   predictions in time across typically-developing and
2,237 F32MH134612   1F32MH134612-01A1   CENTER                          austistic adults                                    FRAM, NOAH ROY             Awarded. Fellowships only   2024/08/01   2027/07/31     $78,328      $78,328     $62,110    $78,328

                                                                        The adolescent development of top-down
2,238 F31EY036279   1F31EY036279-01     GEORGIA STATE UNIVERSITY        feedback for visual processing                          RADER GROVES, ANNA     Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974     $24,305    $48,974

                                                                        Elucidating the distinct roles of T cell-polarized
                                        SALK INSTITUTE FOR BIOLOGICAL   microglia in glioblastoma suppression and               GARCIA-RIVERA,
2,239 F31CA284773   5F31CA284773-02     STUDIES                         progression                                             LIZMARIE               Awarded. Fellowships only   2023/08/01   2027/06/30     $81,652      $81,652     $65,188    $41,466

                                                                        Cerebral oxygen extraction efficiency in patients
2,240 F31HL174137   1F31HL174137-01     VANDERBILT UNIVERSITY           with sickle cell anemia                                 SONG, ALEXANDER K      Awarded. Fellowships only   2024/09/01   2026/08/31     $34,370      $34,370     $21,670    $34,370

                                                                        Defining the roles for the sequence-non-specific
                                                                        DNA-binding domains in mammalian SWI/SNF
                                                                        chromatin remodeling complex assembly and               LIEBERMAN, WHITNEY
2,241 F31CA290929   1F31CA290929-01     HARVARD UNIVERSITY              function                                                KATE                   Awarded. Fellowships only   2024/07/01   2027/06/30     $41,656      $41,656     $36,952    $41,656

                                                                        Top-Down Control of Isolation-Induced Aggression
2,242 F31MH131359   5F31MH131359-03     UNIVERSITY OF UTAH              Through mPFC Tac2+ Interneurons                         GATLIN, RACHEL         Awarded. Fellowships only   2022/08/01   2025/07/31    $113,765     $113,765    $104,249    $39,089

                                                                                                                                BATCHELOR, HANNAH
2,243 F30EY034380   5F30EY034380-03     YALE UNIVERSITY                 Plasticity of cortical networks during learning         MARIE                  Awarded. Fellowships only   2022/09/16   2026/09/15    $124,190     $124,190     $76,460    $35,974

                                                                        From visual snapshots to allocentric representations
2,244 F32EY036266   1F32EY036266-01     UNIVERSITY OF PENNSYLVANIA      of a 3D world                                           SHAFER-SKELTON, ANNA   Awarded. Fellowships only   2024/08/01   2027/07/31     $74,284      $74,284     $54,252    $74,284
2,245 F32HL170716   1F32HL170716-01A1   STANFORD UNIVERSITY             Stem Cell Model of Varicose Veins                       NOISHIKI, CHIKAGE      Awarded. Fellowships only   2024/07/01   2025/06/30     $86,488      $86,488     $64,445    $86,488

                                                                        Bridges to the Baccalaureate Research Training                                Awarded. Non-fellowships
2,246 T34GM142620   5T34GM142620-02     UNIVERSITY OF IDAHO             Program T34                                             WAYNANT, KRISTOPHER V only                         2023/08/01   2028/07/31    $300,857     $300,857    $156,658   $202,241

                                        NORTH CAROLINA STATE            Loaded Fibrin-Specific Nanogels for Sepsis-Induced
2,247 F30HL173962   1F30HL173962-01     UNIVERSITY RALEIGH              DIC                                                     LUTZ, HALLE            Awarded. Fellowships only   2024/09/30   2028/09/29     $40,354      $40,354     $26,423    $40,354
2,248 F31DE033884   1F31DE033884-01     UNIVERSITY OF ARIZONA           HPV Attenuation of the cGAS/STING Pathway               TOBEY, ISABELLE        Awarded. Fellowships only   2024/09/01   2026/08/31     $42,094      $42,094     $32,174    $42,094

                                                                        Mapping and Modeling the Spatial Topography of
2,249 F31NS134135   1F31NS134135-01A1   UNIVERSITY OF WASHINGTON        Tactile Neural Circuits in Drosophila                   ELABBADY, LEILA        Awarded. Fellowships only   2024/06/16   2027/02/16     $48,974      $48,974     $40,288    $48,974

                                                                        Adolescent alcohol and cannabis transitions:
                                                                        Associations with multidimensional SES and
2,250 F31AA031163   1F31AA031163-01A1   UNIVERSITY OF RHODE ISLAND      cannabis policy                                         KENYON, EMILY A        Awarded. Fellowships only   2024/05/20   2026/05/19     $48,974      $48,974     $48,711    $48,974

                                        ALBERT EINSTEIN COLLEGE OF      Training in Intellectual and Developmental              WALKLEY, STEVEN        Awarded. Non-fellowships
2,251 T32HD098067   5T32HD098067-05     MEDICINE                        Disabilities (IDD) Research                             UPSHAW                 only                        2020/05/01   2026/04/30   $1,317,302   $1,317,302   $764,376    $83,693

                                                                        University of Miami kidney Innovative &
                                        UNIVERSITY OF MIAMI SCHOOL OF   Interdisciplinary Medical Education in Research                                Awarded. Non-fellowships
2,252 T35DK121678   5T35DK121678-05     MEDICINE                        Activities (UM-KIIMERA)                                 FORNONI, ALESSIA       only                        2020/08/01   2025/07/31    $220,633     $220,633    $156,490    $47,339

                                                                        Epigenetic modification of hematopoietic stem and
                                                                        progenitor cells in inflammation-induced
2,253 F31HL164287   5F31HL164287-03     BAYLOR COLLEGE OF MEDICINE      differentiation                                   TRAN, BRANDON T              Awarded. Fellowships only   2022/08/01   2025/10/31    $143,420     $143,420    $113,285    $48,974

                                                                        Mapping functional brain connectivity,
                                                                        neurodevelopment, and imaging-genetic
                                        UNIVERSITY OF CALIFORNIA LOS    associations in individuals with genetic and clinical
2,254 F31MH133326   5F31MH133326-02     ANGELES                         risk factors for neuropsychiatric illness               SCHLEIFER, CHARLES     Awarded. Fellowships only   2023/09/01   2025/08/31     $93,721      $93,721     $86,909    $53,974
                                        UNIVERSITY OF PITTSBURGH AT     Neurophysiological Basis for Functional Connectivity COVER, CHRISTOPHER
2,255 F30AG079507   5F30AG079507-03     PITTSBURGH                      Changes in Early Alzheimer’s Disease                 GREGORY                  Awarded. Fellowships only   2022/09/01   2026/08/31    $150,996     $150,996     $115,612     $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                 Awarded. Non-fellowships
2,256 TL1DK136046   5TL1DK136046-03     ARBOR                           Training Core                                         MARIANI, LAURA H        only                        2022/09/15   2027/06/30   $1,474,211   $1,474,211   $1,086,267   $417,662

                                        UNIVERSITY OF KANSAS MEDICAL    Structural and Biological Effects of Ribonucleotide
2,257 F31GM151815   5F31GM151815-02     CENTER                          Insertion into Telomeres                              CORTEZ, LUIS MANUEL     Awarded. Fellowships only   2023/07/01   2025/06/30     $68,868      $68,868      $68,868     $32,974

                                                                        Lung-brain communication in the onset of              MONROE, SARAH
2,258 F31NS134281   5F31NS134281-02     DUKE UNIVERSITY                 respiratory viral infection.                          KATHERINE               Awarded. Fellowships only   2023/08/01   2026/07/31     $86,886      $86,886      $68,101     $44,083

                                        UNIVERSITY OF MARYLAND          Medical Scientist Training in the NIH Partnership
2,259 FM1HD117689   1FM1HD117689-01     BALTIMORE                       Program - Yalan Wu                                    WU, YALAN               Awarded. Fellowships only   2024/09/20   2027/09/19     $53,974      $53,974      $53,887     $53,974

                                        NORTHWESTERN UNIVERSITY AT      The impact of adolescent stress on neural circuits
2,260 F31DA060560   1F31DA060560-01     CHICAGO                         underlying punishment resistant reward seeking        NADEL, JACOB ANDREW     Awarded. Fellowships only   2024/06/01   2027/05/31     $44,187      $44,187      $32,705     $44,187

                                                                        Multidisciplinary Pulmonary and Critical Care                                 Awarded. Non-fellowships
2,261 T32HL105321   5T32HL105321-14     UNIVERSITY OF UTAH              Training Program                                      PAINE, ROBERT           only                        2010/09/01   2026/06/30   $1,347,904   $1,347,904   $1,100,947   $387,785

                                                                        Bridges to Baccalaureate Training Program at                                  Awarded. Non-fellowships
2,262 T34GM147664   5T34GM147664-03     PORTLAND STATE UNIVERSITY       Portland State University                             KELLER, THOMAS E        only                        2023/12/15   2028/07/31    $403,305     $403,305      $70,243    $276,127

                                                                        Neoantigen-specific T cells in a novel cutaneous      ADAMS, ANNGELA
2,263 F30CA257622   5F30CA257622-02     UNIVERSITY OF ARIZONA           squamous cell carcinoma model                         CHRISTINA               Awarded. Fellowships only   2023/08/01   2026/07/31    $106,668     $106,668      $77,411     $53,974

                                        UNIVERSITY OF COLORADO          Elucidating the role of EYA2 at centrosomes in
2,264 F31CA275314   5F31CA275314-02     DENVER                          glioblastoma stem cells                               WOLIN, ARTHUR R         Awarded. Fellowships only   2023/07/01   2025/06/30     $73,030      $73,030      $65,941     $37,155

                                        UNIVERSITY OF OKLAHOMA HLTH     Multimodal ventral tegmental area decrements in a
2,265 F31AG079620   5F31AG079620-03     SCIENCES CTR                    mouse Alzheimers model                            BLANKENSHIP, HARRIS         Awarded. Fellowships only   2022/09/01   2025/08/31    $109,877     $109,877      $89,673     $37,793

                                                                                                                                                      Awarded. Non-fellowships
2,266 T32CA165990   5T32CA165990-11     UNIVERSITY OF KENTUCKY          Interdisciplinary Research Training in Cancer Biology O'CONNOR, KATHLEEN L    only                        2013/04/01   2027/06/30    $918,241     $918,241     $704,875    $296,612

                                                                        Defining signals contributing to inflammatory
                                                                        hemophagocyte differentiation in TLR7 mediated
2,267 F31AI172078   5F31AI172078-03     UNIVERSITY OF WASHINGTON        Macrophage Activation Syndrome                        THULIN, NATALIE K       Awarded. Fellowships only   2022/09/16   2025/09/15    $132,843     $132,843     $115,705     $45,197

                                        UNIVERSITY OF MIAMI SCHOOL OF   The contribution of the APOM/S1P signaling axis to    TOLERICO, MATTHEW
2,268 F31DK137425   1F31DK137425-01A1   MEDICINE                        podocyte injury                                       ROBERT                  Awarded. Fellowships only   2024/05/16   2027/05/15     $85,148      $85,148      $33,130     $42,574

                                        UNIVERSITY OF WISCONSIN-        The Role of Environmental Context in Early Semantic
2,269 F31HD115328   1F31HD115328-01     MADISON                         Network Development                                 BREITFELD, ELISE C        Awarded. Fellowships only   2024/06/01   2027/05/31     $74,732      $74,732      $34,216     $37,197

                                        NORTHWESTERN UNIVERSITY AT      Northwestern University Infectious Diseases                                   Awarded. Non-fellowships
2,270 T32AI095207   5T32AI095207-12     CHICAGO                         Education and Science (NuIDeas)                       HAWKINS, CLAUDIA A      only                        2012/07/01   2028/07/31    $376,841     $376,841     $220,154    $210,373

                                                                        Investigating molecular regulators of a mixed-
2,271 F31CA275328   5F31CA275328-03     UNIVERSITY OF UTAH              lineage state in lung adenocarcinoma                  FORT, GABRIELA M        Awarded. Fellowships only   2022/08/01   2025/09/29    $113,756     $113,756      $91,915     $39,086

                                                                                                                              THOMPSON, ELIZABETH
2,272 F30HL162429   5F30HL162429-03     UNIVERSITY OF PENNSYLVANIA      Right Ventricular Remodeling in Tetralogy of Fallot   WALKER                  Awarded. Fellowships only   2022/08/01   2027/07/31    $166,420     $166,420     $131,163     $56,974

                                        VIRGINIA COMMONWEALTH
2,273 F31AA030727   5F31AA030727-03     UNIVERSITY                      The Role of Ninein in Ethanol Anxiolysis              GNATOWSKI, EMMA         Awarded. Fellowships only   2022/09/25   2025/09/24    $125,231     $125,231     $107,627     $42,911

                                                                                                                                                      Awarded. Non-fellowships
2,274 T32HL007633   5T32HL007633-39     BRIGHAM AND WOMEN'S HOSPITAL Integrated Training in Respiratory Research              WASHKO, GEORGE R        only                        1985/07/01   2026/06/30   $3,149,432   $3,149,432   $2,497,822   $828,764

                                                                        Neuroscience Training Program at Washington           KERSCHENSTEINER,        Awarded. Non-fellowships
2,275 T32NS121881   5T32NS121881-04     WASHINGTON UNIVERSITY           University                                            DANIEL                  only                        2021/07/01   2026/06/30   $2,014,607   $2,014,607   $1,808,389   $461,621

                                                                        Associations Between Adversity and Psychological
                                                                        Distress and Physiological Stress Among Youth
                                                                        Experiencing Homelessness: The Buffering Role of      FITZPATRICK, MARGARET
2,276 F31NR020987   1F31NR020987-01A1   OHIO STATE UNIVERSITY           Social Network Processes                              M                       Awarded. Fellowships only   2024/08/16   2025/08/15     $40,582      $40,582      $31,731     $40,582

                                                                        PD-1 Mediated Regulation of Salivary Gland
2,277 F31DE032593   5F31DE032593-02     BROWN UNIVERSITY                Integrity                                             BORYS, SAMANTHA         Awarded. Fellowships only   2023/08/01   2026/11/30    $100,768     $100,768      $83,931     $52,274
                                        RESEARCH INST NATIONWIDE           Computational methods to elucidate the role of        PENALOZA, JACQUELINE
2,278 F31HL168950   5F31HL168950-02     CHILDREN'S HOSP                    long non-coding RNA in Congenital Heart Disease       STEPHANY               Awarded. Fellowships only   2023/05/18   2025/05/17     $79,876      $79,876      $66,556     $40,578
2,279 F30HL165812   5F30HL165812-02     OHIO STATE UNIVERSITY              YTHDF3 as a critical regulator of cardiac function    RABOLLI, CHARLES P     Awarded. Fellowships only   2023/07/01   2026/06/30     $87,168      $87,168      $80,244     $44,224

                                        UNIVERSITY OF PITTSBURGH AT        Understanding the impact of DNA ADP-ribosylation
2,280 F30CA278287   5F30CA278287-02     PITTSBURGH                         on telomere function in cancer cells                  WONDISFORD, ANNE       Awarded. Fellowships only   2023/07/01   2025/06/30    $103,984     $103,984     $103,984     $53,974

                                        RUTGERS BIOMEDICAL AND HEALTH                                                            PIERCE, ROBERT         Awarded. Non-fellowships
2,281 T32DA055569   5T32DA055569-03     SCIENCES                      Rutgers Training in Addiction Research Program             CHRISTOPHER            only                        2023/07/03   2028/06/30    $803,505     $803,505     $655,918    $414,832

                                                                           Understanding the miRNA response to opioid
                                        PENNSYLVANIA STATE UNIV            withdrawal and their uses as potential biomarkers
2,282 F30DA057094   5F30DA057094-03     HERSHEY MED CTR                    for neonatal abstinence syndrome                      SULLIVAN, RHEA ELENA   Awarded. Fellowships only   2022/09/01   2027/08/31    $103,841     $103,841      $88,580     $35,864

                                                                           Skin-like wearable biosensors for multimodal mental
2,283 F32EB034156   5F32EB034156-02     STANFORD UNIVERSITY                health biomarker monitoring                         ZHAO, CHUANZHEN          Awarded. Fellowships only   2023/07/01   2025/06/30    $150,684     $150,684     $126,736     $78,892

                                                                           Toxin neutralization to functionally dissect
2,284 F32AI164853   5F32AI164853-03     UNIVERSITY OF WASHINGTON           interbacterial antagonism in the gut microbiome       SHEN, BETH A           Awarded. Fellowships only   2022/09/01   2025/08/31    $218,266     $218,266     $187,034     $78,892

                                        UNIV OF MASSACHUSETTS MED SCH Structure-based Antiviral Design against HTLV-1
2,285 F31AI179014   5F31AI179014-02     WORCESTER                     Protease                                                   ZVORNICANIN, SARAH N   Awarded. Fellowships only   2023/08/01   2026/07/31     $71,240      $71,240      $68,287     $36,260

                                                                                                                                                        Awarded. Non-fellowships
2,286 T32GM141848   5T32GM141848-04     UNIVERSITY OF UTAH                 University of Utah Genetics Training Program          STANFIELD, GILLIAN     only                        2021/07/01   2026/06/30   $2,313,942   $2,313,942   $1,899,227   $611,351

                                                                                                                                                        Awarded. Non-fellowships
2,287 T32NS045549   5T32NS045549-18     UNIVERSITY OF IOWA                 Interdisciplinary Training Program in Pain Research   USACHEV, YURIY M       only                        2004/07/01   2027/06/30    $781,395     $781,395     $570,185    $238,280

                                                                        Spatiotemporal and Deep Learning Analysis of
                                                                        Cardiac Imaging for Predictive Risk Stratification in
2,288 F30HL162452   5F30HL162452-04     INDIANA UNIVERSITY INDIANAPOLIS Duchenne Muscular Dystrophy                              EARL, CONNER           Awarded. Fellowships only   2022/08/05   2026/08/04    $162,696     $159,558     $144,477     $56,974

                                                                           Medical Student Training in Aging Research (MSTAR)                           Awarded. Non-fellowships
2,289 T35AG026758   5T35AG026758-20     JOHNS HOPKINS UNIVERSITY           Program                                            CHRISTMAS, COLLEEN        only                        2005/06/01   2025/05/31    $474,582     $474,582     $485,288     $79,295

                                                                           Defining the mechanisms of B7-H3 overexpression
                                                                           and role in neuroblastoma metastasis and immune       WINGROVE, CATHERINE
2,290 F31CA284708   5F31CA284708-02     UNIVERSITY OF PENNSYLVANIA         evasion                                               LEONA-GRACE            Awarded. Fellowships only   2023/07/01   2026/06/30     $84,345      $84,345      $76,654     $36,651

                                                                           Bilingualism as a cognitive reserve factor: the
                                        BOSTON UNIVERSITY (CHARLES         behavioral and neural underpinnings of cognitive
2,291 F31DC021385   5F31DC021385-02     RIVER CAMPUS)                      control in bilingual patients with aphasia            CARPENTER, ERIN        Awarded. Fellowships only   2024/01/01   2025/12/31     $74,656      $74,656      $46,911     $37,328
2,292 F32DE032907   5F32DE032907-02     NOVA SOUTHEASTERN UNIVERSITY       Mechanosensing of osteoclasts in periodontitis.       SHINDO, SATORU         Awarded. Fellowships only   2023/09/04   2026/08/31    $174,392     $174,392     $124,821     $90,288

                                        UNIVERSITY OF ALABAMA AT           Training Program in Lung Biology and Translational                           Awarded. Non-fellowships
2,293 T32HL105346   5T32HL105346-14     BIRMINGHAM                         Medicine                                              GAGGAR, AMIT           only                        2010/09/20   2026/06/30   $1,669,501   $1,669,501   $1,457,304   $436,177

                                        UNIVERSITY OF KANSAS MEDICAL       Interactions between Mitochondria, ER, and
2,294 F31AG084298   5F31AG084298-02     CENTER                             Amyloid                                               STROPE, TAYLOR A       Awarded. Fellowships only   2023/08/06   2028/08/05     $74,143      $74,143      $56,813     $37,827

                                                                                                                                                        Awarded. Non-fellowships
2,295 T32MH020031   2T32MH020031-26     YALE UNIVERSITY                    Interdisciplinary HIV Prevention Training Program     KERSHAW, TRACE S       only                        1999/07/01   2029/06/30    $587,404     $587,404     $350,048    $587,404

                                                                           Development of soluble and membrane bound
                                                                           immunogens to shepherd HIV-1 MPER specific BCR
2,296 F31AI179426   1F31AI179426-01A1   SCRIPPS RESEARCH INSTITUTE, THE    maturation                                            SWANSON, OLIVIA        Awarded. Fellowships only   2024/08/02   2027/08/01     $35,974      $35,974      $29,119     $35,974

                                                                           Super-Resolution Imaging of Alzheimers Disease        SANTIAGO-RUIZ,
2,297 F31AG080962   5F31AG080962-02     UNIVERSITY OF PENNSYLVANIA         Hyperphosphorylated Tau Aggregates                    ADRIANA NAOMI          Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $79,374     $48,974

                                                                           Investigating tonic and synaptic excitatory signaling
                                        UNIV OF NORTH CAROLINA             in the bed nucleus of the stria terminalis across
2,298 F31AA031177   5F31AA031177-02     CHAPEL HILL                        models of alcohol exposure                            CONLEY, SARA YI-LING   Awarded. Fellowships only   2023/09/14   2025/11/27     $78,920      $78,920      $52,766     $40,100

                                                                           Predicting adverse drug reactions via networks of
2,299 F31GM151783   5F31GM151783-02     STANFORD UNIVERSITY                drug binding pocket similarity                        CARPENTER, KRISTY      Awarded. Fellowships only   2023/09/30   2025/09/29     $90,201      $90,201      $65,016     $42,507
                                                                         Augmenting Pharmacogenetics with Multi-Omics
                                                                         Data and Techniques to Predict Adverse Drug
2,300 F31HG013246   5F31HG013246-02     UNIVERSITY OF PENNSYLVANIA       Reactions to NSAIDs                                     KEAT, KARL ERNST       Awarded. Fellowships only   2023/09/18   2026/10/31     $96,668      $96,668      $79,031     $48,974

                                        HARVARD SCHOOL OF PUBLIC                                                                                        Awarded. Non-fellowships
2,301 T32CA009001   2T32CA009001-49A1   HEALTH                           Program for Training in Cancer Epidemiology             ELIASSEN, A HEATHER    only                        1978/07/01   2029/06/30    $503,403     $503,403     $105,002    $503,403

                                                                         Uncovering the role of inppl1a in notochord
                                                                         vacuolation and the development of a straight
2,302 F31HD114419   5F31HD114419-02     UNIVERSITY OF TEXAS AT AUSTIN    body axis.                                              VOIGT, BRITTNEY        Awarded. Fellowships only   2023/09/21   2026/09/20     $83,258      $83,258      $65,477     $42,269

                                                                         A Magnetic Resonance Imaging Based
                                                                         Computational Analysis of Plaque Morphology and
                                        UNIVERSITY OF MICHIGAN AT ANN    Hemodynamics in Patients with High Grade
2,303 F32HL168968   5F32HL168968-02     ARBOR                            Asymptomatic Carotid Artery Stenosis            BRAET, DREW JACKSON            Awarded. Fellowships only   2023/07/01   2025/06/30    $158,184     $158,184     $134,710     $78,892

                                                                         Prefrontal cortical circuit reorganization during       ROBINSON, HEATH
2,304 F32MH134673   5F32MH134673-02     CORNELL UNIVERSITY               immediate memory consolidation                          LARSSON                Awarded. Fellowships only   2023/09/30   2027/09/29    $143,364     $143,364      $84,550     $74,284

                                        UNIVERSITY OF WISCONSIN-                                                                 BEDNARZ, BRYAN         Awarded. Non-fellowships
2,305 T32CA009206   2T32CA009206-46     MADISON                          UW Radiological Sciences Training Program               PATRICK                only                        1978/08/01   2029/08/31    $482,915     $482,915     $306,213    $482,915

                                                                         PRomoting Excellence through Pain and Addiction                                Awarded. Non-fellowships
2,306 T90NR021683   1T90NR021683-01     WASHINGTON UNIVERSITY            Research Enhancement (PREPARE)                          GOODIN, BUREL R        only                        2024/08/12   2029/06/30    $172,596     $172,596      $35,369    $172,596

                                                                         Investigating CovRS activation within skin
                                                                         microenvironments to drive heterogenicity of            GUERRA, STEPHANIE
2,307 F31AI179103   5F31AI179103-02     EMORY UNIVERSITY                 Streptococcus pyogenes gene expression                  CORINNE                Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $77,828     $48,974

                                        UNIVERSITY OF CALIFORNIA AT                                                              THOMASY, SARA          Awarded. Non-fellowships
2,308 T32OD011147   5T32OD011147-36     DAVIS                            Comparative Medical Science Training Program            MICHELLE               only                        1988/07/01   2027/11/30   $1,588,687   $1,588,687   $1,113,715   $417,087

                                        WAKE FOREST UNIVERSITY HEALTH    Cancer Prevention And Control Training Grant                                   Awarded. Non-fellowships
2,309 T32CA122061   2T32CA122061-17     SCIENCES                         (CAPACITY)                                              FOLEY, KRISTIE L       only                        2019/08/01   2029/08/31    $432,156     $432,156      $80,998    $432,156

                                                                        Investigating HDAC3 phosphorylation as an
                                                                        epigenetic regulator of memory formation in the          RODRIGUEZ, ALYSSA
2,310 F31AG084268   5F31AG084268-02     UNIVERSITY OF CALIFORNIA-IRVINE adult and aging brain                                    CRYSTAL                Awarded. Fellowships only   2023/09/01   2025/08/31     $89,045      $89,045      $75,744     $45,518

                                                                         Determining Tropism and Mechanisms of Ebola Virus VAN ERT, HANORA ANNE
2,311 F30AI174686   5F30AI174686-03     UNIVERSITY OF IOWA               Entry in Placental Tissues                        MARIE                Awarded. Fellowships only           2022/11/15   2025/07/14    $125,670     $125,670      $84,601     $46,106

                                                                         Receptor variant-based changes in the role of
                                                                         PACAP in the nucleus accumbens during the               CARPENTER, BRODY
2,312 F31AA031427   5F31AA031427-02     DREXEL UNIVERSITY                transition to ethanol dependence                        ALLEN                  Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $75,655     $48,974

                                                                         Understanding Changes in Hippocampal
                                                                         Representations by Measuring Memories with
2,313 F31MH135686   5F31MH135686-02     UNIVERSITY OF OREGON             Natural Language Processing                             BABU, ANISHA           Awarded. Fellowships only   2023/09/16   2026/09/15     $95,736      $95,736      $68,594     $48,735

                                        UNIVERSITY OF CALIFORNIA, SAN    Identifying Effective Organizational Climate
2,314 F31MH135638   5F31MH135638-02     DIEGO                            Embedding Mechanisms for Autism Interventions           RANGEL, ELIZABETH      Awarded. Fellowships only   2023/09/06   2025/09/05     $82,110      $82,110      $67,434     $41,695

                                                                         Role of ADAR1 and dsRNA in age-related
2,315 F31AG084330   5F31AG084330-02     COLORADO STATE UNIVERSITY        neuroinflammation and Alzheimers disease                MCENTEE, CALI MADISON Awarded. Fellowships only    2023/08/17   2026/07/16     $81,333      $81,333      $68,872     $41,627

                                        UNIVERSITY OF MARYLAND                                                                                          Awarded. Non-fellowships
2,316 T32AI007524   2T32AI007524-26A1   BALTIMORE                        Fellowship Training Program in Vaccinology              SZTEIN, MARCELO B      only                        1997/07/01   2029/06/30    $370,881     $370,881     $212,392    $370,881

                                                                                                                                                        Awarded. Non-fellowships
2,317 T32CA009686   2T32CA009686-28     GEORGETOWN UNIVERSITY            Training Grant In Tumor Biology                         YI, CHUNLING           only                        1996/07/01   2029/08/31    $332,856     $332,856     $144,597    $332,856

                                        SLOAN-KETTERING INST CAN         Psychosocial Palliative and Community Research in                              Awarded. Non-fellowships
2,318 T32CA009461   2T32CA009461-41     RESEARCH                         Cancer                                            HAY, JENNIFER L              only                        1984/05/01   2029/08/31     $41,434      $41,434      $31,234     $41,434

                                                                         New York Consortium for Interdisciplinary Training in
                                        ALBERT EINSTEIN COLLEGE OF       Kidney, Urological and Hematological Research           KASKEL, FREDERICK      Awarded. Non-fellowships
2,319 TL1DK136048   3TL1DK136048-03S1   MEDICINE                         (NYC Train KUHR)                                        JEFFREY                only                        2022/09/15   2027/06/30   $2,315,392   $2,315,392   $1,630,562    $55,692
                                      UNIVERSITY OF CALIFORNIA LOS      Causal mechanisms of anesthetic induction and
2,320 F32GM149135   5F32GM149135-02   ANGELES                           emergence in human cortical organoids                TOKER, DANIEL           Awarded. Fellowships only   2023/09/01   2026/08/31    $150,684     $150,684     $107,578     $78,892

                                                                        ALIADOS: Advanced training in Latino multi-level     CRESPO, NOE             Awarded. Non-fellowships
2,321 T32MD019800   1T32MD019800-01   SAN DIEGO STATE UNIVERSITY        Intervention reseArch for DOctoral Scholars          CUAUHTEMOC              only                        2024/08/26   2029/05/31    $240,085     $240,085           $0    $240,085

                                                                        Determining the function of TRPC6 channels in a      BERNSTEIN, MOLLIE
2,322 F31DA058381   5F31DA058381-02   UNIVERSITY OF WASHINGTON          subpopulation of VTA dopamine neurons                XIAOQI                  Awarded. Fellowships only   2023/09/16   2025/08/15     $89,430      $89,430      $84,974     $45,355

                                                                        Mutational scanning of seizure-related gene para in
2,323 F32HG013282   5F32HG013282-02   UNIVERSITY OF WASHINGTON          fruit flies                                         OI, CURRAN               Awarded. Fellowships only   2023/09/01   2026/12/30    $146,256     $146,256      $90,161     $76,756

                                      ST. JUDE CHILDREN'S RESEARCH      Training in Pediatric Cancer Survivorship Outcomes                           Awarded. Non-fellowships
2,324 T32CA225590   5T32CA225590-07   HOSPITAL                          and Interventions                                    KRULL, KEVIN R          only                        2018/04/01   2028/08/31    $506,996     $506,996     $391,144    $292,915

                                                                        Investigating the regulation of lipid homeostasis and
                                      UNIVERSITY OF CALIFORNIA, SAN     lysosomal function in neurodegenerative disease by
2,325 F32AG079659   5F32AG079659-02   FRANCISCO                         prosaposin and progranulin in C. elegans              HODUL, MOLLY           Awarded. Fellowships only   2023/09/01   2026/08/31    $150,684     $150,684     $118,624     $78,892

                                      UNIVERSITY OF SOUTHERN            ADVANCE Cancer Health Disparities Research                                   Awarded. Non-fellowships
2,326 T32CA293959   1T32CA293959-01   CALIFORNIA                        (CHDR) Training Program                              STERN, MARIANA C        only                        2024/09/01   2029/08/31    $221,904     $221,904      $90,444    $221,904


                                      UNIVERSITY OF MICHIGAN AT ANN     Evaluation of Mitochondrial Cardiolipin Modification
2,327 F31NS129326   5F31NS129326-02   ARBOR                             in Neonatal Hypoxia/Ischemia Encephalopathy          EMAUS, KATLYNN JOY      Awarded. Fellowships only   2023/06/01   2026/05/31     $83,551      $83,551      $83,551     $42,743

                                                                        Novel Triple-Negative Breast cancer vulnerability
2,328 F30CA278316   5F30CA278316-02   BAYLOR COLLEGE OF MEDICINE        governed by PNPT1-mediated RNA decay                 YANG, ANDREW            Awarded. Fellowships only   2023/08/01   2027/04/30     $98,362      $98,362      $82,488     $49,821

                                                                        Hypoxic regulation of macrophage migration and
                                      UNIVERSITY OF MICHIGAN AT ANN     function via fibroblast reprogramming in pancreatic HANNIFIN, SEAN
2,329 F31CA281194   5F31CA281194-02   ARBOR                             cancer                                              MATTHEW                  Awarded. Fellowships only   2023/08/01   2027/07/31     $82,908      $82,908      $82,908     $42,094

                                      RUTGERS BIOMEDICAL AND HEALTH Creating Pb Risk Mitigation Using Source
2,330 F31ES035633   5F31ES035633-02   SCIENCES                      Apportionment in an EJ Community                         STRATTON, SEAN          Awarded. Fellowships only   2023/09/15   2028/09/14     $73,914      $73,914      $65,515     $37,597

                                      UNIVERSITY OF COLORADO            Human-centered design of clinical AI to support the
2,331 F31CA275272   5F31CA275272-02   DENVER                            diagnosis of pediatric suprasellar tumors           PRINCE, ERIC W           Awarded. Fellowships only   2023/07/03   2026/07/02     $73,868      $73,868      $62,842     $37,574
2,332 F31EY035171   5F31EY035171-02   INDIANA UNIVERSITY INDIANAPOLIS Ref-1 in Retinal Neovascularization                    HARTMAN, GABRIELLA      Awarded. Fellowships only   2023/06/14   2026/06/13     $69,288      $69,288      $52,684     $33,244

                                                                        mPFC Regulation of VTA Dopamine and GABA
                                      OREGON HEALTH & SCIENCE           Neuronal Activity During Flexible Updating of        LEFNER, MERRIDEE
2,333 F32DA060070   5F32DA060070-02   UNIVERSITY                        Appetitive and Aversive Associations                 JUSTICE                 Awarded. Fellowships only   2024/02/01   2026/01/31    $143,364     $143,364      $79,635     $74,284

                                                                    Leveraging the genetics and biochemistry of UNC-
                                      WEILL MEDICAL COLL OF CORNELL 13 to uncover mechanisms driving neurotransmitter
2,334 F31NS130894   5F31NS130894-02   UNIV                          secretion                                                SHAHANOOR, ZIASMIN      Awarded. Fellowships only   2023/08/17   2025/11/16     $96,668      $96,668      $86,020     $48,974

                                      OREGON HEALTH & SCIENCE                                                                                       Awarded. Non-fellowships
2,335 TL1TR002371   5TL1TR002371-08   UNIVERSITY                        NRSA Training Core                                   FRYER, ALLISON DEBORAH only                         2017/09/02   2027/07/31   $2,138,416   $2,138,416   $1,636,985   $519,594

                                                                        Co-designing a Technology-based Health Research
2,336 F31LM013842   5F31LM013842-04   UNIVERSITY OF WASHINGTON          Results Dissemination Tool with AIAN People     DIRKS, LISA GRACE            Awarded. Fellowships only   2021/09/16   2025/09/15    $171,340     $171,340     $169,580     $45,129

                                                                        Integrated Electrochemical Aptamer Based
                                                                        Platforms for the Point-of-Care and Continuous
2,337 F30HD107927   5F30HD107927-03   UNIVERSITY OF CINCINNATI          Monitoring of Clinically Relevant Analytes           WATKINS, ZACHARY L      Awarded. Fellowships only   2022/09/06   2026/08/31    $133,665     $133,665      $72,819     $53,158

                                                                        MEK PATHWAY INHIBITION COMBINED WITH 5-
                                      ICAHN SCHOOL OF MEDICINE AT       AMINOLEVULINIC ACID-PHOTODYNAMIC THERAPY
2,338 F31CA275290   5F31CA275290-03   MOUNT SINAI                       FOR THE TREATMENT OF DIFFUSE MIDLINE GLIOMA          PRICE, GABRIELLE ALEXIA Awarded. Fellowships only   2022/09/26   2026/09/25    $146,660     $146,660      $99,654     $53,974

                                                                        Physician Postdoctoral Research Training in                                  Awarded. Non-fellowships
2,339 T32GM112596   5T32GM112596-10   UNIVERSITY OF PENNSYLVANIA        Perioperative Medicine (PPRTPM)                      KELZ, MAX               only                        2015/07/01   2025/06/30   $1,522,919   $1,522,919    $931,932         $1

                                                                        Controlled release of RNA-targeting therapy to
2,340 F30DK130564   5F30DK130564-04   HARVARD MEDICAL SCHOOL            promote healing of diabetic ulcers                   BERGER, ADAM G          Awarded. Fellowships only   2021/09/01   2026/08/31    $209,456     $209,456     $198,138     $53,974
                                                                                                                                                      Awarded. Non-fellowships
2,341 T32TR004543   5T32TR004543-02   OHIO STATE UNIVERSITY              CTSA Predoctoral T32 at the Ohio State University    BUMGARDNER, GINNY L     only                        2023/08/22   2028/07/31    $601,503     $601,503     $355,141    $307,674

                                      UNIVERSITY OF CALIFORNIA, SAN                                                           HAQUE, AMEERA
2,342 F30DE031501   5F30DE031501-03   FRANCISCO                          Cellular Basis of Incisor Asymmetry                  SAMAHER                 Awarded. Fellowships only   2022/09/01   2027/08/31    $152,457     $152,457     $134,661     $54,774

                                                                                                                              TRAPNELL, BRUCE         Awarded. Non-fellowships
2,343 T32HG000035   5T32HG000035-30   UNIVERSITY OF WASHINGTON           Interdisciplinary Training in Genome Sciences        COLSTON                 only                        1995/08/01   2025/08/31   $4,212,221   $4,212,221   $3,829,929   $878,725

                                                                         NIH Plunk The Effects of Gestational and Lactational
                                                                         Exposure to Perfluorohexanoic Acid on Cerebellum
2,344 F31ES035614   5F31ES035614-02   UNIVERSITY OF ROCHESTER            Development in the Mouse                             PLUNK, ELIZABETH CATE   Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $77,031     $48,974

                                                                    Identifying the Molecular Function of the Y-linked        HOLMLUND, HAYDEN
2,345 F31HD111279   5F31HD111279-02   UNIVERSITY OF HAWAII AT MANOA Mouse Zinc Finger Proteins ZFY1 and ZFY2                  ROBERT                  Awarded. Fellowships only   2023/08/04   2026/08/03     $68,668      $68,668      $49,622     $34,974

                                                                      Interdisciplinary Training in Cancer Prevention and     CHAMPION, VICTORIA      Awarded. Non-fellowships
2,346 T32CA117865   5T32CA117865-18   INDIANA UNIVERSITY INDIANAPOLIS Control                                                 LEE                     only                        2006/09/18   2027/08/31   $1,047,962   $1,047,962    $750,748    $537,348

                                                                         Single-cell Transcriptomic Analysis of Cell Type
                                      UNIVERSITY OF CALIFORNIA           Plasticity in Barrel Cortex of Normal and Autism
2,347 F31NS131016   5F31NS131016-02   BERKELEY                           Model Mice                                           BUTRUS, SALWAN          Awarded. Fellowships only   2023/09/01   2026/08/31     $89,573      $89,573      $43,843     $45,730

                                                                                                                              VON LINTIG, JOHANNES    Awarded. Non-fellowships
2,348 T32EY007157   5T32EY007157-23   CASE WESTERN RESERVE UNIVERSITY CWRU-Visual Sciences Training Program                   FRIEDRICH               only                        2000/09/30   2027/05/31    $236,107     $236,107     $195,460     $51,015

                                      UNIVERSITY OF CALIFORNIA, SAN      Investigating the Role of Nephronectin in
2,349 F30EY033201   5F30EY033201-04   FRANCISCO                          Establishing Retinotectal Circuit Specificity        TSAI, NICOLE Y          Awarded. Fellowships only   2021/09/13   2025/09/12    $184,233     $184,233     $171,245     $53,974

                                      BOSTON UNIVERSITY (CHARLES                                                                                      Awarded. Non-fellowships
2,350 T32EB006359   5T32EB006359-15   RIVER CAMPUS)                      Translational Research in Biomaterials               GRINSTAFF, MARK W       only                        2009/09/01   2027/08/31    $901,336     $901,336     $832,291    $305,480

                                      UNIVERSITY OF TEXAS HLTH SCI CTR                                                                                Awarded. Non-fellowships
2,351 T32GM150524   5T32GM150524-02   HOUSTON                          Medical Scientist Training Program                     MILEWICZ, DIANNA M      only                        2023/08/23   2028/06/30   $1,067,074   $1,067,074    $881,939    $542,949

                                      ICAHN SCHOOL OF MEDICINE AT        Uncovering the Role of the MS4A Gene Family in
2,352 F31AG084337   5F31AG084337-02   MOUNT SINAI                        Alzheimers Disease                                   MUNCH, ALEXANDRA        Awarded. Fellowships only   2023/08/14   2026/08/13     $93,468      $93,468      $91,926     $47,374

                                                                         Development & application of computational
                                                                         methods for the study of protein dynamics with
2,353 F31LM014204   5F31LM014204-02   UNIVERSITY OF NOTRE DAME           PmHMGR as a model system                             FARRUGIA, MIKAELA       Awarded. Fellowships only   2023/08/25   2025/08/24     $96,668      $96,668      $74,701     $48,974

                                      UNIVERSITY OF MICHIGAN AT ANN                                                           SARTOR, MAUREEN         Awarded. Non-fellowships
2,354 T32CA140044   5T32CA140044-15   ARBOR                              Proteogenomics of Cancer Training Program            AGNES                   only                        2010/05/01   2025/07/31   $1,744,132   $1,744,132   $1,744,132   $370,831

                                      UNIVERSITY OF TEXAS HLTH SCIENCE The role of tumor cell-of-origin-specific PDL1 on      ONTIVEROS, CARLOS
2,355 F31CA281345   5F31CA281345-02   CENTER                           tumorigenesis and tumor progression                    OSCAR                   Awarded. Fellowships only   2023/08/03   2027/08/02     $76,742      $76,742      $58,404     $39,011

                                                                         Neuroimmune interactions for laryngeal
                                      UNIVERSITY OF CALIFORNIA, SAN      sensorimotor neuropathy in postviral influenza
2,356 F32DC021634   5F32DC021634-02   DIEGO                              infection                                            FOOTE, ALEXANDER G      Awarded. Fellowships only   2023/08/21   2026/08/20    $143,364     $143,364     $118,137     $74,284

                                                                         A Physiological Approach to Examining the Role of
                                      VIRGINIA COMMONWEALTH              Racial Coping on Mental Health Among Black
2,357 F31MD018934   5F31MD018934-02   UNIVERSITY                         Adolescents                                          DAVIS, RACHEL J         Awarded. Fellowships only   2023/08/25   2025/07/31    $102,168     $102,168      $77,252     $51,974

                                                                         Tri-Signal Artificial Antigen Presenting Cells for
2,358 F31CA284859   5F31CA284859-02   JOHNS HOPKINS UNIVERSITY           Cancer Immunotherapy                                 SHANNON, SYDNEY ROSE Awarded. Fellowships only      2023/09/01   2026/02/28     $96,668      $96,668      $68,659     $48,974

                                      COLUMBIA UNIVERSITY HEALTH         Global Mental Health (GMH) Research Fellowship:                              Awarded. Non-fellowships
2,359 T32MH096724   5T32MH096724-12   SCIENCES                           Interventions that Make a Difference                 WAINBERG, MILTON L      only                        2012/08/21   2028/07/31    $809,113     $809,113     $252,012    $443,114

                                                                         Opportunities for Pathology Trainees in Cancer                               Awarded. Non-fellowships
2,360 T32CA193145   5T32CA193145-09   JOHNS HOPKINS UNIVERSITY           Research                                             LOTAN, TAMARA LEVIN     only                        2015/09/21   2026/08/31   $1,075,997   $1,075,997    $864,734    $367,850

                                      BOSTON UNIVERSITY MEDICAL                                                                                       Awarded. Non-fellowships
2,361 T32MH019836   5T32MH019836-24   CAMPUS                             Postdoctoral Training Program in Stress and Trauma   SLOAN, DENISE M         only                        1996/08/01   2026/07/31    $936,569     $936,569     $920,696    $215,443

                                      UNIVERSITY OF PITTSBURGH AT        The role of lncRNA Gas5 in Glucocorticoid-
2,362 F31AA031168   5F31AA031168-02   PITTSBURGH                         Mediated Ethanol Dependence Phenotypes               RICE, RACHEL            Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $83,763     $48,974
                                                                         Elucidating the tumor suppressive effects of the
2,363 F30CA250451   5F30CA250451-05     CORNELL UNIVERSITY               sirtuin, SIRT1, in triple-negative breast cancer         MULLMANN, JAMES         Awarded. Fellowships only   2020/09/05   2025/09/04    $234,416     $234,416     $217,956     $53,974

                                        UT SOUTHWESTERN MEDICAL                                                                                           Awarded. Non-fellowships
2,364 T32AI007520   2T32AI007520-26     CENTER                           Molecular Microbiology Training Grant                    PFEIFFER, JULIE K       only                        1997/09/30   2029/08/31    $368,225     $368,225     $182,987    $368,225

                                        NORTHWESTERN UNIVERSITY AT       The Northwestern Summer Research Program for                                     Awarded. Non-fellowships
2,365 T35DK126628   5T35DK126628-04     CHICAGO                          Medical Students                                         LADNER, DANIELA P       only                        2021/09/01   2026/08/31    $214,967     $214,967     $146,581     $31,751

                                                                         Basement membrane repair dynamics in the
2,366 F31GM148021   5F31GM148021-03     VANDERBILT UNIVERSITY            Drosophila midgut                                        STRICKER, AUBRIE        Awarded. Fellowships only   2022/09/01   2025/08/31     $99,174      $99,174      $85,728     $34,243

                                                                         The differential behavior of Prph2/Rom1 in rods and
                                                                         cone contributes to Prph2-associated disease
2,367 F31EY033216   5F31EY033216-04     UNIVERSITY OF HOUSTON            heterogeneity                                       IKELLE, LARISSA              Awarded. Fellowships only   2021/09/28   2026/09/27    $164,688     $164,688     $143,593     $42,782

                                        NORTHWESTERN UNIVERSITY AT       Behavioral and Psychosocial Research Training in                                 Awarded. Non-fellowships
2,368 T32CA193193   5T32CA193193-10     CHICAGO                          Cancer Prevention and Control                            CELLA, DAVID            only                        2015/09/23   2025/08/31   $1,855,177   $1,855,177   $1,655,839   $345,037

                                                                         Modeling gene regulatory mechanisms contributing
2,369 F32HD108935   5F32HD108935-03     YALE UNIVERSITY                  to the evolution of the human cerebral cortex    BAUMGARTNER, MARY               Awarded. Fellowships only   2022/09/01   2025/08/31    $224,938     $224,938     $184,386     $81,364

                                                                        Training the Next Generation of Social and
                                                                        Behavioral Physician-Scientists in ADRD: The Indiana                              Awarded. Non-fellowships
2,370 T32AG074934   5T32AG074934-04     INDIANA UNIVERSITY INDIANAPOLIS ADRD Medical Scientist Training Program              FOWLER, NICOLE R             only                        2021/09/30   2026/09/29    $715,280     $715,280     $380,676    $194,928

                                                                                                                                                          Awarded. Non-fellowships
2,371 T32HG000044   5T32HG000044-28     STANFORD UNIVERSITY              Institutional Training Grant in Genome Science           SNYDER, MICHAEL P       only                        1995/09/01   2027/08/31   $2,780,942   $2,780,942   $2,585,300   $925,711

                                                                         Mechanisms of repressive interactions between
2,372 F31GM149185   5F31GM149185-02     CARNEGIE-MELLON UNIVERSITY       developmental gene regulatory networks                   DOUGLAS, WILLIAM B      Awarded. Fellowships only   2023/12/01   2025/11/30     $96,668      $96,668      $59,951     $48,974

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                       Awarded. Non-fellowships
2,373 T32AG049688   5T32AG049688-10     MOUNT SINAI                      Research Training in the Neuroscience of Aging           HOF, PATRICK R          only                        2015/09/01   2025/08/31   $1,540,345   $1,540,345   $1,312,143   $316,332

                                        VIRGINIA POLYTECHNIC INST AND    The role of endothelial connexins in vascular wound
2,374 F31HL170721   5F31HL170721-02     ST UNIV                          repair                                              SEDOVY, MEGHAN W             Awarded. Fellowships only   2023/08/10   2026/02/09     $86,282      $86,282      $73,795     $43,781

                                        UNIVERSITY OF ILLINOIS AT        Cognition, Vascular Function, and Physical Activity
2,375 F31CA295016   1F31CA295016-01     CHICAGO                          in Colorectal Cancer Survivors                           DEJONGE, SYDNEY RAE     Awarded. Fellowships only   2024/07/19   2026/07/18     $45,142      $45,142      $36,663     $45,142

                                        UNIVERSITY OF MICHIGAN AT ANN    Determining the role of Rac1 palmitoylation in
2,376 F31HL165680   5F31HL165680-03     ARBOR                            cardiac hypertrophy and oxidative stress                 TEUBER, JAMES PATRICK   Awarded. Fellowships only   2023/01/01   2025/12/31    $121,780     $121,780     $119,989     $41,334

                                        UNIVERSITY OF SOUTHERN           Time series clustering to identify and translate time-
2,377 F31ES035618   5F31ES035618-02     CALIFORNIA                       varying multipollutant exposures for health studies      MARIAN, BRITTNEY        Awarded. Fellowships only   2024/01/01   2025/12/31     $96,668      $96,668      $53,406     $48,974

                                        UNIVERSITY OF MARYLAND           A Role for the Orphan Receptor, GPR37, in Estradiol-
2,378 F30HL168851   5F30HL168851-02     BALTIMORE                        induced Changes in Sleep-Wake States                 KRUK, KATIE                 Awarded. Fellowships only   2023/08/30   2026/08/29     $90,205      $90,205      $62,558     $49,986

                                                                         Neural dynamics of freely-moving, naturalistic
2,379 F31NS139679   1F31NS139679-01     STANFORD UNIVERSITY              behavior                                                 JUN, ELIZABETH          Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $25,346     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN    Investigating mechanisms of NPC1 proteostasis in
2,380 F31NS135634   1F31NS135634-01A1   ARBOR                            human neurons                                            AZARIA, RUTH D          Awarded. Fellowships only   2024/07/01   2026/06/30     $41,925      $41,925      $39,980     $41,925

                                                                        microRNA-204 and microRNA-211 regulation of RPE
2,381 F30EY033642   5F30EY033642-04     UNIVERSITY OF CALIFORNIA-IRVINE phagocytosis                                              DU, SAMUEL WANG         Awarded. Fellowships only   2022/01/07   2027/01/06    $185,861     $185,861     $150,608     $53,974

                                        UNIVERSITY OF TENNESSEE HEALTH   Cholesterol modulation of BK currents and cerebral SCHNEIDER, ELIZABETH
2,382 F31HL170711   5F31HL170711-02     SCI CTR                          artery diameter via channel-forming slo1 subunits  HOPE                          Awarded. Fellowships only   2023/08/01   2025/07/31     $78,928      $78,928      $41,338     $40,104

                                                                         Identifying Clinical Markers of Right Ventricular
                                                                         Adaptation to Improve Survival Predictions in
2,383 F32HL176077   1F32HL176077-01     JOHNS HOPKINS UNIVERSITY         Pulmonary Arterial Hypertension                          ROSEN, DARIN            Awarded. Fellowships only   2024/09/10   2026/09/09    $102,932     $102,932      $69,378    $102,932

                                                                         Identity and Accessibility of Immunostimulatory Viral
2,384 F32AI176736   5F32AI176736-02     UNIVERSITY OF WASHINGTON         RNAs During Flavivirus Infection                      GENOYER, EMMANUELLE        Awarded. Fellowships only   2023/12/01   2025/11/30    $155,648     $155,648      $76,756     $78,892

                                                                         Exploiting unicellular animal relatives to understand
2,385 F32GM156012   1F32GM156012-01     HARVARD UNIVERSITY               the evolution of sensory systems                         COYLE, MAXWELL CLARK Awarded. Fellowships only      2024/07/01   2027/06/30     $73,408      $73,408      $52,248     $73,408
                                                                          Acute Kidney Injury with Immune Checkpoint
2,386 F32DK141217   1F32DK141217-01     UNIVERSITY OF PENNSYLVANIA        Inhibitors and Beta-Lactam Antibiotics                  THELEN, HAEDI         Awarded. Fellowships only   2024/08/01   2025/07/31     $83,884      $83,884     $65,014   $83,884

                                        UNIVERSITY OF MICHIGAN AT ANN     A role for hypothalamic astrocytes in neural circuits   PHILLIPS, CHRYSTIAN
2,387 F31HD110102   5F31HD110102-03     ARBOR                             controlling reproduction                                DAVID                 Awarded. Fellowships only   2023/01/01   2025/12/31    $125,757     $125,757     $95,727   $43,136

                                                                          Impact of diverse nutrient environment on viral
                                                                          replication and metabolite flow in human
2,388 F32AI178919   5F32AI178919-02     UNIVERSITY OF ARIZONA             cytomegalovirus infection                               MOKRY, REBEKAH L      Awarded. Fellowships only   2023/09/30   2025/09/29    $143,364     $143,364    $112,987   $74,284

                                        VIRGINIA POLYTECHNIC INST AND     Understanding the Molecular Mechanisms of
2,389 F31NS139648   1F31NS139648-01     ST UNIV                           Thermoreceptors                                         HUDA, AINUL           Awarded. Fellowships only   2025/01/23   2028/01/22     $45,503      $45,503     $11,431   $45,503

                                                                          Aberrant activation of epidermal growth factor
                                                                          receptor signaling drives programming of an
                                        UNIVERSITY OF CALIFORNIA LOS      immunosuppressive brain tumor microenvironment
2,390 F31CA294887   1F31CA294887-01     ANGELES                           in glioblastoma                                         PIOSO, MARISSA S      Awarded. Fellowships only   2024/08/01   2026/07/31     $44,670      $44,670     $32,021   $44,670

                                                                          Diversity Supplement: Clinical Pediatric Research       LIMPEROPOULOS,        Awarded. Non-fellowships
2,391 T32HD098066   3T32HD098066-05S1   CHILDREN'S RESEARCH INSTITUTE     Training for the Fetal-Neonatal Brain                   CATHERINE             only                        2020/05/01   2026/04/30   $1,653,154   $1,653,154   $999,349   $87,321

                                                                        Formation of Retinyl-Opsins by Retinyl Formate as
                                                                        Molecular Shades Against Light-Induced Retinal            HONG, JOHN DONG-
2,392 F30EY033659   5F30EY033659-04     UNIVERSITY OF CALIFORNIA-IRVINE Damage                                                    HOON                  Awarded. Fellowships only   2022/01/24   2026/01/23    $193,991     $193,991    $153,859   $53,974

                                                                          Structure and Function of the VWF Helical Tubule
2,393 F30HL162128   5F30HL162128-04     HARVARD MEDICAL SCHOOL            Required for Hemostasis                                 ANDERSON, JACOB R     Awarded. Fellowships only   2022/03/01   2026/07/31    $167,469     $167,469    $141,574   $53,974

                                                                          Mechanisms of BMP signaling driving tissue pattern
2,394 F31DK137596   1F31DK137596-01A1   RUTGERS, THE STATE UNIV OF N.J.   in the intestine                                        LOGERFO, ALEXANDRA    Awarded. Fellowships only   2024/07/04   2026/07/03     $41,882      $41,882     $29,680   $41,882

                                                                      Exploring the Role of Alternatively Spliced Variants
                                                                      of the Mu Opioid Receptor Gene, Oprm1, in Opioid-
                                        RUTGERS BIOMEDICAL AND HEALTH Induced Respiratory Depression in Gene Targeted
2,395 F31DA060029   1F31DA060029-01A1   SCIENCES                      Rat Models                                           MALIK, AYMA                  Awarded. Fellowships only   2024/07/01   2026/06/30     $44,426      $44,426     $33,246   $44,426

                                                                      Elucidating How Menstrual Cycle Phase Influences
                                        RUTGERS BIOMEDICAL AND HEALTH Neurocognitive Processes Underlying Risk-Taking in
2,396 F31DA061610   1F31DA061610-01     SCIENCES                      Women with Opioid Use Disorder                              LOFARO, FRANCESCA     Awarded. Fellowships only   2024/11/05   2027/10/04     $47,217      $47,217      $1,528   $47,217

                                                                          Examining the Impact of Adverse Social
                                                                          Determinants of Health on Infant Feeding Practices
2,397 F31NR021344   1F31NR021344-01     UNIVERSITY OF PENNSYLVANIA        among Black Women                                       SLATER, COURTNEY N    Awarded. Fellowships only   2024/07/01   2025/12/31     $48,974      $48,974     $42,672   $48,974

                                                                          The role of rRNA transcription and ribosome
                                                                          biogenesis in neural crest progenitors and stem cells
                                        STOWERS INSTITUTE FOR MEDICAL     during embryonic and postnatal craniofacial
2,398 F32DE033617   5F32DE033617-02     RESEARCH                          development                                           MAILI, LORENA           Awarded. Fellowships only   2024/03/01   2027/02/28    $152,284     $152,284     $89,563   $79,692

                                                                          Mechanism, connectivity, and outcome prediction
                                                                          of anxiety intervention from MRI-derived models in
2,399 F31AG087647   1F31AG087647-01A1   UNIVERSITY OF FLORIDA             tDCS augmented cognitive training                  STOLTE, SKYLAR E           Awarded. Fellowships only   2024/08/16   2026/08/15     $43,902      $43,902     $28,790   $43,902

                                                                          Characterization of adaptive cis-regulatory
2,400 F31HG013889   1F31HG013889-01     YALE UNIVERSITY                   variation across global populations                     AKERS, JARED FOX      Awarded. Fellowships only   2024/11/01   2025/10/31     $48,974      $48,974     $21,495   $48,974

                                                                          mTOR activation as a mechanism for sex differences
2,401 F32AI186453   1F32AI186453-01     JOHNS HOPKINS UNIVERSITY          in vaccine-induced immunity                        ST CLAIR, LAURA ATHELLE Awarded. Fellowships only      2024/12/16   2025/12/15     $74,764      $74,764     $26,339   $74,764

                                                                      Investigating the redox-sensitive E3 ubiquitin ligase
                                        WEILL MEDICAL COLL OF CORNELL Pellino-1 as a driver of T-cell dysfunction during          MERLINSKY, TIFFANY
2,402 F30HL175968   1F30HL175968-01     UNIV                          severe lung infection                                       REBECCA               Awarded. Fellowships only   2024/08/12   2028/08/11     $53,974      $53,974     $43,663   $53,974

                                        ARIZONA STATE UNIVERSITY-TEMPE    The Role of Autism Risk Genes in Cognitive and Brain
2,403 F31MH138112   1F31MH138112-01     CAMPUS                            Aging Outcomes of Autistic Adults                    HARKER, SAMANTHA         Awarded. Fellowships only   2025/01/01   2028/12/31     $48,974      $48,974      $9,973   $48,974
                                        UNIVERSITY OF CALIFORNIA         Leveraging Single Cell Stimulation to Untangle
2,404 F31EY035945   5F31EY035945-02     BERKELEY                         Parallel Perceptual Pathways in the Human Retina      JOHNSTON, LEAH         Awarded. Fellowships only   2024/01/01   2027/12/31    $91,930    $91,930    $48,312    $45,965

                                                                         Drosophila Chemosensory Responses to Dead
2,405 F31DC021886   5F31DC021886-02     YALE UNIVERSITY                  Conspecifics                                          SIFF, EMILY JESSICA    Awarded. Fellowships only   2024/02/01   2027/01/31    $82,924    $82,924    $49,273    $33,950

                                        UNIVERSITY OF CALIFORNIA, SAN
2,406 F31AI176705   5F31AI176705-02     DIEGO                            Understanding Prostate Resident Memory T Cells        TAKEHARA, KENNIDY      Awarded. Fellowships only   2024/01/01   2026/12/31    $83,390    $83,390    $43,157    $41,824

                                                                         Cis-regulatory mechanisms governing RORgt
2,407 F31AI181082   5F31AI181082-02     DUKE UNIVERSITY                  expression in type 3 lymphocytes                      MEHTA, NAREN U         Awarded. Fellowships only   2024/02/01   2027/01/31    $97,948    $97,948    $56,815    $48,974

                                        MEDICAL UNIVERSITY OF SOUTH
2,408 F31HL172615   1F31HL172615-01A1   CAROLINA                         Cardiac troponin i3 kinase in viral myocarditis       TJEN, KELSEY           Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974        $0     $48,974

                                                                         Intrinsic Ribosomal Decoding Center Methylation
2,409 F31AI186518   1F31AI186518-01     EMORY UNIVERSITY                 and the Bacterial Antibiotic Response                 BARMADA, MOHAMED I     Awarded. Fellowships only   2024/07/11   2028/07/10    $48,974    $48,974    $33,154    $48,974

                                                                         New biophysical and immunoregulatory
                                        UNIV OF MARYLAND, COLLEGE        mechanisms in neutrophil extracellular trap           BOBOLTZ, ALLISON
2,410 F31HL176146   1F31HL176146-01     PARK                             mediated lung dysfunction in cystic fibrosis          MARGARET               Awarded. Fellowships only   2024/09/16   2026/09/15    $39,760    $39,760    $18,126    $39,760

                                                                         Mechanisms of SAGA Regulation by Histone
2,411 F32GM156005   1F32GM156005-01     JOHNS HOPKINS UNIVERSITY         Crosstalk                                             FIELDS, JAMES KEMPER   Awarded. Fellowships only   2024/08/01   2026/07/31    $76,756    $76,756    $52,881    $76,756

                                                                         Homeostatic control of intestinal stem cell renewal
2,412 F31DK139740   1F31DK139740-01A1   EMORY UNIVERSITY                 by two transcriptional coactivators                   PLACENTRA, VICTORIA    Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $23,900    $48,974

                                        UNIVERSITY OF COLORADO           Thalamocortical mechanisms producing spatial          SANTIAGO MORENO,
2,413 F30EY034775   5F30EY034775-03     DENVER                           chromatic contrast in mouse V1                        JUAN GABRIEL           Awarded. Fellowships only   2023/01/01   2026/12/31   $110,932   $110,932    $87,204    $37,404

                                                                         The Influence of Lifetime Occupational Experience
                                        UNIVERSITY OF TEXAS MED BR       on Cognitive Trajectories Among Mexican Older
2,414 F31AG084149   5F31AG084149-02     GALVESTON                        Adults                                                GUTIERREZ, MARIELA A   Awarded. Fellowships only   2024/01/01   2025/12/31    $75,049    $75,049    $45,886    $37,666

                                                                      Characterizing mechanisms by which HIV-infected
                                        UNIV OF MASSACHUSETTS MED SCH macrophages neutralize NK cell effector functions
2,415 F31AI184128   1F31AI184128-01A1   WORCESTER                     to facilitate their persistence                          GRASBERGER, PAULA      Awarded. Fellowships only   2024/07/18   2027/07/17    $36,369    $36,369    $28,621    $36,369

                                                                         Overcoming Immunological Barriers to Inhaled AAV CLARK, ROBERT DAVID
2,416 F30HL176032   1F30HL176032-01     TULANE UNIVERSITY OF LOUISIANA   Gene Therapy                                     EDWARD                      Awarded. Fellowships only   2024/09/30   2029/08/29    $53,167    $53,167      $580     $53,167

                                                                         Single-cell optical phenotyping for diffuse gliomas
                                        UNIVERSITY OF MICHIGAN AT ANN    using artificial intelligence and label-free
2,417 F31NS135973   5F31NS135973-02     ARBOR                            microscopy                                            JIANG, CHENG           Awarded. Fellowships only   2024/01/01   2027/06/30    $84,198    $84,198    $64,837    $42,099

                                                                         Multiplex functional assay of variant effect in the   SHEPHERDSON, JAMES
2,418 F30EY033640   5F30EY033640-04     WASHINGTON UNIVERSITY            retinal transcription factor CRX                      LEWIS                  Awarded. Fellowships only   2022/02/01   2026/01/31   $177,262   $177,262   $146,542    $56,974

                                        NEW YORK UNIVERSITY SCHOOL OF Functional interrogation of region-specific reactive
2,419 F31NS135948   1F31NS135948-01A1   MEDICINE                      astrocyte factors in neuroinflammation                   O'DEA, MICHAEL RYAN    Awarded. Fellowships only   2024/07/01   2026/06/30    $41,906    $41,906    $34,850    $41,906

                                                                         Identifying Sox9 as a marker of multipotent
                                        UNIVERSITY OF COLORADO           progenitors in Circumvallate papilla/Von Ebners
2,420 F31DC021632   1F31DC021632-01A1   DENVER                           gland homeostasis                                     ISNER, TREVOR JOSEPH   Awarded. Fellowships only   2024/09/01   2027/08/31    $37,659    $37,659    $22,458    $37,659

                                                                         Identifying neuronal targets and mechanisms of
2,421 F31ES036908   1F31ES036908-01     UNIVERSITY OF TEXAS AT AUSTIN    manganese-induced neuromotor disease                  MELKOTE, ASHVINI       Awarded. Fellowships only   2024/08/16   2027/08/15    $40,613    $40,613    $29,576    $40,613

                                                                         Elucidating Host Responses to AAV Ocular Gene
2,422 F31EY035867   5F31EY035867-02     HARVARD MEDICAL SCHOOL           Therapy Vectors                                       GARDNER, APOLONIA      Awarded. Fellowships only   2024/02/01   2027/01/31    $80,121    $80,121    $53,111    $36,918

                                        OREGON HEALTH & SCIENCE          Experimental Therapeutics in Cancer Training                                 Awarded. Non-fellowships
2,423 T32CA285265   1T32CA285265-01A1   UNIVERSITY                       Program                                               KUMMAR, SHIVAANI       only                        2025/01/15   2029/12/31   $178,541   $178,541        $0    $178,541

                                        UNIVERSITY OF OKLAHOMA HLTH      Defining a direct mechanism of ESCO1 in chromatin
2,424 F31GM151889   1F31GM151889-01A1   SCIENCES CTR                     organization                                      SCHOEN, JEFFREY R          Awarded. Fellowships only   2024/07/01   2026/06/30    $39,419    $39,419    $20,326    $39,419

                                        RUTGERS BIOMEDICAL AND HEALTH Cell Telomerase Modulation by Human
2,425 F30AI157182   7F30AI157182-04     SCIENCES                      Cytomegalovirus                                          CAVANAUGH, CHLOE M     Awarded. Fellowships only   2022/01/01   2026/07/11   $212,394   $212,394    $95,754    $53,974
                                        UNIVERSITY OF SOUTHERN
2,426 F30AI186662   1F30AI186662-01     CALIFORNIA                        Engineering B cells for enhanced HIV control          MATHUR, ATISHAY        Awarded. Fellowships only   2024/09/01   2029/08/31    $53,974    $53,974     $2,880   $53,974

                                                                          Investigating the Role of Seryl-tRNA Synthetase in
                                        UNIVERSITY OF MICHIGAN AT ANN     Mitochondrial Biology and Human Recessive
2,427 F31HD111131   5F31HD111131-02     ARBOR                             Disease                                               DEL GRECO, CHRISTINA   Awarded. Fellowships only   2023/09/06   2025/09/05    $83,374    $83,374    $81,537   $42,555

                                        NEW YORK UNIVERSITY SCHOOL OF Defining the role of Uba1 in bone marrow
2,428 F32HL172626   1F32HL172626-01A1   MEDICINE                      physiology and inflammation                               SAWAI-FRANTZ, AYANA    Awarded. Fellowships only   2024/08/01   2027/07/31    $79,756    $79,756    $47,182   $79,756

                                        UNIV OF NORTH CAROLINA            Molecular mechanism of CCDC32 in
2,429 F31DE034311   1F31DE034311-01     CHAPEL HILL                       Cardiofacioneurodevelopmental syndrome                SLOAN, DILLON          Awarded. Fellowships only   2024/09/01   2027/08/31    $37,346    $37,346    $29,215   $37,346

                                        UNIVERSITY OF KANSAS MEDICAL
2,430 F32HD116506   1F32HD116506-01     CENTER                            Invasive trophoblast cell differentiation             SPECKHART, SAVANNAH    Awarded. Fellowships only   2024/08/12   2027/08/11    $73,828    $73,828    $54,878   $73,828

                                                                      The role of beta-secretase 1 (BACE1) in modulating
                                        UNIVERSITY OF CONNECTICUT SCH excitatory synaptic and circuit function and
2,431 F30AG081134   5F30AG081134-03     OF MED/DNT                    behavior                                                  YAO, ANNIE Y           Awarded. Fellowships only   2023/02/22   2027/02/21   $151,164   $151,164   $100,127   $53,974

                                                                          Investigating the mechanism of decision-making in
2,432 F31NS136003   5F31NS136003-02     SCRIPPS RESEARCH INSTITUTE, THE   the mitochondrial Protease YME1                       ALEXANDRESCU, LAUREN Awarded. Fellowships only     2024/01/16   2026/01/15    $71,948    $71,948    $46,899   $35,974

                                                                          Molecular Mechanisms of Somatostatin Interneuron
2,433 F31NS130915   5F31NS130915-03     HARVARD MEDICAL SCHOOL            Diversity                                        LEE, JINOH                  Awarded. Fellowships only   2023/03/01   2026/02/28   $112,678   $112,678    $85,722   $34,444

                                                                          Improving Global Measurement of Intimate Partner
2,434 F31HD116541   1F31HD116541-01     EMORY UNIVERSITY                  Violence                                              BERGENFELD, IRINA      Awarded. Fellowships only   2024/08/05   2026/08/04    $51,974    $51,974    $31,143   $51,974

                                        NEW YORK UNIVERSITY SCHOOL OF Non-coding Genomic Determinants of
2,435 F32GM153131   5F32GM153131-02     MEDICINE                      Adipogenesis                                              WHITNEY, PETER H       Awarded. Fellowships only   2023/12/20   2025/12/19   $148,112   $148,112   $102,529   $74,284

                                                                          Movement System Resiliency: Understanding Motor
2,436 F31AR084897   1F31AR084897-01     OHIO STATE UNIVERSITY             Responses to Mechanical Perturbation after ACLR       KRONENBERG, JAMIE      Awarded. Fellowships only   2024/12/01   2025/11/30    $44,015    $44,015    $10,179   $44,015

                                                                          Molecular regulators of marginal zone B cells in
2,437 F30HL176083   1F30HL176083-01     UNIVERSITY OF VIRGINIA            atherosclerosis                                       RANSEGNOLA, BRETT      Awarded. Fellowships only   2024/09/30   2026/09/29    $38,198    $38,198    $20,189   $38,198

                                                                          Investigating the role of THC in mediating pain
2,438 F31DA061576   1F31DA061576-01     UNIVERSITY OF WASHINGTON          signaling in the BLA                                  ELLIOFF, KAYLIN        Awarded. Fellowships only   2024/08/01   2027/07/31    $45,685    $45,685    $35,928   $45,685

                                                                          CXCL13 as an aging-associated defect in memory T
2,439 F32AI186256   1F32AI186256-01     STANFORD UNIVERSITY               cell homeostasis                                 BEPPLER, CASEY              Awarded. Fellowships only   2024/09/01   2027/03/31    $74,284    $74,284    $36,099   $74,284

                                                                          Intensive Longitudinal Associations between Stress,
                                                                          Mindfulness, and Alcohol Use in Highly Stressed
2,440 F31AA031881   1F31AA031881-01     GEORGE MASON UNIVERSITY           Mothers                                               KISNER, MALLORY        Awarded. Fellowships only   2024/08/01   2026/07/31    $37,016    $37,016    $20,705   $37,016

                                        CINCINNATI CHILDRENS HOSP MED Sex dependent effects of prolactin receptor on
2,441 F31NS135995   1F31NS135995-01A1   CTR                           muscle hypersensitivity following ischemic insult         QUIJAS, MERANDA        Awarded. Fellowships only   2024/07/12   2026/07/11    $42,574    $42,574        $0    $42,574

                                        UNIVERSITY OF MICHIGAN AT ANN     Defining Combined Pulmonary Fibrosis and
2,442 F32HL175973   1F32HL175973-01     ARBOR                             Emphysema (CPFE) using Quantitative CT Imaging        WANG, JENNIFER MIN     Awarded. Fellowships only   2024/09/10   2026/07/09    $91,694    $91,694    $51,077   $91,694

                                                                          Exploring the consequences of differential immune
                                                                          investment on molecular aging phenotypes in
2,443 F32AG090007   1F32AG090007-01     VANDERBILT UNIVERSITY             subsistence-level populations                         WATOWICH, MARINA       Awarded. Fellowships only   2024/09/01   2026/08/31    $79,459    $79,459    $38,952   $79,459

                                        ICAHN SCHOOL OF MEDICINE AT       The role of astrocytes in the pathogenesis of
2,444 F32AG072837   5F32AG072837-03     MOUNT SINAI                       sporadic tauopathy                                    WHITNEY, KRISTEN       Awarded. Fellowships only   2022/12/05   2025/12/04   $231,246   $231,246   $145,613   $77,908

                                                                          Implementation of BASICS: Matching Effective
2,445 F31AA031910   1F31AA031910-01     UNIVERSITY OF WASHINGTON          Strategies to Address Common Barriers                 METTERT, KAYNE         Awarded. Fellowships only   2024/07/16   2027/07/15    $47,405    $47,405    $34,580   $47,405

                                        UNIV OF MARYLAND, COLLEGE         Import of double-stranded RNA and cholesterol into
2,446 F31HL176186   1F31HL176186-01     PARK                              cells in C. elegans                                LOWERS, VICTORIA          Awarded. Fellowships only   2025/01/01   2027/12/31    $42,547    $42,547    $13,550   $42,547

                                        RESEARCH INST NATIONWIDE          Elucidating the cellular and molecular basis of LYST-
2,447 F31HL176054   1F31HL176054-01     CHILDREN'S HOSP                   mediated TEVG stenosis                                TURNER, MACKENZIE      Awarded. Fellowships only   2024/12/01   2027/11/30    $44,667    $44,667     $4,497   $44,667
                                                                         Understanding the role of altered lipid metabolism
                                        UNIVERSITY OF PITTSBURGH AT      in CD8 T cell exhaustion within the tumor
2,448 F31CA288000   1F31CA288000-01A1   PITTSBURGH                       microenvironment                                       SPAHR, KELLIE           Awarded. Fellowships only   2024/07/01   2027/06/30    $48,974    $48,974    $40,646    $48,974


                                        UNIVERSITY OF COLORADO           Development of deep learning methods to optimize
2,449 F31DE033614   1F31DE033614-01A1   DENVER                           patient personalized treatment for craniosynostosis ELKHILL, CONNOR            Awarded. Fellowships only   2024/08/01   2026/07/31    $37,721    $37,721    $31,083    $37,721

                                                                         Examining the conditionality and time dynamics of
2,450 F32GM155990   1F32GM155990-01     STANFORD UNIVERSITY              evolutionary constraint in yeast                       VISHER, ELISA           Awarded. Fellowships only   2024/09/01   2026/08/31    $73,828    $73,828    $42,768    $73,828

                                        UNIVERSITY OF CALIFORNIA, SAN
2,451 F31HL172636   1F31HL172636-01A1   FRANCISCO                        Type 1-2 immune cross-regulation in the lung           CARYOTAKIS, SOFIA       Awarded. Fellowships only   2024/09/13   2026/09/12    $45,909    $45,909    $36,936    $45,909

                                                                         What is the mechanism by which a gene essential
                                        ST. JUDE CHILDREN'S RESEARCH     for Rhabdoid tumor viability regulates Chromatin
2,452 F32CA284882   1F32CA284882-01A1   HOSPITAL                         function?                                              COCKFIELD, JORDAN A     Awarded. Fellowships only   2024/07/15   2027/07/14    $74,284    $74,284    $51,503    $74,284

                                                                         Investigating the Role of Somatic Mutations in
2,453 F32NS133029   5F32NS133029-02     BOSTON CHILDREN'S HOSPITAL       Neurofibromatosis Brain                                SNELLINGS, DANIEL       Awarded. Fellowships only   2023/07/01   2025/06/30   $144,364   $144,364   $124,280    $74,284

                                                                         High-throughput experimental and computational
                                        UNIVERSITY OF COLORADO           identification of RNA elements that regulate
2,454 F31GM155957   1F31GM155957-01     DENVER                           trafficking to midbodies                               VAETH, KATHERINE F      Awarded. Fellowships only   2024/09/01   2027/08/31    $37,912    $37,912    $19,656    $37,912

                                                                         PERIFORNICAL AREA OF THE ANTERIOR
2,455 F32DK138685   1F32DK138685-01A1   BAYLOR COLLEGE OF MEDICINE       HYPOTHALAMUS REGULATES METABOLIC BALANCE               FANG, XING              Awarded. Fellowships only   2024/09/01   2027/08/31    $81,892    $81,892    $49,669    $81,892

                                                                         Development of a Biocatalytic Toolbox for the
                                        UNIVERSITY OF MICHIGAN AT ANN    Synthesis of Small-Molecule Mimics of cyclic
2,456 F32GM151793   5F32GM151793-02     ARBOR                            GMPAMP                                                 MEYER, COLE CHRISTIAN   Awarded. Fellowships only   2023/08/01   2026/07/31   $142,512   $142,512   $123,179    $73,828

                                                                         Defining the Role of Type III Collagen in Neonatal     TAMBURRO, MARGARET
2,457 F31AR082282   5F31AR082282-03     UNIVERSITY OF PENNSYLVANIA       Tendon Development and Healing                         KATHRYN                 Awarded. Fellowships only   2022/12/07   2025/12/06   $133,404   $133,404   $112,785    $36,736

                                                                         Exploring Grief Through Social Determinants of
                                                                         Health Mechanisms Among Latinx Families in the US
                                                                         Who Are Living Through the Loss of a Child to
2,458 F31NR021329   1F31NR021329-01     DUKE UNIVERSITY                  Cancer: A Mixed Methods Study                     BUZELLI, PATRICIA G          Awarded. Fellowships only   2024/08/01   2026/09/30    $48,974    $48,974    $38,918    $48,974

                                        COLUMBIA UNIVERSITY TEACHERS     Parent-adolescent informant discrepancies:
2,459 F31HD111295   5F31HD111295-02     COLLEGE                          Predicting suicide risk and treatment outcomes         SPEARS, ANGELA PAGE     Awarded. Fellowships only   2024/01/01   2027/01/01    $82,588    $82,588    $41,294    $41,294

                                                                         Hp1bp3 oversees chromatin remodeling to slow
2,460 F31CA295034   1F31CA295034-01     BAYLOR COLLEGE OF MEDICINE       tumor growth in high grade glioma                      LOZZI, BRITTNEY         Awarded. Fellowships only   2024/07/09   2026/07/08    $48,974    $48,974    $36,617    $48,974

                                                                        Neuropathological and spatial transcriptome brain
                                                                        maps in Octodon degus, a natural Alzheimers             GARDUNO, BERNARDO
2,461 F31AG082485   5F31AG082485-02     UNIVERSITY OF CALIFORNIA-IRVINE disease rodent model                                    MAXIMILIANO             Awarded. Fellowships only   2023/12/01   2027/11/30    $90,209    $90,209    $65,155    $45,458

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                   Awarded. Non-fellowships
2,462 T32TR004764   5T32TR004764-02     ARBOR                            CTSA Postdoctoral T32 at the University of Michigan    HARTE, STEVEN EDWARD    only                        2023/12/01   2028/11/30   $895,152   $895,152   $446,236   $448,418

                                                                         Exploring Risk and Resilience Factors in Families of   FELICICCHIA, RILEY
2,463 F31AA031883   1F31AA031883-01     SAN DIEGO STATE UNIVERSITY       Children with FASD: A Mixed Methods Approach           JORDAN                  Awarded. Fellowships only   2024/08/01   2026/07/31    $39,125    $39,125    $28,328    $39,125

                                                                         Defining Inflammatory Triggers that Induce Diverse
2,464 F30DK134124   5F30DK134124-03     SAINT LOUIS UNIVERSITY           Subtypes of Gastric Metaplasia                         HOFT, STELLA GARDEN     Awarded. Fellowships only   2023/01/01   2026/12/31   $160,642   $160,642    $89,566    $53,974

                                        UNIVERSITY OF ILLINOIS AT        The Role of PICALM in Regulating Neurogenesis in       APONTE-COFRESI, LUIS
2,465 F30AG086007   1F30AG086007-01A1   CHICAGO                          Alzheimers Disease                                     ALBERTO                 Awarded. Fellowships only   2024/08/16   2027/08/15    $53,974    $53,974    $44,390    $53,974

                                                                         Regulation of B cell receptor avidity to organize      ROSADO, VICTORIA
2,466 F31AI186217   1F31AI186217-01     HARVARD MEDICAL SCHOOL           antigen recognition                                    CELINE                  Awarded. Fellowships only   2024/09/30   2025/09/29    $43,456    $43,456    $31,696    $43,456

                                                                         Functional domains of bone sialoprotein in
2,467 F30DE030358   5F30DE030358-04     OHIO STATE UNIVERSITY            dentoalveolar development and healing                  CHAVEZ, MICHAEL B       Awarded. Fellowships only   2021/08/01   2025/07/31   $197,956   $197,956   $179,498    $57,774
                                                                        Hematopoietic stem cell dysfunction in traumatic
2,468 F31NS139434   1F31NS139434-01     CASE WESTERN RESERVE UNIVERSITY brain injury and Alzheimers disease                     CORELLA, SOFIA          Awarded. Fellowships only   2024/09/01   2027/08/31    $53,974    $53,974    $18,940    $53,974

                                        UNIVERSITY OF ALABAMA AT         UAB Cardiovascular Disease Predoctoral Training                                Awarded. Non-fellowships
2,469 T32HL155007   5T32HL155007-05     BIRMINGHAM                       Program in Biostatistics and Epidemiology              TIWARI, HEMANT K        only                        2020/12/01   2025/11/30   $790,531   $790,531   $351,113   $143,965

                                        UNIVERSITY OF CALIFORNIA, SAN    Epigenetic signatures driving metaplastic repair       IANTORNO, STEFANO
2,470 F32HL175915   1F32HL175915-01     FRANCISCO                        mechanisms in human alveolar type II cells             AZELIO                  Awarded. Fellowships only   2024/09/30   2027/09/29    $84,364    $84,364    $23,805    $84,364

                                                                         Assessing the role of SP140 in enhanced resistance     BETANCOURT, JOVANY
2,471 F31AI181528   1F31AI181528-01A1   UNIVERSITY OF MINNESOTA          to Cryptococcus neoformans                             JORDAN                  Awarded. Fellowships only   2024/08/15   2025/08/14    $46,478    $46,478    $34,889    $46,478

                                        NORTHWESTERN UNIVERSITY AT       Dissecting the role of vascular endothelial BMP9
2,472 F31HL176117   1F31HL176117-01     CHICAGO                          signaling in lung transplantation                      GILL, BLAKE             Awarded. Fellowships only   2025/02/06   2027/02/05    $44,187    $44,187        $0     $44,187

                                                                         Liposome-crosslinked hyaluronic acid hydrogels with
                                                                         localized protein delivery for myocardial infarction
2,473 F31HL175888   1F31HL175888-01     STANFORD UNIVERSITY              therapy                                              BAUGH, NEIL               Awarded. Fellowships only   2024/09/01   2027/08/31    $42,819    $42,819    $21,342    $42,819

                                                                         Exploring the Role of Microglia SYK Signaling in
2,474 F31AG089911   1F31AG089911-01     UNIVERSITY OF VIRGINIA           Tauopathy                                              JOHNSON, ALEXIS MARIE   Awarded. Fellowships only   2024/09/01   2026/08/31    $38,001    $38,001    $23,251    $38,001

                                        UNIVERSITY OF PITTSBURGH AT      Local Delivery of CCL2 to Reverse Peri-implant Bone
2,475 F30DE033606   1F30DE033606-01A1   PITTSBURGH                       Loss in Murine Peri-implantitis                     CHO, YEJIN                 Awarded. Fellowships only   2024/09/01   2027/08/31    $54,774    $54,774    $34,690    $54,774

                                        UT SOUTHWESTERN MEDICAL          Structural and biophysical investigation of Scap       WILLIAMS, BLAKE
2,476 F31HL176187   1F31HL176187-01     CENTER                           regulation by cholesterol                              CHRISTOPHER             Awarded. Fellowships only   2025/02/01   2028/01/31    $40,127    $40,127        $0     $40,127

                                        UNIVERSITY OF CONNECTICUT        Enhanced central chemoreception contributes to
2,477 F31HL172642   1F31HL172642-01A1   STORRS                           breathing problems in hypertension                     JOLLY, MICHAEL ALLEN    Awarded. Fellowships only   2024/08/01   2028/07/31    $48,713    $48,713    $39,823    $48,713

                                                                         A systems biology approach to elucidating
2,478 F32GM150259   5F32GM150259-02     UNIVERSITY OF UTAH               mechanisms underlying amino acid toxicities            JACOBS, KYLIE           Awarded. Fellowships only   2023/06/01   2025/05/31   $146,256   $146,256   $133,281    $76,756

                                                                         Dissecting the Role of Radiation in Regulation of
2,479 F30CA268910   5F30CA268910-04     DUKE UNIVERSITY                  MHC-I and Neoantigen Presentation                      SU, CHANG               Awarded. Fellowships only   2021/12/02   2025/12/01   $174,729   $174,729   $153,839    $53,974

                                        CINCINNATI CHILDRENS HOSP MED
2,480 F30AI157421   5F30AI157421-04     CTR                           Silencer Control of T cell Homeostasis                    STEFAN, KURTIS          Awarded. Fellowships only   2021/11/19   2025/10/31   $187,482   $187,482   $114,887    $53,974

                                                                         Exploring corticostriatal dynamics associated with
                                                                         action control deficits in Neurexin1 alpha mutant
2,481 F31NS130989   5F31NS130989-03     UNIVERSITY OF PENNSYLVANIA       mice                                                   FERRIGNO, SARAH         Awarded. Fellowships only   2023/01/04   2025/11/03   $128,700   $128,700   $104,227    $32,032

                                        UNIVERSITY OF COLORADO           Meninges Specification and Cellular Crosstalk to the
2,482 F31NS130940   5F31NS130940-03     DENVER                           Developing Brain                                     COMO, CHRISTINA N         Awarded. Fellowships only   2022/12/07   2025/10/06   $114,726   $114,726    $78,858    $35,748

                                                                         TRAF3IP2 as a Proinflammatory Mediator of Alcohol-
2,483 F30AA031632   1F30AA031632-01A1   LSU HEALTH SCIENCES CENTER       related Cardiomyopathy                             HARRIS, NICHOLAS R          Awarded. Fellowships only   2024/08/01   2028/07/31    $40,827    $40,827    $25,088    $40,827

                                        UNIVERSITY OF TEXAS MED BR       Infectious Diseases and Inflammatory Disorders                                 Awarded. Non-fellowships
2,484 T35AI078878   5T35AI078878-15     GALVESTON                        Training Program                                       WANG, TIAN              only                        2008/06/01   2026/01/31   $297,758   $297,758   $201,361    $57,405

                                        NORTHWESTERN UNIVERSITY AT       POISEN: A Bioinformatics Pipeline to Identify Poison
2,485 F31NS141554   1F31NS141554-01     CHICAGO                          Exons in Neurodevelopment                              BROAD, MIA SUZANNE      Awarded. Fellowships only   2025/02/11   2028/12/31    $39,462    $39,462     $2,578    $39,462

                                                                         The Rheumatic and Musculoskeletal Disease
                                        UNIV OF NORTH CAROLINA           Epidemiology and Outcomes Training Program at          CALLAHAN, LEIGH         Awarded. Non-fellowships
2,486 T32AR082310   5T32AR082310-02     CHAPEL HILL                      the University of North Carolina                       FLEMING                 only                        2024/05/01   2029/04/30   $405,617   $405,617    $64,475   $275,120

                                                                         Investigating the role of NLGN3 in autism spectrum
2,487 F31MH139286   1F31MH139286-01     BAYLOR COLLEGE OF MEDICINE       disorder and sleep disruptions                         TOWNSLEY, REBEKAH ELISE Awarded. Fellowships only   2025/02/01   2027/01/31    $48,974    $48,974     $9,043    $48,974

                                                                         Pediatric Surgeon-Scientist Training Program in                                Awarded. Non-fellowships
2,488 T32HD104582   5T32HD104582-04     BOSTON CHILDREN'S HOSPITAL       Vascular Diseases                                      GREENE, ARIN K          only                        2022/05/09   2027/04/30   $888,794   $888,794   $479,347   $275,484

                                        UNIVERSITY OF MICHIGAN AT ANN    Leveraging a sliding-window Type I CRISPR base
2,489 F31HL177911   1F31HL177911-01     ARBOR                            editing platform to correct CFTR null mutations        MYERS, MASON T          Awarded. Fellowships only   2025/01/01   2027/12/31    $43,025    $43,025     $9,630    $43,025
                                                                           Aberrant DNA Methylation Associated with
                                        BOSTON UNIVERSITY MEDICAL          Repetitive Head Impact Exposure and Chronic
2,490 F31NS141294   1F31NS141294-01     CAMPUS                             Traumatic Encephalopathy                                 BREEN, KERRY ANN       Awarded. Fellowships only   2025/02/01   2027/01/31     $48,974      $48,974       $4,704     $48,974

                                        STATE UNIVERSITY NEW YORK STONY Maximizing Selective Inhibition of Clinically
2,491 F30CA281272   5F30CA281272-02     BROOK                           Observed MET Mutants                                        OUTHWAITE, IAN         Awarded. Fellowships only   2024/03/26   2027/03/25     $95,314      $95,314      $38,683     $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN      Research Training in Pediatric Critical Care                                    Awarded. Non-fellowships
2,492 T32HD049303   5T32HD049303-19     FRANCISCO                          Medicine                                                 FINEMAN, JEFFREY R     only                        2006/05/15   2027/04/30    $707,428     $707,428     $529,042    $198,394

                                                                           The Role of Prelimbic Corticotrophin Releasing
                                                                           Factor Type 1 Receptor and L-Type Calcium
2,493 F30DA062474   1F30DA062474-01     YALE UNIVERSITY                    Channels in Stress-induced Relapse                       UCHENDU, STACY NDIDI   Awarded. Fellowships only   2025/04/01   2028/06/30     $36,958      $36,958           $0     $36,958

                                                                           The Interplay Between mTOR Inhibitors and
                                        UNIV OF MARYLAND, COLLEGE          Endothelial Cell-to-Cell Junction Dynamics:
2,494 F31HL178291   1F31HL178291-01     PARK                               Implications for Vascular Barrier Dysfunction            BRANDON, KEN D         Awarded. Fellowships only   2025/01/12   2026/07/11     $39,867      $39,867       $8,874     $39,867

                                        UNIV OF NORTH CAROLINA             Engineering and application of modular chimeric
2,495 F32GM157944   1F32GM157944-01     CHAPEL HILL                        tRNA synthetases in mRNA display                         ELLIS, JONATHAN M      Awarded. Fellowships only   2024/12/01   2027/11/30     $73,828      $73,828      $17,654     $73,828

                                                                           The role of sleep in neurodevelopmental plasticity
2,496 F31MH136685   1F31MH136685-01A1   UNIVERSITY OF PENNSYLVANIA         and emotion dysregulation in youth                       BAGAUTDINOVA, JOELLE Awarded. Fellowships only     2024/09/01   2027/08/31     $48,974      $48,974      $37,348     $48,974

                                                                           Molecular and Functional Characterization of
                                        UNIVERSITY OF ALABAMA AT           Transcriptionally Defined Subpopulations of VTA          FITZGERALD, NATALIE
2,497 F30DA062497   1F30DA062497-01     BIRMINGHAM                         Dopamine Neurons                                         DALTON                 Awarded. Fellowships only   2025/05/01   2027/10/31     $42,856      $42,856           $0     $42,856

                                                                           Role of Myristate and Sphingolipids on Intestinal ER
2,498 F31DK142470   1F31DK142470-01     UNIVERSITY OF ARIZONA              Stress and Lipid Metabolism                              DOLL, CHELSEA LOUISE   Awarded. Fellowships only   2025/01/01   2026/12/31     $48,974      $48,974      $15,756     $48,974

                                                                           Identifying novel contributors to Wnt/beta-catenin
                                        BOSTON UNIVERSITY MEDICAL          mediated epigenetic activity in the evolution of
2,499 F31DE033918   5F31DE033918-02     CAMPUS                             OSCC                                                     FISHER, EMILY          Awarded. Fellowships only   2024/05/08   2026/05/07     $99,548      $73,580      $26,158     $49,774

                                                                           Dissecting mechanistic differences between EZH2
2,500 F31CA298288   1F31CA298288-01     WASHINGTON UNIVERSITY              gain-of-function events in B-cell lymphoma               SMITH, SOFIA R         Awarded. Fellowships only   2025/04/01   2028/03/31     $35,482      $35,482           $0     $35,482

                                                                           EVALUATING THE IMPACT OF LOSS OF
                                                                           HETEROZYGOSITY ON LOCALIZED AVM FORMATION                GUIDROZ, ADELLA
2,501 F31HL174077   5F31HL174077-02     TULANE UNIVERSITY OF LOUISIANA     IN HHT                                                   PATIENCE BOUDREAUX     Awarded. Fellowships only   2024/04/01   2026/03/31     $97,948      $97,948      $35,056     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                      Awarded. Non-fellowships
2,502 T32EB035504   1T32EB035504-01A1   ARBOR                              Michigan Translational Imaging Program (M-TIP)           SEIBERLICH, NICOLE     only                        2025/05/01   2030/04/30    $184,010     $184,010           $0    $184,010

                                                                           Seizure onset zone localization with functional MRI
                                                                           correlates of interictal physiology in temporal lobe
2,503 F31NS135908   5F31NS135908-02     VANDERBILT UNIVERSITY              epilepsy                                                 SAINBURG, LUCAS        Awarded. Fellowships only   2024/05/01   2026/04/30     $97,948      $97,948      $32,389     $48,974

                                                                           Training in Implementation Science Research and                                 Awarded. Non-fellowships
2,504 T32HL155000   5T32HL155000-05     YALE UNIVERSITY                    Methods                                                  SPIEGELMAN, DONNA L    only                        2021/02/01   2026/01/31   $2,164,380   $2,164,380   $1,190,215   $260,462

                                                                                                                                                         Awarded. Non-fellowships
2,505 T32GM150375   3T32GM150375-02S1   UNIVERSITY OF CHICAGO              Medical Scientist National Research Service Award        CLARK, MARCUS RAMSAY only                          2023/07/01   2028/06/30   $2,889,800   $2,889,800   $2,503,033   $119,872

                                                                                                                                                           Awarded. Non-fellowships
2,506 T32AR071302   5T32AR071302-09     HOSPITAL FOR SPECIAL SURGERY       HSS Research Institute Rheumatology Training             SALMON, JANE E         only                        2017/05/01   2027/04/30   $1,176,909   $1,176,909    $373,695    $263,920

                                                                           Astrocyte modulation of striatal neuronal activity
2,507 F32AA032173   1F32AA032173-01     RUTGERS, THE STATE UNIV OF N.J.    and behavioral sensitivity to alcohol                    ARDINGER, CHERISH      Awarded. Fellowships only   2025/01/15   2027/01/14     $74,284      $74,284      $14,938     $74,284

                                                                           Characterizing the regulatory roles of microRNA on
2,508 F31MH136717   1F31MH136717-01A1   JOHNS HOPKINS UNIVERSITY           mitochondria in the mammalian CNS                        EISS, EMILY            Awarded. Fellowships only   2024/09/05   2027/09/04     $51,974      $51,974      $37,469     $51,974

                                        UNIV OF NORTH CAROLINA             From Biological to Social Processes: Interdisciplinary                          Awarded. Non-fellowships
2,509 T32HD091058   5T32HD091058-09     CHAPEL HILL                        Training in Life Course Research                         HUMMER, ROBERT A       only                        2017/08/21   2027/04/30   $1,879,013   $1,858,013   $1,215,982   $552,192

                                                                           The reninness score: integrative analysis of multi-
2,510 F31DK139601   1F31DK139601-01A1   UNIVERSITY OF VIRGINIA             omic data to define renin cell identity                  XUE, BINGJIE           Awarded. Fellowships only   2025/01/01   2026/12/31     $40,196      $40,196      $12,042     $40,196
                                                                          Head Scanning Behavior and Reward Interactions in
2,511 F31MH134596   5F31MH134596-02     JOHNS HOPKINS UNIVERSITY          Potentiation of Place Fields                      OZEL, PELIN                  Awarded. Fellowships only   2024/04/01   2026/03/31    $97,948    $97,948    $50,659    $48,974

                                        UNIVERSITY OF COLORADO            The role of subsynaptic nanoscale architecture in
2,512 F31NS141320   1F31NS141320-01     DENVER                            inhibitory synaptic plasticity                         STEWART, AMBER ROSE     Awarded. Fellowships only   2025/02/01   2028/01/31    $36,670    $36,670     $6,777    $36,670

                                                                          The molecular mechanism of amelogenin exon4
                                        UNIVERSITY OF CALIFORNIA, SAN     alternative splicing and its association to
2,513 F31DE034641   1F31DE034641-01     FRANCISCO                         amelogenesis imperfecta                                SHEMIRANI, ROZANA       Awarded. Fellowships only   2024/09/27   2027/07/26    $48,003    $48,003    $28,593    $48,003

                                        UNIVERSITY OF CALIFORNIA, SAN
2,514 F30DE033612   1F30DE033612-01A1   FRANCISCO                         Cellular mechanisms of palatal shelf outgrowth         SHAMARDANI, KARIN       Awarded. Fellowships only   2024/09/06   2028/09/05    $48,003    $48,003    $34,829    $48,003

                                                                        Investigating the Structural Basis of Human Glycine
                                                                        Receptor Modulation for Neurodevelopmental
2,515 F30HD114399   5F30HD114399-02     CASE WESTERN RESERVE UNIVERSITY Disorders                                                KRUEGER, EMILY          Awarded. Fellowships only   2024/03/01   2028/02/29   $107,948   $107,948    $44,960    $53,974

                                                                          Medial orbitofrontal cortical mechanisms underlying
2,516 F32MH139279   1F32MH139279-01     EMORY UNIVERSITY                  socially guided choice                              TOWNER, TREVOR             Awarded. Fellowships only   2025/01/01   2027/12/31    $73,828    $73,828    $20,719    $73,828

                                                                          Investigating how germline sexual identity controls
2,517 F31HD115364   1F31HD115364-01A1   JOHNS HOPKINS UNIVERSITY          sex-specific gene expression                           CURNUTTE, HARRISON      Awarded. Fellowships only   2024/11/01   2027/10/31    $48,974    $48,974    $15,666    $48,974

                                                                          Dissecting the Forward Trafficking of Presynaptic
2,518 F31NS127399   5F31NS127399-03     HARVARD MEDICAL SCHOOL            Voltage Gated Calcium Channels                         CHIN, MORVEN            Awarded. Fellowships only   2023/01/01   2025/12/31   $109,288   $109,288    $85,442    $36,856

                                                                          Itaconate mediated control of inflammatory
2,519 F31AI178955   5F31AI178955-02     UNIVERSITY OF WASHINGTON          hemophagocyte accumulation                             LICHAUCO, KATRINA       Awarded. Fellowships only   2024/03/16   2025/06/15    $55,193    $55,193    $46,141    $11,039

                                        UNIVERSITY OF ALABAMA AT          Training Program in Rheumatic and Musculoskeletal                              Awarded. Non-fellowships
2,520 T32AR069516   5T32AR069516-08     BIRMINGHAM                        Diseases Research                                 MOUNTZ, JOHN D               only                        2016/05/01   2028/04/30   $986,224   $986,224   $301,127   $266,003

                                                                          Highly parallelized characterization of histone
2,521 F32GM157893   1F32GM157893-01     DUKE UNIVERSITY                   reader dysfunction                                     BOILEAU, RYAN MICHAEL Awarded. Fellowships only     2024/12/01   2026/11/30    $73,828    $73,828    $30,663    $73,828

                                                                          Engineering hematopoietic stem cells to generate
2,522 F30HL178496   1F30HL178496-01     STANFORD UNIVERSITY               therapeutic antibody secreting B cells                 LUNA, SOFIA ELENA       Awarded. Fellowships only   2025/01/15   2028/08/14    $53,974    $53,974    $13,828    $53,974

                                        UNIV OF NORTH CAROLINA            Defining the contributions of apoptosis to germline
2,523 F32HD117621   1F32HD117621-01     CHAPEL HILL                       syncytium function during oogenesis                    ONWUBIKO, UDODIRIM      Awarded. Fellowships only   2025/04/01   2028/03/31    $73,408    $73,408        $0     $73,408

                                                                          UNCOVERING THE COMBINED EFFECTS OF VEGFA
                                                                          AND ANG2 PRO-ANGIOGENIC SIGNALING IN
2,524 F31HL174074   5F31HL174074-02     TULANE UNIVERSITY OF LOUISIANA    HEREDITARY HEMORRHAGIC TELANGIECTASIA                  BAVISHI, SHREYA         Awarded. Fellowships only   2024/04/01   2026/03/31    $97,948    $97,948    $34,810    $48,974

                                                                          Identifying a role for the mu-opioid receptor in the
                                                                          paraventricular nucleus of the thalamus in the
2,525 F31DA062541   1F31DA062541-01     UNIVERSITY OF PENNSYLVANIA        development of stress related phenotypes               TYNER, EMMA ELYSE       Awarded. Fellowships only   2025/02/01   2028/01/31    $48,974    $48,974        $0     $48,974

                                                                          Structural and Functional Characterization of the S.
2,526 F31AG087552   1F31AG087552-01A1   ROCKEFELLER UNIVERSITY            cerevisiae mRNA export platform                        MITTAL, SANRAJ RAO      Awarded. Fellowships only   2025/01/01   2026/12/31    $48,974    $48,974    $16,324    $48,974

                                        ICAHN SCHOOL OF MEDICINE AT       Profiling of Midbrain Neuronal Vulnerability in
2,527 F31NS137751   1F31NS137751-01A1   MOUNT SINAI                       Parkinsons Disease                                     LIANG, MARIANNA         Awarded. Fellowships only   2024/12/01   2027/04/30    $48,974    $48,974        $0     $48,974

                                                                          Investigating the Impact of Epigenetic
2,528 F31HL168825   5F31HL168825-02     UNIVERSITY OF WASHINGTON          Heterogeneity on Hematopoiesis                         WONG, MADELINE          Awarded. Fellowships only   2024/01/01   2026/12/31    $97,948    $97,948    $58,268    $48,974

                                                                          Identifying the Mechanism of Resistance to
                                        NORTHWESTERN UNIVERSITY AT        Immunotherapy in Merkel Cell Carcinoma (for
2,529 F30CA278298   5F30CA278298-02     CHICAGO                           Zachary Reinstein)                                     REINSTEIN, ZACHARY ZALE Awarded. Fellowships only   2024/02/01   2026/01/31    $88,374    $88,374    $32,401    $44,187

                                                                          Role of Phosphorylation in Determining Circadian       STEVENSON, ELIZABETH-
2,530 F31HL165774   5F31HL165774-03     DARTMOUTH COLLEGE                 Period Length and Temperature Compensation             LAUREN                  Awarded. Fellowships only   2023/03/16   2026/03/15   $145,642   $145,642    $94,329    $48,974

                                                                          Disease consequences and regulation of
2,531 F31GM149144   5F31GM149144-02     YALE UNIVERSITY                   autophagy-independent ATG3 activity                    GUINN, EMILY DELGADO    Awarded. Fellowships only   2024/01/16   2026/07/15    $97,948    $97,948    $55,267    $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN     Learning-induced synaptic plasticity in corticospinal
2,532 F32NS140212   1F32NS140212-01     DIEGO                             output neurons of motor cortex                        LI, JENNIFER YING        Awarded. Fellowships only   2025/03/01   2027/11/30    $73,408    $73,408        $0     $73,408
                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
2,533 T32GM007198   3T32GM007198-50S1   DIEGO                           Medical Scientist Training Program                    INSEL, PAUL A           only                        1975/07/01   2025/06/30   $7,222,995   $7,222,995   $6,778,642    $59,936

                                        UNIVERSITY OF MICHIGAN AT ANN
2,534 F31HL172674   5F31HL172674-02     ARBOR                           Defining the metabolic regulation of erythropoiesis   POURMANDI, NARGES       Awarded. Fellowships only   2024/02/01   2026/01/31     $84,188      $84,188      $42,094     $42,094

                                                                        Genome-wide dysregulation of R-loops in Ataxia
2,535 F31NS127537   5F31NS127537-03     EMORY UNIVERSITY                Telangiectasia neurological pathogenesis              WESTOVER, KATHERINE R   Awarded. Fellowships only   2023/03/13   2026/01/12    $140,938     $140,938      $97,579     $44,270

                                                                        Defining how ubiquitination of Ebola viral proteins
2,536 F30AI181462   5F30AI181462-02     WASHINGTON UNIVERSITY           affect host-viral dynamics                            UWASE, GRACE            Awarded. Fellowships only   2024/02/01   2028/01/31     $69,246      $69,246      $40,932     $34,623

                                        UNIVERSITY OF WISCONSIN-        Short-term Research Training for Veterinary Students                          Awarded. Non-fellowships
2,537 T35OD011078   5T35OD011078-15     MADISON                         in Wisconsin                                         JORGENSEN, JOAN S        only                        2011/06/18   2026/03/31    $453,749     $453,749     $352,134    $100,370

                                        UT SOUTHWESTERN MEDICAL         Immune Checkpoint Regulation by the Integrated        THOMAS-JARDIN,
2,538 F32CA274982   5F32CA274982-03     CENTER                          Stress Response Pathway in Lung Ca                    SHAYNA                  Awarded. Fellowships only   2023/04/01   2026/03/31    $225,148     $225,148     $148,202     $78,892

                                        UNIVERSITY OF PITTSBURGH AT     High physical activity in older adults with pain:
2,539 F30AG085921   5F30AG085921-02     PITTSBURGH                      behavioral and neural drivers of pain resilience      WITONSKY, KAILYN FAYE   Awarded. Fellowships only   2024/01/18   2026/01/17    $108,640     $108,640      $60,158     $54,320

                                        UNIVERSITY OF MICHIGAN AT ANN   Monoaminergic and limbic systems underlying           TOTH, BRANDON
2,540 F31NS132434   5F31NS132434-02     ARBOR                           narcolepsy-cataplexy                                  ANTHONY                 Awarded. Fellowships only   2024/01/01   2026/10/31     $84,644      $84,644      $68,588     $42,550

                                                                        Investigating the role of the endoplasmic reticulum
2,541 F30AG082410   5F30AG082410-02     UNIVERSITY OF WASHINGTON        unfolded protein response in tauopathy                HAN, MARINA             Awarded. Fellowships only   2024/03/01   2027/02/28    $107,948     $107,948      $53,974     $53,974

                                                                                                                                                      Awarded. Non-fellowships
2,542 T35OD010977   5T35OD010977-17     OHIO STATE UNIVERSITY           Short term training for veterinary students           OGLESBEE, MICHAEL J     only                        2009/04/01   2029/03/31    $158,077     $158,077      $68,459     $89,030

                                        UNIVERSITY OF ALABAMA AT        Role of Reelin protein in the cellular and behavioral
2,543 F30DA057821   5F30DA057821-02     BIRMINGHAM                      response to drugs of abuse                            BRIDA, KASEY LYNN       Awarded. Fellowships only   2024/04/01   2027/03/31     $90,286      $90,286      $37,700     $47,657

                                                                        Circuit mechanisms of arbitration between distinct    DEMAEGD, MARGARET
2,544 F32MH132176   5F32MH132176-03     NEW YORK UNIVERSITY             reinforcement learning systems                        LOUISE                  Awarded. Fellowships only   2023/03/01   2026/02/28    $230,336     $230,336     $134,256     $81,756

                                                                        MSRP in Metabolism, Diabetes, Digestive and Kidney                            Awarded. Non-fellowships
2,545 T35DK103596   5T35DK103596-10     UNIVERSITY OF UTAH              Diseases                                           BEDDHU, SRINIVASAN         only                        2015/03/01   2026/02/28    $368,634     $368,634     $285,499     $44,200

                                        UNIVERSITY OF WISCONSIN-        Structure-guided design of protease-resistant,
2,546 F32AI176876   5F32AI176876-03     MADISON                         lipopeptide inhibitors of SARS-CoV-2                  KUHN, ARIEL JADE        Awarded. Fellowships only   2023/03/01   2026/02/28    $216,796     $216,796     $141,947     $74,284

                                                                        Practical Data-Centric AI/ML for Biomedical                                   Awarded. Non-fellowships
2,547 T32GM142603   3T32GM142603-03S1   UNIVERSITY OF DELAWARE          Researchers                                           POLSON, SHAWN W         only                        2022/07/01   2027/06/30    $959,723     $959,723     $647,624     $80,983

                                                                        Cellular and Molecular Mechanisms Underlying the
2,548 F30DK138742   5F30DK138742-02     UNIVERSITY OF PENNSYLVANIA      Development of Brown Adipose Tissue                   FEIN, ETHAN             Awarded. Fellowships only   2024/03/01   2028/02/29     $90,780      $90,780      $60,499     $36,806

                                                                        Renewal: Short-Term Training for Medical Students in                          Awarded. Non-fellowships
2,549 T35HL007489   5T35HL007489-42     UNIVERSITY OF FLORIDA           Cardiovascular and Pulmonary Research                BERCELI, SCOTT A         only                        1980/05/01   2029/03/31    $203,167     $203,167     $111,220     $82,977

                                        UNIVERSITY OF COLORADO          Defining mechanisms of chronic CHIKV disease in
2,550 F32AI188869   1F32AI188869-01     DENVER                          joint associated tissue                               ZARRELLA, KRISTEN       Awarded. Fellowships only   2024/12/01   2026/11/30     $73,828      $73,828      $23,365     $73,828

                                                                                                                                                      Awarded. Non-fellowships
2,551 T32HL134598   5T32HL134598-08     DARTMOUTH COLLEGE               Dartmouth Cystic Fibrosis Training Program            O'TOOLE, GEORGE A       only                        2017/03/01   2028/02/29    $655,958     $655,958     $413,573    $214,496

                                                                        Interneuron dysfunction and the emergence of tau
2,552 F31AG086006   5F31AG086006-02     EMORY UNIVERSITY                pathology in early Alzheimer’s disease           BANKS, EMMIE                 Awarded. Fellowships only   2023/12/06   2027/12/05     $97,948      $97,948      $56,921     $48,974

                                                                        Interplay between macroautophagy and secretory PALUMBOS, SIERRA
2,553 F32NS129586   5F32NS129586-02     UNIVERSITY OF PENNSYLVANIA      autophagy in neurons.                          DANIELLE                       Awarded. Fellowships only   2023/09/11   2026/02/10    $146,364     $146,364     $120,539     $77,284

                                                                        Maladaptive Remodeling of the Neuromuscular           BALCH, MARIA HELEN
2,554 F32NS126298   5F32NS126298-03     OHIO STATE UNIVERSITY           Synapse Following Central Nervous System Injury       HARLEY                  Awarded. Fellowships only   2023/03/01   2025/08/31    $187,238     $187,238     $137,268     $40,946

                                        MAGEE-WOMEN'S RES INST AND      AAV gene therapy to restore fertility in mammalian
2,555 F31HD114406   5F31HD114406-02     FOUNDATION                      Sertoli cell dysfunction models                       ATKINS, GEORGIA RAE     Awarded. Fellowships only   2024/03/01   2027/02/28     $96,668      $96,668      $46,692     $48,974

                                        OREGON HEALTH & SCIENCE         Intracellular signaling mechanisms underlying opioid BAYLESS-EDWARDS,
2,556 F30DA057838   5F30DA057838-03     UNIVERSITY                      modulation of pain                                   LANDON                   Awarded. Fellowships only   2023/03/01   2027/02/28    $169,142     $169,142     $115,255     $56,974
                                        UNIVERSITY OF CALIFORNIA         Precision Deaminases to Expand the Scope of
2,557 F32GM153031   5F32GM153031-02     BERKELEY                         Diseases Amenable to CRISPR-mediated Correction DOHERTY, ERIN E              Awarded. Fellowships only   2024/03/01   2027/02/28    $148,112    $148,112    $79,741    $74,284

                                                                         The Dynamics of DNA in Salmonella Persisters in
2,558 F31AI176589   5F31AI176589-03     HARVARD MEDICAL SCHOOL           Macrophages                                           SARGEN, MOLLY RENEE    Awarded. Fellowships only   2023/05/01   2026/04/30    $115,388    $115,388    $71,924    $36,856

                                                                         Chemoproteomic discovery and characterization
                                                                         of covalent ligands for the oncoprotein CIP2A, a
2,559 F32CA284727   5F32CA284727-02     ROCKEFELLER UNIVERSITY           unique vulnerability in BRCA1/2-deficient cancers     HEISS, TYLER           Awarded. Fellowships only   2024/04/01   2027/03/31    $151,040    $151,040    $79,704    $76,756

                                                                         Bilirubin Catabolism induces Plasminogen-Activator
2,560 F31HL170972   5F31HL170972-02     UNIVERSITY OF KENTUCKY           Inhibitor 1 (PAI-1) worsening Metabolic Dysfunction KIPP, ZACHARY A          Awarded. Fellowships only   2024/01/01   2026/12/31     $68,652     $68,652    $41,447    $34,966

                                        UNIVERSITY OF MICHIGAN AT ANN    Adaptive Response(s) to Complete Thyroglobulin
2,561 F30DK139717   5F30DK139717-02     ARBOR                            Gene Knockout                                         YOUNG, KATHY CRYSTAL   Awarded. Fellowships only   2024/04/01   2027/03/31     $97,476     $97,476    $48,738    $48,738

                                        WEILL MEDICAL COLL OF CORNELL Structural basis for deficient actin mechanosensing
2,562 F30DK138769   5F30DK138769-02     UNIV                          in ACTN4-driven podocytopathy                            CHIN, ALFRED CHOON KIT Awarded. Fellowships only   2024/04/01   2028/03/31    $107,948    $107,948    $32,506    $53,974

                                                                         Investigating the Lysosome and Plasma Membrane
                                                                         Systems in Protecting Cells Against Age-induced
2,563 F31AG082494   5F31AG082494-03     UNIVERSITY OF UTAH               Amino Acid Toxicity                                   CHUI, KEVIN            Awarded. Fellowships only   2023/04/01   2026/03/31    $118,372    $118,372    $78,488    $39,884

                                                                         Elucidating the pathophysiology and molecular
2,564 F30DK131846   5F30DK131846-04     YALE UNIVERSITY                  mechanisms of renal insulin resistance                HUBBARD, BRANDON       Awarded. Fellowships only   2022/03/16   2026/03/15    $172,109    $172,109   $110,722    $53,974

                                                                         Mechanism and Synaptic Function of Binding
2,565 F31MH134619   5F31MH134619-02     UNIVERSITY OF UTAH               Between Proteins Kirrel3 and IgSF8                    WEINBROM, ADAM         Awarded. Fellowships only   2024/05/01   2026/04/30     $80,026     $80,026    $35,137    $40,013

                                                                         Evaluating the impact of antigen selection on T cell
2,566 F31CA281128   5F31CA281128-02     HARVARD MEDICAL SCHOOL           responses to therapeutic cancer vaccination          POMERANCE, LUCAS C      Awarded. Fellowships only   2023/12/01   2026/11/30     $72,556     $72,556    $51,298    $36,918

                                        CINCINNATI CHILDRENS HOSP MED The role of Sonic hedgehog signaling in cranial          HAN, SIMON JOON
2,567 F31DE033565   5F31DE033565-02     CTR                           neural crest potency                                     YOUNG                  Awarded. Fellowships only   2023/09/15   2025/09/14     $84,329     $84,329    $40,216    $42,894

                                                                        Chemoproteomic discovery of secreted microbial
2,568 F31AI178923   5F31AI178923-02     UNIVERSITY OF CALIFORNIA-IRVINE enzymes for engineered probiotics                      FALCO, NATALIE         Awarded. Fellowships only   2024/03/27   2026/03/26     $91,392     $91,392    $44,602    $46,067

                                                                         Defining the Pathogenesis of Del(7q) in
2,569 F30HL158035   5F30HL158035-04     UNIVERSITY OF CHICAGO            Hematopoietic Stem Cells                              JOTTE, MATTHEW         Awarded. Fellowships only   2022/04/01   2026/03/31    $212,394    $212,394   $163,237    $53,974

                                        RUTGERS BIOMEDICAL AND HEALTH Post-doctoral Training Program in Cancer                                        Awarded. Non-fellowships
2,570 T32CA257957   5T32CA257957-05     SCIENCES                      Metabolism and Tumor-host Interactions                   ZONG, WEI-XING         only                        2021/04/01   2026/03/31   $1,147,353   $881,547   $575,329   $230,987

                                                                         Developmental regulation of histone genes by
2,571 F31HD108974   5F31HD108974-03     EMORY UNIVERSITY                 pioneer factors and three-dimensional architecture O'HAREN, THOMAS E         Awarded. Fellowships only   2023/03/15   2026/03/14    $145,642    $145,642    $91,527    $48,974

                                                                         Characterizing IgA-microbe interactions in type 1
2,572 F30DK142323   1F30DK142323-01     WASHINGTON UNIVERSITY            diabetes                                              OLIN, ILANA RAE        Awarded. Fellowships only   2025/01/01   2027/12/31     $37,154     $37,154     $9,146    $37,154

                                        UNIVERSITY OF PITTSBURGH AT                                                            STRATTON, HARRISON
2,573 F32NS136234   1F32NS136234-01A1   PITTSBURGH                       Targeting spinal orexins to treat chronic pain        JAMES                  Awarded. Fellowships only   2025/03/01   2028/02/29     $79,256     $79,256     $5,363    $79,256

                                                                         Investigating the mechanism and role of the steady- YOSHIDA, TOMOMI
2,574 F31NS130957   5F31NS130957-02     YALE UNIVERSITY                  state CXCR3-CXCL10 gut-microbiota-brain T cell axis MARIE                    Awarded. Fellowships only   2023/12/19   2025/10/18     $93,244     $93,244    $37,062    $44,270
2,575 F31DC021855   1F31DC021855-01A1   HARVARD MEDICAL SCHOOL           Effects of the TECTB-C225Y Variant in the Inner Ear   HALE, EVAN BROWN       Awarded. Fellowships only   2024/09/30   2026/09/29     $36,983     $36,983    $24,896    $36,983

                                                                         High-Throughput Measurements of RNA-Mediated
2,576 F30CA287739   5F30CA287739-02     STANFORD UNIVERSITY              Regulation of Gene Expression and Oncogenesis         THURM, ABBY            Awarded. Fellowships only   2024/04/01   2027/03/31     $92,897     $92,897    $36,993    $41,660

                                                                         Diabetes, Endocrinology and Metabolism Training                              Awarded. Non-fellowships
2,577 T32DK007217   3T32DK007217-48S2   STANFORD UNIVERSITY              Grant                                                 ANNES, JUSTIN PIERCE   only                        1976/07/01   2028/06/30    $831,699    $831,699   $709,647    $35,612

                                                                         Endothelial and mural cell interaction in capillary
2,578 F32HL172637   5F32HL172637-02     BOSTON CHILDREN'S HOSPITAL       malformation                                          NASIM, SANA            Awarded. Fellowships only   2023/12/02   2026/12/01    $155,648    $155,648    $85,709    $78,892

                                        UNIVERSITY OF WISCONSIN-         Weight, inflammation, and Alzheimers disease in
2,579 F31AG085730   5F31AG085730-02     MADISON                          Down syndrome                                         FLEMING, VICTORIA      Awarded. Fellowships only   2024/05/01   2027/04/30     $72,229     $72,229    $35,657    $36,235
                                                                     Mechanisms by which PIM kinase modulates the
                                                                     effector function of autoreactive CD8 T cells in type
2,580 F30DK132807   5F30DK132807-03     MEDICAL COLLEGE OF WISCONSIN 1 diabetes                                            BROWN, ASHLEY K                Awarded. Fellowships only   2023/04/07   2027/04/06    $160,642     $160,642      $96,214     $53,974

                                        UNIVERSITY OF CALIFORNIA LOS     Early Neurodevelopmental Trajectories of Typical
2,581 F31HD108987   5F31HD108987-03     ANGELES                          and Atypical Language Acquisition                         WAGNER, LAUREN E       Awarded. Fellowships only   2023/01/19   2026/01/18    $121,621     $121,621      $83,218     $40,967

                                        UNIVERSITY OF PITTSBURGH AT      Intraoperative Molecular Imaging of Metastatic            ROSENBLUM, LAUREN
2,582 F32CA287961   5F32CA287961-02     PITTSBURGH                       Osteosarcoma with 111In-dinutuximab-IR800                 TAYLOR                 Awarded. Fellowships only   2024/02/01   2026/01/31    $165,408     $165,408      $94,304     $84,064

                                                                         Team-based Interdisciplinary Cancer Research                                     Awarded. Non-fellowships
2,583 T32CA257923   5T32CA257923-05     UNIVERSITY OF FLORIDA            Training Program                                          SIEMANN, DIETMAR W     only                        2021/04/01   2026/03/31   $1,310,820   $1,310,820    $884,509    $264,880

                                                                        Tissue-engineered regeneration of the minipig TMJ
2,584 F32DE032896   5F32DE032896-03     UNIVERSITY OF CALIFORNIA-IRVINE condyle                                                    BIELAJEW, BENJAMIN     Awarded. Fellowships only   2023/04/11   2026/04/10    $222,520     $222,520     $144,964     $77,556

                                                                         Revealing the Mechanisms of Cleaved and Intact
2,585 F31AI191410   1F31AI191410-01     HARVARD MEDICAL SCHOOL           GSDMD Pore Formation and Membrane Rupture                 HEALY, LIAM BRENDAN    Awarded. Fellowships only   2025/03/01   2028/02/29     $43,456      $43,456       $8,920     $43,456

                                        UNIV OF NORTH CAROLINA                                                                                          Awarded. Non-fellowships
2,586 T32GM152316   3T32GM152316-01S1   CHAPEL HILL                      UNC Medical Scientist Training Program                    DESHMUKH, MOHANISH P only                          2024/07/01   2029/06/30   $1,378,526   $1,378,526   $1,257,348    $59,936

                                        CHILDREN'S HOSPITAL OF LOS       Investigating the role of NGN3 in Notch signaling
2,587 F31DK143749   1F31DK143749-01     ANGELES                          repression during pancreatic endocrinogenesis             WANG, VICTORIA LIWEN   Awarded. Fellowships only   2025/05/01   2027/04/30     $46,649      $46,649           $0     $46,649

                                        UNIVERSITY OF CALIFORNIA, SAN    Exploring Mechanisms Through Which STING Alleles
2,588 F32HL172586   5F32HL172586-02     FRANCISCO                        Impact Clinical Penetrance of COPA Syndrome               SIMCHONI, NOA          Awarded. Fellowships only   2024/01/01   2025/12/31    $170,420     $170,420      $83,932     $86,488

                                                                         Investigating IGF2BP1 as a novel Therapeutic Target
2,589 F32CA284750   5F32CA284750-02     DANA-FARBER CANCER INST          for Ewing Sarcoma                                   BOND, MICHAEL JOSEPH         Awarded. Fellowships only   2024/04/03   2027/04/02    $148,112     $148,112      $74,255     $74,284
2,590 F31NS143580   1F31NS143580-01     BROWN UNIVERSITY                 Testing of the VTA - EC Ca2+ – BBB Hypothesis             SCOTT, SENECA J        Awarded. Fellowships only   2025/05/01   2028/04/30     $48,974      $48,974           $0     $48,974

                                        UNIVERSITY OF COLORADO           Divergent response to radio-immunotherapy in
2,591 F31DE033887   5F31DE033887-02     DENVER                           HNSCC and PDAC is mediated by regulatory T cells          GADWA, JACOB           Awarded. Fellowships only   2024/03/01   2028/02/28     $37,384      $37,384      $20,404         $0

                                        BOSTON UNIVERSITY MEDICAL        Structure-function correspondence in the cortical         BELISLE, REBECCA
2,592 F31DC022801   1F31DC022801-01     CAMPUS                           organization of language                                  MICHELE                Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974       $7,056     $48,974

                                                                         Neural Mechanisms of Spatial Auditory Attention           RICHARDSON, BENJAMIN
2,593 F31DC022481   1F31DC022481-01A1   CARNEGIE-MELLON UNIVERSITY       with Magnified Interaural Level Differences               NOAH                 Awarded. Fellowships only     2025/01/01   2027/12/31     $48,974      $48,974         $525     $48,974

                                                                         Neighborhood environment, puberty, sleep quality,
                                                                         and trajectories of depression in adolescent girls: A
2,594 F31MH140538   1F31MH140538-01     UNIVERSITY OF OREGON             longitudinal study of risk and resilience             BERGER, ESTELLE            Awarded. Fellowships only   2025/04/01   2028/03/31     $48,974      $48,974           $0     $48,974

                                                                         The epigenetic role of LSD1 in osteoclast                 ASTLEFORD-HOPPER,
2,595 F30DE030354   5F30DE030354-05     UNIVERSITY OF MINNESOTA          differentiation                                           KRISTINA               Awarded. Fellowships only   2020/08/29   2025/08/28    $246,294     $246,294     $242,094     $54,774

                                                                         The Training Core for The San Diego Regional
                                        UNIVERSITY OF CALIFORNIA, SAN    Network Award for Kidney, Urologic, and                                          Awarded. Non-fellowships
2,596 TL1DK143272   1TL1DK143272-01     DIEGO                            Hematologic Research Training                             RIFKIN, DENA EVETTE    only                        2024/09/01   2029/05/31    $426,769     $426,769      $24,129    $426,769

                                                                         The Impact of Early and Later-life Stress on Later-life
                                        WAKE FOREST UNIVERSITY HEALTH    Cognition and Plasma Biomarkers of Alzheimers
2,597 F31AG087696   5F31AG087696-02     SCIENCES                         Disease and Related Dementias                             LEE, JILLIAN           Awarded. Fellowships only   2024/05/01   2026/04/30     $97,948      $97,948      $45,460     $48,974

                                        UNIVERSITY OF TX MD ANDERSON                                                                                      Awarded. Non-fellowships
2,598 T32CA009599   5T32CA009599-37     CAN CTR                          Training of Academic Surgical Oncologists                 WARGO, JENNIFER A      only                        1994/05/25   2028/02/29   $1,970,264   $1,970,264   $1,466,750   $782,693
2,599 F30AG085984   5F30AG085984-02     MAYO CLINIC JACKSONVILLE         The Role of TMEM106B in FTLD-TDP Pathogenesis             MARKS, JORDAN DAVID    Awarded. Fellowships only   2023/12/06   2027/06/05     $98,348      $98,348      $65,640     $49,174

                                        ALBERT EINSTEIN COLLEGE OF       Strategies for next-generation flavivirus vaccine
2,600 F30AI174788   5F30AI174788-02     MEDICINE                         development                                               JUNG, HELEN S          Awarded. Fellowships only   2023/07/01   2026/06/30    $106,668     $106,668      $95,917     $53,974

                                                                         Genetic and epigenetic mechanisms of
                                                                         glioblastoma invasion and their therapeutic
2,601 F31NS130942   5F31NS130942-02     YALE UNIVERSITY                  implication                                               LONG, GRETCHEN IRELLA Awarded. Fellowships only    2024/04/01   2026/07/31     $81,948      $81,948      $30,828     $32,974

                                                                        Medical Scientist Training Program at Case Western                                Awarded. Non-fellowships
2,602 T32GM152319   3T32GM152319-01S1   CASE WESTERN RESERVE UNIVERSITY Reserve University                                 HUANG, ALEX YEE-CHEN           only                        2024/07/01   2029/06/30   $1,738,142   $1,738,142   $1,535,409    $59,936
                                                                                                                                                        Awarded. Non-fellowships
2,603 T32GM136577   3T32GM136577-05S2   JOHNS HOPKINS UNIVERSITY        Medical Scientist Training Program                      COX, ANDREA L           only                        2020/07/01   2025/06/30   $9,307,687   $9,307,687   $8,414,450    $59,936

                                                                        Deep integration of multi-omics and patient health
                                                                        data to clarify risk factors of enterococcal infective
2,604 F32AI179151   5F32AI179151-02     BROAD INSTITUTE, INC.           endocarditis                                           SMITH, JOSHUA THOMAS     Awarded. Fellowships only   2024/05/01   2027/04/30    $155,876     $155,876      $60,696     $79,282

                                                                        Defining protein translation dynamics in cancers
2,605 F30CA288019   5F30CA288019-02     JOHNS HOPKINS UNIVERSITY        with differential Myc expression                        SCHOLE, KATE            Awarded. Fellowships only   2024/04/01   2027/03/31    $107,948     $107,948      $53,011     $53,974

                                                                        The Role of Ovarian Hormones in Regulating
                                                                        Dopamine Acetylcholine Interactions in the Nucleus HOLMGREN, ELEANOR
2,606 F32DA060663   5F32DA060663-02     VANDERBILT UNIVERSITY           Accumbens                                          BAILEY                       Awarded. Fellowships only   2024/04/01   2026/03/31    $154,112     $154,112      $62,999     $77,284

                                                                                                                                                        Awarded. Non-fellowships
2,607 T32EY007143   3T32EY007143-30S1   JOHNS HOPKINS UNIVERSITY        Visual Science Training Program                         ZACK, DONALD J          only                        1995/01/01   2025/07/31   $1,117,818   $1,117,818   $1,119,226    $51,288

                                                                        Time-varying psychosocial influences of blood
2,608 F31DK138745   5F31DK138745-02     CARNEGIE-MELLON UNIVERSITY      glucose among adults with type 1 diabetes               HORNER, FIONA           Awarded. Fellowships only   2024/03/18   2026/03/17     $85,148      $85,148      $42,574     $42,574

                                        ALBERT EINSTEIN COLLEGE OF      Epigenetic regulation of neural stem cell biology by MACARTHUR, IAN
2,609 F30HD107921   5F30HD107921-04     MEDICINE                        Tet DNA dioxygenases                                 CAMPBELL                   Awarded. Fellowships only   2022/02/09   2026/02/08    $211,678     $211,678     $172,314     $53,974

                                                                        Recruitment of striatal enkephalin by cocaine as a
                                                                        substrate for striatopallidal circuit adaptations and
2,610 F31DA058522   1F31DA058522-01A1   UNIVERSITY OF TEXAS AT AUSTIN   cocaine seeking                                         MATSUMURA, KANAKO       Awarded. Fellowships only   2024/06/01   2027/05/31     $45,771      $45,771      $34,697     $45,771

                                        UNIVERSITY OF CALIFORNIA, SAN   Role of NOD2 in Acute Lung Injury Following
2,611 F32HL160093   5F32HL160093-03     DIEGO                           Ischemic Kidney Injury                                  DEWOLF, SEAN EDWARD     Awarded. Fellowships only   2022/07/01   2025/06/30    $245,546     $245,546     $228,586     $89,488

                                        UNIV OF NORTH CAROLINA          Control of gene expression via RNA-targeted
2,612 F32GM149162   5F32GM149162-02     CHAPEL HILL                     covalent probes                                         KHITUN, ALEXANDRA       Awarded. Fellowships only   2023/06/01   2026/05/31    $150,684     $150,684     $126,946     $78,892

                                                                        Research Training in Non-Pharmacological
                                                                        Interventions for Cognition in Aging, MCI, and                                  Awarded. Non-fellowships
2,613 T32AG020499   5T32AG020499-20     UNIVERSITY OF FLORIDA           Alzheimers Disease                                      MARSISKE, MICHAEL       only                        2003/05/01   2026/04/30   $1,137,027   $1,137,027   $1,341,595    $76,134

                                        BOSTON UNIVERSITY MEDICAL                                                        CLAUS HENN, BIRGIT             Awarded. Non-fellowships
2,614 T32ES014562   5T32ES014562-18     CAMPUS                          Environmental Epidemiology in Community Settings GUNHILD                        only                        2006/07/01   2027/06/30   $1,841,639   $1,841,639   $1,653,597   $600,852

                                        CHILDREN'S HOSP OF                                                                                              Awarded. Non-fellowships
2,615 T32HD043021   5T32HD043021-20     PHILADELPHIA                    T32 Institutional Pediatric Research                    ST GEME, JOSEPH W       only                        2002/07/01   2026/04/30   $1,640,625   $1,640,625   $1,653,817   $351,988

                                                                        Endocannabinoid Modulation of the HIV-Induced
2,616 F31DA058562   1F31DA058562-01A1   JOHNS HOPKINS UNIVERSITY        Microglial Inflammatory Response                        ELLISON, ALYSHA         Awarded. Fellowships only   2024/06/17   2026/06/16     $48,974      $48,974      $44,104     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Modulation of ADP-Ribosylation as a Target During
2,617 F32AI176916   1F32AI176916-01A1   FRANCISCO                       HIV-1 Latency and Reactivation                          MOEN, JACK MICHAEL      Awarded. Fellowships only   2024/11/01   2027/10/31     $73,828      $73,828      $34,417     $73,828

                                                                                                                                                        Awarded. Non-fellowships
2,618 T32DA007292   5T32DA007292-32     JOHNS HOPKINS UNIVERSITY        NIDA Epidemiology Training Program                      MAHER, BRION S          only                        1995/08/01   2028/06/30   $2,144,397   $2,144,397   $1,581,902   $351,695

                                                                                                                                                        Awarded. Non-fellowships
2,619 T32GM141819   5T32GM141819-04     STANFORD UNIVERSITY             Graduate Training Program in Biotechnology              COCHRAN, JENNIFER R     only                        2021/07/01   2026/06/30   $1,252,731   $1,252,731   $1,043,328   $329,616

                                                                        Sigma-1 Receptor as a modulator of Astrocyte pro-
2,620 F30AG087521   1F30AG087521-01     UNIVERSITY OF ROCHESTER         inflammatory activities in Parkinsons Disease           PIESTER, GAVIN EDWARD   Awarded. Fellowships only   2024/12/02   2027/12/01     $53,974      $53,974      $16,344     $53,974
2,621 F30DK127564   5F30DK127564-04     MAYO CLINIC ROCHESTER           ST8Sia6 modulation of diabetes                          CHOE, JUSTIN            Awarded. Fellowships only   2021/06/01   2025/05/31    $199,856     $199,856     $185,697     $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
2,622 T32DK007044   5T32DK007044-43     DIEGO                           Experimental Endocrinology and Metabolism               WEBSTER, NICHOLAS J     only                        1978/09/15   2027/05/31    $775,968     $775,968     $163,952    $262,396

                                        UNIVERSITY OF CALIFORNIA, SAN   Interdisciplinary Anesthesiology Research Training                              Awarded. Non-fellowships
2,623 T32GM121318   5T32GM121318-07     DIEGO                           Program                                                 PATEL, HEMAL H          only                        2017/07/01   2028/06/30    $355,050     $355,050     $259,286    $183,762

                                                                     Integrated Physiology Training: Molecule to                HODGES, MATTHEW         Awarded. Non-fellowships
2,624 T32HL007852   5T32HL007852-27     MEDICAL COLLEGE OF WISCONSIN Organism                                                   ROBERT                  only                        1996/07/01   2028/06/30    $838,862     $838,862     $565,518    $404,930

                                        UNIVERSITY OF CALIFORNIA, SAN   Fellowship in Biological Psychiatry and                                         Awarded. Non-fellowships
2,625 T32MH018399   5T32MH018399-38     DIEGO                           Neuroscience                                            SHIH, PEI-AN (BETTY)    only                        1986/07/15   2027/06/30    $987,736     $987,736     $742,857    $258,406
                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
2,626 T32GM008440   5T32GM008440-28     FRANCISCO                          Comprehensive Anesthesia Research Training            HELLMAN, JUDITH         only                        1995/07/01   2027/06/30   $1,035,846   $1,035,846    $872,666    $365,579

                                        UNIV OF NORTH CAROLINA                                                                   SENA-SOBERANO, ARLENE Awarded. Non-fellowships
2,627 T32AI007001   5T32AI007001-47     CHAPEL HILL                        Training in Sexually Transmitted Infections and HIV   C                     only                          1990/07/15   2026/06/30   $2,138,535   $2,138,535   $1,947,382   $573,274

                                        CINCINNATI CHILDRENS HOSP MED                                                                                    Awarded. Non-fellowships
2,628 T32DK063929   5T32DK063929-22     CTR                           Research Training in Child Behavior and Nutrition          ZELLER, MARGARET H      only                        2003/07/01   2028/06/30    $690,397     $690,397     $646,479    $367,658

                                        UNIVERSITY OF VERMONT & ST         Behavioral Pharmacology of Human Drug Use                                     Awarded. Non-fellowships
2,629 T32DA007242   5T32DA007242-34     AGRIC COLLEGE                      Disorders                                             HIGGINS, STEPHEN T      only                        1990/09/30   2026/06/30   $1,118,664   $1,118,664    $934,473    $208,557

                                                                                                                                                         Awarded. Non-fellowships
2,630 T32ES007271   5T32ES007271-30     UNIVERSITY OF ROCHESTER            Training in Environmental Health Biostatistics        THURSTON, SALLY W       only                        1992/07/01   2025/06/30   $1,008,889   $1,008,889   $1,016,535   $240,395

                                                                                                                                                         Awarded. Non-fellowships
2,631 T32MH103210   5T32MH103210-10     JOHNS HOPKINS UNIVERSITY           Global Mental Health Training Program                 BASS, JUDITH KAREN      only                        2015/07/01   2025/06/30   $2,154,553   $2,154,553   $1,866,462   $450,443

                                                                           The Relationship Between Historical Trauma,
                                                                           Substance Use, and Suicidal Ideation in Native
                                                                           Hawaiian/Pacific Islander Adults: A Mixed-Methods
2,632 F31DA060021   1F31DA060021-01     UNIVERSITY OF RHODE ISLAND         Approach                                              EGAN, ALANA             Awarded. Fellowships only   2024/05/20   2026/05/19     $51,974      $51,974      $45,571     $51,974

                                                                                                                                                         Awarded. Non-fellowships
2,633 T32GM136499   5T32GM136499-05     CITY COLLEGE OF NEW YORK           G-RISE at The City College of New York                STARK, RUTH E           only                        2020/05/01   2026/04/30   $3,257,848   $3,257,848   $3,025,955   $727,765

                                                                           Molecular mechanism of membrane association of
2,634 F31CA278383   5F31CA278383-02     YALE UNIVERSITY                    Brutons Tyrosine Kinase                        MCALLISTER, RACHEL             Awarded. Fellowships only   2023/09/01   2026/08/31     $92,808      $92,808      $66,748     $47,044

                                        UNIVERSITY OF TEXAS HLTH SCI CTR Training Interdisciplinary Pharmacology Scientists                              Awarded. Non-fellowships
2,635 T32GM139801   5T32GM139801-04     HOUSTON                          (TIPS)                                                  DESSAUER, CARMEN W      only                        2021/07/01   2026/06/30    $945,543     $945,543     $711,010    $250,080
2,636 F31DK136312   1F31DK136312-01A1   BROAD INSTITUTE, INC.              Mechanisms of Renal Lipotoxicity                      GABRIEL, KATLYN ROSE    Awarded. Fellowships only   2024/07/01   2027/06/30     $42,574      $42,574      $37,700     $42,574

                                        MASSACHUSETTS GENERAL                                                                                            Awarded. Non-fellowships
2,637 T32AI007529   5T32AI007529-25     HOSPITAL                           Training in Transplantation Biology                   MADSEN, JOREN C         only                        1998/09/01   2025/06/30   $1,614,396   $1,614,396   $1,362,119   $344,653

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
2,638 T32EB001631   5T32EB001631-20     FRANCISCO                          Biomedical Imaging for Clinician Scientists           LINK, THOMAS M          only                        2005/07/01   2028/06/30    $514,264     $514,264     $484,409    $238,483

                                                                                                                                 GOLDBACH, JEREMY        Awarded. Non-fellowships
2,639 T32DA015035   5T32DA015035-22     WASHINGTON UNIVERSITY              Transdisciplinary Training in Addictions Research     THOMAS                  only                        2002/07/01   2028/06/30    $938,822     $938,822     $471,877    $269,197

                                        UNIVERSITY OF PITTSBURGH AT        Targeting Research and Academic Training of                                   Awarded. Non-fellowships
2,640 T32NR009759   5T32NR009759-19     PITTSBURGH                         Nurses in Genomics                                    CONLEY, YVETTE P        only                        2006/06/01   2026/06/30   $1,169,304   $1,169,304    $983,665    $173,609

                                                                                                                                                         Awarded. Non-fellowships
2,641 T32NR014225   5T32NR014225-10     OHIO STATE UNIVERSITY              Training in the Science of Health Development         PICKLER, RITA H         only                        2013/07/01   2025/06/30   $1,011,045   $1,011,045    $936,858     $74,894

                                        UNIVERSITY OF MIAMI SCHOOL OF      Defining Novel Redox Stress Mechanisms to Inhibit     MATEO-VICTORIANO,
2,642 F31CA288141   1F31CA288141-01     MEDICINE                           KRAS-driven Pancreatic Ductal Adenocarcinoma          BEATRIZ                 Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $26,204     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN      Clinical Research in Digestive Diseases (CRDD)                                Awarded. Non-fellowships
2,643 T32DK062708   5T32DK062708-22     ARBOR                              Training Program                                      HIGGINS, PETER D R      only                        2003/02/01   2028/06/30    $456,173     $456,173     $236,161    $287,213

                                                                                                                                                         Awarded. Non-fellowships
2,644 T32AR076951   5T32AR076951-05     UNIVERSITY OF PENNSYLVANIA         Training Program/Rheumatic Diseases                   MERKEL, PETER A         only                        2020/05/01   2026/04/30   $1,850,930   $1,850,930   $1,672,615   $399,277

                                                                                                                                                       Awarded. Non-fellowships
2,645 T32GM136503   5T32GM136503-05     UNIVERSITY OF SOUTH DAKOTA         G-RISE University of South Dakota                     BURRELL, BRIAN DONALD only                          2020/05/01   2026/04/30   $1,123,986   $1,123,986    $932,143    $127,750

                                        MASSACHUSETTS INSTITUTE OF                                                                                       Awarded. Non-fellowships
2,646 T32ES007020   5T32ES007020-50     TECHNOLOGY                         Training Grant in Environmental Toxicology            ESSIGMANN, JOHN M       only                        1975/07/01   2025/06/30   $3,603,515   $3,603,515   $3,587,852   $847,905

                                                                           Interrogating the Dynamic Neural Computation of
2,647 F31DC021106   5F31DC021106-02     JOHNS HOPKINS UNIVERSITY           the Sense of Direction                                STANLEY, OLIVER RILEY   Awarded. Fellowships only   2023/05/15   2025/05/14     $96,668      $96,668      $93,914     $48,974

                                        COLUMBIA UNIVERSITY HEALTH         Translational Clinical Research Fellowship on                                Awarded. Non-fellowships
2,648 T32DA007294   5T32DA007294-32     SCIENCES                           Substance Use Disorders                               LEVIN, FRANCES RUDNICK only                         1993/07/20   2028/06/30    $954,773     $954,773     $729,167    $412,899

                                        UNIV OF NORTH CAROLINA             Regulation of the retinoblastoma (Rb) tumor
2,649 F31CA288070   1F31CA288070-01     CHAPEL HILL                        suppressor by the ubiquitin-proteasome system         APONTE, AMY             Awarded. Fellowships only   2024/08/15   2027/08/14     $40,188      $40,188      $26,695     $40,188
                                                                                                                                                      Awarded. Non-fellowships
2,650 T32GM095442   5T32GM095442-14     EMORY UNIVERSITY                  Critical Care Training Program                         COOPERSMITH, CRAIG M only                           2011/07/01   2026/06/30   $1,415,070   $1,415,070   $1,144,200   $378,831

                                                                                                                                                         Awarded. Non-fellowships
2,651 T32DA007234   5T32DA007234-38     UNIVERSITY OF MINNESOTA           Neuroscience Training in Drug Abuse Research           MERMELSTEIN, PAUL G     only                        1991/09/30   2027/06/30   $1,438,055   $1,438,055   $1,274,510   $515,455

                                                                          Research Training Program in Cardiovascular                                    Awarded. Non-fellowships
2,652 T32HL139430   5T32HL139430-07     BAYLOR COLLEGE OF MEDICINE        Surgery                                                ROSENGART, TODD K       only                        2018/07/01   2028/06/30    $713,214     $713,214     $654,725    $364,748

                                                                          Investigating the role of protein quality control in
2,653 F31GM153158   1F31GM153158-01     STANFORD UNIVERSITY               osmotic stress adaptation                              LE, KATHY H             Awarded. Fellowships only   2024/08/01   2027/01/31     $48,974      $48,974      $22,056     $48,974

                                                                          Quantitative and Computational Biology Graduate                                Awarded. Non-fellowships
2,654 T32HG003284   5T32HG003284-20     PRINCETON UNIVERSITY              Program                                         STOREY, JOHN D                 only                        2004/08/18   2025/05/31   $2,193,725   $2,193,725   $2,163,100   $350,228

                                                                          The Mycobacterium tuberculosis secreted protein
                                        TEXAS A&M UNIVERSITY HEALTH       Rv1075c hijacks host histone methyltransferases to
2,655 F31AI176652   1F31AI176652-01A1   SCIENCE CTR                       promote infection                                      COLEMAN, AJA            Awarded. Fellowships only   2024/06/01   2027/05/31     $37,568      $37,568      $33,169     $37,568

                                        NEW YORK UNIVERSITY SCHOOL OF Diagnosing disparities in existing and proposed
2,656 F32DK136310   1F32DK136310-01A1   MEDICINE                      allocation systems for kidney transplantation              LIYANAGE, LUCKMINI      Awarded. Fellowships only   2024/07/09   2027/07/08     $92,756      $92,756      $47,815     $92,756

                                                                          Pediatric Cardiovascular and Pulmonary Research        BUBECK WARDENBURG,      Awarded. Non-fellowships
2,657 T32HL125241   5T32HL125241-10     WASHINGTON UNIVERSITY             Training Program                                       JULIANE                 only                        2015/02/01   2026/02/28   $1,934,960   $1,934,960   $1,750,362   $297,425

                                        UNIVERSITY OF WISCONSIN-                                                                                         Awarded. Non-fellowships
2,658 T32CA009135   5T32CA009135-45     MADISON                           Training in Cancer Biology Training Grant              SUGDEN, WILLIAM M       only                        1975/07/01   2025/08/31   $1,976,673   $1,976,673   $1,545,568   $385,484

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
2,659 T32OD017863   5T32OD017863-10     DIEGO                             UCSD Research Training Program for Veterinarians       SIGURDSON, CHRISTINA    only                        2014/05/02   2025/09/30   $1,041,995   $1,041,995    $722,095    $224,863

                                                                          Spatial organization of phenotypically diverse cells
2,660 F31GM149174   5F31GM149174-02     YALE UNIVERSITY                   during collective migration                            VO, LAM                 Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $67,508     $48,974

                                                                          Behavioral Sciences Training in Drug Abuse                                     Awarded. Non-fellowships
2,661 T32DA007233   5T32DA007233-40     NEW YORK UNIVERSITY               Research                                               GOLDSAMT, LLOYD A       only                        1984/08/15   2025/06/30   $3,789,612   $3,789,612   $3,900,074   $849,741

                                                                          Phase II of BUILDing SCHOLARS - Student Training                               Awarded. Non-fellowships
2,662 TL4GM118971   5TL4GM118971-10     UNIVERSITY OF TEXAS EL PASO       Core                                                   BOLAND, THOMAS          only                        2014/09/26   2025/06/30   $2,871,294   $2,871,294   $2,039,952    $12,960

                                                                                                                                                         Awarded. Non-fellowships
2,663 T32HL007439   2T32HL007439-46     UNIVERSITY OF PENNSYLVANIA        Hematology Clinical Research Training Program          BRASS, LAWRENCE F       only                        1979/07/01   2029/06/30    $969,764     $969,764     $436,621    $969,764

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                    Awarded. Non-fellowships
2,664 T32HL007622   2T32HL007622-36     ARBOR                             Boxer Training Program in Hematology                   SHAVIT, JORDAN A        only                        1986/07/01   2029/06/30    $579,305     $579,305     $377,297    $579,305

                                                                                                                                                         Awarded. Non-fellowships
2,665 T32DA017637   5T32DA017637-20     UNIVERSITY OF COLORADO            Research Training - Genetics of Substance Abuse        STITZEL, JERRY A        only                        2004/07/01   2025/06/30   $1,505,581   $1,505,581   $1,769,431   $360,480

                                                                                                                                                        Awarded. Non-fellowships
2,666 T32TR004376   1T32TR004376-01     UNIVERSITY OF MINNESOTA           CTSA Postdoctoral T32 at University of Minnesota       FULKERSON, JAYNE ALLYN only                         2024/07/01   2029/06/30    $357,387     $357,387     $247,276    $357,387

                                        WAKE FOREST UNIVERSITY HEALTH                                                                                    Awarded. Non-fellowships
2,667 TL1TR003136   5TL1TR003136-05     SCIENCES                          J. NRSA Training Core (TL1)                            TOOZE, JANET A          only                        2019/07/01   2025/06/30   $2,087,650   $2,087,650   $1,734,914   $475,257

                                                                          Investigating the role of myenteric macrophages in
2,668 F30NS129283   5F30NS129283-02     UNIVERSITY OF FLORIDA             enteric synucleinopathy                            MACKIE, PHILLIP             Awarded. Fellowships only   2023/05/16   2026/05/15    $134,887     $134,887      $80,845     $43,704

                                        UNIVERSITY OF CALIFORNIA, SAN                                                            GINSBERG, MARK          Awarded. Non-fellowships
2,669 T32HL086344   5T32HL086344-15     DIEGO                             Blood Cells in Hemostasis and Thrombosis               HOWARD                  only                        2008/05/01   2025/05/30   $1,611,013   $1,611,013   $1,710,654   $106,928

                                        PENNSYLVANIA STATE UNIVERSITY,                                                                                   Awarded. Non-fellowships
2,670 T32GM152354   1T32GM152354-01     THE                               Eukaryotic Gene Regulation (EGR) Training Program REESE, JOSEPH C              only                        2024/07/01   2029/06/30    $417,295     $417,295     $249,174    $417,295

                                                                          Program in Hematology: Molecular & Cell Biology                                Awarded. Non-fellowships
2,671 T32HL007344   2T32HL007344-46     UNIVERSITY OF IOWA                of Blood Cells                                         LENTZ, STEVEN R         only                        1988/07/01   2029/07/31    $355,583     $355,583     $262,815    $355,583

                                        STATE UNIVERSITY NEW YORK STONY Scholars in BioMedical Sciences (SBMS) Training          TSIRKA, STYLIANI-ANNA   Awarded. Non-fellowships
2,672 T32GM148331   1T32GM148331-01A1   BROOK                           Program                                                  (STELLA) E              only                        2024/07/01   2029/06/30    $236,510     $236,510     $116,200    $236,510

                                                                                                                                                         Awarded. Non-fellowships
2,673 T32HL007111   5T32HL007111-45     MAYO CLINIC ROCHESTER             Cardiovasology                                         TERZIC, ANDRE           only                        1975/07/01   2026/03/31   $2,230,370   $2,230,370   $2,020,477   $340,480
                                                                                                                                                         Awarded. Non-fellowships
2,674 T32GM008280   5T32GM008280-35     BAYLOR COLLEGE OF MEDICINE        Houston Area Molecular Biophysics Program               WENSEL, THEODORE G     only                        1988/09/30   2025/06/30   $2,247,475   $2,247,475   $1,987,732   $477,482

                                        MEDICAL UNIVERSITY OF SOUTH       Cellular, Biochemical and Molecular Sciences                                   Awarded. Non-fellowships
2,675 T32GM132055   2T32GM132055-06     CAROLINA                          Training Program                                        TRAKTMAN, PAULA        only                        2019/07/01   2029/06/30    $659,231     $659,231     $404,808    $659,231

                                                                          Low-energy cooling strategies to reduce the
                                        UT SOUTHWESTERN MEDICAL           thermal, cardiovascular, and renal consequences         MCKENNA, ZACHARY
2,676 F32HL168826   1F32HL168826-01A1   CENTER                            of heat waves in the elderly.                           JOHN                   Awarded. Fellowships only   2024/07/01   2027/06/30     $73,828      $73,828      $48,553     $73,828

                                                                      Outlining Shadows of Structural Racism Using
                                        UNIV OF MASSACHUSETTS MED SCH Publicly Available Social Determinants of Health
2,677 F31MD017471   5F31MD017471-02     WORCESTER                     Data                                                        DYER, ZACHARY          Award terminated            2022/09/01   2025/08/31     $80,512      $80,512      $70,412     $48,994

                                                                          Multidisciplinary training in cardiovascular                                   Awarded. Non-fellowships
2,678 T32HL139431   5T32HL139431-05     UNIVERSITY OF MINNESOTA           engineering                                             TRANQUILLO, ROBERT T   only                        2019/07/01   2025/06/30   $1,155,142   $1,155,142   $1,123,846   $235,184

                                                                          UCSF Data Science Training to Advance Behavioral
                                        UNIVERSITY OF CALIFORNIA, SAN     and Social Science Expertise for Health Research                               Awarded. Non-fellowships
2,679 T32MD015070   5T32MD015070-05     FRANCISCO                         (DaTABASE) Program                               BROWN, WILLIAM                only                        2020/03/13   2025/09/30    $995,959     $995,959     $887,959    $210,962

                                        UNIVERSITY OF NEBRASKA MEDICAL Medical Scientist Training Program at the University                              Awarded. Non-fellowships
2,680 T32GM152836   1T32GM152836-01     CENTER                         of Nebraska                                                MOTT, JUSTIN L         only                        2024/07/01   2029/06/30    $129,268     $129,268      $48,012    $129,268

                                                                          Investigation of the role of CuZnSod1 in sensing Cu-
2,681 F32GM153029   1F32GM153029-01     DUKE UNIVERSITY                   deficient conditions in Candida albicans                VACCARO, FRANCESCA     Awarded. Fellowships only   2024/08/01   2027/07/31     $73,408      $73,408      $51,869     $73,408

                                                                          Investigating phage therapy for the treatment of
2,682 F31DK136201   5F31DK136201-02     BAYLOR COLLEGE OF MEDICINE        urinary tract infections                                ZULK, JACOB JEFFREY    Awarded. Fellowships only   2023/08/09   2025/08/08     $96,668      $96,668      $86,281     $48,974

                                                                                                                                                         Awarded. Non-fellowships
2,683 T32AI007508   5T32AI007508-25     LOYOLA UNIVERSITY CHICAGO         Experimental Immunology Training Grant                  KNIGHT, KATHERINE L    only                        1997/08/01   2025/08/31    $894,961     $894,961     $899,305    $201,603

                                                                          Predoctoral Program in Cellular, Molecular and                                 Awarded. Non-fellowships
2,684 T32GM145469   5T32GM145469-02     YALE UNIVERSITY                   Quantitative Biology (CMQBTP)                           BASERGA, SUSAN J       only                        2023/07/01   2028/06/30   $1,079,894   $1,079,894    $827,049    $549,359

                                                                          Molecular basis for substrate discrimination by
                                                                          transporter protein MexY of the MexXY-OprM efflux
2,685 F31GM143891   5F31GM143891-04     EMORY UNIVERSITY                  pump in Pseudomonas aeruginosa                          KAVANAUGH, LOGAN       Awarded. Fellowships only   2021/07/01   2025/06/30    $189,456     $189,456     $151,961     $48,974

                                        VANDERBILT UNIVERSITY MEDICAL     Vanderbilt Infection Pathogenesis and                                          Awarded. Non-fellowships
2,686 T32AI007474   5T32AI007474-30     CENTER                            Epidemiology Research Training Program                  KALAMS, SPYROS A       only                        1995/04/01   2026/07/31   $1,261,554   $1,261,554    $865,045    $327,653

                                                                                                                                                         Awarded. Non-fellowships
2,687 T32GM133352   5T32GM133352-05     DUKE UNIVERSITY                   Pharmacological Sciences Training Grant                 KUHN, CYNTHIA M        only                        2020/07/01   2025/06/30   $3,156,440   $3,156,440   $2,907,768   $510,201

                                        COLUMBIA UNIVERSITY HEALTH                                                                                       Awarded. Non-fellowships
2,688 T32DK131952   1T32DK131952-01A1   SCIENCES                          Training Grant in Diabetes and Endocrinology            ACCILI, DOMENICO       only                        2024/07/01   2029/05/31    $298,427     $298,427     $108,410    $298,427

                                        UNIVERSITY OF CALIFORNIA          Genetic Dissection of Cells and Organisms Training                             Awarded. Non-fellowships
2,689 T32GM132022   2T32GM132022-06     BERKELEY                          Program                                                 WHITEMAN, NOAH K       only                        2019/07/01   2029/06/30    $763,983     $763,983     $524,760    $763,983

                                                                          Cellular, Biochemical and Molecular Sciences                                   Awarded. Non-fellowships
2,690 T32GM137793   5T32GM137793-04     VANDERBILT UNIVERSITY             Training Program                                        PATTON, JAMES G        only                        2021/07/01   2026/06/30   $1,714,028   $1,714,028   $1,438,155   $439,487

                                                                                                                                                         Awarded. Non-fellowships
2,691 T34GM145539   5T34GM145539-03     UNIVERSITY OF NEVADA RENO         MARC at the University of Nevada, Reno                  KIDD, THOMAS           only                        2022/06/01   2027/05/31    $653,962     $653,962     $553,358    $262,311

                                        GEORGIA INSTITUTE OF              T32 Research Training Program in                                               Awarded. Non-fellowships
2,692 T32EB021962   5T32EB021962-07     TECHNOLOGY                        ImmunoEngineering                                       BABENSEE, JULIA E      only                        2017/09/01   2028/05/31    $429,392     $429,392     $256,339    $212,534

                                        UNIVERSITY OF CALIFORNIA AT                                                                                      Awarded. Non-fellowships
2,693 T34GM136469   5T34GM136469-05     DAVIS                             MARC at University of California, Davis                 GOMES, ALDRIN V        only                        2020/06/01   2025/05/31   $1,874,010   $1,874,010   $1,764,522   $142,574

                                                                                                                                                         Awarded. Non-fellowships
2,694 T32NS061779   2T32NS061779-16     UNIVERSITY OF PENNSYLVANIA        Neurologic Clinical Epidemiology Training Program       KASNER, SCOTT E        only                        2008/07/08   2029/06/30    $223,354     $223,354     $294,201    $223,354

                                                                                                                                                         Awarded. Non-fellowships
2,695 T32AI055433   5T32AI055433-20     UNIVERSITY OF MINNESOTA           Infectious Disease Training in Clinical Investigation   BOULWARE, DAVID R      only                        2003/09/01   2025/06/30   $1,601,700   $1,601,700   $1,262,720   $370,389
                                                                      Systems Science and Comparative and Cost-
                                      COLUMBIA UNIVERSITY HEALTH      Effectiveness Research Training for Nurse Scientists                             Awarded. Non-fellowships
2,696 T32NR014205   5T32NR014205-12   SCIENCES                        (S2CER2)                                                 POGHOSYAN, LUSINE       only                        2013/07/01   2028/06/30    $974,031     $974,031     $764,915    $487,419

                                                                      Training in Bioengineering Research and Technology
                                      UNIVERSITY OF CALIFORNIA, SAN   Development in Cardiovascular in                                       Awarded. Non-fellowships
2,697 T32HL160507   5T32HL160507-03   DIEGO                           Cardiopulmonary Health and Disease                 MCCULLOCH, ANDREW D only                                  2022/07/01   2027/06/30    $963,946     $963,946     $833,684    $319,152

                                                                    Graduate Training at the Biology-Chemistry                                       Awarded. Non-fellowships
2,698 T32GM132061   5T32GM132061-05   UNIVERSITY OF KANSAS LAWRENCE Interface                                                  ACKLEY, BRIAN DOUGLAS only                          2020/07/01   2026/06/30   $2,055,952   $2,055,952   $1,747,463   $439,487

                                                                                                                                                       Awarded. Non-fellowships
2,699 T32DC000038   5T32DC000038-33   HARVARD MEDICAL SCHOOL          Training for Speech and Hearing Sciences                 GELEOC, GWENAELLE S     only                        1992/07/01   2027/06/30   $1,592,288   $1,592,288   $1,420,179   $546,703

                                                                                                                                                       Awarded. Non-fellowships
2,700 T32AI177324   5T32AI177324-02   UNIVERSITY OF CALIFORNIA-IRVINE Immunology Research Training Grant                       PEARLMAN, ERIC          only                        2023/09/01   2028/08/31    $378,350     $378,350     $302,032    $192,940

                                                                      Training to Enhance Alignment of Psychiatry and                                  Awarded. Non-fellowships
2,701 T32MH125786   5T32MH125786-04   MCLEAN HOSPITAL                 Neuroscience                                             CARLEZON, WILLIAM A     only                        2021/07/01   2026/06/30   $1,607,438   $1,607,438   $1,320,020   $428,884

                                      UNIVERSITY OF WISCONSIN-                                                                                         Awarded. Non-fellowships
2,702 T32GM135066   5T32GM135066-05   MADISON                         Biotechnology Training Program                           FOX, BRIAN G            only                        2020/07/01   2026/06/30   $5,089,881   $5,089,881   $4,754,858 $1,048,718

                                                                                                                                                     Awarded. Non-fellowships
2,703 T32GM144273   5T32GM144273-03   HARVARD MEDICAL SCHOOL          Medical Scientist Training Program                       WALENSKY, LOREN DAVID only                          2022/07/01   2027/06/30   $8,922,388   $8,922,388   $8,223,659 $2,876,924

                                      WEILL MEDICAL COLL OF CORNELL                                                                                    Awarded. Non-fellowships
2,704 T32GM132081   5T32GM132081-05   UNIV                          Molecular Biophysics Training Program                      ELIEZER, DAVID          only                        2020/07/01   2025/06/30    $918,326     $918,326     $831,504    $206,504

                                      CINCINNATI CHILDRENS HOSP MED                                                                                    Awarded. Non-fellowships
2,705 T32HL125204   5T32HL125204-10   CTR                           Understanding Cardiovascular Disease Mechanisms MOLKENTIN, JEFFERY D               only                        2014/12/01   2026/05/31   $1,453,334   $1,453,334   $1,286,432   $240,308

                                                                      Training Program In Cellular and Molecular                                       Awarded. Non-fellowships
2,706 T32GM135457   5T32GM135457-05   JOHNS HOPKINS UNIVERSITY        Medicine                                                 RAO, RAJINI             only                        2020/07/01   2025/06/30   $3,809,326   $3,809,326   $3,451,136   $778,454

                                      CLEVELAND CLINIC LERNER COM-    Molecular Medicine Training Program at Cleveland                                 Awarded. Non-fellowships
2,707 T32GM137868   5T32GM137868-04   CWRU                            Clinic/Case Western Reserve University                   SMITH, JONATHAN D       only                        2021/07/01   2026/06/30   $1,252,731   $1,252,731   $1,039,756   $329,616

                                      UNIVERSITY OF COLORADO                                                                                           Awarded. Non-fellowships
2,708 T32DK007658   5T32DK007658-34   DENVER                          Institutional Training Program in Nutrition              KREBS, NANCY F          only                        1991/07/15   2026/06/30   $1,651,161   $1,651,161   $1,464,862   $305,810

                                      CLEVELAND CLINIC LERNER COM-                                                                                     Awarded. Non-fellowships
2,709 TL1DK132770   5TL1DK132770-04   CWRU                            KUH-TN Training Core                                     GARVIN, JEFFREY L       only                        2021/09/15   2026/05/31   $1,462,296   $1,462,296    $986,151    $338,855

                                                                                                                                                       Awarded. Non-fellowships
2,710 T32HL094274   5T32HL094274-13   STANFORD UNIVERSITY             Training in Myocardial Biology at Stanford               BERNSTEIN, DANIEL       only                        2010/07/01   2027/05/31   $1,154,002   $1,154,002    $814,153    $329,601

                                                                      Treatment of Alzheimer’s Disease using Ultrasound-
                                                                      Targeted Microbubble Cavitation-Mediated Blood
                                      UNIVERSITY OF PITTSBURGH AT     Brain Barrier Opening to Facilitate Drug Delivery to
2,711 F30AG077800   5F30AG077800-03   PITTSBURGH                      the Brain                                                CONWAY, GRACE           Awarded. Fellowships only   2022/07/27   2027/07/26    $158,440     $158,440     $125,347     $53,994

                                                                      The role of ESCRTs in signaling within the testis stem
2,712 F31HD108918   5F31HD108918-03   JOHNS HOPKINS UNIVERSITY        cell niche                                               GRACE, MARA RUTH        Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $115,148     $48,974

                                                                      Developmental Neuroscience and Child                                             Awarded. Non-fellowships
2,713 T32MH100019   5T32MH100019-12   WASHINGTON UNIVERSITY           Psychopathology                                          LUBY, JOAN L            only                        2013/07/01   2028/06/30    $835,188     $835,188     $702,463    $426,197

                                                                      Delayed wound healing in diabetic corneal
                                      BOSTON UNIVERSITY MEDICAL       epithelia: reduction in protein response after injury
2,714 F30EY033647   5F30EY033647-03   CAMPUS                          and uncoordinated cell-cell communication                SEGARS, KRISTEN         Awarded. Fellowships only   2022/07/01   2026/06/30    $158,420     $158,420     $123,437     $53,974

                                                                      Data integration for causal inference in behavioral                              Awarded. Non-fellowships
2,715 T32MH122357   5T32MH122357-05   JOHNS HOPKINS UNIVERSITY        health                                                   STUART, ELIZABETH A     only                        2020/07/01   2025/06/30   $1,283,971   $1,283,971   $1,193,732   $263,960

                                      UNIVERSITY OF MICHIGAN AT ANN   Michigan Chemistry-Biology Interface Training                                    Awarded. Non-fellowships
2,716 T32GM132046   2T32GM132046-06   ARBOR                           Program                                                  KOUTMOU, KRISTIN S      only                        2019/07/01   2029/06/30    $549,359     $549,359     $494,488    $549,359

                                                                      Clinical and Translational Cancer Control Research                               Awarded. Non-fellowships
2,717 T32CA102618   2T32CA102618-21   UNIVERSITY OF ROCHESTER         Training Program                                         JANELSINS, MICHELLE C   only                        2019/07/01   2029/07/31    $340,950     $340,950     $293,527    $340,950
                                      UNIVERSITY OF CALIFORNIA LOS                                                                                 Awarded. Non-fellowships
2,718 T32DK007180   5T32DK007180-50   ANGELES                          Gastroenterology                                     JENSEN, DENNIS MICHAEL only                           1976/07/01   2026/06/30   $2,087,508   $2,087,508   $1,536,766   $586,176

                                                                   Gene Modulation of Acetylation Modifiers to Reveal
                                                                   Regulatory Links to Human Cardiac
2,719 F31HL168800   5F31HL168800-02   GEORGE WASHINGTON UNIVERSITY Electromechanics                                   POZO, MARIA                     Awarded. Fellowships only   2023/06/01   2025/05/31     $70,856      $70,856      $62,868     $32,974

                                                                                                                                                      Awarded. Non-fellowships
2,720 T34GM149511   5T34GM149511-02   EMORY UNIVERSITY                 MARC at Emory University                             CORBETT, ANITA H          only                        2023/06/01   2028/05/31    $689,556     $689,556     $536,007    $344,778

                                                                                                                                                      Awarded. Non-fellowships
2,721 T34GM140932   5T34GM140932-04   WAYNE STATE UNIVERSITY           MARC at Wayne State University                       ALLEN, MATTHEW J          only                        2021/06/01   2026/05/31   $1,593,075   $1,593,075   $1,184,095   $401,282

                                      UNIVERSITY OF NEBRASKA MEDICAL Fundamental Training Program in Biochemistry and                                 Awarded. Non-fellowships
2,722 T32GM153375   1T32GM153375-01   CENTER                         Molecular Biology Research                             CAPLAN, STEVEN H          only                        2024/07/01   2029/06/30    $320,742     $320,742     $244,836    $320,742

                                      ALBERT EINSTEIN COLLEGE OF       Developing a Gene-Based Approach for Lasting
2,723 F31DA053774   5F31DA053774-03   MEDICINE                         Protection from Opioid Use Disorder                  CLEMENZA, KELLY           Awarded. Fellowships only   2022/06/07   2025/06/06    $143,420     $143,420     $133,870     $48,974

                                      UNIVERSITY OF TENNESSEE                                                                                         Awarded. Non-fellowships
2,724 T32GM142621   5T32GM142621-04   KNOXVILLE                        Integrated Membrane Program (IMP)                    REYNOLDS, TODD B          only                        2021/07/01   2026/06/30   $1,106,443   $1,106,443    $895,853    $329,616

                                                                       Training in Environmental Toxicology of Human                              Awarded. Non-fellowships
2,725 T32ES007091   2T32ES007091-41   UNIVERSITY OF ARIZONA            Disease                                              CHERRINGTON, NATHAN J only                            1979/07/01   2029/06/30    $671,592     $671,592     $637,573    $671,592

                                                                       Pre-Exposure Prophylaxis (PrEP) inhibits
2,726 F31MH128135   5F31MH128135-03   UNIVERSITY OF PENNSYLVANIA       oligodendrocyte differentiation in vivo              LONG, CAELA               Awarded. Fellowships only   2022/06/01   2025/05/31    $130,860     $130,860      $99,771     $36,413

                                      UNIVERSITY OF CALIFORNIA SANTA                                                                                  Awarded. Non-fellowships
2,727 T34GM140956   5T34GM140956-04   CRUZ                           The MARC Program at UCSC                               RUBIN, SETH MICHAEL       only                        2021/06/01   2026/05/31   $3,307,662   $3,307,662   $1,897,707   $897,826

                                      MASSACHUSETTS GENERAL            Research Training in Rheumatology at                                           Awarded. Non-fellowships
2,728 T32AR007258   2T32AR007258-46   HOSPITAL                         Massachusetts General Hospital                       LUSTER, ANDREW D          only                        1977/07/01   2029/06/30    $449,916     $449,916     $371,676    $449,916

                                      GEORGIA INSTITUTE OF                                                                                            Awarded. Non-fellowships
2,729 T32EB025816   2T32EB025816-06   TECHNOLOGY                       Training in Computational Neural Engineering         STANLEY, GARRETT B        only                        2019/07/01   2029/06/30    $306,075     $306,075     $144,435    $306,075

                                      UNIVERSITY OF CALIFORNIA AT      Learning, Memory, and Plasticity (LaMP) Training                               Awarded. Non-fellowships
2,730 T32MH112507   5T32MH112507-08   DAVIS                            Program                                              ZITO, KAREN               only                        2017/07/01   2027/06/30    $804,800     $804,800     $692,517    $290,382

                                                                                                                                                      Awarded. Non-fellowships
2,731 T34GM145447   5T34GM145447-03   UNIVERSITY OF FLORIDA            MARC at the University of Florida                    JULIAN, DAVID             only                        2022/06/01   2027/05/31    $845,347     $845,347     $512,233    $358,897

                                      STATE UNIVERSITY NEW YORK STONY Cell Cycle Regulation of Cell Fate and
2,732 F31HD108921   5F31HD108921-03   BROOK                           Morphogenesis in D. rerio                             STETTNISCH, SAMANTHA      Awarded. Fellowships only   2022/05/19   2025/05/18    $114,000     $114,000     $111,577     $39,406

                                      UNIV OF NORTH CAROLINA                                                                                          Awarded. Non-fellowships
2,733 T32ES007018   5T32ES007018-48   CHAPEL HILL                      Biostatistics for Research in Environmental Health   FRY, REBECCA              only                        1977/07/01   2027/06/30   $4,272,137   $4,272,137   $3,818,942 $1,387,182

                                                                                                                                                      Awarded. Non-fellowships
2,734 T32GM136615   5T32GM136615-05   UNIVERSITY OF VIRGINIA           Biotechnology Training Program                       BLEMKER, SILVIA SALINAS   only                        2020/07/01   2025/06/30   $2,569,941   $2,569,941   $2,230,483   $549,359

                                      COLUMBIA UNIVERSITY HEALTH       Research Training in Biobehavioral Disturbances of                             Awarded. Non-fellowships
2,735 T32MH096679   5T32MH096679-12   SCIENCES                         Eating Disorders                                     ATTIA, EVELYN             only                        2013/06/01   2028/06/30    $418,385     $418,385     $343,578    $176,220

                                      UNIVERSITY OF WISCONSIN-                                                                                        Awarded. Non-fellowships
2,736 T32NS105602   2T32NS105602-06   MADISON                          Neuroscience Training Program                        ROSENBERG, ARI            only                        2019/07/15   2029/06/30    $330,912     $330,912     $220,547    $330,912

                                      UNIVERSITY OF WISCONSIN-                                                                                        Awarded. Non-fellowships
2,737 T32AI055397   5T32AI055397-20   MADISON                          Microbes in Health and Disease                       KLEIN, BRUCE STEVEN       only                        2003/08/01   2025/07/31   $2,174,539   $2,174,539   $2,008,319   $421,380

                                      UNIVERSITY OF CALIFORNIA, SAN    Research Training in Chemistry and Chemical                                    Awarded. Non-fellowships
2,738 T32GM145460   5T32GM145460-03   FRANCISCO                        Biology                                              GESTWICKI, JASON E        only                        2022/07/01   2027/06/30   $1,920,307   $1,920,307   $1,591,536   $659,231

                                      VANDERBILT UNIVERSITY MEDICAL    Clinical and Translational Training Program in                                 Awarded. Non-fellowships
2,739 T32HL087738   5T32HL087738-19   CENTER                           Pulmonary Medicine                                   WARE, LORRAINE B          only                        2007/04/01   2027/06/30   $1,388,269   $1,388,269   $1,290,892   $478,860

                                      UNIVERSITY OF PITTSBURGH AT                                                                                     Awarded. Non-fellowships
2,740 T32GM144300   5T32GM144300-03   PITTSBURGH                       Medical Scientist Training Program                   STEINMAN, RICHARD A       only                        2022/07/01   2027/06/30   $4,846,581   $4,846,581   $3,940,216 $1,738,142

                                      MASSACHUSETTS GENERAL                                                                                           Awarded. Non-fellowships
2,741 T32DK007754   5T32DK007754-24   HOSPITAL                         Research Training in Alimentary Tract Surgery        HODIN, RICHARD A          only                        1997/07/18   2026/06/30   $1,784,783   $1,784,783   $1,654,307   $390,378
                                                                         Infectious Diseases and Microbial Immunology Post-                            Awarded. Non-fellowships
2,742 T32AI007025   5T32AI007025-42   WASHINGTON STATE UNIVERSITY        doctoral Training Program                          KAWULA, THOMAS H           only                        1989/09/30   2027/07/31   $1,078,656   $1,078,656    $672,728    $178,707

                                                                                                                                                       Awarded. Non-fellowships
2,743 T32DA022981   2T32DA022981-16   UNIV OF ARKANSAS FOR MED SCIS Translational Training in Addiction                      ZIELINSKI, MELISSA JEAN   only                        2009/07/01   2029/06/30    $980,582     $980,582     $124,653    $491,399

                                      NEW YORK UNIVERSITY SCHOOL OF                                                                                    Awarded. Non-fellowships
2,744 T32AI100853   5T32AI100853-13   MEDICINE                      Training Program in Immunology and Inflammation          SCHWAB, SUSAN RUTH        only                        2012/07/01   2027/06/30   $1,516,880   $1,516,880    $942,933    $385,104

                                                                         Early Childhood Education and Violence Prevention
2,745 F31HD112202   5F31HD112202-02   UNIVERSITY OF WASHINGTON           Across the Life Course and Generations            SCHLEIMER, JULIA            Awarded. Fellowships only   2023/06/16   2025/06/15     $96,668      $96,668      $94,837     $48,974

                                                                         Defining Novel Roles of Ubiquitin Accumulation
2,746 F30ES034271   5F30ES034271-03   DUKE UNIVERSITY                    During the Mammalian Oxidative Stress Response      MADUKA, AUSTIN O          Awarded. Fellowships only   2022/06/01   2025/06/30    $169,618     $169,618     $136,013     $53,974

                                      UNIV OF NORTH CAROLINA             Postdoctoral Training in Reproductive Mood                                    Awarded. Non-fellowships
2,747 T32MH093315   5T32MH093315-12   CHAPEL HILL                        Disorders                                           GIRDLER, SUSAN S          only                        2012/07/01   2028/06/30    $499,866     $499,866     $363,723    $259,566

                                                                                                                                                       Awarded. Non-fellowships
2,748 T32NR007104   2T32NR007104-26   UNIVERSITY OF PENNSYLVANIA         Advanced Training in Nursing Outcomes Research      MCHUGH, MATTHEW D         only                        1999/06/01   2029/06/30    $495,067     $495,067     $363,477    $495,067

                                                                      Howard Schneiderman Training Program in Learning                                 Awarded. Non-fellowships
2,749 T32MH119049   2T32MH119049-06   UNIVERSITY OF CALIFORNIA-IRVINE and Memory                                       YASSA, MICHAEL A                only                        2019/07/01   2029/06/30    $197,372     $197,372     $183,181    $197,372

                                      NEW YORK UNIVERSITY SCHOOL OF Translational Basic and Clinical Research Training in                              Awarded. Non-fellowships
2,750 T32AR069515   5T32AR069515-08   MEDICINE                      Rheumatology                                             BUYON, JILL P             only                        2017/05/01   2027/05/31    $855,742     $855,742     $770,577    $304,489

                                                                         Training Program in Precision Genetics of Aging,                              Awarded. Non-fellowships
2,751 T32AG062409   5T32AG062409-05   JACKSON LABORATORY                 Alzheimers Disease and Related Dementias            KORSTANJE, RONNY          only                        2020/05/01   2026/04/30   $1,218,954   $1,218,954   $1,110,236   $246,746

                                                                         MARC Biomedical Research and Training Program                                 Awarded. Non-fellowships
2,752 T34GM149482   5T34GM149482-02   UNIVERSITY OF ARIZONA              at the University of Arizona                        MIRANDA, KATRINA M        only                        2023/06/01   2028/05/31    $794,858     $794,858     $704,664    $528,646

                                      UNIVERSITY OF CALIFORNIA, SAN      Physiologic Predictors of Respiratory Failure in    MCGUIRE, WILLIAM
2,753 F32HL167551   5F32HL167551-02   DIEGO                              Patients Presenting with Dyspnea                    CAMERON                   Awarded. Fellowships only   2023/07/01   2025/06/30    $172,792     $172,792     $148,716     $89,488

                                      UNIVERSITY OF TEXAS HLTH SCI CTR CTSA Postdoctoral T32 at the University of Texas                                Awarded. Non-fellowships
2,754 T32TR004904   1T32TR004904-01   HOUSTON                          Health Science Center at Houston                      FROST, JEFFREY A          only                        2024/08/01   2029/06/30    $259,042     $259,042       $9,693    $259,042

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                    Awarded. Non-fellowships
2,755 T32NS115724   5T32NS115724-04   ARBOR                              Neural Engineering Training Program (NETP)          WEILAND, JAMES D          only                        2021/07/01   2026/06/30    $751,430     $751,430     $723,030    $212,166

                                      UNIV OF NORTH CAROLINA             UNC-CH Summer Research Training in Aging for                                  Awarded. Non-fellowships
2,756 T35AG038047   5T35AG038047-15   CHAPEL HILL                        Medical Students                                    BUSBY-WHITEHEAD, JAN      only                        2010/05/01   2025/05/31    $489,320     $489,320     $422,182     $80,153

                                                                         The Role of Adenosine Kinase in Mixed Diastolic
2,757 F31NS132564   5F31NS132564-02   AUGUSTA UNIVERSITY                 Heart Failure and Alzheimer Disease                 FOPIANO, KATIE ANNE       Awarded. Fellowships only   2023/07/01   2025/11/30     $87,914      $87,914      $58,849     $44,597

                                                                         Transdisciplinary Training at the Intersection of
                                                                         Environmental Health Science and Social Science                               Awarded. Non-fellowships
2,758 T32ES023769   5T32ES023769-09   NORTHEASTERN UNIVERSITY            (EH+SS)                                             BROWN, PHILIP M           only                        2015/07/01   2026/06/30   $1,716,362   $1,716,362   $1,418,162   $499,541

                                                                         Training Program in Childhood Neuropsychiatric                                Awarded. Non-fellowships
2,759 T32MH018268   5T32MH018268-40   YALE UNIVERSITY                    Disorders                                           CROWLEY, MICHAEL J        only                        1985/07/01   2025/06/30   $2,440,064   $2,440,064   $2,263,625   $516,421

                                                                         New Synthetic Methods Utilizing Radical Cation
                                                                         Intermediates Enabled by Visible Light
2,760 F32GM151832   5F32GM151832-02   PRINCETON UNIVERSITY               Photocatalysis                                      THACH, DANNY              Awarded. Fellowships only   2023/07/01   2026/06/30    $143,364     $143,364     $127,967     $74,284

                                                                                                                                                       Awarded. Non-fellowships
2,761 T32AI089474   5T32AI089474-14   CASE WESTERN RESERVE UNIVERSITY Immunology Training Program-Predoctoral                COBB, BRIAN A             only                        2010/05/15   2026/05/31   $1,210,780   $1,210,780    $957,840    $302,167

                                                                         Training In Systems And Integrative Biology                                   Awarded. Non-fellowships
2,762 T32NS096050   5T32NS096050-29   EMORY UNIVERSITY                   Neuroscience                                        SMITH, YOLAND             only                        1996/07/01   2026/06/30   $1,419,567   $1,419,567   $1,317,964   $332,393

                                      UNIVERSITY OF PITTSBURGH AT        Research Training in Anesthesiology and Pain                                  Awarded. Non-fellowships
2,763 T32GM075770   5T32GM075770-18   PITTSBURGH                         Medicine                                            XU, YAN                   only                        2007/07/01   2027/06/30   $1,200,519   $1,200,519    $748,754    $420,811

                                      CALIFORNIA STATE UNIVERSITY SAN Bridges to the Doctorate Research Training Program                               Awarded. Non-fellowships
2,764 T32GM146604   5T32GM146604-03   MARCOS                          at CSU San Marcos with UCSD and TSRI               JAMESON, JULIE M              only                        2022/08/01   2027/07/31   $1,215,329   $1,215,329   $1,036,004   $496,804
                                                                      Characterizing the relationship between objective
                                      UNIVERSITY OF CALIFORNIA, SAN   physical activity and momentary pain in cognitive
2,765 F31AT012424   5F31AT012424-02   DIEGO                           behavioral interventions for chronic pain               TYNAN, MARA            Awarded. Fellowships only   2023/08/01   2025/07/31     $81,352      $81,352      $71,460     $41,316

                                                                      Investigating the Role of Reduced Branched-Chain
                                                                      Amino Acid Catabolism in Clear Cell Renal Cell   COFFEY, NATHAN
2,766 F30CA271654   5F30CA271654-03   UNIVERSITY OF PENNSYLVANIA      Carcinoma                                        JACKSON                       Awarded. Fellowships only   2022/07/01   2025/06/30    $123,298     $123,298     $112,191     $36,413

                                      BETH ISRAEL DEACONESS MEDICAL Integrated Endocrine and Metabolic Research                                      Awarded. Non-fellowships
2,767 T32DK007516   5T32DK007516-40   CENTER                        Training                                                  KAHN, BARBARA B        only                        1985/07/01   2025/06/30   $1,542,124   $1,542,124   $1,308,792   $288,433

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                   Awarded. Non-fellowships
2,768 T32NS115753   5T32NS115753-05   ANGELES                         Training in Neurotechnology Translation                 SUTHANA, NANTHIA A     only                        2020/07/15   2025/06/30   $1,242,963   $1,242,963    $968,782    $181,671

                                      UNIVERSITY OF WISCONSIN-        Wisconsin Allergy Research Training (WISCART)                                  Awarded. Non-fellowships
2,769 T32AI007635   5T32AI007635-25   MADISON                         Program                                                 GERN, JAMES E          only                        2000/08/01   2025/08/31   $1,537,993   $1,537,993   $1,325,114   $337,172

                                      NORTHWESTERN UNIVERSITY AT      Training Program in the Neuroscience of Human           ZELANO, CHRISTINA      Awarded. Non-fellowships
2,770 T32NS047987   5T32NS047987-17   CHICAGO                         Cognition                                               MARIA                  only                        2006/07/01   2028/06/30    $879,316     $879,316     $526,665    $449,701

                                      UNIVERSITY OF CALIFORNIA LOS    Oxygen sensation in human-parasitic skin-
2,771 F30AI179222   5F30AI179222-02   ANGELES                         penetrating nematodes                                   WALSH, BREANNA M       Awarded. Fellowships only   2023/09/01   2026/08/31     $86,312      $86,312      $75,088     $43,796

                                                                      Translational Neuroscience and Neurotechnology                                Awarded. Non-fellowships
2,772 T32NS126157   5T32NS126157-03   WASHINGTON UNIVERSITY           Training (TNNT)                                         MORAN, DANIEL WILLIAM only                         2022/07/01   2027/06/30    $548,964     $548,964     $151,859    $204,528

                                                                      Remapping Clinical Neuroscience through                                        Awarded. Non-fellowships
2,773 T32NS091008   5T32NS091008-10   UNIVERSITY OF PENNSYLVANIA      Translation and Innovation Training (ReCoNnecT-IT)      JENSEN, FRANCES E      only                        2015/07/01   2025/06/30   $1,742,558   $1,742,558   $1,181,570        $1

                                                                      RESEARCH IN DEVELOPMENTAL ENDOCRINOLOGY                                        Awarded. Non-fellowships
2,774 T32DK007699   5T32DK007699-43   BOSTON CHILDREN'S HOSPITAL      AND METABOLISM                                          HIRSCHHORN, JOEL N     only                        1992/07/01   2027/06/30   $1,135,216   $1,135,216    $935,740    $355,695

                                                                      Identifying the Mechanisms and Localization of
2,775 F31NS134189   5F31NS134189-02   BRANDEIS UNIVERSITY             Activity-Dependent CaMKII Synthesis                     CLEMENTS, KELSEY       Awarded. Fellowships only   2023/07/16   2026/07/15     $76,864      $76,864      $59,600     $38,233

                                      MASSACHUSETTS GENERAL           TRAINING GRANT IN MOLECUCLAR IMAGING                    WEISSLEDER MD PHD,     Awarded. Non-fellowships
2,776 T32CA079443   5T32CA079443-24   HOSPITAL                        RESEARCH AND CANCER SYSTEMS ANALYSIS                    RALPH                  only                        2000/03/16   2026/06/30   $2,360,990   $2,360,990   $2,269,394   $673,624

                                      MASSACHUSETTS GENERAL           Program in Recovery and Restoration of CNS Health                              Awarded. Non-fellowships
2,777 T32NS100663   5T32NS100663-07   HOSPITAL                        and Function                                      HOCHBERG, LEIGH R            only                        2018/05/01   2028/06/30    $700,491     $700,491     $397,892    $326,298

                                                                                                                                                     Awarded. Non-fellowships
2,778 T32CA272386   5T32CA272386-02   BRIGHAM AND WOMEN'S HOSPITAL Cancer Neuroscience Training Program                       BATCHELOR, TRACY T     only                        2023/07/01   2028/06/30   $1,047,077   $1,047,077    $646,445    $550,907

                                      UNIVERSITY OF CALIFORNIA LOS    Dissecting Cell-Specific Brainstem Circuits Mediating
2,779 F31MH127943   5F31MH127943-03   ANGELES                         Escape Behavior                                       TOROSSIAN, ANITA         Awarded. Fellowships only   2022/07/01   2025/06/30    $118,886     $118,886     $111,830     $40,796

                                                                      Evaluation of inflammation in the locus coeruleus
                                                                      during physical withdrawal symptoms and cognitive
                                      PENNSYLVANIA STATE UNIV         development in a rat model of neonatal opioid     MILLS-HUFFNAGLE, SARA
2,780 F31DA059237   5F31DA059237-02   HERSHEY MED CTR                 withdrawal syndrome (NOWS)                        LYNN                         Awarded. Fellowships only   2023/08/01   2026/07/31     $75,909      $75,909      $62,542     $38,901

                                      UNIVERSITY OF CALIFORNIA, SAN   Elucidating the Role of Brain Extracellular Matrix in
2,781 F30MH134458   5F30MH134458-02   FRANCISCO                       Hippocampal Learning and Memory                         GUAJARDO, RICARDO      Awarded. Fellowships only   2023/06/01   2027/05/31     $81,125      $81,125      $73,974     $41,324

                                      OREGON HEALTH & SCIENCE         Medical Scientist Training Program of Oregon Health                           Awarded. Non-fellowships
2,782 T32GM141938   5T32GM141938-04   UNIVERSITY                      & Science University                                JACOBY, DAVID B           only                         2021/07/01   2026/06/30   $3,660,616   $3,660,616   $3,274,497   $958,975

                                                                      Multidisciplinary Research Training to Reduce                                 Awarded. Non-fellowships
2,783 T32HL130025   5T32HL130025-09   EMORY UNIVERSITY                Inequalities in Cardiovascular Health                   VACCARINO, VIOLA      only                         2016/07/01   2026/06/30   $2,835,757   $2,835,757   $2,371,713   $748,789

                                                                                                                                                    Awarded. Non-fellowships
2,784 T32EB003841   5T32EB003841-19   UNIVERSITY OF VIRGINIA          Training in Cardiovascular Imaging Research             LINDNER, JONATHAN R   only                         2004/07/01   2026/06/30    $814,773     $814,773     $735,574    $190,387

                                                                      Clinical and Laboratory Research Training for                                 Awarded. Non-fellowships
2,785 T32CA126607   5T32CA126607-15   JOHNS HOPKINS UNIVERSITY        Surgical Oncologists                                    CAMERON, ANDREW M     only                         2008/09/26   2025/06/30   $2,476,490   $2,476,490   $2,304,816   $520,886

                                                                      The Role of Macrophages in Pulmonary
                                                                      Regeneration using a Bioengineered Whole Lung           GREANEY, ALLISON
2,786 F32HL162428   7F32HL162428-03   YALE UNIVERSITY                 Tissue Model                                            MARIE                 Awarded. Fellowships only    2022/07/01   2025/06/30    $213,430     $213,430     $192,519     $76,756
                                      ALBERT EINSTEIN COLLEGE OF        Reward Function in Adolescents with Depression         NGUYEN, TRAM NGOC
2,787 F30DA056227   5F30DA056227-03   MEDICINE                          and Cannabis Use                                       BAO                    Awarded. Fellowships only   2022/08/16   2025/08/15    $158,420     $158,420     $142,057     $53,974
2,788 F30DK128884   5F30DK128884-04   TUFTS UNIVERSITY BOSTON           Interleukin-13 in Central Regulation of Metabolism     CHALOM, MAYER MARC     Awarded. Fellowships only   2021/08/16   2026/08/15    $181,244     $181,244     $171,833     $53,974

                                                                        Dissecting Mechanisms of Striatal Acetylcholine        BEESON, KATHLEEN
2,789 F32MH131232   5F32MH131232-03   HARVARD MEDICAL SCHOOL            Transmission in the Vertebrate Brain                   ALLISON                Awarded. Fellowships only   2022/08/01   2025/12/18    $221,430     $221,430     $156,558     $79,756

                                      UNIV OF NORTH CAROLINA            Understanding the Distributed Control of Flexible
2,790 F32NS131217   5F32NS131217-02   CHAPEL HILL                       Behavior                                               LEMKE, STEFAN          Awarded. Fellowships only   2023/07/01   2025/06/30    $146,256     $146,256     $121,111     $76,756

                                                                        Neuronal and genetic imprints of male mating
2,791 F32HD113431   5F32HD113431-02   STANFORD UNIVERSITY               experience                                             YANG, RENZHI           Awarded. Fellowships only   2023/07/15   2026/07/14    $143,364     $143,364      $97,699     $74,284

                                                                        Lab Research Training in Pediatric Oncology-                                  Awarded. Non-fellowships
2,792 T32CA060441   5T32CA060441-32   JOHNS HOPKINS UNIVERSITY          Hematology                                             FRIEDMAN, ALAN D       only                        1993/09/30   2028/07/31   $1,250,822   $1,250,822   $1,207,294   $665,090

                                                                                                                               VAN DYKE, THOMAS       Awarded. Non-fellowships
2,793 T90DE026110   5T90DE026110-08   ADA FORSYTH INSTITUTE, INC.       Forsyth Training in Oral Health Research               ELLIOTT                only                        2017/07/01   2027/06/30    $864,000     $864,000     $690,905    $378,938

                                      UNIVERSITY OF MISSOURI-                                                                                         Awarded. Non-fellowships
2,794 T32OD011126   5T32OD011126-46   COLUMBIA                          Postdoctoral Training in Comparative Medicine          BRYDA, ELIZABETH C     only                        1977/07/01   2026/06/30   $1,060,627   $1,060,627    $940,360    $227,159

                                      CHILDREN'S HOSP OF                Multidisciplinary Training Program in Pediatric Lung                          Awarded. Non-fellowships
2,795 T32HL160493   5T32HL160493-03   PHILADELPHIA                      Diseases                                               YOUNG, LISA R          only                        2022/07/01   2027/06/30   $1,284,162   $1,284,162    $838,485    $448,176

                                      UNIVERSITY OF COLORADO                                                                                          Awarded. Non-fellowships
2,796 T32DK007135   5T32DK007135-49   DENVER                            Renal and Electrolyte Disease and Hypertension         KENDRICK, JESSICA B    only                        1983/07/01   2025/06/30   $1,363,295   $1,363,295   $1,163,172   $310,248

                                      ALBERT EINSTEIN COLLEGE OF        Training Program in Cellular and Molecular Biology                            Awarded. Non-fellowships
2,797 T32GM145438   5T32GM145438-02   MEDICINE                          and Genetics                                           QUERY, CHARLES C       only                        2023/07/01   2028/06/30   $1,187,884   $1,187,884    $924,790    $604,295

                                      UNIVERSITY OF PITTSBURGH AT                                                                                     Awarded. Non-fellowships
2,798 T90DE030853   5T90DE030853-03   PITTSBURGH                        Pittsburgh Craniofacial Sciences Training Program      SFEIR, CHARLES         only                        2022/07/01   2027/06/30   $1,083,219   $1,083,219    $771,112    $380,233

                                                                        Characterization of TMEM164 as novel multi-pass        WARE, TIMOTHY
2,799 F32DK135331   5F32DK135331-02   SCRIPPS RESEARCH INSTITUTE, THE   transmembrane enzyme and its role in ferroptosis       BRANDON                Awarded. Fellowships only   2023/07/01   2025/06/30    $146,256     $146,256     $137,165     $76,756

                                      UNIVERSITY OF MICHIGAN AT ANN     Role of hypoxia in CD8+ T cell exclusion and
2,800 F31CA281079   5F31CA281079-02   ARBOR                             suppression in pancreatic cancer                       MELLO, ASHLEY          Awarded. Fellowships only   2023/09/01   2027/08/31     $82,048      $82,048      $82,048     $41,664

                                                                                                                       BUI, KACEY LINNEA
2,801 F31CA281039   5F31CA281039-02   UNIVERSITY OF MINNESOTA           HMGB1 in EB-Associated Squamous Cell Carcinoma GUENTHER                       Awarded. Fellowships only   2023/08/01   2027/07/31     $76,772      $76,772      $71,322     $35,163

                                                                                                                                                      Awarded. Non-fellowships
2,802 T32HL007605   5T32HL007605-40   UNIVERSITY OF CHICAGO             Research training in respiratory biology               MUTLU, GOKHAN M        only                        1985/08/01   2025/06/30   $3,958,666   $3,958,666   $3,048,130   $950,124

                                                                        Penn Postdoctoral Training Program in the Ethical,
                                                                        Legal and Social Implications of Genetics and                                 Awarded. Non-fellowships
2,803 T32HG009496   5T32HG009496-08   UNIVERSITY OF PENNSYLVANIA        Genomics                                               JOFFE, STEVEN          only                        2017/06/07   2027/05/31   $1,160,449   $1,160,449   $1,148,039   $433,850

                                                                        Characterizing and Targeting Filament
2,804 F30AG079573   5F30AG079573-03   OHIO STATE UNIVERSITY             Polymorphism in Tauopathies                            MALYSHKA, DMITRY       Awarded. Fellowships only   2022/08/01   2026/07/31    $137,908     $137,908     $106,861     $53,974

                                      UNIVERSITY OF TEXAS SAN           Modeling Alzheimers Disease in Hispanic Latino         MEYER-ACOSTA, KARINA
2,805 F31AG082498   5F31AG082498-02   ANTONIO                           populations using human cortical organoids             K                      Awarded. Fellowships only   2023/06/01   2026/05/31     $79,150      $79,150      $73,846     $40,215

                                                                                                                                                      Awarded. Non-fellowships
2,806 T32GM141602   5T32GM141602-03   SAINT LOUIS UNIVERSITY            Pharmacological Sciences Training Grant                YOSTEN, GINA L C       only                        2022/07/01   2027/06/30    $741,934     $741,934     $500,325    $255,280

                                      UNIV OF MARYLAND, COLLEGE         Corticofugal contributions to auditory perceptual
2,807 F31DC021355   5F31DC021355-02   PARK                              learning                                               YING, ROSE             Awarded. Fellowships only   2023/07/01   2026/06/30     $76,360      $76,360      $67,023     $38,820

                                                                        Anterior Cingulate Cortex preferentially drives dorsal
                                                                        CA1 deep neuronal activity during sharp-wave
2,808 F31MH134582   5F31MH134582-02   DREXEL UNIVERSITY                 ripples for memory consolidation                       HALL, ARRON FRANKLIN   Awarded. Fellowships only   2023/06/01   2026/05/31     $96,668      $96,668      $91,645     $48,974

                                                                                                                                                      Awarded. Non-fellowships
2,809 T32NS105604   5T32NS105604-07   UNIVERSITY OF MINNESOTA           Predoctoral Training of Neuroscientists                REDISH, A DAVID        only                        2018/07/01   2028/06/30    $836,347     $836,347     $777,096    $425,703

                                                                        Combined Adult and Pediatric Infectious Disease        ODOM JOHN, AUDREY      Awarded. Non-fellowships
2,810 T32AI118684   5T32AI118684-08   UNIVERSITY OF PENNSYLVANIA        Postdoctoral Training Grant                            RAGAN                  only                        2016/08/08   2027/06/30    $721,188     $721,188     $599,045    $250,545
                                                                       INVESTIGATING THE ROLE OF THE CYTOSKELETON IN        STEPHENS, MORGAN
2,811 F31NS129062   5F31NS129062-03   BAYLOR COLLEGE OF MEDICINE       NEURODEGENERATION                                    CATHERINE              Awarded. Fellowships only   2022/08/01   2025/07/31    $143,420     $143,420     $124,605     $48,974

                                                                       Predoctoral Training at the Chemistry-Biology                               Awarded. Non-fellowships
2,812 T32GM133398   5T32GM133398-05   UNIVERSITY OF PENNSYLVANIA       Interface                                            MARMORSTEIN, RONEN     only                        2020/07/01   2025/06/30   $1,541,971   $1,541,971   $1,129,671   $329,616

                                      PENNSYLVANIA STATE UNIVERSITY,   Creating the Next Generation of Scholars in CM       SCHREIER, HANNAH       Awarded. Non-fellowships
2,813 T32HD101390   5T32HD101390-05   THE                              Science (CMT32)                                      MILENA CAROLINE        only                        2020/05/11   2026/04/30   $1,559,968   $1,559,968   $1,315,273   $180,465

                                      UNIV OF NORTH CAROLINA                                                                                       Awarded. Non-fellowships
2,814 T32CA071341   5T32CA071341-27   CHAPEL HILL                      Cancer Cell Biology Training Program                 DER, CHANNING J        only                        1996/09/30   2028/06/30    $647,576     $647,576     $489,412    $332,856

                                                                                                                            JOHNSON, MATTHEW       Awarded. Non-fellowships
2,815 T32NS121920   5T32NS121920-03   UNIVERSITY OF MINNESOTA          Training Program in Translational Neuromodulation    DOUGLAS                only                        2022/07/01   2027/06/30    $814,088     $814,088     $509,427    $186,852

                                                                                                                                                   Awarded. Non-fellowships
2,816 T32GM136560   5T32GM136560-05   BAYLOR COLLEGE OF MEDICINE       Training Program in Cell and Molecular Biology       NELSON, DAVID LOREN    only                        2020/07/01   2025/06/30   $2,142,059   $2,142,059   $1,766,100   $419,487

                                                                                                                                                   Awarded. Non-fellowships
2,817 T32NS077889   5T32NS077889-13   UNIVERSITY OF KENTUCKY           Neurobiology of CNS Injury and Repair                SAATMAN, KATHRYN E     only                        2012/07/01   2027/06/30    $598,603     $598,603     $504,578    $177,281

                                                                                                                                                   Awarded. Non-fellowships
2,818 T32GM136627   5T32GM136627-05   DUKE UNIVERSITY                  Genetics and Genomics Training Grant                 ASHLEY-KOCH, ALLISON E only                        2020/07/01   2025/06/30   $2,569,941   $2,569,941   $2,281,628   $549,359

                                                                                                                                                   Awarded. Non-fellowships
2,819 T32NS007453   5T32NS007453-24   UNIVERSITY OF CINCINNATI         Predoctoral Training Program in the Neurosciences    HERMAN, JAMES P        only                        1997/09/30   2026/06/30    $700,711     $700,711     $722,408     $82,756

                                                                                                                                                   Awarded. Non-fellowships
2,820 T32GM136577   5T32GM136577-05   JOHNS HOPKINS UNIVERSITY         Medical Scientist Training Program                   COX, ANDREA L          only                        2020/07/01   2025/06/30   $9,307,687   $9,307,687   $8,414,450 $1,917,949

                                                                       Training in Cellular, Biochemical and Molecular                             Awarded. Non-fellowships
2,821 T32GM135134   5T32GM135134-05   UNIVERSITY OF ROCHESTER          Sciences                                             MAQUAT, LYNNE E        only                        2020/07/01   2025/06/30   $2,030,978   $2,030,978   $1,844,883   $417,287

                                      UNIVERSITY OF CALIFORNIA LOS                                                          DUNKEL SCHETTER,       Awarded. Non-fellowships
2,822 T32MH015750   5T32MH015750-44   ANGELES                          Biobehavioral Issues in Physical and Mental Health   CHRISTINE              only                        1985/07/01   2026/06/30   $1,081,519   $1,081,519   $1,058,106   $304,425

                                                                                                                                                   Awarded. Non-fellowships
2,823 T32NS091018   5T32NS091018-24   JOHNS HOPKINS UNIVERSITY         Training Program in Neuroscience                     KNIERIM, JAMES J       only                        1999/07/01   2026/06/30   $1,661,009   $1,661,009   $1,525,950   $418,525

                                                                       Glyphosate impairs glucose homeostasis via gut
                                                                       microbiome induced alterations to bile acid
2,824 F31DK137424   5F31DK137424-02   UNIVERSITY OF ARIZONA            signaling                                            MEYER, RACHEL          Awarded. Fellowships only   2023/07/01   2025/06/30     $91,806      $91,806      $62,818     $46,543

                                                                                                                                                   Awarded. Non-fellowships
2,825 T32GM008244   5T32GM008244-37   UNIVERSITY OF MINNESOTA          Medical Scientist Training Program                   SHIMIZU, YOJI          only                        1988/07/01   2025/06/30   $4,645,397   $4,645,397   $4,306,596   $958,975

                                                                                                                                                   Awarded. Non-fellowships
2,826 T32CA247756   5T32CA247756-05   GEORGE WASHINGTON UNIVERSITY Cancer Biology Training Program (CBTP)                   LEE, NORMAN H          only                        2020/07/01   2026/06/30   $1,397,269   $1,397,269    $998,565    $319,872

                                      UNIV OF MARYLAND, COLLEGE                                                                                    Awarded. Non-fellowships
2,827 T32DC000046   5T32DC000046-29   PARK                             Comparative and Evolutionary Biology of Hearing      GOUPELL, MATTHEW J     only                        1994/07/01   2026/06/30   $1,665,339   $1,665,339   $1,406,342   $459,450

                                                                       Training future leaders at the chemistry-biology                            Awarded. Non-fellowships
2,828 T32GM138826   5T32GM138826-04   CORNELL UNIVERSITY               interface                                            BASKIN, JEREMY         only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,569,114   $439,487

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                Awarded. Non-fellowships
2,829 T32NS076401   5T32NS076401-24   ARBOR                            Early Stage Training in the Neurosciences            ELIAS, CAROL FUZETI    only                        2001/07/01   2026/06/30    $828,862     $828,862     $818,862    $211,688

                                                                                                                                                   Awarded. Non-fellowships
2,830 T32DK007314   5T32DK007314-44   UNIVERSITY OF PENNSYLVANIA       Diabetes, Endocrine, and Metabolism                  STOFFERS, DORIS A      only                        1978/09/15   2026/06/30   $2,357,846   $2,357,846   $2,118,666   $513,456

                                      UNIVERSITY OF CALIFORNIA, SAN    Defining the Role of Aire in eTACs and its
2,831 F31AI172348   5F31AI172348-03   FRANCISCO                        Contribution to Peripheral Immune Tolerance          WANG, JIAXI            Awarded. Fellowships only   2022/07/01   2025/06/30    $119,803     $119,803      $82,137     $41,343

                                                                                                                                                   Awarded. Non-fellowships
2,832 T32DK091317   5T32DK091317-14   UNIVERSITY OF UTAH               Interdisciplinary Training Program in Metabolism     SUMMERS, SCOTT A       only                        2011/07/01   2026/06/30   $1,667,670   $1,667,670   $1,378,751   $368,737

                                                                                                                                                   Awarded. Non-fellowships
2,833 T32GM136624   5T32GM136624-05   UNIVERSITY OF CALIFORNIA-IRVINE Mathematical, Computational and Systems Biology LANDER, ARTHUR D             only                        2020/07/01   2025/06/30   $2,043,273   $2,043,273   $1,931,017   $319,250
                                                                        Interinstitutional Program in Cell and Molecular
                                                                        Biology: A Graduate Training Path to Promote
                                        UNIVERSITY OF PITTSBURGH AT     Traditional and Non-Traditional Professional                                  Awarded. Non-fellowships
2,834 T32GM133353   5T32GM133353-05     PITTSBURGH                      Outcomes                                              MURRAY, SANDRA ANN      only                        2020/07/01   2025/12/31   $1,541,965   $1,541,965   $1,232,786   $329,616

                                                                                                                                                      Awarded. Non-fellowships
2,835 T32GM146621   5T32GM146621-02     TUFTS UNIVERSITY BOSTON         Medical Scientist Training Program at Tufts University CHIN, MICHAEL T        only                        2023/07/01   2028/06/30   $1,179,894   $1,179,894   $1,058,826   $599,359

                                                                        CBT@EmTech - CardioVascular Biomechanics                                      Awarded. Non-fellowships
2,836 T32HL166146   5T32HL166146-02     EMORY UNIVERSITY                Training Program at Emory and GaTech                  JO, HANJOONG            only                        2023/07/01   2028/06/30    $672,193     $672,193     $401,690    $341,744

                                                                        Advanced Research Training in Transplantation                                 Awarded. Non-fellowships
2,837 T32AI070081   5T32AI070081-18     EMORY UNIVERSITY                Science                                               FORD, MANDY L           only                        2006/09/01   2027/07/31    $569,232     $569,232     $453,920    $191,591

                                                                                                                                                      Awarded. Non-fellowships
2,838 T32OD010437   5T32OD010437-23     COLORADO STATE UNIVERSITY       Biomedical Research Training for Veterinarians        SANTANGELO, KELLY S     only                        2000/07/15   2027/06/30   $1,157,297   $1,157,297   $1,293,488   $252,447

                                                                                                                                                    Awarded. Non-fellowships
2,839 T32GM066691   5T32GM066691-22     JOHNS HOPKINS UNIVERSITY        Clinical Pharmacology Training Program                HENDRIX, CRAIG WALTER only                          2003/07/01   2028/06/30    $819,454     $819,454     $623,167    $422,175

                                        VANDERBILT UNIVERSITY MEDICAL   Vanderbilt Training Program in Molecular and                                  Awarded. Non-fellowships
2,840 T32CA160056   5T32CA160056-13     CENTER                          Genetic Epidemiology of Cancer                        SHU, XIAO-OU            only                        2017/09/01   2028/06/30    $789,676     $789,676     $652,269    $393,130

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
2,841 T32GM142630   5T32GM142630-03     PITTSBURGH                      The Behavioral Brain (B2) Research Training Program FIEZ, JULIE A             only                        2022/07/01   2027/06/30   $1,120,180   $1,120,180    $802,876    $384,552

                                                                        Elucidating the Role of Epithelial PCP signaling in
2,842 F31DC020667   5F31DC020667-03     UNIVERSITY OF VIRGINIA          SGN Axon Guidance in the Cochlea                      CLANCY, SHAYLYN         Awarded. Fellowships only   2022/07/01   2025/06/30    $109,331     $109,331     $109,206     $37,611

                                                                        Insular serotonin modulatesbehavioral responses to
2,843 F31MH133304   1F31MH133304-01A1   BOSTON COLLEGE                  danger                                                NG, ALEXANDRA JADE      Awarded. Fellowships only   2024/09/01   2027/08/31     $45,442      $45,442      $21,916     $45,442

                                                                        The impact of sleep on memory selectivity and
                                                                        problem solving: Common and distinct neural
2,844 F32HL162480   5F32HL162480-03     UNIVERSITY OF NOTRE DAME        mechanisms                                            SANDERS, KRISTIN        Awarded. Fellowships only   2022/09/30   2025/09/29    $221,266     $221,266     $182,437     $81,892

                                        OREGON HEALTH & SCIENCE         Structural basis of selective inhibition toward gap
2,845 F32EY036283   1F32EY036283-01     UNIVERSITY                      junction channels involved in vision.                 SOUZA, SAMSON           Awarded. Fellowships only   2024/07/01   2027/06/30     $76,756      $76,756      $56,892     $76,756

                                                                        Characterizing the role of affective information in
                                                                        early word learning using observational and
2,846 F32HD115513   1F32HD115513-01     STANFORD UNIVERSITY             experimental designs                                  NENCHEVA, MIRA L        Awarded. Fellowships only   2024/08/05   2027/08/04     $73,408      $73,408      $36,576     $73,408

                                        ICAHN SCHOOL OF MEDICINE AT     Role of T-lymphocytes in Idiopathic and Genetic
2,847 F31NS134319   1F31NS134319-01A1   MOUNT SINAI                     Parkinsons Disease                                    ROSEN, MIKAELA          Awarded. Fellowships only   2024/07/01   2026/08/31     $47,374      $47,374       $9,603     $47,374

                                        NEW YORK UNIVERSITY SCHOOL OF Investigating cancer-associated cachexia in
2,848 F30CA284910   1F30CA284910-01A1   MEDICINE                      genetic subtypes of lung cancer                         CROSS, MICHAEL          Awarded. Fellowships only   2024/05/13   2028/05/12     $48,504      $48,504      $33,100     $48,504

                                        LSU PENNINGTON BIOMEDICAL       Hepatic SLC25a25 in Steatotic Liver Disease
2,849 F31DK139728   1F31DK139728-01     RESEARCH CTR                    Progression                                           HEINTZ, ELIZABETH C     Awarded. Fellowships only   2024/08/01   2027/07/31     $42,467      $42,467      $31,417     $42,467

                                                                        Biologic and Functional Characterization of In Vivo
2,850 F30CA291106   1F30CA291106-01     STANFORD UNIVERSITY             CAR-T cells                                           BURDSALL, KYLIE A       Awarded. Fellowships only   2024/06/01   2027/05/31     $48,974      $48,974      $33,464     $48,974

                                                                        Optimizing treatment decisions and quality-
                                        MASSACHUSETTS GENERAL           adjusted life years through improved lung cancer      RUDASILL, SARAH
2,851 F32CA290759   1F32CA290759-01     HOSPITAL                        staging                                               ELIZABETH               Awarded. Fellowships only   2024/07/01   2026/06/30     $81,256      $81,256      $53,969     $81,256

                                        UT SOUTHWESTERN MEDICAL         Cell type-specific regulation of cortical
2,852 F31MH136763   1F31MH136763-01     CENTER                          development by the autism risk gene Foxp1             VOLLMER, RACHAEL        Awarded. Fellowships only   2024/09/01   2026/08/31     $39,786      $39,786      $19,040     $39,786
                                                                        Design and Application of Modular and
                                                                        Convergent Strategies for the Synthesis of
                                        CALIFORNIA INSTITUTE OF         Monoterpenoid Bisindole Alkaloids and their
2,853 F31GM154462   1F31GM154462-01     TECHNOLOGY                      Analogs                                               GONZALEZ, KEVIN JAIME   Awarded. Fellowships only   2024/08/01   2026/07/31     $48,974      $48,974      $37,831     $48,974

                                                                        Molecular insights into the regulation of
2,854 F31HL174083   1F31HL174083-01     STANFORD UNIVERSITY             mitochondrial calcium uptake                          MUIR, COLIN             Awarded. Fellowships only   2024/08/15   2026/08/14     $48,974      $48,974      $22,056     $48,974
                                                                          Integrated metabolomic and microbial community
                                                                          analysis of estuarine sediments and their potential
2,855 F31AT012840   1F31AT012840-01     OREGON STATE UNIVERSITY           as sources of bioactive natural products            REDICK, MARGARET         Awarded. Fellowships only   2024/06/01   2025/08/31     $55,590      $55,590      $27,602     $43,522

                                                                        Developing tools for assessing obstructive sleep
                                                                        apnea severity and consequences from existing
2,856 F31HL174146   1F31HL174146-01     UNIVERSITY OF CALIFORNIA-IRVINE clinical data                                         QAYYUM, NIDA TARIQ       Awarded. Fellowships only   2024/09/30   2027/03/29     $41,539      $41,539      $17,215     $41,539

                                                                          Enhancing robustness of human pluripotent stem
                                                                          cell differentiation to cardiomyocytes by
                                        UNIVERSITY OF WISCONSIN-          uncovering on- and off-target differentiation
2,857 F30HL173988   1F30HL173988-01     MADISON                           trajectories via single nucleus multi-omics         FEENEY, AUSTIN K         Awarded. Fellowships only   2024/09/30   2027/06/30     $40,844      $40,844      $18,369     $40,844

                                                                          Developing RNA therapeutics for TDP-43
2,858 F31NS129101   5F31NS129101-03     UNIVERSITY OF PENNSYLVANIA        proteinopathy in ALS/FTD                            COPLEY, KATIE ELIZABETH Awarded. Fellowships only    2022/09/01   2025/08/31    $130,976     $130,976     $118,424     $36,530

                                                                          Medial deep dorsal glycinergic interneurons as a
                                                                          target for improving locomotion following spinal
2,859 F31NS135913   1F31NS135913-01A1   DREXEL UNIVERSITY                 cord injury                                         MCGRATH, JENNA           Awarded. Fellowships only   2024/07/01   2026/11/30     $48,974      $48,974      $34,688     $48,974

                                        BETH ISRAEL DEACONESS MEDICAL                                                                                  Awarded. Non-fellowships
2,860 T32HL160522   5T32HL160522-03     CENTER                        Training Program in Cardiovascular Research             HO, JENNIFER E           only                        2022/07/01   2027/06/30   $1,606,820   $1,606,820   $1,097,025   $555,112

                                        UNIVERSITY OF MIAMI CORAL         Effects of Neighborhood Environment on Child
2,861 F31NR020983   5F31NR020983-02     GABLES                            Behavioral Health                                   LEE, JIYE                Awarded. Fellowships only   2023/08/14   2025/05/13     $90,128      $90,128      $77,494     $39,934

                                        WEILL MEDICAL COLL OF CORNELL Multidisciplinary Research Training in Cardiovascular                            Awarded. Non-fellowships
2,862 T32HL160520   5T32HL160520-03     UNIV                          Disease                                               PITT, GEOFFREY S           only                        2022/07/01   2027/06/30   $1,186,836   $1,186,836    $720,654    $599,210

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                  Awarded. Non-fellowships
2,863 T32GM133351   5T32GM133351-05     DIEGO                             Pathways in Biological Sciences Training Program    HAMPTON, RANDOLPH Y      only                        2020/07/01   2026/06/30   $7,423,500   $7,423,500   $5,486,997 $1,446,945

                                        NORTHWESTERN UNIVERSITY AT        Dissecting the Mechanisms Underlying Inflammation
2,864 F31AI179597   1F31AI179597-01A1   CHICAGO                           Induced Anorexia                                  HAYES, NIKOLAS             Awarded. Fellowships only   2024/06/01   2027/05/31     $44,468      $44,468      $39,824     $44,468
2,865 F32GM154397   1F32GM154397-01     STANFORD UNIVERSITY               Symmetry Breaking in Cell Assemblies                DEVITT, CAITLIN C        Awarded. Fellowships only   2024/05/16   2026/05/15     $74,284      $74,284      $64,972     $74,284

                                                                          Mechanistic examination and inhibitor targeting of
                                        UNIV OF NORTH CAROLINA            nutrient scavenging for the treatment of pancreatic
2,866 F31CA284869   1F31CA284869-01A1   CHAPEL HILL                       cancer                                              ROBB, RYAN               Awarded. Fellowships only   2024/07/01   2027/06/30     $40,064      $40,064      $32,756     $40,064

                                                                          Investigating the Role of Diet and ACSS2 in
                                                                          Metabolic and Epigenetic Regulation of Colorectal
2,867 F30CA284848   1F30CA284848-01A1   UNIVERSITY OF PENNSYLVANIA        Cancer                                            SHARMA, PRATEEK            Awarded. Fellowships only   2024/07/01   2025/10/31     $36,662      $36,662      $30,134     $36,662

                                        UNIVERSITY OF ALABAMA AT          Deep South KUH Premier Research - Interdisciplinary                          Awarded. Non-fellowships
2,868 TL1DK139566   5TL1DK139566-02     BIRMINGHAM                        Mentored Education (PRIME) Training Core            POLLOCK, DAVID M         only                        2023/09/01   2028/06/30   $1,812,798   $1,812,798    $889,379    $929,474

                                        NORTHWESTERN UNIVERSITY AT        Probing silent cerebral infarct pathogenesis in sickle
2,869 F31HL166079   5F31HL166079-03     CHICAGO                           cell disease with cerebrovascular MRI                  ZVOLANEK, KRISTINA    Awarded. Fellowships only   2022/09/01   2025/08/31    $129,284     $129,284     $107,818     $44,262

                                        UNIVERSITY OF WISCONSIN-          Mechanistic analysis of Toxoplasma gondii sexual
2,870 F32AI172084   5F32AI172084-03     MADISON                           development in tissue culture and mouse models      DAVIS, NICOLE MARIE      Awarded. Fellowships only   2022/09/01   2025/08/31    $214,319     $214,319     $183,169     $76,756

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                  Awarded. Non-fellowships
2,871 TL1DK139565   5TL1DK139565-02     FRANCISCO                         NRSA Training Core                                  HSU, CHI-YUAN            only                        2023/09/01   2028/06/30   $2,636,306   $2,636,306   $1,517,496 $1,368,023

                                                                          Understanding the contribution of genotype-by-
                                                                          lifestyle interactions to cardiometabolic risk in
2,872 F32ES034668   5F32ES034668-03     PRINCETON UNIVERSITY              individuals of east African ancestry                GARSKE, KRISTINA MARIE   Awarded. Fellowships only   2022/09/01   2025/08/31    $213,430     $213,430     $185,255     $76,756

                                                                          Interrogating spatiotemporal control of mRNA in
                                                                          Drosophila morphogenesis using Cas13-based
2,873 F30NS137764   1F30NS137764-01     PRINCETON UNIVERSITY              techniques                                          MCMANUS, ELIZABETH       Awarded. Fellowships only   2024/07/01   2029/06/30     $53,974      $53,974      $24,323     $53,974

                                        CUYAHOGA COMMUNITY                Bridges to the Baccalaureate Research Training                           Awarded. Non-fellowships
2,874 T34GM137792   5T34GM137792-05     COLLEGE                           Program at Cuyahoga Community College               VARHEGYI, GEZA GABOR only                            2020/08/01   2025/07/31   $1,823,111   $1,823,111   $1,273,059   $162,222
                                                                           Deciphering the role of cytoskeletal-nuclear
2,875 F31HL168922   1F31HL168922-01A1   UNIVERSITY OF PENNSYLVANIA         interactions in peripheral chromatin organization       SHEN, KAITLYN MARIE    Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $30,468     $48,974

                                        UNIVERSITY OF CALIFORNIA AT        The role of temporal prediction in guiding attention
2,876 F32HD108937   5F32HD108937-03     DAVIS                              through time during language comprehension.             BEIER, ELEONORA JUDITH Awarded. Fellowships only   2022/09/01   2025/08/31    $210,154     $210,154     $198,763     $74,284

                                                                           ATG2 transfers lipids from ER exit site membranes to
2,877 F31AG079606   5F31AG079606-03     YALE UNIVERSITY                    directly expand the growing autophagosome               FULLER, DEVIN          Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $108,326     $48,974

                                                                           Translational Science Training to Reduce the Impact                            Awarded. Non-fellowships
2,878 T32AA025877   5T32AA025877-07     UNIVERSITY OF FLORIDA              of Alcohol on HIV Infection                         COOK, ROBERT L             only                        2018/08/10   2028/07/31    $850,364     $850,364     $609,621    $435,976

                                        UNIVERSITY OF CALIFORNIA AT        Coronavirus Infection Dynamics and Cross-species
2,879 F30AI183819   1F30AI183819-01     DAVIS                              Transmission in Bats                                    CORDS, OLIVIA          Awarded. Fellowships only   2024/07/01   2027/06/30     $41,972      $41,972      $27,167     $41,972

                                        UNIVERSITY OF KANSAS MEDICAL       Lysosome and integrated stress response in aging
2,880 F31AA031623   1F31AA031623-01     CENTER                             and alcohol-associated liver disease                    WILLIAMS, SHA NEISHA   Awarded. Fellowships only   2024/07/24   2027/07/23     $40,460      $40,460      $23,328     $40,460

                                                                           Assessing activation in the human brain using ultra-
                                                                           high performance FDG functional PET to investigate
2,881 F30AG087667   1F30AG087667-01     YALE UNIVERSITY                    neurodegenerative disorders                          KHATTAR, NIKKITA          Awarded. Fellowships only   2024/07/01   2028/06/30     $33,958      $33,958      $24,793     $33,958

                                                                           Using the gut microbiome to treat disuse atrophy in
2,882 F31AG087618   1F31AG087618-01     UNIVERSITY OF KENTUCKY             aging.                                                  BURKE, BENJAMIN        Awarded. Fellowships only   2024/12/01   2027/11/30     $43,612      $43,612      $15,363     $43,612

                                        WEILL MEDICAL COLL OF CORNELL Characterizing Oncogenic Nras in IDH1 Mutant AML
2,883 F30CA284575   1F30CA284575-01A1   UNIV                          Leukemogenesis and Therapeutic Responsiveness    GELFER, REBECCA                    Awarded. Fellowships only   2024/09/01   2028/08/31     $53,974      $53,974      $42,035     $53,974

                                        WEILL MEDICAL COLL OF CORNELL Protocadherin 15 as a critical component of the              VILLASANTE, CAMILA
2,884 F30DC020104   5F30DC020104-04     UNIV                          gating spring of human hearing                               MARIE                  Awarded. Fellowships only   2021/09/01   2025/08/31    $209,456     $209,456     $198,148     $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN      ASXL3 Links Chromatin Biology to
2,885 F31NS137737   1F31NS137737-01     ARBOR                              Neurodevelopment Disorders                              PEIRENT, EMILY ROSE    Awarded. Fellowships only   2024/09/01   2027/08/31     $42,322      $42,322      $35,276     $42,322
2,886 F31AI183732   1F31AI183732-01     GEORGETOWN UNIVERSITY              Intestinal Barrier Repair Mechanisms in Giardiasis      KOSILE, RITA TAYE      Awarded. Fellowships only   2024/08/01   2026/07/31     $41,605      $41,605      $31,747     $41,605

                                        UNIVERSITY OF COLORADO                                                                                            Awarded. Non-fellowships
2,887 T32HL072738   5T32HL072738-20     DENVER                             Cardiovascular Biomechanics and Imaging                 SHANDAS, ROBIN         only                        2003/04/01   2026/08/31   $1,471,013   $1,471,013   $1,058,022   $381,063

                                                                           Disentangling the role of poverty-related
                                                                           experiences on childrens self-regulation: Identifying
2,888 F32HD112065   5F32HD112065-02     STANFORD UNIVERSITY                dynamic and contextually-relevant mechanisms            DEJOSEPH, MERIAH L     Awarded. Fellowships only   2023/08/04   2026/08/03    $148,468     $148,468     $110,975     $77,284

                                                                           The Role of Emergency Granulopoiesis in Wound
2,889 F31HL174069   1F31HL174069-01     UNIVERSITY OF LOUISVILLE           Healing after Myocardial Infarction                     STEPHAN, JONAH         Awarded. Fellowships only   2024/08/01   2026/07/31     $35,822      $35,822      $22,711     $35,822

                                                                           Early intervention as a determinant of hearing aid
                                        MEDICAL UNIVERSITY OF SOUTH        benefit for age-related hearing loss: Results from
2,890 F32DC021078   5F32DC021078-02     CAROLINA                           longitudinal cohort studies                             DILLARD, LAUREN KAY    Awarded. Fellowships only   2023/09/01   2025/08/31    $159,984     $159,984     $125,142     $83,932

                                                                           Understanding the role of β2AR-signaling on ILC2
                                        ROSWELL PARK CANCER INSTITUTE      differentiation/plasticity and its implications in
2,891 F30CA284763   5F30CA284763-02     CORP                               cancer progression                                      CHOI, JEE EUN          Awarded. Fellowships only   2023/09/01   2027/08/31     $66,304      $66,304      $54,859     $33,792

                                                                        Building a community: examining polymicrobial
                                        STATE UNIVERSITY OF NEW YORK AT Interactions within urinary catheter biofilms and their
2,892 F31AI183838   1F31AI183838-01     BUFFALO                         contribution to infection severity                      TADDEI, STEVEN MARCEL     Awarded. Fellowships only   2024/06/01   2027/05/31     $33,776      $33,776      $29,907     $33,776

                                                                       Measuring neurodevelopmental effects of genetic
                                                                       risk for Alzheimers disease via cross-sectional study
                                        UNIVERSITY OF NEBRASKA MEDICAL of brain, cognitive, and physical fitness variables in
2,893 F30AG084348   1F30AG084348-01A1   CENTER                         periadolescent children                                     HELLER-WIGHT, ABI      Awarded. Fellowships only   2024/06/01   2028/06/16     $75,454      $75,454      $27,799     $37,727

                                                                           An Investigation of the Neurocognitive Mechanisms
                                                                           of Age-Related Declines in Episodic Memory        GREENE, NATHANIEL
2,894 F32AG087646   1F32AG087646-01     UNIVERSITY OF PENNSYLVANIA         Representational Specificity                      ROBERT                       Awarded. Fellowships only   2024/08/01   2027/07/31     $76,528      $76,528      $58,526     $76,528
                                                                         Elucidating the complex allosteric regulation of PFK-
                                        COLUMBIA UNIVERSITY HEALTH       1, a broadly evolutionarily conserved glycolytic
2,895 F31AI184134   1F31AI184134-01     SCIENCES                         enzyme                                                SUNDBERG, BELEN          Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $44,270     $48,974

                                                                         Multisensory Integration and Cortical Plasticity in
2,896 F30DC020917   5F30DC020917-03     VANDERBILT UNIVERSITY            Cochlear Implant Users                                  KUNNATH, ANSLEY        Awarded. Fellowships only   2022/09/01   2027/08/31     $98,876      $98,876      $86,385     $34,126

                                                                      Bacterial targeting of the P-
                                        UNIV OF MASSACHUSETTS MED SCH glycoprotein/endocannabinoid axis for reducing             SALLIS, BENJAMIN
2,897 F30DK134110   5F30DK134110-03     WORCESTER                     intestinal inflammation in ulcerative colitis              FIDELIUS               Awarded. Fellowships only   2022/09/01   2026/08/31     $97,718      $97,718      $80,722     $33,740

                                                                         A novel role for developmental microglial-
                                                                         parvalbumin interneuron interactions in adult
2,898 F31AA030712   5F31AA030712-03     DUKE UNIVERSITY                  alcohol drinking behavior.                              DZIABIS, JULIA         Awarded. Fellowships only   2022/09/01   2025/08/31    $126,575     $126,575     $113,145     $43,359

                                        UNIVERSITY OF ALABAMA AT         Bridges to the Baccalaureate Research Training                                 Awarded. Non-fellowships
2,899 T34GM146609   5T34GM146609-03     BIRMINGHAM                       Program at University of Alabama at Birmingham          WYSS, J MICHAEL        only                        2022/08/01   2027/07/31    $815,240     $815,240     $606,344   $271,685

                                        CALIFORNIA STATE UNIVERSITY LOS                                                                                Awarded. Non-fellowships
2,900 T32GM146700   5T32GM146700-03     ANGELES                         Bridges to the Doctorate Program at Cal State LA         VELLANOWETH, ROBERT L only                         2022/08/01   2027/07/31   $2,798,918   $2,798,918   $1,874,829 $1,157,883

                                                                         Neural Signatures and Cognitive Performance
                                                                         During Rat Morphine Withdrawal, and Subsequent          HONES, VICTORIA
2,901 F31DA059250   5F31DA059250-02     UNIVERSITY OF WASHINGTON         Impact of Psilocybin                                    IVANOVA                Awarded. Fellowships only   2023/08/16   2026/08/15     $93,110      $93,110      $82,314     $47,405

                                                                         Influences Of Social Determinants Of Health And
                                                                         Parental Participation In Hospital Care On
                                                                         Development Of Parenting Confidence Among
2,902 F31NR021237   1F31NR021237-01     DUKE UNIVERSITY                  Parents Of Children With A Congenital Heart Defect HARLOW, ASHLEIGH            Awarded. Fellowships only   2024/07/01   2026/10/31     $44,567      $44,567      $37,963     $44,567

                                                                         Investigating the Roles of ADARs and A-to-I RNA
2,903 F31HD110244   5F31HD110244-03     TRUSTEES OF INDIANA UNIVERSITY   Editing in Germline RNA Regulation                      ERDMANN, EMILY ANN     Awarded. Fellowships only   2022/08/31   2026/08/30    $100,797     $100,797     $100,357     $33,154

                                        UNIVERSITY OF PITTSBURGH AT      Investigating the role of the medial orbitofrontal      CHAMBERLAIN, BRITTANY
2,904 F30MH134471   1F30MH134471-01A1   PITTSBURGH                       cortex (mOFC) in negative reinforcement learning        LYNN                  Awarded. Fellowships only    2024/09/30   2027/09/29     $53,974      $53,974      $38,165     $53,974

                                        NORTHWESTERN UNIVERSITY AT       Interdisciplinary Graduate Education in Movement                               Awarded. Non-fellowships
2,905 T32EB009406   5T32EB009406-14     CHICAGO                          and Rehabilitation Sciences                             DEWALD, JULIUS P       only                        2009/09/01   2026/06/30    $150,031     $150,031     $245,715     $52,274

                                                                                                                                                        Awarded. Non-fellowships
2,906 T32GM008600   5T32GM008600-29     DUKE UNIVERSITY                  Integrated Training in Anesthesiology Research          TREGGIARI, MIRIAM      only                        1996/07/01   2026/06/30   $1,458,778   $1,458,778    $770,637   $388,863

                                        UNIVERSITY OF CALIFORNIA, SAN    Research Fellowship for Equity in Alzheimers Disease                           Awarded. Non-fellowships
2,907 T32AG078115   5T32AG078115-03     FRANCISCO                        and Brain Health                                     VALCOUR, VICTOR           only                        2022/08/15   2027/07/31   $1,058,590   $1,058,590    $499,067   $545,891

                                                                         Computational Methods for Analyzing
2,908 F31AI179156   5F31AI179156-02     YALE UNIVERSITY                  lmmunoglobulin Allelic Diversity in B cells             LEE, NOAH YANN         Awarded. Fellowships only   2023/09/01   2025/08/31     $81,623      $81,623      $62,044     $33,929

                                                                         Characterization of JT-4-173, a Potent Antiviral that
2,909 F31AI179424   5F31AI179424-02     EMORY UNIVERSITY                 Inhibits HIV-1 by a Novel Mechanism of Action           WEN, XIN               Awarded. Fellowships only   2023/07/11   2027/07/10     $96,668      $96,668      $82,163     $48,974

                                                                         Targeting pathologic intracellular calcium release
2,910 F30HL168829   5F30HL168829-02     VANDERBILT UNIVERSITY            to prevent lethal arrhythmias                           GOCHMAN, AARON         Awarded. Fellowships only   2023/06/01   2026/05/31     $91,697      $91,697      $65,973     $56,351

                                        UNIV OF MASSACHUSETTS MED SCH                                                                                   Awarded. Non-fellowships
2,911 T32AI095213   5T32AI095213-14     WORCESTER                     Innate Immunity Training Program                           SILVERMAN, NEAL        only                        2011/09/15   2026/08/31    $926,917     $926,917     $805,437   $235,412

                                        MASSACHUSETTS INSTITUTE OF       Investigating genes of unknown function required        SIT, BRANDON YIU
2,912 F32AI172121   5F32AI172121-03     TECHNOLOGY                       for Rickettsia parkeri infection                        CHUNG                  Awarded. Fellowships only   2022/08/15   2025/08/14    $210,082     $210,082     $164,608     $73,408

                                        UNIVERSITY OF PITTSBURGH AT      Pittsburgh Training Grant in Pediatric Pulmonary                             Awarded. Non-fellowships
2,913 T32HL129949   5T32HL129949-08     PITTSBURGH                       Medicine                                                CELEDON, JUAN CARLOS only                          2016/07/01   2027/06/30   $1,147,577   $1,147,577    $627,371   $395,201

                                                                         Convergent graduate training in systems biology at                             Awarded. Non-fellowships
2,914 T32GM145452   5T32GM145452-03     YALE UNIVERSITY                  Yale                                               O'HERN, COREY               only                        2022/07/01   2027/06/30    $640,103     $640,103     $530,588   $219,744

                                                                         Early Life Stress Promotes an Inflammatory
                                        UNIVERSITY OF ALABAMA AT         Phenotype Leading to Vascular Impairment and
2,915 F31HL165863   5F31HL165863-03     BIRMINGHAM                       Lupus Nephritis Severity                                KELLUM, CAILIN         Awarded. Fellowships only   2022/08/22   2025/08/21    $116,465     $116,465     $109,414     $39,989
                                      UNIV OF NORTH CAROLINA                                                                                         Awarded. Non-fellowships
2,916 T32HL129969   5T32HL129969-09   CHAPEL HILL                       Global Cardiometabolic Disease Training               ADAIR, LINDA S         only                        2016/08/01   2026/07/31    $813,468     $813,468     $839,722    $189,703

                                      UNIVERSITY OF CALIFORNIA                                                                                       Awarded. Non-fellowships
2,917 T32HD101364   5T32HD101364-05   BERKELEY                          Computational Social Science Training Program         HARDING, DAVID JAMES   only                        2020/05/01   2025/07/31   $1,144,940   $1,144,940   $1,083,299   $231,962

                                                                        Genetics of carotid artery disease progression
                                      MASSACHUSETTS GENERAL             among patients who have failed non-operative
2,918 F32HL174327   1F32HL174327-01   HOSPITAL                          management                                            BELLOMO, TIFFANY       Awarded. Fellowships only   2024/07/01   2026/06/30     $92,756      $92,756      $77,151     $92,756

                                      WEILL MEDICAL COLL OF CORNELL IL-1 signaling in defense against Aspergillus
2,919 F31AI167511   5F31AI167511-03   UNIV                          fumigatus infection                                       MILLS, KATHLEEN        Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $131,872     $48,974

                                      UNIVERSITY OF TOLEDO HEALTH SCI AMPK localization, expression, and activity in          HENKEL, NICHOLAS
2,920 F30AG079633   5F30AG079633-03   CAMPUS                          Alzheimers Disease                                      DANIEL                 Awarded. Fellowships only   2022/09/01   2026/08/31    $124,871     $124,871      $75,751     $42,791

                                      UNIVERSITY OF CALIFORNIA, SAN     Cancer Biology, Informatics & Omics (CBIO) Training                          Awarded. Non-fellowships
2,921 T32CA067754   5T32CA067754-28   DIEGO                             Program                                             WANG, JEAN Y J           only                        1995/09/25   2027/07/31    $988,851     $988,851     $815,148    $383,624

                                                                        Investigating the role of Serine Arginine (SR)-Rich
2,922 F31AG079670   5F31AG079670-03   EMORY UNIVERSITY                  RNA Binding Proteins in Tau Aggregation               SHAPLEY, SARAH         Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $121,594     $48,974

                                      UNIVERSITY OF MICHIGAN AT ANN     Elucidating the role of dynein-cargo adaptor          SPECKHART, KAITLYN
2,923 F31AI169887   5F31AI169887-03   ARBOR                             proteins in Human papillomavirus infection            NOEL                   Awarded. Fellowships only   2022/09/01   2025/08/31    $123,990     $123,990     $123,990     $41,664

                                      UNIVERSITY OF COLORADO                                                           BROWN, CAROLYN
2,924 F31NS129254   5F31NS129254-03   DENVER                            Molecular computation by the CaMKII holoenzyme NICOLE                        Awarded. Fellowships only   2022/08/01   2025/07/31    $111,800     $111,800      $94,297     $38,434

                                      UNIVERSITY OF TEXAS HLTH SCIENCE CTSA Postdoctoral T32 at The University of Texas       CHUN, YONG-HEE         Awarded. Non-fellowships
2,925 T32TR004544   5T32TR004544-02   CENTER                           Health Science Center at San Antonio                   PATRICIA               only                        2023/08/01   2028/07/31    $534,065     $534,065     $390,835    $275,194

                                                                      Proteomic and functional analysis of missense
                                                                      variants of APOE associated with Alzheimer disease
2,926 F30AG079580   5F30AG079580-03   INDIANA UNIVERSITY INDIANAPOLIS risk                                               WIJERATNE, HR SAGARA        Awarded. Fellowships only   2022/09/01   2026/01/31    $123,387     $123,387      $94,430     $53,974

                                                                    Investigating Trisomy 21 Impact on Human Neural
                                      UNIV OF MASSACHUSETTS MED SCH Cell Development and Function Using Trisomy               LARSEN, ERIC
2,927 F31HD106741   5F31HD106741-04   WORCESTER                     Silencing in vitro                                        CHRISTOPHER            Awarded. Fellowships only   2021/08/19   2025/08/18    $138,280     $138,280     $118,748     $36,180

                                                                        Single Cell Dissection of Cerebrovascular
                                      MASSACHUSETTS INSTITUTE OF        Dysfunction in Parkinsons Disease and Amyotrophic
2,928 F32NS128067   5F32NS128067-03   TECHNOLOGY                        Lateral Sclerosis                                 LINVILLE, RALEIGH MILLER Awarded. Fellowships only     2022/09/01   2025/08/31    $213,430     $213,430     $189,412     $76,756

                                                                        Interdisciplinary Predoctoral Neuroscience Training                          Awarded. Non-fellowships
2,929 T32MH020068   5T32MH020068-24   BROWN UNIVERSITY                  Program in the Neuroscience Graduate Program.         SHEINBERG, DAVID L     only                        1999/07/01   2026/08/31   $1,651,459   $1,651,459   $1,446,348   $422,138

                                      NORTHWESTERN UNIVERSITY AT        COllaborative Northwestern Surgical Oncology                                 Awarded. Non-fellowships
2,930 T32CA247801   5T32CA247801-05   CHICAGO                           Research Training (CONSORT)                           KHAN, SEEMA AHSAN      only                        2020/07/01   2025/06/30   $1,275,247   $1,275,247   $1,048,971   $351,352

                                                                        Establishing a Spatial Map of Dopamine Reward
                                                                        Prediction Error Computations and their Function in
                                      BOSTON UNIVERSITY MEDICAL         Distinct Associative Learning Processes Across the
2,931 F31NS127536   5F31NS127536-03   CAMPUS                            Striatum: a Methodological Framework                  BROWN, ELEANOR         Awarded. Fellowships only   2022/09/01   2025/08/31    $111,220     $111,220     $101,724     $32,774

                                                                        Bridges to the Baccalaureate Research Training                               Awarded. Non-fellowships
2,932 T34GM137855   5T34GM137855-05   UNIVERSITY OF TEXAS EL PASO       Program at EPCC-UTEP                                  MALDONADO, ROSA A      only                        2020/08/01   2025/07/31   $1,546,287   $1,546,287   $1,275,998   $102,465

                                                                        Rise to the Challenge Bridge to Health Informatics                           Awarded. Non-fellowships
2,933 T34GM151403   5T34GM151403-02   EL PASO COMMUNITY COLLEGE         and Bioinformatics                                    ALVAREZ, MARIA E       only                        2023/08/01   2028/07/31    $526,760     $526,760     $363,394    $262,380

                                                                        Comprehensive Training program in Imaging                                    Awarded. Non-fellowships
2,934 T32EB007507   5T32EB007507-15   UNIVERSITY OF TEXAS AT AUSTIN     Science and Informatics                               MARKEY, MIA K          only                        2009/08/01   2025/07/31   $1,103,828   $1,103,828    $977,365    $148,202

                                                                        Defining the protective or pathologic role of
2,935 F31AI174753   5F31AI174753-02   WASHINGTON STATE UNIVERSITY       antibodies in Post-Ebola Syndrome                     VELAZQUEZ, JALENE      Awarded. Fellowships only   2023/08/01   2025/07/31     $89,148      $89,148      $82,751     $45,214

                                                                        Mayo Clinic Center for Clinical and Translational     WINDEBANK, ANTHONY     Awarded. Non-fellowships
2,936 TL1TR002380   5TL1TR002380-08   MAYO CLINIC ROCHESTER             Science (CCaTS)                                       JOHN                   only                        2017/09/18   2027/06/30   $1,966,963   $1,966,963   $1,565,596   $674,783
                                                                        Integrating Musculoskeletal and Data-Driven
                                                                        Modeling to Understand the Biomechanical
2,937 F31AR083286   5F31AR083286-02     UNIVERSITY OF FLORIDA           Sequelae of Syndesmotic Repair                         BARATTA, CHLOE          Awarded. Fellowships only   2023/08/16   2026/10/08     $84,942      $84,942      $62,161     $42,568

                                                                        Friends are good for the heart: Investigating
                                                                        neurocognitive mechanisms underlying successful
                                        TEMPLE UNIV OF THE              social learning that can reduce loneliness and
2,938 F31HL173957   1F31HL173957-01     COMMONWEALTH                    associated cardiovascular diseases                     SCHMIDT, HELEN          Awarded. Fellowships only   2024/09/30   2026/09/29     $34,803      $34,803      $16,157     $34,803

                                                                        Defining Mechanisms of SARS-CoV-2 Entry Inhibitors
2,939 F31AI183630   1F31AI183630-01     UNIVERSITY OF PENNSYLVANIA      in the Respiratory Epithelium                          ACUNA, JORGE ALBERTO Awarded. Fellowships only      2024/08/01   2027/07/31     $48,974      $48,974      $41,535     $48,974

                                                                        Postdoctoral Research Training in Anesthesiology                               Awarded. Non-fellowships
2,940 T32GM075774   5T32GM075774-19     JOHNS HOPKINS UNIVERSITY        and Critical Care Medicine                             MINTZ, CYRUS DAVID      only                        2006/07/01   2026/06/30   $2,445,896   $2,445,896   $2,112,961   $654,682

                                        UNIVERSITY OF COLORADO          Host-pathogen interactions during GBS diabetic         AKBARI, MADELINE
2,941 F31AI178881   1F31AI178881-01A1   DENVER                          wound infections                                       SOHAYLA                 Awarded. Fellowships only   2024/06/01   2026/05/31     $37,658      $37,658      $32,954     $37,658

                                                                        Determination of structure-function relationships
                                                                        and role in virulence of a MerR-type regulator that
2,942 F31DE032899   5F31DE032899-02     UNIVERSITY OF FLORIDA           mediates zinc tolerance in Streptococcus mutans        PETERSON, ALEXANDRA     Awarded. Fellowships only   2023/08/16   2025/08/15     $87,604      $87,604      $71,390     $44,702

                                                                        Bridges to the Baccalaureate Research Training         SNYDER, MICHELLE LYNN   Awarded. Non-fellowships
2,943 T34GM150447   5T34GM150447-02     TOWSON UNIVERSITY               Program at Towson University                           DYKSTRA                 only                        2023/08/01   2028/07/31    $602,420     $602,420     $286,623    $301,210

                                        WAKE FOREST UNIVERSITY HEALTH   The Role of Persistent Activity in Visual Working
2,944 F31EY035546   5F31EY035546-02     SCIENCES                        Memory                                                 JAFFE, RYE              Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $57,391     $48,974

                                                                        Molecular MR-PET to characterize malignant
                                        UNIVERSITY OF CALIFORNIA LOS    transformation and identify therapeutic
2,945 F30CA284809   5F30CA284809-02     ANGELES                         vulnerabilities in human IDH-mutant gliomas            CHO, NICHOLAS S         Awarded. Fellowships only   2023/09/01   2026/08/31     $81,438      $81,438      $60,526     $41,359

                                        MASSACHUSETTS GENERAL           Infectious Disease and Basic Microbiological                                   Awarded. Non-fellowships
2,946 T32AI007061   2T32AI007061-46     HOSPITAL                        Mechanisms                                             GOLDBERG, MARCIA B      only                        1976/07/01   2029/05/31   $1,111,892   $1,111,892    $375,902    $519,785

                                                                        Convergence of top-down and bottom-up
2,947 F32NS138225   1F32NS138225-01     STANFORD UNIVERSITY             thalamic inputs in medial entorhinal cortex            CHO, FRANCES            Awarded. Fellowships only   2024/08/01   2026/07/31     $73,828      $73,828      $40,952     $73,828

                                                                        Dopaminergic immunomodulation drives
2,948 F30AI179472   1F30AI179472-01A1   DREXEL UNIVERSITY               macrophage inflammation during HIV infection           CHANNER, BREANA         Awarded. Fellowships only   2024/09/01   2027/08/31     $50,064      $50,064      $18,999     $50,064

                                                                        Developing computational methods to identify of
                                                                        endogenous substrates of E3 ubiquitin ligases and
2,949 F30EB034594   5F30EB034594-02     DREXEL UNIVERSITY               molecular glue degraders                               MISCHLEY, VICTORIA      Awarded. Fellowships only   2023/07/01   2027/06/30     $98,284      $98,284      $77,796     $48,852

                                        PENNSYLVANIA STATE UNIV         Investigating mechanisms of tissue polarity during
2,950 F31HD113262   5F31HD113262-02     HERSHEY MED CTR                 development and disease                                STENSON, JAZMIN         Awarded. Fellowships only   2023/11/01   2026/10/31     $70,638      $70,638      $49,356     $36,017

                                                                        Ti-catalyzed cascading hydroaminoalkylation as a
2,951 F32GM151788   5F32GM151788-02     UNIVERSITY OF MINNESOTA         route to complex functionalized amines                 VANG, ZOUA PA           Awarded. Fellowships only   2023/08/18   2025/08/17    $142,512     $142,512     $104,049     $73,828

                                        CALIFORNIA INSTITUTE OF         Targeted cell-to-cell mRNA delivery of therapeutic
2,952 F30OD036190   5F30OD036190-02     TECHNOLOGY                      circuits                                               TOBIN, VICTORIA ROSE    Awarded. Fellowships only   2023/09/01   2028/08/31    $106,668     $106,668      $63,012     $53,974

                                                                        Mechanism of mitochondria-induced proteostatic
                                                                        signaling and progressive muscle atrophy during
2,953 F30AG082400   5F30AG082400-02     UPSTATE MEDICAL UNIVERSITY      aging.                                                 BRENNAN, NICHOLAS       Awarded. Fellowships only   2023/09/14   2027/09/13    $106,668     $106,668      $64,719     $53,974

                                        UNIVERSITY OF PITTSBURGH AT     Multidisciplinary Training in Critical Care Outcomes                           Awarded. Non-fellowships
2,954 T32HL007820   2T32HL007820-26A1   PITTSBURGH                      Research                                               KAHN, JEREMY M          only                        1996/09/06   2029/05/31    $747,220     $747,220     $318,663    $455,676

                                        UNIVERSITY OF COLORADO          CTSA Predoctoral T32 at University of Colorado                                 Awarded. Non-fellowships
2,955 T32TR004367   5T32TR004367-02     DENVER                          Denver                                                 CICUTTO, LISA           only                        2023/09/20   2028/08/31    $744,267     $744,267     $487,830    $387,975

                                                                        Developing a nucleic acid force field with direct
                                        UNIVERSITY OF CALIFORNIA, SAN   chemical perception for computational modeling
2,956 F32GM150240   5F32GM150240-02     DIEGO                           of nucleic acid therapeutics                           CAVENDER, CHAPIN E      Awarded. Fellowships only   2023/09/15   2025/09/14    $143,364     $143,364      $97,707     $74,284
                                                                          Interoception as a Novel Risk Factor for Suicidal
2,957 F31MH132231   5F31MH132231-02     HARVARD UNIVERSITY                Thoughts and Behaviors                                REID-RUSSELL, AZURE     Awarded. Fellowships only   2023/09/01   2025/08/31    $68,998    $68,998    $58,907    $35,139

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                   Awarded. Non-fellowships
2,958 T90DE034663   1T90DE034663-01     ARBOR                             University of Michigan HEAL PAIN Cohort Program       CLAUW, DANIEL J         only                        2024/07/01   2029/06/30   $371,578   $371,578     $6,012   $371,578

                                                                        Racial Disparities in Sleep, Circadian Rhythm, and
                                                                        Glucoregulation Among Individuals Post-Coronary
2,959 F31NR021001   5F31NR021001-02     CASE WESTERN RESERVE UNIVERSITY Artery Bypass Surgery                                   BOLTON, PAMELA          Awarded. Fellowships only   2023/09/01   2026/08/31    $96,668    $96,668    $84,618    $48,974

                                                                          Regulation of CD8+ T cell exhaustion by let-7/Lin28b
2,960 F30OD032097   5F30OD032097-04     CORNELL UNIVERSITY                in different stages of life                          MAYMI, VIVIANA ISABEL    Awarded. Fellowships only   2021/12/01   2026/11/30   $176,806   $176,806   $149,852    $45,454

                                        UNIVERSITY OF CALIFORNIA          Cellular Mediators of Dentate Pattern Separation in
2,961 F31NS131052   5F31NS131052-02     RIVERSIDE                         Epilepsy                                            HUANG, ANDREW             Awarded. Fellowships only   2023/09/01   2025/08/31    $84,830    $84,830    $63,459    $43,055

                                                                          The neural underpinnings of speech and nonspeech
                                        UNIVERSITY OF CONNECTICUT         auditory processing in autism: Implications for
2,962 F31DC021637   5F31DC021637-02     STORRS                            language                                         THOMAS, HANNAH               Awarded. Fellowships only   2024/01/07   2026/01/06    $94,784    $77,827    $71,668    $47,090

                                        UNIVERSITY OF TEXAS HLTH SCI CTR Mechanistic investigation into Frizzled-2 signaling for ADEYEYE, MARY
2,963 F31HD112171   5F31HD112171-02     HOUSTON                          treatment of Osteogenesis Imperfecta                    IFEOLUWA               Awarded. Fellowships only   2023/09/01   2026/08/31    $96,668    $96,668    $65,597    $48,974

                                                                          Quantitative model of jaw proprioception during
2,964 F31DE033256   5F31DE033256-02     JOHNS HOPKINS UNIVERSITY          active movements                                      KIM, JEONG JUN          Awarded. Fellowships only   2023/09/11   2025/08/31   $108,268   $108,268    $93,131    $54,774

                                        UNIV OF NORTH CAROLINA            UNC Integrated Translational Oncology Program                                 Awarded. Non-fellowships
2,965 T32CA244125   2T32CA244125-06     CHAPEL HILL                       (UNC-iTOP)                                            YEH, JEN JEN            only                        2019/09/20   2029/06/30   $567,329   $567,329   $429,695   $567,329

                                                                          Mechanisms of rhythm generation and recruitment
                                                                          in mammalian locomotor-related spinal
2,966 F31NS132514   5F31NS132514-02     DREXEL UNIVERSITY                 interneurons                                          SINGH, SHAYNA           Awarded. Fellowships only   2023/09/15   2025/09/14    $96,668    $96,668    $64,984    $48,974

                                                                          Investigating the effects of psychosocial stress on
                                        UNIVERSITY OF WISCONSIN-          laryngeal microbiology and epithelial barrier         VENKATRAMAN,
2,967 F32DC021367   5F32DC021367-02     MADISON                           integrity                                             ANUMITHA                Awarded. Fellowships only   2023/09/01   2025/08/31   $147,747   $147,747   $109,454    $76,984

                                        UNIVERSITY OF CALIFORNIA AT                                                                                     Awarded. Non-fellowships
2,968 T32HL007013   2T32HL007013-46A1   DAVIS                             Training in Comparative Lung Biology and Medicine KENYON, NICHOLAS J          only                        1975/07/01   2029/07/31   $536,638   $536,638   $273,657   $536,638

                                        UNIV OF NORTH CAROLINA            Respiratory health effects of aerosolized delta-8-THC
2,969 F31HL170762   5F31HL170762-02     CHAPEL HILL                       and its oxidation products                            LOVE, CHARLOTTE ANN     Awarded. Fellowships only   2023/09/30   2025/09/29    $78,800    $78,800    $58,253    $40,040

                                                                          Virtual drug screen reveals context-dependent
2,970 F31HL168849   5F31HL168849-02     UNIVERSITY OF VIRGINIA            inhibition of cardiomyocyte hypertrophy               EGGERTSEN, TAYLOR       Awarded. Fellowships only   2023/07/01   2025/06/30    $78,960    $78,960    $40,270    $38,870

                                                                          D-peptide Inhibitors of Uropathogenic E. coli
2,971 F31AI167609   5F31AI167609-03     UNIVERSITY OF UTAH                Adhesion Proteins to Treat Urinary Tract Infections   ROBINS, MARCY           Awarded. Fellowships only   2022/09/01   2025/08/31   $124,300   $124,300   $109,730    $42,934

                                        MEDICAL UNIVERSITY OF SOUTH       Pulmonary Focused Foundations in Innovation and       FEGHALI-BOSTWICK,       Awarded. Non-fellowships
2,972 T32HL144470   2T32HL144470-06A1   CAROLINA                          Scholarship (PuFFInS)                                 CAROL A                 only                        2019/07/01   2029/06/30   $450,155   $450,155   $219,187   $450,155

                                                                                                                                                        Awarded. Non-fellowships
2,973 T32AI007328   2T32AI007328-36A1   STANFORD UNIVERSITY               Molecular Basis of Host Parasite Interaction          SONNENBURG, JUSTIN L    only                        1987/09/01   2029/07/31   $505,435   $505,435   $217,878   $505,435

                                        UNIVERSITY OF CALIFORNIA AT       Regulation of cardiac small-conductance calcium-
2,974 F31HL170698   5F31HL170698-02     DAVIS                             activated potassium channels by PIP2             TRINH, PAULINE               Awarded. Fellowships only   2023/08/01   2026/07/31    $81,356    $81,356    $71,948    $41,318

                                                                          Targeted Death of Collagen1a1-Expressing
                                        UNIVERSITY OF COLORADO            Fibroblasts Reduces Silica-Induced Pulmonary
2,975 F31HL170750   5F31HL170750-02     DENVER                            Fibrosis                                              FOSTER, DANIEL G        Awarded. Fellowships only   2023/09/01   2026/08/31    $67,510    $67,510    $55,750    $34,395

                                                                          EFFECTS OF DISEASE AND PALLIDAL DEEP BRAIN
                                                                          STIMULATION ON ANKLE MUSCLE CONTROL IN
2,976 F31HD112086   5F31HD112086-02     UNIVERSITY OF MINNESOTA           PARKINSONS DISEASE                                    LECY, EMILY ELIZABETH   Awarded. Fellowships only   2023/09/01   2026/08/31    $94,583    $94,583    $44,734    $48,618

                                                                          Immune-epithelial progenitor interactions drive age-
                                                                          associated dysplastic lung repair post viral
2,977 F31HL170746   5F31HL170746-02     UNIVERSITY OF VIRGINIA            pneumonia                                            NARASIMHAN, HARISH       Awarded. Fellowships only   2023/09/01   2026/08/31    $85,695    $85,695    $67,704    $38,001
                                        HARVARD SCHOOL OF PUBLIC         The Graduate Program in Tropical Infectious                                    Awarded. Non-fellowships
2,978 T32AI049928   2T32AI049928-21     HEALTH                           Diseases                                              WIRTH, DYANN F           only                        2001/07/01   2029/07/31    $322,863     $322,863     $259,010    $322,863

                                                                         Tri-Institutional Molecular Mycology and                                       Awarded. Non-fellowships
2,979 T32AI052080   2T32AI052080-21A1   DUKE UNIVERSITY                  Pathogenesis Training Program                         HEITMAN, JOSEPH          only                        2003/09/01   2029/07/31    $476,564     $476,564     $265,108    $476,564

                                        UNIVERSITY OF MICHIGAN AT ANN    Segmentation and integration of experience in         WAHLBERG, RACHEL
2,980 F31MH135708   5F31MH135708-02     ARBOR                            hippocampal neuronal representations                  SOPHIA                   Awarded. Fellowships only   2023/09/01   2026/08/31     $99,168      $99,168      $85,077     $48,974

                                                                         Interdisciplinary research training in maternal and                            Awarded. Non-fellowships
2,981 T90HD118400   1T90HD118400-01     STANFORD UNIVERSITY              childhood pain                                        SIMONS, LAURA E          only                        2024/09/01   2029/06/30    $366,377     $366,377      $34,348    $366,377

                                                                                                                                                        Awarded. Non-fellowships
2,982 T32CA113275   5T32CA113275-17     WASHINGTON UNIVERSITY            Molecular Oncology Training Grant                     RATNER, LEE              only                        2006/09/01   2028/08/31    $977,936     $977,936     $558,724    $497,280

                                        ARIZONA STATE UNIVERSITY-TEMPE   Intergenerational Community Driven Training in                                 Awarded. Non-fellowships
2,983 T32AG082658   1T32AG082658-01A1   CAMPUS                           Alzheimers Disease Research: An AI+X Approach         WU, TERESA               only                        2024/09/15   2029/09/14    $340,632     $340,632      $78,400    $340,632

                                                                         MicroRNA 374 as an Epigenetic Regulator of
2,984 F31NS130861   5F31NS130861-02     DUKE UNIVERSITY                  Chronic Pain                                          HERNANDEZ, NATHANIEL     Awarded. Fellowships only   2023/09/01   2026/08/31     $86,886      $86,886      $72,083     $44,083

                                                                         Vagal airway sensory nerve activation by beta-
2,985 F32HL170490   5F32HL170490-02     JOHNS HOPKINS UNIVERSITY         coronavirus spike protein                             KIM, JOYCE SOOYEON       Awarded. Fellowships only   2023/09/01   2025/08/31    $146,256     $146,256     $118,407     $76,756

                                                                         Hardship and Survival: The Impact of Migration-
                                                                         Related Trauma, Communal Coping, and Social
                                                                         Stressors on the Suicide and Mental Health            MATA LOPEZ, LAURA
2,986 F31MD018931   5F31MD018931-02     JOHNS HOPKINS UNIVERSITY         Outcomes of Latina Immigrant Women                    REBECA                   Award terminated            2023/10/01   2025/08/31     $96,668      $96,668      $81,105     $48,974

                                                                         Predicting trajectories of psychopathology using
2,987 F31MH135640   5F31MH135640-02     WASHINGTON UNIVERSITY            multimodal neuroimaging and multi-task learning       JIRSARAIE, ROBERT J      Awarded. Fellowships only   2023/09/20   2025/09/19     $83,868      $83,868      $41,286     $42,574

                                                                         Layilin as a modulator of platelet activation and
2,988 F31HL164091   5F31HL164091-02     UNIVERSITY OF UTAH               thromboinflammation                                   MELLEMA, REBECCA         Awarded. Fellowships only   2023/08/01   2026/07/31     $78,910      $78,910      $68,583     $40,095

                                        UNIV OF NORTH CAROLINA           Identifying the role of manganese limitation in
2,989 F30AI169746   5F30AI169746-03     CHAPEL HILL                      antibiotic killing of Staphylococcus aureus           VELEZ, AMANDA ZOYLA      Awarded. Fellowships only   2022/12/01   2027/11/30    $127,123     $127,123     $101,191     $47,367

                                        RESEARCH INST OF FOX CHASE                                                                                      Awarded. Non-fellowships
2,990 T32CA278766   5T32CA278766-02     CAN CTR                          Training Grant in Precision Cancer Control            FANG, CAROLYN Y          only                        2023/09/14   2028/08/31    $493,911     $493,911      $83,000    $337,966

                                        UNIVERSITY OF MICHIGAN AT ANN    Validating novel candidate genes for normal-          PRESLEY, WILLIAM
2,991 F31EY035557   5F31EY035557-02     ARBOR                            tension glaucoma                                      THOMAS                   Awarded. Fellowships only   2023/09/01   2025/08/31     $82,918      $82,918      $82,213     $42,099

                                                                         Investigating KCNQ1 Mistrafficking in Long QT
2,992 F31HL168964   5F31HL168964-02     VANDERBILT UNIVERSITY            Syndrome                                              MOSTER, KATHERINE R      Awarded. Fellowships only   2023/09/01   2025/06/30     $62,606      $62,606      $52,454     $29,591

                                                                         The role of skull bone marrow-derived CNS             MAZZITELLI PEREZ, JOSE
2,993 F30HD112122   5F30HD112122-02     WASHINGTON UNIVERSITY            macrophages in Rett syndrome.                         ALEJANDRO                Awarded. Fellowships only   2023/11/01   2025/10/31     $87,317      $87,317      $48,970     $53,974

                                                                                                                                                        Awarded. Non-fellowships
2,994 T32AI007519   2T32AI007519-26     DARTMOUTH COLLEGE                Host-Microbe Interactions                             HOGAN, DEBORAH A         only                        1997/09/30   2029/07/31    $266,217     $266,217     $127,062    $266,217

                                        SLOAN-KETTERING INST CAN         Molecular Imaging in Cancer Biology Training                                   Awarded. Non-fellowships
2,995 T32CA254875   5T32CA254875-04     RESEARCH                         Program                                               LEWIS, JASON S           only                        2021/08/19   2026/07/31   $1,448,990   $1,448,990   $1,101,337   $401,161

                                        UNIVERSITY OF CALIFORNIA LOS     Socioeconomic Status and Inflammation Across the ROCHA, SARAH
2,996 F31HD110239   5F31HD110239-03     ANGELES                          Transition from Adolescence to Adulthood         ELIZABETH                     Awarded. Fellowships only   2022/09/01   2025/08/31    $119,399     $119,399     $102,529     $40,967

                                        SALK INSTITUTE FOR BIOLOGICAL    The role of astrocytes in visual critical period      SANCHO FERNANDEZ,
2,997 F32EY033629   5F32EY033629-03     STUDIES                          plasticity                                            LAURA                    Awarded. Fellowships only   2022/09/01   2025/08/31    $224,938     $224,938     $197,819     $81,364

                                                                         Identifying Determinants of Borrelia burgdorferi and
2,998 F32AI179104   5F32AI179104-02     TUFTS UNIVERSITY BOSTON          Peromyscus leucopus symbiosis                        BOURGEOIS, JEFFREY        Awarded. Fellowships only   2023/08/01   2026/07/31    $143,364     $143,364     $124,334     $74,284

                                                                         Circuit-Specific Interrogation of the Primate
2,999 F31MH129122   5F31MH129122-03     DUKE UNIVERSITY                  Claustrum                                             EL-NAHAL, HALA GALAL     Awarded. Fellowships only   2022/09/15   2025/09/14    $120,806     $120,806     $106,968     $41,436

                                        ARIZONA STATE UNIVERSITY-TEMPE   Interdisciplinary Systems-based Training for Precision                         Awarded. Non-fellowships
3,000 T32DK137525   5T32DK137525-02     CAMPUS                           Nutrition                                              WHISNER, CORRIE MARIE   only                        2023/09/01   2028/08/31    $578,951     $578,951     $220,674    $315,081
                                                                      Development and Application of a Novel Method
                                                                      to Study Histone Inheritance in Asymmetrically           PALLADINO, JASON
3,001 F32AG076216   5F32AG076216-03   JOHNS HOPKINS UNIVERSITY        Dividing Cells                                           THOMAS                 Awarded. Fellowships only   2022/09/01   2025/08/31    $218,266     $218,266     $190,393     $78,892

                                                                      Institutional Research Cancer Epidemiology                                      Awarded. Non-fellowships
3,002 T32CA009314   5T32CA009314-42   JOHNS HOPKINS UNIVERSITY        Fellowship                                               PLATZ, ELIZABETH A     only                        1988/07/01   2026/08/31   $1,783,946   $1,783,946   $1,739,058   $491,614

                                                                                                                                                      Awarded. Non-fellowships
3,003 T32AI007422   5T32AI007422-33   TUFTS UNIVERSITY BOSTON         Molecular Analysis of Microbial Pathogens                ISBERG, RALPH R        only                        1992/09/30   2027/08/31    $737,221     $737,221     $633,897    $246,732

                                                                      Impact of ambient PM2.5 concentrations on fear
                                                                      extinction recall, frontolimbic circuitry, and anxiety
3,004 F32MH133274   5F32MH133274-02   WAYNE STATE UNIVERSITY          in adolescents                                           ZUNDEL, CLARA          Awarded. Fellowships only   2023/09/01   2026/08/31    $143,364     $143,364     $107,746     $74,284

                                                                   Mechanisms of REST-mediated immunosuppression
3,005 F32CA284543   5F32CA284543-02   BRIGHAM AND WOMEN'S HOSPITAL in cancer                                                   MICHAUD, DANIEL E      Awarded. Fellowships only   2023/08/01   2025/07/31    $143,364     $143,364      $96,229     $74,284

                                      UNIVERSITY OF COLORADO                                                                                          Awarded. Non-fellowships
3,006 T32CA190216   5T32CA190216-08   DENVER                          Training Program in Cancer Biology                       JORDAN, CRAIG T        only                        2016/07/07   2027/07/31   $1,015,296   $1,015,296    $876,868    $369,111

                                                                      Task Representations in Ventral Tegmental Area
                                                                      Dopamine Neurons across Shifts in Behavioral             SINISCALCHI, MICHAEL
3,007 F32MH131325   5F32MH131325-02   PRINCETON UNIVERSITY            Strategy and Reward Expectation                          JAMES                  Awarded. Fellowships only   2023/06/01   2026/05/31    $146,256     $146,256     $133,630     $76,756

                                      UNIVERSITY OF CALIFORNIA, SAN   Defining a novel subset of metastasis-associated
3,008 F31CA284749   5F31CA284749-02   FRANCISCO                       monocytes                                                SUPERVILLE, DAPHNE A   Awarded. Fellowships only   2023/08/03   2025/09/13     $90,538      $90,538      $44,629     $45,909

                                                                      Examining Factors of Phantom Limb Pain through
3,009 F31NS134186   5F31NS134186-02   UNIVERSITY OF MINNESOTA         Person-Centered Assessment                               FALBO, KIERRA J        Awarded. Fellowships only   2023/09/29   2026/09/28     $80,482      $80,482      $80,482     $35,417

                                      COLUMBIA UNIVERSITY HEALTH                                                                                      Awarded. Non-fellowships
3,010 T32CA265828   5T32CA265828-03   SCIENCES                        Genome and Epigenome Integrity In Cancer                 ZHANG, ZHIGUO          only                        2022/09/01   2027/08/31   $1,054,493   $1,054,493    $771,811    $373,349

                                      ST. JUDE CHILDREN'S RESEARCH
                                      HOSPITAL GRADUATE SCHOOL OF     Cancer-associated fibroblasts and extracellular
3,011 F31CA275320   5F31CA275320-03   BIOMEDICAL SCIENCES, LLC        matrix remodeling in pediatric neuroblastoma             PETERSON, NICOLAS      Awarded. Fellowships only   2022/09/01   2025/08/31    $131,420     $131,420     $113,189     $44,974

                                                                      Investigating and targeting metabolic vulnerabilities
3,012 F31CA275295   5F31CA275295-03   DUKE UNIVERSITY                 of MYC-driven small cell lung cancer                  IRELAND, ABBIE SHAYE      Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $129,143     $48,974

                                                                      Clinically feasible functional MRI providing
                                                                      independent assessments of cerebrovascular
                                                                      stiffness and microcirculation in typical aging and
3,013 F30AG084336   5F30AG084336-02   PURDUE UNIVERSITY               Alzheimers Disease cohorts                               WRIGHT, ADAM M         Awarded. Fellowships only   2023/08/14   2027/08/13    $106,668     $106,668      $71,310     $53,974

                                      UT SOUTHWESTERN MEDICAL         Elucidating the role of the E3 ubiquitin ligase UBE3B
3,014 F31HD110206   5F31HD110206-03   CENTER                          in neuronal activity                                     VASHISTH, SHAYAL       Awarded. Fellowships only   2022/09/01   2025/08/31    $117,242     $117,242     $101,647     $40,606

                                      UNIVERSITY OF COLORADO          Characterization of PDGFR alpha/beta
3,015 F32DE032554   5F32DE032554-02   DENVER                          heterodimers                                             CAMPANA, MARIA B       Awarded. Fellowships only   2023/09/01   2026/08/31    $156,508     $156,508     $115,910     $81,895

                                      UNIVERSITY OF MICHIGAN AT ANN   Training in the Demography and Economics of                                     Awarded. Non-fellowships
3,016 T32AG000221   5T32AG000221-33   ARBOR                           Aging                                                    BURGARD, SARAH A       only                        1992/09/01   2027/08/31   $2,044,730   $2,044,730   $1,687,888   $709,147

                                                                      Natural variation in C. elegans responses to             LEUTHNER, TESS
3,017 F32ES034954   5F32ES034954-02   DUKE UNIVERSITY                 environmental pollution                                  CATHERINE              Awarded. Fellowships only   2023/09/01   2026/08/31    $144,426     $144,426     $120,158     $74,629

                                                                      AE2Vec: Medical concept embedding and time-
                                      NORTHWESTERN UNIVERSITY AT      series analysis for automated adverse event
3,018 F31LM014201   5F31LM014201-02   CHICAGO                         detection                                                TRAN, STEVEN DUC       Awarded. Fellowships only   2023/09/01   2025/08/31     $94,544      $94,544      $56,793     $47,912

                                                                      Training in Translational Lung Biology and                                      Awarded. Non-fellowships
3,019 T32HL007778   5T32HL007778-30   YALE UNIVERSITY                 Pathobiology                                             KAMINSKI, NAFTALI      only                        1994/07/15   2025/06/30   $3,662,924   $3,662,924   $3,001,334   $552,994

                                                                    Mechanisms of sensory hair cell reinnervation
                                      WEILL MEDICAL COLL OF CORNELL following lateral line cranial nerve damage in Danio
3,020 F30DC021350   5F30DC021350-02   UNIV                          rerio                                                ROY, ROHAN                   Awarded. Fellowships only   2023/06/01   2027/05/31    $106,668     $106,668      $78,613     $53,974
                                                                        Pulmonary Vascular Regeneration via Venous
3,021 F31HL165636   5F31HL165636-03     UNIVERSITY OF PENNSYLVANIA      Endothelial Progenitors                             WONG, JOANNA              Awarded. Fellowships only   2022/09/01   2025/08/31   $130,976   $130,976   $121,544    $36,530

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                   Awarded. Non-fellowships
3,022 T35AG067578   5T35AG067578-05     MOUNT SINAI                     Training Future Leaders in Aging Research           SORIANO, RAINIER P        only                        2020/05/01   2025/08/31   $616,126   $616,126   $442,450   $122,017
3,023 F31HL165826   5F31HL165826-03     UNIVERSITY OF LOUISVILLE        Role of Pck2 in cardiac fibrosis                    WELLS, COLLIN             Awarded. Fellowships only   2022/09/01   2026/08/31   $104,234   $104,234    $88,367    $35,912

                                                                        Co-transcriptional mechanisms of neuronal
                                                                        microexon splicing: causes and consequences for 3
3,024 F31NS129248   5F31NS129248-03     YALE UNIVERSITY                 end processing                                    GORDON, JACKSON             Awarded. Fellowships only   2022/09/01   2025/07/31   $126,035   $126,035    $94,295    $31,589

                                        BOSTON UNIVERSITY MEDICAL       Lung MIWI2 and the host defense against Influenza   HENAO VASQUEZ,
3,025 F31HL165892   5F31HL165892-03     CAMPUS                          A virus                                             JHONATAN                  Awarded. Fellowships only   2022/09/01   2025/08/31   $143,420   $143,420   $131,553    $48,974

                                                                        Predoctoral Training Program for Alzheimer’s
                                        RENSSELAER POLYTECHNIC          Disease at the Interface of Data Science,                                     Awarded. Non-fellowships
3,026 T32AG078123   5T32AG078123-02     INSTITUTE                       Engineering and Biology                             WANG, CHUNYU              only                        2023/09/01   2028/08/31   $489,103   $489,103   $374,807   $248,316

                                                                        Multiracial Discrimination Scale: Development and
                                                                        Psychometric Validation of its Associations with
                                                                        Alcohol Use and Misuse among Multiracial Young
3,027 F31AA031428   5F31AA031428-02     SYRACUSE UNIVERSITY             Adults                                              DOBANI, FATIMA            Awarded. Fellowships only   2023/08/25   2025/08/24    $71,407    $71,407    $62,181    $32,974

                                                                        Probing a novel signaling complex that sustains AKT
3,028 F32CA275151   5F32CA275151-03     CORNELL UNIVERSITY              activation to support stress survival in cancer     ZANOTELLI, MATTHEW R      Awarded. Fellowships only   2022/09/01   2025/08/31   $213,430   $213,430   $181,911    $76,756

                                        UNIVERSITY OF NEW MEXICO        Investigation of novel chlamydia vaccines in male
3,029 F31AI179064   5F31AI179064-02     HEALTH SCIS CTR                 infection models and sexual transmission challenges JAMUS, ANDZOA             Awarded. Fellowships only   2023/09/01   2026/07/31    $75,468    $75,468    $58,550    $38,374

                                        UNIVERSITY OF PITTSBURGH AT     DNA repair pathway coordination during damage       SCHAICH, MATTHEW
3,030 F32ES034982   5F32ES034982-02     PITTSBURGH                      processing                                          ALLEN                     Awarded. Fellowships only   2024/01/01   2025/12/31   $150,684   $150,684    $95,561    $78,892

                                                                        Cellular and molecular mechanisms of cold-
                                                                        adapted mechanosensation in the hibernating
3,031 F31NS131036   5F31NS131036-03     YALE UNIVERSITY                 squirrel                                            GREENBERG, REBECCA        Awarded. Fellowships only   2022/12/16   2025/10/15   $140,938   $140,938    $91,053    $44,270

                                        PENNSYLVANIA STATE UNIV         Molecular Basis of Left Ventricular Non-Compaction
3,032 F31HL172616   1F31HL172616-01A1   HERSHEY MED CTR                 Mutations in Cardiac Myosin                        BODT, SKYLAR ML            Awarded. Fellowships only   2024/09/01   2026/08/31    $35,908    $35,908    $22,621    $35,908

                                                                        Uncertainty and Expectation Formation in Acute
3,033 F32HL176151   1F32HL176151-01     JOHNS HOPKINS UNIVERSITY        Respiratory Failure Survivors                       BOUHASSIRA, DIANA         Awarded. Fellowships only   2024/09/18   2026/09/17   $102,932   $102,932    $66,892   $102,932

                                                                        Investigation of Gastrointestinal Interoception in the POOVEY, KENDALL
3,034 F31MH138105   1F31MH138105-01     UNIVERSITY OF SOUTH FLORIDA     Maintenance of Disordered Eating Behaviors             NICOLE                 Awarded. Fellowships only   2024/08/01   2026/07/31    $39,186    $39,186    $26,226    $39,186

                                                                        Deep Learning-enhanced Evaluation of Quality of
                                                                        Care and Disparities Among Patients with Heart
3,035 F30HL176149   1F30HL176149-01     YALE UNIVERSITY                 Failure in the Electronic Health Record             ADEJUMO, PHILIP O         Awarded. Fellowships only   2024/08/01   2026/07/31    $36,958    $36,958    $24,577    $36,958

                                                                        Examining the Role of State-level Restorative Justice
                                                                        Policies and their Implementation in Mental Health
                                        UNIV OF NORTH CAROLINA          Disparities among Adolescent Dating Violence Girl
3,036 F31MH138053   1F31MH138053-01     CHAPEL HILL                     Survivors: A Mixed Methods Study                      SHARPLESS, LAUREL ANN   Awarded. Fellowships only   2024/07/01   2026/06/30    $43,583    $43,583    $32,643    $43,583

                                                                        In vitro Reconstitution of the C. elegans           CESAR-HERNANDEZ,
3,037 F31GM153163   1F31GM153163-01A1   JOHNS HOPKINS UNIVERSITY        Synaptonemal Complex                                BRENDA I                  Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $24,642    $48,974

                                        UNIVERSITY OF COLORADO          The role of cerebellar output in the control of motor
3,038 F31NS130867   5F31NS130867-03     DENVER                          coordination                                          DOBROTT, COURTNEY I     Awarded. Fellowships only   2023/02/01   2026/01/31   $111,347   $111,347    $84,730    $37,941

                                                                        Targeting Both Hyperinflammation and Pyroptosis
                                                                        Via Nanotherapeutics to Improve Outcomes in
3,039 F30GM153101   1F30GM153101-01A1   UPSTATE MEDICAL UNIVERSITY      Gram-Negative Sepsis                                MESSINA, JENNIFER M       Awarded. Fellowships only   2024/07/18   2026/07/17    $53,974    $53,974    $23,864    $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN   Late-stage functionalization and bioactivity
3,040 F31AT013031   1F31AT013031-01     ARBOR                           investigation of azaphilone compounds               TORMA, KATHERINE JANE Awarded. Fellowships only       2024/08/01   2026/07/31    $42,348    $42,348    $37,685    $42,348
                                                                         Genetic resiliency to disease progression in
3,041 F30AG085919   5F30AG085919-02     BAYLOR COLLEGE OF MEDICINE       Alzheimers disease                                   ST ROMAIN, COREY       Awarded. Fellowships only   2023/12/01   2026/11/30    $98,511    $98,511    $76,361   $49,209

                                        UNIV OF MASSACHUSETTS MED SCH Investigating the Role of Endosomal Toll-Like           STILLMAN, JACOB
3,042 F31NS139677   1F31NS139677-01     WORCESTER                     Receptors in Remyelination                              MAXWELL                Awarded. Fellowships only   2024/07/01   2026/06/30    $36,369    $36,369    $33,486   $36,369

                                                                         The Role of the Neuronal Membrane Proteasome in
3,043 F31NS134239   5F31NS134239-02     JOHNS HOPKINS UNIVERSITY         the Peripheral Nervous System and Pain Sensation CHURCH, TAYLOR RENNE Awarded. Fellowships only         2023/09/01   2027/09/30    $96,668    $96,668    $64,624   $48,974

                                                                         Uncovering the role of Ankyrins in photoreceptor
3,044 F31EY035931   1F31EY035931-01A1   BAYLOR COLLEGE OF MEDICINE       wiring                                               PEREZ, ROSS MICHAEL    Awarded. Fellowships only   2024/07/18   2027/07/17    $48,974    $48,974    $24,720   $48,974

                                                                         Establishing the role and mechanisms of LSD1 during
3,045 F31HL167628   5F31HL167628-03     YALE UNIVERSITY                  megakaryocytic and erythroid fate commitment        THOMPSON, EVRETT        Awarded. Fellowships only   2023/02/01   2026/01/31   $154,142   $154,142    $83,036   $51,974

                                                                         From exposure to infection: defining factors
                                                                         modulating the efficiency of influenza A virus       VARGAS-MALDONADO,
3,046 F31AI186480   1F31AI186480-01     EMORY UNIVERSITY                 infection                                            NAHARA                 Awarded. Fellowships only   2024/09/01   2025/08/31    $48,974    $48,974    $30,899   $48,974

                                                                         Norepinephrine and second messenger encoding
3,047 F31MH138088   1F31MH138088-01     YALE UNIVERSITY                  of temporal threat proximity                         BASU, AAKASH           Awarded. Fellowships only   2024/07/01   2026/06/30    $48,974    $48,974    $23,776   $48,974

                                                                         A Multiscale Computational Model of the Heart for
3,048 F31HL172683   1F31HL172683-01A1   EMORY UNIVERSITY                 Patient-specific Diagnosis of HFpEF                  HUSSEIN, TAWFIK        Awarded. Fellowships only   2024/09/30   2027/09/29    $48,974    $48,974    $16,055   $48,974

                                                                         Cocaine effects on spatial patterns of striatal
3,049 F32DA061606   1F32DA061606-01     VANDERBILT UNIVERSITY            dopamine release                                     ELAM, HANNAH           Awarded. Fellowships only   2024/06/01   2027/05/31    $73,828    $73,828    $59,215   $73,828

                                                                         The role of the DNA damage response in the
                                                                         development and therapeutic sensitivity of
3,050 F30CA247458   5F30CA247458-06     CORNELL UNIVERSITY               malignant testicular germ cell tumors.               LOEHR, AMANDA          Awarded. Fellowships only   2020/01/01   2025/08/31   $275,329   $275,329   $252,486   $44,566

                                        BOSTON UNIVERSITY MEDICAL        The Role of Proton-Activated Chloride Channel 1
3,051 F31HL176388   1F31HL176388-01A1   CAMPUS                           (PACC1) in Bacterial Pneumonia and Sepsis            GARO, LUCIEN PETER     Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $37,031   $48,974

                                                                         The Impact of Third Trimester Alcohol Exposure on
                                        UNIVERSITY OF NEW MEXICO         Memories Encoded by Sharp-Wave Ripples of the
3,052 F31AA031916   1F31AA031916-01     HEALTH SCIS CTR                  Hippocampal-Retrosplenial Cortex Circuit             MYRICK, ABBEY          Awarded. Fellowships only   2024/09/01   2027/08/31    $39,563    $39,563    $22,520   $39,563

                                        COLUMBIA UNIVERSITY HEALTH       Investigating the Genetic and Epigenetic Control of
3,053 F31HL176168   1F31HL176168-01     SCIENCES                         Basal Cell Identity                                 DIRVIN, BROOKE GREER    Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $44,270   $48,974

                                                                         Listening to and Learning from Disfluent Speech in
                                        UNIVERSITY OF WISCONSIN-         Children with and without Developmental
3,054 F31DC021386   5F31DC021386-02     MADISON                          Language Disorder                                    LIBERSKY, EMMA JANE    Awarded. Fellowships only   2024/01/01   2026/12/31    $73,108    $73,108    $52,119   $36,015

                                                                         Mechanistic Principles of SNARE Disassembly in
3,055 F31MH134477   5F31MH134477-02     STANFORD UNIVERSITY              Neurotransmitter Release                             KHAN, YOUSUF A         Awarded. Fellowships only   2023/12/11   2025/12/10    $83,637    $83,637    $54,826   $42,690

                                        UNIV OF NORTH CAROLINA           Reducing Pulmonary Inflammation in Obesity with
3,056 F31HL176155   1F31HL176155-01     CHAPEL HILL                      Docosahexaenoic Acid                                 VIRK, RAFIA            Awarded. Fellowships only   2024/09/13   2027/03/13    $40,583    $40,583    $28,716   $40,583

                                        ST. JUDE CHILDREN'S RESEARCH
                                        HOSPITAL GRADUATE SCHOOL OF      Metabolic signaling dictates context-dependent       NORTON, ERIENNE
3,057 F31AI186413   1F31AI186413-01     BIOMEDICAL SCIENCES, LLC         Treg cell functional heterogeneity                   GRACE                  Awarded. Fellowships only   2024/08/01   2027/07/31    $47,974    $47,974    $27,872   $47,974

                                        ALBERT EINSTEIN COLLEGE OF                                                                                   Awarded. Non-fellowships
3,058 T32HL144456   5T32HL144456-07     MEDICINE                         Mechanisms of cardiovascular disease                 SIBINGA, NICHOLAS E    only                        2019/01/01   2029/01/31   $394,324   $394,324   $266,432   $52,913

                                                                         Uncovering the impact of oxidative stress on
3,059 F31ES036105   1F31ES036105-01A1   THOMAS JEFFERSON UNIVERSITY      centromere integrity                                 THOMPSON, LILY         Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $36,145   $48,974

                                                                         American Sign Language and Spatial Cognition
                                                                         Skills: A Neurocognitive Study Using EEG and
3,060 F31DC022182   1F31DC022182-01     GALLAUDET UNIVERSITY             Standardized Neuropsychological Assessments          SCHWENK, MELODY FAITH Awarded. Fellowships only    2024/09/01   2026/08/31    $48,974    $48,974    $33,839   $48,974

                                                                         Nickel Cross-Coupling Cascades with α-Heteroatom
                                        UNIVERSITY OF WISCONSIN-         Radicals to Prepare Sterically Hindered Alcohols
3,061 F32GM146357   5F32GM146357-03     MADISON                          and Amines                                       BELEH, OMAR                Awarded. Fellowships only   2023/02/15   2026/02/14   $220,120   $220,120   $153,241   $76,756
                                                                        Post-Translational Modification of Annexin A2
                                                                        Mediates Surfactant Dysfunction During Injurious
3,062 F32HL176082   1F32HL176082-01     OHIO STATE UNIVERSITY           Mechanical Ventilation                                  BENTLEY, IAN          Awarded. Fellowships only   2024/12/01   2026/11/30    $86,932    $86,932   $34,874   $86,932

                                                                        Inhibition of MIF nuclease-mediated parthanatos
                                                                        prevents neuron and oligodendrocyte death in the
3,063 F31NS132520   5F31NS132520-02     JOHNS HOPKINS UNIVERSITY        context of multiple sclerosis                    MACE, JACKSON                Awarded. Fellowships only   2023/12/04   2026/06/03    $97,948    $97,948   $38,479   $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN   Shear stress-activated synthetic cells for targeted
3,064 F31HL170510   5F31HL170510-02     ARBOR                           drug release in stenotic blood vessels                  HWANG, SUNG-WON       Awarded. Fellowships only   2023/09/01   2025/08/31    $83,868    $83,868   $83,868   $42,574

                                                                        Deconvoluting the contributions of the IFNy
                                        ICAHN SCHOOL OF MEDICINE AT     pathway components to lung TME and tumor
3,065 F30CA287690   1F30CA287690-01A1   MOUNT SINAI                     immunity                                                TEPPER, ALEXANDER     Awarded. Fellowships only   2024/07/15   2026/07/14    $53,974    $53,974   $10,304   $53,974

                                                                        Defining the role of stress granules in cancer
3,066 F32CA294934   1F32CA294934-01     BOSTON CHILDREN'S HOSPITAL      initiation                                              DRAKE, KYLE DAVID     Awarded. Fellowships only   2024/08/01   2027/07/31    $73,828    $73,828   $62,238   $73,828

                                                                        Risk Assessment and Outcomes Across the Clinical
                                                                        Spectrum of Cardiotoxicity from Immune
3,067 F32HL176198   1F32HL176198-01     STANFORD UNIVERSITY             Checkpoint Inhibitors                                   CHENG, EVALINE        Awarded. Fellowships only   2024/08/01   2027/07/31    $83,932    $83,932   $43,093   $83,932

                                                                        Hierarchical modeling and simulation to optimize
                                        UNIVERSITY OF CALIFORNIA LOS    cell village experimental design and the analysis of
3,068 F31HG013890   1F31HG013890-01     ANGELES                         scRNA-seq data                                          HANSON, CHLOE C       Awarded. Fellowships only   2024/12/01   2027/11/30    $41,308    $41,308       $0    $41,308

                                                                        Elucidating the Role of Notch/HES Signaling in
                                        UNIVERSITY OF MICHIGAN AT ANN   Alveolar Epithelial Type II to Type I Cell
3,069 F31HL175884   1F31HL175884-01     ARBOR                           Differentiation                                         LIANG, JESSICA        Awarded. Fellowships only   2024/09/24   2028/09/23    $42,094    $42,094   $26,097   $42,094

                                                                        Characterization of the Integrator-Z3 module as a
3,070 F31NS139499   1F31NS139499-01     UNIVERSITY OF ROCHESTER         regulator of neuronal differentiation                   HASELEY, MARYCLAIRE   Awarded. Fellowships only   2024/07/01   2027/06/30    $48,974    $48,974   $33,653   $48,974

                                        UNIVERSITY OF ALABAMA AT        The role for cell cycle regulators in trichloroethylene
3,071 F31ES036890   1F31ES036890-01     BIRMINGHAM                      induced Parkinsons dementia                             ADAMSON, ASHLEY       Awarded. Fellowships only   2024/08/01   2027/07/31    $40,264    $40,264   $19,292   $40,264

                                                                        Investigating vascular-cardiac interactions in a
3,072 F31HL176125   1F31HL176125-01     UNIVERSITY OF WASHINGTON        perfusable engineered heart tissue                      FREY, ARIANA          Awarded. Fellowships only   2025/01/01   2026/12/31    $44,249    $44,249       $0    $44,249

                                                                        Evaluating cerebrovascular reactivity in autistic and
                                        UNIVERSITY OF CALIFORNIA AT     non-autistic children using resting-state functional
3,073 F31HD116526   1F31HD116526-01     DAVIS                           MRI                                                   LEE, QUIMBY             Awarded. Fellowships only   2024/08/01   2026/07/31    $41,972    $41,972   $32,564   $41,972

                                        UNIVERSITY OF PITTSBURGH AT     Menopausal Knee-ds: Elucidating mechanisms and
3,074 F30AG084163   7F30AG084163-02     PITTSBURGH                      treatments for knee osteoarthritis             GILMER, GABRIELLE              Awarded. Fellowships only   2023/09/01   2025/08/31   $106,668   $106,668   $80,033   $53,974

                                                                        Reaching Non-Four-Year College Emerging Adults
                                                                        with Brief Alcohol Interventions: An Investigation of
                                                                        Service User Preferences and Implementation             TEMPCHIN, JACOB
3,075 F31AA031599   1F31AA031599-01A1   UNIVERSITY OF MEMPHIS           Determinants                                            DANIEL                Awarded. Fellowships only   2024/08/09   2027/08/08    $51,974    $51,974   $31,301   $51,974

                                                                        Chimeric Antigen Receptor Myeloid Cells for
3,076 F30AG085987   1F30AG085987-01A1   WASHINGTON UNIVERSITY           Alzheimers Disease Therapy                              KIM, ALEXANDER        Awarded. Fellowships only   2024/08/01   2027/07/31    $34,623    $34,623   $20,465   $34,623

                                        UNIVERSITY OF COLORADO          Intrauterine mechanisms for liver metabolic disease
3,077 F32DK139657   1F32DK139657-01A1   DENVER                          in the growth-restricted fetus                      MCGUCKIN, MOLLY           Awarded. Fellowships only   2024/07/10   2027/03/09    $73,828    $73,828   $51,318   $73,828

                                        UT SOUTHWESTERN MEDICAL         Identification of the Role of FlgW in the Biogenesis of
3,078 F31AI186490   1F31AI186490-01     CENTER                          the fT3SS in Campylobacter jejuni                       DOBBINS, AMANDA       Awarded. Fellowships only   2024/12/01   2026/11/30    $40,127    $40,127   $14,416   $40,127

                                        UT SOUTHWESTERN MEDICAL         The Foxp2 Influence on the Developing Auditory
3,079 F30DC022213   1F30DC022213-01     CENTER                          Pathway                                                 JANKOVIC, MIRANDA     Awarded. Fellowships only   2024/06/01   2027/05/31    $40,127    $40,127   $35,591   $40,127

                                        UNIVERSITY OF ILLINOIS AT       Endogenous drivers of endothelial inflammation in
3,080 F31AG090005   1F31AG090005-01     CHICAGO                         Alzheimers Disease                                      SANBORN, MARK ALLEN   Awarded. Fellowships only   2024/08/16   2027/08/15    $48,974    $48,974   $38,937   $48,974
                                                                         Uncovering the Mechanism of Potassium Channel
                                                                         Folding and Assembly with Implications for the       MOLINA, ANDREW
3,081 F30HL162528   5F30HL162528-04     UNIVERSITY OF CHICAGO            Molecular Basis of Cardiac Arrhythmia                VINCENT                  Awarded. Fellowships only   2022/01/01   2026/12/31   $212,394   $212,394   $162,726   $53,974

                                                                        Young Adult with Type 1 Diabetes’ Discrimination
3,082 F31NR021236   1F31NR021236-01A1   CASE WESTERN RESERVE UNIVERSITY Stress and Cardiovascular Health                      HOWARD, QUIANA           Awarded. Fellowships only   2024/07/01   2027/05/31    $48,974    $48,974    $43,050   $48,974

                                                                         Enhancing proteasomal activity and tau clearance
                                                                         via USP14 reduction in Alzheimers Disease mouse
3,083 F31AG084257   1F31AG084257-01A1   WASHINGTON UNIVERSITY            models                                           HU, MIWEI                    Awarded. Fellowships only   2024/09/16   2027/09/15    $34,623    $34,623    $16,937   $34,623

                                        UNIVERSITY OF ALABAMA AT         Role of Rab27 Isoforms on Alpha-Synuclein
3,084 F31NS135928   1F31NS135928-01A1   BIRMINGHAM                       Endocytosis and Clearance                            SCHOLZ, KASANDRA J       Awarded. Fellowships only   2024/09/25   2026/09/24    $40,264    $40,264    $18,537   $40,264

                                                                         Repressive Heterochromatin Establishment by
3,085 F31GM156018   1F31GM156018-01     UNIVERSITY OF PENNSYLVANIA       Polycomb Complexes                                   GARCIA, SEGOVIA          Awarded. Fellowships only   2024/07/01   2026/06/30    $48,974    $48,974    $44,259   $48,974

                                                                      Understanding the regulation of the intestinal
                                                                      epithelium in Alzheimer’s disease by commensal
                                        UNIV OF MASSACHUSETTS MED SCH bacteria and the role it plays in preventing
3,086 F30AG079575   5F30AG079575-02     WORCESTER                     neurocognitive decline                                  LOEW, ETHAN BAILEY       Awarded. Fellowships only   2023/07/01   2027/06/30    $71,240    $71,240    $57,356   $36,260

                                                                         Molecular basis of cyclic-di-AMP regulation in Gram-
3,087 F31AI181098   1F31AI181098-01A1   HARVARD MEDICAL SCHOOL           positive bacteria                                    BROGAN, ANNA P           Awarded. Fellowships only   2024/09/01   2026/08/31    $36,983    $36,983    $27,248   $36,983

                                                                         Elucidating Glutamine Metabolism in Breast to Bone
3,088 F31CA294618   1F31CA294618-01     VANDERBILT UNIVERSITY            Metastasis                                         KARNO, BREELYN A           Awarded. Fellowships only   2024/07/01   2027/06/30    $34,370    $34,370    $26,374   $34,370

                                        UNIVERSITY OF WISCONSIN-         Vocal dysfunction and vagally mediated brainstem
3,089 F31DC022161   1F31DC022161-01     MADISON                          pathology in prodromal Parkinson disease         KRASKO, MARYANN N            Awarded. Fellowships only   2024/07/01   2025/06/30    $42,574    $42,574    $28,804   $42,574

                                                                         Heterogeneity of the effect of Azithromycin on
                                        UNIVERSITY OF CALIFORNIA, SAN    morbidity and mortality among children in Burkina    GEBREEGZIABHER,
3,090 F31HD114434   1F31HD114434-01A1   FRANCISCO                        Faso                                                 ELISABETH A              Awarded. Fellowships only   2024/09/09   2027/08/31    $42,574    $42,574    $22,701   $42,574

                                                                         Lifespace mobility and cognitive decline after       DOBROTA LAI, SYLVIE
3,091 F31AG090102   1F31AG090102-01     STANFORD UNIVERSITY              stroke                                               DIANE                    Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $26,806   $48,974

                                                                         A Multi-Method Investigation of the Role of Reward-
                                        UNIVERSITY OF MISSOURI-          Related Impulsivity in the Development of Alcohol
3,092 F31AA031627   1F31AA031627-01A1   COLUMBIA                         Expectancies in Early Adolescence                   PORTER, ANNA              Awarded. Fellowships only   2024/09/01   2026/08/31    $40,219    $40,219    $25,779   $40,219

                                                                         Characterizing structural variation at the amylase
3,093 F31DE034283   1F31DE034283-01     HARVARD MEDICAL SCHOOL           locus influencing oral health                        KAMITAKI, NOLAN          Awarded. Fellowships only   2024/09/01   2027/08/31    $44,003    $44,003    $30,115   $44,003

                                        HENRY FORD HEALTH + MICHIGAN Membrane Ubiquitin Ligase-Driven Immune Evasion
3,094 F31DE034281   1F31DE034281-01     STATE UNIVERSITY HEALTH SCIENCES in HPV+ Head and Neck Cancer                VU, LEXI                          Awarded. Fellowships only   2024/08/16   2026/08/15    $46,848    $46,848    $25,749   $46,848

                                                                         Deconvolution of Physicochemical Properties          THORPE, MADELAINE
3,095 F31HL164064   5F31HL164064-02     VANDERBILT UNIVERSITY            Contributing to Passive Diffusion of Depsipeptides   PAIGE                    Awarded. Fellowships only   2023/09/01   2026/08/31    $67,220    $67,220    $49,903   $34,250

                                        UNIV OF NORTH CAROLINA           Modeling dynamic relations in substance use
3,096 F31DA060040   1F31DA060040-01A1   CHAPEL HILL                      research: Challenges and opportunities.              TRAVER, JENNIFER MARIE   Awarded. Fellowships only   2024/08/01   2027/07/31    $40,441    $40,441    $38,961   $40,441

                                        UNIVERSITY OF COLORADO           High-throughput dissection of RNA localization
3,097 F31GM151819   5F31GM151819-02     DENVER                           regulatory elements                                  MOFFATT, CHARLIE E       Awarded. Fellowships only   2023/08/01   2025/07/31    $74,127    $74,127    $60,714   $37,773

                                                                         The mechanism of CELF1 upregulation and its role in
3,098 F32AR083267   5F32AR083267-02     BAYLOR COLLEGE OF MEDICINE       the pathogenesis of Myotonic Dystrophy Type 1       NITSCHKE, LARISSA         Awarded. Fellowships only   2024/01/01   2026/12/31   $148,200   $148,200    $88,984   $76,408

                                        COLUMBIA UNIV NEW YORK           Caregiver influences on item-context memory and
3,099 F32HD114417   1F32HD114417-01A1   MORNINGSIDE                      arousal in toddlers                                  YATES, TRISTAN SKYE      Awarded. Fellowships only   2024/11/01   2027/10/31    $73,828    $73,828    $10,238   $73,828

                                                                         HCMV stimulation of interferon signaling to promote
3,100 F32AI186281   1F32AI186281-01     UNIVERSITY OF ARIZONA            viral gene expression and latency                   WHITE, TIMOTHY M          Awarded. Fellowships only   2024/11/01   2027/10/31    $74,284    $74,284    $38,280   $74,284

                                                                         Sphingomyelin Metabolism Impacts on Crystalline
3,101 F31AI181539   1F31AI181539-01A1   UNIVERSITY OF MONTANA            Silica-Induced Outcomes                              ALBRIGHT, JACOB          Awarded. Fellowships only   2024/08/12   2026/08/11    $38,800    $38,800    $23,826   $38,800
                                                                          Mitochondrial therapy in conjunction with guideline
3,102 F32HL176108   1F32HL176108-01     STANFORD UNIVERSITY               directed medical therapy in cardiomyopathy          LI, JIWEN               Awarded. Fellowships only   2024/09/13   2026/09/12    $86,488    $86,488    $41,603   $86,488

                                                                          Multiscale mechano-metabolic regulation of fibrous KUPRATIS, MEGHAN
3,103 F32AR084906   1F32AR084906-01     UNIVERSITY OF PENNSYLVANIA        tissue homeostasis                                 ELIZABETH                Awarded. Fellowships only   2024/09/01   2027/08/31    $73,828    $73,828    $56,053   $73,828

                                                                          Elucidating mechanisms underlying NSCLC             KANDIGIAN, SAVANNAH
3,104 F31CA287704   1F31CA287704-01A1   YALE UNIVERSITY                   progression to leptomeningeal disease               ELIZABETH               Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $17,455   $48,974

                                                                          Investigating the role of hippocampocortical
3,105 F30MH126607   5F30MH126607-04     UNIVERSITY OF COLORADO            circuitry in long term social memory.               SHEERAN, WILLIAM M      Awarded. Fellowships only   2022/01/01   2025/12/31   $163,071   $163,071   $128,826   $41,942

                                        UNIVERSITY OF MICHIGAN AT ANN     Viper-active: Snake Venom Microbiome as a Source
3,106 F31AI186432   1F31AI186432-01     ARBOR                             for Bacterially-derived Molecule Discovery       LEV, KATHERINE LEAH        Awarded. Fellowships only   2024/09/01   2026/07/31    $42,348    $42,348    $34,547   $42,348

                                                                          Investigating the Effects of Hutchinson-Gilford
                                                                          Progeria Syndrome Mutation Correction in Tissue-
3,107 F31HL172589   1F31HL172589-01A1   DUKE UNIVERSITY                   Engineered Blood Vessels                            SHORES, KEVIN           Awarded. Fellowships only   2024/08/01   2026/07/31    $42,132    $42,132    $30,563   $42,132

                                        NORTHWESTERN UNIVERSITY AT        Defining the temporospatial functions of neutrophils
3,108 F31HL172345   1F31HL172345-01A1   CHICAGO                           in acute airspace disease                            HAYNES, MAUREEN        Awarded. Fellowships only   2024/12/01   2026/11/30    $44,187    $44,187     $9,859   $44,187

                                                                          Investigating Immunosuppression in Beta-catenin-
                                        UNIVERSITY OF PITTSBURGH AT       mutated Hepatocellular Carcinoma for Improved
3,109 F30CA284540   5F30CA284540-02     PITTSBURGH                        Precision Medicine Therapeutics                     LEHRICH, BRANDON        Awarded. Fellowships only   2023/07/01   2026/06/30   $106,668   $106,668    $78,538   $53,974
3,110 F32NS132956   5F32NS132956-02     RUTGERS, THE STATE UNIV OF N.J.   Arlene George F32                                   GEORGE, ARLENE JOANN Awarded. Fellowships only      2024/01/02   2026/12/31   $147,864   $147,864    $97,277   $74,284

                                                                          Structural and Biochemical Effects of Capsid-       MCFADDEN, WILLIAM
3,111 F31AI174951   5F31AI174951-03     EMORY UNIVERSITY                  targeting Molecules on HIV-1 Capsid Assembly        MICHAEL                 Awarded. Fellowships only   2022/12/29   2026/12/28   $145,642   $145,642   $111,578   $48,974

                                        UT SOUTHWESTERN MEDICAL           Investigating the Role of Systemic Sex Hormones on
3,112 F31EY036730   1F31EY036730-01     CENTER                            Photoreceptor Degeneration                         ROWE, ASHLEY             Awarded. Fellowships only   2024/09/01   2027/08/31    $40,127    $40,127    $25,209   $40,127

                                                                          Stigmatizing Language in Cancer Care Electronic
3,113 F30MD019959   1F30MD019959-01     UNIVERSITY OF MINNESOTA           Health Records                                      DONA, ALLISON C         Awarded. Fellowships only   2024/08/28   2028/08/27    $53,716    $53,716    $45,109   $53,716

                                                                     Concurrent chronic stress and cocaine self-
                                                                     administration: Understanding effects on mPFC
3,114 F30DA060020   1F30DA060020-01A1   MEDICAL COLLEGE OF WISCONSIN microglia and drug choice behavior                       NOWAK, DAVID B          Awarded. Fellowships only   2024/07/01   2028/04/30    $53,974    $53,974    $33,157   $53,974

                                                                          Novel inner ear organoid models for studying hair
                                                                          cells in normal development and in the deaf-
3,115 F31DC022152   1F31DC022152-01     HARVARD MEDICAL SCHOOL            blindness disease Usher Syndrome Type 1F            NIST-LUND, CARL         Awarded. Fellowships only   2024/09/01   2026/08/31    $36,919    $36,919    $27,148   $36,919

                                                                          Estrogen modulation of spinal cord microglia for
3,116 F31HL175931   1F31HL175931-01     UNIVERSITY OF MINNESOTA           respiratory neuroplasticity                         DUNLAP-SMITH, AZALINE I Awarded. Fellowships only   2024/09/13   2027/09/12    $45,686    $45,686    $16,303   $45,686

                                                                          S. aureus COG0523s as bacterial zinc
3,117 F30AI181344   1F30AI181344-01A1   VANDERBILT UNIVERSITY             metallochaperones critical to pathogenesis          ENRIQUEZ, KYLE T        Awarded. Fellowships only   2024/08/01   2027/07/31    $34,295    $34,295    $24,022   $34,295

                                                                        Epigenetic drivers of lung metastasis in
3,118 F30CA294663   1F30CA294663-01     CASE WESTERN RESERVE UNIVERSITY osteosarcoma                                          CHIN, DIANA             Awarded. Fellowships only   2024/07/01   2026/06/30    $53,974    $53,974    $33,369   $53,974

                                        UT SOUTHWESTERN MEDICAL           Dissecting the role of the Fanconi anemia pathway
3,119 F31CA295091   1F31CA295091-01     CENTER                            in chromothripsis                                 ENGEL, JUSTIN             Awarded. Fellowships only   2024/07/01   2027/06/30    $39,786    $39,786    $28,484   $39,786

                                        ALBERT EINSTEIN COLLEGE OF        Deciphering genotype-environmental interaction
3,120 F31HL172393   1F31HL172393-01A1   MEDICINE                          that drives HSPC dysfunction                        FELIZ NORBERTO, MARIA   Awarded. Fellowships only   2024/09/16   2026/09/15    $48,974    $48,974    $29,042   $48,974

                                        UNIVERSITY OF MISSOURI-           Ecological mechanisms for Alcohol Use Disorder
3,121 F31AA032187   1F31AA032187-01     COLUMBIA                          recovery in workplace contexts                      WILLIS, MAIREAD A       Awarded. Fellowships only   2025/03/01   2027/02/28    $40,219    $40,219     $6,478   $40,219

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Studies on the SARS-CoV-2 Main Protease
3,122 F31AI189116   1F31AI189116-01     CENTER                           Dimerization Mechanism                               DELGADO, RENEE          Awarded. Fellowships only   2024/12/01   2025/11/30    $38,674    $38,674    $14,752   $38,674

                                                                          Disulfated polyamidosaccharide nanoparticles as a
                                        BOSTON UNIVERSITY (CHARLES        P-selectin targeting chemotherapeutic delivery
3,123 F31CA298728   1F31CA298728-01     RIVER CAMPUS)                     system                                            LOFFREDO, MADELINE        Awarded. Fellowships only   2025/03/01   2028/02/29    $45,586    $45,586        $0    $45,586
                                        UNIVERSITY OF CALIFORNIA, SAN   mammalian kinetochores structural integrity under
3,124 F31GM156031   1F31GM156031-01A1   FRANCISCO                       force                                                     TRAN, VANNA            Awarded. Fellowships only   2025/05/01   2027/04/30     $41,493      $41,493           $0     $41,493

                                        UNIVERSITY OF SOUTHERN          Understanding Social Determinants of Health and
3,125 F32MD020253   1F32MD020253-01     CALIFORNIA                      Health Disparities in Emerging Work Contexts              WALSH, RYAN JAMES      Awarded. Fellowships only   2024/09/22   2027/09/21     $73,828      $73,828      $37,658     $73,828

                                        MEDICAL UNIVERSITY OF SOUTH
3,126 F31HL172645   1F31HL172645-01A1   CAROLINA                        Stress-Induced Signaling in Aortopathy                    HOLMAN, HEATHER L      Awarded. Fellowships only   2025/02/01   2027/01/31     $48,974      $48,974           $0     $48,974

                                                                        How do cortical hierarchies mediate visual
3,127 F31EY036263   5F31EY036263-02     UNIVERSITY OF CHICAGO           categorization                                            COOLEY, RORY           Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $46,084     $48,974

                                                                        Interrogating the Clonal Architecture of Human
3,128 F30HL177958   1F30HL177958-01     HARVARD MEDICAL SCHOOL          Hematopoiesis by Mitochondrial Lineage Tracing            POESCHLA, MICHAEL      Awarded. Fellowships only   2025/02/01   2029/01/31     $41,656      $41,656       $7,056     $41,656

                                        UNIVERSITY OF PITTSBURGH AT     Metabolic control of tRNA-mediated translational
3,129 F32CA284780   5F32CA284780-02     PITTSBURGH                      reprogramming in glioblastoma                             DUAN, TINGTING         Awarded. Fellowships only   2024/04/01   2027/03/31    $161,648     $161,648      $79,756     $81,892

                                                                        Investigating the relationship between genome
                                                                        mutagenesis, fertility, and health in fertile and
3,130 F31HD115390   5F31HD115390-02     UNIVERSITY OF UTAH              infertile men                                             KUNISAKI, JASON        Awarded. Fellowships only   2024/04/05   2026/07/04     $74,405      $74,405      $33,409     $25,431

                                                                        Genetic and genomic analysis of electron transport
                                        NORTHWESTERN UNIVERSITY AT      chain Complex II functions in mammalian skin       STEPHENS, CHRISTOPHER
3,131 F31AR085379   1F31AR085379-01     CHICAGO                         development                                        M                             Awarded. Fellowships only   2025/04/01   2028/03/31     $44,187      $44,187           $0     $44,187

                                        COLUMBIA UNIV NEW YORK          Integrating biomaterials and genomic tools for
3,132 F32EB036927   1F32EB036927-01     MORNINGSIDE                     glycan-based programming of immune cells                  HINCAPIE, ROBERT       Awarded. Fellowships only   2025/01/01   2028/12/31     $73,828      $73,828      $10,238     $73,828

                                        UNIVERSITY OF MICHIGAN AT ANN   Stimulatory state specific genetic regulatory             VENTRESCA, CHRISTA
3,133 F31DK135342   5F31DK135342-03     ARBOR                           signatures at diabetes GWAS signals                       NICOLE                 Awarded. Fellowships only   2023/05/01   2026/04/30    $123,979     $123,979      $82,226     $41,753

                                        UNIVERSITY OF TX MD ANDERSON    Interdisciplinary Translational Pre/Postdoctoral                                Awarded. Non-fellowships
3,134 T32CA196561   5T32CA196561-09     CAN CTR                         Program in Cancer Nanotechnology                          SOKOLOV, KONSTANTIN V only                         2015/09/01   2027/03/31   $1,433,755   $1,433,755    $536,774    $578,957

                                                                        Sources and Self-Management of Chronic Stress in
3,135 F31DC022142   1F31DC022142-01A1   OHIO STATE UNIVERSITY           People with Aphasia                                       JEWELL, COURTNEY C     Awarded. Fellowships only   2024/08/16   2026/08/15     $42,912      $42,912      $21,669     $42,912

                                                                        Balancing Act: Equalizing Sex Specific Differences in
                                        UNIVERSITY OF MICHIGAN AT ANN   CENP-A levels is Critical for Mammalian
3,136 F31HD117648   1F31HD117648-01     ARBOR                           Embryogenesis                                         TOWER, CATHERINE           Awarded. Fellowships only   2025/02/01   2028/01/31     $42,550      $42,550      $12,514     $42,550

                                                                        Elucidating molecular mechanisms of PARP2 at R            MCMAHON, MATTHEW
3,137 F31HL178160   1F31HL178160-01     UNIVERSITY OF MINNESOTA         loops in myelodysplastic syndromes                        CHARLES                Awarded. Fellowships only   2025/01/01   2027/12/31     $35,323      $35,323       $8,702     $35,323

                                                                        Extended amygdala corticotropin-releasing factor
                                                                        circuits mediating sex-specific impacts of early life     MORNINGSTAR, ALLISON
3,138 F31AA031630   1F31AA031630-01A1   STANFORD UNIVERSITY             stress on alcohol sensitivity                             REBECCA                Awarded. Fellowships only   2024/09/15   2027/09/14     $42,578      $42,578      $18,878     $42,578

                                        UNIVERSITY OF CALIFORNIA, SAN   How genome architecture controls Protocadherin
3,139 F31DC022526   1F31DC022526-01     FRANCISCO                       gene choice at single-allele resolution                   BUCKLEY, ALEXANDER     Awarded. Fellowships only   2024/09/01   2027/08/31     $47,225      $47,225      $23,589     $47,225

                                        UNIVERSITY OF MICHIGAN AT ANN                                                             QUINTERO, MICHAELA
3,140 F32DK142253   1F32DK142253-01     ARBOR                           Defining the Notch niche for Intestinal Stem cells        KATHERINE              Awarded. Fellowships only   2025/01/01   2027/12/31     $74,284      $74,284      $18,182     $74,284

                                                                        INVESTIGATING THE CONTRIBUTION OF OSTEOBLAST
                                                                        DIFFERENTIATION IN THE PATHOGENESIS OF
3,141 F30HD117560   1F30HD117560-01     BAYLOR COLLEGE OF MEDICINE      OSTEOGENESIS IMPERFECTA TYPE V                            BUSSE, EMILY           Awarded. Fellowships only   2024/12/01   2027/11/30     $42,574      $42,574           $0     $42,574

                                                                        Phenotypic sorting of cancer cells to study the role
                                                                        and control of cell stiffness in the in vivo metastatic
3,142 F32CA281162   7F32CA281162-03     RICE UNIVERSITY                 cascade                                                   YOUNG, KATHERINE M     Awarded. Fellowships only   2024/07/01   2026/06/30    $146,256     $146,256     $134,471     $66,444

                                        UNIVERSITY OF COLORADO          Predoctoral Training Program in Molecular and                                    Awarded. Non-fellowships
3,143 T32GM136444   3T32GM136444-05S1   DENVER                          Cellular Biology                                          PREKERIS, RYTIS        only                        2020/07/01   2025/06/30   $2,834,224   $2,834,224   $2,518,052   $218,565

                                        MASSACHUSETTS INSTITUTE OF      In Vivo Measurement of Human Brain Tissue, Blood,
3,144 F31NS141336   1F31NS141336-01     TECHNOLOGY                      and CSF Dynamics Supporting Glymphatic Function STROM, AMELIA                    Awarded. Fellowships only   2025/02/01   2027/06/30     $48,974      $48,974      $10,366     $48,974
                                                                           Advanced functional MRI of cerebral cortical layers
                                        MASSACHUSETTS GENERAL              in the human brain using ultrahigh-resolution       YUSIF RODRIGUEZ,
3,145 F32MH139173   1F32MH139173-01     HOSPITAL                           linescan MRI technology                             NADIRA DEL R            Awarded. Fellowships only   2025/01/01   2027/12/31     $78,328      $78,328      $5,119    $78,328

                                        TEMPLE UNIV OF THE                 Acoustic Measures in Diagnosis and Subtyping of
3,146 F31DC021885   1F31DC021885-01A1   COMMONWEALTH                       Childhood Apraxia of Speech                          LITTLEJOHN, MEGHAN     Awarded. Fellowships only   2024/09/01   2026/08/31     $36,736      $36,736     $18,551    $36,736

                                        UNIVERSITY OF COLORADO             Aging impairs temporal fidelity in the auditory
3,147 F31DC021622   5F31DC021622-02     DENVER                             brainstem and underlies spatial hearing deficits     SERGISON, MATTHEW D    Awarded. Fellowships only   2024/05/01   2026/04/30     $75,062      $75,062     $35,179    $37,531

                                        UNIVERSITY OF CALIFORNIA, SAN      Modulating signaling pathways in alveolar epithelial
3,148 F32HL172536   5F32HL172536-02     FRANCISCO                          cells with engineered T cells                        JACOB, ANJALI          Awarded. Fellowships only   2024/01/01   2025/12/31    $160,256     $160,256     $99,425    $81,364

                                                                           Determining a Central Locus for Temperature
3,149 F31NS135914   5F31NS135914-02     BAYLOR COLLEGE OF MEDICINE         Modulation of Touch Sensitivity                      RAMIREZ, JUAN CARLOS   Awarded. Fellowships only   2024/01/08   2027/02/07    $103,948     $103,948     $63,155    $51,974

                                                                                                                                                       Awarded. Non-fellowships
3,150 T32HD007490   2T32HD007490-26     UNIVERSITY OF DELAWARE             PT/PHD Predoctoral Training Program                  REISMAN, DARCY S       only                        1996/08/20   2030/04/30    $206,200     $206,200         $0    $206,200

                                                                         Identifying a critical developmental period for
                                        UNIVERSITY OF TEXAS HLTH SCIENCE cognitive speed in a mouse model for
3,151 F30MH134482   5F30MH134482-02     CENTER                           neurodevelopmental disorders                           WELLS, ANNE MARIE      Awarded. Fellowships only   2024/04/01   2027/03/31     $83,823      $83,823     $37,812    $42,312

                                        UNIVERSITY OF CALIFORNIA           Investigating Mechanisms of Development in
3,152 F31EY035571   5F31EY035571-02     BERKELEY                           Retinal Direction Selective Circuits                 PITCHER, MIAH NIEVA    Awarded. Fellowships only   2024/04/01   2026/03/31     $91,930      $91,930     $45,965    $45,965

                                                                           The Impact of Morning Insulin Delivery on Hepatic    WATERMAN, HANNAH
3,153 F31DK142297   1F31DK142297-01     VANDERBILT UNIVERSITY              Glucose Metabolism Later in the Day                  LYNN                   Awarded. Fellowships only   2025/01/01   2026/12/31     $35,208      $35,208     $10,081    $35,208

                                        MASSACHUSETTS INSTITUTE OF         Investigating the Role of Extracellular Matrix in Down
3,154 F32HL178155   1F32HL178155-01     TECHNOLOGY                         Syndrome Associated Cardiac Phenotypes.                BORDEN, LEAH K       Awarded. Fellowships only   2025/02/01   2028/01/31     $77,284      $77,284     $11,436    $77,284

                                        UNIVERSITY OF COLORADO             Employing holographic stimulation to probe the
3,155 F31DC022171   1F31DC022171-01A1   DENVER                             cellular basis of the engram for odor epochs.        STEINKE, KIRA A        Awarded. Fellowships only   2024/08/01   2027/07/31     $37,659      $37,659     $25,633    $37,659


                                                                           Investigating pathways of hippocampal synaptic
3,156 F31AG079539   5F31AG079539-03     JOHNS HOPKINS UNIVERSITY           funtion: potential implications for Alzheimers disease DAUDELIN, DANIEL     Awarded. Fellowships only   2023/05/01   2026/04/30    $145,642     $145,642     $96,049    $48,974

                                                                           The Role of EpCAM Glycosylation in Breast Cancer     JENKINSON, NICOLE
3,157 F30CA268849   5F30CA268849-03     JOHNS HOPKINS UNIVERSITY           Metastasis                                           MARIE                  Awarded. Fellowships only   2023/05/01   2026/04/30    $160,642     $160,642     $87,811    $53,974

                                                                           Determining the Role of Replication Protein A in
3,158 F30CA298183   1F30CA298183-01     HARVARD MEDICAL SCHOOL             Polymerase Theta-Mediated End-Joining                LONGLEY, MARTHA JEAN Awarded. Fellowships only     2025/04/01   2029/03/31     $41,656      $41,656      $2,352    $41,656

                                        PENNSYLVANIA STATE UNIV            Allosteric regulation of REDD1 as a therapeutic
3,159 F31EY037121   1F31EY037121-01     HERSHEY MED CTR                    target for diabetic retinopathy                      YERLIKAYA, ESMA IREM   Awarded. Fellowships only   2024/12/01   2027/11/30     $35,909      $35,909     $10,288    $35,909

                                                                           Applying a Health Equity Lens to Explore Community
3,160 F31MD019527   1F31MD019527-01A1   JOHNS HOPKINS UNIVERSITY           Health Workers Integration into Clinical Settings  FULLER, SHANNON          Awarded. Fellowships only   2024/12/01   2026/11/30     $48,974      $48,974     $11,374    $48,974

                                        UNIVERSITY OF ILLINOIS AT          The Impact of Cognitive-Motor Interference on
3,161 F31HD115419   5F31HD115419-02     CHICAGO                            Balance Control in Children with Cerebral Palsy      RUBSAM, MEAGHAN        Awarded. Fellowships only   2024/05/01   2027/04/30     $97,948      $97,948     $44,801    $48,974

                                        ICAHN SCHOOL OF MEDICINE AT        Theta Phase-Locked Stimulation of Entorhinal-        PHILIPSBERG, PAUL
3,162 F31NS134301   5F31NS134301-02     MOUNT SINAI                        Hippocampal Inputs in Healthy and Epileptic Mice     ANDREW                 Awarded. Fellowships only   2024/04/01   2026/08/31     $94,748      $94,748     $19,077    $47,374

                                        UNIVERSITY OF ALABAMA AT           Interdisciplinary Training in Pathobiology and       THALACKER-MERCER,      Awarded. Non-fellowships
3,163 T32HD071866   5T32HD071866-13     BIRMINGHAM                         Rehabilitation Medicine.                             ANNA E                 only                        2012/09/04   2028/04/30   $1,335,615   $1,335,615   $626,320   $497,646

                                                                           Investigating the role of PRMT1 and hnRNPK in the
3,164 F31GM157895   1F31GM157895-01     UNIVERSITY OF PENNSYLVANIA         spatial regulation of heterochromatin                KRAEUTLER, ELIZABETH   Awarded. Fellowships only   2024/12/01   2027/05/31     $48,974      $48,974     $20,485    $48,974

                                        PENNSYLVANIA STATE UNIVERSITY,     The genetic, symbiotic, and evolutionary bases of
3,165 F32DK141228   1F32DK141228-01A1   THE                                the human gut mycobiome                              VAN SYOC, EMILY P      Awarded. Fellowships only   2024/12/20   2027/12/19     $76,828      $76,828     $27,653    $76,828

                                        BOSTON UNIVERSITY (CHARLES
3,166 F32DC022496   1F32DC022496-01     RIVER CAMPUS)                      Speech, Language, and Motor Skills in Late Talkers   MAFFEI, MARC           Awarded. Fellowships only   2024/09/15   2026/09/14     $81,328      $81,328     $43,253    $81,328

                                        UNIVERSITY OF MICHIGAN AT ANN
3,167 F32GM154404   5F32GM154404-02     ARBOR                              Sulfide-regulated copper metabolism                  DIESSL, JUTTA          Awarded. Fellowships only   2024/04/02   2026/04/01    $151,040     $151,040     $73,348    $76,756
                                                                        Bioengineering the bone microenvironment for
                                        OREGON HEALTH & SCIENCE         improved craniofacial regeneration leveraging
3,168 F31DE034634   1F31DE034634-01     UNIVERSITY                      biomimetic mechanotransduction                           VIGNOLO, SOFIA MAGALI Awarded. Fellowships only     2024/12/01   2027/11/30     $54,774      $54,774     $16,907    $54,774

                                                                        Associations among monoamines, tau pathology
3,169 F31AG087628   1F31AG087628-01A1   BRANDEIS UNIVERSITY             and emotional memory in aging                            MARKOVA, TEODORA        Awarded. Fellowships only   2025/04/16   2028/04/15     $35,300      $35,300         $0     $35,300

                                                                        The development of novel 4-aminoquinolines as
                                        OREGON HEALTH & SCIENCE         therapeutics against multi-drug resistant                HANDFORD, MASON
3,170 F31AI174772   5F31AI174772-02     UNIVERSITY                      Plasmodium falciparum                                    JAMES                   Awarded. Fellowships only   2024/05/01   2026/04/30    $103,948     $103,948     $50,361    $51,974

                                                                        The interplay of the heat shock cascade and Rett
3,171 F31NS134246   5F31NS134246-02     LOYOLA UNIVERSITY CHICAGO       syndrome                                                 GONZALEZ, SONIA         Awarded. Fellowships only   2024/04/15   2026/08/31     $85,148      $85,148     $23,826    $42,574

                                                                        Dependent Gene Expression in a Single Neuron
3,172 F31NS137615   5F31NS137615-02     BRANDEIS UNIVERSITY             Type                                                     BATES, SAMUEL GAITHER   Awarded. Fellowships only   2024/05/01   2026/09/30     $70,556      $70,556     $30,352    $35,323

                                        BOSTON UNIVERSITY (CHARLES      Moving Forward: Early Predictors of Crawling and
3,173 F32HD117600   1F32HD117600-01     RIVER CAMPUS)                   Walking in Infants with DS                               COLLIMORE, ASHLEY       Awarded. Fellowships only   2025/01/01   2027/12/31     $78,328      $78,328     $17,699    $78,328
3,174 F31GM156032   1F31GM156032-01A1   NEW YORK UNIVERSITY             The Evolution of Sexually Dimorphic Morphogenesis        JALLAD, RAYA S          Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974         $0     $48,974

                                                                        Assessing the spatial and temporal scales of
                                                                        attention effects and attention-dependent                AMODEO, JOHN
3,175 F31EY035522   5F31EY035522-02     DUKE UNIVERSITY                 cholinergic release in macque V4.                        MICHAEL                 Awarded. Fellowships only   2024/04/01   2027/03/31     $83,498      $83,498     $43,376    $41,749

                                                                        Investigating the MAIT cell- Microbiome Relationship
3,176 F30CA291094   5F30CA291094-02     WAYNE STATE UNIVERSITY          in Pancreatic Cancer Liver Metastasis                TOOR, JUGMOHIT              Awarded. Fellowships only   2024/04/29   2028/04/28     $98,398      $98,398     $35,350    $49,199

                                        HARVARD SCHOOL OF PUBLIC        Fine-mapping causal tissues at disease-associated
3,177 F32HG012889   5F32HG012889-03     HEALTH                          loci to infer disease subtypes                           STROBER, BENJAMIN       Awarded. Fellowships only   2023/04/01   2026/03/31    $219,244     $219,244    $131,752    $76,756

                                                                        MORPHOLOGY IN AFFECTIVE NETWORK                          DANSTROM, ISABEL
3,178 F31MH136762   1F31MH136762-01A1   BAYLOR COLLEGE OF MEDICINE      CONNECTIVITY                                             ANASTASIA               Awarded. Fellowships only   2024/09/05   2026/12/25     $48,974      $48,974     $16,128    $48,974

                                        BOSTON UNIVERSITY MEDICAL       Mechanical Regulation of Adipose TissueFibrosis
3,179 F31DK139746   1F31DK139746-01A1   CAMPUS                          and Metabolic Disease                                    FROSTI, CHEYANNE        Awarded. Fellowships only   2025/04/15   2027/04/14     $48,974      $48,974         $0     $48,974

                                                                        Synthesis and design of macrocyclic collagen
                                                                        mimetic peptides for targeting the cancer-               RAFIZADEH, DIANE
3,180 F30CA290747   5F30CA290747-02     UNIVERSITY OF PENNSYLVANIA      implicated DDR2 kinase                                   NAAVA                   Awarded. Fellowships only   2024/05/01   2026/04/30     $73,324      $73,324     $36,662    $36,662

                                                                        Investigating the role of G-protein coupled estrogen
                                                                        receptor expression on cancer associated
                                        UNIVERSITY OF WISCONSIN-        fibroblasts in therapy resistant ER+ breast cancer
3,181 F31CA284785   5F31CA284785-02     MADISON                         progression                                          FERTAL, SHELBY              Awarded. Fellowships only   2024/04/08   2027/04/07     $72,078      $72,078     $35,831    $36,039

                                                                        Acoustic Modeling of skull bone for improved
3,182 F31DE032916   5F31DE032916-02     UNIVERSITY OF UTAH              transcranial MR-guided focused ultrasound therapy CLINARD, SAM                   Awarded. Fellowships only   2023/07/20   2025/07/19     $85,468      $85,468     $61,515    $43,374

                                                                      Identifying mis-splicing-derived antigens in
                                        WEILL MEDICAL COLL OF CORNELL spliceosomal mutant myelodysplasia and targeting
3,183 F30HL172602   5F30HL172602-02     UNIV                          via T-cell receptor therapeutics                 KIM, WON JUN                      Awarded. Fellowships only   2024/01/22   2027/06/21    $107,948     $107,948     $46,720    $53,974

                                        MEDICAL UNIVERSITY OF SOUTH     Genetic and Molecular Mechanisms of                      GENSEMER, CORTNEY
3,184 F32AI181339   5F32AI181339-02     CAROLINA                        hypermobile Ehlers Danlos Syndrome                       ANNE                    Awarded. Fellowships only   2024/02/01   2027/01/31    $151,112     $151,112     $79,848    $77,284

                                        GEORGIA INSTITUTE OF            Identifying critical protein-protein interactions with                           Awarded. Non-fellowships
3,185 T32GM142616   3T32GM142616-04S1   TECHNOLOGY                      ML methods                                               QIU, PENG               only                        2021/07/01   2026/06/30   $1,112,812   $1,112,812   $964,435    $65,484

                                                                        Discovery of the mechanisms of resistance for the
3,186 F32AI181342   5F32AI181342-02     JOHNS HOPKINS UNIVERSITY        anthelmintic emodepside                                  SHAVER, AMANDA          Awarded. Fellowships only   2024/03/04   2027/03/03    $151,040     $151,040     $80,072    $76,756

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
3,187 T32AR080618   5T32AR080618-03     FRANCISCO                       UCSF Musculoskeletal Training Program                    FIELDS, AARON J         only                        2023/04/01   2028/03/31    $753,994     $753,994    $389,069   $251,807

                                        UNIV OF NORTH CAROLINA          Dissecting mechanisms of gene silencing by the
3,188 F31HD111292   5F31HD111292-03     CHAPEL HILL                     lncRNA Kcnq1ot1 in mouse trophoblast stem cells          MURVIN, MCKENZIE        Awarded. Fellowships only   2023/03/01   2026/02/28    $125,422     $125,422     $85,003    $42,234
                                        UNIVERSITY OF CALIFORNIA AT      Mechanisms Driving the Kinetics of Incretin-           CHAN, MICHELLE YING-
3,189 F31DK136313   5F31DK136313-02     DAVIS                            Mediated Beta Cell Responses                           YING                   Awarded. Fellowships only   2024/04/01   2027/03/31     $83,136      $83,136      $41,568     $41,568

                                                                         Disentangling the Drivers and Dangers of Toxic
                                        UNIVERSITY OF MICHIGAN AT ANN    Cyanobacteria Biosynthetic Heterogeneity in
3,190 F31ES036421   5F31ES036421-02     ARBOR                            Cyanobacterial Harmful Algal Blooms                    HART, LAUREN           Awarded. Fellowships only   2024/04/01   2026/03/31     $84,104      $84,104      $53,143     $42,052

                                                                         T cell expressed miR-155 promotes antitumor
                                                                         immunity and immune checkpoint blockade
                                                                         responses in colon cancer through repression of
3,191 F30CA260977   5F30CA260977-05     UNIVERSITY OF UTAH               Ship1                                                  TANG, WILLIAM WEIHAO   Awarded. Fellowships only   2021/04/01   2026/03/31    $251,724     $251,724     $167,389     $56,974

                                        UNIVERSITY OF CALIFORNIA LOS     Neural and molecular control of subordinate social
3,192 F32GM153130   5F32GM153130-03     ANGELES                          status in a cichlid fish                               MUNLEY, KATHLEEN       Awarded. Fellowships only   2024/03/01   2026/02/28    $148,112     $148,112      $73,828     $74,284

                                                                         Genetic influence on behavior, brain development,
                                        UNIVERSITY OF CALIFORNIA, SAN    and substance use in two large, longitudinal
3,193 F30DA057078   5F30DA057078-03     DIEGO                            adolescent cohorts                                SMITH, DIANA MUN YEE        Awarded. Fellowships only   2023/04/01   2027/03/31    $142,177     $142,177      $44,472     $56,974

                                                                         Elucidating the role of interferon gamma
                                                                         production and signaling in the generation of
3,194 F32NS134563   5F32NS134563-02     UNIVERSITY OF TEXAS DALLAS       neuropathic pain in human dorsal root ganglia          LESNAK, JOSEPH         Awarded. Fellowships only   2024/02/01   2027/01/31    $150,584     $150,584      $71,343     $76,756

                                        ST. JUDE CHILDREN'S RESEARCH     Basic and Translational Research Training in           MCKINNEY-FREEMAN,      Awarded. Non-fellowships
3,195 T32HL176447   1T32HL176447-01     HOSPITAL                         Pediatric Classical Hematology                         SHANNON L              only                        2025/01/01   2029/12/31    $252,285     $252,285      $11,560    $252,285

                                                                         The neural basis of stereognosis and its application
3,196 F31NS134290   5F31NS134290-02     UNIVERSITY OF CHICAGO            to neuroprosthetics                                    SHEETS, DREW           Awarded. Fellowships only   2023/12/01   2026/11/30     $95,388      $95,388      $59,522     $47,694

                                                                         The role of LDTg to VTA calcitonin receptor signaling SANCHEZ-NAVARRO,
3,197 F31DK139757   5F31DK139757-02     UNIVERSITY OF PENNSYLVANIA       in the control of food reward                         MARCOS J                Awarded. Fellowships only   2024/03/01   2027/02/28     $85,758      $85,758      $56,307     $36,784

                                        BETH ISRAEL DEACONESS MEDICAL                                                           DONNINO, MICHAEL       Awarded. Non-fellowships
3,198 T32HL155020   5T32HL155020-05     CENTER                        Training Program in Resuscitation Science                 WILLIAM                only                        2021/02/01   2026/01/31   $2,073,970   $2,073,970   $1,092,729   $436,052

                                                                         The role of conserved chromatin-associated LEX-1 in
3,199 F31GM157766   1F31GM157766-01     HARVARD MEDICAL SCHOOL           germline DNA repair                                 DIAZ PACHECO, BRIANNA Awarded. Fellowships only       2025/01/01   2026/12/31     $39,418      $39,418           $0     $39,418

                                                                         Neural Underpinnings and Sensory Feedback
                                                                         Augmentation During Split-belt Treadmill Training in
3,200 F31HD115281   1F31HD115281-01A1   COLORADO STATE UNIVERSITY        People with Multiple Sclerosis                         HAGEN, ANDREW CARTER Awarded. Fellowships only     2024/12/03   2026/09/18     $41,457      $41,457      $11,026     $41,457

                                                                         E-cigarette Inhalation and Cardiopulmonary             WHITEHEAD, ANNA
3,201 F30HL160071   5F30HL160071-04     LSU HEALTH SCIENCES CENTER       Dysfunction                                            KATHRYN                Awarded. Fellowships only   2022/01/02   2027/01/01    $170,999     $170,999     $111,037     $52,736

                                        ST. JUDE CHILDREN'S RESEARCH
                                        HOSPITAL GRADUATE SCHOOL OF      Determining the Role of SOX8 in Myogenesis and
3,202 F31CA281254   5F31CA281254-02     BIOMEDICAL SCIENCES, LLC         Rhabdomyosarcomagenesis                                STEVENS, BRADLEY       Awarded. Fellowships only   2024/02/01   2027/01/31     $95,948      $95,948      $59,926     $47,974

                                                                      Dissecting the roles of type 2 diabetes-associated
                                        UNIVERSITY OF CONNECTICUT SCH variants and effector genes in islet endoplasmic
3,203 F30DK130582   5F30DK130582-04     OF MED/DNT                    reticulum stress response                                 BHUIYAN, REDWAN        Awarded. Fellowships only   2022/03/15   2026/03/14    $193,438     $193,438     $138,400     $53,974

                                                                         Training in Research on Vascular Inflammation and                             Awarded. Non-fellowships
3,204 T32HL160529   5T32HL160529-04     UNIVERSITY OF SOUTH FLORIDA      Injury                                                 YUAN, SARAH Y          only                        2022/02/01   2027/01/31   $1,050,181   $1,050,181    $390,401    $290,061

                                                                         Self-reflective accuracy across subclinical
3,205 F32MH131253   5F32MH131253-03     PRINCETON UNIVERSITY             dimensions of psychopathology                          MORRIS, ADAM MITCHELL Awarded. Fellowships only    2023/04/01   2026/03/31    $225,796     $225,796     $142,512     $74,284

                                                                         Evaluating the impact of obesity associated fatty
                                        UNIV OF NORTH CAROLINA           acid metabolic dysregulation on breast cancer
3,206 F31CA275336   5F31CA275336-02     CHAPEL HILL                      sensitivity to ferroptosis                             DEVERICKS, EMILY       Awarded. Fellowships only   2023/09/12   2025/09/11     $70,696      $70,696      $47,799     $35,988

                                                                         Next-generation diagnostic approaches for HER2-
                                                                         low breast cancer and trastuzumab deruxtecan
3,207 F30CA287869   5F30CA287869-02     YALE UNIVERSITY                  therapy                                                ROBBINS, CHARLES JOHN Awarded. Fellowships only    2024/04/01   2027/03/31     $67,916      $67,916      $28,274     $33,958
                                        NEW YORK UNIVERSITY SCHOOL OF Elucidation of the mechanism of disease of VEXAS         MAGAZINER, SAMUEL
3,208 F30HL170731   5F30HL170731-02     MEDICINE                      Syndrome                                                 JAMES                   Awarded. Fellowships only   2023/09/01   2026/08/31    $106,668     $106,668      $89,696     $53,974

                                                                          Comprehensive Training program in Imaging                                    Awarded. Non-fellowships
3,209 T32EB007507   3T32EB007507-15S1   UNIVERSITY OF TEXAS AT AUSTIN     Science and Informatics                              MARKEY, MIA K           only                        2009/08/01   2025/07/31   $1,103,828   $1,103,828    $977,365     $87,210

                                        BECKMAN RESEARCH                                                                                               Awarded. Non-fellowships
3,210 T32CA186895   5T32CA186895-09     INSTITUTE/CITY OF HOPE            DNA Damage Response and Oncogenic Signaling          STARK, JEREMY MICHAEL   only                        2016/07/14   2027/02/28    $954,095     $954,095     $644,748    $245,477


                                                                          Epitranscriptomic mechanisms of the antidepressant
3,211 F31DA059435   5F31DA059435-03     EMORY UNIVERSITY                  response to ketamine in human neurons              SICILIANO, BENJAMIN       Awarded. Fellowships only   2023/03/22   2026/04/21    $145,642     $145,642      $93,852     $48,974

                                        UNIVERSITY OF PITTSBURGH AT       Nuclear speckle liquid-liquid phase separation
3,212 F31AG080998   5F31AG080998-03     PITTSBURGH                        dynamics in senescence and aging                     DION, WILLIAM AARON     Awarded. Fellowships only   2023/04/01   2026/03/31    $145,642     $145,642      $82,488     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN     Examining the role of epigenetic memory in
3,213 F32DK137454   5F32DK137454-02     FRANCISCO                         intestinal regeneration                              VIRAGOVA, SARA          Awarded. Fellowships only   2024/04/01   2027/03/31    $151,040     $151,040      $70,847     $76,756

                                                                          Characteristics and outcomes for hospitalized
                                                                          patients with methamphetamine and opioid co-
                                                                          use: Identifying opportunities for hospital-based
3,214 F30DA057775   5F30DA057775-03     UNIVERSITY OF MINNESOTA           addiction services tailored to co-use                SHEARER, RILEY          Awarded. Fellowships only   2023/03/01   2027/02/28    $135,367     $135,367      $83,453     $41,837

                                                                          The impact of host RANKL signaling on Salmonella
3,215 F30AI181466   1F30AI181466-01A1   VANDERBILT UNIVERSITY             Typhimurium pathogenesis                             SI, CLARA               Awarded. Fellowships only   2025/01/01   2027/12/31     $34,336      $34,336       $9,659     $34,336

                                        UNIVERSITY OF COLORADO            Effects of Exercise on Neurobiology, Social          COSGROVE, KELLY
3,216 F32HD117473   1F32HD117473-01     DENVER                            Cognition, and Systemic Inflammation in Autism       THERESA                 Awarded. Fellowships only   2024/12/01   2026/11/30     $76,828      $76,828      $32,350     $76,828

                                                                     Multi-disciplinary analysis of the role of PagC for
3,217 F32AI188770   1F32AI188770-01     MEDICAL COLLEGE OF WISCONSIN outer membrane vesicle biogenesis                         WOOD, NICHOLAS A        Awarded. Fellowships only   2024/12/01   2027/11/30     $73,828      $73,828           $0     $73,828

                                                                      Per- and polyfluoroalkyl substances (PFAS)
                                        RUTGERS BIOMEDICAL AND HEALTH occurrence and associations with dyslipidemia
3,218 F31ES036099   5F31ES036099-02     SCIENCES                      among community-based U.S. volunteer firefighters LUBINA, KATHERINE ALEXIS Awarded. Fellowships only         2024/02/15   2026/02/14     $92,664      $92,664      $59,182     $46,332

                                        BOSTON UNIVERSITY (CHARLES        The Lombard effect in muscle tension dysphonia:
3,219 F31DC021863   1F31DC021863-01A1   RIVER CAMPUS)                     mechanistic and clinical characterization            AARON, ALLISON          Awarded. Fellowships only   2024/09/15   2027/09/14     $39,382      $39,382      $15,288     $39,382

                                                                          Input-specific synaptic plasticity in the nucleus
                                                                          accumbens evoked by inhibition of angiotensin-
3,220 F32DA060664   5F32DA060664-02     UNIVERSITY OF MINNESOTA           converting enzyme                                    SWANSON, JESSICA        Awarded. Fellowships only   2024/04/01   2026/03/31    $147,236     $147,236      $67,539     $73,828

                                                                          Defining the Transcriptional Activity of NR2F6 in TH17 WILSON, ADRIANNA
3,221 F31DK137613   5F31DK137613-02     UNIVERSITY OF FLORIDA             cells                                                  NICOLE                Awarded. Fellowships only   2024/04/01   2026/03/31     $71,948      $71,948      $29,241     $35,974

                                                                          Dissecting functional subgroups and closed-loop
                                                                          circuits between the pedunculopontine nucleus
3,222 F30NS132399   5F30NS132399-03     GEORGETOWN UNIVERSITY             and the basal ganglia                                FALLAH, MICHEL          Awarded. Fellowships only   2023/03/01   2027/04/30    $125,242     $125,242      $75,972     $53,974

                                                                     Mechanosensitive Mechanisms of Premature
3,223 F31HL177874   1F31HL177874-01     MEDICAL COLLEGE OF WISCONSIN Calcification in Bicuspid Aortic Valve Disease            KNAS, MAKENNA C         Awarded. Fellowships only   2025/04/01   2029/03/31     $48,974      $48,974           $0     $48,974

                                                                          Washington University Institute of Clinical and                              Awarded. Non-fellowships
3,224 TL1TR002344   5TL1TR002344-09     WASHINGTON UNIVERSITY             Translational Sciences (TL1)                         PICCIRILLO, JAY F       only                        2017/06/19   2027/02/28   $3,740,435   $3,740,435   $2,283,974   $988,996

                                        CLEVELAND CLINIC LERNER COM-      The role of retrotransposonable elements in
3,225 F32HD114499   5F32HD114499-02     CWRU                              neurodevelopment and disease                         TALLEY, MARY            Awarded. Fellowships only   2024/03/01   2026/02/28    $151,040     $151,040      $82,318     $76,756

                                                                          Molecular basis for BMP receptor specialization and
3,226 F32HD114468   5F32HD114468-02     UNIVERSITY OF PENNSYLVANIA        trafficking                                         PATEL, JEET H            Awarded. Fellowships only   2024/04/01   2027/03/31    $143,364     $143,364      $74,238     $74,284

                                                                          Being in sync with others during early alcohol and
                                                                          opioid recovery: The role of positive social
                                                                          interactions in generating recovery capital and      CARLON, HANNAH
3,227 F31DA062425   1F31DA062425-01     UNIVERSITY OF NEW MEXICO          buffering health disparities                         AVERY                   Awarded. Fellowships only   2025/01/01   2026/08/31     $38,865      $38,865      $14,834     $38,865
                                        UNIVERSITY OF MICHIGAN AT ANN   Regulation and Mechanisms of Transitional Epithelial
3,228 F32HL172379   5F32HL172379-02     ARBOR                           Cell Senescence in Lung Fibrosis                     TING, CHRISTOPHER         Awarded. Fellowships only   2024/01/01   2025/06/30    $129,732     $129,732     $108,726     $43,244

                                        UNIVERSITY OF PITTSBURGH AT     The cortical and subcortical control of coordinated
3,229 F32EY035134   5F32EY035134-02     PITTSBURGH                      eye movements                                       WILLETT, SHAWN             Awarded. Fellowships only   2024/04/01   2027/03/31    $155,648     $155,648      $76,756     $78,892

                                                                        Using Advanced Methodologies to Investigate the
                                                                        Effect of Social Influences on Alcohol Use Across
3,230 F31AA031154   5F31AA031154-02     UNIVERSITY OF WASHINGTON        Development                                            VOLPE, LAILA            Awarded. Fellowships only   2024/03/16   2027/03/15     $97,948      $97,948      $46,506     $48,974
3,231 F32HD110180   5F32HD110180-02     PRINCETON UNIVERSITY            Neurobiology of Paternal Care                          ROGERS, FORREST DYLAN Awarded. Fellowships only     2023/11/01   2026/10/31    $150,684     $150,684      $99,475     $78,892

                                                                        Investigating a role for eNAMPT-containing
                                                                        extracellular vesicles in mitigating age- and          LANANNA, BRIAN
3,232 F32AG076279   5F32AG076279-03     WASHINGTON UNIVERSITY           Alzheimer Disease-related cognitive decline            VINCENT                 Awarded. Fellowships only   2023/02/01   2026/01/31    $232,048     $232,048     $164,389     $81,364

                                                                        Understanding mRNA Condensation and Its Role in
3,233 F30ES032665   5F30ES032665-05     UNIVERSITY OF CHICAGO           Translational Control during Stress                    GLAUNINGER, HENDRIK     Awarded. Fellowships only   2021/04/01   2026/03/31    $263,430     $263,430     $205,251     $53,974

                                                                        Elucidating the Transcriptional Brakes on Adipocyte
3,234 F30DK136168   5F30DK136168-03     DUKE UNIVERSITY                 Thermogenesis                                       TRUONG, ASHLEY T           Awarded. Fellowships only   2023/04/06   2028/04/05    $160,642     $160,642     $102,660     $53,974

                                        CINCINNATI CHILDRENS HOSP MED                                                          USCATEGUI CALDERON,
3,235 F31HL168819   5F31HL168819-02     CTR                           GDF10 in Neonatal Heart Development                      MARIA                   Awarded. Fellowships only   2024/02/01   2027/01/31     $83,830      $83,830      $32,575     $41,915

                                                                        Tracking and regulation of nicotine dependence in EVANS, KATHRYN
3,236 F30DA057823   5F30DA057823-03     HARVARD MEDICAL SCHOOL          the insular cortex                                ELIZABETH                    Awarded. Fellowships only   2023/04/01   2026/03/31    $147,989     $147,989      $85,598     $53,974

                                                                        Adapting backcalculation methods to estimate the
                                        BOSTON UNIVERSITY MEDICAL       incidence and infectiousness distributions of
3,237 F31AI183782   1F31AI183782-01A1   CAMPUS                          tuberculosis                                     SHAPIRO, ANNE NICOLE          Awarded. Fellowships only   2024/12/01   2026/11/30     $48,974      $48,974      $11,542     $48,974

                                                                        The role of BRWD1 to establish epigenetic states for   WRIGHT, NATHANIEL
3,238 F30AI174324   5F30AI174324-03     UNIVERSITY OF CHICAGO           germinal center initiation, maintenance, and exit      EDWIN                   Awarded. Fellowships only   2023/01/01   2027/12/31    $160,642     $160,642     $120,620     $53,974

                                                                        RESEARCH IN DEVELOPMENTAL ENDOCRINOLOGY                                        Awarded. Non-fellowships
3,239 T32DK007699   3T32DK007699-43S1   BOSTON CHILDREN'S HOSPITAL      AND METABOLISM                                         HIRSCHHORN, JOEL N      only                        1992/07/01   2027/06/30   $1,135,216   $1,135,216    $935,740     $99,179

                                        BOSTON UNIVERSITY (CHARLES      Predicting stuttering subtypes from functional
3,240 F31DC022184   1F31DC022184-01A1   RIVER CAMPUS)                   connectivity using machine learning                    KIM, JACKIE SIHYUN      Awarded. Fellowships only   2025/01/01   2027/12/31     $42,316      $42,316           $0     $42,316

                                                                        Investigating the impact of chromosome 21 dosage
                                                                        on the placenta secretome and
3,241 F31HD115312   1F31HD115312-01A1   JOHNS HOPKINS UNIVERSITY        neurodevelopment                                 SPIEGELBERG, BAILEY           Awarded. Fellowships only   2025/03/26   2027/03/25     $48,974      $48,974           $0     $48,974

                                                                        Mechanisms of temperature dependent odor
3,242 F31DC022188   1F31DC022188-01A1   YALE UNIVERSITY                 coding in Drosophila melanogaster                      DICKINSON, EVYN SABIR   Awarded. Fellowships only   2025/01/30   2028/01/29     $33,988      $33,988       $5,068     $33,988

                                                                        Hemodynamics and KLF2/4 regulate myxomatous
3,243 F30HL173955   5F30HL173955-02     UNIVERSITY OF PENNSYLVANIA      valve pathogenesis                                     PACE, JESSE             Awarded. Fellowships only   2024/04/01   2027/03/31    $107,948     $107,948      $53,974     $53,974

                                                                        Leveraging Digital Technologies to Advance
                                                                        Rehabilitation for Children with Unilateral Cerebral
3,244 F31HD118783   1F31HD118783-01     OHIO STATE UNIVERSITY           Palsy                                                  MAUS, ELIZABETH G       Awarded. Fellowships only   2025/05/01   2028/04/30     $47,015      $47,015           $0     $47,015

                                        MEDICAL UNIVERSITY OF SOUTH     Therapeutic potential of psilocybin on stress-cued
3,245 F31DA063346   1F31DA063346-01     CAROLINA                        reinstatement                                          FRANCIS, MEGAN JANE     Awarded. Fellowships only   2025/05/01   2028/04/30     $46,429      $46,429           $0     $46,429

                                        UNIVERSITY OF WISCONSIN-        Integrated Program in Endocrinology Translational                              Awarded. Non-fellowships
3,246 T32HD101384   5T32HD101384-05     MADISON                         Postdoctoral Training Program                          BIRD, IAN M             only                        2021/05/01   2026/04/30   $1,611,283   $1,611,283    $882,075    $361,676

                                                                                                                                                       Awarded. Non-fellowships
3,247 T32GM080202   3T32GM080202-15S1   MEDICAL COLLEGE OF WISCONSIN Medical Scientist Training Program                        SALZMAN, NITA H         only                        2010/07/01   2025/06/30   $3,118,418   $3,118,418   $2,902,669    $59,936

                                        UNIVERSITY OF ALABAMA AT
3,248 F32DE033235   5F32DE033235-02     BIRMINGHAM                      Multifunctional Roles of AgI/II Family Proteins        MIEHER, JOSHUA LEE      Awarded. Fellowships only   2023/08/01   2025/07/31    $161,284     $161,284     $134,250     $84,192

                                        BECKMAN RESEARCH                Impact of RNA splicing factor mutations on circular
3,249 F31CA261110   3F31CA261110-03S1   INSTITUTE/CITY OF HOPE          RNA biogenesis in leukemia                             FERNANDEZ, MIKE         Awarded. Fellowships only   2021/09/01   2025/08/31    $125,536     $125,536     $111,532     $32,784
                                                                          Functionally dissecting MECOM gene regulation in
3,250 F31CA287658   5F31CA287658-02     HARVARD MEDICAL SCHOOL            high-risk leukemia                                   FLEMING, TRAVIS J       Awarded. Fellowships only   2024/03/01   2027/02/28     $80,121      $80,121      $41,839     $36,918

                                                                          An investigation of how filopodia can be exploited
                                        MEDICAL UNIVERSITY OF SOUTH       by peptide carriers for enhanced uptake of RNAi      HOLJENCIN, CHARLES
3,251 F30DE032262   5F30DE032262-02     CAROLINA                          cargo for the treatment of HPV+ oral cancers.        EVERETT                 Awarded. Fellowships only   2023/07/01   2025/06/30    $113,768     $113,768      $89,182     $57,774
3,252 F31NS130993   3F31NS130993-02S1   EMORY UNIVERSITY                  Microglial Activity on Injured Motoneurons           POTTORF, TANA           Awarded. Fellowships only   2023/09/01   2026/08/31    $102,168     $102,168      $77,508       $500

                                                                          The impact of noise on temporal integration of
3,253 F32DC022145   3F32DC022145-01S1   UNIVERSITY OF ROCHESTER           speech in the human brain                            BOEBINGER, DANA         Awarded. Fellowships only   2024/11/04   2027/11/03     $77,284      $77,284      $21,532      $3,000

                                                                       The Effect of Pubertal Hormones on the
                                        UNIVERSITY OF NEBRASKA MEDICAL Development of Neural Oscillatory Dynamics in
3,254 F30MH130150   7F30MH130150-03     CENTER                         Youth                                                   KILLANIN, ABRAHAM       Awarded. Fellowships only   2024/09/13   2026/09/12    $138,212     $138,212      $81,040     $53,974

                                        COLUMBIA UNIVERSITY HEALTH        Targeting Purinergic Signaling to Block the Effects of
3,255 F30CA288006   5F30CA288006-02     SCIENCES                          Seizures on Glioma Progression                         PEREIRA, BRIANNA      Awarded. Fellowships only   2024/03/15   2028/03/14    $101,874     $101,874      $50,937     $50,937

                                        UNIV OF MASSACHUSETTS MED SCH Implementation of Medications for Opioid Use
3,256 F30DA058525   5F30DA058525-02     WORCESTER                     Disorder in Massachusetts Jails                          MICHENER, PRYCE         Awarded. Fellowships only   2024/01/01   2026/12/31     $69,343      $69,343      $42,487     $32,974

                                        UNIVERSITY OF MICHIGAN AT ANN     End-to-end Impedance Modeling Towards Task-
3,257 F32HD116414   1F32HD116414-01A1   ARBOR                             Invariant Control of Powered Prosthetic Legs         POSH, RYAN RICHARD      Awarded. Fellowships only   2025/04/01   2027/03/31     $73,828      $73,828           $0     $73,828

                                        UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
3,258 T32HL134615   5T32HL134615-08     PITTSBURGH                        Emergency Medicine Research Training                 CALLAWAY, CLIFTON W     only                        2017/02/01   2028/01/31    $816,230     $816,230     $309,651    $213,913

                                                                      Investigation of Cooking Aerosol Emissions and
                                        NEW YORK UNIVERSITY SCHOOL OF Health Effects due to Exposure in an Occupational
3,259 F31ES036104   1F31ES036104-01     MEDICINE                      Cohort                                                   SAPORITO, ANTONIO       Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $23,395     $48,974

                                                                        Efficacy of psychedelic drugs at reversing aberrant
3,260 F31DA060045   1F31DA060045-01     UNIVERSITY OF CALIFORNIA-IRVINE reward-seeking behavior                                LAWSON, KATE A          Awarded. Fellowships only   2024/07/01   2027/06/30     $44,850      $44,850      $37,794     $44,850

                                                                          Deciphering the cis-regulatory logic of circadian
                                                                          reprogramming in a mouse model of Alzheimers
3,261 F31AG076286   5F31AG076286-03     WASHINGTON UNIVERSITY             Disease                                              REISS, INDIA H          Awarded. Fellowships only   2022/06/01   2025/05/31    $101,222     $101,222      $89,760     $34,908

                                        GEORGIA INSTITUTE OF              Dissecting gene regulation of stem cell quiescence
3,262 F32GM150234   5F32GM150234-02     TECHNOLOGY                        in Ciona                                             GIGANTE, EDUARDO D      Awarded. Fellowships only   2023/07/01   2025/06/30    $151,756     $151,756     $127,946     $79,756

                                                                          Mechanisms of transgenerational epigenetic
3,263 F32ES034241   5F32ES034241-03     EMORY UNIVERSITY                  alterations induced by polybrominated biphenyls      RUIZ, DANIEL            Awarded. Fellowships only   2022/05/15   2025/05/14    $233,680     $233,680     $208,996     $81,306

                                        UNIVERSITY OF MIAMI SCHOOL OF     Prenatal Opioid Exposure and Inflammation: The
3,264 F31DA053795   5F31DA053795-03     MEDICINE                          Role of the Microbiome and Epigenome.                ABU, YAA                Awarded. Fellowships only   2022/06/01   2026/05/31    $158,420     $158,420     $150,218     $53,974

                                        CINCINNATI CHILDRENS HOSP MED Pediatric Gastroenterology and Nutrition Training                              Awarded. Non-fellowships
3,265 T32DK007727   5T32DK007727-30     CTR                           Grant                                                    DENSON, LEE ARMISTEAD only                          1995/01/01   2025/06/30   $2,319,273   $2,319,273   $2,399,419   $512,817

                                        UNIVERSITY OF CALIFORNIA, SAN     Elucidating the role of context-specificity in       KLEINMAN, JORDAN
3,266 F31AI181568   1F31AI181568-01     FRANCISCO                         oxazolidinone mechanism of action                    ISABELLE                Awarded. Fellowships only   2024/09/01   2026/08/31     $45,909      $45,909      $29,934     $45,909

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                  Awarded. Non-fellowships
3,267 T32DA007281   5T32DA007281-28     ARBOR                             NIDA Training Program in Neuroscience                FLAGEL, SHELLY BETH     only                        1995/06/15   2027/06/30   $1,089,929   $1,089,929    $743,752    $278,460

                                                                          Comparative Biomedical Research Training for                                 Awarded. Non-fellowships
3,268 T32OD011083   5T32OD011083-15     TEXAS A&M AGRILIFE RESEARCH       Veterinarians                                        MULENGA, ALBERT         only                        2010/07/07   2026/05/31   $1,717,986   $1,717,986   $1,639,019   $229,291

                                                                          Redox Regulation of Host Ribosomal Proteins during RAMANATHAN, RENUKA
3,269 F31AI176757   1F31AI176757-01A1   YALE UNIVERSITY                   Helicobacter pylori infection                      GANESH                    Awarded. Fellowships only   2024/09/01   2026/12/31     $48,116      $48,116      $17,740     $48,116

                                                                          Investigating splicing-derived antigens in the       MATHEY-ANDREWS,
3,270 F30CA278495   5F30CA278495-02     HARVARD MEDICAL SCHOOL            context of Rbm10-mutant lung adenocarcinoma          NICOLAS                 Awarded. Fellowships only   2023/09/01   2027/08/31    $106,668     $106,668      $97,260     $53,974

                                                                          Elucidating the Function of the Periplasmic Domain
3,271 F31AI181426   1F31AI181426-01     HARVARD MEDICAL SCHOOL            of Shape-Determining E. coli Protein RodZ            SUAREZ, KATHERINE AIMEE Awarded. Fellowships only   2024/09/30   2026/09/29     $36,983      $36,983      $24,896     $36,983

                                        UNIVERSITY OF CALIFORNIA LOS      Dissecting the Role of Peroxisomal PEX Family
3,272 F31DK138752   1F31DK138752-01     ANGELES                           Proteins in Hepatic Bile Acid and Lipid Metabolism   SMITH, EMILY ANN        Awarded. Fellowships only   2024/07/01   2027/06/30     $44,129      $44,129      $21,092     $44,129
3,273 F30CA287917   1F30CA287917-01     GEORGETOWN UNIVERSITY             Molecular mechanism of INAFM2 in metastasis            MOLOTKOVA, ANNA        Awarded. Fellowships only   2024/09/01   2028/08/31     $36,274      $36,274           $0     $36,274

                                                                                                                                                        Awarded. Non-fellowships
3,274 T32GM065085   5T32GM065085-20     RHODE ISLAND HOSPITAL             Trauma and Inflammation Research Training              AYALA, ALFRED          only                        2002/04/01   2025/06/30    $743,820     $743,820     $685,796    $139,406

                                                                          University of Washington Medical Scientist Training                           Awarded. Non-fellowships
3,275 T32GM153182   1T32GM153182-01     UNIVERSITY OF WASHINGTON          Program                                                HORWITZ, MARSHALL S    only                        2024/07/01   2029/06/30   $1,798,078   $1,798,078    $872,239 $1,798,078

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
3,276 T32AI007469   5T32AI007469-30     DIEGO                             Training in Molecular and Cell Biology of Allergy      BROIDE, DAVID H        only                        1994/09/30   2025/06/30   $1,345,999   $1,345,999    $944,463    $174,523

                                                                                                                                 DOMBROWSKI, JULIA      Awarded. Non-fellowships
3,277 T32AI007140   5T32AI007140-47     UNIVERSITY OF WASHINGTON          STD and AIDS Research Training Grant                   COOK                   only                        1988/07/01   2028/06/30   $2,116,635   $2,116,635   $1,294,180   $732,381

                                                                         Analyzing the function and antibody-mediated
                                        UNIVERSITY OF TEXAS HLTH SCIENCE inhibition of the malaria vaccine candidate
3,278 F30AI176697   1F30AI176697-01A1   CENTER                           PF3D7_1136200                                           GARZA, ROLANDO         Awarded. Fellowships only   2024/08/01   2027/07/31     $41,511      $41,511      $18,670     $41,511

                                        UT SOUTHWESTERN MEDICAL           TRAINING PROGRAM IN LUNG BIOLOGY AND                                          Awarded. Non-fellowships
3,279 T32HL098040   5T32HL098040-15     CENTER                            DISEASE                                                TERADA, LANCE S        only                        2009/09/01   2026/03/31   $1,297,979   $1,297,979   $1,284,497        $1

                                        BOSTON UNIVERSITY MEDICAL         Impact of Biological, Clinical, and Social                                    Awarded. Non-fellowships
3,280 T32GM086308   5T32GM086308-13     CAMPUS                            Determinants on Trauma and Trauma Outcomes             KENZIK, KELLY          only                        2010/07/01   2027/06/30    $793,273     $793,273     $537,421    $277,890

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
3,281 T32GM142516   5T32GM142516-03     FRANCISCO                         Pharmaceutical Sciences and Pharmacogenomics GUO, SU                          only                        2022/07/01   2027/06/30   $1,467,356   $1,467,356   $1,247,747   $505,059

                                                                          Investigating mechanisms of pathogenesis and
                                                                          treatment response in immune checkpoint inhibitor
3,282 F32CA288138   1F32CA288138-01     YALE UNIVERSITY                   induced colitis                                        MANN, JACQUELINE       Awarded. Fellowships only   2024/08/01   2025/07/31     $81,256      $42,878      $39,631     $81,256

                                                                          Northwestern University Mental Health, Earlier:
                                                                          Transdiagnostic, Transdisciplinary, Translational
                                        NORTHWESTERN UNIVERSITY AT        Training Program in Neurodevelopmental                 SHANKMAN, STEWART      Awarded. Non-fellowships
3,283 T32MH126368   5T32MH126368-04     CHICAGO                           Mechanisms of Psychopathology                          AARON                  only                        2021/07/01   2026/06/30   $1,120,797   $1,120,797    $883,977    $240,889

                                        UNIVERSITY OF MARYLAND                                                                                          Awarded. Non-fellowships
3,284 T32MH067533   5T32MH067533-19     BALTIMORE                         Multidisciplinary Schizophrenia Research Training      ELMER, GREGORY I       only                        2004/07/01   2026/06/30    $400,048     $400,048     $537,684    $227,617
3,285 F30MH126548   5F30MH126548-04     WASHINGTON UNIVERSITY             Hippocampal circuit mechanisms of neurosteroids        LAMBERT, PETER MICHAEL Awarded. Fellowships only   2021/06/01   2025/05/31    $171,324     $171,324     $136,015     $53,974

                                                                          Predoctoral Training in Cross-disciplinary Molecular                          Awarded. Non-fellowships
3,286 T32GM139798   5T32GM139798-04     BRANDEIS UNIVERSITY               and Cellular Biology                                   GARRITY, PAUL          only                        2021/07/01   2026/06/30   $2,212,884   $2,212,884   $1,965,628   $659,231

                                                                          Deciphering Inflammatory Regulation of Oral
                                        UNIVERSITY OF CALIFORNIA, SAN     Epithelial Progenitor Cells During Oral Mucosal
3,287 F30DE029987   5F30DE029987-05     FRANCISCO                         Regeneration                                           COOK, JESSICA          Awarded. Fellowships only   2020/06/20   2025/06/19    $263,976     $263,976     $220,848     $54,774

                                                                          Training in Advanced Data Analytics to End Drug-                              Awarded. Non-fellowships
3,288 T32DA050552   5T32DA050552-05     EMORY UNIVERSITY                  Related Harms (TADA)                                   COOPER, HANNAH LF      only                        2020/07/01   2025/06/30   $1,225,948   $1,225,948    $864,033    $278,460

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Identifying a Critical Gatekeeper for DNA Virus
3,289 F31AI181573   1F31AI181573-01     CENTER                           Restriction                                             AUERBACH, ASHLEY A     Awarded. Fellowships only   2024/08/01   2026/07/31     $38,494      $38,494      $18,766     $38,494

                                                                                                                                                        Awarded. Non-fellowships
3,290 T32HL007609   5T32HL007609-36     BRIGHAM AND WOMEN'S HOSPITAL Training Program in Hypertension                            ADLER, GAIL KURR       only                        1991/07/01   2025/06/30   $2,744,934   $2,744,934   $3,235,538   $285,897

                                        UNIVERSITY OF PITTSBURGH AT                                                                                     Awarded. Non-fellowships
3,291 T32MH119168   5T32MH119168-05     PITTSBURGH                        Bioengineering in Psychiatry Training Program          IBRAHIM, TAMER S       only                        2019/07/01   2025/06/30   $1,124,418   $1,124,418    $997,494    $246,399

                                                                          CTSA Postdoctoral T32 at The Scripps Research                                 Awarded. Non-fellowships
3,292 T32TR004396   1T32TR004396-01A1   SCRIPPS RESEARCH INSTITUTE, THE   Institute                                              LAMIA, KATJA A         only                        2024/08/05   2029/07/31    $256,717     $256,717     $122,662    $256,717

                                        UNIVERSITY OF PITTSBURGH AT                                                                                     Awarded. Non-fellowships
3,293 T32NS086749   5T32NS086749-10     PITTSBURGH                        Training in the Neurobiology of Neurological Disease STRICK, PETER            only                        2014/07/01   2025/05/31   $2,119,892   $2,119,892   $1,954,579   $477,455

                                                                                                                                                        Awarded. Non-fellowships
3,294 T32AI074491   5T32AI074491-15     NATIONAL JEWISH HEALTH            Molecular Mechanisms of Immune Tolerance               PELANDA, ROBERTA       only                        2009/08/01   2025/06/30   $1,843,375   $1,843,375   $1,643,328   $394,085

                                                                                                                                 CHOUDHRY, MASHKOOR Awarded. Non-fellowships
3,295 T32GM008750   5T32GM008750-23     LOYOLA UNIVERSITY CHICAGO         Training in burn and trauma research                   A                  only                            2000/07/01   2025/06/30    $397,604     $397,604     $382,851    $157,901
                                                                                                                                                            Awarded. Non-fellowships
3,296 T32DK060445   5T32DK060445-20     BAYLOR COLLEGE OF MEDICINE       Hematology Training Program                                 GOODELL, MARGARET A    only                        2002/09/30   2025/06/30   $2,094,732   $2,094,732   $2,385,078   $491,024

                                                                        Medical Scientist Training Program at Case Western                                  Awarded. Non-fellowships
3,297 T32GM152319   1T32GM152319-01     CASE WESTERN RESERVE UNIVERSITY Reserve University                                 HUANG, ALEX YEE-CHEN             only                        2024/07/01   2029/06/30   $1,738,142   $1,738,142   $1,535,409 $1,678,206

                                        UNIV OF NORTH CAROLINA                                                                                            Awarded. Non-fellowships
3,298 T32GM152316   1T32GM152316-01     CHAPEL HILL                      UNC Medical Scientist Training Program                      DESHMUKH, MOHANISH P only                          2024/07/01   2029/06/30   $1,378,526   $1,378,526   $1,257,348 $1,258,654

                                                                     Clinical Orthopaedic and Musculoskeletal                                               Awarded. Non-fellowships
3,299 T32AR055885   5T32AR055885-15     BRIGHAM AND WOMEN'S HOSPITAL Education and Training Program (COMET)                          KATZ, JEFFREY NEIL     only                        2008/07/01   2025/06/30   $1,249,257   $1,249,257   $1,135,939   $303,804

                                                                         Understanding Health and Disease at the                                            Awarded. Non-fellowships
3,300 T32GM149386   1T32GM149386-01     UNIVERSITY OF IOWA               Behavioral-Biomedical Interface                             LUTGENDORF, SUSAN K    only                        2024/07/01   2029/06/30    $233,575     $233,575     $171,462    $233,575

                                                                                                                                                            Awarded. Non-fellowships
3,301 T32GM007250   5T32GM007250-48     CASE WESTERN RESERVE UNIVERSITY Medical Scientist Training Program                           HUANG, ALEX YEE-CHEN   only                        1975/07/01   2025/06/30   $8,121,207   $8,121,207   $8,033,790 $1,673,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                ROBERTS, MICHAEL       Awarded. Non-fellowships
3,302 T32DC000011   5T32DC000011-45     ARBOR                            Sensory Mechanisms and Disorders                            THOMAS                 only                        1983/07/01   2025/06/30   $1,925,240   $1,925,240   $2,112,160   $343,150

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                       Awarded. Non-fellowships
3,303 T32GM135094   5T32GM135094-04     CENTER                           Interdisciplinary Training in Injury and Critical Illness   PATEL, MAYUR B         only                        2021/07/01   2026/06/30    $743,352     $743,352     $536,860    $223,134

                                        UNIVERSITY OF CALIFORNIA, SAN    Substance Use Disorders Treatment/Services                                         Awarded. Non-fellowships
3,304 T32DA007250   2T32DA007250-31     FRANCISCO                        Research Training Program                                   SATRE, DEREK D         only                        1991/09/30   2029/06/30    $445,350     $445,350     $244,372    $445,350

                                        SLOAN-KETTERING INST CAN                                                                                            Awarded. Non-fellowships
3,305 T32CA009501   5T32CA009501-35     RESEARCH                         Surgical Oncology Research Training Grant                   MEHRARA, BABAK J       only                        1984/09/01   2025/07/31   $2,362,362   $2,362,362   $2,083,351   $509,307

                                        UNIVERSITY OF ALABAMA AT                                                                                            Awarded. Non-fellowships
3,306 T32DK062710   5T32DK062710-19     BIRMINGHAM                       UAB Obesity Training Program                                GARVEY, W TIMOTHY      only                        2004/07/01   2026/05/31   $1,433,058   $1,433,058    $940,229    $417,702

                                        NORTHWESTERN UNIVERSITY AT       Multidisciplinary Training Program in Digital Mental                               Awarded. Non-fellowships
3,307 T32MH115882   5T32MH115882-07     CHICAGO                          Health                                                      MOHR, DAVID CURTIS     only                        2018/07/01   2028/06/30    $579,578     $579,578     $363,404    $278,129

                                                                                                                                                            Awarded. Non-fellowships
3,308 T32CA236736   5T32CA236736-05     THOMAS JEFFERSON UNIVERSITY      Training Program in Cancer Biology                          LANGUINO, LUCIA R      only                        2019/09/19   2025/08/31   $1,139,306   $1,139,306   $1,028,858   $142,401

                                                                         Building Research across Interdisciplinary Gaps             BOOTH-LAFORCE,         Awarded. Non-fellowships
3,309 T90AT008544   5T90AT008544-10     UNIVERSITY OF WASHINGTON         (BRIDG) T90/R90 Training Program                            CATHRYN                only                        2015/05/01   2026/03/31   $1,778,167   $1,778,167   $1,897,690        $1

                                        BECKMAN RESEARCH                 Impact of RNA splicing factor mutations on circular
3,310 F31CA261110   5F31CA261110-03     INSTITUTE/CITY OF HOPE           RNA biogenesis in leukemia                                  FERNANDEZ, MIKE        Awarded. Fellowships only   2021/09/01   2025/08/31    $125,536     $125,536     $111,532     $31,784

                                        NORTHWESTERN UNIVERSITY AT       Uncovering Mechanisms of Risk-Variant APOL1-
3,311 F31DK131884   1F31DK131884-01A1   CHICAGO                          modulated Inflammatory Signaling in Macrophages LIU, ESTHER                        Awarded. Fellowships only   2024/06/01   2026/05/31     $44,187      $44,187      $34,969     $44,187

                                                                         Chemistry-Biology Interface Predoctoral Training            GRIMES, CATHERINE      Awarded. Non-fellowships
3,312 T32GM133395   2T32GM133395-06     UNIVERSITY OF DELAWARE           Grant 2024-2029                                             LEIMKUHLER             only                        2019/07/01   2029/06/30    $508,169     $508,169     $264,340    $508,169

                                                                                                                                                            Awarded. Non-fellowships
3,313 T32AI083196   5T32AI083196-15     UNIVERSITY OF MINNESOTA          Minnesota Training Program in Virology                      MANSKY, LOUIS M        only                        2010/07/01   2025/06/30   $1,148,543   $1,148,543    $942,679    $224,816

                                        MEDICAL UNIVERSITY OF SOUTH                                                                  FEGHALI-BOSTWICK,      Awarded. Non-fellowships
3,314 TL1TR001451   5TL1TR001451-10     CAROLINA                         NRSA Training Core                                          CAROL A                only                        2015/08/13   2026/03/31   $2,184,907   $2,184,907   $2,074,568   $463,860

                                                                                                                                     SIEGEL, DONALD         Awarded. Non-fellowships
3,315 T32HL007775   5T32HL007775-30     UNIVERSITY OF PENNSYLVANIA       Transfusion Medicine Research Training Program              LAWRENCE               only                        1993/07/01   2025/06/30    $720,141     $720,141     $626,331         $1

                                        WESTERN UNIVERSITY OF HEALTH     Diverse & Equitable Student Inclusion in Research for                              Awarded. Non-fellowships
3,316 T35AI170483   1T35AI170483-01A1   SCIENCES                         future VETerinarians (DESIRe-Vet)                     DRECHSLER, YVONNE            only                        2023/06/15   2029/05/31    $176,548     $176,548     $108,126    $176,548

                                                                                                                                                            Awarded. Non-fellowships
3,317 T32GM152798   1T32GM152798-01     MICHIGAN STATE UNIVERSITY        Plant Biotechnology for Health and Sustainability           LAST, ROBERT LOUIS     only                        2024/07/01   2029/06/30    $329,616     $329,616     $152,226    $329,616

                                        UNIVERSITY OF ILLINOIS AT        Alcohol Research Training in epigenetics and                                       Awarded. Non-fellowships
3,318 T32AA026577   5T32AA026577-05     CHICAGO                          pathophysiology (ARTEP)                                     PANDEY, SUBHASH C      only                        2019/07/01   2025/06/30   $1,796,786   $1,796,786   $1,440,189   $339,343

                                        MASSACHUSETTS GENERAL            Research Training in Global Non-Communicable                HABERER, JESSICA       Awarded. Non-fellowships
3,319 T32HL166133   5T32HL166133-02     HOSPITAL                         Diseases                                                    ELIZABETH              only                        2023/07/01   2028/06/30    $659,583     $659,583     $319,607    $450,155
                                        UNIVERSITY OF PITTSBURGH AT      Bridging the gap of endogenous nitro-conjugated
3,320 F31HL172595   1F31HL172595-01     PITTSBURGH                       linoleic acid formation and signaling                COLUSSI, NICOLE          Awarded. Fellowships only   2024/06/01   2026/02/28     $48,974      $48,974      $35,352     $48,974

                                        UNIVERSITY OF TEXAS MED BR                                                             CUNNINGHAM, KATHRYN Awarded. Non-fellowships
3,321 T32DA007287   5T32DA007287-27     GALVESTON                        Translational Explorations in Substance Use Disorders A                   only                            1994/09/01   2028/06/30    $534,597     $534,597     $281,562    $275,042

                                        UNIVERSITY OF CALIFORNIA, SAN    Summer Institute on Integrative Health Equity and                             Awarded. Non-fellowships
3,322 T35AT010592   5T35AT010592-05     FRANCISCO                        Applied Research (IHEAR)                             CHAO, MARIA T            only                        2020/02/01   2026/01/31    $473,090     $473,090     $396,406     $81,997

                                        UNIVERSITY OF MARYLAND           Research Training in Gastroenterology and                                     Awarded. Non-fellowships
3,323 T32DK067872   5T32DK067872-20     BALTIMORE                        Hepatology                                           RAUFMAN, JEAN-PIERRE     only                        2005/07/01   2025/06/30   $2,261,626   $2,261,626   $2,095,632   $502,698

                                        NORTHWESTERN UNIVERSITY AT       Northwestern University Allergy and Immunology       EISENBARTH, STEPHANIE    Awarded. Non-fellowships
3,324 T32AI083216   5T32AI083216-15     CHICAGO                          Research (NUAIR) Program                             CAROLINE                 only                        2010/08/15   2025/07/31   $1,304,718   $1,304,718   $1,221,389   $171,641

                                        UNIVERSITY OF CALIFORNIA LOS                                                                                   Awarded. Non-fellowships
3,325 TL1DK132768   5TL1DK132768-04     ANGELES                          Training Core                                        NEMETH, ELIZABETA        only                        2021/09/15   2026/05/31   $2,304,666   $2,304,666   $1,433,349   $631,470

                                        COLUMBIA UNIVERSITY HEALTH       Research Training Program in Psychiatric             KEYES, KATHERINE         Awarded. Non-fellowships
3,326 T32MH013043   5T32MH013043-53     SCIENCES                         Epidemiology                                         MARGARET                 only                        1972/07/01   2027/06/30   $1,282,632   $1,282,632   $1,170,964   $432,394

                                                                         Exercised-induced modulation of insular cortex       ADANK, DANIELLE
3,327 F31AA030901   5F31AA030901-02     VANDERBILT UNIVERSITY            microcircuitry during alcohol abstinence             NICOLE                   Awarded. Fellowships only   2023/06/01   2026/05/31     $67,290      $67,290      $61,581     $34,285

                                        FLORIDA INTERNATIONAL                                                                                          Awarded. Non-fellowships
3,328 T34GM154122   1T34GM154122-01     UNIVERSITY                       MARC U'STAR at Florida International University      MILLS, DEETTA K          only                        2024/06/01   2029/05/31    $249,210     $249,210      $51,686    $249,210

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                    Awarded. Non-fellowships
3,329 TL1TR004420   5TL1TR004420-03     MOUNT SINAI                      J: NRSA Training Core                                GABRILOVE, JANICE L      only                        2022/07/10   2027/06/30   $2,342,410   $2,342,410   $1,763,327   $793,955

                                                                         Yale Cancer Center Advanced Training Program for                              Awarded. Non-fellowships
3,330 T32CA233414   2T32CA233414-06     YALE UNIVERSITY                  Physician-Scientists (YCC-ATPP)                  HERBST, ROY S                only                        2019/08/01   2029/07/31    $489,880     $489,880     $164,496    $489,880

                                        STATE UNIVERSITY NEW YORK STONY                                                                                Awarded. Non-fellowships
3,331 T32GM144304   5T32GM144304-03     BROOK                           Training Program in Pharmacological Sciences          COLOGNATO, HOLLY A       only                        2022/07/01   2027/06/30   $1,178,204   $1,178,204    $903,788    $405,487

                                        UNIVERSITY OF CALIFORNIA, SAN    Filling a Void of Research (FAVOR) Training for                               Awarded. Non-fellowships
3,332 T32AI125222   5T32AI125222-09     FRANCISCO                        Transplant Surgeons                                  STOCK, PETER G           only                        2016/08/01   2026/07/31   $1,306,689   $1,306,689    $954,326    $331,894

                                        PENNSYLVANIA STATE UNIVERSITY,   Determining pathways from food insecurity to
3,333 F32HD110175   5F32HD110175-02     THE                              parent and child well-being                          HINES, CAITLIN TALLENT   Awarded. Fellowships only   2023/09/01   2026/08/31    $147,512     $147,512      $94,817     $76,328

                                                                                                                                                       Awarded. Non-fellowships
3,334 T32AI155391   5T32AI155391-04     BOSTON CHILDREN'S HOSPITAL       Pediatric Infectious Diseases Research Training      KIM, DENNIS H            only                        2021/08/01   2026/07/31   $1,051,128   $1,051,128    $910,799    $245,620

                                        UNIVERSITY OF WISCONSIN-         Training Program in Translational Cardiovascular                              Awarded. Non-fellowships
3,335 T32HL007936   5T32HL007936-24     MADISON                          Science                                              ROBERTSON, GAIL A        only                        2001/09/17   2026/08/31   $2,148,566   $2,148,566   $1,721,556   $545,606

                                        UNIVERSITY OF CONNECTICUT        Training in the Cognitive Neuroscience of                                     Awarded. Non-fellowships
3,336 T32DC017703   2T32DC017703-06     STORRS                           Communication                                        MYERS, EMILY B           only                        2019/07/01   2029/06/30    $249,572     $249,572     $157,994    $249,572

                                                                                                                                                       Awarded. Non-fellowships
3,337 T32DK007740   5T32DK007740-28     UNIVERSITY OF PENNSYLVANIA       Clinical Epidemiology Training in Gastroenterology   LEWIS, JAMES D           only                        1997/02/01   2027/06/30   $1,252,547   $1,252,547   $1,188,225   $389,273

                                        COLUMBIA UNIVERSITY HEALTH       Research Training in Mood and Anxiety Disorders:     LEONARDO, EDUARDO        Awarded. Non-fellowships
3,338 T32MH015144   2T32MH015144-47     SCIENCES                         From Animal Models to Patients                       DAVID                    only                        1978/07/01   2029/06/30    $363,642     $363,642     $285,679    $363,642

                                                                                                                                                       Awarded. Non-fellowships
3,339 T32MH065214   2T32MH065214-21A1   PRINCETON UNIVERSITY             NRSA Training Grant in Quantitative Neuroscience     NORMAN, KENNETH A        only                        2002/07/01   2029/07/31    $491,130     $491,130     $296,197    $491,130

                                                                         Defining the cell-type specific control of alcohol
3,340 F31AA030916   5F31AA030916-02     VANDERBILT UNIVERSITY            drinking                                             YOON, HYE JEAN           Awarded. Fellowships only   2023/06/01   2027/05/31     $81,979      $81,979      $47,694     $34,285

                                                                                                                                                       Awarded. Non-fellowships
3,341 T32GM141830   5T32GM141830-04     UNIVERSITY OF ARIZONA            Interdisciplinary Training of Future Physician Scientists VANDERAH, TODD W    only                        2021/07/01   2026/06/30    $683,483     $683,483     $622,296    $179,808

                                                                         Low-cost integrated nucleic acid amplification
                                                                         testing platform for cervical cancer screening in low-
3,342 F30CA281115   5F30CA281115-02     RICE UNIVERSITY                  and middle-income countries                            MAKER, YAJUR NAMAN     Awarded. Fellowships only   2023/06/01   2026/08/31    $105,782     $105,782      $72,936     $53,088

                                        UNIVERSITY OF CALIFORNIA         Graduate Research Training in Alcohol Problems:                               Awarded. Non-fellowships
3,343 T32AA007240   5T32AA007240-45     BERKELEY                         Alcohol-Related Disparities                          KERR, WILLIAM C          only                        1978/07/01   2027/05/31    $937,432     $937,432     $558,124    $280,582
                                                                          Neuron-astrocyte interactions mediating ethanol
                                                                          and noradrenergic modulation of wake-promoting
3,344 F30AA029599   5F30AA029599-03   VANDERBILT UNIVERSITY               vPAG dopamine neurons                                  PETERSEN, NICHOLAS    Awarded. Fellowships only   2022/07/01   2026/06/30    $118,887     $118,887     $111,831     $53,931

                                                                          Research in practice: translating infectious disease                         Awarded. Non-fellowships
3,345 T32AI165369   5T32AI165369-03   JOHNS HOPKINS UNIVERSITY            epidemiology RIP-TIDE                                  MOSS, WILLIAM J       only                        2022/07/01   2027/06/30    $916,666     $916,666     $652,300    $331,613

                                                                          RESEARCH IN HUMAN COMMUNICATION AND ITS                                      Awarded. Non-fellowships
3,346 T32DC000013   5T32DC000013-45   FATHER FLANAGAN'S BOYS' HOME        DISORDERS                                              CHATTERJEE, MONITA    only                        1980/07/01   2025/06/30   $1,066,065   $1,066,065   $1,068,954    $50,169

                                      SALK INSTITUTE FOR BIOLOGICAL       Quantitative Neuroscience Spanning Molecules,                                Awarded. Non-fellowships
3,347 T32NS136094   1T32NS136094-01   STUDIES                             Cells, Circuits, and Behavior                          PFAFF, SAMUEL L       only                        2024/07/01   2029/06/30    $291,843     $291,843     $152,421    $291,843

                                      UNIVERSITY OF CALIFORNIA LOS        Engineering detours around the biologic barriers to
3,348 F30CA278297   5F30CA278297-02   ANGELES                             allogeneic, iPSC-derived CAR T immunotherapy           YOO, SANG PIL         Awarded. Fellowships only   2023/07/01   2027/06/30     $86,312      $86,312      $83,942     $43,796

                                                                                                                                                       Awarded. Non-fellowships
3,349 T32AI055428   5T32AI055428-19   UNIVERSITY OF PENNSYLVANIA          Immune System Development and Regulation               ALLMAN, DAVID M       only                        2003/06/01   2026/08/31    $829,488     $829,488     $733,801    $212,886

                                      UNIVERSITY OF ALABAMA AT            UAB-HudsonAlpha Genomic Medicine Training                                    Awarded. Non-fellowships
3,350 T32HG008961   5T32HG008961-09   BIRMINGHAM                          Program                                                LIMDI, NITA A         only                        2016/06/01   2026/05/31    $777,433     $777,433     $951,905     $86,906

                                      UNIVERSITY OF TEXAS HLTH SCI CTR Investigating the role of prefrontal cortex circuits in
3,351 F31DA055469   5F31DA055469-03   HOUSTON                          opioid-induced risk-taking behavior                       QUAVE, CANA           Awarded. Fellowships only   2022/07/01   2025/06/30    $105,911     $105,911      $94,271     $36,471

                                      RENSSELAER POLYTECHNIC              BIOMOLECULAR SCIENCE AND ENGINEERING                                         Awarded. Non-fellowships
3,352 T32GM141865   5T32GM141865-04   INSTITUTE                           TRAINING PROGRAM                                       VASHISHTH, DEEPAK     only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,445,837   $439,487

                                                                          Nanobodies for Dissecting the Structure and
3,353 F30CA275293   5F30CA275293-02   HARVARD MEDICAL SCHOOL              Function of Oligomeric BAX                             YU, ELLEN             Awarded. Fellowships only   2023/07/01   2027/06/30     $75,241      $75,241      $70,537     $35,118

                                      UNIVERSITY OF CALIFORNIA LOS        Postdoctoral Training in Global AIDS Prevention                              Awarded. Non-fellowships
3,354 T32MH080634   5T32MH080634-17   ANGELES                             Research                                               CLARK, JESSE LAWTON   only                        2007/07/04   2028/06/30    $791,256     $791,256     $316,847    $254,642

                                      BOSTON UNIVERSITY MEDICAL                                                                                      Awarded. Non-fellowships
3,355 T32AI007309   5T32AI007309-35   CAMPUS                              Research Training in Immunology                        GUMMULURU, SURYARAM only                          1988/09/15   2025/07/31   $1,400,936   $1,400,936   $1,298,461   $289,176

                                      NORTHWESTERN UNIVERSITY AT                                                                                       Awarded. Non-fellowships
3,356 TL1DK132769   5TL1DK132769-04   CHICAGO                             NRSA Training Core                                     ISAKOVA, TAMARA       only                        2021/09/15   2026/05/31   $2,718,895   $2,718,895   $1,757,599   $722,691

                                      UNIVERSITY OF CONNECTICUT SCH Regenerative Engineering of Musculoskeletal Tissues-                               Awarded. Non-fellowships
3,357 T32AR079114   5T32AR079114-04   OF MED/DNT                    a Convergence Doctoral Training Program              LAURENCIN, CATO T             only                        2021/07/01   2026/06/30    $953,007     $953,007     $858,435    $167,550

                                                                          Training Program for Innovative Engineering                                  Awarded. Non-fellowships
3,358 T32EB021937   5T32EB021937-09   VANDERBILT UNIVERSITY               Research in Surgery and Intervention                   MIGA, MICHAEL IAN     only                        2016/06/01   2026/05/31    $844,768     $844,768     $748,424    $191,833

                                                                                                                                                       Awarded. Non-fellowships
3,359 T32GM142617   5T32GM142617-03   EMORY UNIVERSITY                    Medical Scientist Training Program                     YUSTEIN, JASON        only                        2022/07/01   2027/06/30   $4,373,757   $4,373,757   $3,971,805 $1,318,590

                                                                          Interdisciplinary and Inclusive Predoctoral Training in                      Awarded. Non-fellowships
3,360 T32GM136566   5T32GM136566-05   BROWN UNIVERSITY                    Molecular, Cellular, and Biochemical Sciences           MOWRY, KIMBERLY L    only                        2020/07/01   2025/06/30   $2,215,602   $2,215,602   $1,867,889   $439,487

                                      VIRGINIA COMMONWEALTH               ResearchTraining: Psychiatric and Statistical          NEALE, MICHAEL        Awarded. Non-fellowships
3,361 T32MH020030   5T32MH020030-25   UNIVERSITY                          Genetics.                                              CHURTON               only                        1999/07/01   2025/06/30   $1,760,003   $1,760,003   $1,381,990   $301,636

                                                                          Cytoskeleton-mediated regulation of insulin
3,362 F31DK136344   5F31DK136344-02   VANDERBILT UNIVERSITY               secretion hot spots in pancreatic beta cells           FYE, MARGRET A        Awarded. Fellowships only   2023/06/01   2025/07/31     $67,220      $67,220      $62,257     $34,250

                                      UT SOUTHWESTERN MEDICAL             The Impact of B3GNT7 on Properties of Intestinal       BURNS, MARY WILTON
3,363 F30DK136209   5F30DK136209-02   CENTER                              Mucus and the Gut Microbiome                           NEWTON                Awarded. Fellowships only   2023/07/01   2025/06/30     $78,858      $78,858      $70,975     $40,242

                                      UNIVERSITY OF WISCONSIN-            UW Surgical Oncology Research Training Program                               Awarded. Non-fellowships
3,364 T32CA090217   5T32CA090217-24   MADISON                             (UW-SORT)                                              NEUMAN, HEATHER B     only                        2001/05/01   2026/05/31   $1,867,675   $1,867,675   $1,665,041   $469,876

                                      NORTH CAROLINA STATE                                                                                             Awarded. Non-fellowships
3,365 T32ES007329   5T32ES007329-22   UNIVERSITY RALEIGH                  Graduate Training in Bioinformatics                    WRIGHT, FRED A        only                        2000/07/01   2028/06/30    $468,231     $468,231     $353,893    $276,840

                                      PENNSYLVANIA STATE UNIVERSITY,      Research Training in Physiological Adaptations to                            Awarded. Non-fellowships
3,366 T32GM154124   1T32GM154124-01   THE                                 Stress                                                 KORZICK, DONNA HOPE   only                        2024/07/01   2029/06/30    $521,619     $521,619     $307,765    $521,619

                                                                      Dissecting Key Interactions of the HTT Transcription
3,367 F32NS136263   1F32NS136263-01   UNIVERSITY OF CALIFORNIA-IRVINE Coupled Repair Complex                                     PENDLEBURY, DEVON     Awarded. Fellowships only   2024/09/01   2027/01/31     $76,756      $76,756           $0     $76,756
                                                                                                                                                     Awarded. Non-fellowships
3,368 T32HL160517   5T32HL160517-03     RHODE ISLAND HOSPITAL            Cardiovascular Surgery Research Training            SELLKE, FRANK W         only                        2022/07/01   2027/06/30    $826,522     $826,522     $720,190    $344,271

                                                                         Research Methods in Pediatric Cardiovascular        PU, WILLIAM             Awarded. Non-fellowships
3,369 T32HL007572   5T32HL007572-40     BOSTON CHILDREN'S HOSPITAL       Disease                                             TSWENCHING              only                        1983/01/01   2026/06/30   $2,439,882   $2,439,882   $2,081,974   $575,656

                                        WEILL MEDICAL COLL OF CORNELL Inferring the structure and evolution of tandem
3,370 F30CA268747   5F30CA268747-03     UNIV                          duplication towers                                     CHOO, ZI-NING           Awarded. Fellowships only   2022/07/01   2026/06/30    $158,420     $158,420     $150,386     $53,974

                                        UNIVERSITY OF PITTSBURGH AT      Supportive, Multidisciplinary Addiction Research                            Awarded. Non-fellowships
3,371 T32DA057922   1T32DA057922-01A1   PITTSBURGH                       Training (SMART)                                    MCCLUNG, COLLEEN A      only                        2024/07/01   2029/06/30    $263,582     $263,582      $97,629    $263,582

                                                                                                                                                     Awarded. Non-fellowships
3,372 T32AG058527   2T32AG058527-06A1   JOHNS HOPKINS UNIVERSITY         Translational Aging Research Training Program       WALSTON, JEREMY D       only                        2018/05/01   2029/06/30    $616,763     $616,763     $282,488    $616,763

                                                                         Improving the Measurement of Brain-Behavior
3,373 F32DA055334   5F32DA055334-03     STANFORD UNIVERSITY              Associations in Adolescence                         DEMIDENKO, MICHAEL      Awarded. Fellowships only   2022/07/01   2025/06/30    $217,054     $217,054     $158,584     $76,384

                                                                                                                                                     Awarded. Non-fellowships
3,374 T34GM140958   5T34GM140958-03     COLORADO STATE UNIVERSITY        MARC at Colorado State University                   DEAN, GREGG A           only                        2022/06/01   2027/05/31    $947,865     $947,865     $881,624    $474,840

                                        UNIVERSITY OF CALIFORNIA, SAN    Combating Antibiotic Resistance Into the Next                               Awarded. Non-fellowships
3,375 T32AI007036   5T32AI007036-44     DIEGO                            Generation (CARING)                                 NIZET, VICTOR           only                        1976/07/01   2026/06/30   $2,807,116   $2,807,116   $2,069,996   $605,609

                                                                         Predoctoral Training Program in Chemistry and       PICCIRILLI, JOSEPH      Awarded. Non-fellowships
3,376 T32GM144290   5T32GM144290-03     UNIVERSITY OF CHICAGO            Biology                                             ANTHONY                 only                        2022/07/01   2027/06/30    $960,154     $960,154     $737,129    $329,616

                                                                        Medical Student Summer Research Program in                                   Awarded. Non-fellowships
3,377 T35AG086098   1T35AG086098-01     CASE WESTERN RESERVE UNIVERSITY Aging and Alzheimers disease (MSSRPA)                DAVIS, PAMELA B         only                        2024/06/01   2029/05/31     $91,055      $91,055      $81,229     $91,055

                                        UNIV OF NORTH CAROLINA           Neuroscience Predoctoral Training at UNC-Chapel                             Awarded. Non-fellowships
3,378 T32NS007431   2T32NS007431-26     CHAPEL HILL                      Hill                                                ZYLKA, MARK J           only                        1997/09/30   2029/06/30    $215,923     $215,923     $218,946    $215,923

                                        UNIVERSITY OF MICHIGAN AT ANN    Complexity: Innovations in Promoting Health         MCCULLAGH, MARJORIE Awarded. Non-fellowships
3,379 T32NR016914   5T32NR016914-08     ARBOR                            through Team Science                                E                   only                            2017/07/01   2027/06/30   $1,239,288   $1,239,288   $1,120,122   $600,235

                                        ICAHN SCHOOL OF MEDICINE AT      Training Program in Cancer Prevention and Control                           Awarded. Non-fellowships
3,380 T32CA225617   5T32CA225617-07     MOUNT SINAI                      for Priority Populations                          WISNIVESKY, JUAN P        only                        2018/09/21   2028/08/31    $643,765     $643,765     $355,960    $334,081

                                                                     Noninvasive Cardiovascular Imaging Research                                     Awarded. Non-fellowships
3,381 T32HL094301   5T32HL094301-15     BRIGHAM AND WOMEN'S HOSPITAL Training Program                                        DI CARLI, MARCELO F     only                        2010/07/01   2025/06/30   $2,785,758   $2,785,758   $2,761,587   $586,516

                                        UNIVERSITY OF MISSOURI-                                                                                      Awarded. Non-fellowships
3,382 T34GM136493   5T34GM136493-05     COLUMBIA                         MARC at the University of Missouri-Columbia         KING, ELIZABETH GRIEP   only                        2020/06/01   2026/05/31   $2,018,774   $2,018,774   $1,812,013   $190,096

                                                                                                                                                   Awarded. Non-fellowships
3,383 T32GM145449   5T32GM145449-03     DUKE UNIVERSITY                  Medical Scientist Training Program Training Grant   KONTOS, CHRISTOPHER D only                          2022/07/01   2027/06/30   $3,850,563   $3,850,563   $3,461,463 $1,318,590

                                                                         University Training Program in Biomolecular and                             Awarded. Non-fellowships
3,384 T32GM144291   5T32GM144291-03     DUKE UNIVERSITY                  Tissue Engineering                                  SEGURA, TATIANA         only                        2022/07/01   2027/06/30   $1,600,256   $1,600,256   $1,394,361   $549,359

                                                                         Chemistry-Biology Interface Training Program at the                         Awarded. Non-fellowships
3,385 T32GM136583   5T32GM136583-05     UNIVERSITY OF FLORIDA            University of Florida                               LI, CHENGLONG           only                        2020/07/01   2025/06/30    $847,068     $847,068     $740,389    $169,715

                                                                         Training Veterinarians for Careers in Biomedical                            Awarded. Non-fellowships
3,386 T32OD011089   5T32OD011089-48     JOHNS HOPKINS UNIVERSITY         Research                                            MANKOWSKI, JOSEPH L     only                        1977/07/01   2025/05/31   $1,960,954   $1,960,954   $2,324,859   $407,799

                                                                         Biological Mechanisms of Healthy Aging Training                             Awarded. Non-fellowships
3,387 T32AG066574   5T32AG066574-05     UNIVERSITY OF WASHINGTON         Grant                                               YOUNG, JESSICA ELAINE   only                        2020/05/01   2026/04/30   $3,685,219   $3,685,219   $3,180,050   $657,983

                                        UT SOUTHWESTERN MEDICAL                                                                                      Awarded. Non-fellowships
3,388 T32DK007307   5T32DK007307-43     CENTER                           ENDOCRINE & METABOLISM TRAINING GRANT               SCHERER, PHILIPP E      only                        1978/07/01   2028/06/30    $605,553     $605,553     $412,673    $352,157

                                                                         Vanderbilt Chemical Biology Interface Training                              Awarded. Non-fellowships
3,389 T32GM149371   5T32GM149371-02     VANDERBILT UNIVERSITY            Program                                             BACHMANN, BRIAN O       only                        2023/07/01   2028/06/30    $863,915     $863,915     $671,087    $439,487

                                                                         Clinical and Laboratory Research Training for                               Awarded. Non-fellowships
3,390 T32DK007713   5T32DK007713-28     JOHNS HOPKINS UNIVERSITY         Gastrointestinal Surgeons                           HACKAM, DAVID J         only                        1996/07/01   2027/06/30    $632,078     $632,078     $727,597    $209,859

                                                                         Calcium signaling in Calicivirus infection and      SCRIBANO, FRANCESCA
3,391 F31DK132942   5F31DK132942-03     BAYLOR COLLEGE OF MEDICINE       replication                                         JEAN                    Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $133,380     $48,974
                                                                                                                                                        Awarded. Non-fellowships
3,392 T32GM149387   5T32GM149387-02     UNIVERSITY OF OREGON              Graduate Training Grant in Genetics                    GUILLEMIN, KAREN J     only                        2023/07/01   2028/06/30    $818,652     $818,652     $724,409    $416,855

                                        WAKE FOREST UNIVERSITY HEALTH     Multidisciplinary Training in the Biology of Alcohol                          Awarded. Non-fellowships
3,393 T32AA007565   2T32AA007565-31     SCIENCES                          Addiction                                              MCCOOL, BRIAN A        only                        1994/07/01   2029/06/30    $548,880     $548,880     $354,194    $548,880

                                                                          The Chemistry-Biology Interface Program at Johns                              Awarded. Non-fellowships
3,394 T32GM149382   5T32GM149382-02     JOHNS HOPKINS UNIVERSITY          Hopkins University                                     ROKITA, STEVEN E       only                        2023/07/01   2028/06/30    $647,937     $647,937     $539,043    $329,616

                                        UNIVERSITY OF TEXAS HLTH SCIENCE Effects of a High Omega-6 Diet on Orofacial
3,395 F30DE031177   5F30DE031177-04     CENTER                           Allodynia                                               TRAM, MEILINN          Awarded. Fellowships only   2021/07/01   2025/06/30    $196,814     $196,814     $187,195     $54,774

                                                                          A New Paradigm to Treat Bleeding by Augmenting
3,396 F31HL158223   5F31HL158223-04     EMORY UNIVERSITY                  Hemostasis via Microscale Electrical Fields            VITAL, EUDORAH         Awarded. Fellowships only   2021/06/01   2025/05/31    $209,456     $209,456     $183,166     $53,974

                                                                                                                                                        Awarded. Non-fellowships
3,397 T34GM141986   5T34GM141986-04     UNIVERSITY OF HAWAII AT MANOA MARC at University of Hawaii at Manoa                      RIVERS, RACHEL         only                        2021/06/01   2026/05/31   $1,678,858   $1,678,858   $1,079,287   $459,458

                                        UNIVERSITY OF COLORADO            Interdisciplinary Bioengineering Research Training in                       Awarded. Non-fellowships
3,398 T32DK120520   5T32DK120520-05     DENVER                            Diabetes                                              BENNINGER, RICHARD KP only                          2020/07/01   2025/06/30    $840,868     $840,868     $611,804    $182,974

                                        UNIVERSITY OF ALABAMA AT                                                                                        Awarded. Non-fellowships
3,399 T32CA047888   2T32CA047888-34A1   BIRMINGHAM                        Cancer Prevention and Control Training Program         ANEJA, RITU            only                        2018/08/13   2029/06/30    $407,297     $407,297     $230,156    $407,297

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                   Awarded. Non-fellowships
3,400 T32AG062403   5T32AG062403-05     ARBOR                             Physician Scientist Training in Age-Related Diseases   MODY, LONA             only                        2020/05/01   2025/10/31   $2,501,721   $2,501,721   $1,860,127   $227,061

                                        UNIVERSITY OF NEBRASKA MEDICAL Targeting pyrimidine biosynthesis in pancreatic           MULLEN, NICHOLAS
3,401 F30CA265277   5F30CA265277-04     CENTER                         ductal adenocarcinoma                                     JAMES                  Awarded. Fellowships only   2021/07/12   2025/07/11    $180,660     $180,660     $160,217     $53,974

                                                                          The academic-community experience (ACE): A
                                                                          postdoctoral training fellowship in implementation                            Awarded. Non-fellowships
3,402 T32MH109433   5T32MH109433-08     UNIVERSITY OF PENNSYLVANIA        science to promote mental health                       MANDELL, DAVID S       only                        2017/07/01   2027/06/30    $790,084     $790,084     $606,737    $330,262

                                        UNIVERSITY OF CALIFORNIA                                                                                        Awarded. Non-fellowships
3,403 T32NS095939   5T32NS095939-09     BERKELEY                          Neuroscience Training Program at UC Berkeley           BATEUP, HELEN S        only                        2016/07/01   2026/06/30   $2,375,799   $2,375,799   $2,144,109   $600,668

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                   Awarded. Non-fellowships
3,404 T32EB001628   5T32EB001628-22     CENTER                            Postdoctoral Training in Biomedical MRI and MRS        GORE, JOHN C           only                        2003/09/30   2028/06/30    $378,692     $378,692     $512,036    $140,039

                                                                                                                                                     Awarded. Non-fellowships
3,405 T32EY007135   5T32EY007135-29     VANDERBILT UNIVERSITY             Training Grant in Vision Research                      WOODMAN, GEOFFREY F only                           1993/12/01   2026/07/31    $356,041     $356,041     $395,069     $79,265

                                                                                                                                                        Awarded. Non-fellowships
3,406 T32HL007604   5T32HL007604-40     BRIGHAM AND WOMEN'S HOSPITAL Training Grant in Cardiovascular Research                   LIBBY, PETER           only                        1985/07/01   2026/06/30   $4,489,024   $4,489,024   $4,280,104   $806,952

                                                                          MALT1 protease as a regulator of anti-tumor
                                        UNIVERSITY OF PITTSBURGH AT       immunity and tumor progression in diffuse midline
3,407 F30CA284607   5F30CA284607-02     PITTSBURGH                        glioma                                                 BUTTERFIELD, HANNAH    Awarded. Fellowships only   2023/07/01   2027/06/30    $106,668     $106,668      $33,707     $53,974

                                                                          Multiplexed Optogenetic Control of Mammalian
                                        BOSTON UNIVERSITY (CHARLES        Genome and Transcriptome using Recombinases
3,408 F31GM149163   5F31GM149163-02     RIVER CAMPUS)                     and Cas13                                              TOUS, CRISTINA         Awarded. Fellowships only   2023/07/01   2025/06/30     $79,582      $79,582      $57,356     $40,431

                                        UNIVERSITY OF CALIFORNIA, SAN     Function of NLRP3 in regulatory T cell-mediated
3,409 F31DK135162   5F31DK135162-02     DIEGO                             control of intestinal homeostasis                      PATKAR, RASIKA         Awarded. Fellowships only   2023/07/01   2025/06/30     $81,854      $81,854      $74,658     $41,567

                                        NORTHWESTERN UNIVERSITY AT                                                                                     Awarded. Non-fellowships
3,410 T32CA009560   5T32CA009560-38     CHICAGO                           Carcinogenesis Training Program                        GREEN, KATHLEEN JANEE only                         1986/08/01   2027/06/30    $988,253     $988,253     $828,023    $324,945

                                        UNIVERSITY OF KANSAS MEDICAL                                                                                    Awarded. Non-fellowships
3,411 TL1TR002368   5TL1TR002368-08     CENTER                            NRSA Training Core                                     SOSNOFF, JACOB J       only                        2017/09/07   2027/06/30   $1,182,123   $1,182,123   $1,128,953   $306,601

                                                                          Training Hematology and Oncology Fellows in            VERSCHRAEGEN, CLAIRE   Awarded. Non-fellowships
3,412 T32CA247815   5T32CA247815-05     OHIO STATE UNIVERSITY             Clinical Research                                      F                      only                        2020/07/01   2025/06/30    $861,527     $861,527     $714,431    $179,597

                                                                                                                                                        Awarded. Non-fellowships
3,413 T32HL007950   5T32HL007950-24     YALE UNIVERSITY                   Vascular Training Grant                                BENDER, JEFFREY R      only                        2000/09/30   2026/06/30   $1,875,679   $1,875,679   $1,458,355   $296,794

                                                                                                                                                        Awarded. Non-fellowships
3,414 T32GM142515   5T32GM142515-04     SAN FRANCISCO STATE UNIVERSITY SFSU/UCSF M.S. Bridges to the Doctorate Program           FUSE, MEGUMI M         only                        2021/08/04   2026/07/31   $4,515,889   $4,515,889   $3,707,034 $1,273,698
                                                                        Immune response and viral dynamics within the
                                      MASSACHUSETTS GENERAL             female genital tract during hyperacute and acute
3,415 F32AI172641   5F32AI172641-03   HOSPITAL                          HIV infection                                            READ, BENJAMIN JOSEPH Awarded. Fellowships only    2022/08/01   2025/07/31    $213,430     $213,430     $164,804     $76,756

                                                                        Alcohol use, physical activity, and
                                                                        neurophysiological indicators of behavioral
3,416 F31AA030715   5F31AA030715-02   RUTGERS, THE STATE UNIV OF N.J.   adaptability                                             UDE, ANDREW ANTONIO    Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $62,205     $48,974

                                                                        Dynamic multimodal connectivity analysis of brain
3,417 F31NS131056   5F31NS131056-02   VANDERBILT UNIVERSITY             networks in focal epilepsy                               DOSS, DEREK J          Awarded. Fellowships only   2023/07/01   2026/06/30     $69,472      $69,472      $57,564     $36,626

                                      CINCINNATI CHILDRENS HOSP MED Pulmonary Development and Disease Pathogenesis                                      Awarded. Non-fellowships
3,418 T32HL007752   5T32HL007752-30   CTR                           Training Program                               WHITSETT, JEFFREY A                  only                        1994/07/15   2025/06/30   $1,583,657   $1,583,657   $1,439,674   $230,990

                                                                                                                                                        Awarded. Non-fellowships
3,419 T32EB004311   5T32EB004311-20   UNIVERSITY OF PENNSYLVANIA        Research Track Radiology Residency                       MANKOFF, DAVID A       only                        2005/05/01   2025/06/30   $1,188,469   $1,188,469   $1,106,844   $262,962

                                                                        How Do Parents Experiences with Services Influence
                                      NORTHWESTERN UNIVERSITY AT        Their Childrens Service Use? A Longitudinal,
3,420 F31DA057811   5F31DA057811-02   CHICAGO                           Intergenerational Study of High-Risk Families      LUNA, MARÍA JOSÉ             Awarded. Fellowships only   2023/07/01   2025/06/30     $87,694      $87,694      $72,357     $44,487

                                      UNIVERSITY OF WISCONSIN-
3,421 F31AG081115   5F31AG081115-02   MADISON                           Dietary Interventions in Alzheimer’s Disease             BABYGIRIJA, REJI       Awarded. Fellowships only   2023/07/01   2026/06/30    $102,168     $102,168      $69,858     $51,974
3,422 F31AI178953   5F31AI178953-02   CASE WESTERN RESERVE UNIVERSITY Regulation of IgG Sialylation                              GLENDENNING, LEANDRE Awarded. Fellowships only     2023/08/01   2026/07/31     $83,868      $83,868      $72,823     $42,574

                                                                                                                                                        Awarded. Non-fellowships
3,423 T32AI007343   5T32AI007343-35   UNIVERSITY OF IOWA                Research Training in Infectious Diseases                 STAPLETON, JACK T      only                        1988/07/01   2025/08/31   $1,287,683   $1,287,683   $1,058,020   $295,686

                                                                                                                                 SMITH, DOUGLAS         Awarded. Non-fellowships
3,424 T32NS043126   5T32NS043126-22   UNIVERSITY OF PENNSYLVANIA        Brain Injury Training Grant                              HAMILTON               only                        2003/07/01   2028/06/30    $664,417     $664,417     $619,758    $309,457

                                                                                                                                                        Awarded. Non-fellowships
3,425 T32HL007227   5T32HL007227-49   JOHNS HOPKINS UNIVERSITY          Pathophysiology of Myocardial Disease                    POST, WENDY S          only                        1981/07/01   2026/06/30   $4,268,497   $4,268,497   $3,396,875 $1,120,228

                                                                        Critical Role of the Gut Microbiota in Prunes’
3,426 F30AT012416   5F30AT012416-02   MICHIGAN STATE UNIVERSITY         Prevention of Glucocorticoid Induced Osteoporosis CHARGO, NICHOLAS              Awarded. Fellowships only   2023/07/06   2028/07/05    $103,994     $103,994      $71,378     $52,637


                                      UNIV OF NORTH CAROLINA            Neural sensitivity to social feedback following
3,427 F32MH132259   5F32MH132259-02   CHAPEL HILL                       adversity: Implications for adolescent mental health DAVIS, MEGAN               Awarded. Fellowships only   2023/07/01   2026/06/30    $143,961     $143,961     $121,652     $74,284

                                                                        Dissecting the functional role of LINE1
                                      UT SOUTHWESTERN MEDICAL           retrotransposon-mediated interferon signaling in
3,428 F30CA275292   5F30CA275292-03   CENTER                            myeloid leukemia                                         LEE, MICHAEL           Awarded. Fellowships only   2022/07/18   2026/07/17    $128,975     $128,975     $118,628     $49,839

                                      UNIVERSITY OF CALIFORNIA, SAN     Chromatin modifier Polycomb Repressive Complex
3,429 F30DE032265   5F30DE032265-03   FRANCISCO                         2 as a regulator of dental epithelial progenitor cells   SUNG, DAVID            Awarded. Fellowships only   2022/07/15   2027/12/31    $145,297     $145,297     $131,118     $54,774

                                                                                                                                                       Awarded. Non-fellowships
3,430 T32GM136534   5T32GM136534-04   UNIVERSITY OF WASHINGTON          Training in Cellular & Molecular Biology                 OBERST, ANDREW ATWELL only                         2021/07/01   2026/06/30   $3,770,809   $3,770,809   $3,450,465   $997,478

                                                                                                                                                        Awarded. Non-fellowships
3,431 T32GM146694   5T32GM146694-03   TOWSON UNIVERSITY                 Bridges to the Doctorate at Towson University            EHRLICH, ELANA S       only                        2022/08/01   2027/07/31   $1,191,404   $1,191,404    $899,389    $408,303

                                                                                                                                                        Awarded. Non-fellowships
3,432 T32NS007224   5T32NS007224-39   YALE UNIVERSITY                   Neurobiology of Cortical Systems                         CARDIN, JESSICA A      only                        1983/07/01   2026/06/30    $787,815     $787,815     $726,295    $135,900

                                                                        TRAINING IN CANCER BIOLOGY AND                                                 Awarded. Non-fellowships
3,433 T32CA009515   5T32CA009515-40   UNIVERSITY OF WASHINGTON          TRANSPLANTATION                                          DAVIDSON, NANCY ELLEN only                         1985/07/01   2025/06/30   $3,597,680   $3,597,680   $3,410,524   $752,618

                                      UNIVERSITY OF ALABAMA AT                                                                                          Awarded. Non-fellowships
3,434 T32NS095775   5T32NS095775-08   BIRMINGHAM                        UAB Training Program in Neurodegeneration                ROBERSON, ERIK D       only                        2017/07/01   2027/06/30    $514,313     $514,313     $376,331     $91,472

                                                                        Cross-disciplinary training in translational                                    Awarded. Non-fellowships
3,435 T32AG076411   5T32AG076411-03   UNIVERSITY OF PENNSYLVANIA        neuroimaging of ADRD                                     MCMILLAN, COREY T      only                        2022/06/01   2027/05/31    $989,991     $989,991     $702,483    $343,266

                                                                        Characterizing the mechanistic basis for sex-
                                      UNIVERSITY OF CALIFORNIA, SAN     dimorphic responses to retinoic acid signaling in the
3,436 F31MH131366   5F31MH131366-02   FRANCISCO                         developing brain                                      HENNICK, KELSEY           Awarded. Fellowships only   2023/06/30   2025/06/29     $88,498      $88,498      $86,575     $44,889
                                      UNIVERSITY OF COLORADO            Development of Psychopathology, Psychobiology,                                Awarded. Non-fellowships
3,437 T32MH015442   5T32MH015442-46   DENVER                            & Behavior                                              TREGELLAS, JASON R    only                        1978/07/01   2027/06/30   $1,917,523   $1,917,523   $1,209,851   $536,079

                                                                        The Role of IRX3 Neurons in the Regulation of Body
3,438 F31DK137587   5F31DK137587-02   UNIVERSITY OF IOWA                Weight Homeostasis                                      SULLIVAN, ANDREW      Awarded. Fellowships only   2023/07/01   2026/06/30     $70,262      $70,262      $61,483     $35,771

                                      OREGON HEALTH & SCIENCE                                                                                         Awarded. Non-fellowships
3,439 T32AA007468   5T32AA007468-38   UNIVERSITY                        BIOLOGICAL BASES OF ALCOHOLISM                          RYABININ, ANDREY E    only                        1987/09/30   2027/06/30   $1,346,679   $1,346,679   $1,301,932   $459,153

                                                                      A Training Program for Interdisciplinary Cancer           FRUMAN, DAVID         Awarded. Non-fellowships
3,440 T32CA009054   5T32CA009054-44   UNIVERSITY OF CALIFORNIA-IRVINE Research                                                  ALEXANDER             only                        1980/07/01   2026/06/30   $1,585,681   $1,585,681   $1,323,933   $420,050

                                      BOSTON UNIVERSITY MEDICAL                                                                                       Awarded. Non-fellowships
3,441 T32NS131178   5T32NS131178-02   CAMPUS                            Graduate Program for Neuroscience                       RUSSEK, SHELLEY J     only                        2023/07/01   2028/06/30    $653,769     $653,769     $475,337    $332,532

                                      ICAHN SCHOOL OF MEDICINE AT       Gene Expression Profiling of Stress Resilient Mice      GYLES, TREVONN
3,442 F31MH133297   5F31MH133297-02   MOUNT SINAI                       within the Nucleus Accumbens                            MICHAEL               Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $72,493     $48,974

                                      NORTHWESTERN UNIVERSITY AT                                                                                      Awarded. Non-fellowships
3,443 T32CA070085   5T32CA070085-27   CHICAGO                           Training Program in Signal Transduction and Cancer PLATANIAS, LEONIDAS C      only                        1997/05/01   2028/06/30    $609,376     $609,376     $338,351    $308,619

                                                                                                                                                     Awarded. Non-fellowships
3,444 T32GM150375   5T32GM150375-02   UNIVERSITY OF CHICAGO             Medical Scientist National Research Service Award       CLARK, MARCUS RAMSAY only                         2023/07/01   2028/06/30   $2,889,800   $2,889,800   $2,503,033 $1,318,590

                                                                     A short-term summer research program for                                         Awarded. Non-fellowships
3,445 T35AA028204   5T35AA028204-05   OSU CENTER FOR HEALTH SCIENCES American Indian medical students                           VASSAR, MATT          only                        2020/06/01   2025/05/31    $227,324     $227,324     $114,309     $40,192

                                                                                                                                COSGROVE, SARA        Awarded. Non-fellowships
3,446 T32AI007291   5T32AI007291-34   JOHNS HOPKINS UNIVERSITY          Research Training in Microbial Diseases                 ELIZABETH             only                        1986/09/01   2026/08/31   $1,798,391   $1,798,391   $1,500,463   $461,683

                                      UNIVERSITY OF CALIFORNIA                                                                                        Awarded. Non-fellowships
3,447 T32DK128783   5T32DK128783-03   BERKELEY                          Training Program in Metabolic Biology                   STAHL, ANDREAS        only                        2022/07/01   2027/06/30    $457,765     $457,765     $369,967    $179,825

                                                                        Investigating the Phenomenology and Physiologic
                                                                        Underpinnings of Decreased Sound Tolerance in           WILLIAMS, ZACHARY
3,448 F30DC019510   5F30DC019510-04   VANDERBILT UNIVERSITY             Adults with Autism Spectrum Disorder                    JAMES                 Awarded. Fellowships only   2021/07/01   2025/06/30    $166,817     $166,817     $159,761     $53,974

                                                                        Research Training for Child Psychiatry and                                    Awarded. Non-fellowships
3,449 T32MH019908   5T32MH019908-31   STANFORD UNIVERSITY               Neurodevelopment                                        REISS, ALLAN L        only                        1993/09/01   2026/06/30   $1,235,998   $1,235,998   $1,287,227   $343,091

                                      UNIVERSITY OF CALIFORNIA          Biology and Biotechnology of Cell and Gene                                    Awarded. Non-fellowships
3,450 T32GM139780   5T32GM139780-04   BERKELEY                          Therapy                                                 SCHAFFER, DAVID V     only                        2021/07/01   2026/06/30   $1,535,907   $1,535,907   $1,349,508   $405,887

                                                                        NEUROPSYCHOPHARMACOLOGY:                                                      Awarded. Non-fellowships
3,451 T32AA007456   5T32AA007456-42   SCRIPPS RESEARCH INSTITUTE, THE   MULTIDISCIPLINARY TRAINING                              ROBERTO, MARISA       only                        1983/12/01   2027/06/30   $2,053,258   $2,053,258   $1,506,557   $778,414

                                                                                                                                MCDERMOTT, KRISTINE
3,452 F32DK134121   5F32DK134121-02   BAYLOR COLLEGE OF MEDICINE        5-HT NEURONS AND MEAL REGULATION                        MARIE                 Awarded. Fellowships only   2023/07/01   2026/06/30    $146,256     $146,256     $146,256     $76,756

                                                                        Neurochemical & Behavioral Correlates of ETOH                                 Awarded. Non-fellowships
3,453 T32AA007471   5T32AA007471-38   UNIVERSITY OF TEXAS AT AUSTIN     Effects                                                 NIXON, KIMBERLY       only                        1987/09/30   2027/06/30   $1,282,944   $1,282,944   $1,180,249   $413,941

                                      UNIVERSITY OF NEW MEXICO                                                                                        Awarded. Non-fellowships
3,454 T32AA014127   5T32AA014127-22   HEALTH SCIS CTR                   Alcohol Research Training in Neurosciences              BRIGMAN, JONATHAN L   only                        2003/08/08   2028/07/31    $374,014     $374,014     $280,497    $190,772

                                      SALK INSTITUTE FOR BIOLOGICAL     Cancer Heterogeneity, Immunity, and                                           Awarded. Non-fellowships
3,455 T32CA009370   5T32CA009370-42   STUDIES                           Microenvironment (CHIME) Training Program               KAECH, SUSAN M        only                        1980/09/01   2027/06/30   $1,389,455   $1,389,455   $1,180,582   $489,363

                                      MASSACHUSETTS GENERAL                                                                                           Awarded. Non-fellowships
3,456 T32AI007433   5T32AI007433-33   HOSPITAL                          Program for AIDS Clinical Research Training (PACRT) SIEDNER, MARK J           only                        1992/09/30   2027/06/30   $1,887,147   $1,887,147   $1,657,613   $633,169

                                      UNIVERSITY OF SOUTHERN            Mechanisms of Craniosynostosis in Bent Bone
3,457 F31DE032259   5F31DE032259-03   CALIFORNIA                        Dysplasia Syndrome                                      NICKLE, AUDREY        Awarded. Fellowships only   2022/07/01   2025/06/30    $145,820     $145,820      $96,046     $49,774

                                                                        HIV risk and prevention behavior and the role of
                                      UNIVERSITY OF SOUTHERN            social support networks among precariously housed
3,458 F31MH134694   5F31MH134694-02   CALIFORNIA                        youth: A mixed-methods study                      PETRY, LAURA                Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $40,082     $48,974

                                      UNIVERSITY OF CALIFORNIA, SAN     Multidisciplinary training in basic and translational                         Awarded. Non-fellowships
3,459 T32AG066596   5T32AG066596-05   DIEGO                             Alzheimers disease research                             KOO, EDWARD H         only                        2020/05/01   2026/04/30   $2,243,597   $2,243,597   $1,489,961   $501,145
                                                                                                                                                        Awarded. Non-fellowships
3,460 T32GM139534   5T32GM139534-04   BAYLOR COLLEGE OF MEDICINE         Genetics & Genomics Training Program                   SHAULSKY, GAD           only                        2021/07/01   2026/06/30   $3,340,616   $3,340,616   $3,036,843   $878,975

                                                                         Astrocyte-specific molecular cues guiding retinal
3,461 F32EY035119   5F32EY035119-02   DUKE UNIVERSITY                    angiogenesis                                           VALDEZ-LOPEZ, JUAN      Awarded. Fellowships only   2023/07/01   2026/06/30    $156,184     $156,184     $140,872     $81,892

                                      UNIVERSITY OF MICHIGAN AT ANN      University of Michigan Training Program in Genomic                             Awarded. Non-fellowships
3,462 T32HG000040   5T32HG000040-30   ARBOR                              Science                                            BOEHNKE, MICHAEL L          only                        1995/07/01   2025/06/30   $3,500,374   $3,500,374   $3,483,509   $709,026

                                                                      Beta Cell Heterogeneity in the Interferon Alpha
3,463 F31DK137567   5F31DK137567-02   INDIANA UNIVERSITY INDIANAPOLIS Response                                                  WAGNER, LESLIE ELAINE   Awarded. Fellowships only   2023/06/08   2025/06/07     $96,668      $96,668      $69,993     $48,974

                                      GEORGIA INSTITUTE OF               T32 CTEng (Cellular and Tissue Engineering) Training                           Awarded. Non-fellowships
3,464 T32GM145735   5T32GM145735-03   TECHNOLOGY                         Program                                                GARCIA, ANDRES J        only                        2022/07/01   2027/06/30   $1,440,230   $1,440,230   $1,246,780   $494,423

                                      UNIV OF NORTH CAROLINA             CAROLINA CANCER NANOTECHNOLOGY TRAINING                      Awarded. Non-fellowships
3,465 T32CA196589   5T32CA196589-10   CHAPEL HILL                        PROGRAM (C-CNTP)                        KABANOV, ALEXANDER V only                                          2015/07/01   2025/06/30   $2,222,252   $2,222,252   $1,935,868   $520,560

                                                                         Cross-disciplinary Training in Immunology,                                     Awarded. Non-fellowships
3,466 T32AI138945   5T32AI138945-07   UNIVERSITY OF UTAH                 Inflammation and Infectious Disease                    LAMB, TRACEY JANE       only                        2018/08/15   2028/07/31    $395,906     $395,906     $363,240    $169,397

                                                                         Risk stratifying indeterminate pulmonary nodules
                                                                         with jointly learned features from longitudinal
3,467 F30CA275020   5F30CA275020-02   VANDERBILT UNIVERSITY              radiologic and clinical big data                       LI, THOMAS ZHIHE        Awarded. Fellowships only   2023/07/01   2026/09/19     $86,197      $86,197      $52,210     $53,351

                                                                         The Role for in vivo Glutamate Modulation in
                                                                         Maintaining Cognitive Control in Trauma-Exposed
3,468 F31MH132307   5F31MH132307-02   WAYNE STATE UNIVERSITY             Adolescents                                            FRANCE, JOHN            Awarded. Fellowships only   2023/08/17   2025/08/16     $94,488      $94,488      $76,369     $47,884

                                                                         Investigating the role of CRAT as a driver of triple   PENDLETON, KATHERINE
3,469 F31CA275397   5F31CA275397-03   BAYLOR COLLEGE OF MEDICINE         negative breast cancer chemoresistance                 ELLEN                   Awarded. Fellowships only   2022/08/03   2025/08/02    $143,420     $143,420     $132,023     $48,974

                                                                         Interdisciplinary Training in Cognitive,               PADOA-SCHIOPPA,         Awarded. Non-fellowships
3,470 T32NS115672   5T32NS115672-05   WASHINGTON UNIVERSITY              Computational and Systems Neuroscience (CCSN)          CAMILLO                 only                        2020/07/15   2025/06/30    $975,889     $975,889     $647,900         $1

                                      UNIVERSITY OF MICHIGAN AT ANN                                                                                     Awarded. Non-fellowships
3,471 T32DK007245   5T32DK007245-48   ARBOR                              Training Program in Endocrinology and Metabolism       AUCHUS, RICHARD J       only                        1977/07/01   2025/06/30   $1,318,420   $1,318,420   $1,329,417   $274,027

                                      UNIVERSITY OF CALIFORNIA AT                                                                                       Awarded. Non-fellowships
3,472 T32GM136597   5T32GM136597-04   DAVIS                              UC Davis Chemical Biology Program                      BEAL, PETER A           only                        2021/07/01   2026/06/30   $1,064,547   $1,064,547    $750,242    $282,570

                                                                         Stanford ChEM-H Chemistry/Biology Interface                                    Awarded. Non-fellowships
3,473 T32GM139791   5T32GM139791-04   STANFORD UNIVERSITY                Predoctoral Training Program                           BERTOZZI, CAROLYN       only                        2021/07/01   2026/06/30   $1,360,720   $1,360,720   $1,115,079   $384,551

                                      UNIVERSITY OF NEBRASKA MEDICAL Molecular control of tumor-initiating cells in Ras-
3,474 F30CA268766   5F30CA268766-02   CENTER                         driven cancers                                             VIEIRA, HEIDI           Awarded. Fellowships only   2023/07/01   2026/06/30     $76,650      $76,650      $62,445     $38,965

                                                                         Thymic PD-1 blockade mediates the anti-tumor           FRANCIS, CONNOR
3,475 F30CA260911   5F30CA260911-04   UNIVERSITY OF FLORIDA              immune response in pediatric high-grade glioma         PATRICK                 Awarded. Fellowships only   2021/07/01   2026/06/30    $179,447     $179,447     $164,060     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN
3,476 F31AG077915   5F31AG077915-03   DIEGO                              Speech Markers of Cognition in Aging Bilingualism      GARCIA, DALIA           Awarded. Fellowships only   2022/08/01   2025/07/31    $124,975     $124,975     $100,119     $43,778

                                                                                                                                                        Awarded. Non-fellowships
3,477 T32CA009679   5T32CA009679-32   UNIVERSITY OF PENNSYLVANIA         Cancer Clinical Epidemiology Training Grant            GLANZ, KAREN            only                        1992/09/01   2028/06/30   $1,072,739   $1,072,739    $689,090    $548,762

                                                                         Drug Development for Pediatric Capillary
3,478 F32HD107878   5F32HD107878-03   BOSTON CHILDREN'S HOSPITAL         Malformation                                           VIVERO, MATTHEW P       Awarded. Fellowships only   2022/08/01   2025/07/31    $231,718     $231,718     $124,036     $83,932

                                      VIRGINIA COMMONWEALTH                                                                                             Awarded. Non-fellowships
3,479 T32CA272382   5T32CA272382-02   UNIVERSITY                         Integrative Training Program in Cancer Biology         ATFI, AZEDDINE          only                        2023/07/01   2028/06/30    $612,797     $612,797     $358,450    $363,479

                                      UNIVERSITY OF MASSACHUSETTS        Chemistry-Biology Interface Predoctoral Training                               Awarded. Non-fellowships
3,480 T32GM139789   5T32GM139789-04   AMHERST                            Grant                                                  STRIETER, ERIC ROBERT   only                        2021/07/01   2026/06/30   $2,087,885   $2,087,885   $1,869,641   $549,359

                                                                                                                                                        Awarded. Non-fellowships
3,481 T32CA160003   5T32CA160003-12   UNIVERSITY OF KENTUCKY             Oncology Research Training for Surgeon-Scientists      EVERS, BERNARD MARK     only                        2011/07/01   2028/06/30    $655,306     $655,306     $511,751    $382,660

                                                                         Translational Research Training on Aging and                                   Awarded. Non-fellowships
3,482 T32AG062728   5T32AG062728-05   UNIVERSITY OF FLORIDA              Mobility (TRAM)                                        MANINI, TODD            only                        2020/05/01   2026/04/30   $1,298,556   $1,298,556    $902,754    $202,432
                                                                                                                                                       Awarded. Non-fellowships
3,483 T32AI007511   5T32AI007511-29     UNIVERSITY OF IOWA               Training in Mechanisms of Parasitism                  WILSON, MARY E          only                        1996/08/01   2026/07/31   $1,607,914   $1,607,914   $1,387,173   $422,002

                                        UNIV OF NORTH CAROLINA           Characterizing adherence and estimating per-
3,484 F30HD115415   1F30HD115415-01     CHAPEL HILL                      protocol effects for pediatric dolutegravir use       LI, CATHERINE XIN-DI    Awarded. Fellowships only   2024/06/01   2028/05/31     $88,615      $88,615      $38,442     $41,012
3,485 F31AG084199   1F31AG084199-01A1   VAN ANDEL RESEARCH INSTITUTE     Identifying Determinants of Tau Pathology Seeding     KASEN, ALYSA MARIE      Awarded. Fellowships only   2024/07/01   2026/06/30     $47,974      $47,974      $39,471     $47,974

                                                                         Training Program for Quantitative Population          KARAGAS, MARGARET       Awarded. Non-fellowships
3,486 T32CA134286   5T32CA134286-15     DARTMOUTH COLLEGE                Sciences in Cancer                                    RITA                    only                        2009/08/07   2025/07/31   $1,536,691   $1,536,691   $1,152,283   $331,675

                                                                         Impact of obesity on antiviral NK cell function and
                                        ST. JUDE CHILDREN'S RESEARCH     immune crosstalk with respiratory epithelial cells
3,487 F32AI183804   1F32AI183804-01     HOSPITAL                         during influenza virus infection                      BRIGLEB, PAMELA         Awarded. Fellowships only   2024/09/01   2026/08/31     $74,284      $74,284      $42,406     $74,284

                                                                         A new regulator of mucus production integrating
3,488 F32DK139723   1F32DK139723-01     UNIVERSITY OF PENNSYLVANIA       temporal and microbial cues                           LIOU, MEGAN             Awarded. Fellowships only   2024/08/01   2027/07/31     $73,828      $73,828      $30,495     $73,828

                                        UNIVERSITY OF CALIFORNIA LOS     Caltech/UCLA Individualized Theranostic                                       Awarded. Non-fellowships
3,489 T32EB027629   5T32EB027629-05     ANGELES                          Engineering to Advance Metabolic System (iTEAM)       HSIAI, TZUNG K          only                        2020/07/08   2025/06/30   $1,298,109   $1,298,109    $841,431    $278,142

                                                                         Molecular Mechanisms of Intramuscular Adipose
3,490 F31HL174156   1F31HL174156-01     UNIVERSITY OF FLORIDA            Tissue in Chronic Limb Threating Ischemia             PALZKILL, VICTORIA R    Awarded. Fellowships only   2024/09/30   2027/09/29     $33,727      $33,727      $19,034     $33,727

                                        UNIV OF MASSACHUSETTS MED SCH Role of PrRP+ projections to BNST in ethanol             EDWARDS, CAITLYN
3,491 F32AA031404   1F32AA031404-01A1   WORCESTER                     withdrawal and negative affective behavior               MARIE                   Awarded. Fellowships only   2024/07/01   2025/10/10     $77,284      $77,284      $67,140     $77,284

                                                                         Investigating Determinants of Perinatal Lead
                                                                         Exposure, Associations with Preterm Birth, and
                                                                         Reporting Back Research Results in the Atlanta        EATMAN, JASMIN
3,492 F30ES036439   1F30ES036439-01     EMORY UNIVERSITY                 African American Maternal Child Cohort                AFRICALI                Awarded. Fellowships only   2024/05/15   2028/05/14     $56,974      $56,974      $41,312     $56,974

                                                                        Effect of mutant HTT on the development and
3,493 F31NS134306   1F31NS134306-01A1   UNIVERSITY OF CALIFORNIA-IRVINE maturation of astrocytes                               BURNS, MARA             Awarded. Fellowships only   2024/09/01   2026/08/31     $45,863      $45,863      $33,903     $45,863

                                                                         Assessing the impact of a postpartum intrauterine
                                        UNIV OF NORTH CAROLINA           device intervention on contraceptive decision-        BULLINGTON, BROOKE
3,494 F31HD113332   1F31HD113332-01A1   CHAPEL HILL                      making                                                WHITNEY                 Awarded. Fellowships only   2024/05/30   2026/05/29     $39,440      $39,440      $34,546     $39,440

                                        FRED HUTCHINSON CANCER           Structural Mechanism of Activation and Modulation
3,495 F31HL174166   1F31HL174166-01     CENTER                           of Tie2-mediated Angiogenesis                     NGUYEN, ADAM                Awarded. Fellowships only   2024/09/01   2027/08/31     $44,249      $44,249      $32,750     $44,249

                                                                        Documenting the Home and Community
                                                                        Storytelling Practices of Mexican-American Bilingual GRANADOS VARGAS,
3,496 F31DC021896   1F31DC021896-01     UNIVERSITY OF CALIFORNIA-IRVINE Children with Developmental Language Disorder        ALEJANDRO                 Awarded. Fellowships only   2024/06/30   2026/06/29     $41,738      $41,738      $41,738     $41,738

                                                                         Deciphering the Role of Glycan Sulfation in
3,497 F31AG087553   1F31AG087553-01     UNIVERSITY OF WASHINGTON         Neuroinflammation and Alzheimers Disease              MEURET, CRISTIANA JOY   Awarded. Fellowships only   2025/01/25   2030/01/24     $48,974      $48,974           $0     $48,974

                                                                         Investigations of cAMP-dependent brain-barrier        FIGUEROA VELEZ, DARIO
3,498 F32MH132178   5F32MH132178-02     BOSTON CHILDREN'S HOSPITAL       permeability in choroid plexus                        XAVIER                  Awarded. Fellowships only   2023/09/01   2025/08/30    $153,364     $153,364     $123,955     $79,284

                                                                         Social determinants, trauma, and mental distress
                                                                         among forcibly displaced populations in low- and
3,499 F31MH136678   1F31MH136678-01     JOHNS HOPKINS UNIVERSITY         middle-income countries                               YAN, LAUREN NICOLE      Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $17,640     $48,974

                                        UNIV OF NORTH CAROLINA           Characterizing and Overcoming MHC-I-Mediated
3,500 F31CA290953   1F31CA290953-01     CHAPEL HILL                      Immune Evasion in Triple-Negative Breast Cancer       O'CONNELL, DINA         Awarded. Fellowships only   2024/07/01   2027/06/30     $40,064      $40,064      $32,474     $40,064

                                                                         Targeting muscle kynurenine aminotransferases and
                                                                         the AHR pathway to mitigate age-related physical
3,501 F32AG087637   1F32AG087637-01     UNIVERSITY OF FLORIDA            decline                                           WIMBERLY, KEON              Awarded. Fellowships only   2024/08/23   2026/03/03     $79,756      $79,756      $41,422     $79,756

                                                                         Determining the Role of p97 Adaptor UBXD8 in
3,502 F31GM148057   5F31GM148057-03     TUFTS UNIVERSITY BOSTON          Peroxisome Function                                   MONTES, IRIS            Awarded. Fellowships only   2022/08/16   2025/08/15    $130,670     $130,670     $110,677     $44,724

                                                                         Training Program in Cardiovascular Biology and                                Awarded. Non-fellowships
3,503 T32HL007843   5T32HL007843-28     UNIVERSITY OF PENNSYLVANIA       Medicine                                              CAPPOLA, THOMAS P       only                        1996/09/15   2027/06/30   $2,044,720   $2,044,720   $1,686,822   $587,441
                                                                          Stanford BSSR Pre-Doctoral Training Program at the
                                                                          Intersection of Data Sciences with Behavioral,                               Awarded. Non-fellowships
3,504 T32HL151323   5T32HL151323-05     STANFORD UNIVERSITY               Social, and Population Health Research               NELSON, LORENE M        only                        2020/04/15   2026/03/31   $1,161,443   $1,161,443   $947,055   $151,745

                                                                          Uncovering the molecular underpinnings of C15, a
3,505 F31AI183694   1F31AI183694-01     UNIVERSITY OF PENNSYLVANIA        potent orthopoxvirus virulence factor                CARRO, STEPHEN DAVID    Awarded. Fellowships only   2024/08/01   2025/07/31     $36,803      $36,803     $26,716    $36,803

                                                                          Mechanism of translation initiation through the non-
3,506 F31GM154483   1F31GM154483-01     UNIVERSITY OF UTAH                canonical initiation factor eIF2A                    FERRELL, AARON          Awarded. Fellowships only   2024/06/01   2026/05/31     $40,207      $40,207     $36,606    $40,207

                                        UNIV OF NORTH CAROLINA            The Role of the small GTPase Rap1 in Platelet-
3,507 F31HL165935   5F31HL165935-03     CHAPEL HILL                       Coagulation Interplay                                BALLARD, ABIGAIL RENE   Awarded. Fellowships only   2022/09/01   2025/08/31    $118,052     $118,052     $77,203    $40,518

                                        CALIFORNIA STATE UNIVERSITY       Bridges to Doctorate Program between Fresno State KRISHNAN,                  Awarded. Non-fellowships
3,508 T32GM137948   5T32GM137948-05     FRESNO                            and UC Davis                                      VISWANATHAN V              only                        2020/08/01   2025/07/31   $1,053,900   $1,053,900   $847,809    $57,018

                                                                          Interrogating the molecular architecture of the
3,509 F32AI183654   1F32AI183654-01     UNIVERSITY OF PENNSYLVANIA        Cryptosporidium host-parasite interface              COHEN, ALLISON          Awarded. Fellowships only   2024/08/01   2027/07/31     $73,828      $73,828     $54,544    $73,828

                                                                          Plasminogen Activator Pathway in Lymphatic           MASTROGIACOMO,
3,510 F31HL174150   1F31HL174150-01     UNIVERSITY OF SOUTH FLORIDA       Malformations                                        DIANDRA                 Awarded. Fellowships only   2024/08/16   2026/08/15     $39,186      $39,186      $4,820    $39,186

                                                                          Role of Histone Deacetylase 9 (HDAC9) in adipose
                                                                          tissue aging: mitochondrial function, oxidative stress
3,511 F30AG074640   5F30AG074640-03     AUGUSTA UNIVERSITY                and senescence                                         GOO, BRANDEE          Awarded. Fellowships only   2022/08/15   2025/08/14    $158,420     $158,420    $143,224    $53,974

                                        CARNEGIE INSTITUTION OF           Coordinated growth in microbial communities and
3,512 F32AI183748   1F32AI183748-01     WASHINGTON, D.C.                  implications for antibiotic sensitivities            SCHEFFLER, ROBERT JOHN Awarded. Fellowships only    2024/09/01   2027/08/31     $76,756      $76,756     $34,563    $76,756

                                                                      Interrogating the role of mutant KRAS allelic
                                        WEILL MEDICAL COLL OF CORNELL imbalance and co-mutated genes in targeted
3,513 F31CA261061   5F31CA261061-04     UNIV                          therapy response of NSCLC                                DIAZ, BIANCA            Awarded. Fellowships only   2021/08/09   2025/08/08    $189,456     $189,456    $182,401    $48,974

                                                                          Elucidating the neurochemical basis of LTP
3,514 F30MH131254   5F30MH131254-03     MAYO CLINIC ROCHESTER             induction and maintenance in vivo                    GOYAL, ABHINAV          Awarded. Fellowships only   2022/09/01   2026/08/31    $144,020     $144,020    $123,530    $49,174

                                        UNIVERSITY OF MICHIGAN AT ANN
3,515 F31HD112115   1F31HD112115-01A1   ARBOR                             NXF2-mediated RNA transport in the male germline     LAWSON, ANN MARIE       Awarded. Fellowships only   2024/09/01   2026/08/31     $42,545      $42,545     $33,800    $42,545

                                                                          Sepsis Patient Education: Perspectives from Home
                                                                          Health Nurses and Knowledge among Sepsis
3,516 F31NR021242   1F31NR021242-01     UNIVERSITY OF PENNSYLVANIA        Survivors                                            SANG, ELAINE            Awarded. Fellowships only   2024/08/28   2026/07/27     $48,974      $48,974     $39,203    $48,974

                                                                          Investigation of the preadipocyte primary cilia
3,517 F31DK139738   1F31DK139738-01     UNIVERSITY OF UTAH                signalosome                                          LEE, MARK DAVID         Awarded. Fellowships only   2024/07/01   2027/06/30     $40,207      $40,207     $34,549    $40,207

                                                                          Investigating the role of FOXA1/2 and HNF4⍺ in       ORELLANA, WALTER
3,518 F31CA291031   1F31CA291031-01     UNIVERSITY OF UTAH                Pancreatic ductal adenocarcinoma                     ALEXANDER               Awarded. Fellowships only   2024/09/01   2027/08/31     $42,250      $42,250     $20,610    $42,250

                                                                          Vascular Reactivity to Compounding Stressors
                                                                          across the Blood Alcohol Curve: Interactions with
3,519 F31AA031620   1F31AA031620-01     RUTGERS, THE STATE UNIV OF N.J.   Chronic Drinking and Polysubstance Use               MUZUMDAR, NEEL          Awarded. Fellowships only   2024/06/01   2026/05/31     $39,498      $39,498     $39,498    $39,498

                                        UNIVERSITY OF CALIFORNIA          Mechanism of Lupus La:miR-122 ribonucleoprotein
3,520 F31CA284881   5F31CA284881-02     BERKELEY                          sorting into breast cancer-derived exosomes          NGO, JORDAN MATTHEW Awarded. Fellowships only       2023/07/18   2025/07/17     $89,933      $89,933     $80,525    $45,730

                                        SALK INSTITUTE FOR BIOLOGICAL     Mitochondrial Regulation of Interferon Response in
3,521 F31CA278581   5F31CA278581-02     STUDIES                           Melanoma                                             JOHNSON, MELISSA        Awarded. Fellowships only   2023/08/01   2026/07/31     $82,312      $82,312     $56,800    $41,796

                                                                          Bridges to the Baccalaureate Research Training                               Awarded. Non-fellowships
3,522 T34GM142609   5T34GM142609-04     KANSAS STATE UNIVERSITY           Program at Kansas State University                   BEHNKE, BRAD J          only                        2021/08/19   2026/07/31   $1,106,566   $1,106,566   $534,763   $277,251

                                                                          A quantitative framework for measuring the
                                                                          coordination of central and peripheral body clocks
3,523 F31HL170715   1F31HL170715-01A1   STANFORD UNIVERSITY               in humans in the real world                        WEED, LARA                Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974     $26,806    $48,974

                                                                          Quantification of Iron Oxide Nanoparticles in
                                                                          Cryopreserved Kidneys with Longitudinally Detected
3,524 F30DK137445   1F30DK137445-01A1   UNIVERSITY OF MINNESOTA           Electron Paramagnetic Resonance                    KANTESARIA, SAURIN        Awarded. Fellowships only   2024/09/01   2027/11/30     $42,943      $42,943     $26,760    $42,943
                                                                        Investigating the role of the fractalkine axis in
                                                                        Alzheimers Disease pathology using human induced
3,525 F30AG084304   1F30AG084304-01A1   INDIANA UNIVERSITY INDIANAPOLIS pluripotent stem cells                            TUTROW, KAYLEE               Awarded. Fellowships only   2024/05/27   2027/05/26     $82,042      $82,042     $32,875    $38,692

                                        UNIVERSITY OF ALABAMA AT                                                                HARRINGTON, LAURIE     Awarded. Non-fellowships
3,526 T32AI007051   5T32AI007051-47     BIRMINGHAM                        Immunologic Diseases and Basic Immunology             ELLEN                  only                        1976/07/24   2028/07/31   $1,153,631   $1,153,631   $777,900   $595,897

                                        CALIFORNIA STATE UNIVERSITY SAN North County San Diego Bridges to the                                          Awarded. Non-fellowships
3,527 T34GM150452   5T34GM150452-02     MARCOS                          Baccalaureate Program                                   BROWN, TRACEY K        only                        2023/08/02   2028/07/31    $565,440     $565,440    $434,157   $281,348

                                        STATE UNIVERSITY OF NEW YORK AT Investigating the role of NBCe1-B in renal and          BRADY, CLAYTON
3,528 F30DK126330   5F30DK126330-05     BUFFALO                         cardiac acid-base handling                              TIMOTHY                Awarded. Fellowships only   2020/08/07   2025/08/06    $211,551     $211,551    $191,461    $53,974

                                                                          An Exploration of the Intergenerational Persistence
                                        UNIVERSITY OF MICHIGAN AT ANN     of Health and Social Status Contributing to Racial    KAPPELMAN, ABIGAIL
3,529 F30MD019520   1F30MD019520-01     ARBOR                             Disparities in Birth Outcomes in South Carolina       LEONA                  Awarded. Fellowships only   2024/06/01   2028/05/31     $38,172      $38,172     $38,172    $38,172

                                        WEILL MEDICAL COLL OF CORNELL Effects of TDP-43 Pathology on Innate Antiviral
3,530 F31AG079616   5F31AG079616-03     UNIV                          Mechanisms in Neurodegenerative Disease                   JACKVONY, STEPHANIE    Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420    $131,719    $48,974

                                                                          Robust and scalable Bayesian analysis tools for
                                                                          single cell CRISPR screens with sequencing- and
3,531 F31HG013609   1F31HG013609-01     HARVARD MEDICAL SCHOOL            imaging-based readouts                                BLAINE, LOGAN          Awarded. Fellowships only   2024/07/01   2027/06/30     $43,203      $43,203     $31,952    $43,203

                                                                          Imaging the Uterotubal Junction for Endometriosis
3,532 F30HD115314   1F30HD115314-01     UNIVERSITY OF ARIZONA             Detection                                             LONG, DILARA           Awarded. Fellowships only   2024/06/03   2028/06/02     $41,607      $41,607     $40,071    $41,607

                                                                          Prehabilitation Exercise Training in Multiple Myeloma
                                        BOSTON UNIVERSITY (CHARLES        Patients Undergoing Autologous Stem Cell
3,533 F31CA290730   1F31CA290730-01     RIVER CAMPUS)                     Transplantation                                       NORMANN, AMBER         Awarded. Fellowships only   2024/09/01   2026/08/31     $38,648      $38,648     $19,181    $38,648

                                                                          Regenerative Engineering Training Program (RE-        AMEER, GUILLERMO       Awarded. Non-fellowships
3,534 T32EB031527   5T32EB031527-04     NORTHWESTERN UNIVERSITY           Training)                                             ANTONIO                only                        2021/09/01   2026/08/31    $822,480     $822,480    $703,047   $200,390

                                                                          Neonatal Functional Connectivity Associated with
3,535 F30HD104313   5F30HD104313-04     WASHINGTON UNIVERSITY             Callous-Unemotional Behaviors in Preschoolers         BRENNER, REBECCA       Awarded. Fellowships only   2021/09/01   2025/08/31    $179,324     $179,324    $139,668    $56,974

                                        UNIVERSITY OF SOUTHERN            Human Cochlear Masking and Suppression
3,536 F32DC021862   1F32DC021862-01     CALIFORNIA                        Measured using Dynamic Stimuli                        SALLOOM, WILLIAM       Awarded. Fellowships only   2024/07/01   2025/06/30     $77,284      $77,284     $63,970    $77,284

                                                                        Application of a novel dietary pattern predictive of
                                                                        trimethylamine N-oxide production to examine
                                        STATE UNIVERSITY OF NEW YORK AT associations with metabolomic profiles, the gut
3,537 F31HL168805   5F31HL168805-02     BUFFALO                         microbiome, and vascular health                      BURNS, KAELYN             Awarded. Fellowships only   2023/07/01   2026/06/30     $80,086      $80,086     $60,354    $40,683

                                                                          Multimodal dissociation of posterior cingulate
3,538 F32MH130027   5F32MH130027-03     UNIVERSITY OF PENNSYLVANIA        cortex contributions to episodic memory               KOSLOV, SETH RYAN      Awarded. Fellowships only   2022/08/01   2025/07/31    $236,433     $236,433    $208,465    $84,756

                                                                          A mixed-methods investigation of parental burden
                                                                          and adolescent service use following discharge        HARRIS, KATHERINE
3,539 F31MH134462   5F31MH134462-02     GEORGE MASON UNIVERSITY           from psychiatric hospitalization                      MAULTSBY               Awarded. Fellowships only   2023/08/20   2025/08/19     $74,888      $74,888     $59,816    $35,529

                                                                          Understanding Hox epigenetic memory formation
3,540 F31GM150235   1F31GM150235-01A1   NEW YORK UNIVERSITY               during motor neuron differentiation                   RAGIPANI, BHAVANA      Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974     $21,356    $48,974

                                                                          Quantifying the frequency and diversity of spliced
                                                                          HBV mRNAs in HIV-HBV co-infection and their role in
                                                                          modulating viral transcription and host immune
3,541 F31AI179435   5F31AI179435-02     JOHNS HOPKINS UNIVERSITY          responses                                           GRUDDA, TANNER           Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668     $90,981    $48,974

                                        UNIVERSITY OF PITTSBURGH AT       Investigating Interactions Between Phosphorylated
3,542 F31DE033886   1F31DE033886-01     PITTSBURGH                        Amelogenin and Acid Phosphatase 4 Expression          VASQUEZ, BRENT PRESTON Awarded. Fellowships only   2024/08/01   2027/07/31     $54,774      $54,774     $27,921    $54,774

                                                                          Dissecting cholinergic modulation of interneurons
                                                                          underlying state-dependent processing in mouse
3,543 F32EY034013   5F32EY034013-02     DUKE UNIVERSITY                   visual cortex                                         CAMMARATA, CELINE      Awarded. Fellowships only   2023/08/01   2026/07/31    $146,256     $146,256    $125,717    $76,756
                                                                                                                                                        Awarded. Non-fellowships
3,544 T32HL007574   5T32HL007574-43     BOSTON CHILDREN'S HOSPITAL          Pathophysiology of Human Blood Cells                 WILLIAMS, DAVID A      only                        1975/07/01   2025/06/30   $4,050,627   $4,050,627   $4,100,694   $861,806

                                                                                                                                                        Awarded. Non-fellowships
3,545 T32CA059366   5T32CA059366-29     CASE WESTERN RESERVE UNIVERSITY Cancer Biology Training Grant                            JACKSON, MARK W        only                        1993/06/01   2026/06/30    $988,869     $988,869     $875,331    $285,554

                                        UNIVERSITY OF TEXAS HLTH SCIENCE CTSA Predoctoral T32 at The University of Texas         CHUN, YONG-HEE         Awarded. Non-fellowships
3,546 T32TR004545   5T32TR004545-02     CENTER                           Health Science Center at San Antonio                    PATRICIA               only                        2023/08/01   2028/07/31    $550,409     $550,409     $393,578    $274,584

                                        VANDERBILT UNIVERSITY MEDICAL       VGM: Vanderbilt Genomic Medicine Training                                   Awarded. Non-fellowships
3,547 T32HG008341   5T32HG008341-09     CENTER                              Program                                              PETERSON, JOSEPH F     only                        2016/07/27   2026/06/30    $716,722     $716,722     $842,279     $33,126

                                                                            Viruses Hijack Innate Immune Peptides to Enhance
3,548 F32AI178920   1F32AI178920-01A1   UNIVERSITY OF WASHINGTON            Infection                                            HULCE, KAITLIN ROSE    Awarded. Fellowships only   2024/07/01   2026/06/30     $74,284      $74,284      $58,154     $74,284

                                        UNIVERSITY OF WISCONSIN-            In vitro nonhuman primate model of frontotemporal
3,549 F31AG084303   1F31AG084303-01A1   MADISON                             dementia                                          COLWELL, JULIA CLAIRE     Awarded. Fellowships only   2024/09/01   2026/08/31     $37,415      $37,415      $19,863     $37,415

                                                                        Imaging progressive circuit reorganization after
3,550 F31NS132447   5F31NS132447-02     UNIVERSITY OF CALIFORNIA-IRVINE traumatic brain injury                                   TIERNO, ALEXA MARIE    Awarded. Fellowships only   2023/07/01   2026/06/30     $87,555      $87,555      $80,499     $44,751

                                        MEDICAL UNIVERSITY OF SOUTH         The role of BHLHB2 in Scleroderma-Associated Lung ADEWALE, ADEGBOYEGA
3,551 F31HL170551   5F31HL170551-02     CAROLINA                            Fibrosis                                          TIMOTHY             Awarded. Fellowships only         2023/07/01   2026/06/30    $105,980     $105,980      $51,196     $53,880

                                                                            Modulation of MicroRNAs to Engineer a Layered        BELL-HENSLEY, AUSTIN
3,552 F31AR082294   5F31AR082294-02     WASHINGTON UNIVERSITY               Osteochondral Tissue Construct                       PATRICK                Awarded. Fellowships only   2023/07/01   2025/06/30     $45,053      $45,053      $31,041         $0

                                                                        Clinical and Translational Science Collaborative of
                                                                        Northern Ohio, CTSA Postdoctoral T32 at Case                                    Awarded. Non-fellowships
3,553 T32TR004520   5T32TR004520-02     CASE WESTERN RESERVE UNIVERSITY Western Reserve University                               SPILSBURY, JAMES       only                        2023/09/01   2028/08/31    $705,327     $705,327     $237,925    $361,379

                                        UNIVERSITY OF CALIFORNIA, SAN       Training in the Molecular & Genetic Epidemiology of                         Awarded. Non-fellowships
3,554 T32CA112355   5T32CA112355-19     FRANCISCO                           Cancer                                              CHENG, IONA C           only                        2004/12/01   2026/06/30   $1,776,011   $1,776,011   $1,267,534   $342,945

                                        UNIVERSITY OF CALIFORNIA AT
3,555 FM1AR085543   1FM1AR085543-01     DAVIS                               MSPP NIH MD/PhD Funding Application                  MCMAHON, MOIRA MEI     Awarded. Fellowships only   2024/09/19   2028/06/30     $53,974      $53,974      $44,520     $53,974

                                        COLUMBIA UNIVERSITY HEALTH          The Columbia University Training Program in Lung                            Awarded. Non-fellowships
3,556 T32HL105323   5T32HL105323-14     SCIENCES                            Science                                              BHATTACHARYA, JAHAR    only                        2011/07/01   2026/06/30   $1,432,581   $1,432,581   $1,071,208   $309,544

                                                                                                                                                        Awarded. Non-fellowships
3,557 T32AA013525   5T32AA013525-23     SAN DIEGO STATE UNIVERSITY          Alcohol Research in the Science/Practitioner Model RILEY, EDWARD P          only                        2002/08/01   2027/07/31   $1,421,632   $1,421,632   $1,150,614   $539,629

                                        UNIVERSITY OF WISCONSIN-            Differential regulation of three DMSO reductases
3,558 F30AI169967   5F30AI169967-02     MADISON                             during enteric salmonellosis                         CRUZ, EDDY             Awarded. Fellowships only   2023/08/01   2027/07/31     $78,249      $78,249      $78,045     $38,466

                                        UNIVERSITY OF COLORADO              Research Training Program in Metabolism, Obesity     BESSESEN, DANIEL       Awarded. Non-fellowships
3,559 T32DK120521   5T32DK120521-05     DENVER                              and Type 2 Diabetes                                  HOLLAND                only                        2020/07/01   2025/06/30   $1,537,854   $1,537,854   $1,164,654   $315,906

                                                                     Investigating the Role of Heme in Acute and
3,560 F30HL170588   5F30HL170588-02     MEDICAL COLLEGE OF WISCONSIN Chronic Sickle Cell Disease Pain                            ZORN, SAMUEL JOSHUA    Awarded. Fellowships only   2023/08/01   2027/07/31    $100,848     $100,848      $82,088     $51,064

                                                                            The impact of a Hepatitis B birth dose vaccine on
                                        UNIV OF NORTH CAROLINA              HBV immunogenicity and incidence in children in
3,561 F30AI164818   5F30AI164818-04     CHAPEL HILL                         the DRC                                              TULENKO, SAMANTHA      Awarded. Fellowships only   2021/08/01   2026/07/31    $179,695     $179,695     $165,933     $53,974

                                        UNIVERSITY OF ILLINOIS AT URBANA- Bridge to the Doctorate at University of Illinois at                          Awarded. Non-fellowships
3,562 T32GM142518   5T32GM142518-04     CHAMPAIGN                         Urbana-Champaign                                       SONG, JUN S            only                        2021/08/01   2026/07/31   $1,043,483   $1,043,483    $506,092    $357,805

                                                                            Mechanisms of TET2-dependent control of CAR T        HOPKINS, CAITLIN
3,563 F31CA274961   5F31CA274961-03     UNIVERSITY OF PENNSYLVANIA          cell fate determination and antitumor function       ROSEMARY               Awarded. Fellowships only   2022/08/01   2025/07/31    $130,976     $130,976     $121,415     $36,530

                                                                            Translational and Genomic Pediatric Cancer                                  Awarded. Non-fellowships
3,564 T32CA099936   5T32CA099936-20     UNIVERSITY OF MINNESOTA             Epidemiology Training Grant                          SPECTOR, LOGAN G       only                        2004/09/30   2025/06/30   $1,410,293   $1,410,293   $1,201,776   $252,507

                                                                            Pre-and Postgraduate Training in Molecular                                  Awarded. Non-fellowships
3,565 T32HL007088   5T32HL007088-49     WASHINGTON UNIVERSITY               Hematology                                           OH, STEPHEN TRACY      only                        1975/07/01   2026/06/30   $1,743,029   $1,743,029   $1,658,530   $426,287

                                                                            Parents Adverse and Positive Childhood
                                                                            Experiences and their Parenting Practices in the
3,566 F31NR020580   5F31NR020580-03     JOHNS HOPKINS UNIVERSITY            Context of Neighborhood Safety                       HOPPE, EMILY           Awarded. Fellowships only   2022/09/01   2025/06/30    $143,924     $143,924     $126,518     $46,478
                                                                        Research Training in Cardiovascular Biology at                                Awarded. Non-fellowships
3,567 T32HL007737   5T32HL007737-29     MEHARRY MEDICAL COLLEGE         Meharry                                                 MARTIN, PAMELA M      only                        1993/07/01   2026/06/30    $793,879     $793,879    $645,924   $203,800

                                                                        The role of resident tissue macrophages in
                                                                        cytomegalovirus-associated sensorineural hearing
3,568 F31DC021388   5F31DC021388-02     UNIVERSITY OF UTAH              loss                                                    OTSUKA, KELLY         Awarded. Fellowships only   2023/09/30   2025/09/29     $93,058      $93,058     $58,940    $47,169

                                        UNIVERSITY OF CALIFORNIA LOS    Training the Science of Child Mental Health                                   Awarded. Non-fellowships
3,569 T32MH073517   5T32MH073517-18     ANGELES                         Treatment                                               PIACENTINI, JOHN C    only                        2006/06/01   2027/08/31   $1,097,756   $1,097,756   $604,778   $357,320

                                                                        Extracting network-level homeostatic rules for          FOSQUE, LEANDRO
3,570 F32NS138250   1F32NS138250-01     WASHINGTON UNIVERSITY           sleep/wake states                                       JONATHAN              Awarded. Fellowships only   2024/07/01   2027/06/30     $73,408      $73,408     $55,131    $73,408

                                                                        Circadian Control of the VTA: Neural and BBB            TURNER, KEVIN
3,571 F32NS134617   1F32NS134617-01A1   BROWN UNIVERSITY                Dynamics                                                LAWRENCE              Awarded. Fellowships only   2024/07/01   2027/06/30     $73,828      $73,828     $50,139    $73,828

                                                                        Fair risk profiles and predictive models for outcomes
                                                                        of obstructive sleep apnea through electronic
3,572 F30HL168976   5F30HL168976-02     VANDERBILT UNIVERSITY           medical record data                                   BORZA, VICTOR           Awarded. Fellowships only   2023/06/01   2026/05/31     $67,010      $67,010     $61,932    $34,164

                                                                                                                                DE ALBUQUERQUE,
3,573 F30MH129086   5F30MH129086-02     DUKE UNIVERSITY                 Deep Generative Analyses for fMRI data                  DANIELA FRANK         Awarded. Fellowships only   2023/11/01   2025/10/31     $82,628      $82,628     $59,115    $42,125

                                        MEDICAL UNIVERSITY OF SOUTH     Nucleus reuniens, chronic ethanol and cognitive
3,574 F31AA031433   5F31AA031433-02     CAROLINA                        deficits                                                LINDQUIST, KATHY      Awarded. Fellowships only   2023/09/02   2026/09/01     $96,668      $96,668     $78,508    $48,974

                                                                        Utilizing naturalistic virtual environments to assess
                                                                        age-related alterations of attention and episodic
3,575 F32AG071263   5F32AG071263-03     STANFORD UNIVERSITY             memory                                                  TRAN, TAMMY           Awarded. Fellowships only   2022/12/10   2025/12/09    $223,230     $223,230    $163,168    $78,892

                                                                        Evaluating Velopharyngeal Function During
3,576 F31DE033236   5F31DE033236-02     EAST CAROLINA UNIVERSITY        Phonation in Children Utilizing Static MRI              SNODGRASS, TAYLOR     Awarded. Fellowships only   2023/12/01   2025/11/30     $77,094      $77,094     $49,210    $39,267

                                        ICAHN SCHOOL OF MEDICINE AT     Data-Driven Exploration of Exposomic Influences on
3,577 F31AA031437   5F31AA031437-02     MOUNT SINAI                     the Onset of Alcohol Use During Adolescence        ADAMS, FAITH               Awarded. Fellowships only   2023/09/11   2025/09/10     $93,468      $93,468     $58,767    $47,374

                                        WEILL MEDICAL COLL OF CORNELL Elucidating the Effects of Post-Translational             MANCINELLI, CHIARA
3,578 F31AG077836   5F31AG077836-03     UNIV                          Modifications on Tau Binding to F-actin and PSD95         DIAMANTE              Awarded. Fellowships only   2022/12/19   2025/12/18    $145,642     $145,642     $85,741    $48,974

                                                                        Role of novel projection-defined basal amygdala
3,579 F31MH134464   5F31MH134464-02     TUFTS UNIVERSITY BOSTON         subregions in fear memory expression                    ZAMUDIO, FRANK        Awarded. Fellowships only   2023/09/01   2026/08/31     $88,173      $88,173     $77,481    $44,729

                                                                                                                                                      Awarded. Non-fellowships
3,580 T32HL116324   2T32HL116324-11A1   BRIGHAM AND WOMEN'S HOSPITAL Training Program in Molecular Hematology                   BERLINER, NANCY       only                        2013/08/01   2029/07/31    $859,110     $859,110     $66,906   $859,110

                                                                        Advanced research training in immunology for                                  Awarded. Non-fellowships
3,581 T32AI106704   2T32AI106704-11     OHIO STATE UNIVERSITY           surgery trainees (ARTIST)                               BUMGARDNER, GINNY L   only                        2014/08/15   2029/07/31    $418,689     $418,689     $97,565   $418,689

                                                                        Alcohol Prevention Research on Violence, Equity,  GILMORE, AMANDA             Awarded. Non-fellowships
3,582 T32AA031818   1T32AA031818-01     GEORGIA STATE UNIVERSITY        and Novel Techniques (A-PREVENT) Training Program KATHERINE                   only                        2024/08/15   2029/07/31    $209,145     $209,145     $70,069   $209,145

                                                                        Investigation of Anterior Cingulate Cortex
3,583 F32MH135680   5F32MH135680-02     NEW YORK UNIVERSITY             Contributions to Hippocampal Cognitive Control          BLAIR, GARRETT        Awarded. Fellowships only   2023/11/01   2026/10/31    $143,364     $143,364    $118,075    $74,284

                                        UNIVERSITY OF SOUTHERN          Study of the Development and Function of the
3,584 F31HL170787   5F31HL170787-02     CALIFORNIA                      Uterine Lymphatics                                      ZHAO, LUPING          Awarded. Fellowships only   2023/07/01   2026/06/30     $91,596      $91,596     $45,158    $46,438

                                                                        Functional role of tachykinin 1-expressing lateral
                                                                        habenula neurons in flexible reward-guided
3,585 F31MH135679   5F31MH135679-02     UNIVERSITY OF OREGON            behavior                                                SUZUKI, KANA          Awarded. Fellowships only   2023/09/01   2026/08/31     $95,967      $95,967     $86,805    $48,852

                                        BOSTON UNIVERSITY MEDICAL       The role of serine metabolism on the evolution of
3,586 F31DE032892   5F31DE032892-02     CAMPUS                          oral squamous cell carcinoma                            JANKOWSKI, STACY      Awarded. Fellowships only   2023/09/12   2025/08/31     $98,268      $98,268     $83,749    $49,774

                                                                        Training in Theory and Computation for Next                                   Awarded. Non-fellowships
3,587 T90DA059109   5T90DA059109-02     UNIVERSITY OF CHICAGO           Generation Neuroscientists                              DOIRON, BRENT D       only                        2023/09/15   2028/06/30    $438,006     $438,006    $351,202   $222,768

                                                                        Delineation of auditory-motor population dynamics
                                        UNIVERSITY OF CALIFORNIA, SAN   underlying sensorimotor integration in the birdsong MCPHERSON, TREVOR
3,588 F31DC021631   5F31DC021631-02     DIEGO                           system                                              SUPAN                     Awarded. Fellowships only   2023/08/26   2026/08/25     $81,938      $81,938     $70,038    $41,609
                                      SLOAN-KETTERING INST CAN         Oncology-focused Postdoctoral Training in Care                              Awarded. Non-fellowships
3,589 T32CA275764   5T32CA275764-02   RESEARCH                         Delivery and Symptom Science (OPTICS)                 PANAGEAS, KATHERINE S only                         2023/09/15   2028/06/30    $820,103     $820,103     $465,474    $557,680

                                      HARVARD SCHOOL OF PUBLIC         Methods for multi-ancestry and multi-trait fine-
3,590 F31HG013040   5F31HG013040-02   HEALTH                           mapping and genetic risk prediction                   ROSSEN, JORDAN         Awarded. Fellowships only   2023/09/25   2026/06/24     $81,034      $81,034      $66,359     $41,157

                                      TEMPLE UNIV OF THE               The Role of MICU3 in Alzheimers Disease
3,591 F30AG082407   5F30AG082407-02   COMMONWEALTH                     Pathogenesis                                          COHEN, HENRY           Awarded. Fellowships only   2023/07/01   2027/06/30     $68,179      $68,179      $58,158     $34,755

                                      UNIVERSITY OF TEXAS RIO GRANDE Bridges to the Baccalaureate Research Training                                 Awarded. Non-fellowships
3,592 T34GM137854   5T34GM137854-05   VALLEY                         Program at The University of Texas Rio Grande Valley CHEW, SUE ANNE            only                        2020/08/01   2025/07/31   $1,935,186   $1,935,186   $1,656,361   $272,806

                                                                       Basic and Clinical Research Training for Medical                             Awarded. Non-fellowships
3,593 T35HL120835   5T35HL120835-10   LOYOLA UNIVERSITY CHICAGO        Students                                              ZELEZNIK-LE, NANCY J   only                        2014/12/01   2025/08/31    $324,708     $324,708     $254,290     $61,184

                                                                       Real-Time Bronchoscope Localization Using
                                      UNIV OF NORTH CAROLINA           Machine Learning To Improve Lung Cancer
3,594 F30CA265234   5F30CA265234-04   CHAPEL HILL                      Diagnosis                                             FRIED, INBAR           Awarded. Fellowships only   2021/09/01   2026/05/31    $175,452     $175,452     $156,444     $53,788

                                                                                                                                                    Awarded. Non-fellowships
3,595 T32GM007454   5T32GM007454-48   UNIVERSITY OF WASHINGTON         Medical Genetics Postdoctoral Fellowship              HISAMA, FUKI MARIE     only                        1977/07/01   2027/06/30   $1,002,488   $1,002,488    $679,261    $350,360

                                      UNIVERSITY OF ALABAMA AT         Response of kidney resident macrophages to            CHEUNG, MATTHEW
3,596 F30DK132814   5F30DK132814-03   BIRMINGHAM                       proximal tubule injury                                DAVID                  Awarded. Fellowships only   2022/09/01   2026/02/28    $139,914     $139,914     $108,792     $53,936

                                      UNIVERSITY OF TEXAS HLTH SCI CTR Cancer Prevention and Control Research Training       FERNANDEZ, MARIA       Awarded. Non-fellowships
3,597 T32CA057712   5T32CA057712-32   HOUSTON                          and Career Development Program                        EULALIA                only                        1992/09/18   2028/08/31    $672,909     $672,909     $469,938    $372,824

                                      UNIVERSITY OF CALIFORNIA, SAN    The classical complement system in post-traumatic
3,598 F31NS129271   5F31NS129271-03   FRANCISCO                        thalamic neuroinflammation                            NECULA, DEANNA         Awarded. Fellowships only   2022/09/01   2025/08/31    $119,987     $119,987      $98,447     $41,163

                                                                       Mechanisms of action for dorsomedial
                                      UNIVERSITY OF MICHIGAN AT ANN    hypothalamic Lepr-Glp1r neurons that control
3,599 F31DK137390   5F31DK137390-02   ARBOR                            feeding and energy balance                            DUENSING, ALLISON      Awarded. Fellowships only   2023/07/01   2026/06/30     $96,008      $96,008      $87,146     $48,644

                                                                                                                                                    Awarded. Non-fellowships
3,600 T32GM139776   5T32GM139776-04   UNIVERSITY OF IOWA               Medical Scientist Training Program                    BUCHANAN, GORDON F     only                        2021/07/01   2026/06/30   $4,322,583   $4,322,583   $3,675,439 $1,078,847

                                                                       Engineering a dynamic three-dimensional in vitro
                                                                       platform for the investigation of human Type 1        SAMOJLIK, MAGDALENA
3,601 F31DK128991   5F31DK128991-04   UNIVERSITY OF FLORIDA            Diabetes immunopathogenesis                           M                      Awarded. Fellowships only   2021/09/01   2025/08/31    $166,212     $166,212     $148,797     $43,163

                                                                       Defining the cell type-specific role of miR-9-2 in
3,602 F32NS127946   5F32NS127946-03   SEATTLE CHILDREN'S HOSPITAL      telencephalon development                             FREGOSO, SANTIAGO P    Awarded. Fellowships only   2022/09/06   2025/09/05    $229,938     $229,938     $175,977     $81,364

                                                                                                                                                    Awarded. Non-fellowships
3,603 T32AG073088   5T32AG073088-04   UNIVERSITY OF CALIFORNIA-IRVINE Training in Translational ADRD Neuroscience (TITAN) GRILL, JOSHUA             only                        2021/09/01   2026/08/31   $1,446,618   $1,446,618   $1,068,484   $387,317

                                                                       Mechanisms of Synergy between Oncolytic Herpes
                                      RESEARCH INST NATIONWIDE         Simplex Virus and Trabectedin in Pediatric Bone
3,604 F31CA278353   5F31CA278353-02   CHILDREN'S HOSP                  Sarcomas                                              RINGWALT, EMILY        Awarded. Fellowships only   2023/06/01   2027/05/31     $73,106      $73,106      $51,986     $37,193

                                                                       Examining the impact of laboratory housing
                                      ROSWELL PARK CANCER INSTITUTE    temperature on murine CD28 and the response to
3,605 F31CA288029   5F31CA288029-02   CORP                             anti-PD-1                                             JAMES, CAITLIN M       Awarded. Fellowships only   2023/09/01   2025/08/31     $69,304      $69,304      $56,408     $36,792

                                                                       Targeting keratinocyte cholesterol metabolism to
                                      NORTHWESTERN UNIVERSITY AT       reveal novel mechanisms for treating inflammatory
3,606 F31AR081685   5F31AR081685-03   CHICAGO                          skin disease                                          TRUJILLO, JACQUELYN    Awarded. Fellowships only   2022/09/01   2025/08/31    $139,911     $139,911     $129,955     $45,465

                                                                       Medical Scientist Training Program - The Ohio State                          Awarded. Non-fellowships
3,607 T32GM139784   5T32GM139784-04   OHIO STATE UNIVERSITY            University                                            MALLAMPALLI, RAMA K    only                        2021/07/01   2026/06/30   $3,600,667   $3,600,667   $2,659,182   $987,338

                                                                       The Role of Interlocutor Behavior on Code Switching
                                                                       Patterns in Bilingual Children with and without
3,608 F31DC021619   5F31DC021619-02   UNIVERSITY OF HOUSTON            Developmental Language Disorders                    HERNANDEZ, MICHELLE      Awarded. Fellowships only   2023/08/21   2026/08/20     $72,798      $72,798      $54,863     $37,039

                                      UNIVERSITY OF COLORADO           In The Loop: Investigating Enhancer-Mediated
3,609 F31EY034794   5F31EY034794-02   DENVER                           Regulation of OTX2 During Retinal Development         PURVIS, IAN J          Awarded. Fellowships only   2023/09/01   2026/08/31     $76,129      $76,129      $60,322     $37,272
                                                                      Neuropsychological Profiles and Risk for Dementia-
                                      UNIVERSITY OF SOUTH CAROLINA    Related Disease in Mothers of Children with Autism
3,610 F32AG079615   5F32AG079615-03   AT COLUMBIA                     Spectrum Disorder                                         FRIEDMAN, LAURA ANNE     Awarded. Fellowships only   2022/08/22   2025/08/21    $223,450     $223,450     $157,821     $79,516

                                      WEILL MEDICAL COLL OF CORNELL                                                                                      Awarded. Non-fellowships
3,611 T32CA260293   5T32CA260293-03   UNIV                          Next-Gen Oncopathology Program                              CESARMAN, ETHEL          only                        2022/09/01   2027/08/31    $889,693     $889,693     $420,868    $354,055

                                      UNIVERSITY OF CALIFORNIA LOS    Brain-based biomarkers of restricted and repetitive
3,612 F31MH134579   5F31MH134579-02   ANGELES                         behaviors in toddlers at risk for autism                  KUPIS, LAUREN            Awarded. Fellowships only   2023/08/10   2025/08/09     $80,654      $80,654      $42,350     $40,967

                                      UNIVERSITY OF PITTSBURGH AT     Learning-induced changes in distinct auditory
3,613 F31DC021363   5F31DC021363-02   PITTSBURGH                      cortical cell-types                                       SCHNEIDER, NATHAN A      Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $84,260     $48,974

                                                                      The contribution of semantic bias to false memory in MOORE, ISABELLE
3,614 F31AG081045   5F31AG081045-02   UNIVERSITY OF VIRGINIA          healthy aging                                        LORRAINE                      Awarded. Fellowships only   2023/08/14   2025/08/13     $77,105      $77,105      $66,539     $39,314

                                      COLUMBIA UNIV NEW YORK          Training Program on HIV and Substance Use in the                                   Awarded. Non-fellowships
3,615 T32DA037801   2T32DA037801-11   MORNINGSIDE                     Criminal Justice System                                   EL-BASSEL, NABILA        only                        2014/07/01   2029/06/30    $557,156     $557,156     $250,244    $557,156

                                                                      The role of wake-associated protein kinase A
                                                                      transients in intrinsic plasticity and learning through
3,616 F30AG084271   5F30AG084271-02   WASHINGTON UNIVERSITY           aging                                                     TILDEN, ELIZABETH        Awarded. Fellowships only   2023/09/01   2028/08/31     $68,572      $68,572      $56,055     $34,926

                                                                      Biophysical interrogation of the RNA-mediated
                                                                      mechanisms regulating Polycomb Repressive
3,617 F32GM147934   5F32GM147934-03   UNIVERSITY OF COLORADO          Complex 2 activity                                        HEMPHILL, WAYNE OLIVER Awarded. Fellowships only     2022/09/01   2025/08/31    $213,430     $213,430     $171,954     $76,756

                                      WAKE FOREST UNIVERSITY HEALTH   Translational Training in Aging and Alzheimer’s                                    Awarded. Non-fellowships
3,618 T32AG033534   5T32AG033534-15   SCIENCES                        Disease Related Disorders                                 KRITCHEVSKY, STEPHEN B   only                        2009/05/01   2027/08/31   $1,139,247   $1,139,247    $777,674    $319,349

                                                                      Role of glucagon-like peptide-1 signaling in
3,619 F31DK137443   5F31DK137443-02   UNIVERSITY OF PENNSYLVANIA      mediating sensory-specific satiety                        APPLEBEY, SARAH          Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $84,264     $48,974

                                      MASSACHUSETTS GENERAL           Comprehensive and non-invasive prenatal
3,620 F32HD112084   5F32HD112084-02   HOSPITAL                        screening of coding variation                             DUYZEND, MICHAEL H       Awarded. Fellowships only   2023/07/01   2025/06/30    $167,404     $167,404     $123,812     $87,892

                                                                      Elucidating the mechanisms of Orb2 mediated
3,621 F31NS134380   5F31NS134380-02   EMORY UNIVERSITY                neural stem cell asymmetry and division                   BUEHLER, JOSEPH          Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $70,989     $48,974

                                                                      Training for Clinician Scientists in Pediatric Critical                            Awarded. Non-fellowships
3,622 T32HL125239   5T32HL125239-10   JOHNS HOPKINS UNIVERSITY        Cardiopulmonary Disease                                   EVERETT, ALLEN D         only                        2015/02/01   2025/07/31   $1,565,272   $1,565,272   $1,443,323   $183,995

                                      BOSTON UNIVERSITY (CHARLES      Machine Learning for Analyzing State Dependent            CARBONERO, DANIEL
3,623 F31MH133306   5F31MH133306-02   RIVER CAMPUS)                   Neuronal Network Dynamics                                 DAVID                    Awarded. Fellowships only   2023/09/01   2025/08/31     $81,102      $81,102      $53,551     $41,317

                                                                      A Field Study Examining the Effects of Alcohol, Bar
                                                                      Environment & Beliefs on Sexual Misperception, a
3,624 F31AA030457   5F31AA030457-03   UNIVERSITY OF WASHINGTON        Precursor to Sexual Aggression                            SMITH, LAUREN MICHELLE Awarded. Fellowships only     2022/09/16   2025/09/15    $143,420     $143,420     $109,922     $48,974

                                                                      Host and microbe-dependent mechanisms of
                                      CLEVELAND CLINIC LERNER COM-    enhanced autoimmune susceptibility driven by
3,625 F31AI174784   5F31AI174784-02   CWRU                            checkpoint inhibitors                                     SALAZAR, VANESSA         Awarded. Fellowships only   2023/12/01   2026/11/30    $106,668     $106,668      $49,083     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN                                                             SWEET-CORDERO, ERIC      Awarded. Non-fellowships
3,626 T32CA128583   5T32CA128583-18   FRANCISCO                       Research Training in Childhood Cancer                     ALEJANDRO                only                        2007/07/01   2027/08/31   $1,149,544   $1,149,544    $806,150    $410,448

                                                                      Evaluating the Mechanisms of Afferent Renal Nerve DE LA CRUZ-LYNCH,
3,627 F30HL167564   5F30HL167564-02   UNIVERSITY OF MINNESOTA         Ablation as a Treatment for Hypertension          ARTHUR TRENTON                   Awarded. Fellowships only   2023/09/01   2026/02/28     $89,200      $89,200      $55,686     $49,324

                                      UNIVERSITY OF COLORADO          Pericyte KATP channel hyperactivity in cerebral
3,628 F31HL170645   5F31HL170645-02   DENVER                          small vessel disease                                      JEFFREY, DANIELLE A      Awarded. Fellowships only   2023/07/16   2026/07/15     $79,524      $79,524      $63,263     $40,402

                                                                      Examining the role of immune activation in
3,629 F31HD113207   5F31HD113207-02   DUKE UNIVERSITY                 transposon-triggered sterility.                           STARK, KARA MICHELLE     Awarded. Fellowships only   2023/09/01   2026/08/31     $82,197      $82,197      $68,289     $41,910

                                                                                                                                                       Awarded. Non-fellowships
3,630 T32EB003383   5T32EB003383-18   JOHNS HOPKINS UNIVERSITY        Training Program in Neuroengineering                      THAKOR, NITISH VYOMESH only                          2004/05/01   2027/06/30    $956,034     $956,034     $836,261    $331,755

                                                                      Neural mechanisms of interpretation shifting and
3,631 F31MH138084   1F31MH138084-01   DARTMOUTH COLLEGE               memory formation in ambiguous social contexts             SAVA-SEGAL, CLARA        Awarded. Fellowships only   2024/07/01   2026/06/30     $48,974      $48,974      $40,043     $48,974
3,632 F32HL170556   5F32HL170556-02     BRIGHAM AND WOMEN'S HOSPITAL Oral mRNA Nanotherapy for Bleeding Disorder                HAN, XIANGFEI           Awarded. Fellowships only   2023/09/01   2026/08/31    $146,256     $146,256     $114,881     $76,756

                                                                         The non-canonical Collagen I-DDR1 signaling
3,633 F31CA278582   5F31CA278582-02     CEDARS-SINAI MEDICAL CENTER      regulating protein synthesis during metastasis         ALONZO, MARK E          Awarded. Fellowships only   2023/12/22   2026/12/21     $82,588      $82,588           $0     $41,294

                                                                         Probing D2 and 5HT-2A mechanisms in early visual
3,634 F32EY034772   5F32EY034772-03     DUKE UNIVERSITY                  processing in V1                                       GALVIN, VERONICA        Awarded. Fellowships only   2023/01/01   2025/12/31    $225,148     $225,148     $170,932     $78,892

                                                                         The Role of Plasmalogen Mitochondrial and
3,635 F30HL170694   5F30HL170694-02     SAINT LOUIS UNIVERSITY           Endothelial Antioxidant Properties in Sepsis           MCGUFFEE, REAGAN        Awarded. Fellowships only   2023/09/30   2027/09/29    $106,668     $106,668      $48,821     $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN    Single-Cell Multi-Omic Analysis of Cell Differentiation
3,636 F31AI177258   5F31AI177258-02     ARBOR                            in HIV Infection                                        LI, CHEN               Awarded. Fellowships only   2024/01/01   2025/12/31     $85,150      $85,150      $62,463     $42,809

                                                                        Understanding the Intergenerational Transmission of
                                                                        Risk in Black Mother-Infant Dyads: Postpartum
                                        STATE UNIVERSITY OF NEW YORK AT Depression, Physiological Synchrony, and Infant
3,637 F31HD114472   1F31HD114472-01A1   ALBANY                          Regulatory Development                              ARMAH, ANNABELLE            Awarded. Fellowships only   2024/07/29   2025/07/28     $34,436      $34,436      $23,386     $34,436

                                                                         Treatment Utilization During Community Reentry of
3,638 F31DA060010   1F31DA060010-01A1   UNIVERSITY OF RHODE ISLAND       Opioid Use Disorder Inpatients                         NEWBERGER, NOAM         Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $40,759     $48,974

                                        UNIVERSITY OF CALIFORNIA AT      A novel role for 14-3-3-ζ in regulating islet cell
3,639 F31DK139734   1F31DK139734-01A1   DAVIS                            crosstalk                                              SHISHANI, RAHAF         Awarded. Fellowships only   2024/07/15   2027/07/14     $41,972      $41,972      $34,916     $41,972

                                        UNIVERSITY OF CALIFORNIA         Advancing Perinatal Health Equity through a
3,640 F31MD019996   1F31MD019996-01     BERKELEY                         Community-engaged Model of Healthcare Services DE ORNELAS, MARIA               Award terminated            2024/08/20   2025/07/31     $48,974      $48,974      $35,890     $48,974

                                                                        Deciphering Mechanisms of Limb Malformations            HOLLINGSWORTH, ETHAN
3,641 F30HD110233   5F30HD110233-03     UNIVERSITY OF CALIFORNIA-IRVINE Caused by Noncoding Variants In Vivo                    W                    Awarded. Fellowships only      2023/01/01   2026/12/31    $133,220     $133,220     $100,474     $45,863

                                                                         Probing Molecular Mechanisms of Allosteric
3,642 F31AI186613   1F31AI186613-01     YALE UNIVERSITY                  Inhibition of HIV-1 Reverse Transcriptase              HOLLANDER, KLARISSA     Awarded. Fellowships only   2024/08/01   2026/07/31     $48,974      $48,974      $21,481     $48,974

                                        UNIV OF NORTH CAROLINA           Helping clinicians address digital information about
3,643 F30HD116454   1F30HD116454-01     CHAPEL HILL                      contraception with adolescents                         SMITH, CAMBRAY          Awarded. Fellowships only   2024/08/21   2029/08/20     $41,241      $41,241      $33,576     $41,241

                                                                         Investigating treatment strategies & clinical
                                        VIRGINIA POLYTECHNIC INST AND    outcomes of histotripsy for complete ablation of
3,644 F31CA294976   1F31CA294976-01     ST UNIV                          osteosarcoma                                           VICKERS, ELLIANA ROSE   Awarded. Fellowships only   2024/07/10   2026/07/09     $43,782      $43,782      $34,240     $43,782

                                        SLOAN-KETTERING INST CAN         A Mechanoimmunological Basis for Metastatic Site
3,645 F31CA294974   1F31CA294974-01     RESEARCH                         Preference                                             ELBANNA, YASSMIN        Awarded. Fellowships only   2024/07/06   2027/07/05     $48,974      $48,974      $26,975     $48,974

                                                                         Defining the molecular mediators of cell               KEROACK, CAROLINE
3,646 F32AI181488   1F32AI181488-01A1   BROWN UNIVERSITY                 morphogenesis in Trypanosoma cruzi                     DANA                    Awarded. Fellowships only   2024/12/01   2027/11/30     $74,284      $74,284      $17,458     $74,284

                                        UNIVERSITY OF PITTSBURGH AT                                                                                     Awarded. Non-fellowships
3,647 T32HL160526   5T32HL160526-04     PITTSBURGH                       Cardiothoracic Surgery Research Training Program       LUKETICH, JAMES D       only                        2021/12/01   2026/11/30   $1,241,111   $1,241,111    $601,598    $295,906

                                                                         Characterizing dopaminergic systems changing
3,648 F30DA061675   1F30DA061675-01     HARVARD MEDICAL SCHOOL           exploratory behavior in hungry animals                 KAMATH, TARUN           Awarded. Fellowships only   2024/07/01   2029/06/30     $41,656      $41,656      $36,952     $41,656

                                                                         Determining how a single-residue PKR mutation
                                        COLUMBIA UNIVERSITY HEALTH       found in patients with familial dystonia causes
3,649 F31NS139626   1F31NS139626-01     SCIENCES                         aberrant PKR activation                                GERTIE, JAKE ANDERS     Awarded. Fellowships only   2024/07/01   2028/06/30     $48,974      $48,974      $48,974     $48,974

                                                                                                                                                        Awarded. Non-fellowships
3,650 T35DK060444   2T35DK060444-21     UNIVERSITY OF CINCINNATI         Short-Term Institutional Research Training Grant       BLACKARD, JASON T       only                        2002/04/01   2029/06/30     $97,173      $97,173           $0     $97,173

                                        PENNSYLVANIA STATE UNIVERSITY,   Nasal uptake of polystyrene nanoplastics into the
3,651 F31ES036154   1F31ES036154-01A1   THE                              murine central nervous system                          GREENAWALT, DENVER      Awarded. Fellowships only   2024/09/01   2027/08/31     $35,944      $35,944      $25,899     $35,944

                                                                         Engineering CD4+ T cells to develop a novel
3,652 F31CA294972   1F31CA294972-01     EMORY UNIVERSITY                 immunotherapy for pancreatic cancer                    GEITGEY, DELANEY KATE   Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $33,148     $48,974

                                        MASSACHUSETTS GENERAL                                                                                           Awarded. Non-fellowships
3,653 T32DK007028   3T32DK007028-50S1   HOSPITAL                         Training Program in Endocrinology                      MILLER, KAREN K         only                        1975/07/01   2025/06/30   $4,573,173   $4,573,173   $4,197,141    $97,637

                                        UNIVERSITY OF CALIFORNIA, SAN    The Molecular Basis of Nasal Pit Morphogenesis and
3,654 F30DE033613   5F30DE033613-02     FRANCISCO                        its Role in Upper Lip Formation                    LUCIDO, LUKE DAVID          Awarded. Fellowships only   2023/12/01   2027/11/30     $93,858      $93,858      $68,344     $48,226
                                        RUTGERS BIOMEDICAL AND HEALTH Cravings role in biasing subjective value
3,655 F31DA061624   1F31DA061624-01     SCIENCES                      computation in food addiction                              SCHWEITZER, EMMA      Awarded. Fellowships only   2024/07/01   2026/06/30    $35,523    $35,523    $27,106   $35,523

                                                                         Investigation of Social and Behavioral Drivers of HIV
                                        UNIVERSITY OF ILLINOIS AT        Risk Among South African Adolescent Girls and
3,656 F30HD116496   1F30HD116496-01     CHICAGO                          Young Women                                             DEBRA, ALYSSA         Awarded. Fellowships only   2024/08/16   2028/05/15    $48,850    $48,850    $34,938   $48,850

                                        NEW YORK UNIVERSITY SCHOOL OF Elucidating the Molecular and Functional Diversity
3,657 F32HD116654   1F32HD116654-01     MEDICINE                      of Axial Motor Neurons                                     ADAMS, ALEXANDRA A    Awarded. Fellowships only   2024/09/10   2027/09/09    $76,756    $76,756    $37,828   $76,756

                                                                         Comprehensive Characterization of LVV Integration
                                                                         and Impact on Host Cell Biology using Novel
3,658 F31AI186545   1F31AI186545-01     UNIVERSITY OF LOUISVILLE         Genomic Technologies                              KAISER, CATHERINE           Awarded. Fellowships only   2024/07/01   2027/06/30    $35,822    $35,822    $24,037   $35,822

                                        CINCINNATI CHILDRENS HOSP MED Mucosal Associated Invariant T cells in the Obese-         CANNATA, ANGELA
3,659 F31HL167596   5F31HL167596-03     CTR                           asthma endotype                                            MARIE                 Awarded. Fellowships only   2023/01/23   2026/01/22   $124,465   $124,465    $68,425   $41,915

                                                                         Identifying differences in dynamics and residual
                                                                         structure of intrinsically disordered domains
                                        UNIVERSITY OF SOUTHERN           between monomer and fibers: using alpha-
3,660 F31NS131011   5F31NS131011-03     CALIFORNIA                       synuclein as a model                                    PACHECO, SAYURI       Awarded. Fellowships only   2023/01/19   2026/12/31   $145,642   $145,642   $108,614   $48,974

                                                                         QTL mapping with Collaborative Cross mice defines
3,661 F30AI176712   5F30AI176712-02     VANDERBILT UNIVERSITY            genes that promote allergic airway inflammation   RUSZNAK, MARK               Awarded. Fellowships only   2024/01/01   2027/12/31    $68,328    $68,328    $43,282   $34,164

                                                                         Investigating alterations in gustatory neuron
                                        UNIVERSITY OF TEXAS SAN          innervation and function over the course of
3,662 F31DC021875   5F31DC021875-02     ANTONIO                          chemotherapy treatment                                  WOOD, RYAN            Awarded. Fellowships only   2024/01/01   2026/12/31    $81,188    $81,188    $55,274   $40,594

                                                                         A human organoid approach to understanding the
3,663 F32AG090054   1F32AG090054-01     EMORY UNIVERSITY                 role of the locus coeruleus in Alzheimers disease TISH, MARGARET              Awarded. Fellowships only   2024/09/30   2027/09/29    $73,828    $73,828    $28,488   $73,828

                                                                      A data-driven framework for mapping transcranial
                                        BETH ISRAEL DEACONESS MEDICAL electrical stimulation effects on audiovisual
3,664 F32MH135669   1F32MH135669-01A1   CENTER                        integration and hallucinations                             TROTTI, REBEKAH       Awarded. Fellowships only   2024/06/10   2026/06/09    $73,828    $73,828    $56,969   $73,828

                                                                         Role of KCC2 in sympathetic dysfunction after spinal
3,665 F31NS139676   1F31NS139676-01     DREXEL UNIVERSITY                cord injury                                          WULF, MARIAH J           Awarded. Fellowships only   2024/09/01   2027/02/28    $48,974    $48,974    $25,455   $48,974
3,666 F31MH135692   1F31MH135692-01A1   TRUSTEES OF INDIANA UNIVERSITY   Racial Disparities in the Expression of Paranoia        WOLNY, J PAIGE        Awarded. Fellowships only   2024/07/26   2026/07/25    $48,974    $48,974    $47,470   $48,974

                                                                         Leveraging Robot-Based Haptic Dyads to Improve
3,667 F31HD116597   1F31HD116597-01     UNIVERSITY OF PENNSYLVANIA       Community-Based Stroke Rehabilitation                   WATERS, ERICA         Awarded. Fellowships only   2024/09/01   2028/08/31    $48,974    $48,974    $39,228   $48,974

                                        UNIVERSITY OF CALIFORNIA LOS     Post-Stroke Neurovascular Function and Repair
3,668 F31NS135993   5F31NS135993-02     ANGELES                          within a Porous Hydrogel                                RATHBUN, ELLE MAI     Awarded. Fellowships only   2024/01/01   2026/12/31    $89,532    $89,532    $65,333   $44,766

                                                                         Uncovering Nodal signaling and transcription factor
                                                                         interactions in somitic mesoderm development        MULLEN, ANDREW
3,669 F30HD113217   5F30HD113217-02     UNIVERSITY OF WASHINGTON         using single-cell deep learning methods             CARTER                    Awarded. Fellowships only   2023/08/16   2026/12/31    $96,488    $96,488    $90,269   $51,149

                                        ST. JUDE CHILDREN'S RESEARCH     Mucin inhibits pneumococcal stationary phase
3,670 F32AI186447   1F32AI186447-01     HOSPITAL                         autolysis                                               JOHNSON, CYDNEY N     Awarded. Fellowships only   2024/08/01   2025/09/30    $73,828    $73,828    $47,579   $73,828

                                                                         Dissecting the effect of diet on gut microbiome
3,671 F30DK139739   1F30DK139739-01A1   PRINCETON UNIVERSITY             metabolism                                              ABUSALIM, JENNA       Awarded. Fellowships only   2024/12/16   2028/12/15    $32,974    $32,974        $0    $32,974

                                        COLUMBIA UNIVERSITY HEALTH       The impact of Alzheimers disease on novel genetic       BULTHUIS, NICHOLAS
3,672 F31AG090071   1F31AG090071-01     SCIENCES                         signatures of hippocampal memory traces                 EDWARD                Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $44,270   $48,974

                                                                         Advancing Alzheimers Diagnosis: MRI-Based
                                                                         Predictive Modeling of Alzheimer’s Disease
3,673 F30AG090044   1F30AG090044-01     UPSTATE MEDICAL UNIVERSITY       Molecular Subtypes                                      MIKHAILOVA, TATIANA   Awarded. Fellowships only   2024/09/01   2028/08/31    $53,974    $53,974    $20,218   $53,974

                                                                         Traumatic Brain Injury, Mental Health Functioning,
                                        UNIVERSITY OF CALIFORNIA, SAN    and Substance Misuse Among Youth from the ABCD
3,674 F31DA061618   1F31DA061618-01     DIEGO                            Cohort.                                            DELFEL, EVERETT LEE        Awarded. Fellowships only   2024/09/01   2028/08/31    $44,401    $44,401    $20,055   $44,401
                                                                           Decoding Repression: Recruitment of epigenetic
                                        UNIV OF NORTH CAROLINA             silencers by RNA binding proteins and long non-
3,675 F31HD114456   1F31HD114456-01A1   CHAPEL HILL                        coding RNAs                                           ABRASH, ELIZABETH      Awarded. Fellowships only   2024/11/01   2026/10/31     $40,064      $40,064      $20,577     $40,064

                                        STATE UNIVERSITY OF NEW YORK AT
3,676 F31AI186661   1F31AI186661-01     BUFFALO                         Understanding the Antiviral Mechanism of MARCH9 D'ANGELO, MARY ROSE             Awarded. Fellowships only   2024/07/10   2027/07/09     $36,070      $36,070      $28,354     $36,070

                                        UNIVERSITY OF NEW MEXICO           Therapeutic Targeting of Adult Hippocampal
3,677 F31AA031920   1F31AA031920-01     HEALTH SCIS CTR                    Neurogenesis in a Mouse Model of FASD                 RODRIGUEZ, ARASELY M   Awarded. Fellowships only   2024/09/01   2026/08/31     $42,639      $42,639      $22,164     $42,639

                                                                           The role of biomolecular condensates in regulating
3,678 F32GM151858   5F32GM151858-02     DUKE UNIVERSITY                    the cytoskeleton.                                     GEISTERFER, ZACH       Awarded. Fellowships only   2023/12/01   2025/11/30    $143,364     $143,364      $98,814     $74,284

                                                                           Comprehensive Mechanisms in Reproductive                                     Awarded. Non-fellowships
3,679 T32HD098068   3T32HD098068-05S1   BAYLOR COLLEGE OF MEDICINE         Sciences                                              PANGAS, STEPHANIE A    only                        2020/05/01   2026/04/30   $2,051,782   $2,051,782   $1,714,771    $52,352

                                        SALK INSTITUTE FOR BIOLOGICAL      Defining the contributions of cerebello-spinal
3,680 F31NS130972   5F31NS130972-03     STUDIES                            projection neurons to dexterous movement              WILCOX, OREN FAIRLEE   Awarded. Fellowships only   2023/01/04   2026/01/03    $125,704     $125,704      $88,653     $44,052

                                                                           Examining dietary and metabolomics patterns on
                                        LSU PENNINGTON BIOMEDICAL          cardiometabolic outcome variability in response to
3,681 F32HL176217   1F32HL176217-01     RESEARCH CTR                       calorie restriction                                WOOLF, EMILY KATLYN       Awarded. Fellowships only   2024/08/12   2026/08/11     $78,328      $78,328      $40,018     $78,328

                                                                           Role of a novel dynorphinergic extended amygdala
                                                                           circuit in pain- and fentanyl abstinence- facilitated CUCINELLO-RAGLAND,
3,682 F32AA031897   1F32AA031897-01     WASHINGTON UNIVERSITY              alcohol drinking                                      JESSICA                Awarded. Fellowships only   2024/08/01   2026/06/30     $79,528      $79,528      $48,659     $79,528

                                                                         Characterization of a sensor domain for
                                        UNIVERSITY OF TEXAS HLTH SCIENCE cytoplasmic nucleic acid in the antiviral factor,
3,683 F31AI186499   1F31AI186499-01     CENTER                           SAMD9                                                   MORALES, MARISOL       Awarded. Fellowships only   2024/09/01   2025/08/31     $38,314      $38,314      $18,766     $38,314

                                        OREGON HEALTH & SCIENCE            Integrated Training in Quantitative and                                      Awarded. Non-fellowships
3,684 T32CA254888   5T32CA254888-05     UNIVERSITY                         Experimental Cancer Systems Biology                   COUSSENS, LISA M       only                        2021/02/01   2026/01/31   $1,783,692   $1,783,692   $1,294,142   $437,710

                                                                           Chronic MitoQ Supplementation for Improving
3,685 F31AG087709   1F31AG087709-01A1   UNIVERSITY OF COLORADO             Cerebrovascular Function in Older Adults              DARVISH, SANNA         Awarded. Fellowships only   2024/09/01   2027/08/31     $42,030      $42,030      $28,254     $42,030

                                                                           Functional Genomic Interrogation of Autism
                                        UNIVERSITY OF CALIFORNIA LOS       Spectrum Disorder Genetic Risk on Microglia-
3,686 F30MH135660   1F30MH135660-01A1   ANGELES                            Neuronal Interactions                                 HAWKEN, NATALIE        Awarded. Fellowships only   2024/07/01   2028/06/30     $41,308      $41,308      $18,816     $41,308

                                                                           Text-messaging Communication Micro-Intervention
3,687 F32CA278417   5F32CA278417-02     DUKE UNIVERSITY                    for Couples Coping with Advanced GI Cancer            LEO, KARENA            Awarded. Fellowships only   2023/09/01   2026/08/31    $145,635     $145,635     $118,095     $75,208

                                                                           Structure and Function of an ADAM10-Tspan5
3,688 F32GM155967   1F32GM155967-01     HARVARD MEDICAL SCHOOL             Complex                                               PRICE, OWEN M          Awarded. Fellowships only   2024/12/01   2026/11/30     $74,284      $74,284      $23,110     $74,284

                                        UNIVERSITY OF MIAMI SCHOOL OF      Machine Learning and Radiomics Techniques for
3,689 F30CA278357   5F30CA278357-02     MEDICINE                           Analysis of Daily MRI in Glioblastoma Patients        CULLISON, KAYLIE       Awarded. Fellowships only   2023/09/01   2026/08/31    $106,668     $106,668      $88,676     $53,974

                                                                           Dissecting the Role of TRPV1 in Triple-Negative Breast BLOOMER, HANAN
3,690 F30CA294624   1F30CA294624-01     TUFTS UNIVERSITY BOSTON            Cancer Innervation                                     CHRISTOPHER           Awarded. Fellowships only   2024/07/01   2028/06/30     $44,570      $44,570      $38,687     $44,570

                                        UNIVERSITY OF CONNECTICUT          Diagnose and Differentiate Dental Pain from Stress
3,691 F32DE033566   1F32DE033566-01A1   STORRS                             Using a Wearable Electrodermal Activity Device        KONG, YOUNGSUN         Awarded. Fellowships only   2024/12/01   2027/11/30     $80,556      $80,556      $29,631     $80,556

                                                                           Outer sphere tuning of a Eu(II)-containing contrast
3,692 F30EB035471   1F30EB035471-01A1   WAYNE STATE UNIVERSITY             agent for imaging hypoxia via MRI                     BATCHEV, ANDREA        Awarded. Fellowships only   2025/02/01   2030/01/31     $44,619      $44,619       $6,611     $44,619

                                                                                                                                 MENDELSON, JENNA
3,693 F31HL170585   1F31HL170585-01A1   UNIVERSITY OF MINNESOTA            Mechanisms of Large Animal RV Dysfunction             BLAIR                  Awarded. Fellowships only   2024/09/30   2026/09/29     $35,323      $35,323      $18,944     $35,323

                                                                       Neurocognitive Mechanisms Linking Early Parent-
                                                                       Child Relationship Quality to Transdiagnostic
3,694 F31HD111293   5F31HD111293-02     UNIVERSITY OF NEBRASKA LINCOLN Psychopathology at School Age                             PHILLIPS, ERIC         Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $70,528     $48,974

                                        UNIVERSITY OF CONNECTICUT          Contributions of Astrocyte Kir4.1/5.1 Channels to
3,695 F31HL167553   5F31HL167553-03     STORRS                             Disordered Breathing in Rett Syndrome                 STRAIN, MONICA         Awarded. Fellowships only   2023/01/06   2027/01/05    $136,702     $136,702     $121,717     $45,994
                                                                                                                          GEGENHUBER, JORDAN
3,696 F32NS134623   5F32NS134623-02     HARVARD MEDICAL SCHOOL          Genomic Mechanisms of BDNF Signaling in the Brain BRUNO                         Awarded. Fellowships only   2024/01/01   2026/10/31    $151,040     $151,040     $88,209    $76,756

                                                                        Group 1 Innate Lymphoid Cell Dysregulation in
3,697 F30CA250244   5F30CA250244-04     OHIO STATE UNIVERSITY           Acute Myeloid Leukemia                                  LORDO, MATTHEW          Awarded. Fellowships only   2022/01/03   2025/12/31    $192,758     $192,758    $173,523    $53,974

                                                                        Functional Analysis of Pathogenic Human PTEN
3,698 F31NS130899   5F31NS130899-03     YALE UNIVERSITY                 Variants in Early Neurodevelopment                      CARLSON, MARINA ALISE Awarded. Fellowships only     2022/12/16   2025/10/15    $115,682     $115,682     $76,281    $34,024

                                                                        Implementation determinants and community-
                                                                        based prevention for cardiometabolic disease in
3,699 F31HL175834   1F31HL175834-01     UNIVERSITY OF WASHINGTON        Mozambique: a pilot study                               BRUMWELL, AMANDA        Awarded. Fellowships only   2024/08/01   2027/07/31     $47,285      $47,285     $38,801    $47,285
3,700 F32GM153100   1F32GM153100-01A1   STANFORD UNIVERSITY             Formation and Regulation of Meiotic Crossovers          UEBEL, CELJA            Awarded. Fellowships only   2024/09/01   2025/08/31     $77,284      $77,284     $45,294    $74,284

                                                                        Uncovering the Regulatory Mechanisms of the Fork
3,701 F31DE034305   1F31DE034305-01     JOHNS HOPKINS UNIVERSITY        Head Transcription Factor                               LAUGHNER, NATHANIEL     Awarded. Fellowships only   2024/08/01   2027/07/31     $49,774      $49,774     $45,348    $49,774

                                        NEW YORK UNIVERSITY SCHOOL OF The influence of lymph node metastasis on local
3,702 F30CA288142   1F30CA288142-01A1   MEDICINE                      and systemic anti-tumor immunity                          VENTRE, KATHERINE       Awarded. Fellowships only   2024/08/01   2027/07/31     $41,614      $41,614     $28,969    $41,614

                                                                        Place and Time Processing of Pitch in the Context of
3,703 F30DC020916   5F30DC020916-03     PURDUE UNIVERSITY               Cochlear Dysfunction                                 SIVAPRAKASAM, ANDREW Awarded. Fellowships only         2023/01/01   2025/12/31    $160,662     $160,662    $116,803    $53,994

                                        UNIVERSITY OF CALIFORNIA, SAN   The role of decoy receptor IL-1R2 in Treg biology
3,704 F31CA278371   5F31CA278371-02     FRANCISCO                       and anti-tumor immunity                                 HABRYLO, IRENEUSZ       Awarded. Fellowships only   2023/07/01   2025/06/30    $106,668     $106,668     $94,237    $53,974

                                                                        Intimate Partner Violence and Depression
                                                                        Trajectories from mid-Adolescence to Young
3,705 F31HD116426   1F31HD116426-01     JOHNS HOPKINS UNIVERSITY        Adulthood                                               AKANDE, MORAYO          Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974     $38,595    $48,974

                                                                        The Influence of the Pretectum on the Pulvinar
3,706 F31EY036691   1F31EY036691-01     UNIVERSITY OF LOUISVILLE        Nucleus                                                 BOONE, HOWARD CHASE Awarded. Fellowships only       2025/01/01   2027/12/31     $35,822      $35,822      $7,739    $35,822

                                                                        The Role of LIMA1 in the Formation of the Giant
3,707 F31DK141157   1F31DK141157-01     VANDERBILT UNIVERSITY           Core Actin Bundles in Tuft Cells                        SILVERMAN, JENNIFER     Awarded. Fellowships only   2024/08/01   2026/07/31     $34,314      $34,314     $24,444    $34,314

                                                                        Sex Differences in Psychosocial and Neurocognitive
                                        UNIVERSITY OF CALIFORNIA LOS    Outcomes in Adults with Moderate to Complex        CABRERA-MINO,
3,708 F31NR020976   5F31NR020976-02     ANGELES                         Congenital Heart Disease                           CRISTINA                     Awarded. Fellowships only   2023/11/15   2025/08/14     $72,589      $72,589     $54,159    $32,813

                                                                                                                                WILLCOX, ALEXANDRA
3,709 F30AI181359   1F30AI181359-01A1   UNIVERSITY OF WASHINGTON        Characterizing host proteins that restrict Zika virus   CLAIBORNE               Awarded. Fellowships only   2024/08/01   2026/01/31     $49,802      $49,802     $40,969    $49,802

                                        UNIVERSITY OF MICHIGAN AT ANN   A translational approach to interrogate the gut
3,710 F31DK138603   1F31DK138603-01A1   ARBOR                           microbiome in sepsis-associated acute kidney injury WINNER, KATHERINE           Awarded. Fellowships only   2024/07/01   2026/06/30     $42,094      $42,094     $41,504    $42,094

                                                                        Mapping the functional organization of the cortex
                                                                        across development: The principal hierarchy and
3,711 F30MH138048   1F30MH138048-01     UNIVERSITY OF PENNSYLVANIA      transdiagnostic psychopathology risk                    SUN, KEVIN              Awarded. Fellowships only   2024/07/01   2027/06/30     $53,974      $53,974     $47,906    $53,974

                                                                        Investigating SMARCE1 in Regulating Cohesin
3,712 F31HD114273   1F31HD114273-01A1   UNIVERSITY OF PENNSYLVANIA      Activity, Chromatin Folding, and Gene Expression        WAI, MAY                Awarded. Fellowships only   2024/09/16   2027/09/15     $48,974      $48,974     $36,266    $48,974

                                                                        Examination of Health Disparities in ICU Delirium
                                                                        Prevention and Management for Patients Who
3,713 F31NR021096   1F31NR021096-01A1   UNIVERSITY OF WASHINGTON        Speak A Language Other Than English                     AHRENS, EMILY           Awarded. Fellowships only   2024/07/16   2025/07/15     $48,974      $48,974     $41,192    $48,974

                                                                        Defining the role of persistent DNA bridges in tumor-
                                                                        intrinsic immune activation in hereditary breast and
3,714 F31CA278265   5F31CA278265-02     YALE UNIVERSITY                 ovarian cancer                                        KOCAK, ECE                Awarded. Fellowships only   2023/09/01   2026/08/31     $94,596      $94,596     $64,381    $47,938
3,715 F30HL165822   5F30HL165822-02     UNIVERSITY OF ROCHESTER         The Origin and Function of Lung Megakaryocytes          LIVADA, ALISON CLAIRE   Awarded. Fellowships only   2023/09/15   2027/09/14    $106,668     $106,668     $51,817    $53,974

                                                                                                                                                        Awarded. Non-fellowships
3,716 T32AI007110   5T32AI007110-40     UNIVERSITY OF FLORIDA           Basic Microbiology and Infectious Disease               KARST, STEPHANIE M      only                        1978/07/01   2025/11/30   $1,126,290   $1,126,290   $912,913   $218,330

                                                                        The frequency and function of Type 3 Innate
                                                                        Lymphoid Cells regulates the melanoma tumor
3,717 F32CA294631   1F32CA294631-01     DUKE UNIVERSITY                 microenvironment                                        O'CONNOR, MARGARET      Awarded. Fellowships only   2024/07/01   2026/06/30     $77,284      $77,284     $67,767    $77,284
                                                                         NCAM drives synaptic remodeling in developing
3,718 F31NS134292   5F31NS134292-02     VANDERBILT UNIVERSITY            GABAergic neurons in C. elegans                      GAILEY, CASEY              Awarded. Fellowships only   2023/12/01   2026/10/31    $67,276    $67,276    $47,345   $34,287

                                                                         Examining Microglia Reactivation in Multiple
3,719 F31NS139508   1F31NS139508-01     WASHINGTON UNIVERSITY            Sclerosis                                            BARCLAY, KIA               Awarded. Fellowships only   2024/08/01   2026/07/31    $34,623    $34,623    $21,510   $34,623

                                                                         Control of retinal cell fate specification by the miR9- CALLIES, KATELYN NING
3,720 F31EY035932   1F31EY035932-01A1   SEATTLE CHILDREN'S HOSPITAL      2 disease gene locus                                    LULU                    Awarded. Fellowships only   2024/08/01   2027/07/31    $44,168    $44,168    $22,088   $44,168

                                                                         Factors influencing positive change in glycemic
                                                                         control and Type 2 diabetes self-management
                                                                         behavior among Latinx individuals in a digital
3,721 F32DK135200   5F32DK135200-02     MAYO CLINIC ROCHESTER            storytelling intervention: A mixed-methods study     LOHR, ABBY                 Awarded. Fellowships only   2023/12/01   2026/11/30   $148,864   $148,864   $100,972   $77,284

                                        ALBERT EINSTEIN COLLEGE OF       The Influence of Aging on Plasma Cell Function and
3,722 F31AI186234   1F31AI186234-01     MEDICINE                         Bone Marrow Competition                            OVANDO, LUIS JOSE            Awarded. Fellowships only   2024/09/01   2025/08/31    $48,974    $48,974    $28,684   $48,974

                                                                         Utilizing Plasma Proteomics to Identify Novel
3,723 F30AG085905   5F30AG085905-02     VANDERBILT UNIVERSITY            Biomarkers of Cognitive Aging                        ADEGBOYE, HAILEY           Awarded. Fellowships only   2023/12/01   2027/11/30    $68,592    $68,592    $46,028   $34,296

                                                                         Examining the relationship between caregiving
                                                                         factors, social determinants of health, and quality of
                                        PENNSYLVANIA STATE UNIVERSITY,   life among parental caregivers of adults with
3,724 F31NR021333   1F31NR021333-01     THE                              profound autism: A mixed methods study                 WELLINGTON, JESSICA      Awarded. Fellowships only   2024/07/01   2027/06/30    $37,206    $37,206    $24,930   $37,206

                                                                         Ascending Arousal Network Control of Sleep-Wake
                                        BOSTON UNIVERSITY MEDICAL        Structure in Humans Using Simultaneous EEG and       CICERO, NICHOLAS
3,725 F31NS139696   1F31NS139696-01     CAMPUS                           High-Resolution fMRI                                 GREGORY                    Awarded. Fellowships only   2025/01/01   2028/12/31    $48,974    $48,974     $8,820   $48,974

                                        ICAHN SCHOOL OF MEDICINE AT      Germline Stem Cell Establishment and the Role of
3,726 F31HD111230   5F31HD111230-02     MOUNT SINAI                      Dazl in Gametogenesis                                PAHIMA, MAYA               Awarded. Fellowships only   2023/11/01   2026/10/31    $93,468    $93,468    $54,542   $47,374



                                                                         Investigating the Mechanism of Hair Follicle Placode
                                                                         Induction : A novel approach to understanding
3,727 F30AR084861   1F30AR084861-01     PRINCETON UNIVERSITY             establishment of the periodic pattern                PHILLIPS, BROOKE K         Awarded. Fellowships only   2024/12/01   2029/11/30    $32,974    $32,974     $9,408   $32,974

                                                                         Defining the genetic mechanisms of ETS1
                                        UNIVERSITY OF MICHIGAN AT ANN    dependency in Notch-activated T Cell Acute
3,728 F30CA288021   1F30CA288021-01A1   ARBOR                            Lymphoblastic Leukemia (T-ALL)                       LIN, KARENA HSIJAN         Awarded. Fellowships only   2024/08/01   2026/08/31    $49,490    $49,490    $37,628   $49,490

                                                                         Improving engineered TCR-T cell therapy for solid
                                        FRED HUTCHINSON CANCER           tumors by targeting Tcf1+ stem-like reservoirs in
3,729 F31CA294918   1F31CA294918-01     CENTER                           tumor-draining lymph nodes                           NUTT, WILLIAM SAMUEL       Awarded. Fellowships only   2024/08/16   2026/08/15    $44,154    $44,154    $28,820   $44,154

                                                                         The impact of noise on temporal integration of
3,730 F32DC022145   1F32DC022145-01     UNIVERSITY OF ROCHESTER          speech in the human brain                            BOEBINGER, DANA            Awarded. Fellowships only   2025/01/01   2027/12/31    $77,284    $77,284    $21,532   $74,284

                                                                         A mixed-methods study of predictors and outcomes
                                                                         of methadone and buprenorphine receipt during
3,731 F31DA061612   1F31DA061612-01     BROWN UNIVERSITY                 incarceration                                    BAILEY, AMELIA                 Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $34,862   $48,974

                                        ICAHN SCHOOL OF MEDICINE AT      Defining Immune Dysfunction in Chronic Hepacivirus
3,732 F31AI186462   1F31AI186462-01     MOUNT SINAI                      Infection at Single Cell Resolution                BOBROWSKI, TESIA             Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974     $8,779   $48,974

                                        PENNSYLVANIA STATE UNIVERSITY,   Epigenetic and cellular mechanisms of age-related BRUNSWICK, CHAD
3,733 F31AG087533   1F31AG087533-01A1   THE                              memory updating impairments                       ARTHUR                        Awarded. Fellowships only   2024/09/01   2026/08/31    $37,124    $37,124    $21,925   $37,124

                                                                         The developmental origin of adult pluripotent stem   BUMP, PAUL ALEXANDER
3,734 F32GM153139   1F32GM153139-01A1   HARVARD UNIVERSITY               cells                                                KAI                        Awarded. Fellowships only   2025/01/01   2026/12/31    $74,284    $74,284    $19,036   $74,284

                                                                         Exploring Reactivity Among Patients with Chronic
                                                                         Pain Using Cannabis and Opioids: Mixed-Method
3,735 F32DA061600   1F32DA061600-01     JOHNS HOPKINS UNIVERSITY         Evidence of Promising Intervention Strategies        STONE, BRYANT MICHAEL Awarded. Fellowships only        2024/09/15   2026/09/14    $73,828    $73,828    $40,068   $73,828
                                                                          The role of H3F3A and ATRX co-mutation in
                                        UNIVERSITY OF MICHIGAN AT ANN     epigenetic dysregulation of developmental genes
3,736 F31CA287709   1F31CA287709-01A1   ARBOR                             in pediatric high-grade glioma                        MESSINGER, DANA          Awarded. Fellowships only   2024/06/18   2026/05/17    $41,895    $41,895    $40,766    $41,895

                                                                          Enabling Discovery-Based Brain Metabolomics with
                                        UNIVERSITY OF MICHIGAN AT ANN     Ultra-High Resolution Liquid Chromatography and
3,737 F32DA061554   1F32DA061554-01     ARBOR                             Machine Learning                                      CAIN, CAITLIN            Awarded. Fellowships only   2024/07/01   2027/06/30    $73,408    $73,408    $53,221    $73,408

                                                                          Elucidating the Neuropeptidome Implicated in
                                        UNIVERSITY OF WISCONSIN-          Crustacean Feeding Processes through Multiplexed
3,738 F31GM156104   1F31GM156104-01     MADISON                           Data-Independent Acquisition Mass Spectrometry   FIELDS, LAUREN                Awarded. Fellowships only   2025/01/01   2026/12/31    $37,165    $37,165    $10,651    $37,165

                                                                        Validating PLCG2 as a target for the treatment of
                                                                        Alzheimers Disease through cell biology and
3,739 F31AG089990   1F31AG089990-01     INDIANA UNIVERSITY INDIANAPOLIS pharmacological tools                                   BEDFORD, LOGAN           Awarded. Fellowships only   2024/09/30   2026/09/29    $38,513    $38,513    $20,230    $38,513

                                        UNIVERSITY OF CALIFORNIA, SAN     Identifying the Drivers and Consequences ofHost-
3,740 F31GM156042   1F31GM156042-01     DIEGO                             Microbiome Composition and Function                   BROE, TARYN              Awarded. Fellowships only   2024/12/01   2027/11/30    $41,957    $41,957    $19,507    $41,957

                                                                          STUDYING SINGLE NEURON COMPUTATIONS WITHIN
3,741 F30MH138009   1F30MH138009-01     JOHNS HOPKINS UNIVERSITY          BRAIN-WIDE CIRCUITS                                   XIE, MICHAEL EVEREST     Awarded. Fellowships only   2024/09/01   2027/08/31    $53,974    $53,974      $504     $53,974

                                                                          Defining host mechanisms that restrict EBV lytic
3,742 F31DE033216   5F31DE033216-02     DUKE UNIVERSITY                   reactivation                                          HAYNES, LAUREN           Awarded. Fellowships only   2023/08/01   2026/07/31    $84,041    $84,041    $69,368    $42,814

                                                                          Inflammatory Caspase Activation in Sickle Cell
3,743 F30HL172590   1F30HL172590-01A1   BAYLOR COLLEGE OF MEDICINE        Disease                                               SALGAR, SURUCHI          Awarded. Fellowships only   2024/09/01   2026/08/31    $49,362    $49,362    $20,184    $49,362

                                        UNIVERSITY OF MICHIGAN AT ANN     Elucidating the role of jails in MRSA community
3,744 F32MD017937   5F32MD017937-03     ARBOR                             transmission                                          ADEDIRAN, TIMILEYIN      Awarded. Fellowships only   2022/12/01   2025/11/30   $226,314   $226,314   $175,488    $79,456

                                                                          Input specific adaptations to glutamatergic
                                        UNIVERSITY OF PITTSBURGH AT       strength and plasticity on PFC PV-INs following
3,745 F31AA031397   1F31AA031397-01A1   PITTSBURGH                        ethanol drinking                                      FABIAN, CARLY B          Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $35,517    $48,974

                                                                          Defining the Bacteroidetes Type VI Secretion System
3,746 F31AI181533   1F31AI181533-01A1   DARTMOUTH COLLEGE                 MC-BP Interface and Regulation                      LATARIO, CASEY J           Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $19,598    $48,974

                                                                          Dynamic relations between interpersonal stressors,
                                                                          affective states, and binge eating in adolescent
3,747 F31MH138068   1F31MH138068-01     DREXEL UNIVERSITY                 girls                                                 D'ADAMO, LAURA           Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $35,795    $48,974

                                        HARVARD SCHOOL OF PUBLIC          Harnessing Redox Regulation of Proteasome             MORROW, CHRISTOPHER
3,748 F32AG085703   1F32AG085703-01A1   HEALTH                            Function to Promote Healthy Aging                     SCOTT               Awarded. Fellowships only        2024/08/09   2027/08/08    $79,756    $79,756    $47,511    $79,756

                                                                          Role of Orbitofrontal Cortex in Maladaptive Ethanol
3,749 F31AA031601   1F31AA031601-01A1   JOHNS HOPKINS UNIVERSITY          Seeking                                             SOTO, SAMANTHA             Awarded. Fellowships only   2024/09/16   2027/09/15    $48,974    $48,974    $36,933    $48,974

                                        UNIVERSITY OF NEBRASKA MEDICAL Negative reinforcement in early abstinence from an
3,750 F32AA032170   1F32AA032170-01     CENTER                         alcohol use disorder                               ZABIK, NICOLE LAUREN           Awarded. Fellowships only   2024/12/01   2026/11/30    $79,456    $79,456    $23,778    $79,456

                                                                          De novo mutations in replication-independent
                                                                          histone genes and an unexplored class of rare
3,751 F30HD112125   5F30HD112125-02     UNIVERSITY OF PENNSYLVANIA        pediatric mendelian syndromes                         LUBIN, EMILY ELIZABETH   Awarded. Fellowships only   2024/04/01   2027/03/31    $90,758    $90,758    $42,102    $36,784

                                        UNIVERSITY OF CALIFORNIA SANTA A postdoctoral training program for impactful                                     Awarded. Non-fellowships
3,752 T32HD108079   5T32HD108079-04     CRUZ                           careers in stem cell biology                             HINCK, LINDSAY E         only                        2022/05/01   2027/04/30   $883,639   $883,639   $423,691   $253,970

                                        UNIVERSITY OF TEXAS HLTH SCIENCE The Mechanistic Role of BRCA1-BARD1 DNA and
3,753 F30CA278370   5F30CA278370-03     CENTER                           RAD51 Binding in DNA Double-Strand Break Repair        JASPER, ANGELA MARY      Awarded. Fellowships only   2023/05/01   2027/04/30   $123,808   $123,808    $65,828    $47,216

                                                                          Evaluation of TFAP4 regulation of lysosome
3,754 F31NS141258   1F31NS141258-01     YALE UNIVERSITY                   biogenesis and modulation of tau pathology            OWENS, ASHLEY            Awarded. Fellowships only   2024/09/30   2026/09/29    $48,974    $48,974    $26,556    $48,974

                                                                          Closed-loop epidural stimulation: respiratory motor
3,755 F31HL174079   1F31HL174079-01A1   UNIVERSITY OF FLORIDA             plasticity and neural underpinnings                   MICKLE, ALYSSA RICHELLE Awarded. Fellowships only    2025/03/15   2027/03/14    $43,163    $43,163     $4,496    $43,163

                                                                          Long-range exchange of expectation, experience
3,756 F32DC022169   1F32DC022169-01A1   NEW YORK UNIVERSITY               and error during auditory-motor learning              KLINE, AMBER M           Awarded. Fellowships only   2024/09/01   2027/08/31    $74,284    $74,284    $40,172    $74,284
                                                                         Understanding the role of triggering receptor
                                        UNIVERSITY OF TEXAS HLTH SCI CTR expressed on myeloid cells 2 (TREM2) on microglia
3,757 F31NS141605   1F31NS141605-01     HOUSTON                          and macrophages in gliomas                              PESHOFF, MEKENZIE        Awarded. Fellowships only   2025/01/03   2027/09/03     $37,034      $37,034       $6,598    $37,034

                                        UNIVERSITY OF MICHIGAN AT ANN     Elucidating MCH neural circuitry underlying
3,758 F31DK135283   5F31DK135283-03     ARBOR                             consummatory behavior                                  FURMAN, KATHERINE L      Awarded. Fellowships only   2023/05/01   2026/04/30    $123,112     $123,112      $81,648    $41,464

                                                                          Developing an Accurate and Robust Targeting
                                        UNIVERSITY OF WISCONSIN-          Technique to Enable Transcostal Histotripsy
3,759 F30CA284541   5F30CA284541-02     MADISON                           Treatment of Liver Tumors                              FALK, KATRINA LAUREN     Awarded. Fellowships only   2024/05/01   2027/06/30     $79,168      $79,168      $39,379    $39,584

                                        MASSACHUSETTS EYE AND EAR         Investigating the role of tip link biophysics on MET
3,760 F32DC022491   1F32DC022491-01     INFIRMARY                         function                                               YEH, FRANK               Awarded. Fellowships only   2024/08/29   2027/08/28     $73,828      $73,828      $45,496    $73,828

                                        COLUMBIA UNIV NEW YORK            The genomic and synaptic basis of language             NARAYANAN,
3,761 F31DC022183   1F31DC022183-01A1   MORNINGSIDE                       disorder and learned sound association                 SHASHAANK                Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974       $9,925    $48,974

                                                                          Microbiome Contributions to Age-Associated
3,762 F30AG081097   5F30AG081097-03     UNIVERSITY OF PENNSYLVANIA        Cognitive Decline                                      COX, TIMOTHY             Awarded. Fellowships only   2023/04/01   2026/03/31    $125,718     $125,718      $81,259    $36,512

                                                                          Mass Spectrometry Techniques to Identify and
                                                                          Characterize New Indole/Tryptamine Chemical
                                                                          Probes for Understanding Psychedelics Therapeutic
3,763 F31DA060559   1F31DA060559-01A1   UNIVERSITY OF FLORIDA             Mechanism in Substance Use Disorders                   CHRISTOPHER, MICHAEL     Awarded. Fellowships only   2025/01/03   2028/01/02     $43,902      $43,902      $12,527    $43,902

                                                                          Long-term neural consequences of altered critical
3,764 F32MH139159   1F32MH139159-01     WASHINGTON UNIVERSITY             period timing.                                         POSTOLACHE, MAGGIE       Awarded. Fellowships only   2025/01/24   2028/01/23     $83,328      $83,328      $11,906    $83,328

                                                                          Receptor-Guided Discovery of Environmental
3,765 F31AI178993   5F31AI178993-02     HARVARD UNIVERSITY                Phages                                                 RAND, ELEANOR            Awarded. Fellowships only   2024/04/01   2027/03/31     $70,236      $70,236      $37,470    $35,118

                                                                          Identifying potential therapeutics for
                                                                          neurodevelopmental disorders using artificial
3,766 F30HD117505   1F30HD117505-01     BAYLOR COLLEGE OF MEDICINE        intelligence and transcriptional data                  DEISSEROTH, COLE         Awarded. Fellowships only   2024/12/01   2028/05/31     $49,362      $49,362      $16,000    $49,362

                                                                          Microbiome-induced changes following influenza
3,767 F32HD117584   1F32HD117584-01     JOHNS HOPKINS UNIVERSITY          infection during pregnancy                             SEIBERT, BRITTANY ANNE   Awarded. Fellowships only   2024/12/01   2027/11/30     $74,764      $74,764      $24,413    $74,764

                                        PENNSYLVANIA STATE UNIVERSITY,    Characterization of metal cofactors involved in        MBEUH LAHOM LOT,
3,768 F32GM157879   1F32GM157879-01     THE                               GDGT-MAS Csp3-Csp3 bond formation                      TAMRA CARLICIA           Awarded. Fellowships only   2024/12/01   2027/11/30     $73,828      $73,828       $5,084    $73,828

                                        UNIV OF NORTH CAROLINA                                                                                            Awarded. Non-fellowships
3,769 T32DK007737   3T32DK007737-29S1   CHAPEL HILL                       Gastroenterology Research Training                     SHEIKH, SHEHZAD Z        only                        1996/08/01   2026/06/30   $1,872,357   $1,872,357   $1,714,343   $91,953

                                                                          Multi-parametric MRI and PET imaging of rat spinal
3,770 F31NS135949   5F31NS135949-02     VANDERBILT UNIVERSITY             cord injury                                            MU, CHAOQI CHASE         Awarded. Fellowships only   2024/04/01   2025/08/31     $79,109      $79,109      $33,376    $30,135

                                                                          Multispecies investigation of early pregnancy loss
3,771 F31HD112117   5F31HD112117-02     YALE UNIVERSITY                   mechanisms using bioengineered stem cell models        ABEL, ASHLEY             Awarded. Fellowships only   2024/01/01   2025/12/31     $82,896      $82,896      $46,797    $33,922

                                                                          The cellular mechanisms and molecular evolution of
3,772 F31HD117557   1F31HD117557-01     PRINCETON UNIVERSITY              mammalian gliding membrane outgrowth               SEN, HARSHA                  Awarded. Fellowships only   2024/11/01   2027/10/31     $32,974      $32,974      $11,760    $32,974

                                        NEW YORK UNIVERSITY SCHOOL OF T cell acute lymphoblastic leukemia entry into the
3,773 F30CA298305   1F30CA298305-01     MEDICINE                      central nervous system                                     CHUNG, HYUNSOO           Awarded. Fellowships only   2025/04/01   2029/03/31     $53,974      $53,974           $0    $53,974

                                                                          HLA risk alleles cause Type 1 Diabetes by modifying
                                                                          the selection of T cell receptors that recognize       LAGATTUTA, KAITLYN
3,774 F30AI176724   5F30AI176724-02     HARVARD MEDICAL SCHOOL            pancreatic beta cell antigens                          ANNE                     Awarded. Fellowships only   2024/01/01   2026/12/31     $95,545      $95,545      $57,695    $53,974

                                                                          Stem Cell Competition in Skin Homeostasis and
3,775 F31AR085502   1F31AR085502-01     ROCKEFELLER UNIVERSITY            Premalignancy                                          THOMPSON, ELIZABETH      Awarded. Fellowships only   2025/04/18   2027/04/17     $48,974      $48,974           $0    $48,974

                                                                          Investigating neuroskeletal interactions in non-
3,776 F31DE033910   1F31DE033910-01A1   JOHNS HOPKINS UNIVERSITY          healing calvarial defect injuries                      HORENBERG, ALLISON       Awarded. Fellowships only   2024/12/01   2026/05/31     $49,774      $49,774      $14,227    $49,774

                                                                          Elucidating the Cellular and Molecular Mechanisms
3,777 F31AI183702   5F31AI183702-02     YALE UNIVERSITY                   of IgE Catabolism                                 ZHOU, KENNETH                 Awarded. Fellowships only   2024/04/01   2026/03/31     $97,948      $97,948      $37,312    $48,974
                                        UNIVERSITY OF CALIFORNIA, SAN     Hepatic Priming of CD4+ T cells Directs Effective       CAREY, NICHOLAS
3,778 F31DK135386   5F31DK135386-02     FRANCISCO                         Hepatitis B Virus Immunity                              DANIEL                 Awarded. Fellowships only   2024/03/15   2027/03/14    $94,406    $94,406    $47,203    $47,203

                                                                                                                                                         Awarded. Non-fellowships
3,779 T32HD007081   5T32HD007081-47     UNIVERSITY OF TEXAS AT AUSTIN     Training Program in Population Studies                  GOOSBY, BRIDGET J      only                        1977/07/15   2029/04/30   $779,050   $764,050   $287,786   $398,393


                                        BOSTON UNIVERSITY (CHARLES        Thalamocortical Circuits Governing Egocentric-      LACHANCE, PATRICK
3,780 F32MH139270   1F32MH139270-01     RIVER CAMPUS)                     Allocentric Spatial Reference Frame Transformations ADAM                       Awarded. Fellowships only   2024/09/30   2027/09/29    $74,284    $74,284    $45,418    $74,284

                                                                          Using computational modeling to formalize an
3,781 F31MH136730   1F31MH136730-01A1   UNIVERSITY OF VIRGINIA            integrated psychosocial theory of loneliness            TONER, EMMA ROSE       Awarded. Fellowships only   2025/01/01   2027/12/31    $40,237    $40,237    $12,565    $40,237

                                        REHABILITATION INSTITUTE OF       Neuromodulatory strategies targeting cortical and
                                        CHICAGO D/B/A SHIRLEY RYAN        spinal pathways to facilitate paretic leg motor
3,782 F32HD117548   1F32HD117548-01     ABILITYLAB                        control during walking in individuals with stroke       LIM, HYOSOK            Awarded. Fellowships only   2024/12/01   2026/11/30    $74,284    $74,284    $26,943    $74,284

                                        UNIVERSITY OF MICHIGAN AT ANN     Targeting the lipid kinase PIKfyve in pancreatic
3,783 F30CA288093   1F30CA288093-01A1   ARBOR                             ductal adenocarcinoma                                   CHENG, CALEB           Awarded. Fellowships only   2025/03/01   2028/02/29    $42,545    $42,545     $7,138    $42,545
3,784 F32HD114427   5F32HD114427-02     J. DAVID GLADSTONE INSTITUTES     Transcriptional variation in human milk                 NYQUIST, SARAH KATE    Awarded. Fellowships only   2024/01/01   2026/12/31   $146,364   $146,364    $89,474    $77,284

                                                                          The Role of VAP Membrane Contact Sites in Axonal
3,785 F31NS141318   1F31NS141318-01     DARTMOUTH COLLEGE                 Calcium Dynamics and Synaptic Transmission       PATON, CAMERON D              Awarded. Fellowships only   2024/12/02   2026/12/01    $48,974    $48,974    $16,679    $48,974


                                                                          Evaluating routine clinical decisions in providing
                                                                          primary care for people living with Alzheimers
                                                                          Disease or Alzheimers Related Disorders: using
                                        UNIVERSITY OF CALIFORNIA, SAN     electronic health records to provide timely
3,786 F31AG085965   5F31AG085965-02     FRANCISCO                         evidence                                                FERGUSON, ERIN LAURA   Awarded. Fellowships only   2024/05/01   2027/08/31    $85,201    $85,201    $39,808    $43,059

                                                                          Novel mechanism for eNAMPT secretion in PAH
3,787 F31AG082409   5F31AG082409-03     UNIVERSITY OF FLORIDA             vascular remodeling                                     RODRIGUEZ, MARISELA    Awarded. Fellowships only   2023/08/21   2025/08/20    $82,159    $82,159    $66,761    $42,056

                                                                          Elucidating the role of cyclin G-associated kinase as
3,788 F30DK142452   1F30DK142452-01     YALE UNIVERSITY                   a regulator of podocyte autophagy                     BUNDA, PATRICIA          Awarded. Fellowships only   2025/02/01   2029/01/31    $33,958    $33,958     $6,694    $33,958

                                        UNIVERSITY OF ILLINOIS AT                                                                                        Awarded. Non-fellowships
3,789 T32DK128782   3T32DK128782-04S1   CHICAGO                           UIC Diabetes Research Training Program                  UNTERMAN, TERRY G      only                        2021/06/01   2026/05/31   $780,399   $780,399   $658,962   $102,917

                                                                          The development and connectivity of starburst
3,790 F31EY037190   1F31EY037190-01     JOHNS HOPKINS UNIVERSITY          amacrine cells in human retinal organoids               TAYLOR, ALLISON        Awarded. Fellowships only   2025/01/01   2027/12/31    $48,974    $48,974    $10,699    $48,974

                                                                          Tau Pathology in Motor Regions and Parkinsonism in
                                                                          Chronic Traumatic Encephalopathy: A Comparison
                                        BOSTON UNIVERSITY MEDICAL         to Progressive Supranuclear Palsy and Corticobasal
3,791 F31NS127449   5F31NS127449-04     CAMPUS                            Degeneration                                       KIRSCH, DANIEL A            Awarded. Fellowships only   2022/05/01   2026/04/30   $192,394   $192,394   $126,070    $48,974

                                        UNIVERSITY OF COLORADO            Investigating the Human Metabolism of the Minor
3,792 F31AT013157   1F31AT013157-01     DENVER                            Cannabinoid Cannabichromene                             WARD, ALEXANDRA        Awarded. Fellowships only   2025/02/01   2028/01/31    $34,518    $34,518     $9,499    $34,518

                                                                          Using Real-Time Methods to Investigate Emotion
                                                                          Regulation as a Modifiable Target Connecting
3,793 F31MH136815   1F31MH136815-01A1   RUTGERS, THE STATE UNIV OF N.J.   Adolescent Social Media Use and Mood                    DREIER, MELISSA J      Awarded. Fellowships only   2024/09/01   2026/08/31    $42,574    $42,574    $22,585    $42,574

                                                                          Assessing the contributions of the ventral subiculum
                                        WAKE FOREST UNIVERSITY HEALTH     to the nucleus accumbens shell projection in a
3,794 F31AA032154   1F31AA032154-01     SCIENCES                          novel ethanol self-administration choice paradigm       ORTELLI, OLIVIA        Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $35,390    $48,974

                                                                          Optimizing chemical- and light-dependent protein
                                        UNIVERSITY OF MICHIGAN AT ANN     switches for controlling opioid peptide activity with   VAZQUEZ-RIVERA, LUIS
3,795 F31DA060678   1F31DA060678-01A1   ARBOR                             temporal control                                        ALONSO                 Awarded. Fellowships only   2025/01/01   2026/12/31    $42,144    $42,144    $15,985    $42,144

                                                                          Investigating the functional role of a degron in
3,796 F31HL174076   5F31HL174076-02     HARVARD UNIVERSITY                ASXL1 in hematopoiesis and disease                      SHEN, SIMON P          Awarded. Fellowships only   2024/04/01   2026/03/31    $76,521    $76,521    $44,827    $35,118

                                        NEW YORK UNIVERSITY SCHOOL OF Relationship Between Cortical Planning Activity and
3,797 F32NS140209   1F32NS140209-01     MEDICINE                      Disordered Spoken Interaction                       MANDELBERG, NATANIEL Awarded. Fellowships only             2025/05/01   2027/04/30    $81,592    $81,592        $0     $81,592
                                                                        The role of gasdermins in microglial activation and
3,798 F32AG084174   5F32AG084174-02     HARVARD MEDICAL SCHOOL          neurodegeneration in ALS/FTD                           GUNNER, GEORGIA        Awarded. Fellowships only   2023/09/30   2026/03/03    $143,364     $143,364      $80,355     $74,284

                                                                        Defining mechanisms of complement-mediated
3,799 F30AI179038   5F30AI179038-02     UNIVERSITY OF VIRGINIA          killing of Neisseria gonorrhoeae                       LAMB, EVAN R           Awarded. Fellowships only   2024/03/01   2026/02/28     $92,151      $92,151      $40,137     $53,974

                                        COLUMBIA UNIVERSITY HEALTH      Multiscale imaging of context-dependent decision-
3,800 F30MH135661   5F30MH135661-02     SCIENCES                        making                                            GRUSKIN, DAVID COURT        Awarded. Fellowships only   2024/03/15   2028/03/14    $101,874     $101,874      $50,937     $50,937

                                                                                                                               BRATHWAITE, RODERICK
3,801 F31CA271768   5F31CA271768-03     UNIVERSITY OF PENNSYLVANIA      Influence of Caffeine on Melanoma                      DION                   Awarded. Fellowships only   2023/01/01   2025/12/31    $132,462     $132,462     $109,639     $36,736

                                                                                                                                                      Awarded. Non-fellowships
3,802 T32CA009594   2T32CA009594-36     UNIVERSITY OF CHICAGO           Multi-Disciplinary Training Grant in Cancer Research MACLEOD, KAY F           only                        1989/09/22   2029/12/31    $423,807     $423,807     $191,425    $423,807

                                        WAKE FOREST UNIVERSITY HEALTH   Laboratory Animal & Comparative Medicine                                      Awarded. Non-fellowships
3,803 T32OD010957   5T32OD010957-48     SCIENCES                        Training                                               CLINE, J MARK          only                        1982/07/01   2028/03/31    $938,032     $938,032     $584,521    $458,268
3,804 F31NS125984   5F31NS125984-03     EMORY UNIVERSITY                The Novel Role of Cilia in Astrocyte Sevelopment       BEAR, RACHEL MARIE     Awarded. Fellowships only   2023/03/13   2026/01/12    $139,996     $139,996      $97,234     $44,270

                                        MEDICAL UNIVERSITY OF SOUTH                                                                                   Awarded. Non-fellowships
3,805 T32GM008716   3T32GM008716-25S2   CAROLINA                        TRAINING PROGRAM FOR MEDICAL SCIENTISTS                DEMORE, NANCY          only                        1999/07/01   2025/06/30   $3,867,419   $3,867,419   $3,686,450    $59,182

                                                                        Assessing the Contribution of Cortical Hyperactivity
                                                                        to ALS Phenotypes in a Human-Derived Motor
3,806 F31NS135955   5F31NS135955-02     EMORY UNIVERSITY                System                                                 PIO, TAYLOR            Awarded. Fellowships only   2024/04/01   2027/06/21     $97,948      $97,948      $48,654     $48,974

                                                                        Photoelectrocatalytic Trifluoromethylation of Arenes RAGURAM, ELAINE
3,807 F32GM153089   5F32GM153089-02     HARVARD UNIVERSITY              via Trifluoroacetate Decarboxylation                 REICHERT                 Awarded. Fellowships only   2024/04/01   2027/03/31    $147,236     $147,236      $71,125     $73,828

                                                                        Characterizing subsets of HIV-infected and
                                        ALBERT EINSTEIN COLLEGE OF      uninfected CD14+CD16+ monocytes that
3,808 F31MH132471   5F31MH132471-03     MEDICINE                        contribute to neuropathogenesis                        RUIZ, VANESSA          Awarded. Fellowships only   2023/01/16   2026/08/31    $159,720     $159,720     $120,184     $53,974

                                                                        The Role of Immunoglobulin Genetic Diversity in the
                                                                        Development of Neutralizing Antibodies Against HIV
3,809 F31AI179463   5F31AI179463-02     EMORY UNIVERSITY                Env Protein                                         EDWARDS, CHRISTOPHER Awarded. Fellowships only        2024/03/01   2027/02/28     $97,948      $97,948      $48,148     $48,974

                                                                        Investigating miRNA-Mediated Bone Loss from
3,810 F31AR084287   5F31AR084287-02     MAINEHEALTH                     Morphine Treatment                                     LANGLAIS, AUDRIE       Awarded. Fellowships only   2024/03/11   2026/03/10     $70,014      $70,014      $34,944     $35,082

                                                                        Single-Cell RNA Sequencing of Cardiac Organoids
                                                                        to Determine the Genetic Basis for Cell-Specific
3,811 F31HL168912   5F31HL168912-02     UNIVERSITY OF CHICAGO           Responses to Anticancer Drugs                          MCINTIRE, ERIK         Awarded. Fellowships only   2023/09/30   2026/09/29     $96,668      $96,668      $61,821     $48,974

                                                                        Development of an Intravenously Delivered
3,812 F32HL156515   5F32HL156515-03     UNIVERSITY OF VIRGINIA          Nanofiber to Target MMP-2 in Aortic Aneurysms          LEDFORD, BENJAMIN      Awarded. Fellowships only   2023/02/25   2026/02/24    $245,530     $245,530     $160,110     $86,932

                                                                        New Proximity Labeling Tools for Studying 3D           TAY, NICHOLAS ENG
3,813 F32GM149123   5F32GM149123-03     PRINCETON UNIVERSITY            Chromatin Structure and Function                       SOON                   Awarded. Fellowships only   2023/02/01   2026/01/31    $232,048     $232,048     $175,637     $81,364

                                                                        The role(s) of muscle resident fibro-adipogenic
                                                                        progenitor cells in massive rotator cuff tear
3,814 F31AR082701   5F31AR082701-02     DUKE UNIVERSITY                 pathologies.                                           RUECKERT, HELEN        Awarded. Fellowships only   2024/04/01   2026/03/31     $83,452      $83,452      $40,501     $41,893

                                                                        Targeting the Opposing Roles of Prostaglandin E2
                                                                        Receptors, EP3 and EP4, in the Pathogenesis of Type
3,815 F31DK138714   5F31DK138714-02     VANDERBILT UNIVERSITY           One Diabetes                                        BURKETT, JULIANN B        Awarded. Fellowships only   2024/03/01   2027/02/28     $68,500      $68,500      $36,508     $34,250

                                                                        The impact of pyruvate metabolic fate in
3,816 F32HL177926   1F32HL177926-01     UNIVERSITY OF UTAH              myofibroblast differentiation in myelofibrosis.        KRAH, NATHAN MICHAEL Awarded. Fellowships only     2025/02/01   2028/01/31     $78,892      $78,892      $16,623     $78,892

                                        UNIVERSITY OF CALIFORNIA        Supramolecular Dual Substrate Activation: Synthetic
3,817 F32GM153093   5F32GM153093-02     BERKELEY                        Methods via Coencapsulation                         TREACY, SEAN MICHAEL      Awarded. Fellowships only   2024/01/10   2026/01/09    $148,112     $148,112      $85,403     $74,284

                                                                                                                                                      Awarded. Non-fellowships
3,818 T32GM142515   3T32GM142515-04S1   SAN FRANCISCO STATE UNIVERSITY SFSU/UCSF M.S. Bridges to the Doctorate Program         FUSE, MEGUMI M         only                        2021/08/04   2026/07/31   $4,515,889   $4,515,889   $3,707,034   $176,585

                                                                        The Multiscale Role of Piezo Channels in Obesity-
3,819 F31AR079260   5F31AR079260-04     WASHINGTON UNIVERSITY           Associated Cartilage Damage                            ELY, ERICA VALENTINE   Awarded. Fellowships only   2022/04/01   2026/03/31    $189,834     $189,834     $121,720     $47,694
                                        UNIVERSITY OF PITTSBURGH AT      The role of cell surface glycosaminoglycans (GAGs)
3,820 F31DK136222   5F31DK136222-02     PITTSBURGH                       in PTHrP bias signaling                            SAVRANSKY, SOFYA          Awarded. Fellowships only   2024/04/01   2026/03/31    $97,948    $97,948    $41,403    $48,974

                                                                         Investigating the Mucin Utilization Capabilities of
3,821 F31AI179042   5F31AI179042-02     DUKE UNIVERSITY                  Akkermansia muciniphila                               SHARMA, AGASTYA        Awarded. Fellowships only   2024/02/01   2026/01/31    $97,948    $97,948    $54,932    $48,974

                                                                         Reprogramming Antigen Presenting Cells in Lymph
3,822 F32CA281087   5F32CA281087-02     STANFORD UNIVERSITY              Nodes to Overcome Tumor Immune Tolerance              HAYASHI, KAZUKUNI      Awarded. Fellowships only   2024/03/01   2027/02/28   $148,112   $148,112    $76,132    $74,284

                                                                         Elucidating the mechanisms of alphavirus              DINNON, KENNETH
3,823 F32AI176613   5F32AI176613-03     ROCKEFELLER UNIVERSITY           subgenomic RNA translation                            HAROLD                 Awarded. Fellowships only   2023/04/01   2026/03/31   $220,120   $220,120   $147,573    $76,756

                                        UNIVERSITY OF CALIFORNIA         Quantifying the impact of vaccines on antibiotic
3,824 F31AI174773   5F31AI174773-03     BERKELEY                         use for respiratory infections in children            KING, LAURA            Awarded. Fellowships only   2023/05/01   2027/04/30   $135,941   $135,941    $68,737    $46,368

                                                                         Pathophysiology and prevention of degeneration of
                                                                         heterograft biomaterials due to advanced
                                                                         glycation end products and serum protein
3,825 F31HL168909   5F31HL168909-03     UNIVERSITY OF PENNSYLVANIA       infiltration                                      THOMAS, TINA               Awarded. Fellowships only   2023/05/01   2026/04/30   $145,642   $145,642    $94,031    $48,974

                                        WEILL MEDICAL COLL OF CORNELL
3,826 F30EY033692   5F30EY033692-04     UNIV                          How neural signals are integrated over time              JANKE, ABIGAIL MARIE   Awarded. Fellowships only   2022/03/09   2026/03/08   $212,394   $212,394   $137,452    $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN    Development of Tissue-Specific Properties in Central GASTFRIEND, BENJAMIN
3,827 F32NS134680   5F32NS134680-02     DIEGO                            Nervous System Mural Cells                           DOMENIC                 Awarded. Fellowships only   2024/03/01   2026/02/28   $138,580   $138,580    $78,965    $69,500

                                        COLUMBIA UNIVERSITY HEALTH       Unraveling the neural mechanism underlying
3,828 F32DA060751   5F32DA060751-02     SCIENCES                         context-dependent decision making                     SHEN, JIA              Awarded. Fellowships only   2024/05/01   2027/04/30   $163,556   $163,556    $63,067    $81,364

                                        WEILL MEDICAL COLL OF CORNELL Regulation of Enteric Nervous System Function by
3,829 F32DK136248   5F32DK136248-03     UNIV                          Group 3 Innate Lymphoid Cells                            ZHOU, JORDAN ZHENG     Awarded. Fellowships only   2023/04/01   2026/03/31   $225,148   $225,148   $125,194    $78,892

                                                                         H2AJ as a regulator of placental senescence and
3,830 F30HD112087   5F30HD112087-03     YALE UNIVERSITY                  genome organization                                   JENSEN, TYLER BARRY    Awarded. Fellowships only   2023/04/16   2027/04/15   $120,478   $120,478    $66,504    $53,974

                                                                         The Role of Mental Imagery in Perceptual
                                                                         Abnormality Formation in Individuals at Clinical High-
3,831 F32MH139246   1F32MH139246-01     NORTHWESTERN UNIVERSITY          Risk for Psychosis                                     PRATT, DANIELLE N     Awarded. Fellowships only   2024/11/01   2027/10/31    $76,756    $76,756        $0     $76,756

                                                                         Identifying Molecular Mechanisms Regulating
3,832 F32EY034759   5F32EY034759-02     JOHNS HOPKINS UNIVERSITY         Retinal Aging                                         PALAZZO, ISABELLA      Awarded. Fellowships only   2023/09/11   2026/09/10   $143,364   $143,364   $112,497    $74,284

                                        UNIVERSITY OF TEXAS HLTH SCI CTR Optimal Stimuli as a New Method to Investigate        SLAPIK, MITCHELL
3,833 F30EY035603   5F30EY035603-02     HOUSTON                          Neural Networks                                       BENJAMIN               Awarded. Fellowships only   2024/01/01   2027/12/31    $71,392    $71,392    $45,192    $35,696

                                                                         Gating of Leptin Transport into the Cerebrospinal     KALUGIN, PETER
3,834 F30DK131642   5F30DK131642-04     HARVARD MEDICAL SCHOOL           Fluid at the Choroid Plexus                           NIKOLAEVICH            Awarded. Fellowships only   2022/04/01   2026/03/31   $185,566   $185,566   $132,248    $53,974

                                                                         Duke Training Grant in Digestive Diseases and                                Awarded. Non-fellowships
3,835 T32DK007568   3T32DK007568-33S1   DUKE UNIVERSITY                  Nutrition                                             MUIR, ANDREW J         only                        1988/07/01   2027/06/30   $876,717   $876,717   $833,132    $91,476

                                                                         Hypoxia morphology of Aspergillus fumigatus
3,836 F31AI188661   1F31AI188661-01     DARTMOUTH COLLEGE                impacts diagnostics                                   KORDANA, NICOLE E      Awarded. Fellowships only   2025/03/01   2027/02/28    $48,974    $48,974     $2,352    $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN    Systems genomics approach to targeting glucose
3,837 F31HL172581   5F31HL172581-02     FRANCISCO                        toxicity during pathological cardiomyocyte hypoxia FLANIGAN, WILL ROBERT     Awarded. Fellowships only   2024/02/01   2027/01/31    $97,948    $97,948    $58,659    $48,974

                                        UNIVERSITY OF CALIFORNIA         Synthetic Biology Approach in Engineered Algae for
3,838 F32HD114387   5F32HD114387-02     BERKELEY                         Improved Milk Fat Composition in Formula           LIN, YANG-TSUNG           Awarded. Fellowships only   2024/02/01   2027/01/31   $148,112   $148,112    $87,140    $74,284

                                                                         Developing Monoclonal Antibody Secreting Human
                                                                         Plasma Cells to Provide Long-Lasting EBV Immunity
3,839 F30AI164574   5F30AI164574-04     UNIVERSITY OF WASHINGTON         in Humanized Mice                                 HILL, TYLER F              Awarded. Fellowships only   2021/09/16   2025/09/15   $171,288   $171,288   $139,387    $29,387

                                        UNIVERSITY OF MARYLAND           Structural, Functional, and Neurobehavioral
3,840 F31MH136797   5F31MH136797-02     BALTIMORE                        Consequences of Adolescent COVID-19                   RYAN, MEGHANN          Awarded. Fellowships only   2024/04/01   2027/03/31    $73,186    $73,186    $34,336    $35,696

                                                                         Natural Products Research Training in                 VAN BREEMEN, RICHARD Awarded. Non-fellowships
3,841 T32AT010131   2T32AT010131-06     OREGON STATE UNIVERSITY          Complementary and Integrative Health                  B                    only                          2019/12/01   2029/11/30   $227,088   $227,088    $67,985   $227,088
                                        UNIVERSITY OF CALIFORNIA           Assessing direction selectivity map development in
3,842 F31EY033646   5F31EY033646-04     BERKELEY                           the retina                                                BISTRONG, KARINA    Awarded. Fellowships only   2022/02/01   2027/01/31    $176,990     $176,990     $156,617     $45,123

                                        UNIVERSITY OF CALIFORNIA, SAN      PreoP-SSI: Prediction and prevention of pediatric
3,843 F31HD114398   5F31HD114398-02     FRANCISCO                          surgical site infections                                  CHAN, CARRIE        Awarded. Fellowships only   2024/05/01   2027/04/30     $91,201      $91,201      $29,081     $46,059

                                        BOSTON UNIVERSITY MEDICAL          Compartment-specific inhibition and laminar circuit SNYDER, BENJAMIN
3,844 F30MH136779   5F30MH136779-02     CAMPUS                             dynamics in the primate prefrontal cortex.          JAMES                     Awarded. Fellowships only   2024/04/01   2027/03/31    $107,948     $107,948      $48,144     $53,974

                                                                                                                                                         Awarded. Non-fellowships
3,845 T35DC008757   5T35DC008757-18     FATHER FLANAGAN'S BOYS' HOME       Short-Term Research Training for AuD Students             JANKY, KRISTEN L    only                        2007/04/01   2028/03/31    $131,085     $131,085      $79,134     $44,515

                                        UNIVERSITY OF ILLINOIS AT URBANA- Interdisciplinary Research Training at the Interface                           Awarded. Non-fellowships
3,846 T32HD108075   5T32HD108075-02     CHAMPAIGN                         of Reproductive Sciences and Bioengineering                BAGCHI, INDRANI C   only                        2024/06/03   2029/04/30    $551,520     $551,520      $82,111    $275,760

                                                                           Uncovering the mechanism of virulence factor
3,847 F32AI176709   5F32AI176709-02     NORTHWESTERN UNIVERSITY            maturation in Haemophilus influenzae                      MANLEY, OLIVIA M    Awarded. Fellowships only   2024/01/01   2027/12/31    $151,040     $151,040      $87,105     $76,756

                                                                           Perinatal depressive symptoms and infant self-
                                                                           regulation: Pathways through infant autonomic
3,848 F31MH138042   1F31MH138042-01A1   UNIVERSITY OF MINNESOTA            regulation and postnatal maternal sensitivity             PADRUTT, EMILY R    Awarded. Fellowships only   2025/03/05   2027/03/04     $48,789      $48,789           $0     $48,789

                                                                           Interrogation of SidB-dependent septation for
                                        UNIVERSITY OF TENNESSEE HEALTH     echinocandin potentiation in invasive aspergillosis       THORN, HARRISON
3,849 F31AI191701   1F31AI191701-01     SCI CTR                            treatment                                                 IGNATZ              Awarded. Fellowships only   2025/04/15   2027/04/14     $40,396      $40,396           $0     $40,396

                                                                           Endogenous Protease Mediated Delivery of
                                        UNIVERSITY OF ILLINOIS AT          Engineered Immunomodulatory Extracellular
3,850 F30DE033904   5F30DE033904-02     CHICAGO                            Vesicles                                                  LEUNG, KASEY        Awarded. Fellowships only   2024/04/01   2028/03/31    $108,268     $108,268      $47,629     $54,774

                                                                           Insular Connectomic Mechanisms of Emotion
3,851 F30MH134460   5F30MH134460-02     DUKE UNIVERSITY                    Dysregulation and Neuromodulation                         GERLUS, NIMESHA     Awarded. Fellowships only   2024/05/01   2027/04/30     $84,628      $84,628      $41,557     $42,497

                                                                           Improving recovery for marginalized young adults
                                                                           living with serious mental illnesses using music-based
                                                                           self-management strategies: A mixed methods
3,852 F31MH139148   1F31MH139148-01A1   NEW YORK UNIVERSITY                study                                                  RODWIN, AARON H        Awarded. Fellowships only   2025/04/01   2027/03/31     $39,806      $39,806           $0     $39,806

                                                                           Elucidating mechanisms of mitochondrial DNA copy
3,853 F30AG089936   1F30AG089936-01A1   VANDERBILT UNIVERSITY              number regulation in aging                       GARCIA, ARLENE               Awarded. Fellowships only   2025/05/01   2028/04/30     $34,295      $34,295           $0     $34,295

                                                                                                                                                         Awarded. Non-fellowships
3,854 T32GM145402   3T32GM145402-03S1   STANFORD UNIVERSITY                Medical Scientist Training Program                        CHUA, KATRIN F      only                        2022/07/01   2027/06/30   $5,896,734   $5,896,734   $4,660,387    $59,936

                                        UNIVERSITY OF MARYLAND                                                                       ROGHMANN, MARY-     Awarded. Non-fellowships
3,855 T32GM136561   3T32GM136561-05S2   BALTIMORE                          Medical Scientist Training Program                        CLAIRE              only                        2020/07/01   2025/06/30   $4,017,159   $4,017,159   $3,937,950    $59,936

                                                                           Mapping Cortical Area Organization in Healthy
                                                                           Adults Using High-Resolution HCP Data: Insights into
3,856 F32MH140418   1F32MH140418-01     WASHINGTON UNIVERSITY              Human Brain Function and Morphology                       DEMIRCI, NAGEHAN    Awarded. Fellowships only   2025/04/01   2028/03/31     $78,328      $78,328           $0     $78,328

                                        MEDICAL UNIVERSITY OF SOUTH
3,857 F31HL170740   5F31HL170740-02     CAROLINA                           PTSD-Induced Alterations on Cardiac Homeostasis           CORKER, ALEXA       Awarded. Fellowships only   2024/05/08   2026/05/07     $97,948      $97,948      $48,974     $48,974

                                                                                                                                                         Awarded. Non-fellowships
3,858 T32DK007314   3T32DK007314-44S2   UNIVERSITY OF PENNSYLVANIA         Diabetes, Endocrine, and Metabolism                       STOFFERS, DORIS A   only                        1978/09/15   2026/06/30   $2,357,846   $2,357,846   $2,118,666    $39,932

                                                                           The association of a person-centered care
                                                                           intervention during childbirth with clinical and
                                        UNIV OF NORTH CAROLINA             patient-reported outcomes in Washington state
3,859 F31HD118796   1F31HD118796-01     CHAPEL HILL                        hospitals                                                 SPIGEL, LAUREN F    Awarded. Fellowships only   2025/04/10   2027/04/09     $44,136      $44,136           $0     $44,136

                                        COLUMBIA UNIVERSITY HEALTH         Disentangling the roles of endoplasmic reticulum
3,860 F30DC022796   1F30DC022796-01     SCIENCES                           stress and activity in the peripheral olfactory circuit   MIHAILA, TIBERIU    Awarded. Fellowships only   2025/01/15   2029/01/14     $50,928      $50,928      $24,108     $50,928

                                        RESEARCH INST NATIONWIDE           Training Program in Basic and Translational Pediatric                         Awarded. Non-fellowships
3,861 T32CA269052   5T32CA269052-04     CHILDREN'S HOSP                    Oncology Research                                     CRIPE, TIMOTHY P        only                        2022/04/01   2027/03/31   $1,448,653   $1,448,653    $865,697    $398,878
                                                                        Fluency from Flesh to Filament: Collation,
                                                                        Representation, and Analysis of Multi-Scale
                                                                        Neuroimaging data to Characterize and Diagnose
3,862 F30AG077736   5F30AG077736-03     JOHNS HOPKINS UNIVERSITY        Alzheimers Disease                                      STOUFFER, KAITLIN    Awarded. Fellowships only   2023/03/01   2026/02/28    $159,700     $159,700     $105,726     $53,974

                                                                                                                                ROUPHAEL, NADINE     Awarded. Non-fellowships
3,863 T32AI074492   3T32AI074492-16S1   EMORY UNIVERSITY                Training a new generation of vaccinologists             GEORGES              only                        2009/08/01   2029/08/31    $532,438     $532,438     $211,913     $96,453

                                                                        Investigating the Impacts of Vestibular and Auditory
                                                                        Function on Spatiotemporal Gait Characteristics
3,864 F32DC022769   1F32DC022769-01     OHIO STATE UNIVERSITY           and Spatial Navigation                               CANNON, SHAUNTELLE      Awarded. Fellowships only   2025/05/01   2027/04/30     $90,988      $90,988           $0     $90,988

                                                                        Investigating the relationship between embryonic        FANDEL, JOSHUA
3,865 F31HD118805   1F31HD118805-01     UNIVERSITY OF COLORADO          glucose homeostasis and neural tube closure             YOSHIOKA             Awarded. Fellowships only   2025/04/01   2028/03/31     $42,234      $42,234           $0     $42,234

                                        RUTGERS BIOMEDICAL AND HEALTH Mechanism of Par1c-mediated AMPA receptor
3,866 F31NS143354   1F31NS143354-01     SCIENCES                      trafficking and synaptic plasticity                       SHEAR, REBECCA       Awarded. Fellowships only   2025/04/01   2027/03/31     $42,574      $42,574           $0     $42,574

                                                                        Understanding the physiological roles of MOC
3,867 F32DC022782   1F32DC022782-01     PURDUE UNIVERSITY               efferent pathways for hearing in noise                  FARHADI, AFAGH       Awarded. Fellowships only   2025/01/01   2027/12/31     $73,828      $73,828      $19,768     $73,828

                                        COLUMBIA UNIVERSITY HEALTH      Neural Circuits for Evaluating Complex Motor
3,868 F31NS143402   1F31NS143402-01     SCIENCES                        Sequences in Female Songbirds                           CHEN, HANNAH SHU     Awarded. Fellowships only   2025/04/01   2026/09/30     $48,974      $48,974           $0     $48,974

                                                                                                                                                     Awarded. Non-fellowships
3,869 T32GM080202   3T32GM080202-15S2   MEDICAL COLLEGE OF WISCONSIN Medical Scientist Training Program                         SALZMAN, NITA H      only                        2010/07/01   2025/06/30   $3,118,418   $3,118,418   $2,902,669    $59,936

                                                                        Impact of autism genetic risk on cortical
3,870 F32MH130163   3F32MH130163-02S1   UNIVERSITY OF FLORIDA           sensorimotor dynamics                                   GOLOVIN, RANDALL M   Awarded. Fellowships only   2023/07/01   2026/06/30    $149,256     $149,256     $146,942      $3,000

                                                                                                                                                     Awarded. Non-fellowships
3,871 TL1DK143273   1TL1DK143273-01     BRIGHAM AND WOMEN'S HOSPITAL Training Core                                              GREKA, ANNA          only                        2024/09/01   2029/05/31   $1,367,059   $1,367,059      $9,704 $1,367,059

                                        UNIVERSITY OF ALABAMA AT        Streptococcus mutans diadenylate cyclase: A
3,872 F30DE030334   5F30DE030334-04     BIRMINGHAM                      promising target for preventing dental caries           ROJAS, EDWIN M       Awarded. Fellowships only   2021/07/01   2025/06/30    $212,140     $212,140     $195,991     $54,774

                                                                                                                                                     Awarded. Non-fellowships
3,873 TL1DK143326   1TL1DK143326-01     UNIVERSITY OF PENNSYLVANIA      Training Core                                           TONG, WEI            only                        2024/09/01   2029/05/31    $879,251     $879,251     $276,244    $879,251


3,874 F32GM153100   3F32GM153100-01A1S1 STANFORD UNIVERSITY             Formation and Regulation of Meiotic Crossovers          UEBEL, CELJA         Awarded. Fellowships only   2024/09/01   2025/08/31     $77,284      $77,284      $45,294      $3,000

                                                                        Identifying Molecular Markers and Local Axonal
                                        UNIVERSITY OF MICHIGAN AT ANN   Projections of Novel Neuron Types in the Auditory
3,875 F31DC023101   1F31DC023101-01     ARBOR                           Midbrain                                                HUEZ, ELIE           Awarded. Fellowships only   2025/05/01   2029/04/30     $42,545      $42,545           $0     $42,545

                                                                                                                                KERSCHENSTEINER,     Awarded. Non-fellowships
3,876 T32EY013360   5T32EY013360-24     WASHINGTON UNIVERSITY           Interdisciplinary Training in Vision Science            DANIEL               only                        2000/09/30   2027/03/31    $674,604     $674,604     $436,681    $180,845

                                        WEILL MEDICAL COLL OF CORNELL The Impact of Thalamocortical Axon Refinement on
3,877 F30HD114477   5F30HD114477-02     UNIV                          the Development of the Prefrontal Cortex         DAVIDSON, RINA LEAH           Awarded. Fellowships only   2024/03/18   2028/03/17    $104,672     $104,672      $45,722     $52,976

                                                                        Utilizing Receptor-defined Odor Coding Channels to
3,878 F32DC022517   1F32DC022517-01A1   UNIVERSITY OF UTAH              Understand Inhibitory Circuit Organization         HERRBOLDT, MADISON        Awarded. Fellowships only   2025/04/01   2028/03/31     $74,284      $74,284       $5,157     $74,284

                                                                        Understanding the role of emotion regulation
                                                                        flexibility in the association between daily stressors
                                                                        and emotional disorder symptoms in ethnic minority
3,879 F31MD018926   5F31MD018926-02     UNIVERSITY OF UTAH              college students                                       KAUR, KIRAN           Award terminated            2023/07/19   2025/10/31     $79,844      $79,844      $61,417     $40,562

                                                                        A small calcium-binding protein may be key to
                                                                        stabilizing the sensory hair cell stereocilia Elongation
3,880 F31DC020345   3F31DC020345-03S1   TUFTS UNIVERSITY BOSTON         Complex                                                  HARTIG, ELLEN I     Awarded. Fellowships only   2025/04/01   2025/06/30    $133,670     $133,670     $113,037      $3,000

                                                                                                                                                     Awarded. Non-fellowships
3,881 T32GM142617   3T32GM142617-03S1   EMORY UNIVERSITY                Medical Scientist Training Program                      YUSTEIN, JASON       only                        2022/07/01   2027/06/30   $4,373,757   $4,373,757   $3,971,805   $119,872

                                                                        Lipid Metabolism, Mitochondrial Stress, and
3,882 F32AG086035   1F32AG086035-01     UNIVERSITY OF MINNESOTA         Senescence                                              MONROE, BLAKE        Awarded. Fellowships only   2024/09/30   2025/09/29     $76,756      $76,756      $41,653     $76,756
                                                                        Human Behavioral Pharmacology of Substance                                    Awarded. Non-fellowships
3,883 T32DA007209   5T32DA007209-44   JOHNS HOPKINS UNIVERSITY          Abuse                                                STRAIN, ERIC C           only                        1981/02/01   2026/06/30   $2,090,155   $2,090,155   $1,835,730   $626,100

                                      UNIV OF NORTH CAROLINA            Interventions for Preventing and Managing Chronic SANTACROCE, SHEILA          Awarded. Non-fellowships
3,884 T32NR007091   5T32NR007091-29   CHAPEL HILL                       Illness                                           JUDGE                       only                        1996/09/01   2026/06/30   $1,769,531   $1,769,531   $1,620,779   $456,580

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
3,885 T32AR079068   5T32AR079068-04   FRANCISCO                         Academic Rheumatology and Clinical Immunology ZIKHERMAN, JULIE                only                        2021/06/01   2026/05/31   $1,671,158   $1,671,158   $1,514,613   $421,608

                                      UNIVERSITY OF CALIFORNIA LOS      Early Childhood Housing Condition, Education, and
3,886 F31MD019213   1F31MD019213-01   ANGELES                           Criminal Behavior                                 HESS, ANDREW J              Awarded. Fellowships only   2024/09/30   2025/09/29     $45,504      $45,504      $28,190     $45,504

                                                                        Infection and Immunity: The Pathogenesis of Host-                             Awarded. Non-fellowships
3,887 T32AI118689   5T32AI118689-08   UNIVERSITY OF ROCHESTER           Microbe Interactions                                 DUNMAN, PAUL M           only                        2015/07/01   2027/06/30    $801,414     $801,414     $662,911    $268,680

                                                                        Structural and biochemical characterization of
3,888 F31CA281197   5F31CA281197-02   HARVARD MEDICAL SCHOOL            VCPIP1 and VCP complex                               SHAH, BINITA             Awarded. Fellowships only   2023/07/01   2026/06/30     $85,126      $85,126      $73,695     $43,203

                                                                      Inducing H3F3A exon skipping with antisense
                                      STATE UNIVERSITY NEW YORK STONY oligonucleotides as an approach to treat diffuse
3,889 F30CA281196   5F30CA281196-02   BROOK                           intrinsic pontine glioma                               YANG, LUCIA              Awarded. Fellowships only   2023/06/01   2027/02/28     $81,274      $81,274      $61,608     $41,277

                                                                        Chemistry Biology Interface Training Program at                               Awarded. Non-fellowships
3,890 T32GM142519   5T32GM142519-04   WAYNE STATE UNIVERSITY            Wayne State University                               PFLUM, MARY KAY H        only                        2021/07/01   2026/06/30    $903,696     $903,696     $702,609    $250,605

                                                                        T32 Translational Addiction Research Fellowship                               Awarded. Non-fellowships
3,891 T32DA028874   5T32DA028874-14   UNIVERSITY OF PENNSYLVANIA        Program                                              CHILDRESS, ANNA ROSE     only                        2010/07/01   2028/06/30    $347,410     $347,410     $372,242     $18,343

                                      UNIVERSITY OF WISCONSIN-          Graduate Training in Cellular and Molecular                                   Awarded. Non-fellowships
3,892 T32GM135119   5T32GM135119-05   MADISON                           Pathogenesis of Human Diseases                       FABRY, ZSUZSANNA         only                        2020/07/01   2025/06/30   $1,526,965   $1,526,965   $1,385,318   $314,616

                                                                                                                                                      Awarded. Non-fellowships
3,893 T32GM145402   5T32GM145402-03   STANFORD UNIVERSITY              Medical Scientist Training Program                    CHUA, KATRIN F           only                        2022/07/01   2027/06/30   $5,896,734   $5,896,734   $4,660,387 $2,037,821

                                      UNIVERSITY OF CALIFORNIA AT       UC Davis DVM/PhD Medical Scientist Training          CUMMINGS, BETHANY        Awarded. Non-fellowships
3,894 T32GM136559   5T32GM136559-05   DAVIS                             Program                                              PAIGE                    only                        2020/07/01   2025/06/30   $1,418,975   $1,418,975   $1,307,453   $276,787

                                                                        Living Beyond Cancer: How Distance Impacts
3,895 F31CA288025   1F31CA288025-01   UNIVERSITY OF MINNESOTA           Childhood Cancer Survivorship Care                   THOMAS, AMANDA S         Awarded. Fellowships only   2024/08/23   2027/08/22     $45,668      $45,668      $44,596     $45,668

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                    Awarded. Non-fellowships
3,896 T32GM136614   5T32GM136614-05   ANGELES                           Chemistry Biology Interface Training Program         HARRAN, PATRICK G        only                        2020/07/01   2025/06/30   $2,229,555   $2,229,555   $2,051,409   $434,453

                                                                        MicroRNA-375 regulation of enteroendocrine cell       KOCH-LASKOWSKI,
3,897 F30OD031914   5F30OD031914-04   CORNELL UNIVERSITY                biology in diet-induced obesity and bariatric surgery KIERAN LOUISE           Awarded. Fellowships only   2021/06/01   2026/06/30    $183,696     $183,696     $182,176     $53,974

                                                                        Substance Abuse Intervention Outcome Research                                 Awarded. Non-fellowships
3,898 T32DA016184   5T32DA016184-22   BROWN UNIVERSITY                  Training                                             TIDEY, JENNIFER W        only                        2003/07/01   2028/06/30    $636,053     $636,053     $596,733    $222,595

                                      COLUMBIA UNIVERSITY HEALTH                                                                                      Awarded. Non-fellowships
3,899 T32HL007343   5T32HL007343-47   SCIENCES                          Postdoctoral Training in Arteriosclerosis Research   GINSBERG, HENRY N        only                        1978/07/01   2028/07/31   $1,374,728   $1,374,728    $914,130    $673,488

                                                                                                                                                      Awarded. Non-fellowships
3,900 T32AA028259   5T32AA028259-05   YALE UNIVERSITY                   Translational Alcohol Research Program (TARP)        VASILIOU, VASILIS        only                        2020/05/01   2026/04/30   $1,837,922   $1,837,922    $844,559    $320,498

                                                                        Diabetes, Endocrinology and Metabolism Training                               Awarded. Non-fellowships
3,901 T32DK007217   5T32DK007217-48   STANFORD UNIVERSITY               Grant                                                ANNES, JUSTIN PIERCE     only                        1976/07/01   2028/06/30    $831,699     $831,699     $709,647    $295,665

                                      UNIVERSITY OF MICHIGAN AT ANN     Environmental Toxicology and Epidemiology Pre-                                Awarded. Non-fellowships
3,902 T32ES007062   5T32ES007062-41   ARBOR                             and Post-Doctoral Research T32 Training Program      BATTERMAN, STUART A      only                        1979/07/01   2026/06/30   $2,636,531   $2,636,531   $2,612,357   $559,461

                                                                        Training Program on Development of Medications       MAKRIYANNIS,             Awarded. Non-fellowships
3,903 T32DA055553   5T32DA055553-03   NORTHEASTERN UNIVERSITY           for Substance Use Disorder                           ALEXANDROS               only                        2022/07/01   2027/06/30   $1,225,325   $1,225,325    $345,157    $224,689

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                  Awarded. Non-fellowships
3,904 T32EB002101   5T32EB002101-47   ANGELES                           Physics and Biology in Medicine Research Training    MCNITT-GRAY, MICHAEL F only                          1997/08/19   2028/06/30    $430,421     $430,421     $292,784    $219,257

                                                                        CO2 reactivity and orexin activation as predictors of
3,905 F31AA030936   5F31AA030936-02   UNIVERSITY OF TEXAS AT AUSTIN     extinction phenotype to fear and reward cues          RASKIN, MARISSA RENEE   Awarded. Fellowships only   2023/06/01   2025/05/31     $90,262      $90,262      $84,200     $45,771

                                      TEMPLE UNIV OF THE
3,906 F30HL172580   1F30HL172580-01   COMMONWEALTH                      IL-19 Modifies Lymphatic Flux During Hyperlipidemia PELUZZO, AMANDA           Awarded. Fellowships only   2024/09/16   2028/09/15     $34,803      $34,803      $18,790     $34,803
                                      VIRGINIA COMMONWEALTH                                                                                            Awarded. Non-fellowships
3,907 T32DA007027   5T32DA007027-49   UNIVERSITY                        Training in the pharmacology of abused drugs           DEWEY, WILLIAM L        only                        1976/07/01   2026/06/30   $2,780,156   $2,780,156   $2,356,464   $512,017

                                                                        Identifying Neurophysiological Markers of Emotion
                                                                        Regulation Relevant to Adolescent Depression
                                                                        Diagnosis and Prognosis: A Comparison of
3,908 F31MH127863   5F31MH127863-03   VANDERBILT UNIVERSITY             Classification Models                                  DICKEY, LINDSAY         Awarded. Fellowships only   2022/05/16   2025/05/15    $118,331     $118,331      $95,328     $36,334

                                      UNIV OF NORTH CAROLINA            Rho dependent regulation of Clostridioides difficile
3,909 F32AI181516   1F32AI181516-01   CHAPEL HILL                       virulence                                              PLASKON, DYLAN          Awarded. Fellowships only   2024/09/01   2027/08/31     $74,284      $74,284      $39,690     $74,284

                                      PENNSYLVANIA STATE UNIVERSITY,                                                                                   Awarded. Non-fellowships
3,910 T32DA017629   5T32DA017629-19   THE                               Prevention and Methodology Training                    MAGGS, JENNIFER L       only                        2005/07/01   2026/06/30   $2,013,204   $2,013,204   $1,884,219   $535,514

                                      UNIVERSITY OF CALIFORNIA, SAN     Training in Research on Addictions in                                          Awarded. Non-fellowships
3,911 T32DA031098   5T32DA031098-14   DIEGO                             Interdisciplinary NeuroAIDS (TRAIN)                    MOORE, DAVID J          only                        2011/07/01   2026/06/30   $1,666,268   $1,666,268   $1,369,768   $443,197

                                      UNIVERSITY OF CALIFORNIA AT                                                                                      Awarded. Non-fellowships
3,912 T32GM144303   5T32GM144303-03   DAVIS                             Training Program in Pharmacology                       HELL, JOHANNES W        only                        2022/07/01   2027/06/30   $1,298,634   $1,298,634   $1,118,356   $479,169

                                      MEDICAL UNIVERSITY OF SOUTH                                                                                    Awarded. Non-fellowships
3,913 T32DA007288   5T32DA007288-33   CAROLINA                          Drug Abuse Training Program                            MCGINTY, JACQUELINE F only                          1991/09/30   2027/06/30   $1,603,766   $1,603,766   $1,419,699   $669,107

                                                                        Mechanisms of wildfire smoke toxicity and
                                      UNIV OF NORTH CAROLINA            susceptibility involving extracellular vesicles in
3,914 F32ES036096   1F32ES036096-01   CHAPEL HILL                       humans                                                 HICKMAN, ELISE DANIELLE Awarded. Fellowships only   2024/06/01   2025/05/31     $74,284      $74,284      $61,478     $74,284

                                                                        Training in genetic and neurobehavioral                                        Awarded. Non-fellowships
3,915 T32DA050560   5T32DA050560-05   UNIVERSITY OF MINNESOTA           mechanisms of addiction                                LUCIANA, MONICA         only                        2020/07/01   2025/06/30   $1,619,323   $1,619,323   $1,219,758   $368,281

                                                                                                                                                       Awarded. Non-fellowships
3,916 T32HL007779   2T32HL007779-31   UNIVERSITY OF MINNESOTA           Cardiovascular Disease Epidemiology & Prevention PANKOW, JAMES S               only                        1994/07/01   2029/06/30    $506,529     $506,529     $252,444    $506,529

                                                                        ATG2 mediated lipid transport is essential for lipid
3,917 F31DK136246   5F31DK136246-02   YALE UNIVERSITY                   droplet homeostasis                                    KORFHAGE, JUSTIN        Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $67,564     $48,974

                                                                        University of Rochester Medical Scientist Training                             Awarded. Non-fellowships
3,918 T32GM152318   1T32GM152318-01   UNIVERSITY OF ROCHESTER           Program                                                O'BANION, M KERRY       only                        2024/07/01   2029/06/30    $958,975     $958,975     $597,085    $958,975

                                                                      Indiana University Comprehensive Training in Clinical                            Awarded. Non-fellowships
3,919 T32GM008425   5T32GM008425-32   INDIANA UNIVERSITY INDIANAPOLIS Pharmacology                                          DESTA, ZERUESENAY          only                        1992/07/01   2028/06/30    $760,685     $760,685    $1,013,832   $565,977

                                      UNIVERSITY OF CALIFORNIA, SAN     The Role of Chromosome Y in Human Microglia and
3,920 F30HD112148   5F30HD112148-02   DIEGO                             Neurodevelopment                                NGUYEN, CELINA TIEN            Awarded. Fellowships only   2023/06/01   2027/05/31     $82,657      $82,657      $69,038     $42,188

                                                                                                                                                       Awarded. Non-fellowships
3,921 T32MH065215   5T32MH065215-20   VANDERBILT UNIVERSITY             Postdoctoral Program in Functional Neurogenomics COLBRAN, ROGER J              only                        2002/07/15   2025/06/30   $1,577,987   $1,577,987   $1,357,555   $330,171

                                                                                                                                                      Awarded. Non-fellowships
3,922 T32TR004385   1T32TR004385-01   UNIVERSITY OF MINNESOTA           CTSA Predoctoral T32 at University of Minnesota        FULKERSON, JAYNE ALLYN only                         2024/07/01   2029/06/30    $449,855     $449,855     $311,913    $449,855

                                                                        Training in Biotechnology: Emphasis in Protein                                 Awarded. Non-fellowships
3,923 T32GM152310   1T32GM152310-01   WASHINGTON STATE UNIVERSITY       Chemistry                                              LANGE, BERND MARKUS     only                        2024/07/01   2029/06/30    $549,359     $549,359     $360,238    $549,359

                                      MASSACHUSETTS GENERAL                                                                                            Awarded. Non-fellowships
3,924 T32GM007592   2T32GM007592-46   HOSPITAL                          Research Training for Anesthetists                     FORMAN, STUART A        only                        1978/07/01   2029/06/30    $742,629     $742,629     $219,644    $742,629

                                      VANDERBILT UNIVERSITY MEDICAL     Vanderbilt University Cardiovascular Medicine                                  Awarded. Non-fellowships
3,925 T32HL170965   1T32HL170965-01   CENTER                            Training Program                                       FREEDMAN, JANE E        only                        2024/07/01   2029/06/30    $439,676     $439,676     $126,880    $439,676

                                      UNIVERSITY OF TEXAS MED BR                                                               HOMMEL, JONATHAN        Awarded. Non-fellowships
3,926 TL1TR001440   5TL1TR001440-10   GALVESTON                         NRSA Training Core                                     DEAN                    only                        2015/08/18   2026/03/31   $1,771,284   $1,771,284   $1,680,734   $444,263

                                                                        MARC at Georgia State University: Workforce                                    Awarded. Non-fellowships
3,927 T34GM131939   5T34GM131939-05   GEORGIA STATE UNIVERSITY          Diversity through Honors Undergraduates                FRANTZ, KYLE J          only                        2019/06/01   2025/05/31   $1,664,257   $1,664,257   $1,336,009   $358,132

                                                                        The Effect of mWAKE in the Subfornical Organ on
3,928 F31NS127553   5F31NS127553-02   JOHNS HOPKINS UNIVERSITY          the Circadian Regulation of Water Consumption          BLANK, ELIJAH           Awarded. Fellowships only   2022/05/23   2026/05/22     $94,446      $94,446      $46,637     $47,694

                                                                                                                                                       Awarded. Non-fellowships
3,929 T32AI007163   2T32AI007163-46   WASHINGTON UNIVERSITY             Training Program in Basic Immunology                   MURPHY, KENNETH M       only                        1978/07/01   2029/07/31    $367,870     $367,870     $181,906    $367,870
                                      UT SOUTHWESTERN MEDICAL                                                                                          Awarded. Non-fellowships
3,930 T32AI005284   5T32AI005284-45   CENTER                            Integrative Immunology Training Grant                  HOOPER, LORA V          only                         1980/07/01   2025/06/30   $1,503,972   $1,503,972   $1,403,700   $302,978

                                                                        Non-canonical roles for ATM kinase in regulating
3,931 F31CA268774   5F31CA268774-03   DUKE UNIVERSITY                   mitochondrial function and redox homeostasis           BURRELL, PAIGE ELIZABETH Awarded. Fellowships only   2022/06/01   2025/05/31    $126,223     $126,223     $122,305     $41,391

                                                                        Integrated Clinical Neuroscience Training for                                  Awarded. Non-fellowships
3,932 T32MH093311   5T32MH093311-13   FLORIDA STATE UNIVERSITY          Translational Research                                 KEEL, PAMELA K          only                         2012/07/01   2027/06/30    $719,770     $719,770     $473,108    $180,645

                                                                                                                                                       Awarded. Non-fellowships
3,933 T32AI007324   5T32AI007324-30   UNIVERSITY OF PENNSYLVANIA        Training in Virology                                   BATES, PAUL             only                         1989/07/01   2025/07/31   $1,399,455   $1,399,455   $1,274,908   $290,481
3,934 F31EY035880   1F31EY035880-01   UNIVERSITY OF WASHINGTON          The distributed basis of visual cortical variability   LI, ANNA                Awarded. Fellowships only    2024/06/16   2027/06/15     $48,974      $48,974      $34,563     $48,974

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
3,935 T32AI007334   5T32AI007334-35   FRANCISCO                         Molecular and Cellular Immunology                      CYSTER, JASON G         only                         1988/09/01   2025/07/31   $2,750,451   $2,750,451   $2,776,770   $593,525

                                                                        The Molecular and Cellular Basis of Infectious                                 Awarded. Non-fellowships
3,936 T32AI007417   5T32AI007417-29   JOHNS HOPKINS UNIVERSITY          Diseases (MCBID) Program                               CASADEVALL, ARTURO      only                         1994/09/01   2026/06/30   $2,384,973   $2,384,973   $2,287,416   $609,749

                                      UNIVERSITY OF CONNECTICUT         UConn Undergraduate Training Program for                                       Awarded. Non-fellowships
3,937 T34GM127184   5T34GM127184-05   STORRS                            Maximizing Access to Research Careers                  LOTURCO, JOSEPH J       only                         2019/06/01   2025/05/31   $1,060,724   $1,060,724    $864,381    $225,201

                                      STATE UNIVERSITY NEW YORK STONY                                                                                  Awarded. Non-fellowships
3,938 T32AI007539   5T32AI007539-25   BROOK                           Molecular and Cell Biology of Infectious Diseases        KONOPKA, JAMES B        only                         1998/09/30   2025/08/31   $1,212,396   $1,212,396   $1,203,749   $270,440

                                                                        Immunological Mechanisms of Disease Training                                   Awarded. Non-fellowships
3,939 T32AI138932   5T32AI138932-05   VANDERBILT UNIVERSITY             Program                                                RATHMELL, JEFFREY C     only                         2019/08/05   2025/07/31   $1,438,463   $1,438,463   $1,279,311   $300,371

                                      UNIVERSITY OF WISCONSIN-                                                                                         Awarded. Non-fellowships
3,940 T32GM152341   1T32GM152341-01   MADISON                           Chemistry-Biology Interface Training Program           BLACKWELL, HELEN E      only                         2024/07/01   2029/06/30    $549,359     $549,359     $454,463    $549,359

                                                                        Prospective contributions of the vaginal
                                      UNIVERSITY OF MARYLAND            microbiome and immune milieu to spontaneous
3,941 F32AI181170   1F32AI181170-01   BALTIMORE                         Chlamydia trachomatis clearance                        CARTER, KAYLA A         Awarded. Fellowships only    2024/08/01   2025/09/24     $76,996      $76,996      $48,368     $76,996

                                                                                                                                                       Awarded. Non-fellowships
3,942 T32GM110523   5T32GM110523-10   MICHIGAN STATE UNIVERSITY         Plant Biotechnology for Health and Sustainability      LAST, ROBERT LOUIS      only                         2014/07/01   2025/06/30   $1,275,129   $1,275,129   $1,150,647    $95,133

                                      UNIVERSITY OF MIAMI CORAL         Behavioral Medicine Research in Cardiovascular                                 Awarded. Non-fellowships
3,943 T32HL007426   5T32HL007426-45   GABLES                            Disease                                                PENEDO, FRANK J         only                         1994/07/01   2025/06/30   $1,536,852   $1,536,852   $1,659,025   $276,090

                                      UNIV OF NORTH CAROLINA                                                                                           Awarded. Non-fellowships
3,944 T32CA128582   5T32CA128582-15   CHAPEL HILL                       Cancer Health Disparities Training Program             TATE, DEBORAH F         only                         2009/09/01   2025/08/31   $1,764,553   $1,764,553   $1,418,449   $140,945

                                      UNIVERSITY OF WISCONSIN-                                                                                         Awarded. Non-fellowships
3,945 T32DK007665   5T32DK007665-30   MADISON                           Molecular and Applied Nutrition Training Program       EISENSTEIN, RICHARD S   only                         1993/04/01   2025/06/30   $2,561,214   $2,561,214   $2,536,736   $531,465

                                                                                                                                                       Awarded. Non-fellowships
3,946 T32HL007741   5T32HL007741-30   UNIVERSITY OF MINNESOTA           Training in Lung Science                               WENDT, CHRIS H          only                         1994/07/15   2025/07/31   $3,293,112   $3,293,112   $3,273,128   $324,046

                                      WEILL MEDICAL COLL OF CORNELL Chromunities Drive Transcriptional Reprogramming
3,947 F31CA271776   5F31CA271776-02   UNIV                          in Humoral Immunity and B-cell Lymphomas                   DURMAZ, CEYDA           Awarded. Fellowships only    2023/09/21   2026/09/20     $96,668      $96,668      $83,572     $48,974

                                      WEILL MEDICAL COLL OF CORNELL                                                                                    Awarded. Non-fellowships
3,948 T32MH019132   5T32MH019132-34   UNIV                          Research Fellowship in Geriatric Mood Disorders            GUNNING, FAITH M        only                         1990/03/01   2026/06/30    $578,665     $578,665     $397,005     $91,378

                                      UNIV OF NORTH CAROLINA            The Proactive and Reactive Neuromechanics of           EICHENLAUB, EMILY
3,949 F31AG084241   1F31AG084241-01   CHAPEL HILL                       Instability in Aging and Dementia with Lewy Bodies     KATHRYN                 Awarded. Fellowships only    2024/01/01   2027/06/30     $39,468      $39,468      $34,102     $39,468

                                                                        University of New Mexico Leading Equity and
                                      UNIVERSITY OF NEW MEXICO          Diversity in the Medical Scientist Training Program                            Awarded. Non-fellowships
3,950 T32GM152941   1T32GM152941-01   HEALTH SCIS CTR                   (UNM LEAD MSTP)                                        BACA, JUSTIN THOMAS     only                         2024/07/01   2029/06/30    $127,460     $127,460      $64,790    $127,460

                                                                                                                                                       Awarded. Non-fellowships
3,951 T32HL007909   5T32HL007909-25   NORTHWESTERN UNIVERSITY           Training Grant in Circadian and Sleep Research         TUREK, FRED W           only                         1998/07/01   2026/02/28   $2,448,563   $2,448,563   $2,172,572   $420,281

                                                                        Training in Complex Systems and Data Science
                                      UNIVERSITY OF VERMONT & ST        Approaches Applied to the Neurobiology of Drug                                 Awarded. Non-fellowships
3,952 T32DA043593   5T32DA043593-05   AGRIC COLLEGE                     Use                                                    GARAVAN, HUGH P         only                         2018/07/01   2025/06/30   $1,192,460   $1,192,460    $967,506    $176,813
                                        NORTH CAROLINA AGRI & TECH ST MARC Undergraduate Student Training in                                           Awarded. Non-fellowships
3,953 T34GM083980   5T34GM083980-15     UNIV                          Academic Research (U-STAR) NC A&T                        RORIE, CHECO JAMES      only                        2008/06/01   2025/05/31   $2,196,436   $2,196,436   $2,041,174   $446,347

                                                                                                                                                       Awarded. Non-fellowships
3,954 T32DC000018   5T32DC000018-40     UNIVERSITY OF WASHINGTON          Research Training in Otolaryngology                  STONE, JENNIFER S       only                        1983/07/01   2025/06/30   $2,010,410   $2,010,410   $1,946,638   $301,822

                                                                                                                                                       Awarded. Non-fellowships
3,955 T32GM007347   5T32GM007347-45     VANDERBILT UNIVERSITY             Medical Scientist Training Program                   WILLIAMS, CHRISTOPHER S only                        1977/07/01   2025/05/31   $7,006,153   $7,006,153   $7,998,213 $1,372,839

                                                                          Molecular and Neuroanatomical Processes of
3,956 F31DA057836   5F31DA057836-02     RUTGERS, THE STATE UNIV OF N.J.   Opioid addiction                                     O'BRIEN, CHRISTOPHER M Awarded. Fellowships only    2023/07/01   2025/06/30     $95,290      $95,290      $76,049     $48,285

                                                                                                                                                       Awarded. Non-fellowships
3,957 T32TR004389   1T32TR004389-01A1   INDIANA UNIVERSITY INDIANAPOLIS CTSA Postdoctoral T32 at Indiana University            HURLEY, THOMAS D        only                        2024/07/03   2029/06/30    $253,555     $253,555     $116,756    $253,555

                                        UNIV OF NORTH CAROLINA            Intensive Summer Research Training in Emergency                              Awarded. Non-fellowships
3,958 T35HL134624   5T35HL134624-07     CHAPEL HILL                       Medicine (ISTEM) program                             MEYER, MICHELLE         only                        2017/05/01   2028/05/31     $83,243      $83,243      $63,188     $31,899

                                        UNIV OF MARYLAND, COLLEGE                                                                                      Awarded. Non-fellowships
3,959 T34GM149472   5T34GM149472-02     PARK                              MARC at University of Maryland, College Park         MAISEL, KATHARINA       only                        2023/06/05   2028/05/31    $359,984     $359,984     $255,308    $238,729

                                                                          Broad-based Research, Analytics and Innovation in
                                                                          Neuroscience (B2RAIN) predoctoral Training                                   Awarded. Non-fellowships
3,960 T32NS131140   1T32NS131140-01A1   UNIVERSITY OF FLORIDA             Program                                           BIZON, JENNIFER LYNN       only                        2024/07/09   2029/06/30    $110,844     $110,844      $61,678    $110,844

                                                                          Sex differences and metabolic responses to chronic
3,961 F30OD032120   5F30OD032120-04     COLORADO STATE UNIVERSITY         stress                                             DEARING, CARLEY           Awarded. Fellowships only   2021/07/01   2026/06/30    $172,028     $172,028     $151,378     $53,974

                                                                          Student Urinary Tract Program in Education and                               Awarded. Non-fellowships
3,962 T35DK129192   5T35DK129192-03     OHIO STATE UNIVERSITY             Research (SUPER) Summer Training Program             MCHUGH, KIRK M          only                        2022/07/01   2027/06/30     $95,043      $95,043      $24,778     $27,601

                                        MASSACHUSETTS GENERAL             Research Training in Pulmonary Immunology and                                Awarded. Non-fellowships
3,963 T32HL116275   5T32HL116275-12     HOSPITAL                          Allergy at Massachusetts General Hospital            LUSTER, ANDREW D        only                        2013/07/01   2028/06/30   $1,417,411   $1,417,411   $1,315,721   $696,154

                                        UNIVERSITY OF CALIFORNIA LOS      UCLA Pulmonary and Critical Care Medicine                                    Awarded. Non-fellowships
3,964 T32HL072752   5T32HL072752-20     ANGELES                           Training Program                                     DUBINETT, STEVEN M      only                        2003/07/01   2026/04/30   $2,343,262   $2,343,262   $2,038,885   $279,387

                                                                          Impact of autism genetic risk on cortical
3,965 F32MH130163   5F32MH130163-02     UNIVERSITY OF FLORIDA             sensorimotor dynamics                                GOLOVIN, RANDALL M      Awarded. Fellowships only   2023/07/01   2026/06/30    $149,256     $149,256     $146,942     $76,756

                                                                                                                                                       Awarded. Non-fellowships
3,966 T32GM139787   5T32GM139787-04     UNIVERSITY OF VIRGINIA            Training in Cell and Molecular Biology               PASCHAL, BRYCE          only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,539,136   $439,487

                                                                          The Effect Of Structural Racism On Racial And
                                                                          Geographic Disparities In Deceased Organ
3,967 F32DK132832   5F32DK132832-03     JOHNS HOPKINS UNIVERSITY          Donation                                             BROWN, LAWRENCE         Awarded. Fellowships only   2022/07/14   2025/07/13    $272,938     $272,938     $252,783     $97,364

                                        UNIVERSITY OF CALIFORNIA, SAN     Training in Multi-scale Analysis of Biological Structure                     Awarded. Non-fellowships
3,968 T32EB009380   2T32EB009380-16     DIEGO                             and Function                                             MCCULLOCH, ANDREW D only                        2009/07/01   2029/06/30    $319,152     $319,152     $227,330    $319,152

                                                                          Lesion extent and seizure propagation pathways
                                                                          across acute infection and chronic epilepsy in an
3,969 F32NS136186   1F32NS136186-01     UNIVERSITY OF IOWA                infection induced mouse model                        PETRUCCI, ALEXANDRA     Awarded. Fellowships only   2024/09/30   2026/09/29     $77,284      $77,284      $34,182     $77,284

                                        NORTH CAROLINA STATE              Single cell, genome wide dissection of dynamic
3,970 F31CA268873   5F31CA268873-03     UNIVERSITY RALEIGH                transcription factor regulation                      CAYWOOD, LEANDRA        Awarded. Fellowships only   2022/07/11   2025/07/10    $104,504     $104,504      $96,405     $36,002

                                                                                                                                                       Awarded. Non-fellowships
3,971 T32CA251066   5T32CA251066-04     VAN ANDEL RESEARCH INSTITUTE      Cancer Epigenetics Training (CET) Program            JONES, PETER A          only                        2021/07/05   2026/06/30   $1,398,287   $1,398,287   $1,044,701   $477,477

                                        ST. JUDE CHILDREN'S RESEARCH      Childhood Hematological Malignancies Training                                Awarded. Non-fellowships
3,972 T32CA236748   2T32CA236748-06     HOSPITAL                          Program                                              MULLIGHAN, CHARLES G    only                        2019/08/08   2029/07/31    $244,925     $244,925     $148,432    $244,925

                                                                          Impact of Trauma on the Longitudinal Development
3,973 F30MH134713   5F30MH134713-02     FATHER FLANAGAN'S BOYS' HOME      of Cognitive Control Networks in Healthy Youth   SON, JAKE                   Awarded. Fellowships only   2023/05/30   2027/05/29    $140,434     $140,434      $50,318     $43,870

                                        PENNSYLVANIA STATE UNIVERSITY,    Investigating the effects of adolescent binge
3,974 F31AA030455   5F31AA030455-03     THE                               drinking on prelimbic somatostatin circuitry         SICHER, AVERY           Awarded. Fellowships only   2022/08/01   2026/07/31    $110,636     $110,636      $93,001     $37,078

                                                                          Interdisciplinary Research Training in Pain and/or                           Awarded. Non-fellowships
3,975 T32DA035165   2T32DA035165-11A1   STANFORD UNIVERSITY               Substance Use Disorders                              MACKEY, SEAN C          only                        2013/07/01   2029/06/30    $878,852     $878,852     $319,817    $878,852
                                                                         Nutrition, Obesity and Atherosclerosis Training                                Awarded. Non-fellowships
3,976 T32HL007028   5T32HL007028-47     UNIVERSITY OF WASHINGTON         Program                                                BORNFELDT, KARIN E      only                        1975/07/01   2028/06/30    $720,736     $720,736     $519,409    $367,531

                                                                                                                                GORELICK, FRED          Awarded. Non-fellowships
3,977 T32DK007017   5T32DK007017-48     YALE UNIVERSITY                  Training Program in Investigative Gastroenterology     SANFORD                 only                        1977/01/01   2027/06/30    $599,043     $599,043     $399,635         $1

                                                                     Medical Student Summer Research Training                   RAMCHANDRAN,            Awarded. Non-fellowships
3,978 T35HL072483   5T35HL072483-40     MEDICAL COLLEGE OF WISCONSIN Program                                                    RAMANI                  only                        1980/06/01   2026/05/31    $812,955     $812,955     $562,357    $213,672

                                                                         Training Grant in Cellular, Biochemical and                                    Awarded. Non-fellowships
3,979 T32GM144302   5T32GM144302-03     THOMAS JEFFERSON UNIVERSITY      Molecular Sciences                                     MERRY, DIANE E          only                        2022/07/01   2027/06/30   $1,280,204   $1,280,204   $1,057,214   $439,487

                                        UNIV OF NORTH CAROLINA           Research Training in Allergy and Clinical                                      Awarded. Non-fellowships
3,980 T32AI007062   5T32AI007062-45     CHAPEL HILL                      Immunology                                             PEDEN, DAVID B          only                        1977/07/01   2027/07/31   $1,269,049   $1,269,049    $716,583    $400,879

                                        METHODIST HOSPITAL RESEARCH                                                                                     Awarded. Non-fellowships
3,981 T32NS126115   3T32NS126115-03S1   INSTITUTE                        T32 Administrative Supplement                          HORNER, PHILIP J        only                        2022/07/01   2027/06/30    $761,352     $761,352     $314,922     $29,710

                                                                         Defining mechanisms of perianal fistula inception in
                                        ICAHN SCHOOL OF MEDICINE AT      African and European ancestry Crohns disease
3,982 F30DK127736   5F30DK127736-04     MOUNT SINAI                      patients                                             LEVANTOVSKY, RACHEL       Awarded. Fellowships only   2021/07/01   2025/06/30    $197,696     $197,696     $174,279     $53,974

                                        UNIVERSITY OF CALIFORNIA LOS     Regulation of Alternative Splicing in the Brain by a
3,983 F30MH130075   5F30MH130075-03     ANGELES                          Large Assembly of Splicing Regulators                  PEYDA, PARHAM           Awarded. Fellowships only   2022/07/01   2026/05/31    $137,012     $137,012     $129,910     $53,974

                                        UNIV OF NORTH CAROLINA           UNC Research Training Program in Respiratory                                   Awarded. Non-fellowships
3,984 T32HL166141   5T32HL166141-02     CHAPEL HILL                      Diseases and Critical Care                             DOERSCHUK, CLAIRE M     only                        2023/07/01   2028/06/30   $1,090,543   $1,090,543    $521,253    $563,600

                                                                                                                                                         Awarded. Non-fellowships
3,985 T34GM145524   5T34GM145524-02     EAST CAROLINA UNIVERSITY         MARC at East Carolina University                       ABLES, ELIZABETH TWEEDIE only                       2023/06/01   2028/05/31    $406,079     $406,079     $336,328    $270,681

                                        UNIVERSITY OF CALIFORNIA LOS     The effect of weight stigma on daily disordered
3,986 F31DK135387   5F31DK135387-02     ANGELES                          eating and potential resilience factors                LEVINSON, JORDAN        Awarded. Fellowships only   2023/07/01   2025/06/30     $80,780      $80,780      $33,630     $41,030


                                                                         Determining how Doublesex and sex-specific steroid
3,987 F31HD112130   5F31HD112130-02     JOHNS HOPKINS UNIVERSITY         hormone signaling control gonad development        GOETTING, SAMANTHA          Awarded. Fellowships only   2023/06/01   2026/05/31    $145,642     $145,642      $93,789     $48,974

                                                                         Understanding the role of Ngo1049 in subverting
                                                                         host-mediated metal starvation in Neisseria
3,988 F31AI167563   5F31AI167563-03     UNIVERSITY OF VIRGINIA           gonorrhoeae                                            LIYAYI, IAN KIMANI      Awarded. Fellowships only   2022/06/01   2026/05/31    $143,420     $143,420     $118,681     $48,974

                                                                                                                                                        Awarded. Non-fellowships
3,989 T32GM132089   2T32GM132089-06     HARVARD MEDICAL SCHOOL           Training in Pharmacological Sciences                   GOLAN, DAVID E          only                        2019/07/01   2029/06/30    $549,359     $549,359     $457,006    $549,359

                                                                        Investigating the relationship between the systemic
                                        STATE UNIVERSITY NEW YORK STONY response to infection and tumor initiation and
3,990 F30CA281082   5F30CA281082-02     BROOK                           progression in Brca1 breast cancer                  LEWIS, STEVEN MACAULEY Awarded. Fellowships only        2023/06/01   2027/05/31     $81,274      $81,274      $61,411     $41,277

                                        OREGON HEALTH & SCIENCE                                                                                         Awarded. Non-fellowships
3,991 T32NS007466   2T32NS007466-26     UNIVERSITY                       Multidisciplinary Training in Neuroscience             MONK, KELLY R           only                        1999/07/01   2029/06/30    $290,955     $290,955     $202,332    $290,955

                                        PENNSYLVANIA STATE UNIV                                                                                         Awarded. Non-fellowships
3,992 T32GM149380   5T32GM149380-02     HERSHEY MED CTR                  Medical Scientist Training Program                     LEVENSON, ROBERT        only                        2023/07/01   2028/06/30   $1,121,841   $1,121,841    $916,865    $599,359

                                        WEILL MEDICAL COLL OF CORNELL                                                                                   Awarded. Non-fellowships
3,993 T32GM136640   5T32GM136640-05     UNIV                          Tri-Institutional PhD Program in Chemical Biology         TAN, DEREK S            only                        2020/07/01   2026/06/30   $1,518,973   $1,518,973   $1,251,856   $306,624

                                        NEW YORK UNIVERSITY SCHOOL OF Summer Research Training in Aging for Medical                                     Awarded. Non-fellowships
3,994 T35AG050998   5T35AG050998-10     MEDICINE                      Students                                                  CHODOSH, JOSHUA         only                        2015/06/01   2025/05/31    $351,033     $351,033     $300,774     $10,641

                                        STATE UNIVERSITY NEW YORK STONY                                                                                 Awarded. Non-fellowships
3,995 T32GM136572   5T32GM136572-05     BROOK                           Chemical Biology Training Interface                     BOON, ELIZABETH M       only                        2020/07/01   2025/06/30   $1,800,546   $1,800,546   $1,469,265   $381,087

                                        UNIVERSITY OF MARYLAND                                                                  ROGHMANN, MARY-         Awarded. Non-fellowships
3,996 T32GM136561   5T32GM136561-05     BALTIMORE                        Medical Scientist Training Program                     CLAIRE                  only                        2020/07/01   2025/06/30   $4,017,159   $4,017,159   $3,937,950   $689,163

                                        COLUMBIA UNIVERSITY HEALTH       Research Training Program in Mental Health                                     Awarded. Non-fellowships
3,997 T32MH135856   1T32MH135856-01     SCIENCES                         Biostatistics and Data Science                         WANG, YUANJIA           only                        2024/07/01   2029/06/30    $110,844     $110,844      $38,195    $110,844
                                                                                                                                                     Awarded. Non-fellowships
3,998 T32MH020017   2T32MH020017-26A1   HARVARD MEDICAL SCHOOL           Ph.D. Training in Neuroscience                       ASSAD, JOHN            only                        1997/09/30   2029/06/30    $770,363     $770,363     $585,498    $770,363

                                                                        The UC Irvine Center for Neural Circuit Mapping                              Awarded. Non-fellowships
3,999 T32AG081185   1T32AG081185-01A1   UNIVERSITY OF CALIFORNIA-IRVINE training program in Alzheimers disease research       XU, XIANGMIN           only                        2024/06/01   2029/05/31    $279,738     $279,738     $177,433    $279,738

                                                                         Chemistry-Biochemistry-Biology Interface (CBBI)      MELANDER, CHRISTIAN    Awarded. Non-fellowships
4,000 T32GM145773   5T32GM145773-03     UNIVERSITY OF NOTRE DAME         Program at Notre Dame                                COREY                  only                        2022/07/01   2027/06/30    $960,160     $960,160     $751,307    $329,616

                                                                         Predoctoral Training in Quantitative Cell &                                 Awarded. Non-fellowships
4,001 T32GM132057   2T32GM132057-06     COLORADO STATE UNIVERSITY        Molecular Biology                                    ARGUESO, JUAN LUCAS    only                        2019/07/01   2029/06/30    $381,055     $381,055     $256,677    $381,055

                                                                         Nurse LEADS: Training in Nurse-LEd models of care    GONZALEZ-GUARDA,       Awarded. Non-fellowships
4,002 T32NR021171   1T32NR021171-01     DUKE UNIVERSITY                  ADdressing the Social Determinants of Health         ROSA MARIA             only                        2024/07/01   2029/06/30    $198,596     $198,596     $123,815    $198,596

                                                                                                                                                     Awarded. Non-fellowships
4,003 T32CA009168   2T32CA009168-46A1   UNIVERSITY OF WASHINGTON         Developing Data-Driven Cancer Researchers            SCHWARTZ, STEPHEN M    only                        1980/07/01   2029/08/31    $310,641     $310,641     $104,635    $310,641

                                                                         Regulatory Science in Environmental Health and                              Awarded. Non-fellowships
4,004 T32ES026568   5T32ES026568-08     TEXAS A&M UNIVERSITY             Toxicology                                           RUSYN, IVAN            only                        2016/07/01   2027/06/30   $1,471,155   $1,471,155   $1,277,128   $497,360

                                                                                                                                                     Awarded. Non-fellowships
4,005 T32GM135014   5T32GM135014-05     HARVARD UNIVERSITY               Harvard Systems Biology Graduate Program             DESAI, MICHAEL M       only                        2020/07/01   2025/06/30   $1,574,912   $1,574,912   $1,466,187   $314,611

                                                                                                                                                     Awarded. Non-fellowships
4,006 T32DA007278   2T32DA007278-31     UNIVERSITY OF WASHINGTON         Training in Addiction Neuroscience                   PHILLIPS, PAUL E M     only                        1993/08/01   2029/06/30    $669,901     $669,901     $413,633    $669,901

                                                                         Precision Health Intervention Methodology Training                          Awarded. Non-fellowships
4,007 T32NR019035   5T32NR019035-05     UNIVERSITY OF TEXAS AT AUSTIN    in Self-Management of Multiple Chronic Conditions    STUIFBERGEN, ALEXA     only                        2020/07/01   2025/06/30    $994,844     $994,844     $898,354    $227,309

                                        NORTHWESTERN UNIVERSITY AT       Graduate Training Program for Magnetic                                      Awarded. Non-fellowships
4,008 T32EB025766   2T32EB025766-06     CHICAGO                          Resonance Imaging                                    MARKL, MICHAEL         only                        2019/09/01   2029/08/31    $259,624     $259,624     $148,287    $259,624

                                                                                                                                                     Awarded. Non-fellowships
4,009 T32NS045540   2T32NS045540-21     UNIVERSITY OF CALIFORNIA-IRVINE Epilepsy Research Training Program                    BARAM, TALLIE Z        only                        2003/07/01   2029/06/30     $11,626      $11,626     $175,244     $11,626

                                                                         Investigating Biomolecular Condensates and Heat
                                                                         Shock Proteins in Cellular Responses to Sublethal
4,010 F30ES035279   5F30ES035279-02     UNIVERSITY OF CHICAGO            Heat Shock and Fever                                 LIN, KYLE MATTHEW      Awarded. Fellowships only   2023/07/01   2027/06/30    $106,668     $106,668      $73,886     $53,974

                                        UNIVERSITY OF PITTSBURGH AT      Intracranial Electrophysiology & Anatomical
4,011 F30DC021342   5F30DC021342-02     PITTSBURGH                       Connectivity of Voice-Selective Auditory Cortex      HECT, JASMINE LEAH     Awarded. Fellowships only   2023/07/01   2027/06/30    $101,360     $101,360      $87,924     $51,320

                                                                                                                                                     Awarded. Non-fellowships
4,012 T32DK007012   2T32DK007012-46     DUKE UNIVERSITY                  Endocrinology and Metabolism Training Program        D'ALESSIO, DAVID A     only                        1975/07/01   2029/06/30    $148,567     $148,567     $288,700    $148,567

                                                                         RiNGH (Research in Nursing & Global Health)                                 Awarded. Non-fellowships
4,013 T32NR019761   5T32NR019761-04     UNIVERSITY OF WASHINGTON         Training Program                                     KOHLER, PAMELA         only                        2021/07/01   2026/06/30   $1,117,703   $1,117,703    $945,745    $321,163

                                                                         Multi-Disciplinary Training Program in Cardiovascular                       Awarded. Non-fellowships
4,014 T32EB009035   2T32EB009035-16     STANFORD UNIVERSITY              Imaging at Stanford                                   WU, JOSEPH C          only                        2008/09/30   2029/06/30    $112,862     $112,862     $239,844    $112,862

                                                                                                                                                     Awarded. Non-fellowships
4,015 T32HG000045   5T32HG000045-25     WASHINGTON UNIVERSITY            Institutional Training Grant in Genomic Science      BRENT, MICHAEL R       only                        1997/04/01   2026/04/30   $1,991,932   $1,991,932   $2,066,723   $165,880

                                        UNIVERSITY OF COLORADO                                                                                     Awarded. Non-fellowships
4,016 T32ES029074   2T32ES029074-06     DENVER                           Training in Molecular and Systems Toxicology         BROWN, JARED MICHAEL only                          2019/07/18   2029/06/30     $72,371      $72,371      $74,416     $72,371

                                                                                                                                                     Awarded. Non-fellowships
4,017 T32ES007255   2T32ES007255-36     MICHIGAN STATE UNIVERSITY        Multidisciplinary Training in Environmental Toxicology LAPRES, JOHN J       only                        1989/07/01   2029/06/30    $466,707     $466,707           $0    $466,707

                                        UNIVERSITY OF CALIFORNIA AT      Advanced Training in Environmental Health                                   Awarded. Non-fellowships
4,018 T32ES007059   5T32ES007059-47     DAVIS                            Sciences                                             VAN WINKLE, LAURA S    only                        1978/07/01   2028/06/30    $656,567     $656,567     $626,014    $303,783

                                                                                                                                                     Awarded. Non-fellowships
4,019 T32GM135126   5T32GM135126-05     BRANDEIS UNIVERSITY              Macromolecular Structure and Mechanism               OPRIAN, DANIEL D       only                        2020/07/01   2025/06/30   $1,526,847   $1,526,847   $1,421,764   $314,498

                                                                                                                                                     Awarded. Non-fellowships
4,020 T32GM149422   5T32GM149422-02     EMORY UNIVERSITY                 Genetics Predoctoral Training Program                CASPARY, TAMARA J      only                        2023/07/01   2028/06/30   $1,079,894   $1,079,894    $827,103    $549,359

                                                                         Molecular Biophysics Training Program at                                    Awarded. Non-fellowships
4,021 T32GM140995   5T32GM140995-04     NORTHWESTERN UNIVERSITY          Northwestern University                              PINKETT, HEATHER WENDY only                        2021/07/01   2026/06/30   $1,670,307   $1,670,307   $1,410,732   $439,487
                                      UT SOUTHWESTERN MEDICAL            Medical Scientist Training Program at University of                         Awarded. Non-fellowships
4,022 T32GM008014   5T32GM008014-43   CENTER                             Texas Southwestern Med Ctr -                          ZINN, ANDREW R        only                        1982/07/01   2025/06/30   $5,502,758   $5,502,758   $5,112,551 $1,169,936

                                                                         Stuart T. Hauser Research Training Program in                               Awarded. Non-fellowships
4,023 T32MH016259   2T32MH016259-44   JUDGE BAKER CHILDREN'S CENTER      Biological and Social Psychiatry                      SHENTON, MARTHA E     only                        1980/07/01   2029/06/30    $369,025     $369,025     $163,914    $369,025

                                                                         Plastic Chemicals in Pediatric Cardiopulmonary
                                                                         Bypass: Evaluating Cardiac Toxicity and
4,024 F31HL165818   5F31HL165818-02   CHILDREN'S RESEARCH INSTITUTE      Investigating Clinical Alternatives                   GUERRELLI, DEVON      Awarded. Fellowships only   2023/06/01   2026/05/31     $81,433      $81,433      $72,849     $37,769

                                                                                                                                                     Awarded. Non-fellowships
4,025 T32GM153507   1T32GM153507-01   UNIVERSITY OF WASHINGTON           Molecular Biophysics Training Program                 ZHENG, NING           only                        2024/07/01   2029/06/30    $659,231     $659,231     $458,925    $659,231

                                      UNIVERSITY OF PITTSBURGH AT                                                                                    Awarded. Non-fellowships
4,026 T32AA007453   5T32AA007453-43   PITTSBURGH                         Developmental Alcohol Research Training Grant         MOLINA, BROOKE S G    only                        1982/10/01   2027/06/30    $676,847     $676,847     $620,653    $264,124

                                                                                                                                                     Awarded. Non-fellowships
4,027 T32MH019524   5T32MH019524-32   NEW YORK UNIVERSITY                Training Systems and Integrative Neuroscience         KIORPES, LYNNE        only                        1992/09/30   2026/06/30    $625,889     $625,889     $599,888    $146,940

                                                                                                                                                     Awarded. Non-fellowships
4,028 T32HL007534   5T32HL007534-42   JOHNS HOPKINS UNIVERSITY           Multidisciplinary Training Program in Lung Disease    SHIMODA, LARISSA A    only                        1982/07/01   2028/06/30   $2,413,457   $2,413,457   $2,092,059 $1,026,463

                                                                         Evaluating Multilevel Factors that Predict Physical
                                                                         Activity Among Latinos with Chronic Spine Pain: A
4,029 F31MD018535   5F31MD018535-02   SAN DIEGO STATE UNIVERSITY         Mixed-Methods Study                                   DIONICIO, PATRICIA    Award terminated            2023/07/05   2025/07/04     $76,152      $76,152      $66,703     $38,716

                                      STATE UNIVERSITY OF NEW YORK AT                                                                                Awarded. Non-fellowships
4,030 T35AI089693   5T35AI089693-13   BUFFALO                         Training the Next Generation of Clinician Scientist      MURPHY, TIMOTHY F     only                        2011/09/15   2027/08/31    $189,790     $189,790     $100,335     $60,894

                                      UNIVERSITY OF SOUTHERN             RNA Methylation in Cancer Plasticity and Drug
4,031 F30CA257401   5F30CA257401-04   CALIFORNIA                         Resistance                                            HODARA, EMMANUELLE    Awarded. Fellowships only   2021/07/01   2026/06/30    $217,456     $217,456     $152,692     $56,974
4,032 F31EY034016   5F31EY034016-03   UNIVERSITY OF MINNESOTA            Visual Perception in Visual Snow Syndrome             MONTOYA, SAMANTHA A Awarded. Fellowships only     2022/08/29   2025/08/28    $102,917     $102,917      $80,842     $34,193

                                      UNIVERSITY OF MICHIGAN AT ANN                                                            DICKSON, ROBERT       Awarded. Non-fellowships
4,033 T32HL007749   5T32HL007749-32   ARBOR                              Multidisciplinary Training Program in Lung Disease    PICKETT               only                        1993/07/01   2028/06/30   $1,483,725   $1,483,725   $1,215,830   $640,568

                                                                         Probing negative affect circuits in humans using 7T
4,034 F32MH133288   5F32MH133288-02   NORTHEASTERN UNIVERSITY            fMRI                                                  DEMING, PHILIP        Awarded. Fellowships only   2023/09/01   2026/08/31    $151,264     $151,264     $113,105     $77,284

                                                                         The Neural Mechanisms Underlying Categorical
4,035 F30MH134507   5F30MH134507-02   GEORGETOWN UNIVERSITY              Decision Making                                       STEINBERG, NOAH       Awarded. Fellowships only   2023/07/01   2027/06/30     $71,268      $71,268      $65,259     $36,274

                                                                                                                                                     Awarded. Non-fellowships
4,036 T32AI007485   5T32AI007485-29   UNIVERSITY OF IOWA                 Predoctoral Training Program in Immunology            LEGGE, KEVIN L        only                        1995/08/01   2026/07/31    $968,592     $968,592     $851,467    $251,511

                                      UNIVERSITY OF NEBRASKA MEDICAL UNMC Training Program in Alzheimer’s Disease and                                Awarded. Non-fellowships
4,037 T32AG076407   5T32AG076407-03   CENTER                         Related Dementias Drug Discovery                          TRIPPIER, PAUL        only                        2022/06/01   2027/05/31    $632,764     $632,764     $397,261    $261,510

                                                                         The role of iron in retinal degeneration during
4,038 F31EY035141   5F31EY035141-02   UNIVERSITY OF PENNSYLVANIA         bacterial infection                                   FOSHE, SIERRA         Awarded. Fellowships only   2023/07/01   2027/02/19     $96,668      $96,668      $88,664     $48,974

                                                                         Childhood socioeconomic disadvantage,
                                      UNIVERSITY OF MICHIGAN AT ANN      cumulative Adverse Childhood Experiences, and
4,039 F31NR020838   5F31NR020838-02   ARBOR                              adolescent depression and anxiety symptoms            MOORE, CHELSEA        Awarded. Fellowships only   2023/08/28   2025/08/27     $90,682      $90,682      $85,196     $45,981

                                      STATE UNIVERSITY NEW YORK STONY Elucidating the Relationship Between Cell                MARTINEZ, MICHAEL
4,040 F30CA257383   5F30CA257383-04   BROOK                           Proliferation and Invasion                               ADRIAN                Awarded. Fellowships only   2021/08/01   2025/07/31    $183,882     $183,882     $159,783     $53,974

                                                                         Hitting Close to Home: A Multi-Method Investigation
                                                                         of Neighborhood Characteristics and Drinking        MACKEY, CHELSEA
4,041 F31AA030907   5F31AA030907-02   UNIVERSITY OF WASHINGTON           Motives on Alcohol-Related Health Disparities       DENISE                  Awarded. Fellowships only   2023/06/16   2026/06/15     $96,668      $96,668      $88,580     $48,974

                                      ICAHN SCHOOL OF MEDICINE AT        Modeling gene x environment interactions in post-
4,042 F30MH132324   5F30MH132324-02   MOUNT SINAI                        traumatic stress disorder.                            SEAH, CARINA          Awarded. Fellowships only   2023/06/26   2027/06/25    $103,548     $103,548      $67,112     $51,694

                                                                         The Neuroimmunology Training Program at the                                 Awarded. Non-fellowships
4,043 T32NS115664   5T32NS115664-05   UNIVERSITY OF UTAH                 University of Utah                                    O'CONNELL, RYAN M     only                        2020/07/15   2025/06/30    $988,394     $988,394     $783,498    $208,637

                                                                         Summer Research Experience for Medical Students       FITZGERALD, COLLEEN   Awarded. Non-fellowships
4,044 T35AI125220   5T35AI125220-07   LOYOLA UNIVERSITY CHICAGO          in Inflammation and Infectious Diseases               MARIE                 only                        2017/07/20   2028/08/31    $109,824     $109,824      $57,049     $56,405
                                      UNIVERSITY OF CALIFORNIA, SAN                                                         PLEASURE, SAMUEL       Awarded. Non-fellowships
4,045 T32NS115706   5T32NS115706-05   FRANCISCO                         Predoctoral Training in Neurobiology                JEREMY                 only                        2020/07/15   2026/06/30   $2,430,641   $2,430,641   $2,181,033   $522,039

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                Awarded. Non-fellowships
4,046 T32GM149436   5T32GM149436-02   FRANCISCO                         Molecular Biophysics Training Grant                 MANGLIK, AASHISH       only                        2023/07/01   2028/06/30    $827,739     $827,739     $679,882    $421,399

                                                                        District of Columbia T32 on Neurodevelopmental                             Awarded. Non-fellowships
4,047 T32NS115656   5T32NS115656-04   CHILDREN'S RESEARCH INSTITUTE     Disabilities Research (DC NDD T32)                  HAYDAR, TARIK F        only                        2021/07/02   2026/06/30   $1,537,246   $1,537,246   $1,336,909   $270,593

                                                                        A Novel Role of Interpeduncular Nucleus GLP-1Rs in HERMAN, RACHEL
4,048 F31DA058451   5F31DA058451-02   UNIVERSITY OF PENNSYLVANIA        Fentanyl Reinstatement                             JASCHIK                 Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $83,170     $48,974

                                      WAKE FOREST UNIVERSITY HEALTH                                                         ALEXANDER-MILLER,      Awarded. Non-fellowships
4,049 T32AI007401   5T32AI007401-32   SCIENCES                          Training Program in Immunology and Pathogenesis     MARTHA ANN             only                        1991/09/01   2028/06/30    $636,469     $636,469     $381,947    $208,488

                                      CALIFORNIA INSTITUTE OF           Longitudinal mucosal immune response to SARS-       VILORIA WINNETT,
4,050 F30AI167524   5F30AI167524-03   TECHNOLOGY                        CoV-2 starting prior to infection                   ALEXANDER              Awarded. Fellowships only   2022/08/01   2025/07/31    $158,420     $158,420     $127,333     $53,974

                                      NORTHWESTERN UNIVERSITY AT        NW University Program in Endo Diabetes and                                 Awarded. Non-fellowships
4,051 T32DK007169   5T32DK007169-45   CHICAGO                           Hormone Action                                      BASS, JOSEPH           only                        1976/07/01   2026/06/30   $1,338,475   $1,338,475    $939,061    $257,266

                                      UNIVERSITY OF CALIFORNIA                                                                                     Awarded. Non-fellowships
4,052 T32AA014125   5T32AA014125-20   BERKELEY                          Prevention Science Research Training Program        GRUBE, JOEL WILLIAM    only                        2004/07/01   2025/06/30    $771,386     $771,386     $772,374    $278,117

                                                                                                                                                   Awarded. Non-fellowships
4,053 T32AR053461   5T32AR053461-19   UNIVERSITY OF PENNSYLVANIA        Training in Muscle Biology and Muscle Disease       OSTAP, E MICHAEL       only                        2006/05/01   2026/06/30   $1,111,442   $1,111,442   $1,038,442   $275,434

                                      MASSACHUSETTS EYE AND EAR                                                                                    Awarded. Non-fellowships
4,054 T32DC000020   5T32DC000020-32   INFIRMARY                         Research Training in Otolaryngology                 JUNG, DAVID H          only                        1985/07/01   2026/06/30    $651,191     $651,191     $547,817    $173,089

                                      UNIVERSITY OF COLORADO            Metabolic determinants of Staphylococcus aureus
4,055 F32AI172080   5F32AI172080-02   DENVER                            skin colonization                                   COSTA, FLAVIA GISELA   Awarded. Fellowships only   2023/06/01   2026/05/31    $225,148     $225,148     $137,954     $76,756

                                      UNIVERSITY OF CALIFORNIA, SAN     Leveraging Clinical Data for Phenotyping and
4,056 F30AG079504   5F30AG079504-03   FRANCISCO                         Predictive Modelling of Alzheimer’s Disease         TANG, ALICE SUMMER     Awarded. Fellowships only   2022/08/01   2026/07/31    $132,049     $132,049     $117,839     $53,974

                                      UNIVERSITY OF CALIFORNIA LOS      Shared neural circuits of prosocial and parenting
4,057 F31MH134495   5F31MH134495-02   ANGELES                           behaviors in the hypothalamus                       LIM, KAYLA Y           Awarded. Fellowships only   2023/07/01   2026/06/30     $80,658      $80,658      $73,402     $40,969

                                      ICAHN SCHOOL OF MEDICINE AT       Training the next generation of clinical                                   Awarded. Non-fellowships
4,058 T32MH122394   5T32MH122394-05   MOUNT SINAI                       neuroscientists                                     KAHN, RENE S           only                        2020/07/01   2025/06/30   $1,775,852   $1,775,852   $1,255,504   $405,897

                                                                                                                                                   Awarded. Non-fellowships
4,059 T32MH014592   5T32MH014592-47   JOHNS HOPKINS UNIVERSITY          Psychiatric Epidemiology Training Program           VOLK, HEATHER E        only                        1976/07/01   2028/06/30    $393,672     $393,672     $328,309    $206,359

                                      NEW YORK UNIVERSITY SCHOOL OF Quantitative Magnetization Transfer Imaging for
4,060 F30AG077794   5F30AG077794-03   MEDICINE                      Early Detection of Alzheimers Disease                   MAO, ANDREW            Awarded. Fellowships only   2022/08/01   2026/07/31    $158,420     $158,420     $124,759     $53,974

                                                                                                                                                   Awarded. Non-fellowships
4,061 T90DE021990   5T90DE021990-14   UNIVERSITY OF FLORIDA             Comprehensive Training Program in Oral Biology      LEMOS, JOSE A          only                        2011/07/01   2026/06/30   $2,043,178   $2,043,178   $1,865,937   $531,653

                                                                      The role of mitochondrial fission in
                                                                      neurodegeneration in the leading environmental
4,062 F30AG076183   5F30AG076183-03   CASE WESTERN RESERVE UNIVERSITY cause of Alzheimers disease                           SRIDHARAN, PREETHY     Awarded. Fellowships only   2022/08/08   2026/08/07    $158,420     $158,420     $148,999     $53,974

                                                                                                                                                   Awarded. Non-fellowships
4,063 T32GM080202   5T32GM080202-15   MEDICAL COLLEGE OF WISCONSIN Medical Scientist Training Program                       SALZMAN, NITA H        only                        2010/07/01   2025/06/30   $3,118,418   $3,118,418   $2,902,669   $599,414

                                                                        Development of Psychopathology: From Brain and                             Awarded. Non-fellowships
4,064 T32MH018921   5T32MH018921-35   VANDERBILT UNIVERSITY             Behavioral Science to Intervention                  COLE, DAVID A          only                        1989/07/01   2025/06/30   $1,476,520   $1,476,520   $1,458,734   $346,057

                                                                        Discovery of metabolic pathways using phenotypic JARIWALA, PARTH
4,065 F32DK136301   5F32DK136301-02   SCRIPPS RESEARCH INSTITUTE, THE   screening and chemical proteomics                BALVANT                   Awarded. Fellowships only   2023/07/01   2026/06/30    $146,256     $146,256     $126,434     $76,756

                                      UNIVERSITY OF CALIFORNIA LOS      UCLA Dentist-Scientist and Oral Health-Researcher                          Awarded. Non-fellowships
4,066 T90DE030860   5T90DE030860-04   ANGELES                           Training Program                                    TON-THAT, HUNG         only                        2021/07/01   2026/06/30   $1,688,657   $1,688,657    $931,389    $448,976

                                                                        Embedded Mental Health Services Postdoctoral        AHMEDANI, BRIAN        Awarded. Non-fellowships
4,067 T32MH125792   5T32MH125792-04   HENRY FORD HEALTH SYSTEM          Research Training in Health Systems                 KENNETH                only                        2021/07/01   2026/06/30   $1,125,703   $1,125,703    $844,878    $321,011

                                      UNIVERSITY OF CALIFORNIA LOS                                                          MARTINEZ-AGOSTO,       Awarded. Non-fellowships
4,068 T32GM008243   5T32GM008243-37   ANGELES                           UCLA Medical Genetics Training Program              JULIAN                 only                        1987/07/01   2026/06/30   $1,386,218   $1,386,218    $894,176    $405,788
                                      PENNSYLVANIA STATE UNIVERSITY,   Cross-Disciplinary Neural Engineering (CDNE)                                 Awarded. Non-fellowships
4,069 T32NS115667   5T32NS115667-04   THE                              Training Program                                     GLUCKMAN, BRUCE J       only                        2021/07/01   2026/06/30     $856,215      $856,215      $589,608    $226,101

                                      UNIVERSITY OF NEBRASKA MEDICAL                                                                                Awarded. Non-fellowships
4,070 T32NS105594   5T32NS105594-07   CENTER                         Neuroimmunology of Disease Training Program            MONAGHAN, DANIEL T      only                        2018/07/01   2028/06/30     $276,274      $276,274      $286,620     $60,566

                                      COLUMBIA UNIVERSITY HEALTH                                                                                    Awarded. Non-fellowships
4,071 T32GM145440   5T32GM145440-03   SCIENCES                         Medical Scientist Training Program                   REINER, STEVEN L        only                        2022/07/01   2027/06/30    $4,550,666    $4,550,666    $4,275,534 $1,558,334

                                      LOUISIANA STATE UNIV HSC         Multidisciplinary Training in Cardiovascular                                 Awarded. Non-fellowships
4,072 T32HL155022   5T32HL155022-04   SHREVEPORT                       Pathophysiology                                      ORR, ANTHONY WAYNE      only                        2021/07/01   2026/06/30     $521,179      $521,179      $366,594    $151,414

                                      NEW YORK UNIVERSITY SCHOOL OF                                                                                 Awarded. Non-fellowships
4,073 T32HL098129   5T32HL098129-15   MEDICINE                      Training Program in Cardiometabolic Diseases            FISHMAN, GLENN I        only                        2009/09/01   2025/06/30    $2,492,610    $2,492,610    $2,105,851   $330,925

                                                                       An Interdisciplinary Training Program to Transform                           Awarded. Non-fellowships
4,074 T32GM140936   5T32GM140936-04   UNIVERSITY OF MINNESOTA          Graduate Education In Genetics and Genomics          GREENSTEIN, DAVID IRWIN only                        2021/07/01   2026/06/30     $677,123      $677,123      $616,214    $180,236

                                                                       A novel hippocampal GABAergic projection and its
4,075 F31NS127417   5F31NS127417-03   UNIVERSITY OF MINNESOTA          potential role in spatial recognition            GLASSBURN, LAUREN           Awarded. Fellowships only   2022/06/21   2025/06/20     $105,795      $105,795       $99,556     $36,767

                                      UNIVERSITY OF TEXAS MED BR                                                                                    Awarded. Non-fellowships
4,076 T32AI007526   5T32AI007526-24   GALVESTON                        Emerging and Tropical Infectious Diseases            SOONG, LYNN             only                        1997/09/01   2026/08/31     $709,118      $709,118      $601,766    $175,770

                                      MASSACHUSETTS GENERAL            Training Program in Cancer Biology and                                       Awarded. Non-fellowships
4,077 T32CA071345   5T32CA071345-27   HOSPITAL                         Therapeutics                                         HABER, DANIEL A         only                        1997/08/01   2028/06/30    $1,168,833    $1,168,833     $725,195    $645,802

                                      VANDERBILT UNIVERSITY MEDICAL                                                                                 Awarded. Non-fellowships
4,078 T32DK007061   5T32DK007061-51   CENTER                           Research Training in Diabetes and Endocrinology      NISWENDER, KEVIN D      only                        1975/07/01   2026/06/30    $1,471,478    $1,471,478    $1,291,356   $327,807

                                      HARVARD SCHOOL OF PUBLIC                                                                                      Awarded. Non-fellowships
4,079 T32DK007703   5T32DK007703-30   HEALTH                           TRAINING GRANT IN ACADEMIC NUTRITION                 HU, FRANK B             only                        1994/08/01   2025/07/31    $1,502,672    $1,502,672    $1,701,284   $350,884

                                                                                                                            HUNGER, STEPHEN         Awarded. Non-fellowships
4,080 T32CA009615   5T32CA009615-35   UNIVERSITY OF PENNSYLVANIA       Cancer Center Research Training Program              PATRICK                 only                        1988/08/01   2025/06/30    $2,257,305    $2,257,305    $2,142,947   $499,533

                                                                                                                                                    Awarded. Non-fellowships
4,081 T32GM145441   5T32GM145441-03   UNIVERSITY OF IOWA               Predoctoral Training Program in Genetics             EBERL, DANIEL F         only                        2022/07/01   2027/06/30     $941,154      $941,154      $794,832    $324,876

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                 Awarded. Non-fellowships
4,082 T32GM145427   5T32GM145427-03   DIEGO                            UC San Diego Genetics Training Program               HAMILTON, BRUCE A       only                        2022/07/01   2027/06/30    $1,640,839    $1,640,839    $1,393,879   $566,075

                                                                       Nanoparticle Coated Microelectrode Arrays for
                                      UNIVERSITY OF PITTSBURGH AT      Electrochemically Controlled Gene Editing at the
4,083 F32MH132145   5F32MH132145-02   PITTSBURGH                       Electrode Site                                       WILLIAMS, NATHANIEL P   Awarded. Fellowships only   2023/06/01   2026/05/31     $162,364      $162,364      $111,955     $83,784

                                      UNIVERSITY OF COLORADO           Predoctoral Training in the Genetics of                                      Awarded. Non-fellowships
4,084 T32GM141742   5T32GM141742-04   DENVER                           Development, Disease and Regeneration                MOORE, JEFFREY KYLE     only                        2021/07/01   2026/06/30    $1,340,182    $1,340,182    $1,111,351   $258,252

                                      UNIV OF NORTH CAROLINA           Age in dengue antibody response and risk after
4,085 F30AI160898   5F30AI160898-04   CHAPEL HILL                      primary natural infection                            ZHU, DEANNA             Awarded. Fellowships only   2021/07/01   2026/06/30     $170,347      $170,347      $155,626     $53,787

                                      WEILL MEDICAL COLL OF CORNELL Tri-Institutional PhD Program in Computational                                  Awarded. Non-fellowships
4,086 T32GM132083   5T32GM132083-05   UNIV                          Biology and Medicine                                    LESLIE, CHRISTINA S     only                        2020/07/01   2026/06/30    $2,534,186    $2,534,186    $2,071,542   $513,604

                                                                       Sleep-Wake Cycles of Individuals with Inflammatory
4,087 F31NR020426   5F31NR020426-02   UNIVERSITY OF WASHINGTON         Bowel Disease                                      YOO, LINDA                Awarded. Fellowships only   2023/09/16   2025/09/15      $99,668       $99,668       $97,378     $51,974

                                                                                                                                                    Awarded. Non-fellowships
4,088 T32GM007200   5T32GM007200-50   WASHINGTON UNIVERSITY            National Research Service Award-Medical Scientist    YOKOYAMA, WAYNE M       only                        1975/07/01   2025/06/30   $13,198,173   $13,198,173   $12,117,408 $2,757,052

                                      UNIVERSITY OF MICHIGAN AT ANN    Molecular Mechanisms of Microbial Pathogenesis       CARRUTHERS, VERNON      Awarded. Non-fellowships
4,089 T32AI007528   5T32AI007528-25   ARBOR                            Training Program                                     BRUCE                   only                        1998/09/30   2025/08/31    $1,955,503    $1,955,503    $1,875,811   $405,715

                                                                       The Effect of Processed Grain Consumption on the
                                      UNIVERSITY OF CALIFORNIA, SAN    Dentogingival Microbiome and Host Response in
4,090 F30DE031182   5F30DE031182-04   FRANCISCO                        Periodontal Disease                                  SEDGHI, LEA MARYAM      Awarded. Fellowships only   2021/07/01   2025/06/30     $204,180      $204,180      $192,103     $54,774

                                      OREGON HEALTH & SCIENCE          Training in Translational Science and Cardiovascular                         Awarded. Non-fellowships
4,091 T32HL166128   5T32HL166128-02   UNIVERSITY                       Research                                             ALKAYED, NABIL J        only                        2023/07/01   2028/06/30    $1,095,781    $1,095,781     $391,181    $566,018
                                                                                                                                                         Awarded. Non-fellowships
4,092 T32NS047996   5T32NS047996-19     UNIVERSITY OF CINCINNATI         Cerebrovascular Fellowship Training Program             WOO, DANIEL             only                        2006/07/01   2026/06/30   $1,092,657   $1,092,657    $935,551         $1

                                        UNIVERSITY OF CALIFORNIA LOS     Reorganization of cortical memory ensembles
4,093 F32MH133387   5F32MH133387-02     ANGELES                          across time                                             ZEIDLER, ZACHARY E      Awarded. Fellowships only   2023/06/01   2027/01/31    $150,684     $150,684     $135,075     $78,892

                                                                         The Role of Structural and Interpersonal
                                        UNIV OF NORTH CAROLINA           Discrimination on Latina Mother and Child Immune        HARRIS, REBECA
4,094 F31NR020843   5F31NR020843-02     CHAPEL HILL                      Pathways                                                ALVARADO                Awarded. Fellowships only   2023/06/15   2025/05/14     $75,443      $75,443      $68,625     $34,853

                                                                     Expanding the Accessibility and Quality of
                                                                     Ophthalmic Imaging through Optical Elements and
4,095 F31EY036262   1F31EY036262-01     MEDICAL COLLEGE OF WISCONSIN Modeling                                        WOEHLKE, RUTH E                     Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $38,628     $48,974

                                                                         Mitochondria-derived dsRNA in brain aging and
4,096 F32AG087636   1F32AG087636-01     COLORADO STATE UNIVERSITY        Alzheimers disease                                      DOSER, RACHEL           Awarded. Fellowships only   2024/06/01   2027/05/31    $151,040      $74,284      $63,418     $74,284

                                                                         Analysis of oxidative stress through deep atomic
4,097 F32GM154455   1F32GM154455-01     VANDERBILT UNIVERSITY            embeddings                                              BELL, ERIC WILLIAM      Awarded. Fellowships only   2024/09/30   2026/09/29     $74,284      $74,284      $34,200     $74,284

                                                                         Mapping cell type specific isoform diversity in the
                                        UNIVERSITY OF CALIFORNIA LOS     human brain: dissecting mechanisms of alternative
4,098 F30MH135712   1F30MH135712-01A1   ANGELES                          splicing in ASD                                         MARGOLIS, MICHAEL       Awarded. Fellowships only   2024/07/01   2027/06/30     $41,308      $41,308      $26,359     $41,308

                                        SLOAN-KETTERING INST CAN                                                                                         Awarded. Non-fellowships
4,099 T32CA082088   5T32CA082088-25     RESEARCH                         T32 Urologic Oncology Research Training Program         CARVER, BRETT STEWART   only                        1999/09/01   2025/07/31   $1,783,692   $1,783,692   $1,652,593   $383,552

                                        HARVARD SCHOOL OF PUBLIC         Training Grant in Quantitative Sciences for Cancer      PARMIGIANI, GIOVANNI    Awarded. Non-fellowships
4,100 T32CA009337   5T32CA009337-44     HEALTH                           Research                                                LUIGI                   only                        1979/06/01   2026/07/31   $2,384,973   $2,384,973   $2,255,454   $611,073

                                                                         Quantitative Neuroscience: Tools for Bridging Levels                            Awarded. Non-fellowships
4,101 T32NS007292   5T32NS007292-39     BRANDEIS UNIVERSITY              of Analysis                                          TURRIGIANO, GINA G         only                        1986/07/01   2026/06/30   $2,370,514   $2,370,514   $2,077,657   $448,456

                                                                         Tulane University Training Program for Diversity in
                                                                         tRanslation and Implementation research in                                      Awarded. Non-fellowships
4,102 T32HL158290   5T32HL158290-04     TULANE UNIVERSITY OF LOUISIANA   cardioVascular disEase (DRIVE)                          BAZZANO, LYDIA          only                        2021/07/01   2026/06/30    $852,744     $852,744     $755,887    $214,496

                                        UNIVERSITY OF CALIFORNIA LOS     Defining the role of DUSP12 in the regulation of cell
4,103 F31GM154466   1F31GM154466-01     ANGELES                          division and apoptosis.                                 ABDUSAMAD, MAI          Awarded. Fellowships only   2024/07/11   2026/01/10     $41,027      $41,027      $33,971     $41,027

                                                                         GATA4 as a Modulator of Aortic Root Sensitivity to
                                                                         Mechanochemical Disruptions Caused by an
4,104 F31HL163924   5F31HL163924-03     JOHNS HOPKINS UNIVERSITY         Aneurysm-causing Mutation                               BRAMEL, EMILY ELOISE    Awarded. Fellowships only   2022/08/09   2025/08/08     $77,982      $77,982      $59,881         $0

                                                                         Assessing the impact of water handling practices
                                                                         and seasonality on the effectiveness of a drinking
4,105 F31AI183829   1F31AI183829-01     UNIVERSITY OF WASHINGTON         water intervention in Beira, Mozambique                 KANN, REBECCA SHIELDS Awarded. Fellowships only     2024/08/14   2027/08/13     $48,974      $48,974      $35,568     $48,974

                                        PENNSYLVANIA STATE UNIV          Contribution of Levodopa to Brain Iron                  SERPA, REBECKA
4,106 F31NS137783   1F31NS137783-01     HERSHEY MED CTR                  Accumulation                                            OLIVEIRA                Awarded. Fellowships only   2024/08/01   2027/07/31     $35,998      $35,998      $27,844     $35,998

                                                                         Investigating the Role of Wnt3a and Wnt5a as
                                        UNIVERSITY OF COLORADO           Factors of Hepatic Stellate Cell Activation in Alcohol-
4,107 F31AA031426   1F31AA031426-01A1   DENVER                           Related Liver Fibrosis                                  RUTT, LAUREN            Awarded. Fellowships only   2024/06/01   2026/05/31     $35,974      $35,974      $30,558     $35,974

                                        UNIVERSITY OF TX MD ANDERSON                                                                                     Awarded. Non-fellowships
4,108 T32CA101642   5T32CA101642-19     CAN CTR                          Training of Academic Gynecologic Oncologists            SOOD, ANIL K            only                        2005/09/15   2026/06/30   $2,168,758   $2,168,758   $1,922,003   $587,271

                                        UNIVERSITY OF COLORADO           Institutional Training Grant in Pediatric                                       Awarded. Non-fellowships
4,109 T32DK067009   5T32DK067009-20     DENVER                           Gastroenterology                                        SOKOL, RONALD J         only                        2005/07/01   2025/06/30   $2,016,006   $2,016,006   $1,711,308   $442,975

                                        CLEVELAND CLINIC LERNER COM-     Human iPSC-derived Podocytes to Study APOL1             HAINES, LAUREN
4,110 F31DK135368   5F31DK135368-02     CWRU                             High-Risk Variants                                      ELIZABETH               Awarded. Fellowships only   2023/09/01   2025/08/31     $74,936      $74,936      $65,738     $38,108

                                        ALBERT EINSTEIN COLLEGE OF       Role of Chaperone-Mediated Autophagy in Cellular
4,111 F31AG084192   1F31AG084192-01A1   MEDICINE                         Senescence                                       SEREDA, REBECCA Z              Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $36,715     $48,974
                                                                        Applying Harm Reduction to Binge Eating Disorder:
                                                                        An Investigation of Protective Behavioral Strategies
4,112 F31MH135713   1F31MH135713-01A1   UNIVERSITY OF CENTRAL FLORIDA   Against Uncontrolled Eating                            BURR, EMILY K          Awarded. Fellowships only   2024/05/22   2026/11/20     $37,764      $37,764      $36,117     $37,764

                                        GEORGIA INSTITUTE OF
4,113 F31HL174133   1F31HL174133-01     TECHNOLOGY                      Engineering 3D microtissues of pulmonary fibrosis.     NIEVES, ELISA B        Awarded. Fellowships only   2024/08/19   2027/08/18     $48,974      $48,974      $15,553     $48,974

                                                                        Unveiling how the molecular landscape of TNBC      RIVAS, CHARLOTTE
4,114 F31CA281063   1F31CA281063-01A1   BAYLOR COLLEGE OF MEDICINE      sculps intratumoral macrophage origin and function HELENA                     Awarded. Fellowships only   2024/07/01   2026/06/30     $51,974      $51,974      $42,213     $51,974

                                                                        The Interplay of Host Genetic Variation and the Gut
4,115 F30GM151855   5F30GM151855-02     WAYNE STATE UNIVERSITY          Microbiome in Crohns Disease                        NIRMALAN, SHREYA          Awarded. Fellowships only   2023/08/17   2027/08/16     $96,028      $96,028      $68,845     $48,654

                                                                        The Role of Post-Translational Modifications in
4,116 F31GM154412   1F31GM154412-01     UNIVERSITY OF PENNSYLVANIA      Bacterial Responses to Methylglyoxal                   ALEXANDER, SARA        Awarded. Fellowships only   2024/07/01   2026/06/30     $48,974      $48,974      $43,363     $48,974

                                                                        Estrogen receptor regulation of cocaine effects on
4,117 F31DA056202   5F31DA056202-03     VANDERBILT UNIVERSITY           dopamine terminals                                     ERICKSON, KIRSTY R     Awarded. Fellowships only   2022/09/01   2026/06/30    $114,013     $114,013      $90,109     $34,279

                                                                        Delineating how Calca neurons in the parabrachial CONDON, LOGAN
4,118 F30DA057845   5F30DA057845-02     UNIVERSITY OF WASHINGTON        nucleus mediate chronic pain                      FRANCIS                     Awarded. Fellowships only   2023/08/01   2027/07/31     $87,896      $87,896      $76,767     $44,588

                                                                        Paternal age effect mutations as selfish drivers of
4,119 F30HD115391   1F30HD115391-01     UNIVERSITY OF UTAH              germline stem cell clonality                           WEBER, JENNA MICOLE    Awarded. Fellowships only   2024/07/01   2029/06/30     $39,983      $39,983      $33,196     $39,983

                                                                        Unraveling alphavirus neuroinvasion: Molecular
                                        UNIVERSITY OF CALIFORNIA LOS    insights from a stem cell based blood-brain barrier
4,120 F31AI179235   1F31AI179235-01A1   ANGELES                         model                                                  ALVAREZ, PABLO         Awarded. Fellowships only   2024/09/01   2026/08/31     $44,671      $44,671      $32,665     $44,671

                                        UNIVERSITY OF MIAMI SCHOOL OF   Mechanisms of Neurodegeneration in CMT4B3: a           JACOBS, ELIZABETH
4,121 F30HD113231   5F30HD113231-02     MEDICINE                        Complex Pediatric Neurodevelopmental Disorder          HALEY                  Awarded. Fellowships only   2023/08/01   2027/07/31    $106,668     $106,668      $91,251     $53,974

                                                                        Investigating the role of substance use exposure
                                                                        and maternal psychological risk on child neural and FUNARO, KATHRYN MARY
4,122 F31DA059248   5F31DA059248-02     YALE UNIVERSITY                 behavioral assessments of executive functioning     WALL                 Awarded. Fellowships only        2023/09/01   2026/09/29     $81,670      $81,670      $61,065     $33,976

                                        UNIVERSITY OF ILLINOIS AT       Targeting SOX2 expression in prostatic regeneration VELLKY, JORDAN
4,123 F32DK137555   1F32DK137555-01A1   CHICAGO                         and enlargement                                     ELIZABETH                 Awarded. Fellowships only   2024/05/15   2025/05/14     $76,756      $76,756      $76,756     $76,756

                                                                        The role of corticotropin-releasing factor in
                                                                        modulating accumbal dopamine and producing
4,124 F31DA059249   1F31DA059249-01A1   UNIVERSITY OF WASHINGTON        escalation of drug intake                              GORDON-FENNELL, LYDIA Awarded. Fellowships only    2024/06/01   2026/05/31     $45,255      $45,255      $45,255     $45,255

                                        UNIVERSITY OF MISSOURI KANSAS   CARDIOVASCULAR OUTCOMES RESEARCH TRAINING                                     Awarded. Non-fellowships
4,125 T32HL110837   5T32HL110837-13     CITY                            PROGRAM                                   SPERTUS, JOHN A                     only                        2012/07/01   2027/06/30   $1,215,609   $1,215,609   $1,167,866   $404,217

                                                                        Network mechanisms underlying core behavioral
4,126 F31HD113221   1F31HD113221-01A1   UNIVERSITY OF OKLAHOMA          features in Fragile X Syndrome                         NORRIS, JORDAN         Awarded. Fellowships only   2024/08/16   2026/08/15     $42,574      $42,574      $27,593     $42,574

                                        HENRY FORD HEALTH + MICHIGAN Role of Vascular Chemerin as a Regulator of Blood
4,127 F31HL173985   1F31HL173985-01     STATE UNIVERSITY HEALTH SCIENCES Pressure and Contributor to Cardiovascular Disease WABEL, EMMA               Awarded. Fellowships only   2025/01/01   2027/12/31     $43,690      $43,690      $10,063     $43,690

                                        UNIV OF NORTH CAROLINA                                                                                        Awarded. Non-fellowships
4,128 TL1DK139567   5TL1DK139567-02     CHAPEL HILL                     TRIO NRSA Training Core                                HOGAN, SUSAN LYNN      only                        2023/09/01   2028/06/30   $1,558,299   $1,558,299    $819,206    $767,246

                                                                        Mechanisms that govern dopaminergic amacrine
4,129 F32EY034358   5F32EY034358-03     BAYLOR COLLEGE OF MEDICINE      cell diversity                                         MACKIN, ROBERT         Awarded. Fellowships only   2022/09/30   2025/09/29    $216,430     $216,430     $166,101     $76,756

                                        UNIVERSITY OF COLORADO          Mechanisms of transcriptional regulation to control
4,130 F31NS137619   1F31NS137619-01     DENVER                          inhibitory synaptic plasticity                         WOLFE, SARAH E         Awarded. Fellowships only   2024/07/01   2026/06/30     $36,591      $36,591      $30,178     $36,591

                                                                        Determining factors of inflammation that support
                                                                        the expansion and function of long-lived effector
4,131 F32AI178962   1F32AI178962-01A1   UNIVERSITY OF MINNESOTA         cell CD8 T cells in a mature memory compartment        LUCAS, ERIN D          Awarded. Fellowships only   2024/08/01   2027/07/31     $81,256      $81,256      $49,002     $81,256

                                                                        Behavioral, molecular, and functional dissection of
                                                                        corticospinal neurons in motor performance deficits
4,132 F30AG074598   5F30AG074598-03     HARVARD MEDICAL SCHOOL          of physiological and pathological aging             WINTER, CARLA             Awarded. Fellowships only   2022/07/01   2025/11/30    $145,682     $145,682     $140,978     $53,974
                                        ICAHN SCHOOL OF MEDICINE AT     Microglia-neuron dopamine signaling - a novel
4,133 F31DA059266   5F31DA059266-02     MOUNT SINAI                     mechanism of dopamine circuit modulation                  HAYS, EMMA              Awarded. Fellowships only    2023/07/01   2026/06/30     $94,908      $94,908      $94,908     $47,374

                                                                        Understanding the Role of GARP Proteins in Rod
                                        UNIVERSITY OF MICHIGAN AT ANN   Outer Segment Disc Formation and Retinal
4,134 F32EY034760   5F32EY034760-02     ARBOR                           Degeneration                                              NAYLOR, MOLLY           Awarded. Fellowships only    2023/08/26   2026/08/25    $156,084     $156,084     $120,676     $81,592

                                                                        Binding specificity and transcriptional regulation of
4,135 F30DE033234   5F30DE033234-02     UNIVERSITY OF MINNESOTA         antigen I/II adhesins in Streptococcus gordonii           AITKEN, SARAH           Awarded. Fellowships only    2023/08/14   2027/07/31     $91,917      $91,917      $86,818     $46,921

                                                                        Transposable element mobilization during
4,136 F31HD113222   5F31HD113222-02     DUKE UNIVERSITY                 spermatogenesis in Drosophila                             TRACY, LAUREN ANN       Awarded. Fellowships only    2023/09/01   2025/08/31     $82,422      $82,422      $68,103     $42,135

                                                                      Investigating the molecular composition of the
                                        NEW YORK UNIVERSITY SCHOOL OF parasitophorous vacuole during Encephalitozoon
4,137 F31AI183707   1F31AI183707-01     MEDICINE                      intestinalis infection                                      MCCARTY, KACIE          Awarded. Fellowships only    2024/09/01   2027/08/31     $41,614      $41,614      $16,463     $41,614

                                                                        Effects of state-level initiatives to reduce early-term
                                        UNIVERSITY OF CALIFORNIA, SAN   elective deliveries on maternal and newborn
4,138 F31HD115372   1F31HD115372-01     FRANCISCO                       outcomes                                                  HUGHES, CAROLYN SMITH Awarded. Fellowships only      2024/06/01   2027/05/31     $51,974      $51,974      $38,407     $51,974

                                                                        Characterizing Ahcy as a redox regulated enzyme
4,139 F31EY036754   1F31EY036754-01A1   PURDUE UNIVERSITY               in the Drosophila eye under oxidative stress              STANHOPE, SARAH         Awarded. Fellowships only    2024/03/28   2026/07/14     $48,974      $48,974      $23,603     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Defining the biological roles of the 2,3-cyclic           DOWDLE, MEGAN
4,140 F32GM151845   5F32GM151845-02     DIEGO                           phosphatases Angel1 and Angel2                            ELIZABETH               Awarded. Fellowships only    2024/01/17   2027/01/16    $149,601     $149,601      $75,394     $78,073

                                                                        The Yale Cancer Prevention and Control Training                                   Awarded. Non-fellowships
4,141 T32CA250803   5T32CA250803-05     YALE UNIVERSITY                 Program                                                   IRWIN, MELINDA L        only                         2020/08/01   2025/07/31   $1,397,212   $1,397,212   $1,059,324   $307,095

                                        VIRGINIA COMMONWEALTH           Anaplasma phagocytophilum exploitation of
4,142 F32AI183749   1F32AI183749-01     UNIVERSITY                      regulated exocytosis.                                     CHIARELLI, TRAVIS JOSEPH Awarded. Fellowships only   2024/05/25   2027/05/24     $73,408      $73,408      $70,088     $73,408

                                        COLUMBIA UNIVERSITY HEALTH      Interrogation of non-canonical roles of VGSCs in
4,143 F31NS137770   1F31NS137770-01     SCIENCES                        neurodevelopmental epilepsy                               HELMS, KYLE             Awarded. Fellowships only    2024/09/01   2027/08/31     $48,974      $48,974      $44,270     $48,974

                                        UNIVERSITY OF CONNECTICUT       The role of presynaptic C1QL3 in a hypothalamic           ARMSTRONG, WILLIAM
4,144 F31HL165896   5F31HL165896-03     STORRS                          arousal circuit                                           PATRICK                 Awarded. Fellowships only    2022/08/19   2026/08/18    $143,420     $143,420     $130,614     $48,974

                                        UNIV OF NORTH CAROLINA                                                                                            Awarded. Non-fellowships
4,145 T32CA106209   5T32CA106209-19     CHAPEL HILL                     Biostatistics for Research in Genomics and Cancer         IBRAHIM, JOSEPH G       only                         2004/05/01   2026/07/31    $955,956     $955,956     $871,858    $257,213

                                        UNIVERSITY OF MICHIGAN AT ANN   Cell-type-specific dissection of retrosplenial circuits   RYBICKI-KLER, CHLOE
4,146 F31AG087629   1F31AG087629-01     ARBOR                           in preclinical models of Alzheimers disease               ISABELLA                Awarded. Fellowships only    2024/07/01   2026/06/30     $42,459      $42,459      $39,980     $42,459

                                                                        Impact of insecticide control measures and
                                                                        temperature on Dengue Virus transmission by Aedes
4,147 F31AI183638   1F31AI183638-01     UNIVERSITY OF NOTRE DAME        aegypti mosquitoes                                HEFFERNAN, PATRICK              Awarded. Fellowships only    2024/08/15   2026/08/14     $48,974      $48,974      $25,674     $48,974

                                                                        Investigating the Impacts of Pharmacological Slow
                                        COLUMBIA UNIVERSITY HEALTH      Wave Sleep Enhancement on Cognition and
4,148 F30AG084312   1F30AG084312-01A1   SCIENCES                        Memory Traces in an Alzheimers Disease Model              JIN, MICHELLE           Awarded. Fellowships only    2024/07/03   2028/07/02     $50,414      $50,414      $50,414     $50,414

                                                                        BRIDGE to the Baccalaureate Program at Morgan                                     Awarded. Non-fellowships
4,149 T34GM146603   5T34GM146603-03     MORGAN STATE UNIVERSITY         State University                                          BROWN, LISA D           only                         2022/09/07   2027/07/31    $610,330     $610,330     $172,030    $244,858

                                                                        Using a Molecular Toolkit to Examine Potassium
4,150 F30HL165692   5F30HL165692-03     UNIVERSITY OF IOWA              Channel Gating and Regulation                             SCHENE, MIRANDA         Awarded. Fellowships only    2022/09/01   2026/08/31    $123,800     $123,800      $86,042     $47,778

                                        ALBERT EINSTEIN COLLEGE OF      Regulation of Presynaptic Gene Transcripts During
4,151 F31NS137668   1F31NS137668-01     MEDICINE                        Synaptogenesis                                            ROGOW, JACKSON A        Awarded. Fellowships only    2024/07/01   2027/06/30     $48,974      $48,974      $36,825     $48,974

                                        UNIVERSITY OF CALIFORNIA        Network drivers of regional vulnerability to early
4,152 F31AG087648   1F31AG087648-01     BERKELEY                        Alzheimers disease pathology                              FONSECA, CORRINA        Awarded. Fellowships only    2024/08/01   2027/07/31     $45,965      $45,965      $33,416     $45,965

                                                                        Interactive Effects of Prenatal Bisphenol Exposure
                                                                        and Postnatal Maternal Care on DNA Methylation
4,153 F32ES035254   5F32ES035254-02     UNIVERSITY OF TEXAS AT AUSTIN   in the Developing Brain                                   LAUBY, SAMANTHA         Awarded. Fellowships only    2023/09/01   2026/08/31    $150,664     $150,664     $119,647     $78,960
                                        WAKE FOREST UNIVERSITY HEALTH                                                                                     Awarded. Non-fellowships
4,154 T32EB014836   5T32EB014836-10     SCIENCES                           Studies in Translational Regenerative Medicine        ATALA, ANTHONY           only                        2013/09/01   2026/06/23    $822,390     $822,390     $801,295    $199,623

                                                                           Regulation of the intestinal colonization niche by
4,155 F32AI176810   5F32AI176810-02     UNIVERSITY OF PENNSYLVANIA         epithelial cell death                                 MILLER, BRITTANY MARIE   Awarded. Fellowships only   2023/08/01   2026/04/30    $143,364     $143,364     $112,872     $74,284

                                        UNIVERSITY OF PITTSBURGH AT        Examining Racial Disparities in Predictive Modeling
4,156 F32MD019534   1F32MD019534-01     PITTSBURGH                         Among Survivors of Critical Illness                   NAIDITCH, HIAM           Awarded. Fellowships only   2024/07/01   2026/06/30     $90,932      $90,932      $65,059     $90,932

                                                                        Cerebrovascular and neurophysiological
                                                                        mechanisms of sleep-dependent memory
                                                                        impairment in older adults at risk for Alzheimers
4,157 F31AG084308   1F31AG084308-01A1   UNIVERSITY OF CALIFORNIA-IRVINE disease                                                  BERISHA, DESTINY         Awarded. Fellowships only   2024/08/01   2026/07/31     $40,527      $40,527      $31,119     $40,527

                                                                           Evaluation of a Pharmacist-Integrated Model of
                                                                           Opioid Use Disorder Treatment to Increase
4,158 F31DA060690   1F31DA060690-01     DARTMOUTH COLLEGE                  Naloxone Co-Prescribing in Primary Care               BOGGIS, JESSE S          Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974      $28,269     $48,974

                                                                           Identifying and targeting neural subpopulations of
                                                                           the spinal cord that mediate chronic pain via cell-
4,159 F31NS134318   1F31NS134318-01A1   CARNEGIE-MELLON UNIVERSITY         type-specific cis-regulatory elements                 LEONE, MICHAEL           Awarded. Fellowships only   2024/07/05   2027/07/04     $48,974      $48,974      $39,004     $48,974

                                        UNIV OF MASSACHUSETTS MED SCH Mechanism of cell lethality following loss of gene         HARPER, NICHOLAS
4,160 F31CA284879   5F31CA284879-02     WORCESTER                     expression.                                                WADE                     Awarded. Fellowships only   2023/08/01   2025/07/31     $66,236      $66,236      $58,771     $33,758

                                        UT SOUTHWESTERN MEDICAL            Non-cell autonomous consequences of
4,161 F31CA284510   5F31CA284510-02     CENTER                             cytoplasmic DNA                                       MAURAIS, ELIZABETH       Awarded. Fellowships only   2023/07/01   2026/06/30     $78,142      $78,142      $65,757     $39,711

                                                                           Bridging Arizona Native American Students to                                   Awarded. Non-fellowships
4,162 T34GM142618   5T34GM142618-04     NORTHERN ARIZONA UNIVERSITY        Bachelor Degrees                                      INGRAM, JANI CHERI       only                        2021/08/01   2026/07/31    $743,751     $743,751     $578,869    $211,163

                                                                           Metabolomic signatures of inflammation and
                                                                           metabolic health in relation to colorectal cancer
4,163 F30CA265012   5F30CA265012-03     HARVARD MEDICAL SCHOOL             risk                                                  BEVER, ALAINA            Awarded. Fellowships only   2022/09/30   2026/09/29    $132,786     $132,786     $121,026     $53,974

                                                                           Characterizing the interpretation and generation of
                                                                           Erk signaling dynamics using high-throughput
4,164 F31HD113443   1F31HD113443-01A1   PRINCETON UNIVERSITY               genetics                                            SOLLEY, SABRINA            Awarded. Fellowships only   2024/07/01   2027/06/30     $32,974      $32,974      $21,168     $32,974

                                        UNIVERSITY OF SOUTH CAROLINA
4,165 F31AT012589   1F31AT012589-01A1   AT COLUMBIA                        Benefits of panaxynol on gut resilience in colitis    BULLARD, BROOKE          Awarded. Fellowships only   2024/06/06   2027/06/05     $38,353      $38,353      $32,201     $38,353

                                        UNIVERSITY OF CALIFORNIA                                                                 ROKHSAR, DANIEL          Awarded. Non-fellowships
4,166 T32HG000047   5T32HG000047-25     BERKELEY                           Genomics                                              SOLEYMAN                 only                        2000/09/01   2025/06/30   $1,301,076   $1,301,076   $1,258,213   $236,758

                                                                           Dearomatization of Planar Aromatic Cores into
                                        CALIFORNIA INSTITUTE OF            Three-Dimensional Scaffolds with Defined
4,167 F32GM145123   5F32GM145123-03     TECHNOLOGY                         Stereochemistry                                       SICINSKI, KATHLEEN M     Awarded. Fellowships only   2022/09/06   2025/09/05    $213,430     $213,430     $179,901     $76,756

                                        MONELL CHEMICAL SENSES                                                                                            Awarded. Non-fellowships
4,168 T32DC000014   5T32DC000014-44     CENTER                             Interdisciplinary Training in the Chemical Senses     MAINLAND, JOEL D         only                        1979/07/01   2027/06/30   $1,135,082   $1,135,082    $756,543    $430,543
4,169 F31NS134151   5F31NS134151-02     YALE UNIVERSITY                    Defining the Role of Lactate in Axon Degeneration     TAL, HADAS               Awarded. Fellowships only   2023/08/01   2028/07/31     $66,504      $66,504      $51,445     $33,892

                                                                           Defining cell-intrinsic trophoblast defenses to HCMV
4,170 F32AI183633   1F32AI183633-01     DUKE UNIVERSITY                    infection                                            HATTERSCHIDE, JOSHUA      Awarded. Fellowships only   2024/06/01   2026/05/31     $74,284      $74,284      $65,177     $74,284

                                                                           Attending to the “whole” child in mental health
                                                                           care: Utilizing a partnership approach to address
                                                                           social risk factors alongside an evidence-based
4,171 F31MH130041   5F31MH130041-03     UNIVERSITY OF WASHINGTON           psychotherapy                                         JOHNSON, CLARA           Awarded. Fellowships only   2022/08/16   2025/08/15    $143,420     $143,420     $125,089     $48,974

                                                                                                                                                          Awarded. Non-fellowships
4,172 T32AI007392   5T32AI007392-35     DUKE UNIVERSITY                    Interdisciplinary Research Training Program in AIDS   THIELMAN, NATHAN M       only                        1990/08/01   2025/08/31   $2,207,388   $2,207,388   $2,029,670   $362,695

                                                                           The Effects of Polychlorinated Biphenyls on
4,173 F30ES035622   1F30ES035622-01A1   UNIVERSITY OF IOWA                 Adipocyte-Macrophage Crosstalk                        BEHAN-BUSH, RILEY        Awarded. Fellowships only   2024/07/01   2027/06/30     $40,427      $40,427      $25,779     $40,427
                                                                        Eye tracking and computational approaches to
                                      UNIVERSITY OF CALIFORNIA AT       understand the roles of maturation and experience HUNTER, BRIANNA
4,174 F32EY034017   5F32EY034017-02   DAVIS                             in infant looking                                 KEENAN                       Awarded. Fellowships only   2023/08/01   2026/07/31    $148,864     $148,864      $71,580     $77,284

                                                                        Temporal trends in quality indicators of palliative
                                                                        care for patients with chronic illness hospitalized    NOMITCH, JAMIE
4,175 F32HL167667   5F32HL167667-02   UNIVERSITY OF WASHINGTON          with acute respiratory failure                         TREADWAY                Awarded. Fellowships only   2023/05/01   2025/07/08    $172,692     $172,692     $146,813     $89,188

                                                                        Alcohol Use and Mental Health as Predictors of
                                      UNIVERSITY OF WISCONSIN           Intimate Partner Violence from Adolescence to
4,176 F31AA031157   5F31AA031157-02   MILWAUKEE                         Young Adulthood                                        GROCOTT, LAUREN         Awarded. Fellowships only   2023/08/01   2025/07/31     $81,178      $81,178      $72,049     $41,229

                                                                        Quantitative Magnetic Resonance Properties of
                                      UNIVERSITY OF PITTSBURGH AT       Cerebrospinal Fluid and Brain Health Outcomes in
4,177 F31HL165730   5F31HL165730-03   PITTSBURGH                        Pediatric Congenital Heart Disease                     LEE, VINCENT KYU        Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $110,632     $48,974

                                                                        Sex differences in traumatic brain injury: Neural
                                                                        circuit mediators of overlapping stress and physical
4,178 F32MH134528   5F32MH134528-02   EMORY UNIVERSITY                  effects                                                HUIBREGTSE, MEGAN E     Awarded. Fellowships only   2023/07/14   2025/07/13    $157,864     $157,864     $122,229     $81,784

                                                                        Atlanta Network for Training In KUH Scientific                                Awarded. Non-fellowships
4,179 TL1DK136047   5TL1DK136047-03   EMORY UNIVERSITY                  Research (ATLANTIS)                                    SHEEHAN, VIVIEN ANDREA only                         2022/09/15   2027/06/30   $1,747,054   $1,747,054   $1,015,990   $232,709

                                      MASSACHUSETTS INSTITUTE OF        Pre-doctoral Training in Fundamental Approaches                                Awarded. Non-fellowships
4,180 T32GM136540   5T32GM136540-04   TECHNOLOGY                        to Biochemistry and Cell and Molecular Biology         GEHRING, MARY           only                        2021/07/01   2026/06/30   $6,263,655   $6,263,655   $5,306,811 $1,648,078

                                                                        Investigating physiological pathways modulating
                                                                        tau homeostasis: potential implications for            JIMENEZ-ORNELAS,
4,181 F31AG087599   1F31AG087599-01   JOHNS HOPKINS UNIVERSITY          Alzheimers Disease and Related Dementia                CONSUELO                Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $43,663     $48,974

                                                                    Targeting Notch3 for the treatment of multiple
4,182 F31CA284655   5F31CA284655-02   UNIV OF ARKANSAS FOR MED SCIS myeloma                                                    SABOL, HAYLEY           Awarded. Fellowships only   2023/07/01   2025/06/30     $77,225      $77,225      $69,157     $39,248

                                                                        Subcellular Proteomic Investigation of Projection
4,183 F31NS127518   5F31NS127518-02   HARVARD UNIVERSITY                Neuron Growth Cones in Developing Mouse Cortex TILLMAN, DUSTIN ELIOT           Awarded. Fellowships only   2023/08/01   2025/07/31     $75,612      $75,612      $62,754     $38,446

                                      UNIVERSITY OF MIAMI CORAL                                                                                        Awarded. Non-fellowships
4,184 T32CA251064   5T32CA251064-05   GABLES                            Cancer Training in Disparities and Equity (C-TIDE)     PENEDO, FRANK J         only                        2020/07/01   2025/06/30   $2,387,265   $2,387,265   $1,918,786   $504,338
4,185 F32GM154453   1F32GM154453-01   UNIVERSITY OF WASHINGTON          Investigating the Structure and Regulation of PFK      SALAY, LAUREN           Awarded. Fellowships only   2024/08/16   2027/08/15     $76,756      $76,756      $50,927     $76,756

                                                                        Interdisciplinary Graduate Program in Type 1                                   Awarded. Non-fellowships
4,186 T32DK108736   5T32DK108736-08   UNIVERSITY OF FLORIDA             Diabetes and Biomedical Engineering                    ATKINSON, MARK A        only                        2017/09/01   2027/08/31    $616,896     $616,896     $514,968    $184,007

                                                                        Addressing the Racial Disparity of Angiotensin
                                      UNIVERSITY OF MICHIGAN AT ANN     Inhibitor Benefit in HFrEF Hospitalizations:
4,187 F31HL167561   5F31HL167561-02   ARBOR                             Distinguishing Genomic and Social Factors              LITTLETON, SHANA DENISE Awarded. Fellowships only   2023/05/15   2025/07/28     $82,354      $82,354      $82,354     $41,817

                                                                        Determinants of long-term outcomes and
                                                                        heterogeneity in Gram-negative community-
4,188 F32HL168809   5F32HL168809-02   UNIVERSITY OF WASHINGTON          acquired pneumonia                                     COSTON, TAYLOR DAVID Awarded. Fellowships only      2023/07/01   2025/06/30    $180,996     $180,996     $152,644     $94,528

                                                                        Development of White Matter Language Tracts
4,189 F30DC020642   5F30DC020642-03   GEORGETOWN UNIVERSITY             after Early Life Epilepsy and Stroke                   MARCELLE, MADELINE      Awarded. Fellowships only   2022/09/01   2026/08/31    $123,020     $123,020     $106,742     $53,974

                                      MEDICAL UNIVERSITY OF SOUTH       Training Grant in Inflammatory and Fibrosing                                   Awarded. Non-fellowships
4,190 T32AR050958   5T32AR050958-19   CAROLINA                          Diseases                                               GILKESON, GARY S        only                        2005/07/01   2026/07/31    $818,237     $818,237     $731,173    $186,131

                                      CALIFORNIA STATE UNIVERSITY LOS                                                                                  Awarded. Non-fellowships
4,191 T34GM150442   5T34GM150442-02   ANGELES                         Bridges to the Baccalaureate at Cal State LA             TUNSTAD, LINDA M        only                        2023/08/01   2028/07/31    $383,500     $383,500      $78,253    $284,310

                                                                        Obeticholic acid as a novel treatment for Alport
4,192 F30DK129003   5F30DK129003-04   GEORGETOWN UNIVERSITY             syndrome                                               JONES, BRYCE ALAN       Awarded. Fellowships only   2021/08/30   2025/08/26    $191,756     $191,756     $138,411     $53,974

                                      STATE UNIVERSITY NEW YORK STONY Elucidating the Roles of the Membrane-Binding
4,193 F31HL168828   5F31HL168828-02   BROOK                           Proteins ciBAR1 and ciBAR2 in Ciliogenesis               KIM, EUNICE NA YOUNG    Awarded. Fellowships only   2023/08/23   2026/08/22     $81,400      $81,400      $53,540     $41,340

                                      FEINSTEIN INSTITUTE FOR MEDICAL                                                                                  Awarded. Non-fellowships
4,194 T32AI155392   5T32AI155392-04   RESEARCH                          T32 Training Grant in Translational Immunology         DAVIDSON, ANNE          only                        2021/09/01   2026/08/31   $1,130,300   $1,130,300    $487,461    $333,436
                                      UNIVERSITY OF MICHIGAN AT ANN    Interdisciplinary Research Training Center in Cancer                         Awarded. Non-fellowships
4,195 T32CA236621   5T32CA236621-05   ARBOR                            Care Delivery                                        FRIESE, CHRISTOPHER R   only                        2020/07/01   2025/06/30   $2,125,763   $2,125,763   $1,897,560   $468,121

                                      NORTHWESTERN UNIVERSITY AT       Uncovering the Roles of DNA-pkcs in Regulating R-
4,196 F32AI183634   1F32AI183634-01   CHICAGO                          loops during HPV Replication                          TEMPLETON, CONOR       Awarded. Fellowships only   2024/06/01   2026/05/31     $73,828      $73,828      $48,071     $73,828

                                      UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
4,197 T32CA060397   5T32CA060397-30   PITTSBURGH                       Postdoctoral Training in Head and Neck Oncology       ZEVALLOS, JOSE P       only                        1994/06/01   2026/06/30    $650,155     $650,155     $457,762    $156,944

                                                                       Cell-type specific assembly of apical extracellular   SCHMIDT, HELEN
4,198 F32GM151778   5F32GM151778-02   UNIVERSITY OF PENNSYLVANIA       matrices                                              FRANCES                Awarded. Fellowships only   2023/08/01   2025/07/31    $146,256     $146,256     $124,242     $76,756

                                                                                                                                                   Awarded. Non-fellowships
4,199 T32HL007586   5T32HL007586-39   UNIVERSITY OF PENNSYLVANIA       TRAINING IN PULMONARY IMMUNOLOGY                      MEYER, NUALA JENNINGS only                         1985/07/01   2026/06/30   $2,025,388   $2,025,388   $1,803,860   $577,722

                                                                       Natural product discovery and biosynthetic
                                                                       pathway elucidation from the human pathogen
4,200 F32GM151795   5F32GM151795-02   HARVARD UNIVERSITY               Legionella                                            CUI, ZHENG             Awarded. Fellowships only   2023/08/01   2025/07/31    $165,484     $165,484     $130,653     $86,932

                                      FRED HUTCHINSON CANCER           In vivo mechanisms for integration of contextual
4,201 F31NS129545   5F31NS129545-02   CENTER                           information                                           ROSERO, MANUEL         Awarded. Fellowships only   2023/09/01   2025/08/31     $87,390      $87,390      $73,358     $44,503

                                                                       Photoredox-enabled deracemization: method
4,202 F32GM154402   1F32GM154402-01   PRINCETON UNIVERSITY             development and mechanistic studies                   WANG, JUSTIN           Awarded. Fellowships only   2024/08/01   2026/07/31     $78,892      $78,892      $56,728     $78,892

                                      MEDICAL UNIVERSITY OF SOUTH      Hepatic Mitochondrial Respiratory Activation,
4,203 F31AA030726   5F31AA030726-03   CAROLINA                         Depolarization and Recovery After Acute Ethanol       SAVOCA, MATTHEW        Awarded. Fellowships only   2022/09/01   2025/08/31    $135,785     $135,785     $119,056     $46,429

                                      UNIVERSITY OF COLORADO           Regulation of hepatic lysine N-acetylation by
4,204 F31AA031194   5F31AA031194-02   DENVER                           cysteine proximity due to alcohol toxicity            MCGINNIS, COURTNEY     Awarded. Fellowships only   2023/07/01   2025/06/30     $75,638      $75,638      $61,641     $38,459

                                                                       Maternal Transfer of Oxytocin and Thyroid-disrupting
                                      UNIVERSITY OF CALIFORNIA         Indoor Flame Retardants Affecting Offspring Social
4,205 F31ES034304   5F31ES034304-02   RIVERSIDE                        Brain                                                KOZLOVA, ELENA V        Awarded. Fellowships only   2023/07/15   2025/07/14     $83,379      $83,379      $62,345     $43,719

                                      UNIVERSITY OF CALIFORNIA SANTA Predoctoral Training Program in Quantitative                                   Awarded. Non-fellowships
4,206 T32GM141846   5T32GM141846-04   BARBARA                        Mechanobiology                                          PRUITT, BETH L         only                        2021/07/01   2026/06/30   $1,218,770   $1,218,770   $1,054,920   $321,126

                                                                       Unfolding the Link Between the Endoplasmic
                                                                       Reticulum, AIS Shortening, and Cognitive
4,207 F30NS124237   5F30NS124237-04   WRIGHT STATE UNIVERSITY          Impairment in Type 2 Diabetes                         SHELBY, JENNAE NICOLLE Awarded. Fellowships only   2021/08/01   2025/07/31    $194,022     $194,022     $123,457     $53,774

                                                                   Greater Boston Medical Student Training in Aging                                 Awarded. Non-fellowships
4,208 T35AG038027   5T35AG038027-15   BRIGHAM AND WOMEN'S HOSPITAL Research                                                  DRIVER, JANE A         only                        2010/08/01   2025/07/31    $326,173     $326,173     $255,134      $4,915

                                                                       The Impact of Natural Locomotion on Visual
4,209 F31EY034792   5F31EY034792-02   UNIVERSITY OF OREGON             Processing                                            SHARP, SHELBY L        Awarded. Fellowships only   2023/09/15   2026/09/14     $95,282      $95,282      $65,725     $48,281

                                                                       Topoisomerase 1-catalyzed genomic ribonucleotide
                                                                       excision, its regulation, and its implication in SARRAIN, EDWARD
4,210 F31CA268751   5F31CA268751-03   TRUSTEES OF INDIANA UNIVERSITY   transcription.                                   JAMES                       Awarded. Fellowships only   2022/09/06   2026/09/05     $95,420      $95,420      $95,064     $32,974

                                      UNIVERSITY OF ALABAMA AT         Characterizing the Role of NOTCH2 in                  HERRING, BRENDON
4,211 F31CA260945   5F31CA260945-03   BIRMINGHAM                       Neuroendocrine Tumors                                 ROBERT                 Awarded. Fellowships only   2022/09/01   2026/08/31    $133,506     $133,506      $82,081     $51,750

                                                                       Identifying Developmental and Degenerative
                                                                       Mechanisms of SMA Using Single Motor Neuron
4,212 F32NS138246   1F32NS138246-01   JOHNS HOPKINS UNIVERSITY         Nucleus RNA Sequencing                                MOLOTSKY, ELANA        Awarded. Fellowships only   2024/08/09   2026/08/08     $90,284      $90,284      $51,585     $90,284

                                                                       Investigating the role of CSF flow in regulating CNS-
                                                                       adjacent bone marrow-derived myeloid cell egress
4,213 F32NS139284   1F32NS139284-01   WASHINGTON UNIVERSITY            after spinal cord injury                              PLOG, BENJAMIN ARTHUR Awarded. Fellowships only    2024/09/30   2026/08/31     $85,864      $85,864      $40,775     $85,864

                                                                       The role of oligodendrocyte precursor cells in circuit
4,214 F30AG084193   5F30AG084193-02   JOHNS HOPKINS UNIVERSITY         remodeling in the mature brain                         KIM, ANYA             Awarded. Fellowships only   2023/09/01   2026/08/31    $106,668     $106,668      $49,913     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN    Connecting structure and fitness landscapes to        MACDONALD, CHRISTIAN
4,215 F32GM152977   5F32GM152977-02   FRANCISCO                        overcome antibiotic resistance                        BERNARD              Awarded. Fellowships only     2023/09/13   2025/09/12    $146,256     $146,256     $112,826     $76,756
                                                                          Mechanisms and consequences of 3UTR isoform          GAZZARA, MATTHEW
4,216 F31HL162546   5F31HL162546-03     UNIVERSITY OF PENNSYLVANIA        diversity in erythropoiesis                          ROBERT                 Awarded. Fellowships only   2022/09/01   2025/08/31    $136,362     $136,362     $108,191     $39,416

                                                                          Elucidating the Role of Tregs in Cancer Metastasis
4,217 F31CA275289   5F31CA275289-02     UNIVERSITY OF MINNESOTA           and T Cell Dysfunction                               SCHMIECHEN, ZOE        Awarded. Fellowships only   2023/07/01   2025/06/30     $66,514      $66,514      $60,932     $33,897

                                        UNIVERSITY OF CALIFORNIA, SAN     Training Researchers in Clinical Integrative Medicine                       Awarded. Non-fellowships
4,218 T32AT003997   5T32AT003997-18     FRANCISCO                         (TRIM)                                                ADLER, SHELLEY R      only                        2007/07/01   2027/08/31   $1,495,095   $1,495,095   $1,347,695   $533,880

                                                                          Intimate self-disclosure and social media use in
                                                                          adolescent girls: Predicting depression from brain   MCNEILLY, ELIZABETH
4,219 F31MH134567   5F31MH134567-02     UNIVERSITY OF OREGON              and behavior                                         ANN                    Awarded. Fellowships only   2023/09/16   2025/07/31     $91,032      $91,032      $82,161     $44,031

                                                                          Impact of Dolutegravir on Viral Suppression,
                                        BOSTON UNIVERSITY MEDICAL         Retention, and Risk of Non-Communicable Diseases
4,220 F31AI179292   1F31AI179292-01A1   CAMPUS                            among Persons Living with HIV in South Africa.   ZHENG, AMY                 Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $39,566     $48,974

                                                                        Determining the mechanisms of the protective
4,221 F31AG084190   5F31AG084190-02     UNIVERSITY OF CALIFORNIA-IRVINE APOE3ch variant on Alzheimers Disease pathologies TRAN, KRISTINE MINH         Awarded. Fellowships only   2023/08/10   2025/08/09     $88,929      $88,929      $74,590     $45,458

                                        UNIVERSITY OF CALIFORNIA, SAN     Developing a Risk Index for Functional Decline in
4,222 F31AG084417   5F31AG084417-02     DIEGO                             Middle-Aged and Older Adults with HIV                HAM, LILLIAN           Awarded. Fellowships only   2023/09/30   2026/09/29     $82,112      $82,112      $40,289     $41,825

                                                                          Immunoprofiling of Opioid Use Disorder Patients to
                                                                          inform structure-guided design of opioid-specific
4,223 F31DA059261   5F31DA059261-02     UNIVERSITY OF MINNESOTA           monoclonal antibodies                                ZHANG, YUE             Awarded. Fellowships only   2023/09/01   2026/08/31     $71,186      $71,186      $57,511     $36,233

                                        WEILL MEDICAL COLL OF CORNELL The development of multimodal dynamics in a short- DAVIS, GREGORY
4,224 F32MH134449   5F32MH134449-02     UNIV                          term memory system                                 PATRICK                      Awarded. Fellowships only   2023/08/01   2026/07/31    $153,364     $153,364     $105,506     $79,284

                                                                          Implementation and Scale-Up of a Caregiver
                                                                          Intervention for Mothers who have Survived Intimate
                                                                          Partner Violence: the Mediational Intervention for  ALLMAN, MADELEINE
4,225 F31MH133356   5F31MH133356-02     UNIVERSITY OF HOUSTON             Sensitizing Caregivers                              ELISE                   Awarded. Fellowships only   2023/09/01   2026/08/31     $78,014      $78,014      $51,906     $39,647

                                        H. LEE MOFFITT CANCER CTR & RES Behavioral Oncology Education & Career                                       Awarded. Non-fellowships
4,226 T32CA090314   2T32CA090314-21     INST                            Development                                            VADAPARAMPIL, SUSAN T only                         2019/09/11   2029/08/31    $421,602     $421,602     $113,517    $421,602

                                                                          Training Health Equity ScholaRs in InnoVation,
                                        UNIVERSITY OF CALIFORNIA          PrEvention, and Social Impact (THRIVES) Fellowship                          Awarded. Non-fellowships
4,227 T32HL175782   1T32HL175782-01     BERKELEY                          Program                                              MUJAHID, MAHASIN S     only                        2024/09/01   2029/08/31    $168,372     $168,372      $62,594    $168,372

                                        UNIVERSITY OF SOUTHERN            Alternative Orosensory Signals Contributing to Sugar SIMENTAL-RAMOS,
4,228 F31DC021376   5F31DC021376-02     CALIFORNIA                        Taste                                                ARACELY                Awarded. Fellowships only   2023/09/01   2025/08/31     $83,868      $83,868      $65,390     $42,574

                                                                                                                                                      Awarded. Non-fellowships
4,229 T32AI007363   2T32AI007363-31A1   DARTMOUTH COLLEGE                 Immunobiology of Myeloid and Lymphoid Cells          JAKUBZICK, CLAUDIA V   only                        1990/09/30   2029/06/30    $334,152     $334,152     $166,002    $334,152

                                                                          The importance of Treg-intrinsic cholesterol
                                                                          metabolism for visceral adipose tissue Treg
4,230 F31DK137590   5F31DK137590-02     EMORY UNIVERSITY                  homeostasis, phenotype, and function                 ELKINS, CODY           Awarded. Fellowships only   2023/07/01   2027/06/30     $96,668      $96,668      $83,998     $48,974

                                        NORTHWESTERN UNIVERSITY AT        Dual-Venc 5D flow for Assessment of Congenital
4,231 F30HL165805   5F30HL165805-02     CHICAGO                           Heart Disease in Pediatrics                          WEISS, ELIZABETH       Awarded. Fellowships only   2023/07/01   2026/08/31     $88,142      $88,142      $70,720     $44,711

                                        UNIVERSITY OF PITTSBURGH AT       Defining How Macrophage Allorecognition Impacts
4,232 F31HL170514   5F31HL170514-02     PITTSBURGH                        Tissue Repair After Transplantation             WARUNEK, JORDAN             Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $73,311     $48,974
4,233 F31HD110243   5F31HD110243-02     BAYLOR COLLEGE OF MEDICINE        Yolk Sac MicroRNAs Regulate Brain Development        KEULS, RACHEL ANNE     Awarded. Fellowships only   2023/08/17   2025/08/16     $96,668      $96,668      $84,914     $48,974

                                                                                                                                                      Awarded. Non-fellowships
4,234 T32GM154636   1T32GM154636-01     TEXAS STATE UNIVERSITY            Texas Doctoral Bridge Program                        WHITTEN, STEVEN T      only                        2024/08/01   2029/07/31    $315,598     $315,598      $89,203    $315,598

                                        STATE UNIVERSITY OF NEW YORK AT The role of C. neoformans Hog1 and its effectors in
4,235 F31AI169969   5F31AI169969-02     BUFFALO                         translatome reprogramming                              GOICH, DAVID           Awarded. Fellowships only   2023/09/01   2026/08/31     $68,587      $68,587      $45,527     $34,599

                                                                          Biochemical and structural characterization of the
                                                                          cell wall synthesis complex required for bacterial
4,236 F32AI178977   5F32AI178977-02     HARVARD MEDICAL SCHOOL            division                                             WEAVER, ANNA I         Awarded. Fellowships only   2023/08/01   2026/07/31    $143,364     $143,364     $115,522     $74,284
                                        QUEENSBOROUGH COMMUNITY          Bridges to Baccalaureate program at                                           Awarded. Non-fellowships
4,237 T34GM154606   1T34GM154606-01     COLLEGE                          Queensborough Community College                        GHOSHAL, SARBANI       only                        2024/08/01   2029/07/31    $267,898     $267,898     $114,793    $267,898

                                                                         Alzheimers Disease Big Data to Biology Training                               Awarded. Non-fellowships
4,238 T32AG087922   1T32AG087922-01     EMORY UNIVERSITY                 Program (ADBDB-TP)                                     GOLDE, TODD E          only                        2024/09/01   2029/08/31    $585,650     $585,650      $65,804    $585,650
4,239 F31CA278331   5F31CA278331-02     YALE UNIVERSITY                  Structural studies of metazoan origin licensing        HUNKER, OLIVIA         Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $67,922     $48,974

                                        WEILL MEDICAL COLL OF CORNELL Metabolic vulnerabilities in cancers with impaired
4,240 F30CA284711   5F30CA284711-02     UNIV                          TCA cycle activity                                        XIE, ABIGAIL           Awarded. Fellowships only   2023/08/15   2027/08/14    $106,688     $106,688      $96,377     $53,994

                                                                         Evaluation of adeno-associated viral (AAV)
                                                                         mediated gene replacement therapy as a
4,241 F32HL167559   5F32HL167559-02     DUKE UNIVERSITY                  therapeutic option for SLC25A4 deficiency              BENKERT, ABIGAIL       Awarded. Fellowships only   2023/07/01   2025/06/30    $159,684     $159,684     $139,268     $83,392

                                                                         The role of TTC7A in apical lumen formation and
4,242 F32DK130267   5F32DK130267-03     BOSTON CHILDREN'S HOSPITAL       polarized trafficking in the intestinal epithelium     BUGDA GWILT, KATLYNN   Awarded. Fellowships only   2022/12/01   2025/11/30    $246,658     $246,658     $212,224     $87,064

                                                                         Identification of CodY-Regulated Factors that          MONTEIRO, MARCOS
4,243 F31AI179158   5F31AI179158-02     EMORY UNIVERSITY                 Control Sporulation in Clostridioides difficile        PAULO                  Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $83,408     $48,974

                                                                         Graduate Program in Cancer Biology Training at                                Awarded. Non-fellowships
4,244 T32CA272392   5T32CA272392-02     EMORY UNIVERSITY                 Emory University                                       LESINSKI, GREGORY B    only                        2023/09/15   2028/08/31    $436,278     $436,278     $327,913    $221,904

                                                                         Uncovering the Functional Effects of Neurotrophins
4,245 F31DC021366   5F31DC021366-02     NORTHWESTERN UNIVERSITY          in the Auditory Brainstem                              MCLELLAN, KRISTINE     Awarded. Fellowships only   2024/01/01   2026/12/31     $87,094      $87,094      $46,655     $44,187

                                                                         ACTN4 Binding to Functional SNP rs9277336 Controls
                                        UNIVERSITY OF PITTSBURGH AT      the Genome Architecture and Endothelial
4,246 F30HL170649   5F30HL170649-02     PITTSBURGH                       Pathophenotypes in Pulmonary Arterial              KIRILLOVA, ANNA            Awarded. Fellowships only   2023/09/26   2027/03/25    $106,668     $106,668      $45,500     $53,974

                                        NORTH CAROLINA STATE
4,247 F31HD114366   5F31HD114366-02     UNIVERSITY RALEIGH               Identifying Predictors of Condom Use                   MCCRIMMON, JORDYN      Awarded. Fellowships only   2024/01/01   2026/12/31     $80,899      $80,899      $50,794     $41,469

                                                                         Translational control of a complete developing
4,248 F32EY035122   5F32EY035122-02     NEW YORK UNIVERSITY              sensory circuit                                        LOKER, RYAN E          Awarded. Fellowships only   2023/07/01   2026/06/30    $143,364     $143,364     $122,421     $74,284

                                                                         Mechanisms of pathogenic gene activation by
4,249 F31CA284714   5F31CA284714-02     UNIVERSITY OF PENNSYLVANIA       aberrant transcriptional hubs formed by mutant ENL MATHIAS, KAELI MARIE       Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $83,883     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                  Awarded. Non-fellowships
4,250 T32CA009676   2T32CA009676-31A1   ARBOR                            Training Program in Tumor Microenvironment             CASTRO, MARIA G        only                        1997/09/30   2029/08/31    $389,532     $389,532     $235,028    $389,532

                                        VIRGINIA COMMONWEALTH            Elucidating causal mechanisms of ethanol-induced
4,251 F31AA030918   5F31AA030918-02     UNIVERSITY                       analgesia in BXD recombinant inbred mouse lines  ROGERS, WALKER DAVID Awarded. Fellowships only           2023/09/10   2026/09/09     $85,528      $85,528      $63,720     $43,404

                                                                                                                                                       Awarded. Non-fellowships
4,252 T32DK007664   5T32DK007664-34     BAYLOR COLLEGE OF MEDICINE       Research Training in Pediatrics Gastroenterolgy        BURRIN, DOUGLAS G      only                        1991/09/30   2026/06/30   $1,274,848   $1,274,848   $1,396,048   $422,672

                                                                         Role of choroidal macrophages in regulating lipid
                                        UNIVERSITY OF ALABAMA AT         homeostasis and immunosuppression of the
4,253 F30EY033198   5F30EY033198-04     BIRMINGHAM                       RPE/choroid                                            FORTMANN, SETH D       Awarded. Fellowships only   2021/09/01   2025/08/31    $179,912     $179,912     $146,194     $50,936

                                                                                                                              VAN ORDEN, KIMBERLY      Awarded. Non-fellowships
4,254 T32MH020061   5T32MH020061-24     UNIVERSITY OF ROCHESTER          Postdoctoral Training in Suicide Prevention Research ALLISON                  only                        2001/09/17   2026/07/31   $1,065,489   $1,065,489    $848,023    $306,253

                                                                         Translational Imaging Research Program in                                     Awarded. Non-fellowships
4,255 T32AG078117   5T32AG078117-03     WASHINGTON UNIVERSITY            Radiopharmaceutical Sciences                           SHARMA, VIJAY          only                        2022/09/01   2027/08/31   $1,306,522   $1,306,522    $594,662    $547,330

                                                                         Contributions of host and gut microbial mediated       CRANDALL, WILLIAM
4,256 F31AT012140   5F31AT012140-03     EMORY UNIVERSITY                 metabolism to the antiviral activity of elderberry     JOSEPH                 Awarded. Fellowships only   2022/09/01   2025/08/31    $143,420     $143,420     $122,750     $48,974

                                        MASSACHUSETTS INSTITUTE OF       Interrogation of retroelement-derived proteins for
4,257 F31CA275339   5F31CA275339-03     TECHNOLOGY                       functional gene transfer                               LASH, BLAKE            Awarded. Fellowships only   2022/09/01   2025/08/31    $131,231     $131,231     $117,619     $44,911

                                                                         Elucidating the role of ER remodeling in aging of C.
4,258 F31AG076290   5F31AG076290-03     VANDERBILT UNIVERSITY            elegans                                                DONAHUE, ERIC KF       Awarded. Fellowships only   2022/09/01   2026/08/31    $118,101     $118,101      $85,227     $53,351

                                        MASSACHUSETTS INSTITUTE OF                                                                                     Awarded. Non-fellowships
4,259 T32EB001680   5T32EB001680-20     TECHNOLOGY                       Neuroimaging Training Program                          ROSEN, BRUCE R         only                        2003/05/01   2025/08/31    $930,200     $930,200     $872,040    $193,933
                                      NEW YORK UNIVERSITY SCHOOL OF Functional Characterization of ASD-Associated
4,260 F30HD103360   5F30HD103360-05   MEDICINE                      EEF1A2 Mutations in Human Neurons                          MOHAMED, MUHANED      Awarded. Fellowships only   2020/09/04   2025/09/03    $225,662     $225,662     $184,528     $47,112

                                                                      Sex difference in conjunctival epithelial cell
                                                                      response and their profile of extracellular bioactive
4,261 F32EY035529   5F32EY035529-02   SCHEPENS EYE RESEARCH INSTITUTE lipids duringallergic inflammation                       LEE, CHANGRIM         Awarded. Fellowships only   2023/09/01   2025/08/31    $146,256     $146,256     $115,971     $76,756

                                                                         Investigating craniofacial phenotypes, cellular
                                                                         function, and membrane biochemistry of ciliary
4,262 F31DE033290   5F31DE033290-02   UNIVERSITY OF TEXAS AT AUSTIN      proteins Rsg1 and the Fam92-Chibby-Dzip module        VAZQUEZ, NEFTALI      Awarded. Fellowships only   2023/09/01   2025/08/31     $79,708      $79,708      $64,812     $40,494

                                      NORTHWESTERN UNIVERSITY AT         Requirements and mechanisms of alloantigen-           SCHROTH, SAMANTHA
4,263 F30HL162456   5F30HL162456-03   CHICAGO                            induced cardiac allograft survival by cDC1s           LEIGH                 Awarded. Fellowships only   2022/09/01   2026/08/31    $139,518     $139,518     $123,811     $53,974

                                                                         Dartmouth Training Program in Quantitative Cancer                           Awarded. Non-fellowships
4,264 T32CA260262   5T32CA260262-07   DARTMOUTH COLLEGE                  Research                                          GERBER, SCOTT A           only                        2023/09/01   2028/08/31    $425,919     $425,919     $223,797    $211,545

                                      ICAHN SCHOOL OF MEDICINE AT        Compound Cardiovascular Activity Prediction Using
4,265 F30HL160179   5F30HL160179-04   MOUNT SINAI                        Structural and Genomic Features                   ZATORSKI, NICOLE          Awarded. Fellowships only   2021/09/01   2025/06/30    $190,717     $190,717     $135,292     $49,275

                                      UNIV OF NORTH CAROLINA             Elucidating the GPCR protein networks that drive      SERAFIN, DONALD
4,266 F31HL163885   5F31HL163885-03   CHAPEL HILL                        lymphatic growth                                      STEPHEN               Awarded. Fellowships only   2022/09/01   2025/08/31    $125,941     $125,941     $110,106     $43,481

                                                                         The Role of Prenatal Cannabis Exposure in Reward-
                                      UNIVERSITY OF CALIFORNIA LOS       related Neural Circuitry and Psychotic-like
4,267 F31DA060068   5F31DA060068-02   ANGELES                            Experiences in Youth                                  AMIR, CAROLYN         Awarded. Fellowships only   2023/09/01   2026/08/31     $86,432      $86,432       $6,234     $43,856

                                                                   SYSTEMS APPROACHES TO THE EPIDEMIOLOGY,                                           Awarded. Non-fellowships
4,268 T32HL007427   5T32HL007427-44   BRIGHAM AND WOMEN'S HOSPITAL GENETICS AND GENOMICS OF LUNG DISEASES                      WEISS, SCOTT T        only                        1987/07/01   2026/07/31   $2,898,685   $2,898,685   $2,003,087   $765,252

                                      UNIVERSITY OF KANSAS MEDICAL       Investigating the role of SHP2-PLCG1 interaction in   WALSH, RICHARD
4,269 F31CA281118   5F31CA281118-02   CENTER                             PDAC calcium signaling and metabolism                 MCKINNON              Awarded. Fellowships only   2023/07/01   2025/06/30     $72,248      $72,248      $59,021     $36,764

                                                                         Determining the role of nuclear envelope
                                                                         reformation proteins in regulating the cGAS/STING     ISENHOUR, ANTHONY
4,270 F31CA278423   5F31CA278423-02   YALE UNIVERSITY                    innate immune response in cancer                      WAYNE                 Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $65,328     $48,974

                                                                         Control of reproductive aging by germline stem        ANDERSON, AARON
4,271 F31AG084277   5F31AG084277-02   WASHINGTON UNIVERSITY              cells                                                 MARCUS                Awarded. Fellowships only   2023/08/01   2026/07/31     $68,572      $68,572      $54,414     $34,926

                                      UNIVERSITY OF TEXAS HLTH SCIENCE South Texas Alzheimer’s and Neurodegenerative                                 Awarded. Non-fellowships
4,272 T32AG082661   5T32AG082661-02   CENTER                           Disorders Training Program                              FOX, PETER THORNTON   only                        2023/09/01   2028/08/31    $317,480     $317,480     $180,992    $184,644

                                      UNIVERSITY OF CALIFORNIA, SAN      The role of vascular lipids in Alzheimers disease
4,273 F31AG084272   5F31AG084272-02   DIEGO                              pathophysiology                                       HARVEY, SEAN SANDAS   Awarded. Fellowships only   2023/09/01   2025/08/31     $82,112      $82,112      $68,837     $41,825

                                                                      Investigating the role of Cdk5 and p35 in natural
4,274 F30CA268742   5F30CA268742-03   CASE WESTERN RESERVE UNIVERSITY killer cell cytotoxicity                                 WONG, DEREK PERSEUS   Awarded. Fellowships only   2022/09/08   2025/09/07    $158,420     $158,420     $130,998     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN
4,275 F31HD110208   5F31HD110208-03   FRANCISCO                          Interrogating the Role of HSF1 in Ovarian Stress      FOECKE, MARIKO        Awarded. Fellowships only   2022/10/01   2025/09/29    $129,806     $129,806     $113,621     $44,436

                                      UNIVERSITY OF COLORADO             Dissecting the visuomotor circuit for saccadic
4,276 F31EY033651   5F31EY033651-03   DENVER                             suppression in the superior colliculus                HUNT, JOSHUA B        Awarded. Fellowships only   2022/09/01   2026/04/30    $108,080     $108,080      $83,111     $37,194

                                      UNIV OF NORTH CAROLINA             Fibrin-Based Nanoparticles as a Novel Sealant for     MOISEIWITSCH, NINA
4,277 F30HL163869   5F30HL163869-03   CHAPEL HILL                        Vascular Anastomosis                                  ALEXANDRA             Awarded. Fellowships only   2022/09/01   2027/07/31    $132,407     $132,407     $127,009     $53,575

                                                                         Regulatory Mechanisms of Collagen XII in
                                                                         Establishing Achilles Tendon Hierarchical Structure
                                                                         and Function in Postnatal Development and             DISTEFANO, MICHAEL
4,278 F31AR083255   5F31AR083255-02   UNIVERSITY OF PENNSYLVANIA         Healing                                               STEVEN                Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $88,412     $48,974

                                                                         MD/PhD Program in Medicine, the Social Sciences                             Awarded. Non-fellowships
4,279 T32AG074937   5T32AG074937-04   UNIVERSITY OF CHICAGO              and Alzheimers Disease and Related Dementias          MELTZER, DAVID O      only                        2021/09/30   2026/09/29    $860,891     $860,891     $272,335    $169,928

                                                                                                                                                     Awarded. Non-fellowships
4,280 T32GM135131   5T32GM135131-05   JOHNS HOPKINS UNIVERSITY           Program of Molecular Biophysics                       FLEMING, KAREN G      only                        2020/07/01   2025/06/30   $4,111,906   $4,111,906   $3,345,346   $878,975
                                                                           Genetic regulation of genes on active and inactive
                                        PENNSYLVANIA STATE UNIV            X chromosome and their contribution to sex-biased
4,281 F30GM151848   5F30GM151848-02     HERSHEY MED CTR                    diseases                                           MARKUS, HAVELL              Awarded. Fellowships only   2023/09/01   2025/08/31     $69,421      $69,421      $56,287     $34,800

                                                                           An Engineered Hydrogel Platform to Improve Neural
                                                                           Organoid Reproducibility for a Multi-Organoid
4,282 F31NS132505   5F31NS132505-02     STANFORD UNIVERSITY                Disease Model of 22q11.2 Deletion Syndrome        HUANG, MICHELLE S            Awarded. Fellowships only   2023/06/16   2025/12/15     $87,435      $87,435      $73,033     $41,787

                                                                           Evolutionary adaptation of dense microbial
4,283 F31GM151814   5F31GM151814-02     CORNELL UNIVERSITY                 populations to range expansion                          RANDOLPH, KATIE ELAINE Awarded. Fellowships only   2023/08/01   2025/07/31     $96,668      $96,668      $94,958     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
4,284 T32HL007185   5T32HL007185-48     FRANCISCO                          Multidisciplinary Training Program in Lung Disease      WOODRUFF, PRESCOTT G only                          1976/07/01   2027/06/30   $3,828,972   $3,828,972   $2,780,061 $1,331,043

                                                                           Integrating polygenic and environmental risk factors
4,285 F31HL167378   5F31HL167378-02     HARVARD MEDICAL SCHOOL             for asthma in diverse populations                    TSUO, KRISTIN MAY         Awarded. Fellowships only   2023/04/01   2026/06/30     $78,532      $78,532      $60,880     $36,856

                                        VIRGINIA COMMONWEALTH              Training Program in Cancer Prevention and Control                              Awarded. Non-fellowships
4,286 T32CA093423   5T32CA093423-17     UNIVERSITY                         and Cancer Health Equity (CPC-CHE)                FUEMMELER, BERNARD F         only                        2001/09/12   2028/08/31    $825,855     $825,855     $732,256   $349,915

                                                                       The impact of alcohol-induced ATF6-mediated ER
                                        UNIVERSITY OF NEBRASKA MEDICAL stress and Golgi disorganization on pro-metastatic
4,287 F31AA031186   5F31AA031186-02     CENTER                         glycosylation of integrins in prostate cancer               MACKE, AMANDA JESSIE   Awarded. Fellowships only   2023/09/01   2025/08/31     $67,734      $67,734      $53,097     $34,507

                                        UNIV OF NORTH CAROLINA             Effects of entinostat and neoantigen vaccination
4,288 F30CA278317   5F30CA278317-02     CHAPEL HILL                        on bladder cancer                                       BECKABIR, WOLFGANG     Awarded. Fellowships only   2023/08/01   2026/07/31    $100,103     $100,103      $92,766     $53,974

                                                                        Nitric oxide as a novel regulator of alternative           SCHINDLER, JOSEPH
4,289 F30ES035247   5F30ES035247-02     CASE WESTERN RESERVE UNIVERSITY splicing                                                   CHRISTIAN              Awarded. Fellowships only   2023/09/01   2027/08/31    $106,668     $106,668      $67,002     $53,974

                                                                           Endocannabinoid regulation of the
                                                                           corticoaccumbens pathway and stress-enhanced
4,290 F31DA059206   5F31DA059206-02     UNIVERSITY OF CINCINNATI           cocaine-seeking behavior                                GAULDEN, ANDREW        Awarded. Fellowships only   2023/08/09   2026/08/08     $91,456      $91,456      $73,202     $46,368

                                                                           Non-coding RNA regulation of neuronal protein           WHILDEN, COURTNEY
4,291 F31HD113399   5F31HD113399-02     HARVARD MEDICAL SCHOOL             translation and appetite control                        MICHELLE               Awarded. Fellowships only   2023/09/30   2026/09/29     $78,841      $78,841      $66,369     $36,918

                                                                           Individualized Profiles of Sensorineural Hearing Loss
                                                                           from Non-Invasive Biomarkers of Peripheral              HAUSER, SAMANTHA
4,292 F32DC021345   5F32DC021345-02     PURDUE UNIVERSITY                  Pathology                                               NICOLE                 Awarded. Fellowships only   2023/09/01   2025/08/31    $191,984     $191,984     $146,506     $99,932

                                                                                                                                   OLOPADE,               Awarded. Non-fellowships
4,293 T32CA009566   5T32CA009566-37     UNIVERSITY OF CHICAGO              Basic Medical Research Training in Oncology             OLUFUNMILAYO F         only                        1987/09/05   2028/06/30   $1,042,932   $1,042,932    $439,542   $532,364

                                                                           The Hillock: A Newly Discovered Airway Epithelial
                                                                           Structure and its Relationship with Squamous
4,294 F31HL165736   5F31HL165736-02     HARVARD MEDICAL SCHOOL             Metaplasia                                              CHERNOFF, CHAIM ZEV    Awarded. Fellowships only   2023/09/30   2026/09/29     $78,056      $78,056      $65,664     $39,918

                                                                           Nanotechnology-based platform for the
                                                                           development of next-generation vaccines against         HAMID, FATIMA ALAMIN
4,295 F31DA059235   5F31DA059235-02     UNIVERSITY OF MINNESOTA            opioid use disorder (OUD)                               AWAD ALKAREEM          Awarded. Fellowships only   2023/09/01   2026/08/31     $71,186      $71,186      $57,511     $36,233

                                        UNIVERSITY OF CALIFORNIA, SAN      Defining a stromal niche for type 2-like lung
4,296 F31HL165816   5F31HL165816-03     FRANCISCO                          regulatory T cells                                      CHANG, ANTHONY         Awarded. Fellowships only   2022/09/01   2025/08/31    $118,817     $118,817      $93,357     $40,773

                                                                           Physiologically-inspired exoskeleton controller to
4,297 F32HD112128   1F32HD112128-01A1   EMORY UNIVERSITY                   enhance human balance                                   JAKUBOWSKI, KRISTEN    Awarded. Fellowships only   2024/11/01   2027/10/31     $79,756      $79,756      $28,078     $79,756

                                                                           Determining the Interacting Effects of GBA, SNCA,
                                        ICAHN SCHOOL OF MEDICINE AT        and APOE on a-Synuclein Pathology Severity in
4,298 F31NS130909   5F31NS130909-03     MOUNT SINAI                        Dementia with Lewy Bodies and Parkinsons Disease        GOLDMAN, CAMILLE       Awarded. Fellowships only   2023/01/01   2025/10/31    $136,138     $136,138     $110,647     $42,670

                                                                           Identifying the cells and circuits driving stimulus-
                                        UNIVERSITY OF CALIFORNIA LOS       independent activity throughout the developing
4,299 F31NS139660   1F31NS139660-01     ANGELES                            Drosophila brain                                        SUAREZ, SASSAN LEO     Awarded. Fellowships only   2024/08/01   2026/07/31     $47,936      $47,936      $14,039     $47,936

                                        OREGON HEALTH & SCIENCE            Chemical Biology-Based Tools to Uncover the
4,300 F31CA284712   5F31CA284712-02     UNIVERSITY                         Function of PARP16 in cancer                            BEJAN, DANIEL          Awarded. Fellowships only   2023/07/17   2025/07/16     $96,668      $96,668      $84,201     $48,974
                                                                         Role of beta2 nicotinic acetylcholine receptors in
                                        WAKE FOREST UNIVERSITY HEALTH    the insula-BNST pathway in ethanol consumption
4,301 F31AA031625   1F31AA031625-01A1   SCIENCES                         and abstinence-induced negative affect.              WILLIAMS, BENJAMIN M     Awarded. Fellowships only   2024/09/01   2027/08/31    $51,974    $51,974    $38,962   $51,974

                                        UNIVERSITY OF CALIFORNIA, SAN    The Left and Right Ventricles in Sleep Apnea with
4,302 F32HL176079   1F32HL176079-01     DIEGO                            COPD                                                 RAPHELSON, JANNA         Awarded. Fellowships only   2024/08/16   2027/08/15    $81,364    $81,364    $45,516   $81,364

                                                                        Understanding how exocrine-derived signals            OVERTON, DANIELLE
4,303 F31DK137482   5F31DK137482-02     INDIANA UNIVERSITY INDIANAPOLIS promote beta cell growth                              LOUISIA                  Awarded. Fellowships only   2024/01/01   2026/12/31    $78,888    $78,888    $50,515   $40,084

                                                                                                                                                       Awarded. Non-fellowships
4,304 T35OD010991   5T35OD010991-20     TEXAS A&M AGRILIFE RESEARCH      Veterinary Medical Student Research Training         GADDY, DANA              only                        2004/08/02   2025/12/31   $395,956   $395,956   $307,724   $71,224


                                        UNIVERSITY OF MICHIGAN AT ANN    MLL1 drives collaborative leukocyte-endothelial cell
4,305 F32HL170540   5F32HL170540-02     ARBOR                            signaling and thrombosis after coronavirus infection PARCHMENT, NATHANIEL Awarded. Fellowships only       2023/09/29   2025/09/28   $165,184   $165,184   $118,749   $86,392

                                                                      Elucidating the Cell-Type Specific Neuroprotective
                                        WEILL MEDICAL COLL OF CORNELL Mechanisms in the APOE3 Christchurch Mutation in
4,306 F32AG085960   5F32AG085960-02     UNIV                          Alzheimers Disease                                      NAGUIB, SARAH            Awarded. Fellowships only   2023/12/01   2026/11/30   $153,512   $153,512    $81,579   $76,984

                                                                         Regulation of PACAP expression and its role in
4,307 F31HL176159   1F31HL176159-01     UNIVERSITY OF VIRGINIA           protecting early neonatal respiration.               CLEMENTS, RACHEL         Awarded. Fellowships only   2024/07/01   2027/06/30    $38,198    $38,198    $30,539   $38,198

                                                                         Engineering best in class Acute Myeloid Leukemia
                                        UNIVERSITY OF CALIFORNIA, SAN    (AML) CAR-T therapies by enhancing persistence
4,308 F31CA294978   1F31CA294978-01     FRANCISCO                        and defining the immune landscape of AML             RAMPERSAUD, SHAM         Awarded. Fellowships only   2024/12/17   2027/12/16    $41,380    $41,380    $10,075   $41,380

                                        MONTANA STATE UNIVERSITY -       CRISPR RNA-guided recognition of invading RNA
4,309 F31GM153146   5F31GM153146-02     BOZEMAN                          activates a multipronged cell death response         BURMAN, NATHANIEL        Awarded. Fellowships only   2024/01/01   2026/06/30    $72,958    $72,958    $37,950   $36,479

                                        FRED HUTCHINSON CANCER           Investigating the chromatin landscape of complex
4,310 F32GM153148   5F32GM153148-02     CENTER                           tissues through cell-type-specific patterns          LEICHTER, SARAH          Awarded. Fellowships only   2024/01/01   2026/12/31   $148,112   $148,112    $92,453   $74,284

                                                                         Examining the Impact of Peroxisomal Fission on Cell
4,311 F31HD114431   1F31HD114431-01A1   VANDERBILT UNIVERSITY            Fate Decisions During Neurodevelopment              BODNYA, CAROLINE          Awarded. Fellowships only   2024/09/01   2026/08/31    $34,314    $34,314    $23,675   $34,314

                                                                        PIK3C2A is a vulnerable immunotherapeutic target
                                                                        in triple-negative breast cancer combination
4,312 F30CA294711   1F30CA294711-01     INDIANA UNIVERSITY INDIANAPOLIS therapy                                               WANG, XIYU               Awarded. Fellowships only   2024/07/01   2028/06/30    $48,068    $48,068    $27,604   $48,068

                                                                         Investigating the role of immune genes and
                                                                         inflammatory biomarkers in schizophrenia
4,313 F30MH132165   5F30MH132165-03     VANDERBILT UNIVERSITY            heterogeneity                                        LAKE, ALLISON MICHELLE   Awarded. Fellowships only   2023/01/01   2026/12/31   $119,381   $119,381    $76,413   $53,351

                                                                         Molecular Mechanisms of TOX-mediated                 SULLIVAN, MATTHEW
4,314 F30AI174776   5F30AI174776-03     UNIVERSITY OF PENNSYLVANIA       Programming of CD8 T Cell Exhaustion                 AMBROSE                  Awarded. Fellowships only   2023/01/01   2026/12/31   $125,718   $125,718    $98,482   $36,512

                                                                         Dysregulated AB in HAND: The Role of GP120
4,315 F31NS136032   1F31NS136032-01A1   GEORGETOWN UNIVERSITY            Induced Endoplasmic Reticulum Stress                 AGBEY, CHRISTY           Awarded. Fellowships only   2024/09/01   2026/08/31    $36,274    $36,274    $25,146   $36,274

                                                                         Uncovering DIP-α signaling pathways underlying
4,316 F31NS136004   5F31NS136004-02     UNIVERSITY OF CHICAGO            circuit assembly                                     ZHANG, RUILING           Awarded. Fellowships only   2024/01/01   2028/11/30    $97,948    $97,948    $66,024   $48,974

                                        WAKE FOREST UNIVERSITY HEALTH    Neural Correlates of Spatial Attention Deployment    KATTNER, EVAN
4,317 F31EY036728   1F31EY036728-01     SCIENCES                         and Perceptual Decision Making                       ALEXANDER                Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $35,390   $48,974

                                                                         The Role of c-ABL in Mediating TIE2 Signaling and
4,318 F31HL176101   1F31HL176101-01     UNIVERSITY OF CINCINNATI         Formation of Venous Malformation                     BISCHOFF, LINDSAY        Awarded. Fellowships only   2024/09/15   2027/09/14    $46,386    $46,386    $21,088   $46,386

                                                                         Real-world, national evidence on the predictors
4,319 F31MH134597   1F31MH134597-01A1   TRUSTEES OF INDIANA UNIVERSITY   and consequences of pediatric antipsychotic use      SEPE-FORREST, LINNEA     Awarded. Fellowships only   2024/07/01   2026/06/30    $48,974    $48,974    $48,974   $48,974

                                                                         Impact of Medicare and Medicaid coverage
                                                                         policies on contraceptive use among people with      BELLEROSE, MEGHAN
4,320 F31HD116515   1F31HD116515-01     BROWN UNIVERSITY                 disabilities                                         ELIZABETH                Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $33,573   $48,974

                                                                         Investigating how cancer cells maintain redox
4,321 F30CA268633   5F30CA268633-04     HARVARD MEDICAL SCHOOL           homeostasis to support biomass production            CHANG, SARAH M           Awarded. Fellowships only   2022/02/01   2026/01/31   $212,394   $212,394   $186,663   $53,974
                                                                         Novel therapeutics for treatment of catheter-
                                                                         associated UTI and depletion of the vaginal            TIMM, MORGAN ROSE
4,322 F30DK135390   5F30DK135390-03     WASHINGTON UNIVERSITY            reservoir                                              WILT                   Awarded. Fellowships only   2023/02/10   2026/02/09   $122,546   $122,546    $90,258   $53,974

                                        UNIVERSITY OF PITTSBURGH AT      Profiling Upper Aerodigestive Functioning in
4,323 F31HL176098   1F31HL176098-01     PITTSBURGH                       Sporadic Inclusion Body Myositis                       AMBROCIO, KEVIN RENZ   Awarded. Fellowships only   2024/09/30   2026/09/29    $48,974    $48,974    $21,391   $48,974

                                        VIRGINIA POLYTECHNIC INST AND    CpG-B ODN Mediated Protection from Systemic
4,324 F30AI186528   1F30AI186528-01     ST UNIV                          Lupus Erythematosus                                    OAKLAND, DAVID NOAH Awarded. Fellowships only      2024/07/25   2028/07/24    $43,943    $43,943    $31,810   $43,943

                                                                         Investigating Impacts of Neighborhood
                                        WAKE FOREST UNIVERSITY HEALTH    Disadvantage on ADRD risks, imaging biomarkers,        KRISHNAMURTHY,
4,325 F30AG085932   1F30AG085932-01A1   SCIENCES                         and cognition                                          SUDARSHAN              Awarded. Fellowships only   2024/09/01   2027/08/31    $53,974    $53,974    $39,333   $53,974

                                                                         Deciphering the autonomic regulation of
                                        TEXAS A&M UNIVERSITY HEALTH      inflammation and hypertension sensitization after
4,326 F31HL176172   1F31HL176172-01     SCIENCE CTR                      psychological trauma                                   LAUTEN, TATLOCK H      Awarded. Fellowships only   2024/09/01   2026/08/31    $37,568    $37,568    $20,636   $37,568

                                        UNIVERSITY OF PITTSBURGH AT      Microbiome targeted nutrition to improve immune
4,327 F30HL170777   5F30HL170777-02     PITTSBURGH                       function during critical illness                       CHATRIZEH, MONA        Awarded. Fellowships only   2023/09/01   2027/08/31   $107,300   $107,300    $53,653   $54,290

                                                                         Enzyme-Mediated Depletion of Extracellular
                                                                         Adenosine and 5methylthioadenosine as a Novel          AL-KHALEDY, RANYA
4,328 F31CA284802   1F31CA284802-01A1   UNIVERSITY OF TEXAS AT AUSTIN    Anti-Cancer Therapeutic                                NOURA                  Awarded. Fellowships only   2024/08/16   2027/08/15    $46,588    $46,588    $35,524   $46,588

                                                                         Investigating TCF4 and Synaptic Dysfunction in Pitt-
4,329 F31MH138091   1F31MH138091-01     LIEBER INSTITUTE, INC.           Hopkins Syndrome                                       PATEL, CHINTAN R       Awarded. Fellowships only   2024/08/01   2027/07/31    $42,574    $42,574    $41,776   $42,574

                                                                         Understanding the Impact of Post-Separation Abuse SPEARMAN, KATHRYN
4,330 F31HD111297   5F31HD111297-03     JOHNS HOPKINS UNIVERSITY         on Childrens Health and Flourishing Outcomes      JANE                        Awarded. Fellowships only   2023/01/12   2026/01/11   $154,142   $154,142    $83,268   $51,974

                                                                         Implementation Penetration Assessment Criteria
                                                                         Tool for HPV Vaccination- Promoting Uptake among ANIKAMADU,
4,331 F31CA294971   1F31CA294971-01     WASHINGTON UNIVERSITY            Young Girls in Nigeria                           ONYEKACHUKWU                 Awarded. Fellowships only   2025/02/05   2027/02/04    $36,801    $36,801        $0    $36,801

                                        RUTGERS BIOMEDICAL AND HEALTH Impact of Titanium-mediated Oxidative Stress on
4,332 F32DE033622   5F32DE033622-02     SCIENCES                      LPS/TLR4 Signaling                                        SIDDIQUI, DANYAL       Awarded. Fellowships only   2023/12/01   2026/11/30   $144,964   $144,964    $76,508   $75,084

                                                                         Assembly and Disassembly Processes in the HIV-1
4,333 F32AI186429   1F32AI186429-01     UNIVERSITY OF CHICAGO            Life Cycle                                             WALTMANN, CURT         Awarded. Fellowships only   2024/09/30   2027/09/29    $73,408    $73,408    $29,546   $73,408

                                                                         Engineering a Multi-Therapeutic, 3D-Printed Scaffold
                                                                         for Local Immunoprotection and Favorable
                                                                         Engraftment of Pancreatic Islets for Treatment of
4,334 F31DK138744   1F31DK138744-01A1   UNIVERSITY OF FLORIDA            Type 1 Diabetes                                      LANSBERRY, TAYLOR ROSE Awarded. Fellowships only     2024/09/01   2026/08/31    $43,902    $43,902    $27,590   $43,902

                                        UNIVERSITY OF CALIFORNIA, SAN                                                           SILVA, ALEXANDER
4,335 F30DC021872   5F30DC021872-02     FRANCISCO                        Developing a bilingual speech neuroprosthesis          BUDUGUR                Awarded. Fellowships only   2024/01/01   2027/12/31    $83,012    $83,012    $56,972   $41,632

                                        UNIVERSITY OF TEXAS HLTH SCI CTR The Roles of Rnt1 and Putative Endoribonucleases in
4,336 F31GM149143   5F31GM149143-03     HOUSTON                          mRNA Processing and Degradation                     NOTICE, LEE-ANN SHARI     Awarded. Fellowships only   2022/12/29   2025/12/28   $125,764   $125,764    $89,290   $42,348

                                                                         Neuronal encoding of rapid categorical decisions
4,337 F30EY033648   5F30EY033648-04     UNIVERSITY OF CHICAGO            across primate oculomotor networks                     ZHU, OU                Awarded. Fellowships only   2022/01/15   2027/01/14   $212,394   $212,394   $159,073   $53,974

                                        WAKE FOREST UNIVERSITY HEALTH    Characterization of Polysubstance Use: Combined
4,338 F31DA057815   5F31DA057815-03     SCIENCES                         Fentanyl and Methamphetamine                           DAWES, MONICA H        Awarded. Fellowships only   2023/02/01   2027/01/31   $145,642   $145,642   $102,204   $48,974

                                                                         Programmed death ligand-1 interactions in the
                                        UNIVERSITY OF COLORADO           regulation of dendritic cell migration and T cell
4,339 F30AI176607   5F30AI176607-02     DENVER                           priming                                                KANTHETI, UMA          Awarded. Fellowships only   2023/12/01   2027/11/30    $76,249    $76,249    $54,525   $38,346

                                        UNIVERSITY OF COLORADO           Defining viral-host interactions between
4,340 F30AI160828   5F30AI160828-04     DENVER                           arthritogenic alphaviruses and MARCO                   LI, FRANCES SHIEH      Awarded. Fellowships only   2022/01/01   2025/12/31   $180,131   $180,131    $86,877   $53,974

                                                                         Synergistic contributions of cerebrovascular disease
                                        COLUMBIA UNIVERSITY HEALTH       and neuroinflammation to Alzheimers disease in       EDWARDS, NATALIE
4,341 F31AG090091   1F31AG090091-01     SCIENCES                         adults with Down syndrome                            CATHERINE                Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $44,270   $48,974
                                                                                                                                                          Awarded. Non-fellowships
4,342 T32DK007198   5T32DK007198-50     MAYO CLINIC ROCHESTER             Multidisciplinary Training in Digestive Diseases       MALHI, HARMEET           only                        1979/01/01   2028/12/31    $621,751     $621,751    $500,535   $187,498

                                                                          Investigating the mechanism of infection and
                                        UNIVERSITY OF CALIFORNIA, SAN     therapeutic potential of Pseudomonas nucleus-
4,343 F30AI176696   5F30AI176696-02     DIEGO                             forming phages                                         MORGAN, CHASE            Awarded. Fellowships only   2023/12/06   2027/12/05     $83,766      $83,766     $21,719    $42,100


                                        UNIVERSITY OF CALIFORNIA LOS      Investigating the effects of early life adversity on the
4,344 F31MH138135   1F31MH138135-01     ANGELES                           developmental trajectory of avoidance circuitry          GOODPASTER, CAITLIN    Awarded. Fellowships only   2024/07/01   2026/06/30     $44,308      $44,308     $32,773    $44,308

                                                                        AKR1a1 as a novel therapeutic target for Non-
4,345 F30DK128944   5F30DK128944-04     CASE WESTERN RESERVE UNIVERSITY Alcoholic Fatty Liver Disease                            VENETOS, NICHOLAS        Awarded. Fellowships only   2022/02/01   2026/01/31    $212,394     $212,394    $163,879    $53,974

                                                                          Artificial Metalloenzymes Containing Uranyl
                                        UNIVERSITY OF CALIFORNIA          Cofactors for Photocatalytic C-H Bond
4,346 F31GM149158   5F31GM149158-02     BERKELEY                          Functionalization                                      HERRERA, GABRIEL         Awarded. Fellowships only   2024/01/05   2027/01/04     $97,948      $97,948     $67,799    $48,974

                                                                          Developing novel methods to assess the pandemic
                                                                          potential of influenza A viruses using mathematical
4,347 F31AI186550   1F31AI186550-01     EMORY UNIVERSITY                  modeling and evolutionary methods                   SOMSEN, ELIZABETH           Awarded. Fellowships only   2024/08/01   2027/07/31     $48,974      $48,974     $31,212    $48,974

                                                                          The Role of CCR10 and CCR10+ Tregs in                  NGUYEN, BIANCA
4,348 F31HL176154   1F31HL176154-01     VANDERBILT UNIVERSITY             Hypertension                                           ALEXANDRA                Awarded. Fellowships only   2024/12/01   2027/11/30     $34,370      $34,370     $12,433    $34,370

                                        ICAHN SCHOOL OF MEDICINE AT       The Role of LIM-nebulette in podocyte                  WRIGHT, JACOB
4,349 F31DK141253   1F31DK141253-01     MOUNT SINAI                       mechanoresponse                                        MATTHEW                  Awarded. Fellowships only   2024/07/01   2027/06/30     $48,814      $48,814       $271     $48,814

                                                                          Mind-Body Peer Support for Family Caregivers to
4,350 F31AT012417   5F31AT012417-02     UNIVERSITY OF WASHINGTON          Patients with Severe Acute Brain Injury                REICHMAN, MIRA           Awarded. Fellowships only   2024/01/16   2027/01/15     $97,948      $97,948     $59,469    $48,974

                                                                          Vocabulary Encoding and Retention in Autism via
4,351 F31DC021111   1F31DC021111-01A1   NORTHEASTERN UNIVERSITY           Social Cognition (VERAS)                               TRICE, KATHERINE MARIE   Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974     $32,986    $48,974

                                                                        The role of A1 adenosine receptor signaling in the
                                        STATE UNIVERSITY OF NEW YORK AT decline of S. pneumoniae killing by neutrophils in
4,352 F31AI169889   5F31AI169889-03     BUFFALO                         vaccinated aged hosts                                    SIMMONS, SHAUNNA         Awarded. Fellowships only   2023/01/01   2025/12/31    $101,699     $101,699     $73,559    $33,858

                                                                          Computational Medicine in the Heart, Integrated                                 Awarded. Non-fellowships
4,353 T32HL166155   5T32HL166155-03     STANFORD UNIVERSITY               Training Program                                       NARAYAN, SANJIV M        only                        2023/01/01   2027/12/31   $1,342,748   $1,342,748   $370,223   $627,556

                                                                          Longitudinal Modeling of Pro-Inflammatory
                                                                          Cytokines, Hazardous Alcohol Use, and Cerebral
                                                                          Metabolites as Predictors of Neurocognitive
4,354 F31AA031440   5F31AA031440-02     UNIVERSITY OF FLORIDA             Change in People with HIV                              BRITTON, MARK K          Awarded. Fellowships only   2024/01/01   2025/12/31     $83,766      $83,766     $55,844    $41,883

                                                                          A transcriptomics-based approach to identify           KHEDMATGOZAR, CHASE
4,355 F31NS139652   1F31NS139652-01     COLORADO STATE UNIVERSITY         quantitative biomarkers for multiple system atrophy    REZA                Awarded. Fellowships only        2024/12/07   2027/12/06     $42,269      $42,269     $13,699    $42,269

                                                                          Neuroinflammation as a mediator of the
                                                                          exaggerated Piezo2 and Exercise Pressor Reflex in
4,356 F31HL175929   1F31HL175929-01     UNIVERSITY OF MINNESOTA           Peripheral Artery Disease                              ORIBAMISE, EUNICE        Awarded. Fellowships only   2025/03/05   2030/03/04     $40,431      $40,431      $2,786    $40,431

                                        UNIVERSITY OF COLORADO            The recruitment and retention of colon                 DANIELSON, SARAH
4,357 F31DK138543   1F31DK138543-01A1   DENVER                            intraepithelial lymphocytes                            MANN                     Awarded. Fellowships only   2024/09/01   2026/08/31     $37,659      $37,659     $25,899    $37,659

                                        UNIV OF NORTH CAROLINA                                                                   GENTILE, GABRIELLE
4,358 F31HL170617   5F31HL170617-02     CHAPEL HILL                       Alternative splicing regulation of CLTC in the heart   MARIE                    Awarded. Fellowships only   2023/09/01   2025/08/31     $78,848      $78,848     $62,115    $40,064

                                                                          Genome-driven identification of patient and
                                                                          bacterial drivers of resistance to novel beta-
                                        UNIVERSITY OF MICHIGAN AT ANN     lactam/beta-lactamase inhibitor combination
4,359 F31AI186288   1F31AI186288-01     ARBOR                             therapies                                              GONTJES, KYLE JAMES      Awarded. Fellowships only   2024/08/01   2026/07/31     $41,655      $41,655     $37,235    $41,655

                                                                          Regulation of nervous system health and function
4,360 F32GM156113   1F32GM156113-01     SEATTLE CHILDREN'S HOSPITAL       by the E3 ligase UBR-1                                 PAK, JOSEPH              Awarded. Fellowships only   2024/09/02   2025/09/01     $74,284      $74,284      $4,341    $74,284
                                                                         Characterizing DC-specific mechanisms of LNP
                                        ICAHN SCHOOL OF MEDICINE AT      immunogenicity to enhance LNP-based anti-tumor
4,361 F30CA287638   1F30CA287638-01A1   MOUNT SINAI                      therapies                                                MOON, CHANG YOON       Awarded. Fellowships only   2024/07/15   2027/07/14    $42,724    $42,724   $11,830   $42,724

                                        OREGON HEALTH & SCIENCE          Contribution of endothelin 1 mediated ischemic
4,362 F30AG089943   1F30AG089943-01     UNIVERSITY                       vascular dysfunction to Alzheimers disease               WOODRUFF, SIMONE       Awarded. Fellowships only   2024/09/30   2028/09/29    $53,974    $53,974   $27,977   $53,974

                                                                         Leveraging Retained Partner Gene Function to
                                        UNIVERSITY OF CALIFORNIA, SAN    Effectively Target CIC-rearranged Fusion
4,363 F31CA287493   1F31CA287493-01A1   FRANCISCO                        Oncoproteins                                             LUCK, CUYLER           Awarded. Fellowships only   2024/08/01   2027/07/31    $45,909    $45,909   $36,106   $45,909

                                                                         Understanding the Contributions of Proprioceptive
                                                                         Impairment on Arm Capacity and Real-World
4,364 F31HD116432   1F31HD116432-01     UNIVERSITY OF DELAWARE           Performance After Stroke                                 HOH, JOANNA ESKANDER Awarded. Fellowships only     2025/01/01   2026/12/31    $46,796    $46,796    $9,684   $46,796

                                                                         Implementation of a Community-Based Cancer
                                        UNIVERSITY OF CALIFORNIA AT      Prevention Intervention with a Marginalized              KERBER, CHARLOTTE
4,365 F31CA294928   1F31CA294928-01     DAVIS                            Population Experiencing Food Insecurity                  LORRAINE               Awarded. Fellowships only   2024/09/01   2026/08/31    $42,058    $42,058   $30,298   $42,058

                                                                         Addressing Chronic Pain in Older Adult Populations:
                                                                         Acupuncture Healthcare Delivery Model Innovation
4,366 F30AT013025   1F30AT013025-01     MICHIGAN STATE UNIVERSITY        in the United States                                DING, JESSICA LU            Awarded. Fellowships only   2025/01/01   2030/12/31    $46,710    $46,710    $6,104   $46,710

                                                                      Spatiotemporal and molecular determinants of
                                        WEILL MEDICAL COLL OF CORNELL autoimmune T cell stemness and differentiation in           MIAKICHEVA, SVETLANA
4,367 F31DK141119   1F31DK141119-01     UNIV                          type I diabetes                                             DMITRIEVNA             Awarded. Fellowships only   2024/08/26   2027/08/25    $48,974    $48,974   $37,376   $48,974

                                                                         Investigating invariant motion encoding in mouse
4,368 F31EY036693   1F31EY036693-01     DUKE UNIVERSITY                  visual cortex                                            GANNON, SARA           Awarded. Fellowships only   2024/09/01   2027/08/31    $41,901    $41,901   $28,619   $41,901

                                        VIRGINIA POLYTECHNIC INST AND    Rift Valley fever virus NSs protein interacts with LC3
4,369 F31AI181059   1F31AI181059-01A1   ST UNIV                          family members to inhibit antiviral autophagy            PETRACCIONE, KAYLEE    Awarded. Fellowships only   2024/08/10   2025/08/09    $42,684    $42,684   $29,324   $42,684

                                                                         Male x Female Protein Interactions Mediating
4,370 F32HD111231   5F32HD111231-02     CORNELL UNIVERSITY               Reproductive Success in the Drosophila Mating Plug CARLISLE, JOLIE ANNA         Awarded. Fellowships only   2024/01/01   2026/12/31   $143,364   $143,364   $86,941   $74,284

                                                                         Mechanisms of osmosensing in GI enteroendocrine
4,371 F30DK138638   1F30DK138638-01A1   MAYO CLINIC ROCHESTER            cells                                                    BELLAMPALLI, SHREYA    Awarded. Fellowships only   2024/09/01   2028/08/31    $49,174    $49,174   $27,324   $49,174
4,372 F32HL172725   1F32HL172725-01A1   DENVER                           Epithelial Contributions to Lung Immunity                ORLOV, MARIKA          Awarded. Fellowships only   2024/09/13   2025/09/12    $89,488    $89,488   $51,875   $89,488

                                                                         Role of the Immune Response in Spiral Ganglion
4,373 F31DC021590   1F31DC021590-01A1   UNIVERSITY OF IOWA               Neuron Death After Hair Cell Loss                        CARO, ADRIANNA         Awarded. Fellowships only   2024/06/06   2025/06/05    $36,262    $36,262   $27,037   $36,262

                                        UNIVERSITY OF NEBRASKA MEDICAL
4,374 F30AI186408   1F30AI186408-01     CENTER                         Nitrogen Metabolism of Staphylococcus aureus               BURKE, TAYLOR LAUREN   Awarded. Fellowships only   2025/02/02   2030/02/01    $45,574    $45,574    $4,723   $45,574

                                                                         Defining novel functions of ATF4 in early stages of
4,375 F31CA287966   1F31CA287966-01A1   UNIVERSITY OF CHICAGO            pancreatic cancer tumorigenesis                          ZIOLKOWSKI, LEAH MARIE Awarded. Fellowships only   2024/09/30   2026/09/29    $48,974    $48,974   $31,212   $48,974

                                                                         Molecular mechanisms of Kv1 channel localization
4,376 F31NS139435   1F31NS139435-01     BAYLOR COLLEGE OF MEDICINE       at the axon initial segment                              PALFINI, VICTORIA      Awarded. Fellowships only   2024/09/03   2027/09/02    $48,974    $48,974   $36,072   $48,974

                                        HARVARD SCHOOL OF PUBLIC         Mechanisms of regenerative decline in aged
4,377 F31HL168966   1F31HL168966-01A1   HEALTH                           alveolar type 2 cells                                    JENSEN, JAKE           Awarded. Fellowships only   2024/08/01   2026/07/31    $36,138    $36,138   $29,082   $36,138

                                                                         Three-dimensional Confocal Microscopy
                                                                         Visualization and AFM-IR Chemical Mapping of
4,378 F31HL170778   5F31HL170778-02     UNIVERSITY OF MINNESOTA          Lung Surfactant Monolayer Collapse Morphologies          MCALLISTER, ZACHARY D Awarded. Fellowships only    2023/09/15   2026/09/14    $89,166    $89,166   $59,275   $45,223

                                                                         Role of Natural Antibodies and B1 cells in
4,379 F32HL170760   5F32HL170760-02     UNIVERSITY OF VIRGINIA           Fibroproliferative Lung Disease                          HANNAN, RILEY T        Awarded. Fellowships only   2024/01/01   2025/12/31   $148,822   $148,822   $80,053   $78,222

                                                                         Decision-making consequences of decreased
4,380 F31AG090000   1F31AG090000-01     UNIVERSITY OF PENNSYLVANIA       memory precision with age                                VAN GEEN, CAMILLA      Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974   $39,168   $48,974

                                        WEILL MEDICAL COLL OF CORNELL Investigating the role of signaling feedback in             PFANNENSTEIN,
4,381 F32GM156014   1F32GM156014-01     UNIV                          directed cell migration                                     ALEXANDER              Awarded. Fellowships only   2024/09/30   2027/09/29    $73,828    $73,828   $38,391   $73,828
                                        FRED HUTCHINSON CANCER          Ubiquitin-mediated regulation of kinetochore
4,382 F32GM156071   1F32GM156071-01     CENTER                          assembly and function                                     FRANK, ANDERSON ROSS Awarded. Fellowships only     2024/09/01   2027/08/31    $76,828    $76,828    $44,871   $76,828

                                                                        Tuning of infant olfactory circuits by early life
4,383 F32HD116519   1F32HD116519-01     STANFORD UNIVERSITY             interactions with caregivers                              AKBARI, NAJVA          Awarded. Fellowships only   2025/03/01   2028/02/29    $74,284    $74,284     $5,157   $74,284

                                        UNIVERSITY OF MICHIGAN AT ANN   Identifying the function of alternatively spliced
4,384 F31NS134123   5F31NS134123-02     ARBOR                           TDP43 isoforms and contribution to disease                DYKSTRA, MEGAN         Awarded. Fellowships only   2023/08/01   2026/07/31    $83,462    $83,462    $83,462   $42,600

                                                                                                                                  BANALES MEJIA,
4,385 F31GM155953   1F31GM155953-01     UNIVERSITY OF WASHINGTON        Developing a Chemically-Controlled RAS Toolset            FERNANDO               Awarded. Fellowships only   2024/09/01   2027/08/31    $44,695    $44,695    $10,522   $44,695

                                        NORTHWESTERN UNIVERSITY AT      The Role of Neutrophils in Ischemia/Reperfusion
4,386 F31NS130939   5F31NS130939-03     CHICAGO                         Injury following Acute Stroke                             ARIAS, ERIKA           Awarded. Fellowships only   2023/01/01   2026/09/30   $135,500   $135,500   $103,709   $46,091

                                                                        Elucidating Signatures of DNA Damage Response
                                                                        Alterations from Structural Variants in Human
4,387 F31CA287567   1F31CA287567-01A1   HARVARD MEDICAL SCHOOL          Cancer                                                    RASKIND, GREGORY       Awarded. Fellowships only   2024/09/01   2026/08/31    $36,983    $36,983        $0    $36,983

                                                                        Defining the mechanism of PTCHD1 and membrane
                                                                        cholesterol in the regulation of the mu-opioid
4,388 F32GM155989   1F32GM155989-01     UNIVERSITY OF FLORIDA           receptor                                       LANKFORD, COLTEN KEITH Awarded. Fellowships only              2025/03/01   2026/02/28    $74,284    $74,284     $7,323   $74,284

                                                                        Adjusting for selection bias due to missing eligibility
                                        HARVARD SCHOOL OF PUBLIC        data in electronic health records-based
4,389 F31DK141237   1F31DK141237-01     HEALTH                          observational studies                                     BENZ, LUKE S           Awarded. Fellowships only   2024/09/01   2026/08/31    $41,656    $41,656    $34,882   $41,656

                                        ICAHN SCHOOL OF MEDICINE AT     Investigating Histone 3 Dopaminylation in Parkinsons
4,390 F30AG090096   1F30AG090096-01     MOUNT SINAI                     Disease                                              CHEN, WINNIE                Awarded. Fellowships only   2024/09/09   2028/09/08    $48,814    $48,814      $541    $48,814

                                        UNIVERSITY OF CALIFORNIA
4,391 F31DK132867   5F31DK132867-03     BERKELEY                        Aging-Dependent Changes in Adipose Tissue                 LIN, FRANCES           Awarded. Fellowships only   2022/12/01   2026/11/30   $133,147   $133,147   $106,885   $45,123

                                                                        Determining the role of sperm microRNAs in early
4,392 F31HD114433   1F31HD114433-01A1   UNIVERSITY OF PENNSYLVANIA      development and non-genetic inheritance                   LEE, GRACE SUNEUY      Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $36,266   $48,974

                                                                        Characterization of the role of ZSWIM8 and target-
4,393 F30HL175923   1F30HL175923-01     HARVARD MEDICAL SCHOOL          directed microRNA degradation in hematopoiesis            ELCAVAGE, LARA         Awarded. Fellowships only   2024/09/01   2027/08/31    $53,974    $53,974    $44,566   $53,974

                                                                        Uncovering the Synergistic Effects of Chronic
4,394 F31AA031908   1F31AA031908-01     UNIVERSITY OF WASHINGTON        Alcohol Use and Pathological Tau Expression               PATARINO, MAKENZIE     Awarded. Fellowships only   2024/08/01   2027/07/31    $45,224    $45,224    $36,282   $45,224

                                                                        Role of Extracellular Long-Chain Acyl-carnitines in
4,395 F31HL176029   1F31HL176029-01     JOHNS HOPKINS UNIVERSITY        the Normal and Stressed Heart                             MULLIGAN, ABIGAIL S    Awarded. Fellowships only   2024/12/01   2027/11/30    $32,974    $32,974    $11,760   $32,974

                                                                        Quantifying the Interdependence of the Motor
4,396 F31NS135898   1F31NS135898-01A1   MAYO CLINIC ROCHESTER           Network Using Intracranial Electrodes                     JENSEN, MICHAEL A      Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $27,220   $48,974

                                                                        Characterizing the impact of maternal immune
4,397 F31HD111236   5F31HD111236-03     BAYLOR COLLEGE OF MEDICINE      response to urinary tract infection on preterm birth      OTTINGER, SAMANTHA     Awarded. Fellowships only   2022/12/09   2025/12/08   $148,420   $148,420   $122,009   $51,474

                                                                        Regulation of SGK1-mediated Pathological Cardiac
4,398 F31HL172675   1F31HL172675-01A1   UNIVERSITY OF ARIZONA           Hypertrophy by Non-Canonical ERAD                BAGCHI, SUKRITI                 Awarded. Fellowships only   2024/12/01   2029/06/30    $40,591    $40,591    $18,242   $40,591
4,399 F31HL175896   1F31HL175896-01     JOHNS HOPKINS UNIVERSITY        TIGIT upholds peripheral tolerance in ICI-myocarditis JAIME, CAMILLE             Awarded. Fellowships only   2024/08/01   2026/07/31    $48,974    $48,974    $23,635   $48,974

                                                                        Digital phenotypes from a low-cost smartwatch to
                                        TEMPLE UNIV OF THE              inform early detection of Alzheimers disease and
4,400 F31AG089944   1F31AG089944-01     COMMONWEALTH                    related dementias                                         HOLMQVIST, SOPHIA      Awarded. Fellowships only   2024/09/01   2026/08/31    $38,812    $38,812    $20,330   $38,812

                                        ICAHN SCHOOL OF MEDICINE AT     Quantification of bacterial strain count in the
4,401 F30DK131862   5F30DK131862-04     MOUNT SINAI                     human gut microbiome in health and disease                CHEN-LIAW, ALICE YULAN Awarded. Fellowships only   2021/12/23   2025/12/22   $198,060   $198,060   $149,494   $53,680

                                        UNIVERSITY OF COLORADO          Assessing TGF Beta1-Mediated ECM Remodeling in
4,402 F31DE032592   5F31DE032592-03     DENVER                          Metastatic Oral Squamous Cell Carcinoma                   ALEMAN, JOHN           Awarded. Fellowships only   2022/12/01   2025/11/30   $133,660   $133,660    $83,748   $45,294

                                                                        Understanding the Role of NAD Deficiency in a
4,403 F31HD115407   1F31HD115407-01A1   BAYLOR COLLEGE OF MEDICINE      Mendelian Disorder of Tryptophan Metabolism               ACEVES, NATHALIE MARIE Awarded. Fellowships only   2025/01/06   2028/01/05    $46,174    $46,174        $0    $46,174

                                                                        PPARgamma Coregulators in Rosiglitazone-Induced
4,404 F31HL175979   1F31HL175979-01A1   UNIVERSITY OF KENTUCKY          Cardiovascular Disease                          BATES, EVELYN A                  Awarded. Fellowships only   2025/01/01   2027/12/31    $34,896    $34,896        $0    $34,896
                                                                           Manipulating Sex Hormone Signaling for
4,405 F32CA298657   1F32CA298657-01     DUKE UNIVERSITY                    Therapeutic Benefit in Liver Cancer                    BADER, DAVID ALAN        Awarded. Fellowships only   2025/03/10   2028/03/09    $81,364    $81,364   $12,844   $81,364

                                        OREGON HEALTH & SCIENCE            The role of P/Q-type channels in oligodendrocyte
4,406 F31NS137600   5F31NS137600-02     UNIVERSITY                         lineage cell development                               PILLER, MELANIE ELAINE   Awarded. Fellowships only   2024/04/15   2027/04/14    $97,948    $97,948   $48,747   $48,974

                                                                      Local government expenditures as structural
                                        NEW YORK UNIVERSITY SCHOOL OF determinants of racial and ethnic disparities in
4,407 F31MD020274   1F31MD020274-01     MEDICINE                      firearm homicides                                           BURKE, JONATHAN          Awarded. Fellowships only   2024/11/01   2026/10/31    $48,974    $48,974   $26,263   $48,974

                                                                           Social Reward Responsiveness and Interpersonal
                                                                           Stress as Predictors of Suicidal Ideation in Sexual-   CARLTON-SMITH,
4,408 F32MH137993   1F32MH137993-01A1   VANDERBILT UNIVERSITY              and Gender-Minority Youth                              CORINNE                  Awarded. Fellowships only   2024/09/30   2028/09/29    $76,420    $76,420   $32,244   $76,420

                                                                           Harnessing the Kohler Effect to Promote Motor          MANCZUROWSKY, JULIA
4,409 F31HD110254   5F31HD110254-03     NORTHEASTERN UNIVERSITY            Learning During Physically Assisted Rehabilitation     ROSE                     Awarded. Fellowships only   2023/05/01   2026/04/30   $145,642   $145,642   $91,623   $48,974

                                        RENSSELAER POLYTECHNIC             Interpretable Real-Time Surgical Skill Assessment Via
4,410 F31EB035931   1F31EB035931-01A1   INSTITUTE                          Optical Neuroimaging                                  EASTMOND, CONDELL         Awarded. Fellowships only   2025/01/06   2027/01/05    $48,974    $48,974   $14,470   $48,974

                                        UNIV OF MASSACHUSETTS MED SCH Modulation of mitochondrial biogenesis by the
4,411 F30AG077833   5F30AG077833-04     WORCESTER                     Integrated Stress Response (ISR)                            KIM, SOOKYUNG            Awarded. Fellowships only   2022/05/05   2027/05/04   $177,666   $177,666   $95,870   $54,344

                                        NORTHWESTERN UNIVERSITY AT
4,412 F32HL177905   1F32HL177905-01     CHICAGO                            Cardiac regulation of heart failure and obesity        STACHOWSKI, MARISA       Awarded. Fellowships only   2025/02/01   2028/01/31    $76,756    $76,756    $5,363   $76,756

                                                                           Molecular Mechanisms of Type II Spiral Ganglion
4,413 F31DC021860   1F31DC021860-01A1   GEORGETOWN UNIVERSITY              Neuron Development                                     GEORGE, DEBORAH JANE Awarded. Fellowships only       2024/09/01   2025/08/31    $38,332    $38,332   $26,341   $38,332

                                        UNIVERSITY OF WISCONSIN-           Effects of Regional Neural Architecture on Signal
4,414 F31EY037192   1F31EY037192-01     MADISON                            Processing in the Macaque Retina                       BUCCI, THEODORE J        Awarded. Fellowships only   2024/12/01   2027/11/30    $40,367    $40,367   $20,350   $40,367

                                                                           Optical Coherence Tomography (OCT)-Guided
                                        TEXAS A&M UNIVERSITY HEALTH        Ultrafast, Nonthermal Laser Microablation for Non-
4,415 F31EY037177   1F31EY037177-01     SCIENCE CTR                        invasive Vitreoretinal Surgery                         KERMANY, DANIEL          Awarded. Fellowships only   2025/02/01   2028/01/31    $37,570    $37,570   $12,002   $37,570

                                        UNIVERSITY OF MARYLAND                                                                    WULFF, ANDREAS
4,416 F32AA032136   1F32AA032136-01     BALTIMORE                          Impact of Alcohol on Claustrum Function                BRYDENFELT               Awarded. Fellowships only   2024/09/09   2028/09/08    $74,284    $74,284   $45,242   $74,284

                                                                           EEG Coherence as a Biomarker for Psychomotor
4,417 F31MH139284   1F31MH139284-01     NORTHWESTERN UNIVERSITY            Disturbance and Course of Depression                   ZARUBIN, VANESSA C       Awarded. Fellowships only   2024/12/01   2026/11/30    $43,185    $43,185       $0    $43,185
4,418 F31AI176738   5F31AI176738-02     HARVARD MEDICAL SCHOOL             Sex Differences in T cell metabolism                   KLINE, JACLYN            Awarded. Fellowships only   2024/05/01   2027/04/30    $80,121    $80,121   $36,556   $36,918

                                                                           Probing the Role of Secondary Lymphoid Tissue
                                        ICAHN SCHOOL OF MEDICINE AT        Architecture in HIV-1 Associated NLRP3                 MANGOLD, JESSE
4,419 F30AI189255   1F30AI189255-01     MOUNT SINAI                        Inflammasome Signaling                                 FRANCIS                  Awarded. Fellowships only   2024/12/01   2028/11/30    $49,474    $49,474       $0    $49,474

                                                                           The action of DDR2 in cancer-associated fibroblasts
                                                                           promotes ovarian cancer metastasis through          AKINJIYAN, FAVOUR
4,420 F30CA278318   5F30CA278318-03     WASHINGTON UNIVERSITY              increased arginase-1 activity.                      AYOMIDE                     Awarded. Fellowships only   2023/05/01   2027/04/30   $122,544   $122,544   $66,317   $53,974

                                                                           Antisense oligonucleotide-based upregulation of        GACHECHILADZE,
4,421 F30MH136688   1F30MH136688-01A1   WASHINGTON UNIVERSITY              neurodevelopmental disorder gene MYT1L                 MARIAM ALEXANDRA         Awarded. Fellowships only   2024/09/01   2026/08/31    $35,482    $35,482   $19,642   $35,482

                                        WHITEHEAD INSTITUTE FOR            Mechanisms governing post-transcriptional
4,422 F32MH134541   5F32MH134541-02     BIOMEDICAL RES                     regulation of neuronal microRNAs                       FRANK, MICHELLE          Awarded. Fellowships only   2024/04/01   2027/03/31   $155,648   $155,648   $77,659   $78,892

                                                                           Molecular and organizational mechanisms that
4,423 F30AT013179   1F30AT013179-01     YALE UNIVERSITY                    build the vagal sensory code for interoception         HAFEZ, OMAR              Awarded. Fellowships only   2025/05/01   2029/04/30    $33,958    $33,958       $0    $33,958

                                        BOSTON UNIVERSITY MEDICAL          Gain-of-function toxicity in alpha-1 antitrypsin
4,424 F30HL170745   5F30HL170745-02     CAMPUS                             deficient type 2 alveolar epithelial cells             MERRITT, CARLY           Awarded. Fellowships only   2024/01/01   2027/06/30   $106,668   $106,668   $74,028   $53,974

                                                                          Role of sleep disruption in cognitive impairment
4,425 F31DA060673   5F31DA060673-02     UNIVERSITY OF MISSISSIPPI MED CTR associated with methamphetamine use                     BORGATTI, DANIEL         Awarded. Fellowships only   2024/04/02   2027/04/01    $97,948    $97,948   $29,101   $48,974

                                        ICAHN SCHOOL OF MEDICINE AT                                                               OLUMUYIDE, EZEKIEL
4,426 F30CA298102   1F30CA298102-01     MOUNT SINAI                        HLA genetics shapes tumor immunosurveillance           OLUFIKAYOMI              Awarded. Fellowships only   2025/04/24   2029/04/23    $44,224    $44,224       $0    $44,224
                                        UNIVERSITY OF MICHIGAN AT ANN   Biocatalytic Synthesis of N-N and C-N Heterobiaryl
4,427 F32GM157984   1F32GM157984-01     ARBOR                           Atropisomers                                           WILLIAMS, WENDY L       Awarded. Fellowships only   2024/12/01   2027/11/30    $73,408    $73,408    $24,318    $73,408

                                                                        Defining the role of germline Daam2 variant R414W
4,428 F31NS141637   1F31NS141637-01     BAYLOR COLLEGE OF MEDICINE      in familial glioma                                CHOY, TIFFANY JIYAN          Awarded. Fellowships only   2025/01/03   2027/11/02    $48,974    $48,974        $0     $48,974

                                                                        Exploring Dopamine Transporter Recycling and           HARMON, LEAH
4,429 F31NS141468   1F31NS141468-01     YALE UNIVERSITY                 Trafficking Defects in Parkinsons Disease              ELIZABETH               Awarded. Fellowships only   2025/01/01   2026/09/30    $48,974    $48,974    $15,945    $48,974

                                        NORTH CAROLINA STATE            Deciphering the function of cohesin and CTCF in R-
4,430 F31AG092149   1F31AG092149-01     UNIVERSITY RALEIGH              loop-mediated DNA repair at telomeres              IRVIN, ELIZABETH MARIE      Awarded. Fellowships only   2025/02/01   2027/01/31    $40,560    $40,560        $0     $40,560

                                                                        Elucidating the Role of AIRE and Tumor Associated
                                        UNIVERSITY OF CALIFORNIA, SAN   Aire-expressing Cells in Tumor Growth and Immune
4,431 F31CA288017   5F31CA288017-02     FRANCISCO                       Evasion                                                ARVEDSON, MATTHEW       Awarded. Fellowships only   2024/04/01   2027/03/30    $82,986    $82,986    $41,493    $41,493
4,432 F31DK138743   5F31DK138743-02     UNIVERSITY OF CHICAGO           The Role of BNIP3 in Lipid Homeostasis in the Liver    BOCK-HUGHES, ALTHEA     Awarded. Fellowships only   2024/04/01   2026/03/31    $97,948    $97,948    $46,424    $48,974

                                                                        Circadian Clock Regulation of HIF1a-dependent
                                        NORTHWESTERN UNIVERSITY AT      Skeletal Muscle Metabolism during Diet-induced
4,433 F31DK139621   1F31DK139621-01A1   CHICAGO                         Obesity                                                CHAIKIN, CLAIRE         Awarded. Fellowships only   2024/12/01   2027/11/30    $43,695    $43,695    $17,142    $43,695

                                                                        Identifying tissue-specific interactions to bridge
                                                                        mechanisms underlying muscle degeneration in
                                                                        Congenital Disorders of Glycosylation and              IGNACZ, AMANDA
4,434 F31HD117499   1F31HD117499-01     UNIVERSITY OF MAINE ORONO       Dystroglycanopathies                                   COLLEEN                 Awarded. Fellowships only   2024/12/01   2026/11/30    $34,007    $34,007    $10,000    $34,007

                                        UNIVERSITY OF ALABAMA AT        The role of capsule production on the physiology of
4,435 F31DE034608   1F31DE034608-01     BIRMINGHAM                      an oral commensal                                   EDMONDS, SARA              Awarded. Fellowships only   2024/09/04   2026/09/03    $41,356    $41,356    $19,332    $41,356

                                        STOWERS INSTITUTE FOR MEDICAL   Investigating protein supersaturation as a driver of
4,436 F32AG077876   5F32AG077876-03     RESEARCH                        aging                                                  VON SCHULZE, ALEX       Awarded. Fellowships only   2023/04/01   2026/03/31   $225,148   $225,148   $146,256    $78,892

                                        UNIVERSITY OF PITTSBURGH AT
4,437 F31AA032172   1F31AA032172-01     PITTSBURGH                      Role of lncRNA Malat1 in Alcohol Use Disorder          GIL, DANIELA VICTORIA   Awarded. Fellowships only   2024/12/01   2028/11/30    $48,974    $48,974    $26,717    $48,974

                                                                        Chlamydia trachomatis evades a novel IL32-
4,438 F31AI183546   1F31AI183546-01A1   DUKE UNIVERSITY                 mediated immune resistance program                     REITANO, JEFFREY R      Awarded. Fellowships only   2024/12/01   2026/11/30    $42,196    $42,196    $15,521    $42,196

                                        STATE UNIVERSITY OF             Prenatal alcohol exposure and acute alcohol: the
4,439 F31AA032198   1F31AA032198-01     NY,BINGHAMTON                   role of CRFR1 in the extended amygdala                 WINCHESTER, SARAH       Awarded. Fellowships only   2025/02/24   2027/02/23    $33,634    $33,634     $4,326    $33,634

                                                                        The Impact of Metals and Metal Mixtures on
                                        UNIVERSITY OF ILLINOIS AT       Cardiometabolic Disease Trajectories in
4,440 F30ES033510   5F30ES033510-04     CHICAGO                         Hispanics/Latinos                                      SCHULZ, MARGARET        Awarded. Fellowships only   2022/05/01   2027/04/30   $212,394   $212,394   $156,732    $53,974

                                                                        Origins of sex differences in the mechanisms of
4,441 F31HL168963   5F31HL168963-03     AUGUSTA UNIVERSITY              obesity-associated hypertension                        BARRIS, CANDEE          Awarded. Fellowships only   2023/04/01   2026/03/31   $126,256   $126,256    $67,977    $42,512

                                        UNIVERSITY OF MICHIGAN AT ANN   Assessing Design Trade-Offs in an Orthosis with
4,442 F31HD115309   5F31HD115309-02     ARBOR                           Enhanced Functionality and Customizability             BYWATER, EMILY ANN      Awarded. Fellowships only   2024/03/14   2027/03/13    $94,297    $94,297    $64,034    $47,466

                                                                        ICOS is an important mediator of both resident
                                                                        memory cell formation, and improved durability
4,443 F30CA291027   1F30CA291027-01A1   EMORY UNIVERSITY                and persistence of anti-tumor T cells                  WITTLING, MEGEN CLAIRE Awarded. Fellowships only    2025/02/20   2029/02/19    $53,974    $53,974      $486     $53,974

                                                                        Evaluation of Human Retinal Ganglion Cell
4,444 F31EY037171   1F31EY037171-01     JOHNS HOPKINS UNIVERSITY        Regenerative Potential                                 CEISEL, ANNELIESE       Awarded. Fellowships only   2024/12/01   2026/11/30    $48,974    $48,974        $0     $48,974

                                                                        Short-term Training: Students in Health Professional                            Awarded. Non-fellowships
4,445 T35HL007744   5T35HL007744-30     UNIVERSITY OF UTAH              Schools                                                TRISTANI-FIROUZI, MARTIN only                       1993/07/01   2026/01/31   $465,015   $465,015   $364,131    $41,599

                                                                                                                                                       Awarded. Non-fellowships
4,446 T32HD043730   5T32HD043730-22     UNIVERSITY OF FLORIDA           Fuller T32 renewal                                     FULLER, DAVID D         only                        2003/06/11   2029/04/30   $581,850   $581,850   $235,758   $296,082

                                                                        Characterizing Entorhinal Cortex Circuit Dysfunction
                                                                        in an APOE Mouse Model of Chemotherapy-
4,447 F30AG082448   5F30AG082448-03     GEORGETOWN UNIVERSITY           Induced Cognitive Impairment                         LUO, NANCY                Awarded. Fellowships only   2023/05/03   2028/05/02   $125,242   $125,242    $69,623    $53,974
                                        UNIV OF NORTH CAROLINA          Evolution and underlying genetics of thermal
4,448 F32ES035271   5F32ES035271-02     CHAPEL HILL                     physiology and behavior in Drosophila                  RADER, JONATHAN A       Awarded. Fellowships only   2024/05/01   2027/04/30   $151,040   $151,040    $62,770    $76,756
4,449 F31NS141317   1F31NS141317-01     BAYLOR COLLEGE OF MEDICINE      Causal Inference in Bimanual Touch                     DENGHAUSEN, ELISE       Awarded. Fellowships only   2024/12/13   2027/10/12    $48,974    $48,974    $10,982    $48,974

                                        UNIVERSITY OF MIAMI SCHOOL OF   The impact of the neuronal Kv7.2 current on
4,450 F30DK139715   1F30DK139715-01A1   MEDICINE                        cholinergic control of pancreas secretion              LEVI, NOAH JOSEPH       Awarded. Fellowships only   2025/01/01   2027/12/31    $45,574    $45,574        $0     $45,574

                                        SLOAN-KETTERING INST CAN        Investigating the Role of Mutagenic DNA Repair         KELLEY, MEGAN
4,451 F32CA298730   1F32CA298730-01     RESEARCH                        during the Persistence of Cancer Cells                 ELIZABETH               Awarded. Fellowships only   2025/03/01   2028/04/30    $79,010    $79,010     $3,882    $79,010

                                                                        Targeting transcription and translation of the
                                                                        antisense CCCCGG repeat expansion in C9ORF72
4,452 F31NS141619   1F31NS141619-01     UNIVERSITY OF CHICAGO           ALS/FTD                                                ANTONOPOULOS, MIRA N Awarded. Fellowships only      2025/01/01   2026/12/31    $48,974    $48,974    $25,256    $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN   Short-Term Research training In Vision and Eye                                 Awarded. Non-fellowships
4,453 T35EY033704   5T35EY033704-04     DIEGO                           health (STRIVE)                                        BAXTER, SALLY LIU       only                        2022/05/01   2027/03/31   $122,963   $122,963    $71,247    $25,444

                                                                        Generality-Oriented Development of Novel
                                                                        Methods for the Synthesis of Enantioenriched
4,454 F32GM157872   1F32GM157872-01     UNIVERSITY OF UTAH              Sulfondiimines Using Data Science                      SLOCUMB, HANNAH         Awarded. Fellowships only   2025/02/02   2028/02/01    $73,408    $73,408    $15,252    $73,408

                                        UNIVERSITY OF OKLAHOMA HLTH     Targeting kidney resident macrophage niche filling
4,455 F31DK137568   5F31DK137568-02     SCIENCES CTR                    to slow cystic kidney disease                          YASHCHENKO, ALEX        Awarded. Fellowships only   2024/05/01   2026/04/30    $74,878    $74,878    $32,576    $37,439

                                                                        Determining the role of the long non-coding RNA
4,456 F31GM157953   1F31GM157953-01     UNIVERSITY OF CHICAGO           HOTTIP in regulation of the HOXA gene cluster          ZELKO, MICHAEL          Awarded. Fellowships only   2025/01/01   2028/06/30    $48,974    $48,974        $0     $48,974

                                                                        Elucidating the Molecular Mechanism of TRIP13-
                                        UNIVERSITY OF MICHIGAN AT ANN   mediated Radiation Resistance in Oral Squamous         HUTCHINSON, MARSHA-
4,457 F30DE030686   5F30DE030686-04     ARBOR                           Cell Carcinoma                                         KAY NORISSA DEANNA      Awarded. Fellowships only   2021/07/01   2025/06/30   $215,140   $215,140   $215,140    $57,774

                                        UNIVERSITY OF CALIFORNIA LOS    Predicting prostate cancer clinical outcomes with
4,458 F31CA281168   5F31CA281168-02     ANGELES                         germline genomic biomarkers                            ZELTSER, NICOLE         Awarded. Fellowships only   2024/05/01   2027/04/30    $82,656    $82,656    $33,516    $41,328

                                                                        Mechanisms of Macrophage-Mediated Immune
4,459 F30CA281085   5F30CA281085-02     DUKE UNIVERSITY                 Evasion in Residual Tumors                             RAJ, JUDE               Awarded. Fellowships only   2024/04/01   2027/03/31    $84,390    $84,390    $44,547    $42,195

                                        NORTHWESTERN UNIVERSITY AT      Elucidating the Role of C16orf72 in the Cellular Stress
4,460 F30CA264513   5F30CA264513-05     CHICAGO                         Response Network                                        AMICI, DAVID RUSSELL   Awarded. Fellowships only   2021/03/01   2026/02/28   $245,694   $245,694   $182,040    $53,974

                                        NEW YORK UNIVERSITY SCHOOL OF The role of Immune-responsive gene 1 and
4,461 F30HL167568   5F30HL167568-03     MEDICINE                      itaconate in atherosclerotic disease                     BOZAL, FAZLI KAMER      Awarded. Fellowships only   2023/04/01   2027/03/31   $160,642   $160,642    $69,072    $53,974

                                                                        Implementation and Effectiveness of Patient
                                                                        Reported Outcome Measures for Peripheral Arterial
4,462 F30HL167586   5F30HL167586-02     UNIVERSITY OF UTAH              Disease                                           HOLEMAN, TERYN ALLENE Awarded. Fellowships only          2023/09/01   2027/07/31    $78,472    $78,472    $58,374    $40,126

                                                                        Epicardial Adipose Tissue and Cardiometabolic Risk
                                        UNIVERSITY OF COLORADO          Factors in Youth-Onset Type 2 Diabetes Undergoing
4,463 F31HL165967   5F31HL165967-02     DENVER                          Bariatric Surgery                                  DOBBS, TYLER J              Awarded. Fellowships only   2024/01/01   2026/12/31    $73,816    $73,816    $38,589    $36,908

                                                                        Mechanisms Directing Translating Complexes to
4,464 F31GM153150   5F31GM153150-02     COLORADO STATE UNIVERSITY       Plasma Membranes for Local Translation                 TORRES, NALY            Awarded. Fellowships only   2024/02/01   2026/01/31    $82,564    $82,564    $53,009    $41,282

                                                                        Probing immunovascular mechanobiology in
                                        BOSTON UNIVERSITY (CHARLES      pneumonia-associated acute lung injury at the
4,465 F30HL168952   5F30HL168952-03     RIVER CAMPUS)                   single capillary level                                 SHI, LINZHENG           Awarded. Fellowships only   2023/05/01   2028/04/30   $160,642   $160,642    $58,138    $53,974

                                                                                                                                                       Awarded. Non-fellowships
4,466 T35OD029981   5T35OD029981-05     KANSAS STATE UNIVERSITY         Short Term Training in Health Professional Schools     SCHULTZ, BRUCE D        only                        2020/07/01   2026/01/30   $335,742   $335,742   $259,448    $71,224

                                        HUGO W. MOSER RES INST          Research Training in Rehabilitation for Brain Injury                           Awarded. Non-fellowships
4,467 T32HD007414   5T32HD007414-32     KENNEDY KRIEGER                 and Neurological Disability                            BASTIAN, AMY J          only                        1991/09/30   2029/04/30   $769,112   $769,112   $139,379   $383,221

                                                                        Polyamine Dysregulation in the Gastric Epithelium
                                                                        during Helicobacter pylori Infection and its Impact
4,468 F31CA278330   5F31CA278330-03     VANDERBILT UNIVERSITY           on Gastric Carcinogenesis                              MCNAMARA, KARA          Awarded. Fellowships only   2023/05/01   2026/04/30   $101,575   $101,575    $64,806    $34,285
                                        VIRGINIA COMMONWEALTH            Reprogramming Transcription Factors to Study
4,469 F31MH133309   5F31MH133309-02     UNIVERSITY                       Social Behavior                                      TRUBY, NATALIE L      Awarded. Fellowships only   2023/09/25   2025/09/24     $85,528      $85,528      $69,059     $43,404
4,470 F31CA271743   5F31CA271743-03     JOHNS HOPKINS UNIVERSITY         Molecular Basis of Histone Methylation by PRMT5      RAHMAN, SANIM         Awarded. Fellowships only   2023/04/01   2026/03/31    $145,642     $145,642      $84,793     $48,974

                                                                                                                                                    Awarded. Non-fellowships
4,471 T32HD098061   5T32HD098061-07     BOSTON CHILDREN'S HOSPITAL       Neonatal Research Training Program                   KOUREMBANAS, STELLA   only                        2019/05/01   2029/04/30   $1,143,572   $1,143,572    $477,129   $591,193

                                                                         Exploring the role of hyper-phagocytic microglia
                                                                         and SYK signaling in the aged hippocampus during
4,472 F31NS135897   5F31NS135897-02     UNIVERSITY OF VIRGINIA           COVID-19                                         NATALE, NICK              Awarded. Fellowships only   2024/03/01   2027/02/28     $75,086      $75,086      $39,077     $38,183

                                        ICAHN SCHOOL OF MEDICINE AT      Investigating the role of an EIF2B3 variant as an
4,473 F32AG082483   5F32AG082483-03     MOUNT SINAI                      Alzheimers disease risk modifier                     GARRETTI, FRANCESCA   Awarded. Fellowships only   2023/03/23   2026/03/22    $223,120     $223,120     $116,361     $79,756

                                                                         The Role of Mechanosensory Activity in the
                                                                         Transcriptional Maturation of Primary Somatosensory
4,474 F32NS129589   5F32NS129589-03     HARVARD MEDICAL SCHOOL           Neurons                                             SHUSTER, SCOTT ANDREW Awarded. Fellowships only    2023/02/01   2026/01/31    $220,120     $220,120     $150,642     $76,756

                                                                         Language plasticity after childhood
                                        UNIVERSITY OF PITTSBURGH AT      hemispherectomy: Neuroimaging and
4,475 F32DC022192   1F32DC022192-01A1   PITTSBURGH                       computational modeling                               MARTIN, KELLY C       Awarded. Fellowships only   2025/02/01   2028/01/31     $74,284      $74,284       $9,713     $74,284
4,476 F30AI169748   5F30AI169748-03     VANDERBILT UNIVERSITY            Copper Sensing in Uropathogenic Escherichia coli     REASONER, SETH A      Awarded. Fellowships only   2023/01/01   2026/12/31    $121,152     $121,152      $76,519     $53,974

                                                                         Investigating PEX11 roles in shaping peroxisome
4,477 F31GM150269   5F31GM150269-02     RICE UNIVERSITY                  architecture and dynamics                            THARP, NATHAN         Awarded. Fellowships only   2024/01/05   2027/07/04     $97,948      $97,948      $57,147     $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN    Extracellular Matrix Remodeling and the Control of
4,478 F31CA275102   5F31CA275102-03     ARBOR                            Invasive Lobular Carcinoma Progression               OLSON, ADAM WALLACE Awarded. Fellowships only     2023/04/01   2025/12/31    $116,656     $116,656     $107,313     $34,608

                                        UNIVERSITY OF CALIFORNIA, SAN    The Involvement of PBRM1 in Alveolar Macrophage RATTU MANDIAS,
4,479 F31HL167460   5F31HL167460-03     DIEGO                            Development, Homeostasis, and Immune Function HANNAH CAROLINE              Awarded. Fellowships only   2023/02/01   2027/01/31    $122,473     $122,473      $84,576     $41,251

                                                                                                                                                    Awarded. Non-fellowships
4,480 TL1TR002318   5TL1TR002318-09     UNIVERSITY OF WASHINGTON         NRSA Training Core                                   MOORE, MEGAN          only                        2017/06/01   2027/02/28   $3,573,088   $3,573,088   $2,637,187 $1,024,656

                                        UNIVERSITY OF ALABAMA AT         The Role of Ubiquitin Conjugating Enzyme (Ubc9) in
4,481 F30DE033624   5F30DE033624-02     BIRMINGHAM                       Endochondral Ossification                          MCCULLOUGH, KAYLA R     Awarded. Fellowships only   2024/03/13   2027/03/12    $113,768     $113,768      $48,198     $57,774

                                                                         The Molecular Mechanism and Pathophysiology of
                                                                         Robust STAT3 Signaling During Oral Salmonella        GAGGIOLI, MARGARET
4,482 F31AI176719   5F31AI176719-02     DUKE UNIVERSITY                  Typhimurium Infection                                RYAN                  Awarded. Fellowships only   2024/02/01   2027/01/31     $83,948      $83,948      $51,084     $42,327

                                        UNIVERSITY OF SOUTH CAROLINA     Maternal-Child RSA Synchrony in Infants with Fragile
4,483 F31HD114363   5F31HD114363-02     AT COLUMBIA                      X Syndrome                                           HANTMAN, RACHEL       Awarded. Fellowships only   2024/02/01   2027/01/31     $85,148      $85,148      $39,455     $42,574

                                                                     Involvement of Gq Signaling in the Mobilization of 2-
                                                                     Arachidonoylglycerol by Corticosterone in the
4,484 F31DA060687   5F31DA060687-02     MEDICAL COLLEGE OF WISCONSIN Prefrontal Cortex                                     LASKOWSKI, LAUREN J      Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $43,475     $48,974

                                                                         Epigenetic Regulation of Microglia Dopamine
4,485 F31DA057116   5F31DA057116-03     DUKE UNIVERSITY                  System Interactions                                  CLARK, MADELINE J     Awarded. Fellowships only   2023/03/13   2026/03/12    $123,397     $123,397      $84,910     $41,559

                                                                         The role of endogenous docosahexaenoic acid in       YAEGER, MICHAEL
4,486 F31ES036102   5F31ES036102-02     OHIO STATE UNIVERSITY            resolving ozone induced lung inflammation            JEROME                Awarded. Fellowships only   2024/02/09   2026/02/08     $88,148      $88,148      $38,146     $44,074


                                                                         Investigating the Role of GABAergic Interneurons in
4,487 F30MH136699   5F30MH136699-02     UNIVERSITY OF PENNSYLVANIA       the Dorsomedial Striatum in Goal-Directed Behavior ILIAKIS, EVAN ALEXANDER Awarded. Fellowships only   2024/04/01   2028/03/31     $90,780      $90,780      $58,156     $36,806

                                        UT SOUTHWESTERN MEDICAL          Mechanisms of Setd2 in cortical circuit function:
4,488 F31NS132473   5F31NS132473-02     CENTER                           Convergence with Fragile X Syndrome                  POPE, ALEXANDER       Awarded. Fellowships only   2024/01/05   2026/11/04     $81,012      $81,012      $46,638     $40,506

                                                                         The Role of G Protein-Coupled Estrogen Receptor      MCLAUGHLIN, MADELINE
4,489 F30DK137559   5F30DK137559-02     PURDUE UNIVERSITY                Signaling in the Maintenance of Beta Cell Identity   RAE                  Awarded. Fellowships only    2024/03/01   2028/02/28    $107,948     $107,948      $39,545     $53,974

                                        UNIVERSITY OF ALABAMA AT         Characterization of DHDDS RP59 Knockin Models of
4,490 F31EY032764   5F31EY032764-05     BIRMINGHAM                       Retinitis Pigmentosa                             NGUYEN, MAI N             Awarded. Fellowships only   2021/03/15   2026/03/14    $197,430     $197,430     $156,646     $40,774
                                        UNIVERSITY OF CALIFORNIA, SAN     Mapping the functional GPCR-ome and its signaling
4,491 F32MH136662   5F32MH136662-02     FRANCISCO                         consequences in neurons                           HE, XINYI JENNY                 Awarded. Fellowships only   2024/04/01   2027/03/31    $153,364     $153,364      $66,267     $79,284

                                                                          Heme Homeostasis in the Malaria Parasite
4,492 F32AI188627   1F32AI188627-01     WASHINGTON UNIVERSITY             Plasmodium falciparum                                     ROSENTHAL, MELISSA      Awarded. Fellowships only   2025/01/16   2027/01/15     $76,528      $76,528      $11,889     $76,528

                                                                     Unraveling the Role of Modified HDL in
4,493 F31HL178112   1F31HL178112-01     MEDICAL COLLEGE OF WISCONSIN Atherogenesis                                                  BOBEK, JORDAN M         Awarded. Fellowships only   2024/12/05   2027/12/04     $48,974      $48,974       $5,028     $48,974

                                                                                                                                                        Awarded. Non-fellowships
4,494 T32HL076134   5T32HL076134-18     MIRIAM HOSPITAL                   Training in Behavioral and Preventative Medicine          THOMAS, JOHN GRAHAM only                            2006/04/01   2027/12/31   $1,286,397   $1,286,397    $434,260    $523,617

                                        WAKE FOREST UNIVERSITY HEALTH     The effect of ethanol self-administration on cocaine
4,495 F31DA060614   5F31DA060614-02     SCIENCES                          reinforcement in male and female monkeys             ALLEN, MIA ISABEL            Awarded. Fellowships only   2024/04/01   2027/03/31     $97,948      $97,948      $49,645     $48,974

                                                                          Endothelial NOX1-Mediated AMPKa1 Propagates
                                        UNIVERSITY OF PITTSBURGH AT       Hypoxia-Induced Pulmonary Hypertension via the
4,496 F31HL167563   5F31HL167563-02     PITTSBURGH                        CIP/KIP family of CDK inhibitors                          GOOSSEN, CHRISTIAN J    Awarded. Fellowships only   2024/02/01   2026/01/31     $97,948      $97,948      $43,172     $48,974

                                                                                                                                                            Awarded. Non-fellowships
4,497 T32CA193200   5T32CA193200-10     YALE UNIVERSITY                   Yale Cancer Biology Training Grant                        STERN, DAVID F          only                        2016/04/20   2026/03/31   $2,115,838   $2,115,838   $1,539,398   $312,179

                                                                          Elucidating the role of intestinal M cells in rotavirus
                                                                          enteric infection, systemic dissemination, and
4,498 F30AI181285   5F30AI181285-02     WASHINGTON UNIVERSITY             pathogenesis                                              ANTIA, AVAN             Awarded. Fellowships only   2024/02/01   2026/01/31     $87,671      $87,671      $41,297     $53,048

                                                                          Transdisciplinary Training in Sleep and Circadian                                 Awarded. Non-fellowships
4,499 T32HL149646   2T32HL149646-06     UNIVERSITY OF COLORADO            Research                                                  WRIGHT, KENNETH P       only                        2020/03/01   2030/02/28    $336,298     $336,298           $0    $336,298

                                                                          Modeling THO complex neurodevelopmental
                                        UNIVERSITY OF CALIFORNIA AT       disorder mutations in gene expression regulation          WECHSLER, THERESA
4,500 F31NS131037   5F31NS131037-02     DAVIS                             using budding yeast                                       FAITH                   Awarded. Fellowships only   2023/09/01   2025/10/31     $82,114      $82,114      $68,675     $41,826

                                                                          Short-term Training: students in health professional                              Awarded. Non-fellowships
4,501 T35OD010919   5T35OD010919-28     UNIVERSITY OF PENNSYLVANIA        schools                                                   ATCHISON, MICHAEL LEE   only                        1998/01/01   2028/03/31    $401,678     $401,678     $279,366    $142,448

                                                                       Targeting the ACOD1 immunometabolic pathway
                                        UNIVERSITY OF NEBRASKA MEDICAL of lung myeloid cells to reduce environmental
4,502 F30ES036063   5F30ES036063-02     CENTER                         exposure-induced lung disease                                SCHWAB, AARON           Awarded. Fellowships only   2024/01/15   2025/12/31     $75,454      $75,454      $37,989     $37,727

                                        MASSACHUSETTS INSTITUTE OF        Developing Selective P-catalysts for Dehydrative
4,503 F32GM153091   5F32GM153091-02     TECHNOLOGY                        Transformations                                           ALI, SIRAJ ZAKI         Awarded. Fellowships only   2024/02/01   2026/01/31    $151,040     $151,040      $72,760     $76,756

                                                                          Identifying metabolic targets to reinvigorate T cell
4,504 F31AI186227   1F31AI186227-01A1   JOHNS HOPKINS UNIVERSITY          exhaustion                                                CHA, MINSUN             Awarded. Fellowships only   2025/05/01   2027/04/30     $48,974      $48,974           $0     $48,974

                                        BOSTON UNIVERSITY (CHARLES        Pathways to Loneliness in First-Episode Psychosis:
4,505 F31MH140381   1F31MH140381-01     RIVER CAMPUS)                     Testing the Sociodevelopmental Model                      GRUNFELD, GIL           Awarded. Fellowships only   2025/05/01   2028/04/30     $48,974      $48,974           $0     $48,974

                                                                          Investigating the Role of GSK3A in Cohesin
4,506 F31HD118759   1F31HD118759-01     UNIVERSITY OF PENNSYLVANIA        Dynamics and Gene Regulation                              SHAPIRO, JOANATTA       Awarded. Fellowships only   2025/04/01   2029/03/31     $48,974      $48,974       $2,352     $48,974

                                                                     Uncovering the proviral role of B cell-intrinsic STAT1
                                                                     expression during chronic gammaherpesvirus
4,507 F31AI191670   1F31AI191670-01     MEDICAL COLLEGE OF WISCONSIN infection                                                      JOHANSEN, ERIKA R       Awarded. Fellowships only   2025/04/01   2028/03/31     $48,974      $48,974           $0     $48,974

                                                                          Weight Regulation by GLP1R agonists via a non-
                                                                          canonical hypothalamic PKA-mTORC1 mediated
4,508 F31DK141243   1F31DK141243-01A1   VANDERBILT UNIVERSITY             pathway                                                   RAGHAVAN, RITIKA        Awarded. Fellowships only   2025/05/01   2028/04/30     $34,370      $34,370           $0     $34,370

                                                                          Transcription and chromatin dynamics controlling
4,509 F31EY037588   1F31EY037588-01     JOHNS HOPKINS UNIVERSITY          stochastic cell fate specification                        STEINSON, EMMA          Awarded. Fellowships only   2025/05/01   2029/04/30     $48,974      $48,974           $0     $48,974

                                        UNIV OF NORTH CAROLINA                                                                                           Awarded. Non-fellowships
4,510 T32GM152316   3T32GM152316-01S2   CHAPEL HILL                       UNC Medical Scientist Training Program                    DESHMUKH, MOHANISH P only                           2024/07/01   2029/06/30   $1,378,526   $1,378,526   $1,257,348    $59,936

                                        UNIVERSITY OF MARYLAND                                                                      ROGHMANN, MARY-         Awarded. Non-fellowships
4,511 T32GM136561   3T32GM136561-05S1   BALTIMORE                         Medical Scientist Training Program                        CLAIRE                  only                        2020/07/01   2025/06/30   $4,017,159   $4,017,159   $3,937,950    $59,936
                                        NORTHWESTERN UNIVERSITY AT                                                                                      Awarded. Non-fellowships
4,512 T32GM144295   3T32GM144295-03S1   CHICAGO                           Medical Scientist Training Program                      HAUSER, ALAN R        only                        2022/07/01   2027/06/30   $5,425,795   $5,425,795   $4,618,020   $59,936

                                                                          Understanding how experience shapes language
                                        MASSACHUSETTS INSTITUTE OF        development through comparisons of large
4,513 F32HD117580   1F32HD117580-01A1   TECHNOLOGY                        language models and neural representations              OLSON, HALIE ANN      Awarded. Fellowships only   2025/04/01   2028/03/31     $74,284      $74,284           $0    $74,284

                                                                          Breaking Down the Balbiani Body and Germplasm:
                                                                          An Endogenous Structure and Function Analysis on
4,514 F31HD118792   1F31HD118792-01     UNIVERSITY OF PENNSYLVANIA        the Buc Protein                                         GUERIN, MEGAN NICOLE Awarded. Fellowships only    2025/04/01   2027/03/31     $48,974      $48,974       $2,352    $48,974

                                                                          The role of mouse auditory cortex and inferior
4,515 F31DC022802   1F31DC022802-01     EMORY UNIVERSITY                  colliculus in recovery from hearing loss                MCELROY, ABIGAIL      Awarded. Fellowships only   2024/12/16   2027/12/15     $48,974      $48,974           $0    $48,974

                                        UNIVERSITY OF ALABAMA AT                                                                  YACOUBIAN, TALENE     Awarded. Non-fellowships
4,516 T32GM008361   3T32GM008361-33S1   BIRMINGHAM                        Medical Scientist Training Program                      ALENE                 only                        1992/07/01   2025/06/30   $5,090,529   $5,090,529   $4,643,457   $57,162

                                                                          The role of antigen-independent T cell activation in
4,517 F31AI179043   5F31AI179043-02     UNIVERSITY OF WASHINGTON          controlling M. tuberculosis infection                   WINTER, CASSANDRA     Awarded. Fellowships only   2024/02/01   2027/01/31     $97,948      $97,948      $56,177    $48,974

                                                                          The role of PTPN11 and NPM1 mutations in acute
                                                                          myeloid leukemia development and therapy
4,518 F30CA265281   5F30CA265281-05     OHIO STATE UNIVERSITY             resistance                                              FOBARE, SYDNEY        Awarded. Fellowships only   2022/01/01   2025/12/31    $195,248     $195,248      $51,853    $53,974

                                                                                                                                  BATCHELOR, HANNAH
4,519 F30EY034380   3F30EY034380-03S1   YALE UNIVERSITY                   Plasticity of cortical networks during learning         MARIE                 Awarded. Fellowships only   2022/09/16   2026/09/15    $124,190     $124,190      $76,460    $21,000

                                                                          Single Cell Analysis of Alloreactive CD8+ T Cells in
4,520 F30AI167482   5F30AI167482-04     UNIVERSITY OF CINCINNATI          Kidney Transplant Rejection                             SHI, TIFFANY          Awarded. Fellowships only   2022/11/22   2026/07/21    $136,524     $130,078      $58,655    $53,974

                                                                          Structure-function mapping of large cargo transport CAFFALETTE,
4,521 F32GM153164   3F32GM153164-01S1   ROCKEFELLER UNIVERSITY            through the nuclear pore complex                    CHRISTOPHER ALPERT        Awarded. Fellowships only   2024/02/01   2026/01/31    $155,648     $155,648      $80,777    $78,892

                                        UNIVERSITY OF CALIFORNIA, SAN     Human Cortical Ripples as a Mechanism for Neural        VERZHBINSKY, ILYA
4,522 F31MH135645   5F31MH135645-02     DIEGO                             Binding                                                 ALEXEY                Awarded. Fellowships only   2024/03/14   2026/03/13     $84,157      $84,157      $41,944    $42,213

                                                                          The impact of alcohol and its metabolites on the
4,523 F31AA032407   1F31AA032407-01     UNIVERSITY OF PENNSYLVANIA        epigenome of astrocytes                                 CHEN, SERENA J        Awarded. Fellowships only   2025/05/01   2029/04/30     $48,974      $48,974           $0    $48,974

                                        ALBERT EINSTEIN COLLEGE OF        Tet-mediated DNA hydroxylation vs formylation and
4,524 F30HD113183   5F30HD113183-02     MEDICINE                          carboxylation in NSC biology                      EBERT, BLAKE C              Awarded. Fellowships only   2024/04/16   2027/04/15    $106,668     $106,668      $54,421    $53,974

                                        UNIV OF NORTH CAROLINA            Interrogating the roles of canonical versus variant     MCPHERSON, JEANNE-
4,525 F31AG079632   5F31AG079632-02     CHAPEL HILL                       histone H3 in genome function during aging              MARIE                 Awarded. Fellowships only   2023/05/01   2025/07/31     $79,493      $79,493      $69,637    $40,496

                                        UNIVERSITY OF TEXAS HLTH SCI CTR WIPI2B/ATG-18 phosphorylation regulates neuronal
4,526 F31AG086033   1F31AG086033-01     HOUSTON                          autophagosome biogenesis in vivo                         TSONG, HEATHER        Awarded. Fellowships only   2025/01/08   2028/01/07     $36,960      $36,960       $9,605    $36,960

                                        UNIVERSITY OF CALIFORNIA          Contributions of cortical feedback to orientation-
4,527 F32EY035926   1F32EY035926-01     BERKELEY                          dependent surround suppression                          SIT, KEVIN KA-MAN     Awarded. Fellowships only   2024/06/01   2027/05/31     $73,828      $73,828      $64,440    $73,828

                                                                          Human COX7B Contains a cAMP-Responsive
                                                                          Riboswitch that Modulates Oxidative                     SKABELUND, RACHEL
4,528 F31GM153113   1F31GM153113-01     UNIVERSITY OF UTAH                Phosphorylation                                         ANNE                  Awarded. Fellowships only   2024/07/01   2026/06/30     $39,593      $39,593      $34,344    $39,593

                                                                          Structure-function mapping of large cargo transport CAFFALETTE,
4,529 F32GM153164   1F32GM153164-01     ROCKEFELLER UNIVERSITY            through the nuclear pore complex                    CHRISTOPHER ALPERT        Awarded. Fellowships only   2024/02/01   2026/01/31    $155,648     $155,648      $80,777    $76,756

                                                                          Smoking-related Differences in Baroreflex Sensitivity
                                                                          and Fear Inhibition in Adults Who Do and Do Not
4,530 F31DA056207   5F31DA056207-02     RUTGERS, THE STATE UNIV OF N.J.   Smoke Cigarettes                                        BRINKMAN, HANNAH      Awarded. Fellowships only   2023/07/01   2025/06/30     $92,668      $92,668      $77,968    $47,181

                                                                          Generation of Islet Specific T Follicular Regulatory
                                                                          Like Cells for Autologous Cell Therapy of Type 1        THIRAWATANANOND,
4,531 F30DK128945   5F30DK128945-04     UNIVERSITY OF FLORIDA             Diabetes                                                PUCHONG               Awarded. Fellowships only   2021/05/16   2025/05/15    $177,023     $177,023     $171,636    $53,974

                                        TEMPLE UNIV OF THE                Evaluating seasonality of influenza in the tropics:
4,532 F32AI167600   5F32AI167600-04     COMMONWEALTH                      Case study in Vietnam                                   SERVADIO, JOSEPH      Awarded. Fellowships only   2022/06/01   2025/05/31    $214,643     $214,643     $197,998    $76,756
                                                                         Mechanisms enabling the oral-to-systemic
                                                                         absorption of a microbially delivered
4,533 F30AI181286   1F30AI181286-01     BAYLOR COLLEGE OF MEDICINE       immunomodulatory peptide                               KADY, MOHAMED RYAN       Awarded. Fellowships only   2024/08/06   2027/08/05     $49,821      $49,821      $22,454     $49,821

                                                                         CONTROL OF RB TUMOR SUPPRESSOR FUNCTIONS
4,534 F32GM153018   1F32GM153018-01     WASHINGTON UNIVERSITY            THROUGH POST-TRANSLATIONAL MODIFICATIONS               USHER, EMERY THOMAS      Awarded. Fellowships only   2024/08/01   2026/07/31     $73,828      $73,828      $39,173     $73,828

                                                                         Norepinephrine and dopamine dynamics during
                                                                         conditioned place preference and aversion in
4,535 F31DA056148   5F31DA056148-03     UNIVERSITY OF WASHINGTON         dorsal hippocampus                                     MATARASSO, AVI KEFIR     Awarded. Fellowships only   2022/06/01   2025/05/31    $142,928     $142,928     $139,716     $48,974

                                                                         Clinical, Histological, and Transcriptional
                                                                         Associations Between the Diabetic Placenta and         MAHADEVAN, ADITYA
4,536 F30HL172988   1F30HL172988-01     UNIVERSITY OF FLORIDA            Fetal Congenital Heart Defects                         DEVIDAS                  Awarded. Fellowships only   2024/08/16   2028/08/15     $43,163      $43,163      $27,418     $43,163

                                                                         Quantitative dissection of the events that encode
4,537 F32HD107853   5F32HD107853-03     DUKE UNIVERSITY                  bone size and shape during regeneration                BAKER, ASHLEY RICH       Awarded. Fellowships only   2022/06/01   2025/05/31    $214,166     $214,166     $204,334     $74,992

                                        UNIVERSITY OF CALIFORNIA, SAN    The cis-regulatory basis of lineage-specific
4,538 F31HG013464   1F31HG013464-01     FRANCISCO                        phenotypes among human groups                          EASTERLIN, RYDER         Awarded. Fellowships only   2024/09/30   2028/09/29     $46,933      $46,933      $25,850     $46,933

                                        UNIVERSITY OF WISCONSIN-         Graduate Training in Molecular and Cellular                                     Awarded. Non-fellowships
4,539 T32GM141013   5T32GM141013-04     MADISON                          Pharmacology                                           AUDHYA, ANJON            only                        2021/07/01   2026/06/30   $2,087,885   $2,087,885   $1,862,589   $549,359

                                                                         NU-TRIHO (Northwestern University Translational
                                        NORTHWESTERN UNIVERSITY AT       Research in Hematology-Oncology) Training              MUNSHI, HIDAYATULLAH     Awarded. Non-fellowships
4,540 T32CA268935   5T32CA268935-02     CHICAGO                          Program                                                G                        only                        2023/07/01   2028/06/30    $459,674     $459,674     $309,470    $286,459

                                                                         Identifying Gestational-induced Changes in Islet
                                        UNIVERSITY OF ALABAMA AT         Macrophages as a Potential Target for Beta-cell
4,541 F31GM150237   1F31GM150237-01A1   BIRMINGHAM                       Expansion                                              BURNETTE, KALIA          Awarded. Fellowships only   2024/07/22   2026/07/21     $41,927      $41,927      $31,795     $41,927

                                        UNIVERSITY OF COLORADO           Training Program for Antiretroviral Discovery,                                  Awarded. Non-fellowships
4,542 T32AI150547   5T32AI150547-05     DENVER                           Evaluation and Application Research (ADEAR)            CAMPBELL, THOMAS B       only                        2020/07/01   2025/06/30   $1,104,009   $1,104,009    $881,219    $201,858

                                        UNIVERSITY OF CALIFORNIA LOS     Multidisciplinary Anesthesiology and Perioperative                              Awarded. Non-fellowships
4,543 T32GM148369   5T32GM148369-02     ANGELES                          Medicine Research Training Program                     EGHBALI, MANSOUREH       only                        2023/07/01   2028/06/30    $522,174     $522,174     $196,543    $271,570

                                        UNIVERSITY OF MICHIGAN AT ANN    Mechanisms Shaping Temporal Integration in the
4,544 F31DC021344   5F31DC021344-02     ARBOR                            Inferior Colliculus                                    DROTOS, AUDREY CLAIRE Awarded. Fellowships only      2023/09/01   2026/08/31     $82,918      $61,727      $65,898     $42,099

                                        UNIVERSITY OF CALIFORNIA, SAN    Clinical Pharmacology, Drug Action and                                          Awarded. Non-fellowships
4,545 T32GM007546   5T32GM007546-48     FRANCISCO                        Pharmacogenetics                                       SAVIC, RADOJKA           only                        1977/07/01   2025/06/30   $2,969,433   $2,969,433   $2,583,933   $534,314

                                        COLUMBIA UNIVERSITY HEALTH       Striatal Dopamines Role in Associative Learning and
4,546 F32MH135597   1F32MH135597-01     SCIENCES                         Behavior                                            DECORTE, BENJAMIN           Awarded. Fellowships only   2024/03/02   2028/10/31     $73,580      $73,580      $56,800     $73,580
4,547 F30AG085982   1F30AG085982-01     UNIVERSITY OF MINNESOTA          The Role of Regulatory T Cells in Alzheimers Disease   HOUGARD, THOMAS R        Awarded. Fellowships only   2024/08/01   2027/07/31     $53,974      $53,974      $38,208     $53,974

                                                                         AQP4 Associations with Alzheimers Disease: A Multi-
4,548 F31AG085980   1F31AG085980-01     VANDERBILT UNIVERSITY            omics Approach                                         PHILLIPS, JARED          Awarded. Fellowships only   2024/07/05   2026/07/04     $34,269      $34,269           $0     $34,269

                                                                                                                                                         Awarded. Non-fellowships
4,549 T32DA015036   5T32DA015036-23     MCLEAN HOSPITAL                  Training in Drug Abuse and Brain Imaging               LUKAS, SCOTT E           only                        2002/07/10   2027/06/30    $836,391     $836,391     $421,603    $296,588

                                                                         Restoring Dexterous Hand Function with Artificial      NASON-TOMASZEWSKI,
4,550 F32HD112173   5F32HD112173-02     EMORY UNIVERSITY                 Neural Network-Based Brain-Computer Interfaces         SAMUEL ROSS              Awarded. Fellowships only   2023/06/01   2026/05/31    $143,364     $143,364     $107,848     $74,284

                                                                         Pathophysiological impact of subtypes of eosinophil OSUJI, IMMACULETA
4,551 F31HL172649   1F31HL172649-01     UNIVERSITY OF CINCINNATI         cell death                                          KASARACHI                   Awarded. Fellowships only   2024/09/16   2026/09/15     $46,386      $46,386      $26,870     $46,386

                                        BETH ISRAEL DEACONESS MEDICAL Hypothalamic circuitry underlying the circadian
4,552 F32HD111339   1F32HD111339-01A1   CENTER                        control of sexual drive and reproduction                  ATEN, SYDNEY ELIZABETH   Awarded. Fellowships only   2024/09/01   2025/08/31     $81,256      $81,256      $43,985     $81,256

                                                                         Host-Microbe Interactions that Determine Host Traits                            Awarded. Non-fellowships
4,553 T32AI145821   5T32AI145821-05     CORNELL UNIVERSITY               and Disease                                          LAZZARO, BRIAN             only                        2020/07/01   2026/06/30   $1,855,591   $1,855,591   $1,580,797   $355,779
                                                                         Defining the cell-type specific role of histone
                                                                         acetyltransferase KAT2a in nucleus accumbens D1
                                                                         medium spiny neurons as a driver of cocaine use
4,554 F31DA058450   5F31DA058450-02     VANDERBILT UNIVERSITY            disorder                                                EMERSON, SOREN D        Awarded. Fellowships only   2023/08/01   2027/07/31     $76,640      $76,640      $55,838     $34,285

                                                                         Integrative Training in the Neurobiology of Addictive                           Awarded. Non-fellowships
4,555 T32DA043469   5T32DA043469-08     UNIVERSITY OF CHICAGO            Behaviors                                             HEDEKER, DONALD           only                        2017/07/01   2027/06/30   $1,115,689   $1,115,689    $643,927    $390,042

                                        UNIV OF NORTH CAROLINA           The Mutagenic Effects of APOBEC3A and                   STURDIVANT, MICHAEL
4,556 F31CA281339   1F31CA281339-01A1   CHAPEL HILL                      APOBEC3B in Urothelial Carcinoma                        SEAN                    Awarded. Fellowships only   2024/07/01   2027/06/30     $35,843      $35,843      $33,260     $35,843

                                                                         Novel phospholipase involved in outer membrane
4,557 F31AI181511   1F31AI181511-01     HARVARD MEDICAL SCHOOL           homeostasis in Pseudomonas aeruginosa                   KEPPLE, JOHNATHAN LEE   Awarded. Fellowships only   2024/09/01   2026/08/31     $45,574      $45,574      $27,248     $45,574

                                        UNIVERSITY OF CALIFORNIA, SAN    The Role of Peripheral Aged CD8+ T Cells in             SUCHAROV COSTA,
4,558 F31AG086042   1F31AG086042-01     FRANCISCO                        Hippocampal-Dependent Cognitive Decline                 JULIANA                 Awarded. Fellowships only   2024/06/01   2027/05/31     $44,892      $44,892      $34,538     $44,892

                                                                         Effect of UGT2B17 deletion and curcumin inhibition
4,559 F31AT012726   1F31AT012726-01     WASHINGTON STATE UNIVERSITY      on diclofenac PK                                        NAJI-TALAKAR, SIAVOSH   Awarded. Fellowships only   2024/05/16   2027/05/15     $41,048      $41,048      $34,970     $41,048

                                        UNIVERSITY OF CALIFORNIA LOS                                                             JOHNSON, PATRICIA       Awarded. Non-fellowships
4,560 T32AI007323   5T32AI007323-35     ANGELES                          Multidisciplinary Training in Microbial Pathogenesis    JEAN                    only                        1988/09/01   2025/06/30   $1,997,992   $1,997,992   $1,836,782   $412,550

                                                                         Determining the ultrastructural differences between
                                                                         dually and singly innervated dendritic spines and
                                                                         their changes following glutamate excitotoxicity
4,561 F31NS132517   5F31NS132517-02     BAYLOR COLLEGE OF MEDICINE       using Cryo-Electron Tomography                      ANDERSON, ERIK DAVID        Awarded. Fellowships only   2023/09/30   2025/09/29     $96,668      $96,668      $65,290     $48,974

                                        WEILL MEDICAL COLL OF CORNELL Understanding Kras Mutation Heterogeneity in
4,562 F31CA288132   1F31CA288132-01     UNIV                          PDAC                                                       SISSO, WHITNEY JULIET   Awarded. Fellowships only   2024/09/01   2027/08/31     $48,974      $48,974      $37,033     $48,974

                                                                                                                                                         Awarded. Non-fellowships
4,563 T32GM075766   5T32GM075766-19     UNIVERSITY OF PENNSYLVANIA       Clinical Pharmacoepidemiology Training Grant            HENNESSY, SEAN          only                        2006/07/01   2026/06/30   $2,467,316   $2,467,316   $2,069,788   $663,867

                                        VIRGINIA COMMONWEALTH            Examining Tobacco Use Relapse among Cancer
4,564 F31CA288120   1F31CA288120-01     UNIVERSITY                       Survivors                                               FUGATE-LAUS, KENDALL    Awarded. Fellowships only   2024/08/25   2026/08/24     $42,972      $42,972      $26,462     $42,972

                                                                         EXITO: Enhancing Cross-disciplinary Infrastructure                              Awarded. Non-fellowships
4,565 TL4GM118965   5TL4GM118965-09     PORTLAND STATE UNIVERSITY        and Training at Oregon                                  KELLER, THOMAS E        only                        2014/09/26   2025/06/30   $5,106,013   $5,106,013   $5,993,905        $1

                                                                         Migraine, Depressive Symptoms, and Maternal
                                                                         Quality of Life in the Postpartum Period: The Role of
                                        UNIV OF NORTH CAROLINA           Comorbidity, Disengagement, and Social and              MATTHEWS, ANNA
4,566 F31NR019712   5F31NR019712-02     CHAPEL HILL                      Economic Disadvantage                                   ROTHFUSS                Awarded. Fellowships only   2021/09/01   2026/01/31     $79,058      $79,058      $50,795     $40,868

                                        UNIVERSITY OF SOUTHERN                                                                   GAUDERMAN, WILLIAM      Awarded. Non-fellowships
4,567 T32ES013678   5T32ES013678-15     CALIFORNIA                       Environmental Genomics                                  JAMES                   only                        2006/07/01   2025/06/30   $2,506,805   $2,506,805   $2,395,804   $557,518

                                                                       Biomedical Learning and Student Training (BLaST)                                  Awarded. Non-fellowships
4,568 TL4GM118992   5TL4GM118992-10     UNIVERSITY OF ALASKA FAIRBANKS Program                                                   HUEFFER, KARSTEN        only                        2014/09/26   2025/06/30   $3,513,488   $3,513,488   $3,525,018 $1,191,936

                                                                                                                                                         Awarded. Non-fellowships
4,569 T32AI052077   5T32AI052077-20     DUKE UNIVERSITY                  Basic Immunology Training Program                       KRANGEL, MICHAEL S      only                        2002/07/01   2025/05/31   $1,026,061   $1,026,061    $991,794    $214,538

                                        UNIVERSITY OF CALIFORNIA LOS                                                                                     Awarded. Non-fellowships
4,570 T32HL007895   5T32HL007895-25     ANGELES                          Cardiovascular Scientist Training Program               WATSON, KAROL E         only                        1998/07/01   2025/06/30   $2,191,678   $2,191,678   $2,304,862   $128,027

                                        UNIVERSITY OF MICHIGAN AT ANN    University of Michigan Anesthesiology Post-Doctoral                             Awarded. Non-fellowships
4,571 T32GM103730   2T32GM103730-11     ARBOR                            Research Training Program                           KHETERPAL, SACHIN           only                        2014/07/01   2029/06/30    $206,100     $206,100      $65,962    $206,100

                                                                                                                                 RHOADES (STERLING),     Awarded. Non-fellowships
4,572 T32CA009592   5T32CA009592-35     VANDERBILT UNIVERSITY            Microenvironmental Influences in Cancer                 JULIE A                 only                        1997/08/15   2025/05/31   $2,181,986   $2,181,986   $2,046,926   $432,752

                                                                                                                                 CAIOZZO, VINCENT        Awarded. Non-fellowships
4,573 TL1TR001415   5TL1TR001415-09     UNIVERSITY OF CALIFORNIA-IRVINE NRSA Training Core                                       JAMES                   only                        2015/08/15   2025/06/30   $2,066,904   $2,066,904   $2,459,177   $466,500

                                        HARVARD SCHOOL OF PUBLIC         The Harvard Chan Education Program in Cancer                                    Awarded. Non-fellowships
4,574 T32CA057711   2T32CA057711-31     HEALTH                           Prevention and Control                                  EMMONS, KAREN M         only                        2019/09/02   2029/08/31    $461,939     $461,939     $184,055    $461,939
                                                                        Characterizing Alzheimers Disease and Serious
                                                                        Mental Illness Co-Occurrence Among Nursing Home
                                        UNIVERSITY OF WISCONSIN-        Residents and Relationship to Symptomatology and
4,575 F31AG080941   5F31AG080941-02     MADISON                         Care Practices                                   BLOCK, LAURA MARIE              Awarded. Fellowships only   2023/06/01   2026/01/31     $75,329      $75,329      $72,492     $36,850

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                    Awarded. Non-fellowships
4,576 T32NS007220   5T32NS007220-40     DIEGO                           Neural Circuits Postdoctoral Training Program            JIN, YISHI              only                        1982/07/01   2025/06/30   $1,444,735   $1,444,735   $1,360,658   $312,365

                                        CHILDREN'S HOSP OF              Training in Molecular Therapeutics for Pediatric                                 Awarded. Non-fellowships
4,577 T32HL007915   2T32HL007915-26     PHILADELPHIA                    Cardiology                                               LEVY, ROBERT J          only                        1999/07/01   2029/06/30    $809,669     $809,669     $568,729    $809,669

                                                                        MARC U'STAR Training Program at the University of                              Awarded. Non-fellowships
4,578 T34GM131948   5T34GM131948-05     UNIVERSITY OF RHODE ISLAND      Rhode Island                                             HOWLETT, NIALL GEORGE only                          2019/06/01   2025/05/31   $1,345,067   $1,345,067   $1,342,136   $188,330

                                        STATE UNIVERSITY OF NEW YORK AT                                                                                  Awarded. Non-fellowships
4,579 T32GM132066   5T32GM132066-05     ALBANY                          RNA Science and Technology in Health and Disease BEGLEY, THOMAS J                only                        2019/07/01   2025/06/30   $1,121,237   $1,121,237   $1,066,672   $215,175

                                        ALBERT EINSTEIN COLLEGE OF                                                                                       Awarded. Non-fellowships
4,580 T32AI070117   5T32AI070117-17     MEDICINE                        Geographic Medicine and Emerging Infections              WEISS, LOUIS M          only                        2008/07/01   2025/08/31   $1,754,673   $1,754,673   $1,708,306   $359,919

                                        UNIVERSITY OF CALIFORNIA, SAN                                                            BATACHARI, LAKSHMI
4,581 F31AI176729   1F31AI176729-01A1   DIEGO                           Dissecting host-virus interactions in epithelial cells   ELAINE                  Awarded. Fellowships only   2024/11/01   2027/10/31     $41,695      $41,695      $21,913     $41,695

                                                                        A Molecular Case Series: Deep Cellular and Spatial
                                                                        Epigenetic Characterization of Human Colorectal
4,582 F30CA268840   5F30CA268840-02     VAN ANDEL RESEARCH INSTITUTE    Cancer                                                   SPIX, NATHAN J          Awarded. Fellowships only   2022/08/01   2027/07/31     $92,446      $92,446      $92,446     $46,694

                                                                                                                                                         Awarded. Non-fellowships
4,583 T32AI170478   5T32AI170478-03     MAYO CLINIC ROCHESTER           Training Program in Immunology                           SHAPIRO, VIRGINIA SMITH only                        2022/07/01   2027/06/30    $807,822     $807,822     $660,089    $326,589

                                                                        Defining and targeting the lung cancer progenitor
                                        ICAHN SCHOOL OF MEDICINE AT     cell niche using a high-resolution, multi-omics          CHARYTONOWICZ,
4,584 F30CA265288   5F30CA265288-03     MOUNT SINAI                     approach                                                 DANIEL                  Awarded. Fellowships only   2021/09/07   2026/09/07    $143,482     $143,482     $143,482     $52,694

                                                                                                                                                        Awarded. Non-fellowships
4,585 T32HL007745   5T32HL007745-30     EMORY UNIVERSITY                Research Training in Academic Cardiology                 TAYLOR, WILLIAM ROBERT only                         1994/07/01   2025/06/30   $2,781,810   $2,781,810   $3,045,263   $346,697

                                                                        Biological Discovery through Chemical Innovation                                 Awarded. Non-fellowships
4,586 T32GM152344   1T32GM152344-01     EMORY UNIVERSITY                Training Program at Emory University                     BLAKEY, SIMON B         only                        2024/07/01   2029/06/30    $329,616     $329,616     $137,804    $329,616

                                        SALK INSTITUTE FOR BIOLOGICAL   Decoding AMPK-dependent regulation of DNA
4,587 F32CA275206   5F32CA275206-02     STUDIES                         methylation in lung cancer                               YOMTOUBIAN, SHIRA       Awarded. Fellowships only   2023/05/19   2025/08/18    $167,161     $167,161     $138,526     $76,756

                                                                        Simultaneous Multi-Tracer Positron Emission
                                                                        Tomography for Interrogating Molecular Pathways
4,588 F31CA265205   5F31CA265205-02     STANFORD UNIVERSITY             of Neurological Disorders                                FOSTER, JACKSON WEST    Awarded. Fellowships only   2023/03/23   2026/06/08     $99,358      $99,358      $93,471     $42,139

                                        NORTHWESTERN UNIVERSITY AT                                                                                       Awarded. Non-fellowships
4,589 T32HL094293   5T32HL094293-15     CHICAGO                         Vascular Surgery Scientist Training Program              ESKANDARI, MARK K       only                        2009/05/01   2025/06/30   $1,664,103   $1,664,103   $1,335,204   $285,126

                                                                                                                                                         Awarded. Non-fellowships
4,590 T32CA096520   5T32CA096520-18     RICE UNIVERSITY                 Training Program in Biostatistics for Cancer Research KIMMEL, MAREK              only                        2003/08/01   2025/08/31   $1,317,273   $1,317,273   $1,126,103   $316,298

                                        UNIVERSITY OF MICHIGAN AT ANN   Genetic circuitry governing skin colonization of
4,591 F32AI181164   1F32AI181164-01     ARBOR                           Candida auris                                            ZHAO, GUOLEI            Awarded. Fellowships only   2024/08/01   2025/11/30     $79,806      $79,806      $49,362     $79,806

                                                                        Biostatistics, Epidemiologic, and Bioinformatic          SHEPPARD, ELIZABETH A   Awarded. Non-fellowships
4,592 T32ES015459   5T32ES015459-15     UNIVERSITY OF WASHINGTON        Training in Environmental Health (BEBTEH)                LIANNE                  only                        2009/07/01   2025/06/30   $3,813,590   $3,813,590   $4,147,855   $810,164

                                                                                                                                                         Awarded. Non-fellowships
4,593 T32MH014276   5T32MH014276-48     YALE UNIVERSITY                 Research Training - Biological Sciences                  PICCIOTTO, MARINA R     only                        1975/07/01   2025/06/30   $1,671,175   $1,671,175   $1,596,380   $336,932

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                    Awarded. Non-fellowships
4,594 T32GM108554   2T32GM108554-12     CENTER                          TIPS: Training in Perioperative Science                  DELPIRE, ERIC J         only                        2014/07/01   2029/06/30    $387,788     $387,788     $163,103    $387,788

                                                                        The effect of epigenetic DNA methylation on the
                                        UNIV OF NORTH CAROLINA          progression of HPV-associated precancerous
4,595 F30CA257181   5F30CA257181-04     CHAPEL HILL                     cervical lesions                                         BUKOWSKI, ALEXANDRA     Awarded. Fellowships only   2021/02/01   2026/06/30    $170,347     $170,347     $110,498     $53,787
                                        UNIVERSITY OF TEXAS HLTH SCI CTR Research Training of Anesthesiology Physician-                                 Awarded. Non-fellowships
4,596 T32GM135118   5T32GM135118-03     HOUSTON                          Scientists                                              ELTZSCHIG, HOLGER K    only                        2022/07/01   2027/06/30    $704,591     $704,591     $501,561    $277,000

                                                                          Generating multilayered engineered heart tissue
                                                                          patches to mimic physiological thickness and
4,597 F30HL158030   5F30HL158030-03     UNIVERSITY OF WASHINGTON          function using open microfluidics                      HAACK, AMANDA JEAN     Awarded. Fellowships only   2021/06/16   2026/06/15    $137,008     $137,008     $131,857     $53,974

                                                                          Characterizing host translation inhibition by
4,598 F32AI181301   1F32AI181301-01     JOHNS HOPKINS UNIVERSITY          Legionella pneumophila                                 BLACK, JOSHUA J        Awarded. Fellowships only   2024/07/01   2027/06/30     $74,284      $74,284      $60,294     $74,284

                                                                          Pediatric Infectious Diseases and Immunity Training                           Awarded. Non-fellowships
4,599 T32AI106688   5T32AI106688-10     WASHINGTON UNIVERSITY             Program                                                HUNSTAD, DAVID         only                        2014/08/01   2025/07/31    $831,106     $831,106     $789,116    $161,742

                                                                                                                                                        Awarded. Non-fellowships
4,600 T32AI055403   5T32AI055403-20     YALE UNIVERSITY                   Predoctoral Training Program in Virology               KUMAR, PRITI           only                        2003/08/01   2025/08/31    $971,515     $971,515     $818,260    $187,646

                                                                                                                                                        Awarded. Non-fellowships
4,601 T32EY007092   5T32EY007092-38     EMORY UNIVERSITY                  Multidisciplinary Training in Vision and Research      PARDUE, MACHELLE T     only                        1984/09/28   2025/08/01   $1,001,220   $1,001,220    $961,961    $234,390

                                        HARVARD SCHOOL OF PUBLIC          Enhancing Culturally Responsive Mentorship in the                             Awarded. Non-fellowships
4,602 T32CA057711   3T32CA057711-30S1   HEALTH                            T32 Training Environment                               RAMANADHAN, SHOBA      only                        2019/09/02   2025/08/31   $2,314,098   $2,086,472   $2,221,419    $72,360

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                   Awarded. Non-fellowships
4,603 T32GM007569   5T32GM007569-49     CENTER                            Clinical Pharmacology Training Program                 KNOLLMANN, BJORN C     only                        1977/07/01   2027/06/30   $1,569,517   $1,569,517   $1,699,442   $760,588

                                                                          University of Washington Medical Scientist Training                           Awarded. Non-fellowships
4,604 T32GM007266   5T32GM007266-49     UNIVERSITY OF WASHINGTON          Program                                                HORWITZ, MARSHALL S    only                        1975/07/01   2025/06/30   $8,033,645   $8,033,645   $8,735,265 $1,585,772

                                                                                                                                                        Awarded. Non-fellowships
4,605 T32HL007828   5T32HL007828-25     UNIVERSITY OF WASHINGTON          Cardiovascular Research Training Program               KIM, FRANCIS           only                        1997/07/01   2025/06/30   $1,895,826   $1,895,826   $1,662,892   $328,806

                                                                          Post-Graduate Hematology/Oncology Translational                               Awarded. Non-fellowships
4,606 T32CA236764   5T32CA236764-05     UNIVERSITY OF CINCINNATI          (PG-HOT) Training Program                       SCAGLIONI, PIER PAOLO         only                        2019/07/05   2025/06/30   $2,085,874   $2,085,874   $1,869,594   $438,062

                                                                      Arkansas Center for Health Disparities T32 Pre-                                   Awarded. Non-fellowships
4,607 T32MD015016   5T32MD015016-05     UNIV OF ARKANSAS FOR MED SCIS doctoral Research Training Program                         TILFORD, JOHN M        only                        2020/04/08   2025/12/31    $833,007     $833,007     $740,062     $90,242

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                   Awarded. Non-fellowships
4,608 T32DK007541   5T32DK007541-35     DIEGO                             Molecular Biological Approaches to Endocrinology       MAJITHIA, AMIT         only                        1986/12/20   2025/05/31    $768,394     $768,394     $796,425    $187,781

                                                                                                                                 MARQUEZ-MAGANA,        Awarded. Non-fellowships
4,609 TL4GM118986   5TL4GM118986-10     SAN FRANCISCO STATE UNIVERSITY SF BUILD: Enabling full representation in science         LETICIA MARIA          only                        2014/09/26   2025/06/30   $2,512,460   $2,512,460   $2,685,284        $0

                                        VIRGINIA COMMONWEALTH             Multi-Disciplinary Training Program in Translational   HUNDLEY, WILLIAM       Awarded. Non-fellowships
4,610 T32HL149645   5T32HL149645-05     UNIVERSITY                        Cardiovascular Research                                GREGORY                only                        2020/03/01   2026/02/28   $1,427,435   $1,427,435   $1,185,610        $1

                                                                          The cause and effect of reduced ÃÂ²-
                                        UNIVERSITY OF ALABAMA AT          glucocerebrosidase activity in the setting of
4,611 F30AG071114   5F30AG071114-04     BIRMINGHAM                        progranulin deficiency                                 BOYLE, NICHOLAS RYAN   Awarded. Fellowships only   2021/07/01   2025/06/30    $178,972     $178,972     $155,637     $50,476

                                        UNIVERSITY OF COLORADO                                                                                          Awarded. Non-fellowships
4,612 T32AR080630   5T32AR080630-03     DENVER                            Interdisciplinary Training in Musculoskeletal Research ZUSCIK, MICHAEL J      only                        2022/07/20   2027/06/30   $1,043,430   $1,043,430    $687,327    $416,106

                                                                                                                                                        Awarded. Non-fellowships
4,613 T34GM141971   5T34GM141971-04     WASHINGTON STATE UNIVERSITY       MARC at Washington State University                    LANIER, MARY SANCHEZ   only                        2021/06/01   2026/05/31   $1,032,706   $1,032,706    $860,052    $296,954

                                                                          The impact of extra effort and accumulated fatigue
4,614 F32DC021076   5F32DC021076-02     UNIVERSITY OF MINNESOTA           in listeners who wear a cochlear implant           SMITH, MICHAEL L           Awarded. Fellowships only   2023/06/01   2025/05/31    $149,950     $149,950     $134,111     $78,603

                                        UNIVERSITY OF CALIFORNIA, SAN     Integration of substance use and mental health
4,615 F32DA058521   5F32DA058521-02     FRANCISCO                         services for justice-involved young women in Brazil    RAMAIYA, MEGAN         Awarded. Fellowships only   2023/07/01   2025/06/30    $152,364     $152,364     $128,668     $78,784

                                                                                                                                                        Awarded. Non-fellowships
4,616 T32DC000040   5T32DC000040-29     UNIVERSITY OF IOWA                Research Training Program in Otolaryngology            HANSEN, MARLAN R       only                        1993/07/01   2026/06/30   $1,287,285   $1,287,285   $1,139,085   $347,394

                                                                                                                                                        Awarded. Non-fellowships
4,617 T32AR007530   5T32AR007530-40     BRIGHAM AND WOMEN'S HOSPITAL Immunologic Mechanisms and Rheumatic Diseases BRENNER, MICHAEL B                   only                        1985/07/01   2026/04/30   $2,487,612   $2,487,612   $2,169,178   $502,960

                                        UNIVERSITY OF WISCONSIN-          Dissecting Regulatory Mechanisms of Cardiac
4,618 F31HL162492   5F31HL162492-03     MADISON                           Regeneration Enhancers                                 BEGEMAN, IAN           Awarded. Fellowships only   2022/06/01   2025/05/31    $103,961     $103,961     $101,019     $36,085
                                      COLUMBIA UNIVERSITY HEALTH        Multidisciplinary Training in Translational                               Awarded. Non-fellowships
4,619 T32DK083256   2T32DK083256-16   SCIENCES                          Gastrointestinal and Liver Research                  WANG, TIMOTHY CRAGIN only                           2009/07/01   2029/06/30    $400,571     $400,571     $300,853    $400,571

                                                                      Microbe dependent mechanisms that antagonize           NEWHALL, KEVIN
4,620 F30DK138707   5F30DK138707-02   CASE WESTERN RESERVE UNIVERSITY intestinal injury repair                               PRESCOTT                Awarded. Fellowships only   2023/06/01   2027/05/31    $106,668     $106,668      $84,348     $53,974

                                      UNIVERSITY OF ILLINOIS AT                                                                                      Awarded. Non-fellowships
4,621 T32DK128782   5T32DK128782-04   CHICAGO                           UIC Diabetes Research Training Program               UNTERMAN, TERRY G       only                        2021/06/01   2026/05/31    $780,399     $780,399     $658,962    $168,519

                                                                        Illuminating the essential role of the outer
                                                                        membrane component and drug target,
4,622 F31GM146401   5F31GM146401-03   WASHINGTON UNIVERSITY             lipopolysaccharide                                   VALDEZ, RYAN ADAM       Awarded. Fellowships only   2022/07/01   2026/06/30    $101,222     $101,222      $90,915     $34,908

                                      CHILDREN'S HOSP OF                Mechanisms of glial detection of axonal injury and
4,623 F32NS136191   1F32NS136191-01   PHILADELPHIA                      facilitation of axonal regeneration                  RASHID, ALINA           Awarded. Fellowships only   2024/07/01   2026/12/31     $74,284      $74,284      $65,011     $74,284

                                      UNIVERSITY OF COLORADO                                                                                         Awarded. Non-fellowships
4,624 T32DC012280   5T32DC012280-10   DENVER                            Institutional Training in Otolaryngology Research    KINNAMON, SUE C         only                        2013/07/01   2025/06/30   $2,277,016   $2,277,016   $1,840,937   $469,110

                                                                        CTSA Postdoctoral T32 at University of Utah: Spheres
                                                                        of Translation Across the Research Spectrum (STARS)                          Awarded. Non-fellowships
4,625 T32TR004394   5T32TR004394-02   UNIVERSITY OF UTAH                Training Program                                     FAGERLIN, ANGELA        only                        2023/07/01   2028/06/30    $541,359     $541,359     $395,528    $281,130

                                                                      NIDCD T32 Interdisciplinary Training Program in                                Awarded. Non-fellowships
4,626 T32DC010775   5T32DC010775-15   UNIVERSITY OF CALIFORNIA-IRVINE Hearing Research                                       METHERATE, RAJU         only                        2010/07/01   2025/06/30   $1,228,948   $1,228,948   $1,171,152    $71,885

                                                                                                                             ANDERSON, HEATHER       Awarded. Non-fellowships
4,627 T32EY034824   5T32EY034824-02   OHIO STATE UNIVERSITY             Vision Science Training Program                      ANNE                    only                        2023/07/01   2028/06/30    $272,875     $272,875     $164,837    $186,013

                                      UNIVERSITY OF CALIFORNIA LOS      UCLA Training Program in the Translational                                   Awarded. Non-fellowships
4,628 T32DA024635   2T32DA024635-16   ANGELES                           Neuroscience of Drug Addiction (TNDA)                WASSUM, KATE M          only                        2008/07/01   2029/06/30    $529,198     $529,198     $274,484    $529,198

                                                                        Progesterone promotes mammary gland
                                      UNIVERSITY OF KANSAS MEDICAL      tumorigenesis through immunosuppressive effects
4,629 F30CA271796   5F30CA271796-03   CENTER                            on dendritic cells                                   WERNER, LAURYN ROSE     Awarded. Fellowships only   2022/06/01   2026/05/31    $106,790     $106,790     $100,613     $36,764

                                                                                                                                                     Awarded. Non-fellowships
4,630 T32AR007016   5T32AR007016-50   YALE UNIVERSITY                   Training in Investigative Dermatology                GIRARDI, MICHAEL        only                        1975/07/01   2026/06/30   $1,656,360   $1,656,360   $1,441,238   $439,119

                                                                        Short Term Research Training: Students in Health                             Awarded. Non-fellowships
4,631 T35HL007649   5T35HL007649-38   YALE UNIVERSITY                   Professional Schools                                 CHAUDHRY, SARWAT I      only                        1992/06/01   2027/05/31    $618,322     $618,322     $566,045    $213,672

                                                                      Genetic and molecular mechanisms of Xbp-1
                                      STATE UNIVERSITY OF NEW YORK AT mediated salivary gland development and
4,632 F31DE032901   5F31DE032901-02   BUFFALO                         differentiation                                        WRYNN, THERESA          Awarded. Fellowships only   2023/07/01   2026/06/30     $67,979      $67,979      $61,244     $34,650

                                                                        Mechanisms Underlying the Omental Support of
4,633 F30CA281124   5F30CA281124-02   WASHINGTON UNIVERSITY             Ovarian Cancer Peritoneal Metastasis                 MINTZ, RACHEL           Awarded. Fellowships only   2023/06/01   2027/08/31    $106,668     $106,668      $66,893     $53,974

                                                                                                                                                     Awarded. Non-fellowships
4,634 T32DC000030   5T32DC000030-33   PURDUE UNIVERSITY                 Communicative Disorders                              STRICKLAND, ELIZABETH A only                        1991/07/01   2027/06/30    $848,003     $848,003     $654,008    $334,117

                                      UNIVERSITY OF CALIFORNIA AT                                                                                    Awarded. Non-fellowships
4,635 TL1TR001861   5TL1TR001861-09   DAVIS                             NRSA Training Core (TL1)                             MEDICI, VALENTINA       only                        2016/07/01   2026/05/31   $1,517,623   $1,517,623   $1,692,947   $454,759

                                      RUTGERS BIOMEDICAL AND HEALTH                                                                                  Awarded. Non-fellowships
4,636 T32ES007148   5T32ES007148-38   SCIENCES                      Training in Environmental Toxicology                     ALEKSUNES, LAUREN M     only                        1987/09/01   2027/06/30   $1,857,013   $1,751,306   $1,601,345   $605,018

                                      UNIVERSITY OF CALIFORNIA          The UC Berkeley MARC: Shaping the Next                                       Awarded. Non-fellowships
4,637 T34GM145535   5T34GM145535-03   BERKELEY                          Generation of Scientific Leaders                     LUMPKIN, ELLEN A        only                        2022/06/01   2027/05/31    $540,130     $540,130     $330,415    $216,778

                                      UNIVERSITY OF WISCONSIN-          Mesenchymal stromal cells for treatment of
4,638 F31DE031180   5F31DE031180-03   MADISON                           radiation-induced xerostomia                         PAZ, CRISTINA           Awarded. Fellowships only   2022/07/01   2025/06/30    $112,013     $112,013     $107,474     $38,505

                                      ICAHN SCHOOL OF MEDICINE AT       Nicotine & Nodose: A Neural Basis for Peripheral
4,639 F32DA054802   5F32DA054802-03   MOUNT SINAI                       Control over Nicotine Intake                         BRAUNSCHEIDEL, KEVIN    Awarded. Fellowships only   2022/07/06   2025/07/05    $213,430     $213,430     $170,256     $76,756

                                                                        Identifying Temporal Sequences of Exposures in
4,640 F30DK134113   5F30DK134113-03   UNIVERSITY OF UTAH                Type 1 Diabetes Etiology                             MISTRY, SEJAL           Awarded. Fellowships only   2022/07/01   2026/05/31    $146,620     $146,620     $131,851     $53,974
                                      STATE UNIVERSITY OF NEW YORK AT Cooperativity of Oral Microbes in Evading
4,641 F31DE031962   5F31DE031962-03   BUFFALO                         Neutrophil-Mediated Killing                             BYNUM, KIANA             Awarded. Fellowships only   2022/06/01   2025/05/31    $100,529     $100,529      $95,896     $34,721

                                      NORTHWESTERN UNIVERSITY AT         A Mixed-Methods Evaluation of mHealth Weight
4,642 F31HL162555   5F31HL162555-03   CHICAGO                            Management for Racial/Ethnic Minorities              BATTALIO, SAMUEL LOUIS   Awarded. Fellowships only   2022/06/01   2025/05/31    $129,959     $129,959     $115,837     $44,487

                                                                         Georgetown University Brain and Language Training                         Awarded. Non-fellowships
4,643 T32DC019481   5T32DC019481-03   GEORGETOWN UNIVERSITY              Program                                           TURKELTAUB, PETER ETHAN only                            2022/07/01   2027/06/30   $1,217,484   $1,217,484    $610,137    $512,806

                                                                         Homeostatic Maintenance of Neocortical Excitation-
                                                                         Inhibition Balance by Ciliary Neuropeptidergic
4,644 F32NS136265   1F32NS136265-01   BRANDEIS UNIVERSITY                Signaling                                          WONG, NICOLE FRANCES Awarded. Fellowships only         2024/06/01   2025/10/31     $75,064      $75,064      $49,922     $75,064

                                                                                                                                                       Awarded. Non-fellowships
4,645 T32AR074920   5T32AR074920-04   JOHNS HOPKINS UNIVERSITY           Future Academic Scientists in Dermatology            GARZA, LUIS ANDRES       only                        2020/07/01   2026/06/30    $935,392     $935,392     $586,477    $254,051

                                      UNIVERSITY OF COLORADO                                                                                           Awarded. Non-fellowships
4,646 T32AI007405   5T32AI007405-34   DENVER                             Training Program in Immunology                       TORRES, RAUL MARTIN      only                        1991/09/30   2026/07/31   $2,157,267   $2,157,267   $1,611,255   $532,574

                                                                         Training in Clinical Translational Science: Maximizing                        Awarded. Non-fellowships
4,647 T32MH103213   5T32MH103213-10   TRUSTEES OF INDIANA UNIVERSITY     the Public Health Impact                               HETRICK, WILLIAM P     only                        2015/08/01   2025/07/31   $1,540,159   $1,540,159   $1,412,316   $333,732

                                                                         The molecular characterization of sex-specific
                                                                         piRNA transcription and snRNA transcription in C.
4,648 F31HD108916   5F31HD108916-03   JOHNS HOPKINS UNIVERSITY           elegans                                              BENNER, LARS             Awarded. Fellowships only   2022/06/01   2025/05/31    $143,420     $143,420     $139,770     $48,974

                                                                         Evaluating the functional consequences of
4,649 F31AG077918   5F31AG077918-03   BAYLOR COLLEGE OF MEDICINE         Alzheimers disease-associated variant CICP36L        LEE, HAMIN               Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $136,715     $48,974

                                      BOSTON UNIVERSITY (CHARLES         Graduate Training at the Interface of Neuroscience,                           Awarded. Non-fellowships
4,650 T32NS136080   1T32NS136080-01   RIVER CAMPUS)                      Optical Engineering and Data Science                BOAS, DAVID A             only                        2024/07/08   2029/06/30    $167,378     $167,378     $138,606    $167,378

                                                                         Modeling the spatiotemporal properties of crosstalk
                                      ICAHN SCHOOL OF MEDICINE AT        between RYR-mediated and IP3R-mediated
4,651 F31HL160182   5F31HL160182-03   MOUNT SINAI                        calcium signaling in cardiac myocytes               JONES, DEANALISA          Awarded. Fellowships only   2022/06/01   2025/06/30    $146,648     $146,648     $131,045     $50,308

                                                                         Leveraging innovative technologies in basic and                               Awarded. Non-fellowships
4,652 T32CA009302   5T32CA009302-47   STANFORD UNIVERSITY                clinical cancer research                             ATTARDI, LAURA D         only                        1977/09/15   2028/08/31    $801,502     $801,502     $583,349    $395,193

                                                                         Integrative Pharmacological Sciences Training                                 Awarded. Non-fellowships
4,653 T32GM142521   5T32GM142521-04   MICHIGAN STATE UNIVERSITY          Program (IPSTP)                                      DORRANCE, ANNE M         only                        2021/07/01   2026/06/30   $1,605,635   $1,605,635   $1,196,624   $423,319
4,654 F31AI172618   5F31AI172618-03   EMORY UNIVERSITY                   Mechanisms of HIV-1 Hypersensitivity to Islatravir   SNYDER, ALEXA ANNE       Awarded. Fellowships only   2022/07/01   2026/09/06    $143,420     $143,420     $117,094     $48,974

                                                                                                                                                       Awarded. Non-fellowships
4,655 T32GM136611   5T32GM136611-05   BAYLOR COLLEGE OF MEDICINE         Medical Scientist Training Program                   KING, KATHERINE YUDEH    only                        2020/07/01   2025/06/30   $6,836,638   $6,836,638   $6,319,677 $1,420,488

                                                                    Investigating siRNA-mediated inhibition of ischemia-
                                      UNIV OF MASSACHUSETTS MED SCH reperfusion injury during the liver transplantation
4,656 F30DK131853   5F30DK131853-03   WORCESTER                     process                                              BUCHWALD, JULIANNA E          Awarded. Fellowships only   2022/07/01   2027/06/30     $97,718      $97,718      $96,583     $33,740

                                                                                                                                                       Awarded. Non-fellowships
4,657 T32GM007526   5T32GM007526-47   BAYLOR COLLEGE OF MEDICINE         Medical Genetics Research Fellowship Program         LEE, BRENDAN             only                        1978/09/30   2028/06/30   $1,274,603   $1,274,603   $1,099,337   $670,335

                                                                                                                                                       Awarded. Non-fellowships
4,658 T32ES007250   5T32ES007250-35   UNIVERSITY OF CINCINNATI           Environmental Carcinogenesis and Mutagenesis         MILLER, WILLIAM E        only                        1988/07/01   2026/06/30   $3,025,871   $3,025,871   $2,907,343   $644,504

                                                                         Physical and Neurocognitive Outcomes Among
                                                                         Children with Fetal Alcohol Spectrum Disorder
                                      UNIV OF NORTH CAROLINA             Outcomes (FASD): The Contribution of Maternal
4,659 F32AA030495   5F32AA030495-03   CHAPEL HILL                        Nutrition and Nutrigenetic Risk Factors              HASKEN, JULIE            Awarded. Fellowships only   2022/07/01   2025/06/30    $226,930     $226,930     $195,624     $81,256

                                      NEW YORK UNIVERSITY SCHOOL OF                                                                                    Awarded. Non-fellowships
4,660 T32ES007324   5T32ES007324-24   MEDICINE                      Training Program in Environmental Toxicology              CUDDAPAH, SURESH         only                        1999/07/01   2026/06/30   $1,474,923   $1,474,923   $1,124,175   $412,351

                                                                                                                                                       Awarded. Non-fellowships
4,661 T34GM136498   5T34GM136498-05   UNIVERSITY OF CALIFORNIA-IRVINE MARC at the University of California, Irvine            MOTA-BRAVO, LUIS M       only                        2020/06/01   2025/05/31   $4,411,127   $4,411,127   $3,795,035   $138,894

                                                                                                                                                       Awarded. Non-fellowships
4,662 T32GM148383   5T32GM148383-02   JOHNS HOPKINS UNIVERSITY           Predoctoral Training Program in Human Genetics       MCCALLION, ANDREW S      only                        2023/07/01   2028/06/30   $1,187,884   $1,187,884    $960,119    $604,295
                                                                                                                                                     Awarded. Non-fellowships
4,663 T34GM149429   5T34GM149429-02     HUNTER COLLEGE                   MARC Program at Hunter College, CUNY                  FORD, JENNIFER S      only                         2023/06/01   2028/05/31   $1,008,806   $1,008,806    $674,866    $504,403

                                                                                                                                                     Awarded. Non-fellowships
4,664 T32ES021432   2T32ES021432-11     DUKE UNIVERSITY                  Duke University Program in Environmental Health       MEYER, JOEL NEWMAN    only                         2013/07/01   2029/06/30    $485,219     $485,219     $250,120    $485,219

                                                                                                                               MUZUMDAR, MANDAR      Awarded. Non-fellowships
4,665 T32GM148332   5T32GM148332-02     YALE UNIVERSITY                  Predoctoral Training Program in Genetics              DEEPAK                only                         2023/07/01   2028/06/30   $1,511,852   $1,511,852   $1,163,153   $769,103

                                        UNIVERSITY OF CALIFORNIA LOS     Total Synthesis of Dodecahedrane via                  MCDERMOTT CATENA,
4,666 F31GM148017   5F31GM148017-02     ANGELES                          Carbon–Carbon Bond Forming Cascades                   LUCA                   Awarded. Fellowships only   2023/07/01   2025/06/30     $86,440      $86,440      $80,040     $43,860

                                        UNIVERSITY OF WISCONSIN-                                                                                     Awarded. Non-fellowships
4,667 T32EY027721   2T32EY027721-06A1   MADISON                          Vision Research Training Program                      NICKELLS, ROBERT W    only                         2018/09/30   2029/06/30    $254,743     $254,743     $164,988    $254,743

                                                                         Mechanisms of cellular, synaptic and circuit
                                        CHILDREN'S HOSP OF               dysfunction in Kcnc1-related epileptic
4,668 F32NS126234   5F32NS126234-03     PHILADELPHIA                     encephalopathy                                        WENGERT, ERIC RYAN     Awarded. Fellowships only   2022/06/01   2025/05/31    $217,858     $217,858     $207,150     $78,892

                                        UNIVERSITY OF PITTSBURGH AT      Interdisciplinary Visual Sciences (IVS) Training                            Awarded. Non-fellowships
4,669 T32EY017271   2T32EY017271-16     PITTSBURGH                       Program                                               KINCHINGTON, PAUL R   only                         2008/05/01   2029/06/30    $211,169     $211,169      $96,240    $211,169

                                        STATE UNIVERSITY OF NEW YORK AT                                                                               Awarded. Non-fellowships
4,670 T34GM145391   5T34GM145391-02     ALBANY                          MARC at UAlbany                                        HORMES, JULIA M        only                        2023/06/01   2028/05/31    $491,574     $491,574     $340,663    $327,716

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                 Awarded. Non-fellowships
4,671 T32DK007673   2T32DK007673-32     CENTER                           Training in Gastroenterology                          PEEK, RICHARD M        only                        1992/07/01   2029/06/30    $438,032     $438,032     $290,737    $438,032

                                        UNIV OF NORTH CAROLINA           UNC-Duke Collaborative Clinical Pharmacology                                 Awarded. Non-fellowships
4,672 T32GM086330   5T32GM086330-14     CHAPEL HILL                      Postdoctoral Training Program                         BROUWER, KIM L R       only                        2011/07/01   2026/06/30   $2,161,414   $2,161,414   $1,636,665        $1

                                                                         Graduate and Postdoctoral Training in                                       Awarded. Non-fellowships
4,673 T32ES012870   2T32ES012870-21     EMORY UNIVERSITY                 Environmental Health Science and Toxicology           MARSIT, CARMEN JOSEPH only                         2004/07/01   2029/06/30    $533,136     $533,136     $256,029    $533,136

                                                                                                                                                      Awarded. Non-fellowships
4,674 T32ES027801   2T32ES027801-06A1   BAYLOR COLLEGE OF MEDICINE       Training in Precision Environmental Health Sciences   WALKER, CHERYL L       only                        2018/07/01   2029/06/30    $447,264     $447,264      $26,614    $447,264

                                                                                                                                                      Awarded. Non-fellowships
4,675 T32GM135081   5T32GM135081-05     CASE WESTERN RESERVE UNIVERSITY Functional Genomics Training Program (FGTP)            HARRIS, ANN            only                        2020/07/01   2025/06/30   $1,009,150   $1,009,150    $943,285    $200,917

                                                                         Duke-North Carolina Central University (NCCU)-
                                                                         Interdisciplinary Postdoctoral Training Program in
                                                                         Child Psychiatric and Neurodevelopmental                                     Awarded. Non-fellowships
4,676 T32MH132515   1T32MH132515-01A1   DUKE UNIVERSITY                  Conditions Program (DN-IPT)                           POSNER, JONATHAN E     only                        2024/07/01   2029/06/30    $189,520     $189,520      $98,843    $189,520

                                                                                                                                                      Awarded. Non-fellowships
4,677 T32HL092332   5T32HL092332-22     BAYLOR COLLEGE OF MEDICINE       Training In Cell and Gene Therapy                     HESLOP, HELEN E        only                        2003/07/01   2028/07/31   $1,026,140   $1,026,140    $718,800    $503,875

                                        UNIVERSITY OF PITTSBURGH AT                                                                                   Awarded. Non-fellowships
4,678 T32DC011499   5T32DC011499-13     PITTSBURGH                       Training in Auditory and Vestibular Neuroscience      KANDLER, KARL          only                        2011/07/01   2027/06/30    $889,331     $889,331     $651,812    $343,131

                                                                         Circuit Specializations of Cerebellar Molecular Layer
4,679 F32NS133036   5F32NS133036-02     HARVARD MEDICAL SCHOOL           Interneurons                                          LACKEY, ELIZABETH      Awarded. Fellowships only   2023/07/01   2026/06/30    $142,968     $142,968     $123,548     $74,284

                                                                     Training in Sleep, Circadian, and Respiratory                                   Awarded. Non-fellowships
4,680 T32HL007901   5T32HL007901-27     BRIGHAM AND WOMEN'S HOSPITAL Neurobiology                                              CZEISLER, CHARLES A   only                         1998/08/01   2028/06/30   $1,917,722   $1,917,722   $1,777,305   $914,257

                                                                         Addressing Algorithmic Unreliability and Dataset
4,681 F31LM014282   5F31LM014282-02     UNIVERSITY OF PENNSYLVANIA       Shift in EHR-based Risk Prediction Models             KOLLA, LIKHITHA        Awarded. Fellowships only   2023/06/01   2026/05/31     $96,668      $96,668      $86,228     $48,974

                                        UNIVERSITY OF CALIFORNIA                                                                                     Awarded. Non-fellowships
4,682 T32GM148378   5T32GM148378-02     BERKELEY                         Molecular Biology Across Scales Training Program      BILDER, DAVID         only                         2023/07/01   2028/06/30   $3,678,964   $3,678,964   $3,036,467 $1,873,365

                                                                                                                                                     Awarded. Non-fellowships
4,683 T32NS115705   5T32NS115705-05     UNIVERSITY OF ROCHESTER          Graduate Training in Neuroscience                     MAJEWSKA, ANNA K      only                         2020/07/15   2025/06/30   $1,060,102   $1,060,102    $939,551    $144,060

                                        VANDERBILT UNIVERSITY MEDICAL                                                                                Awarded. Non-fellowships
4,684 T32HL094296   5T32HL094296-17     CENTER                           Interdisciplinary Training Program in Lung Research   PEEBLES, RAY STOKES   only                         2008/07/01   2028/06/30    $824,542     $824,542     $502,953    $413,798

                                        UNIVERSITY OF WISCONSIN-                                                                                      Awarded. Non-fellowships
4,685 TL1TR002375   5TL1TR002375-08     MADISON                          NRSA Training Core                                    PRABHAKARAN, VIVEK     only                        2017/09/21   2027/06/30   $2,642,161   $2,642,161   $2,172,671   $901,949
                                                                      Defining key differences in mouse fibroblasts during
4,686 F31AR082220   5F31AR082220-02   HARVARD UNIVERSITY              digit regeneration and fibrosis                         JOU, VIVIAN            Awarded. Fellowships only   2023/07/01   2025/06/30     $75,776      $75,776      $67,562     $38,610

                                      UNIVERSITY OF CALIFORNIA, SAN                                                                                  Awarded. Non-fellowships
4,687 T32CA251070   5T32CA251070-05   FRANCISCO                       Surgical Oncology Training Grant                        ESSERMAN, LAURA J      only                        2020/07/15   2025/06/30   $1,465,691   $1,465,691   $1,106,949   $355,791

                                                                      Importance and function of highly conserved
                                      NORTHWESTERN UNIVERSITY AT      substrates of the Legionella pneumophila Type II
4,688 F31AI172194   5F31AI172194-02   CHICAGO                         Secretion System for Infection                          ADAMS, CARLTON         Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $92,584     $48,974

                                      UNIVERSITY OF CONNECTICUT       Understanding Individual Differences in Acoustic-
4,689 F31DC021372   5F31DC021372-02   STORRS                          Phonetic and Contextual Cue Use In Aging                CRINNION, ANNE MARIE   Awarded. Fellowships only   2023/08/23   2025/08/22     $94,784      $94,784      $85,579     $47,090

                                      UNIVERSITY OF COLORADO                                                                                         Awarded. Non-fellowships
4,690 T32HL007171   5T32HL007171-47   DENVER                          Translational Pulmonary Vascular Biology Program        STENMARK, KURT R       only                        1976/07/01   2028/06/30   $1,036,889   $1,036,889    $778,911    $520,122

                                      SLOAN-KETTERING INST CAN        Understanding the divergent functions of mutant
4,691 F31CA275027   5F31CA275027-03   RESEARCH                        p53                                                     KENNEDY, MARGARET      Awarded. Fellowships only   2022/07/01   2025/06/30    $143,420     $143,420     $107,641     $48,974

                                                                      Rational design of anti-cancer therapeutics
                                      ALBERT EINSTEIN COLLEGE OF      harnessing the synthetic lethality of methionine
4,692 F30CA275213   5F30CA275213-03   MEDICINE                        metabolism and arginine methyltransferases              BEDARD, GABRIEL T      Awarded. Fellowships only   2022/07/01   2026/06/30    $158,420     $158,420     $153,890     $53,974

                                                                      Alcohol-induced Skeletal Muscle Insulin Insensitivity
                                                                      in SIV/HIV: Myotube-derived Extracellular Vesicle-      BOURGEOIS, BRIANNA
4,693 F30AA029358   5F30AA029358-04   LSU HEALTH SCIENCES CENTER      mediated Mechanisms                                     LEILANI                Awarded. Fellowships only   2021/09/01   2026/08/31    $174,277     $174,277     $130,678     $55,736

                                                                      The Role of Bone Sialoprotein in Modulating
4,694 F30DE032897   5F30DE032897-02   OHIO STATE UNIVERSITY           Periodontal Development and Repair                      ANDRAS, NATALIE LYNN   Awarded. Fellowships only   2023/08/01   2025/12/01    $108,268     $108,268     $108,268     $54,774

                                      UNIVERSITY OF CALIFORNIA LOS                                                                                 Awarded. Non-fellowships
4,695 TL1TR001883   5TL1TR001883-08   ANGELES                         J. NRSA Training Core                                   HARAWA, NINA THAWATA only                          2016/07/01   2027/05/31   $2,613,892   $2,613,892   $1,514,421   $908,635

                                      NORTH CAROLINA STATE                                                                                           Awarded. Non-fellowships
4,696 T32GM133393   5T32GM133393-04   UNIVERSITY RALEIGH              Training Grant in Comparative Molecular Medicine        PIEDRAHITA, JORGE A    only                        2021/07/01   2026/06/30    $972,694     $972,694     $806,188    $279,840

                                      MEDICAL UNIVERSITY OF SOUTH                                                                                    Awarded. Non-fellowships
4,697 T32CA193201   5T32CA193201-09   CAROLINA                        Integrative Training in Oncogenic Signaling             HOWE, PHILIP H         only                        2016/07/08   2026/06/30   $1,577,571   $1,577,571   $1,290,145   $469,284

                                                                      Training Program in Biochemistry, Cell and                                     Awarded. Non-fellowships
4,698 T32GM135060   5T32GM135060-05   EMORY UNIVERSITY                Development Biology                                     BOISE, LAWRENCE H      only                        2020/07/01   2025/06/30   $1,916,171   $1,916,171   $1,756,780   $376,541

                                      WAKE FOREST UNIVERSITY HEALTH                                                                                  Awarded. Non-fellowships
4,699 T32NS115704   5T32NS115704-04   SCIENCES                        Neuroscience Training at Wake Forest                    CZOTY, PAUL W          only                        2021/07/01   2026/06/30   $1,085,990   $1,085,990    $976,416    $301,873

                                                                      SURGICAL ONCOLOGY RESEARCH TRAINING                                            Awarded. Non-fellowships
4,700 T32CA251063   5T32CA251063-05   UNIVERSITY OF PENNSYLVANIA      PROGRAM AT PENN                                         DEMATTEO, RONALD P     only                        2020/07/01   2025/06/30   $2,038,536   $2,038,536   $1,810,574   $511,116

                                      UNIV OF NORTH CAROLINA                                                                                         Awarded. Non-fellowships
4,701 T32DK007737   5T32DK007737-29   CHAPEL HILL                     Gastroenterology Research Training                      SHEIKH, SHEHZAD Z      only                        1996/08/01   2026/06/30   $1,872,357   $1,872,357   $1,714,343   $488,922

                                      UNIV OF NORTH CAROLINA          Role of Gastrokine 2 in pancreatic cancer
4,702 F31CA278589   5F31CA278589-02   CHAPEL HILL                     development                                             BELL, WHITNEY JEAN     Awarded. Fellowships only   2023/07/12   2025/07/11     $79,702      $79,702      $69,477     $40,491

                                                                      Human and Translational Immunology Training                                    Awarded. Non-fellowships
4,703 T32AI155387   5T32AI155387-04   YALE UNIVERSITY                 Program                                                 HEROLD, KEVAN C        only                        2021/09/01   2026/08/31   $1,739,896   $1,739,896   $1,451,725   $444,717

                                                                                                                                                     Awarded. Non-fellowships
4,704 T32NS121780   5T32NS121780-04   GEORGETOWN UNIVERSITY           Training Program in NeuroHIV (TPNH)                     MOCCHETTI, ITALO       only                        2021/07/02   2026/06/30    $580,558     $580,558     $515,897    $153,921

                                      UNIV OF MASSACHUSETTS MED SCH Training in the Molecular Basis of Autoimmunity and                         Awarded. Non-fellowships
4,705 T32AI132152   5T32AI132152-07   WORCESTER                     Autoinflammation                                    FITZGERALD, KATHERINE A only                             2018/09/01   2028/08/31    $486,323     $486,323     $380,077    $242,928

                                                                      Regulation of Centrosome Biogenesis During
4,706 F31HD111265   5F31HD111265-02   JOHNS HOPKINS UNIVERSITY        Mammalian Spermatogenesis                               SKINNER, MARNIE        Awarded. Fellowships only   2023/07/17   2025/10/16     $96,668      $96,668      $88,513     $48,974

                                                                      Interrogating the role of inhibitory interneurons of
4,707 F30MH131300   5F30MH131300-03   UNIVERSITY OF COLORADO          the nucleus accumbens in social attachment              EL-KALLINY, MOSTAFA    Awarded. Fellowships only   2022/08/01   2026/07/31    $121,974     $121,974     $108,998     $42,088

                                                                                                                                                     Awarded. Non-fellowships
4,708 T32NS116024   5T32NS116024-30   BAYLOR COLLEGE OF MEDICINE      Graduate Training in the Neurosciences                  RASBAND, MATTHEW N     only                        1994/07/01   2025/06/30   $1,542,795   $1,542,795   $1,440,336   $318,782
                                                                       Impact of APOE on endothelial cell proteomes in        WOJTAS, ALEKSANDRA
4,709 F32AG081135   5F32AG081135-02   EMORY UNIVERSITY                 Alzheimers disease                                     MARIA                   Awarded. Fellowships only   2023/07/01   2026/06/30    $159,684     $159,684     $117,129     $83,392

                                                                      Training Program in Stem Cell Translational Medicine THOMPSON, LESLIE           Awarded. Non-fellowships
4,710 T32NS082174   5T32NS082174-12   UNIVERSITY OF CALIFORNIA-IRVINE for Neurological Disorders                           MICHELS                    only                        2013/07/01   2028/06/30    $599,820     $599,820     $510,875    $264,736

                                                                       Models and mechanisms of SCN3A
4,711 F31NS129377   5F31NS129377-03   UNIVERSITY OF PENNSYLVANIA       neurodevelopmental disorder                            MERCHANT, JULIE PRIYA   Awarded. Fellowships only   2022/07/01   2025/06/30    $130,776     $130,776     $125,831     $36,330

                                      UNIV OF NORTH CAROLINA           Research Training Fellowship in Complementary and                              Awarded. Non-fellowships
4,712 T32AT003378   5T32AT003378-18   CHAPEL HILL                      Integrative Healthcare                            GAYLORD, SUSAN               only                        2007/07/01   2027/06/30   $1,293,650   $1,293,650   $1,147,609   $460,095

                                      UNIVERSITY OF NEW MEXICO                                                                                        Awarded. Non-fellowships
4,713 T32AI007538   5T32AI007538-25   HEALTH SCIS CTR                  Biology of Infectious Disease and Inflammation         OZBUN, MICHELLE A       only                        1998/09/30   2025/08/31   $1,472,192   $1,472,192   $1,282,373   $296,381

                                      WEILL MEDICAL COLL OF CORNELL                                                                                   Awarded. Non-fellowships
4,714 T32CA062948   5T32CA062948-30   UNIV                          Cancer Pharmacology                                       GUDAS, LORRAINE J       only                        1994/09/01   2026/06/30   $2,885,618   $2,885,618   $2,482,730   $506,020

                                                                                                                                                    Awarded. Non-fellowships
4,715 T32DK007732   5T32DK007732-30   JOHNS HOPKINS UNIVERSITY         Renal Disease Epidemiology Training Grant              CREWS, DEIDRA CANDICE only                          1995/09/20   2026/06/30   $1,715,171   $1,715,171   $1,576,063   $325,519

                                                                       Understanding Dysregulated Crosstalk Between
                                                                       Regulatory T Cells and Lung Dendritic Cells in the
                                      UNIVERSITY OF MICHIGAN AT ANN    Pathogenesis of Chronic Obstructive Pulmonary
4,716 F31HL163872   5F31HL163872-03   ARBOR                            Disease                                                MENGISTU, DAWIT         Awarded. Fellowships only   2022/05/16   2025/07/15    $120,500     $120,500     $120,500     $41,334

                                                                       AAV-mediated Müller glia reprogramming to early-
4,717 F31EY034774   5F31EY034774-02   JOHNS HOPKINS UNIVERSITY         stage retinal progenitor cells                         PANNULLO, NICOLE        Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $62,341     $48,974

                                      UNIVERSITY OF TEXAS HLTH SCIENCE Integrated Graduate Training Program in                                        Awarded. Non-fellowships
4,718 T32NS082145   5T32NS082145-12   CENTER                           Neuroscience, UTHSCSA                                  MORILAK, DAVID A        only                        2013/07/01   2028/06/30    $311,537     $311,537     $233,097    $148,075

                                      UNIVERSITY OF ALABAMA AT         Regulation of Lymphatic and Vascular Remodeling
4,719 F30DK135349   5F30DK135349-02   BIRMINGHAM                       in Acute Kidney Injury                          GHAJAR-RAHIMI, GELARE Awarded. Fellowships only            2023/07/01   2026/12/31     $83,978      $83,978      $76,923     $42,629

                                                                                                                                                      Awarded. Non-fellowships
4,720 T32CA009695   5T32CA009695-32   STANFORD UNIVERSITY              Stanford Cancer Imaging Training (SCIT) Program        DAHL, JEREMY            only                        1993/02/01   2028/08/31    $833,028     $833,028     $475,019    $419,732

                                      OREGON HEALTH & SCIENCE          Interdisciplinary Training in Microbial Pathogenesis                           Awarded. Non-fellowships
4,721 T32AI170496   5T32AI170496-02   UNIVERSITY                       and Immunology                                         NOLZ, JEFFREY C         only                        2023/08/01   2028/07/31    $769,239     $769,239     $557,330    $396,721

                                                                                                                                                      Awarded. Non-fellowships
4,722 T32GM148379   5T32GM148379-02   UNIVERSITY OF VIRGINIA           Training in the Pharmacological Sciences               LYNCH, KEVIN R          only                        2023/07/01   2028/06/30    $594,884     $594,884     $501,463    $329,616

                                                                       Alcohol Research Training: Methods and                                         Awarded. Non-fellowships
4,723 T32AA018108   5T32AA018108-15   UNIVERSITY OF NEW MEXICO         Mechanisms of Change                                   WITKIEWITZ, KATIE A     only                        2010/07/01   2025/06/30   $1,859,010   $1,859,010   $1,721,813   $406,437

                                                                       Investigations into ubiquitin binding proteins using
4,724 F31CA275390   5F31CA275390-03   PURDUE UNIVERSITY                structure guided reactivity                            PATEL, RISHI            Awarded. Fellowships only   2022/08/01   2025/07/31    $143,420     $143,420     $113,979     $48,974

                                                                       BU Clinical HIV/AIDS Research Training Program (BU-                            Awarded. Non-fellowships
4,725 T32AI052074   5T32AI052074-19   BOSTON MEDICAL CENTER            CHART                                               LINAS, BENJAMIN P          only                        2003/08/01   2026/07/31   $1,667,941   $1,667,941   $1,485,700   $542,752

                                      UNIVERSITY OF COLORADO           Submicron ultrasound contrast agents as diagnostic
4,726 F31DK136186   5F31DK136186-02   DENVER                           agents and therapeutic vehicles in type 1 diabetes CICCAGLIONE, MARK           Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $74,508     $48,974

                                                                                                                                                      Awarded. Non-fellowships
4,727 T32DK007247   5T32DK007247-47   UNIVERSITY OF WASHINGTON         Diabetes, Obesity and Metabolism Training Program MORTON, GREGORY J            only                        1977/07/01   2028/06/30   $1,024,203   $1,024,203    $781,781    $618,084

                                      TEMPLE UNIV OF THE                                                                                              Awarded. Non-fellowships
4,728 T32HL091804   5T32HL091804-15   COMMONWEALTH                     Integrative Cardiovascular Pathophysiology             ELROD, JOHN WILLIAM     only                        2008/09/01   2025/05/31   $2,040,091   $2,040,091   $1,576,433   $271,224

                                                                       An Ecological Momentary Assessment Study of
                                      UNIVERSITY OF MIAMI CORAL        Intolerance of Uncertainty: Linking Computational
4,729 F31MH133269   5F31MH133269-02   GABLES                           Measures with Clinical Factors                         BROOS, HANNAH CLAIRE Awarded. Fellowships only      2023/06/16   2025/06/15     $96,668      $96,668      $46,942     $48,974

                                                                       Graduate Training in Biochemistry and Molecular                             Awarded. Non-fellowships
4,730 T32GM136536   5T32GM136536-05   UNIVERSITY OF ARIZONA            Biology                                                CAPALDI, ANDREW PAUL only                           2020/07/01   2025/06/30   $1,509,847   $1,509,847   $1,482,442   $297,498

                                                                       Molecular Targets for Cancer Detection and                                     Awarded. Non-fellowships
4,731 T32CA009071   5T32CA009071-43   JOHNS HOPKINS UNIVERSITY         Treatment                                              ARMANIOS, MARY Y        only                        1979/09/15   2027/06/30   $1,383,650   $1,383,650   $1,367,245   $502,474
                                        WEILL MEDICAL COLL OF CORNELL Elucidating Mechanisms of Loss of Heterozygosity in REGAN, SAMANTHA
4,732 F31CA268775   5F31CA268775-03     UNIV                          Diploid Cells                                       BROOKE                       Awarded. Fellowships only   2022/06/22   2025/06/21    $143,420     $143,420     $135,424     $48,974

                                                                                                                                                       Awarded. Non-fellowships
4,733 T32GM145408   5T32GM145408-02     MAYO CLINIC ROCHESTER              MSTP at Mayo Clinic Rochester                        SCHIMMENTI, LISA A     only                        2023/07/01   2028/06/30   $2,359,788   $2,359,788   $1,818,304 $1,198,718

                                        UNIVERSITY OF ALABAMA AT           UAB Research Training Program in Neurobiology of     LUBIN, FARAH           Awarded. Non-fellowships
4,734 T32NS061788   5T32NS061788-17     BIRMINGHAM                         Cognition and Cognitive Disorders                    DOMINIQUE              only                        2008/07/01   2028/06/30    $558,873     $558,873     $471,535    $250,031

                                        NEW YORK UNIVERSITY SCHOOL OF                                                                                  Awarded. Non-fellowships
4,735 T32GM136573   5T32GM136573-05     MEDICINE                      Medical Scientist Research Service Award                  SULMAN, ERIK           only                        2020/07/01   2025/06/30   $6,782,709   $6,782,709   $6,158,689 $1,498,398

                                                                           Interdisciplinary Training in Movement Disorders and                       Awarded. Non-fellowships
4,736 T32NS082168   5T32NS082168-10     UNIVERSITY OF FLORIDA              Neurorestoration                                     VAILLANCOURT, DAVID E only                         2015/05/01   2025/06/30   $1,414,959   $1,414,959   $1,186,017   $161,458

                                        UNIVERSITY OF CALIFORNIA LOS                                                                                   Awarded. Non-fellowships
4,737 T32GM145388   5T32GM145388-03     ANGELES                            Research Training in Cell and Molecular Biology      TORRES, JORGE          only                        2022/07/01   2027/06/30   $3,251,438   $3,251,438   $2,855,007 $1,122,070

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                  Awarded. Non-fellowships
4,738 T32GM150581   5T32GM150581-02     ARBOR                              Systems and Integrative Biology Training Program     BEARD, DANIEL A        only                        2023/07/01   2028/06/30    $541,830     $541,830     $468,125    $329,616

                                                                                                                                                       Awarded. Non-fellowships
4,739 T32AI060546   5T32AI060546-20     UNIVERSITY OF GEORGIA              Training in Tropical and Emerging Global Diseases    MORENO, SILVIA N       only                        2004/08/01   2025/08/31   $1,864,469   $1,864,469   $1,757,288   $431,221

                                                                           TRAINING IN THE IMMUNOBIOLOGY AND                    SCHREIBER, ROBERT      Awarded. Non-fellowships
4,740 T32CA009547   5T32CA009547-38     WASHINGTON UNIVERSITY              MOLECULAR CELL BIOLOGY OF CANCER                     DAVID                  only                        1986/07/01   2027/06/30   $1,189,953   $1,189,953    $841,637    $416,112

                                                                           Assessing scaphotrapeziotrapezoid arthrokinematics TRENTADUE, TAYLOR
4,741 F31AR082227   5F31AR082227-02     MAYO CLINIC ROCHESTER              using 4DCT                                         PATRICIA                 Awarded. Fellowships only   2023/07/01   2026/06/30     $97,068      $97,068      $85,152     $49,174

                                                                                                                                                       Awarded. Non-fellowships
4,742 T32GM141804   5T32GM141804-04     JOHNS HOPKINS UNIVERSITY           Cellular and Molecular Biology                       KIM, JOHN              only                        2021/07/01   2026/06/30   $3,441,415   $3,441,415   $3,103,019   $878,975

                                                                        Proteus mirabilis RTX proteins: Role in polymicrobial
                                        STATE UNIVERSITY OF NEW YORK AT biofilm formation and pathogenesis of catheter
4,743 F32AI183755   1F32AI183755-01     BUFFALO                         associated urinary tract infection                      HUNT, BENJAMIN CARTER Awarded. Fellowships only    2024/06/01   2027/05/31     $74,284      $74,284      $59,399     $74,284

                                        UNIVERSITY OF CALIFORNIA LOS       Regenerative Musculoskeletal Medicine Training                              Awarded. Non-fellowships
4,744 T32AR059033   5T32AR059033-14     ANGELES                            Program                                              ADAMS, JOHN S          only                        2011/08/11   2026/07/31   $1,372,797   $1,372,797   $1,162,495   $315,195
4,745 F31DK137460   1F31DK137460-01A1   JOHNS HOPKINS UNIVERSITY           Uncovering the Role of GPR39 in the kidney           KUI, MACKENZIE         Awarded. Fellowships only   2024/05/20   2026/05/19     $97,948      $97,948      $46,897     $48,974

                                                                           Non-Preferred Contraceptive Method Use in Low-
                                                                           Resourced Settings: Exploring Inappropriate
                                        UNIV OF NORTH CAROLINA             Medical Contraindications and Person-Centered        CHUNG, STEPHANIE
4,746 F31HD113329   1F31HD113329-01A1   CHAPEL HILL                        Care                                                 ROSLYN-ISABELLE        Awarded. Fellowships only   2024/08/18   2026/08/17     $37,329      $37,329      $27,490     $37,329

                                                                           Deciphering neural crest-specific TFAP2 pathways in
4,747 F31DE032881   5F31DE032881-02     UNIVERSITY OF IOWA                 midface development and dysplasia                   NGUYEN, TIMOTHY         Awarded. Fellowships only   2023/07/01   2025/06/30     $88,395      $88,395      $60,319     $45,001

                                                                           Molecular mechanisms of mitochondrial metabolic
4,748 F30HL174099   1F30HL174099-01     STANFORD UNIVERSITY                regulation                                           KRISHNAN, ASWINI RAM   Awarded. Fellowships only   2024/09/16   2028/09/15     $41,856      $41,856      $19,029     $41,856

                                                                           Determining the genetic drivers of ancestry-specific
                                        UNIVERSITY OF CALIFORNIA, SAN      differential penetrance of APOE4 in sporadic
4,749 F31AG087658   1F31AG087658-01     FRANCISCO                          Alzheimer’s Disease                                  GARDELL, ZACHARY A     Awarded. Fellowships only   2024/06/15   2027/06/14     $41,324      $41,324      $33,537     $41,324

                                        UNIVERSITY OF CALIFORNIA, SAN      Training Program in Translational Brain Tumor                               Awarded. Non-fellowships
4,750 T32CA151022   5T32CA151022-15     FRANCISCO                          Research                                             COSTELLO, JOSEPH F     only                        2010/09/01   2025/08/31   $2,578,024   $2,578,024   $2,391,332   $601,773

                                        UNIVERSITY OF MICHIGAN AT ANN      Post-translational modification of GlyGly-Cterm
4,751 F32AI178852   5F32AI178852-02     ARBOR                              Proteins                                             ROBERTS, CAMERON       Awarded. Fellowships only   2023/07/01   2026/06/30    $154,264     $154,264     $131,819     $79,984
4,752 F31AR083277   5F31AR083277-02     RUSH UNIVERSITY MEDICAL CENTER Piezo2-mediated neuroplasticity in osteoarthritis        ADAMCZYK, NATALIE      Awarded. Fellowships only   2023/08/01   2026/07/31     $96,668      $96,668      $78,500     $48,974

                                                                           Gadusol: An ancient sunscreen that protects          JOHNSON, KRISTIN
4,753 F32GM154475   1F32GM154475-01     UNIVERSITY OF UTAH                 metazoan development                                 LORETTE                Awarded. Fellowships only   2024/09/16   2026/09/15     $73,828      $73,828      $45,047     $73,828

                                                                           Regulation of protein dynamics in Drosophila
4,754 F30GM154411   1F30GM154411-01     PRINCETON UNIVERSITY               embryos ectoderm germ layer                          MARISHTA, ARGIT        Awarded. Fellowships only   2024/06/01   2028/05/31     $32,974      $32,974      $27,426     $32,974
                                                                         Basolateral amygdala support of odor valence            SNIFFEN, SARAH
4,755 F31DC021888   1F31DC021888-01     UNIVERSITY OF FLORIDA            learning                                                ELIZABETH           Awarded. Fellowships only   2024/07/01   2027/06/30     $43,382      $43,382      $32,995     $43,382

                                                                         Adult-onset Purkinje cell loss in cerebellar
4,756 F31NS129279   5F31NS129279-03     BAYLOR COLLEGE OF MEDICINE       dysfunction                                             DONOFRIO, SARAH     Awarded. Fellowships only   2022/08/01   2025/07/31    $145,920     $145,920     $134,754     $48,974

                                        BOSTON UNIVERSITY MEDICAL        Metals, the Microbiome, and Kidney Health Among
4,757 F31ES036454   1F31ES036454-01     CAMPUS                           Adolescents in Central America                  HALL, SAMANTHA              Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974           $0     $48,974

                                        UNIVERSITY OF PITTSBURGH AT      Neural intersection of chronic alcohol exposure and BRANDNER, ADAM
4,758 F31AA031431   1F31AA031431-01A1   PITTSBURGH                       pain                                                JOSEPH                  Awarded. Fellowships only   2024/07/01   2027/06/30     $48,974      $48,974      $41,071     $48,974

                                                                         The Sleep Signature: A Disentangled State in Each
4,759 F31NS134240   1F31NS134240-01A1   WASHINGTON UNIVERSITY            Neuron                                                  SCHNEIDER, AIDAN    Awarded. Fellowships only   2024/07/01   2025/11/30     $34,926      $34,926      $24,653     $34,926

                                                                         Establishing CUX1 as a determinant of                   MARTINEZ, TANNER
4,760 F30HL163992   5F30HL163992-03     UNIVERSITY OF CHICAGO            Hematopoietic Stem cell heterogeneity                   CLARK               Awarded. Fellowships only   2022/09/30   2027/09/29    $158,420     $158,420     $104,447     $53,974

                                                                         Impact of antibiotic treatment on Lactobacillus
                                                                         population dynamics and intestinal T cell regulatory RIVERA-RODRIGUEZ,
4,761 F31AI183823   1F31AI183823-01     EMORY UNIVERSITY                 function                                             DORMARIE               Awarded. Fellowships only   2024/08/01   2025/07/31     $48,974      $48,974      $31,212     $48,974

                                                                      Examining the Role of a Pathogenic HTT Isoform,
                                        UNIV OF MASSACHUSETTS MED SCH HTT1a, in Somatic Expansion and RNA Aggregation
4,762 F31NS137681   1F31NS137681-01     WORCESTER                     in Huntingtons Disease                                     ALLEN, SARAH JANE   Awarded. Fellowships only   2024/07/01   2027/06/30     $33,780      $33,780      $26,124     $33,780

                                        UNIVERSITY OF ILLINOIS AT        Walking Inefficiency in Multiple Sclerosis: Influence
4,763 F32HD113333   1F32HD113333-01A1   CHICAGO                          of Vascular Dysfunction                                 JENG, BRENDA        Awarded. Fellowships only   2024/06/01   2026/05/31     $73,828      $73,828      $73,828     $73,828

                                        UNIVERSITY OF WISCONSIN-         Fertility Among Women with Chronic Health               CANNON, LINDSAY
4,764 F31HD115374   1F31HD115374-01     MADISON                          Conditions: A Mixed Methods Study                       MARIE               Awarded. Fellowships only   2024/09/01   2026/08/31     $40,295      $40,295      $25,159     $40,295

                                        UNIVERSITY OF PITTSBURGH AT      Predoctoral Training in Pharmacological Sciences                            Awarded. Non-fellowships
4,765 T32GM133332   5T32GM133332-05     PITTSBURGH                       (Resubmission)                                          JACOB, TIJA C       only                        2020/07/01   2025/06/30   $1,413,440   $1,413,440   $1,218,946   $297,503

                                        NORTHWESTERN UNIVERSITY AT       Identifying mechanisms underlying sex differences in
4,766 F31NS130767   5F31NS130767-02     CHICAGO                          motoneuron discharge                                 JENZ, SOPHIA THERESA   Awarded. Fellowships only   2023/09/01   2026/08/31     $88,803      $88,803      $65,190     $45,336

                                                                         Anatomical and Functional Characterization of
4,767 F31NS129103   5F31NS129103-03     HARVARD MEDICAL SCHOOL           Gastrointestinal to Spinal Cord Circuits                MCKENZIE, ZACHARY   Awarded. Fellowships only   2022/09/01   2025/08/31    $112,808     $112,808     $101,571     $36,796

                                                                        Functional study of the role of SAPAP3 postsynaptic
                                        STATE UNIVERSITY NEW YORK STONY density protein on dorsolateral striatal cholinergic BAEZ, ALEXANDER
4,768 F30MH130078   5F30MH130078-03     BROOK                           interneurons                                         THEODOR                 Awarded. Fellowships only   2022/09/02   2026/09/01    $133,026     $133,026     $104,693     $53,974

                                                                         A multispecies system for elucidating proliferative
                                                                         control mechanisms during mammalian skin and
4,769 F32AR083259   1F32AR083259-01A1   UNIVERSITY OF KENTUCKY           musculoskeletal regeneration                            ALLEN, ROBYN S      Awarded. Fellowships only   2024/08/01   2027/07/31     $79,256      $79,256      $51,154     $79,256

                                                                         Cell-type Specific Neuromodulation Using Burst DBS
                                                                         Produces Long-lasting Behavioral and Physiological
4,770 F31NS127483   5F31NS127483-03     CARNEGIE-MELLON UNIVERSITY       Rescue in a Parkinsonian Mouse Model               NANIVADEKAR, SHRUTI      Awarded. Fellowships only   2022/09/01   2025/08/31    $133,020     $133,020      $97,810     $45,374

                                                                                                                                                     Awarded. Non-fellowships
4,771 T32EB028092   5T32EB028092-05     WASHINGTON UNIVERSITY            TRAINING IN REGENERATIVE MEDICINE                       GUILAK, FARSHID     only                        2020/08/01   2025/07/31   $1,481,722   $1,481,722   $1,179,287   $229,249

                                                                         Understanding the chromatin architectural
                                                                         landscape of retinal development at the single-cell
4,772 F31EY036274   1F31EY036274-01     JOHNS HOPKINS UNIVERSITY         level                                               TRINH, VICKIE           Awarded. Fellowships only   2024/08/15   2026/08/14     $48,974      $48,974           $0     $48,974

                                        UNIVERSITY OF KANSAS MEDICAL     Investigating XRCC1 coordination with DNA
4,773 F31ES036459   1F31ES036459-01     CENTER                           polymerase beta in chromatin during BER                 THOMPSON, SPENCER   Awarded. Fellowships only   2024/09/01   2026/08/31     $37,460      $37,460      $27,187     $37,460

                                        UNIVERSITY OF MICHIGAN AT ANN    Intercepting the Evolution of Pro-Tumoral Myeloid
4,774 F31DE033922   1F31DE033922-01     ARBOR                            Cells During the Initiation of Oral Cancer              TANER, HULYA        Awarded. Fellowships only   2024/09/01   2028/08/31     $54,774      $54,774      $54,774     $54,774

                                                                         The role of DPF2 stability in SMARCB1-deficient
4,775 F31CA278008   5F31CA278008-02     EMORY UNIVERSITY                 cancers                                                 COOPER, GARRETT     Awarded. Fellowships only   2023/09/01   2026/11/14     $96,668      $96,668      $70,623     $48,974
                                        TEMPLE UNIV OF THE               Linking Mitochondrial Calcium to Histone
4,776 F30HL174158   1F30HL174158-01     COMMONWEALTH                     Methylation Underlying Lung Regeneration             PANTUCK, MORGAN        Awarded. Fellowships only   2024/09/16   2027/09/15     $35,481      $35,481      $24,377     $35,481

                                                                         Identifying Risk Mechanisms Underpinning the
                                                                         Association Between Callous-Unemotional Traits
4,777 F31MH134470   1F31MH134470-01A1   UNIVERSITY OF ROCHESTER          and Externalizing Behavior                           CAO, VANESSA T         Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974      $40,786     $48,974
4,778 F31GM151830   1F31GM151830-01A1   JOHNS HOPKINS UNIVERSITY         Investigating the Role of HSPE1 in Regulating OPA1   YEUNG, NELSON          Awarded. Fellowships only   2024/06/01   2026/05/31     $48,974      $48,974      $40,696     $48,974

                                                                        Rv3802c function in mycobacterial cell envelope
                                        STATE UNIVERSITY NEW YORK STONY remodeling, barrier properties, and antibiotic        SAKARIN, ISABEL
4,779 F30AI179077   1F30AI179077-01A1   BROOK                           susceptibility                                        JANTANA                Awarded. Fellowships only   2024/08/01   2027/07/31     $41,306      $41,306      $26,008     $41,306

                                                                         Regulation of Microglial Function by Major
                                        UNIVERSITY OF OKLAHOMA HLTH      Histocompatibility Complex I in Aging and            KELLOGG, COLLYN
4,780 F30AG087705   1F30AG087705-01     SCIENCES CTR                     Alzheimers Disease                                   MICHAEL                Awarded. Fellowships only   2024/07/01   2028/06/30     $44,477      $44,477      $21,168     $44,477

                                        UNIVERSITY OF CALIFORNIA, SAN                                                                                Awarded. Non-fellowships
4,781 T32GM136547   5T32GM136547-05     FRANCISCO                        Predoctrol Training in Biomedical Sciences           SIL, ANITA             only                        2020/07/01   2026/06/30   $2,948,282   $2,948,282   $2,729,135   $609,361

                                        NORTHWESTERN UNIVERSITY AT       Entropic Redistribution Drives the GRK-Independent
4,782 F31DA060484   1F31DA060484-01     CHICAGO                          Binding of Arrestin 2 to the Cannabinoid 2 Receptor SHRIVER, THOMAS         Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974      $26,112     $48,974

                                        NORTH CAROLINA STATE             Comparative Medicine and Translational Research      SCHNABEL, LAUREN       Awarded. Non-fellowships
4,783 T32OD011130   5T32OD011130-17     UNIVERSITY RALEIGH               Training Program                                     VIRGINIA               only                        2008/08/01   2028/07/31   $1,124,919   $1,124,919    $858,429    $560,688
4,784 F32GM148163   5F32GM148163-03     HARVARD UNIVERSITY               Molecular tuning of sensory systems in octopus       SEPELA, REBECKA JANE   Awarded. Fellowships only   2022/08/01   2025/07/31    $210,154     $210,154     $181,262     $74,284

                                                                         Mechanistic basis of urinary Lactobacillus
4,785 F32DK128975   5F32DK128975-03     UNIVERSITY OF TEXAS DALLAS       enrichment by estrogen hormone therapy               NEUGENT, MICHAEL LEE   Awarded. Fellowships only   2022/08/01   2025/07/31    $218,266     $218,266     $192,091     $78,892

                                                                         Time Restricted Feeding in Diet Induced Obesity
                                        UNIVERSITY OF ALABAMA AT         Improves Aortic Damage and Endothelial Function
4,786 F31HL167626   5F31HL167626-02     BIRMINGHAM                       Through Reducing Th17 Cells                          EDELL, CLAUDIA         Awarded. Fellowships only   2023/07/01   2026/06/30     $96,668      $96,668      $78,382     $48,974

                                                                         The impact of Wnt signaling on hematopoietic stem NGUYEN, TUYET DOAN
4,787 F31AG084164   1F31AG084164-01A1   DUKE UNIVERSITY                  cell aging and its influence on fracture repair   ANH                       Awarded. Fellowships only   2024/07/01   2027/06/30     $41,567      $41,567      $36,582     $41,567

                                                                         Mechanism of Substrate Unfolding by the AAA+
4,788 F31GM150221   5F31GM150221-02     UNIVERSITY OF UTAH               ATPase p97 and Binding Partners                      MACK, DEIRDRE          Awarded. Fellowships only   2023/07/01   2025/06/30     $96,668      $96,668      $72,933     $48,974

                                                                         Fentanyl Addiction: Individual Differences, Neural
                                        PENNSYLVANIA STATE UNIV          Circuitry, and Treatment with a GLP-1 Receptor
4,789 F30DA057043   5F30DA057043-02     HERSHEY MED CTR                  Agonist                                              EVANS, BRIANNA         Awarded. Fellowships only   2023/08/01   2027/07/31     $70,296      $70,296      $56,019     $35,788

                                        UNIVERSITY OF ALABAMA AT         Role of 14-3-3θ in Environmental Toxicant Exposure
4,790 F31ES034985   5F31ES034985-02     BIRMINGHAM                       and Neuroinflammation in Synucleinopathies           STONE, WILLIAM J       Awarded. Fellowships only   2023/08/01   2027/07/31     $89,478      $89,478      $65,812     $45,629

                                        UNIVERSITY OF PITTSBURGH AT      The roles of PLD and DGK isoforms in PIP2
4,791 F31HL170755   5F31HL170755-02     PITTSBURGH                       homeostasis during PLC signaling                     WECKERLY, CLAIRE       Awarded. Fellowships only   2023/08/01   2026/07/31     $96,668      $96,668      $85,515     $48,974

                                                                         Characterizing transient hematopoietic multipotent
                                                                         and megakaryocyte progenitor cells during
4,792 F30HL162475   5F30HL162475-03     LOYOLA UNIVERSITY CHICAGO        postnatal development                              MACK, RYAN               Awarded. Fellowships only   2022/09/01   2027/04/30    $121,576     $121,576      $59,953     $53,974

                                                                         Genetic rescue of a developmental hearing loss-
4,793 F32DC020659   5F32DC020659-03     NEW YORK UNIVERSITY              induced spectral processing deficit                  MASRI, SAMER           Awarded. Fellowships only   2022/09/01   2025/08/31    $218,266     $218,266     $185,306     $78,892

                                                                         ROS as a somnogenic signal in the metabolic
4,794 F31NS134153   1F31NS134153-01A1   UNIVERSITY OF NEVADA RENO        regulation of sleep                                  MCINTIRE, PEARSON      Awarded. Fellowships only   2024/06/01   2026/05/31     $37,265      $37,265      $31,099     $37,265

                                                                        Inflammatory contributions of clonal hematopoiesis
4,795 F30HL160171   5F30HL160171-03     INDIANA UNIVERSITY INDIANAPOLIS to cardiovascular disease                          BURNS, SARAH S            Awarded. Fellowships only   2022/08/01   2025/07/31    $135,414     $135,414      $92,801     $47,031

                                        UNIVERSITY OF MICHIGAN AT ANN    Early Life Pulmonary Infection, Microbiome and       ETHRIDGE, ALEXANDER
4,796 F31HL165674   5F31HL165674-02     ARBOR                            Trained Innate Immunity                              DALE                   Awarded. Fellowships only   2023/07/01   2025/06/30     $81,650      $81,650      $81,650     $41,465

                                                                                                                                                     Awarded. Non-fellowships
4,797 T32NS007473   5T32NS007473-24     BOSTON CHILDREN'S HOSPITAL       Developmental Neurology                              SCHWARZ, THOMAS L      only                        1999/07/01   2026/06/30   $1,943,805   $1,943,805   $1,730,504   $491,730
                                                                   Training in HIV Persistence, Co-morbidities and                                      Awarded. Non-fellowships
4,798 T32AI158105   5T32AI158105-04   GEORGE WASHINGTON UNIVERSITY Therapeutics                                                 MAGGIRWAR, SANJAY B     only                        2021/09/01   2026/08/31    $692,762     $692,762     $557,556    $201,776

                                                                        Spectroscopic and Mechanistic Characterization of
                                                                        Novel DNAzymes Selective for Redox-active Metal VAN STAPPEN, CASEY
4,799 F32GM145134   5F32GM145134-03   UNIVERSITY OF TEXAS AT AUSTIN     Ions                                              MICHAEL                       Awarded. Fellowships only   2022/09/05   2025/09/04    $232,938     $232,938     $179,985     $84,364

                                                                        Role of molecular drivers in memory group 1 CD1-
                                      NORTHWESTERN UNIVERSITY AT        restricted T cell differentiation and Mycobacterium
4,800 F30AI157314   5F30AI157314-04   CHICAGO                           tuberculosis infection                                  MORGUN, EVA             Awarded. Fellowships only   2021/09/15   2025/08/31    $195,960     $195,960     $141,986     $53,974

                                                                      Multimodal, multiclass prediction of disease status in
4,801 F30AG079610   5F30AG079610-03   UNIVERSITY OF CALIFORNIA-IRVINE Alzheimer’s                                            REN, YUEQI                 Awarded. Fellowships only   2022/09/01   2026/08/31    $140,051     $140,051      $93,944     $53,974

                                                                                                                                                        Awarded. Non-fellowships
4,802 T32AR007108   5T32AR007108-44   UNIVERSITY OF WASHINGTON          Research Training in Rheumatology                       MUSTELIN, TOMAS M       only                        1975/07/01   2026/06/30   $1,392,411   $1,392,411   $1,235,319   $291,971

                                                                                                                                                        Awarded. Non-fellowships
4,803 T32DK007260   5T32DK007260-48   JOSLIN DIABETES CENTER            Training Grant in Diabetes and Metabolism               BLACKWELL, T KEITH      only                        1977/07/01   2027/06/30   $2,259,399   $2,259,399   $1,263,498   $845,366

                                      UNIVERSITY OF CONNECTICUT SCH Predicting Cardiovascular Outcomes Using
4,804 F30HL168980   5F30HL168980-02   OF MED/DNT                    Diabetes-Induced Transcriptomic Networks                    KARLINSEY, KEATON       Awarded. Fellowships only   2023/06/01   2027/05/31     $92,786      $92,786      $83,616     $47,283

                                                                     The Process of Alcohol-Involved Sexual Assault
                                                                     Disclosure: A Mixed-Methods Approach to
4,805 F31AA030927   5F31AA030927-02   UNIVERSITY OF NEBRASKA LINCOLN Examining Disclosure Content                               EDWARDS, MADISON        Awarded. Fellowships only   2023/07/07   2025/08/06     $96,668      $96,668      $96,482     $48,974

                                      LAGUARDIA COMMUNITY               Bridges to the Baccalaureate Research Training                                  Awarded. Non-fellowships
4,806 T34GM137858   5T34GM137858-05   COLLEGE                           Program at LaGuardia Community College                  TSAI, MIDAS             only                        2020/08/01   2025/07/31   $1,508,884   $1,508,884   $1,234,453   $175,915

                                                                        Clinical/Laboratory Training Academic                                        Awarded. Non-fellowships
4,807 T32DK007130   5T32DK007130-51   WASHINGTON UNIVERSITY             Gastroenterology                                        DAVIDSON, NICHOLAS O only                           1975/07/01   2025/06/30   $2,217,537   $2,217,537   $1,969,070   $425,269

                                      NORTHWESTERN UNIVERSITY AT        The role of dopamine in OFC-DMS plasticity in           MWENDA, NKATHA
4,808 F31DA060615   1F31DA060615-01   CHICAGO                           punishment-resistant reward-seeking behavior            KARIMI                  Awarded. Fellowships only   2024/06/01   2027/05/31     $44,187      $44,187      $27,708     $44,187

                                                                        Rhythms of Hippocampal Function and Memory
4,809 F31AA030711   5F31AA030711-03   UNIVERSITY OF NEW MEXICO          Deficits After Moderate Prenatal Alcohol Exposure       SANCHEZ, LILLIANA MAY   Awarded. Fellowships only   2022/09/30   2025/09/29    $111,752     $111,752      $85,002     $38,418

                                                                        Training Program in Cancer Population Science                                   Awarded. Non-fellowships
4,810 T32CA261787   5T32CA261787-04   GEORGETOWN UNIVERSITY             (CaPS)                                                  O'NEILL, SUZANNE C      only                        2021/08/01   2026/07/31    $787,244     $787,244     $604,543    $210,674

                                      UNIVERSITY OF PITTSBURGH AT       Clinical and Translational Research Training in                                 Awarded. Non-fellowships
4,811 T32MH019986   5T32MH019986-28   PITTSBURGH                        Geriatric Mental Health                                 AIZENSTEIN, HOWARD J    only                        1997/07/15   2027/06/30   $1,312,227   $1,312,227    $798,219    $247,790

                                                                        Investigating the role of the membrane in
                                                                        particulate methane monooxygenase (pMMO)
4,812 F31ES034283   5F31ES034283-03   NORTHWESTERN UNIVERSITY           structure and function                                  TUCCI, FRANK            Awarded. Fellowships only   2022/09/01   2025/08/31    $129,059     $129,059     $104,999     $44,187

                                                                        Investigation of Sex Differences in Physical Activity
                                                                        and its Relationships with Stress After Myocardial
4,813 F31HL170697   5F31HL170697-02   EMORY UNIVERSITY                  Infarction                                              SUVADA, KARA            Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668      $74,330     $48,974

                                      ROCHESTER INSTITUTE OF            Rochester Bridges to the Doctorate for Deaf and                                 Awarded. Non-fellowships
4,814 T32GM150525   5T32GM150525-02   TECHNOLOGY                        Hard-of-Hearing (D/HH) Students (RB2D).                 JACOB, BONNIE C         only                        2023/08/01   2028/07/31    $585,107     $585,107     $384,855    $296,490

                                                                        Research Training to Promote Scientist Diversity &                              Awarded. Non-fellowships
4,815 T32HL140290   5T32HL140290-07   UNIVERSITY OF TEXAS AT AUSTIN     Health Equity in Cardiovascular & Lung Disease          CUBBIN, CATHERINE       only                        2018/08/01   2028/07/31    $587,220     $587,220     $312,187    $273,174

                                      UNIVERSITY OF PITTSBURGH AT       Rhythms in Cholinergic Interneuron Activity Mediate
4,816 F32DA060613   1F32DA060613-01   PITTSBURGH                        Drug-Taking Behaviors                               STOWE, TAYLOR ASHLEY        Awarded. Fellowships only   2024/09/01   2026/08/31     $74,284      $74,284      $44,806     $74,284

                                                                        Testing a Social Safety Theory Perspective on
                                      UNIVERSITY OF CALIFORNIA LOS      Depression: An Intensive Longitudinal
4,817 F32MH130149   5F32MH130149-03   ANGELES                           Immunopsychiatric Data Approach                         MORIARITY, DANIEL P     Awarded. Fellowships only   2022/08/12   2025/08/11    $210,154     $210,154     $161,820     $74,284

                                      UNIVERSITY OF KANSAS MEDICAL                                                              SIMON, MIKAELA
4,818 F31HD113433   5F31HD113433-02   CENTER                            Signaling at the Uterine Placental Interface            ELIZABETH               Awarded. Fellowships only   2023/07/17   2027/07/16     $73,997      $73,997      $66,430     $37,752
                                        UNIV OF NORTH CAROLINA
4,819 FM1HL179761   1FM1HL179761-01     CHAPEL HILL                       MSPP Application                                     ARCHIBALD, AHLINA       Awarded. Fellowships only   2024/09/05   2028/06/30     $53,974      $53,974     $49,606    $53,974

                                        UNIV OF NORTH CAROLINA                                                                                         Awarded. Non-fellowships
4,820 T32CA285257   5T32CA285257-02     CHAPEL HILL                       UNC Immunotherapy Training Grant (IM-TAG)            SERODY, JONATHAN S      only                        2023/09/15   2028/08/31    $346,739     $346,739    $248,549   $181,622

                                                                          University of Florida Partnerships Across
                                                                          Interdisciplinary Networks: Training through
                                                                          Engineering, epidemiology & Addiction Medicine                               Awarded. Non-fellowships
4,821 T90AR085527   1T90AR085527-01     UNIVERSITY OF FLORIDA             (UF PAIN TEAM)                                       CRUZ-ALMEIDA, YENISEL   only                        2024/08/01   2029/07/31    $362,689     $362,689     $91,602   $362,689

                                                                          Trends in Associations between Maternal
                                        UNIVERSITY OF CALIFORNIA LOS      Methamphetamine Use and Congenital Syphilis in
4,822 F31DA058416   5F31DA058416-02     ANGELES                           Los Angeles County, 2011 through 2020                PARK, EUNHEE            Awarded. Fellowships only   2023/12/01   2025/11/30     $86,332      $86,332     $66,551    $44,056

                                                                          Novel bioinformatics methods for integrative
                                                                          detection of structural variants from long-read
4,823 F31HG013259   5F31HG013259-02     DREXEL UNIVERSITY                 sequencing                                           PERDOMO, JONATHAN       Awarded. Fellowships only   2023/09/15   2026/09/14     $96,668      $96,668     $82,159    $48,974

                                                                          Differences in Women and Men with Atrial
4,824 F31NR020833   5F31NR020833-02     UNIVERSITY OF WASHINGTON          Fibrillation                                         FRAZIER, ELIZABETH      Awarded. Fellowships only   2023/09/16   2026/03/15    $102,168     $102,168     $89,643    $51,974

                                                                         Evaluation of Trigeminal Ganglia Sensory Neuronal
                                        UNIVERSITY OF TEXAS HLTH SCIENCE Population/s Mediating MIF-Induced Anti-
4,825 F30DE033587   5F30DE033587-02     CENTER                           Nociception in a Model of Apical Periodontitis.       MURILLO, JOSUE DE JESUS Awarded. Fellowships only   2023/12/01   2027/11/30    $107,702     $107,702     $62,635    $54,208

                                                                          Human-specific splicing regulation in neurogenesis
4,826 F32NS138224   1F32NS138224-01     DUKE UNIVERSITY                   and disease                                          MOSS, NICOLE D          Awarded. Fellowships only   2025/01/01   2027/12/31     $73,828      $73,828     $20,476    $73,828

                                                                     Mechanisms of Neuronal Excitability and Pain in           ENDERS, JONATHAN
4,827 F32NS138223   1F32NS138223-01     MEDICAL COLLEGE OF WISCONSIN Fabry Disease                                             DAVID                   Awarded. Fellowships only   2024/08/01   2026/07/31     $73,828      $73,828     $46,938    $73,828

                                        UNIVERSITY OF ALABAMA AT          Application of social cognitive theory to physical
4,828 F31DK137416   5F31DK137416-02     BIRMINGHAM                        activity behavior among adults with Crohns disease NEAL, WHITNEY NICHELLE Awarded. Fellowships only      2023/12/04   2025/12/03     $80,734      $80,734     $49,877    $41,007

                                                                          Regulation of hematopoiesis during tumor
4,829 F31CA284858   5F31CA284858-02     WASHINGTON UNIVERSITY             progression                                          EUL, EMILY M            Awarded. Fellowships only   2023/08/01   2026/07/31     $96,668      $96,668     $32,354    $48,974

                                                                          Investigating circuit-specific effects of high-
                                        UNIVERSITY OF CALIFORNIA LOS      frequency repetitive transcranial magnetic
4,830 F30MH134633   5F30MH134633-02     ANGELES                           stimulation                                          GONGWER, MICHAEL W      Awarded. Fellowships only   2023/09/16   2025/09/15     $81,020      $81,020     $59,656    $41,244

                                                                        Disentangling the Epidermal Immune Crosstalk in
4,831 F31AR083279   5F31AR083279-02     UNIVERSITY OF CALIFORNIA-IRVINE Inflammatory Skin Disease                              MOSHENSKY, ALEXANDER Awarded. Fellowships only      2023/09/01   2026/08/31     $88,929      $88,929     $72,621    $45,458

                                                                          Examining Social Determinants of Antiretroviral
                                        UNIVERSITY OF CALIFORNIA, SAN     Adherence Trajectories among African American        SERRANO, VANESSA
4,832 F31MH133506   5F31MH133506-02     DIEGO                             Adults with HIV                                      BIANCA                  Awarded. Fellowships only   2023/08/01   2025/07/31     $81,352      $81,352     $40,036    $41,316

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                    Awarded. Non-fellowships
4,833 T32AI078892   2T32AI078892-16A1   MOUNT SINAI                       Translational Immunology Training Program            EDELBLUM, KAREN LEIGH   only                        2008/08/01   2029/07/31    $398,113     $398,113     $47,718   $398,113

                                                                        Developing Real-world Understanding of Medical
                                                                        Music therapy using the Electronic Health Record       RODGERS-MELNICK,
4,834 F31AT012592   5F31AT012592-02     CASE WESTERN RESERVE UNIVERSITY (DRUMMER)                                              SAMUEL                  Awarded. Fellowships only   2024/01/01   2025/12/31     $96,668      $96,668     $42,120    $48,974

                                        RUTGERS BIOMEDICAL AND HEALTH                                                                                  Awarded. Non-fellowships
4,835 T32NS115700   5T32NS115700-04     SCIENCES                      Training in Translating Neuroscience to Therapies        MOURADIAN, M MARAL      only                        2021/07/01   2026/06/30   $1,103,053   $1,024,006   $953,480   $262,922

                                        UNIVERSITY OF ILLINOIS AT         NG2/CSPG4 in Mandibular Endochondral Fracture        BANKS, JONATHAN
4,836 F30DE033287   5F30DE033287-02     CHICAGO                           Healing                                              MATTHEW                 Awarded. Fellowships only   2023/09/01   2029/08/31    $108,268     $108,268     $78,928    $54,774

                                                                          MBNL loss of function in visceral smooth muscle as a PETERSON, JANEL ANN
4,837 F31DK132935   5F31DK132935-03     BAYLOR COLLEGE OF MEDICINE        model of myotonic dystrophy type 1                   MERKEL                  Awarded. Fellowships only   2022/12/15   2025/12/14    $148,642     $148,642    $124,012    $51,974

                                                                          Examining Perceived Familial and Self-Endorsement
                                                                          of Marianismo Cultural Script Discrepancies as    MARTINEZ, ANJELICA
4,838 F31MD017957   5F31MD017957-03     UNIVERSITY OF HOUSTON             Mental Health Risk Factors in Latina Americans    MERCEDES                   Award terminated            2022/11/01   2025/10/31    $108,712     $108,712     $73,451    $36,978
                                      ICAHN SCHOOL OF MEDICINE AT       Single Cell Analysis of HIV-1 Latent reservoir
4,839 F30AI162222   5F30AI162222-04   MOUNT SINAI                       establishment in Humanized Mice                         DOANMAN, DONALD         Awarded. Fellowships only   2021/11/24   2025/11/23    $200,634     $200,634     $168,559     $53,974

                                                                        Bringing the clinic to the lab: the effects of forced
                                                                        and non-forced rehabilitation on functional
4,840 F32NS131535   5F32NS131535-02   RUTGERS, THE STATE UNIV OF N.J.   recovery after spinal cord injury                       EISDORFER, JACLYN T     Awarded. Fellowships only   2023/09/01   2026/02/28    $148,764     $148,764      $98,720     $76,984

                                                                        Patient-Centered Outcomes Research Training in
                                      UNIVERSITY OF CALIFORNIA LOS      Urologic and Gynecologic Cancers (PCORT                                         Awarded. Non-fellowships
4,841 T32CA251072   5T32CA251072-05   ANGELES                           UroGynCan)                                              LITWIN, MARK S          only                        2020/09/01   2025/08/31   $1,651,201   $1,651,201   $1,037,273   $298,621

                                                                        Clostridioides difficile nucleobase scavenging in the
4,842 F31AI172352   5F31AI172352-02   VANDERBILT UNIVERSITY             competitive gut environment                           MUNNEKE, MATTHEW          Awarded. Fellowships only   2023/07/01   2025/06/30     $67,220      $67,220      $59,262     $34,250

                                      ICAHN SCHOOL OF MEDICINE AT       Defining a cross-primed anti-tumor T cell signature
4,843 F31CA275326   5F31CA275326-03   MOUNT SINAI                       to guide immunotherapy development                      LUBITZ, GABRIELLE       Awarded. Fellowships only   2022/07/11   2025/07/10    $138,620     $138,620     $138,620     $47,374

                                      BOSTON UNIVERSITY MEDICAL         Dynamic functional network connectivity and
4,844 F30DC021092   5F30DC021092-02   CAMPUS                            neuroplasticity in post-stroke aphasia                  FALCONER, ISAAC B       Awarded. Fellowships only   2023/08/18   2027/08/17    $106,668     $106,668      $38,945     $53,974

                                      UNIVERSITY OF CALIFORNIA, SAN     Defining the mechanisms by which NuMA drives
4,845 F31CA275394   5F31CA275394-02   FRANCISCO                         spindle mechanical robustness                           CHO, NATHAN             Awarded. Fellowships only   2023/12/01   2025/11/30     $88,504      $88,504      $61,422     $44,892

                                                                        Rho GTPase regulation in trophoblasts by c-Jun N-
4,846 F31HD111285   5F31HD111285-02   YALE UNIVERSITY                   terminalkinase signaling                                SONG, CLAIRE            Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $53,610     $48,974

                                                                   Mass General Brigham Interdisciplinary Clinical Pain                                 Awarded. Non-fellowships
4,847 T90NS138001   1T90NS138001-01   BRIGHAM AND WOMEN'S HOSPITAL Research Training Program                            EDWARDS, ROBERT R               only                        2024/08/15   2029/07/31    $351,097     $351,097      $17,512    $351,097

                                                                        Bridges to the Baccalaureate: Cumberland Bridge                                 Awarded. Non-fellowships
4,848 T34GM154618   1T34GM154618-01   ROWAN UNIVERSITY                  to Rowan                                                KRUFKA, ALISON          only                        2024/08/02   2029/07/31    $119,183     $119,183      $24,153    $119,183

                                                                        Transcriptomics compendia for the study of strain-
                                                                        level genetic diversity of the human skin
4,849 F32GM151856   5F32GM151856-02   JACKSON LABORATORY                microbiome                                              DOING, GEORGIA          Awarded. Fellowships only   2023/09/30   2026/09/29    $143,364     $143,364      $74,606     $74,284

                                      UNIVERSITY OF CALIFORNIA AT       Research to Advance Connected and Community                                     Awarded. Non-fellowships
4,850 T32NR021294   1T32NR021294-01   DAVIS                             Health Equity (ReACH Equity)                SIMMONS, LEIGH ANN                  only                        2024/07/01   2029/06/30    $192,844     $192,844      $66,950    $192,844

                                                                        Contributing Factors and Consequences of Cancer                                 Awarded. Non-fellowships
4,851 T32CA094880   5T32CA094880-22   UNIVERSITY OF WASHINGTON          Health Disparities                              PHIPPS, AMANDA IRENE            only                        2002/07/15   2028/08/31    $910,193     $910,193     $474,859    $506,977

                                      SALK INSTITUTE FOR BIOLOGICAL     Interrogating the Structural Basis of Nuclear           STRUTZENBERG, TIMOTHY
4,852 F32GM148049   5F32GM148049-03   STUDIES                           Receptor Activation on Chromatin                        SILAS                   Awarded. Fellowships only   2022/09/16   2025/09/15    $213,430     $213,430     $180,547     $76,756

                                      UNIVERSITY OF CALIFORNIA, SAN     Effects of age of acquisition and of community on
4,853 F31DC021625   5F31DC021625-02   DIEGO                             argument ordering                                       MILES, RACHEL ELIZABETH Awarded. Fellowships only   2023/09/30   2025/09/29     $81,852      $81,852      $62,619     $41,566

                                                                        Uncovering the Role of RNA Modifications in the
4,854 F31CA281173   5F31CA281173-02   YALE UNIVERSITY                   Paraspeckle                                             WILSON, LAUREN          Awarded. Fellowships only   2023/12/01   2025/11/30     $96,668      $96,668      $38,750     $48,974

                                      UNIVERSITY OF ALABAMA AT                                                                                          Awarded. Non-fellowships
4,855 T32CA229102   5T32CA229102-07   BIRMINGHAM                        Surgical Oncology Research Training Program             CHEN, HERBERT           only                        2018/07/16   2028/08/31   $1,021,134   $1,021,134    $394,336    $508,185

                                                                        Differentiation-focused CRISPR Screen identifies
                                                                        LSD1 and Menin as combination therapy targets           CARRERA RODRIGUEZ,
4,856 F31CA281117   5F31CA281117-02   UNIVERSITY OF PENNSYLVANIA        that induce terminal differentiation in AML             MARIA FERNANDA          Awarded. Fellowships only   2023/09/01   2025/08/31     $96,668      $96,668      $77,908     $48,974

                                      UNIVERSITY OF CALIFORNIA LOS      Frontocortical representations of amygdala-             ROMERO SOSA, JUAN
4,857 F31MH135698   5F31MH135698-02   ANGELES                           mediated learning under uncertainty                     LUIS                    Awarded. Fellowships only   2024/01/01   2025/12/31     $81,336      $81,336      $38,063     $41,308

                                                                        The Role of Ethnic Racial Discrimination on the
                                      UNIVERSITY OF CALIFORNIA          Development of Anxious Hypervigilance in Latina
4,858 F31MD018279   5F31MD018279-02   RIVERSIDE                         Youth                                                   MULLINS, JORDAN         Awarded. Fellowships only   2024/01/01   2025/12/31     $79,042      $79,042      $47,996     $39,637

                                                                      Multispecies aggregates from human dental
                                      STATE UNIVERSITY OF NEW YORK AT plaque nucleate highly diverse spatially structured
4,859 F31DE032913   5F31DE032913-02   ALBANY                          oral biofilms on saliva coated surfaces                   LEMUS, ALEX             Awarded. Fellowships only   2023/09/01   2026/08/31     $72,744      $72,744      $57,353     $37,019
                                                                       Mechanisms of neural compensation in the retina
                                      UNIVERSITY OF WISCONSIN-         and dysfunction in congenital stationary night      KHOUSSINE, JACOB
4,860 F30EY035128   5F30EY035128-02   MADISON                          blindness                                           OMAR                    Awarded. Fellowships only   2023/07/01   2026/06/30     $81,768      $81,768      $78,590     $40,706

                                                                   Immunologic Basis of Resistance and                                             Awarded. Non-fellowships
4,861 T32AI007306   2T32AI007306-39   BRIGHAM AND WOMEN'S HOSPITAL Hypersensitivity                                        BOYCE, JOSHUA A         only                        1985/07/01   2029/07/31    $617,929     $617,929     $333,567    $617,929

                                      TEMPLE UNIV OF THE               The Role of Acetyl-CoA Metabolism in Epigenetic     LAZAROPOULOS,
4,862 F30HL152564   5F30HL152564-05   COMMONWEALTH                     Regulation of Myofibroblast Differentiation         MICHAEL                 Awarded. Fellowships only   2020/09/01   2025/08/31    $203,969     $203,969     $162,421     $53,974

                                                                       Training in the Molecular Biology of                                        Awarded. Non-fellowships
4,863 T32AG000222   5T32AG000222-33   HARVARD MEDICAL SCHOOL           Neurodegeneration and Alzheimers Disease            YANKNER, BRUCE A        only                        1992/09/30   2027/08/31   $2,847,854   $2,847,854   $1,998,461   $945,105

                                      ALBERT EINSTEIN COLLEGE OF       The role of the amygdalohippocampal area in         SEDWICK, VICTORIA
4,864 F31HD102163   5F31HD102163-05   MEDICINE                         infant-directed aggression                          MARIE                   Awarded. Fellowships only   2020/09/01   2025/08/31    $234,976     $234,976     $207,320     $48,974

                                      UNIVERSITY OF ALABAMA AT         UAB Pre-Doctoral Training Program in Obesity-                               Awarded. Non-fellowships
4,865 T32HL105349   5T32HL105349-15   BIRMINGHAM                       Related Research                                    GOWER, BARBARA A        only                        2010/09/22   2025/07/31   $1,839,376   $1,839,376   $1,652,535   $277,375

                                                                                                                                                   Awarded. Non-fellowships
4,866 T32AG071745   5T32AG071745-04   GEORGETOWN UNIVERSITY            Aging and Alzheimers Research Training              REBECK, G WILLIAM       only                        2021/09/15   2026/08/31   $1,769,591   $1,769,591   $1,160,444   $532,797

                                                                   Dual targeting of cGAS-STING and splicing to prime
4,867 F32CA284615   5F32CA284615-02   BRIGHAM AND WOMEN'S HOSPITAL lung cancer immunogenicity                         GEDEON, PATRICK C            Awarded. Fellowships only   2023/07/17   2025/07/16    $159,984     $159,984      $67,850     $83,932

                                      UNIVERSITY OF TEXAS HLTH SCIENCE                                                     BOPASSA, JEAN           Awarded. Non-fellowships
4,868 T32HL007446   5T32HL007446-43   CENTER                           Pathobiology of Occlusive Vascular Disease          CHRISOSTOME             only                        1990/07/01   2027/08/31   $1,317,198   $1,317,198   $1,083,266   $541,186

                                                                       Preventing Age-Associated Oocyte Aneuploidy:
                                      UNIV OF NORTH CAROLINA           Mechanisms Behind the Drosophila melanogaster       PAZHAYAM, NILA
4,869 F31AG079626   5F31AG079626-03   CHAPEL HILL                      Centromere Effect                                   MADASSARY               Awarded. Fellowships only   2022/09/01   2025/08/31    $117,992     $117,992     $100,500     $40,721

                                                                       Comparing the role of MyD88 and TRIF in T-cell
                                                                       effector function and the development of heart
4,870 F30HL162200   5F30HL162200-03   TUFTS UNIVERSITY BOSTON          failure                                             BAYER, ABRAHAM          Awarded. Fellowships only   2022/09/01   2027/07/31    $130,658     $130,658     $120,353     $44,720

                                                                      The Case Medical Student Summer Research                                     Awarded. Non-fellowships
4,871 T35DK111373   5T35DK111373-09   CASE WESTERN RESERVE UNIVERSITY Program (MSSRP)                                      COMINELLI, FABIO        only                        2016/09/09   2026/08/31    $311,699     $311,699     $222,669     $89,030

                                      MASSACHUSETTS INSTITUTE OF       Peptide-Conjugated Palladium Oxidative Addition
4,872 F32GM150211   5F32GM150211-02   TECHNOLOGY                       Complexes for Site-Selective Arylation Chemistry    KUTATELADZE, DENNIS A   Awarded. Fellowships only   2023/08/01   2026/07/31    $143,364     $143,364     $110,200     $74,284

                                                                       Sexual dimorphism in antigen-independent
4,873 F31HL160109   5F31HL160109-03   UNIVERSITY OF VIRGINIA           angiogenesis inhibition of IgG1 antibodies          ARGYLE, DIONNE ALEXIS   Awarded. Fellowships only   2022/09/01   2025/08/31    $110,009     $110,009      $80,883     $37,837

                                                                                                                                                   Awarded. Non-fellowships
4,874 T32CA009531   5T32CA009531-38   WAYNE STATE UNIVERSITY           Training Program in the Biology of Cancer           MATHERLY, LARRY H       only                        1985/09/01   2027/08/31    $566,644     $566,644     $479,121    $204,976
4,875 F31CA284576   5F31CA284576-02   WAYNE STATE UNIVERSITY           ATF4-SCD axis in bone metastatic prostate cancer    WILSON, ALEXIS RYLEE    Awarded. Fellowships only   2023/09/01   2025/08/31     $91,788      $91,788      $62,755     $46,534

                                                                       Integrating spatial and non-spatial data to examine
                                                                       multilevel drivers of HIV risk among adolescent
4,876 F31HD111353   5F31HD111353-02   DREXEL UNIVERSITY                mothers in sub-Saharan Africa                       GEBREKRISTOS, LUWAM T   Awarded. Fellowships only   2023/06/01   2025/05/31     $74,268      $74,268      $65,223     $32,974

                                                                       Stanford Molecular Imaging Scholars (SMIS)                                  Awarded. Non-fellowships
4,877 T32CA118681   5T32CA118681-18   STANFORD UNIVERSITY              Program                                             LEVIN, CRAIG S          only                        2016/09/01   2027/08/31   $1,364,492   $1,364,492    $894,936    $584,648

                                      UNIVERSITY OF CALIFORNIA, SAN    Dissecting the role of GPR34 in cDC1 migration and
4,878 F30CA284515   5F30CA284515-02   FRANCISCO                        function                                           TAM, HANSON PETER        Awarded. Fellowships only   2023/09/01   2027/08/31     $81,125      $81,125      $65,992     $41,324

                                                                       Secondary Lymphoid Organ Resident Memory T
4,879 F31AI176750   5F31AI176750-02   UNIVERSITY OF MINNESOTA          cells                                               O'FLANAGAN, STEPHEN D Awarded. Fellowships only     2023/09/01   2025/08/31     $69,160      $69,160      $57,056     $35,327

                                                                   Bottom-up and top-down computational modeling
4,880 F30AI179084   5F30AI179084-02   MEDICAL COLLEGE OF WISCONSIN approaches to study CMV retinitis             MONTI, CHRISTOPHER E              Awarded. Fellowships only   2023/07/26   2027/07/25    $106,668     $106,668      $86,645     $53,974

                                                                       Probing an increased reliance on reticulospinal
                                      NORTHWESTERN UNIVERSITY AT       motor pathways in chronic hemiparetic stroke with   HEMMERLING, KIMBERLY
4,881 F31NS134222   5F31NS134222-02   CHICAGO                          advanced spinal cord functional MRI                 JIYUN                   Awarded. Fellowships only   2023/09/01   2026/02/28     $88,803      $88,803      $42,248     $45,336
                                        UNIVERSITY OF CALIFORNIA SANTA Identification and characterization of small open
4,882 F31AI179201   5F31AI179201-02     CRUZ                           reading frames translated during inflammation           MALEKOS, ERIC             Awarded. Fellowships only   2023/08/01   2026/07/31     $88,392      $88,392      $68,809     $44,836

                                        TEXAS A&M UNIVERSITY HEALTH      Sex differences in the effects of prior social isolation
4,883 F30NS131053   5F30NS131053-02     SCIENCE CTR                      stress on stroke outcomes                                ZARDENETA, MACY        Awarded. Fellowships only   2023/09/01   2028/08/31     $73,856      $73,856      $63,254     $37,568

                                                                         Investigating neuropeptide signals that slow
4,884 F31AG081095   5F31AG081095-02     BAYLOR COLLEGE OF MEDICINE       cognitive aging in C. elegans                         LEPTICH, EMILY JEAN       Awarded. Fellowships only   2023/08/07   2026/08/06     $96,668      $96,668      $70,485     $48,974

                                        UNIVERSITY OF MARYLAND           Mechanisms of cell adhesion molecule LRRTM2 in
4,885 F32MH130106   5F32MH130106-03     BALTIMORE                        basal and potentiated synaptic signaling              POLLITT, STEPHANIE LYNN   Awarded. Fellowships only   2022/09/01   2025/08/31    $218,266     $218,266     $173,826     $78,892

                                                                         Neighborhood-level Structural Racism and
                                                                         Cardiovascular Health Among African American
4,886 F32HL164050   5F32HL164050-03     NORTHWESTERN UNIVERSITY          Youth and Young Adults                                CHEN, MICHELLE A          Awarded. Fellowships only   2022/09/01   2025/08/31    $218,154     $218,154     $177,181     $77,284

                                        UNIVERSITY OF ILLINOIS AT        Peptide-Mediated Enhancement of Akt During            JUSTICE, CODY
4,887 F30HL165836   5F30HL165836-03     CHICAGO                          Resuscitation and Reperfusion                         NICHOLAS                  Awarded. Fellowships only   2022/09/30   2025/12/29    $158,420     $158,420     $108,844     $53,974

                                                                         Intraoperative Localization of Epileptic Brain Regions FIRESTONE, ETHAN
4,888 F30NS129239   5F30NS129239-02     WAYNE STATE UNIVERSITY           Under Sevoflurane Anesthesia.                          JOSEPH                   Awarded. Fellowships only   2023/07/10   2025/07/09    $101,366     $101,366      $64,547     $53,974

                                                                         Evaluating the role of monocytes in the
4,889 F32AI181619   1F32AI181619-01A1   UNIVERSITY OF ROCHESTER          development of an effective HIV vaccine response SIMPSON, RACHEL MARIE Awarded. Fellowships only            2024/07/01   2027/06/30     $85,864      $85,864      $65,299     $85,864

                                                                                                                                                         Awarded. Non-fellowships
4,890 T32CA009213   5T32CA009213-45     UNIVERSITY OF ARIZONA            Integrative Cancer Scholars Training Grant            CAREW, JENNIFER S         only                        1983/09/01   2025/08/31   $1,371,008   $1,371,008   $1,255,514   $287,821

                                                                         Informatics Resources for Social Determinants of
4,891 F31NR020856   5F31NR020856-02     VANDERBILT UNIVERSITY            Health in School-Based Health Centers                 BORKOWSKI, VERA           Awarded. Fellowships only   2023/09/08   2026/09/07     $84,321      $84,321      $53,761     $41,117

                                        UNIVERSITY OF CALIFORNIA, SAN    Intracellular pH Dynamics in Zebrafish Cranial Neural
4,892 F31DE032574   5F31DE032574-03     FRANCISCO                        Crest Development                                     CHOU-FREED, CAMBRIA       Awarded. Fellowships only   2022/09/05   2025/09/04    $135,760     $135,760     $122,818     $47,042

                                                                         Biobehavioral Cancer Prevention and Control                                     Awarded. Non-fellowships
4,893 T32CA092408   5T32CA092408-23     UNIVERSITY OF WASHINGTON         Training Program (BCPT)                               HANNON, MARGARET A        only                        2001/09/01   2027/08/31    $524,424     $524,424     $505,968    $151,238

                                        UNIVERSITY OF TEXAS MED BR                                                             DOWNER, BRIAN             Awarded. Non-fellowships
4,894 T32AG000270   5T32AG000270-24     GALVESTON                        Health of Older Minorities                            GREGORY                   only                        1999/08/01   2028/08/31    $431,655     $431,655     $188,638    $221,452

                                                                         Revealing the mechanisms of neural-mediated
4,895 F32HL170997   5F32HL170997-02     SWARTHMORE COLLEGE               cardiac proliferation in Ciona robusta                GRUNER, HANNAH            Awarded. Fellowships only   2023/09/01   2026/08/31    $159,984     $159,984     $121,674     $83,932

                                        UT SOUTHWESTERN MEDICAL          Lower Leg Heat Therapy in Older, Hypertensive
4,896 F32HL167556   5F32HL167556-02     CENTER                           Women to Improve Blood Pressure and Cognition         AKINS, JOHN DAVID         Awarded. Fellowships only   2023/09/11   2026/09/10    $146,256     $146,256     $106,258     $76,756

                                                                         AP-1 as a transcriptional regulator of AT2 cell
4,897 F31HL165914   5F31HL165914-03     BAYLOR COLLEGE OF MEDICINE       reversible activation during lung injury response     LYNCH, ANNE               Awarded. Fellowships only   2022/09/20   2025/09/19    $143,420     $143,420       $8,932     $48,974

                                        BOSTON UNIVERSITY (CHARLES       Examining Sleep, Circadian Rhythms, and Cognitive
4,898 F31AG081066   5F31AG081066-02     RIVER CAMPUS)                    Functioning in Older Adults at Risk of Dementia   MCDOWELL, CELINA F            Awarded. Fellowships only   2023/07/01   2027/06/30     $75,150      $75,150      $36,798     $38,352

                                        UNIVERSITY OF ILLINOIS AT        Short-Term Research Training Program in NIDDK                                   Awarded. Non-fellowships
4,899 T35DK131960   5T35DK131960-03     CHICAGO                          Mission Areas                                         LASH, JAMES P             only                        2022/09/01   2027/08/31    $227,844     $227,844     $142,365     $59,240

                                        UNIVERSITY OF CALIFORNIA LOS     Neural Basis of Inter-brain Synchrony during Social
4,900 F31MH134521   5F31MH134521-02     ANGELES                          Interaction in Health and Disease                     PHI, NGUYEN THANH         Awarded. Fellowships only   2023/09/30   2026/09/29     $83,868      $83,868      $67,572     $42,574

                                                                         Microtubule-mediated tRNA localization in cardiac     PETROSINO, JENNIFER
4,901 F32HL170583   5F32HL170583-02     UNIVERSITY OF PENNSYLVANIA       homeostasis and hypertrophy                           MORGAN                    Awarded. Fellowships only   2023/08/07   2025/08/06    $143,364     $143,364     $120,624     $74,284

                                                                         Elucidating transsynaptic regulation of
4,902 F32NS124758   5F32NS124758-03     UNIVERSITY OF FLORIDA            metabotropic glutamate receptors                      LUDLAM, WILLIAM GRANT Awarded. Fellowships only       2023/01/01   2025/12/31    $214,902     $214,902     $167,412     $74,284


                                                                         Neural and behavioral mechanisms of controllability
4,903 F32HD116572   1F32HD116572-01     PRINCETON UNIVERSITY             in infants and toddlers language development        ELMLINGER, STEVEN           Awarded. Fellowships only   2024/09/15   2027/03/31     $73,828      $73,828      $45,895     $73,828

                                                                         Cellular Interactions and Competition in Clonal
4,904 F30HL172468   1F30HL172468-01A1   BAYLOR COLLEGE OF MEDICINE       Hematopoiesis                                         THATAVARTY, APOORVA       Awarded. Fellowships only   2024/12/01   2026/11/30     $49,821      $49,821      $16,476     $49,821
                                                                        Developing a Novel Algorithm to Infer Cellular
                                        UNIVERSITY OF ILLINOIS AT       Trajectories from Single-Cell RNA Sequencing Data
4,905 F30HL176078   1F30HL176078-01     CHICAGO                         in Hematopoiesis                                      FARHAT, ALI MOHAMAD      Awarded. Fellowships only   2024/09/30   2028/09/29     $53,974      $53,974     $23,084    $53,974

                                                                        The roles of AP-1 pathway activation in NK cell
4,906 F30CA284896   5F30CA284896-02     OHIO STATE UNIVERSITY           development and exhaustion programming in AML JEREMY, ERIN G                   Awarded. Fellowships only   2023/09/01   2028/08/31     $85,294      $85,294     $53,082    $43,287

                                                                        Training Program in Chronobiology, Sleep and Sleep RAIZEN, DAVID               Awarded. Non-fellowships
4,907 T32HL170968   5T32HL170968-02     UNIVERSITY OF PENNSYLVANIA      Disorders                                          MENASSAH                    only                        2024/01/01   2028/12/31   $1,597,351   $1,597,351   $642,118   $828,283

                                                                        Wnt-driven adhesion and extracellular matrix          MENDOZA MENDOZA,
4,908 F31CA295013   1F31CA295013-01     BAYLOR COLLEGE OF MEDICINE      dynamics in breast cancer metastasis                  ERIKA                    Awarded. Fellowships only   2024/12/01   2026/11/30     $48,974      $48,974     $16,763    $48,974

                                                                        Multidimensional Features of Socioeconomic Status,
                                                                        Brain Age, and the Potential Mediating Role of
                                        UNIVERSITY OF PITTSBURGH AT     Cardiometabolic Health Among Mid and Late Life
4,909 F31AG090048   1F31AG090048-01     PITTSBURGH                      Adults                                             DRAKE, JERMON               Awarded. Fellowships only   2024/09/01   2026/08/31     $48,974      $48,974     $33,211    $48,974

                                                                        Molecular and functional characterization of type I CIANI, AMANDA
4,910 F31DC020060   5F31DC020060-02     UNIVERSITY OF WASHINGTON        and II vestibular hair cells in adult mice          NICHOLE                    Awarded. Fellowships only   2023/07/06   2025/06/30     $96,668      $96,668     $96,668    $48,974

                                                                        Evaluating pain communication and understanding
                                                                        in interpreted medical encounters in a pediatric
4,911 F32HD114452   5F32HD114452-02     UNIVERSITY OF CALIFORNIA-IRVINE emergency department                             LIM, PAULINA                  Awarded. Fellowships only   2024/02/01   2027/01/31    $156,236     $156,236     $85,324    $78,328

                                                                        Neurobiological markers of risk and resilience for
                                                                        psychopathology in youth at familial risk for mood
4,912 F31MH131246   5F31MH131246-03     YALE UNIVERSITY                 disorders                                             HOLT-GOSSELIN, BAILEY    Awarded. Fellowships only   2023/01/01   2025/12/31    $128,790     $128,790    $102,616    $33,984

                                        UNIVERSITY OF CONNECTICUT SCH The Molecular Role of C1QL3 and its Binding             CARO, KEAVEN DELWYN
4,913 F30MH135628   1F30MH135628-01A1   OF MED/DNT                    Partners in Synaptic Regulation                         JACOB                    Awarded. Fellowships only   2024/07/01   2026/06/30     $45,419      $45,419     $43,207    $45,419

                                        UNIVERSITY OF CALIFORNIA, SAN   Cardiometabolic disease and vascular aging:
4,914 F32HL176076   1F32HL176076-01     FRANCISCO                       Klotho regulation of medial arterial calcification    LIU, IRIS                Awarded. Fellowships only   2024/09/01   2026/08/31     $79,756      $79,756     $30,187    $79,756

                                        SLOAN-KETTERING INST CAN        Investigating the role of L-2-hydroxyglutarate in     MCNAMARA, THOMAS
4,915 F31AI181502   1F31AI181502-01A1   RESEARCH                        helper T cell differentiation and function            FRANCIS                  Awarded. Fellowships only   2024/08/05   2026/08/04     $48,974      $48,974      $9,194    $48,974

                                                                        Neural Correlates of Auditory, Visual, and
                                                                        Audiovisual Motion Perception in Macaque
4,916 F31EY035167   5F31EY035167-02     VANDERBILT UNIVERSITY           Extrastriate Cortex                                   SCHOENHAUT, ADRIANA      Awarded. Fellowships only   2023/09/30   2026/07/29     $67,310      $67,310     $49,336    $34,295

                                                                        Free-living and in-lab effects of sedentary time on
                                        UNIVERSITY OF SOUTHERN          cardiac autonomic nervous system function in
4,917 F31HL164032   5F31HL164032-03     CALIFORNIA                      youth with overweight/obesity                         MCALISTER, KELSEY LYNN   Awarded. Fellowships only   2023/01/01   2025/12/31    $142,342     $142,342     $59,988    $47,874

                                                                        RNA helicases to combat RNA phase transitions in
4,918 F32NS131218   5F32NS131218-02     UNIVERSITY OF PENNSYLVANIA      repeat expansion disorders                            MILLER, LINAMARIE        Awarded. Fellowships only   2023/12/01   2026/06/30    $137,764     $137,764     $95,832    $69,080

                                                                        Hedgehog Signaling Coordinates Stochastic and
4,919 F32EY034378   5F32EY034378-03     JOHNS HOPKINS UNIVERSITY        Stereotyped Patterns in the Drosophila Eye            ORDWAY, ALISON J         Awarded. Fellowships only   2023/01/01   2025/12/31    $218,214     $218,214    $131,196    $76,756

                                        UNIVERSITY OF MICHIGAN AT ANN   The Role of Neutrophil Heterogeneity and Molecular
4,920 F31NS139629   1F31NS139629-01     ARBOR                           Mechanisms in Driving ALS                          BAIRD, LILLIA               Awarded. Fellowships only   2024/07/01   2027/06/30     $43,051      $43,051     $39,547    $43,051

                                                                        Arterial Cell Reprogramming by Disturbed Flow and
4,921 F31HL176148   1F31HL176148-01     EMORY UNIVERSITY                Hypercholesterolemia                              PARK, CHRISTIAN              Awarded. Fellowships only   2024/09/30   2026/09/29     $48,974      $48,974     $25,331    $48,974

                                        UNIVERSITY OF MICHIGAN AT ANN                                                                                  Awarded. Non-fellowships
4,922 T32HL166113   5T32HL166113-03     ARBOR                           Surgeon Scientist Training in Cardiac Diseases        CHEN, YUQING EUGENE      only                        2023/01/01   2027/12/31    $986,774     $986,774    $500,479   $391,201

                                        TEMPLE UNIV OF THE              Neural Mechanisms Promoting Biased Social             JOHNSTON, CAMILLE
4,923 F31HD113512   5F31HD113512-02     COMMONWEALTH                    Memories in Intergenerational Childhood Abuse         ROSE                     Awarded. Fellowships only   2023/11/01   2025/10/31     $68,082      $68,082     $45,318    $34,681

                                        UNIVERSITY OF PITTSBURGH AT     Investigating Cellular Neighborhoods and Tissue
4,924 F31AG090079   1F31AG090079-01     PITTSBURGH                      Architecture in White Matter Hyperintensities         JULIAN, DANA             Awarded. Fellowships only   2024/08/01   2026/07/31     $48,974      $48,974     $21,574    $48,974

                                                                                                                                                       Awarded. Non-fellowships
4,925 T32HL170991   5T32HL170991-02     BAYLOR COLLEGE OF MEDICINE      BCM-Respiratory Research Training                     KHERADMAND, FARRAH       only                        2024/01/01   2028/12/31    $598,193     $598,193    $203,639   $301,857
                                        RUTGERS BIOMEDICAL AND HEALTH Uteroplacental Vasculature and Fetal Growth after
4,926 F31ES035256   5F31ES035256-02     SCIENCES                      Plastic Particle Exposure                               CARY, CHELSEA         Awarded. Fellowships only   2023/09/01   2025/12/31    $87,094    $87,094    $52,173   $44,187

                                                                        Utilizing Causal X-Linked Intellectual Disability
                                                                        Variants to Gain Insight into the O-GlcNAc            MAYFIELD, JOHNATHAN
4,927 F31HD108843   5F31HD108843-03     UNIVERSITY OF GEORGIA           Transferase Enzyme                                    MARTIN                Awarded. Fellowships only   2023/01/01   2025/12/31   $144,700   $144,700   $102,349   $48,974

                                        UNIVERSITY OF PITTSBURGH AT     Impacts of the Pennsylvania Rural Health Model on     BOURNE, DONALD
4,928 F30MD019191   5F30MD019191-02     PITTSBURGH                      Health Care Access and Utilization                    SPENCER               Awarded. Fellowships only   2023/11/01   2025/10/31   $106,668   $106,668    $80,480   $53,974

                                                                        Associations of GLP-1-related genotypes with
                                                                        appetitive traits, food cue reactivity, and
4,929 F30DK138711   1F30DK138711-01A1   DARTMOUTH COLLEGE               prospective weight gain in pre-adolescence            RENIER, TIMOTHY J     Awarded. Fellowships only   2024/09/01   2028/08/31    $53,774    $53,774    $20,026   $53,774

                                        CALIFORNIA INSTITUTE OF         Coordination of gene expression and molecular
4,930 F30GM156092   1F30GM156092-01     TECHNOLOGY                      function in known pathways                            MARKARIAN, NICHOLAS   Awarded. Fellowships only   2025/02/15   2028/02/14    $53,974    $53,974     $4,704   $53,974

                                                                        Exploring the Biophysical Landscape of Tip Density
                                                                        Biomolecular Condensates in Mechanosensory
4,931 F31DC021881   5F31DC021881-02     UNIVERSITY OF FLORIDA           Stereocilia                                           MORELAND, ZANE G      Awarded. Fellowships only   2024/01/05   2026/12/31    $86,764    $86,764    $54,571   $43,382

                                                                        Deciphering inv3/t(3;3) Myeloid Leukemia
                                        UNIVERSITY OF CALIFORNIA LOS    Vulnerabilities via Proteogenomics and N-terminal     TURMON, ALEXANDRA
4,932 F31CA295026   1F31CA295026-01     ANGELES                         Proteomics                                            CHLOE                 Awarded. Fellowships only   2024/08/01   2027/07/31    $44,731    $44,731    $32,252   $44,731

                                                                        Brain microenviornment-dependent lineage
                                        UNIVERSITY OF CALIFORNIA LOS    plasticity drives adaptation to targeted therapy in
4,933 F30CA295084   1F30CA295084-01     ANGELES                         malignant gliomas                                     CADET, DIMITRI        Awarded. Fellowships only   2024/07/01   2028/06/30    $41,328    $41,328    $34,272   $41,328

                                                                       A Daily Assessment of Restricted Food Consumption
                                                                       and Alcohol Intoxication as Predictors of Sexual  BAILDON, AMANDA
4,934 F31AA031626   1F31AA031626-01A1   UNIVERSITY OF NEBRASKA LINCOLN Violence                                          ELIZABETH                  Awarded. Fellowships only   2025/01/01   2026/07/01    $48,974    $48,974    $14,459   $48,974

                                        UNIV OF NORTH CAROLINA          Mechanism of Intracellular ANGPTL3 and ANGPTL8
4,935 F31HL176142   1F31HL176142-01     CHAPEL HILL                     Trafficking                                           SO, CHRISTINA         Awarded. Fellowships only   2024/09/30   2026/09/29    $40,064    $40,064    $23,883   $40,064


                                                                        Identifying the Role of Fibroblast-Macrophage
4,936 F32HL176073   1F32HL176073-01     UNIVERSITY OF COLORADO          Crosstalk in Aortic Valve Stenosis Sexual Dimorphism KHANG, ALEX            Awarded. Fellowships only   2024/08/01   2025/07/31    $74,284    $74,284    $46,710   $74,284

                                                                        Exploring Work Accommodations for Low-Wage
                                                                        Workers with Chronic Pain-Related Conditions: A
                                        UNIV OF NORTH CAROLINA          Multi-Level Explanatory Sequential Mixed-Methods
4,937 F31NR021349   1F31NR021349-01     CHAPEL HILL                     Study                                                 MCARTHUR, RANDI       Awarded. Fellowships only   2024/08/15   2026/08/14    $37,461    $37,461    $25,655   $37,461

                                                                        Psychosocial Predictors of Health Behaviors and
                                                                        Outcomes in Patients with Human Papillomavirus        FENECH, ALYSSA
4,938 F31DE034754   1F31DE034754-01A1   UNIVERSITY OF DELAWARE          (HPV) Positive Head and Neck Cancer                   LORRAINE              Awarded. Fellowships only   2024/09/01   2026/08/31    $46,459    $46,459     $3,366   $46,459

                                                                        Development and characterization of germline-
                                                                        targeted nanoparticle immunogens toward a novel
4,939 F30AI176917   5F30AI176917-02     STANFORD UNIVERSITY             HIV Env epitope                                 CARTER, JOSH                Awarded. Fellowships only   2024/01/16   2027/01/15    $89,724    $89,724    $53,574   $44,862

                                                                        Plasticity of Layer 6 corticothalamic pyramidal cell
                                                                        circuits in the adult primary auditory cortex following COLLINS, ANTHONY
4,940 F31DC022195   1F31DC022195-01     JOHNS HOPKINS UNIVERSITY        visual deprivation                                      TYRONE              Awarded. Fellowships only   2025/01/01   2027/12/31    $48,974    $48,974     $9,408   $48,974

                                                                        Using a novel model system to explore the causes
                                                                        and consequences of altered sleep need during
4,941 F31HL170921   1F31HL170921-01A1   HARVARD UNIVERSITY              pregnancy                                             GLANTZ, ETHAN         Awarded. Fellowships only   2024/12/01   2026/11/30    $36,138    $36,138    $15,443   $36,138

                                                                        Quantitative magnetic resonance imaging for non-
                                                                        invasive breast cancer therapy using physics-
4,942 F31CA288055   1F31CA288055-01A1   UNIVERSITY OF UTAH              informed neural networks.                        ADAMS, SAMUEL IAN          Awarded. Fellowships only   2024/08/01   2026/07/31    $40,857    $40,857    $21,272   $40,857
                                                                         Evolution of B Lymphocyte Insulin Autoantigen
4,943 F31DK141224   1F31DK141224-01     VANDERBILT UNIVERSITY            Recognition in Type 1 Diabetes                       BASS, LINDSAY EMMA     Awarded. Fellowships only   2024/09/01   2027/08/31     $34,295      $34,295      $21,670     $34,295

                                        UNIV OF MASSACHUSETTS MED SCH CardiOvascular Digital hEalth Research (CODER)                                 Awarded. Non-fellowships
4,944 T32HL171799   5T32HL171799-02     WORCESTER                     Training Program                                        MCMANUS, DAVID D       only                        2024/01/01   2028/12/31    $501,917     $501,917      $88,570    $303,286

                                                                         Influences of Stigma and Social Support on
                                                                         Cognitive Function Among Older Women Living with
4,945 F31AG086073   1F31AG086073-01A1   YALE UNIVERSITY                  Human Immunodeficiency Virus                     VU, THI                    Awarded. Fellowships only   2024/08/01   2026/07/31     $48,974      $48,974      $30,976     $48,974

                                                                         The Role of Lymphatic Endothelial Cell- Expressed
                                        UNIVERSITY OF OKLAHOMA HLTH      Sphingosine-1-Phosphate Receptor 1 on Immune
4,946 F30HL176087   1F30HL176087-01     SCIENCES CTR                     Cell Trafficking and Response to Influenza Virus     LABOMBARDE, JOCELYN    Awarded. Fellowships only   2024/09/03   2028/09/02     $46,051      $46,051      $17,084     $46,051

                                                                         Engineering Focused Ultrasound-Mediated Gene
4,947 F31CA295067   1F31CA295067-01     UNIVERSITY OF VIRGINIA           Delivery Platforms for Glioblastoma                  DEBSKI, ANNA COLLEEN   Awarded. Fellowships only   2024/07/01   2026/06/30     $40,769      $40,769      $33,288     $40,769

                                                                         Stressful life events confer risk for chronic
                                        UNIV OF NORTH CAROLINA           posttraumatic musculoskeletal pain through DNA
4,948 F31AR083833   1F31AR083833-01A1   CHAPEL HILL                      methylation changes at the POMC promoter             BRANHAM, ERICA MARIE   Awarded. Fellowships only   2024/12/01   2026/11/30     $40,418      $40,418      $18,390     $40,418

                                        UNIV OF NORTH CAROLINA           Understanding the Genetic Contributions to
4,949 F31HL176167   1F31HL176167-01     CHAPEL HILL                      Variation in Ozone Exposure Response                 LESTER, SARAH ANN      Awarded. Fellowships only   2024/09/01   2027/08/31     $40,064      $40,064      $28,152     $40,064

                                        UNIVERSITY OF SOUTHERN           Understanding the Role of Ulp1 as a clock for
4,950 F31ES036878   1F31ES036878-01     CALIFORNIA                       heterochromatin repair                               BUTOVA, NADEJDA        Awarded. Fellowships only   2024/08/05   2027/08/04     $45,171      $45,171      $30,584     $45,171

                                                                         Defining the link between trisomy 21 and
4,951 F32HD116568   1F32HD116568-01     UNIVERSITY OF COLORADO           placentation defects                                 LOGSDON, DEIRDRE       Awarded. Fellowships only   2024/12/01   2027/11/30     $76,408      $76,408      $20,636     $76,408

                                                                         Elucidating roles of microglial lipid droplets in
4,952 F30AG081100   5F30AG081100-03     WASHINGTON UNIVERSITY            neurodegeneration                                    TABOR, GEORGE TRAVIS   Awarded. Fellowships only   2023/01/01   2025/12/31    $122,546     $122,546      $77,993     $53,974

                                                                      A single prime editing strategy for correcting diverse
                                        UNIV OF MASSACHUSETTS MED SCH mutations responsible for RBM20-associated dilated
4,953 F31HL176178   1F31HL176178-01     WORCESTER                     cardiomyopathy                                         GASTON, NICHOLAS        Awarded. Fellowships only   2024/09/01   2027/08/31     $33,806      $33,806      $18,818     $33,806

                                                                         Within-person compositional analysis of 24-Hour
                                        UNIVERSITY OF SOUTHERN           Activity Cycle behaviors and circadian metrics
4,954 F31HL176165   1F31HL176165-01     CALIFORNIA                       related to cardiovascular disease.                   LYONS, RACHEL CROSLEY Awarded. Fellowships only    2024/09/05   2027/09/04     $48,974      $48,974      $43,622     $48,974

                                        NEW YORK UNIVERSITY SCHOOL OF                                                                                Awarded. Non-fellowships
4,955 TL1TR001447   5TL1TR001447-10     MEDICINE                      NRSA Training Core                                      MICOLI, KEITH J        only                        2015/08/18   2025/12/31   $3,139,971   $3,139,971   $2,636,584   $748,376

                                                                         Elucidating mechanisms of cellular communication
                                        BOSTON UNIVERSITY (CHARLES       critical for head and neck cancer progression and
4,956 F31DE033292   5F31DE033292-02     RIVER CAMPUS)                    metastasis.                                       KROEHLING, LINA           Awarded. Fellowships only   2023/11/01   2026/10/31     $85,468      $85,468      $36,571     $43,374

                                        UNIVERSITY OF KANSAS MEDICAL     The Effect of Alcohol and High Fat Diet on Kupffer
4,957 F32AA031430   5F32AA031430-02     CENTER                           Cell Function                                        YUQUIMPO, KYLE         Awarded. Fellowships only   2024/02/25   2027/02/24    $153,948     $153,948      $74,492     $79,456

                                        MEDICAL UNIVERSITY OF SOUTH      Optimizing Ice-free Cryopreservation for Efficient
4,958 F30DE033914   1F30DE033914-01A1   CAROLINA                         Banking of Fresh TMJ Disc Allografts                 MUELLER, DUSTIN        Awarded. Fellowships only   2025/01/31   2026/01/30     $57,774      $57,774      $13,554     $57,774


                                        ICAHN SCHOOL OF MEDICINE AT      Artificial Intelligence for Determining Genetic Risk of
4,959 F30HL176177   1F30HL176177-01     MOUNT SINAI                      Sudden Cardiac Arrest using the Electrocardiogram JIANG, JOY                Awarded. Fellowships only   2024/09/30   2027/09/29     $49,474      $49,474           $0     $49,474

                                                                         Development of affinity-based delivery systems for
4,960 F31HL176164   1F31HL176164-01     UNIVERSITY OF OREGON             angiogenic growth factors                            SVENDSEN, JUSTIN E     Awarded. Fellowships only   2024/08/20   2027/08/19     $48,366      $48,366      $20,641     $48,366

                                                                         Optimized bone marrow conditioning and
                                                                         tolerance assays to advance cell-based therapies     RAMOS, STEPHAN
4,961 F32DK141209   1F32DK141209-01     STANFORD UNIVERSITY              for diabetes                                         ANTHONY                Awarded. Fellowships only   2024/08/01   2026/07/31     $74,284      $74,284      $51,676     $74,284

                                        COLUMBIA UNIVERSITY HEALTH       Leveraging CRISPR RNA-guided DNA Transposases
4,962 F31HL167530   5F31HL167530-03     SCIENCES                         for Gene Insertion at the CFTR Locus                 KING, REBECA TERESA    Awarded. Fellowships only   2023/02/01   2027/01/31    $152,586     $152,586      $95,903     $53,974
                                        CINCINNATI CHILDRENS HOSP MED                                                                                    Awarded. Non-fellowships
4,963 T32AI165396   5T32AI165396-04     CTR                           Vaccinology Training Program                                SPEARMAN, PAUL W       only                        2022/02/09   2027/01/31   $1,069,939   $1,069,939   $551,158   $252,313

                                        UNIVERSITY OF CALIFORNIA, SAN      Computational and neural signatures of                 BROWN, CARINA
4,964 F31MH133362   5F31MH133362-02     DIEGO                              interoceptive learning in anorexia nervosa             SAMANTHA               Awarded. Fellowships only   2024/01/01   2026/12/31     $82,110      $82,110     $53,899    $41,695

                                                                           Determining the cellular and nanoscale localization
4,965 F30NS130973   5F30NS130973-03     THOMAS JEFFERSON UNIVERSITY        of Synaptotagmin VII                                CAIN, RACHEL              Awarded. Fellowships only   2022/12/05   2026/07/31    $153,192     $153,192     $95,466    $53,974

                                        CLEVELAND CLINIC LERNER COM-       A Hyper-Thrombotic State and Immunosuppression         SLOAN, ANTHONY
4,966 F32CA287655   1F32CA287655-01A1   CWRU                               in GBM                                                 ROBERT                 Awarded. Fellowships only   2024/12/01   2027/11/30     $75,928      $75,928     $20,561    $75,928

                                                                           Biophysical characterization of the human force-       SINDONI, MICHAEL
4,967 F31NS139449   1F31NS139449-01     DUKE UNIVERSITY                    gated ion channel Piezo2                               JAMES                  Awarded. Fellowships only   2024/08/01   2026/07/31     $41,828      $41,828     $31,216    $41,828

                                                                        Defining the function of a novel insulin-like growth
                                                                        factor binding protein in CNS development and
4,968 F31NS139448   1F31NS139448-01     CASE WESTERN RESERVE UNIVERSITY function                                                  RYDBOM, JERRIK         Awarded. Fellowships only   2024/08/01   2027/07/31     $42,746      $42,746     $31,118    $42,746


                                                                           Development and application of whole-body
                                                                           patient-specific computational mesh phantoms for
                                                                           organ dosimetry and second primary cancer risk
                                                                           quantification following external beam                 DAWSON, ROBERT
4,969 F31CA288051   1F31CA288051-01A1   UNIVERSITY OF FLORIDA              radiotherapy                                           JOSEPH                 Awarded. Fellowships only   2024/08/16   2027/08/15     $43,902      $43,902     $28,790    $43,902

                                        UNIVERSITY OF CALIFORNIA AT        Mechanisms of Microbial Competition During             RADLINSKI, LAUREN
4,970 F32AI169649   5F32AI169649-03     DAVIS                              Salmonella Infection                                   CHRISTINE              Awarded. Fellowships only   2022/12/01   2025/11/30    $225,148     $225,148    $173,907    $78,892

                                        UNIV OF NORTH CAROLINA             The Role of UBE3A Isoforms in AS-associated Seizure
4,971 F31NS139445   1F31NS139445-01     CHAPEL HILL                        Susceptibility                                         KRZESKI, JOSEPH        Awarded. Fellowships only   2024/08/01   2027/07/31     $40,064      $40,064     $31,444    $40,064

                                                                      Dissecting the Functional Consequences of
                                                                      Mutations in ZFP36L2 on Tumor Progression and
                                        WEILL MEDICAL COLL OF CORNELL Inflammation in the Tumor Immune
4,972 F30CA288018   1F30CA288018-01A1   UNIV                          Microenvironment of Colorectal Cancer                       LUCKETT, KATHLEEN      Awarded. Fellowships only   2024/07/01   2028/06/30     $53,974      $53,974     $46,920    $53,974

                                        UNIVERSITY OF NEBRASKA MEDICAL
4,973 F31HL172634   1F31HL172634-01A1   CENTER                         Defining Mechanisms of SAMD1 in Hematopoiesis              SCHAEFER, MEG          Awarded. Fellowships only   2024/07/10   2026/07/09     $38,549      $38,549     $21,848    $38,549

                                                                           Development of Tunable Microenvironment-
                                                                           Responsive CAR T Cells Using Synthetic Gene            SCHREIBER, YANNICK
4,974 F30CA275362   1F30CA275362-01A1   NORTHWESTERN UNIVERSITY            Circuits to Enhance Potency and Safety                 RENE                   Awarded. Fellowships only   2024/09/01   2026/08/31     $53,974      $53,974     $28,238    $53,974

                                                                           Investigating the interactions of auxillary subunits   WOODBURY, LUCY
4,975 F31HL164080   5F31HL164080-02     WASHINGTON UNIVERSITY              with the Nav1.5 channel                                SUMMER                 Awarded. Fellowships only   2023/09/01   2026/08/31     $96,668      $96,668     $56,645    $48,974

                                                                           Incorporating Youth Voices in Community-Based
                                                                           Intervention Development to Improve Diet Quality
4,976 F32HL168806   5F32HL168806-02     RHODE ISLAND HOSPITAL              and Physical Activity                                  DURKIN, KRISTINE       Awarded. Fellowships only   2023/09/30   2025/08/31    $148,764     $148,764     $99,236    $76,984

                                                                           Distinguishing Phenotypes of Pulmonary
                                                                           Hypertension in Patients with Connective Tissue
4,977 F32HL170482   5F32HL170482-02     JOHNS HOPKINS UNIVERSITY           Disease-related Interstitial Lung Disease              KHAN, SARAH            Awarded. Fellowships only   2023/09/01   2025/06/30    $184,568     $184,568    $136,346    $90,140

                                                                           An Integrated Model of Contextual Safety, Social
                                                                           Safety, and Social Vigilance as Psychosocial
4,978 F31HL170513   5F31HL170513-02     UNIVERSITY OF ARIZONA              Contributors to Cardiovascular Disease                 O'NEILL, RILEY MARIA   Awarded. Fellowships only   2024/01/24   2026/01/23     $96,668      $96,668     $64,726    $48,974

                                                                           Determining the function of Trp-positive trigeminal
                                        UNIVERSITY OF MICHIGAN AT ANN      sensory neurons innervating the submandibular          CANNIZZARO, DEANNA
4,979 F31DE034282   1F31DE034282-01     ARBOR                              salivary glands                                        NICOLE                 Awarded. Fellowships only   2024/07/17   2028/06/16     $43,094      $43,094     $40,076    $43,094

                                        CINCINNATI CHILDRENS HOSP MED Determining the regulatory role of microprotein ALN
4,980 F30HL172585   1F30HL172585-01A1   CTR                           on SERCA2a and heart contractility                  HASSEL, KEIRA                  Awarded. Fellowships only   2024/08/28   2026/08/27     $41,915      $41,915     $16,411    $41,915
                                                                        Comparative analysis of M-CSF and GM-CSF in
                                                                        human monocyte metabolic reprogramming and
                                                                        differentiation into tumor-associated macrophage-
4,981 F30CA294601   1F30CA294601-01     JOHNS HOPKINS UNIVERSITY        like cells                                        XU, LILLIAN                   Awarded. Fellowships only   2024/09/01   2027/08/31    $53,974    $53,974    $41,568   $53,974

                                                                        Identifying Multimodal Predictors of Response to
4,982 F31MH138062   1F31MH138062-01     YALE UNIVERSITY                 Parent-Based Treatment for Pediatric Anxiety          KITT, ELIZABETH RACHAEL   Awarded. Fellowships only   2024/09/01   2026/08/31    $48,974    $48,974    $19,305   $48,974

                                                                        Impact of fentanyl dependence on a parabrachio-
4,983 F31DA057795   5F31DA057795-03     UNIVERSITY OF PENNSYLVANIA      amygdalar opioid circuit                        WOOLDRIDGE, LISA                Awarded. Fellowships only   2023/01/01   2026/12/31   $133,404   $133,404   $109,622   $36,736

                                        UNIVERSITY OF MICHIGAN AT ANN   Interrogating sub-epithelial cell heterogeneity in the
4,984 F32DK138694   5F32DK138694-02     ARBOR                           developing human intestinal stem cell niche            JOHNSON, KELLI           Awarded. Fellowships only   2023/12/01   2026/11/30   $151,040   $151,040    $99,099   $76,756

                                                                        Self-assembling cardiac organoids to model
                                                                        myovascular interactions in human cardiac tissue      PARKER, LAUREN
4,985 F30HL175908   1F30HL175908-01     DUKE UNIVERSITY                 regeneration                                          ELIZABETH                 Awarded. Fellowships only   2024/09/30   2027/09/29    $53,974    $53,974    $21,214   $53,974

                                                                        Cellular and Molecular Mechanisms of Neurotoxicity
                                                                        and Cognitive Deficits Due to Hyperphosphorylated
4,986 F32AG089892   1F32AG089892-01     UNIVERSITY OF VIRGINIA          Tau                                                PHAN, DUY                    Awarded. Fellowships only   2024/09/01   2026/08/31    $73,828    $73,828    $34,398   $73,828

                                        UNIVERSITY OF MICHIGAN AT ANN   A Computational Analysis of Hemodynamics in
4,987 F32HL176189   1F32HL176189-01     ARBOR                           Patients with Renal Artery Fibromuscular Dysplasia    DELBONO, LUCIANO          Awarded. Fellowships only   2024/09/01   2026/08/31    $81,256    $81,256    $41,945   $81,256

                                                                        Womens empowerment as a result of ECOLECTIVOS
4,988 F31ES036126   1F31ES036126-01A1   EMORY UNIVERSITY                (WERE)                                        RAHEEL, HINA                      Awarded. Fellowships only   2024/09/01   2026/08/31    $51,974    $51,974    $31,360   $51,974

                                                                     Characterizing retinal function using AOSLO based
4,989 F31EY036692   1F31EY036692-01     MEDICAL COLLEGE OF WISCONSIN psychophysics and optoretinography                       GAFFNEY, MINA M           Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $36,989   $48,974

                                                                        The role of pleural mesothelium in lung injury, repair,
4,990 F32HL175907   1F32HL175907-01     MAYO CLINIC ROCHESTER           and regeneration                                        GILBERT, RACHEL         Awarded. Fellowships only   2024/07/01   2027/06/30    $74,284    $74,284    $44,889   $74,284

                                        OREGON HEALTH & SCIENCE         Characterizing the Unique Biophysical Properties of
4,991 F32EY035907   1F32EY035907-01A1   UNIVERSITY                      the CBC2 OFF Cone Bipolar Cell                        WAKEHAM, COLIN M          Awarded. Fellowships only   2024/07/01   2027/06/30    $74,284    $74,284    $60,430   $74,284

                                        TEXAS A&M UNIVERSITY HEALTH     Genetic Modeling the Integration of Biological Sex,
4,992 F31AI186487   1F31AI186487-01     SCIENCE CTR                     Immunity, and Metabolism                              AUGUST, HEATHER           Awarded. Fellowships only   2024/09/01   2025/08/31    $37,652    $37,652    $27,015   $37,652

                                                                        Psychosocial Factors Associated with Parental Self-   HENDERSON, MARCUS
4,993 F31MH135556   1F31MH135556-01A1   JOHNS HOPKINS UNIVERSITY        Efficacy in Adolescent Suicide Prevention             DARNELL                   Awarded. Fellowships only   2024/08/01   2027/07/31    $51,974    $51,974    $40,620   $51,974

                                                                        Interpersonal variation in microbiome structure
                                        UNIVERSITY OF CALIFORNIA        modulates inter-individual immune responses to
4,994 F31AI179030   5F31AI179030-02     RIVERSIDE                       Vibrio cholerae                                       DO, ELYZA AMBER           Awarded. Fellowships only   2023/12/26   2026/12/25    $73,164    $73,164    $46,801   $32,974

                                        NORTHWESTERN UNIVERSITY AT      Alpha-catenin phosphorylation is mechanosensitive
4,995 F30EY036267   1F30EY036267-01A1   CHICAGO                         and required for epithelial barrier structure-function QUINN, JEANNE MARIE      Awarded. Fellowships only   2024/09/01   2026/08/31    $41,384    $41,384    $18,316   $41,384

                                                                        Metatranslatomics enables functional profiling of
                                        UNIVERSITY OF CALIFORNIA, SAN   microbial competition in the Salmonella-perturbed
4,996 F31AI186410   1F31AI186410-01     DIEGO                           gut                                                   NORTON, GRANT J           Awarded. Fellowships only   2024/07/17   2025/07/16    $42,032    $42,032    $36,493   $42,032

                                                                        Causal Mechanisms of Novel Gut-Hormone Agonists
4,997 F32HL176111   1F32HL176111-01     STANFORD UNIVERSITY             on Cardiovascular Health                        JUGUILON, CODY                  Awarded. Fellowships only   2024/08/03   2026/01/02    $74,284    $74,284    $48,831   $74,284

                                                                        Investigating the Mechanical Properties of            ZAREIESFANDABADI,
4,998 F31HD114438   1F31HD114438-01A1   DUKE UNIVERSITY                 Vertebrate Notochord in Zebrafish                     PARSA                     Awarded. Fellowships only   2024/09/01   2027/08/31    $42,002    $42,002    $32,307   $42,002

                                                                        Dopaminergic regulation of aversion-motivated
4,999 F31DA058523   5F31DA058523-02     MARQUETTE UNIVERSITY            behaviors                                             GRAFELMAN, ELAINE         Awarded. Fellowships only   2023/08/28   2026/08/27    $65,685    $65,685    $44,943   $33,094

                                        UNIVERSITY OF MICHIGAN AT ANN   Role of hypoxia in fibroblast reprogramming in
5,000 F31CA284520   5F31CA284520-02     ARBOR                           pancreatic cancer                                     NGODUP, TENZIN            Awarded. Fellowships only   2023/09/01   2026/08/31    $82,908    $82,908    $75,446   $42,094

                                                                        Structural and functional integrity of antigen
5,001 F31AI186232   1F31AI186232-01     HARVARD MEDICAL SCHOOL          receptors                                             CHEN, JESSICA WT          Awarded. Fellowships only   2024/09/01   2027/08/31    $43,456    $43,456    $26,432   $43,456
                                                                        The impact of TLR signaling on osteoclast-mediated
5,002 F31AR084868   1F31AR084868-01     UNIVERSITY OF PENNSYLVANIA      bone remodeling and inflammation in osteoarthritis. MURPHY, LANCE AVERY         Awarded. Fellowships only   2024/08/01   2027/07/31    $48,974    $48,974    $39,678   $48,974
5,003 F30HL165813   5F30HL165813-02     UNIVERSITY OF LOUISVILLE        Fibroblast TAK1 signaling in cardiac fibrosis           NGUYEN, DANIEL          Awarded. Fellowships only   2023/09/30   2026/12/30    $88,458    $88,458    $50,275   $53,974

                                                                        Dissecting the functions of muscarinic receptor
                                        MASSACHUSETTS GENERAL           subtypes in the airway epithelium for asthmatic
5,004 F32HL176201   1F32HL176201-01     HOSPITAL                        allergen uptake, inflammation, and remodeling           ZWICK, STEVEN MICHAEL   Awarded. Fellowships only   2024/12/01   2027/11/30    $76,984    $76,984    $26,339   $76,984

                                                                        Role of brain oscillations in midbrain and forebrain
                                        ALBERT EINSTEIN COLLEGE OF      networks supporting stimulus selection in the sound
5,005 F30DC020109   5F30DC020109-04     MEDICINE                        localization pathway of barn owls                       BAE, ANDREA J           Awarded. Fellowships only   2022/01/01   2025/12/31   $211,678   $211,678   $178,099   $53,974

                                                                        Mast cell regulation of food allergen induced           BACHTEL, NATHANIEL
5,006 F30AI174787   5F30AI174787-03     YALE UNIVERSITY                 malaise through GDF15-GFRAL signaling                   DALE                    Awarded. Fellowships only   2023/01/01   2025/12/31   $120,478   $120,478    $91,946   $53,974

                                        UNIVERSITY OF NEW MEXICO        Bacteriophage virus-like particle based vaccines
5,007 F31DA059236   5F31DA059236-02     HEALTH SCIS CTR                 against oxycodone                                       ROMANO, ISABELLA        Awarded. Fellowships only   2023/09/01   2026/07/31    $75,468    $75,468    $52,153   $38,374

                                        UNIV OF MASSACHUSETTS MED SCH Investigating the Role of MS4As in Amyotrophic
5,008 F31NS134324   5F31NS134324-02     WORCESTER                     Lateral Sclerosis                                         HILLER, ABIGAIL JEAN    Awarded. Fellowships only   2023/09/01   2026/08/31    $71,060    $71,060    $54,076   $36,080

                                                                        Acetate as a Mediator of Hematopoietic Stem Cell
5,009 F31HL164097   5F31HL164097-03     BAYLOR COLLEGE OF MEDICINE      Inflammatory Response and Clonal Hematopoiesis TIESSEN, JONATHAN                Awarded. Fellowships only   2022/12/01   2025/11/30   $144,700   $144,700    $94,404   $48,974

                                                                        Investigating Type 2 Diabetic Vaginal Microbiota        ROBERTSON, CLARE
5,010 F31DK138748   1F31DK138748-01A1   BAYLOR COLLEGE OF MEDICINE      and Susceptibility to a Urogenital Pathogen             MARIE                   Awarded. Fellowships only   2024/06/07   2027/06/06    $48,974    $48,974    $43,865   $48,974

                                                                        Activation of the anti-phage defense DarTG by
5,011 F32AI186521   1F32AI186521-01     WASHINGTON UNIVERSITY           infected E. coli                                        GIBBS, KYLE DANE        Awarded. Fellowships only   2024/08/01   2027/07/31    $76,756    $76,756    $48,978   $76,756

                                                                        Examining the contributions of cognitive load and
                                                                        anterior cingulate cortex activity on striatal-
                                                                        hippocampal network coupling in age-related
5,012 F31AG082445   5F31AG082445-02     UNIVERSITY OF FLORIDA           cognitive decline                                       SMITH, SAMANTHA MARIE Awarded. Fellowships only     2024/01/08   2027/01/07    $97,948    $97,948    $53,067   $48,974

                                                                        Impact of CDKL5 deficiency on thalamocortical
5,013 F31EY035937   5F31EY035937-02     YALE UNIVERSITY                 dynamics                                                OREN, RACHEL            Awarded. Fellowships only   2023/12/01   2026/11/30    $82,924    $82,924    $54,620   $33,950

                                                                        Investigation into transcriptomic control of dentate
                                                                        granule cell maturation and hyperexcitability in the
5,014 F32AG085961   5F32AG085961-02     J. DAVID GLADSTONE INSTITUTES   apoE4 Alzheimers Disease model                       TABUENA, DENNIS R          Awarded. Fellowships only   2023/12/01   2026/11/30   $151,040   $151,040   $101,851   $76,756

                                                                        In Vivo Evaluation of Brain Tissue Integrity in Aging
                                                                        Using a Novel Magnetic Resonance Elastography
5,015 F31AG086036   5F31AG086036-02     UNIVERSITY OF DELAWARE          Technique                                               KRAMER, MARY            Awarded. Fellowships only   2023/12/01   2026/11/30    $88,794    $88,794    $49,619   $44,622

                                        UNIVERSITY OF COLORADO          Investigating the synaptic trafficking of endogenous
5,016 F31NS130979   5F31NS130979-03     DENVER                          AMPARs                                               KAREEMO, DEAN              Awarded. Fellowships only   2022/12/27   2025/11/26   $111,670   $111,670    $85,525   $36,082

                                                                        The role of mitochondrial dysfunction in age-related
5,017 F30AG074507   5F30AG074507-04     HARVARD MEDICAL SCHOOL          disease: a human genetic approach                    GUPTA, RAHUL               Awarded. Fellowships only   2022/01/01   2025/12/31   $185,737   $185,737   $164,546   $53,974

                                                                        Molecular and functional implications of thalamo-
5,018 F31MH136679   1F31MH136679-01A1   UNIVERSITY OF MINNESOTA         striatal synapse regulation in learning and memory      ROZEMA, NICHOLAS        Awarded. Fellowships only   2024/08/01   2026/07/31    $39,726    $39,726    $23,866   $39,726

                                        ICAHN SCHOOL OF MEDICINE AT     Functional significance and mechanisms of Ebola
5,019 F32AI186388   1F32AI186388-01     MOUNT SINAI                     Virus VP24-host protein interactions                    VOGEL, OLIVIA ASHLEY    Awarded. Fellowships only   2024/08/01   2026/07/31    $76,756    $76,756        $0    $76,756

                                                                        Community and big-data system approaches to
                                                                        identifying and understanding the health impact of
5,020 F31DA061593   1F31DA061593-01     BROWN UNIVERSITY                xylazine                                           KELLY, PATRICK JOHN          Awarded. Fellowships only   2024/09/01   2027/08/31    $48,974    $48,974    $34,862   $48,974

                                                                        Examining transdiagnostic mechanisms of language
                                        UNIVERSITY OF CALIFORNIA AT     development in infants at elevated likelihood for
5,021 F31HD116517   1F31HD116517-01     DAVIS                           autism and ADHD                                   PIERGIES, ANTONIA             Awarded. Fellowships only   2024/07/10   2026/07/09    $41,972    $41,972    $34,916   $41,972

                                                                        Investigating the regulation of cancer cell death by
5,022 F31CA284784   1F31CA284784-01A1   STANFORD UNIVERSITY             NFE2L1                                               MURRAY, MAGDALENA          Awarded. Fellowships only   2024/09/01   2026/08/31    $42,468    $42,468    $18,860   $42,468
                                                                                                                                  REBECCA FREEMAN,
                                                                                                                                  REBECCA FREEMAN
5,023 F31AR083715   1F31AR083715-01A1   HARVARD MEDICAL SCHOOL          Defining Sexual Dimorphism in the Skin                    REBECCA FREEMAN        Awarded. Fellowships only   2024/09/01   2026/08/31   $39,548   $39,548   $27,248   $39,548

                                                                        Mechanisms of cell cycle regulation in embryos of         BERNYS, ALANA
5,024 F31HD115409   1F31HD115409-01A1   PRINCETON UNIVERSITY            normal and unusual size                                   CATHERINE              Awarded. Fellowships only   2024/11/01   2027/10/31   $32,974   $32,974   $14,657   $32,974

                                        UNIVERSITY OF MARYLAND          Contractile Pericyte-Mediated Cerebrovascular             VIGDERMAN, ABIGAIL
5,025 F31NS139505   1F31NS139505-01     BALTIMORE                       Deficits in a Mouse Model of CADASIL                      SHIRA                  Awarded. Fellowships only   2024/08/09   2027/07/31   $43,514   $43,514   $28,963   $43,514

                                        UNIV OF NORTH CAROLINA          The roles of Fragile-X related protein 1 in
5,026 F31HL176049   1F31HL176049-01     CHAPEL HILL                     cardiomyocyte and heart biology                           BAIS, GABRIELLE        Awarded. Fellowships only   2024/12/01   2027/11/30   $41,627   $41,627   $11,760   $41,627

                                        HENRY FORD HEALTH + MICHIGAN Discovery of new phage defense systems in Vibrio
5,027 F31AI186463   1F31AI186463-01     STATE UNIVERSITY HEALTH SCIENCES cholerae                                                 GOMEZ, JASPER          Awarded. Fellowships only   2024/08/16   2025/08/15   $35,768   $35,768   $23,760   $35,768

                                                                        Development of Capillary-on-Chip for the Study of
                                        MASSACHUSETTS GENERAL           Preservation Injury on Microvascular Endothelial
5,028 F32HL176334   1F32HL176334-01     HOSPITAL                        Cells                                                     ELLIS, BRADLEY WAYNE   Awarded. Fellowships only   2024/09/30   2027/09/29   $76,984   $76,984       $0    $76,984

                                                                        The effect of genetic variation on mRNA splicing in
                                        UNIV OF NORTH CAROLINA          chondrocytes responding to cartilage matrix
5,029 F31AR083722   1F31AR083722-01A1   CHAPEL HILL                     damage                                                    BYUN, SEYOUN           Awarded. Fellowships only   2024/08/01   2027/07/31   $40,418   $40,418   $33,451   $40,418

                                                                        Identification of molecular glues targeting FoxP3 to
                                        NORTHWESTERN UNIVERSITY AT      modulate Treg suppressive function and enhance
5,030 F31CA287701   1F31CA287701-01A1   CHICAGO                         anti-tumor immunity                                       TANG, AMY              Awarded. Fellowships only   2024/09/01   2026/08/31   $44,187   $44,187   $24,833   $44,187

                                                                        Investigating Fear of Falling in Multiple Sclerosis: An
                                                                        Interplay of Neural, Motor, Cognitive, and
5,031 F31HD116491   1F31HD116491-01     WAYNE STATE UNIVERSITY          Psychological Factors                                     TAKLA, TAYLOR          Awarded. Fellowships only   2024/08/01   2026/07/31   $48,406   $48,406   $28,881   $48,406

                                                                        Impact of chronic, voluntary fentanyl intake on
                                                                        single-cell gene expression and brain-wide neuronal
5,032 F30DA061559   1F30DA061559-01     UNIVERSITY OF WASHINGTON        activity patterns                                   BURKE, CASSIDY TAYLOR        Awarded. Fellowships only   2024/08/01   2027/07/31   $44,942   $44,942   $34,881   $44,942

                                                                        Design and application of small molecules for the
                                        UNIVERSITY OF WISCONSIN-        interception of quorum sensing in Staphylococcus
5,033 F32GM155981   1F32GM155981-01     MADISON                         aureus                                                    CLAY, ALYSSA PAIGE     Awarded. Fellowships only   2024/12/01   2027/11/30   $73,408   $73,408   $24,553   $73,408

                                                                        The Role of Platelet-Derived Transforming Growth
5,034 F31HL175976   1F31HL175976-01     UNIVERSITY OF CINCINNATI        Factor Beta in Abdominal Aortic Aneurysm                  SPUZZILLO, ANTHONY     Awarded. Fellowships only   2024/09/01   2027/08/31   $48,960   $48,960   $30,098   $48,960

                                                                        Development, stability, and antigen specificity of T
5,035 F31AI186394   1F31AI186394-01     UNIVERSITY OF CHICAGO           follicular regulatory phenotype cells                     GRAHAM, TAYLOR         Awarded. Fellowships only   2024/10/01   2028/09/30   $48,974   $48,974   $33,298   $48,974

                                                                        Defining critical MECP2 cis-regulatory elements
                                                                        towards identifying genetic candidates for male-          SCHUMAN, REBECCA
5,036 F32HD116501   1F32HD116501-01     BAYLOR COLLEGE OF MEDICINE      biased autism                                             MEYER                  Awarded. Fellowships only   2024/08/01   2026/07/31   $74,284   $74,284       $0    $74,284

                                        UNIVERSITY OF WISCONSIN-        Defining the Impact of Entry Pathways on the
5,037 F31AI186494   1F31AI186494-01     MADISON                         Outcome of Human Cytomegalovirus Infection                WISDOM, ESTHER LYNNE   Awarded. Fellowships only   2024/09/22   2026/09/21   $36,073   $36,073   $23,165   $36,073

                                                                        Integrative omics for biomarkers and biology of
5,038 F31HL175914   1F31HL175914-01     DUKE UNIVERSITY                 early-stage heart failure                                 KOTTILIL, KALYANI      Awarded. Fellowships only   2024/09/01   2026/08/31   $48,974   $48,974   $32,636   $48,974

                                                                        Steroid Hormone-Regulated Plasticity of
                                                                        Sensorimotor Integration Circuitry Supports               JARZYNA, MARTIN
5,039 F31NS139904   1F31NS139904-01     WASHINGTON UNIVERSITY           Behavioral Change                                         WILLIAM                Awarded. Fellowships only   2024/07/01   2027/06/30   $34,623   $34,623   $21,168   $34,623

                                                                        Investigating the effects of TCF4 mutations during
                                                                        oligodendrocyte development and maturation in a ROMERO MORALES,
5,040 F32MH135665   1F32MH135665-01A1   LIEBER INSTITUTE, INC.          human-derived model of autism spectrum disorder ALEJANDRA INES                   Awarded. Fellowships only   2024/12/12   2027/12/11   $74,284   $74,284   $20,446   $74,284

                                        UNIVERSITY OF SOUTHERN          Exploring the Impact of Genetic Ancestry on Acute
5,041 F31CA278359   5F31CA278359-02     CALIFORNIA                      Lymphoblastic Leukemia Risk in Latino Populations LANGIE, JALEN                  Awarded. Fellowships only   2023/12/01   2027/11/30   $96,468   $96,468   $69,396   $48,774
                                                                           Defining the impact of Extracellular Vesicles on        SHENEMAN, KATELYN
5,042 F31AI178999   5F31AI178999-02     UNIVERSITY OF LOUISVILLE           inflammation during pneumonic plague                    RENEE                   Awarded. Fellowships only   2023/08/01   2026/07/31     $70,332      $70,332      $54,094     $35,848

                                        UNIVERSITY OF CALIFORNIA LOS       Seeing Sound: Visualizing the Target of Transcranial    SPIVAK, NORMAN
5,043 F30MH136802   1F30MH136802-01A1   ANGELES                            Focused Ultrasound                                      MITCHEL                 Awarded. Fellowships only   2024/09/01   2027/08/31     $41,396      $41,396      $10,558     $41,396

                                                                           Elucidating the spatially coordinated mechanisms
5,044 F30HD114405   5F30HD114405-02     UNIVERSITY OF PENNSYLVANIA         of transcriptional silencing in fragile X syndrome      PHAM, KENNETH           Awarded. Fellowships only   2024/03/01   2028/02/28    $107,948     $107,948      $69,903     $53,974

                                        NORTHWESTERN UNIVERSITY AT         Synaptotagmin 7: A compartmentalized molecule
5,045 F31MH136704   1F31MH136704-01A1   CHICAGO                            for presynaptic short term plasticity                   BARRAZA, MATTHEW        Awarded. Fellowships only   2024/11/01   2027/10/31     $44,187      $44,187      $21,015     $44,187
5,046 F31HL178013   1F31HL178013-01     STANFORD UNIVERSITY                Investigating COUP-TFII in human vein development PYKE, ALANNA                  Awarded. Fellowships only   2025/01/13   2028/01/12     $42,507      $42,507       $9,440     $42,507

                                                                           Genetic Characterization and Exploration of Mu-
5,047 F31DA062403   1F31DA062403-01     UNIVERSITY OF WASHINGTON           Opioid Receptor Signaling in C. elegans                 COLEMAN, DEZ            Awarded. Fellowships only   2024/12/16   2027/12/15     $48,974      $48,974      $14,319     $48,974

                                                                           Investigating functional changes to the visual word
5,048 F31DC022513   1F31DC022513-01     GEORGETOWN UNIVERSITY              form system in post-stroke alexia                       DYSLIN, SARA MARIE      Awarded. Fellowships only   2024/08/02   2026/08/01     $36,274      $36,274       $7,185     $36,274

                                        UNIVERSITY OF SOUTHERN             Training in Developmental Biology, Stem Cells and                               Awarded. Non-fellowships
5,049 T32HD060549   5T32HD060549-14     CALIFORNIA                         Regeneration                                            CRUMP, GAGE D           only                        2011/05/01   2027/04/30    $799,712     $799,712     $498,655    $220,608

                                        UNIVERSITY OF MARYLAND             Sex Differences in the Bed Nucleus of the Stria         LORSUNG, REBECCA
5,050 F31NS134126   5F31NS134126-02     BALTIMORE                          Terminalis Guide Differential Pain Susceptibility       MARY                    Awarded. Fellowships only   2024/03/11   2026/03/10     $77,853      $77,853      $38,889     $39,221

                                        UNIVERSITY OF MARYLAND             The impact of proliferating mast cells in the           BLANCHARD, ALEXA
5,051 F30HD107942   5F30HD107942-04     BALTIMORE                          developing brain                                        CIESINSKI               Awarded. Fellowships only   2022/04/11   2026/04/10    $199,474     $199,474     $129,083     $56,974

                                        UNIVERSITY OF CALIFORNIA, SAN      De novo design of photoacid-binding proteins to
5,052 F32GM154484   5F32GM154484-02     FRANCISCO                          study proton dynamics in biological systems             BAKANAS, IAN            Awarded. Fellowships only   2024/04/01   2027/03/31    $148,112     $148,112      $72,828     $74,284

                                        UNIV OF NORTH CAROLINA             Postdoctoral Research in Neurodevelopmental                                     Awarded. Non-fellowships
5,053 T32HD040127   5T32HD040127-24     CHAPEL HILL                        Disorders                                               PHILPOT, BENJAMIN D     only                        2001/05/15   2027/04/30   $1,769,131   $1,769,131   $1,205,332   $525,027

                                                                           Development of Metallopeptides for Site-Selective
5,054 F32GM154398   1F32GM154398-01A1   YALE UNIVERSITY                    Transformations of the Antibiotic Thiostrepton          PETERSON, PAUL OLIVER   Awarded. Fellowships only   2025/01/01   2027/12/31     $73,828      $73,828      $18,496     $73,828

                                                                           Spatial smooth muscle cell transition states in
5,055 F30HL178164   1F30HL178164-01     YALE UNIVERSITY                    atherosclerosis                                         JOVIN, DANIEL           Awarded. Fellowships only   2025/02/01   2028/12/31     $36,958      $36,958       $5,125     $36,958

                                                                           Elucidating mechanisms of PARP inhibitor resistance COLON-RIOS, DANIEL
5,056 F30CA291077   1F30CA291077-01A1   YALE UNIVERSITY                    in IDH-mutant cancers                               ANDRÉS                      Awarded. Fellowships only   2025/04/01   2028/03/31     $33,958      $33,958           $0     $33,958

                                                                           Effects of caregiver interactions, youth
                                                                           characteristics, and counseling on retention in care
5,057 F31HD116617   1F31HD116617-01A1   UNIVERSITY OF WASHINGTON           among youth living with HIV                          HICKS, SARAH               Awarded. Fellowships only   2024/12/16   2026/12/15     $48,974      $48,974      $25,239     $48,974

                                                                           Interactions Between Spatial and Temporal Cues for
                                        UNIVERSITY OF MICHIGAN AT ANN      Auditory Grouping in Normal Hearing and Single-
5,058 F32DC022162   1F32DC022162-01A1   ARBOR                              Sided Deaf Populations                             KROGER, CAROLYN KAYE Awarded. Fellowships only           2024/08/01   2025/12/31     $73,828      $73,828      $47,781     $73,828

                                                                           Neural Mechanisms of Behavioral Variability and
5,059 F31NS141337   1F31NS141337-01     HARVARD MEDICAL SCHOOL             Strategy Selection in Larval Zebrafish                  WANG, VICKIE            Awarded. Fellowships only   2025/02/01   2028/01/31     $43,456      $43,456           $0     $43,456

                                        UNIVERSITY OF SOUTHERN             Neural Mechanisms of Emotion Regulation Flexibility
5,060 F31MH136739   1F31MH136739-01A1   CALIFORNIA                         and Success in Everyday Life in Depression          XU, ELLIE PIN               Awarded. Fellowships only   2025/01/01   2026/12/31     $45,566      $45,566      $15,704     $45,566

                                                                           The Role of the Adaptor Protein Enkurin in Left-Right
                                                                           Patterning- a Promising Link Between Polycystin-2
5,061 F31GM155995   1F31GM155995-01A1   PRINCETON UNIVERSITY               and Calcium Signaling                                   RENEKER, BILLIE         Awarded. Fellowships only   2025/01/01   2027/12/31     $35,974      $35,974       $7,689     $35,974

                                        UNIVERSITY OF CALIFORNIA, SAN      Leveraging single-cell multi-omics to investigate rare
5,062 F31NS137644   1F31NS137644-01A1   FRANCISCO                          noncoding variants in Parkinsons Disease               MENON, SHREYA            Awarded. Fellowships only   2024/12/01   2026/11/30     $41,632      $41,632      $14,967     $41,632

                                        STATE UNIVERSITY OF NEW YORK AT Influence of early exposure to bitter foods on bitter      ASCENCIO GUTIERREZ,
5,063 F31DC022177   1F31DC022177-01A1   BUFFALO                         taste sensitivity in adulthood                             VERENICE                Awarded. Fellowships only   2024/08/15   2026/08/14     $33,833      $33,833      $22,394     $33,833

                                                                           Investigating the Molecular Mechanisms of Beta-
                                                                           Cell Expansion Factor A-induced Beta-Cell
5,064 F31DK141197   1F31DK141197-01A1   UNIVERSITY OF OREGON               Proliferation                                           HORVE, PATRICK          Awarded. Fellowships only   2025/01/01   2027/12/31     $48,755      $48,755       $2,352     $48,755
                                                                            HIV and ART Disruptions in Glial Cell Lipid
                                        CHILDREN'S HOSP OF                  Metabolism and its Effect on Adolescent
5,065 F32MH135724   5F32MH135724-02     PHILADELPHIA                        Myelination                                           JEFFRIES, MARISA       Awarded. Fellowships only   2024/04/01   2027/03/31    $167,048     $167,048      $77,256     $84,592

                                        STATE UNIVERSITY OF NEW YORK AT Single-cell profiling of Follistatin within the Tumor
5,066 F31DE034600   1F31DE034600-01     BUFFALO                         Landscape of Oral Squamous Cell Carcinoma                 SOSA, JENNIFER         Awarded. Fellowships only   2025/01/01   2027/12/31     $34,633      $34,633       $8,435     $34,633

                                        UNIVERSITY OF COLORADO              Targeting the Regulation of High Endothelial
5,067 F31DE034599   1F31DE034599-01     DENVER                              Venules in HNSCC Regional Recurrence                  OLIMPO, NICHOLAS A     Awarded. Fellowships only   2024/12/01   2027/11/30     $43,374      $43,374       $9,460     $43,374

                                                                            Deciphering the immunomodulatory functions of         ELLISON, ROCHELLE
5,068 F30CA298743   1F30CA298743-01     WASHINGTON UNIVERSITY               phosphatidylserine in the tumor microenvironment      MARIE                  Awarded. Fellowships only   2025/04/01   2028/08/31     $35,482      $35,482           $0     $35,482

                                        UNIV OF NORTH CAROLINA              Early Childhood Deprivation and Psychopathology:
5,069 F31MH136728   1F31MH136728-01A1   CHAPEL HILL                         Identifying Neurodevelopmental Pathways of Risk  LURIE, LUCY                 Awarded. Fellowships only   2024/09/01   2026/08/31     $40,572      $40,572      $34,846     $40,572

                                                                            ImmunoPET Evaluation of Focused Ultrasound-
                                                                            mediated Delivery and Immunomodulation by anti-
                                        UNIVERSITY OF MARYLAND              CD47 Immunotherapy in the Setting of Current    MALLA, ADARSHA
5,070 F30CA284526   5F30CA284526-02     BALTIMORE                           Standard-of-Care Treatment for Glioblastoma     PRAKASH                      Awarded. Fellowships only   2024/04/01   2027/03/31     $72,676      $72,676      $40,698     $36,338

                                        UNIVERSITY OF COLORADO                                                                                           Awarded. Non-fellowships
5,071 T32HD007186   5T32HD007186-45     DENVER                              Training in Perinatal Medicine                        ROZANCE, PAUL JOSEPH   only                        1979/07/01   2026/04/30   $1,620,868   $1,620,868   $1,137,345   $405,788

                                                                            Dissecting the gut-hypothalamus axis for fructose     MCKNIGHT, AARON
5,072 F31DK141268   1F31DK141268-01A1   UNIVERSITY OF PENNSYLVANIA          sensing                                               DAVID                  Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974      $18,133     $48,974

                                        WEILL MEDICAL COLL OF CORNELL Adrenomedullin 2 Regulates ILC2 Responses to
5,073 F32DK139586   1F32DK139586-01A1   UNIV                          Control Intestinal Inflammation                             UDDIN, JAZIB NASEER    Awarded. Fellowships only   2025/01/01   2025/12/31     $75,904      $75,904      $18,555     $75,904

                                        COLUMBIA UNIVERSITY HEALTH          Dissecting the impact of genomic variants on          WALSH, ZACHARY
5,074 F30CA298572   1F30CA298572-01     SCIENCES                            hallmarks of T cell anti-tumor activity               HUDSON                 Awarded. Fellowships only   2025/03/07   2029/03/06     $50,928      $50,928           $0     $50,928

                                                                            Understanding how neuronal glucose metabolism
5,075 F32AG082460   5F32AG082460-03     J. DAVID GLADSTONE INSTITUTES       changes in AD due to ApoE4                            SEI, YOSHI             Awarded. Fellowships only   2023/05/03   2026/05/02    $239,068     $239,068     $149,925     $83,932

                                                                            Disease mechanism and genetic therapy for a
5,076 F31NS141322   1F31NS141322-01     BAYLOR COLLEGE OF MEDICINE          pathogenic STXBP1 variant                             HORIST, BROOKE         Awarded. Fellowships only   2024/12/16   2026/12/15     $48,974      $48,974      $10,504     $48,974

                                        UNIVERSITY OF CALIFORNIA, SAN       Tissue elasticity and viscosity modulates
5,077 F32HL178303   1F32HL178303-01     DIEGO                               macrophage-fibroblast signaling in cardiac fibrosis   ATCHA, HAMZA           Awarded. Fellowships only   2025/04/01   2026/03/31     $76,756      $76,756           $0     $76,756

                                                                            Neuropeptide Y1 Receptor-Expressing Neurons in
                                                                            the Lateral Parabrachial Nucleus in Neuropathic
5,078 F32NS128392   7F32NS128392-02     UNIVERSITY OF FLORIDA               Pain                                                  ALLEN, HEATHER NOEL    Awarded. Fellowships only   2023/09/01   2026/03/31    $167,092     $109,741      $63,354     $86,288

                                        ICAHN SCHOOL OF MEDICINE AT         Norepinephrine-sensing habenular microglia and
5,079 F32MH136726   1F32MH136726-01A1   MOUNT SINAI                         stress-related behaviors                              CORONA, ALBERTO        Awarded. Fellowships only   2024/11/01   2026/06/30     $74,284      $74,284           $0     $74,284

                                                                            The Sigma factor SigEs role in mycobacterial          MENON, ARUNA
5,080 F31AI179076   5F31AI179076-02     DUKE UNIVERSITY                     granulomas                                            RAJENDRAN              Awarded. Fellowships only   2024/04/01   2027/03/31     $83,972      $83,972      $41,746     $41,986

                                                                            Stanfords Translational Biomedical Imaging                                   Awarded. Non-fellowships
5,081 T32EB032755   5T32EB032755-03     STANFORD UNIVERSITY                 Instrumentation (TBI2) Training Program               BUTTS-PAULY, KIM       only                        2023/05/01   2028/04/30    $547,788     $547,788     $170,760    $215,781

                                        UNIV OF NORTH CAROLINA                                                                                           Awarded. Non-fellowships
5,082 TL1DK139567   3TL1DK139567-02S1   CHAPEL HILL                         Pre-doctoral Diversity Supplement to TLDK139567       HOGAN, SUSAN LYNN      only                        2023/09/01   2028/06/30   $1,558,299   $1,558,299    $819,206     $49,292

                                                                            Regulation of the Inflammasome by Gasdermin D
5,083 F31AI181475   1F31AI181475-01A1   HARVARD MEDICAL SCHOOL              mRNA Chimerism                                        VENEZIA, OLIVIA L      Awarded. Fellowships only   2025/01/01   2026/12/31     $43,203      $43,203      $24,265     $43,203

                                        COLUMBIA UNIVERSITY HEALTH          Investigating the role of chromatin-associated RNA
5,084 F31AI188882   1F31AI188882-01     SCIENCES                            processing in Early B-cell development                WHISENANT, DANIEL ERIC Awarded. Fellowships only   2024/12/01   2027/11/30     $48,974      $48,974       $8,000     $48,974

                                                                            Modeling the effects of the gut microbiota of
                                                                            undernourished mothers with environmental enteric
                                                                            dysfunction on vascular remodeling at the fetal-
5,085 F30HD115307   5F30HD115307-02     WASHINGTON UNIVERSITY               placental interface                               COSKUN, REYAN              Awarded. Fellowships only   2024/04/01   2027/03/31     $89,516      $89,516      $35,114     $53,974
                                        WEILL MEDICAL COLL OF CORNELL Investigating the chromatin landscape of ALT
5,086 F30CA298520   1F30CA298520-01     UNIV                          telomeres                                                   REX, MADISON            Awarded. Fellowships only   2025/03/01   2029/02/28     $53,974      $53,974         $0     $53,974

                                                                           How Signaling Molecules Affect the Invagination
                                                                           and Posterior Migration of the Drosophila Salivary     SHOEMAKER, ASHLEIGH
5,087 F31DE033571   1F31DE033571-01A1   JOHNS HOPKINS UNIVERSITY           Gland                                                  MARIE                   Awarded. Fellowships only   2024/09/30   2026/09/29     $54,774      $54,774     $39,966    $54,774

                                                                           Understanding Metabolic Interplay in a Human iPSC
5,088 F32HL173968   5F32HL173968-02     STANFORD UNIVERSITY                Model of Diabetic Cardiomyopathy                  CAUDAL, ARIANNE              Awarded. Fellowships only   2024/04/01   2026/03/31    $151,040     $151,040     $74,284    $76,756

                                                                                                                                                          Awarded. Non-fellowships
5,089 T32AR007465   5T32AR007465-42     UNIVERSITY OF PENNSYLVANIA         Penn Dermatology Research Training Program             GRICE, ELIZABETH ANNE   only                        1983/07/01   2029/04/30    $846,426     $846,426    $416,249   $402,939

                                        UNIV OF NORTH CAROLINA                                                                    FRANKENBERG, ELIZABETH Awarded. Non-fellowships
5,090 T32HD007168   5T32HD007168-47     CHAPEL HILL                        Population Research Training                           A                      only                         1979/07/01   2029/04/30    $969,307     $948,307    $319,511   $552,612

                                                                           Elucidating the interplay between cohesin-
                                                                           mediated loop extrusion and heterochromatin in
5,091 F31HG014082   1F31HG014082-01A1   UNIVERSITY OF PENNSYLVANIA         single cells.                                          PATEL, ROHAN DIPAK      Awarded. Fellowships only   2025/01/01   2027/12/31     $48,974      $48,974     $17,408    $48,974

                                        UNIVERSITY OF PITTSBURGH AT                                                           MARTEL MATOS, ANDRE
5,092 F31DE034633   1F31DE034633-01     PITTSBURGH                         Sensory-Sympathetic Nerve Interplay in Oral Cancer ALEXANDER                   Awarded. Fellowships only   2025/01/01   2027/12/31     $49,774      $49,774      $8,365    $49,774

                                                                           Developmental acquisition of memory-phenotype
5,093 F30AI183709   1F30AI183709-01A1   UNIVERSITY OF CHICAGO              CD8+ T cell function in infection and cancer           MAHESHWARI, NIKITA      Awarded. Fellowships only   2025/04/01   2029/03/31     $53,974      $53,974         $0     $53,974

                                                                           Childhood Socioeconomic Disadvantage and
                                        UNIVERSITY OF MICHIGAN AT ANN      Antisocial Behavior: Investigating the Role of
5,094 F31MH131373   5F31MH131373-03     ARBOR                              Reward Processing                                      WESTERMAN, HEIDI BETH   Awarded. Fellowships only   2023/05/01   2026/04/30    $125,264     $125,264     $82,719    $42,545

                                                                           Structure-Property-Function Relationship in
5,095 F32AI176755   5F32AI176755-02     STANFORD UNIVERSITY                mRNA/CARTs for Targeted mRNA Delivery                  HURST, PAUL JOSHUA      Awarded. Fellowships only   2023/12/01   2026/11/30    $153,236     $153,236    $118,018    $76,828

                                        UNIVERSITY OF MICHIGAN AT ANN      Translational research training in cardiovascular                              Awarded. Non-fellowships
5,096 T32HL166130   5T32HL166130-03     ARBOR                              science                                                HENKE, PETER K          only                        2022/12/01   2027/11/30    $481,295     $481,295    $239,936   $197,624

                                                                           Investigating mechanisms of CARD11 mutants in
                                        NORTHWESTERN UNIVERSITY AT         enhanced anti-tumor immunity and T cell fitness (For
5,097 F30CA288003   5F30CA288003-02     CHICAGO                            Kathleen Cheng)                                      CHENG, KATHLEEN           Awarded. Fellowships only   2024/02/01   2027/12/31     $88,374      $88,374     $38,357    $44,187

                                        UNIVERSITY OF ILLINOIS AT URBANA- Siglecs in the Porcine Oviduct: Roles in the Sperm
5,098 F31HD108959   5F31HD108959-03     CHAMPAIGN                         Reservoir and Sperm Immune Response                     MOLINA, LEONARDO        Awarded. Fellowships only   2023/02/26   2026/03/25    $130,963     $130,963     $75,049    $44,081

                                        WEILL MEDICAL COLL OF CORNELL
5,099 F32HL168948   5F32HL168948-02     UNIV                          Imaging Incipient Heart Failure by PET                      AZCONA, JUAN ARTURO     Awarded. Fellowships only   2023/09/15   2025/09/14    $146,256     $146,256     $72,668    $76,756

                                                                     Functional interrogation of parasitic flatworm TRPM
5,100 F31AI183573   5F31AI183573-02     MEDICAL COLLEGE OF WISCONSIN channels to identify novel anthelmintics                     ROHR, CLAUDIA M         Awarded. Fellowships only   2024/04/01   2028/03/31     $97,948      $97,948     $48,974    $48,974

                                        UNIVERSITY OF COLORADO             Epigenetic regulation of lineage specification in
5,101 F32DK135241   5F32DK135241-03     DENVER                             colon epithelial cells                                 MEYER, ANNE R           Awarded. Fellowships only   2023/03/01   2026/02/28    $225,148     $225,148    $145,806    $78,892


                                                                           Understanding mechanisms by which microbially       ROBINSON, ELEKTRA
5,102 F32DK138598   5F32DK138598-02     STANFORD UNIVERSITY                derived metabolites regulate host gut inflammation. KANTZARI                   Awarded. Fellowships only   2024/03/01   2027/02/28    $151,040     $151,040     $72,921    $76,756

                                                                      Characterization of Enterovirus 68 3C Protease For
                                        UNIV OF MASSACHUSETTS MED SCH the Development of Robust and Potent Direct-
5,103 F30AI181515   5F30AI181515-02     WORCESTER                     Acting Antiviral Inhibitors                                 AZZOLINO, VINCENT       Awarded. Fellowships only   2023/12/15   2028/12/14    $107,948     $107,948     $49,386    $53,974

                                                                           Leveraging mosaic genodermatoses to discover
                                                                           genetic and molecular mechanisms of
5,104 F31AR082696   5F31AR082696-02     YALE UNIVERSITY                    comedogenesis                                          ELLIS, KATHARINE TAYLOR Awarded. Fellowships only   2024/04/01   2027/03/31     $67,916      $67,916     $28,989    $33,958

                                        UNIV OF NORTH CAROLINA             Clathrin alternative splicing in skeletal muscle
5,105 F32AR084326   5F32AR084326-02     CHAPEL HILL                        development                                            COTE, JESSICA LEIGH     Awarded. Fellowships only   2024/04/01   2027/03/31    $151,040     $151,040     $74,284    $76,756

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                       Awarded. Non-fellowships
5,106 T32HL160511   5T32HL160511-03     MOUNT SINAI                        Multidisciplinary Research Training in Sleep Science   AYAPPA, INDU A          only                        2023/02/01   2028/01/31   $1,052,860   $1,052,860   $292,089   $483,144
                                        BOSTON UNIVERSITY (CHARLES        Articulatory and prosodic sensorimotor adaptation
5,107 F31DC021080   5F31DC021080-03     RIVER CAMPUS)                     in speaker-listener interactions                      DAHL, KIMBERLY          Awarded. Fellowships only   2023/04/01   2026/03/31    $113,713     $113,713      $68,240     $38,331

                                                                          Cell-type specific and activity-dependent
                                        ICAHN SCHOOL OF MEDICINE AT       characterization of non-coding autism de novo         WILLIAMS, SARAH
5,108 F31MH133365   5F31MH133365-03     MOUNT SINAI                       variants in human stem cell-derived neurons           ELIZABETH               Awarded. Fellowships only   2023/04/24   2026/04/23    $145,642     $145,642      $86,625     $48,974

                                        CINCINNATI CHILDRENS HOSP MED Mechanisms of CD8+ T cell-induced Innate Immune
5,109 F30AI188599   1F30AI188599-01     CTR                           Activation                                      VALLEZ, CHARLES                   Awarded. Fellowships only   2024/11/18   2028/11/17     $41,915      $41,915           $0     $41,915

                                                                          Toward therapeutic targeting of liquid-liquid phase   AVECILLA, ALEXA REGINA
5,110 F31AR081697   5F31AR081697-03     EMORY UNIVERSITY                  separation dynamics in skin                           CHUA                   Awarded. Fellowships only    2023/04/03   2026/04/02    $145,642     $145,642      $96,215     $48,974

                                        STOWERS INSTITUTE FOR MEDICAL     Opening small packages: unraveling roles for
5,111 F31HD110268   5F31HD110268-03     RESEARCH                          microproteins during early vertebrate development TREICHEL, ANTHONY J         Awarded. Fellowships only   2023/04/01   2026/03/31     $97,642      $97,642      $64,668     $32,974

                                                                          Elucidating the contribution of lipid dysregulation to
                                        UNIVERSITY OF MICHIGAN AT ANN     impaired oligodendrocyte maturation and
5,112 F31NS137623   1F31NS137623-01A1   ARBOR                             myelination in Spinocerebellar ataxia type 3           PUTKA, ALEXANDRA FAITH Awarded. Fellowships only   2025/01/01   2027/10/31     $42,593      $42,593      $16,319     $42,593

                                                                          Multidisciplinary Training Program in Pediatric       COLLACO, JOSEPH         Awarded. Non-fellowships
5,113 T32HL072748   5T32HL072748-22     JOHNS HOPKINS UNIVERSITY          Pulmonary                                             MICHAEL                 only                        2004/02/01   2029/01/31    $709,437     $709,437     $373,123    $343,043

                                                                      Deep-learning Integration of Histopathology and
                                        NEW YORK UNIVERSITY SCHOOL OF Proteogenomics at a Pan-cancer Level -
5,114 F30CA271622   5F30CA271622-03     MEDICINE                      Resubmission                                              WANG, JOSHUA            Awarded. Fellowships only   2023/03/01   2025/06/30    $101,429     $101,429      $68,904     $20,109

                                        NORTHWESTERN UNIVERSITY AT        Dissecting the Role of Desmoplakin in Inflammation
5,115 F30HL162454   5F30HL162454-03     CHICAGO                           in Cardiomyopathy                                     SELGRADE, DANIEL        Awarded. Fellowships only   2023/03/01   2026/02/28    $141,068     $141,068      $85,380     $53,974

                                        UNIVERSITY OF MICHIGAN AT ANN     Determining Sox10-mediated plasticity in irradiated   JONES, CHRISTINA
5,116 F30DE032585   5F30DE032585-03     ARBOR                             salivary gland cells                                  ELIZABETH-ROSE          Awarded. Fellowships only   2023/03/01   2027/03/01    $162,100     $162,100     $134,146     $54,774

                                        WEILL MEDICAL COLL OF CORNELL ILC3 Syndecan-4 in the Regulation of Intestinal           FIEDLER, BROOKE
5,117 F31DK134187   5F31DK134187-03     UNIV                          Health and Inflammation                                   ELIZABETH               Awarded. Fellowships only   2023/04/01   2026/03/31    $145,642     $145,642      $90,447     $48,974

                                                                                                                                                        Awarded. Non-fellowships
5,118 T32GM139776   3T32GM139776-04S1   UNIVERSITY OF IOWA                Medical Scientist Training Program                    BUCHANAN, GORDON F      only                        2021/07/01   2026/06/30   $4,322,583   $4,322,583   $3,675,439    $59,936

                                        NEW YORK UNIVERSITY SCHOOL OF Characterization of the SARS-CoV-2-mediated
5,119 F31AI174615   5F31AI174615-02     MEDICINE                      piracy of p38ß                                            HIGGINS, CHRISTINA      Awarded. Fellowships only   2023/11/22   2025/11/21     $97,948      $97,948      $68,807     $48,974

                                                                          Investigating FGF Signaling Dynamics in migrating
5,120 F31HD112152   5F31HD112152-02     UNIVERSITY OF VIRGINIA            cells                                                 GIBNEY, THERESA         Awarded. Fellowships only   2024/01/01   2025/12/31     $83,166      $83,166      $42,608     $38,427

                                        NORTHWESTERN UNIVERSITY AT        Exploiting KCNQ2 upstream open reading frames
5,121 F31NS135753   5F31NS135753-02     CHICAGO                           for therapeutic opportunity                           HUEY, DALTON JUN-DA     Awarded. Fellowships only   2024/04/01   2027/01/31     $88,935      $88,935      $41,548     $44,748

                                                                          Epigenetic Regulation of Langerhans Cell
                                                                          Histiocytosis Pathophysiology and Microenvironment
5,122 F30GM149139   5F30GM149139-02     WAYNE STATE UNIVERSITY            by HDAC3                                           DIMITRION, PETER           Awarded. Fellowships only   2024/03/01   2025/10/31     $87,900      $87,900      $52,251     $39,246

                                        NEW YORK UNIVERSITY SCHOOL OF Activation of Inflammatory Responses Upon                 GORODETSKY, ELIZABETH
5,123 F30CA271623   5F30CA271623-04     MEDICINE                      Replication Stress in Basal-Like Breast Cancer            FRANCES                 Awarded. Fellowships only   2022/03/04   2026/03/03    $212,394     $212,394     $134,347     $53,974

                                        UNIVERSITY OF CALIFORNIA, SAN     The Role and Branching Dynamics of Sympathetic
5,124 F31HD108875   5F31HD108875-03     FRANCISCO                         Nerves in Ovarian Folliculogenesis                    GAYLORD, ELIZA ANN      Awarded. Fellowships only   2023/03/01   2026/02/28    $131,797     $131,797      $93,615     $44,359

                                                                          Adaptation of a PrEP Shared-Decision Making Tool
5,125 F31MH132407   5F31MH132407-03     EMORY UNIVERSITY                  for Family Planning Clinics                           ANDERSON, KATHERINE M Awarded. Fellowships only     2023/02/01   2026/01/31    $145,682     $145,682      $98,822     $48,994

                                        NEW YORK UNIVERSITY SCHOOL OF A cortical role for skilled, sound-guided behavior in     ZEMPOLICH, GRANT
5,126 F31DC021868   5F31DC021868-02     MEDICINE                      mice                                                      WILLIAM MEANY           Awarded. Fellowships only   2024/04/01   2027/03/31     $88,240      $88,240      $42,587     $42,102

                                                                          Dissecting neuroinflammatory mechanisms in a
5,127 F32AG086044   5F32AG086044-02     WASHINGTON UNIVERSITY             model of progressive TDP-43 pathology                 O'CONNOR, JAMES T       Awarded. Fellowships only   2024/02/01   2027/01/31    $148,112     $148,112      $85,202     $74,284

                                                                          Uncharted Territory: Mapping and Manipulating
                                                                          Cholinergic Basal Forebrain Activity in a Mouse
5,128 F30AG076265   5F30AG076265-03     BAYLOR COLLEGE OF MEDICINE        Model of Alzheimers Disease                           BELFORT, BENJAMIN       Awarded. Fellowships only   2023/02/01   2026/01/31    $143,164     $143,164      $88,927     $47,592
                                                                           Investigating the origin and role of the IgA+ B cell
5,129 F31NS132530   5F31NS132530-02     YALE UNIVERSITY                    response to intracerebral hemorrhage                   OHASHI, SARAH         Awarded. Fellowships only   2024/01/01   2026/12/31     $97,948      $97,948      $37,807     $48,974

                                                                           Pediatric Training Program Hematology and                                    Awarded. Non-fellowships
5,130 T32CA269116   5T32CA269116-04     WASHINGTON UNIVERSITY              Oncology                                               RUBIN, JOSHUA B       only                        2022/04/01   2027/03/31    $800,286     $800,286     $352,648    $194,600

                                                                           Understanding the effects of sleep deprivation on      LAUREANO RUIZ,
5,131 F32HL168844   5F32HL168844-03     HARVARD MEDICAL SCHOOL             the guts cellular homeostatic process                  ALEJANDRA SOFIA       Awarded. Fellowships only   2023/04/01   2025/06/30    $169,079     $169,079     $141,146     $22,823

                                                                           The Role of SMARCAL1 Depletion on Increased
5,132 F32CA298007   1F32CA298007-01     DUKE UNIVERSITY                    Immunogenicity in ALT+ Gliomas                         ERMAN, ELISE          Awarded. Fellowships only   2025/05/01   2028/04/30     $73,828      $73,828           $0     $73,828

                                                                           Effects of the NR2E1 mutation on cellular and
5,133 F31NS136011   5F31NS136011-02     BAYLOR COLLEGE OF MEDICINE         molecular determinants of neurogenesis                 LEI, KEVIN            Awarded. Fellowships only   2024/01/17   2026/10/16     $97,948      $97,948      $54,033     $48,974


                                                                           Measurement and Modeling of Within-Person
                                                                           Variability in Cannabis Protective Behavioral
                                                                           Strategies: A Novel Approach Using Scale
                                                                           Development, Daily Data, and Machine Learning          SMITH-LECAVALIER,
5,134 F31DA057796   5F31DA057796-03     UNIVERSITY OF WASHINGTON           Methods                                                KIRSTYN NICOLE        Awarded. Fellowships only   2023/03/16   2025/10/15    $131,904     $131,904      $93,324     $35,236

                                                                           Identifying sources of variable penetrance and
                                        UNIVERSITY OF CALIFORNIA LOS       expressivity in monogenic diseases at population
5,135 F31HG013462   5F31HG013462-02     ANGELES                            scale                                                  WEI, ANGELA N         Awarded. Fellowships only   2024/04/01   2027/03/31     $86,384      $86,384      $41,475     $43,832

                                                                           Investigating ancestry-specific genetic variation
                                                                           associated with HLBS phenotypes in diverse patient
5,136 F30HL172382   5F30HL172382-02     UNIVERSITY OF PENNSYLVANIA         biobanks                                               ZHANG, DAVID          Awarded. Fellowships only   2024/01/01   2026/12/31    $107,948     $107,948      $76,117     $53,974

                                                                                                                                                        Awarded. Non-fellowships
5,137 T32DK007066   3T32DK007066-50S1   UNIVERSITY OF PENNSYLVANIA         Training Program in Gastrointestinal Sciences          KATZ, JONATHAN P      only                        1975/07/01   2025/06/30   $3,189,216   $3,189,216   $3,109,187   $101,987

                                                                           T32: Predoctoral and Postdoctoral Training Program                           Awarded. Non-fellowships
5,138 T32CA153952   5T32CA153952-14     JOHNS HOPKINS UNIVERSITY           in Nanotechnology for Cancer Research              WIRTZ, DENIS              only                        2015/09/01   2027/02/25   $1,565,918   $1,565,918   $1,018,686   $432,798

                                        UNIV OF NORTH CAROLINA             T32 Predoctoral Diversity Supplement for Victoria                            Awarded. Non-fellowships
5,139 T32AT003378   3T32AT003378-18S2   CHAPEL HILL                        Behm                                                   GAYLORD, SUSAN        only                        2007/07/01   2027/06/30   $1,293,650   $1,293,650   $1,147,609    $54,090

                                                                           Neural mechanisms of visuomotor transformations in
5,140 F31EY037507   1F31EY037507-01     DUKE UNIVERSITY                    larval zebrafish                                   FOUKE, KAITLYN ELISE      Awarded. Fellowships only   2025/05/01   2028/04/30     $42,074      $42,074           $0     $42,074

                                                                           Circuit-specific plasticity mechanisms for habitual    MORRIS, CAMERON
5,141 F32MH138082   1F32MH138082-01A1   DUKE UNIVERSITY                    behavior                                               WAYNE                 Awarded. Fellowships only   2025/04/01   2028/03/31     $77,284      $77,284           $0     $77,284

                                        UNIVERSITY OF COLORADO             Predoctoral Training in the Genetics of                                      Awarded. Non-fellowships
5,142 T32GM141742   3T32GM141742-04S1   DENVER                             Development, Disease and Regeneration                  MOORE, JEFFREY KYLE   only                        2021/07/01   2026/06/30   $1,340,182   $1,340,182   $1,111,351   $129,126

                                                                          B Cells in Preeclampsia: Long-term Effects on
5,143 F32HD118681   1F32HD118681-01     UNIVERSITY OF MISSISSIPPI MED CTR Offspring                                               CAMPBELL, NATHAN E    Awarded. Fellowships only   2025/04/11   2028/04/10     $73,828      $73,828           $0     $73,828

                                        MASSACHUSETTS INSTITUTE OF         Developing a Biomimetic Lactating Mammary Lobe
5,144 F32HD116425   1F32HD116425-01A1   TECHNOLOGY                         for Therapeutic Safety                         LEE, AMY H                    Awarded. Fellowships only   2025/04/01   2027/07/31     $76,756      $76,756           $0     $76,756

                                                                           Enhancing AI-based Speech Therapy through
5,145 F31DC022514   1F31DC022514-01A1   NEW YORK UNIVERSITY                Acoustic-Derived Articulatory Feedback                 EADS, AMANDA R        Awarded. Fellowships only   2024/12/01   2026/11/30     $32,974      $32,974       $6,000     $32,974

                                        COLUMBIA UNIVERSITY HEALTH
5,146 F30CA287792   5F30CA287792-02     SCIENCES                           Improving bacterial cancer therapeutics                CHEN, NOAH            Awarded. Fellowships only   2024/03/01   2028/02/28    $101,874     $101,874      $50,937     $50,937

                                                                           Uncovering the Molecular Signature of PFAS
                                                                           Mixtures on Preconception Male Reproductive
5,147 F31ES036425   1F31ES036425-01A1   WAYNE STATE UNIVERSITY             Health                                                 MAXWELL, DRUANNE      Awarded. Fellowships only   2025/04/01   2027/03/31     $47,589      $47,589           $0     $47,589

                                                                           Exploring the immunomodulatory effects of anti-FAP
5,148 F30HL172583   5F30HL172583-02     WASHINGTON UNIVERSITY              CAR T cells in cardiac fibrosis                    YANG, STEVEN              Awarded. Fellowships only   2024/02/01   2027/08/31     $69,246      $69,246      $42,325     $34,623

                                                                           Investigating the role of Kif2c in transforming the
                                                                           microtubule cytoskeleton at the oocyte-to-embryo
5,149 F31HD116433   1F31HD116433-01A1   UNIVERSITY OF PENNSYLVANIA         transition                                             MARVIN, ALLISON       Awarded. Fellowships only   2025/04/01   2028/08/31     $48,974      $48,974       $2,352     $48,974
                                                                        Negative Symptoms, Cognition, and Functional
                                                                        Connectivity: Optimizing Transdiagnostic
5,150 F31MH140567   1F31MH140567-01     WASHINGTON UNIVERSITY           Relationships by Leveraging Advanced Techniques         DALLOUL, NADA ASSAAD Awarded. Fellowships only    2025/04/01   2027/03/31     $48,974      $48,974           $0     $48,974

                                                                        Implications for iron homeostasis and ferroptosis in
5,151 F32HD118693   1F32HD118693-01     BAYLOR COLLEGE OF MEDICINE      early pregnancy and endometriosis                       THAPA, RUPAK          Awarded. Fellowships only   2025/04/17   2028/04/16     $76,828      $76,828           $0     $76,828

                                                                        Life Course Developmental and Reproductive
                                                                        Predictors of Increased Mammographic Breast
5,152 F30CA271665   5F30CA271665-03     TUFTS UNIVERSITY BOSTON         Density in Black Women                                  BIGHAM, ZAHNA         Awarded. Fellowships only   2023/03/16   2027/03/15    $150,638     $150,638     $110,205     $53,974

                                        ICAHN SCHOOL OF MEDICINE AT                                                                                   Awarded. Non-fellowships
5,153 T32HD049311   5T32HD049311-19     MOUNT SINAI                     Research Training Program in Pediatric Exposomics       WRIGHT, ROBERT O      only                        2007/05/01   2027/04/30   $1,898,537   $1,898,537   $1,187,898   $506,955

                                        CLEVELAND CLINIC LERNER COM-    Ribonucleotide Reductase as a Driver of Breast          BRZOZOWSKI, TAYLOR
5,154 F31CA284668   5F31CA284668-02     CWRU                            Cancer Aggressiveness                                   LYNN                  Awarded. Fellowships only   2024/05/01   2026/04/30     $97,368      $97,368      $31,375     $48,684

                                                                                                                                BRECKENRIDGE, JOEY
5,155 F31CA284547   5F31CA284547-03     UNIVERSITY OF CINCINNATI        Targeting fibrosis to change cancer outcomes            EMERY                 Awarded. Fellowships only   2023/08/15   2028/08/16     $96,640      $96,639      $76,922     $48,960

                                                                        Examining Sex-Specific Effects on White Matter
                                        BOSTON UNIVERSITY (CHARLES      Integrity and Brain Function in Familial Alzheimers     GIUDICESSI, AVERI
5,156 F31NS134277   5F31NS134277-02     RIVER CAMPUS)                   Disease and Vascular Dementia                           JORDIN                Awarded. Fellowships only   2024/05/01   2027/04/30     $87,965      $87,965      $44,180     $38,991

                                        VIRGINIA COMMONWEALTH
5,157 F31CA290944   5F31CA290944-02     UNIVERSITY                      Elacestrant in breast cancer bone metastases            ZBORIL, EMILY KATE    Awarded. Fellowships only   2024/04/10   2027/04/09     $86,808      $86,808      $40,218     $43,404

                                                                        Mechanisms that govern dopaminergic amacrine
5,158 F32EY034358   3F32EY034358-03S1   BAYLOR COLLEGE OF MEDICINE      cell diversity                                          MACKIN, ROBERT        Awarded. Fellowships only   2022/09/30   2025/09/29    $216,430     $216,430     $166,101      $3,000

                                                                        Human otopathology without invading the cochlea
                                                                        imaged using optical coherence tomography and
5,159 F31DC022795   1F31DC022795-01A1   HARVARD MEDICAL SCHOOL          verified with novel histological technique      SECCHIA, PAUL                 Awarded. Fellowships only   2025/05/01   2028/04/30     $36,983      $36,983           $0     $36,983

                                                                        A Magnetic Resonance Imaging Based
                                                                        Computational Analysis of Plaque Morphology and
                                        UNIVERSITY OF MICHIGAN AT ANN   Hemodynamics in Patients with High Grade
5,160 F32HL168968   3F32HL168968-02S1   ARBOR                           Asymptomatic Carotid Artery Stenosis            BRAET, DREW JACKSON           Awarded. Fellowships only   2023/07/01   2025/06/30    $158,184     $158,184     $134,710      $3,000

                                                                        Determining the role of TP53 regulation in alveolar
                                                                        epithelial transitional cell state, and the
                                                                        contribution of alveolar epithelial transitional cell
5,161 F31HL172360   5F31HL172360-02     DUKE UNIVERSITY                 state to pulmonary fibrosis                             MOROWITZ, JEREMY      Awarded. Fellowships only   2024/03/01   2026/08/31     $90,189      $90,189      $46,253     $41,215

                                        UNIVERSITY OF COLORADO          Spatiotemporal encoding of goal-directed
5,162 F32NS134561   5F32NS134561-02     DENVER                          reaching across early cerebellar circuitry              NGUYEN, KATRINA       Awarded. Fellowships only   2024/01/01   2026/12/31    $148,112     $148,112      $91,667     $74,284

                                                                        Investigating the role of Wnt signaling effectors on
                                        UNIVERSITY OF COLORADO          the neuron-glia switch and OPC specification during
5,163 F32NS134612   5F32NS134612-02     DENVER                          development and after injury.                        ARENA, KIMBERLY          Awarded. Fellowships only   2024/01/01   2026/11/30    $148,112     $148,112      $93,586     $74,284

                                        SALK INSTITUTE FOR BIOLOGICAL   The Effect of Social Isolation on Inhibitory            MOSKO, JACQUELINE
5,164 F31NS135947   5F31NS135947-02     STUDIES                         Modulation of Tactile Processing                        ROSE                  Awarded. Fellowships only   2024/01/01   2027/12/31     $89,205      $89,205      $51,320     $44,886

                                                                        Mutual regulation between membrane rafts and
5,165 F31AI181453   5F31AI181453-02     UNIVERSITY OF VIRGINIA          protein condensates in T cell activation                CHAN, SZE HAM         Awarded. Fellowships only   2024/05/01   2027/04/30     $76,189      $76,189      $38,006     $38,183

                                        UNIVERSITY OF THE INCARNATE     Enhancement of Optometric Education with Basic,                               Awarded. Non-fellowships
5,166 T35EY032441   5T35EY032441-04     WORD                            Applied and Clinical Research                           RABIN, JEFFREY C      only                        2022/05/01   2027/04/30    $116,133     $116,133      $82,490     $29,506

                                        WEILL MEDICAL COLL OF CORNELL Clinical Summer Immersion for Biomedical                                        Awarded. Non-fellowships
5,167 T35EB006732   5T35EB006732-19     UNIV                          Engineering PhD Students                                  WANG, YI              only                        2006/09/30   2027/03/31    $611,339     $611,339     $382,754    $163,170

                                                                        Assessing the generality of sexual conflict in new
5,168 F32GM146423   3F32GM146423-02S1   UNIVERSITY OF CHICAGO           gene evolution in Drosophila                            ARSALA, DEANNA        Awarded. Fellowships only   2022/09/01   2025/08/31    $213,430     $213,430     $122,902     $76,756

                                                                        Defining the role of the RGS12 locus in macrophage
5,169 F31AI191426   1F31AI191426-01     DUKE UNIVERSITY                 function                                           LOWY, JACOB                Awarded. Fellowships only   2025/05/01   2028/04/30     $42,321      $42,321           $0     $42,321
                                                                         Assessing Longitudinal Changes In Peripheral Versus
                                                                         Central Processing of Newly Implanted Cochlear
5,170 F31DC022146   1F31DC022146-01A1   HARVARD MEDICAL SCHOOL           Implant Recipients                                  HEM, CHARLES BEAL   Awarded. Fellowships only   2025/02/01   2027/01/31    $36,983    $36,983    $11,272   $36,983

                                                                         Role of the chromatin regulator HMGA1 in KMT2A-
5,171 F31CA284842   5F31CA284842-02     JOHNS HOPKINS UNIVERSITY         rearranged leukemia                               WEST, BAILEY          Awarded. Fellowships only   2024/04/03   2027/04/02    $97,948    $97,948    $36,357   $48,974

                                        WEILL MEDICAL COLL OF CORNELL                                                      JACKSON, BENJAMIN
5,172 F30HD107943   5F30HD107943-04     UNIV                          Metabolic control of exit from naïve pluripotency    TONNU                 Awarded. Fellowships only   2022/04/15   2026/04/14   $211,678   $211,678   $151,180   $53,974
